         Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1 of 5163




                              UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION
---------------------------------------------------------------x
                                                               :
In re                                                          : Chapter 11
                                                               :
TALEN ENERGY CORPORATION, et al.                               :
                                                               : Case No. 22-90339 (MI)
                                                               :
                                                               : Jointly Administered
                  Reorganized Debtors.1                        :
---------------------------------------------------------------x

  ORDER (I) IDENTIFYING SPECIFIED CLAIMS SUBJECT TO CERTAIN PLAN
PROVISIONS AND RELATED DISTRIBUTION RIGHTS WITH RESPECT THERETO,
                  AND (II) GRANTING RELATED RELIEF
                         (Related Docket No. _____)

           Upon the Motion (the “Motion”)2 by the Talen GUC Trust (the “GUC Trust”) established

pursuant to the confirmed Plan of the above-captioned debtors (collectively, the “Debtors”),

seeking entry of an order (this “Order”) clarifying under the terms of the Plan, on a Claim by Claim

basis, that the Holders of the Non-GUC Trust Claims identified on Exhibits 1-3 thereto are not

GUC Trust Beneficiaries with respect thereto and are not entitled to any distribution from the GUC

Trust thereon, and upon the Declaration of the GUC Trustee in support of the Motion, which was

filed contemporaneously with the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this




1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is 1780 Hughes
Landing Boulevard, Suite 800, The Woodlands, Texas 77380.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



DOCS_NY:47990.2 82853/003
     Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2 of 5163




proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the GUC Trust’s notice of the Motion and opportunity for a hearing

on the Motion were appropriate under the circumstances and no other notice need be provided;

and this Court having reviewed the Motion; and this Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and upon

consideration of the evidence and arguments of counsel at the hearing on the Motion; and upon all

of the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Holders of the Non-GUC Trust Claims identified on Exhibit 1-3 hereto are not

GUC Trust Beneficiaries with respect to such Claims and are entitled to no distribution from, and

hold no pecuniary interest against, the GUC Trust with respect to such Claims.

       2.      Except as expressly set forth herein, nothing herein prejudices, modifies, or

otherwise affects the rights of a Holder of a Non-GUC Trust Claim under the Plan or against any

entity or person other than the GUC Trust, including any rights with respect to the treatment of

any Claim under the Plan (including under Article III.B.7.i of the Plan or with respect to the Uri

Insurance Policies).

       3.      Except as otherwise provided in this Order, nothing in this Order shall be deemed:

(a) an admission as to the validity of any prepetition claim against a Debtor entity, such Debtor

entity’s estate, the GUC Trust, the GUC Trustee, or the GUC Trust Assets; (b) a waiver of any

party’s right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay

any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in the Motion or this Order; (e) a request or authorization to assume any

prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a



                                                2
     Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3 of 5163




waiver of the rights of the GUC Trust or GUC Trustee under the Bankruptcy Code, Bankruptcy

Rules, Plan, Confirmation Order, or any other applicable law.

       4.      The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

       5.      The GUC Trust, the Reorganized Debtors, the Claims Agent, and the Clerk of the

Court are authorized to take all actions necessary or appropriate to effectuate the relief granted

pursuant to this Order in accordance with the Motion.

       6.      This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.


Dated: ________________, 2023

                                             __________________________________________
                                             MARVIN ISGUR
                                             UNITED STATES BANKRUPTCY JUDGE




                                                3
Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4 of 5163




                           EXHIBIT 1
                         (29 Debtor Claims)
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5 of 5163
                                          Exhibit 1 – 29 Debtor Claims
           Name of
Ref #      Claimant    Debtor Name Claim #          Date Filed                    Non‐GUC Trust Claim
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        ACE AMERICAN   Sapphire                                   Priority: $0.00
 1      INSURANCE      Power              765       7/27/2022     Secured: $3,498,609.00
        COMPANY        Marketing LLC                              General Unsecured: $0.00 + Unliquidated

                                                                  Total: $3,498,609.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                       Sapphire
        ACE AMERICAN                                              Priority: $0.00
                       Power
 2      INSURANCE                         772       7/27/2022     Secured: $3,498,609.00
                       Generation
        COMPANY                                                   General Unsecured: $0.00 + Unliquidated
                       Holdings LLC
                                                                  Total: $3,498,609.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        ACE AMERICAN                                              Priority: $0.00
                       Lady Jane
 1      INSURANCE                         778       7/27/2022     Secured: $3,498,609.00
                       Collieries, Inc.
        COMPANY                                                   General Unsecured: $0.00 + Unliquidated

                                                                  Total: $3,498,609.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        ACE AMERICAN   Montana                                    Priority: $0.00
 4      INSURANCE      Growth             791       7/27/2022     Secured: $3,498,609.00
        COMPANY        Holdings LLC                               General Unsecured: $0.00 + Unliquidated

                                                                  Total: $3,498,609.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        ACE AMERICAN   Raven Power                                Priority: $0.00
 5      INSURANCE      Generation         794       7/28/2022     Secured: $3,498,609.00
        COMPANY        Holdings LLC                               General Unsecured: $0.00 + Unliquidated

                                                                  Total: $3,498,609.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        ACE AMERICAN                                              Priority: $0.00
                       Raven Power
 6      INSURANCE                         803       7/27/2022     Secured: $3,498,609.00
                       Finance LLC
        COMPANY                                                   General Unsecured: $0.00 + Unliquidated

                                                                  Total: $3,498,609.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 6 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ACE AMERICAN                                      Priority: $0.00
                       Sapphire
 7      INSURANCE                      807   7/27/2022    Secured: $3,498,609.00
                       Power LLC
        COMPANY                                           General Unsecured: $0.00 + Unliquidated

                                                          Total: $3,498,609.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ACE AMERICAN   Pedricktown                        Priority: $0.00
 8      INSURANCE      Management      857   7/27/2022    Secured: $3,498,609.00
        COMPANY        Company LLC                        General Unsecured: $0.00 + Unliquidated

                                                          Total: $3,498,609.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                       Fort
        ACE AMERICAN                                      Priority: $0.00
                       Armistead
 9      INSURANCE                      862   7/28/2022    Secured: $3,498,609.00
                       Road – Lot 15
        COMPANY                                           General Unsecured: $0.00 + Unliquidated
                       Landfill, LLC
                                                          Total: $3,498,609.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ACE AMERICAN   Elmwood                            Priority: $0.00
 10     INSURANCE      Energy          907   7/27/2022    Secured: $3,498,609.00
        COMPANY        Holdings, LLC                      General Unsecured: $0.00 + Unliquidated

                                                          Total: $3,498,609.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ACE AMERICAN                                      Priority: $0.00
 11     INSURANCE      BDW Corp.       910   7/27/2022    Secured: $3,498,609.00
        COMPANY                                           General Unsecured: $0.00 + Unliquidated

                                                          Total: $3,498,609.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ACE AMERICAN   Morris Energy                      Priority: $0.00
 12     INSURANCE      Operations      918   7/28/2022    Secured: $3,498,609.00
        COMPANY        Company, LLC                       General Unsecured: $0.00 + Unliquidated

                                                          Total: $3,498,609.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                       Dartmouth
        ACE AMERICAN                                      Priority: $0.00
                       Power
 13     INSURANCE                      941   7/28/2022    Secured: $3,498,609.00
                       Generation,
        COMPANY                                           General Unsecured: $0.00 + Unliquidated
                       L.L.C.
                                                          Total: $3,498,609.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 7 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN   MEG                                 Priority: $0.00
 14     INSURANCE      Generating      943    7/27/2022    Secured: $3,498,609.00
        COMPANY        Company, LLC                        General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN                                       Priority: $0.00
                       Elmwood Park
 15     INSURANCE                      946    7/27/2022    Secured: $3,498,609.00
                       Power, LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN   Talen                               Priority: $0.00
 16     INSURANCE      Treasure        952    7/28/2022    Secured: $3,498,609.00
        COMPANY        State, LLC                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN                                       Priority: $0.00
 17     INSURANCE      MC OpCo LLC     996    7/28/2022    Secured: $3,498,609.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN   Talen                               Priority: $0.00
 18     INSURANCE      Technology      997    7/28/2022    Secured: $3,498,609.00
        COMPANY        Ventures LLC                        General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN                                       Priority: $0.00
                       Liberty View
 19     INSURANCE                      1015   7/28/2022    Secured: $3,498,609.00
                       Power, L.L.C.
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN                                       Priority: $0.00
                       Talen Texas,
 20     INSURANCE                      1018   7/28/2022    Secured: $3,498,609.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $3,498,609.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 8 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE AMERICAN                                        Priority: $0.00
                       Talen Energy
 21     INSURANCE                       1019   7/28/2022    Secured: $3,498,609.00
                       Retail LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $3,498,609.00 + Unliquidated
                                                            503(b)(9): $0.00
                       Dartmouth                            Other Administrative: $0.00
        ACE AMERICAN   Power                                Priority: $0.00
 22     INSURANCE      Holding          1021   7/28/2022    Secured: $3,498,609.00
        COMPANY        Company,                             General Unsecured: $0.00 + Unliquidated
                       L.L.C.
                                                            Total: $3,498,609.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE AMERICAN                                        Priority: $0.00
 23     INSURANCE      Bell Bend, LLC   1025   7/28/2022    Secured: $3,498,609.00
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $3,498,609.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE AMERICAN   Morris Energy                        Priority: $0.00
 24     INSURANCE      Management       1026   7/28/2022    Secured: $3,498,609.00
        COMPANY        Company, LLC                         General Unsecured: $0.00 + Unliquidated

                                                            Total: $3,498,609.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE AMERICAN   Talen II                             Priority: $0.00
 25     INSURANCE      Growth           1028   7/28/2022    Secured: $3,498,609.00
        COMPANY        Parent LLC                           General Unsecured: $0.00 + Unliquidated

                                                            Total: $3,498,609.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE AMERICAN                                        Priority: $0.00
                       Talen Texas
 26     INSURANCE                       1038   7/28/2022    Secured: $3,498,609.00
                       Property, LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $3,498,609.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE AMERICAN   Pedricktown                          Priority: $0.00
 27     INSURANCE      Investment       1086   7/27/2022    Secured: $3,498,609.00
        COMPANY        Company LLC                          General Unsecured: $0.00 + Unliquidated

                                                            Total: $3,498,609.00 + Unliquidated
              Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 9 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                          Newark Bay
        ACE AMERICAN                                          Priority: $0.00
                          Holding
 28     INSURANCE                         1178   7/28/2022    Secured: $3,498,609.00
                          Company,
        COMPANY                                               General Unsecured: $0.00 + Unliquidated
                          L.L.C.
                                                              Total: $3,498,609.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ACE AMERICAN                                          Priority: $0.00
 29     INSURANCE         Talen NE LLC    1490   7/28/2022    Secured: $3,498,609.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $3,498,609.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
                          Fort
        COMPANY ON                                            Priority: $0.00
                          Armistead
 30     BEHALF OF THE                     759    7/27/2022    Secured: $6,333,000.00
                          Road – Lot 15
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
                          Landfill, LLC
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON                                            Priority: $0.00
                          Raven Power
 31     BEHALF OF THE                     801    7/27/2022    Secured: $6,333,000.00
                          Finance LLC
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON        Montana                             Priority: $0.00
 32     BEHALF OF THE     Growth          811    7/27/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Holdings LLC                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON        Raven Power                         Priority: $0.00
 33     BEHALF OF THE     Generation      872    7/27/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Holdings LLC                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON                                            Priority: $0.00
                          Raven Power
 34     BEHALF OF THE                     873    7/27/2022    Secured: $6,333,000.00
                          Finance LLC
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 10 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON        Sapphire                               Priority: $0.00
 35     BEHALF OF THE     Power              884    7/28/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Marketing LLC                          General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON        Elmwood                                Priority: $0.00
 36     BEHALF OF THE     Energy             957    7/28/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Holdings, LLC                          General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON                                               Priority: $0.00
                          Lady Jane
 37     BEHALF OF THE                        969    7/27/2022    Secured: $6,333,000.00
                          Collieries, Inc.
        ENTITIES LISTED                                          General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON        Pedricktown                            Priority: $0.00
 38     BEHALF OF THE     Investment         1013   7/28/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Company LLC                            General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON                                               Priority: $0.00
                          Talen Texas
 39     BEHALF OF THE                        1039   7/28/2022    Secured: $6,333,000.00
                          Property, LLC
        ENTITIES LISTED                                          General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
                          Sapphire
        COMPANY ON                                               Priority: $0.00
                          Power
 40     BEHALF OF THE                        1057   7/28/2022    Secured: $6,333,000.00
                          Generation
        ENTITIES LISTED                                          General Unsecured: $0.00 + Unliquidated
                          Holdings LLC
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON                                               Priority: $0.00
                          Elmwood Park
 41     BEHALF OF THE                        1157   7/28/2022    Secured: $6,333,000.00
                          Power, LLC
        ENTITIES LISTED                                          General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 11 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON        Pedricktown                         Priority: $0.00
 42     BEHALF OF THE     Management      1205   7/28/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Company LLC                         General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE     Dartmouth                           Other Administrative: $0.00
        COMPANY ON        Power                               Priority: $0.00
 43     BEHALF OF THE     Holding         1211   7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Company,                            General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A      L.L.C.
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON                                            Priority: $0.00
                          Sapphire
 44     BEHALF OF THE                     1225   7/28/2022    Secured: $6,333,000.00
                          Power LLC
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON        MEG                                 Priority: $0.00
 45     BEHALF OF THE     Generating      1234   7/28/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Company, LLC                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
                          Newark Bay
        COMPANY ON                                            Priority: $0.00
                          Holding
 46     BEHALF OF THE                     1308   7/28/2022    Secured: $6,333,000.00
                          Company,
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
                          L.L.C.
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON                                            Priority: $0.00
                          Liberty View
 47     BEHALF OF THE                     1314   7/28/2022    Secured: $6,333,000.00
                          Power, L.L.C.
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        AIU INSURANCE                                         Other Administrative: $0.00
        COMPANY ON                                            Priority: $0.00
                          Talen Energy
 48     BEHALF OF THE                     1317   7/28/2022    Secured: $6,333,000.00
                          Retail LLC
        ENTITIES LISTED                                       General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                              Total: $6,333,000.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 12 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
        COMPANY ON        Talen                                Priority: $0.00
 49     BEHALF OF THE     Treasure         1484   7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED   State, LLC                           General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
        COMPANY ON                                             Priority: $0.00
 50     BEHALF OF THE     Talen NE LLC     1633   7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED                                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
        COMPANY ON                                             Priority: $0.00
 51     BEHALF OF THE     MC OpCo LLC      1642   7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED                                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
        COMPANY ON                                             Priority: $0.00
 52     BEHALF OF THE     Bell Bend, LLC   1657   7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED                                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
        COMPANY ON                                             Priority: $0.00
                          Talen Texas,
 53     BEHALF OF THE                      1661   7/29/2022    Secured: $6,333,000.00
                          LLC
        ENTITIES LISTED                                        General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
                          Dartmouth
        COMPANY ON                                             Priority: $0.00
                          Power
 54     BEHALF OF THE                      1669   7/29/2022    Secured: $6,333,000.00
                          Generation,
        ENTITIES LISTED                                        General Unsecured: $0.00 + Unliquidated
                          L.L.C.
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
                                                               503(b)(9): $0.00
        AIU INSURANCE                                          Other Administrative: $0.00
        COMPANY ON        Talen II                             Priority: $0.00
 55     BEHALF OF THE     Growth           1706   7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Parent LLC                           General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                               Total: $6,333,000.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 13 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON        Talen                                  Priority: $0.00
 56     BEHALF OF THE     Technology       1714     7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Ventures LLC                           General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON        Morris Energy                          Priority: $0.00
 57     BEHALF OF THE     Operations       1717     7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Company, LLC                           General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
        AIU INSURANCE                                            Other Administrative: $0.00
        COMPANY ON        Morris Energy                          Priority: $0.00
 58     BEHALF OF THE     Management       1722     7/29/2022    Secured: $6,333,000.00
        ENTITIES LISTED   Company, LLC                           General Unsecured: $0.00 + Unliquidated
        ON EXHIBIT A
                                                                 Total: $6,333,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                       Fort
                                                                 Priority: $0.00
        ARCH INSURANCE Armistead
 59                                        1354     7/29/2022    Secured: $1,300,000.00
        COMPANY        Road – Lot 15
                                                                 General Unsecured: $0.00 + Unliquidated
                       Landfill, LLC
                                                                 Total: $1,300,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        ARGONAUT                                                 Priority: $0.00
 60     INSURANCE         MC OpCo LLC      3381     8/1/2022     Secured: $3,237,993.00
        COMPANY                                                  General Unsecured: $0.00 + Unliquidated

                                                                 Total: $3,237,993.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        ATLANTIC
                                                                 Priority: $0.00
        SPECIALTY
 61                       Talen NE LLC     1090     7/28/2022    Secured: $64,050,705.00
        INSURANCE
                                                                 General Unsecured: $4,112,179.15 + Unliquidated
        COMPANY
                                                                 Total: $68,162,884.15 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        BARNEY DAVIS,     Talen Texas,
 62                                       5234794   6/25/2022    Secured: $0.00
        LLC               LLC
                                                                 General Unsecured: $563,980,382.00

                                                                 Total: $563,980,382.00
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 14 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        BRANDON            Raven Power
 63                                       5231845   6/25/2022    Secured: $0.00
        SHORES LLC         Finance LLC
                                                                 General Unsecured: $74,861,704.00

                                                                 Total: $74,861,704.00
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                           Raven Power
 64     COLEMAN, WILLIE                    3335      8/1/2022    Secured: $0.00
                           Finance LLC
                                                                 General Unsecured: $5,000,000.00 + Unliquidated

                                                                 Total: $5,000,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                           Talen Energy
 65     COLEMAN, WILLIE                    3350      8/1/2022    Secured: $0.00
                           Retail LLC
                                                                 General Unsecured: $5,000,000.00 + Unliquidated

                                                                 Total: $5,000,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                        Raven Power                              Priority: $0.00
 66     COLEMAN, WILLIE Generation        37431     11/10/2022   Secured: $0.00
                        Holdings LLC                             General Unsecured: $5,000,000.00 + Unliquidated

                                                                 Total: $5,000,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $85,606.61
                         Raven Power                             Priority: $0.00
 67     CREDIT SUISSE AG Generation        819      7/27/2022    Secured: $0.00
                         Holdings LLC                            General Unsecured: $74,628.40 + Unliquidated

                                                                 Total: $160,235.01 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $85,606.61
                                                                 Priority: $0.00
                           Raven Power
 68     CREDIT SUISSE AG                   822      7/27/2022    Secured: $0.00
                           Finance LLC
                                                                 General Unsecured: $74,628.40 + Unliquidated

                                                                 Total: $160,235.01 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $85,606.61
                                                                 Priority: $0.00
                           Talen Texas,
 69     CREDIT SUISSE AG                   825      7/27/2022    Secured: $0.00
                           LLC
                                                                 General Unsecured: $74,628.40 + Unliquidated

                                                                 Total: $160,235.01 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 15 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $85,606.61
                                                            Priority: $0.00
 70     CREDIT SUISSE AG Talen NE LLC    826   7/27/2022    Secured: $0.00
                                                            General Unsecured: $74,628.40 + Unliquidated

                                                            Total: $160,235.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $85,606.61
                                                            Priority: $0.00
 71     CREDIT SUISSE AG MC OpCo LLC     836   7/27/2022    Secured: $0.00
                                                            General Unsecured: $74,628.40 + Unliquidated

                                                            Total: $160,235.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $85,606.61
                         Fort
                                                            Priority: $0.00
                         Armistead
 72     CREDIT SUISSE AG                 924   7/27/2022    Secured: $0.00
                         Road – Lot 15
                                                            General Unsecured: $74,628.40 + Unliquidated
                         Landfill, LLC
                                                            Total: $160,235.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $207,828.83
                         Fort
                                                            Priority: $0.00
        CREDIT SUISSE    Armistead
 73                                      757   7/27/2022    Secured: $0.00
        INTERNATIONAL    Road – Lot 15
                                                            General Unsecured: $261,781.18 + Unliquidated
                         Landfill, LLC
                                                            Total: $469,610.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $207,828.83
                                                            Priority: $0.00
        CREDIT SUISSE
 74                      MC OpCo LLC     773   7/27/2022    Secured: $0.00
        INTERNATIONAL
                                                            General Unsecured: $261,781.18 + Unliquidated

                                                            Total: $469,610.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $207,828.83
                                                            Priority: $0.00
        CREDIT SUISSE
 75                      Talen NE LLC    786   7/27/2022    Secured: $0.00
        INTERNATIONAL
                                                            General Unsecured: $261,781.18 + Unliquidated

                                                            Total: $469,610.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $207,828.83
                                                            Priority: $0.00
        CREDIT SUISSE    Talen Texas,
 76                                      816   7/27/2022    Secured: $0.00
        INTERNATIONAL    LLC
                                                            General Unsecured: $261,781.18 + Unliquidated

                                                            Total: $469,610.01 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 16 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $207,828.83
                                                                Priority: $0.00
        CREDIT SUISSE     Raven Power
 77                                       894      7/27/2022    Secured: $0.00
        INTERNATIONAL     Finance LLC
                                                                General Unsecured: $261,781.18 + Unliquidated

                                                                Total: $469,610.01 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $207,828.83
                          Raven Power                           Priority: $0.00
        CREDIT SUISSE
 78                       Generation      905      7/27/2022    Secured: $0.00
        INTERNATIONAL
                          Holdings LLC                          General Unsecured: $261,781.18 + Unliquidated

                                                                Total: $469,610.01 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        DEPARTMENT OF
                                                                Priority: $0.00
        TREASURY ‐
 79                     MC OpCo LLC       179      6/9/2022     Secured: $0.00
        INTERNAL
                                                                General Unsecured: $7,002.00 + Unliquidated
        REVENUE SERVICE
                                                                Total: $7,002.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Raven Power
 80     H.A. WAGNER LLC                  5231846   6/25/2022    Secured: $0.00
                          Finance LLC
                                                                General Unsecured: $54,610,316.00

                                                                Total: $54,610,316.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Talen Texas,
 81     LAREDO LLC                       5234795   6/25/2022    Secured: $0.00
                          LLC
                                                                General Unsecured: $233,437,185.00

                                                                Total: $233,437,185.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        MORRIS ENERGY     Sapphire                              Priority: $0.00
 82     OPERATIONS        Power         5233396    6/25/2022    Secured: $0.00
        COMPANY, LLC      Marketing LLC                         General Unsecured: $8,618,498.00

                                                                Total: $8,618,498.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        MORRIS ENERGY     Morris Energy                         Priority: $0.00
 83     OPERATIONS        Management 5234649       6/25/2022    Secured: $0.00
        COMPANY, LLC      Company, LLC                          General Unsecured: $817.00

                                                                Total: $817.00
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 17 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Talen Texas,
 84     NUECES BAY, LLC                  5234796   6/25/2022    Secured: $0.00
                          LLC
                                                                General Unsecured: $879,448,859.00

                                                                Total: $879,448,859.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        PEDRICKTOWN                                             Priority: $0.00
                          Sapphire
 85     COGENERATION                     5235430   6/25/2022    Secured: $0.00
                          Power LLC
        COMPANY LP                                              General Unsecured: $6,129.00

                                                                Total: $6,129.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                          Raven Power                           Priority: $0.00
        RAVEN POWER
 86                       Generation     5234782   6/25/2022    Secured: $0.00
        FINANCE LLC
                          Holdings LLC                          General Unsecured: $36,478,487.00

                                                                Total: $36,478,487.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                       Morris Energy                            Priority: $0.00
        SAPPHIRE POWER
 87                    Operations    5234719       6/25/2022    Secured: $0.00
        FINANCE LLC
                       Company, LLC                             General Unsecured: $14,712,559.00

                                                                Total: $14,712,559.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        SAPPHIRE POWER Sapphire                                 Priority: $0.00
 88     GENERATION     Power         5233397       6/25/2022    Secured: $0.00
        HOLDINGS LLC   Marketing LLC                            General Unsecured: $11,421,608.00

                                                                Total: $11,421,608.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        SAPPHIRE POWER Morris Energy                            Priority: $0.00
 89     GENERATION     Operations    5234720       6/25/2022    Secured: $0.00
        HOLDINGS LLC   Company, LLC                             General Unsecured: $24,773.00

                                                                Total: $24,773.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                       Newark Bay
        SAPPHIRE POWER                                          Priority: $0.00
                       Holding
 90     GENERATION                       5235398   6/25/2022    Secured: $0.00
                       Company,
        HOLDINGS LLC                                            General Unsecured: $2,731,584.00
                       L.L.C.
                                                                Total: $2,731,584.00
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 18 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                       Morris Energy                             Priority: $0.00
        SAPPHIRE POWER
 91                    Operations    5234721        6/25/2022    Secured: $0.00
        LLC
                       Company, LLC                              General Unsecured: $57,907.00

                                                                 Total: $57,907.00
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SAPPHIRE POWER Sapphire
 92                                       5235431   6/25/2022    Secured: $0.00
        MARKETING LLC Power LLC
                                                                 General Unsecured: $154,999.00

                                                                 Total: $154,999.00
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                          Newark Bay
        STATE OF NEW                                             Priority: $500.00
                          Holding
 93     JERSEY ‐ DIVISION                 37378     9/15/2022    Secured: $0.00
                          Company,
        OF TAXATION                                              General Unsecured: $7,500.00 + Unliquidated
                          L.L.C.
                                                                 Total: $8,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        STATE OF NEW      Elmwood                                Priority: $36,000.00
 94     JERSEY ‐ DIVISION Energy          37380     9/15/2022    Secured: $0.00
        OF TAXATION       Holdings, LLC                          General Unsecured: $3,000.00 + Unliquidated

                                                                 Total: $39,000.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SUSQUEHANNA
 95                       Bell Bend, LLC 5234742    6/25/2022    Secured: $0.00
        NUCLEAR, LLC
                                                                 General Unsecured: $13,761.00

                                                                 Total: $13,761.00
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        TALEN ENERGY      Raven Power
 96                                       5231847   6/25/2022    Secured: $0.00
        MARKETING, LLC    Finance LLC
                                                                 General Unsecured: $3,472,987.00

                                                                 Total: $3,472,987.00
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        TALEN ENERGY
 97                       Bell Bend, LLC 5234743    6/25/2022    Secured: $0.00
        MARKETING, LLC
                                                                 General Unsecured: $17.00

                                                                 Total: $17.00
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 19 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY     Sapphire
 98                                      5235432   6/25/2022    Secured: $0.00
        MARKETING, LLC   Power LLC
                                                                General Unsecured: $1,083.00

                                                                Total: $1,083.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                         Sapphire                               Priority: $0.00
        TALEN ENERGY
 99                      Power         5233398     6/25/2022    Secured: $0.00
        SUPPLY, LLC
                         Marketing LLC                          General Unsecured: $9,950,936.00

                                                                Total: $9,950,936.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY     Talen Texas
100                                      5233423   6/25/2022    Secured: $0.00
        SUPPLY, LLC      Property, LLC
                                                                General Unsecured: $10,798.00

                                                                Total: $10,798.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                         Elmwood                                Priority: $0.00
        TALEN ENERGY
101                      Energy          5233437   6/25/2022    Secured: $0.00
        SUPPLY, LLC
                         Holdings, LLC                          General Unsecured: $3,112.00

                                                                Total: $3,112.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                         Talen                                  Priority: $0.00
        TALEN ENERGY
102                      Treasure        5234700   6/25/2022    Secured: $0.00
        SUPPLY, LLC
                         State, LLC                             General Unsecured: $2,113,437.00

                                                                Total: $2,113,437.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                         Morris Energy                          Priority: $0.00
        TALEN ENERGY
103                      Operations    5234722     6/25/2022    Secured: $0.00
        SUPPLY, LLC
                         Company, LLC                           General Unsecured: $30,178,000.00

                                                                Total: $30,178,000.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY
104                      Bell Bend, LLC 5234744    6/25/2022    Secured: $0.00
        SUPPLY, LLC
                                                                General Unsecured: $77,159.00

                                                                Total: $77,159.00
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 20 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #        Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY    Talen Texas,
105                                    5234797     6/25/2022    Secured: $0.00
        SUPPLY, LLC     LLC
                                                                General Unsecured: $217,180,098.00

                                                                Total: $217,180,098.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                        Newark Bay
                                                                Priority: $0.00
        TALEN ENERGY    Holding
106                                    5235399     6/25/2022    Secured: $0.00
        SUPPLY, LLC     Company,
                                                                General Unsecured: $938.00
                        L.L.C.
                                                                Total: $938.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY    Sapphire
107                                    5235433     6/25/2022    Secured: $0.00
        SUPPLY, LLC     Power LLC
                                                                General Unsecured: $112,791.00

                                                                Total: $112,791.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY
108                     MC OpCo LLC    5235451     6/25/2022    Secured: $0.00
        SUPPLY, LLC
                                                                General Unsecured: $11,562,276.00

                                                                Total: $11,562,276.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN ENERGY    Lady Jane
109                                      5235511   6/25/2022    Secured: $0.00
        SUPPLY, LLC     Collieries, Inc.
                                                                General Unsecured: $682.00

                                                                Total: $682.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                        Morris Energy                           Priority: $0.00
        TALEN
110                     Operations    5234723      6/25/2022    Secured: $0.00
        GENERATION, LLC
                        Company, LLC                            General Unsecured: $1,278,568.00

                                                                Total: $1,278,568.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TALEN
111                     MC OpCo LLC    5235452     6/25/2022    Secured: $0.00
        GENERATION, LLC
                                                                General Unsecured: $4,051,792.00

                                                                Total: $4,051,792.00
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 21 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TALEN NUCLEAR                                          Priority: $0.00
112     DEVELOPMENT     Bell Bend, LLC 5234745    6/25/2022    Secured: $0.00
        LLC                                                    General Unsecured: $161,034.00

                                                               Total: $161,034.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TALEN TEXAS     Talen Texas,
113                                     5234798   6/25/2022    Secured: $0.00
        GROUP, LLC      LLC
                                                               General Unsecured: $19,810,579.00

                                                               Total: $19,810,579.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TALEN TEXAS     Talen Texas,
114                                     5234799   6/25/2022    Secured: $0.00
        PROPERTY, LLC   LLC
                                                               General Unsecured: $98,788.00

                                                               Total: $98,788.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE BANK OF     Fort                                   Priority: $0.00
        NEW YORK        Armistead                              Secured: $0.00
115                                      1378     7/28/2022
        MELLON, AS      Road – Lot 15                          General Unsecured: $1,368,781,767.62 +
        TRUSTEE         Landfill, LLC                          Unliquidated

                                                               Total: $1,368,781,767.62 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE BANK OF                                            Priority: $0.00
        NEW YORK        Raven Power                            Secured: $0.00
116                                      1436     7/28/2022
        MELLON, AS      Finance LLC                            General Unsecured: $1,368,781,767.62 +
        TRUSTEE                                                Unliquidated

                                                               Total: $1,368,781,767.62 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE BANK OF                                            Priority: $0.00
        NEW YORK                                               Secured: $0.00
117                     Talen NE LLC     1442     7/28/2022
        MELLON, AS                                             General Unsecured: $1,368,781,767.62 +
        TRUSTEE                                                Unliquidated

                                                               Total: $1,368,781,767.62 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 22 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE BANK OF                                         Priority: $0.00
        NEW YORK        Talen Texas,                        Secured: $0.00
118                                     1511   7/28/2022
        MELLON, AS      LLC                                 General Unsecured: $1,368,781,767.62 +
        TRUSTEE                                             Unliquidated

                                                            Total: $1,368,781,767.62 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE BANK OF                                         Priority: $0.00
                        Raven Power
        NEW YORK                                            Secured: $0.00
119                     Generation      1530   7/28/2022
        MELLON, AS                                          General Unsecured: $1,368,781,767.62 +
                        Holdings LLC
        TRUSTEE                                             Unliquidated

                                                            Total: $1,368,781,767.62 + Unliquidated
                                                            503(b)(9): $41,645.94
                                                            Other Administrative: $0.00
                       Elmwood                              Priority: $0.00
        W.W. GRAINGER,
120                    Energy           380    7/15/2022    Secured: $42,705.83
        INC.
                       Holdings, LLC                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $84,351.77 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTCHESTER
                                                            Priority: $0.00
        SURPLUS LINES   Talen Texas
121                                     732    7/27/2022    Secured: $4,179,589.00
        INSURANCE       Property, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $4,179,589.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTCHESTER
                                                            Priority: $0.00
        SURPLUS LINES   Talen Texas,
122                                     746    7/27/2022    Secured: $4,179,589.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $4,179,589.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        YORK            Morris Energy                       Priority: $0.00
123     GENERATION      Management 5234650     6/25/2022    Secured: $0.00
        COMPANY LLC     Company, LLC                        General Unsecured: $317.00

                                                            Total: $317.00
Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 23 of 5163




                           EXHIBIT 2
                            (Uri Claims)
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 24 of 5163
                                             Exhibit 2 – Uri Claims
            Name of
Ref #       Claimant     Debtor Name Claim #        Date Filed                    Non‐GUC Trust Claim
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        1ST CHOICE
                                                                  Priority: $0.00
        ADVANTAGE        Nueces Bay,
 1                                       1369      7/28/2022      Secured: $0.00
        INSURANCE        LLC
                                                                  General Unsecured: $374,045.74 + Unliquidated
        COMPANY, INC.
                                                                  Total: $374,045.74 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        1ST CHOICE
                                                                  Priority: $0.00
        ADVANTAGE        Barney Davis,
 2                                       1412      7/28/2022      Secured: $0.00
        INSURANCE        LLC
                                                                  General Unsecured: $374,045.74 + Unliquidated
        COMPANY, INC.
                                                                  Total: $374,045.74 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        1ST CHOICE
                                                                  Priority: $0.00
        ADVANTAGE
 3                       Laredo, LLC     1579      7/28/2022      Secured: $0.00
        INSURANCE
                                                                  General Unsecured: $374,045.74 + Unliquidated
        COMPANY, INC.
                                                                  Total: $374,045.74 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        2 AND 1
                                                                  Priority: $0.00
        CONVIENENCE      Barney Davis,
 4                                       5669       8/1/2022      Secured: $0.00
        STORE, LLC DBA 2 LLC
                                                                  General Unsecured: $0.00 + Unliquidated
        & 1 RESTAURANT
                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        2 AND 1
                                                                  Priority: $0.00
        CONVIENENCE
 5                       Laredo, LLC     11419      8/1/2022      Secured: $0.00
        STORE, LLC DBA 2
                                                                  General Unsecured: $0.00 + Unliquidated
        & 1 RESTAURANT
                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
        2 AND 1
                                                                  Priority: $0.00
        CONVIENENCE      Nueces Bay,
 6                                       17166      8/1/2022      Secured: $0.00
        STORE, LLC DBA 2 LLC
                                                                  General Unsecured: $0.00 + Unliquidated
        & 1 RESTAURANT
                                                                  Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 25 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        2 AND 1
                                                              Priority: $0.00
        CONVIENENCE      Talen Texas
 7                                       22911   8/1/2022     Secured: $0.00
        STORE, LLC DBA 2 Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        & 1 RESTAURANT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        2 AND 1
                                                              Priority: $0.00
        CONVIENENCE      Talen Texas,
 8                                       28660   8/1/2022     Secured: $0.00
        STORE, LLC DBA 2 LLC
                                                              General Unsecured: $0.00 + Unliquidated
        & 1 RESTAURANT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        21ST CENTURY                                          Priority: $0.00
                         Barney Davis,
 9      ASSURANCE                        2337    7/31/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $230,774.12 + Unliquidated

                                                              Total: $230,774.12 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        21ST CENTURY                                          Priority: $0.00
                         Nueces Bay,
 10     ASSURANCE                        2477    7/31/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $230,774.12 + Unliquidated

                                                              Total: $230,774.12 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        21ST CENTURY                                          Priority: $0.00
 11     ASSURANCE        Laredo, LLC     2542    7/31/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $230,774.12 + Unliquidated

                                                              Total: $230,774.12 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        21ST CENTURY                                          Priority: $0.00
                         Nueces Bay,
 12     ASSURANCE                        3010    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        21ST CENTURY                                          Priority: $0.00
 13     ASSURANCE        Laredo, LLC     3105    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 26 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY                                       Priority: $0.00
                       Barney Davis,
 14     ASSURANCE                      3303   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY
                                                           Priority: $0.00
        CENTENNIAL     Nueces Bay,
 15                                    2194   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY
                                                           Priority: $0.00
        CENTENNIAL     Barney Davis,
 16                                    2889   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY
                                                           Priority: $0.00
        CENTENNIAL
 17                    Laredo, LLC     3206   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY                                       Priority: $0.00
                       Barney Davis,
 18     INSURANCE                      3229   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY                                       Priority: $0.00
                       Nueces Bay,
 19     INSURANCE                      3237   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        21ST CENTURY                                       Priority: $0.00
 20     INSURANCE      Laredo, LLC     3241   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 27 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
 21     ABBOTT, EDDIE   Laredo, LLC     32334   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
 22     ABBOTT, EDDIE                   33325   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
 23     ABBOTT, EDDIE                   34316   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
 24     ABBOTT, EDDIE                   35307   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
 25     ABBOTT, EDDIE                   36298   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ABERNATHY,      Barney Davis,
 26                                     5625    8/1/2022     Secured: $0.00
        MELINA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ABERNATHY,
 27                     Laredo, LLC     11375   8/1/2022     Secured: $0.00
        MELINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 28 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ABERNATHY,       Nueces Bay,
 28                                     17122   8/1/2022     Secured: $0.00
        MELINA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ABERNATHY,       Talen Texas
 29                                     22867   8/1/2022     Secured: $0.00
        MELINA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ABERNATHY,       Talen Texas,
 30                                     28616   8/1/2022     Secured: $0.00
        MELINA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ABOVE & BEYOND
                                                             Other Administrative: $0.00
        ENTERPRISES, INC
                                                             Priority: $0.00
        DBA MOONLIGHT Barney Davis,
 31                                     5668    8/1/2022     Secured: $0.00
        BALLROOM &       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CONFERENCE
        CENTER
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ABOVE & BEYOND
                                                             Other Administrative: $0.00
        ENTERPRISES, INC
                                                             Priority: $0.00
        DBA MOONLIGHT
 32                      Laredo, LLC    11418   8/1/2022     Secured: $0.00
        BALLROOM &
                                                             General Unsecured: $0.00 + Unliquidated
        CONFERENCE
        CENTER
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ABOVE & BEYOND
                                                             Other Administrative: $0.00
        ENTERPRISES, INC
                                                             Priority: $0.00
        DBA MOONLIGHT Nueces Bay,
 33                                     17165   8/1/2022     Secured: $0.00
        BALLROOM &       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CONFERENCE
        CENTER
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ABOVE & BEYOND
                                                             Other Administrative: $0.00
        ENTERPRISES, INC
                                                             Priority: $0.00
        DBA MOONLIGHT Talen Texas
 34                                     22910   8/1/2022     Secured: $0.00
        BALLROOM &       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CONFERENCE
        CENTER
                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 29 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        ABOVE & BEYOND
                                                              Other Administrative: $0.00
        ENTERPRISES, INC
                                                              Priority: $0.00
        DBA MOONLIGHT Talen Texas,
 35                                      28659   8/1/2022     Secured: $0.00
        BALLROOM &       LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CONFERENCE
        CENTER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
 36     ABREGO, CARLOS                   6637    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
 37     ABREGO, CARLOS Laredo, LLC       12387   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
 38     ABREGO, CARLOS                   18134   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
 39     ABREGO, CARLOS                   23868   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
 40     ABREGO, CARLOS                   29628   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
 41     ABRI, SEAN                       5566    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 30 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
 42     ABRI, SEAN        Laredo, LLC     11316   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
 43     ABRI, SEAN                        17063   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
 44     ABRI, SEAN                        22808   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
 45     ABRI, SEAN                        28557   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
 46     ABTAHI, MICHAEL                   8218    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
 47     ABTAHI, MICHAEL Laredo, LLC       13968   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
 48     ABTAHI, MICHAEL                   19715   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 31 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
 49     ABTAHI, MICHAEL                   25449   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
 50     ABTAHI, MICHAEL                   31209   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACADIA                                                 Priority: $0.00
 51     INSURANCE         Laredo, LLC     2548    7/31/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $2,281,389.38 + Unliquidated

                                                               Total: $2,281,389.38 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACADIA                                                 Priority: $0.00
                          Barney Davis,
 52     INSURANCE                         2768    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $2,281,389.38 + Unliquidated

                                                               Total: $2,281,389.38 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACADIA                                                 Priority: $0.00
                          Nueces Bay,
 53     INSURANCE                         2780    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $2,281,389.38 + Unliquidated

                                                               Total: $2,281,389.38 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ACBANG,           Barney Davis,
 54                                       9215    8/1/2022     Secured: $0.00
        AVELINO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ACBANG,
 55                       Laredo, LLC     14965   8/1/2022     Secured: $0.00
        AVELINO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 32 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ACBANG,       Nueces Bay,
 56                                   20712   8/1/2022     Secured: $0.00
        AVELINO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ACBANG,       Talen Texas
 57                                   26444   8/1/2022     Secured: $0.00
        AVELINO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ACBANG,       Talen Texas,
 58                                   32206   8/1/2022     Secured: $0.00
        AVELINO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACCEPTANCE
                                                           Priority: $0.00
        INDEMNITY     Barney Davis,
 59                                   959     7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $206,459.54 + Unliquidated
        COMPANY
                                                           Total: $206,459.54 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACCEPTANCE
                                                           Priority: $0.00
        INDEMNITY
 60                   Laredo, LLC     1056    7/28/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $206,459.54 + Unliquidated
        COMPANY
                                                           Total: $206,459.54 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACCEPTANCE
                                                           Priority: $0.00
        INDEMNITY     Nueces Bay,
 61                                   1087    7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $206,459.54 + Unliquidated
        COMPANY
                                                           Total: $206,459.54 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACCEPTANCE
                                                           Priority: $0.00
        INDEMNITY     Barney Davis,
 62                                   1155    7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $4,143,881.73 + Unliquidated
        COMPANY
                                                           Total: $4,143,881.73 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 33 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACCEPTANCE
                                                               Priority: $0.00
        INDEMNITY         Nueces Bay,
 63                                       1203    7/28/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $4,143,881.73 + Unliquidated
        COMPANY
                                                               Total: $4,143,881.73 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACCEPTANCE
                                                               Priority: $0.00
        INDEMNITY         Talen Energy
 64                                       1267    7/28/2022    Secured: $0.00
        INSURANCE         Supply, LLC
                                                               General Unsecured: $4,143,881.73 + Unliquidated
        COMPANY
                                                               Total: $4,143,881.73 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACCEPTANCE
                                                               Priority: $0.00
        INDEMNITY
 65                       Laredo, LLC     1281    7/28/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $4,143,881.73 + Unliquidated
        COMPANY
                                                               Total: $4,143,881.73 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
 66     ACCIPITER, ERIC                   7179    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
 67     ACCIPITER, ERIC   Laredo, LLC     12929   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
 68     ACCIPITER, ERIC                   18676   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
 69     ACCIPITER, ERIC                   24410   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 34 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
 70     ACCIPITER, ERIC                   30170   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACE AMERICAN                                           Priority: $0.00
                          Nueces Bay,
 71     INSURANCE                         790     7/28/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $101,441,323.00 + Unliquidated

                                                               Total: $101,441,323.00 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACE AMERICAN                                           Priority: $0.00
 72     INSURANCE         Laredo, LLC     947     7/28/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $101,441,323.00 + Unliquidated

                                                               Total: $101,441,323.00 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACE AMERICAN                                           Priority: $0.00
                          Barney Davis,
 73     INSURANCE                         953     7/28/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $101,441,323.00 + Unliquidated

                                                               Total: $101,441,323.00 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACE AMERICAN                                           Priority: $0.00
 74     INSURANCE         Laredo, LLC     1022    7/29/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $91,137,570.11 + Unliquidated

                                                               Total: $91,137,570.11 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ACE AMERICAN                                           Priority: $0.00
                          Barney Davis,
 75     INSURANCE                         1561    7/28/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $91,137,570.11 + Unliquidated

                                                               Total: $91,137,570.11 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 35 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE AMERICAN                                       Priority: $0.00
                       Nueces Bay,
 76     INSURANCE                      1795   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $91,137,570.11 + Unliquidated

                                                           Total: $91,137,570.11 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE FIRE
                                                           Priority: $0.00
        UNDERWRITERS
 77                    Laredo, LLC     1631   7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $1,506,064.94 + Unliquidated
        COMPANY
                                                           Total: $1,506,064.94 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE FIRE
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
 78                                    1692   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,506,064.94 + Unliquidated
        COMPANY
                                                           Total: $1,506,064.94 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE FIRE
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
 79                                    1796   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,506,064.94 + Unliquidated
        COMPANY
                                                           Total: $1,506,064.94 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE PROPERTY
                                                           Priority: $0.00
        AND CASUALTY   Nueces Bay,
 80                                    1475   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $10,666,918.10 + Unliquidated
        COMPANY
                                                           Total: $10,666,918.10 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ACE PROPERTY
                                                           Priority: $0.00
        AND CASUALTY   Barney Davis,
 81                                    1831   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $10,666,918.10 + Unliquidated
        COMPANY
                                                           Total: $10,666,918.10 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 36 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACE PROPERTY
                                                            Priority: $0.00
        AND CASUALTY
 82                    Laredo, LLC     1837    7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $10,666,918.10 + Unliquidated
        COMPANY
                                                            Total: $10,666,918.10 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACEVEDO,
 83                    Laredo, LLC     32335   8/1/2022     Secured: $0.00
        AMERICA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACEVEDO,       Barney Davis,
 84                                    33326   8/1/2022     Secured: $0.00
        AMERICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACEVEDO,       Nueces Bay,
 85                                    34317   8/1/2022     Secured: $0.00
        AMERICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACEVEDO,       Talen Texas
 86                                    35308   8/1/2022     Secured: $0.00
        AMERICA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACEVEDO,       Talen Texas,
 87                                    36299   8/1/2022     Secured: $0.00
        AMERICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 37 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
 88     ACEVEDO, JOSE                   7653    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
 89     ACEVEDO, JOSE   Laredo, LLC     13403   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
 90     ACEVEDO, JOSE                   19150   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
 91     ACEVEDO, JOSE                   24884   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
 92     ACEVEDO, JOSE                   30644   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
 93     ACEVESO, RENE                   8536    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
 94     ACEVESO, RENE   Laredo, LLC     14286   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 38 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
 95     ACEVESO, RENE                   20033   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
 96     ACEVESO, RENE                   25765   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
 97     ACEVESO, RENE                   31527   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
 98     ACH, CLAYTON                    6796    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
 99     ACH, CLAYTON    Laredo, LLC     12546   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
100     ACH, CLAYTON                    18293   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
101     ACH, CLAYTON                    24027   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 39 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
102     ACH, CLAYTON                   29787   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACKENBACK,     Barney Davis,
103                                    4393    8/1/2022     Secured: $0.00
        KRISTINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACKENBACK,
104                    Laredo, LLC     10143   8/1/2022     Secured: $0.00
        KRISTINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACKENBACK,     Nueces Bay,
105                                    15890   8/1/2022     Secured: $0.00
        KRISTINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACKENBACK,     Talen Texas
106                                    21636   8/1/2022     Secured: $0.00
        KRISTINE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ACKENBACK,     Talen Texas,
107                                    27384   8/1/2022     Secured: $0.00
        KRISTINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ACUITY, A
                                                            Priority: $0.00
        MUTUAL         Barney Davis,
108                                    1515    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $5,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $5,000,000.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 40 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ACUITY, A
                                                              Priority: $0.00
        MUTUAL
109                      Laredo, LLC     1535    7/29/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $5,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $5,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ACUITY, A
                                                              Priority: $0.00
        MUTUAL           Nueces Bay,
110                                      1550    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $5,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $5,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
111     ADAIR, MELISSA                   8200    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
112     ADAIR, MELISSA   Laredo, LLC     13950   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
113     ADAIR, MELISSA                   19697   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
114     ADAIR, MELISSA                   25431   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
115     ADAIR, MELISSA                   31191   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 41 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
116     ADAM, KIMBERLY                   5821    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
117     ADAM, KIMBERLY Laredo, LLC       11571   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
118     ADAM, KIMBERLY                   17318   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
119     ADAM, KIMBERLY                   23063   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
120     ADAM, KIMBERLY                   28812   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADAMS,           Barney Davis,
121                                      3658    8/1/2022     Secured: $0.00
        CHARLENE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADAMS,
122                      Laredo, LLC     9408    8/1/2022     Secured: $0.00
        CHARLENE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 42 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADAMS,           Nueces Bay,
123                                      15155   8/1/2022     Secured: $0.00
        CHARLENE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADAMS,           Talen Texas
124                                      20902   8/1/2022     Secured: $0.00
        CHARLENE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADAMS,           Talen Texas,
125                                      26649   8/1/2022     Secured: $0.00
        CHARLENE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
126     ADAMS, CHARLES                   5732    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
127     ADAMS, CHARLES Laredo, LLC       11482   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
128     ADAMS, CHARLES                   17229   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
129     ADAMS, CHARLES                   22974   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 43 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
130     ADAMS, CHARLES                   28723   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
131     ADAMS, DANIEL                    4078    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
132     ADAMS, DANIEL    Laredo, LLC     9828    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
133     ADAMS, DANIEL                    15575   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
134     ADAMS, DANIEL                    21321   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
135     ADAMS, DANIEL                    27069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADAMS,           Barney Davis,
136                                      7922    8/1/2022     Secured: $0.00
        LATORSHA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 44 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS,
137                     Laredo, LLC     13672   8/1/2022     Secured: $0.00
        LATORSHA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS,          Nueces Bay,
138                                     19419   8/1/2022     Secured: $0.00
        LATORSHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS,          Talen Texas
139                                     25153   8/1/2022     Secured: $0.00
        LATORSHA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS,          Talen Texas,
140                                     30913   8/1/2022     Secured: $0.00
        LATORSHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
141     ADAMS, MARCOS                   8061    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
142     ADAMS, MARCOS Laredo, LLC       13811   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
143     ADAMS, MARCOS                   19558   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 45 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
144     ADAMS, MARCOS                   25292   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
145     ADAMS, MARCOS                   31052   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS, MARY     Barney Davis,
146                                     4490    8/1/2022     Secured: $0.00
        JANE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS, MARY
147                     Laredo, LLC     10240   8/1/2022     Secured: $0.00
        JANE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS, MARY     Nueces Bay,
148                                     15987   8/1/2022     Secured: $0.00
        JANE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS, MARY     Talen Texas
149                                     21733   8/1/2022     Secured: $0.00
        JANE            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADAMS, MARY     Talen Texas,
150                                     27481   8/1/2022     Secured: $0.00
        JANE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 46 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
151     ADAMS, MELINDA                   5626    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
152     ADAMS, MELINDA Laredo, LLC       11376   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
153     ADAMS, MELINDA                   17123   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
154     ADAMS, MELINDA                   22868   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
155     ADAMS, MELINDA                   28617   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
156     ADAMS, WES                       9145    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
157     ADAMS, WES       Laredo, LLC     14895   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 47 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
158     ADAMS, WES                    20642   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
159     ADAMS, WES                    26374   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
160     ADAMS, WES                    32136   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADAMS,        Barney Davis,
161                                   6212    8/1/2022     Secured: $0.00
        YAKSHICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADAMS,
162                   Laredo, LLC     11962   8/1/2022     Secured: $0.00
        YAKSHICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADAMS,        Nueces Bay,
163                                   17709   8/1/2022     Secured: $0.00
        YAKSHICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADAMS,        Talen Texas
164                                   23454   8/1/2022     Secured: $0.00
        YAKSHICA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 48 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADAMS,          Talen Texas,
165                                    29203   8/1/2022     Secured: $0.00
        YAKSHICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADAMS‐NELSON,
166                   Laredo, LLC      32336   8/1/2022     Secured: $0.00
        ELIZABETH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADAMS‐NELSON, Barney Davis,
167                                    33327   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADAMS‐NELSON, Nueces Bay,
168                                    34318   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADAMS‐NELSON, Talen Texas
169                                    35309   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADAMS‐NELSON, Talen Texas,
170                                    36300   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ADAPTIVE                                            Priority: $0.00
                       Barney Davis,
171     MODIFICATIONS,                 5906    8/1/2022     Secured: $0.00
                       LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 49 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ADAPTIVE                                             Priority: $0.00
172     MODIFICATIONS, Laredo, LLC      11656   8/1/2022     Secured: $0.00
        LLC                                                  General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ADAPTIVE                                             Priority: $0.00
                       Nueces Bay,
173     MODIFICATIONS,                  17403   8/1/2022     Secured: $0.00
                       LLC
        LLC                                                  General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ADAPTIVE                                             Priority: $0.00
                       Talen Texas
174     MODIFICATIONS,                  23148   8/1/2022     Secured: $0.00
                       Group, LLC
        LLC                                                  General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ADAPTIVE                                             Priority: $0.00
                       Talen Texas,
175     MODIFICATIONS,                  28897   8/1/2022     Secured: $0.00
                       LLC
        LLC                                                  General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADEGBENRO,      Barney Davis,
176                                     6799    8/1/2022     Secured: $0.00
        CLEMENT         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADEGBENRO,
177                     Laredo, LLC     12549   8/1/2022     Secured: $0.00
        CLEMENT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ADEGBENRO,      Nueces Bay,
178                                     18296   8/1/2022     Secured: $0.00
        CLEMENT         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 50 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBENRO,    Talen Texas
179                                   24030   8/1/2022     Secured: $0.00
        CLEMENT       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBENRO,    Talen Texas,
180                                   29790   8/1/2022     Secured: $0.00
        CLEMENT       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBOYE,     Barney Davis,
181                                   5995    8/1/2022     Secured: $0.00
        KUNLE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBOYE,
182                   Laredo, LLC     11745   8/1/2022     Secured: $0.00
        KUNLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBOYE,     Nueces Bay,
183                                   17492   8/1/2022     Secured: $0.00
        KUNLE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBOYE,     Talen Texas
184                                   23237   8/1/2022     Secured: $0.00
        KUNLE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADEGBOYE,     Talen Texas,
185                                   28986   8/1/2022     Secured: $0.00
        KUNLE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 51 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ADENIRAN,         Barney Davis,
186                                       8283    8/1/2022     Secured: $0.00
        MODINAT           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ADENIRAN,
187                       Laredo, LLC     14033   8/1/2022     Secured: $0.00
        MODINAT
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ADENIRAN,         Nueces Bay,
188                                       19780   8/1/2022     Secured: $0.00
        MODINAT           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ADENIRAN,         Talen Texas
189                                       25514   8/1/2022     Secured: $0.00
        MODINAT           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ADENIRAN,         Talen Texas,
190                                       31274   8/1/2022     Secured: $0.00
        MODINAT           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
191     ADENIYI, JOSEPH                   7665    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
192     ADENIYI, JOSEPH Laredo, LLC       13415   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 52 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
193     ADENIYI, JOSEPH                   19162   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
194     ADENIYI, JOSEPH                   24896   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
195     ADENIYI, JOSEPH                   30656   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
196     ADEOGUN, AYO                      5730    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
197     ADEOGUN, AYO      Laredo, LLC     11480   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
198     ADEOGUN, AYO                      17227   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
199     ADEOGUN, AYO                      22972   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 53 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
200     ADEOGUN, AYO                   28721   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADEOYE,        Barney Davis,
201                                    3733    8/1/2022     Secured: $0.00
        ADEBAYO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADEOYE,
202                    Laredo, LLC     9483    8/1/2022     Secured: $0.00
        ADEBAYO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADEOYE,        Nueces Bay,
203                                    15230   8/1/2022     Secured: $0.00
        ADEBAYO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADEOYE,        Talen Texas
204                                    20977   8/1/2022     Secured: $0.00
        ADEBAYO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ADEOYE,        Talen Texas,
205                                    26724   8/1/2022     Secured: $0.00
        ADEBAYO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ADIRONDACK                                          Priority: $0.00
                       Barney Davis,
206     INSURANCE                      2597    7/31/2022    Secured: $0.00
                       LLC
        EXCHANGE                                            General Unsecured: $614,011.00 + Unliquidated

                                                            Total: $614,011.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 54 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ADIRONDACK                                         Priority: $0.00
207     INSURANCE     Laredo, LLC     2634    7/31/2022    Secured: $0.00
        EXCHANGE                                           General Unsecured: $614,011.00 + Unliquidated

                                                           Total: $614,011.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ADIRONDACK                                         Priority: $0.00
                      Nueces Bay,
208     INSURANCE                     2658    7/31/2022    Secured: $0.00
                      LLC
        EXCHANGE                                           General Unsecured: $614,011.00 + Unliquidated

                                                           Total: $614,011.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADKINSON,     Barney Davis,
209                                   4984    8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADKINSON,
210                   Laredo, LLC     10734   8/1/2022     Secured: $0.00
        GLORIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADKINSON,     Nueces Bay,
211                                   16481   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADKINSON,     Talen Texas
212                                   22226   8/1/2022     Secured: $0.00
        GLORIA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ADKINSON,     Talen Texas,
213                                   27975   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 55 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADKISON,         Barney Davis,
214                                      5546    8/1/2022     Secured: $0.00
        FLORENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADKISON,
215                      Laredo, LLC     11296   8/1/2022     Secured: $0.00
        FLORENCE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADKISON,         Nueces Bay,
216                                      17043   8/1/2022     Secured: $0.00
        FLORENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADKISON,         Talen Texas
217                                      22788   8/1/2022     Secured: $0.00
        FLORENCE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ADKISON,         Talen Texas,
218                                      28537   8/1/2022     Secured: $0.00
        FLORENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
219     ADRIAN, HECTOR Laredo, LLC       32337   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
220     ADRIAN, HECTOR                   33328   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 56 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
221     ADRIAN, HECTOR                   34319   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
222     ADRIAN, HECTOR                   35310   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
223     ADRIAN, HECTOR                   36301   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AEGIS SECURITY                                        Priority: $0.00
                         Nueces Bay,
224     INSURANCE                        1804    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $5,337,883.00 + Unliquidated

                                                              Total: $5,337,883.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AEGIS SECURITY                                        Priority: $0.00
                         Barney Davis,
225     INSURANCE                        37316   6/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $5,337,883.00 + Unliquidated

                                                              Total: $5,337,883.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AEGIS SECURITY                                        Priority: $0.00
226     INSURANCE        Laredo, LLC     37338   6/29/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $5,337,883.00 + Unliquidated

                                                              Total: $5,337,883.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
227     AFFLECK, TRIP                    6269    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 57 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
228     AFFLECK, TRIP   Laredo, LLC     12019   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
229     AFFLECK, TRIP                   17766   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
230     AFFLECK, TRIP                   23501   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
231     AFFLECK, TRIP                   29260   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
232     AFHAMI, AMIR                    6365    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
233     AFHAMI, AMIR    Laredo, LLC     12115   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
234     AFHAMI, AMIR                    17862   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 58 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
235     AFHAMI, AMIR                   23597   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
236     AFHAMI, AMIR                   29356   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AGCS MARINE                                         Priority: $0.00
                       Nueces Bay,
237     INSURANCE                      948     7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $19,546,972.00 + Unliquidated

                                                            Total: $19,546,972.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AGCS MARINE                                         Priority: $0.00
                       Barney Davis,
238     INSURANCE                      1318    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $19,546,972.00 + Unliquidated

                                                            Total: $19,546,972.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AGCS MARINE                                         Priority: $0.00
239     INSURANCE      Laredo, LLC     1324    7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $19,546,972.00 + Unliquidated

                                                            Total: $19,546,972.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AGHAHOWA,      Barney Davis,
240                                    8961    8/1/2022     Secured: $0.00
        TERESA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 59 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGHAHOWA,
241                     Laredo, LLC     14711   8/1/2022     Secured: $0.00
        TERESA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGHAHOWA,       Nueces Bay,
242                                     20458   8/1/2022     Secured: $0.00
        TERESA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGHAHOWA,       Talen Texas
243                                     26190   8/1/2022     Secured: $0.00
        TERESA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGHAHOWA,       Talen Texas,
244                                     31952   8/1/2022     Secured: $0.00
        TERESA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
245     AGNEW, PAMELA                   5190    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
246     AGNEW, PAMELA Laredo, LLC       10940   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
247     AGNEW, PAMELA                   16687   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 60 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
248     AGNEW, PAMELA                   22432   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
249     AGNEW, PAMELA                   28181   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AGRICULTURAL
                                                             Priority: $0.00
        WORKERS         Nueces Bay,
250                                     965     7/28/2022    Secured: $0.00
        MUTUAL AUTO     LLC
                                                             General Unsecured: $2,612,233.85 + Unliquidated
        INSURANCE
                                                             Total: $2,612,233.85 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AGRICULTURAL
                                                             Priority: $0.00
        WORKERS         Barney Davis,
251                                     980     7/28/2022    Secured: $0.00
        MUTUAL AUTO     LLC
                                                             General Unsecured: $2,612,233.85 + Unliquidated
        INSURANCE
                                                             Total: $2,612,233.85 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AGRICULTURAL
                                                             Priority: $0.00
        WORKERS
252                     Laredo, LLC     1184    7/28/2022    Secured: $0.00
        MUTUAL AUTO
                                                             General Unsecured: $2,612,233.85 + Unliquidated
        INSURANCE
                                                             Total: $2,612,233.85 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGUAYO,
253                     Laredo, LLC     32338   8/1/2022     Secured: $0.00
        VICTORIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGUAYO,         Barney Davis,
254                                     33329   8/1/2022     Secured: $0.00
        VICTORIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 61 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUAYO,       Nueces Bay,
255                                   34320   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUAYO,       Talen Texas
256                                   35311   8/1/2022     Secured: $0.00
        VICTORIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUAYO,       Talen Texas,
257                                   36302   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUILAR,      Barney Davis,
258                                   6435    8/1/2022     Secured: $0.00
        ANTONIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUILAR,
259                   Laredo, LLC     12185   8/1/2022     Secured: $0.00
        ANTONIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUILAR,      Nueces Bay,
260                                   17932   8/1/2022     Secured: $0.00
        ANTONIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUILAR,      Talen Texas
261                                   23667   8/1/2022     Secured: $0.00
        ANTONIO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 62 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas,
262                                      29426   8/1/2022     Secured: $0.00
        ANTONIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
263     AGUILAR, BROCK Laredo, LLC       32339   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
264     AGUILAR, BROCK                   33330   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
265     AGUILAR, BROCK                   34321   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
266     AGUILAR, BROCK                   35312   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
267     AGUILAR, BROCK                   36303   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Barney Davis,
268                                      4061    8/1/2022     Secured: $0.00
        CONSUELO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 63 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,
269                      Laredo, LLC     9811    8/1/2022     Secured: $0.00
        CONSUELO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Nueces Bay,
270                                      15558   8/1/2022     Secured: $0.00
        CONSUELO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas
271                                      21304   8/1/2022     Secured: $0.00
        CONSUELO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas,
272                                      27052   8/1/2022     Secured: $0.00
        CONSUELO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
273     AGUILAR, DAVID                   6096    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
274     AGUILAR, DAVID   Laredo, LLC     11846   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
275     AGUILAR, DAVID                   17593   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 64 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
276     AGUILAR, DAVID                   23338   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
277     AGUILAR, DAVID                   29087   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Barney Davis,
278                                      7175    8/1/2022     Secured: $0.00
        ENRIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,
279                      Laredo, LLC     12925   8/1/2022     Secured: $0.00
        ENRIQUE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Nueces Bay,
280                                      18672   8/1/2022     Secured: $0.00
        ENRIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas
281                                      24406   8/1/2022     Secured: $0.00
        ENRIQUE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas,
282                                      30166   8/1/2022     Secured: $0.00
        ENRIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 65 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
283     AGUILAR, EVELIA Laredo, LLC       32340   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
284     AGUILAR, EVELIA                   33331   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
285     AGUILAR, EVELIA                   34322   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
286     AGUILAR, EVELIA                   35313   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
287     AGUILAR, EVELIA                   36304   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        AGUILAR,
288                       Laredo, LLC     32341   8/1/2022     Secured: $0.00
        FABIOLA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        AGUILAR,          Barney Davis,
289                                       33332   8/1/2022     Secured: $0.00
        FABIOLA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 66 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Nueces Bay,
290                                      34323   8/1/2022     Secured: $0.00
        FABIOLA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas
291                                      35314   8/1/2022     Secured: $0.00
        FABIOLA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILAR,         Talen Texas,
292                                      36305   8/1/2022     Secured: $0.00
        FABIOLA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
293     AGUILAR, MARIA                   5127    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
294     AGUILAR, MARIA Laredo, LLC       10877   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
295     AGUILAR, MARIA                   16624   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
296     AGUILAR, MARIA                   22369   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 67 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
297     AGUILAR, MARIA                   28118   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
298     AGUILAR, MARIA Laredo, LLC       32342   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
299     AGUILAR, MARIA                   33333   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
300     AGUILAR, MARIA                   34324   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
301     AGUILAR, MARIA                   35315   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
302     AGUILAR, MARIA                   36306   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
303     AGUILAR, ROGER                   8654    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 68 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
304     AGUILAR, ROGER Laredo, LLC       14404   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
305     AGUILAR, ROGER                   20151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
306     AGUILAR, ROGER                   25883   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
307     AGUILAR, ROGER                   31645   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILLON,
308                      Laredo, LLC     32343   8/1/2022     Secured: $0.00
        ADRIAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILLON,        Barney Davis,
309                                      33334   8/1/2022     Secured: $0.00
        ADRIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AGUILLON,        Nueces Bay,
310                                      34325   8/1/2022     Secured: $0.00
        ADRIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 69 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUILLON,     Talen Texas
311                                   35316   8/1/2022     Secured: $0.00
        ADRIAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUILLON,     Talen Texas,
312                                   36307   8/1/2022     Secured: $0.00
        ADRIAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUIRRE,
313                   Laredo, LLC     32344   8/1/2022     Secured: $0.00
        CRYSTAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUIRRE,      Barney Davis,
314                                   33335   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUIRRE,      Nueces Bay,
315                                   34326   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUIRRE,      Talen Texas
316                                   35317   8/1/2022     Secured: $0.00
        CRYSTAL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AGUIRRE,      Talen Texas,
317                                   36308   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 70 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
318     AGUIRRE, JOEL                   7595    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
319     AGUIRRE, JOEL   Laredo, LLC     13345   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
320     AGUIRRE, JOEL                   19092   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
321     AGUIRRE, JOEL                   24826   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
322     AGUIRRE, JOEL                   30586   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGUIRRE,        Barney Davis,
323                                     9117    8/1/2022     Secured: $0.00
        VICTORIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AGUIRRE,
324                     Laredo, LLC     14867   8/1/2022     Secured: $0.00
        VICTORIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 71 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AGUIRRE,       Nueces Bay,
325                                    20614   8/1/2022     Secured: $0.00
        VICTORIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AGUIRRE,       Talen Texas
326                                    26346   8/1/2022     Secured: $0.00
        VICTORIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AGUIRRE,       Talen Texas,
327                                    32108   8/1/2022     Secured: $0.00
        VICTORIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
328     AHMED, ASFAK                   6455    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
329     AHMED, ASFAK   Laredo, LLC     12205   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
330     AHMED, ASFAK                   17952   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
331     AHMED, ASFAK                   23687   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 72 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
332     AHMED, ASFAK                    29446   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
333     AHMED, HALIMA Laredo, LLC       32345   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
334     AHMED, HALIMA                   33336   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
335     AHMED, HALIMA                   34327   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
336     AHMED, HALIMA                   35318   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
337     AHMED, HALIMA                   36309   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AHMEEN,         Barney Davis,
338                                     9193    8/1/2022     Secured: $0.00
        ZAMEROOL        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 73 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AHMEEN,
339                     Laredo, LLC     14943   8/1/2022     Secured: $0.00
        ZAMEROOL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AHMEEN,         Nueces Bay,
340                                     20690   8/1/2022     Secured: $0.00
        ZAMEROOL        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AHMEEN,         Talen Texas
341                                     26422   8/1/2022     Secured: $0.00
        ZAMEROOL        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AHMEEN,         Talen Texas,
342                                     32184   8/1/2022     Secured: $0.00
        ZAMEROOL        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AIG INSURANCE                                        Priority: $0.00
343     COMPANY OF      Laredo, LLC     2986    8/1/2022     Secured: $0.00
        CANADA                                               General Unsecured: $285,000.00 + Unliquidated

                                                             Total: $285,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AIG INSURANCE                                        Priority: $0.00
                        Barney Davis,
344     COMPANY OF                      3213    8/1/2022     Secured: $0.00
                        LLC
        CANADA                                               General Unsecured: $285,000.00 + Unliquidated

                                                             Total: $285,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AIG INSURANCE                                        Priority: $0.00
                        Nueces Bay,
345     COMPANY OF                      3403    8/1/2022     Secured: $0.00
                        LLC
        CANADA                                               General Unsecured: $285,000.00 + Unliquidated

                                                             Total: $285,000.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 74 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG PROPERTY                                        Priority: $0.00
346     CASUALTY        Laredo, LLC     1703   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $76,848,463.48 + Unliquidated

                                                            Total: $76,848,463.48 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG PROPERTY                                        Priority: $0.00
                        Barney Davis,
347     CASUALTY                        3223   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $76,848,463.48 + Unliquidated

                                                            Total: $76,848,463.48 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG PROPERTY                                        Priority: $0.00
                        Nueces Bay,
348     CASUALTY                        3317   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $76,848,463.48 + Unliquidated

                                                            Total: $76,848,463.48 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
                        Nueces Bay,
349     INSURANCE                       2987   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $30,553,442.32 + Unliquidated

                                                            Total: $30,553,442.32 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
                        Barney Davis,
350     INSURANCE                       2998   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $30,553,442.32 + Unliquidated

                                                            Total: $30,553,442.32 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
351     INSURANCE       Laredo, LLC     3017   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $6,943,708.92 + Unliquidated

                                                            Total: $6,943,708.92 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 75 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
352     INSURANCE       Laredo, LLC     3314   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $30,553,442.32 + Unliquidated

                                                            Total: $30,553,442.32 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
                        Barney Davis,
353     INSURANCE                       3316   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $6,943,708.92 + Unliquidated

                                                            Total: $6,943,708.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
                        Nueces Bay,
354     INSURANCE                       3340   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $6,943,708.92 + Unliquidated

                                                            Total: $6,943,708.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AIG SPECIALTY                                       Priority: $0.00
                        Nueces Bay,
355     INSURANCE                       3356   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $30,553,442.32 + Unliquidated

                                                            Total: $30,553,442.32 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Barney Davis,
356     AINA, ADEMOLA                   3902   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
357     AINA, ADEMOLA   Laredo, LLC     9652   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 76 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
358     AINA, ADEMOLA                     15399   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
359     AINA, ADEMOLA                     21146   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
360     AINA, ADEMOLA                     26893   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
361     AINSLIE, SHERRY                   4685    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
362     AINSLIE, SHERRY   Laredo, LLC     10435   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
363     AINSLIE, SHERRY                   16182   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
364     AINSLIE, SHERRY                   21928   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 77 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
365     AINSLIE, SHERRY                   27676   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AIX SPECIALTY                                          Priority: $0.00
                          Nueces Bay,
366     INSURANCE                         1368    7/29/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $825,606.20 + Unliquidated

                                                               Total: $825,606.20 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AIX SPECIALTY                                          Priority: $0.00
                          Barney Davis,
367     INSURANCE                         1516    7/29/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $825,606.20 + Unliquidated

                                                               Total: $825,606.20 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AIX SPECIALTY                                          Priority: $0.00
368     INSURANCE         Laredo, LLC     1518    7/29/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $825,606.20 + Unliquidated

                                                               Total: $825,606.20 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        AIYEKUSIBE,       Barney Davis,
369                                       3958    8/1/2022     Secured: $0.00
        BAMIDELE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        AIYEKUSIBE,
370                       Laredo, LLC     9708    8/1/2022     Secured: $0.00
        BAMIDELE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        AIYEKUSIBE,       Nueces Bay,
371                                       15455   8/1/2022     Secured: $0.00
        BAMIDELE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 78 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYEKUSIBE,    Talen Texas
372                                    21201   8/1/2022     Secured: $0.00
        BAMIDELE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYEKUSIBE,    Talen Texas,
373                                    26949   8/1/2022     Secured: $0.00
        BAMIDELE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYENIMELO,    Barney Davis,
374                                    3845    8/1/2022     Secured: $0.00
        OLUPERO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYENIMELO,
375                    Laredo, LLC     9595    8/1/2022     Secured: $0.00
        OLUPERO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYENIMELO,    Nueces Bay,
376                                    15342   8/1/2022     Secured: $0.00
        OLUPERO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYENIMELO,    Talen Texas
377                                    21089   8/1/2022     Secured: $0.00
        OLUPERO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AIYENIMELO,    Talen Texas,
378                                    26836   8/1/2022     Secured: $0.00
        OLUPERO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 79 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
379     AKBAR, HASSAN                   7356    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
380     AKBAR, HASSAN   Laredo, LLC     13106   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
381     AKBAR, HASSAN                   18853   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
382     AKBAR, HASSAN                   24587   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
383     AKBAR, HASSAN                   30347   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AKBARY,         Barney Davis,
384                                     6013    8/1/2022     Secured: $0.00
        NOORULLHAQ      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AKBARY,
385                     Laredo, LLC     11763   8/1/2022     Secured: $0.00
        NOORULLHAQ
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 80 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKBARY,         Nueces Bay,
386                                    17510   8/1/2022     Secured: $0.00
        NOORULLHAQ      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKBARY,         Talen Texas
387                                    23255   8/1/2022     Secured: $0.00
        NOORULLHAQ      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKBARY,         Talen Texas,
388                                    29004   8/1/2022     Secured: $0.00
        NOORULLHAQ      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKEJU, OMOTOLA Barney Davis,
389                                    8364    8/1/2022     Secured: $0.00
        OLANIKE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKEJU, OMOTOLA
390                    Laredo, LLC     14114   8/1/2022     Secured: $0.00
        OLANIKE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKEJU, OMOTOLA Nueces Bay,
391                                    19861   8/1/2022     Secured: $0.00
        OLANIKE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKEJU, OMOTOLA Talen Texas
392                                    25594   8/1/2022     Secured: $0.00
        OLANIKE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 81 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AKEJU, OMOTOLA Talen Texas,
393                                      31355   8/1/2022     Secured: $0.00
        OLANIKE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
394     AKERS, DOROTHY Laredo, LLC       32346   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
395     AKERS, DOROTHY                   33337   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
396     AKERS, DOROTHY                   34328   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
397     AKERS, DOROTHY                   35319   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
398     AKERS, DOROTHY                   36310   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AKRIDGE,         Barney Davis,
399                                      6554    8/1/2022     Secured: $0.00
        BRANDON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 82 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKRIDGE,
400                    Laredo, LLC     12304   8/1/2022     Secured: $0.00
        BRANDON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKRIDGE,       Nueces Bay,
401                                    18051   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKRIDGE,       Talen Texas
402                                    23786   8/1/2022     Secured: $0.00
        BRANDON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AKRIDGE,       Talen Texas,
403                                    29545   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
404     ALAMIA, ANNA                   6411    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
405     ALAMIA, ANNA   Laredo, LLC     12161   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
406     ALAMIA, ANNA                   17908   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 83 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
407     ALAMIA, ANNA                   23643   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
408     ALAMIA, ANNA                   29402   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
409     ALAMIA, JUAN                   5052    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
410     ALAMIA, JUAN   Laredo, LLC     10802   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
411     ALAMIA, JUAN                   16549   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
412     ALAMIA, JUAN                   22294   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
413     ALAMIA, JUAN                   28043   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 84 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
414     ALANIS, JOSE                     7654    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
415     ALANIS, JOSE     Laredo, LLC     13404   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
416     ALANIS, JOSE                     19151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
417     ALANIS, JOSE                     24885   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
418     ALANIS, JOSE                     30645   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
419     ALANIZ, ERASMO Laredo, LLC       32347   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
420     ALANIZ, ERASMO                   33338   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 85 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
421     ALANIZ, ERASMO                     34329   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
422     ALANIZ, ERASMO                     35320   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
423     ALANIZ, ERASMO                     36311   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
424     ALANIZ, MARIA I. Laredo, LLC       32348   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
425     ALANIZ, MARIA I.                   33339   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
426     ALANIZ, MARIA I.                   34330   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
427     ALANIZ, MARIA I.                   35321   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 86 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
428     ALANIZ, MARIA I.                   36312   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
429     ALARCON, MARIA                     5509    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
430     ALARCON, MARIA Laredo, LLC         11259   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
431     ALARCON, MARIA                     17006   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
432     ALARCON, MARIA                     22751   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
433     ALARCON, MARIA                     28500   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
434     ALBA, DAVID                        6918    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 87 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
435     ALBA, DAVID    Laredo, LLC     12668   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
436     ALBA, DAVID                    18415   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
437     ALBA, DAVID                    24149   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
438     ALBA, DAVID                    29909   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALBANESE,      Barney Davis,
439                                    3917    8/1/2022     Secured: $0.00
        AMBER          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALBANESE,
440                    Laredo, LLC     9667    8/1/2022     Secured: $0.00
        AMBER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALBANESE,      Nueces Bay,
441                                    15414   8/1/2022     Secured: $0.00
        AMBER          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 88 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALBANESE,        Talen Texas
442                                      21161   8/1/2022     Secured: $0.00
        AMBER            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALBANESE,        Talen Texas,
443                                      26908   8/1/2022     Secured: $0.00
        AMBER            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
444     ALBERT, RONALD                   8663    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
445     ALBERT, RONALD Laredo, LLC       14413   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
446     ALBERT, RONALD                   20160   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
447     ALBERT, RONALD                   25892   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
448     ALBERT, RONALD                   31654   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 89 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALBERTSONS
449                     Laredo, LLC      2094   8/1/2022     Secured: $0.00
        COMPANIES, INC.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALBERTSONS      Barney Davis,
450                                      2610   8/1/2022     Secured: $0.00
        COMPANIES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALBERTSONS      Nueces Bay,
451                                      3282   8/1/2022     Secured: $0.00
        COMPANIES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALBERTSONS
452                     Laredo, LLC      3434   8/1/2022     Secured: $0.00
        COMPANIES, INC.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALBERTSONS      Nueces Bay,
453                                      3437   8/1/2022     Secured: $0.00
        COMPANIES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALBERTSONS      Barney Davis,
454                                      3457   8/1/2022     Secured: $0.00
        COMPANIES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Barney Davis,
455     ALBRECHT, MATT                   4499   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 90 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
456     ALBRECHT, MATT Laredo, LLC       10249   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
457     ALBRECHT, MATT                   15996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
458     ALBRECHT, MATT                   21742   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
459     ALBRECHT, MATT                   27490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
460     ALBRO, IVORY                     7408    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
461     ALBRO, IVORY     Laredo, LLC     13158   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
462     ALBRO, IVORY                     18905   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 91 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
463     ALBRO, IVORY                      24639   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
464     ALBRO, IVORY                      30399   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
465     ALCAZAR, DEBBIE                   6956    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
466     ALCAZAR, DEBBIE Laredo, LLC       12706   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
467     ALCAZAR, DEBBIE                   18453   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
468     ALCAZAR, DEBBIE                   24187   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
469     ALCAZAR, DEBBIE                   29947   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 92 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
470     ALEGRIA, LUPE                   8027    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
471     ALEGRIA, LUPE   Laredo, LLC     13777   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
472     ALEGRIA, LUPE                   19524   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
473     ALEGRIA, LUPE                   25258   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
474     ALEGRIA, LUPE                   31018   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
475     ALEMAN, DAVID   Laredo, LLC     32349   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
476     ALEMAN, DAVID                   33340   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 93 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
477     ALEMAN, DAVID                    34331   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
478     ALEMAN, DAVID                    35322   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
479     ALEMAN, DAVID                    36313   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
480     ALEMAN, RONALD                   8664    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
481     ALEMAN, RONALD Laredo, LLC       14414   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
482     ALEMAN, RONALD                   20161   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
483     ALEMAN, RONALD                   25893   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 94 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
484     ALEMAN, RONALD                   31655   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALEXANDER,       Barney Davis,
485                                      7066    8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALEXANDER,
486                      Laredo, LLC     12816   8/1/2022     Secured: $0.00
        DONNA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALEXANDER,       Nueces Bay,
487                                      18563   8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALEXANDER,       Talen Texas
488                                      24297   8/1/2022     Secured: $0.00
        DONNA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALEXANDER,       Talen Texas,
489                                      30057   8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALEXANDER,       Barney Davis,
490                                      7431    8/1/2022     Secured: $0.00
        JAMES            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 95 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
491                   Laredo, LLC     13181   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
492                                   18928   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
493                                   24662   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
494                                   30422   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
495                                   7601    8/1/2022     Secured: $0.00
        JOHN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
496                   Laredo, LLC     13351   8/1/2022     Secured: $0.00
        JOHN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
497                                   19098   8/1/2022     Secured: $0.00
        JOHN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 96 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
498                                   24832   8/1/2022     Secured: $0.00
        JOHN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
499                                   30592   8/1/2022     Secured: $0.00
        JOHN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
500                                   4512    8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
501                   Laredo, LLC     10262   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
502                                   16009   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
503                                   21755   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
504                                   27503   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 97 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
505                                   3861    8/1/2022     Secured: $0.00
        RUTH          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
506                   Laredo, LLC     9611    8/1/2022     Secured: $0.00
        RUTH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
507                                   15358   8/1/2022     Secured: $0.00
        RUTH          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
508                                   21105   8/1/2022     Secured: $0.00
        RUTH          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
509                                   26852   8/1/2022     Secured: $0.00
        RUTH          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
510                                   8935    8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
511                   Laredo, LLC     14685   8/1/2022     Secured: $0.00
        TAMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 98 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
512                                   20432   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
513                                   26164   8/1/2022     Secured: $0.00
        TAMMY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
514                                   31926   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
515                                   3897    8/1/2022     Secured: $0.00
        VATRESE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
516                   Laredo, LLC     9647    8/1/2022     Secured: $0.00
        VATRESE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
517                                   15394   8/1/2022     Secured: $0.00
        VATRESE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
518                                   21141   8/1/2022     Secured: $0.00
        VATRESE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 99 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
519                                   26888   8/1/2022     Secured: $0.00
        VATRESE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
520                                   3898    8/1/2022     Secured: $0.00
        VIOLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
521                   Laredo, LLC     9648    8/1/2022     Secured: $0.00
        VIOLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
522                                   15395   8/1/2022     Secured: $0.00
        VIOLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
523                                   21142   8/1/2022     Secured: $0.00
        VIOLA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
524                                   26889   8/1/2022     Secured: $0.00
        VIOLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
525                                   3729    8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 100 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
526                   Laredo, LLC     9479    8/1/2022     Secured: $0.00
        WILLIAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
527                                   15226   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas
528                                   20973   8/1/2022     Secured: $0.00
        WILLIAM       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Talen Texas,
529                                   26720   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Barney Davis,
530                                   9175    8/1/2022     Secured: $0.00
        WINNISE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,
531                   Laredo, LLC     14925   8/1/2022     Secured: $0.00
        WINNISE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALEXANDER,    Nueces Bay,
532                                   20672   8/1/2022     Secured: $0.00
        WINNISE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 101 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDER,      Talen Texas
533                                    26404   8/1/2022     Secured: $0.00
        WINNISE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDER,      Talen Texas,
534                                    32166   8/1/2022     Secured: $0.00
        WINNISE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDROVICH, Barney Davis,
535                                    3907    8/1/2022     Secured: $0.00
        ALEXEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDROVICH,
536                    Laredo, LLC     9657    8/1/2022     Secured: $0.00
        ALEXEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDROVICH, Nueces Bay,
537                                    15404   8/1/2022     Secured: $0.00
        ALEXEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDROVICH, Talen Texas
538                                    21151   8/1/2022     Secured: $0.00
        ALEXEY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALEXANDROVICH, Talen Texas,
539                                    26898   8/1/2022     Secured: $0.00
        ALEXEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 102 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
540     ALFANO, KEITH                    7795    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
541     ALFANO, KEITH    Laredo, LLC     13545   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
542     ALFANO, KEITH                    19292   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
543     ALFANO, KEITH                    25026   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
544     ALFANO, KEITH                    30786   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
545     ALFARO, AURORA                   6475    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
546     ALFARO, AURORA Laredo, LLC       12225   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 103 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
547     ALFARO, AURORA                    17972   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
548     ALFARO, AURORA                    23707   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
549     ALFARO, AURORA                    29466   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
550     ALFARO, VALERIE Laredo, LLC       32350   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
551     ALFARO, VALERIE                   33341   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
552     ALFARO, VALERIE                   34332   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
553     ALFARO, VALERIE                   35323   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 104 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
554     ALFARO, VALERIE                   36314   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ALGOOD,           Barney Davis,
555                                       4453    8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ALGOOD,
556                       Laredo, LLC     10203   8/1/2022     Secured: $0.00
        MARGARET
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ALGOOD,           Nueces Bay,
557                                       15950   8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ALGOOD,           Talen Texas
558                                       21696   8/1/2022     Secured: $0.00
        MARGARET          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ALGOOD,           Talen Texas,
559                                       27444   8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
560     ALIMAYU, KHAIR                    7837    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 105 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
561     ALIMAYU, KHAIR   Laredo, LLC     13587   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
562     ALIMAYU, KHAIR                   19334   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
563     ALIMAYU, KHAIR                   25068   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
564     ALIMAYU, KHAIR                   30828   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AL‐KHALIL,       Barney Davis,
565                                      7384    8/1/2022     Secured: $0.00
        IBRAHIM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AL‐KHALIL,
566                      Laredo, LLC     13134   8/1/2022     Secured: $0.00
        IBRAHIM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AL‐KHALIL,       Nueces Bay,
567                                      18881   8/1/2022     Secured: $0.00
        IBRAHIM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 106 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AL‐KHALIL,       Talen Texas
568                                      24615   8/1/2022     Secured: $0.00
        IBRAHIM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AL‐KHALIL,       Talen Texas,
569                                      30375   8/1/2022     Secured: $0.00
        IBRAHIM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALL AMERICA                                           Priority: $0.00
                         Nueces Bay,
570     INSURANCE                        1688    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALL AMERICA                                           Priority: $0.00
                         Barney Davis,
571     INSURANCE                        1833    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALL AMERICA                                           Priority: $0.00
572     INSURANCE        Laredo, LLC     1914    7/29/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
573     ALLAN, BARBARA Laredo, LLC       32351   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
574     ALLAN, BARBARA                   33342   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 107 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
575     ALLAN, BARBARA                   34333   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
576     ALLAN, BARBARA                   35324   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
577     ALLAN, BARBARA                   36315   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLBRIGHT,       Barney Davis,
578                                      7146    8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLBRIGHT,
579                      Laredo, LLC     12896   8/1/2022     Secured: $0.00
        ELIZABETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLBRIGHT,       Nueces Bay,
580                                      18643   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLBRIGHT,       Talen Texas
581                                      24377   8/1/2022     Secured: $0.00
        ELIZABETH        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 108 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ALLBRIGHT,        Talen Texas,
582                                       30137   8/1/2022     Secured: $0.00
        ELIZABETH         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
583     ALLEN, ADRIENNE                   6050    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
584     ALLEN, ADRIENNE Laredo, LLC       11800   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
585     ALLEN, ADRIENNE                   17547   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
586     ALLEN, ADRIENNE                   23292   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
587     ALLEN, ADRIENNE                   29041   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
588     ALLEN, ALANNA                     3871    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 109 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
589     ALLEN, ALANNA   Laredo, LLC     9621    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
590     ALLEN, ALANNA                   15368   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
591     ALLEN, ALANNA                   21115   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
592     ALLEN, ALANNA                   26862   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
593     ALLEN, ALICE                    6333    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
594     ALLEN, ALICE    Laredo, LLC     12083   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
595     ALLEN, ALICE                    17830   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 110 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
596     ALLEN, ALICE                    23565   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
597     ALLEN, ALICE                    29324   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
598     ALLEN, ALISSA                   3910    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
599     ALLEN, ALISSA   Laredo, LLC     9660    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
600     ALLEN, ALISSA                   15407   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
601     ALLEN, ALISSA                   21154   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
602     ALLEN, ALISSA                   26901   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 111 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
603     ALLEN, AMANDA                   5893    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
604     ALLEN, AMANDA Laredo, LLC       11643   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
605     ALLEN, AMANDA                   17390   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
606     ALLEN, AMANDA                   23135   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
607     ALLEN, AMANDA                   28884   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
608     ALLEN, ANGELA                   3759    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
609     ALLEN, ANGELA   Laredo, LLC     9509    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 112 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
610     ALLEN, ANGELA                      15256   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
611     ALLEN, ANGELA                      21003   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
612     ALLEN, ANGELA                      26750   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
613     ALLEN, CHRISTINE                   6753    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
614     ALLEN, CHRISTINE Laredo, LLC       12503   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
615     ALLEN, CHRISTINE                   18250   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
616     ALLEN, CHRISTINE                   23984   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 113 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
617     ALLEN, CHRISTINE                   29744   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
618     ALLEN, DARIA                       6904    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
619     ALLEN, DARIA       Laredo, LLC     12654   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
620     ALLEN, DARIA                       18401   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
621     ALLEN, DARIA                       24135   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
622     ALLEN, DARIA                       29895   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
623     ALLEN, DASHA                       6914    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 114 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
624     ALLEN, DASHA   Laredo, LLC     12664   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
625     ALLEN, DASHA                   18411   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
626     ALLEN, DASHA                   24145   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
627     ALLEN, DASHA                   29905   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
628     ALLEN, DENA                    3878    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
629     ALLEN, DENA    Laredo, LLC     9628    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
630     ALLEN, DENA                    15375   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 115 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
631     ALLEN, DENA                      21122   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
632     ALLEN, DENA                      26869   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
633     ALLEN, DERRICK                   6228    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
634     ALLEN, DERRICK                   7009    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
635     ALLEN, DERRICK   Laredo, LLC     11978   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
636     ALLEN, DERRICK   Laredo, LLC     12759   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
637     ALLEN, DERRICK                   17725   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 116 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
638     ALLEN, DERRICK                   18506   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
639     ALLEN, DERRICK                   23470   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
640     ALLEN, DERRICK                   24240   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
641     ALLEN, DERRICK                   29219   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
642     ALLEN, DERRICK                   30000   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
643     ALLEN, GAYE                      5599    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
644     ALLEN, GAYE      Laredo, LLC     11349   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 117 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
645     ALLEN, GAYE                     17096   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
646     ALLEN, GAYE                     22841   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
647     ALLEN, GAYE                     28590   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
648     ALLEN, GLORIA                   4985    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
649     ALLEN, GLORIA   Laredo, LLC     10735   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
650     ALLEN, GLORIA                   16482   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
651     ALLEN, GLORIA                   22227   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 118 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
652     ALLEN, GLORIA                      27976   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
653     ALLEN, JESSE       Laredo, LLC     32352   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
654     ALLEN, JESSE                       33343   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
655     ALLEN, JESSE                       34334   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
656     ALLEN, JESSE                       35325   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
657     ALLEN, JESSE                       36316   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
658     ALLEN, JULIE ANN                   7715    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 119 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
659     ALLEN, JULIE ANN Laredo, LLC       13465   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
660     ALLEN, JULIE ANN                   19212   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
661     ALLEN, JULIE ANN                   24946   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
662     ALLEN, JULIE ANN                   30706   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
663     ALLEN, LAURA                       7927    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
664     ALLEN, LAURA       Laredo, LLC     13677   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
665     ALLEN, LAURA                       19424   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 120 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
666     ALLEN, LAURA                    25158   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
667     ALLEN, LAURA                    30918   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
668     ALLEN, MAGGIE   Laredo, LLC     32353   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
669     ALLEN, MAGGIE                   33344   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
670     ALLEN, MAGGIE                   34335   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
671     ALLEN, MAGGIE                   35326   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
672     ALLEN, MAGGIE                   36317   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 121 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
673     ALLEN, MARCY                     3792    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
674     ALLEN, MARCY     Laredo, LLC     9542    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
675     ALLEN, MARCY                     15289   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
676     ALLEN, MARCY                     21036   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
677     ALLEN, MARCY                     26783   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
678     ALLEN, MICHAEL                   5151    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
679     ALLEN, MICHAEL   Laredo, LLC     10901   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 122 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
680     ALLEN, MICHAEL                   16648   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
681     ALLEN, MICHAEL                   22393   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
682     ALLEN, MICHAEL                   28142   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
683     ALLEN, NORMAN                    8354    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
684     ALLEN, NORMAN Laredo, LLC        14104   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
685     ALLEN, NORMAN                    19851   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
686     ALLEN, NORMAN                    25585   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 123 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
687     ALLEN, NORMAN                   31345   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
688     ALLEN, REGGIE                   8526    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
689     ALLEN, REGGIE   Laredo, LLC     14276   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
690     ALLEN, REGGIE                   20023   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
691     ALLEN, REGGIE                   25755   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
692     ALLEN, REGGIE                   31517   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
693     ALLEN, ROBIN                    8627    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 124 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
694     ALLEN, ROBIN   Laredo, LLC     14377   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
695     ALLEN, ROBIN                   20124   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
696     ALLEN, ROBIN                   25856   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
697     ALLEN, ROBIN                   31618   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
698     ALLEN, TAMMY                   3713    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
699     ALLEN, TAMMY   Laredo, LLC     9463    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
700     ALLEN, TAMMY                   15210   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 125 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
701     ALLEN, TAMMY                   20957   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
702     ALLEN, TAMMY                   26704   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
703     ALLEY, MARK    Laredo, LLC     32354   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
704     ALLEY, MARK                    33345   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
705     ALLEY, MARK                    34336   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
706     ALLEY, MARK                    35327   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
707     ALLEY, MARK                    36318   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 126 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLHANDS,        Barney Davis,
708                                      5618    8/1/2022     Secured: $0.00
        LAWRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLHANDS,
709                      Laredo, LLC     11368   8/1/2022     Secured: $0.00
        LAWRENCE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLHANDS,        Nueces Bay,
710                                      17115   8/1/2022     Secured: $0.00
        LAWRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLHANDS,        Talen Texas
711                                      22860   8/1/2022     Secured: $0.00
        LAWRENCE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALLHANDS,        Talen Texas,
712                                      28609   8/1/2022     Secured: $0.00
        LAWRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLIANZ GLOBAL
                                                              Priority: $0.00
        RISKS US
713                      Laredo, LLC     963     7/28/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $227,069,491.00 + Unliquidated
        COMPANY
                                                              Total: $227,069,491.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 127 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIANZ GLOBAL
                                                             Priority: $0.00
        RISKS US         Barney Davis,
714                                      1271   7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $227,069,491.00 + Unliquidated
        COMPANY
                                                             Total: $227,069,491.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIANZ GLOBAL
                                                             Priority: $0.00
        RISKS US         Nueces Bay,
715                                      1401   7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $227,069,491.00 + Unliquidated
        COMPANY
                                                             Total: $227,069,491.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIANZ
                                                             Priority: $0.00
        UNDERWRITERS
716                      Laredo, LLC     1502   7/29/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIANZ
                                                             Priority: $0.00
        UNDERWRITERS     Nueces Bay,
717                                      1506   7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIANZ
                                                             Priority: $0.00
        UNDERWRITERS     Barney Davis,
718                                      1531   7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALLIED           Nueces Bay,
719                                      2631   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $452,951.00 + Unliquidated

                                                             Total: $452,951.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 128 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALLIED         Barney Davis,
720                                    2710   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $452,951.00 + Unliquidated

                                                           Total: $452,951.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALLIED
721                    Laredo, LLC     2717   7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $452,951.00 + Unliquidated

                                                           Total: $452,951.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLIED TRUST                                       Priority: $0.00
                       Barney Davis,
722     INSURANCE                      1367   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $6,443,590.44 + Unliquidated

                                                           Total: $6,443,590.44 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLIED TRUST                                       Priority: $0.00
                       Nueces Bay,
723     INSURANCE                      1372   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $6,443,590.44 + Unliquidated

                                                           Total: $6,443,590.44 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLIED TRUST                                       Priority: $0.00
724     INSURANCE      Laredo, LLC     1375   7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $6,443,590.44 + Unliquidated

                                                           Total: $6,443,590.44 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLIED WORLD                                       Priority: $0.00
725     ASSURANCE      Laredo, LLC     3528   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $118,403.18 + Unliquidated

                                                           Total: $118,403.18 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLIED WORLD                                       Priority: $0.00
                       Nueces Bay,
726     ASSURANCE                      3536   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $118,403.18 + Unliquidated

                                                           Total: $118,403.18 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 129 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIED WORLD                                         Priority: $0.00
                         Barney Davis,
727     ASSURANCE                        3540   8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $118,403.18 + Unliquidated

                                                             Total: $118,403.18 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIED WORLD
                                                             Priority: $0.00
        ASSURANCE
728                      Laredo, LLC     3311   8/1/2022     Secured: $0.00
        COMPANY (U.S.)
                                                             General Unsecured: $30,078,408.95 + Unliquidated
        INC.
                                                             Total: $30,078,408.95 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIED WORLD
                                                             Priority: $0.00
        ASSURANCE        Barney Davis,
729                                      3479   8/1/2022     Secured: $0.00
        COMPANY (U.S.)   LLC
                                                             General Unsecured: $30,078,408.95 + Unliquidated
        INC.
                                                             Total: $30,078,408.95 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIED WORLD
                                                             Priority: $0.00
        ASSURANCE        Nueces Bay,
730                                      3533   8/1/2022     Secured: $0.00
        COMPANY (U.S.)   LLC
                                                             General Unsecured: $30,078,408.95 + Unliquidated
        INC.
                                                             Total: $30,078,408.95 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIED WORLD
                                                             Priority: $0.00
        SPECIALTY        Nueces Bay,
731                                      3440   8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $2,071,691.56 + Unliquidated
        COMPANY
                                                             Total: $2,071,691.56 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLIED WORLD
                                                             Priority: $0.00
        SPECIALTY
732                      Laredo, LLC     3501   8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $2,071,691.56 + Unliquidated
        COMPANY
                                                             Total: $2,071,691.56 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 130 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ALLIED WORLD
                                                               Priority: $0.00
        SPECIALTY         Barney Davis,
733                                       3529    8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $2,071,691.56 + Unliquidated
        COMPANY
                                                               Total: $2,071,691.56 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ALLIED WORLD
                                                               Priority: $0.00
        SURPLUS LINES     Nueces Bay,
734                                       3144    8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $3,409,283.93 + Unliquidated
        COMPANY
                                                               Total: $3,409,283.93 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ALLIED WORLD
                                                               Priority: $0.00
        SURPLUS LINES
735                       Laredo, LLC     3425    8/1/2022     Secured: $0.00
        INSURANCE
                                                               General Unsecured: $3,409,283.93 + Unliquidated
        COMPANY
                                                               Total: $3,409,283.93 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ALLIED WORLD
                                                               Priority: $0.00
        SURPLUS LINES     Barney Davis,
736                                       3527    8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $3,409,283.93 + Unliquidated
        COMPANY
                                                               Total: $3,409,283.93 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
737     ALLISON, EDIE M                   5977    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
738     ALLISON, EDIE M   Laredo, LLC     11727   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
739     ALLISON, EDIE M                   17474   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 131 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
740     ALLISON, EDIE M                   23219   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
741     ALLISON, EDIE M                   28968   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
742     ALLMON, BOLIVER                   3974    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
743     ALLMON, BOLIVER Laredo, LLC       9724    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
744     ALLMON, BOLIVER                   15471   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
745     ALLMON, BOLIVER                   21217   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
746     ALLMON, BOLIVER                   26965   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 132 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLSTATE
                                                              Priority: $0.00
        COUNTY MUTUAL Barney Davis,
747                                       1839   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                              General Unsecured: $144,227.61 + Unliquidated
        COMPANY
                                                              Total: $144,227.61 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLSTATE
                                                              Priority: $0.00
        COUNTY MUTUAL
748                   Laredo, LLC         2466   7/30/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $144,227.61 + Unliquidated
        COMPANY
                                                              Total: $144,227.61 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLSTATE
                                                              Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
749                                       2592   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                              General Unsecured: $144,227.61 + Unliquidated
        COMPANY
                                                              Total: $144,227.61 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLSTATE FIRE &
                                                              Priority: $0.00
        CASUALTY          Barney Davis,
750                                       2308   7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                              General Unsecured: $44,247,753.05 + Unliquidated
        COMPANY
                                                              Total: $44,247,753.05 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLSTATE FIRE &
                                                              Priority: $0.00
        CASUALTY
751                       Laredo, LLC     2345   7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $44,247,753.05 + Unliquidated
        COMPANY
                                                              Total: $44,247,753.05 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ALLSTATE FIRE &
                                                              Priority: $0.00
        CASUALTY          Nueces Bay,
752                                       2739   7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                              General Unsecured: $44,247,753.05 + Unliquidated
        COMPANY
                                                              Total: $44,247,753.05 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 133 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ALLSTATE                                          Priority: $0.00
                      Barney Davis,
753     INDEMNITY                     2349   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $73,759,302.23 + Unliquidated

                                                          Total: $73,759,302.23 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ALLSTATE                                          Priority: $0.00
754     INDEMNITY     Laredo, LLC     2364   7/31/2022    Secured: $0.00
        COMPANY                                           General Unsecured: $73,759,302.23 + Unliquidated

                                                          Total: $73,759,302.23 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ALLSTATE                                          Priority: $0.00
                      Nueces Bay,
755     INDEMNITY                     2651   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $73,759,302.23 + Unliquidated

                                                          Total: $73,759,302.23 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ALLSTATE                                          Priority: $0.00
                      Barney Davis,
756     INSURANCE                     2358   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $33,268,295.19 + Unliquidated

                                                          Total: $33,268,295.19 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ALLSTATE                                          Priority: $0.00
                      Nueces Bay,
757     INSURANCE                     2362   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $33,268,295.19 + Unliquidated

                                                          Total: $33,268,295.19 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        ALLSTATE                                          Priority: $0.00
758     INSURANCE     Laredo, LLC     2454   7/31/2022    Secured: $0.00
        COMPANY                                           General Unsecured: $33,268,295.19 + Unliquidated

                                                          Total: $33,268,295.19 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 134 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLSTATE
                                                           Priority: $0.00
        NORTHBROOK     Barney Davis,
759                                    2313   7/31/2022    Secured: $0.00
        INDEMNITY      LLC
                                                           General Unsecured: $36,449.68 + Unliquidated
        COMPANY
                                                           Total: $36,449.68 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLSTATE
                                                           Priority: $0.00
        NORTHBROOK     Nueces Bay,
760                                    2369   7/31/2022    Secured: $0.00
        INDEMNITY      LLC
                                                           General Unsecured: $36,449.68 + Unliquidated
        COMPANY
                                                           Total: $36,449.68 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ALLSTATE
                                                           Priority: $0.00
        NORTHBROOK
761                    Laredo, LLC     2462   7/31/2022    Secured: $0.00
        INDEMNITY
                                                           General Unsecured: $36,449.68 + Unliquidated
        COMPANY
                                                           Total: $36,449.68 + Unliquidated
                                                           503(b)(9): $0.00
        ALLSTATE                                           Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
762     CASUALTY       Laredo, LLC     2375   7/31/2022    Secured: $0.00
        INSURANCE                                          General Unsecured: $14,251,915.04 + Unliquidated
        COMPANY
                                                           Total: $14,251,915.04 + Unliquidated

                                                           503(b)(9): $0.00
        ALLSTATE                                           Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Nueces Bay,
763     CASUALTY                       2385   7/31/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $14,251,915.04 + Unliquidated
        COMPANY
                                                           Total: $14,251,915.04 + Unliquidated

                                                           503(b)(9): $0.00
        ALLSTATE                                           Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Barney Davis,
764     CASUALTY                       2875   7/31/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $14,251,915.04 + Unliquidated
        COMPANY
                                                           Total: $14,251,915.04 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 135 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALLSTATE TEXAS   Barney Davis,
765                                      2393   7/31/2022    Secured: $0.00
        LLOYDS, INC.     LLC
                                                             General Unsecured: $137,744,457.89 + Unliquidated

                                                             Total: $137,744,457.89 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALLSTATE TEXAS
766                      Laredo, LLC     2395   7/31/2022    Secured: $0.00
        LLOYDS, INC.
                                                             General Unsecured: $137,744,457.89 + Unliquidated

                                                             Total: $137,744,457.89 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALLSTATE TEXAS   Nueces Bay,
767                                      2401   7/31/2022    Secured: $0.00
        LLOYDS, INC.     LLC
                                                             General Unsecured: $137,744,457.89 + Unliquidated

                                                             Total: $137,744,457.89 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLSTATE VEHICLE
                                                             Priority: $0.00
        AND PROPERTY     Nueces Bay,
768                                      2464   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $592,269,069.82 + Unliquidated
        COMPANY
                                                             Total: $592,269,069.82 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLSTATE VEHICLE
                                                             Priority: $0.00
        AND PROPERTY
769                      Laredo, LLC     2541   7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $592,269,069.82 + Unliquidated
        COMPANY
                                                             Total: $592,269,069.82 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ALLSTATE VEHICLE
                                                             Priority: $0.00
        AND PROPERTY     Barney Davis,
770                                      2880   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $592,269,069.82 + Unliquidated
        COMPANY
                                                             Total: $592,269,069.82 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 136 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
771     ALMAGUER, RICK                   8575    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
772     ALMAGUER, RICK Laredo, LLC       14325   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
773     ALMAGUER, RICK                   20072   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
774     ALMAGUER, RICK                   25804   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
775     ALMAGUER, RICK                   31566   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALMARAZ,
776                      Laredo, LLC     32355   8/1/2022     Secured: $0.00
        ARNOLD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALMARAZ,         Barney Davis,
777                                      33346   8/1/2022     Secured: $0.00
        ARNOLD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 137 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALMARAZ,         Nueces Bay,
778                                      34337   8/1/2022     Secured: $0.00
        ARNOLD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALMARAZ,         Talen Texas
779                                      35328   8/1/2022     Secured: $0.00
        ARNOLD           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALMARAZ,         Talen Texas,
780                                      36319   8/1/2022     Secured: $0.00
        ARNOLD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
781     ALMAREZ, DUANE                   6045    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
782     ALMAREZ, DUANE Laredo, LLC       11795   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
783     ALMAREZ, DUANE                   17542   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
784     ALMAREZ, DUANE                   23287   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 138 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
785     ALMAREZ, DUANE                   29036   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
786     ALMEIDA, MARIA                   8072    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
787     ALMEIDA, MARIA Laredo, LLC       13822   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
788     ALMEIDA, MARIA                   19569   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
789     ALMEIDA, MARIA                   25303   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
790     ALMEIDA, MARIA                   31063   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
791     ALONZO, ADAM                     6284    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 139 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
792     ALONZO, ADAM     Laredo, LLC     12034   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
793     ALONZO, ADAM                     17781   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
794     ALONZO, ADAM                     23516   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
795     ALONZO, ADAM                     29275   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
796     ALONZO, SANDRA                   5565    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
797     ALONZO, SANDRA Laredo, LLC       11315   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
798     ALONZO, SANDRA                   17062   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 140 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
799     ALONZO, SANDRA                   22807   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
800     ALONZO, SANDRA                   28556   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
801     ALSBROOK, BART                   6490    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
802     ALSBROOK, BART Laredo, LLC       12240   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
803     ALSBROOK, BART                   17987   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
804     ALSBROOK, BART                   23722   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
805     ALSBROOK, BART                   29481   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 141 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
806     ALVA, DELIA                    6982    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
807     ALVA, DELIA    Laredo, LLC     12732   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
808     ALVA, DELIA                    18479   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
809     ALVA, DELIA                    24213   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
810     ALVA, DELIA                    29973   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
811     ALVA, JUDY     Laredo, LLC     32356   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
812     ALVA, JUDY                     33347   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 142 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
813     ALVA, JUDY                     34338   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
814     ALVA, JUDY                     35329   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
815     ALVA, JUDY                     36320   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO,      Barney Davis,
816                                    4817    8/1/2022     Secured: $0.00
        ANGELA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO,
817                    Laredo, LLC     10567   8/1/2022     Secured: $0.00
        ANGELA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO,      Nueces Bay,
818                                    16314   8/1/2022     Secured: $0.00
        ANGELA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO,      Talen Texas
819                                    22060   8/1/2022     Secured: $0.00
        ANGELA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 143 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas,
820                                   27808   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Barney Davis,
821                                   7254    8/1/2022     Secured: $0.00
        FREDDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,
822                   Laredo, LLC     13004   8/1/2022     Secured: $0.00
        FREDDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Nueces Bay,
823                                   18751   8/1/2022     Secured: $0.00
        FREDDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas
824                                   24485   8/1/2022     Secured: $0.00
        FREDDY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas,
825                                   30245   8/1/2022     Secured: $0.00
        FREDDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,
826                   Laredo, LLC     32357   8/1/2022     Secured: $0.00
        GONZALO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 144 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Barney Davis,
827                                   33348   8/1/2022     Secured: $0.00
        GONZALO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Nueces Bay,
828                                   34339   8/1/2022     Secured: $0.00
        GONZALO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas
829                                   35330   8/1/2022     Secured: $0.00
        GONZALO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas,
830                                   36321   8/1/2022     Secured: $0.00
        GONZALO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Barney Davis,
831                                   6272    8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,
832                   Laredo, LLC     12022   8/1/2022     Secured: $0.00
        JOSEPH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Nueces Bay,
833                                   17769   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 145 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO,       Talen Texas
834                                    23504   8/1/2022     Secured: $0.00
        JOSEPH          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO,       Talen Texas,
835                                    29263   8/1/2022     Secured: $0.00
        JOSEPH          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO, MARY Barney Davis,
836                                    8161    8/1/2022     Secured: $0.00
        LOUISA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO, MARY
837                    Laredo, LLC     13911   8/1/2022     Secured: $0.00
        LOUISA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO, MARY Nueces Bay,
838                                    19658   8/1/2022     Secured: $0.00
        LOUISA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO, MARY Talen Texas
839                                    25392   8/1/2022     Secured: $0.00
        LOUISA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ALVARADO, MARY Talen Texas,
840                                    31152   8/1/2022     Secured: $0.00
        LOUISA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 146 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Barney Davis,
841                                   8349    8/1/2022     Secured: $0.00
        NORMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,
842                   Laredo, LLC     14099   8/1/2022     Secured: $0.00
        NORMA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Nueces Bay,
843                                   19846   8/1/2022     Secured: $0.00
        NORMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas
844                                   25580   8/1/2022     Secured: $0.00
        NORMA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas,
845                                   31340   8/1/2022     Secured: $0.00
        NORMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,
846                   Laredo, LLC     32358   8/1/2022     Secured: $0.00
        RAMON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Barney Davis,
847                                   33349   8/1/2022     Secured: $0.00
        RAMON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 147 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Nueces Bay,
848                                   34340   8/1/2022     Secured: $0.00
        RAMON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas
849                                   35331   8/1/2022     Secured: $0.00
        RAMON         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas,
850                                   36322   8/1/2022     Secured: $0.00
        RAMON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Barney Davis,
851                                   8820    8/1/2022     Secured: $0.00
        SHEREE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,
852                   Laredo, LLC     14570   8/1/2022     Secured: $0.00
        SHEREE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Nueces Bay,
853                                   20317   8/1/2022     Secured: $0.00
        SHEREE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ALVARADO,     Talen Texas
854                                   26049   8/1/2022     Secured: $0.00
        SHEREE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 148 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVARADO,          Talen Texas,
855                                        31811   8/1/2022     Secured: $0.00
        SHEREE             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVARADO,          Barney Davis,
856                                        6208    8/1/2022     Secured: $0.00
        VICENTE            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVARADO,
857                        Laredo, LLC     11958   8/1/2022     Secured: $0.00
        VICENTE
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVARADO,          Nueces Bay,
858                                        17705   8/1/2022     Secured: $0.00
        VICENTE            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVARADO,          Talen Texas
859                                        23450   8/1/2022     Secured: $0.00
        VICENTE            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVARADO,          Talen Texas,
860                                        29199   8/1/2022     Secured: $0.00
        VICENTE            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
861     ALVAREZ JR, SAUL                   8754    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 149 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
862     ALVAREZ JR, SAUL Laredo, LLC       14504   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
863     ALVAREZ JR, SAUL                   20251   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
864     ALVAREZ JR, SAUL                   25983   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
865     ALVAREZ JR, SAUL                   31745   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVAREZ,           Barney Davis,
866                                        6691    8/1/2022     Secured: $0.00
        CHARLES            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVAREZ,
867                        Laredo, LLC     12441   8/1/2022     Secured: $0.00
        CHARLES
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ALVAREZ,           Nueces Bay,
868                                        18188   8/1/2022     Secured: $0.00
        CHARLES            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 150 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALVAREZ,         Talen Texas
869                                      23922   8/1/2022     Secured: $0.00
        CHARLES          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALVAREZ,         Talen Texas,
870                                      29682   8/1/2022     Secured: $0.00
        CHARLES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
871     ALVAREZ, JANET                   3722    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
872     ALVAREZ, JANET   Laredo, LLC     9472    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
873     ALVAREZ, JANET                   15219   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
874     ALVAREZ, JANET                   20966   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
875     ALVAREZ, JANET                   26713   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 151 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
876     ALVAREZ, JERRY                   7541    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
877     ALVAREZ, JERRY   Laredo, LLC     13291   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
878     ALVAREZ, JERRY                   19038   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
879     ALVAREZ, JERRY                   24772   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
880     ALVAREZ, JERRY                   30532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
881     ALVAREZ, JOSE                    4316    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
882     ALVAREZ, JOSE    Laredo, LLC     10066   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 152 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
883     ALVAREZ, JOSE                   15813   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
884     ALVAREZ, JOSE                   21559   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
885     ALVAREZ, JOSE                   27307   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALVAREZ,        Barney Davis,
886                                     9289    8/1/2022     Secured: $0.00
        MARGARITA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALVAREZ,
887                     Laredo, LLC     15039   8/1/2022     Secured: $0.00
        MARGARITA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALVAREZ,        Nueces Bay,
888                                     20786   8/1/2022     Secured: $0.00
        MARGARITA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ALVAREZ,        Talen Texas
889                                     26518   8/1/2022     Secured: $0.00
        MARGARITA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 153 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ALVAREZ,         Talen Texas,
890                                      32280   8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
891     ALVAREZ, MARIE                   4463    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
892     ALVAREZ, MARIE   Laredo, LLC     10213   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
893     ALVAREZ, MARIE                   15960   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
894     ALVAREZ, MARIE                   21706   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
895     ALVAREZ, MARIE                   27454   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
896     ALVAREZ, ROY                     4649    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 154 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
897     ALVAREZ, ROY    Laredo, LLC     10399   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
898     ALVAREZ, ROY                    16146   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
899     ALVAREZ, ROY                    21892   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
900     ALVAREZ, ROY                    27640   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
901     ALVAREZ, SAUL   Laredo, LLC     32359   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
902     ALVAREZ, SAUL                   33350   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
903     ALVAREZ, SAUL                   34341   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 155 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
904     ALVAREZ, SAUL                   35332   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
905     ALVAREZ, SAUL                   36323   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
906     ALZATE, JUAN                    4337    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
907     ALZATE, JUAN    Laredo, LLC     10087   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
908     ALZATE, JUAN                    15834   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
909     ALZATE, JUAN                    21580   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
910     ALZATE, JUAN                    27328   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 156 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
911     AMADOR, JOE   Laredo, LLC     32360   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
912     AMADOR, JOE                   33351   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
913     AMADOR, JOE                   34342   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
914     AMADOR, JOE                   35333   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
915     AMADOR, JOE                   36324   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMADOR,       Barney Davis,
916                                   5826    8/1/2022     Secured: $0.00
        LILLIANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMADOR,
917                   Laredo, LLC     11576   8/1/2022     Secured: $0.00
        LILLIANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 157 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMADOR,       Nueces Bay,
918                                   17323   8/1/2022     Secured: $0.00
        LILLIANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMADOR,       Talen Texas
919                                   23068   8/1/2022     Secured: $0.00
        LILLIANA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMADOR,       Talen Texas,
920                                   28817   8/1/2022     Secured: $0.00
        LILLIANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
921     AMASON, PAM                   8375    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
922     AMASON, PAM   Laredo, LLC     14125   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
923     AMASON, PAM                   19872   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
924     AMASON, PAM                   25605   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 158 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
925     AMASON, PAM                    31366   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
926     AMAYA, MAYRA                   5430    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
927     AMAYA, MAYRA   Laredo, LLC     11180   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
928     AMAYA, MAYRA                   16927   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
929     AMAYA, MAYRA                   22672   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
930     AMAYA, MAYRA                   28421   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AMBERSON,      Barney Davis,
931                                    5962    8/1/2022     Secured: $0.00
        CHELSEA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 159 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMBERSON,
932                    Laredo, LLC    11712   8/1/2022     Secured: $0.00
        CHELSEA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMBERSON,      Nueces Bay,
933                                   17459   8/1/2022     Secured: $0.00
        CHELSEA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMBERSON,      Talen Texas
934                                   23204   8/1/2022     Secured: $0.00
        CHELSEA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AMBERSON,      Talen Texas,
935                                   28953   8/1/2022     Secured: $0.00
        CHELSEA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICA                                            Other Administrative: $0.00
        CASUALTY                                           Priority: $0.00
                       Nueces Bay,
936     COMPANY OF                    2076    7/30/2022    Secured: $0.00
                       LLC
        READING,                                           General Unsecured: $2,310,795.00 + Unliquidated
        PENNSYLVANIA
                                                           Total: $2,310,795.00 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICA                                            Other Administrative: $0.00
        CASUALTY                                           Priority: $0.00
937     COMPANY OF     Laredo, LLC    2209    7/30/2022    Secured: $0.00
        READING,                                           General Unsecured: $2,310,795.00 + Unliquidated
        PENNSYLVANIA
                                                           Total: $2,310,795.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN
                                                           Priority: $0.00
        ALTERNATIVE    Nueces Bay,
938                                   1397    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,000,000.00 + Unliquidated
        CORPORATION
                                                           Total: $1,000,000.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 160 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        ALTERNATIVE
939                   Laredo, LLC     1505   7/29/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $1,000,000.00 + Unliquidated
        CORPORATION
                                                          Total: $1,000,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        ALTERNATIVE   Barney Davis,
940                                   1564   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $1,000,000.00 + Unliquidated
        CORPORATION
                                                          Total: $1,000,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        AUTOMOBILE    Barney Davis,
941                                   1046   7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $5,835.00 + Unliquidated
        COMPANY
                                                          Total: $5,835.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        AUTOMOBILE
942                   Laredo, LLC     1327   7/28/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $5,835.00 + Unliquidated
        COMPANY
                                                          Total: $5,835.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        AUTOMOBILE    Nueces Bay,
943                                   1330   7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $5,835.00 + Unliquidated
        COMPANY
                                                          Total: $5,835.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        BANKERS       Barney Davis,
944                                   1866   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $6,464,499.19 + Unliquidated
        COMPANY
                                                          Total: $6,464,499.19 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        BANKERS       Nueces Bay,
945                                   1871   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $6,464,499.19 + Unliquidated
        COMPANY
                                                          Total: $6,464,499.19 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 161 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN
                                                               Priority: $0.00
        BANKERS
946                       Laredo, LLC     2007    7/29/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $6,464,499.19 + Unliquidated
        COMPANY
                                                               Total: $6,464,499.19 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN BEST                                          Priority: $0.00
                          Barney Davis,
947     ASSISTED LIVING                   5648    8/1/2022     Secured: $0.00
                          LLC
        LLC                                                    General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN BEST                                          Priority: $0.00
948     ASSISTED LIVING   Laredo, LLC     11398   8/1/2022     Secured: $0.00
        LLC                                                    General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN BEST                                          Priority: $0.00
                          Nueces Bay,
949     ASSISTED LIVING                   17145   8/1/2022     Secured: $0.00
                          LLC
        LLC                                                    General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN BEST                                          Priority: $0.00
                          Talen Texas
950     ASSISTED LIVING                   22890   8/1/2022     Secured: $0.00
                          Group, LLC
        LLC                                                    General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN BEST                                          Priority: $0.00
                          Talen Texas,
951     ASSISTED LIVING                   28639   8/1/2022     Secured: $0.00
                          LLC
        LLC                                                    General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        AMERICAN                                               Other Administrative: $0.00
        CASUALTY                                               Priority: $0.00
                          Barney Davis,
952     COMPANY OF                        2193    7/30/2022    Secured: $0.00
                          LLC
        READING,                                               General Unsecured: $2,310,795.00 + Unliquidated
        PENNSYLVANIA
                                                               Total: $2,310,795.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 162 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        ECONOMY         Nueces Bay,
953                                     2222   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $20,234,545.77 + Unliquidated
        COMPANY
                                                            Total: $20,234,545.77 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        ECONOMY         Barney Davis,
954                                     2379   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $20,234,545.77 + Unliquidated
        COMPANY
                                                            Total: $20,234,545.77 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        ECONOMY
955                     Laredo, LLC     2461   7/30/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $20,234,545.77 + Unliquidated
        COMPANY
                                                            Total: $20,234,545.77 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        EMPIRE SURPLUS Barney Davis,
956                                     1952   7/30/2022    Secured: $0.00
        LINES INSURANCE LLC
                                                            General Unsecured: $214,538.07 + Unliquidated
        COMPANY
                                                            Total: $214,538.07 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        EMPIRE SURPLUS Nueces Bay,
957                                     1962   7/30/2022    Secured: $0.00
        LINES INSURANCE LLC
                                                            General Unsecured: $214,358.07 + Unliquidated
        COMPANY
                                                            Total: $214,358.07 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        EMPIRE SURPLUS
958                     Laredo, LLC     1975   7/30/2022    Secured: $0.00
        LINES INSURANCE
                                                            General Unsecured: $214,538.07 + Unliquidated
        COMPANY
                                                            Total: $214,538.07 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 163 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        AMERICAN
                                                             Other Administrative: $0.00
        FAMILY CONNECT
                                                             Priority: $0.00
        PROPERTY AND   Nueces Bay,
959                                     2220    7/29/2022    Secured: $0.00
        CASUALTY       LLC
                                                             General Unsecured: $4,154,996.00 + Unliquidated
        INSURANCE
        COMPANY
                                                             Total: $4,154,996.00 + Unliquidated
                                                             503(b)(9): $0.00
        AMERICAN
                                                             Other Administrative: $0.00
        FAMILY CONNECT
                                                             Priority: $0.00
        PROPERTY AND   Barney Davis,
960                                     37311   6/29/2022    Secured: $0.00
        CASUALTY       LLC
                                                             General Unsecured: $4,154,996.00 + Unliquidated
        INSURANCE
        COMPANY
                                                             Total: $4,154,996.00 + Unliquidated
                                                             503(b)(9): $0.00
        AMERICAN
                                                             Other Administrative: $0.00
        FAMILY CONNECT
                                                             Priority: $0.00
        PROPERTY AND
961                    Laredo, LLC      37325   6/29/2022    Secured: $0.00
        CASUALTY
                                                             General Unsecured: $4,154,996.00 + Unliquidated
        INSURANCE
        COMPANY
                                                             Total: $4,154,996.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        FAMILY HOME     Nueces Bay,
962                                     1272    7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $29,421.85 + Unliquidated
        COMPANY
                                                             Total: $29,421.85 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        FAMILY HOME
963                     Laredo, LLC     1426    7/28/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $29,421.85 + Unliquidated
        COMPANY
                                                             Total: $29,421.85 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        FAMILY HOME     Barney Davis,
964                                     1497    7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $29,421.85 + Unliquidated
        COMPANY
                                                             Total: $29,421.85 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        FAMILY MUTUAL Nueces Bay,
965                                     2429    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                             General Unsecured: $17,520.00 + Unliquidated
        COMPANY, S.I.
                                                             Total: $17,520.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 164 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN
                                                              Priority: $0.00
        FAMILY MUTUAL Barney Davis,
966                                      37312   6/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                              General Unsecured: $17,520.00 + Unliquidated
        COMPANY, S.I.
                                                              Total: $17,520.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN
                                                              Priority: $0.00
        FAMILY MUTUAL
967                   Laredo, LLC        37353   6/29/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $17,520.00 + Unliquidated
        COMPANY, S.I.
                                                              Total: $17,520.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN
                                                              Priority: $0.00
        FEDERATION       Barney Davis,
968                                      2910    8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN
                                                              Priority: $0.00
        FEDERATION
969                      Laredo, LLC     3023    8/1/2022     Secured: $0.00
        INSURANCE
                                                              General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN
                                                              Priority: $0.00
        FEDERATION       Nueces Bay,
970                                      3244    8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN FIRE &                                       Priority: $0.00
                        Barney Davis,
971     CASUALTY                         2135    7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                               General Unsecured: $1,020,000.00 + Unliquidated

                                                              Total: $1,020,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AMERICAN FIRE &                                       Priority: $0.00
                        Nueces Bay,
972     CASUALTY                         2224    7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                               General Unsecured: $1,023,700.00 + Unliquidated

                                                              Total: $1,023,700.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 165 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN FIRE &                                     Priority: $0.00
973     CASUALTY        Laredo, LLC     2376   7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $1,020,000.00 + Unliquidated

                                                            Total: $1,020,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN FIRE &                                     Priority: $0.00
                        Barney Davis,
974     CASUALTY                        2604   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $1,023,700.00 + Unliquidated

                                                            Total: $1,023,700.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN FIRE &                                     Priority: $0.00
975     CASUALTY        Laredo, LLC     2669   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $1,023,700.00 + Unliquidated

                                                            Total: $1,023,700.00 + Unliquidated
                                                            503(b)(9): $0.00
        AMERICAN                                            Other Administrative: $0.00
        GUARANTEE AND                                       Priority: $0.00
976     LIABILITY     Laredo, LLC       1199   7/28/2022    Secured: $0.00
        INSURANCE                                           General Unsecured: $77,345,563.19 + Unliquidated
        COMPANY
                                                            Total: $77,345,563.19 + Unliquidated

                                                            503(b)(9): $0.00
        AMERICAN                                            Other Administrative: $0.00
        GUARANTEE AND                                       Priority: $0.00
                      Barney Davis,
977     LIABILITY                       1206   7/28/2022    Secured: $0.00
                      LLC
        INSURANCE                                           General Unsecured: $77,345,563.19 + Unliquidated
        COMPANY
                                                            Total: $77,345,563.19 + Unliquidated

                                                            503(b)(9): $0.00
        AMERICAN                                            Other Administrative: $0.00
        GUARANTEE AND                                       Priority: $0.00
                      Nueces Bay,
978     LIABILITY                       3578   7/28/2022    Secured: $0.00
                      LLC
        INSURANCE                                           General Unsecured: $77,345,563.19 + Unliquidated
        COMPANY
                                                            Total: $77,345,563.19 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 166 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        HALLMARK                                           Priority: $0.00
                       Barney Davis,
979     INSURANCE                      1216   7/29/2022    Secured: $0.00
                       LLC
        COMPANY OF                                         General Unsecured: $9,463,220.00 + Unliquidated
        TEXAS
                                                           Total: $9,463,220.00 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        HALLMARK                                           Priority: $0.00
                       Nueces Bay,
980     INSURANCE                      1370   7/29/2022    Secured: $0.00
                       LLC
        COMPANY OF                                         General Unsecured: $9,463,220.00 + Unliquidated
        TEXAS
                                                           Total: $9,463,220.00 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        HALLMARK                                           Priority: $0.00
981     INSURANCE      Laredo, LLC     1371   7/29/2022    Secured: $0.00
        COMPANY OF                                         General Unsecured: $9,463,220.00 + Unliquidated
        TEXAS
                                                           Total: $9,463,220.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME                                      Priority: $0.00
                      Barney Davis,
982     ASSURANCE                      2999   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $18,936,256.41 + Unliquidated

                                                           Total: $18,936,256.41 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME                                      Priority: $0.00
983     ASSURANCE     Laredo, LLC      3182   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $18,936,256.41 + Unliquidated

                                                           Total: $18,936,256.41 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME                                      Priority: $0.00
984     ASSURANCE     Laredo, LLC      3219   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $18,936,256.41 + Unliquidated

                                                           Total: $18,936,256.41 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 167 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME                                      Priority: $0.00
                      Nueces Bay,
985     ASSURANCE                      3240   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $18,936,256.41 + Unliquidated

                                                           Total: $18,936,256.41 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME
                                                           Priority: $0.00
        INTERNATIONAL Barney Davis,
986                                    3013   8/1/2022     Secured: $0.00
        GROUP UK      LLC
                                                           General Unsecured: $16,895,101.25 + Unliquidated
        LIMITED
                                                           Total: $16,895,101.25 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME
                                                           Priority: $0.00
        INTERNATIONAL Nueces Bay,
987                                    3031   8/1/2022     Secured: $0.00
        GROUP UK      LLC
                                                           General Unsecured: $16,895,101.25 + Unliquidated
        LIMITED
                                                           Total: $16,895,101.25 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN HOME
                                                           Priority: $0.00
        INTERNATIONAL
988                   Laredo, LLC      3393   8/1/2022     Secured: $0.00
        GROUP UK
                                                           General Unsecured: $16,895,101.25 + Unliquidated
        LIMITED
                                                           Total: $16,895,101.25 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN                                           Priority: $0.00
                       Barney Davis,
989     INSURANCE                      1320   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $2,212,660.00 + Unliquidated

                                                           Total: $2,212,660.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN                                           Priority: $0.00
990     INSURANCE      Laredo, LLC     1322   7/28/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $2,212,660.00 + Unliquidated

                                                           Total: $2,212,660.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 168 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN                                               Priority: $0.00
                          Nueces Bay,
991     INSURANCE                         1427    7/28/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $2,212,660.00 + Unliquidated

                                                               Total: $2,212,660.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN                                               Priority: $0.00
                          Barney Davis,
992     MEDICAL                           5678    8/1/2022     Secured: $0.00
                          LLC
        INSTITUTE, INC.                                        General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN                                               Priority: $0.00
993     MEDICAL           Laredo, LLC     11428   8/1/2022     Secured: $0.00
        INSTITUTE, INC.                                        General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN                                               Priority: $0.00
                          Nueces Bay,
994     MEDICAL                           17175   8/1/2022     Secured: $0.00
                          LLC
        INSTITUTE, INC.                                        General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN                                               Priority: $0.00
                          Talen Texas
995     MEDICAL                           22920   8/1/2022     Secured: $0.00
                          Group, LLC
        INSTITUTE, INC.                                        General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        AMERICAN                                               Priority: $0.00
                          Talen Texas,
996     MEDICAL                           28669   8/1/2022     Secured: $0.00
                          LLC
        INSTITUTE, INC.                                        General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 169 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        MERCURY LLOYDS Barney Davis,
997                                     1919   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $17,921,006.16 + Unliquidated
        COMPANY
                                                            Total: $17,921,006.16 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        MERCURY LLOYDS
998                    Laredo, LLC      2037   7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $17,921,006.16 + Unliquidated
        COMPANY
                                                            Total: $17,921,006.16 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        MERCURY LLOYDS Nueces Bay,
999                                     2038   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $17,921,006.16 + Unliquidated
        COMPANY
                                                            Total: $17,921,006.16 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        MODERN HOME     Nueces Bay,
1000                                    1214   7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $7,621,379.32 + Unliquidated
        COMPANY
                                                            Total: $7,621,379.32 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        MODERN HOME     Barney Davis,
1001                                    1428   7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $7,621,379.32 + Unliquidated
        COMPANY
                                                            Total: $7,621,379.32 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        MODERN HOME
1002                    Laredo, LLC     1501   7/28/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $7,621,379.32 + Unliquidated
        COMPANY
                                                            Total: $7,621,379.32 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 170 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN
                                                           Priority: $0.00
        MODERN LLOYDS Nueces Bay,
1003                                   1044   7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $739,388.25 + Unliquidated
        COMPANY
                                                           Total: $739,388.25 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN
                                                           Priority: $0.00
        MODERN LLOYDS Barney Davis,
1004                                   1213   7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $739,388.25 + Unliquidated
        COMPANY
                                                           Total: $739,388.25 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN
                                                           Priority: $0.00
        MODERN LLOYDS
1005                  Laredo, LLC      1500   7/28/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $739,388.25 + Unliquidated
        COMPANY
                                                           Total: $739,388.25 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN
                                                           Other Administrative: $0.00
        MODERN
                                                           Priority: $0.00
        PROPERTY AND   Barney Davis,
1006                                   1219   7/28/2022    Secured: $0.00
        CASUALTY       LLC
                                                           General Unsecured: $11,320,430.59 + Unliquidated
        INSURANCE
        COMPANY
                                                           Total: $11,320,430.59 + Unliquidated

                                                           503(b)(9): $0.00
        AMERICAN
                                                           Other Administrative: $0.00
        MODERN
                                                           Priority: $0.00
        PROPERTY AND   Nueces Bay,
1007                                   1221   7/28/2022    Secured: $0.00
        CASUALTY       LLC
                                                           General Unsecured: $11,320,430.59 + Unliquidated
        INSURANCE
        COMPANY
                                                           Total: $11,320,430.59 + Unliquidated

                                                           503(b)(9): $0.00
        AMERICAN
                                                           Other Administrative: $0.00
        MODERN
                                                           Priority: $0.00
        PROPERTY AND
1008                   Laredo, LLC     1223   7/28/2022    Secured: $0.00
        CASUALTY
                                                           General Unsecured: $11,320,430.59 + Unliquidated
        INSURANCE
        COMPANY
                                                           Total: $11,320,430.59 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 171 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        NATIONAL LIFE   Barney Davis,
1009                                    3343   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $14,847,968.13 + Unliquidated
        COMPANY
                                                            Total: $14,847,968.13 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        NATIONAL LIFE   Nueces Bay,
1010                                    3435   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $14,847,968.13 + Unliquidated
        COMPANY
                                                            Total: $14,847,968.13 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        NATIONAL LIFE
1011                    Laredo, LLC     3446   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $14,847,968.13 + Unliquidated
        COMPANY
                                                            Total: $14,847,968.13 + Unliquidated

                                                            503(b)(9): $0.00
        AMERICAN                                            Other Administrative: $0.00
        NATIONAL LIFE                                       Priority: $0.00
                        Nueces Bay,
1012    INSURANCE                       2922   8/2/2022     Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $14,847,968.13 + Unliquidated
        TEXAS
                                                            Total: $14,847,968.13 + Unliquidated

                                                            503(b)(9): $0.00
        AMERICAN                                            Other Administrative: $0.00
        NATIONAL LIFE                                       Priority: $0.00
                        Barney Davis,
1013    INSURANCE                       3498   8/2/2022     Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $14,847,968.13 + Unliquidated
        TEXAS
                                                            Total: $14,847,968.13 + Unliquidated

                                                            503(b)(9): $0.00
        AMERICAN                                            Other Administrative: $0.00
        NATIONAL LIFE                                       Priority: $0.00
1014    INSURANCE       Laredo, LLC     3507   8/2/2022     Secured: $0.00
        COMPANY OF                                          General Unsecured: $14,847,968.13 + Unliquidated
        TEXAS
                                                            Total: $14,847,968.13 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 172 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        NATIONAL         Nueces Bay,
1015                                     2483   7/31/2022    Secured: $0.00
        LLOYDS ‐ EB HO & LLC
                                                             General Unsecured: $7,338.00 + Unliquidated
        HSP
                                                             Total: $7,338.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        NATIONAL         Barney Davis,
1016                                     2549   7/31/2022    Secured: $0.00
        LLOYDS ‐ EB HO & LLC
                                                             General Unsecured: $7,338.00 + Unliquidated
        HSP
                                                             Total: $7,338.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        NATIONAL         Barney Davis,
1017                                     2713   7/31/2022    Secured: $0.00
        LLOYDS ‐ EB HO & LLC
                                                             General Unsecured: $7,338.00 + Unliquidated
        HSP
                                                             Total: $7,338.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        NATIONAL         Barney Davis,
1018                                     3461   8/1/2022     Secured: $0.00
        PROPERTY AND     LLC
                                                             General Unsecured: $2,550,377.57 + Unliquidated
        CASUALTY
                                                             Total: $2,550,377.57 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        NATIONAL
1019                     Laredo, LLC     3503   8/1/2022     Secured: $0.00
        PROPERTY AND
                                                             General Unsecured: $2,550,377.57 + Unliquidated
        CASUALTY
                                                             Total: $2,550,377.57 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        NATIONAL         Nueces Bay,
1020                                     3566   8/1/2022     Secured: $0.00
        PROPERTY AND     LLC
                                                             General Unsecured: $2,550,377.57 + Unliquidated
        CASUALTY
                                                             Total: $2,550,377.57 + Unliquidated
                                                             503(b)(9): $0.00
        AMERICAN                                             Other Administrative: $0.00
        NATIONAL                                             Priority: $0.00
                         Nueces Bay,
1021    PROPERTY AND                     2534   8/2/2022     Secured: $0.00
                         LLC
        CASUALTY                                             General Unsecured: $2,550,377.57 + Unliquidated
        COMPANY
                                                             Total: $2,550,377.57 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 173 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
                       Barney Davis,
1022    PROPERTY AND                   2628   8/2/2022     Secured: $0.00
                       LLC
        CASUALTY                                           General Unsecured: $2,550,377.57 + Unliquidated
        COMPANY
                                                           Total: $2,550,377.57 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
1023    PROPERTY AND   Laredo, LLC     3577   8/2/2022     Secured: $0.00
        CASUALTY                                           General Unsecured: $2,550,377.57 + Unliquidated
        COMPANY
                                                           Total: $2,550,377.57 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
                       Barney Davis,
1024    PROPERTY AND                   3390   8/1/2022     Secured: $0.00
                       LLC
        CASUALTY OF                                        General Unsecured: $1,804,322.92 + Unliquidated
        LOUISIANA
                                                           Total: $1,804,322.92 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
1025    PROPERTY AND   Laredo, LLC     3396   8/1/2022     Secured: $0.00
        CASUALTY OF                                        General Unsecured: $1,804,322.92 + Unliquidated
        LOUISIANA
                                                           Total: $1,804,322.92 + Unliquidated
                                                           503(b)(9): $0.00
        AMERICAN                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
                       Nueces Bay,
1026    PROPERTY AND                   3560   8/1/2022     Secured: $0.00
                       LLC
        CASUALTY OF                                        General Unsecured: $1,804,322.92 + Unliquidated
        LOUISIANA
                                                           Total: $1,804,322.92 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN
                                                           Priority: $0.00
        PROPERTY       Nueces Bay,
1027                                   2506   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,571,043.26 + Unliquidated
        COMPANY
                                                           Total: $1,571,043.26 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMERICAN
                                                           Priority: $0.00
        PROPERTY       Barney Davis,
1028                                   3495   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,571,043.26 + Unliquidated
        COMPANY
                                                           Total: $1,571,043.26 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 174 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        PROPERTY
1029                     Laredo, LLC     3542   8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $1,571,043.26 + Unliquidated
        COMPANY
                                                             Total: $1,571,043.26 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        RELIABLE         Nueces Bay,
1030                                     1188   7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $1,265,827.20 + Unliquidated
        COMPANY
                                                             Total: $1,265,827.20 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        RELIABLE         Barney Davis,
1031                                     1333   7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $1,265,827.20 + Unliquidated
        COMPANY
                                                             Total: $1,265,827.20 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN
                                                             Priority: $0.00
        RELIABLE
1032                     Laredo, LLC     1439   7/28/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $1,265,827.20 + Unliquidated
        COMPANY
                                                             Total: $1,265,827.20 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN RISK                                        Priority: $0.00
                         Barney Davis,
1033    INSURANCE CO ‐                   2565   7/31/2022    Secured: $0.00
                         LLC
        HSP                                                  General Unsecured: $21,765.00 + Unliquidated

                                                             Total: $21,765.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN RISK                                        Priority: $0.00
                         Nueces Bay,
1034    INSURANCE CO ‐                   2711   7/31/2022    Secured: $0.00
                         LLC
        HSP                                                  General Unsecured: $21,765.00 + Unliquidated

                                                             Total: $21,765.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMERICAN RISK                                        Priority: $0.00
                         Barney Davis,
1035    INSURANCE CO ‐                   2732   7/31/2022    Secured: $0.00
                         LLC
        HSP                                                  General Unsecured: $21,765.00 + Unliquidated

                                                             Total: $21,765.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 175 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        SECURITY      Nueces Bay,
1036                                  1780   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $12,321,692.00 + Unliquidated
        COMPANY
                                                          Total: $12,321,692.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        SECURITY      Barney Davis,
1037                                  2095   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $12,321,692.00 + Unliquidated
        COMPANY
                                                          Total: $12,321,692.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        SECURITY
1038                  Laredo, LLC     2136   7/29/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $12,321,692.00 + Unliquidated
        COMPANY
                                                          Total: $12,321,692.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        STATES
1039                  Laredo, LLC     2278   7/30/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $121,068.22 + Unliquidated
        COMPANY
                                                          Total: $121,068.22 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        STATES        Barney Davis,
1040                                  2280   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $121,068.22 + Unliquidated
        COMPANY
                                                          Total: $121,068.22 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        AMERICAN
                                                          Priority: $0.00
        STATES        Nueces Bay,
1041                                  2298   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $121,068.22 + Unliquidated
        COMPANY
                                                          Total: $121,068.22 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 176 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        ZURICH
1042                   Laredo, LLC     935     7/28/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $3,449,777.98 + Unliquidated
        COMPANY
                                                            Total: $3,449,777.98 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        ZURICH         Barney Davis,
1043                                   1115    7/28/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $3,449,777.98 + Unliquidated
        COMPANY
                                                            Total: $3,449,777.98 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AMERICAN
                                                            Priority: $0.00
        ZURICH         Nueces Bay,
1044                                   1323    7/28/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $3,449,777.98 + Unliquidated
        COMPANY
                                                            Total: $3,449,777.98 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1045    AMES, LEANNE                   4417    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1046    AMES, LEANNE   Laredo, LLC     10167   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1047    AMES, LEANNE                   15914   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1048    AMES, LEANNE                   21660   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 177 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1049    AMES, LEANNE                    27408   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMG AUTO
                                                             Priority: $0.00
        GROUP,          Barney Davis,
1050                                    5713    8/1/2022     Secured: $0.00
        FRANCHISE TAX   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMG AUTO
                                                             Priority: $0.00
        GROUP,
1051                    Laredo, LLC     11463   8/1/2022     Secured: $0.00
        FRANCHISE TAX
                                                             General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMG AUTO
                                                             Priority: $0.00
        GROUP,          Nueces Bay,
1052                                    17210   8/1/2022     Secured: $0.00
        FRANCHISE TAX   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMG AUTO
                                                             Priority: $0.00
        GROUP,          Talen Texas
1053                                    22955   8/1/2022     Secured: $0.00
        FRANCHISE TAX   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMG AUTO
                                                             Priority: $0.00
        GROUP,          Talen Texas,
1054                                    28704   8/1/2022     Secured: $0.00
        FRANCHISE TAX   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMGUARD                                              Priority: $0.00
                        Barney Davis,
1055    INSURANCE                       3019    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 178 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMGUARD                                            Priority: $0.00
                       Nueces Bay,
1056    INSURANCE                      3290   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMGUARD                                            Priority: $0.00
1057    INSURANCE      Laredo, LLC     3358   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMGUARD                                            Priority: $0.00
                       Barney Davis,
1058    INSURANCE                      3361   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMICA MUTUAL                                       Priority: $0.00
1059    INSURANCE      Laredo, LLC     1758   7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $65,957,853.17 + Unliquidated

                                                           Total: $65,957,853.17 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMICA MUTUAL                                       Priority: $0.00
                       Barney Davis,
1060    INSURANCE                      1763   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $65,957,853.17 + Unliquidated

                                                           Total: $65,957,853.17 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AMICA MUTUAL                                       Priority: $0.00
                       Nueces Bay,
1061    INSURANCE                      1775   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $65,957,853.17 + Unliquidated

                                                           Total: $65,957,853.17 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 179 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1062    AMIN, JAMIE                    7463    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1063    AMIN, JAMIE    Laredo, LLC     13213   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1064    AMIN, JAMIE                    18960   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1065    AMIN, JAMIE                    24694   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1066    AMIN, JAMIE                    30454   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1067    AMOLES, MIKE   Laredo, LLC     32361   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1068    AMOLES, MIKE                   33352   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 180 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1069    AMOLES, MIKE                   34343   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1070    AMOLES, MIKE                   35334   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1071    AMOLES, MIKE                   36325   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AMONETTE,      Barney Davis,
1072                                   7089    8/1/2022     Secured: $0.00
        DORITHY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AMONETTE,
1073                   Laredo, LLC     12839   8/1/2022     Secured: $0.00
        DORITHY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AMONETTE,      Nueces Bay,
1074                                   18586   8/1/2022     Secured: $0.00
        DORITHY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AMONETTE,      Talen Texas
1075                                   24320   8/1/2022     Secured: $0.00
        DORITHY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 181 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AMONETTE,       Talen Texas,
1076                                    30080   8/1/2022     Secured: $0.00
        DORITHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMTRUST                                              Priority: $0.00
                        Nueces Bay,
1077    INSURANCE                       2881    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $4,454,138.61 + Unliquidated

                                                             Total: $4,454,138.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMTRUST                                              Priority: $0.00
1078    INSURANCE       Laredo, LLC     3506    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $4,454,138.61 + Unliquidated

                                                             Total: $4,454,138.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AMTRUST                                              Priority: $0.00
                        Barney Davis,
1079    INSURANCE                       3554    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $4,454,138.61 + Unliquidated

                                                             Total: $4,454,138.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1080    ANCIRA, DAN L   Laredo, LLC     32362   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1081    ANCIRA, DAN L                   33353   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1082    ANCIRA, DAN L                   34344   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 182 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1083    ANCIRA, DAN L                    35335   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1084    ANCIRA, DAN L                    36326   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1085    ANCIRA, DANIEL   Laredo, LLC     32363   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1086    ANCIRA, DANIEL                   33354   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1087    ANCIRA, DANIEL                   34345   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1088    ANCIRA, DANIEL                   35336   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1089    ANCIRA, DANIEL                   36327   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 183 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1090    ANCIRA, JEROD                    6252    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1091    ANCIRA, JEROD    Laredo, LLC     12002   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1092    ANCIRA, JEROD                    17749   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1093    ANCIRA, JEROD                    23484   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1094    ANCIRA, JEROD                    29243   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1095    ANDERS, AQUINO                   6443    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1096    ANDERS, AQUINO Laredo, LLC       12193   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 184 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1097    ANDERS, AQUINO                   17940   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1098    ANDERS, AQUINO                   23675   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1099    ANDERS, AQUINO                   29434   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Barney Davis,
1100                                     6360    8/1/2022     Secured: $0.00
        AMBER            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,
1101                     Laredo, LLC     12110   8/1/2022     Secured: $0.00
        AMBER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Nueces Bay,
1102                                     17857   8/1/2022     Secured: $0.00
        AMBER            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas
1103                                     23592   8/1/2022     Secured: $0.00
        AMBER            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 185 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Talen Texas,
1104                                  29351   8/1/2022     Secured: $0.00
        AMBER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Barney Davis,
1105                                  7027    8/1/2022     Secured: $0.00
        DIAMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,
1106                  Laredo, LLC     12777   8/1/2022     Secured: $0.00
        DIAMOND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Nueces Bay,
1107                                  18524   8/1/2022     Secured: $0.00
        DIAMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Talen Texas
1108                                  24258   8/1/2022     Secured: $0.00
        DIAMOND       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Talen Texas,
1109                                  30018   8/1/2022     Secured: $0.00
        DIAMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Barney Davis,
1110                                  7091    8/1/2022     Secured: $0.00
        DOROTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 186 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,
1111                    Laredo, LLC     12841   8/1/2022     Secured: $0.00
        DOROTHY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Nueces Bay,
1112                                    18588   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Talen Texas
1113                                    24322   8/1/2022     Secured: $0.00
        DOROTHY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Talen Texas,
1114                                    30082   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON, ELA   Barney Davis,
1115                                    7138    8/1/2022     Secured: $0.00
        SMALL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON, ELA
1116                    Laredo, LLC     12888   8/1/2022     Secured: $0.00
        SMALL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON, ELA   Nueces Bay,
1117                                    18635   8/1/2022     Secured: $0.00
        SMALL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 187 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON, ELA   Talen Texas
1118                                    24369   8/1/2022     Secured: $0.00
        SMALL           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON, ELA   Talen Texas,
1119                                    30129   8/1/2022     Secured: $0.00
        SMALL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Barney Davis,
1120                                    3745    8/1/2022     Secured: $0.00
        ERNEST          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,
1121                    Laredo, LLC     9495    8/1/2022     Secured: $0.00
        ERNEST
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Nueces Bay,
1122                                    15242   8/1/2022     Secured: $0.00
        ERNEST          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Talen Texas
1123                                    20989   8/1/2022     Secured: $0.00
        ERNEST          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Talen Texas,
1124                                    26736   8/1/2022     Secured: $0.00
        ERNEST          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 188 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Barney Davis,
1125                                  7390    8/1/2022     Secured: $0.00
        INGRID        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,
1126                  Laredo, LLC     13140   8/1/2022     Secured: $0.00
        INGRID
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Nueces Bay,
1127                                  18887   8/1/2022     Secured: $0.00
        INGRID        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Talen Texas
1128                                  24621   8/1/2022     Secured: $0.00
        INGRID        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Talen Texas,
1129                                  30381   8/1/2022     Secured: $0.00
        INGRID        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,     Barney Davis,
1130                                  7432    8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANDERSON,
1131                  Laredo, LLC     13182   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 189 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Nueces Bay,
1132                                     18929   8/1/2022     Secured: $0.00
        JAMES            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas
1133                                     24663   8/1/2022     Secured: $0.00
        JAMES            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas,
1134                                     30423   8/1/2022     Secured: $0.00
        JAMES            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1135    ANDERSON, LEON                   5507    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1136    ANDERSON, LEON Laredo, LLC       11257   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1137    ANDERSON, LEON                   17004   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1138    ANDERSON, LEON                   22749   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 190 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1139    ANDERSON, LEON                   28498   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Barney Davis,
1140                                     5437    8/1/2022     Secured: $0.00
        MARLIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,
1141                     Laredo, LLC     11187   8/1/2022     Secured: $0.00
        MARLIN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Nueces Bay,
1142                                     16934   8/1/2022     Secured: $0.00
        MARLIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas
1143                                     22679   8/1/2022     Secured: $0.00
        MARLIN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas,
1144                                     28428   8/1/2022     Secured: $0.00
        MARLIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Barney Davis,
1145                                     5142    8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 191 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,
1146                     Laredo, LLC     10892   8/1/2022     Secured: $0.00
        MARYANN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Nueces Bay,
1147                                     16639   8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas
1148                                     22384   8/1/2022     Secured: $0.00
        MARYANN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas,
1149                                     28133   8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1150    ANDERSON, NEIL                   5175    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1151    ANDERSON, NEIL Laredo, LLC       10925   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1152    ANDERSON, NEIL                   16672   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 192 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1153    ANDERSON, NEIL                   22417   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1154    ANDERSON, NEIL                   28166   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Barney Davis,
1155                                     5226    8/1/2022     Secured: $0.00
        REBECCA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,
1156                     Laredo, LLC     10976   8/1/2022     Secured: $0.00
        REBECCA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Nueces Bay,
1157                                     16723   8/1/2022     Secured: $0.00
        REBECCA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas
1158                                     22468   8/1/2022     Secured: $0.00
        REBECCA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDERSON,        Talen Texas,
1159                                     28217   8/1/2022     Secured: $0.00
        REBECCA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 193 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,
1160                    Laredo, LLC     32364   8/1/2022     Secured: $0.00
        ROBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Barney Davis,
1161                                    33355   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Nueces Bay,
1162                                    34346   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Talen Texas
1163                                    35337   8/1/2022     Secured: $0.00
        ROBERT          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ANDERSON,       Talen Texas,
1164                                    36328   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1165    ANDRADE, ADAM                   4797    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1166    ANDRADE, ADAM Laredo, LLC       10547   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 194 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1167    ANDRADE, ADAM                     16294   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1168    ANDRADE, ADAM                     22040   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1169    ANDRADE, ADAM                     27788   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1170    ANDRADE, ISABEL                   7401    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1171    ANDRADE, ISABEL Laredo, LLC       13151   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1172    ANDRADE, ISABEL                   18898   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1173    ANDRADE, ISABEL                   24632   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 195 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1174    ANDRADE, ISABEL                   30392   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ANDRADE,          Barney Davis,
1175                                      8554    8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ANDRADE,
1176                      Laredo, LLC     14304   8/1/2022     Secured: $0.00
        RICHARD
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ANDRADE,          Nueces Bay,
1177                                      20051   8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ANDRADE,          Talen Texas
1178                                      25783   8/1/2022     Secured: $0.00
        RICHARD           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ANDRADE,          Talen Texas,
1179                                      31545   8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1180    ANDREA, CAIN                      4000    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 196 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1181    ANDREA, CAIN     Laredo, LLC     9750    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1182    ANDREA, CAIN                     15497   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1183    ANDREA, CAIN                     21243   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1184    ANDREA, CAIN                     26991   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1185    ANDREWS, CINDY                   4054    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1186    ANDREWS, CINDY Laredo, LLC       9804    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1187    ANDREWS, CINDY                   15551   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 197 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1188    ANDREWS, CINDY                   21297   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1189    ANDREWS, CINDY                   27045   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Barney Davis,
1190                                     4394    8/1/2022     Secured: $0.00
        KRYSTLE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,
1191                     Laredo, LLC     10144   8/1/2022     Secured: $0.00
        KRYSTLE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Nueces Bay,
1192                                     15891   8/1/2022     Secured: $0.00
        KRYSTLE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Talen Texas
1193                                     21637   8/1/2022     Secured: $0.00
        KRYSTLE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Talen Texas,
1194                                     27385   8/1/2022     Secured: $0.00
        KRYSTLE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 198 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Barney Davis,
1195                                     8589    8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,
1196                     Laredo, LLC     14339   8/1/2022     Secured: $0.00
        ROBERT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Nueces Bay,
1197                                     20086   8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Talen Texas
1198                                     25818   8/1/2022     Secured: $0.00
        ROBERT           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANDREWS,         Talen Texas,
1199                                     31580   8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1200    ANELE, ROWLAND                   3892    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1201    ANELE, ROWLAND Laredo, LLC       9642    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 199 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1202    ANELE, ROWLAND                   15389   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1203    ANELE, ROWLAND                   21136   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1204    ANELE, ROWLAND                   26883   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ANGELIA HUTER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
1205                                     5382    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CLARENCE JEAN
        HUNTER, JR.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ANGELIA HUTER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF
1206                     Laredo, LLC     11132   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        CLARENCE JEAN
        HUNTER, JR.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ANGELIA HUTER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
1207                                     16879   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CLARENCE JEAN
        HUNTER, JR.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ANGELIA HUTER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
1208                                     22624   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CLARENCE JEAN
        HUNTER, JR.
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 200 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        ANGELIA HUTER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
1209                                     28373   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CLARENCE JEAN
        HUNTER, JR.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1210    ANGER, TOM                       9028    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1211    ANGER, TOM       Laredo, LLC     14778   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1212    ANGER, TOM                       20525   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1213    ANGER, TOM                       26257   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1214    ANGER, TOM                       32019   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1215    ANGULO, JUAN                     7695    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 201 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1216    ANGULO, JUAN   Laredo, LLC     13445   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1217    ANGULO, JUAN                   19192   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1218    ANGULO, JUAN                   24926   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1219    ANGULO, JUAN                   30686   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ANPAC
                                                            Priority: $0.00
        LOUISIANA      Nueces Bay,
1220                                   2636    8/2/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,804,322.92 + Unliquidated
        COMPANY
                                                            Total: $1,804,322.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ANPAC
                                                            Priority: $0.00
        LOUISIANA
1221                   Laredo, LLC     2644    8/2/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $1,804,322.92 + Unliquidated
        COMPANY
                                                            Total: $1,804,322.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ANPAC
                                                            Priority: $0.00
        LOUISIANA      Barney Davis,
1222                                   3505    8/2/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,804,322.92 + Unliquidated
        COMPANY
                                                            Total: $1,804,322.92 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 202 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1223    ANSAH, LYDIA                   4448    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1224    ANSAH, LYDIA   Laredo, LLC     10198   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1225    ANSAH, LYDIA                   15945   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1226    ANSAH, LYDIA                   21691   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1227    ANSAH, LYDIA                   27439   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ANTAS, DIANA   Barney Davis,
1228                                   4129    8/1/2022     Secured: $0.00
        VÁZQUEZ        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ANTAS, DIANA
1229                   Laredo, LLC     9879    8/1/2022     Secured: $0.00
        VÁZQUEZ
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 203 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTAS, DIANA     Nueces Bay,
1230                                     15626   8/1/2022     Secured: $0.00
        VÁZQUEZ          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTAS, DIANA     Talen Texas
1231                                     21372   8/1/2022     Secured: $0.00
        VÁZQUEZ          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTAS, DIANA     Talen Texas,
1232                                     27120   8/1/2022     Secured: $0.00
        VÁZQUEZ          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1233    ANTHONY, AISHA                   6300    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1234    ANTHONY, AISHA Laredo, LLC       12050   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1235    ANTHONY, AISHA                   17797   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1236    ANTHONY, AISHA                   23532   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 204 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1237    ANTHONY, AISHA                   29291   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTHONY, RAE     Barney Davis,
1238                                     8477    8/1/2022     Secured: $0.00
        LYNN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTHONY, RAE
1239                     Laredo, LLC     14227   8/1/2022     Secured: $0.00
        LYNN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTHONY, RAE     Nueces Bay,
1240                                     19974   8/1/2022     Secured: $0.00
        LYNN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTHONY, RAE     Talen Texas
1241                                     25706   8/1/2022     Secured: $0.00
        LYNN             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTHONY, RAE     Talen Texas,
1242                                     31468   8/1/2022     Secured: $0.00
        LYNN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ANTILLON,        Barney Davis,
1243                                     5027    8/1/2022     Secured: $0.00
        JERROD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 205 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,
1244                  Laredo, LLC     10777   8/1/2022     Secured: $0.00
        JERROD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Nueces Bay,
1245                                  16524   8/1/2022     Secured: $0.00
        JERROD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Talen Texas
1246                                  22269   8/1/2022     Secured: $0.00
        JERROD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Talen Texas,
1247                                  28018   8/1/2022     Secured: $0.00
        JERROD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Barney Davis,
1248                                  9310    8/1/2022     Secured: $0.00
        RAMONA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,
1249                  Laredo, LLC     15060   8/1/2022     Secured: $0.00
        RAMONA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Nueces Bay,
1250                                  20807   8/1/2022     Secured: $0.00
        RAMONA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 206 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Talen Texas
1251                                  26539   8/1/2022     Secured: $0.00
        RAMONA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANTILLON,     Talen Texas,
1252                                  32301   8/1/2022     Secured: $0.00
        RAMONA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANZALDUA,
1253                  Laredo, LLC     32365   8/1/2022     Secured: $0.00
        CINDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANZALDUA,     Barney Davis,
1254                                  33356   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANZALDUA,     Nueces Bay,
1255                                  34347   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANZALDUA,     Talen Texas
1256                                  35338   8/1/2022     Secured: $0.00
        CINDY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ANZALDUA,     Talen Texas,
1257                                  36329   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 207 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1258    APALA, CHRIS                   4895    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1259    APALA, CHRIS   Laredo, LLC     10645   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1260    APALA, CHRIS                   16392   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1261    APALA, CHRIS                   22137   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1262    APALA, CHRIS                   27886   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1263    APGAR, SARA    Laredo, LLC     32366   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1264    APGAR, SARA                    33357   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 208 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
1265    APGAR, SARA                   34348   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
1266    APGAR, SARA                   35339   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
1267    APGAR, SARA                   36330   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        APODACA,      Barney Davis,
1268                                  4079    8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        APODACA,
1269                  Laredo, LLC     9829    8/1/2022     Secured: $0.00
        DANIEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        APODACA,      Nueces Bay,
1270                                  15576   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        APODACA,      Talen Texas
1271                                  21322   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 209 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        APODACA,         Talen Texas,
1272                                     27070   8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1273    APOLINAR, IRMA                   7397    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1274    APOLINAR, IRMA Laredo, LLC       13147   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1275    APOLINAR, IRMA                   18894   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1276    APOLINAR, IRMA                   24628   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1277    APOLINAR, IRMA                   30388   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        APONTE,          Barney Davis,
1278                                     7198    8/1/2022     Secured: $0.00
        ERNESTO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 210 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        APONTE,
1279                      Laredo, LLC     12948   8/1/2022     Secured: $0.00
        ERNESTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        APONTE,           Nueces Bay,
1280                                      18695   8/1/2022     Secured: $0.00
        ERNESTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        APONTE,           Talen Texas
1281                                      24429   8/1/2022     Secured: $0.00
        ERNESTO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        APONTE,           Talen Texas,
1282                                      30189   8/1/2022     Secured: $0.00
        ERNESTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        APRIL FRIERSON,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Barney Davis,
1283    AND AS HEIR OF                    3858    8/1/2022     Secured: $0.00
                          LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        TERRY FRIERSON
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        APRIL FRIERSON,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
1284    AND AS HEIR OF    Laredo, LLC     9608    8/1/2022     Secured: $0.00
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        TERRY FRIERSON
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        APRIL FRIERSON,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Nueces Bay,
1285    AND AS HEIR OF                    15355   8/1/2022     Secured: $0.00
                          LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        TERRY FRIERSON
                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 211 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        APRIL FRIERSON,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Talen Texas
1286    AND AS HEIR OF                    21102   8/1/2022     Secured: $0.00
                          Group, LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        TERRY FRIERSON
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        APRIL FRIERSON,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Talen Texas,
1287    AND AS HEIR OF                    26849   8/1/2022     Secured: $0.00
                          LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        TERRY FRIERSON
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1288    ARAGON, ROBYN Laredo, LLC         32367   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1289    ARAGON, ROBYN                     33358   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1290    ARAGON, ROBYN                     34349   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1291    ARAGON, ROBYN                     35340   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1292    ARAGON, ROBYN                     36331   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 212 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ARCH SPECIALTY                                        Priority: $0.00
                         Barney Davis,
1293    INSURANCE                        3541    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $4,416,003.98 + Unliquidated

                                                              Total: $4,416,003.98 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ARCH SPECIALTY                                        Priority: $0.00
                         Nueces Bay,
1294    INSURANCE                        3544    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $4,416,003.98 + Unliquidated

                                                              Total: $4,416,003.98 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ARCH SPECIALTY                                        Priority: $0.00
1295    INSURANCE        Laredo, LLC     3548    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $4,416,003.98 + Unliquidated

                                                              Total: $4,416,003.98 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1296    ARCHER, KIM      Laredo, LLC     32368   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1297    ARCHER, KIM                      33359   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1298    ARCHER, KIM                      34350   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1299    ARCHER, KIM                      35341   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 213 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1300    ARCHER, KIM                      36332   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARCHER,          Barney Davis,
1301                                     4400    8/1/2022     Secured: $0.00
        LANAMAY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARCHER,
1302                     Laredo, LLC     10150   8/1/2022     Secured: $0.00
        LANAMAY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARCHER,          Nueces Bay,
1303                                     15897   8/1/2022     Secured: $0.00
        LANAMAY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARCHER,          Talen Texas
1304                                     21643   8/1/2022     Secured: $0.00
        LANAMAY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARCHER,          Talen Texas,
1305                                     27391   8/1/2022     Secured: $0.00
        LANAMAY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1306    ARCHER, LESLIE                   5092    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 214 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1307    ARCHER, LESLIE   Laredo, LLC    10842   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
1308    ARCHER, LESLIE                  16589   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
1309    ARCHER, LESLIE                  22334   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
1310    ARCHER, LESLIE                  28083   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AREAWIDE
                                                             Priority: $0.00
        CONTRACTORS     Barney Davis,
1311                                    5907    8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                             General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AREAWIDE
                                                             Priority: $0.00
        CONTRACTORS
1312                    Laredo, LLC     11657   8/1/2022     Secured: $0.00
        LLC, FRANCHISE
                                                             General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        AREAWIDE
                                                             Priority: $0.00
        CONTRACTORS     Nueces Bay,
1313                                    17404   8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                             General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 215 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AREAWIDE
                                                              Priority: $0.00
        CONTRACTORS     Talen Texas
1314                                     23149   8/1/2022     Secured: $0.00
        LLC, FRANCHISE Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        AREAWIDE
                                                              Priority: $0.00
        CONTRACTORS     Talen Texas,
1315                                     28898   8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                              General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1316    ARELLANO, JOSE   Laredo, LLC     32369   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1317    ARELLANO, JOSE                   33360   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1318    ARELLANO, JOSE                   34351   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1319    ARELLANO, JOSE                   35342   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1320    ARELLANO, JOSE                   36333   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 216 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1321    ARENAS, ROSA                     6173    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1322    ARENAS, ROSA     Laredo, LLC     11923   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1323    ARENAS, ROSA                     17670   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1324    ARENAS, ROSA                     23415   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1325    ARENAS, ROSA                     29164   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUELLES, ROSA Barney Davis,
1326                                     5637    8/1/2022     Secured: $0.00
        ANA ARGUELLES LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUELLES, ROSA
1327                    Laredo, LLC      11387   8/1/2022     Secured: $0.00
        ANA ARGUELLES
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 217 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUELLES, ROSA Nueces Bay,
1328                                     17134   8/1/2022     Secured: $0.00
        ANA ARGUELLES LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUELLES, ROSA Talen Texas
1329                                     22879   8/1/2022     Secured: $0.00
        ANA ARGUELLES Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUELLES, ROSA Talen Texas,
1330                                     28628   8/1/2022     Secured: $0.00
        ANA ARGUELLES LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUIJO JR,
1331                     Laredo, LLC     32370   8/1/2022     Secured: $0.00
        SAMUEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUIJO JR,      Barney Davis,
1332                                     33361   8/1/2022     Secured: $0.00
        SAMUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUIJO JR,      Nueces Bay,
1333                                     34352   8/1/2022     Secured: $0.00
        SAMUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARGUIJO JR,      Talen Texas
1334                                     35343   8/1/2022     Secured: $0.00
        SAMUEL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 218 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARGUIJO JR,    Talen Texas,
1335                                   36334   8/1/2022     Secured: $0.00
        SAMUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1336    ARIAS, ERIKA                   7195    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1337    ARIAS, ERIKA   Laredo, LLC     12945   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1338    ARIAS, ERIKA                   18692   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1339    ARIAS, ERIKA                   24426   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1340    ARIAS, ERIKA                   30186   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARIZMENDI,     Barney Davis,
1341                                   5831    8/1/2022     Secured: $0.00
        MARGARITA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 219 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARIZMENDI,
1342                  Laredo, LLC     11581   8/1/2022     Secured: $0.00
        MARGARITA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARIZMENDI,    Nueces Bay,
1343                                  17328   8/1/2022     Secured: $0.00
        MARGARITA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARIZMENDI,    Talen Texas
1344                                  23073   8/1/2022     Secured: $0.00
        MARGARITA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARIZMENDI,    Talen Texas,
1345                                  28822   8/1/2022     Secured: $0.00
        MARGARITA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARK ROYAL     Nueces Bay,
1346                                  2611    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $218,525.95 + Unliquidated

                                                           Total: $218,525.95 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARK ROYAL
1347                  Laredo, LLC     2705    7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $218,525.95 + Unliquidated

                                                           Total: $218,525.95 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARK ROYAL     Barney Davis,
1348                                  2913    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $218,525.95 + Unliquidated

                                                           Total: $218,525.95 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 220 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARK
1349                     Laredo, LLC     1027   7/29/2022    Secured: $0.00
        UNDERWRITING
                                                             General Unsecured: $6,791,118.21 + Unliquidated

                                                             Total: $6,791,118.21 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARK              Nueces Bay,
1350                                     1521   7/29/2022    Secured: $0.00
        UNDERWRITING     LLC
                                                             General Unsecured: $6,791,118.21 + Unliquidated

                                                             Total: $6,791,118.21 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARK              Barney Davis,
1351                                     1549   7/29/2022    Secured: $0.00
        UNDERWRITING     LLC
                                                             General Unsecured: $6,791,118.21 + Unliquidated

                                                             Total: $6,791,118.21 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARK              Nueces Bay,
1352                                     2008   8/1/2022     Secured: $0.00
        UNDERWRITING     LLC
                                                             General Unsecured: $6,791,118.21 + Unliquidated

                                                             Total: $6,791,118.21 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARK              Barney Davis,
1353                                     2012   8/1/2022     Secured: $0.00
        UNDERWRITING     LLC
                                                             General Unsecured: $6,791,118.21 + Unliquidated

                                                             Total: $6,791,118.21 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARK
1354                     Laredo, LLC     2014   8/1/2022     Secured: $0.00
        UNDERWRITING
                                                             General Unsecured: $6,791,118.21 + Unliquidated

                                                             Total: $6,791,118.21 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Barney Davis,
1355    ARMANI, YVETTE                   9189   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 221 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1356    ARMANI, YVETTE Laredo, LLC       14939   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1357    ARMANI, YVETTE                   20686   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1358    ARMANI, YVETTE                   26418   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1359    ARMANI, YVETTE                   32180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1360    ARMAS, SHERRI                    4684    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1361    ARMAS, SHERRI    Laredo, LLC     10434   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1362    ARMAS, SHERRI                    16181   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 222 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1363    ARMAS, SHERRI                   21927   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1364    ARMAS, SHERRI                   27675   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRESTER,     Barney Davis,
1365                                    7308    8/1/2022     Secured: $0.00
        GINGER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRESTER,
1366                    Laredo, LLC     13058   8/1/2022     Secured: $0.00
        GINGER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRESTER,     Nueces Bay,
1367                                    18805   8/1/2022     Secured: $0.00
        GINGER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRESTER,     Talen Texas
1368                                    24539   8/1/2022     Secured: $0.00
        GINGER          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRESTER,     Talen Texas,
1369                                    30299   8/1/2022     Secured: $0.00
        GINGER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 223 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRUST, DIRK Barney Davis,
1370                                    5783    8/1/2022     Secured: $0.00
        K              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRUST, DIRK
1371                   Laredo, LLC      11533   8/1/2022     Secured: $0.00
        K
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRUST, DIRK Nueces Bay,
1372                                    17280   8/1/2022     Secured: $0.00
        K              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRUST, DIRK Talen Texas
1373                                    23025   8/1/2022     Secured: $0.00
        K              Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ARMBRUST, DIRK Talen Texas,
1374                                    28774   8/1/2022     Secured: $0.00
        K              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ARMED FORCES                                         Priority: $0.00
                        Barney Davis,
1375    INSURANCE                       1085    7/29/2022    Secured: $0.00
                        LLC
        EXCHANGE                                             General Unsecured: $675,483.25 + Unliquidated

                                                             Total: $675,483.25 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ARMED FORCES                                         Priority: $0.00
1376    INSURANCE       Laredo, LLC     1379    7/29/2022    Secured: $0.00
        EXCHANGE                                             General Unsecured: $675,483.25 + Unliquidated

                                                             Total: $675,483.25 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 224 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ARMED FORCES                                           Priority: $0.00
                          Nueces Bay,
1377    INSURANCE                         1381    7/29/2022    Secured: $0.00
                          LLC
        EXCHANGE                                               General Unsecured: $675,483.25 + Unliquidated

                                                               Total: $675,483.25 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ARMED FORCES                                           Priority: $0.00
                          Nueces Bay,
1378    INSURANCE                         2442    7/31/2022    Secured: $0.00
                          LLC
        EXCHANGE                                               General Unsecured: $2,000.00 + Unliquidated

                                                               Total: $2,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ARMED FORCES                                           Priority: $0.00
                          Barney Davis,
1379    INSURANCE                         2564    7/31/2022    Secured: $0.00
                          LLC
        EXCHANGE                                               General Unsecured: $2,000.00 + Unliquidated

                                                               Total: $2,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        ARMED FORCES                                           Priority: $0.00
1380    INSURANCE         Laredo, LLC     2735    7/31/2022    Secured: $0.00
        EXCHANGE                                               General Unsecured: $2,000.00 + Unliquidated

                                                               Total: $2,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1381    ARMITAGE, DAVID                   5774    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1382    ARMITAGE, DAVID Laredo, LLC       11524   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1383    ARMITAGE, DAVID                   17271   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 225 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1384    ARMITAGE, DAVID                   23016   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1385    ARMITAGE, DAVID                   28765   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ARMSTEAD,
1386                      Laredo, LLC     32371   8/1/2022     Secured: $0.00
        JOHNNIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ARMSTEAD,         Barney Davis,
1387                                      33362   8/1/2022     Secured: $0.00
        JOHNNIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ARMSTEAD,         Nueces Bay,
1388                                      34353   8/1/2022     Secured: $0.00
        JOHNNIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ARMSTEAD,         Talen Texas
1389                                      35344   8/1/2022     Secured: $0.00
        JOHNNIE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ARMSTEAD,         Talen Texas,
1390                                      36335   8/1/2022     Secured: $0.00
        JOHNNIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 226 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTEAD,     Barney Davis,
1391                                  8959    8/1/2022     Secured: $0.00
        TENESHA Y     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTEAD,
1392                  Laredo, LLC     14709   8/1/2022     Secured: $0.00
        TENESHA Y
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTEAD,     Nueces Bay,
1393                                  20456   8/1/2022     Secured: $0.00
        TENESHA Y     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTEAD,     Talen Texas
1394                                  26188   8/1/2022     Secured: $0.00
        TENESHA Y     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTEAD,     Talen Texas,
1395                                  31950   8/1/2022     Secured: $0.00
        TENESHA Y     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Barney Davis,
1396                                  6408    8/1/2022     Secured: $0.00
        ANN MARIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,
1397                  Laredo, LLC     12158   8/1/2022     Secured: $0.00
        ANN MARIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 227 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Nueces Bay,
1398                                  17905   8/1/2022     Secured: $0.00
        ANN MARIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Talen Texas
1399                                  23640   8/1/2022     Secured: $0.00
        ANN MARIE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Talen Texas,
1400                                  29399   8/1/2022     Secured: $0.00
        ANN MARIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Barney Davis,
1401                                  3683    8/1/2022     Secured: $0.00
        KATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,
1402                  Laredo, LLC     9433    8/1/2022     Secured: $0.00
        KATHERINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Nueces Bay,
1403                                  15180   8/1/2022     Secured: $0.00
        KATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Talen Texas
1404                                  20927   8/1/2022     Secured: $0.00
        KATHERINE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 228 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Talen Texas,
1405                                  26674   8/1/2022     Secured: $0.00
        KATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Barney Davis,
1406                                  8389    8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,
1407                  Laredo, LLC     14139   8/1/2022     Secured: $0.00
        PATRICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Nueces Bay,
1408                                  19886   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Talen Texas
1409                                  25619   8/1/2022     Secured: $0.00
        PATRICIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Talen Texas,
1410                                  31380   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARMSTRONG,    Barney Davis,
1411                                  3785    8/1/2022     Secured: $0.00
        TERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 229 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARMSTRONG,
1412                     Laredo, LLC     9535    8/1/2022     Secured: $0.00
        TERRY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARMSTRONG,       Nueces Bay,
1413                                     15282   8/1/2022     Secured: $0.00
        TERRY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARMSTRONG,       Talen Texas
1414                                     21029   8/1/2022     Secured: $0.00
        TERRY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARMSTRONG,       Talen Texas,
1415                                     26776   8/1/2022     Secured: $0.00
        TERRY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1416    ARNDT, KANDICE                   4349    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1417    ARNDT, KANDICE Laredo, LLC       10099   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1418    ARNDT, KANDICE                   15846   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 230 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1419    ARNDT, KANDICE                   21592   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1420    ARNDT, KANDICE                   27340   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1421    ARNETT, JAMES                    7433    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1422    ARNETT, JAMES    Laredo, LLC     13183   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1423    ARNETT, JAMES                    18930   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1424    ARNETT, JAMES                    24664   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1425    ARNETT, JAMES                    30424   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 231 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1426    ARNETT, MICHAEL                   8219    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1427    ARNETT, MICHAEL Laredo, LLC       13969   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1428    ARNETT, MICHAEL                   19716   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1429    ARNETT, MICHAEL                   25450   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1430    ARNETT, MICHAEL                   31210   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1431    ARNOLD, RYAN                      8711    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1432    ARNOLD, RYAN      Laredo, LLC     14461   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 232 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1433    ARNOLD, RYAN                      20208   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1434    ARNOLD, RYAN                      25940   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1435    ARNOLD, RYAN                      31702   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1436    ARNOLD, TIFFANY                   9003    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1437    ARNOLD, TIFFANY                   9004    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1438    ARNOLD, TIFFANY Laredo, LLC       14753   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1439    ARNOLD, TIFFANY Laredo, LLC       14754   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 233 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1440    ARNOLD, TIFFANY                   20500   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1441    ARNOLD, TIFFANY                   20501   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1442    ARNOLD, TIFFANY                   26232   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1443    ARNOLD, TIFFANY                   26233   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1444    ARNOLD, TIFFANY                   31994   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1445    ARNOLD, TIFFANY                   31995   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1446    ARNOLD, WILLIE                    5375    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 234 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1447    ARNOLD, WILLIE   Laredo, LLC     11125   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1448    ARNOLD, WILLIE                   16872   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1449    ARNOLD, WILLIE                   22617   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1450    ARNOLD, WILLIE                   28366   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1451    ARNOW, BURTON Laredo, LLC        32372   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1452    ARNOW, BURTON                    33363   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1453    ARNOW, BURTON                    34354   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 235 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
1454    ARNOW, BURTON                      35345   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
1455    ARNOW, BURTON                      36336   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
1456    ARNSPIGER, CHRIS                   4896    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
1457    ARNSPIGER, CHRIS Laredo, LLC       10646   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
1458    ARNSPIGER, CHRIS                   16393   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
1459    ARNSPIGER, CHRIS                   22138   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
1460    ARNSPIGER, CHRIS                   27887   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 236 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1461    ARRATIA, GOMEZ                   4986    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1462    ARRATIA, GOMEZ Laredo, LLC       10736   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1463    ARRATIA, GOMEZ                   16483   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1464    ARRATIA, GOMEZ                   22228   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1465    ARRATIA, GOMEZ                   27977   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARREDONDO,
1466                     Laredo, LLC     32373   8/1/2022     Secured: $0.00
        ARTURO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARREDONDO,       Barney Davis,
1467                                     33364   8/1/2022     Secured: $0.00
        ARTURO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 237 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Nueces Bay,
1468                                  34355   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas
1469                                  35346   8/1/2022     Secured: $0.00
        ARTURO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas,
1470                                  36337   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Barney Davis,
1471                                  5589    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,
1472                  Laredo, LLC     11339   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Nueces Bay,
1473                                  17086   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas
1474                                  22831   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 238 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas,
1475                                  28580   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Barney Davis,
1476                                  7326    8/1/2022     Secured: $0.00
        GREG          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,
1477                  Laredo, LLC     13076   8/1/2022     Secured: $0.00
        GREG
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Nueces Bay,
1478                                  18823   8/1/2022     Secured: $0.00
        GREG          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas
1479                                  24557   8/1/2022     Secured: $0.00
        GREG          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas,
1480                                  30317   8/1/2022     Secured: $0.00
        GREG          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Barney Davis,
1481                                  5253    8/1/2022     Secured: $0.00
        RODOLFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 239 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,
1482                  Laredo, LLC     11003   8/1/2022     Secured: $0.00
        RODOLFO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Nueces Bay,
1483                                  16750   8/1/2022     Secured: $0.00
        RODOLFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas
1484                                  22495   8/1/2022     Secured: $0.00
        RODOLFO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARREDONDO,    Talen Texas,
1485                                  28244   8/1/2022     Secured: $0.00
        RODOLFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARRIAGA,      Barney Davis,
1486                                  4993    8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARRIAGA,
1487                  Laredo, LLC     10743   8/1/2022     Secured: $0.00
        GUILLERMO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ARRIAGA,      Nueces Bay,
1488                                  16490   8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 240 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIAGA,       Talen Texas
1489                                   22235   8/1/2022     Secured: $0.00
        GUILLERMO      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIAGA,       Talen Texas,
1490                                   27984   8/1/2022     Secured: $0.00
        GUILLERMO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIZOLA,      Barney Davis,
1491                                   4202    8/1/2022     Secured: $0.00
        GILBERT        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIZOLA,
1492                   Laredo, LLC     9952    8/1/2022     Secured: $0.00
        GILBERT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIZOLA,      Nueces Bay,
1493                                   15699   8/1/2022     Secured: $0.00
        GILBERT        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIZOLA,      Talen Texas
1494                                   21445   8/1/2022     Secured: $0.00
        GILBERT        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARRIZOLA,      Talen Texas,
1495                                   27193   8/1/2022     Secured: $0.00
        GILBERT        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 241 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARSATE,          Barney Davis,
1496                                     8660    8/1/2022     Secured: $0.00
        ROLANDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARSATE,
1497                     Laredo, LLC     14410   8/1/2022     Secured: $0.00
        ROLANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARSATE,          Nueces Bay,
1498                                     20157   8/1/2022     Secured: $0.00
        ROLANDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARSATE,          Talen Texas
1499                                     25889   8/1/2022     Secured: $0.00
        ROLANDO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARSATE,          Talen Texas,
1500                                     31651   8/1/2022     Secured: $0.00
        ROLANDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1501    ARTEAGA, MATEO Laredo, LLC       32374   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1502    ARTEAGA, MATEO                   33365   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 242 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1503    ARTEAGA, MATEO                   34356   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1504    ARTEAGA, MATEO                   35347   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1505    ARTEAGA, MATEO                   36338   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARTHURS,         Barney Davis,
1506                                     7014    8/1/2022     Secured: $0.00
        DESMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARTHURS,
1507                     Laredo, LLC     12764   8/1/2022     Secured: $0.00
        DESMOND
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARTHURS,         Nueces Bay,
1508                                     18511   8/1/2022     Secured: $0.00
        DESMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ARTHURS,         Talen Texas
1509                                     24245   8/1/2022     Secured: $0.00
        DESMOND          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 243 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARTHURS,       Talen Texas,
1510                                   30005   8/1/2022     Secured: $0.00
        DESMOND        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1511    ARTIS, ALVIN                   6350    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1512    ARTIS, ALVIN   Laredo, LLC     12100   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1513    ARTIS, ALVIN                   17847   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1514    ARTIS, ALVIN                   23582   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1515    ARTIS, ALVIN                   29341   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARUKWE,        Barney Davis,
1516                                   8361    8/1/2022     Secured: $0.00
        OKECHUKWU      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 244 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARUKWE,
1517                   Laredo, LLC     14111   8/1/2022     Secured: $0.00
        OKECHUKWU
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARUKWE,        Nueces Bay,
1518                                   19858   8/1/2022     Secured: $0.00
        OKECHUKWU      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARUKWE,        Talen Texas
1519                                   25591   8/1/2022     Secured: $0.00
        OKECHUKWU      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ARUKWE,        Talen Texas,
1520                                   31352   8/1/2022     Secured: $0.00
        OKECHUKWU      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1521    ARZU, RITA                     5241    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1522    ARZU, RITA     Laredo, LLC     10991   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1523    ARZU, RITA                     16738   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 245 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1524    ARZU, RITA                     22483   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1525    ARZU, RITA                     28232   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ASCHERIN,      Barney Davis,
1526                                   4714    8/1/2022     Secured: $0.00
        TAMMI LEE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ASCHERIN,
1527                   Laredo, LLC     10464   8/1/2022     Secured: $0.00
        TAMMI LEE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ASCHERIN,      Nueces Bay,
1528                                   16211   8/1/2022     Secured: $0.00
        TAMMI LEE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ASCHERIN,      Talen Texas
1529                                   21957   8/1/2022     Secured: $0.00
        TAMMI LEE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ASCHERIN,      Talen Texas,
1530                                   27705   8/1/2022     Secured: $0.00
        TAMMI LEE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 246 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT                                                Priority: $0.00
                         Nueces Bay,
1531    INSURANCE                        1461   7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $1,013,613.00 + Unliquidated

                                                             Total: $1,013,613.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT                                                Priority: $0.00
1532    INSURANCE        Laredo, LLC     1810   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $1,013,613.00 + Unliquidated

                                                             Total: $1,013,613.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT                                                Priority: $0.00
                         Barney Davis,
1533    INSURANCE                        1819   7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $1,013,613.00 + Unliquidated

                                                             Total: $1,013,613.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT SPECIALTY                                      Priority: $0.00
1534    INSURANCE       Laredo, LLC      1597   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $221,187.75 + Unliquidated

                                                             Total: $221,187.75 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT SPECIALTY                                      Priority: $0.00
                        Barney Davis,
1535    INSURANCE                        1601   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $221,187.75 + Unliquidated

                                                             Total: $221,187.75 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT SPECIALTY                                      Priority: $0.00
                        Nueces Bay,
1536    INSURANCE                        1671   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $221,187.75 + Unliquidated

                                                             Total: $221,187.75 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ASCOT                                                Priority: $0.00
                         Nueces Bay,
1537    UNDERWRITING                     3428   8/1/2022     Secured: $0.00
                         LLC
        LIMITED                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 247 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ASCOT                                              Priority: $0.00
                       Barney Davis,
1538    UNDERWRITING                   3433   8/1/2022     Secured: $0.00
                       LLC
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ASCOT                                              Priority: $0.00
                       Barney Davis,
1539    UNDERWRITING                   3455   8/1/2022     Secured: $0.00
                       LLC
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ASCOT                                              Priority: $0.00
1540    UNDERWRITING   Laredo, LLC     3459   8/1/2022     Secured: $0.00
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ASCOT                                              Priority: $0.00
                       Nueces Bay,
1541    UNDERWRITING                   3464   8/1/2022     Secured: $0.00
                       LLC
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ASCOT                                              Priority: $0.00
1542    UNDERWRITING   Laredo, LLC     3484   8/1/2022     Secured: $0.00
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Barney Davis,
1543    ASHE, IYSSHA                   4233   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
1544    ASHE, IYSSHA   Laredo, LLC     9983   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 248 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1545    ASHE, IYSSHA                     15730   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1546    ASHE, IYSSHA                     21476   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1547    ASHE, IYSSHA                     27224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1548    ASHER, BRANDON                   6555    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1549    ASHER, BRANDON Laredo, LLC       12305   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1550    ASHER, BRANDON                   18052   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1551    ASHER, BRANDON                   23787   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 249 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1552    ASHER, BRANDON                   29546   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1553    ASHER, RAVEN                     8504    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1554    ASHER, RAVEN     Laredo, LLC     14254   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1555    ASHER, RAVEN                     20001   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1556    ASHER, RAVEN                     25733   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1557    ASHER, RAVEN                     31495   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 250 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1558    ASI LLOYDS      Laredo, LLC     2617    7/31/2022    Secured: $0.00
                                                             General Unsecured: $40,597,699.56 + Unliquidated

                                                             Total: $40,597,699.56 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1559    ASI LLOYDS                      2643    7/31/2022    Secured: $0.00
                        LLC
                                                             General Unsecured: $40,597,699.56 + Unliquidated

                                                             Total: $40,597,699.56 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1560    ASI LLOYDS                      3363    7/31/2022    Secured: $0.00
                        LLC
                                                             General Unsecured: $40,597,699.56 + Unliquidated

                                                             Total: $40,597,699.56 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1561    ASKEW, ROBERT                   8590    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1562    ASKEW, ROBERT   Laredo, LLC     14340   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1563    ASKEW, ROBERT                   20087   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 251 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1564    ASKEW, ROBERT                   25819   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1565    ASKEW, ROBERT                   31581   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1566    ASKEW, THEA                     8983    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1567    ASKEW, THEA     Laredo, LLC     14733   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1568    ASKEW, THEA                     20480   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1569    ASKEW, THEA                     26212   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1570    ASKEW, THEA                     31974   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 252 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASPEN SPECIALTY                                     Priority: $0.00
                        Nueces Bay,
1571    INSURANCE                       1050   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASPEN SPECIALTY                                     Priority: $0.00
                        Barney Davis,
1572    INSURANCE                       1387   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASPEN SPECIALTY                                     Priority: $0.00
1573    INSURANCE       Laredo, LLC     1388   7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASPEN SPECIALTY                                     Priority: $0.00
                        Barney Davis,
1574    INSURANCE                       1753   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $687,189.69 + Unliquidated

                                                            Total: $687,189.69 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASPEN SPECIALTY                                     Priority: $0.00
                        Nueces Bay,
1575    INSURANCE                       1781   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $687,189.69 + Unliquidated

                                                            Total: $687,189.69 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASPEN SPECIALTY                                     Priority: $0.00
1576    INSURANCE       Laredo, LLC     1783   7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $687,189.69 + Unliquidated

                                                            Total: $687,189.69 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ASSOCIATED                                          Priority: $0.00
1577    INDEMNITY        Laredo, LLC    1282   7/29/2022    Secured: $0.00
        CORPORATION                                         General Unsecured: $70,557.00 + Unliquidated

                                                            Total: $70,557.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 253 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ASSOCIATED                                            Priority: $0.00
                         Nueces Bay,
1578    INDEMNITY                        1359    7/29/2022    Secured: $0.00
                         LLC
        CORPORATION                                           General Unsecured: $70,557.00 + Unliquidated

                                                              Total: $70,557.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ASSOCIATED                                            Priority: $0.00
                         Barney Davis,
1579    INDEMNITY                        1539    7/29/2022    Secured: $0.00
                         LLC
        CORPORATION                                           General Unsecured: $70,557.00 + Unliquidated

                                                              Total: $70,557.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ASSOCIATED
                                                              Priority: $0.00
        INDUSTRIES       Barney Davis,
1580                                     3550    8/1/2022     Secured: $0.00
        INSURANCE CO,    LLC
                                                              General Unsecured: $2,433,886.95 + Unliquidated
        INC.
                                                              Total: $2,433,886.95 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ASSOCIATED
                                                              Priority: $0.00
        INDUSTRIES
1581                     Laredo, LLC     3508    8/1/2022     Secured: $0.00
        INSURANCE
                                                              General Unsecured: $2,433,886.95 + Unliquidated
        COMPANY, INC.
                                                              Total: $2,433,886.95 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ASSOCIATED
                                                              Priority: $0.00
        INDUSTRIES       Nueces Bay,
1582                                     3568    8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $2,433,886.95 + Unliquidated
        COMPANY, INC.
                                                              Total: $2,433,886.95 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1583    ATEFAT, BAHRAM                   6480    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1584    ATEFAT, BAHRAM Laredo, LLC       12230   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 254 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1585    ATEFAT, BAHRAM                   17977   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1586    ATEFAT, BAHRAM                   23712   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1587    ATEFAT, BAHRAM                   29471   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ATEGRITY
                                                              Priority: $0.00
        SPECIALTY
1588                     Laredo, LLC     1504    7/29/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $20,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $20,000,000.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ATEGRITY
                                                              Priority: $0.00
        SPECIALTY        Nueces Bay,
1589                                     1525    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $20,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $20,000,000.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ATEGRITY
                                                              Priority: $0.00
        SPECIALTY        Barney Davis,
1590                                     1536    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $20,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $20,000,000.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 255 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATEGRITY
                                                           Priority: $0.00
        SPECIALTY     Nueces Bay,
1591                                  2188    7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $453,610.56 + Unliquidated
        COMPANY
                                                           Total: $453,610.56 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATEGRITY
                                                           Priority: $0.00
        SPECIALTY     Barney Davis,
1592                                  2451    7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $453,610.56 + Unliquidated
        COMPANY
                                                           Total: $453,610.56 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATEGRITY
                                                           Priority: $0.00
        SPECIALTY
1593                  Laredo, LLC     2457    7/30/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $453,610.56 + Unliquidated
        COMPANY
                                                           Total: $453,610.56 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATILES,       Barney Davis,
1594                                  6321    8/1/2022     Secured: $0.00
        ALEXANDER     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATILES,
1595                  Laredo, LLC     12071   8/1/2022     Secured: $0.00
        ALEXANDER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATILES,       Nueces Bay,
1596                                  17818   8/1/2022     Secured: $0.00
        ALEXANDER     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATILES,       Talen Texas
1597                                  23553   8/1/2022     Secured: $0.00
        ALEXANDER     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 256 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ATILES,           Talen Texas,
1598                                      29312   8/1/2022     Secured: $0.00
        ALEXANDER         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1599    ATKINS, MELINDA                   4504    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1600    ATKINS, MELINDA Laredo, LLC       10254   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1601    ATKINS, MELINDA                   16001   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1602    ATKINS, MELINDA                   21747   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1603    ATKINS, MELINDA                   27495   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ATKINS,           Barney Davis,
1604                                      9133    8/1/2022     Secured: $0.00
        WARDRICK          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 257 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATKINS,
1605                  Laredo, LLC     14883   8/1/2022     Secured: $0.00
        WARDRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATKINS,       Nueces Bay,
1606                                  20630   8/1/2022     Secured: $0.00
        WARDRICK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATKINS,       Talen Texas
1607                                  26362   8/1/2022     Secured: $0.00
        WARDRICK      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ATKINS,       Talen Texas,
1608                                  32124   8/1/2022     Secured: $0.00
        WARDRICK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATLANTIC
                                                           Priority: $0.00
        CASUALTY      Barney Davis,
1609                                  3463    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $10,552,700.00 + Unliquidated
        COMPANY
                                                           Total: $10,552,700.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATLANTIC
                                                           Priority: $0.00
        CASUALTY
1610                  Laredo, LLC     3499    8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $10,552,700.00 + Unliquidated
        COMPANY
                                                           Total: $10,552,700.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 258 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATLANTIC
                                                           Priority: $0.00
        CASUALTY       Nueces Bay,
1611                                   3558   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $10,552,700.00 + Unliquidated
        COMPANY
                                                           Total: $10,552,700.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATLANTIC
                                                           Priority: $0.00
        SPECIALTY      Nueces Bay,
1612                                   1889   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $3,836,669.00 + Unliquidated
        COMPANY
                                                           Total: $3,836,669.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATLANTIC
                                                           Priority: $0.00
        SPECIALTY
1613                   Laredo, LLC     2043   7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $3,836,669.00 + Unliquidated
        COMPANY
                                                           Total: $3,836,669.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATLANTIC
                                                           Priority: $0.00
        SPECIALTY      Barney Davis,
1614                                   2048   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $3,836,669.00 + Unliquidated
        COMPANY
                                                           Total: $3,836,669.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATRIUM                                             Priority: $0.00
1615    UNDERWRITERS   Laredo, LLC     1907   7/30/2022    Secured: $0.00
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ATRIUM                                             Priority: $0.00
                       Nueces Bay,
1616    UNDERWRITERS                   1966   7/30/2022    Secured: $0.00
                       LLC
        LIMITED                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 259 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ATRIUM                                               Priority: $0.00
                        Barney Davis,
1617    UNDERWRITERS                    2080    7/30/2022    Secured: $0.00
                        LLC
        LIMITED                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ATTWOOD,        Barney Davis,
1618                                    5339    8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ATTWOOD,
1619                    Laredo, LLC     11089   8/1/2022     Secured: $0.00
        THOMAS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ATTWOOD,        Nueces Bay,
1620                                    16836   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ATTWOOD,        Talen Texas
1621                                    22581   8/1/2022     Secured: $0.00
        THOMAS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ATTWOOD,        Talen Texas,
1622                                    28330   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1623    ATWOOD, DELIA                   6983    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 260 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1624    ATWOOD, DELIA   Laredo, LLC     12733   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1625    ATWOOD, DELIA                   18480   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1626    ATWOOD, DELIA                   24214   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1627    ATWOOD, DELIA                   29974   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1628    AUBIN, VICKI                    5886    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1629    AUBIN, VICKI    Laredo, LLC     11636   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1630    AUBIN, VICKI                    17383   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 261 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1631    AUBIN, VICKI                   23128   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1632    AUBIN, VICKI                   28877   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUBREY,        Barney Davis,
1633                                   6828    8/1/2022     Secured: $0.00
        COURNESHA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUBREY,
1634                   Laredo, LLC     12578   8/1/2022     Secured: $0.00
        COURNESHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUBREY,        Nueces Bay,
1635                                   18325   8/1/2022     Secured: $0.00
        COURNESHA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUBREY,        Talen Texas
1636                                   24059   8/1/2022     Secured: $0.00
        COURNESHA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUBREY,        Talen Texas,
1637                                   29819   8/1/2022     Secured: $0.00
        COURNESHA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 262 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGSPURGER,   Barney Davis,
1638                                  4433    8/1/2022     Secured: $0.00
        LISA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGSPURGER,
1639                  Laredo, LLC     10183   8/1/2022     Secured: $0.00
        LISA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGSPURGER,   Nueces Bay,
1640                                  15930   8/1/2022     Secured: $0.00
        LISA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGSPURGER,   Talen Texas
1641                                  21676   8/1/2022     Secured: $0.00
        LISA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGSPURGER,   Talen Texas,
1642                                  27424   8/1/2022     Secured: $0.00
        LISA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGUSTUS,     Barney Davis,
1643                                  5152    8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        AUGUSTUS,
1644                  Laredo, LLC     10902   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 263 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUGUSTUS,      Nueces Bay,
1645                                   16649   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUGUSTUS,      Talen Texas
1646                                   22394   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AUGUSTUS,      Talen Texas,
1647                                   28143   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AULENBACHER,   Barney Davis,
1648                                   8555    8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AULENBACHER,
1649                   Laredo, LLC     14305   8/1/2022     Secured: $0.00
        RICHARD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AULENBACHER,   Nueces Bay,
1650                                   20052   8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AULENBACHER,   Talen Texas
1651                                   25784   8/1/2022     Secured: $0.00
        RICHARD        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 264 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AULENBACHER,     Talen Texas,
1652                                     31546   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1653    AUST, DEBBIE                     5446    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1654    AUST, DEBBIE     Laredo, LLC     11196   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1655    AUST, DEBBIE                     16943   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1656    AUST, DEBBIE                     22688   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1657    AUST, DEBBIE                     28437   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1658    AUSTIN, ANGELO                   9204    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 265 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1659    AUSTIN, ANGELO Laredo, LLC       14954   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1660    AUSTIN, ANGELO                   20701   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1661    AUSTIN, ANGELO                   26433   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1662    AUSTIN, ANGELO                   32195   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1663    AUSTIN, ROBBIE                   4619    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1664    AUSTIN, ROBBIE   Laredo, LLC     10369   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1665    AUSTIN, ROBBIE                   16116   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 266 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1666    AUSTIN, ROBBIE                    21862   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1667    AUSTIN, ROBBIE                    27610   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1668    AUSTIN, TANYA R                   8946    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1669    AUSTIN, TANYA R Laredo, LLC       14696   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1670    AUSTIN, TANYA R                   20443   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1671    AUSTIN, TANYA R                   26175   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1672    AUSTIN, TANYA R                   31937   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 267 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1673    AUTIN, DEBRA   Laredo, LLC     32375   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1674    AUTIN, DEBRA                   33366   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1675    AUTIN, DEBRA                   34357   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1676    AUTIN, DEBRA                   35348   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1677    AUTIN, DEBRA                   36339   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AUTO CLUB                                           Priority: $0.00
                       Barney Davis,
1678    CASUALTY                       1927    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AUTO CLUB                                           Priority: $0.00
                       Nueces Bay,
1679    CASUALTY                       2148    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 268 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB                                          Priority: $0.00
1680    CASUALTY       Laredo, LLC     2181   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB
                                                           Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
1681                                   2134   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB
                                                           Priority: $0.00
        COUNTY MUTUAL
1682                  Laredo, LLC      2263   7/30/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB
                                                           Priority: $0.00
        COUNTY MUTUAL Barney Davis,
1683                                   2356   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB                                          Priority: $0.00
                       Nueces Bay,
1684    INDEMNITY                      1897   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $67,690,316.29 + Unliquidated

                                                           Total: $67,690,316.29 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB                                          Priority: $0.00
                       Barney Davis,
1685    INDEMNITY                      2036   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $67,690,316.29 + Unliquidated

                                                           Total: $67,690,316.29 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 269 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AUTO CLUB                                          Priority: $0.00
1686    INDEMNITY     Laredo, LLC     2097    7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $67,690,316.29 + Unliquidated

                                                           Total: $67,690,316.29 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AVALOS‐                                            Priority: $0.00
                      Barney Davis,
1687    CORCORAN,                     4134    8/1/2022     Secured: $0.00
                      LLC
        DOLORES                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AVALOS‐                                            Priority: $0.00
1688    CORCORAN,     Laredo, LLC     9884    8/1/2022     Secured: $0.00
        DOLORES                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AVALOS‐                                            Priority: $0.00
                      Nueces Bay,
1689    CORCORAN,                     15631   8/1/2022     Secured: $0.00
                      LLC
        DOLORES                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AVALOS‐                                            Priority: $0.00
                      Talen Texas
1690    CORCORAN,                     21377   8/1/2022     Secured: $0.00
                      Group, LLC
        DOLORES                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        AVALOS‐                                            Priority: $0.00
                      Talen Texas,
1691    CORCORAN,                     27125   8/1/2022     Secured: $0.00
                      LLC
        DOLORES                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 270 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1692    AVANT, RON                        4638    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1693    AVANT, RON        Laredo, LLC     10388   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1694    AVANT, RON                        16135   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1695    AVANT, RON                        21881   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1696    AVANT, RON                        27629   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1697    AVELAR, ENRIQUE Laredo, LLC       32376   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1698    AVELAR, ENRIQUE                   33367   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 271 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1699    AVELAR, ENRIQUE                   34358   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1700    AVELAR, ENRIQUE                   35349   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1701    AVELAR, ENRIQUE                   36340   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1702    AVELAR, JOSE A                    7652    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1703    AVELAR, JOSE A    Laredo, LLC     13402   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1704    AVELAR, JOSE A                    19149   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1705    AVELAR, JOSE A                    24883   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 272 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1706    AVELAR, JOSE A                   30643   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVENTUS          Barney Davis,
1707                                      981    7/29/2022    Secured: $0.00
        INSURANCE CO.    LLC
                                                              General Unsecured: $2,106,791.37 + Unliquidated

                                                              Total: $2,106,791.37 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVENTUS
1708                     Laredo, LLC     1447    7/28/2022    Secured: $0.00
        INSURANCE CO.
                                                              General Unsecured: $2,106,791.37 + Unliquidated

                                                              Total: $2,106,791.37 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVENTUS          Nueces Bay,
1709                                     1526    7/28/2022    Secured: $0.00
        INSURANCE CO.    LLC
                                                              General Unsecured: $2,106,791.37 + Unliquidated

                                                              Total: $2,106,791.37 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVILA, AMERICA   Barney Davis,
1710                                     5577    8/1/2022     Secured: $0.00
        AIDA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVILA, AMERICA
1711                     Laredo, LLC     11327   8/1/2022     Secured: $0.00
        AIDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVILA, AMERICA   Nueces Bay,
1712                                     17074   8/1/2022     Secured: $0.00
        AIDA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 273 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVILA, AMERICA   Talen Texas
1713                                     22819   8/1/2022     Secured: $0.00
        AIDA             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AVILA, AMERICA   Talen Texas,
1714                                     28568   8/1/2022     Secured: $0.00
        AIDA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1715    AVILA, AUDREY                    3955    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1716    AVILA, AUDREY    Laredo, LLC     9705    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1717    AVILA, AUDREY                    15452   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1718    AVILA, AUDREY                    21198   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1719    AVILA, AUDREY                    26946   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 274 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AWBREY, SUSAN   Barney Davis,
1720                                    8900    8/1/2022     Secured: $0.00
        ANNE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AWBREY, SUSAN
1721                    Laredo, LLC     14650   8/1/2022     Secured: $0.00
        ANNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AWBREY, SUSAN   Nueces Bay,
1722                                    20397   8/1/2022     Secured: $0.00
        ANNE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AWBREY, SUSAN   Talen Texas
1723                                    26129   8/1/2022     Secured: $0.00
        ANNE            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AWBREY, SUSAN   Talen Texas,
1724                                    31891   8/1/2022     Secured: $0.00
        ANNE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AXA XL          Barney Davis,
1725                                    2503    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $4,677.00 + Unliquidated

                                                             Total: $4,677.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AXA XL
1726                    Laredo, LLC     2567    7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $4,677.00 + Unliquidated

                                                             Total: $4,677.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 275 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AXA XL         Nueces Bay,
1727                                   2572    7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $4,677.00 + Unliquidated

                                                            Total: $4,677.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AXIS SURPLUS                                        Priority: $0.00
1728    INSURANCE      Laredo, LLC     1782    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $21,544,986.60 + Unliquidated

                                                            Total: $21,544,986.60 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AXIS SURPLUS                                        Priority: $0.00
                       Barney Davis,
1729    INSURANCE                      1803    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $21,544,986.60 + Unliquidated

                                                            Total: $21,544,986.60 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        AXIS SURPLUS                                        Priority: $0.00
                       Nueces Bay,
1730    INSURANCE                      1947    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $21,544,986.60 + Unliquidated

                                                            Total: $21,544,986.60 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AXTHELM,       Barney Davis,
1731                                   8201    8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        AXTHELM,
1732                   Laredo, LLC     13951   8/1/2022     Secured: $0.00
        MELISSA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 276 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AXTHELM,        Nueces Bay,
1733                                    19698   8/1/2022     Secured: $0.00
        MELISSA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AXTHELM,        Talen Texas
1734                                    25432   8/1/2022     Secured: $0.00
        MELISSA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        AXTHELM,        Talen Texas,
1735                                    31192   8/1/2022     Secured: $0.00
        MELISSA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1736    AYALA JR, JOE                   4297    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1737    AYALA JR, JOE   Laredo, LLC     10047   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1738    AYALA JR, JOE                   15794   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1739    AYALA JR, JOE                   21540   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 277 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1740    AYALA JR, JOE                    27288   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1741    AYALA, GABRIEL                   6113    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1742    AYALA, GABRIEL   Laredo, LLC     11863   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1743    AYALA, GABRIEL                   17610   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1744    AYALA, GABRIEL                   23355   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1745    AYALA, GABRIEL                   29104   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1746    AYALA, SYLVIA    Laredo, LLC     32377   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 278 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1747    AYALA, SYLVIA                   33368   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1748    AYALA, SYLVIA                   34359   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1749    AYALA, SYLVIA                   35350   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1750    AYALA, SYLVIA                   36341   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1751    AYO, MARSHA                     8135    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1752    AYO, MARSHA     Laredo, LLC     13885   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1753    AYO, MARSHA                     19632   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 279 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1754    AYO, MARSHA                    25366   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1755    AYO, MARSHA                    31126   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1756    AYRES, NANCY                   8305    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1757    AYRES, NANCY   Laredo, LLC     14055   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1758    AYRES, NANCY                   19802   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1759    AYRES, NANCY                   25536   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1760    AYRES, NANCY                   31296   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 280 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AZAN, JOSE BJOSE Barney Davis,
1761                                     5461    8/1/2022     Secured: $0.00
        BAZAN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AZAN, JOSE BJOSE
1762                     Laredo, LLC     11211   8/1/2022     Secured: $0.00
        BAZAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AZAN, JOSE BJOSE Nueces Bay,
1763                                     16958   8/1/2022     Secured: $0.00
        BAZAN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AZAN, JOSE BJOSE Talen Texas
1764                                     22703   8/1/2022     Secured: $0.00
        BAZAN            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        AZAN, JOSE BJOSE Talen Texas,
1765                                     28452   8/1/2022     Secured: $0.00
        BAZAN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1766    BABB, GERALD                     7297    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1767    BABB, GERALD     Laredo, LLC     13047   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 281 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1768    BABB, GERALD                   18794   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1769    BABB, GERALD                   24528   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1770    BABB, GERALD                   30288   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BABINEAUX,     Barney Davis,
1771                                   4350    8/1/2022     Secured: $0.00
        KAREN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BABINEAUX,
1772                   Laredo, LLC     10100   8/1/2022     Secured: $0.00
        KAREN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BABINEAUX,     Nueces Bay,
1773                                   15847   8/1/2022     Secured: $0.00
        KAREN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BABINEAUX,     Talen Texas
1774                                   21593   8/1/2022     Secured: $0.00
        KAREN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 282 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BABINEAUX,     Talen Texas,
1775                                   27341   8/1/2022     Secured: $0.00
        KAREN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1776    BABKA, CRAIG                   3763    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1777    BABKA, CRAIG   Laredo, LLC     9513    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1778    BABKA, CRAIG                   15260   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1779    BABKA, CRAIG                   21007   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1780    BABKA, CRAIG                   26754   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1781    BACA, ANDREW   Laredo, LLC     32378   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 283 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1782    BACA, ANDREW                    33369   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1783    BACA, ANDREW                    34360   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1784    BACA, ANDREW                    35351   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1785    BACA, ANDREW                    36342   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1786    BACON, DAQUAN                   6094    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1787    BACON, DAQUAN Laredo, LLC       11844   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1788    BACON, DAQUAN                   17591   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 284 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1789    BACON, DAQUAN                    23336   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1790    BACON, DAQUAN                    29085   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1791    BADEAUX, RENEE                   8540    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1792    BADEAUX, RENEE Laredo, LLC       14290   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1793    BADEAUX, RENEE                   20037   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1794    BADEAUX, RENEE                   25769   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1795    BADEAUX, RENEE                   31531   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 285 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1796    BADGETT, LINDA    Laredo, LLC     32379   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1797    BADGETT, LINDA                    33370   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1798    BADGETT, LINDA                    34361   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1799    BADGETT, LINDA                    35352   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1800    BADGETT, LINDA                    36343   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1801    BADILLO, ROLAND Laredo, LLC       32380   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1802    BADILLO, ROLAND                   33371   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 286 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1803    BADILLO, ROLAND                   34362   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1804    BADILLO, ROLAND                   35353   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1805    BADILLO, ROLAND                   36344   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1806    BAGE, ILIEKE                      4229    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1807    BAGE, ILIEKE      Laredo, LLC     9979    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1808    BAGE, ILIEKE                      15726   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1809    BAGE, ILIEKE                      21472   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 287 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1810    BAGE, ILIEKE                     27220   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BAHEL ETHIOPIAN                                       Priority: $0.00
                        Barney Davis,
1811    MART & DINING,                   5714    8/1/2022     Secured: $0.00
                        LLC
        INC                                                   General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BAHEL ETHIOPIAN                                       Priority: $0.00
1812    MART & DINING, Laredo, LLC       11464   8/1/2022     Secured: $0.00
        INC                                                   General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BAHEL ETHIOPIAN                                       Priority: $0.00
                        Nueces Bay,
1813    MART & DINING,                   17211   8/1/2022     Secured: $0.00
                        LLC
        INC                                                   General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BAHEL ETHIOPIAN                                       Priority: $0.00
                        Talen Texas
1814    MART & DINING,                   22956   8/1/2022     Secured: $0.00
                        Group, LLC
        INC                                                   General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BAHEL ETHIOPIAN                                       Priority: $0.00
                        Talen Texas,
1815    MART & DINING,                   28705   8/1/2022     Secured: $0.00
                        LLC
        INC                                                   General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1816    BAILEY, AMANDA                   4809    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 288 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1817    BAILEY, AMANDA Laredo, LLC       10559   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1818    BAILEY, AMANDA                   16306   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1819    BAILEY, AMANDA                   22052   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1820    BAILEY, AMANDA                   27800   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1821    BAILEY, ANNA                     6412    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1822    BAILEY, ANNA     Laredo, LLC     12162   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1823    BAILEY, ANNA                     17909   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 289 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1824    BAILEY, ANNA                     23644   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1825    BAILEY, ANNA                     29403   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1826    BAILEY, DARREN                   4091    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1827    BAILEY, DARREN   Laredo, LLC     9841    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1828    BAILEY, DARREN                   15588   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1829    BAILEY, DARREN                   21334   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1830    BAILEY, DARREN                   27082   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 290 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1831    BAILEY, EFFIE   Laredo, LLC     32381   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1832    BAILEY, EFFIE                   33372   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1833    BAILEY, EFFIE                   34363   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1834    BAILEY, EFFIE                   35354   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1835    BAILEY, EFFIE                   36345   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1836    BAILEY, JAMES                   7434    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1837    BAILEY, JAMES   Laredo, LLC     13184   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 291 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1838    BAILEY, JAMES                     18931   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1839    BAILEY, JAMES                     24665   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1840    BAILEY, JAMES                     30425   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1841    BAILEY, JASMINE                   7486    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1842    BAILEY, JASMINE   Laredo, LLC     13236   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1843    BAILEY, JASMINE                   18983   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1844    BAILEY, JASMINE                   24717   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 292 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1845    BAILEY, JASMINE                   30477   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1846    BAILEY, JOIE                      7639    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1847    BAILEY, JOIE      Laredo, LLC     13389   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1848    BAILEY, JOIE                      19136   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1849    BAILEY, JOIE                      24870   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1850    BAILEY, JOIE                      30630   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1851    BAILEY, KEITH                     5072    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 293 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1852    BAILEY, KEITH    Laredo, LLC     10822   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1853    BAILEY, KEITH                    16569   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1854    BAILEY, KEITH                    22314   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1855    BAILEY, KEITH                    28063   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1856    BAILEY, TERESA                   8962    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1857    BAILEY, TERESA   Laredo, LLC     14712   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1858    BAILEY, TERESA                   20459   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 294 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1859    BAILEY, TERESA                    26191   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1860    BAILEY, TERESA                    31953   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1861    BAILEY, TIFFANY                   3786    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1862    BAILEY, TIFFANY   Laredo, LLC     9536    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1863    BAILEY, TIFFANY                   15283   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1864    BAILEY, TIFFANY                   21030   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1865    BAILEY, TIFFANY                   26777   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 295 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1866    BAIN, SUZANNE                     8908    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1867    BAIN, SUZANNE     Laredo, LLC     14658   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1868    BAIN, SUZANNE                     20405   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1869    BAIN, SUZANNE                     26137   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1870    BAIN, SUZANNE                     31899   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1871    BAIRD, MARIE M.                   4464    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1872    BAIRD, MARIE M. Laredo, LLC       10214   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 296 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1873    BAIRD, MARIE M.                   15961   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1874    BAIRD, MARIE M.                   21707   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1875    BAIRD, MARIE M.                   27455   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1876    BAIRD, VICKIE                     5361    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1877    BAIRD, VICKIE     Laredo, LLC     11111   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1878    BAIRD, VICKIE                     16858   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1879    BAIRD, VICKIE                     22603   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 297 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1880    BAIRD, VICKIE                   28352   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1881    BAKER, JAMES                    7435    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1882    BAKER, JAMES    Laredo, LLC     13185   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1883    BAKER, JAMES                    18932   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1884    BAKER, JAMES                    24666   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1885    BAKER, JAMES                    30426   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1886    BAKER, KAREN                    4351    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 298 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1887    BAKER, KAREN   Laredo, LLC     10101   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1888    BAKER, KAREN                   15848   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1889    BAKER, KAREN                   21594   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1890    BAKER, KAREN                   27342   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1891    BAKER, KARLA                   7753    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1892    BAKER, KARLA   Laredo, LLC     13503   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1893    BAKER, KARLA                   19250   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 299 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1894    BAKER, KARLA                     24984   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1895    BAKER, KARLA                     30744   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1896    BAKER, MELISSA                   5147    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1897    BAKER, MELISSA   Laredo, LLC     10897   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1898    BAKER, MELISSA                   16644   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1899    BAKER, MELISSA                   22389   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1900    BAKER, MELISSA                   28138   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 300 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1901    BAKER, SEAN                    8769    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1902    BAKER, SEAN    Laredo, LLC     14519   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1903    BAKER, SEAN                    20266   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1904    BAKER, SEAN                    25998   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1905    BAKER, SEAN                    31760   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1906    BAKER, TERE                    4721    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1907    BAKER, TERE    Laredo, LLC     10471   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 301 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1908    BAKER, TERE                    16218   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1909    BAKER, TERE                    21964   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1910    BAKER, TERE                    27712   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BALBOA,
1911                   Laredo, LLC     32382   8/1/2022     Secured: $0.00
        DAGOBERTO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BALBOA,        Barney Davis,
1912                                   33373   8/1/2022     Secured: $0.00
        DAGOBERTO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BALBOA,        Nueces Bay,
1913                                   34364   8/1/2022     Secured: $0.00
        DAGOBERTO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BALBOA,        Talen Texas
1914                                   35355   8/1/2022     Secured: $0.00
        DAGOBERTO      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 302 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BALBOA,           Talen Texas,
1915                                      36346   8/1/2022     Secured: $0.00
        DAGOBERTO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
1916    BALDERAS, JUANA Laredo, LLC       32383   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1917    BALDERAS, JUANA                   33374   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
1918    BALDERAS, JUANA                   34365   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
1919    BALDERAS, JUANA                   35356   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
1920    BALDERAS, JUANA                   36347   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
1921    BALING, FELIX                     4967    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 303 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1922    BALING, FELIX    Laredo, LLC    10717   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
1923    BALING, FELIX                   16464   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
1924    BALING, FELIX                   22209   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
1925    BALING, FELIX                   27958   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BALKCOM,        Barney Davis,
1926                                    5204    8/1/2022     Secured: $0.00
        PATRICIA TROOPE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BALKCOM,
1927                    Laredo, LLC     10954   8/1/2022     Secured: $0.00
        PATRICIA TROOPE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BALKCOM,        Nueces Bay,
1928                                    16701   8/1/2022     Secured: $0.00
        PATRICIA TROOPE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 304 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BALKCOM,        Talen Texas
1929                                     22446   8/1/2022     Secured: $0.00
        PATRICIA TROOPE Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BALKCOM,        Talen Texas,
1930                                     28195   8/1/2022     Secured: $0.00
        PATRICIA TROOPE LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1931    BALL, LATARSHA                   7916    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1932    BALL, LATARSHA   Laredo, LLC     13666   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1933    BALL, LATARSHA                   19413   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1934    BALL, LATARSHA                   25147   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
1935    BALL, LATARSHA                   30907   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 305 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1936    BALLARD, AMY                   6367    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1937    BALLARD, AMY   Laredo, LLC     12117   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1938    BALLARD, AMY                   17864   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1939    BALLARD, AMY                   23599   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1940    BALLARD, AMY                   29358   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BALLARD,       Barney Davis,
1941                                   6855    8/1/2022     Secured: $0.00
        CYNTHIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BALLARD,
1942                   Laredo, LLC     12605   8/1/2022     Secured: $0.00
        CYNTHIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 306 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BALLARD,         Nueces Bay,
1943                                     18352   8/1/2022     Secured: $0.00
        CYNTHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BALLARD,         Talen Texas
1944                                     24086   8/1/2022     Secured: $0.00
        CYNTHIA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BALLARD,         Talen Texas,
1945                                     29846   8/1/2022     Secured: $0.00
        CYNTHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1946    BALLARD, EBONY                   7119    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1947    BALLARD, EBONY Laredo, LLC       12869   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1948    BALLARD, EBONY                   18616   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
1949    BALLARD, EBONY                   24350   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 307 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
1950    BALLARD, EBONY                     30110   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BALLARD,           Barney Davis,
1951                                       8304    8/1/2022     Secured: $0.00
        NAKIESHIA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BALLARD,
1952                       Laredo, LLC     14054   8/1/2022     Secured: $0.00
        NAKIESHIA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BALLARD,           Nueces Bay,
1953                                       19801   8/1/2022     Secured: $0.00
        NAKIESHIA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BALLARD,           Talen Texas
1954                                       25535   8/1/2022     Secured: $0.00
        NAKIESHIA          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BALLARD,           Talen Texas,
1955                                       31295   8/1/2022     Secured: $0.00
        NAKIESHIA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
1956    BALTIERRA, CINDY                   6783    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 308 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
1957    BALTIERRA, CINDY Laredo, LLC       12533   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
1958    BALTIERRA, CINDY                   18280   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
1959    BALTIERRA, CINDY                   24014   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
1960    BALTIERRA, CINDY                   29774   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BA‐MASHMOOS,       Barney Davis,
1961                                       6902    8/1/2022     Secured: $0.00
        DARA               LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BA‐MASHMOOS,
1962                       Laredo, LLC     12652   8/1/2022     Secured: $0.00
        DARA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BA‐MASHMOOS,       Nueces Bay,
1963                                       18399   8/1/2022     Secured: $0.00
        DARA               LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 309 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BA‐MASHMOOS,    Talen Texas
1964                                    24133   8/1/2022     Secured: $0.00
        DARA            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BA‐MASHMOOS,    Talen Texas,
1965                                    29893   8/1/2022     Secured: $0.00
        DARA            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
1966    BAMBERG, LELA                   4418    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
1967    BAMBERG, LELA   Laredo, LLC     10168   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
1968    BAMBERG, LELA                   15915   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
1969    BAMBERG, LELA                   21661   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
1970    BAMBERG, LELA                   27409   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 310 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANDY, JUNE   Barney Davis,
1971                                  7724    8/1/2022     Secured: $0.00
        DELILAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANDY, JUNE
1972                  Laredo, LLC     13474   8/1/2022     Secured: $0.00
        DELILAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANDY, JUNE   Nueces Bay,
1973                                  19221   8/1/2022     Secured: $0.00
        DELILAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANDY, JUNE   Talen Texas
1974                                  24955   8/1/2022     Secured: $0.00
        DELILAH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANDY, JUNE   Talen Texas,
1975                                  30715   8/1/2022     Secured: $0.00
        DELILAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
1976    BANFF, KURT                   7881    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
1977    BANFF, KURT   Laredo, LLC     13631   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 311 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
1978    BANFF, KURT                   19378   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
1979    BANFF, KURT                   25112   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
1980    BANFF, KURT                   30872   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BANKERS                                            Priority: $0.00
1981    INSURANCE     Laredo, LLC     2339    7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $1,007,491.00 + Unliquidated

                                                           Total: $1,007,491.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BANKERS                                            Priority: $0.00
                      Nueces Bay,
1982    INSURANCE                     2475    7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $1,007,491.00 + Unliquidated

                                                           Total: $1,007,491.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BANKERS                                            Priority: $0.00
                      Barney Davis,
1983    INSURANCE                     2632    7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $1,007,491.00 + Unliquidated

                                                           Total: $1,007,491.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 312 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BANKERS
                                                           Priority: $0.00
        STANDARD      Nueces Bay,
1984                                  1741    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $41,780,290.89 + Unliquidated
        COMPANY
                                                           Total: $41,780,290.89 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BANKERS
                                                           Priority: $0.00
        STANDARD
1985                  Laredo, LLC     2098    7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $41,780,290.89 + Unliquidated
        COMPANY
                                                           Total: $41,780,290.89 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BANKERS
                                                           Priority: $0.00
        STANDARD      Barney Davis,
1986                                  2113    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $41,780,290.89 + Unliquidated
        COMPANY
                                                           Total: $41,780,290.89 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANKHEAD,
1987                  Laredo, LLC     32384   8/1/2022     Secured: $0.00
        AMALIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANKHEAD,     Barney Davis,
1988                                  33375   8/1/2022     Secured: $0.00
        AMALIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BANKHEAD,     Nueces Bay,
1989                                  34366   8/1/2022     Secured: $0.00
        AMALIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 313 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BANKHEAD,      Talen Texas
1990                                   35357   8/1/2022     Secured: $0.00
        AMALIA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BANKHEAD,      Talen Texas,
1991                                   36348   8/1/2022     Secured: $0.00
        AMALIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
1992    BANKS, DEBRA                   4931    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
1993    BANKS, DEBRA   Laredo, LLC     10681   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
1994    BANKS, DEBRA                   16428   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
1995    BANKS, DEBRA                   22173   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
1996    BANKS, DEBRA                   27922   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 314 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
1997    BANKS, DONELLE                   3669    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
1998    BANKS, DONELLE Laredo, LLC       9419    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
1999    BANKS, DONELLE                   15166   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2000    BANKS, DONELLE                   20913   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2001    BANKS, DONELLE                   26660   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2002    BANKS, SKY                       3712    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2003    BANKS, SKY       Laredo, LLC     9462    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 315 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2004    BANKS, SKY                       15209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2005    BANKS, SKY                       20956   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2006    BANKS, SKY                       26703   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2007    BANKSTON, TINA                   5345    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2008    BANKSTON, TINA Laredo, LLC       11095   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2009    BANKSTON, TINA                   16842   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2010    BANKSTON, TINA                   22587   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 316 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2011    BANKSTON, TINA                   28336   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BANNISTER,       Barney Davis,
2012                                     8984    8/1/2022     Secured: $0.00
        THELMA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BANNISTER,
2013                     Laredo, LLC     14734   8/1/2022     Secured: $0.00
        THELMA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BANNISTER,       Nueces Bay,
2014                                     20481   8/1/2022     Secured: $0.00
        THELMA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BANNISTER,       Talen Texas
2015                                     26213   8/1/2022     Secured: $0.00
        THELMA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BANNISTER,       Talen Texas,
2016                                     31975   8/1/2022     Secured: $0.00
        THELMA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        BARBARA WARD,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                       Barney Davis,
2017    AND AS HEIR TO                   5417    8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        WILLIAM WARD
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 317 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        BARBARA WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
2018    AND AS HEIR TO Laredo, LLC      11167   8/1/2022     Secured: $0.00
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        WILLIAM WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BARBARA WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                       Nueces Bay,
2019    AND AS HEIR TO                  16914   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        WILLIAM WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BARBARA WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                       Talen Texas
2020    AND AS HEIR TO                  22659   8/1/2022     Secured: $0.00
                       Group, LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        WILLIAM WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BARBARA WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                       Talen Texas,
2021    AND AS HEIR TO                  28408   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        WILLIAM WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARBINE,        Barney Davis,
2022                                    6006    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARBINE,
2023                    Laredo, LLC     11756   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARBINE,        Nueces Bay,
2024                                    17503   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 318 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBINE,       Talen Texas
2025                                   23248   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBINE,       Talen Texas,
2026                                   28997   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBOSA,       Barney Davis,
2027                                   9217    8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBOSA,
2028                   Laredo, LLC     14967   8/1/2022     Secured: $0.00
        BARBARA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBOSA,       Nueces Bay,
2029                                   20714   8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBOSA,       Talen Texas
2030                                   26446   8/1/2022     Secured: $0.00
        BARBARA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARBOSA,       Talen Texas,
2031                                   32208   8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 319 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2032    BARBOSA, LAURA Laredo, LLC       32385   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2033    BARBOSA, LAURA                   33376   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2034    BARBOSA, LAURA                   34367   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2035    BARBOSA, LAURA                   35358   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2036    BARBOSA, LAURA                   36349   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2037    BARBOSA, SONIA                   8853    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2038    BARBOSA, SONIA Laredo, LLC       14603   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 320 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2039    BARBOSA, SONIA                   20350   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2040    BARBOSA, SONIA                   26082   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2041    BARBOSA, SONIA                   31844   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2042    BARCLAY, BURKE                   6612    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2043    BARCLAY, BURKE Laredo, LLC       12362   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2044    BARCLAY, BURKE                   18109   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2045    BARCLAY, BURKE                   23843   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 321 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2046    BARCLAY, BURKE                   29603   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARCLAY,         Barney Davis,
2047                                     5261    8/1/2022     Secured: $0.00
        RUENETA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARCLAY,
2048                     Laredo, LLC     11011   8/1/2022     Secured: $0.00
        RUENETA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARCLAY,         Nueces Bay,
2049                                     16758   8/1/2022     Secured: $0.00
        RUENETA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARCLAY,         Talen Texas
2050                                     22503   8/1/2022     Secured: $0.00
        RUENETA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARCLAY,         Talen Texas,
2051                                     28252   8/1/2022     Secured: $0.00
        RUENETA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2052    BARELA, RAMON Laredo, LLC        32386   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 322 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2053    BARELA, RAMON                   33377   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2054    BARELA, RAMON                   34368   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2055    BARELA, RAMON                   35359   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2056    BARELA, RAMON                   36350   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2057    BAREN, RAJESH                   8479    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2058    BAREN, RAJESH   Laredo, LLC     14229   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2059    BAREN, RAJESH                   19976   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 323 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2060    BAREN, RAJESH                   25708   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2061    BAREN, RAJESH                   31470   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2062    BARKER, JIM                     7571    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2063    BARKER, JIM     Laredo, LLC     13321   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2064    BARKER, JIM                     19068   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2065    BARKER, JIM                     24802   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2066    BARKER, JIM                     30562   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 324 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2067    BARKER, LILLI                     4427    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2068    BARKER, LILLI     Laredo, LLC     10177   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2069    BARKER, LILLI                     15924   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2070    BARKER, LILLI                     21670   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2071    BARKER, LILLI                     27418   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2072    BARKER, PATRICK                   8398    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2073    BARKER, PATRICK Laredo, LLC       14148   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 325 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2074    BARKER, PATRICK                   19895   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2075    BARKER, PATRICK                   25628   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2076    BARKER, PATRICK                   31389   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2077    BARKS, RICHARD                    5234    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2078    BARKS, RICHARD    Laredo, LLC     10984   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2079    BARKS, RICHARD                    16731   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2080    BARKS, RICHARD                    22476   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 326 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2081    BARKS, RICHARD                   28225   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2082    BARLER, THOMAS                   4734    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2083    BARLER, THOMAS Laredo, LLC       10484   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2084    BARLER, THOMAS                   16231   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2085    BARLER, THOMAS                   21977   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2086    BARLER, THOMAS                   27725   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARLOW,          Barney Davis,
2087                                     4137    8/1/2022     Secured: $0.00
        DOMONIQUE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 327 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARLOW,
2088                     Laredo, LLC     9887    8/1/2022     Secured: $0.00
        DOMONIQUE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARLOW,          Nueces Bay,
2089                                     15634   8/1/2022     Secured: $0.00
        DOMONIQUE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARLOW,          Talen Texas
2090                                     21380   8/1/2022     Secured: $0.00
        DOMONIQUE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARLOW,          Talen Texas,
2091                                     27128   8/1/2022     Secured: $0.00
        DOMONIQUE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2092    BARNES, ADRIAN                   4799    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2093    BARNES, ADRIAN Laredo, LLC       10549   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2094    BARNES, ADRIAN                   16296   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 328 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2095    BARNES, ADRIAN                   22042   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2096    BARNES, ADRIAN                   27790   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2097    BARNES, BILLY                    6519    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2098    BARNES, BILLY    Laredo, LLC     12269   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2099    BARNES, BILLY                    18016   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2100    BARNES, BILLY                    23751   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2101    BARNES, BILLY                    29510   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 329 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2102    BARNES, CONNIE                   5770    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2103    BARNES, CONNIE Laredo, LLC       11520   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2104    BARNES, CONNIE                   17267   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2105    BARNES, CONNIE                   23012   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2106    BARNES, CONNIE                   28761   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2107    BARNES, GERALD Laredo, LLC       32387   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2108    BARNES, GERALD                   33378   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 330 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2109    BARNES, GERALD                   34369   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2110    BARNES, GERALD                   35360   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2111    BARNES, GERALD                   36351   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2112    BARNES, MARK                     5834    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2113    BARNES, MARK     Laredo, LLC     11584   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2114    BARNES, MARK                     17331   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2115    BARNES, MARK                     23076   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 331 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2116    BARNES, MARK                      28825   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2117    BARNES, MARY                      8146    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2118    BARNES, MARY      Laredo, LLC     13896   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2119    BARNES, MARY                      19643   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2120    BARNES, MARY                      25377   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2121    BARNES, MARY                      31137   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2122    BARNES, TIFFANY                   9005    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 332 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2123    BARNES, TIFFANY Laredo, LLC       14755   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2124    BARNES, TIFFANY                   20502   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2125    BARNES, TIFFANY                   26234   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2126    BARNES, TIFFANY                   31996   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARNETT,          Barney Davis,
2127                                      9150    8/1/2022     Secured: $0.00
        WILLIAM           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARNETT,
2128                      Laredo, LLC     14900   8/1/2022     Secured: $0.00
        WILLIAM
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARNETT,          Nueces Bay,
2129                                      20647   8/1/2022     Secured: $0.00
        WILLIAM           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 333 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BARNETT,           Talen Texas
2130                                       26379   8/1/2022     Secured: $0.00
        WILLIAM            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BARNETT,           Talen Texas,
2131                                       32141   8/1/2022     Secured: $0.00
        WILLIAM            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
2132    BARNHILL, DEBBIE                   6957    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
2133    BARNHILL, DEBBIE Laredo, LLC       12707   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
2134    BARNHILL, DEBBIE                   18454   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
2135    BARNHILL, DEBBIE                   24188   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
2136    BARNHILL, DEBBIE                   29948   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 334 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARNUM,         Barney Davis,
2137                                    4454    8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARNUM,
2138                    Laredo, LLC     10204   8/1/2022     Secured: $0.00
        MARGARET
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARNUM,         Nueces Bay,
2139                                    15951   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARNUM,         Talen Texas
2140                                    21697   8/1/2022     Secured: $0.00
        MARGARET        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARNUM,         Talen Texas,
2141                                    27445   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2142    BARONE, ROGER                   8655    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2143    BARONE, ROGER   Laredo, LLC     14405   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 335 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2144    BARONE, ROGER                   20152   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2145    BARONE, ROGER                   25884   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2146    BARONE, ROGER                   31646   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2147    BAROZ, SUSAN                    5320    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2148    BAROZ, SUSAN    Laredo, LLC     11070   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2149    BAROZ, SUSAN                    16817   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2150    BAROZ, SUSAN                    22562   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 336 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2151    BAROZ, SUSAN                    28311   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2152    BARR, JENNY                     9265    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2153    BARR, JENNY     Laredo, LLC     15015   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2154    BARR, JENNY                     20762   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2155    BARR, JENNY                     26494   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2156    BARR, JENNY                     32256   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2157    BARRERA, CARLOS Laredo, LLC     32388   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 337 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2158    BARRERA, CARLOS                   33379   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2159    BARRERA, CARLOS                   34370   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2160    BARRERA, CARLOS                   35361   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2161    BARRERA, CARLOS                   36352   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRERA,          Barney Davis,
2162                                      4160    8/1/2022     Secured: $0.00
        ELIZABETH         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRERA,
2163                      Laredo, LLC     9910    8/1/2022     Secured: $0.00
        ELIZABETH
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRERA,          Nueces Bay,
2164                                      15657   8/1/2022     Secured: $0.00
        ELIZABETH         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 338 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,      Talen Texas
2165                                  21403   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,      Talen Texas,
2166                                  27151   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,
2167                  Laredo, LLC     32389   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,      Barney Davis,
2168                                  33380   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,      Nueces Bay,
2169                                  34371   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,      Talen Texas
2170                                  35362   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BARRERA,      Talen Texas,
2171                                  36353   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 339 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2172    BARRERA, FELIX    Laredo, LLC     32390   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2173    BARRERA, FELIX                    33381   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2174    BARRERA, FELIX                    34372   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2175    BARRERA, FELIX                    35363   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2176    BARRERA, FELIX                    36354   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2177    BARRERA, GLORIA Laredo, LLC       32391   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2178    BARRERA, GLORIA                   33382   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 340 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2179    BARRERA, GLORIA                   34373   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2180    BARRERA, GLORIA                   35364   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2181    BARRERA, GLORIA                   36355   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2182    BARRERA, IRENE    Laredo, LLC     32392   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2183    BARRERA, IRENE                    33383   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2184    BARRERA, IRENE                    34374   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2185    BARRERA, IRENE                    35365   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 341 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2186    BARRERA, IRENE                   36356   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Barney Davis,
2187                                     8092    8/1/2022     Secured: $0.00
        MARIBEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,
2188                     Laredo, LLC     13842   8/1/2022     Secured: $0.00
        MARIBEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Nueces Bay,
2189                                     19589   8/1/2022     Secured: $0.00
        MARIBEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Talen Texas
2190                                     25323   8/1/2022     Secured: $0.00
        MARIBEL          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Talen Texas,
2191                                     31083   8/1/2022     Secured: $0.00
        MARIBEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Barney Davis,
2192                                     5177    8/1/2022     Secured: $0.00
        NEREIDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 342 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,
2193                     Laredo, LLC     10927   8/1/2022     Secured: $0.00
        NEREIDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Nueces Bay,
2194                                     16674   8/1/2022     Secured: $0.00
        NEREIDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Talen Texas
2195                                     22419   8/1/2022     Secured: $0.00
        NEREIDA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Talen Texas,
2196                                     28168   8/1/2022     Secured: $0.00
        NEREIDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2197    BARRERA, RALPH Laredo, LLC       32393   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2198    BARRERA, RALPH                   33384   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2199    BARRERA, RALPH                   34375   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 343 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2200    BARRERA, RALPH                   35366   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2201    BARRERA, RALPH                   36357   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,
2202                     Laredo, LLC     32394   8/1/2022     Secured: $0.00
        RICHARD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Barney Davis,
2203                                     33385   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Nueces Bay,
2204                                     34376   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Talen Texas
2205                                     35367   8/1/2022     Secured: $0.00
        RICHARD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRERA,         Talen Texas,
2206                                     36358   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 344 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2207    BARRETT, AMBER                    6361    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2208    BARRETT, AMBER Laredo, LLC        12111   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2209    BARRETT, AMBER                    17858   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2210    BARRETT, AMBER                    23593   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2211    BARRETT, AMBER                    29352   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2212    BARRETT, DEBBIE                   6958    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2213    BARRETT, DEBBIE Laredo, LLC       12708   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 345 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2214    BARRETT, DEBBIE                   18455   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2215    BARRETT, DEBBIE                   24189   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2216    BARRETT, DEBBIE                   29949   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRIENTES,       Barney Davis,
2217                                      7109    8/1/2022     Secured: $0.00
        DRENA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRIENTES,
2218                      Laredo, LLC     12859   8/1/2022     Secured: $0.00
        DRENA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRIENTES,       Nueces Bay,
2219                                      18606   8/1/2022     Secured: $0.00
        DRENA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARRIENTES,       Talen Texas
2220                                      24340   8/1/2022     Secured: $0.00
        DRENA             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 346 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas,
2221                                   30100   8/1/2022     Secured: $0.00
        DRENA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,
2222                   Laredo, LLC     32395   8/1/2022     Secured: $0.00
        FELIX
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Barney Davis,
2223                                   33386   8/1/2022     Secured: $0.00
        FELIX          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Nueces Bay,
2224                                   34377   8/1/2022     Secured: $0.00
        FELIX          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas
2225                                   35368   8/1/2022     Secured: $0.00
        FELIX          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas,
2226                                   36359   8/1/2022     Secured: $0.00
        FELIX          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,
2227                   Laredo, LLC     32396   8/1/2022     Secured: $0.00
        ROLANDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 347 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Barney Davis,
2228                                   33387   8/1/2022     Secured: $0.00
        ROLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Nueces Bay,
2229                                   34378   8/1/2022     Secured: $0.00
        ROLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas
2230                                   35369   8/1/2022     Secured: $0.00
        ROLANDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas,
2231                                   36360   8/1/2022     Secured: $0.00
        ROLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,
2232                   Laredo, LLC     32397   8/1/2022     Secured: $0.00
        RUBEN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Barney Davis,
2233                                   33388   8/1/2022     Secured: $0.00
        RUBEN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Nueces Bay,
2234                                   34379   8/1/2022     Secured: $0.00
        RUBEN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 348 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas
2235                                   35370   8/1/2022     Secured: $0.00
        RUBEN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas,
2236                                   36361   8/1/2022     Secured: $0.00
        RUBEN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,
2237                   Laredo, LLC     32398   8/1/2022     Secured: $0.00
        TONIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Barney Davis,
2238                                   33389   8/1/2022     Secured: $0.00
        TONIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Nueces Bay,
2239                                   34380   8/1/2022     Secured: $0.00
        TONIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas
2240                                   35371   8/1/2022     Secured: $0.00
        TONIA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BARRIENTES,    Talen Texas,
2241                                   36362   8/1/2022     Secured: $0.00
        TONIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 349 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRIENTEZ,      Barney Davis,
2242                                     4771    8/1/2022     Secured: $0.00
        VILMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRIENTEZ,
2243                     Laredo, LLC     10521   8/1/2022     Secured: $0.00
        VILMA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRIENTEZ,      Nueces Bay,
2244                                     16268   8/1/2022     Secured: $0.00
        VILMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRIENTEZ,      Talen Texas
2245                                     22014   8/1/2022     Secured: $0.00
        VILMA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BARRIENTEZ,      Talen Texas,
2246                                     27762   8/1/2022     Secured: $0.00
        VILMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2247    BARRIOS, PEDRO                   8429    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2248    BARRIOS, PEDRO Laredo, LLC       14179   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 350 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2249    BARRIOS, PEDRO                   19926   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2250    BARRIOS, PEDRO                   25659   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2251    BARRIOS, PEDRO                   31420   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2252    BARRON, ROBIN                    8628    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2253    BARRON, ROBIN    Laredo, LLC     14378   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2254    BARRON, ROBIN                    20125   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2255    BARRON, ROBIN                    25857   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 351 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2256    BARRON, ROBIN                   31619   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARROWS,        Barney Davis,
2257                                    8556    8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARROWS,
2258                    Laredo, LLC     14306   8/1/2022     Secured: $0.00
        RICHARD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARROWS,        Nueces Bay,
2259                                    20053   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARROWS,        Talen Texas
2260                                    25785   8/1/2022     Secured: $0.00
        RICHARD         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARROWS,        Talen Texas,
2261                                    31547   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BARTELL,        Barney Davis,
2262                                    4556    8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 352 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARTELL,
2263                      Laredo, LLC     10306   8/1/2022     Secured: $0.00
        PATRICIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARTELL,          Nueces Bay,
2264                                      16053   8/1/2022     Secured: $0.00
        PATRICIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARTELL,          Talen Texas
2265                                      21799   8/1/2022     Secured: $0.00
        PATRICIA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BARTELL,          Talen Texas,
2266                                      27547   8/1/2022     Secured: $0.00
        PATRICIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2267    BARTON, JESSICA                   4281    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2268    BARTON, JESSICA Laredo, LLC       10031   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2269    BARTON, JESSICA                   15778   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 353 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2270    BARTON, JESSICA                   21524   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2271    BARTON, JESSICA                   27272   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2272    BARTON, NONA      Laredo, LLC     32399   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2273    BARTON, NONA                      33390   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2274    BARTON, NONA                      34381   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2275    BARTON, NONA                      35372   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2276    BARTON, NONA                      36363   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 354 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2277    BARTON, TYLER                    9084    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2278    BARTON, TYLER    Laredo, LLC     14834   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2279    BARTON, TYLER                    20581   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2280    BARTON, TYLER                    26313   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2281    BARTON, TYLER                    32075   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2282    BARZART, MARIO                   8103    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2283    BARZART, MARIO Laredo, LLC       13853   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 355 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2284    BARZART, MARIO                   19600   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2285    BARZART, MARIO                   25334   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2286    BARZART, MARIO                   31094   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2287    BARZIZA, SCOT                    9319    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2288    BARZIZA, SCOT    Laredo, LLC     15069   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2289    BARZIZA, SCOT                    20816   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2290    BARZIZA, SCOT                    26548   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 356 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2291    BARZIZA, SCOT                   32310   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2292    BASHAM, MARY                    6002    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2293    BASHAM, MARY    Laredo, LLC     11752   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2294    BASHAM, MARY                    17499   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2295    BASHAM, MARY                    23244   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2296    BASHAM, MARY                    28993   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BASILE,         Barney Davis,
2297                                    4018    8/1/2022     Secured: $0.00
        CATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 357 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASILE,
2298                      Laredo, LLC     9768    8/1/2022     Secured: $0.00
        CATHERINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASILE,           Nueces Bay,
2299                                      15515   8/1/2022     Secured: $0.00
        CATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASILE,           Talen Texas
2300                                      21261   8/1/2022     Secured: $0.00
        CATHERINE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASILE,           Talen Texas,
2301                                      27009   8/1/2022     Secured: $0.00
        CATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2302    BASS, KATHARINE                   7760    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2303    BASS, KATHARINE Laredo, LLC       13510   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2304    BASS, KATHARINE                   19257   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 358 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2305    BASS, KATHARINE                   24991   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2306    BASS, KATHARINE                   30751   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2307    BASS, MARGARET                    5123    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2308    BASS, MARGARET Laredo, LLC        10873   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2309    BASS, MARGARET                    16620   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2310    BASS, MARGARET                    22365   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2311    BASS, MARGARET                    28114   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 359 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2312    BASS, SARAH                    5276    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2313    BASS, SARAH    Laredo, LLC     11026   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2314    BASS, SARAH                    16773   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2315    BASS, SARAH                    22518   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2316    BASS, SARAH                    28267   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2317    BASSETT, JAN                   3883    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2318    BASSETT, JAN   Laredo, LLC     9633    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 360 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2319    BASSETT, JAN                   15380   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2320    BASSETT, JAN                   21127   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2321    BASSETT, JAN                   26874   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASSETT,       Barney Davis,
2322                                   9134    8/1/2022     Secured: $0.00
        WARREN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASSETT,
2323                   Laredo, LLC     14884   8/1/2022     Secured: $0.00
        WARREN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASSETT,       Nueces Bay,
2324                                   20631   8/1/2022     Secured: $0.00
        WARREN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASSETT,       Talen Texas
2325                                   26363   8/1/2022     Secured: $0.00
        WARREN         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 361 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASSETT,       Talen Texas,
2326                                   32125   8/1/2022     Secured: $0.00
        WARREN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASTIDA,       Barney Davis,
2327                                   6741    8/1/2022     Secured: $0.00
        CHRISTEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASTIDA,
2328                   Laredo, LLC     12491   8/1/2022     Secured: $0.00
        CHRISTEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASTIDA,       Nueces Bay,
2329                                   18238   8/1/2022     Secured: $0.00
        CHRISTEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASTIDA,       Talen Texas
2330                                   23972   8/1/2022     Secured: $0.00
        CHRISTEL       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASTIDA,       Talen Texas,
2331                                   29732   8/1/2022     Secured: $0.00
        CHRISTEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BASTON,        Barney Davis,
2332                                   7421    8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 362 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASTON,
2333                      Laredo, LLC     13171   8/1/2022     Secured: $0.00
        JACQUELINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASTON,           Nueces Bay,
2334                                      18918   8/1/2022     Secured: $0.00
        JACQUELINE        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASTON,           Talen Texas
2335                                      24652   8/1/2022     Secured: $0.00
        JACQUELINE        Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BASTON,           Talen Texas,
2336                                      30412   8/1/2022     Secured: $0.00
        JACQUELINE        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2337    BATES, CHRISTIE                   4042    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2338    BATES, CHRISTIE   Laredo, LLC     9792    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2339    BATES, CHRISTIE                   15539   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 363 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2340    BATES, CHRISTIE                   21285   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2341    BATES, CHRISTIE                   27033   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2342    BATES, FREDRICO                   4975    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2343    BATES, FREDRICO Laredo, LLC       10725   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2344    BATES, FREDRICO                   16472   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2345    BATES, FREDRICO                   22217   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2346    BATES, FREDRICO                   27966   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 364 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2347    BATES, LILLIAN                   5095    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2348    BATES, LILLIAN   Laredo, LLC     10845   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2349    BATES, LILLIAN                   16592   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2350    BATES, LILLIAN                   22337   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2351    BATES, LILLIAN                   28086   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2352    BATES, MELISSA                   8202    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2353    BATES, MELISSA   Laredo, LLC     13952   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 365 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2354    BATES, MELISSA                   19699   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2355    BATES, MELISSA                   25433   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2356    BATES, MELISSA                   31193   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2357    BATOOL, ALINA                    6340    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2358    BATOOL, ALINA    Laredo, LLC     12090   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2359    BATOOL, ALINA                    17837   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2360    BATOOL, ALINA                    23572   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 366 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2361    BATOOL, ALINA                   29331   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2362    BATSON, JILL                    7570    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2363    BATSON, JILL    Laredo, LLC     13320   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2364    BATSON, JILL                    19067   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2365    BATSON, JILL                    24801   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2366    BATSON, JILL                    30561   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2367    BATTIE, KENNETH Laredo, LLC     32400   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 367 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2368    BATTIE, KENNETH                   33391   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2369    BATTIE, KENNETH                   34382   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2370    BATTIE, KENNETH                   35373   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2371    BATTIE, KENNETH                   36364   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2372    BATTIE, ROBERT                    8591    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2373    BATTIE, ROBERT    Laredo, LLC     14341   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2374    BATTIE, ROBERT                    20088   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 368 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2375    BATTIE, ROBERT                   25820   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2376    BATTIE, ROBERT                   31582   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BATTLE,          Barney Davis,
2377                                     6591    8/1/2022     Secured: $0.00
        BRIGGITTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BATTLE,
2378                     Laredo, LLC     12341   8/1/2022     Secured: $0.00
        BRIGGITTE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BATTLE,          Nueces Bay,
2379                                     18088   8/1/2022     Secured: $0.00
        BRIGGITTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BATTLE,          Talen Texas
2380                                     23822   8/1/2022     Secured: $0.00
        BRIGGITTE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BATTLE,          Talen Texas,
2381                                     29582   8/1/2022     Secured: $0.00
        BRIGGITTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 369 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATTLES,          Barney Davis,
2382                                      9219    8/1/2022     Secured: $0.00
        BENJAMIN EARL     LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATTLES,
2383                      Laredo, LLC     14969   8/1/2022     Secured: $0.00
        BENJAMIN EARL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATTLES,          Nueces Bay,
2384                                      20716   8/1/2022     Secured: $0.00
        BENJAMIN EARL     LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATTLES,          Talen Texas
2385                                      26448   8/1/2022     Secured: $0.00
        BENJAMIN EARL     Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATTLES,          Talen Texas,
2386                                      32210   8/1/2022     Secured: $0.00
        BENJAMIN EARL     LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2387    BATTLEY, QUISIA                   5217    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2388    BATTLEY, QUISIA   Laredo, LLC     10967   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 370 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2389    BATTLEY, QUISIA                   16714   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2390    BATTLEY, QUISIA                   22459   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2391    BATTLEY, QUISIA                   28208   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATUYONG,         Barney Davis,
2392                                      7964    8/1/2022     Secured: $0.00
        LESLIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATUYONG,
2393                      Laredo, LLC     13714   8/1/2022     Secured: $0.00
        LESLIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATUYONG,         Nueces Bay,
2394                                      19461   8/1/2022     Secured: $0.00
        LESLIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BATUYONG,         Talen Texas
2395                                      25195   8/1/2022     Secured: $0.00
        LESLIE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 371 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BATUYONG,     Talen Texas,
2396                                  30955   8/1/2022     Secured: $0.00
        LESLIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
2397    BATY, DANA                    6879    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
2398    BATY, DANA    Laredo, LLC     12629   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
2399    BATY, DANA                    18376   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
2400    BATY, DANA                    24110   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
2401    BATY, DANA                    29870   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BAUGHAN,      Barney Davis,
2402                                  3681    8/1/2022     Secured: $0.00
        JOHNATHON     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 372 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BAUGHAN,
2403                      Laredo, LLC     9431    8/1/2022     Secured: $0.00
        JOHNATHON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BAUGHAN,          Nueces Bay,
2404                                      15178   8/1/2022     Secured: $0.00
        JOHNATHON         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BAUGHAN,          Talen Texas
2405                                      20925   8/1/2022     Secured: $0.00
        JOHNATHON         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BAUGHAN,          Talen Texas,
2406                                      26672   8/1/2022     Secured: $0.00
        JOHNATHON         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2407    BAUSLEY, EUNICE                   4176    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2408    BAUSLEY, EUNICE Laredo, LLC       9926    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2409    BAUSLEY, EUNICE                   15673   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 373 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2410    BAUSLEY, EUNICE                   21419   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2411    BAUSLEY, EUNICE                   27167   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2412    BAXTER, DANIEL                    3859    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2413    BAXTER, DANIEL                    4080    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2414    BAXTER, DANIEL    Laredo, LLC     9609    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2415    BAXTER, DANIEL    Laredo, LLC     9830    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2416    BAXTER, DANIEL                    15356   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 374 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2417    BAXTER, DANIEL                   15577   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2418    BAXTER, DANIEL                   21103   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2419    BAXTER, DANIEL                   21323   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2420    BAXTER, DANIEL                   26850   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2421    BAXTER, DANIEL                   27071   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2422    BAY, JOHN                        5035    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2423    BAY, JOHN        Laredo, LLC     10785   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 375 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2424    BAY, JOHN                      16532   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2425    BAY, JOHN                      22277   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2426    BAY, JOHN                      28026   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2427    BAY, RICHARD                   4605    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2428    BAY, RICHARD   Laredo, LLC     10355   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2429    BAY, RICHARD                   16102   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2430    BAY, RICHARD                   21848   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 376 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2431    BAY, RICHARD                    27596   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAYNES, NORMA Barney Davis,
2432                                    5848    8/1/2022     Secured: $0.00
        GLENN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAYNES, NORMA
2433                  Laredo, LLC       11598   8/1/2022     Secured: $0.00
        GLENN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAYNES, NORMA Nueces Bay,
2434                                    17345   8/1/2022     Secured: $0.00
        GLENN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAYNES, NORMA Talen Texas
2435                                    23090   8/1/2022     Secured: $0.00
        GLENN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAYNES, NORMA Talen Texas,
2436                                    28839   8/1/2022     Secured: $0.00
        GLENN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2437    BAYON, REGINA                   8527    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 377 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2438    BAYON, REGINA   Laredo, LLC     14277   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2439    BAYON, REGINA                   20024   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2440    BAYON, REGINA                   25756   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2441    BAYON, REGINA                   31518   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2442    BAYOUD, DAVID                   9249    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2443    BAYOUD, DAVID   Laredo, LLC     14999   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2444    BAYOUD, DAVID                   20746   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 378 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2445    BAYOUD, DAVID                     26478   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2446    BAYOUD, DAVID                     32240   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2447    BAYSINGER, HOPE                   7379    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2448    BAYSINGER, HOPE Laredo, LLC       13129   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2449    BAYSINGER, HOPE                   18876   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2450    BAYSINGER, HOPE                   24610   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2451    BAYSINGER, HOPE                   30370   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 379 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2452    BAZAN, HOMERO                   7378    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2453    BAZAN, HOMERO Laredo, LLC       13128   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2454    BAZAN, HOMERO                   18875   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2455    BAZAN, HOMERO                   24609   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2456    BAZAN, HOMERO                   30369   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAZEMORE‐       Barney Davis,
2457                                    3670    8/1/2022     Secured: $0.00
        BABICH, EDYTH   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAZEMORE‐
2458                    Laredo, LLC     9420    8/1/2022     Secured: $0.00
        BABICH, EDYTH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 380 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAZEMORE‐       Nueces Bay,
2459                                    15167   8/1/2022     Secured: $0.00
        BABICH, EDYTH   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAZEMORE‐       Talen Texas
2460                                    20914   8/1/2022     Secured: $0.00
        BABICH, EDYTH   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BAZEMORE‐       Talen Texas,
2461                                    26661   8/1/2022     Secured: $0.00
        BABICH, EDYTH   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2462    BEAM, JAMES     Laredo, LLC     32401   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2463    BEAM, JAMES                     33392   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2464    BEAM, JAMES                     34383   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2465    BEAM, JAMES                     35374   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 381 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2466    BEAM, JAMES                     36365   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2467    BEARD, TREVOR                   9067    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2468    BEARD, TREVOR   Laredo, LLC     14817   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2469    BEARD, TREVOR                   20564   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2470    BEARD, TREVOR                   26296   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2471    BEARD, TREVOR                   32058   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2472    BEARD, WILLIAM Laredo, LLC      32402   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 382 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2473    BEARD, WILLIAM                   33393   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2474    BEARD, WILLIAM                   34384   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2475    BEARD, WILLIAM                   35375   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2476    BEARD, WILLIAM                   36366   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BEATHARD,        Barney Davis,
2477                                     5601    8/1/2022     Secured: $0.00
        GERALD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BEATHARD,
2478                     Laredo, LLC     11351   8/1/2022     Secured: $0.00
        GERALD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BEATHARD,        Nueces Bay,
2479                                     17098   8/1/2022     Secured: $0.00
        GERALD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 383 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEATHARD,       Talen Texas
2480                                    22843   8/1/2022     Secured: $0.00
        GERALD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEATHARD,       Talen Texas,
2481                                    28592   8/1/2022     Secured: $0.00
        GERALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2482    BEATTY, JAMES   Laredo, LLC     32403   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2483    BEATTY, JAMES                   33394   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2484    BEATTY, JAMES                   34385   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2485    BEATTY, JAMES                   35376   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2486    BEATTY, JAMES                   36367   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 384 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUBOUEF,    Barney Davis,
2487                                  9024    8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUBOUEF,
2488                  Laredo, LLC     14774   8/1/2022     Secured: $0.00
        TODD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUBOUEF,    Nueces Bay,
2489                                  20521   8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUBOUEF,    Talen Texas
2490                                  26253   8/1/2022     Secured: $0.00
        TODD          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUBOUEF,    Talen Texas,
2491                                  32015   8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,
2492                  Laredo, LLC     32404   8/1/2022     Secured: $0.00
        CHRISTINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Barney Davis,
2493                                  33395   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 385 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Nueces Bay,
2494                                  34386   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Talen Texas
2495                                  35377   8/1/2022     Secured: $0.00
        CHRISTINA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Talen Texas,
2496                                  36368   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Barney Davis,
2497                                  7436    8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,
2498                  Laredo, LLC     13186   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Nueces Bay,
2499                                  18933   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BEAUCHAMP,    Talen Texas
2500                                  24667   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 386 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEAUCHAMP,      Talen Texas,
2501                                    30427   8/1/2022     Secured: $0.00
        JAMES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEAUTIFUL YOU   Barney Davis,
2502                                    5908    8/1/2022     Secured: $0.00
        FACIALS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEAUTIFUL YOU
2503                    Laredo, LLC     11658   8/1/2022     Secured: $0.00
        FACIALS LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEAUTIFUL YOU   Nueces Bay,
2504                                    17405   8/1/2022     Secured: $0.00
        FACIALS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEAUTIFUL YOU   Talen Texas
2505                                    23150   8/1/2022     Secured: $0.00
        FACIALS LLC     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEAUTIFUL YOU   Talen Texas,
2506                                    28899   8/1/2022     Secured: $0.00
        FACIALS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2507    BEAVER, APRIL                   3942    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 387 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2508    BEAVER, APRIL   Laredo, LLC     9692    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2509    BEAVER, APRIL                   15439   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2510    BEAVER, APRIL                   21185   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2511    BEAVER, APRIL                   26933   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2512    BEAVER, TOM                     5482    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2513    BEAVER, TOM     Laredo, LLC     11232   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2514    BEAVER, TOM                     16979   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 388 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2515    BEAVER, TOM                    22724   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2516    BEAVER, TOM                    28473   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BEAZLEY                                             Priority: $0.00
2517    FURLONGE       Laredo, LLC     1935    7/30/2022    Secured: $0.00
        LIMITED                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BEAZLEY                                             Priority: $0.00
                       Barney Davis,
2518    FURLONGE                       2026    7/30/2022    Secured: $0.00
                       LLC
        LIMITED                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BEAZLEY                                             Priority: $0.00
                       Nueces Bay,
2519    FURLONGE                       2058    7/30/2022    Secured: $0.00
                       LLC
        LIMITED                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2520    BECK, CELIA                    5718    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2521    BECK, CELIA    Laredo, LLC     11468   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 389 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2522    BECK, CELIA                    17215   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2523    BECK, CELIA                    22960   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2524    BECK, CELIA                    28709   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BECKHAM,       Barney Davis,
2525                                   5859    8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BECKHAM,
2526                   Laredo, LLC     11609   8/1/2022     Secured: $0.00
        ROBERT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BECKHAM,       Nueces Bay,
2527                                   17356   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BECKHAM,       Talen Texas
2528                                   23101   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 390 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BECKHAM,        Talen Texas,
2529                                    28850   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEDDINGFIELD,   Barney Davis,
2530                                    6997    8/1/2022     Secured: $0.00
        DENNIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEDDINGFIELD,
2531                    Laredo, LLC     12747   8/1/2022     Secured: $0.00
        DENNIS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEDDINGFIELD,   Nueces Bay,
2532                                    18494   8/1/2022     Secured: $0.00
        DENNIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEDDINGFIELD,   Talen Texas
2533                                    24228   8/1/2022     Secured: $0.00
        DENNIS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEDDINGFIELD,   Talen Texas,
2534                                    29988   8/1/2022     Secured: $0.00
        DENNIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEECHAM,        Barney Davis,
2535                                    6328    8/1/2022     Secured: $0.00
        ALFRED          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 391 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEECHAM,
2536                    Laredo, LLC     12078   8/1/2022     Secured: $0.00
        ALFRED
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEECHAM,        Nueces Bay,
2537                                    17825   8/1/2022     Secured: $0.00
        ALFRED          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEECHAM,        Talen Texas
2538                                    23560   8/1/2022     Secured: $0.00
        ALFRED          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BEECHAM,        Talen Texas,
2539                                    29319   8/1/2022     Secured: $0.00
        ALFRED          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2540    BEENE, TARYNE                   8949    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2541    BEENE, TARYNE   Laredo, LLC     14699   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2542    BEENE, TARYNE                   20446   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 392 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2543    BEENE, TARYNE                    26178   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2544    BEENE, TARYNE                    31940   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2545    BEESLEY, JAMES                   7437    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2546    BEESLEY, JAMES   Laredo, LLC     13187   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2547    BEESLEY, JAMES                   18934   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2548    BEESLEY, JAMES                   24668   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2549    BEESLEY, JAMES                   30428   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 393 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2550    BEESON, KERRY                     7824    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2551    BEESON, KERRY     Laredo, LLC     13574   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2552    BEESON, KERRY                     19321   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2553    BEESON, KERRY                     25055   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2554    BEESON, KERRY                     30815   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2555    BEISSERT, DAVID   Laredo, LLC     32405   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2556    BEISSERT, DAVID                   33396   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 394 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2557    BEISSERT, DAVID                   34387   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2558    BEISSERT, DAVID                   35378   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2559    BEISSERT, DAVID                   36369   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BELCHER,          Barney Davis,
2560                                      4814    8/1/2022     Secured: $0.00
        ANDREW            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BELCHER,
2561                      Laredo, LLC     10564   8/1/2022     Secured: $0.00
        ANDREW
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BELCHER,          Nueces Bay,
2562                                      16311   8/1/2022     Secured: $0.00
        ANDREW            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BELCHER,          Talen Texas
2563                                      22057   8/1/2022     Secured: $0.00
        ANDREW            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 395 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELCHER,        Talen Texas,
2564                                    27805   8/1/2022     Secured: $0.00
        ANDREW          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELCHER,        Barney Davis,
2565                                    7303    8/1/2022     Secured: $0.00
        GEREATHIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELCHER,
2566                    Laredo, LLC     13053   8/1/2022     Secured: $0.00
        GEREATHIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELCHER,        Nueces Bay,
2567                                    18800   8/1/2022     Secured: $0.00
        GEREATHIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELCHER,        Talen Texas
2568                                    24534   8/1/2022     Secured: $0.00
        GEREATHIA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELCHER,        Talen Texas,
2569                                    30294   8/1/2022     Secured: $0.00
        GEREATHIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2570    BELENDEZ, JOE                   7587    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 396 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2571    BELENDEZ, JOE    Laredo, LLC     13337   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2572    BELENDEZ, JOE                    19084   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2573    BELENDEZ, JOE                    24818   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2574    BELENDEZ, JOE                    30578   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2575    BELFORD, HELEN                   3865    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2576    BELFORD, HELEN Laredo, LLC       9615    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2577    BELFORD, HELEN                   15362   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 397 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2578    BELFORD, HELEN                    21109   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2579    BELFORD, HELEN                    26856   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2580    BELFORD, SHEILA                   5299    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2581    BELFORD, SHEILA Laredo, LLC       11049   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2582    BELFORD, SHEILA                   16796   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2583    BELFORD, SHEILA                   22541   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2584    BELFORD, SHEILA                   28290   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 398 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2585    BELKEN, DIANNA                   7042    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2586    BELKEN, DIANNA Laredo, LLC       12792   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2587    BELKEN, DIANNA                   18539   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2588    BELKEN, DIANNA                   24273   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2589    BELKEN, DIANNA                   30033   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2590    BELKIN, JULIE                    7716    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2591    BELKIN, JULIE    Laredo, LLC     13466   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 399 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2592    BELKIN, JULIE                   19213   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2593    BELKIN, JULIE                   24947   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2594    BELKIN, JULIE                   30707   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELL, CHAD      Barney Davis,
2595                                    4027    8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELL, CHAD
2596                    Laredo, LLC     9777    8/1/2022     Secured: $0.00
        ROBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELL, CHAD      Nueces Bay,
2597                                    15524   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELL, CHAD      Talen Texas
2598                                    21270   8/1/2022     Secured: $0.00
        ROBERT          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 400 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BELL, CHAD     Talen Texas,
2599                                   27018   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2600    BELL, DEBRA                    5776    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2601    BELL, DEBRA    Laredo, LLC     11526   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2602    BELL, DEBRA                    17273   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2603    BELL, DEBRA                    23018   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2604    BELL, DEBRA                    28767   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2605    BELL, JOHN                     5036    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 401 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2606    BELL, JOHN       Laredo, LLC     10786   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2607    BELL, JOHN                       16533   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2608    BELL, JOHN                       22278   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2609    BELL, JOHN                       28027   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2610    BELL, RACHELLE                   5853    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2611    BELL, RACHELLE   Laredo, LLC     11603   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2612    BELL, RACHELLE                   17350   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 402 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2613    BELL, RACHELLE                   23095   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2614    BELL, RACHELLE                   28844   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2615    BELL, ROBERT                     5563    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2616    BELL, ROBERT     Laredo, LLC     11313   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2617    BELL, ROBERT                     17060   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2618    BELL, ROBERT                     22805   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2619    BELL, ROBERT                     28554   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 403 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BELL, SHEILA     Barney Davis,
2620                                     4680    8/1/2022     Secured: $0.00
        YVONNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BELL, SHEILA
2621                     Laredo, LLC     10430   8/1/2022     Secured: $0.00
        YVONNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BELL, SHEILA     Nueces Bay,
2622                                     16177   8/1/2022     Secured: $0.00
        YVONNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BELL, SHEILA     Talen Texas
2623                                     21923   8/1/2022     Secured: $0.00
        YVONNE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BELL, SHEILA     Talen Texas,
2624                                     27671   8/1/2022     Secured: $0.00
        YVONNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2625    BELL, SICRETIA                   4694    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2626    BELL, SICRETIA   Laredo, LLC     10444   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 404 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2627    BELL, SICRETIA                   16191   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2628    BELL, SICRETIA                   21937   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2629    BELL, SICRETIA                   27685   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2630    BELL, TROUBLE                    9070    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2631    BELL, TROUBLE    Laredo, LLC     14820   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2632    BELL, TROUBLE                    20567   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2633    BELL, TROUBLE                    26299   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 405 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2634    BELL, TROUBLE                   32061   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN III,    Barney Davis,
2635                                    5528    8/1/2022     Secured: $0.00
        RAMON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN III,
2636                    Laredo, LLC     11278   8/1/2022     Secured: $0.00
        RAMON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN III,    Nueces Bay,
2637                                    17025   8/1/2022     Secured: $0.00
        RAMON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN III,    Talen Texas
2638                                    22770   8/1/2022     Secured: $0.00
        RAMON           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN III,    Talen Texas,
2639                                    28519   8/1/2022     Secured: $0.00
        RAMON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN, RALPH Barney Davis,
2640                                    8484    8/1/2022     Secured: $0.00
        LEE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 406 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN, RALPH
2641                   Laredo, LLC      14234   8/1/2022     Secured: $0.00
        LEE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN, RALPH Nueces Bay,
2642                                    19981   8/1/2022     Secured: $0.00
        LEE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN, RALPH Talen Texas
2643                                    25713   8/1/2022     Secured: $0.00
        LEE            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BELTRAN, RALPH Talen Texas,
2644                                    31475   8/1/2022     Secured: $0.00
        LEE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2645    BELTZ, ANA      Laredo, LLC     32406   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2646    BELTZ, ANA                      33397   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2647    BELTZ, ANA                      34388   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 407 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2648    BELTZ, ANA                       35379   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2649    BELTZ, ANA                       36370   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2650    BELYEU, DENISA                   6994    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2651    BELYEU, DENISA   Laredo, LLC     12744   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2652    BELYEU, DENISA                   18491   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2653    BELYEU, DENISA                   24225   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2654    BELYEU, DENISA                   29985   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 408 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDES,
2655                  Laredo, LLC     32407   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDES,    Barney Davis,
2656                                  33398   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDES,    Nueces Bay,
2657                                  34389   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDES,    Talen Texas
2658                                  35380   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDES,    Talen Texas,
2659                                  36371   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,
2660                  Laredo, LLC     32408   8/1/2022     Secured: $0.00
        BELINDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Barney Davis,
2661                                  33399   8/1/2022     Secured: $0.00
        BELINDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 409 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Nueces Bay,
2662                                  34390   8/1/2022     Secured: $0.00
        BELINDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Talen Texas
2663                                  35381   8/1/2022     Secured: $0.00
        BELINDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Talen Texas,
2664                                  36372   8/1/2022     Secured: $0.00
        BELINDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,
2665                  Laredo, LLC     32409   8/1/2022     Secured: $0.00
        MARIANO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Barney Davis,
2666                                  33400   8/1/2022     Secured: $0.00
        MARIANO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Nueces Bay,
2667                                  34391   8/1/2022     Secured: $0.00
        MARIANO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Talen Texas
2668                                  35382   8/1/2022     Secured: $0.00
        MARIANO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 410 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENAVIDEZ,    Talen Texas,
2669                                  36373   8/1/2022     Secured: $0.00
        MARIANO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BENCHMARK                                          Priority: $0.00
                      Barney Davis,
2670    INSURANCE                     1380    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $2,723,948.00 + Unliquidated

                                                           Total: $2,723,948.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BENCHMARK                                          Priority: $0.00
2671    INSURANCE     Laredo, LLC     1384    7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $2,723,948.00 + Unliquidated

                                                           Total: $2,723,948.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BENCHMARK                                          Priority: $0.00
                      Nueces Bay,
2672    INSURANCE                     1623    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $2,723,948.00 + Unliquidated

                                                           Total: $2,723,948.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BENCHMARK                                          Priority: $0.00
                      Nueces Bay,
2673    INSURANCE                     2359    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $3,411,677.26 + Unliquidated

                                                           Total: $3,411,677.26 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BENCHMARK                                          Priority: $0.00
                      Barney Davis,
2674    INSURANCE                     2438    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $3,411,677.26 + Unliquidated

                                                           Total: $3,411,677.26 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BENCHMARK                                          Priority: $0.00
2675    INSURANCE     Laredo, LLC     2924    7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $3,411,677.26 + Unliquidated

                                                           Total: $3,411,677.26 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 411 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2676    BEN‐DAVID, OFRA                   4543    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2677    BEN‐DAVID, OFRA Laredo, LLC       10293   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2678    BEN‐DAVID, OFRA                   16040   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2679    BEN‐DAVID, OFRA                   21786   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2680    BEN‐DAVID, OFRA                   27534   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2681    BENEMON, RUTH                     8706    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2682    BENEMON, RUTH Laredo, LLC         14456   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 412 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2683    BENEMON, RUTH                   20203   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2684    BENEMON, RUTH                   25935   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2685    BENEMON, RUTH                   31697   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENGING,
2686                    Laredo, LLC     32410   8/1/2022     Secured: $0.00
        CHARLISIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENGING,        Barney Davis,
2687                                    33401   8/1/2022     Secured: $0.00
        CHARLISIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENGING,        Nueces Bay,
2688                                    34392   8/1/2022     Secured: $0.00
        CHARLISIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENGING,        Talen Texas
2689                                    35383   8/1/2022     Secured: $0.00
        CHARLISIA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 413 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENGING,       Talen Texas,
2690                                   36374   8/1/2022     Secured: $0.00
        CHARLISIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENJAMIN,      Barney Davis,
2691                                   4927    8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENJAMIN,
2692                   Laredo, LLC     10677   8/1/2022     Secured: $0.00
        DEBORAH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENJAMIN,      Nueces Bay,
2693                                   16424   8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENJAMIN,      Talen Texas
2694                                   22169   8/1/2022     Secured: $0.00
        DEBORAH        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENJAMIN,      Talen Texas,
2695                                   27918   8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENJAMIN,      Barney Davis,
2696                                   5818    8/1/2022     Secured: $0.00
        KENDRICK       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 414 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,
2697                  Laredo, LLC     11568   8/1/2022     Secured: $0.00
        KENDRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Nueces Bay,
2698                                  17315   8/1/2022     Secured: $0.00
        KENDRICK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Talen Texas
2699                                  23060   8/1/2022     Secured: $0.00
        KENDRICK      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Talen Texas,
2700                                  28809   8/1/2022     Secured: $0.00
        KENDRICK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Barney Davis,
2701                                  8399    8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,
2702                  Laredo, LLC     14149   8/1/2022     Secured: $0.00
        PATRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Nueces Bay,
2703                                  19896   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 415 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Talen Texas
2704                                  25629   8/1/2022     Secured: $0.00
        PATRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENJAMIN,     Talen Texas,
2705                                  31390   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENNETT,      Barney Davis,
2706                                  6746    8/1/2022     Secured: $0.00
        CHRISTIE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENNETT,
2707                  Laredo, LLC     12496   8/1/2022     Secured: $0.00
        CHRISTIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENNETT,      Nueces Bay,
2708                                  18243   8/1/2022     Secured: $0.00
        CHRISTIE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENNETT,      Talen Texas
2709                                  23977   8/1/2022     Secured: $0.00
        CHRISTIE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BENNETT,      Talen Texas,
2710                                  29737   8/1/2022     Secured: $0.00
        CHRISTIE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 416 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2711    BENNETT, CHUCK                   4052    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2712    BENNETT, CHUCK Laredo, LLC       9802    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2713    BENNETT, CHUCK                   15549   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2714    BENNETT, CHUCK                   21295   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2715    BENNETT, CHUCK                   27043   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BENNETT,         Barney Davis,
2716                                     5786    8/1/2022     Secured: $0.00
        DONALD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BENNETT,
2717                     Laredo, LLC     11536   8/1/2022     Secured: $0.00
        DONALD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 417 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENNETT,        Nueces Bay,
2718                                    17283   8/1/2022     Secured: $0.00
        DONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENNETT,        Talen Texas
2719                                    23028   8/1/2022     Secured: $0.00
        DONALD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BENNETT,        Talen Texas,
2720                                    28777   8/1/2022     Secured: $0.00
        DONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2721    BENNETT, LISA                   7995    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2722    BENNETT, LISA   Laredo, LLC     13745   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2723    BENNETT, LISA                   19492   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2724    BENNETT, LISA                   25226   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 418 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2725    BENNETT, LISA                    30986   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2726    BENNETT, TELLY                   8958    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2727    BENNETT, TELLY   Laredo, LLC     14708   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2728    BENNETT, TELLY                   20455   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2729    BENNETT, TELLY                   26187   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2730    BENNETT, TELLY                   31949   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BENSON,          Barney Davis,
2731                                     3709    8/1/2022     Secured: $0.00
        SHARRON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 419 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENSON,
2732                   Laredo, LLC     9459    8/1/2022     Secured: $0.00
        SHARRON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENSON,        Nueces Bay,
2733                                   15206   8/1/2022     Secured: $0.00
        SHARRON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENSON,        Talen Texas
2734                                   20953   8/1/2022     Secured: $0.00
        SHARRON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENSON,        Talen Texas,
2735                                   26700   8/1/2022     Secured: $0.00
        SHARRON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Barney Davis,
2736                                   6077    8/1/2022     Secured: $0.00
        CANDICE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,
2737                   Laredo, LLC     11827   8/1/2022     Secured: $0.00
        CANDICE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Nueces Bay,
2738                                   17574   8/1/2022     Secured: $0.00
        CANDICE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 420 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Talen Texas
2739                                   23319   8/1/2022     Secured: $0.00
        CANDICE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Talen Texas,
2740                                   29068   8/1/2022     Secured: $0.00
        CANDICE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Barney Davis,
2741                                   4465    8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,
2742                   Laredo, LLC     10215   8/1/2022     Secured: $0.00
        MARILYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Nueces Bay,
2743                                   15962   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Talen Texas
2744                                   21708   8/1/2022     Secured: $0.00
        MARILYN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BENTLEY,       Talen Texas,
2745                                   27456   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 421 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2746    BENTON, COLBY                   6809    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2747    BENTON, COLBY   Laredo, LLC     12559   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2748    BENTON, COLBY                   18306   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2749    BENTON, COLBY                   24040   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2750    BENTON, COLBY                   29800   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2751    BENTON, JAMES                   7438    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2752    BENTON, JAMES   Laredo, LLC     13188   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 422 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2753    BENTON, JAMES                   18935   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2754    BENTON, JAMES                   24669   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2755    BENTON, JAMES                   30429   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2756    BENTON, JOHN                    7602    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2757    BENTON, JOHN    Laredo, LLC     13352   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2758    BENTON, JOHN                    19099   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2759    BENTON, JOHN                    24833   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 423 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2760    BENTON, JOHN                    30593   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2761    BENTON, JOHN    Laredo, LLC     32411   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2762    BENTON, JOHN                    33402   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2763    BENTON, JOHN                    34393   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2764    BENTON, JOHN                    35384   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2765    BENTON, JOHN                    36375   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2766    BENZAD, MEHDI                   5905    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 424 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2767    BENZAD, MEHDI   Laredo, LLC     11655   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2768    BENZAD, MEHDI                   17402   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2769    BENZAD, MEHDI                   23147   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2770    BENZAD, MEHDI                   28896   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BERENJI,        Barney Davis,
2771                                    7738    8/1/2022     Secured: $0.00
        KAMROUZ         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BERENJI,
2772                    Laredo, LLC     13488   8/1/2022     Secured: $0.00
        KAMROUZ
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BERENJI,        Nueces Bay,
2773                                    19235   8/1/2022     Secured: $0.00
        KAMROUZ         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 425 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BERENJI,       Talen Texas
2774                                   24969   8/1/2022     Secured: $0.00
        KAMROUZ        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BERENJI,       Talen Texas,
2775                                   30729   8/1/2022     Secured: $0.00
        KAMROUZ        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2776    BERG, ANDREW                   6385    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2777    BERG, ANDREW   Laredo, LLC     12135   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2778    BERG, ANDREW                   17882   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2779    BERG, ANDREW                   23617   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2780    BERG, ANDREW                   29376   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 426 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2781    BERG, MITCHELL                   8280    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2782    BERG, MITCHELL   Laredo, LLC     14030   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2783    BERG, MITCHELL                   19777   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2784    BERG, MITCHELL                   25511   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2785    BERG, MITCHELL                   31271   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2786    BERG, ROBERT                     8592    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2787    BERG, ROBERT     Laredo, LLC     14342   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 427 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2788    BERG, ROBERT                    20089   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2789    BERG, ROBERT                    25821   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2790    BERG, ROBERT                    31583   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2791    BERGER, KAREN                   7744    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2792    BERGER, KAREN   Laredo, LLC     13494   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2793    BERGER, KAREN                   19241   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2794    BERGER, KAREN                   24975   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 428 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2795    BERGER, KAREN                   30735   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BERKLEY                                              Priority: $0.00
                        Barney Davis,
2796    INSURANCE                       2491    7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $8,915,382.23 + Unliquidated

                                                             Total: $8,915,382.23 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BERKLEY                                              Priority: $0.00
2797    INSURANCE       Laredo, LLC     2505    7/31/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $8,915,382.23 + Unliquidated

                                                             Total: $8,915,382.23 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BERKLEY                                              Priority: $0.00
                        Nueces Bay,
2798    INSURANCE                       2510    7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $8,915,382.23 + Unliquidated

                                                             Total: $8,915,382.23 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BERKLEY
                                                             Priority: $0.00
        NATIONAL
2799                    Laredo, LLC     2500    7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $6,926,227.98 + Unliquidated
        COMPANY
                                                             Total: $6,926,227.98 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BERKLEY
                                                             Priority: $0.00
        NATIONAL        Barney Davis,
2800                                    2511    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $6,926,227.98 + Unliquidated
        COMPANY
                                                             Total: $6,926,227.98 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BERKLEY
                                                             Priority: $0.00
        NATIONAL        Nueces Bay,
2801                                    2516    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $6,926,227.98 + Unliquidated
        COMPANY
                                                             Total: $6,926,227.98 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 429 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        NATIONAL      Nueces Bay,
2802                                  3081   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $107,245.49 + Unliquidated
        COMPANY
                                                          Total: $107,245.49 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        NATIONAL      Barney Davis,
2803                                  3106   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $107,245.49 + Unliquidated
        COMPANY
                                                          Total: $107,245.49 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        NATIONAL
2804                  Laredo, LLC     3271   8/1/2022     Secured: $0.00
        INSURANCE
                                                          General Unsecured: $107,245.49 + Unliquidated
        COMPANY
                                                          Total: $107,245.49 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        REGIONAL      Barney Davis,
2805                                  1918   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $2,687,950.38 + Unliquidated
        COMPANY
                                                          Total: $2,687,950.38 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        REGIONAL      Nueces Bay,
2806                                  2443   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $2,687,950.38 + Unliquidated
        COMPANY
                                                          Total: $2,687,950.38 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        REGIONAL
2807                  Laredo, LLC     2453   8/1/2022     Secured: $0.00
        INSURANCE
                                                          General Unsecured: $2,687,950.38 + Unliquidated
        COMPANY
                                                          Total: $2,687,950.38 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        SPECIALTY
2808                  Laredo, LLC     2777   8/1/2022     Secured: $0.00
        INSURANCE
                                                          General Unsecured: $150.00 + Unliquidated
        COMPANY
                                                          Total: $150.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 430 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        SPECIALTY     Barney Davis,
2809                                  3039   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $150.00 + Unliquidated
        COMPANY
                                                          Total: $150.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BERKLEY
                                                          Priority: $0.00
        SPECIALTY     Nueces Bay,
2810                                  3263   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $150.00 + Unliquidated
        COMPANY
                                                          Total: $150.00 + Unliquidated
                                                          503(b)(9): $0.00
        BERKSHIRE                                         Other Administrative: $0.00
        HATHAWAY                                          Priority: $0.00
2811    DIRECT        Laredo, LLC     2526   7/31/2022    Secured: $0.00
        INSURANCE                                         General Unsecured: $119,414.19 + Unliquidated
        COMPANY
                                                          Total: $119,414.19 + Unliquidated
                                                          503(b)(9): $0.00
        BERKSHIRE                                         Other Administrative: $0.00
        HATHAWAY                                          Priority: $0.00
                      Nueces Bay,
2812    DIRECT                        2538   7/31/2022    Secured: $0.00
                      LLC
        INSURANCE                                         General Unsecured: $119,414.19 + Unliquidated
        COMPANY
                                                          Total: $119,414.19 + Unliquidated
                                                          503(b)(9): $0.00
        BERKSHIRE                                         Other Administrative: $0.00
        HATHAWAY                                          Priority: $0.00
                      Barney Davis,
2813    DIRECT                        2698   7/31/2022    Secured: $0.00
                      LLC
        INSURANCE                                         General Unsecured: $119,414.19 + Unliquidated
        COMPANY
                                                          Total: $119,414.19 + Unliquidated
                                                          503(b)(9): $0.00
        BERKSHIRE                                         Other Administrative: $0.00
        HATHAWAY                                          Priority: $0.00
                      Nueces Bay,
2814    SPECIALTY                     1417   7/29/2022    Secured: $0.00
                      LLC
        INSURANCE                                         General Unsecured: $20,000,000.00 + Unliquidated
        COMPANY
                                                          Total: $20,000,000.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 431 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                              503(b)(9): $0.00
        BERKSHIRE                                             Other Administrative: $0.00
        HATHAWAY                                              Priority: $0.00
                         Barney Davis,
2815    SPECIALTY                        1507    7/29/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $20,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $20,000,000.00 + Unliquidated

                                                              503(b)(9): $0.00
        BERKSHIRE                                             Other Administrative: $0.00
        HATHAWAY                                              Priority: $0.00
2816    SPECIALTY        Laredo, LLC     1524    7/29/2022    Secured: $0.00
        INSURANCE                                             General Unsecured: $20,000,000.00 + Unliquidated
        COMPANY
                                                              Total: $20,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2817    BERMUDEZ, IVAN                   7407    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2818    BERMUDEZ, IVAN Laredo, LLC       13157   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2819    BERMUDEZ, IVAN                   18904   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2820    BERMUDEZ, IVAN                   24638   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 432 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2821    BERMUDEZ, IVAN                   30398   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERMUDEZ,        Barney Davis,
2822                                     9307    8/1/2022     Secured: $0.00
        PATRICIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERMUDEZ,
2823                     Laredo, LLC     15057   8/1/2022     Secured: $0.00
        PATRICIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERMUDEZ,        Nueces Bay,
2824                                     20804   8/1/2022     Secured: $0.00
        PATRICIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERMUDEZ,        Talen Texas
2825                                     26536   8/1/2022     Secured: $0.00
        PATRICIA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERMUDEZ,        Talen Texas,
2826                                     32298   8/1/2022     Secured: $0.00
        PATRICIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2827    BERNAL, ELENO                    7140    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 433 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2828    BERNAL, ELENO    Laredo, LLC     12890   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2829    BERNAL, ELENO                    18637   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2830    BERNAL, ELENO                    24371   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2831    BERNAL, ELENO                    30131   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2832    BERNARD, RUBEN                   6037    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2833    BERNARD, RUBEN Laredo, LLC       11787   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2834    BERNARD, RUBEN                   17534   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 434 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2835    BERNARD, RUBEN                   23279   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2836    BERNARD, RUBEN                   29028   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2837    BERNS, CHRIS                     6735    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2838    BERNS, CHRIS     Laredo, LLC     12485   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2839    BERNS, CHRIS                     18232   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2840    BERNS, CHRIS                     23966   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2841    BERNS, CHRIS                     29726   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 435 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2842    BERRY, COLETTE                   3661    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2843    BERRY, COLETTE   Laredo, LLC     9411    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2844    BERRY, COLETTE                   15158   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2845    BERRY, COLETTE                   20905   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2846    BERRY, COLETTE                   26652   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERRY,           Barney Davis,
2847                                     4236    8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERRY,
2848                     Laredo, LLC     9986    8/1/2022     Secured: $0.00
        JACQUELINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 436 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERRY,           Nueces Bay,
2849                                     15733   8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERRY,           Talen Texas
2850                                     21479   8/1/2022     Secured: $0.00
        JACQUELINE       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERRY,           Talen Texas,
2851                                     27227   8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2852    BERRY, MELISSA                   8203    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2853    BERRY, MELISSA   Laredo, LLC     13953   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2854    BERRY, MELISSA                   19700   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2855    BERRY, MELISSA                   25434   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 437 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2856    BERRY, MELISSA                   31194   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2857    BERRY, TALLIE    Laredo, LLC     32412   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2858    BERRY, TALLIE                    33403   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2859    BERRY, TALLIE                    34394   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2860    BERRY, TALLIE                    35385   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2861    BERRY, TALLIE                    36376   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BERTONI,         Barney Davis,
2862                                     6743    8/1/2022     Secured: $0.00
        CHRISTIAN        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 438 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTONI,
2863                  Laredo, LLC     12493   8/1/2022     Secured: $0.00
        CHRISTIAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTONI,      Nueces Bay,
2864                                  18240   8/1/2022     Secured: $0.00
        CHRISTIAN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTONI,      Talen Texas
2865                                  23974   8/1/2022     Secured: $0.00
        CHRISTIAN     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTONI,      Talen Texas,
2866                                  29734   8/1/2022     Secured: $0.00
        CHRISTIAN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTUGLIA,    Barney Davis,
2867                                  6832    8/1/2022     Secured: $0.00
        CRAIG         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTUGLIA,
2868                  Laredo, LLC     12582   8/1/2022     Secured: $0.00
        CRAIG
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BERTUGLIA,    Nueces Bay,
2869                                  18329   8/1/2022     Secured: $0.00
        CRAIG         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 439 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BERTUGLIA,     Talen Texas
2870                                   24063   8/1/2022     Secured: $0.00
        CRAIG          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BERTUGLIA,     Talen Texas,
2871                                   29823   8/1/2022     Secured: $0.00
        CRAIG          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2872    BEST, BRUCE                    6601    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2873    BEST, BRUCE    Laredo, LLC     12351   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2874    BEST, BRUCE                    18098   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2875    BEST, BRUCE                    23832   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2876    BEST, BRUCE                    29592   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 440 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BESTER,                                                Priority: $0.00
                          Barney Davis,
2877    KIMBERLY                          6145    8/1/2022     Secured: $0.00
                          LLC
        WILLIAMS                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BESTER,                                                Priority: $0.00
2878    KIMBERLY          Laredo, LLC     11895   8/1/2022     Secured: $0.00
        WILLIAMS                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BESTER,                                                Priority: $0.00
                          Nueces Bay,
2879    KIMBERLY                          17642   8/1/2022     Secured: $0.00
                          LLC
        WILLIAMS                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BESTER,                                                Priority: $0.00
                          Talen Texas
2880    KIMBERLY                          23387   8/1/2022     Secured: $0.00
                          Group, LLC
        WILLIAMS                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BESTER,                                                Priority: $0.00
                          Talen Texas,
2881    KIMBERLY                          29136   8/1/2022     Secured: $0.00
                          LLC
        WILLIAMS                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2882    BETHANY, CURTIS                   6851    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2883    BETHANY, CURTIS Laredo, LLC       12601   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 441 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2884    BETHANY, CURTIS                   18348   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2885    BETHANY, CURTIS                   24082   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2886    BETHANY, CURTIS                   29842   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2887    BETHEA, DARRELL                   6908    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2888    BETHEA, DARRELL Laredo, LLC       12658   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2889    BETHEA, DARRELL                   18405   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2890    BETHEA, DARRELL                   24139   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 442 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2891    BETHEA, DARRELL                   29899   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2892    BETHUNE, AUDRA                    3654    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2893    BETHUNE, AUDRA Laredo, LLC        9404    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2894    BETHUNE, AUDRA                    15151   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2895    BETHUNE, AUDRA                    20898   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2896    BETHUNE, AUDRA                    26645   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2897    BETTIGA, DEBBIE                   4102    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 443 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2898    BETTIGA, DEBBIE Laredo, LLC       9852    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2899    BETTIGA, DEBBIE                   15599   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2900    BETTIGA, DEBBIE                   21345   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2901    BETTIGA, DEBBIE                   27093   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2902    BETTIGA, JOHN                     5809    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2903    BETTIGA, JOHN     Laredo, LLC     11559   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2904    BETTIGA, JOHN                     17306   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 444 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2905    BETTIGA, JOHN                     23051   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2906    BETTIGA, JOHN                     28800   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2907    BEVERLY, ADRIAN                   6289    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2908    BEVERLY, ADRIAN Laredo, LLC       12039   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2909    BEVERLY, ADRIAN                   17786   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2910    BEVERLY, ADRIAN                   23521   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2911    BEVERLY, ADRIAN                   29280   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 445 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2912    BEVIS, MIKE                    8261    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2913    BEVIS, MIKE    Laredo, LLC     14011   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2914    BEVIS, MIKE                    19758   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2915    BEVIS, MIKE                    25492   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2916    BEVIS, MIKE                    31252   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BHADRESH                                            Priority: $0.00
                       Barney Davis,
2917    JARIWALA DBA                   5695    8/1/2022     Secured: $0.00
                       LLC
        SUNSET MOTEL                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BHADRESH                                            Priority: $0.00
2918    JARIWALA DBA   Laredo, LLC     11445   8/1/2022     Secured: $0.00
        SUNSET MOTEL                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 446 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BHADRESH                                              Priority: $0.00
                         Nueces Bay,
2919    JARIWALA DBA                     17192   8/1/2022     Secured: $0.00
                         LLC
        SUNSET MOTEL                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BHADRESH                                              Priority: $0.00
                         Talen Texas
2920    JARIWALA DBA                     22937   8/1/2022     Secured: $0.00
                         Group, LLC
        SUNSET MOTEL                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BHADRESH                                              Priority: $0.00
                         Talen Texas,
2921    JARIWALA DBA                     28686   8/1/2022     Secured: $0.00
                         LLC
        SUNSET MOTEL                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2922    BHAKTA, ASHISH                   5534    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2923    BHAKTA, ASHISH   Laredo, LLC     11284   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2924    BHAKTA, ASHISH                   17031   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2925    BHAKTA, ASHISH                   22776   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 447 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2926    BHAKTA, ASHISH                   28525   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BHATTARAI,       Barney Davis,
2927                                     7049    8/1/2022     Secured: $0.00
        DIWASH           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BHATTARAI,
2928                     Laredo, LLC     12799   8/1/2022     Secured: $0.00
        DIWASH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BHATTARAI,       Nueces Bay,
2929                                     18546   8/1/2022     Secured: $0.00
        DIWASH           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BHATTARAI,       Talen Texas
2930                                     24280   8/1/2022     Secured: $0.00
        DIWASH           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BHATTARAI,       Talen Texas,
2931                                     30040   8/1/2022     Secured: $0.00
        DIWASH           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2932    BIAS, BONNIE                     6538    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 448 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2933    BIAS, BONNIE   Laredo, LLC     12288   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2934    BIAS, BONNIE                   18035   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2935    BIAS, BONNIE                   23770   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2936    BIAS, BONNIE                   29529   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
2937    BIERENS, VEE                   9093    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
2938    BIERENS, VEE   Laredo, LLC     14843   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2939    BIERENS, VEE                   20590   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 449 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2940    BIERENS, VEE                   26322   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2941    BIERENS, VEE                   32084   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BIERSCHWALE,
2942                   Laredo, LLC     32413   8/1/2022     Secured: $0.00
        ASHLEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BIERSCHWALE,   Barney Davis,
2943                                   33404   8/1/2022     Secured: $0.00
        ASHLEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BIERSCHWALE,   Nueces Bay,
2944                                   34395   8/1/2022     Secured: $0.00
        ASHLEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BIERSCHWALE,   Talen Texas
2945                                   35386   8/1/2022     Secured: $0.00
        ASHLEY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BIERSCHWALE,   Talen Texas,
2946                                   36377   8/1/2022     Secured: $0.00
        ASHLEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 450 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BIG D VENTURES                                        Priority: $0.00
                        Barney Davis,
2947    LLC DBA BASKIN                   5679    8/1/2022     Secured: $0.00
                        LLC
        ROBBINS #357078                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BIG D VENTURES                                        Priority: $0.00
2948    LLC DBA BASKIN Laredo, LLC       11429   8/1/2022     Secured: $0.00
        ROBBINS #357078                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BIG D VENTURES                                        Priority: $0.00
                        Nueces Bay,
2949    LLC DBA BASKIN                   17176   8/1/2022     Secured: $0.00
                        LLC
        ROBBINS #357078                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BIG D VENTURES                                        Priority: $0.00
                        Talen Texas
2950    LLC DBA BASKIN                   22921   8/1/2022     Secured: $0.00
                        Group, LLC
        ROBBINS #357078                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BIG D VENTURES                                        Priority: $0.00
                        Talen Texas,
2951    LLC DBA BASKIN                   28670   8/1/2022     Secured: $0.00
                        LLC
        ROBBINS #357078                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2952    BIGGS, LLOYD                     9283    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2953    BIGGS, LLOYD     Laredo, LLC     15033   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 451 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
2954    BIGGS, LLOYD                   20780   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
2955    BIGGS, LLOYD                   26512   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
2956    BIGGS, LLOYD                   32274   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BILLAFRANCO,   Barney Davis,
2957                                   4279    8/1/2022     Secured: $0.00
        JESSE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BILLAFRANCO,
2958                   Laredo, LLC     10029   8/1/2022     Secured: $0.00
        JESSE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BILLAFRANCO,   Nueces Bay,
2959                                   15776   8/1/2022     Secured: $0.00
        JESSE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BILLAFRANCO,   Talen Texas
2960                                   21522   8/1/2022     Secured: $0.00
        JESSE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 452 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BILLAFRANCO,      Talen Texas,
2961                                      27270   8/1/2022     Secured: $0.00
        JESSE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2962    BILLINGS, KAREN                   7745    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2963    BILLINGS, KAREN Laredo, LLC       13495   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2964    BILLINGS, KAREN                   19242   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2965    BILLINGS, KAREN                   24976   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2966    BILLINGS, KAREN                   30736   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2967    BILYEU, STEVEN    Laredo, LLC     32414   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 453 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2968    BILYEU, STEVEN                   33405   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2969    BILYEU, STEVEN                   34396   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
2970    BILYEU, STEVEN                   35387   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
2971    BILYEU, STEVEN                   36378   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
2972    BIRNS, CYD E.    Laredo, LLC     32415   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
2973    BIRNS, CYD E.                    33406   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
2974    BIRNS, CYD E.                    34397   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 454 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2975    BIRNS, CYD E.                     35388   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2976    BIRNS, CYD E.                     36379   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
2977    BISHOP, CHARLES                   9227    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
2978    BISHOP, CHARLES Laredo, LLC       14977   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
2979    BISHOP, CHARLES                   20724   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
2980    BISHOP, CHARLES                   26456   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
2981    BISHOP, CHARLES                   32218   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 455 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2982    BISHOP, ERICA                   7187    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2983    BISHOP, ERICA   Laredo, LLC     12937   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2984    BISHOP, ERICA                   18684   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2985    BISHOP, ERICA                   24418   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2986    BISHOP, ERICA                   30178   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2987    BISHOP, GRADY                   7323    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2988    BISHOP, GRADY   Laredo, LLC     13073   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 456 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2989    BISHOP, GRADY                   18820   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2990    BISHOP, GRADY                   24554   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2991    BISHOP, GRADY                   30314   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2992    BISHOP, PAM                     8376    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2993    BISHOP, PAM     Laredo, LLC     14126   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2994    BISHOP, PAM                     19873   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
2995    BISHOP, PAM                     25606   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 457 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
2996    BISHOP, PAM                     31367   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
2997    BISSOT, OSCAR                   5188    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
2998    BISSOT, OSCAR   Laredo, LLC     10938   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
2999    BISSOT, OSCAR                   16685   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3000    BISSOT, OSCAR                   22430   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3001    BISSOT, OSCAR                   28179   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLACK,          Barney Davis,
3002                                    6438    8/1/2022     Secured: $0.00
        ANTROLETT       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 458 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACK,
3003                  Laredo, LLC     12188   8/1/2022     Secured: $0.00
        ANTROLETT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACK,        Nueces Bay,
3004                                  17935   8/1/2022     Secured: $0.00
        ANTROLETT     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACK,        Talen Texas
3005                                  23670   8/1/2022     Secured: $0.00
        ANTROLETT     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACK,        Talen Texas,
3006                                  29429   8/1/2022     Secured: $0.00
        ANTROLETT     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
3007    BLACK, RON                    4639    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
3008    BLACK, RON    Laredo, LLC     10389   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
3009    BLACK, RON                    16136   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 459 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
3010    BLACK, RON                    21882   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
3011    BLACK, RON                    27630   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BLACKBOARD                                         Priority: $0.00
                      Nueces Bay,
3012    INSURANCE                     2678    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $36,706.00 + Unliquidated

                                                           Total: $36,706.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BLACKBOARD                                         Priority: $0.00
                      Barney Davis,
3013    INSURANCE                     2743    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $36,706.00 + Unliquidated

                                                           Total: $36,706.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BLACKBOARD                                         Priority: $0.00
3014    INSURANCE     Laredo, LLC     2895    7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $36,706.00 + Unliquidated

                                                           Total: $36,706.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKBURN,    Barney Davis,
3015                                  5007    8/1/2022     Secured: $0.00
        JANELL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKBURN,
3016                  Laredo, LLC     10757   8/1/2022     Secured: $0.00
        JANELL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 460 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKBURN,    Nueces Bay,
3017                                  16504   8/1/2022     Secured: $0.00
        JANELL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKBURN,    Talen Texas
3018                                  22249   8/1/2022     Secured: $0.00
        JANELL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKBURN,    Talen Texas,
3019                                  27998   8/1/2022     Secured: $0.00
        JANELL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKERBY,    Barney Davis,
3020                                  4056    8/1/2022     Secured: $0.00
        CLARENCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKERBY,
3021                  Laredo, LLC     9806    8/1/2022     Secured: $0.00
        CLARENCE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKERBY,    Nueces Bay,
3022                                  15553   8/1/2022     Secured: $0.00
        CLARENCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BLACKERBY,    Talen Texas
3023                                  21299   8/1/2022     Secured: $0.00
        CLARENCE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 461 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKERBY,     Talen Texas,
3024                                   27047   8/1/2022     Secured: $0.00
        CLARENCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKSHER,     Barney Davis,
3025                                   4870    8/1/2022     Secured: $0.00
        BRENDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKSHER,
3026                   Laredo, LLC     10620   8/1/2022     Secured: $0.00
        BRENDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKSHER,     Nueces Bay,
3027                                   16367   8/1/2022     Secured: $0.00
        BRENDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKSHER,     Talen Texas
3028                                   22113   8/1/2022     Secured: $0.00
        BRENDA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKSHER,     Talen Texas,
3029                                   27861   8/1/2022     Secured: $0.00
        BRENDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLACKWELL ‐    Barney Davis,
3030                                   7840    8/1/2022     Secured: $0.00
        PEACOCK, KIM   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 462 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLACKWELL ‐
3031                     Laredo, LLC     13590   8/1/2022     Secured: $0.00
        PEACOCK, KIM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLACKWELL ‐      Nueces Bay,
3032                                     19337   8/1/2022     Secured: $0.00
        PEACOCK, KIM     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLACKWELL ‐      Talen Texas
3033                                     25071   8/1/2022     Secured: $0.00
        PEACOCK, KIM     Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLACKWELL ‐      Talen Texas,
3034                                     30831   8/1/2022     Secured: $0.00
        PEACOCK, KIM     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3035    BLACKWELL, SUE                   8899    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3036    BLACKWELL, SUE Laredo, LLC       14649   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3037    BLACKWELL, SUE                   20396   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 463 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3038    BLACKWELL, SUE                   26128   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3039    BLACKWELL, SUE                   31890   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3040    BLAIR, CHARLES                   5586    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3041    BLAIR, CHARLES   Laredo, LLC     11336   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3042    BLAIR, CHARLES                   17083   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3043    BLAIR, CHARLES                   22828   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3044    BLAIR, CHARLES                   28577   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 464 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3045    BLAIR, RITA ANN                   8585    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3046    BLAIR, RITA ANN   Laredo, LLC     14335   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3047    BLAIR, RITA ANN                   20082   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3048    BLAIR, RITA ANN                   25814   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3049    BLAIR, RITA ANN                   31576   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3050    BLAKE, DON                        7055    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3051    BLAKE, DON        Laredo, LLC     12805   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 465 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3052    BLAKE, DON                       18552   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3053    BLAKE, DON                       24286   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3054    BLAKE, DON                       30046   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3055    BLAKE, RICHARD                   8557    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3056    BLAKE, RICHARD   Laredo, LLC     14307   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3057    BLAKE, RICHARD                   20054   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3058    BLAKE, RICHARD                   25786   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 466 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3059    BLAKE, RICHARD                   31548   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKE,           Barney Davis,
3060                                     8878    8/1/2022     Secured: $0.00
        STEPHANIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKE,
3061                     Laredo, LLC     14628   8/1/2022     Secured: $0.00
        STEPHANIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKE,           Nueces Bay,
3062                                     20375   8/1/2022     Secured: $0.00
        STEPHANIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKE,           Talen Texas
3063                                     26107   8/1/2022     Secured: $0.00
        STEPHANIE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKE,           Talen Texas,
3064                                     31869   8/1/2022     Secured: $0.00
        STEPHANIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKELY,         Barney Davis,
3065                                     8558    8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 467 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKELY,
3066                     Laredo, LLC     14308   8/1/2022     Secured: $0.00
        RICHARD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKELY,         Nueces Bay,
3067                                     20055   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKELY,         Talen Texas
3068                                     25787   8/1/2022     Secured: $0.00
        RICHARD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLAKELY,         Talen Texas,
3069                                     31549   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3070    BLAKENEY, RYAN                   8712    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3071    BLAKENEY, RYAN Laredo, LLC       14462   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3072    BLAKENEY, RYAN                   20209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 468 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3073    BLAKENEY, RYAN                   25941   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3074    BLAKENEY, RYAN                   31703   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLANCHARD,       Barney Davis,
3075                                     4383    8/1/2022     Secured: $0.00
        KIEREN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLANCHARD,
3076                     Laredo, LLC     10133   8/1/2022     Secured: $0.00
        KIEREN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLANCHARD,       Nueces Bay,
3077                                     15880   8/1/2022     Secured: $0.00
        KIEREN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLANCHARD,       Talen Texas
3078                                     21626   8/1/2022     Secured: $0.00
        KIEREN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLANCHARD,       Talen Texas,
3079                                     27374   8/1/2022     Secured: $0.00
        KIEREN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 469 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANCO,        Barney Davis,
3080                                   5187    8/1/2022     Secured: $0.00
        ORLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANCO,
3081                   Laredo, LLC     10937   8/1/2022     Secured: $0.00
        ORLANDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANCO,        Nueces Bay,
3082                                   16684   8/1/2022     Secured: $0.00
        ORLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANCO,        Talen Texas
3083                                   22429   8/1/2022     Secured: $0.00
        ORLANDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANCO,        Talen Texas,
3084                                   28178   8/1/2022     Secured: $0.00
        ORLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3085    BLAND, ELENA                   4158    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3086    BLAND, ELENA   Laredo, LLC     9908    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 470 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3087    BLAND, ELENA                   15655   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3088    BLAND, ELENA                   21401   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3089    BLAND, ELENA                   27149   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3090    BLAND, JANET                   7472    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3091    BLAND, JANET   Laredo, LLC     13222   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3092    BLAND, JANET                   18969   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3093    BLAND, JANET                   24703   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 471 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3094    BLAND, JANET                   30463   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANKENSHIP,   Barney Davis,
3095                                   9335    8/1/2022     Secured: $0.00
        TOMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANKENSHIP,
3096                   Laredo, LLC     15085   8/1/2022     Secured: $0.00
        TOMMY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANKENSHIP,   Nueces Bay,
3097                                   20832   8/1/2022     Secured: $0.00
        TOMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANKENSHIP,   Talen Texas
3098                                   26564   8/1/2022     Secured: $0.00
        TOMMY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLANKENSHIP,   Talen Texas,
3099                                   32326   8/1/2022     Secured: $0.00
        TOMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLAZEK,
3100                   Laredo, LLC     32416   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 472 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLAZEK,         Barney Davis,
3101                                    33407   8/1/2022     Secured: $0.00
        CHARLOTTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLAZEK,         Nueces Bay,
3102                                    34398   8/1/2022     Secured: $0.00
        CHARLOTTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLAZEK,         Talen Texas
3103                                    35389   8/1/2022     Secured: $0.00
        CHARLOTTE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLAZEK,         Talen Texas,
3104                                    36380   8/1/2022     Secured: $0.00
        CHARLOTTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3105    BLINN, SANDRA   Laredo, LLC     32417   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3106    BLINN, SANDRA                   33408   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3107    BLINN, SANDRA                   34399   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 473 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3108    BLINN, SANDRA                   35390   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3109    BLINN, SANDRA                   36381   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3110    BLISS, ELISE                    5978    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3111    BLISS, ELISE    Laredo, LLC     11728   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3112    BLISS, ELISE                    17475   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3113    BLISS, ELISE                    23220   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3114    BLISS, ELISE                    28969   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 474 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLODGETT,        Barney Davis,
3115                                     3797    8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLODGETT,
3116                     Laredo, LLC     9547    8/1/2022     Secured: $0.00
        TAMMY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLODGETT,        Nueces Bay,
3117                                     15294   8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLODGETT,        Talen Texas
3118                                     21041   8/1/2022     Secured: $0.00
        TAMMY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BLODGETT,        Talen Texas,
3119                                     26788   8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3120    BLOUNT, RONYAL                   8675    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3121    BLOUNT, RONYAL Laredo, LLC       14425   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 475 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3122    BLOUNT, RONYAL                   20172   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3123    BLOUNT, RONYAL                   25904   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3124    BLOUNT, RONYAL                   31666   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3125    BLOUNT, TONY     Laredo, LLC     32418   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3126    BLOUNT, TONY                     33409   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3127    BLOUNT, TONY                     34400   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3128    BLOUNT, TONY                     35391   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 476 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3129    BLOUNT, TONY                   36382   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3130    BLUHM, GLENN   Laredo, LLC     32419   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3131    BLUHM, GLENN                   33410   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3132    BLUHM, GLENN                   34401   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3133    BLUHM, GLENN                   35392   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3134    BLUHM, GLENN                   36383   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BLYTHE, DAWN   Barney Davis,
3135                                   6947    8/1/2022     Secured: $0.00
        ZOE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 477 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLYTHE, DAWN
3136                    Laredo, LLC     12697   8/1/2022     Secured: $0.00
        ZOE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLYTHE, DAWN    Nueces Bay,
3137                                    18444   8/1/2022     Secured: $0.00
        ZOE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLYTHE, DAWN    Talen Texas
3138                                    24178   8/1/2022     Secured: $0.00
        ZOE             Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BLYTHE, DAWN    Talen Texas,
3139                                    29938   8/1/2022     Secured: $0.00
        ZOE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3140    BOAK, DEBORAH                   6962    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3141    BOAK, DEBORAH   Laredo, LLC     12712   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3142    BOAK, DEBORAH                   18459   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 478 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3143    BOAK, DEBORAH                   24193   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3144    BOAK, DEBORAH                   29953   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOATRIGHT,      Barney Davis,
3145                                    7295    8/1/2022     Secured: $0.00
        GEORGIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOATRIGHT,
3146                    Laredo, LLC     13045   8/1/2022     Secured: $0.00
        GEORGIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOATRIGHT,      Nueces Bay,
3147                                    18792   8/1/2022     Secured: $0.00
        GEORGIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOATRIGHT,      Talen Texas
3148                                    24526   8/1/2022     Secured: $0.00
        GEORGIA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOATRIGHT,      Talen Texas,
3149                                    30286   8/1/2022     Secured: $0.00
        GEORGIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 479 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3150    BOBAL, JAMES                      4237    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3151    BOBAL, JAMES      Laredo, LLC     9987    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3152    BOBAL, JAMES                      15734   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3153    BOBAL, JAMES                      21480   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3154    BOBAL, JAMES                      27228   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3155    BOBBITT, DWIGHT                   7115    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3156    BOBBITT, DWIGHT Laredo, LLC       12865   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 480 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3157    BOBBITT, DWIGHT                   18612   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3158    BOBBITT, DWIGHT                   24346   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3159    BOBBITT, DWIGHT                   30106   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOCANEGRA,        Barney Davis,
3160                                      4537    8/1/2022     Secured: $0.00
        NICHOLAS          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOCANEGRA,
3161                      Laredo, LLC     10287   8/1/2022     Secured: $0.00
        NICHOLAS
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOCANEGRA,        Nueces Bay,
3162                                      16034   8/1/2022     Secured: $0.00
        NICHOLAS          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOCANEGRA,        Talen Texas
3163                                      21780   8/1/2022     Secured: $0.00
        NICHOLAS          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 481 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOCANEGRA,      Talen Texas,
3164                                    27528   8/1/2022     Secured: $0.00
        NICHOLAS        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BODDEN, JASON   Barney Davis,
3165                                    5016    8/1/2022     Secured: $0.00
        WAIDE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BODDEN, JASON
3166                    Laredo, LLC     10766   8/1/2022     Secured: $0.00
        WAIDE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BODDEN, JASON   Nueces Bay,
3167                                    16513   8/1/2022     Secured: $0.00
        WAIDE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BODDEN, JASON   Talen Texas
3168                                    22258   8/1/2022     Secured: $0.00
        WAIDE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BODDEN, JASON   Talen Texas,
3169                                    28007   8/1/2022     Secured: $0.00
        WAIDE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3170    BODE, LISA                      5104    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 482 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3171    BODE, LISA      Laredo, LLC     10854   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3172    BODE, LISA                      16601   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3173    BODE, LISA                      22346   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3174    BODE, LISA                      28095   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3175    BOGARD, LANIE                   5083    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3176    BOGARD, LANIE   Laredo, LLC     10833   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3177    BOGARD, LANIE                   16580   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 483 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3178    BOGARD, LANIE                     22325   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3179    BOGARD, LANIE                     28074   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3180    BOGGS, PATRICIA                   8390    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3181    BOGGS, PATRICIA Laredo, LLC       14140   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3182    BOGGS, PATRICIA                   19887   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3183    BOGGS, PATRICIA                   25620   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3184    BOGGS, PATRICIA                   31381   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 484 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
3185    BOHBOT, SAM                   8723    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
3186    BOHBOT, SAM   Laredo, LLC     14473   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
3187    BOHBOT, SAM                   20220   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
3188    BOHBOT, SAM                   25952   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
3189    BOHBOT, SAM                   31714   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOKEMEYER,    Barney Davis,
3190                                  8629    8/1/2022     Secured: $0.00
        ROBIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOKEMEYER,
3191                  Laredo, LLC     14379   8/1/2022     Secured: $0.00
        ROBIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 485 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOKEMEYER,    Nueces Bay,
3192                                  20126   8/1/2022     Secured: $0.00
        ROBIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOKEMEYER,    Talen Texas
3193                                  25858   8/1/2022     Secured: $0.00
        ROBIN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOKEMEYER,    Talen Texas,
3194                                  31620   8/1/2022     Secured: $0.00
        ROBIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLANOS,      Barney Davis,
3195                                  8047    8/1/2022     Secured: $0.00
        MAELYN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLANOS,
3196                  Laredo, LLC     13797   8/1/2022     Secured: $0.00
        MAELYN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLANOS,      Nueces Bay,
3197                                  19544   8/1/2022     Secured: $0.00
        MAELYN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLANOS,      Talen Texas
3198                                  25278   8/1/2022     Secured: $0.00
        MAELYN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 486 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOLANOS,         Talen Texas,
3199                                     31038   8/1/2022     Secured: $0.00
        MAELYN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3200    BOLDEN, LAROSE                   7909    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3201    BOLDEN, LAROSE Laredo, LLC       13659   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3202    BOLDEN, LAROSE                   19406   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3203    BOLDEN, LAROSE                   25140   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3204    BOLDEN, LAROSE                   30900   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3205    BOLDEN, MMA                      8282    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 487 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3206    BOLDEN, MMA       Laredo, LLC     14032   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3207    BOLDEN, MMA                       19779   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3208    BOLDEN, MMA                       25513   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3209    BOLDEN, MMA                       31273   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3210    BOLING, TIFFANY                   5343    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3211    BOLING, TIFFANY Laredo, LLC       11093   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3212    BOLING, TIFFANY                   16840   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 488 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3213    BOLING, TIFFANY                   22585   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3214    BOLING, TIFFANY                   28334   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3215    BOLTON, JENIFER                   7512    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3216    BOLTON, JENIFER Laredo, LLC       13262   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3217    BOLTON, JENIFER                   19009   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3218    BOLTON, JENIFER                   24743   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3219    BOLTON, JENIFER                   30503   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 489 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3220    BOLTON, LOVELL                   9286    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3221    BOLTON, LOVELL Laredo, LLC       15036   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3222    BOLTON, LOVELL                   20783   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3223    BOLTON, LOVELL                   26515   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3224    BOLTON, LOVELL                   32277   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOLTON,          Barney Davis,
3225                                     6036    8/1/2022     Secured: $0.00
        REGINALD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOLTON,
3226                     Laredo, LLC     11786   8/1/2022     Secured: $0.00
        REGINALD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 490 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLTON,       Nueces Bay,
3227                                  17533   8/1/2022     Secured: $0.00
        REGINALD      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLTON,       Talen Texas
3228                                  23278   8/1/2022     Secured: $0.00
        REGINALD      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOLTON,       Talen Texas,
3229                                  29027   8/1/2022     Secured: $0.00
        REGINALD      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
3230    BOND, JANE                    7468    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
3231    BOND, JANE    Laredo, LLC     13218   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
3232    BOND, JANE                    18965   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
3233    BOND, JANE                    24699   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 491 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3234    BOND, JANE                       30459   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3235    BONDOC, REGINA                   5855    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3236    BONDOC, REGINA Laredo, LLC       11605   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3237    BONDOC, REGINA                   17352   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3238    BONDOC, REGINA                   23097   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3239    BONDOC, REGINA                   28846   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BONILLA,         Barney Davis,
3240                                     7240    8/1/2022     Secured: $0.00
        FRANCISCO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 492 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BONILLA,
3241                      Laredo, LLC     12990   8/1/2022     Secured: $0.00
        FRANCISCO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BONILLA,          Nueces Bay,
3242                                      18737   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BONILLA,          Talen Texas
3243                                      24471   8/1/2022     Secured: $0.00
        FRANCISCO         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BONILLA,          Talen Texas,
3244                                      30231   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3245    BONILLAS, PAULA Laredo, LLC       32420   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3246    BONILLAS, PAULA                   33411   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3247    BONILLAS, PAULA                   34402   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 493 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3248    BONILLAS, PAULA                   35393   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3249    BONILLAS, PAULA                   36384   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3250    BONNER, TONJA                     3644    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3251    BONNER, TONJA     Laredo, LLC     9394    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3252    BONNER, TONJA                     15141   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3253    BONNER, TONJA                     20888   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3254    BONNER, TONJA                     26635   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 494 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3255    BONNETT, LUCIA Laredo, LLC       32421   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3256    BONNETT, LUCIA                   33412   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3257    BONNETT, LUCIA                   34403   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3258    BONNETT, LUCIA                   35394   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3259    BONNETT, LUCIA                   36385   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3260    BOOKER, BOB      Laredo, LLC     32422   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3261    BOOKER, BOB                      33413   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 495 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3262    BOOKER, BOB                       34404   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3263    BOOKER, BOB                       35395   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3264    BOOKER, BOB                       36386   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3265    BOOKER, PATRICE                   5431    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3266    BOOKER, PATRICE Laredo, LLC       11181   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3267    BOOKER, PATRICE                   16928   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3268    BOOKER, PATRICE                   22673   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 496 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3269    BOOKER, PATRICE                   28422   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3270    BOOMER, TERRIS                    8973    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3271    BOOMER, TERRIS Laredo, LLC        14723   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3272    BOOMER, TERRIS                    20470   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3273    BOOMER, TERRIS                    26202   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3274    BOOMER, TERRIS                    31964   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3275    BOONE, DESIREE                    4939    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 497 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3276    BOONE, DESIREE    Laredo, LLC     10689   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3277    BOONE, DESIREE                    16436   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3278    BOONE, DESIREE                    22181   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3279    BOONE, DESIREE                    27930   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3280    BOONE, JENNIFER                   7516    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3281    BOONE, JENNIFER Laredo, LLC       13266   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3282    BOONE, JENNIFER                   19013   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 498 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3283    BOONE, JENNIFER                   24747   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3284    BOONE, JENNIFER                   30507   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3285    BOONE, LEAH                       7944    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3286    BOONE, LEAH       Laredo, LLC     13694   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3287    BOONE, LEAH                       19441   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3288    BOONE, LEAH                       25175   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3289    BOONE, LEAH                       30935   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 499 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3290    BOOTH, CURTIS                   6852    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3291    BOOTH, CURTIS   Laredo, LLC     12602   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3292    BOOTH, CURTIS                   18349   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3293    BOOTH, CURTIS                   24083   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3294    BOOTH, CURTIS                   29843   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3295    BOREN, JAMES                    4238    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3296    BOREN, JAMES    Laredo, LLC     9988    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 500 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3297    BOREN, JAMES                   15735   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3298    BOREN, JAMES                   21481   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3299    BOREN, JAMES                   27229   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3300    BORJA, JULIA                   5056    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3301    BORJA, JULIA   Laredo, LLC     10806   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3302    BORJA, JULIA                   16553   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3303    BORJA, JULIA                   22298   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 501 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3304    BORJA, JULIA                      28047   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3305    BORST, VICTORIA Laredo, LLC       32423   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3306    BORST, VICTORIA                   33414   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3307    BORST, VICTORIA                   34405   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3308    BORST, VICTORIA                   35396   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3309    BORST, VICTORIA                   36387   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOSARGE,          Barney Davis,
3310                                      4466    8/1/2022     Secured: $0.00
        MARILYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 502 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOSARGE,
3311                    Laredo, LLC     10216   8/1/2022     Secured: $0.00
        MARILYN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOSARGE,        Nueces Bay,
3312                                    15963   8/1/2022     Secured: $0.00
        MARILYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOSARGE,        Talen Texas
3313                                    21709   8/1/2022     Secured: $0.00
        MARILYN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOSARGE,        Talen Texas,
3314                                    27457   8/1/2022     Secured: $0.00
        MARILYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3315    BOSLEY, SHAUN                   4675    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3316    BOSLEY, SHAUN   Laredo, LLC     10425   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3317    BOSLEY, SHAUN                   16172   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 503 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3318    BOSLEY, SHAUN                   21918   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3319    BOSLEY, SHAUN                   27666   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BOSTIC SR,                                           Priority: $0.00
                        Barney Davis,
3320    GREGORY                         7328    8/1/2022     Secured: $0.00
                        LLC
        BERNARD                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BOSTIC SR,                                           Priority: $0.00
3321    GREGORY         Laredo, LLC     13078   8/1/2022     Secured: $0.00
        BERNARD                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BOSTIC SR,                                           Priority: $0.00
                        Nueces Bay,
3322    GREGORY                         18825   8/1/2022     Secured: $0.00
                        LLC
        BERNARD                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BOSTIC SR,                                           Priority: $0.00
                        Talen Texas
3323    GREGORY                         24559   8/1/2022     Secured: $0.00
                        Group, LLC
        BERNARD                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BOSTIC SR,                                           Priority: $0.00
                        Talen Texas,
3324    GREGORY                         30319   8/1/2022     Secured: $0.00
                        LLC
        BERNARD                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 504 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOSTON,          Barney Davis,
3325                                     5216    8/1/2022     Secured: $0.00
        QUINETTA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOSTON,
3326                     Laredo, LLC     10966   8/1/2022     Secured: $0.00
        QUINETTA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOSTON,          Nueces Bay,
3327                                     16713   8/1/2022     Secured: $0.00
        QUINETTA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOSTON,          Talen Texas
3328                                     22458   8/1/2022     Secured: $0.00
        QUINETTA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOSTON,          Talen Texas,
3329                                     28207   8/1/2022     Secured: $0.00
        QUINETTA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3330    BOSWELL, TEENA                   8955    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3331    BOSWELL, TEENA Laredo, LLC       14705   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 505 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3332    BOSWELL, TEENA                   20452   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3333    BOSWELL, TEENA                   26184   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3334    BOSWELL, TEENA                   31946   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOTELLO,         Barney Davis,
3335                                     4987    8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOTELLO,
3336                     Laredo, LLC     10737   8/1/2022     Secured: $0.00
        GREGORY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOTELLO,         Nueces Bay,
3337                                     16484   8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOTELLO,         Talen Texas
3338                                     22229   8/1/2022     Secured: $0.00
        GREGORY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 506 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTELLO,          Talen Texas,
3339                                      27978   8/1/2022     Secured: $0.00
        GREGORY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTELLO,          Barney Davis,
3340                                      8650    8/1/2022     Secured: $0.00
        ROGELIO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTELLO,
3341                      Laredo, LLC     14400   8/1/2022     Secured: $0.00
        ROGELIO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTELLO,          Nueces Bay,
3342                                      20147   8/1/2022     Secured: $0.00
        ROGELIO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTELLO,          Talen Texas
3343                                      25879   8/1/2022     Secured: $0.00
        ROGELIO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTELLO,          Talen Texas,
3344                                      31641   8/1/2022     Secured: $0.00
        ROGELIO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3345    BOTTJER, SHERRY                   5640    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 507 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3346    BOTTJER, SHERRY Laredo, LLC       11390   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3347    BOTTJER, SHERRY                   17137   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3348    BOTTJER, SHERRY                   22882   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3349    BOTTJER, SHERRY                   28631   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTTOMLEY,        Barney Davis,
3350                                      7542    8/1/2022     Secured: $0.00
        JERRY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTTOMLEY,
3351                      Laredo, LLC     13292   8/1/2022     Secured: $0.00
        JERRY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BOTTOMLEY,        Nueces Bay,
3352                                      19039   8/1/2022     Secured: $0.00
        JERRY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 508 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOTTOMLEY,       Talen Texas
3353                                     24773   8/1/2022     Secured: $0.00
        JERRY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOTTOMLEY,       Talen Texas,
3354                                     30533   8/1/2022     Secured: $0.00
        JERRY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3355    BOTTONI, JAMIE                   3769    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3356    BOTTONI, JAMIE   Laredo, LLC     9519    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3357    BOTTONI, JAMIE                   15266   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3358    BOTTONI, JAMIE                   21013   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3359    BOTTONI, JAMIE                   26760   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 509 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDJENAH,    Barney Davis,
3360                                  4133    8/1/2022     Secured: $0.00
        DJILLALI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDJENAH,
3361                  Laredo, LLC     9883    8/1/2022     Secured: $0.00
        DJILLALI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDJENAH,    Nueces Bay,
3362                                  15630   8/1/2022     Secured: $0.00
        DJILLALI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDJENAH,    Talen Texas
3363                                  21376   8/1/2022     Secured: $0.00
        DJILLALI      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDJENAH,    Talen Texas,
3364                                  27124   8/1/2022     Secured: $0.00
        DJILLALI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDREAUX,    Barney Davis,
3365                                  7111    8/1/2022     Secured: $0.00
        DUANE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDREAUX,
3366                  Laredo, LLC     12861   8/1/2022     Secured: $0.00
        DUANE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 510 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDREAUX,    Nueces Bay,
3367                                  18608   8/1/2022     Secured: $0.00
        DUANE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDREAUX,    Talen Texas
3368                                  24342   8/1/2022     Secured: $0.00
        DUANE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDREAUX,    Talen Texas,
3369                                  30102   8/1/2022     Secured: $0.00
        DUANE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDROUX,     Barney Davis,
3370                                  4606    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDROUX,
3371                  Laredo, LLC     10356   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDROUX,     Nueces Bay,
3372                                  16103   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDROUX,     Talen Texas
3373                                  21849   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 511 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUDROUX,     Talen Texas,
3374                                  27597   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOULWARE,     Barney Davis,
3375                                  6564    8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOULWARE,
3376                  Laredo, LLC     12314   8/1/2022     Secured: $0.00
        BRENDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOULWARE,     Nueces Bay,
3377                                  18061   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOULWARE,     Talen Texas
3378                                  23796   8/1/2022     Secured: $0.00
        BRENDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOULWARE,     Talen Texas,
3379                                  29555   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOUTTE,       Barney Davis,
3380                                  6788    8/1/2022     Secured: $0.00
        CLARENCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 512 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE,
3381                     Laredo, LLC    12538   8/1/2022     Secured: $0.00
        CLARENCE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE,          Nueces Bay,
3382                                    18285   8/1/2022     Secured: $0.00
        CLARENCE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE,          Talen Texas
3383                                    24019   8/1/2022     Secured: $0.00
        CLARENCE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE,          Talen Texas,
3384                                    29779   8/1/2022     Secured: $0.00
        CLARENCE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE, SHIRLEY Barney Davis,
3385                                    8837    8/1/2022     Secured: $0.00
        JAMES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE, SHIRLEY
3386                    Laredo, LLC     14587   8/1/2022     Secured: $0.00
        JAMES
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOUTTE, SHIRLEY Nueces Bay,
3387                                    20334   8/1/2022     Secured: $0.00
        JAMES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 513 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOUTTE, SHIRLEY Talen Texas
3388                                     26066   8/1/2022     Secured: $0.00
        JAMES           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BOUTTE, SHIRLEY Talen Texas,
3389                                     31828   8/1/2022     Secured: $0.00
        JAMES           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3390    BOWERS, PAM                      8377    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3391    BOWERS, PAM      Laredo, LLC     14127   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3392    BOWERS, PAM                      19874   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3393    BOWERS, PAM                      25607   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3394    BOWERS, PAM                      31368   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 514 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWERS,       Barney Davis,
3395                                  4708    8/1/2022     Secured: $0.00
        SVETLANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWERS,
3396                  Laredo, LLC     10458   8/1/2022     Secured: $0.00
        SVETLANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWERS,       Nueces Bay,
3397                                  16205   8/1/2022     Secured: $0.00
        SVETLANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWERS,       Talen Texas
3398                                  21951   8/1/2022     Secured: $0.00
        SVETLANA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWERS,       Talen Texas,
3399                                  27699   8/1/2022     Secured: $0.00
        SVETLANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWMAN,       Barney Davis,
3400                                  6451    8/1/2022     Secured: $0.00
        ARMELIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BOWMAN,
3401                  Laredo, LLC     12201   8/1/2022     Secured: $0.00
        ARMELIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 515 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,        Nueces Bay,
3402                                   17948   8/1/2022     Secured: $0.00
        ARMELIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,        Talen Texas
3403                                   23683   8/1/2022     Secured: $0.00
        ARMELIA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,        Talen Texas,
3404                                   29442   8/1/2022     Secured: $0.00
        ARMELIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,        Barney Davis,
3405                                   3842    8/1/2022     Secured: $0.00
        MICHELLA ANN   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,
3406                   Laredo, LLC     9592    8/1/2022     Secured: $0.00
        MICHELLA ANN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,        Nueces Bay,
3407                                   15339   8/1/2022     Secured: $0.00
        MICHELLA ANN   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BOWMAN,        Talen Texas
3408                                   21086   8/1/2022     Secured: $0.00
        MICHELLA ANN   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 516 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOWMAN,         Talen Texas,
3409                                    26833   8/1/2022     Secured: $0.00
        MICHELLA ANN    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOWMAN,         Barney Davis,
3410                                    8487    8/1/2022     Secured: $0.00
        RANDALL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOWMAN,
3411                    Laredo, LLC     14237   8/1/2022     Secured: $0.00
        RANDALL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOWMAN,         Nueces Bay,
3412                                    19984   8/1/2022     Secured: $0.00
        RANDALL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOWMAN,         Talen Texas
3413                                    25716   8/1/2022     Secured: $0.00
        RANDALL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOWMAN,         Talen Texas,
3414                                    31478   8/1/2022     Secured: $0.00
        RANDALL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3415    BOX, JENNIFER                   7517    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 517 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3416    BOX, JENNIFER   Laredo, LLC     13267   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3417    BOX, JENNIFER                   19014   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3418    BOX, JENNIFER                   24748   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3419    BOX, JENNIFER                   30508   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOX‐HUBLEY,     Barney Davis,
3420                                    9046    8/1/2022     Secured: $0.00
        TONYA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOX‐HUBLEY,
3421                    Laredo, LLC     14796   8/1/2022     Secured: $0.00
        TONYA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOX‐HUBLEY,     Nueces Bay,
3422                                    20543   8/1/2022     Secured: $0.00
        TONYA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 518 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOX‐HUBLEY,     Talen Texas
3423                                    26275   8/1/2022     Secured: $0.00
        TONYA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BOX‐HUBLEY,     Talen Texas,
3424                                    32037   8/1/2022     Secured: $0.00
        TONYA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3425    BOYCE, FALLYN                   4181    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3426    BOYCE, FALLYN   Laredo, LLC     9931    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3427    BOYCE, FALLYN                   15678   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3428    BOYCE, FALLYN                   21424   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3429    BOYCE, FALLYN                   27172   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 519 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3430    BOYD, DEANNA                   3758    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3431    BOYD, DEANNA   Laredo, LLC     9508    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3432    BOYD, DEANNA                   15255   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3433    BOYD, DEANNA                   21002   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3434    BOYD, DEANNA                   26749   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3435    BOYD, JOHN                     6136    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3436    BOYD, JOHN     Laredo, LLC     11886   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 520 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
3437    BOYD, JOHN                    17633   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
3438    BOYD, JOHN                    23378   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
3439    BOYD, JOHN                    29127   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
3440    BOYD, MARY                    4486    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
3441    BOYD, MARY    Laredo, LLC     10236   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
3442    BOYD, MARY                    15983   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
3443    BOYD, MARY                    21729   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 521 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3444    BOYD, MARY                       27477   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3445    BOYD, SWANETTA                   8913    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3446    BOYD, SWANETTA Laredo, LLC       14663   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3447    BOYD, SWANETTA                   20410   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3448    BOYD, SWANETTA                   26142   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3449    BOYD, SWANETTA                   31904   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRAATEN,         Barney Davis,
3450                                     6761    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 522 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRAATEN,
3451                      Laredo, LLC     12511   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRAATEN,          Nueces Bay,
3452                                      18258   8/1/2022     Secured: $0.00
        CHRISTOPHER       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRAATEN,          Talen Texas
3453                                      23992   8/1/2022     Secured: $0.00
        CHRISTOPHER       Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRAATEN,          Talen Texas,
3454                                      29752   8/1/2022     Secured: $0.00
        CHRISTOPHER       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3455    BRACEY, WILLIAM                   9151    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3456    BRACEY, WILLIAM Laredo, LLC       14901   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3457    BRACEY, WILLIAM                   20648   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 523 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3458    BRACEY, WILLIAM                   26380   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3459    BRACEY, WILLIAM                   32142   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRADDOCK,         Barney Davis,
3460                                      9323    8/1/2022     Secured: $0.00
        SHERRIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRADDOCK,
3461                      Laredo, LLC     15073   8/1/2022     Secured: $0.00
        SHERRIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRADDOCK,         Nueces Bay,
3462                                      20820   8/1/2022     Secured: $0.00
        SHERRIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRADDOCK,         Talen Texas
3463                                      26552   8/1/2022     Secured: $0.00
        SHERRIE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRADDOCK,         Talen Texas,
3464                                      32314   8/1/2022     Secured: $0.00
        SHERRIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 524 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3465    BRADEN, RAFUL                   4587    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3466    BRADEN, RAFUL   Laredo, LLC     10337   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3467    BRADEN, RAFUL                   16084   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3468    BRADEN, RAFUL                   21830   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3469    BRADEN, RAFUL                   27578   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRADFORD,       Barney Davis,
3470                                    4519    8/1/2022     Secured: $0.00
        MICHELE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRADFORD,
3471                    Laredo, LLC     10269   8/1/2022     Secured: $0.00
        MICHELE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 525 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Nueces Bay,
3472                                  16016   8/1/2022     Secured: $0.00
        MICHELE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Talen Texas
3473                                  21762   8/1/2022     Secured: $0.00
        MICHELE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Talen Texas,
3474                                  27510   8/1/2022     Secured: $0.00
        MICHELE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Barney Davis,
3475                                  5291    8/1/2022     Secured: $0.00
        SHANTA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,
3476                  Laredo, LLC     11041   8/1/2022     Secured: $0.00
        SHANTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Nueces Bay,
3477                                  16788   8/1/2022     Secured: $0.00
        SHANTA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Talen Texas
3478                                  22533   8/1/2022     Secured: $0.00
        SHANTA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 526 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Talen Texas,
3479                                  28282   8/1/2022     Secured: $0.00
        SHANTA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Barney Davis,
3480                                  4670    8/1/2022     Secured: $0.00
        SHAREN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,
3481                  Laredo, LLC     10420   8/1/2022     Secured: $0.00
        SHAREN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Nueces Bay,
3482                                  16167   8/1/2022     Secured: $0.00
        SHAREN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Talen Texas
3483                                  21913   8/1/2022     Secured: $0.00
        SHAREN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Talen Texas,
3484                                  27661   8/1/2022     Secured: $0.00
        SHAREN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRADFORD,     Barney Davis,
3485                                  8875    8/1/2022     Secured: $0.00
        STAYCI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 527 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRADFORD,
3486                    Laredo, LLC     14625   8/1/2022     Secured: $0.00
        STAYCI
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRADFORD,       Nueces Bay,
3487                                    20372   8/1/2022     Secured: $0.00
        STAYCI          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRADFORD,       Talen Texas
3488                                    26104   8/1/2022     Secured: $0.00
        STAYCI          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRADFORD,       Talen Texas,
3489                                    31866   8/1/2022     Secured: $0.00
        STAYCI          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3490    BRADLEY, KENT                   7822    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3491    BRADLEY, KENT   Laredo, LLC     13572   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3492    BRADLEY, KENT                   19319   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 528 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3493    BRADLEY, KENT                    25053   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3494    BRADLEY, KENT                    30813   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3495    BRADLEY, PENNY Laredo, LLC       32424   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3496    BRADLEY, PENNY                   33415   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3497    BRADLEY, PENNY                   34406   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3498    BRADLEY, PENNY                   35397   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3499    BRADLEY, PENNY                   36388   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 529 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3500    BRADLEY, TONI                     4751    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3501    BRADLEY, TONI     Laredo, LLC     10501   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3502    BRADLEY, TONI                     16248   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3503    BRADLEY, TONI                     21994   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3504    BRADLEY, TONI                     27742   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3505    BRAMBLETT, JANE                   4253    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3506    BRAMBLETT, JANE Laredo, LLC       10003   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 530 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3507    BRAMBLETT, JANE                   15750   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3508    BRAMBLETT, JANE                   21496   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3509    BRAMBLETT, JANE                   27244   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRANCH,           Barney Davis,
3510                                      4974    8/1/2022     Secured: $0.00
        FREDRICK          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRANCH,
3511                      Laredo, LLC     10724   8/1/2022     Secured: $0.00
        FREDRICK
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRANCH,           Nueces Bay,
3512                                      16471   8/1/2022     Secured: $0.00
        FREDRICK          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRANCH,           Talen Texas
3513                                      22216   8/1/2022     Secured: $0.00
        FREDRICK          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 531 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANCH,         Talen Texas,
3514                                    27965   8/1/2022     Secured: $0.00
        FREDRICK        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANCH,         Barney Davis,
3515                                    7907    8/1/2022     Secured: $0.00
        LARHONDA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANCH,
3516                    Laredo, LLC     13657   8/1/2022     Secured: $0.00
        LARHONDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANCH,         Nueces Bay,
3517                                    19404   8/1/2022     Secured: $0.00
        LARHONDA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANCH,         Talen Texas
3518                                    25138   8/1/2022     Secured: $0.00
        LARHONDA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANCH,         Talen Texas,
3519                                    30898   8/1/2022     Secured: $0.00
        LARHONDA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BRANDON WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Barney Davis,
3520    AND AS HEIR OF                  5383    8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        PATRICIA WARD
                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 532 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        BRANDON WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
3521    AND AS HEIR OF Laredo, LLC      11133   8/1/2022     Secured: $0.00
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        PATRICIA WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BRANDON WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Nueces Bay,
3522    AND AS HEIR OF                  16880   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        PATRICIA WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BRANDON WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Talen Texas
3523    AND AS HEIR OF                  22625   8/1/2022     Secured: $0.00
                       Group, LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        PATRICIA WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        BRANDON WARD,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Talen Texas,
3524    AND AS HEIR OF                  28374   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        PATRICIA WARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANDT,         Barney Davis,
3525                                    4901    8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANDT,
3526                    Laredo, LLC     10651   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRANDT,         Nueces Bay,
3527                                    16398   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 533 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANDT,       Talen Texas
3528                                  22143   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANDT,       Talen Texas,
3529                                  27892   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANNAN,      Barney Davis,
3530                                  4557    8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANNAN,
3531                  Laredo, LLC     10307   8/1/2022     Secured: $0.00
        PATRICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANNAN,      Nueces Bay,
3532                                  16054   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANNAN,      Talen Texas
3533                                  21800   8/1/2022     Secured: $0.00
        PATRICIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRANNAN,      Talen Texas,
3534                                  27548   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 534 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANNON,         Barney Davis,
3535                                     7279    8/1/2022     Secured: $0.00
        GAYLEN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANNON,
3536                     Laredo, LLC     13029   8/1/2022     Secured: $0.00
        GAYLEN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANNON,         Nueces Bay,
3537                                     18776   8/1/2022     Secured: $0.00
        GAYLEN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANNON,         Talen Texas
3538                                     24510   8/1/2022     Secured: $0.00
        GAYLEN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANNON,         Talen Texas,
3539                                     30270   8/1/2022     Secured: $0.00
        GAYLEN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3540    BRANNON, STACY                   8870    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3541    BRANNON, STACY Laredo, LLC       14620   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 535 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3542    BRANNON, STACY                   20367   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3543    BRANNON, STACY                   26099   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3544    BRANNON, STACY                   31861   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANSON,         Barney Davis,
3545                                     6457    8/1/2022     Secured: $0.00
        ASHLEY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANSON,
3546                     Laredo, LLC     12207   8/1/2022     Secured: $0.00
        ASHLEY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANSON,         Nueces Bay,
3547                                     17954   8/1/2022     Secured: $0.00
        ASHLEY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANSON,         Talen Texas
3548                                     23689   8/1/2022     Secured: $0.00
        ASHLEY           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 536 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRANSON,         Talen Texas,
3549                                     29448   8/1/2022     Secured: $0.00
        ASHLEY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3550    BRANSON, DAWN                    3764    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3551    BRANSON, DAWN Laredo, LLC        9514    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3552    BRANSON, DAWN                    15261   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3553    BRANSON, DAWN                    21008   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3554    BRANSON, DAWN                    26755   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3555    BRANTLEY, GARY                   7261    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 537 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
3556    BRANTLEY, GARY Laredo, LLC         13011   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
3557    BRANTLEY, GARY                     18758   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
3558    BRANTLEY, GARY                     24492   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
3559    BRANTLEY, GARY                     30252   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
3560    BRANTLEY, JUSTIN                   7726    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
3561    BRANTLEY, JUSTIN Laredo, LLC       13476   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
3562    BRANTLEY, JUSTIN                   19223   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 538 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
3563    BRANTLEY, JUSTIN                   24957   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
3564    BRANTLEY, JUSTIN                   30717   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BRANTON,           Barney Davis,
3565                                       8133    8/1/2022     Secured: $0.00
        MARLON             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BRANTON,
3566                       Laredo, LLC     13883   8/1/2022     Secured: $0.00
        MARLON
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BRANTON,           Nueces Bay,
3567                                       19630   8/1/2022     Secured: $0.00
        MARLON             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BRANTON,           Talen Texas
3568                                       25364   8/1/2022     Secured: $0.00
        MARLON             Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        BRANTON,           Talen Texas,
3569                                       31124   8/1/2022     Secured: $0.00
        MARLON             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 539 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3570    BRASHEAR, MARY                   8148    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3571    BRASHEAR, MARY Laredo, LLC       13898   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3572    BRASHEAR, MARY                   19645   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3573    BRASHEAR, MARY                   25379   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3574    BRASHEAR, MARY                   31139   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRASINGTON,      Barney Davis,
3575                                     7067    8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRASINGTON,
3576                     Laredo, LLC     12817   8/1/2022     Secured: $0.00
        DONNA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 540 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRASINGTON,   Nueces Bay,
3577                                  18564   8/1/2022     Secured: $0.00
        DONNA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRASINGTON,   Talen Texas
3578                                  24298   8/1/2022     Secured: $0.00
        DONNA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRASINGTON,   Talen Texas,
3579                                  30058   8/1/2022     Secured: $0.00
        DONNA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRATTON,      Barney Davis,
3580                                  6594    8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRATTON,
3581                  Laredo, LLC     12344   8/1/2022     Secured: $0.00
        BRITTANY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRATTON,      Nueces Bay,
3582                                  18091   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRATTON,      Talen Texas
3583                                  23825   8/1/2022     Secured: $0.00
        BRITTANY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 541 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRATTON,       Talen Texas,
3584                                   29585   8/1/2022     Secured: $0.00
        BRITTANY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3585    BRATTON, ELI                   7141    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3586    BRATTON, ELI   Laredo, LLC     12891   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3587    BRATTON, ELI                   18638   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3588    BRATTON, ELI                   24372   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3589    BRATTON, ELI                   30132   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3590    BRAUER, KENT                   7823    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 542 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3591    BRAUER, KENT   Laredo, LLC     13573   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3592    BRAUER, KENT                   19320   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3593    BRAUER, KENT                   25054   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3594    BRAUER, KENT                   30814   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3595    BRAUN, LEE                     7952    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3596    BRAUN, LEE     Laredo, LLC     13702   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3597    BRAUN, LEE                     19449   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 543 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3598    BRAUN, LEE                      25183   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3599    BRAUN, LEE                      30943   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3600    BRAVO, MARTIN                   8142    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3601    BRAVO, MARTIN   Laredo, LLC     13892   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3602    BRAVO, MARTIN                   19639   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3603    BRAVO, MARTIN                   25373   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3604    BRAVO, MARTIN                   31133   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 544 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3605    BRAWLEY, MARCY                   8062    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3606    BRAWLEY, MARCY Laredo, LLC       13812   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3607    BRAWLEY, MARCY                   19559   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3608    BRAWLEY, MARCY                   25293   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3609    BRAWLEY, MARCY                   31053   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRAXTON,         Barney Davis,
3610                                     7633    8/1/2022     Secured: $0.00
        JOHNNIE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRAXTON,
3611                     Laredo, LLC     13383   8/1/2022     Secured: $0.00
        JOHNNIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 545 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAXTON,       Nueces Bay,
3612                                   19130   8/1/2022     Secured: $0.00
        JOHNNIE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAXTON,       Talen Texas
3613                                   24864   8/1/2022     Secured: $0.00
        JOHNNIE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAXTON,       Talen Texas,
3614                                   30624   8/1/2022     Secured: $0.00
        JOHNNIE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAZIEL SR,    Barney Davis,
3615                                   6183    8/1/2022     Secured: $0.00
        SAMUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAZIEL SR,
3616                   Laredo, LLC     11933   8/1/2022     Secured: $0.00
        SAMUEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAZIEL SR,    Nueces Bay,
3617                                   17680   8/1/2022     Secured: $0.00
        SAMUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRAZIEL SR,    Talen Texas
3618                                   23425   8/1/2022     Secured: $0.00
        SAMUEL         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 546 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRAZIEL SR,      Talen Texas,
3619                                     29174   8/1/2022     Secured: $0.00
        SAMUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3620    BRAZIEL, ALVIN                   3915    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3621    BRAZIEL, ALVIN   Laredo, LLC     9665    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3622    BRAZIEL, ALVIN                   15412   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3623    BRAZIEL, ALVIN                   21159   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3624    BRAZIEL, ALVIN                   26906   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRAZZILE,        Barney Davis,
3625                                     4775    8/1/2022     Secured: $0.00
        WAYMON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 547 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRAZZILE,
3626                     Laredo, LLC    10525   8/1/2022     Secured: $0.00
        WAYMON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRAZZILE,        Nueces Bay,
3627                                    16272   8/1/2022     Secured: $0.00
        WAYMON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRAZZILE,        Talen Texas
3628                                    22018   8/1/2022     Secured: $0.00
        WAYMON           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRAZZILE,        Talen Texas,
3629                                    27766   8/1/2022     Secured: $0.00
        WAYMON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BREAULT, JOSEPH Barney Davis,
3630                                    7667    8/1/2022     Secured: $0.00
        LEN             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BREAULT, JOSEPH
3631                    Laredo, LLC     13417   8/1/2022     Secured: $0.00
        LEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BREAULT, JOSEPH Nueces Bay,
3632                                    19164   8/1/2022     Secured: $0.00
        LEN             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 548 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREAULT, JOSEPH Talen Texas
3633                                     24898   8/1/2022     Secured: $0.00
        LEN             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREAULT, JOSEPH Talen Texas,
3634                                     30658   8/1/2022     Secured: $0.00
        LEN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREEDLOVE,       Barney Davis,
3635                                     6804    8/1/2022     Secured: $0.00
        CODY             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREEDLOVE,
3636                     Laredo, LLC     12554   8/1/2022     Secured: $0.00
        CODY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREEDLOVE,       Nueces Bay,
3637                                     18301   8/1/2022     Secured: $0.00
        CODY             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREEDLOVE,       Talen Texas
3638                                     24035   8/1/2022     Secured: $0.00
        CODY             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREEDLOVE,       Talen Texas,
3639                                     29795   8/1/2022     Secured: $0.00
        CODY             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 549 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BREEDLOVE,        Barney Davis,
3640                                      7252    8/1/2022     Secured: $0.00
        FREDDIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BREEDLOVE,
3641                      Laredo, LLC     13002   8/1/2022     Secured: $0.00
        FREDDIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BREEDLOVE,        Nueces Bay,
3642                                      18749   8/1/2022     Secured: $0.00
        FREDDIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BREEDLOVE,        Talen Texas
3643                                      24483   8/1/2022     Secured: $0.00
        FREDDIE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BREEDLOVE,        Talen Texas,
3644                                      30243   8/1/2022     Secured: $0.00
        FREDDIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3645    BREEDLOVE, NITA                   8345    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3646    BREEDLOVE, NITA Laredo, LLC       14095   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 550 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3647    BREEDLOVE, NITA                   19842   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3648    BREEDLOVE, NITA                   25576   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3649    BREEDLOVE, NITA                   31336   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BREEDLOVE‐                                             Priority: $0.00
                          Barney Davis,
3650    SCHMITZ,                          6754    8/1/2022     Secured: $0.00
                          LLC
        CHRISTINE                                              General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BREEDLOVE‐                                             Priority: $0.00
3651    SCHMITZ,          Laredo, LLC     12504   8/1/2022     Secured: $0.00
        CHRISTINE                                              General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BREEDLOVE‐                                             Priority: $0.00
                          Nueces Bay,
3652    SCHMITZ,                          18251   8/1/2022     Secured: $0.00
                          LLC
        CHRISTINE                                              General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        BREEDLOVE‐                                             Priority: $0.00
                          Talen Texas
3653    SCHMITZ,                          23985   8/1/2022     Secured: $0.00
                          Group, LLC
        CHRISTINE                                              General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 551 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BREEDLOVE‐                                           Priority: $0.00
                        Talen Texas,
3654    SCHMITZ,                        29745   8/1/2022     Secured: $0.00
                        LLC
        CHRISTINE                                            General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3655    BREJCHA, LACY                   3685    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3656    BREJCHA, LACY   Laredo, LLC     9435    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3657    BREJCHA, LACY                   15182   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3658    BREJCHA, LACY                   20929   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3659    BREJCHA, LACY                   26676   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BREMBY,         Barney Davis,
3660                                    6595    8/1/2022     Secured: $0.00
        BRITTANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 552 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREMBY,
3661                  Laredo, LLC     12345   8/1/2022     Secured: $0.00
        BRITTANY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREMBY,       Nueces Bay,
3662                                  18092   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREMBY,       Talen Texas
3663                                  23826   8/1/2022     Secured: $0.00
        BRITTANY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREMBY,       Talen Texas,
3664                                  29586   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREWER,       Barney Davis,
3665                                  6386    8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREWER,
3666                  Laredo, LLC     12136   8/1/2022     Secured: $0.00
        ANDREW
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BREWER,       Nueces Bay,
3667                                  17883   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 553 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BREWER,         Talen Texas
3668                                    23618   8/1/2022     Secured: $0.00
        ANDREW          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BREWER,         Talen Texas,
3669                                    29377   8/1/2022     Secured: $0.00
        ANDREW          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3670    BREWER, BARRY                   6487    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3671    BREWER, BARRY   Laredo, LLC     12237   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3672    BREWER, BARRY                   17984   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3673    BREWER, BARRY                   23719   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3674    BREWER, BARRY                   29478   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 554 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3675    BREWER, LEEANN                   5090    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3676    BREWER, LEEANN Laredo, LLC       10840   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3677    BREWER, LEEANN                   16587   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3678    BREWER, LEEANN                   22332   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3679    BREWER, LEEANN                   28081   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREWTON,
3680                     Laredo, LLC     32425   8/1/2022     Secured: $0.00
        DOROTHY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BREWTON,         Barney Davis,
3681                                     33416   8/1/2022     Secured: $0.00
        DOROTHY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 555 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BREWTON,        Nueces Bay,
3682                                   34407   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BREWTON,        Talen Texas
3683                                   35398   8/1/2022     Secured: $0.00
        DOROTHY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BREWTON,        Talen Texas,
3684                                   36389   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        BRIAN SCOTT
                                                            Other Administrative: $0.00
        HASTINGS DBA
                                                            Priority: $0.00
        WATERIN HOLE & Barney Davis,
3685                                   5662    8/1/2022     Secured: $0.00
        FEEDBAG        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        RESTAURANT
        HASTINGS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        BRIAN SCOTT
                                                            Other Administrative: $0.00
        HASTINGS DBA
                                                            Priority: $0.00
        WATERIN HOLE &
3686                   Laredo, LLC     11412   8/1/2022     Secured: $0.00
        FEEDBAG
                                                            General Unsecured: $0.00 + Unliquidated
        RESTAURANT
        HASTINGS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        BRIAN SCOTT
                                                            Other Administrative: $0.00
        HASTINGS DBA
                                                            Priority: $0.00
        WATERIN HOLE & Nueces Bay,
3687                                   17159   8/1/2022     Secured: $0.00
        FEEDBAG        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        RESTAURANT
        HASTINGS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        BRIAN SCOTT
                                                            Other Administrative: $0.00
        HASTINGS DBA
                                                            Priority: $0.00
        WATERIN HOLE & Talen Texas
3688                                   22904   8/1/2022     Secured: $0.00
        FEEDBAG        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        RESTAURANT
        HASTINGS
                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 556 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        BRIAN SCOTT
                                                             Other Administrative: $0.00
        HASTINGS DBA
                                                             Priority: $0.00
        WATERIN HOLE & Talen Texas,
3689                                    28653   8/1/2022     Secured: $0.00
        FEEDBAG        LLC
                                                             General Unsecured: $0.00 + Unliquidated
        RESTAURANT
        HASTINGS
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3690    BRICE, BRENDA                   5750    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3691    BRICE, BRENDA   Laredo, LLC     11500   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3692    BRICE, BRENDA                   17247   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3693    BRICE, BRENDA                   22992   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3694    BRICE, BRENDA                   28741   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3695    BRIDGES, ANNA                   6413    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 557 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3696    BRIDGES, ANNA    Laredo, LLC     12163   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3697    BRIDGES, ANNA                    17910   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3698    BRIDGES, ANNA                    23645   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3699    BRIDGES, ANNA                    29404   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3700    BRIDGES, CHRIS                   6736    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3701    BRIDGES, CHRIS   Laredo, LLC     12486   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3702    BRIDGES, CHRIS                   18233   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 558 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3703    BRIDGES, CHRIS                   23967   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3704    BRIDGES, CHRIS                   29727   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIDGES,         Barney Davis,
3705                                     9176    8/1/2022     Secured: $0.00
        WINSTEN KEITH    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIDGES,
3706                     Laredo, LLC     14926   8/1/2022     Secured: $0.00
        WINSTEN KEITH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIDGES,         Nueces Bay,
3707                                     20673   8/1/2022     Secured: $0.00
        WINSTEN KEITH    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIDGES,         Talen Texas
3708                                     26405   8/1/2022     Secured: $0.00
        WINSTEN KEITH    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIDGES,         Talen Texas,
3709                                     32167   8/1/2022     Secured: $0.00
        WINSTEN KEITH    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 559 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3710    BRIGGS, DARLENE                   4087    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3711    BRIGGS, DARLENE Laredo, LLC       9837    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3712    BRIGGS, DARLENE                   15584   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3713    BRIGGS, DARLENE                   21330   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3714    BRIGGS, DARLENE                   27078   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3715    BRIGGS, WILLIAM                   3856    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3716    BRIGGS, WILLIAM Laredo, LLC       9606    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 560 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
3717    BRIGGS, WILLIAM                  15353   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
3718    BRIGGS, WILLIAM                  21100   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
3719    BRIGGS, WILLIAM                  26847   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BRIGHT STAR                                           Priority: $0.00
                       Barney Davis,
3720    MISSIONARY                       5680    8/1/2022     Secured: $0.00
                       LLC
        BAPTIST CHURCH                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BRIGHT STAR                                           Priority: $0.00
3721    MISSIONARY     Laredo, LLC       11430   8/1/2022     Secured: $0.00
        BAPTIST CHURCH                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BRIGHT STAR                                           Priority: $0.00
                       Nueces Bay,
3722    MISSIONARY                       17177   8/1/2022     Secured: $0.00
                       LLC
        BAPTIST CHURCH                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        BRIGHT STAR                                           Priority: $0.00
                       Talen Texas
3723    MISSIONARY                       22922   8/1/2022     Secured: $0.00
                       Group, LLC
        BAPTIST CHURCH                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 561 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BRIGHT STAR                                          Priority: $0.00
                       Talen Texas,
3724    MISSIONARY                      28671   8/1/2022     Secured: $0.00
                       LLC
        BAPTIST CHURCH                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMAN,      Barney Davis,
3725                                    7543    8/1/2022     Secured: $0.00
        JERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMAN,
3726                    Laredo, LLC     13293   8/1/2022     Secured: $0.00
        JERRY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMAN,      Nueces Bay,
3727                                    19040   8/1/2022     Secured: $0.00
        JERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMAN,      Talen Texas
3728                                    24774   8/1/2022     Secured: $0.00
        JERRY           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMAN,      Talen Texas,
3729                                    30534   8/1/2022     Secured: $0.00
        JERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMON,      Barney Davis,
3730                                    4223    8/1/2022     Secured: $0.00
        HENRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 562 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,
3731                  Laredo, LLC     9973    8/1/2022     Secured: $0.00
        HENRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,    Nueces Bay,
3732                                  15720   8/1/2022     Secured: $0.00
        HENRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,    Talen Texas
3733                                  21466   8/1/2022     Secured: $0.00
        HENRY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,    Talen Texas,
3734                                  27214   8/1/2022     Secured: $0.00
        HENRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,    Barney Davis,
3735                                  4527    8/1/2022     Secured: $0.00
        MONICA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,
3736                  Laredo, LLC     10277   8/1/2022     Secured: $0.00
        MONICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BRIGHTMON,    Nueces Bay,
3737                                  16024   8/1/2022     Secured: $0.00
        MONICA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 563 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMON,      Talen Texas
3738                                    21770   8/1/2022     Secured: $0.00
        MONICA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIGHTMON,      Talen Texas,
3739                                    27518   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3740    BRILES, GAYLA                   7277    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3741    BRILES, GAYLA   Laredo, LLC     13027   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3742    BRILES, GAYLA                   18774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3743    BRILES, GAYLA                   24508   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3744    BRILES, GAYLA                   30268   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 564 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3745    BRISBY, QUNICY                   4583    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3746    BRISBY, QUNICY   Laredo, LLC     10333   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3747    BRISBY, QUNICY                   16080   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3748    BRISBY, QUNICY                   21826   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3749    BRISBY, QUNICY                   27574   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRISCOE,         Barney Davis,
3750                                     8220    8/1/2022     Secured: $0.00
        MICHAEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRISCOE,
3751                     Laredo, LLC     13970   8/1/2022     Secured: $0.00
        MICHAEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 565 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Nueces Bay,
3752                                   19717   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Talen Texas
3753                                   25451   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Talen Texas,
3754                                   31211   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Barney Davis,
3755                                   4645    8/1/2022     Secured: $0.00
        ROSEMARY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,
3756                   Laredo, LLC     10395   8/1/2022     Secured: $0.00
        ROSEMARY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Nueces Bay,
3757                                   16142   8/1/2022     Secured: $0.00
        ROSEMARY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Talen Texas
3758                                   21888   8/1/2022     Secured: $0.00
        ROSEMARY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 566 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRISCOE,       Talen Texas,
3759                                   27636   8/1/2022     Secured: $0.00
        ROSEMARY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BRISTOL WEST                                        Priority: $0.00
3760    INSURANCE      Laredo, LLC     3036    8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BRISTOL WEST                                        Priority: $0.00
                       Barney Davis,
3761    INSURANCE                      3127    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BRISTOL WEST                                        Priority: $0.00
                       Nueces Bay,
3762    INSURANCE                      3154    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BRISTOL WEST                                        Priority: $0.00
                       Nueces Bay,
3763    SPECIALTY                      3163    8/1/2022     Secured: $0.00
                       LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BRISTOL WEST
                                                            Priority: $0.00
        SPECIALTY      Nueces Bay,
3764                                   2959    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        BRISTOL WEST
                                                            Priority: $0.00
        SPECIALTY      Barney Davis,
3765                                   3145    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 567 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        BRISTOL WEST
                                                             Priority: $0.00
        SPECIALTY
3766                     Laredo, LLC     3221   8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIT GLOBAL
3767                     Laredo, LLC     2030   7/30/2022    Secured: $0.00
        SPECIALTY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIT GLOBAL      Nueces Bay,
3768                                     2031   7/30/2022    Secured: $0.00
        SPECIALTY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRIT GLOBAL      Barney Davis,
3769                                     2055   7/30/2022    Secured: $0.00
        SPECIALTY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Barney Davis,
3770    BRIT INSURANCE                   2609   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
3771    BRIT INSURANCE                   3450   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3772    BRIT INSURANCE   Laredo, LLC     3454   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 568 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3773    BRIT INSURANCE                   3475    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3774    BRIT INSURANCE                   3489    8/2/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3775    BRIT INSURANCE   Laredo, LLC     3504    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRITO,           Barney Davis,
3776                                     3831    8/1/2022     Secured: $0.00
        FLORANGEL        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRITO,
3777                     Laredo, LLC     9581    8/1/2022     Secured: $0.00
        FLORANGEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRITO,           Nueces Bay,
3778                                     15328   8/1/2022     Secured: $0.00
        FLORANGEL        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRITO,           Talen Texas
3779                                     21075   8/1/2022     Secured: $0.00
        FLORANGEL        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 569 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRITO,            Talen Texas,
3780                                      26822   8/1/2022     Secured: $0.00
        FLORANGEL         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
3781    BRITTON, CHERRY                   6720    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
3782    BRITTON, CHERRY Laredo, LLC       12470   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
3783    BRITTON, CHERRY                   18217   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
3784    BRITTON, CHERRY                   23951   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
3785    BRITTON, CHERRY                   29711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRITTON,          Barney Davis,
3786                                      7359    8/1/2022     Secured: $0.00
        HEATHER           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 570 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRITTON,
3787                   Laredo, LLC     13109   8/1/2022     Secured: $0.00
        HEATHER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRITTON,       Nueces Bay,
3788                                   18856   8/1/2022     Secured: $0.00
        HEATHER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRITTON,       Talen Texas
3789                                   24590   8/1/2022     Secured: $0.00
        HEATHER        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRITTON,       Talen Texas,
3790                                   30350   8/1/2022     Secured: $0.00
        HEATHER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRIZENDINE,    Barney Davis,
3791                                   7865    8/1/2022     Secured: $0.00
        KORNIELLIA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRIZENDINE,
3792                   Laredo, LLC     13615   8/1/2022     Secured: $0.00
        KORNIELLIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRIZENDINE,    Nueces Bay,
3793                                   19362   8/1/2022     Secured: $0.00
        KORNIELLIA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 571 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIZENDINE,      Talen Texas
3794                                     25096   8/1/2022     Secured: $0.00
        KORNIELLIA       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRIZENDINE,      Talen Texas,
3795                                     30856   8/1/2022     Secured: $0.00
        KORNIELLIA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3796    BROCK, KRISTEN                   7867    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3797    BROCK, KRISTEN   Laredo, LLC     13617   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3798    BROCK, KRISTEN                   19364   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3799    BROCK, KRISTEN                   25098   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3800    BROCK, KRISTEN                   30858   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 572 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRODY,         Barney Davis,
3801                                   6611    8/1/2022     Secured: $0.00
        BURGUNDY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRODY,
3802                   Laredo, LLC     12361   8/1/2022     Secured: $0.00
        BURGUNDY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRODY,         Nueces Bay,
3803                                   18108   8/1/2022     Secured: $0.00
        BURGUNDY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRODY,         Talen Texas
3804                                   23842   8/1/2022     Secured: $0.00
        BURGUNDY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRODY,         Talen Texas,
3805                                   29602   8/1/2022     Secured: $0.00
        BURGUNDY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROKENBOURGH, Barney Davis,
3806                                   4267    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROKENBOURGH,
3807                  Laredo, LLC      10017   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 573 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROKENBOURGH, Nueces Bay,
3808                                    15764   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROKENBOURGH, Talen Texas
3809                                    21510   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROKENBOURGH, Talen Texas,
3810                                    27258   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3811    BRONSON, LISA                   4434    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3812    BRONSON, LISA   Laredo, LLC     10184   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3813    BRONSON, LISA                   15931   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3814    BRONSON, LISA                   21677   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 574 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3815    BRONSON, LISA                   27425   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRONSON,
3816                    Laredo, LLC     32426   8/1/2022     Secured: $0.00
        MELINDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRONSON,        Barney Davis,
3817                                    33417   8/1/2022     Secured: $0.00
        MELINDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRONSON,        Nueces Bay,
3818                                    34408   8/1/2022     Secured: $0.00
        MELINDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRONSON,        Talen Texas
3819                                    35399   8/1/2022     Secured: $0.00
        MELINDA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRONSON,        Talen Texas,
3820                                    36390   8/1/2022     Secured: $0.00
        MELINDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3821    BROOKE, KAREN                   4352    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 575 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3822    BROOKE, KAREN   Laredo, LLC    10102   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
3823    BROOKE, KAREN                  15849   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
3824    BROOKE, KAREN                  21595   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
3825    BROOKE, KAREN                  27343   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROOKS, BONITA Barney Davis,
3826                                   9220    8/1/2022     Secured: $0.00
        DELAINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROOKS, BONITA
3827                   Laredo, LLC     14970   8/1/2022     Secured: $0.00
        DELAINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROOKS, BONITA Nueces Bay,
3828                                   20717   8/1/2022     Secured: $0.00
        DELAINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 576 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROOKS, BONITA Talen Texas
3829                                     26449   8/1/2022     Secured: $0.00
        DELAINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROOKS, BONITA Talen Texas,
3830                                     32211   8/1/2022     Secured: $0.00
        DELAINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3831    BROOKS, KENYSA                   3749    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3832    BROOKS, KENYSA Laredo, LLC       9499    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3833    BROOKS, KENYSA                   15246   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3834    BROOKS, KENYSA                   20993   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3835    BROOKS, KENYSA                   26740   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 577 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3836    BROOKS, LARRY   Laredo, LLC     32427   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3837    BROOKS, LARRY                   33418   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3838    BROOKS, LARRY                   34409   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3839    BROOKS, LARRY                   35400   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3840    BROOKS, LARRY                   36391   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3841    BROOKS, MARGO Laredo, LLC       32428   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3842    BROOKS, MARGO                   33419   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 578 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3843    BROOKS, MARGO                   34410   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3844    BROOKS, MARGO                   35401   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3845    BROOKS, MARGO                   36392   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3846    BROOKS, MEGAN                   4502    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3847    BROOKS, MEGAN Laredo, LLC       10252   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3848    BROOKS, MEGAN                   15999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3849    BROOKS, MEGAN                   21745   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 579 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3850    BROOKS, MEGAN                    27493   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3851    BROOKS, SHERRY                   4686    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3852    BROOKS, SHERRY Laredo, LLC       10436   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3853    BROOKS, SHERRY                   16183   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3854    BROOKS, SHERRY                   21929   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3855    BROOKS, SHERRY                   27677   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3856    BROOKS, TIM                      9008    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 580 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
3857    BROOKS, TIM   Laredo, LLC    14758   8/1/2022     Secured: $0.00
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
                      Nueces Bay,
3858    BROOKS, TIM                  20505   8/1/2022     Secured: $0.00
                      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
                      Talen Texas
3859    BROOKS, TIM                  26237   8/1/2022     Secured: $0.00
                      Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
                      Talen Texas,
3860    BROOKS, TIM                  31999   8/1/2022     Secured: $0.00
                      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BROTHERHOOD
                                                          Priority: $0.00
        MUTUAL
3861                  Laredo, LLC    919     7/28/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $48,586,339.05 + Unliquidated
        COMPANY
                                                          Total: $48,586,339.05 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        BROTHERHOOD
                                                          Priority: $0.00
        MUTUAL        Nueces Bay,
3862                                 1229    7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $48,586,339.05 + Unliquidated
        COMPANY
                                                          Total: $48,586,339.05 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 581 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        BROTHERHOOD
                                                           Priority: $0.00
        MUTUAL        Barney Davis,
3863                                  1376    7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $48,586,339.05 + Unliquidated
        COMPANY
                                                           Total: $48,586,339.05 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROUSSARD,    Barney Davis,
3864                                  3635    8/1/2022     Secured: $0.00
        SHAELIN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROUSSARD,
3865                  Laredo, LLC     9385    8/1/2022     Secured: $0.00
        SHAELIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROUSSARD,    Nueces Bay,
3866                                  15132   8/1/2022     Secured: $0.00
        SHAELIN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROUSSARD,    Talen Texas
3867                                  20879   8/1/2022     Secured: $0.00
        SHAELIN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROUSSARD,    Talen Texas,
3868                                  26626   8/1/2022     Secured: $0.00
        SHAELIN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 582 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN JR,       Barney Davis,
3869                                    9014    8/1/2022     Secured: $0.00
        TIMOTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN JR,
3870                    Laredo, LLC     14764   8/1/2022     Secured: $0.00
        TIMOTHY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN JR,       Nueces Bay,
3871                                    20511   8/1/2022     Secured: $0.00
        TIMOTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN JR,       Talen Texas
3872                                    26243   8/1/2022     Secured: $0.00
        TIMOTHY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN JR,       Talen Texas,
3873                                    32005   8/1/2022     Secured: $0.00
        TIMOTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3874    BROWN, ALEXIS                   6324    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3875    BROWN, ALEXIS   Laredo, LLC     12074   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 583 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3876    BROWN, ALEXIS                   17821   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3877    BROWN, ALEXIS                   23556   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3878    BROWN, ALEXIS                   29315   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3879    BROWN, APRIL                    3943    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3880    BROWN, APRIL    Laredo, LLC     9693    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3881    BROWN, APRIL                    15440   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3882    BROWN, APRIL                    21186   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 584 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3883    BROWN, APRIL                    26934   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3884    BROWN, ASHLEY                   6458    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3885    BROWN, ASHLEY   Laredo, LLC     12208   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3886    BROWN, ASHLEY                   17955   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3887    BROWN, ASHLEY                   23690   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3888    BROWN, ASHLEY                   29449   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3889    BROWN, AUDRA                    4839    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 585 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3890    BROWN, AUDRA   Laredo, LLC     10589   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3891    BROWN, AUDRA                   16336   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3892    BROWN, AUDRA                   22082   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3893    BROWN, AUDRA                   27830   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Barney Davis,
3894                                   6227    8/1/2022     Secured: $0.00
        CAROLYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Barney Davis,
3895                                   6663    8/1/2022     Secured: $0.00
        CAROLYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,
3896                   Laredo, LLC     11977   8/1/2022     Secured: $0.00
        CAROLYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 586 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,
3897                  Laredo, LLC    12413   8/1/2022     Secured: $0.00
        CAROLYN
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,        Nueces Bay,
3898                                 17724   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,        Nueces Bay,
3899                                 18160   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,        Talen Texas
3900                                 23469   8/1/2022     Secured: $0.00
        CAROLYN       Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,        Talen Texas
3901                                 23894   8/1/2022     Secured: $0.00
        CAROLYN       Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,        Talen Texas,
3902                                 29218   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        BROWN,        Talen Texas,
3903                                 29654   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 587 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Barney Davis,
3904                                    5428    8/1/2022     Secured: $0.00
        CATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,
3905                    Laredo, LLC     11178   8/1/2022     Secured: $0.00
        CATHERINE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Nueces Bay,
3906                                    16925   8/1/2022     Secured: $0.00
        CATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Talen Texas
3907                                    22670   8/1/2022     Secured: $0.00
        CATHERINE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Talen Texas,
3908                                    28419   8/1/2022     Secured: $0.00
        CATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3909    BROWN, CHERYL                   6721    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3910    BROWN, CHERYL   Laredo, LLC     12471   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 588 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3911    BROWN, CHERYL                   18218   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3912    BROWN, CHERYL                   23952   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3913    BROWN, CHERYL                   29712   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Barney Davis,
3914                                    5964    8/1/2022     Secured: $0.00
        CHRISTEN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,
3915                    Laredo, LLC     11714   8/1/2022     Secured: $0.00
        CHRISTEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Nueces Bay,
3916                                    17461   8/1/2022     Secured: $0.00
        CHRISTEN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Talen Texas
3917                                    23206   8/1/2022     Secured: $0.00
        CHRISTEN        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 589 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
3918                                  28955   8/1/2022     Secured: $0.00
        CHRISTEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
3919                                  6762    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
3920                  Laredo, LLC     12512   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Nueces Bay,
3921                                  18259   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas
3922                                  23993   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
3923                                  29753   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
3924                  Laredo, LLC     32429   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 590 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
3925                                  33420   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Nueces Bay,
3926                                  34411   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas
3927                                  35402   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
3928                                  36393   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
3929                  Laredo, LLC     32430   8/1/2022     Secured: $0.00
        CINDERELLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
3930                                  33421   8/1/2022     Secured: $0.00
        CINDERELLA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Nueces Bay,
3931                                  34412   8/1/2022     Secured: $0.00
        CINDERELLA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 591 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Talen Texas
3932                                   35403   8/1/2022     Secured: $0.00
        CINDERELLA     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Talen Texas,
3933                                   36394   8/1/2022     Secured: $0.00
        CINDERELLA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
3934    BROWN, CLARA                   6786    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
3935    BROWN, CLARA   Laredo, LLC     12536   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
3936    BROWN, CLARA                   18283   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
3937    BROWN, CLARA                   24017   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
3938    BROWN, CLARA                   29777   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 592 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Barney Davis,
3939                                     6789    8/1/2022     Secured: $0.00
        CLARENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,
3940                     Laredo, LLC     12539   8/1/2022     Secured: $0.00
        CLARENCE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
3941                                     18286   8/1/2022     Secured: $0.00
        CLARENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas
3942                                     24020   8/1/2022     Secured: $0.00
        CLARENCE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas,
3943                                     29780   8/1/2022     Secured: $0.00
        CLARENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3944    BROWN, CYNTHIA                   4067    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3945    BROWN, CYNTHIA Laredo, LLC       9817    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 593 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3946    BROWN, CYNTHIA                   15564   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3947    BROWN, CYNTHIA                   21310   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3948    BROWN, CYNTHIA                   27058   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3949    BROWN, DENISE                    4119    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3950    BROWN, DENISE    Laredo, LLC     9869    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3951    BROWN, DENISE                    15616   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3952    BROWN, DENISE                    21362   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 594 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3953    BROWN, DENISE                   27110   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3954    BROWN, DONNA                    7068    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3955    BROWN, DONNA Laredo, LLC        12818   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3956    BROWN, DONNA                    18565   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3957    BROWN, DONNA                    24299   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3958    BROWN, DONNA                    30059   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3959    BROWN, DORA                     7085    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 595 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3960    BROWN, DORA     Laredo, LLC     12835   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3961    BROWN, DORA                     18582   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3962    BROWN, DORA                     24316   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3963    BROWN, DORA                     30076   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3964    BROWN, EARTHA                   4950    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3965    BROWN, EARTHA Laredo, LLC       10700   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3966    BROWN, EARTHA                   16447   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 596 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3967    BROWN, EARTHA                   22192   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3968    BROWN, EARTHA                   27941   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3969    BROWN, EDDY                     7125    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3970    BROWN, EDDY     Laredo, LLC     12875   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3971    BROWN, EDDY                     18622   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3972    BROWN, EDDY                     24356   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3973    BROWN, EDDY                     30116   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 597 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
3974                                  6106    8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
3975                  Laredo, LLC     11856   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Nueces Bay,
3976                                  17603   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas
3977                                  23348   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
3978                                  29097   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
3979    BROWN, ELLA                   7156    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
3980    BROWN, ELLA   Laredo, LLC     12906   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 598 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3981    BROWN, ELLA                     18653   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3982    BROWN, ELLA                     24387   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
3983    BROWN, ELLA                     30147   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
3984    BROWN, GEORGE Laredo, LLC       32431   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
3985    BROWN, GEORGE                   33422   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
3986    BROWN, GEORGE                   34413   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
3987    BROWN, GEORGE                   35404   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 599 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3988    BROWN, GEORGE                    36395   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Barney Davis,
3989                                     4214    8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,
3990                     Laredo, LLC     9964    8/1/2022     Secured: $0.00
        GREGORY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
3991                                     15711   8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas
3992                                     21457   8/1/2022     Secured: $0.00
        GREGORY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas,
3993                                     27205   8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
3994    BROWN, JAMES E                   3676    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 600 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
3995    BROWN, JAMES E Laredo, LLC       9426    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
3996    BROWN, JAMES E                   15173   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
3997    BROWN, JAMES E                   20920   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
3998    BROWN, JAMES E                   26667   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Barney Davis,
3999                                     5022    8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,
4000                     Laredo, LLC     10772   8/1/2022     Secured: $0.00
        JENNIFER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
4001                                     16519   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 601 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BROWN,            Talen Texas
4002                                      22264   8/1/2022     Secured: $0.00
        JENNIFER          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BROWN,            Talen Texas,
4003                                      28013   8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4004    BROWN, JERRIENE                   5026    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4005    BROWN, JERRIENE Laredo, LLC       10776   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4006    BROWN, JERRIENE                   16523   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4007    BROWN, JERRIENE                   22268   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4008    BROWN, JERRIENE                   28017   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 602 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4009    BROWN, JIMMY                   4289    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4010    BROWN, JIMMY   Laredo, LLC     10039   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4011    BROWN, JIMMY                   15786   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4012    BROWN, JIMMY                   21532   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4013    BROWN, JIMMY                   27280   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4014    BROWN, JOHN                    7603    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4015    BROWN, JOHN    Laredo, LLC     13353   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 603 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4016    BROWN, JOHN                    19100   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4017    BROWN, JOHN                    24834   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4018    BROWN, JOHN                    30594   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4019    BROWN, JOYCE                   5435    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4020    BROWN, JOYCE   Laredo, LLC     11185   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4021    BROWN, JOYCE                   16932   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4022    BROWN, JOYCE                   22677   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 604 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4023    BROWN, JOYCE                     28426   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Barney Davis,
4024                                     3836    8/1/2022     Secured: $0.00
        KATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,
4025                     Laredo, LLC     9586    8/1/2022     Secured: $0.00
        KATHERINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
4026                                     15333   8/1/2022     Secured: $0.00
        KATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas
4027                                     21080   8/1/2022     Secured: $0.00
        KATHERINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas,
4028                                     26827   8/1/2022     Secured: $0.00
        KATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4029    BROWN, KATRINA                   7782    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 605 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4030    BROWN, KATRINA Laredo, LLC       13532   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4031    BROWN, KATRINA                   19279   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4032    BROWN, KATRINA                   25013   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4033    BROWN, KATRINA                   30773   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Barney Davis,
4034                                     5819    8/1/2022     Secured: $0.00
        KENNETH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,
4035                     Laredo, LLC     11569   8/1/2022     Secured: $0.00
        KENNETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
4036                                     17316   8/1/2022     Secured: $0.00
        KENNETH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 606 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas
4037                                  23061   8/1/2022     Secured: $0.00
        KENNETH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
4038                                  28810   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
4039                                  7836    8/1/2022     Secured: $0.00
        KEYLONDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
4040                  Laredo, LLC     13586   8/1/2022     Secured: $0.00
        KEYLONDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Nueces Bay,
4041                                  19333   8/1/2022     Secured: $0.00
        KEYLONDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas
4042                                  25067   8/1/2022     Secured: $0.00
        KEYLONDA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
4043                                  30827   8/1/2022     Secured: $0.00
        KEYLONDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 607 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
4044                                  3686    8/1/2022     Secured: $0.00
        LAMONZE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
4045                  Laredo, LLC     9436    8/1/2022     Secured: $0.00
        LAMONZE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Nueces Bay,
4046                                  15183   8/1/2022     Secured: $0.00
        LAMONZE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas
4047                                  20930   8/1/2022     Secured: $0.00
        LAMONZE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Talen Texas,
4048                                  26677   8/1/2022     Secured: $0.00
        LAMONZE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,        Barney Davis,
4049                                  9279    8/1/2022     Secured: $0.00
        LAQUISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWN,
4050                  Laredo, LLC     15029   8/1/2022     Secured: $0.00
        LAQUISHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 608 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
4051                                     20776   8/1/2022     Secured: $0.00
        LAQUISHA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas
4052                                     26508   8/1/2022     Secured: $0.00
        LAQUISHA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas,
4053                                     32270   8/1/2022     Secured: $0.00
        LAQUISHA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4054    BROWN, LAURICE                   7934    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4055    BROWN, LAURICE Laredo, LLC       13684   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4056    BROWN, LAURICE                   19431   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4057    BROWN, LAURICE                   25165   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 609 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4058    BROWN, LAURICE                   30925   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Barney Davis,
4059                                     5088    8/1/2022     Secured: $0.00
        LAWRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,
4060                     Laredo, LLC     10838   8/1/2022     Secured: $0.00
        LAWRENCE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Nueces Bay,
4061                                     16585   8/1/2022     Secured: $0.00
        LAWRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas
4062                                     22330   8/1/2022     Secured: $0.00
        LAWRENCE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWN,           Talen Texas,
4063                                     28079   8/1/2022     Secured: $0.00
        LAWRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4064    BROWN, LESTER    Laredo, LLC     32432   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 610 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4065    BROWN, LESTER                   33423   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4066    BROWN, LESTER                   34414   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4067    BROWN, LESTER                   35405   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4068    BROWN, LESTER                   36396   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4069    BROWN, MARK                     5132    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4070    BROWN, MARK     Laredo, LLC     10882   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4071    BROWN, MARK                     16629   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 611 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
4072    BROWN, MARK                   22374   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
4073    BROWN, MARK                   28123   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
4074    BROWN, MARY                   4487    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
4075    BROWN, MARY   Laredo, LLC     10237   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
4076    BROWN, MARY                   15984   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
4077    BROWN, MARY                   21730   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
4078    BROWN, MARY                   27478   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 612 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4079    BROWN, MINDY                   6010    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4080    BROWN, MINDY   Laredo, LLC     11760   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4081    BROWN, MINDY                   17507   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4082    BROWN, MINDY                   23252   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4083    BROWN, MINDY                   29001   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4084    BROWN, MUNOZ                   8298    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4085    BROWN, MUNOZ Laredo, LLC       14048   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 613 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4086    BROWN, MUNOZ                    19795   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4087    BROWN, MUNOZ                    25529   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4088    BROWN, MUNOZ                    31289   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4089    BROWN, NICOLE                   5181    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4090    BROWN, NICOLE   Laredo, LLC     10931   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4091    BROWN, NICOLE                   16678   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4092    BROWN, NICOLE                   22423   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 614 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4093    BROWN, NICOLE                     28172   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4094    BROWN, NIKKI                      3693    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4095    BROWN, NIKKI      Laredo, LLC     9443    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4096    BROWN, NIKKI                      15190   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4097    BROWN, NIKKI                      20937   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4098    BROWN, NIKKI                      26684   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4099    BROWN, PATRICIA                   4793    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 615 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4100    BROWN, PATRICIA                   4794    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4101    BROWN, PATRICIA                   5197    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4102    BROWN, PATRICIA Laredo, LLC       10543   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4103    BROWN, PATRICIA Laredo, LLC       10544   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4104    BROWN, PATRICIA Laredo, LLC       10947   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4105    BROWN, PATRICIA                   16290   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4106    BROWN, PATRICIA                   16291   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 616 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
4107    BROWN, PATRICIA                  16694   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
4108    BROWN, PATRICIA                  22036   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
4109    BROWN, PATRICIA                  22037   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
4110    BROWN, PATRICIA                  22439   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
4111    BROWN, PATRICIA                  27784   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
4112    BROWN, PATRICIA                  27785   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
4113    BROWN, PATRICIA                  28188   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 617 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Barney Davis,
4114                                    8425    8/1/2022     Secured: $0.00
        PAULETTE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,
4115                    Laredo, LLC     14175   8/1/2022     Secured: $0.00
        PAULETTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Nueces Bay,
4116                                    19922   8/1/2022     Secured: $0.00
        PAULETTE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Talen Texas
4117                                    25655   8/1/2022     Secured: $0.00
        PAULETTE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BROWN,          Talen Texas,
4118                                    31416   8/1/2022     Secured: $0.00
        PAULETTE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4119    BROWN, REGINA                   8528    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4120    BROWN, REGINA Laredo, LLC       14278   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 618 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4121    BROWN, REGINA                   20025   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4122    BROWN, REGINA                   25757   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4123    BROWN, REGINA                   31519   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4124    BROWN, SAMSON Laredo, LLC       32433   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4125    BROWN, SAMSON                   33424   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4126    BROWN, SAMSON                   34415   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4127    BROWN, SAMSON                   35406   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 619 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4128    BROWN, SAMSON                   36397   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4129    BROWN, SCOTT                    6185    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4130    BROWN, SCOTT    Laredo, LLC     11935   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4131    BROWN, SCOTT                    17682   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4132    BROWN, SCOTT                    23427   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4133    BROWN, SCOTT                    29176   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4134    BROWN, SHERRY                   6223    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 620 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4135    BROWN, SHERRY Laredo, LLC       11973   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4136    BROWN, SHERRY                   17720   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4137    BROWN, SHERRY                   23465   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4138    BROWN, SHERRY                   29214   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4139    BROWN, STEVEN                   8893    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4140    BROWN, STEVEN Laredo, LLC       14643   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4141    BROWN, STEVEN                   20390   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 621 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4142    BROWN, STEVEN                    26122   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4143    BROWN, STEVEN                    31884   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4144    BROWN, TABITHA                   8924    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4145    BROWN, TABITHA Laredo, LLC       14674   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4146    BROWN, TABITHA                   20421   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4147    BROWN, TABITHA                   26153   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4148    BROWN, TABITHA                   31915   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 622 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Barney Davis,
4149                                   6237    8/1/2022     Secured: $0.00
        TERRENCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,
4150                   Laredo, LLC     11987   8/1/2022     Secured: $0.00
        TERRENCE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Nueces Bay,
4151                                   17734   8/1/2022     Secured: $0.00
        TERRENCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Talen Texas
4152                                   26579   8/1/2022     Secured: $0.00
        TERRENCE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWN,         Talen Texas,
4153                                   29228   8/1/2022     Secured: $0.00
        TERRENCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4154    BROWN, TONYA                   9047    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4155    BROWN, TONYA   Laredo, LLC     14797   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 623 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4156    BROWN, TONYA                   20544   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4157    BROWN, TONYA                   26276   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4158    BROWN, TONYA                   32038   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWNING,      Barney Davis,
4159                                   9201    8/1/2022     Secured: $0.00
        ADRIAN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWNING,
4160                   Laredo, LLC     14951   8/1/2022     Secured: $0.00
        ADRIAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWNING,      Nueces Bay,
4161                                   20698   8/1/2022     Secured: $0.00
        ADRIAN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BROWNING,      Talen Texas
4162                                   26430   8/1/2022     Secured: $0.00
        ADRIAN         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 624 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Talen Texas,
4163                                     32192   8/1/2022     Secured: $0.00
        ADRIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Barney Davis,
4164                                     3976    8/1/2022     Secured: $0.00
        BRACK            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,
4165                     Laredo, LLC     9726    8/1/2022     Secured: $0.00
        BRACK
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Nueces Bay,
4166                                     15473   8/1/2022     Secured: $0.00
        BRACK            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Talen Texas
4167                                     21219   8/1/2022     Secured: $0.00
        BRACK            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Talen Texas,
4168                                     26967   8/1/2022     Secured: $0.00
        BRACK            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4169    BROWNING, CARL                   6625    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 625 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4170    BROWNING, CARL Laredo, LLC       12375   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4171    BROWNING, CARL                   18122   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4172    BROWNING, CARL                   23856   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4173    BROWNING, CARL                   29616   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Barney Davis,
4174                                     4190    8/1/2022     Secured: $0.00
        FRANK            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,
4175                     Laredo, LLC     9940    8/1/2022     Secured: $0.00
        FRANK
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BROWNING,        Nueces Bay,
4176                                     15687   8/1/2022     Secured: $0.00
        FRANK            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 626 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,     Talen Texas
4177                                  21433   8/1/2022     Secured: $0.00
        FRANK         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,     Talen Texas,
4178                                  27181   8/1/2022     Secured: $0.00
        FRANK         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,     Barney Davis,
4179                                  8926    8/1/2022     Secured: $0.00
        TAINA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,
4180                  Laredo, LLC     14676   8/1/2022     Secured: $0.00
        TAINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,     Nueces Bay,
4181                                  20423   8/1/2022     Secured: $0.00
        TAINA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,     Talen Texas
4182                                  26155   8/1/2022     Secured: $0.00
        TAINA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BROWNING,     Talen Texas,
4183                                  31917   8/1/2022     Secured: $0.00
        TAINA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 627 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRRATTON,        Barney Davis,
4184                                     4225    8/1/2022     Secured: $0.00
        HERBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRRATTON,
4185                     Laredo, LLC     9975    8/1/2022     Secured: $0.00
        HERBERT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRRATTON,        Nueces Bay,
4186                                     15722   8/1/2022     Secured: $0.00
        HERBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRRATTON,        Talen Texas
4187                                     21468   8/1/2022     Secured: $0.00
        HERBERT          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRRATTON,        Talen Texas,
4188                                     27216   8/1/2022     Secured: $0.00
        HERBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4189    BRUCE, EVERETT                   7218    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4190    BRUCE, EVERETT   Laredo, LLC     12968   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 628 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4191    BRUCE, EVERETT                   18715   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4192    BRUCE, EVERETT                   24449   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4193    BRUCE, EVERETT                   30209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4194    BRUNO, GREGORY                   7329    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4195    BRUNO, GREGORY Laredo, LLC       13079   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4196    BRUNO, GREGORY                   18826   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4197    BRUNO, GREGORY                   24560   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 629 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4198    BRUNO, GREGORY                   30320   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4199    BRUNO, LEWIS                     7972    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4200    BRUNO, LEWIS     Laredo, LLC     13722   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4201    BRUNO, LEWIS                     19469   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4202    BRUNO, LEWIS                     25203   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4203    BRUNO, LEWIS                     30963   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRUNSTON,
4204                     Laredo, LLC     32434   8/1/2022     Secured: $0.00
        ASHLEY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 630 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRUNSTON,      Barney Davis,
4205                                   33425   8/1/2022     Secured: $0.00
        ASHLEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRUNSTON,      Nueces Bay,
4206                                   34416   8/1/2022     Secured: $0.00
        ASHLEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRUNSTON,      Talen Texas
4207                                   35407   8/1/2022     Secured: $0.00
        ASHLEY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BRUNSTON,      Talen Texas,
4208                                   36398   8/1/2022     Secured: $0.00
        ASHLEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4209    BRYAN, ERICA                   7188    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4210    BRYAN, ERICA   Laredo, LLC     12938   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4211    BRYAN, ERICA                   18685   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 631 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4212    BRYAN, ERICA                      24419   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4213    BRYAN, ERICA                      30179   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4214    BRYANT, ARTRINA                   4831    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4215    BRYANT, ARTRINA Laredo, LLC       10581   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4216    BRYANT, ARTRINA                   16328   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4217    BRYANT, ARTRINA                   22074   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4218    BRYANT, ARTRINA                   27822   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 632 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4219    BRYANT, BRADLEY                   3977    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4220    BRYANT, BRADLEY Laredo, LLC       9727    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4221    BRYANT, BRADLEY                   15474   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4222    BRYANT, BRADLEY                   21220   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4223    BRYANT, BRADLEY                   26968   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRYANT,           Barney Davis,
4224                                      6716    8/1/2022     Secured: $0.00
        CHAUNTTY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BRYANT,
4225                      Laredo, LLC     12466   8/1/2022     Secured: $0.00
        CHAUNTTY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 633 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRYANT,          Nueces Bay,
4226                                     18213   8/1/2022     Secured: $0.00
        CHAUNTTY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRYANT,          Talen Texas
4227                                     23947   8/1/2022     Secured: $0.00
        CHAUNTTY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRYANT,          Talen Texas,
4228                                     29707   8/1/2022     Secured: $0.00
        CHAUNTTY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4229    BRYANT, CHERYL                   6722    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4230    BRYANT, CHERYL   Laredo, LLC     12472   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4231    BRYANT, CHERYL                   18219   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4232    BRYANT, CHERYL                   23953   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 634 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4233    BRYANT, CHERYL                    29713   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4234    BRYANT, JERROLD                   6132    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4235    BRYANT, JERROLD Laredo, LLC       11882   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4236    BRYANT, JERROLD                   17629   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4237    BRYANT, JERROLD                   23374   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4238    BRYANT, JERROLD                   29123   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4239    BRYANT, MICHAEL                   8221    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 635 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4240    BRYANT, MICHAEL Laredo, LLC      13971   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
4241    BRYANT, MICHAEL                  19718   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
4242    BRYANT, MICHAEL                  25452   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
4243    BRYANT, MICHAEL                  31212   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRZYMIALKIEWIC Barney Davis,
4244                                     6306    8/1/2022     Secured: $0.00
        Z, ALBERT      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRZYMIALKIEWIC
4245                   Laredo, LLC       12056   8/1/2022     Secured: $0.00
        Z, ALBERT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BRZYMIALKIEWIC Nueces Bay,
4246                                     17803   8/1/2022     Secured: $0.00
        Z, ALBERT      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 636 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRZYMIALKIEWIC Talen Texas
4247                                    23538   8/1/2022     Secured: $0.00
        Z, ALBERT      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BRZYMIALKIEWIC Talen Texas,
4248                                    29297   8/1/2022     Secured: $0.00
        Z, ALBERT      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4249    BSCON, JIMMY                    6134    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4250    BSCON, JIMMY    Laredo, LLC     11884   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4251    BSCON, JIMMY                    17631   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4252    BSCON, JIMMY                    23376   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4253    BSCON, JIMMY                    29125   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 637 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Barney Davis,
4254                                  8759    8/1/2022     Secured: $0.00
        SCOTT         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,
4255                  Laredo, LLC     14509   8/1/2022     Secured: $0.00
        SCOTT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Nueces Bay,
4256                                  20256   8/1/2022     Secured: $0.00
        SCOTT         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Talen Texas
4257                                  25988   8/1/2022     Secured: $0.00
        SCOTT         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Talen Texas,
4258                                  31750   8/1/2022     Secured: $0.00
        SCOTT         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Barney Davis,
4259                                  8969    8/1/2022     Secured: $0.00
        TERRI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,
4260                  Laredo, LLC     14719   8/1/2022     Secured: $0.00
        TERRI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 638 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Nueces Bay,
4261                                  20466   8/1/2022     Secured: $0.00
        TERRI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Talen Texas
4262                                  26198   8/1/2022     Secured: $0.00
        TERRI         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHANAN,     Talen Texas,
4263                                  31960   8/1/2022     Secured: $0.00
        TERRI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHHOLZ,     Barney Davis,
4264                                  9300    8/1/2022     Secured: $0.00
        MICHELE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHHOLZ,
4265                  Laredo, LLC     15050   8/1/2022     Secured: $0.00
        MICHELE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHHOLZ,     Nueces Bay,
4266                                  20797   8/1/2022     Secured: $0.00
        MICHELE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHHOLZ,     Talen Texas
4267                                  26529   8/1/2022     Secured: $0.00
        MICHELE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 639 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHHOLZ,     Talen Texas,
4268                                  32291   8/1/2022     Secured: $0.00
        MICHELE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHMAN,      Barney Davis,
4269                                  6472    8/1/2022     Secured: $0.00
        AUDREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHMAN,
4270                  Laredo, LLC     12222   8/1/2022     Secured: $0.00
        AUDREY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHMAN,      Nueces Bay,
4271                                  17969   8/1/2022     Secured: $0.00
        AUDREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHMAN,      Talen Texas
4272                                  23704   8/1/2022     Secured: $0.00
        AUDREY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCHMAN,      Talen Texas,
4273                                  29463   8/1/2022     Secured: $0.00
        AUDREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUCKHEIT,     Barney Davis,
4274                                  9135    8/1/2022     Secured: $0.00
        WAYNE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 640 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BUCKHEIT,
4275                      Laredo, LLC     14885   8/1/2022     Secured: $0.00
        WAYNE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BUCKHEIT,         Nueces Bay,
4276                                      20632   8/1/2022     Secured: $0.00
        WAYNE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BUCKHEIT,         Talen Texas
4277                                      26364   8/1/2022     Secured: $0.00
        WAYNE             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BUCKHEIT,         Talen Texas,
4278                                      32126   8/1/2022     Secured: $0.00
        WAYNE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4279    BUCKHOLT, JERRY                   7544    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4280    BUCKHOLT, JERRY Laredo, LLC       13294   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4281    BUCKHOLT, JERRY                   19041   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 641 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
4282    BUCKHOLT, JERRY                  24775   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
4283    BUCKHOLT, JERRY                  30535   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BUENO, GENESIS
4284                   Laredo, LLC       32435   8/1/2022     Secured: $0.00
        M
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BUENO, GENESIS Barney Davis,
4285                                     33426   8/1/2022     Secured: $0.00
        M              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BUENO, GENESIS Nueces Bay,
4286                                     34417   8/1/2022     Secured: $0.00
        M              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BUENO, GENESIS Talen Texas
4287                                     35408   8/1/2022     Secured: $0.00
        M              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BUENO, GENESIS Talen Texas,
4288                                     36399   8/1/2022     Secured: $0.00
        M              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 642 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4289    BUENO, IRENE                   7392    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4290    BUENO, IRENE   Laredo, LLC     13142   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4291    BUENO, IRENE                   18889   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4292    BUENO, IRENE                   24623   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4293    BUENO, IRENE                   30383   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUENTELLO,
4294                   Laredo, LLC     32436   8/1/2022     Secured: $0.00
        DANIEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUENTELLO,     Barney Davis,
4295                                   33427   8/1/2022     Secured: $0.00
        DANIEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 643 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUENTELLO,    Nueces Bay,
4296                                  34418   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUENTELLO,    Talen Texas
4297                                  35409   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUENTELLO,    Talen Texas,
4298                                  36400   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUFFUM,       Barney Davis,
4299                                  3650    8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUFFUM,
4300                  Laredo, LLC     9400    8/1/2022     Secured: $0.00
        ANDREW
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUFFUM,       Nueces Bay,
4301                                  15147   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BUFFUM,       Talen Texas
4302                                  20894   8/1/2022     Secured: $0.00
        ANDREW        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 644 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BUFFUM,          Talen Texas,
4303                                     26641   8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4304    BUGGEY, BRANDI                   6551    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4305    BUGGEY, BRANDI Laredo, LLC       12301   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4306    BUGGEY, BRANDI                   18048   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4307    BUGGEY, BRANDI                   23783   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4308    BUGGEY, BRANDI                   29542   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4309    BUICE, MARY                      8149    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 645 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
4310    BUICE, MARY   Laredo, LLC     13899   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
4311    BUICE, MARY                   19646   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
4312    BUICE, MARY                   25380   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
4313    BUICE, MARY                   31140   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
4314    BUIEL, TOM                    9029    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
4315    BUIEL, TOM    Laredo, LLC     14779   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
4316    BUIEL, TOM                    20526   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 646 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4317    BUIEL, TOM                     26258   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4318    BUIEL, TOM                     32020   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4319    BULGER, JOHN                   7604    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4320    BULGER, JOHN   Laredo, LLC     13354   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4321    BULGER, JOHN                   19101   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4322    BULGER, JOHN                   24835   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4323    BULGER, JOHN                   30595   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 647 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4324    BULL, ALLISON   Laredo, LLC     32437   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4325    BULL, ALLISON                   33428   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4326    BULL, ALLISON                   34419   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4327    BULL, ALLISON                   35410   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4328    BULL, ALLISON                   36401   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4329    BULLAR, BRUCE                   6602    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4330    BULLAR, BRUCE   Laredo, LLC     12352   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 648 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4331    BULLAR, BRUCE                   18099   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4332    BULLAR, BRUCE                   23833   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4333    BULLAR, BRUCE                   29593   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BULLOCK,        Barney Davis,
4334                                    5337    8/1/2022     Secured: $0.00
        THELMA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BULLOCK,
4335                    Laredo, LLC     11087   8/1/2022     Secured: $0.00
        THELMA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BULLOCK,        Nueces Bay,
4336                                    16834   8/1/2022     Secured: $0.00
        THELMA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BULLOCK,        Talen Texas
4337                                    22579   8/1/2022     Secured: $0.00
        THELMA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 649 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BULLOCK,         Talen Texas,
4338                                     28328   8/1/2022     Secured: $0.00
        THELMA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4339    BUNCH, FRANCES                   6246    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4340    BUNCH, FRANCES Laredo, LLC       11996   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4341    BUNCH, FRANCES                   17743   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4342    BUNCH, FRANCES                   23478   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4343    BUNCH, FRANCES                   29237   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4344    BUNNEY, KEN                      7802    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 650 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4345    BUNNEY, KEN    Laredo, LLC     13552   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4346    BUNNEY, KEN                    19299   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4347    BUNNEY, KEN                    25033   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4348    BUNNEY, KEN                    30793   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUNN‐HARRIS,
4349                   Laredo, LLC     32438   8/1/2022     Secured: $0.00
        JUNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUNN‐HARRIS,   Barney Davis,
4350                                   33429   8/1/2022     Secured: $0.00
        JUNE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUNN‐HARRIS,   Nueces Bay,
4351                                   34420   8/1/2022     Secured: $0.00
        JUNE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 651 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUNN‐HARRIS,   Talen Texas
4352                                   35411   8/1/2022     Secured: $0.00
        JUNE           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUNN‐HARRIS,   Talen Texas,
4353                                   36402   8/1/2022     Secured: $0.00
        JUNE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4354    BURAS, KENA                    3887    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4355    BURAS, KENA    Laredo, LLC     9637    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4356    BURAS, KENA                    15384   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4357    BURAS, KENA                    21131   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4358    BURAS, KENA                    26878   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 652 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4359    BURCHAM, MARY                     8150    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4360    BURCHAM, MARY Laredo, LLC         13900   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4361    BURCHAM, MARY                     19647   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4362    BURCHAM, MARY                     25381   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4363    BURCHAM, MARY                     31141   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4364    BURCHETT, KANDI                   7739    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4365    BURCHETT, KANDI Laredo, LLC       13489   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 653 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4366    BURCHETT, KANDI                   19236   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4367    BURCHETT, KANDI                   24970   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4368    BURCHETT, KANDI                   30730   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURCHETT,         Barney Davis,
4369                                      8673    8/1/2022     Secured: $0.00
        RONNIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURCHETT,
4370                      Laredo, LLC     14423   8/1/2022     Secured: $0.00
        RONNIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURCHETT,         Nueces Bay,
4371                                      20170   8/1/2022     Secured: $0.00
        RONNIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURCHETT,         Talen Texas
4372                                      25902   8/1/2022     Secured: $0.00
        RONNIE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 654 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURCHETT,       Talen Texas,
4373                                    31664   8/1/2022     Secured: $0.00
        RONNIE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4374    BURDEN, NANCY                   8306    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4375    BURDEN, NANCY   Laredo, LLC     14056   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4376    BURDEN, NANCY                   19803   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4377    BURDEN, NANCY                   25537   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4378    BURDEN, NANCY                   31297   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURDWELL,       Barney Davis,
4379                                    7764    8/1/2022     Secured: $0.00
        KATHLEEN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 655 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURDWELL,
4380                   Laredo, LLC     13514   8/1/2022     Secured: $0.00
        KATHLEEN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURDWELL,      Nueces Bay,
4381                                   19261   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURDWELL,      Talen Texas
4382                                   24995   8/1/2022     Secured: $0.00
        KATHLEEN       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURDWELL,      Talen Texas,
4383                                   30755   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4384    BURES, LYDIA                   5829    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4385    BURES, LYDIA   Laredo, LLC     11579   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4386    BURES, LYDIA                   17326   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 656 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4387    BURES, LYDIA                     23071   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4388    BURES, LYDIA                     28820   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4389    BURGESS, APRIL                   6440    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4390    BURGESS, APRIL   Laredo, LLC     12190   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4391    BURGESS, APRIL                   17937   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4392    BURGESS, APRIL                   23672   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4393    BURGESS, APRIL                   29431   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 657 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURGHLI          Barney Davis,
4394                                     5715    8/1/2022     Secured: $0.00
        BROTHERS, LLC    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURGHLI
4395                     Laredo, LLC     11465   8/1/2022     Secured: $0.00
        BROTHERS, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURGHLI          Nueces Bay,
4396                                     17212   8/1/2022     Secured: $0.00
        BROTHERS, LLC    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURGHLI          Talen Texas
4397                                     22957   8/1/2022     Secured: $0.00
        BROTHERS, LLC    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURGHLI          Talen Texas,
4398                                     28706   8/1/2022     Secured: $0.00
        BROTHERS, LLC    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4399    BURGOS, CATHIE                   3820    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4400    BURGOS, CATHIE Laredo, LLC       9570    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 658 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4401    BURGOS, CATHIE                    15317   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4402    BURGOS, CATHIE                    21064   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4403    BURGOS, CATHIE                    26811   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4404    BURGOS, ISHEIRY                   4232    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4405    BURGOS, ISHEIRY Laredo, LLC       9982    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4406    BURGOS, ISHEIRY                   15729   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4407    BURGOS, ISHEIRY                   21475   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 659 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4408    BURGOS, ISHEIRY                   27223   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4409    BURK, SANDRA      Laredo, LLC     32439   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4410    BURK, SANDRA                      33430   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4411    BURK, SANDRA                      34421   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4412    BURK, SANDRA                      35412   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4413    BURK, SANDRA                      36403   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4414    BURKE, CAROLINE                   6661    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 660 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4415    BURKE, CAROLINE Laredo, LLC       12411   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4416    BURKE, CAROLINE                   18158   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4417    BURKE, CAROLINE                   23892   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4418    BURKE, CAROLINE                   29652   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE,            Barney Davis,
4419                                      6763    8/1/2022     Secured: $0.00
        CHRISTOPHER       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE,
4420                      Laredo, LLC     12513   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE,            Nueces Bay,
4421                                      18260   8/1/2022     Secured: $0.00
        CHRISTOPHER       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 661 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE,            Talen Texas
4422                                      23994   8/1/2022     Secured: $0.00
        CHRISTOPHER       Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE,            Talen Texas,
4423                                      29754   8/1/2022     Secured: $0.00
        CHRISTOPHER       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4424    BURKE, KIMBERLY                   7845    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4425    BURKE, KIMBERLY Laredo, LLC       13595   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4426    BURKE, KIMBERLY                   19342   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4427    BURKE, KIMBERLY                   25076   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4428    BURKE, KIMBERLY                   30836   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 662 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE, PATRICK    Barney Davis,
4429                                      8403    8/1/2022     Secured: $0.00
        THOMAS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE, PATRICK
4430                      Laredo, LLC     14153   8/1/2022     Secured: $0.00
        THOMAS
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE, PATRICK    Nueces Bay,
4431                                      19900   8/1/2022     Secured: $0.00
        THOMAS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE, PATRICK    Talen Texas
4432                                      25633   8/1/2022     Secured: $0.00
        THOMAS            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURKE, PATRICK    Talen Texas,
4433                                      31394   8/1/2022     Secured: $0.00
        THOMAS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4434    BURKE, ROCHELLE                   8639    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4435    BURKE, ROCHELLE Laredo, LLC       14389   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 663 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4436    BURKE, ROCHELLE                   20136   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4437    BURKE, ROCHELLE                   25868   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4438    BURKE, ROCHELLE                   31630   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4439    BURKETT, COREY                    6822    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4440    BURKETT, COREY Laredo, LLC        12572   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4441    BURKETT, COREY                    18319   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4442    BURKETT, COREY                    24053   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 664 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4443    BURKETT, COREY                    29813   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4444    BURKLUND, JERRY                   7545    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4445    BURKLUND, JERRY Laredo, LLC       13295   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4446    BURKLUND, JERRY                   19042   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4447    BURKLUND, JERRY                   24776   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4448    BURKLUND, JERRY                   30536   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4449    BURKS, RACHEL                     8474    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 665 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4450    BURKS, RACHEL   Laredo, LLC     14224   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4451    BURKS, RACHEL                   19971   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4452    BURKS, RACHEL                   25703   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4453    BURKS, RACHEL                   31465   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4454    BURL, JOANN                     4293    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4455    BURL, JOANN     Laredo, LLC     10043   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4456    BURL, JOANN                     15790   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 666 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4457    BURL, JOANN                    21536   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4458    BURL, JOANN                    27284   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4459    BURLEY, GARY                   7262    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4460    BURLEY, GARY   Laredo, LLC     13012   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4461    BURLEY, GARY                   18759   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4462    BURLEY, GARY                   24493   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4463    BURLEY, GARY                   30253   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 667 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4464    BURLEY, KELLI                   7798    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4465    BURLEY, KELLI   Laredo, LLC     13548   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4466    BURLEY, KELLI                   19295   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4467    BURLEY, KELLI                   25029   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4468    BURLEY, KELLI                   30789   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4469    BURNETT, JOHN                   5767    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4470    BURNETT, JOHN   Laredo, LLC     11517   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 668 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4471    BURNETT, JOHN                   17264   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4472    BURNETT, JOHN                   23009   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4473    BURNETT, JOHN                   28758   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNETT,
4474                    Laredo, LLC     32440   8/1/2022     Secured: $0.00
        MARLETTA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNETT,        Barney Davis,
4475                                    33431   8/1/2022     Secured: $0.00
        MARLETTA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNETT,        Nueces Bay,
4476                                    34422   8/1/2022     Secured: $0.00
        MARLETTA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNETT,        Talen Texas
4477                                    35413   8/1/2022     Secured: $0.00
        MARLETTA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 669 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNETT,        Talen Texas,
4478                                    36404   8/1/2022     Secured: $0.00
        MARLETTA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4479    BURNEY, IRENE                   7393    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4480    BURNEY, IRENE   Laredo, LLC     13143   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4481    BURNEY, IRENE                   18890   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4482    BURNEY, IRENE                   24624   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4483    BURNEY, IRENE                   30384   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNLEY,        Barney Davis,
4484                                    4215    8/1/2022     Secured: $0.00
        GREGORY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 670 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURNLEY,
4485                     Laredo, LLC     9965    8/1/2022     Secured: $0.00
        GREGORY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURNLEY,         Nueces Bay,
4486                                     15712   8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURNLEY,         Talen Texas
4487                                     21458   8/1/2022     Secured: $0.00
        GREGORY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BURNLEY,         Talen Texas,
4488                                     27206   8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4489    BURNS, ARTURRO                   4832    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4490    BURNS, ARTURRO Laredo, LLC       10582   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4491    BURNS, ARTURRO                   16329   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 671 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4492    BURNS, ARTURRO                    22075   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4493    BURNS, ARTURRO                    27823   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4494    BURNS, CORNISEA                   3730    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4495    BURNS, CORNISEA Laredo, LLC       9480    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4496    BURNS, CORNISEA                   15227   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4497    BURNS, CORNISEA                   20974   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4498    BURNS, CORNISEA                   26721   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 672 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNS,         Barney Davis,
4499                                   5313    8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNS,
4500                   Laredo, LLC     11063   8/1/2022     Secured: $0.00
        STEPHANIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNS,         Nueces Bay,
4501                                   16810   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNS,         Talen Texas
4502                                   22555   8/1/2022     Secured: $0.00
        STEPHANIE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNS,         Talen Texas,
4503                                   28304   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4504    BURNS, TONYA                   9048    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4505    BURNS, TONYA   Laredo, LLC     14798   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 673 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4506    BURNS, TONYA                   20545   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4507    BURNS, TONYA                   26277   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4508    BURNS, TONYA                   32039   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNSIDE,      Barney Davis,
4509                                   8301    8/1/2022     Secured: $0.00
        MYRNA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNSIDE,
4510                   Laredo, LLC     14051   8/1/2022     Secured: $0.00
        MYRNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNSIDE,      Nueces Bay,
4511                                   19798   8/1/2022     Secured: $0.00
        MYRNA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BURNSIDE,      Talen Texas
4512                                   25532   8/1/2022     Secured: $0.00
        MYRNA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 674 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNSIDE,       Talen Texas,
4513                                    31292   8/1/2022     Secured: $0.00
        MYRNA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNS‐SHEPARD, Barney Davis,
4514                                    4713    8/1/2022     Secured: $0.00
        TAMIKA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNS‐SHEPARD,
4515                   Laredo, LLC      10463   8/1/2022     Secured: $0.00
        TAMIKA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNS‐SHEPARD, Nueces Bay,
4516                                    16210   8/1/2022     Secured: $0.00
        TAMIKA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNS‐SHEPARD, Talen Texas
4517                                    21956   8/1/2022     Secured: $0.00
        TAMIKA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURNS‐SHEPARD, Talen Texas,
4518                                    27704   8/1/2022     Secured: $0.00
        TAMIKA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BURR,           Barney Davis,
4519                                    6674    8/1/2022     Secured: $0.00
        CASSANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 675 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURR,
4520                  Laredo, LLC     12424   8/1/2022     Secured: $0.00
        CASSANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURR,         Nueces Bay,
4521                                  18171   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURR,         Talen Texas
4522                                  23905   8/1/2022     Secured: $0.00
        CASSANDRA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURR,         Talen Texas,
4523                                  29665   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURRIER,
4524                  Laredo, LLC     32441   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURRIER,      Barney Davis,
4525                                  33432   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURRIER,      Nueces Bay,
4526                                  34423   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 676 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURRIER,      Talen Texas
4527                                  35414   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURRIER,      Talen Texas,
4528                                  36405   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURTON,       Barney Davis,
4529                                  4828    8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURTON,
4530                  Laredo, LLC     10578   8/1/2022     Secured: $0.00
        ANTHONY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURTON,       Nueces Bay,
4531                                  16325   8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURTON,       Talen Texas
4532                                  22071   8/1/2022     Secured: $0.00
        ANTHONY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        BURTON,       Talen Texas,
4533                                  27819   8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 677 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURTON, RUTH      Barney Davis,
4534                                      4651    8/1/2022     Secured: $0.00
        DAVIS             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURTON, RUTH
4535                      Laredo, LLC     10401   8/1/2022     Secured: $0.00
        DAVIS
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURTON, RUTH      Nueces Bay,
4536                                      16148   8/1/2022     Secured: $0.00
        DAVIS             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURTON, RUTH      Talen Texas
4537                                      21894   8/1/2022     Secured: $0.00
        DAVIS             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        BURTON, RUTH      Talen Texas,
4538                                      27642   8/1/2022     Secured: $0.00
        DAVIS             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4539    BUSBY, MECHELLE                   9296    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4540    BUSBY, MECHELLE Laredo, LLC       15046   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 678 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4541    BUSBY, MECHELLE                   20793   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4542    BUSBY, MECHELLE                   26525   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4543    BUSBY, MECHELLE                   32287   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4544    BUSCH, BRADEN                     6548    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4545    BUSCH, BRADEN     Laredo, LLC     12298   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4546    BUSCH, BRADEN                     18045   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4547    BUSCH, BRADEN                     23780   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 679 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4548    BUSCH, BRADEN                   29539   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4549    BUSH, BEVERLY                   3874    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4550    BUSH, BEVERLY   Laredo, LLC     9624    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4551    BUSH, BEVERLY                   15371   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4552    BUSH, BEVERLY                   21118   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4553    BUSH, BEVERLY                   26865   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4554    BUSH, DEBORAH                   6963    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 680 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4555    BUSH, DEBORAH   Laredo, LLC     12713   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4556    BUSH, DEBORAH                   18460   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4557    BUSH, DEBORAH                   24194   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4558    BUSH, DEBORAH                   29954   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4559    BUSH, GABRIEL                   3768    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4560    BUSH, GABRIEL   Laredo, LLC     9518    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4561    BUSH, GABRIEL                   15265   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 681 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4562    BUSH, GABRIEL                    21012   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4563    BUSH, GABRIEL                    26759   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4564    BUSSER, DONALD                   7057    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4565    BUSSER, DONALD Laredo, LLC       12807   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4566    BUSSER, DONALD                   18554   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4567    BUSSER, DONALD                   24288   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4568    BUSSER, DONALD                   30048   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 682 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTAMANTE,    Barney Davis,
4569                                   6261    8/1/2022     Secured: $0.00
        NASTAZIJA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTAMANTE,
4570                   Laredo, LLC     12011   8/1/2022     Secured: $0.00
        NASTAZIJA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTAMANTE,    Nueces Bay,
4571                                   17758   8/1/2022     Secured: $0.00
        NASTAZIJA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTAMANTE,    Talen Texas
4572                                   23493   8/1/2022     Secured: $0.00
        NASTAZIJA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTAMANTE,    Talen Texas,
4573                                   29252   8/1/2022     Secured: $0.00
        NASTAZIJA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTILLOS,     Barney Davis,
4574                                   4767    8/1/2022     Secured: $0.00
        VICTOR         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        BUSTILLOS,
4575                   Laredo, LLC     10517   8/1/2022     Secured: $0.00
        VICTOR
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 683 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BUSTILLOS,      Nueces Bay,
4576                                    16264   8/1/2022     Secured: $0.00
        VICTOR          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BUSTILLOS,      Talen Texas
4577                                    22010   8/1/2022     Secured: $0.00
        VICTOR          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        BUSTILLOS,      Talen Texas,
4578                                    27758   8/1/2022     Secured: $0.00
        VICTOR          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4579    BUSTOS, JIMMY                   7575    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4580    BUSTOS, JIMMY   Laredo, LLC     13325   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4581    BUSTOS, JIMMY                   19072   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4582    BUSTOS, JIMMY                   24806   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 684 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4583    BUSTOS, JIMMY                    30566   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4584    BUTLER, DONNIE Laredo, LLC       32442   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4585    BUTLER, DONNIE                   33433   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4586    BUTLER, DONNIE                   34424   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4587    BUTLER, DONNIE                   35415   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4588    BUTLER, DONNIE                   36406   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4589    BUTLER, DORA     Laredo, LLC     32443   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 685 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4590    BUTLER, DORA                    33434   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4591    BUTLER, DORA                    34425   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4592    BUTLER, DORA                    35416   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4593    BUTLER, DORA                    36407   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4594    BUTLER, KAYLA                   7788    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4595    BUTLER, KAYLA   Laredo, LLC     13538   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4596    BUTLER, KAYLA                   19285   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 686 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4597    BUTLER, KAYLA                   25019   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4598    BUTLER, KAYLA                   30779   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4599    BUTLER, LYNDA                   8033    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4600    BUTLER, LYNDA   Laredo, LLC     13783   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4601    BUTLER, LYNDA                   19530   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4602    BUTLER, LYNDA                   25264   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4603    BUTLER, LYNDA                   31024   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 687 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4604    BUTLER, PAMELA                   5191    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4605    BUTLER, PAMELA Laredo, LLC       10941   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4606    BUTLER, PAMELA                   16688   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4607    BUTLER, PAMELA                   22433   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4608    BUTLER, PAMELA                   28182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4609    BUTTAR, PAUL                     8407    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4610    BUTTAR, PAUL     Laredo, LLC     14157   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 688 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4611    BUTTAR, PAUL                    19904   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4612    BUTTAR, PAUL                    25637   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4613    BUTTAR, PAUL                    31398   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4614    BUTTON, HELEN                   7367    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4615    BUTTON, HELEN   Laredo, LLC     13117   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4616    BUTTON, HELEN                   18864   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4617    BUTTON, HELEN                   24598   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 689 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4618    BUTTON, HELEN                   30358   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4619    BYARS, DONALD                   7058    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4620    BYARS, DONALD   Laredo, LLC     12808   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4621    BYARS, DONALD                   18555   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4622    BYARS, DONALD                   24289   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4623    BYARS, DONALD                   30049   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4624    BYERLEY, MARY   Laredo, LLC     32444   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 690 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4625    BYERLEY, MARY                    33435   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4626    BYERLEY, MARY                    34426   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4627    BYERLEY, MARY                    35417   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4628    BYERLEY, MARY                    36408   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4629    BYERS, KATHRYN                   7768    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4630    BYERS, KATHRYN Laredo, LLC       13518   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4631    BYERS, KATHRYN                   19265   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 691 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4632    BYERS, KATHRYN                   24999   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4633    BYERS, KATHRYN                   30759   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BYNUM,           Barney Davis,
4634                                     6021    8/1/2022     Secured: $0.00
        SHAUNTAY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BYNUM,
4635                     Laredo, LLC     11771   8/1/2022     Secured: $0.00
        SHAUNTAY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BYNUM,           Nueces Bay,
4636                                     17518   8/1/2022     Secured: $0.00
        SHAUNTAY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BYNUM,           Talen Texas
4637                                     23263   8/1/2022     Secured: $0.00
        SHAUNTAY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        BYNUM,           Talen Texas,
4638                                     29012   8/1/2022     Secured: $0.00
        SHAUNTAY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 692 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4639    BYRD, BEVERLY                   3969    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4640    BYRD, BEVERLY   Laredo, LLC     9719    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4641    BYRD, BEVERLY                   15466   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4642    BYRD, BEVERLY                   21212   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4643    BYRD, BEVERLY                   26960   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4644    BYRD, LYNN                      5115    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4645    BYRD, LYNN      Laredo, LLC     10865   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 693 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4646    BYRD, LYNN                      16612   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4647    BYRD, LYNN                      22357   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4648    BYRD, LYNN                      28106   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4649    BYRD, PATRICK                   3891    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4650    BYRD, PATRICK   Laredo, LLC     9641    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4651    BYRD, PATRICK                   15388   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4652    BYRD, PATRICK                   21135   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 694 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4653    BYRD, PATRICK                   26882   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4654    BYRD, TERRY                     5335    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4655    BYRD, TERRY     Laredo, LLC     11085   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4656    BYRD, TERRY                     16832   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4657    BYRD, TERRY                     22577   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4658    BYRD, TERRY                     28326   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4659    BYRD, TRACY                     4754    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 695 of 5163
             Name of
Ref #        Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4660    BYRD, TRACY     Laredo, LLC     10504   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4661    BYRD, TRACY                     16251   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4662    BYRD, TRACY                     21997   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4663    BYRD, TRACY                     27745   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4664    CC                              5699    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4665    CC              Laredo, LLC     11449   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4666    CC                              17196   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 696 of 5163
             Name of
Ref #        Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4667    CC                              22941   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4668    CC                              28690   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4669    C&F SPECIALTY                   1606    7/29/2022    Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CABALLERO,      Barney Davis,
4670                                    6290    8/1/2022     Secured: $0.00
        ADRIAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CABALLERO,
4671                    Laredo, LLC     12040   8/1/2022     Secured: $0.00
        ADRIAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CABALLERO,      Nueces Bay,
4672                                    17787   8/1/2022     Secured: $0.00
        ADRIAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CABALLERO,      Talen Texas
4673                                    23522   8/1/2022     Secured: $0.00
        ADRIAN          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 697 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CABALLERO,       Talen Texas,
4674                                     29281   8/1/2022     Secured: $0.00
        ADRIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4675    CABE, KAYLINE                    7791    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4676    CABE, KAYLINE    Laredo, LLC     13541   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4677    CABE, KAYLINE                    19288   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4678    CABE, KAYLINE                    25022   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4679    CABE, KAYLINE                    30782   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4680    CABREJA, GELSO                   7282    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 698 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4681    CABREJA, GELSO   Laredo, LLC     13032   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4682    CABREJA, GELSO                   18779   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4683    CABREJA, GELSO                   24513   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4684    CABREJA, GELSO                   30273   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4685    CABRERA, JULIO                   7720    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4686    CABRERA, JULIO   Laredo, LLC     13470   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4687    CABRERA, JULIO                   19217   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 699 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4688    CABRERA, JULIO                    24951   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4689    CABRERA, JULIO                    30711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4690    CABRERA, LIONEL Laredo, LLC       32445   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4691    CABRERA, LIONEL                   33436   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4692    CABRERA, LIONEL                   34427   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4693    CABRERA, LIONEL                   35418   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4694    CABRERA, LIONEL                   36409   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 700 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,      Barney Davis,
4695                                  8270    8/1/2022     Secured: $0.00
        MINERVA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,
4696                  Laredo, LLC     14020   8/1/2022     Secured: $0.00
        MINERVA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,      Nueces Bay,
4697                                  19767   8/1/2022     Secured: $0.00
        MINERVA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,      Talen Texas
4698                                  25501   8/1/2022     Secured: $0.00
        MINERVA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,      Talen Texas,
4699                                  31261   8/1/2022     Secured: $0.00
        MINERVA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,
4700                  Laredo, LLC     32446   8/1/2022     Secured: $0.00
        MINERVA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CABRERA,      Barney Davis,
4701                                  33437   8/1/2022     Secured: $0.00
        MINERVA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 701 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CABRERA,          Nueces Bay,
4702                                      34428   8/1/2022     Secured: $0.00
        MINERVA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CABRERA,          Talen Texas
4703                                      35419   8/1/2022     Secured: $0.00
        MINERVA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CABRERA,          Talen Texas,
4704                                      36410   8/1/2022     Secured: $0.00
        MINERVA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4705    CABRIALEZ, IRIS                   7396    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4706    CABRIALEZ, IRIS   Laredo, LLC     13146   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4707    CABRIALEZ, IRIS                   18893   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4708    CABRIALEZ, IRIS                   24627   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 702 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4709    CABRIALEZ, IRIS                   30387   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4710    CADENA, FABIAN                    4180    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4711    CADENA, FABIAN Laredo, LLC        9930    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4712    CADENA, FABIAN                    15677   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4713    CADENA, FABIAN                    21423   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4714    CADENA, FABIAN                    27171   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4715    CAGLE, CAMEO      Laredo, LLC     32447   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 703 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4716    CAGLE, CAMEO                    33438   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4717    CAGLE, CAMEO                    34429   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4718    CAGLE, CAMEO                    35420   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4719    CAGLE, CAMEO                    36411   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4720    CAHANIN, CODY                   6805    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4721    CAHANIN, CODY   Laredo, LLC     12555   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4722    CAHANIN, CODY                   18302   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 704 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4723    CAHANIN, CODY                   24036   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4724    CAHANIN, CODY                   29796   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4725    CAICEDO, PAUL                   4567    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4726    CAICEDO, PAUL   Laredo, LLC     10317   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4727    CAICEDO, PAUL                   16064   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4728    CAICEDO, PAUL                   21810   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4729    CAICEDO, PAUL                   27558   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 705 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4730    CAIN, ANGELA                   3926    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4731    CAIN, ANGELA   Laredo, LLC     9676    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4732    CAIN, ANGELA                   15423   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4733    CAIN, ANGELA                   21170   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4734    CAIN, ANGELA                   26917   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4735    CALAWAY, JO                    5031    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4736    CALAWAY, JO    Laredo, LLC     10781   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 706 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
4737    CALAWAY, JO                   16528   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
4738    CALAWAY, JO                   22273   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
4739    CALAWAY, JO                   28022   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALAWAY,
4740                  Laredo, LLC     32448   8/1/2022     Secured: $0.00
        MARINELLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALAWAY,      Barney Davis,
4741                                  33439   8/1/2022     Secured: $0.00
        MARINELLA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALAWAY,      Nueces Bay,
4742                                  34430   8/1/2022     Secured: $0.00
        MARINELLA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALAWAY,      Talen Texas
4743                                  35421   8/1/2022     Secured: $0.00
        MARINELLA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 707 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALAWAY,      Talen Texas,
4744                                  36412   8/1/2022     Secured: $0.00
        MARINELLA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CALDERON                                           Priority: $0.00
4745    WOODRUFF,     Laredo, LLC     32449   8/1/2022     Secured: $0.00
        IRMA                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CALDERON                                           Priority: $0.00
                      Barney Davis,
4746    WOODRUFF,                     33440   8/1/2022     Secured: $0.00
                      LLC
        IRMA                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CALDERON                                           Priority: $0.00
                      Nueces Bay,
4747    WOODRUFF,                     34431   8/1/2022     Secured: $0.00
                      LLC
        IRMA                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CALDERON                                           Priority: $0.00
                      Talen Texas
4748    WOODRUFF,                     35422   8/1/2022     Secured: $0.00
                      Group, LLC
        IRMA                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CALDERON                                           Priority: $0.00
                      Talen Texas,
4749    WOODRUFF,                     36413   8/1/2022     Secured: $0.00
                      LLC
        IRMA                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,     Barney Davis,
4750                                  6813    8/1/2022     Secured: $0.00
        CONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 708 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,
4751                  Laredo, LLC     12563   8/1/2022     Secured: $0.00
        CONNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,     Nueces Bay,
4752                                  18310   8/1/2022     Secured: $0.00
        CONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,     Talen Texas
4753                                  24044   8/1/2022     Secured: $0.00
        CONNIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,     Talen Texas,
4754                                  29804   8/1/2022     Secured: $0.00
        CONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,     Barney Davis,
4755                                  7846    8/1/2022     Secured: $0.00
        KIMBERLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,
4756                  Laredo, LLC     13596   8/1/2022     Secured: $0.00
        KIMBERLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALDWELL,     Nueces Bay,
4757                                  19343   8/1/2022     Secured: $0.00
        KIMBERLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 709 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CALDWELL,        Talen Texas
4758                                     25077   8/1/2022     Secured: $0.00
        KIMBERLY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CALDWELL,        Talen Texas,
4759                                     30837   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4760    CALDWELL, MARY                   4488    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4761    CALDWELL, MARY Laredo, LLC       10238   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4762    CALDWELL, MARY                   15985   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4763    CALDWELL, MARY                   21731   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4764    CALDWELL, MARY                   27479   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 710 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CALDWELL, MARY Barney Davis,
4765                                    8153    8/1/2022     Secured: $0.00
        COLE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CALDWELL, MARY
4766                   Laredo, LLC      13903   8/1/2022     Secured: $0.00
        COLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CALDWELL, MARY Nueces Bay,
4767                                    19650   8/1/2022     Secured: $0.00
        COLE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CALDWELL, MARY Talen Texas
4768                                    25384   8/1/2022     Secured: $0.00
        COLE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CALDWELL, MARY Talen Texas,
4769                                    31144   8/1/2022     Secured: $0.00
        COLE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4770    CALL, EDMOND                    7129    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4771    CALL, EDMOND    Laredo, LLC     12879   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 711 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4772    CALL, EDMOND                   18626   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4773    CALL, EDMOND                   24360   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4774    CALL, EDMOND                   30120   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4775    CALL, JAY                      7494    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
4776    CALL, JAY      Laredo, LLC     13244   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
4777    CALL, JAY                      18991   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
4778    CALL, JAY                      24725   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 712 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
4779    CALL, JAY                      30485   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CALLAHAN,      Barney Davis,
4780                                   9295    8/1/2022     Secured: $0.00
        MEAGHAN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CALLAHAN,
4781                   Laredo, LLC     15045   8/1/2022     Secured: $0.00
        MEAGHAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CALLAHAN,      Nueces Bay,
4782                                   20792   8/1/2022     Secured: $0.00
        MEAGHAN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CALLAHAN,      Talen Texas
4783                                   26524   8/1/2022     Secured: $0.00
        MEAGHAN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CALLAHAN,      Talen Texas,
4784                                   32286   8/1/2022     Secured: $0.00
        MEAGHAN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CALLAHAN,      Barney Davis,
4785                                   8936    8/1/2022     Secured: $0.00
        TAMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 713 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLAHAN,
4786                  Laredo, LLC     14686   8/1/2022     Secured: $0.00
        TAMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLAHAN,     Nueces Bay,
4787                                  20433   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLAHAN,     Talen Texas
4788                                  26165   8/1/2022     Secured: $0.00
        TAMMY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLAHAN,     Talen Texas,
4789                                  31927   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLANAN,     Barney Davis,
4790                                  6710    8/1/2022     Secured: $0.00
        CHARLI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLANAN,
4791                  Laredo, LLC     12460   8/1/2022     Secured: $0.00
        CHARLI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CALLANAN,     Nueces Bay,
4792                                  18207   8/1/2022     Secured: $0.00
        CHARLI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 714 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CALLANAN,         Talen Texas
4793                                      23941   8/1/2022     Secured: $0.00
        CHARLI            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CALLANAN,         Talen Texas,
4794                                      29701   8/1/2022     Secured: $0.00
        CHARLI            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4795    CALLIS, MICHAEL                   8222    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4796    CALLIS, MICHAEL Laredo, LLC       13972   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4797    CALLIS, MICHAEL                   19719   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4798    CALLIS, MICHAEL                   25453   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4799    CALLIS, MICHAEL                   31213   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 715 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CAMACHO,                                           Priority: $0.00
                      Barney Davis,
4800    FRANCISCO                     7242    8/1/2022     Secured: $0.00
                      LLC
        JAVIER                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CAMACHO,                                           Priority: $0.00
4801    FRANCISCO     Laredo, LLC     12992   8/1/2022     Secured: $0.00
        JAVIER                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CAMACHO,                                           Priority: $0.00
                      Nueces Bay,
4802    FRANCISCO                     18739   8/1/2022     Secured: $0.00
                      LLC
        JAVIER                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CAMACHO,                                           Priority: $0.00
                      Talen Texas
4803    FRANCISCO                     24473   8/1/2022     Secured: $0.00
                      Group, LLC
        JAVIER                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CAMACHO,                                           Priority: $0.00
                      Talen Texas,
4804    FRANCISCO                     30233   8/1/2022     Secured: $0.00
                      LLC
        JAVIER                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMACHO,
4805                  Laredo, LLC     32450   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMACHO,      Barney Davis,
4806                                  33441   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 716 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMACHO,        Nueces Bay,
4807                                    34432   8/1/2022     Secured: $0.00
        MARIA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMACHO,        Talen Texas
4808                                    35423   8/1/2022     Secured: $0.00
        MARIA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMACHO,        Talen Texas,
4809                                    36414   8/1/2022     Secured: $0.00
        MARIA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4810    CAMARA, DONNA                   7069    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4811    CAMARA, DONNA Laredo, LLC       12819   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4812    CAMARA, DONNA                   18566   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4813    CAMARA, DONNA                   24300   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 717 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4814    CAMARA, DONNA                    30060   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4815    CAMERON, SCOTT                   3893    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4816    CAMERON, SCOTT Laredo, LLC       9643    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4817    CAMERON, SCOTT                   15390   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4818    CAMERON, SCOTT                   21137   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4819    CAMERON, SCOTT                   26884   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4820    CAMP, MARY                       8151    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 718 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
4821    CAMP, MARY    Laredo, LLC     13901   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
4822    CAMP, MARY                    19648   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
4823    CAMP, MARY                    25382   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
4824    CAMP, MARY                    31142   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4825                                  6086    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4826                  Laredo, LLC     11836   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Nueces Bay,
4827                                  17583   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 719 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas
4828                                  23328   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas,
4829                                  29077   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4830                                  4049    8/1/2022     Secured: $0.00
        CHRISTY C     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4831                  Laredo, LLC     9799    8/1/2022     Secured: $0.00
        CHRISTY C
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Nueces Bay,
4832                                  15546   8/1/2022     Secured: $0.00
        CHRISTY C     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas
4833                                  21292   8/1/2022     Secured: $0.00
        CHRISTY C     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas,
4834                                  27040   8/1/2022     Secured: $0.00
        CHRISTY C     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 720 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4835                                  3875    8/1/2022     Secured: $0.00
        CORWIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4836                  Laredo, LLC     9625    8/1/2022     Secured: $0.00
        CORWIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Nueces Bay,
4837                                  15372   8/1/2022     Secured: $0.00
        CORWIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas
4838                                  21119   8/1/2022     Secured: $0.00
        CORWIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas,
4839                                  26866   8/1/2022     Secured: $0.00
        CORWIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4840                                  7101    8/1/2022     Secured: $0.00
        DOUGLAS       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4841                  Laredo, LLC     12851   8/1/2022     Secured: $0.00
        DOUGLAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 721 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPBELL,        Nueces Bay,
4842                                     18598   8/1/2022     Secured: $0.00
        DOUGLAS          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPBELL,        Talen Texas
4843                                     24332   8/1/2022     Secured: $0.00
        DOUGLAS          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPBELL,        Talen Texas,
4844                                     30092   8/1/2022     Secured: $0.00
        DOUGLAS          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4845    CAMPBELL, GARY                   7263    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4846    CAMPBELL, GARY Laredo, LLC       13013   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4847    CAMPBELL, GARY                   18760   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4848    CAMPBELL, GARY                   24494   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 722 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4849    CAMPBELL, GARY                   30254   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4850    CAMPBELL, GUY                    7339    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4851    CAMPBELL, GUY    Laredo, LLC     13089   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4852    CAMPBELL, GUY                    18836   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4853    CAMPBELL, GUY                    24570   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4854    CAMPBELL, GUY                    30330   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPBELL,        Barney Davis,
4855                                     8034    8/1/2022     Secured: $0.00
        LYNDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 723 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4856                  Laredo, LLC     13784   8/1/2022     Secured: $0.00
        LYNDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Nueces Bay,
4857                                  19531   8/1/2022     Secured: $0.00
        LYNDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas
4858                                  25265   8/1/2022     Secured: $0.00
        LYNDA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas,
4859                                  31025   8/1/2022     Secured: $0.00
        LYNDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4860                                  4578    8/1/2022     Secured: $0.00
        PHYLLIS       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4861                  Laredo, LLC     10328   8/1/2022     Secured: $0.00
        PHYLLIS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Nueces Bay,
4862                                  16075   8/1/2022     Secured: $0.00
        PHYLLIS       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 724 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CAMPBELL,          Talen Texas
4863                                       21821   8/1/2022     Secured: $0.00
        PHYLLIS            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CAMPBELL,          Talen Texas,
4864                                       27569   8/1/2022     Secured: $0.00
        PHYLLIS            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
4865    CAMPBELL, RICHIE                   5856    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
4866    CAMPBELL, RICHIE Laredo, LLC       11606   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
4867    CAMPBELL, RICHIE                   17353   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
4868    CAMPBELL, RICHIE                   23098   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
4869    CAMPBELL, RICHIE                   28847   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 725 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4870                                  4764    8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4871                  Laredo, LLC     10514   8/1/2022     Secured: $0.00
        VALERIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Nueces Bay,
4872                                  16261   8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas
4873                                  22007   8/1/2022     Secured: $0.00
        VALERIE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Talen Texas,
4874                                  27755   8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,
4875                  Laredo, LLC     32451   8/1/2022     Secured: $0.00
        VALERIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAMPBELL,     Barney Davis,
4876                                  33442   8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 726 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL,       Nueces Bay,
4877                                    34433   8/1/2022     Secured: $0.00
        VALERIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL,       Talen Texas
4878                                    35424   8/1/2022     Secured: $0.00
        VALERIE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL,       Talen Texas,
4879                                    36415   8/1/2022     Secured: $0.00
        VALERIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL‐       Barney Davis,
4880                                    4442    8/1/2022     Secured: $0.00
        OWEN, LORETTA   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL‐
4881                    Laredo, LLC     10192   8/1/2022     Secured: $0.00
        OWEN, LORETTA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL‐       Nueces Bay,
4882                                    15939   8/1/2022     Secured: $0.00
        OWEN, LORETTA   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAMPBELL‐       Talen Texas
4883                                    21685   8/1/2022     Secured: $0.00
        OWEN, LORETTA   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 727 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPBELL‐        Talen Texas,
4884                                     27433   8/1/2022     Secured: $0.00
        OWEN, LORETTA    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPUZANO,       Barney Davis,
4885                                     3649    8/1/2022     Secured: $0.00
        ANDRES           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPUZANO,
4886                     Laredo, LLC     9399    8/1/2022     Secured: $0.00
        ANDRES
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPUZANO,       Nueces Bay,
4887                                     15146   8/1/2022     Secured: $0.00
        ANDRES           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPUZANO,       Talen Texas
4888                                     20893   8/1/2022     Secured: $0.00
        ANDRES           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAMPUZANO,       Talen Texas,
4889                                     26640   8/1/2022     Secured: $0.00
        ANDRES           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4890    CANALES, ANDRA                   6375    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 728 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4891    CANALES, ANDRA Laredo, LLC       12125   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4892    CANALES, ANDRA                   17872   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4893    CANALES, ANDRA                   23607   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4894    CANALES, ANDRA                   29366   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4895    CANALES, LISA                    4435    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4896    CANALES, LISA    Laredo, LLC     10185   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4897    CANALES, LISA                    15932   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 729 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4898    CANALES, LISA                   21678   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4899    CANALES, LISA                   27426   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANALES,        Barney Davis,
4900                                    8249    8/1/2022     Secured: $0.00
        MICHELE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANALES,
4901                    Laredo, LLC     13999   8/1/2022     Secured: $0.00
        MICHELE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANALES,        Nueces Bay,
4902                                    19746   8/1/2022     Secured: $0.00
        MICHELE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANALES,        Talen Texas
4903                                    25480   8/1/2022     Secured: $0.00
        MICHELE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANALES,        Talen Texas,
4904                                    31240   8/1/2022     Secured: $0.00
        MICHELE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 730 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANALES,
4905                      Laredo, LLC     32452   8/1/2022     Secured: $0.00
        SANJUANITA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANALES,          Barney Davis,
4906                                      33443   8/1/2022     Secured: $0.00
        SANJUANITA        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANALES,          Nueces Bay,
4907                                      34434   8/1/2022     Secured: $0.00
        SANJUANITA        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANALES,          Talen Texas
4908                                      35425   8/1/2022     Secured: $0.00
        SANJUANITA        Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANALES,          Talen Texas,
4909                                      36416   8/1/2022     Secured: $0.00
        SANJUANITA        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
4910    CANALES, VICKIE                   9106    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
4911    CANALES, VICKIE   Laredo, LLC     14856   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 731 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
4912    CANALES, VICKIE                   20603   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
4913    CANALES, VICKIE                   26335   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
4914    CANALES, VICKIE                   32097   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANCELLA,         Barney Davis,
4915                                      6353    8/1/2022     Secured: $0.00
        AMANDA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANCELLA,
4916                      Laredo, LLC     12103   8/1/2022     Secured: $0.00
        AMANDA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANCELLA,         Nueces Bay,
4917                                      17850   8/1/2022     Secured: $0.00
        AMANDA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CANCELLA,         Talen Texas
4918                                      23585   8/1/2022     Secured: $0.00
        AMANDA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 732 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANCELLA,        Talen Texas,
4919                                     29344   8/1/2022     Secured: $0.00
        AMANDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4920    CANION, JUDITH                   5814    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4921    CANION, JUDITH   Laredo, LLC     11564   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4922    CANION, JUDITH                   17311   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4923    CANION, JUDITH                   23056   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4924    CANION, JUDITH                   28805   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4925    CANNADY, FERNE                   7229    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 733 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4926    CANNADY, FERNE Laredo, LLC       12979   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4927    CANNADY, FERNE                   18726   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4928    CANNADY, FERNE                   24460   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4929    CANNADY, FERNE                   30220   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4930    CANNON, CAROL                    4007    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4931    CANNON, CAROL Laredo, LLC        9757    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4932    CANNON, CAROL                    15504   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 734 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4933    CANNON, CAROL                   21250   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4934    CANNON, CAROL                   26998   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
4935    CANNON, DEANA                   6242    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
4936    CANNON, DEANA Laredo, LLC       11992   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
4937    CANNON, DEANA                   17739   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4938    CANNON, DEANA                   23474   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4939    CANNON, DEANA                   29233   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 735 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANNON,         Barney Davis,
4940                                    8780    8/1/2022     Secured: $0.00
        SHANNON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANNON,
4941                    Laredo, LLC     14530   8/1/2022     Secured: $0.00
        SHANNON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANNON,         Nueces Bay,
4942                                    20277   8/1/2022     Secured: $0.00
        SHANNON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANNON,         Talen Texas
4943                                    26009   8/1/2022     Secured: $0.00
        SHANNON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CANNON,         Talen Texas,
4944                                    31771   8/1/2022     Secured: $0.00
        SHANNON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CANOPIUS                                             Priority: $0.00
                       Nueces Bay,
4945    MANAGING                        1922    7/30/2022    Secured: $0.00
                       LLC
        AGENTS LIMITED                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CANOPIUS                                             Priority: $0.00
4946    MANAGING       Laredo, LLC      1957    7/30/2022    Secured: $0.00
        AGENTS LIMITED                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 736 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CANOPIUS                                              Priority: $0.00
                       Barney Davis,
4947    MANAGING                         2028    7/30/2022    Secured: $0.00
                       LLC
        AGENTS LIMITED                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANOPIUS US
4948                    Laredo, LLC      1915    7/30/2022    Secured: $0.00
        INSURANCE, INC.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANOPIUS US     Barney Davis,
4949                                     1921    7/30/2022    Secured: $0.00
        INSURANCE, INC. LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANOPIUS US     Nueces Bay,
4950                                     2065    7/30/2022    Secured: $0.00
        INSURANCE, INC. LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL &       Barney Davis,
4951                                     5911    8/1/2022     Secured: $0.00
        CANTRELL, PLLC   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL &
4952                     Laredo, LLC     11661   8/1/2022     Secured: $0.00
        CANTRELL, PLLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL &       Nueces Bay,
4953                                     17408   8/1/2022     Secured: $0.00
        CANTRELL, PLLC   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 737 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL &       Talen Texas
4954                                     23153   8/1/2022     Secured: $0.00
        CANTRELL, PLLC   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL &       Talen Texas,
4955                                     28902   8/1/2022     Secured: $0.00
        CANTRELL, PLLC   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL,        Barney Davis,
4956                                     5326    8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL,
4957                     Laredo, LLC     11076   8/1/2022     Secured: $0.00
        TAMMY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL,        Nueces Bay,
4958                                     16823   8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL,        Talen Texas
4959                                     22568   8/1/2022     Secured: $0.00
        TAMMY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTRELL,        Talen Texas,
4960                                     28317   8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 738 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4961    CANTU, CHARLIE   Laredo, LLC     32453   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4962    CANTU, CHARLIE                   33444   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4963    CANTU, CHARLIE                   34435   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4964    CANTU, CHARLIE                   35426   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4965    CANTU, CHARLIE                   36417   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4966    CANTU, CYNTHIA                   6856    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4967    CANTU, CYNTHIA Laredo, LLC       12606   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 739 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4968    CANTU, CYNTHIA                   18353   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4969    CANTU, CYNTHIA                   24087   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4970    CANTU, CYNTHIA                   29847   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4971    CANTU, JOSE      Laredo, LLC     32454   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4972    CANTU, JOSE                      33445   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4973    CANTU, JOSE                      34436   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4974    CANTU, JOSE                      35427   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 740 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4975    CANTU, JOSE                      36418   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4976    CANTU, MARIA     Laredo, LLC     32455   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4977    CANTU, MARIA                     33446   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4978    CANTU, MARIA                     34437   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
4979    CANTU, MARIA                     35428   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
4980    CANTU, MARIA                     36419   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTWELL,       Barney Davis,
4981                                     8388    8/1/2022     Secured: $0.00
        PATRICE MARILYN LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 741 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTWELL,
4982                    Laredo, LLC      14138   8/1/2022     Secured: $0.00
        PATRICE MARILYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTWELL,       Nueces Bay,
4983                                     19885   8/1/2022     Secured: $0.00
        PATRICE MARILYN LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTWELL,       Talen Texas
4984                                     25618   8/1/2022     Secured: $0.00
        PATRICE MARILYN Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CANTWELL,       Talen Texas,
4985                                     31379   8/1/2022     Secured: $0.00
        PATRICE MARILYN LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
4986    CANTY, EDWARD                    5895    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
4987    CANTY, EDWARD Laredo, LLC        11645   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
4988    CANTY, EDWARD                    17392   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 742 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
4989    CANTY, EDWARD                   23137   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
4990    CANTY, EDWARD                   28886   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CAPITOL
                                                             Priority: $0.00
        SPECIALTY
4991                    Laredo, LLC     1472    7/29/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $370,283.61 + Unliquidated
        CORPORATION
                                                             Total: $370,283.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CAPITOL
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
4992                                    1818    7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $370,283.61 + Unliquidated
        CORPORATION
                                                             Total: $370,283.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CAPITOL
                                                             Priority: $0.00
        SPECIALTY       Barney Davis,
4993                                    2071    7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $370,283.61 + Unliquidated
        CORPORATION
                                                             Total: $370,283.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAPORAL,        Barney Davis,
4994                                    7002    8/1/2022     Secured: $0.00
        DEOGRACIAS      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAPORAL,
4995                    Laredo, LLC     12752   8/1/2022     Secured: $0.00
        DEOGRACIAS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 743 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CAPORAL,       Nueces Bay,
4996                                   18499   8/1/2022     Secured: $0.00
        DEOGRACIAS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CAPORAL,       Talen Texas
4997                                   24233   8/1/2022     Secured: $0.00
        DEOGRACIAS     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CAPORAL,       Talen Texas,
4998                                   29993   8/1/2022     Secured: $0.00
        DEOGRACIAS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
4999    CAPPS, JIMMY                   5608    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5000    CAPPS, JIMMY   Laredo, LLC     11358   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5001    CAPPS, JIMMY                   17105   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5002    CAPPS, JIMMY                   22850   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 744 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5003    CAPPS, JIMMY                     28599   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5004    CAPSHAW, BLAKE                   6524    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5005    CAPSHAW, BLAKE Laredo, LLC       12274   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5006    CAPSHAW, BLAKE                   18021   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5007    CAPSHAW, BLAKE                   23756   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5008    CAPSHAW, BLAKE                   29515   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAPSHAW,         Barney Davis,
5009                                     8731    8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 745 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAPSHAW,
5010                  Laredo, LLC     14481   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAPSHAW,      Nueces Bay,
5011                                  20228   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAPSHAW,      Talen Texas
5012                                  25960   8/1/2022     Secured: $0.00
        SANDRA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CAPSHAW,      Talen Texas,
5013                                  31722   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Barney Davis,
5014                                  7518    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,
5015                  Laredo, LLC     13268   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Nueces Bay,
5016                                  19015   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 746 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS,       Talen Texas
5017                                   24749   8/1/2022     Secured: $0.00
        JENNIFER        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS,       Talen Texas,
5018                                   30509   8/1/2022     Secured: $0.00
        JENNIFER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS, MARY Barney Davis,
5019                                   5624    8/1/2022     Secured: $0.00
        SUE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS, MARY
5020                   Laredo, LLC     11374   8/1/2022     Secured: $0.00
        SUE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS, MARY Nueces Bay,
5021                                   17121   8/1/2022     Secured: $0.00
        SUE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS, MARY Talen Texas
5022                                   22866   8/1/2022     Secured: $0.00
        SUE            Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS, MARY Talen Texas,
5023                                   28615   8/1/2022     Secured: $0.00
        SUE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 747 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,
5024                  Laredo, LLC     32456   8/1/2022     Secured: $0.00
        SERGIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Barney Davis,
5025                                  33447   8/1/2022     Secured: $0.00
        SERGIO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Nueces Bay,
5026                                  34438   8/1/2022     Secured: $0.00
        SERGIO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Talen Texas
5027                                  35429   8/1/2022     Secured: $0.00
        SERGIO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Talen Texas,
5028                                  36420   8/1/2022     Secured: $0.00
        SERGIO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,     Barney Davis,
5029                                  8847    8/1/2022     Secured: $0.00
        SILVERIO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARDENAS,
5030                  Laredo, LLC     14597   8/1/2022     Secured: $0.00
        SILVERIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 748 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS,      Nueces Bay,
5031                                   20344   8/1/2022     Secured: $0.00
        SILVERIO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS,      Talen Texas
5032                                   26076   8/1/2022     Secured: $0.00
        SILVERIO       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARDENAS,      Talen Texas,
5033                                   31838   8/1/2022     Secured: $0.00
        SILVERIO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5034    CARDER, RICK                   8576    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5035    CARDER, RICK   Laredo, LLC     14326   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5036    CARDER, RICK                   20073   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5037    CARDER, RICK                   25805   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 749 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5038    CARDER, RICK                     31567   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5039    CAREY, IAN                       7383    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5040    CAREY, IAN       Laredo, LLC     13133   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5041    CAREY, IAN                       18880   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5042    CAREY, IAN                       24614   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5043    CAREY, IAN                       30374   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5044    CARILLO, EMILY   Laredo, LLC     32457   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 750 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5045    CARILLO, EMILY                   33448   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5046    CARILLO, EMILY                   34439   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5047    CARILLO, EMILY                   35430   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5048    CARILLO, EMILY                   36421   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CARL SMITH,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
5049                                     5384    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        SUNDAE
        MCCANAN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CARL SMITH,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF
5050                     Laredo, LLC     11134   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        SUNDAE
        MCCANAN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CARL SMITH,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
5051                                     16881   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        SUNDAE
        MCCANAN
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 751 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        CARL SMITH,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
5052                                     22626   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        SUNDAE
        MCCANAN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CARL SMITH,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
5053                                     28375   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        SUNDAE
        MCCANAN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CARL TROJACEK
                                                              Priority: $0.00
        ON BEHALF OF     Barney Davis,
5054                                     6630    8/1/2022     Secured: $0.00
        FRANCES          LLC
                                                              General Unsecured: $0.00 + Unliquidated
        TROJACEK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CARL TROJACEK
                                                              Priority: $0.00
        ON BEHALF OF
5055                     Laredo, LLC     12380   8/1/2022     Secured: $0.00
        FRANCES
                                                              General Unsecured: $0.00 + Unliquidated
        TROJACEK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CARL TROJACEK
                                                              Priority: $0.00
        ON BEHALF OF     Nueces Bay,
5056                                     18127   8/1/2022     Secured: $0.00
        FRANCES          LLC
                                                              General Unsecured: $0.00 + Unliquidated
        TROJACEK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CARL TROJACEK
                                                              Priority: $0.00
        ON BEHALF OF     Talen Texas
5057                                     23861   8/1/2022     Secured: $0.00
        FRANCES          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        TROJACEK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CARL TROJACEK
                                                              Priority: $0.00
        ON BEHALF OF     Talen Texas,
5058                                     29621   8/1/2022     Secured: $0.00
        FRANCES          LLC
                                                              General Unsecured: $0.00 + Unliquidated
        TROJACEK
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 752 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARLEY,           Barney Davis,
5059                                      6047    8/1/2022     Secured: $0.00
        NANNETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARLEY,
5060                      Laredo, LLC     11797   8/1/2022     Secured: $0.00
        NANNETTE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARLEY,           Nueces Bay,
5061                                      17544   8/1/2022     Secured: $0.00
        NANNETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARLEY,           Talen Texas
5062                                      23289   8/1/2022     Secured: $0.00
        NANNETTE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARLEY,           Talen Texas,
5063                                      29038   8/1/2022     Secured: $0.00
        NANNETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5064    CARLINO, LORENA Laredo, LLC       32458   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5065    CARLINO, LORENA                   33449   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 753 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5066    CARLINO, LORENA                   34440   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5067    CARLINO, LORENA                   35431   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5068    CARLINO, LORENA                   36422   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5069    CARLISLE, HARRY                   4218    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5070    CARLISLE, HARRY Laredo, LLC       9968    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5071    CARLISLE, HARRY                   15715   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5072    CARLISLE, HARRY                   21461   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 754 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5073    CARLISLE, HARRY                   27209   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5074    CARLSON, CHAD     Laredo, LLC     32459   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5075    CARLSON, CHAD                     33450   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5076    CARLSON, CHAD                     34441   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5077    CARLSON, CHAD                     35432   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5078    CARLSON, CHAD                     36423   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARLSON,          Barney Davis,
5079                                      7116    8/1/2022     Secured: $0.00
        DWIGHT            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 755 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARLSON,
5080                   Laredo, LLC     12866   8/1/2022     Secured: $0.00
        DWIGHT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARLSON,       Nueces Bay,
5081                                   18613   8/1/2022     Secured: $0.00
        DWIGHT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARLSON,       Talen Texas
5082                                   24347   8/1/2022     Secured: $0.00
        DWIGHT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARLSON,       Talen Texas,
5083                                   30107   8/1/2022     Secured: $0.00
        DWIGHT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5084    CARLSON, KAY                   4370    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5085    CARLSON, KAY   Laredo, LLC     10120   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5086    CARLSON, KAY                   15867   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 756 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5087    CARLSON, KAY                     21613   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5088    CARLSON, KAY                     27361   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5089    CARMEN, LEEANN                   7954    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5090    CARMEN, LEEANN Laredo, LLC       13704   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5091    CARMEN, LEEANN                   19451   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5092    CARMEN, LEEANN                   25185   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5093    CARMEN, LEEANN                   30945   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 757 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,
5094                  Laredo, LLC     32460   8/1/2022     Secured: $0.00
        FRANCISCO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,
5095                  Laredo, LLC     32461   8/1/2022     Secured: $0.00
        FRANCISCO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,      Barney Davis,
5096                                  33451   8/1/2022     Secured: $0.00
        FRANCISCO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,      Barney Davis,
5097                                  33452   8/1/2022     Secured: $0.00
        FRANCISCO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,      Nueces Bay,
5098                                  34442   8/1/2022     Secured: $0.00
        FRANCISCO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,      Nueces Bay,
5099                                  34443   8/1/2022     Secured: $0.00
        FRANCISCO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARMONA,      Talen Texas
5100                                  35433   8/1/2022     Secured: $0.00
        FRANCISCO     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 758 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMONA,        Talen Texas
5101                                    35434   8/1/2022     Secured: $0.00
        FRANCISCO       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMONA,        Talen Texas,
5102                                    36424   8/1/2022     Secured: $0.00
        FRANCISCO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMONA,        Talen Texas,
5103                                    36425   8/1/2022     Secured: $0.00
        FRANCISCO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5104    CARMONA, JOEL   Laredo, LLC     32462   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5105    CARMONA, JOEL                   33453   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5106    CARMONA, JOEL                   34444   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5107    CARMONA, JOEL                   35435   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 759 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5108    CARMONA, JOEL                   36426   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMOUCHE,      Barney Davis,
5109                                    4852    8/1/2022     Secured: $0.00
        BETRICE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMOUCHE,
5110                    Laredo, LLC     10602   8/1/2022     Secured: $0.00
        BETRICE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMOUCHE,      Nueces Bay,
5111                                    16349   8/1/2022     Secured: $0.00
        BETRICE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMOUCHE,      Talen Texas
5112                                    22095   8/1/2022     Secured: $0.00
        BETRICE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARMOUCHE,      Talen Texas,
5113                                    27843   8/1/2022     Secured: $0.00
        BETRICE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARNES,         Barney Davis,
5114                                    4019    8/1/2022     Secured: $0.00
        CATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 760 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARNES,
5115                     Laredo, LLC     9769    8/1/2022     Secured: $0.00
        CATHERINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARNES,          Nueces Bay,
5116                                     15516   8/1/2022     Secured: $0.00
        CATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARNES,          Talen Texas
5117                                     21262   8/1/2022     Secured: $0.00
        CATHERINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARNES,          Talen Texas,
5118                                     27010   8/1/2022     Secured: $0.00
        CATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CAROL SAUK,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
5119                                     3798    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        YVONNE HESS‐
        NYDER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CAROL SAUK,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF
5120                     Laredo, LLC     9548    8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        YVONNE HESS‐
        NYDER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CAROL SAUK,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
5121                                     15295   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        YVONNE HESS‐
        NYDER
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 761 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        CAROL SAUK,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
5122                                     21042   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        YVONNE HESS‐
        NYDER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CAROL SAUK,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
5123                                     26789   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        YVONNE HESS‐
        NYDER
                                                              Total: $0.00 + Unliquidated
        CAROLYN
                                                              503(b)(9): $0.00
        FERGUSON ‐
                                                              Other Administrative: $0.00
        HERBERT,
                                                              Priority: $0.00
        INDIVIDUALLY     Barney Davis,
5124                                     3799    8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MAGGIE
                                                              Total: $0.00 + Unliquidated
        FERGUSON
        CAROLYN
                                                              503(b)(9): $0.00
        FERGUSON ‐
                                                              Other Administrative: $0.00
        HERBERT,
                                                              Priority: $0.00
        INDIVIDUALLY
5125                     Laredo, LLC     9549    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MAGGIE
                                                              Total: $0.00 + Unliquidated
        FERGUSON
        CAROLYN
                                                              503(b)(9): $0.00
        FERGUSON ‐
                                                              Other Administrative: $0.00
        HERBERT,
                                                              Priority: $0.00
        INDIVIDUALLY     Nueces Bay,
5126                                     15296   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MAGGIE
                                                              Total: $0.00 + Unliquidated
        FERGUSON
        CAROLYN
                                                              503(b)(9): $0.00
        FERGUSON ‐
                                                              Other Administrative: $0.00
        HERBERT,
                                                              Priority: $0.00
        INDIVIDUALLY     Talen Texas
5127                                     21043   8/1/2022     Secured: $0.00
        AND AS HEIR OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MAGGIE
                                                              Total: $0.00 + Unliquidated
        FERGUSON
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 762 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim
        CAROLYN
                                                              503(b)(9): $0.00
        FERGUSON ‐
                                                              Other Administrative: $0.00
        HERBERT,
                                                              Priority: $0.00
        INDIVIDUALLY     Talen Texas,
5128                                     26790   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MAGGIE
                                                              Total: $0.00 + Unliquidated
        FERGUSON
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAROPRESO,       Barney Davis,
5129                                     5581    8/1/2022     Secured: $0.00
        BAMBIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAROPRESO,
5130                     Laredo, LLC     11331   8/1/2022     Secured: $0.00
        BAMBIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAROPRESO,       Nueces Bay,
5131                                     17078   8/1/2022     Secured: $0.00
        BAMBIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAROPRESO,       Talen Texas
5132                                     22823   8/1/2022     Secured: $0.00
        BAMBIE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CAROPRESO,       Talen Texas,
5133                                     28572   8/1/2022     Secured: $0.00
        BAMBIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 763 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARPENTER,     Barney Davis,
5134                                   3743    8/1/2022     Secured: $0.00
        DUSTIN WAYNE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARPENTER,
5135                   Laredo, LLC     9493    8/1/2022     Secured: $0.00
        DUSTIN WAYNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARPENTER,     Nueces Bay,
5136                                   15240   8/1/2022     Secured: $0.00
        DUSTIN WAYNE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARPENTER,     Talen Texas
5137                                   20987   8/1/2022     Secured: $0.00
        DUSTIN WAYNE   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARPENTER,     Talen Texas,
5138                                   26734   8/1/2022     Secured: $0.00
        DUSTIN WAYNE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5139    CARR, AFI                      4800    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5140    CARR, AFI      Laredo, LLC     10550   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 764 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5141    CARR, AFI                      16297   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5142    CARR, AFI                      22043   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5143    CARR, AFI                      27791   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5144    CARR, CHERYL                   4894    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5145    CARR, CHERYL   Laredo, LLC     10644   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5146    CARR, CHERYL                   16391   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5147    CARR, CHERYL                   22136   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 765 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5148    CARR, CHERYL                    27885   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5149    CARR, COLIN                     6810    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5150    CARR, COLIN     Laredo, LLC     12560   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5151    CARR, COLIN                     18307   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5152    CARR, COLIN                     24041   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5153    CARR, COLIN                     29801   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5154    CARR, FREDDIE   Laredo, LLC     32463   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 766 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5155    CARR, FREDDIE                   33454   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5156    CARR, FREDDIE                   34445   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5157    CARR, FREDDIE                   35436   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5158    CARR, FREDDIE                   36427   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5159    CARR, JEFFERY                   7502    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5160    CARR, JEFFERY   Laredo, LLC     13252   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5161    CARR, JEFFERY                   18999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 767 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5162    CARR, JEFFERY                   24733   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5163    CARR, JEFFERY                   30493   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5164    CARR, JOSHUA                    7674    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5165    CARR, JOSHUA    Laredo, LLC     13424   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5166    CARR, JOSHUA                    19171   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5167    CARR, JOSHUA                    24905   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5168    CARR, JOSHUA                    30665   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 768 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5169    CARR, SHOSHANA                   3711    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5170    CARR, SHOSHANA Laredo, LLC       9461    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5171    CARR, SHOSHANA                   15208   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5172    CARR, SHOSHANA                   20955   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5173    CARR, SHOSHANA                   26702   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5174    CARR, SUSAN                      8901    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5175    CARR, SUSAN      Laredo, LLC     14651   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 769 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5176    CARR, SUSAN                       20398   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5177    CARR, SUSAN                       26130   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5178    CARR, SUSAN                       31892   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5179    CARRAN, PATRICK                   5206    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5180    CARRAN, PATRICK Laredo, LLC       10956   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5181    CARRAN, PATRICK                   16703   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5182    CARRAN, PATRICK                   22448   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 770 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5183    CARRAN, PATRICK                   28197   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARRANZA,         Barney Davis,
5184                                      7770    8/1/2022     Secured: $0.00
        KATHY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARRANZA,
5185                      Laredo, LLC     13520   8/1/2022     Secured: $0.00
        KATHY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARRANZA,         Nueces Bay,
5186                                      19267   8/1/2022     Secured: $0.00
        KATHY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARRANZA,         Talen Texas
5187                                      25001   8/1/2022     Secured: $0.00
        KATHY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARRANZA,         Talen Texas,
5188                                      30761   8/1/2022     Secured: $0.00
        KATHY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARRANZA,         Barney Davis,
5189                                      4470    8/1/2022     Secured: $0.00
        MARIO             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 771 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRANZA,
5190                  Laredo, LLC     10220   8/1/2022     Secured: $0.00
        MARIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRANZA,     Nueces Bay,
5191                                  15967   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRANZA,     Talen Texas
5192                                  21713   8/1/2022     Secured: $0.00
        MARIO         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRANZA,     Talen Texas,
5193                                  27461   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRAWAY,     Barney Davis,
5194                                  7951    8/1/2022     Secured: $0.00
        LECRETIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRAWAY,
5195                  Laredo, LLC     13701   8/1/2022     Secured: $0.00
        LECRETIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARRAWAY,     Nueces Bay,
5196                                  19448   8/1/2022     Secured: $0.00
        LECRETIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 772 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRAWAY,       Talen Texas
5197                                    25182   8/1/2022     Secured: $0.00
        LECRETIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRAWAY,       Talen Texas,
5198                                    30942   8/1/2022     Secured: $0.00
        LECRETIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5199    CARREON, JOSÉ   Laredo, LLC     32464   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5200    CARREON, JOSÉ                   33455   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5201    CARREON, JOSÉ                   34446   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5202    CARREON, JOSÉ                   35437   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5203    CARREON, JOSÉ                   36428   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 773 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARREON,          Barney Davis,
5204                                      8623    8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARREON,
5205                      Laredo, LLC     14373   8/1/2022     Secured: $0.00
        ROBERTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARREON,          Nueces Bay,
5206                                      20120   8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARREON,          Talen Texas
5207                                      25852   8/1/2022     Secured: $0.00
        ROBERTO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARREON,          Talen Texas,
5208                                      31614   8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5209    CARRILLO, JANIE                   3770    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5210    CARRILLO, JANIE   Laredo, LLC     9520    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 774 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5211    CARRILLO, JANIE                   15267   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5212    CARRILLO, JANIE                   21014   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5213    CARRILLO, JANIE                   26761   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5214    CARRILLO, JOSE                    7655    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5215    CARRILLO, JOSE    Laredo, LLC     13405   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5216    CARRILLO, JOSE                    19152   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5217    CARRILLO, JOSE                    24886   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 775 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5218    CARRILLO, JOSE                   30646   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARRILLO,     Barney Davis,
5219                                     5379    8/1/2022     Secured: $0.00
        YOLANDA NUNEZ LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARRILLO,
5220                  Laredo, LLC        11129   8/1/2022     Secured: $0.00
        YOLANDA NUNEZ
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARRILLO,     Nueces Bay,
5221                                     16876   8/1/2022     Secured: $0.00
        YOLANDA NUNEZ LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARRILLO,     Talen Texas
5222                                     22621   8/1/2022     Secured: $0.00
        YOLANDA NUNEZ Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARRILLO,     Talen Texas,
5223                                     28370   8/1/2022     Secured: $0.00
        YOLANDA NUNEZ LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARRINGTON,      Barney Davis,
5224                                     4776    8/1/2022     Secured: $0.00
        WAYNE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 776 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRINGTON,
5225                    Laredo, LLC     10526   8/1/2022     Secured: $0.00
        WAYNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRINGTON,     Nueces Bay,
5226                                    16273   8/1/2022     Secured: $0.00
        WAYNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRINGTON,     Talen Texas
5227                                    22019   8/1/2022     Secured: $0.00
        WAYNE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRINGTON,     Talen Texas,
5228                                    27767   8/1/2022     Secured: $0.00
        WAYNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5229    CARRISAL, JOE   Laredo, LLC     32465   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5230    CARRISAL, JOE                   33456   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5231    CARRISAL, JOE                   34447   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 777 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5232    CARRISAL, JOE                   35438   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5233    CARRISAL, JOE                   36429   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRIZALES,
5234                    Laredo, LLC     32466   8/1/2022     Secured: $0.00
        DOROTEO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRIZALES,     Barney Davis,
5235                                    33457   8/1/2022     Secured: $0.00
        DOROTEO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRIZALES,     Nueces Bay,
5236                                    34448   8/1/2022     Secured: $0.00
        DOROTEO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRIZALES,     Talen Texas
5237                                    35439   8/1/2022     Secured: $0.00
        DOROTEO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARRIZALES,     Talen Texas,
5238                                    36430   8/1/2022     Secured: $0.00
        DOROTEO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 778 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARRIZALES,
5239                   Laredo, LLC     32467   8/1/2022     Secured: $0.00
        JACQUELINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARRIZALES,    Barney Davis,
5240                                   33458   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARRIZALES,    Nueces Bay,
5241                                   34449   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARRIZALES,    Talen Texas
5242                                   35440   8/1/2022     Secured: $0.00
        JACQUELINE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARRIZALES,    Talen Texas,
5243                                   36431   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,
5244                  Laredo, LLC      32468   8/1/2022     Secured: $0.00
        BRANDON SCOTT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,      Barney Davis,
5245                                   33459   8/1/2022     Secured: $0.00
        BRANDON SCOTT LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 779 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,      Nueces Bay,
5246                                   34450   8/1/2022     Secured: $0.00
        BRANDON SCOTT LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,      Talen Texas
5247                                   35441   8/1/2022     Secured: $0.00
        BRANDON SCOTT Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,      Talen Texas,
5248                                   36432   8/1/2022     Secured: $0.00
        BRANDON SCOTT LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,       Barney Davis,
5249                                   6588    8/1/2022     Secured: $0.00
        BRIDGET        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,
5250                   Laredo, LLC     12338   8/1/2022     Secured: $0.00
        BRIDGET
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,       Nueces Bay,
5251                                   18085   8/1/2022     Secured: $0.00
        BRIDGET        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARROLL,       Talen Texas
5252                                   23819   8/1/2022     Secured: $0.00
        BRIDGET        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 780 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Talen Texas,
5253                                  29579   8/1/2022     Secured: $0.00
        BRIDGET       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Barney Davis,
5254                                  7809    8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,
5255                  Laredo, LLC     13559   8/1/2022     Secured: $0.00
        KENNETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Nueces Bay,
5256                                  19306   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Talen Texas
5257                                  25040   8/1/2022     Secured: $0.00
        KENNETH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Talen Texas,
5258                                  30800   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Barney Davis,
5259                                  8400    8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 781 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,
5260                  Laredo, LLC     14150   8/1/2022     Secured: $0.00
        PATRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Nueces Bay,
5261                                  19897   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Talen Texas
5262                                  25630   8/1/2022     Secured: $0.00
        PATRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARROLL,      Talen Texas,
5263                                  31391   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,
5264                  Laredo, LLC     32469   8/1/2022     Secured: $0.00
        KENNETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Barney Davis,
5265                                  33460   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Nueces Bay,
5266                                  34451   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 782 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Talen Texas
5267                                  35442   8/1/2022     Secured: $0.00
        KENNETH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Talen Texas,
5268                                  36433   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Barney Davis,
5269                                  8514    8/1/2022     Secured: $0.00
        REBECCA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,
5270                  Laredo, LLC     14264   8/1/2022     Secured: $0.00
        REBECCA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Nueces Bay,
5271                                  20011   8/1/2022     Secured: $0.00
        REBECCA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Talen Texas
5272                                  25743   8/1/2022     Secured: $0.00
        REBECCA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARSON,       Talen Texas,
5273                                  31505   8/1/2022     Secured: $0.00
        REBECCA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 783 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5274    CARTER, BELINDA                   6494    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5275    CARTER, BELINDA Laredo, LLC       12244   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5276    CARTER, BELINDA                   17991   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5277    CARTER, BELINDA                   23726   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5278    CARTER, BELINDA                   29485   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARTER,           Barney Davis,
5279                                      6681    8/1/2022     Secured: $0.00
        CATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARTER,
5280                      Laredo, LLC     12431   8/1/2022     Secured: $0.00
        CATHERINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 784 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Nueces Bay,
5281                                  18178   8/1/2022     Secured: $0.00
        CATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Talen Texas
5282                                  23912   8/1/2022     Secured: $0.00
        CATHERINE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Talen Texas,
5283                                  29672   8/1/2022     Secured: $0.00
        CATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Barney Davis,
5284                                  5540    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,
5285                  Laredo, LLC     11290   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Nueces Bay,
5286                                  17037   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Talen Texas
5287                                  22782   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 785 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARTER,        Talen Texas,
5288                                   28531   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5289    CARTER, DALE                   4072    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5290    CARTER, DALE   Laredo, LLC     9822    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5291    CARTER, DALE                   15569   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5292    CARTER, DALE                   21315   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5293    CARTER, DALE                   27063   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARTER,        Barney Davis,
5294                                   7342    8/1/2022     Secured: $0.00
        GWENDOLYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 786 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,
5295                  Laredo, LLC     13092   8/1/2022     Secured: $0.00
        GWENDOLYN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Nueces Bay,
5296                                  18839   8/1/2022     Secured: $0.00
        GWENDOLYN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Talen Texas
5297                                  24573   8/1/2022     Secured: $0.00
        GWENDOLYN     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Talen Texas,
5298                                  30333   8/1/2022     Secured: $0.00
        GWENDOLYN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Barney Davis,
5299                                  3882    8/1/2022     Secured: $0.00
        JACORIAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,
5300                  Laredo, LLC     9632    8/1/2022     Secured: $0.00
        JACORIAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARTER,       Nueces Bay,
5301                                  15379   8/1/2022     Secured: $0.00
        JACORIAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 787 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARTER,         Talen Texas
5302                                    21126   8/1/2022     Secured: $0.00
        JACORIAN        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CARTER,         Talen Texas,
5303                                    26873   8/1/2022     Secured: $0.00
        JACORIAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5304    CARTER, JAMES                   4239    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5305    CARTER, JAMES   Laredo, LLC     9989    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5306    CARTER, JAMES                   15736   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5307    CARTER, JAMES                   21482   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5308    CARTER, JAMES                   27230   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 788 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5309    CARTER, JESSE                   5802    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5310    CARTER, JESSE   Laredo, LLC     11552   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5311    CARTER, JESSE                   17299   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5312    CARTER, JESSE                   23044   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5313    CARTER, JESSE                   28793   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5314    CARTER, JOEY                    7596    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5315    CARTER, JOEY    Laredo, LLC     13346   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 789 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5316    CARTER, JOEY                    19093   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5317    CARTER, JOEY                    24827   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5318    CARTER, JOEY                    30587   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5319    CARTER, JOICE                   4313    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5320    CARTER, JOICE   Laredo, LLC     10063   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5321    CARTER, JOICE                   15810   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5322    CARTER, JOICE                   21556   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 790 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
5323    CARTER, JOICE                      27304   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5324    CARTER, RAHIM                      8478    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
5325    CARTER, RAHIM      Laredo, LLC     14228   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
5326    CARTER, RAHIM                      19975   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
5327    CARTER, RAHIM                      25707   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
5328    CARTER, RAHIM                      31469   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5329    CARTER, TROY LEE                   9073    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 791 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5330    CARTER, TROY LEE Laredo, LLC      14823   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Nueces Bay,
5331    CARTER, TROY LEE                  20570   8/1/2022     Secured: $0.00
                           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas
5332    CARTER, TROY LEE                  26302   8/1/2022     Secured: $0.00
                           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas,
5333    CARTER, TROY LEE                  32064   8/1/2022     Secured: $0.00
                           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARTER, WESLEY Barney Davis,
5334                                      9147    8/1/2022     Secured: $0.00
        JANICE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARTER, WESLEY
5335                   Laredo, LLC        14897   8/1/2022     Secured: $0.00
        JANICE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CARTER, WESLEY Nueces Bay,
5336                                      20644   8/1/2022     Secured: $0.00
        JANICE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 792 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARTER, WESLEY Talen Texas
5337                                     26376   8/1/2022     Secured: $0.00
        JANICE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CARTER, WESLEY Talen Texas,
5338                                     32138   8/1/2022     Secured: $0.00
        JANICE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5339    CARTHEN, RICKY                   8580    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5340    CARTHEN, RICKY   Laredo, LLC     14330   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5341    CARTHEN, RICKY                   20077   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5342    CARTHEN, RICKY                   25809   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5343    CARTHEN, RICKY                   31571   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 793 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,     Barney Davis,
5344                                  6309    8/1/2022     Secured: $0.00
        ALBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,
5345                  Laredo, LLC     12059   8/1/2022     Secured: $0.00
        ALBERTO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,     Nueces Bay,
5346                                  17806   8/1/2022     Secured: $0.00
        ALBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,     Talen Texas
5347                                  23541   8/1/2022     Secured: $0.00
        ALBERTO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,     Talen Texas,
5348                                  29300   8/1/2022     Secured: $0.00
        ALBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,     Barney Davis,
5349                                  5560    8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CARVAJAL,
5350                  Laredo, LLC     11310   8/1/2022     Secured: $0.00
        PATRICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 794 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARVAJAL,      Nueces Bay,
5351                                   17057   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARVAJAL,      Talen Texas
5352                                   22802   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CARVAJAL,      Talen Texas,
5353                                   28551   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5354    CARY, ANDREW                   3924    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5355    CARY, ANDREW   Laredo, LLC     9674    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5356    CARY, ANDREW                   15421   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5357    CARY, ANDREW                   21168   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 795 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5358    CARY, ANDREW                   26915   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASAS,         Barney Davis,
5359                                   6111    8/1/2022     Secured: $0.00
        FRANCISCO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASAS,
5360                   Laredo, LLC     11861   8/1/2022     Secured: $0.00
        FRANCISCO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASAS,         Nueces Bay,
5361                                   17608   8/1/2022     Secured: $0.00
        FRANCISCO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASAS,         Talen Texas
5362                                   23353   8/1/2022     Secured: $0.00
        FRANCISCO      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASAS,         Talen Texas,
5363                                   29102   8/1/2022     Secured: $0.00
        FRANCISCO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASBORN,       Barney Davis,
5364                                   3776    8/1/2022     Secured: $0.00
        RAMON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 796 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASBORN,
5365                   Laredo, LLC     9526    8/1/2022     Secured: $0.00
        RAMON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASBORN,       Nueces Bay,
5366                                   15273   8/1/2022     Secured: $0.00
        RAMON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASBORN,       Talen Texas
5367                                   21020   8/1/2022     Secured: $0.00
        RAMON          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASBORN,       Talen Texas,
5368                                   26767   8/1/2022     Secured: $0.00
        RAMON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5369    CASBY, ROBIN                   4633    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5370    CASBY, ROBIN   Laredo, LLC     10383   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5371    CASBY, ROBIN                   16130   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 797 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5372    CASBY, ROBIN                    21876   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5373    CASBY, ROBIN                    27624   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5374    CASE, MELISSA                   8204    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5375    CASE, MELISSA   Laredo, LLC     13954   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5376    CASE, MELISSA                   19701   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5377    CASE, MELISSA                   25435   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5378    CASE, MELISSA                   31195   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 798 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5379    CASEY, DOMINIC                   7053    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5380    CASEY, DOMINIC   Laredo, LLC     12803   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5381    CASEY, DOMINIC                   18550   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5382    CASEY, DOMINIC                   24284   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5383    CASEY, DOMINIC                   30044   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASEY, DOROTHY Barney Davis,
5384                                     4145    8/1/2022     Secured: $0.00
        JEAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASEY, DOROTHY
5385                   Laredo, LLC       9895    8/1/2022     Secured: $0.00
        JEAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 799 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASEY, DOROTHY Nueces Bay,
5386                                    15642   8/1/2022     Secured: $0.00
        JEAN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASEY, DOROTHY Talen Texas
5387                                    21388   8/1/2022     Secured: $0.00
        JEAN           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASEY, DOROTHY Talen Texas,
5388                                    27136   8/1/2022     Secured: $0.00
        JEAN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5389    CASEY, KIM                      4384    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5390    CASEY, KIM      Laredo, LLC     10134   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5391    CASEY, KIM                      15881   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5392    CASEY, KIM                      21627   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 800 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5393    CASEY, KIM                      27375   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASHION,        Barney Davis,
5394                                    6915    8/1/2022     Secured: $0.00
        DASHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASHION,
5395                    Laredo, LLC     12665   8/1/2022     Secured: $0.00
        DASHELLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASHION,        Nueces Bay,
5396                                    18412   8/1/2022     Secured: $0.00
        DASHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASHION,        Talen Texas
5397                                    24146   8/1/2022     Secured: $0.00
        DASHELLE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASHION,        Talen Texas,
5398                                    29906   8/1/2022     Secured: $0.00
        DASHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5399    CASIAS, MAYLE                   5145    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 801 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5400    CASIAS, MAYLE   Laredo, LLC     10895   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5401    CASIAS, MAYLE                   16642   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5402    CASIAS, MAYLE                   22387   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5403    CASIAS, MAYLE                   28136   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASSIANO,       Barney Davis,
5404                                    6857    8/1/2022     Secured: $0.00
        CYNTHIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASSIANO,
5405                    Laredo, LLC     12607   8/1/2022     Secured: $0.00
        CYNTHIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASSIANO,       Nueces Bay,
5406                                    18354   8/1/2022     Secured: $0.00
        CYNTHIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 802 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASSIANO,     Talen Texas
5407                                  24088   8/1/2022     Secured: $0.00
        CYNTHIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASSIANO,     Talen Texas,
5408                                  29848   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTANEDA,    Barney Davis,
5409                                  3860    8/1/2022     Secured: $0.00
        ALMA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTANEDA,
5410                  Laredo, LLC     9610    8/1/2022     Secured: $0.00
        ALMA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTANEDA,    Nueces Bay,
5411                                  15357   8/1/2022     Secured: $0.00
        ALMA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTANEDA,    Talen Texas
5412                                  21104   8/1/2022     Secured: $0.00
        ALMA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTANEDA,    Talen Texas,
5413                                  26851   8/1/2022     Secured: $0.00
        ALMA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 803 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTANEDA,
5414                       Laredo, LLC     32470   8/1/2022     Secured: $0.00
        CHRISTIAN
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTANEDA,         Barney Davis,
5415                                       33461   8/1/2022     Secured: $0.00
        CHRISTIAN          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTANEDA,         Nueces Bay,
5416                                       34452   8/1/2022     Secured: $0.00
        CHRISTIAN          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTANEDA,         Talen Texas
5417                                       35443   8/1/2022     Secured: $0.00
        CHRISTIAN          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTANEDA,         Talen Texas,
5418                                       36434   8/1/2022     Secured: $0.00
        CHRISTIAN          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5419    CASTILLE, PHEOBE                   8445    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
5420    CASTILLE, PHEOBE Laredo, LLC       14195   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 804 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
5421    CASTILLE, PHEOBE                   19942   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
5422    CASTILLE, PHEOBE                   25675   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
5423    CASTILLE, PHEOBE                   31436   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5424    CASTILLO, ANNA                     9208    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
5425    CASTILLO, ANNA     Laredo, LLC     14958   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
5426    CASTILLO, ANNA                     20705   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
5427    CASTILLO, ANNA                     26437   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 805 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5428    CASTILLO, ANNA                   32199   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Barney Davis,
5429                                     6215    8/1/2022     Secured: $0.00
        CAROLINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,
5430                     Laredo, LLC     11965   8/1/2022     Secured: $0.00
        CAROLINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Nueces Bay,
5431                                     17712   8/1/2022     Secured: $0.00
        CAROLINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Talen Texas
5432                                     23457   8/1/2022     Secured: $0.00
        CAROLINA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Talen Texas,
5433                                     29206   8/1/2022     Secured: $0.00
        CAROLINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Barney Davis,
5434                                     7306    8/1/2022     Secured: $0.00
        GILBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 806 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,
5435                     Laredo, LLC     13056   8/1/2022     Secured: $0.00
        GILBERT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Nueces Bay,
5436                                     18803   8/1/2022     Secured: $0.00
        GILBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Talen Texas
5437                                     24537   8/1/2022     Secured: $0.00
        GILBERT          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CASTILLO,        Talen Texas,
5438                                     30297   8/1/2022     Secured: $0.00
        GILBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5439    CASTILLO, JOSE   Laredo, LLC     32471   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5440    CASTILLO, JOSE                   33462   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5441    CASTILLO, JOSE                   34453   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 807 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5442    CASTILLO, JOSE                    35444   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5443    CASTILLO, JOSE                    36435   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5444    CASTILLO, MARIA                   8073    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5445    CASTILLO, MARIA Laredo, LLC       13823   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5446    CASTILLO, MARIA                   19570   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5447    CASTILLO, MARIA                   25304   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5448    CASTILLO, MARIA                   31064   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 808 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Barney Davis,
5449                                   8223    8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,
5450                   Laredo, LLC     13973   8/1/2022     Secured: $0.00
        MICHAEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Nueces Bay,
5451                                   19720   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas
5452                                   25454   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas,
5453                                   31214   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,
5454                   Laredo, LLC     32472   8/1/2022     Secured: $0.00
        RICARDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Barney Davis,
5455                                   33463   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 809 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Nueces Bay,
5456                                   34454   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas
5457                                   35445   8/1/2022     Secured: $0.00
        RICARDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas,
5458                                   36436   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Barney Davis,
5459                                   8645    8/1/2022     Secured: $0.00
        RODOLFO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,
5460                   Laredo, LLC     14395   8/1/2022     Secured: $0.00
        RODOLFO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Nueces Bay,
5461                                   20142   8/1/2022     Secured: $0.00
        RODOLFO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas
5462                                   25874   8/1/2022     Secured: $0.00
        RODOLFO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 810 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas,
5463                                   31636   8/1/2022     Secured: $0.00
        RODOLFO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Barney Davis,
5464                                   8661    8/1/2022     Secured: $0.00
        ROLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,
5465                   Laredo, LLC     14411   8/1/2022     Secured: $0.00
        ROLANDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Nueces Bay,
5466                                   20158   8/1/2022     Secured: $0.00
        ROLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas
5467                                   25890   8/1/2022     Secured: $0.00
        ROLANDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas,
5468                                   31652   8/1/2022     Secured: $0.00
        ROLANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,
5469                   Laredo, LLC     32473   8/1/2022     Secured: $0.00
        ROSEANN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 811 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Barney Davis,
5470                                   33464   8/1/2022     Secured: $0.00
        ROSEANN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Nueces Bay,
5471                                   34455   8/1/2022     Secured: $0.00
        ROSEANN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas
5472                                   35446   8/1/2022     Secured: $0.00
        ROSEANN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Talen Texas,
5473                                   36437   8/1/2022     Secured: $0.00
        ROSEANN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Barney Davis,
5474                                   8732    8/1/2022     Secured: $0.00
        SANDRA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,
5475                   Laredo, LLC     14482   8/1/2022     Secured: $0.00
        SANDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTILLO,      Nueces Bay,
5476                                   20229   8/1/2022     Secured: $0.00
        SANDRA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 812 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTILLO,          Talen Texas
5477                                       25961   8/1/2022     Secured: $0.00
        SANDRA             Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CASTILLO,          Talen Texas,
5478                                       31723   8/1/2022     Secured: $0.00
        SANDRA             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5479    CASTILLO, TINA A                   9017    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
5480    CASTILLO, TINA A Laredo, LLC       14767   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
5481    CASTILLO, TINA A                   20514   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
5482    CASTILLO, TINA A                   26246   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
5483    CASTILLO, TINA A                   32008   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 813 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTILLON,
5484                      Laredo, LLC     32474   8/1/2022     Secured: $0.00
        GRACY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTILLON,        Barney Davis,
5485                                      33465   8/1/2022     Secured: $0.00
        GRACY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTILLON,        Nueces Bay,
5486                                      34456   8/1/2022     Secured: $0.00
        GRACY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTILLON,        Talen Texas
5487                                      35447   8/1/2022     Secured: $0.00
        GRACY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTILLON,        Talen Texas,
5488                                      36438   8/1/2022     Secured: $0.00
        GRACY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5489    CASTLE, RICHARD                   8559    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5490    CASTLE, RICHARD Laredo, LLC       14309   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 814 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5491    CASTLE, RICHARD                   20056   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5492    CASTLE, RICHARD                   25788   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5493    CASTLE, RICHARD                   31550   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTLEBERRY,      Barney Davis,
5494                                      4568    8/1/2022     Secured: $0.00
        PAUL              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTLEBERRY,
5495                      Laredo, LLC     10318   8/1/2022     Secured: $0.00
        PAUL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTLEBERRY,      Nueces Bay,
5496                                      16065   8/1/2022     Secured: $0.00
        PAUL              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CASTLEBERRY,      Talen Texas
5497                                      21811   8/1/2022     Secured: $0.00
        PAUL              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 815 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTLEBERRY,   Talen Texas,
5498                                   27559   8/1/2022     Secured: $0.00
        PAUL           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTORENA,
5499                   Laredo, LLC     32475   8/1/2022     Secured: $0.00
        GABRIELA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTORENA,     Barney Davis,
5500                                   33466   8/1/2022     Secured: $0.00
        GABRIELA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTORENA,     Nueces Bay,
5501                                   34457   8/1/2022     Secured: $0.00
        GABRIELA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTORENA,     Talen Texas
5502                                   35448   8/1/2022     Secured: $0.00
        GABRIELA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTORENA,     Talen Texas,
5503                                   36439   8/1/2022     Secured: $0.00
        GABRIELA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTORENA,
5504                   Laredo, LLC     32476   8/1/2022     Secured: $0.00
        MARIO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 816 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENA,    Barney Davis,
5505                                  33467   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENA,    Nueces Bay,
5506                                  34458   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENA,    Talen Texas
5507                                  35449   8/1/2022     Secured: $0.00
        MARIO         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENA,    Talen Texas,
5508                                  36440   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Barney Davis,
5509                                  6362    8/1/2022     Secured: $0.00
        AMBER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,
5510                  Laredo, LLC     12112   8/1/2022     Secured: $0.00
        AMBER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Nueces Bay,
5511                                  17859   8/1/2022     Secured: $0.00
        AMBER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 817 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Talen Texas
5512                                  23594   8/1/2022     Secured: $0.00
        AMBER         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Talen Texas,
5513                                  29353   8/1/2022     Secured: $0.00
        AMBER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Barney Davis,
5514                                  4969    8/1/2022     Secured: $0.00
        FILOMENO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,
5515                  Laredo, LLC     10719   8/1/2022     Secured: $0.00
        FILOMENO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Nueces Bay,
5516                                  16466   8/1/2022     Secured: $0.00
        FILOMENO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Talen Texas
5517                                  22211   8/1/2022     Secured: $0.00
        FILOMENO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CASTORENO,    Talen Texas,
5518                                  27960   8/1/2022     Secured: $0.00
        FILOMENO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 818 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5519    CASTRO, CODY                     5769    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5520    CASTRO, CODY     Laredo, LLC     11519   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5521    CASTRO, CODY                     17266   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5522    CASTRO, CODY                     23011   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5523    CASTRO, CODY                     28760   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5524    CASTRO, FELIPE   Laredo, LLC     32477   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5525    CASTRO, FELIPE                   33468   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 819 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5526    CASTRO, FELIPE                   34459   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5527    CASTRO, FELIPE                   35450   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5528    CASTRO, FELIPE                   36441   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5529    CASTRO, JUDY                     7709    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5530    CASTRO, JUDY     Laredo, LLC     13459   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5531    CASTRO, JUDY                     19206   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5532    CASTRO, JUDY                     24940   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 820 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5533    CASTRO, JUDY                   30700   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTRO,
5534                   Laredo, LLC     32478   8/1/2022     Secured: $0.00
        ROMEDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTRO,        Barney Davis,
5535                                   33469   8/1/2022     Secured: $0.00
        ROMEDO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTRO,        Nueces Bay,
5536                                   34460   8/1/2022     Secured: $0.00
        ROMEDO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTRO,        Talen Texas
5537                                   35451   8/1/2022     Secured: $0.00
        ROMEDO         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTRO,        Talen Texas,
5538                                   36442   8/1/2022     Secured: $0.00
        ROMEDO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CASTRO,        Barney Davis,
5539                                   8876    8/1/2022     Secured: $0.00
        STEFANIE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 821 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASTRO,
5540                    Laredo, LLC     14626   8/1/2022     Secured: $0.00
        STEFANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASTRO,         Nueces Bay,
5541                                    20373   8/1/2022     Secured: $0.00
        STEFANIE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASTRO,         Talen Texas
5542                                    26105   8/1/2022     Secured: $0.00
        STEFANIE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CASTRO,         Talen Texas,
5543                                    31867   8/1/2022     Secured: $0.00
        STEFANIE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CATHOLIC
                                                             Priority: $0.00
        MUTUAL RELIEF   Barney Davis,
5544                                    3376    8/1/2022     Secured: $0.00
        SOCIETY OF      LLC
                                                             General Unsecured: $10,348,181.59 + Unliquidated
        AMERICA
                                                             Total: $10,348,181.59 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CATHOLIC
                                                             Priority: $0.00
        MUTUAL RELIEF   Nueces Bay,
5545                                    3447    8/1/2022     Secured: $0.00
        SOCIETY OF      LLC
                                                             General Unsecured: $10,348,181.59 + Unliquidated
        AMERICA
                                                             Total: $10,348,181.59 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 822 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CATHOLIC
                                                             Priority: $0.00
        MUTUAL RELIEF
5546                    Laredo, LLC     3561    8/1/2022     Secured: $0.00
        SOCIETY OF
                                                             General Unsecured: $10,348,181.59 + Unliquidated
        AMERICA
                                                             Total: $10,348,181.59 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5547    CATON, BECKY                    6492    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5548    CATON, BECKY    Laredo, LLC     12242   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5549    CATON, BECKY                    17989   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5550    CATON, BECKY                    23724   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5551    CATON, BECKY                    29483   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 823 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
5552    CAUDEEL, SOPHIE Laredo, LLC        32479   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5553    CAUDEEL, SOPHIE                    33470   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
5554    CAUDEEL, SOPHIE                    34461   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
5555    CAUDEEL, SOPHIE                    35452   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
5556    CAUDEEL, SOPHIE                    36443   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
5557    CAUDILL, CARISSA                   6624    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
5558    CAUDILL, CARISSA Laredo, LLC       12374   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 824 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
5559    CAUDILL, CARISSA                   18121   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
5560    CAUDILL, CARISSA                   23855   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
5561    CAUDILL, CARISSA                   29615   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CAUDILL,           Barney Davis,
5562                                       7847    8/1/2022     Secured: $0.00
        KIMBERLY           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CAUDILL,
5563                       Laredo, LLC     13597   8/1/2022     Secured: $0.00
        KIMBERLY
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CAUDILL,           Nueces Bay,
5564                                       19344   8/1/2022     Secured: $0.00
        KIMBERLY           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CAUDILL,           Talen Texas
5565                                       25078   8/1/2022     Secured: $0.00
        KIMBERLY           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 825 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CAUDILL,          Talen Texas,
5566                                      30838   8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5567    CAVANESS, JANET                   6124    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5568    CAVANESS, JANET Laredo, LLC       11874   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5569    CAVANESS, JANET                   17621   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5570    CAVANESS, JANET                   23366   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5571    CAVANESS, JANET                   29115   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5572    CAVAZOS, DINA     Laredo, LLC     32480   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 826 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5573    CAVAZOS, DINA                   33471   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5574    CAVAZOS, DINA                   34462   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5575    CAVAZOS, DINA                   35453   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5576    CAVAZOS, DINA                   36444   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5577    CAVAZOS, RAUL                   8502    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5578    CAVAZOS, RAUL   Laredo, LLC     14252   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5579    CAVAZOS, RAUL                   19999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 827 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5580    CAVAZOS, RAUL                   25731   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5581    CAVAZOS, RAUL                   31493   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAWTHON,        Barney Davis,
5582                                    8665    8/1/2022     Secured: $0.00
        RONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAWTHON,
5583                    Laredo, LLC     14415   8/1/2022     Secured: $0.00
        RONALD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAWTHON,        Nueces Bay,
5584                                    20162   8/1/2022     Secured: $0.00
        RONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAWTHON,        Talen Texas
5585                                    25894   8/1/2022     Secured: $0.00
        RONALD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CAWTHON,        Talen Texas,
5586                                    31656   8/1/2022     Secured: $0.00
        RONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 828 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5587    CEDILLO, MARIA                   8074    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5588    CEDILLO, MARIA   Laredo, LLC     13824   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5589    CEDILLO, MARIA                   19571   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5590    CEDILLO, MARIA                   25305   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5591    CEDILLO, MARIA                   31065   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5592    CELLMER, RENEE                   8541    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5593    CELLMER, RENEE Laredo, LLC       14291   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 829 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5594    CELLMER, RENEE                   20038   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5595    CELLMER, RENEE                   25770   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5596    CELLMER, RENEE                   31532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTAURI
                                                              Priority: $0.00
        SPECIALTY        Nueces Bay,
5597                                     2444    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $13,681,500.00 + Unliquidated
        COMPANY
                                                              Total: $13,681,500.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTAURI
                                                              Priority: $0.00
        SPECIALTY
5598                     Laredo, LLC     2467    7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $13,681,500.00 + Unliquidated
        COMPANY
                                                              Total: $13,681,500.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTAURI
                                                              Priority: $0.00
        SPECIALTY        Barney Davis,
5599                                     2607    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $13,681,500.00 + Unliquidated
        COMPANY
                                                              Total: $13,681,500.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 830 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5600    CENTENO, KARL   Laredo, LLC     32481   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5601    CENTENO, KARL                   33472   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5602    CENTENO, KARL                   34463   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5603    CENTENO, KARL                   35454   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5604    CENTENO, KARL                   36445   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CENTRAL MUTUAL                                       Priority: $0.00
                       Nueces Bay,
5605    INSURANCE                       1725    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CENTRAL MUTUAL                                       Priority: $0.00
5606    INSURANCE      Laredo, LLC      1846    7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 831 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTRAL MUTUAL                                        Priority: $0.00
                       Barney Davis,
5607    INSURANCE                        2232    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTURY‐
                                                              Priority: $0.00
        NATIONAL         Barney Davis,
5608                                     2667    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $340,593.00 + Unliquidated
        COMPANY
                                                              Total: $340,593.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTURY‐
                                                              Priority: $0.00
        NATIONAL
5609                     Laredo, LLC     2720    7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $340,593.00 + Unliquidated
        COMPANY
                                                              Total: $340,593.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CENTURY‐
                                                              Priority: $0.00
        NATIONAL         Nueces Bay,
5610                                     2758    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $340,593.00 + Unliquidated
        COMPANY
                                                              Total: $340,593.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5611    CERDA, JUAN J.   Laredo, LLC     32482   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5612    CERDA, JUAN J.                   33473   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5613    CERDA, JUAN J.                   34464   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 832 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5614    CERDA, JUAN J.                   35455   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5615    CERDA, JUAN J.                   36446   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5616    CERDA, ROSA      Laredo, LLC     32483   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5617    CERDA, ROSA                      33474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5618    CERDA, ROSA                      34465   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5619    CERDA, ROSA                      35456   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5620    CERDA, ROSA                      36447   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 833 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5621    CERNA, JUANA    Laredo, LLC     32484   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5622    CERNA, JUANA                    33475   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5623    CERNA, JUANA                    34466   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5624    CERNA, JUANA                    35457   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5625    CERNA, JUANA                    36448   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
        CERTAIN
        INTERESTED
        UNDERWRITERS
        AT LLOYD,                                            503(b)(9): $0.00
        LONDON                                               Other Administrative: $0.00
        SUBSCRIBING TO                                       Priority: $0.00
                        Nueces Bay,
5626    INSURANCE                       2273    8/1/2022     Secured: $0.00
                        LLC
        POLICIES ISSUED                                      General Unsecured: $18,993,278.97 + Unliquidated
        BY
        INTERNATIONAL                                        Total: $18,993,278.97 + Unliquidated
        CATASTROPHE
        INSURANCE
        MANAGERS, LLC
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 834 of 5163
             Name of
Ref #        Claimant   Debtor Name Claim #   Date Filed                  Non‐GUC Trust Claim
        CERTAIN
        INTERESTED
        UNDERWRITERS
        AT LLOYD,                                          503(b)(9): $0.00
        LONDON                                             Other Administrative: $0.00
        SUBSCRIBING TO                                     Priority: $0.00
5627    INSURANCE       Laredo, LLC   2868    8/1/2022     Secured: $0.00
        POLICIES ISSUED                                    General Unsecured: $18,993,278.97 + Unliquidated
        BY
        INTERNATIONAL                                      Total: $18,993,278.97 + Unliquidated
        CATASTROPHE
        INSURANCE
        MANAGERS, LLC
        CERTAIN
        INTERESTED
        UNDERWRITERS
        AT LLOYD,                                          503(b)(9): $0.00
        LONDON                                             Other Administrative: $0.00
        SUBSCRIBING TO                                     Priority: $0.00
                        Barney Davis,
5628    INSURANCE                     2914    8/1/2022     Secured: $0.00
                        LLC
        POLICIES ISSUED                                    General Unsecured: $18,993,278.97 + Unliquidated
        BY
        INTERNATIONAL                                      Total: $18,993,278.97 + Unliquidated
        CATASTROPHE
        INSURANCE
        MANAGERS, LLC
                                                           503(b)(9): $0.00
        CERTAIN
                                                           Other Administrative: $0.00
        INTERESTED
                                                           Priority: $0.00
        UNDERWRITERS Barney Davis,
5629                                 2435     8/1/2022     Secured: $0.00
        AT LLOYDS OF  LLC
                                                           General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (AGORA
        3268)
                                                           Total: $5,730,011.00 + Unliquidated
                                                           503(b)(9): $0.00
        CERTAIN
                                                           Other Administrative: $0.00
        INTERESTED
                                                           Priority: $0.00
        UNDERWRITERS
5630                  Laredo, LLC    2449     8/1/2022     Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (AGORA
        3268)
                                                           Total: $5,730,011.00 + Unliquidated
                                                           503(b)(9): $0.00
        CERTAIN
                                                           Other Administrative: $0.00
        INTERESTED
                                                           Priority: $0.00
        UNDERWRITERS Nueces Bay,
5631                                 2459     8/1/2022     Secured: $0.00
        AT LLOYDS OF  LLC
                                                           General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (AGORA
        3268)
                                                           Total: $5,730,011.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 835 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        CERTAIN
                                                            Other Administrative: $0.00
        INTERESTED
                                                            Priority: $0.00
        UNDERWRITERS Nueces Bay,
5632                                    2425   8/1/2022     Secured: $0.00
        AT LLOYDS OF   LLC
                                                            General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (APOLLO
        1969)
                                                            Total: $5,730,011.00 + Unliquidated
                                                            503(b)(9): $0.00
        CERTAIN
                                                            Other Administrative: $0.00
        INTERESTED
                                                            Priority: $0.00
        UNDERWRITERS Barney Davis,
5633                                    2624   8/1/2022     Secured: $0.00
        AT LLOYDS OF   LLC
                                                            General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (APOLLO
        1969)
                                                            Total: $5,730,011.00 + Unliquidated
                                                            503(b)(9): $0.00
        CERTAIN
                                                            Other Administrative: $0.00
        INTERESTED
                                                            Priority: $0.00
        UNDERWRITERS
5634                   Laredo, LLC      3130   8/1/2022     Secured: $0.00
        AT LLOYDS OF
                                                            General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (APOLLO
        1969)
                                                            Total: $5,730,011.00 + Unliquidated
                                                            503(b)(9): $0.00
        CERTAIN                                             Other Administrative: $0.00
        INTERESTED                                          Priority: $0.00
                        Nueces Bay,
5635    UNDERWRITERS                    2420   8/1/2022     Secured: $0.00
                        LLC
        AT LLOYDS OF                                        General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (HISCOX)
                                                            Total: $5,730,011.00 + Unliquidated
                                                            503(b)(9): $0.00
        CERTAIN                                             Other Administrative: $0.00
        INTERESTED                                          Priority: $0.00
5636    UNDERWRITERS Laredo, LLC        2659   8/1/2022     Secured: $0.00
        AT LLOYDS OF                                        General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (HISCOX)
                                                            Total: $5,730,011.00 + Unliquidated
                                                            503(b)(9): $0.00
        CERTAIN                                             Other Administrative: $0.00
        INTERESTED                                          Priority: $0.00
                        Barney Davis,
5637    UNDERWRITERS                    3124   8/1/2022     Secured: $0.00
                        LLC
        AT LLOYDS OF                                        General Unsecured: $5,730,011.00 + Unliquidated
        LONDON (HISCOX)
                                                            Total: $5,730,011.00 + Unliquidated
        CERTAIN                                             503(b)(9): $0.00
        INTERESTED                                          Other Administrative: $0.00
        UNDERWRITERS                                        Priority: $0.00
                       Barney Davis,
5638    AT LLOYD'S,                     3293   8/1/2022     Secured: $0.00
                       LLC
        SUBSCRIBING TO                                      General Unsecured: $1,717,116.63 + Unliquidated
        POLICY B0801
        19433U20                                            Total: $1,717,116.63 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 836 of 5163
             Name of
Ref #        Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
                         Nueces Bay,
5639    AT LLOYD'S,                      3444   8/1/2022     Secured: $0.00
                         LLC
        SUBSCRIBING TO                                       General Unsecured: $1,717,116.63 + Unliquidated
        POLICY B0801
        19433U20                                             Total: $1,717,116.63 + Unliquidated
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
5640    AT LLOYD'S,      Laredo, LLC     3525   8/1/2022     Secured: $0.00
        SUBSCRIBING TO                                       General Unsecured: $1,717,116.63 + Unliquidated
        POLICY B0801
        19433U20                                             Total: $1,717,116.63 + Unliquidated
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
                         Nueces Bay,
5641    AT LLOYD'S,                      3511   8/1/2022     Secured: $0.00
                         LLC
        SUBSCRIBING TO                                       General Unsecured: $49,203.04 + Unliquidated
        POLICY B0801
        19436U20                                             Total: $49,203.04 + Unliquidated
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
                         Barney Davis,
5642    AT LLOYD'S,                      3524   8/1/2022     Secured: $0.00
                         LLC
        SUBSCRIBING TO                                       General Unsecured: $49,203.04 + Unliquidated
        POLICY B0801
        19436U20                                             Total: $49,203.04 + Unliquidated
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
5643    AT LLOYD'S,      Laredo, LLC     3570   8/1/2022     Secured: $0.00
        SUBSCRIBING TO                                       General Unsecured: $49,203.04 + Unliquidated
        POLICY B0801
        19436U20                                             Total: $49,203.04 + Unliquidated
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
                         Nueces Bay,
5644    AT LLOYD'S,                      3302   8/1/2022     Secured: $0.00
                         LLC
        SUBSCRIBING TO                                       General Unsecured: $1,735,714.31 + Unliquidated
        POLICY B0801
        19467U20                                             Total: $1,735,714.31 + Unliquidated
        CERTAIN                                              503(b)(9): $0.00
        INTERESTED                                           Other Administrative: $0.00
        UNDERWRITERS                                         Priority: $0.00
                         Barney Davis,
5645    AT LLOYD'S,                      3538   8/1/2022     Secured: $0.00
                         LLC
        SUBSCRIBING TO                                       General Unsecured: $1,735,714.31 + Unliquidated
        POLICY B0801
        19467U20                                             Total: $1,735,714.31 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 837 of 5163
             Name of
Ref #        Claimant  Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
        CERTAIN                                            503(b)(9): $0.00
        INTERESTED                                         Other Administrative: $0.00
        UNDERWRITERS                                       Priority: $0.00
5646    AT LLOYD'S,    Laredo, LLC  3546      8/1/2022     Secured: $0.00
        SUBSCRIBING TO                                     General Unsecured: $1,735,714.31 + Unliquidated
        POLICY B0801
        19467U20                                           Total: $1,735,714.31 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5647                                   2189   7/30/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $3,433,629.94 + Unliquidated
        LONDON
                                                           Total: $3,433,629.94 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5648                   Laredo, LLC     2302   7/30/2022    Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $3,433,629.94 + Unliquidated
        LONDON
                                                           Total: $3,433,629.94 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5649                                   2306   7/30/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $3,433,629.94 + Unliquidated
        LONDON
                                                           Total: $3,433,629.94 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5650                   Laredo, LLC     2445   8/1/2022     Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $71,531,053.00 + Unliquidated
        LONDON
                                                           Total: $71,531,053.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5651                                   2465   8/1/2022     Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $71,531,053.00 + Unliquidated
        LONDON
                                                           Total: $71,531,053.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 838 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5652                                   2498   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $3,190,224.18 + Unliquidated
        LONDON
                                                           Total: $3,190,224.18 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5653                                   2566   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $2,197,416.02 + Unliquidated
        LONDON
                                                           Total: $2,197,416.02 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5654                                   2603   8/1/2022     Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $71,531,053.00 + Unliquidated
        LONDON
                                                           Total: $71,531,053.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5655                   Laredo, LLC     2649   7/31/2022    Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $2,197,416.02 + Unliquidated
        LONDON
                                                           Total: $2,197,416.02 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5656                                   2684   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $2,197,416.02 + Unliquidated
        LONDON
                                                           Total: $2,197,416.02 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5657                                   2712   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $334,902.92 + Unliquidated
        LONDON
                                                           Total: $334,902.92 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 839 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5658                                   2721   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $1,781,991.79 + Unliquidated
        LONDON
                                                           Total: $1,781,991.79 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5659                   Laredo, LLC     2727   7/31/2022    Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $1,781,991.79 + Unliquidated
        LONDON
                                                           Total: $1,781,991.79 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5660                                   2729   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $1,781,991.79 + Unliquidated
        LONDON
                                                           Total: $1,781,991.79 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5661                   Laredo, LLC     2755   7/31/2022    Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $334,902.92 + Unliquidated
        LONDON
                                                           Total: $334,902.92 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5662                                   2766   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $512,757.71 + Unliquidated
        LONDON
                                                           Total: $512,757.71 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5663                   Laredo, LLC     2767   7/31/2022    Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $512,757.71 + Unliquidated
        LONDON
                                                           Total: $512,757.71 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5664                                   2793   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $334,902.92 + Unliquidated
        LONDON
                                                           Total: $334,902.92 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 840 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5665                   Laredo, LLC     2854   8/1/2022     Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $198,152,103.43 + Unliquidated
        LONDON
                                                           Total: $198,152,103.43 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5666                                   2857   8/1/2022     Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $198,152,103.43 + Unliquidated
        LONDON
                                                           Total: $198,152,103.43 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5667                                   2872   8/1/2022     Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $198,152,103.43 + Unliquidated
        LONDON
                                                           Total: $198,152,103.43 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5668                                   2888   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $512,757.71 + Unliquidated
        LONDON
                                                           Total: $512,757.71 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
5669                                   2942   7/31/2022    Secured: $0.00
        AT LLOYDS OF   LLC
                                                           General Unsecured: $3,190,224.18 + Unliquidated
        LONDON
                                                           Total: $3,190,224.18 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CERTAIN
                                                           Priority: $0.00
        UNDERWRITERS
5670                   Laredo, LLC     3007   7/31/2022    Secured: $0.00
        AT LLOYDS OF
                                                           General Unsecured: $3,190,224.18 + Unliquidated
        LONDON
                                                           Total: $3,190,224.18 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 841 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CERTAIN
                                                             Priority: $0.00
        UNDERWRITERS
5671                     Laredo, LLC     1510   7/29/2022    Secured: $0.00
        AT LLOYD'S OF
                                                             General Unsecured: $150,000,000.00 + Unliquidated
        LONDON
                                                             Total: $150,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CERTAIN
                                                             Priority: $0.00
        UNDERWRITERS     Nueces Bay,
5672                                     1519   7/29/2022    Secured: $0.00
        AT LLOYD'S OF    LLC
                                                             General Unsecured: $150,000,000.00 + Unliquidated
        LONDON
                                                             Total: $150,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CERTAIN
                                                             Priority: $0.00
        UNDERWRITERS     Barney Davis,
5673                                     1747   7/29/2022    Secured: $0.00
        AT LLOYD'S OF    LLC
                                                             General Unsecured: $150,000,000.00 + Unliquidated
        LONDON
                                                             Total: $150,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CERTAIN
                                                             Priority: $0.00
        UNDERWRITERS
5674                     Laredo, LLC     2629   7/31/2022    Secured: $0.00
        AT LLOYD'S OF
                                                             General Unsecured: $512,757.71 + Unliquidated
        LONDON
                                                             Total: $512,757.71 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CERTAIN
                                                             Priority: $0.00
        UNDERWRITERS Nueces Bay,
5675                                     3055   8/1/2022     Secured: $0.00
        AT LLOYD'S, BRIT LLC
                                                             General Unsecured: $645,254.65 + Unliquidated
        SYNDICATE‐2987
                                                             Total: $645,254.65 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CERTAIN
                                                             Priority: $0.00
        UNDERWRITERS
5676                     Laredo, LLC     3249   8/1/2022     Secured: $0.00
        AT LLOYD'S, BRIT
                                                             General Unsecured: $645,254.65 + Unliquidated
        SYNDICATE‐2987
                                                             Total: $645,254.65 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 842 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CERTAIN
                                                            Priority: $0.00
        UNDERWRITERS   Barney Davis,
5677                                   1471    7/29/2022    Secured: $0.00
        AT LLOYD'S,    LLC
                                                            General Unsecured: $500,000.00 + Unliquidated
        LONDON
                                                            Total: $500,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CERTAIN
                                                            Priority: $0.00
        UNDERWRITERS
5678                   Laredo, LLC     1872    7/29/2022    Secured: $0.00
        AT LLOYD'S,
                                                            General Unsecured: $500,000.00 + Unliquidated
        LONDON
                                                            Total: $500,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CERTAIN
                                                            Priority: $0.00
        UNDERWRITERS   Nueces Bay,
5679                                   1899    7/29/2022    Secured: $0.00
        AT LLOYD'S,    LLC
                                                            General Unsecured: $500,000.00 + Unliquidated
        LONDON
                                                            Total: $500,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CERVANTES,
5680                   Laredo, LLC     32485   8/1/2022     Secured: $0.00
        LEROY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CERVANTES,     Barney Davis,
5681                                   33476   8/1/2022     Secured: $0.00
        LEROY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CERVANTES,     Nueces Bay,
5682                                   34467   8/1/2022     Secured: $0.00
        LEROY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CERVANTES,     Talen Texas
5683                                   35458   8/1/2022     Secured: $0.00
        LEROY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 843 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Talen Texas,
5684                                  36449   8/1/2022     Secured: $0.00
        LEROY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,
5685                  Laredo, LLC     32486   8/1/2022     Secured: $0.00
        LETICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Barney Davis,
5686                                  33477   8/1/2022     Secured: $0.00
        LETICIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Nueces Bay,
5687                                  34468   8/1/2022     Secured: $0.00
        LETICIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Talen Texas
5688                                  35459   8/1/2022     Secured: $0.00
        LETICIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Talen Texas,
5689                                  36450   8/1/2022     Secured: $0.00
        LETICIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,
5690                  Laredo, LLC     32487   8/1/2022     Secured: $0.00
        MANUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 844 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Barney Davis,
5691                                  33478   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Nueces Bay,
5692                                  34469   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Talen Texas
5693                                  35460   8/1/2022     Secured: $0.00
        MANUEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTES,    Talen Texas,
5694                                  36451   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTEZ,    Barney Davis,
5695                                  7519    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTEZ,
5696                  Laredo, LLC     13269   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CERVANTEZ,    Nueces Bay,
5697                                  19016   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 845 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CERVANTEZ,        Talen Texas
5698                                      24750   8/1/2022     Secured: $0.00
        JENNIFER          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CERVANTEZ,        Talen Texas,
5699                                      30510   8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5700    CESTERO, CARLOS                   4004    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5701    CESTERO, CARLOS Laredo, LLC       9754    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5702    CESTERO, CARLOS                   15501   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5703    CESTERO, CARLOS                   21247   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5704    CESTERO, CARLOS                   26995   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 846 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5705    CHACHERE, BRIAN                   6575    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5706    CHACHERE, BRIAN Laredo, LLC       12325   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5707    CHACHERE, BRIAN                   18072   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5708    CHACHERE, BRIAN                   23807   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5709    CHACHERE, BRIAN                   29566   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CHACON,
5710                      Laredo, LLC     32488   8/1/2022     Secured: $0.00
        GERARDO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CHACON,           Barney Davis,
5711                                      33479   8/1/2022     Secured: $0.00
        GERARDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 847 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHACON,         Nueces Bay,
5712                                    34470   8/1/2022     Secured: $0.00
        GERARDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHACON,         Talen Texas
5713                                    35461   8/1/2022     Secured: $0.00
        GERARDO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHACON,         Talen Texas,
5714                                    36452   8/1/2022     Secured: $0.00
        GERARDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5715    CHACON, SONYA                   5481    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5716    CHACON, SONYA Laredo, LLC       11231   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5717    CHACON, SONYA                   16978   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5718    CHACON, SONYA                   22723   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 848 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5719    CHACON, SONYA                    28472   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5720    CHAIX, MICHAEL                   4513    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5721    CHAIX, MICHAEL   Laredo, LLC     10263   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5722    CHAIX, MICHAEL                   16010   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5723    CHAIX, MICHAEL                   21756   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5724    CHAIX, MICHAEL                   27504   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHALMERS,        Barney Davis,
5725                                     6164    8/1/2022     Secured: $0.00
        NORMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 849 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALMERS,
5726                  Laredo, LLC     11914   8/1/2022     Secured: $0.00
        NORMA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALMERS,     Nueces Bay,
5727                                  17661   8/1/2022     Secured: $0.00
        NORMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALMERS,     Talen Texas
5728                                  23406   8/1/2022     Secured: $0.00
        NORMA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALMERS,     Talen Texas,
5729                                  29155   8/1/2022     Secured: $0.00
        NORMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALUPA,      Barney Davis,
5730                                  9322    8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALUPA,
5731                  Laredo, LLC     15072   8/1/2022     Secured: $0.00
        SHARON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALUPA,      Nueces Bay,
5732                                  20819   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 850 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALUPA,      Talen Texas
5733                                  26551   8/1/2022     Secured: $0.00
        SHARON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHALUPA,      Talen Texas,
5734                                  32313   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAMBERS,     Barney Davis,
5735                                  9273    8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAMBERS,
5736                  Laredo, LLC     15023   8/1/2022     Secured: $0.00
        JOSEPH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAMBERS,     Nueces Bay,
5737                                  20770   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAMBERS,     Talen Texas
5738                                  26502   8/1/2022     Secured: $0.00
        JOSEPH        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAMBERS,     Talen Texas,
5739                                  32264   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 851 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMBLISS,     Barney Davis,
5740                                   4584    8/1/2022     Secured: $0.00
        RACHEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMBLISS,
5741                   Laredo, LLC     10334   8/1/2022     Secured: $0.00
        RACHEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMBLISS,     Nueces Bay,
5742                                   16081   8/1/2022     Secured: $0.00
        RACHEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMBLISS,     Talen Texas
5743                                   21827   8/1/2022     Secured: $0.00
        RACHEL         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMBLISS,     Talen Texas,
5744                                   27575   8/1/2022     Secured: $0.00
        RACHEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMEY,        Barney Davis,
5745                                   8391    8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMEY,
5746                   Laredo, LLC     14141   8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 852 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMEY,        Nueces Bay,
5747                                   19888   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMEY,        Talen Texas
5748                                   25621   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMEY,        Talen Texas,
5749                                   31382   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Barney Davis,
5750                                   8286    8/1/2022     Secured: $0.00
        MONICA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,
5751                   Laredo, LLC     14036   8/1/2022     Secured: $0.00
        MONICA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Nueces Bay,
5752                                   19783   8/1/2022     Secured: $0.00
        MONICA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Talen Texas
5753                                   25517   8/1/2022     Secured: $0.00
        MONICA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 853 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Talen Texas,
5754                                   31277   8/1/2022     Secured: $0.00
        MONICA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Barney Davis,
5755                                   8480    8/1/2022     Secured: $0.00
        RAKEM          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,
5756                   Laredo, LLC     14230   8/1/2022     Secured: $0.00
        RAKEM
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Nueces Bay,
5757                                   19977   8/1/2022     Secured: $0.00
        RAKEM          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Talen Texas
5758                                   25709   8/1/2022     Secured: $0.00
        RAKEM          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPION,      Talen Texas,
5759                                   31471   8/1/2022     Secured: $0.00
        RAKEM          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPIONS      Barney Davis,
5760                                   5912    8/1/2022     Secured: $0.00
        REALTY, LLC    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 854 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPIONS
5761                   Laredo, LLC     11662   8/1/2022     Secured: $0.00
        REALTY, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPIONS      Nueces Bay,
5762                                   17409   8/1/2022     Secured: $0.00
        REALTY, LLC    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPIONS      Talen Texas
5763                                   23154   8/1/2022     Secured: $0.00
        REALTY, LLC    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAMPIONS      Talen Texas,
5764                                   28903   8/1/2022     Secured: $0.00
        REALTY, LLC    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5765    CHAN, DENISE                   6995    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5766    CHAN, DENISE   Laredo, LLC     12745   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5767    CHAN, DENISE                   18492   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 855 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5768    CHAN, DENISE                    24226   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5769    CHAN, DENISE                    29986   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5770    CHANCE, JAMES                   4240    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5771    CHANCE, JAMES   Laredo, LLC     9990    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5772    CHANCE, JAMES                   15737   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5773    CHANCE, JAMES                   21483   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5774    CHANCE, JAMES                   27231   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 856 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Barney Davis,
5775                                  5605    8/1/2022     Secured: $0.00
        JAMES MARK    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,
5776                  Laredo, LLC     11355   8/1/2022     Secured: $0.00
        JAMES MARK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Nueces Bay,
5777                                  17102   8/1/2022     Secured: $0.00
        JAMES MARK    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Talen Texas
5778                                  22847   8/1/2022     Secured: $0.00
        JAMES MARK    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Talen Texas,
5779                                  28596   8/1/2022     Secured: $0.00
        JAMES MARK    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Barney Davis,
5780                                  8224    8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,
5781                  Laredo, LLC     13974   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 857 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Nueces Bay,
5782                                  19721   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Talen Texas
5783                                  25455   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Talen Texas,
5784                                  31215   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Barney Davis,
5785                                  8855    8/1/2022     Secured: $0.00
        SONNY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,
5786                  Laredo, LLC     14605   8/1/2022     Secured: $0.00
        SONNY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Nueces Bay,
5787                                  20352   8/1/2022     Secured: $0.00
        SONNY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHANDLER,     Talen Texas
5788                                  26084   8/1/2022     Secured: $0.00
        SONNY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 858 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHANDLER,       Talen Texas,
5789                                    31846   8/1/2022     Secured: $0.00
        SONNY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5790    CHANG, SYLAN                    8914    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5791    CHANG, SYLAN    Laredo, LLC     14664   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5792    CHANG, SYLAN                    20411   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5793    CHANG, SYLAN                    26143   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5794    CHANG, SYLAN                    31905   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5795    CHAPA, PATRICIA Laredo, LLC     32489   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 859 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5796    CHAPA, PATRICIA                   33480   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5797    CHAPA, PATRICIA                   34471   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5798    CHAPA, PATRICIA                   35462   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5799    CHAPA, PATRICIA                   36453   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5800    CHAPA, ROSA                       6174    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5801    CHAPA, ROSA       Laredo, LLC     11924   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5802    CHAPA, ROSA                       17671   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 860 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5803    CHAPA, ROSA                       23416   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5804    CHAPA, ROSA                       29165   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5805    CHAPIN, JEFFREY                   7504    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5806    CHAPIN, JEFFREY Laredo, LLC       13254   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5807    CHAPIN, JEFFREY                   19001   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5808    CHAPIN, JEFFREY                   24735   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5809    CHAPIN, JEFFREY                   30495   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 861 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5810    CHAPMAN, ANN                   6406    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5811    CHAPMAN, ANN   Laredo, LLC     12156   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5812    CHAPMAN, ANN                   17903   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5813    CHAPMAN, ANN                   23638   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5814    CHAPMAN, ANN                   29397   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAPMAN,       Barney Davis,
5815                                   5137    8/1/2022     Secured: $0.00
        MARSHA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAPMAN,
5816                   Laredo, LLC     10887   8/1/2022     Secured: $0.00
        MARSHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 862 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPMAN,      Nueces Bay,
5817                                  16634   8/1/2022     Secured: $0.00
        MARSHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPMAN,      Talen Texas
5818                                  22379   8/1/2022     Secured: $0.00
        MARSHA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPMAN,      Talen Texas,
5819                                  28128   8/1/2022     Secured: $0.00
        MARSHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPPELL,     Barney Davis,
5820                                  7819    8/1/2022     Secured: $0.00
        KENNON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPPELL,
5821                  Laredo, LLC     13569   8/1/2022     Secured: $0.00
        KENNON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPPELL,     Nueces Bay,
5822                                  19316   8/1/2022     Secured: $0.00
        KENNON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAPPELL,     Talen Texas
5823                                  25050   8/1/2022     Secured: $0.00
        KENNON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 863 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHAPPELL,        Talen Texas,
5824                                     30810   8/1/2022     Secured: $0.00
        KENNON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5825    CHARLES, ALISA                   5728    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5826    CHARLES, ALISA   Laredo, LLC     11478   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5827    CHARLES, ALISA                   17225   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5828    CHARLES, ALISA                   22970   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5829    CHARLES, ALISA                   28719   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHARLES,         Barney Davis,
5830                                     7915    8/1/2022     Secured: $0.00
        LASSITER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 864 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHARLES,
5831                    Laredo, LLC     13665   8/1/2022     Secured: $0.00
        LASSITER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHARLES,        Nueces Bay,
5832                                    19412   8/1/2022     Secured: $0.00
        LASSITER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHARLES,        Talen Texas
5833                                    25146   8/1/2022     Secured: $0.00
        LASSITER        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHARLES,        Talen Texas,
5834                                    30906   8/1/2022     Secured: $0.00
        LASSITER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5835    CHARLES, NICK                   5179    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5836    CHARLES, NICK   Laredo, LLC     10929   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5837    CHARLES, NICK                   16676   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 865 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5838    CHARLES, NICK                   22421   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5839    CHARLES, NICK                   28170   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
5840    CHARO, ALBERT   Laredo, LLC     32490   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
5841    CHARO, ALBERT                   33481   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5842    CHARO, ALBERT                   34472   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5843    CHARO, ALBERT                   35463   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5844    CHARO, ALBERT                   36454   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 866 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5845    CHASE, SANDRA K                   5269    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5846    CHASE, SANDRA K Laredo, LLC       11019   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5847    CHASE, SANDRA K                   16766   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5848    CHASE, SANDRA K                   22511   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5849    CHASE, SANDRA K                   28260   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5850    CHASON, GRADY                     5897    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5851    CHASON, GRADY     Laredo, LLC     11647   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 867 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
5852    CHASON, GRADY                   17394   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
5853    CHASON, GRADY                   23139   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
5854    CHASON, GRADY                   28888   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHATMAN,        Barney Davis,
5855                                    6087    8/1/2022     Secured: $0.00
        CLIFTON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHATMAN,
5856                    Laredo, LLC     11837   8/1/2022     Secured: $0.00
        CLIFTON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHATMAN,        Nueces Bay,
5857                                    17584   8/1/2022     Secured: $0.00
        CLIFTON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHATMAN,        Talen Texas
5858                                    23329   8/1/2022     Secured: $0.00
        CLIFTON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 868 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHATMAN,         Talen Texas,
5859                                     29078   8/1/2022     Secured: $0.00
        CLIFTON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHAUCER                                               Priority: $0.00
                         Barney Davis,
5860    SYNDICATES                       1930    7/30/2022    Secured: $0.00
                         LLC
        LIMITED                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHAUCER                                               Priority: $0.00
                         Nueces Bay,
5861    SYNDICATES                       1960    7/30/2022    Secured: $0.00
                         LLC
        LIMITED                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHAUCER                                               Priority: $0.00
5862    SYNDICATES       Laredo, LLC     1963    7/30/2022    Secured: $0.00
        LIMITED                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5863    CHAVES, ESTHER                   7202    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5864    CHAVES, ESTHER   Laredo, LLC     12952   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5865    CHAVES, ESTHER                   18699   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 869 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5866    CHAVES, ESTHER                   24433   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5867    CHAVES, ESTHER                   30193   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5868    CHAVES, MARIA    Laredo, LLC     32491   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5869    CHAVES, MARIA                    33482   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5870    CHAVES, MARIA                    34473   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5871    CHAVES, MARIA                    35464   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5872    CHAVES, MARIA                    36455   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 870 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5873    CHAVEZ, ALAN                   3904    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5874    CHAVEZ, ALAN   Laredo, LLC     9654    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5875    CHAVEZ, ALAN                   15401   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5876    CHAVEZ, ALAN                   21148   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5877    CHAVEZ, ALAN                   26895   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,        Barney Davis,
5878                                   6317    8/1/2022     Secured: $0.00
        ALESSANDRA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,
5879                   Laredo, LLC     12067   8/1/2022     Secured: $0.00
        ALESSANDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 871 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,       Nueces Bay,
5880                                  17814   8/1/2022     Secured: $0.00
        ALESSANDRA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,       Talen Texas
5881                                  23549   8/1/2022     Secured: $0.00
        ALESSANDRA    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,       Talen Texas,
5882                                  29308   8/1/2022     Secured: $0.00
        ALESSANDRA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,       Barney Davis,
5883                                  6819    8/1/2022     Secured: $0.00
        CONSUELO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,
5884                  Laredo, LLC     12569   8/1/2022     Secured: $0.00
        CONSUELO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,       Nueces Bay,
5885                                  18316   8/1/2022     Secured: $0.00
        CONSUELO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CHAVEZ,       Talen Texas
5886                                  24050   8/1/2022     Secured: $0.00
        CONSUELO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 872 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,        Talen Texas,
5887                                   29810   8/1/2022     Secured: $0.00
        CONSUELO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,        Barney Davis,
5888                                   7127    8/1/2022     Secured: $0.00
        EDELMIRA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,
5889                   Laredo, LLC     12877   8/1/2022     Secured: $0.00
        EDELMIRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,        Nueces Bay,
5890                                   18624   8/1/2022     Secured: $0.00
        EDELMIRA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,        Talen Texas
5891                                   24358   8/1/2022     Secured: $0.00
        EDELMIRA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHAVEZ,        Talen Texas,
5892                                   30118   8/1/2022     Secured: $0.00
        EDELMIRA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5893    CHAVEZ, JOE                    7588    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 873 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5894    CHAVEZ, JOE    Laredo, LLC     13338   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5895    CHAVEZ, JOE                    19085   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5896    CHAVEZ, JOE                    24819   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5897    CHAVEZ, JOE                    30579   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
5898    CHAVEZ, JUAN                   7696    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
5899    CHAVEZ, JUAN   Laredo, LLC     13446   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5900    CHAVEZ, JUAN                   19193   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 874 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5901    CHAVEZ, JUAN                      24927   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5902    CHAVEZ, JUAN                      30687   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5903    CHAVEZ, JUANITA                   7706    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5904    CHAVEZ, JUANITA Laredo, LLC       13456   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5905    CHAVEZ, JUANITA                   19203   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5906    CHAVEZ, JUANITA                   24937   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5907    CHAVEZ, JUANITA                   30697   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 875 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5908    CHAVEZ, SUSANA Laredo, LLC       32492   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5909    CHAVEZ, SUSANA                   33483   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5910    CHAVEZ, SUSANA                   34474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5911    CHAVEZ, SUSANA                   35465   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5912    CHAVEZ, SUSANA                   36456   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5913    CHEEK, DAVVENE                   6943    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5914    CHEEK, DAVVENE Laredo, LLC       12693   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 876 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5915    CHEEK, DAVVENE                   18440   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5916    CHEEK, DAVVENE                   24174   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5917    CHEEK, DAVVENE                   29934   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5918    CHENG, PENG‐YU                   5562    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5919    CHENG, PENG‐YU Laredo, LLC       11312   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5920    CHENG, PENG‐YU                   17059   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5921    CHENG, PENG‐YU                   22804   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 877 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5922    CHENG, PENG‐YU                   28553   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5923    CHENIER, MARY                    8152    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5924    CHENIER, MARY    Laredo, LLC     13902   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5925    CHENIER, MARY                    19649   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5926    CHENIER, MARY                    25383   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5927    CHENIER, MARY                    31143   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHERRY,          Barney Davis,
5928                                     7896    8/1/2022     Secured: $0.00
        LAKEISHA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 878 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY,
5929                   Laredo, LLC     13646   8/1/2022     Secured: $0.00
        LAKEISHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY,        Nueces Bay,
5930                                   19393   8/1/2022     Secured: $0.00
        LAKEISHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY,        Talen Texas
5931                                   25127   8/1/2022     Secured: $0.00
        LAKEISHA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY,        Talen Texas,
5932                                   30887   8/1/2022     Secured: $0.00
        LAKEISHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY‐CROW,   Barney Davis,
5933                                   8934    8/1/2022     Secured: $0.00
        TAMMELA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY‐CROW,
5934                   Laredo, LLC     14684   8/1/2022     Secured: $0.00
        TAMMELA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHERRY‐CROW,   Nueces Bay,
5935                                   20431   8/1/2022     Secured: $0.00
        TAMMELA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 879 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHERRY‐CROW,     Talen Texas
5936                                    26163   8/1/2022     Secured: $0.00
        TAMMELA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CHERRY‐CROW,     Talen Texas,
5937                                    31925   8/1/2022     Secured: $0.00
        TAMMELA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CHERYL HAYES AS
                                                             Priority: $0.00
        HEIR OF THE     Barney Davis,
5938                                    5418    8/1/2022     Secured: $0.00
        ESTATE OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        BRIDGET CLARK
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CHERYL HAYES AS
                                                             Priority: $0.00
        HEIR OF THE
5939                    Laredo, LLC     11168   8/1/2022     Secured: $0.00
        ESTATE OF
                                                             General Unsecured: $0.00 + Unliquidated
        BRIDGET CLARK
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CHERYL HAYES AS
                                                             Priority: $0.00
        HEIR OF THE     Nueces Bay,
5940                                    16915   8/1/2022     Secured: $0.00
        ESTATE OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        BRIDGET CLARK
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CHERYL HAYES AS
                                                             Priority: $0.00
        HEIR OF THE     Talen Texas
5941                                    22660   8/1/2022     Secured: $0.00
        ESTATE OF       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        BRIDGET CLARK
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CHERYL HAYES AS
                                                             Priority: $0.00
        HEIR OF THE     Talen Texas,
5942                                    28409   8/1/2022     Secured: $0.00
        ESTATE OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        BRIDGET CLARK
                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 880 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        CHERYL ROSE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
5943    AND AS HEIR OF                   5390    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RONALD ROSE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CHERYL ROSE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
5944    AND AS HEIR OF   Laredo, LLC     11140   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RONALD ROSE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CHERYL ROSE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
5945    AND AS HEIR OF                   16887   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RONALD ROSE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CHERYL ROSE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
5946    AND AS HEIR OF                   22632   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RONALD ROSE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CHERYL ROSE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
5947    AND AS HEIR OF                   28381   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RONALD ROSE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5948    CHESAH, DENIS                    5778    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5949    CHESAH, DENIS    Laredo, LLC     11528   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 881 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5950    CHESAH, DENIS                     17275   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5951    CHESAH, DENIS                     23020   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5952    CHESAH, DENIS                     28769   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5953    CHEVIS, SAUNDRA                   8755    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5954    CHEVIS, SAUNDRA Laredo, LLC       14505   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5955    CHEVIS, SAUNDRA                   20252   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5956    CHEVIS, SAUNDRA                   25984   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 882 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5957    CHEVIS, SAUNDRA                   31746   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5958    CHILDERS, KAREN                   7746    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5959    CHILDERS, KAREN Laredo, LLC       13496   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5960    CHILDERS, KAREN                   19243   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5961    CHILDERS, KAREN                   24977   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5962    CHILDERS, KAREN                   30737   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CHIOVITTI,        Barney Davis,
5963                                      7844    8/1/2022     Secured: $0.00
        KIMBERLY ANN      LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 883 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHIOVITTI,
5964                     Laredo, LLC     13594   8/1/2022     Secured: $0.00
        KIMBERLY ANN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHIOVITTI,       Nueces Bay,
5965                                     19341   8/1/2022     Secured: $0.00
        KIMBERLY ANN     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHIOVITTI,       Talen Texas
5966                                     25075   8/1/2022     Secured: $0.00
        KIMBERLY ANN     Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHIOVITTI,       Talen Texas,
5967                                     30835   8/1/2022     Secured: $0.00
        KIMBERLY ANN     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5968    CHOATE, ANGELA                   3927    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5969    CHOATE, ANGELA Laredo, LLC       9677    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5970    CHOATE, ANGELA                   15424   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 884 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5971    CHOATE, ANGELA                   21171   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5972    CHOATE, ANGELA                   26918   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
5973    CHOATE, MARSHA                   8136    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
5974    CHOATE, MARSHA Laredo, LLC       13886   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
5975    CHOATE, MARSHA                   19633   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
5976    CHOATE, MARSHA                   25367   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
5977    CHOATE, MARSHA                   31127   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 885 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5978    CHOMBO, LATICIA                   7919    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5979    CHOMBO, LATICIA Laredo, LLC       13669   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
5980    CHOMBO, LATICIA                   19416   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
5981    CHOMBO, LATICIA                   25150   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
5982    CHOMBO, LATICIA                   30910   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
5983    CHRISS, TONY                      4752    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
5984    CHRISS, TONY      Laredo, LLC     10502   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 886 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
5985    CHRISS, TONY                   16249   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
5986    CHRISS, TONY                   21995   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
5987    CHRISS, TONY                   27743   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRISTOFF,     Barney Davis,
5988                                   8426    8/1/2022     Secured: $0.00
        PAULETTE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRISTOFF,
5989                   Laredo, LLC     14176   8/1/2022     Secured: $0.00
        PAULETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRISTOFF,     Nueces Bay,
5990                                   19923   8/1/2022     Secured: $0.00
        PAULETTE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRISTOFF,     Talen Texas
5991                                   25656   8/1/2022     Secured: $0.00
        PAULETTE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 887 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRISTOFF,     Talen Texas,
5992                                   31417   8/1/2022     Secured: $0.00
        PAULETTE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRUSCIEL,     Barney Davis,
5993                                   3935    8/1/2022     Secured: $0.00
        ANTHONY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRUSCIEL,
5994                   Laredo, LLC     9685    8/1/2022     Secured: $0.00
        ANTHONY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRUSCIEL,     Nueces Bay,
5995                                   15432   8/1/2022     Secured: $0.00
        ANTHONY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRUSCIEL,     Talen Texas
5996                                   21178   8/1/2022     Secured: $0.00
        ANTHONY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CHRUSCIEL,     Talen Texas,
5997                                   26926   8/1/2022     Secured: $0.00
        ANTHONY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB CUSTOM                                        Priority: $0.00
5998    INSURANCE      Laredo, LLC     1933    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $309,639.78 + Unliquidated

                                                            Total: $309,639.78 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 888 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB CUSTOM                                       Priority: $0.00
                       Barney Davis,
5999    INSURANCE                      1964   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $309,639.78 + Unliquidated

                                                           Total: $309,639.78 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB CUSTOM                                       Priority: $0.00
                       Nueces Bay,
6000    INSURANCE                      1998   7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $309,639.78 + Unliquidated

                                                           Total: $309,639.78 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB                                              Priority: $0.00
                       Nueces Bay,
6001    EUROPEAN                       2156   8/1/2022     Secured: $0.00
                       LLC
        GROUP, SE                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB                                              Priority: $0.00
                       Barney Davis,
6002    EUROPEAN                       2573   8/1/2022     Secured: $0.00
                       LLC
        GROUP, SE                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB                                              Priority: $0.00
                       Nueces Bay,
6003    EUROPEAN                       2928   8/1/2022     Secured: $0.00
                       LLC
        GROUP, SE                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB                                              Priority: $0.00
6004    EUROPEAN       Laredo, LLC     3373   8/1/2022     Secured: $0.00
        GROUP, SE                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CHUBB                                              Priority: $0.00
                       Barney Davis,
6005    EUROPEAN                       3429   8/1/2022     Secured: $0.00
                       LLC
        GROUP, SE                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 889 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB                                               Priority: $0.00
6006    EUROPEAN        Laredo, LLC     3456   8/1/2022     Secured: $0.00
        GROUP, SE                                           General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB LLOYDS
                                                            Priority: $0.00
        INSURANCE
6007                    Laredo, LLC     1999   7/29/2022    Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $236,801,607.71 + Unliquidated
        TEXAS
                                                            Total: $236,801,607.71 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB LLOYDS
                                                            Priority: $0.00
        INSURANCE       Nueces Bay,
6008                                    2384   7/29/2022    Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $236,801,607.71 + Unliquidated
        TEXAS
                                                            Total: $236,801,607.71 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB LLOYDS
                                                            Priority: $0.00
        INSURANCE       Barney Davis,
6009                                    2437   7/29/2022    Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $236,801,607.71 + Unliquidated
        TEXAS
                                                            Total: $236,801,607.71 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB NATIONAL                                      Priority: $0.00
                       Barney Davis,
6010    INSURANCE                       1965   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $93,354.52 + Unliquidated

                                                            Total: $93,354.52 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CHUBB NATIONAL                                      Priority: $0.00
6011    INSURANCE      Laredo, LLC      2239   7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $93,354.52 + Unliquidated

                                                            Total: $93,354.52 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 890 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHUBB NATIONAL                                        Priority: $0.00
                       Nueces Bay,
6012    INSURANCE                        2383    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                               General Unsecured: $93,354.52 + Unliquidated

                                                              Total: $93,354.52 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHUBB
                                                              Priority: $0.00
        UNDERWRITING     Nueces Bay,
6013                                     2056    7/30/2022    Secured: $0.00
        AGENCIES         LLC
                                                              General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHUBB
                                                              Priority: $0.00
        UNDERWRITING     Barney Davis,
6014                                     2060    7/30/2022    Secured: $0.00
        AGENCIES         LLC
                                                              General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CHUBB
                                                              Priority: $0.00
        UNDERWRITING
6015                     Laredo, LLC     2062    7/30/2022    Secured: $0.00
        AGENCIES
                                                              General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHUOKE,          Barney Davis,
6016                                     5199    8/1/2022     Secured: $0.00
        PATRICIA KARIN   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHUOKE,
6017                     Laredo, LLC     10949   8/1/2022     Secured: $0.00
        PATRICIA KARIN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CHUOKE,          Nueces Bay,
6018                                     16696   8/1/2022     Secured: $0.00
        PATRICIA KARIN   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 891 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CHUOKE,           Talen Texas
6019                                      22441   8/1/2022     Secured: $0.00
        PATRICIA KARIN    Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CHUOKE,           Talen Texas,
6020                                      28190   8/1/2022     Secured: $0.00
        PATRICIA KARIN    LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CHURCH MUTUAL                                          Priority: $0.00
                      Nueces Bay,
6021    INSURANCE                         2414    7/31/2022    Secured: $0.00
                      LLC
        COMPANY SI                                             General Unsecured: $66,541,980.81 + Unliquidated

                                                               Total: $66,541,980.81 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CHURCH MUTUAL                                          Priority: $0.00
6022    INSURANCE     Laredo, LLC         2479    7/31/2022    Secured: $0.00
        COMPANY SI                                             General Unsecured: $66,541,980.81 + Unliquidated

                                                               Total: $66,541,980.81 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CHURCH MUTUAL                                          Priority: $0.00
                      Barney Davis,
6023    INSURANCE                         2583    7/31/2022    Secured: $0.00
                      LLC
        COMPANY SI                                             General Unsecured: $66,541,980.81 + Unliquidated

                                                               Total: $66,541,980.81 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6024    CIPRIAN, ASHLEY                   6459    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 892 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
6025    CIPRIAN, ASHLEY    Laredo, LLC     12209   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
6026    CIPRIAN, ASHLEY                    17956   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
6027    CIPRIAN, ASHLEY                    23691   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
6028    CIPRIAN, ASHLEY                    29450   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
6029    CISNEROS, DEBBIE                   4103    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
6030    CISNEROS, DEBBIE Laredo, LLC       9853    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
6031    CISNEROS, DEBBIE                   15600   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 893 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
6032    CISNEROS, DEBBIE                    21346   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
6033    CISNEROS, DEBBIE                    27094   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
6034    CISNEROS, HEIDI B                   5791    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
6035    CISNEROS, HEIDI B Laredo, LLC       11541   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
6036    CISNEROS, HEIDI B                   17288   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
6037    CISNEROS, HEIDI B                   23033   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
6038    CISNEROS, HEIDI B                   28782   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 894 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6039    CISNEROS, MARIA                   9290    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6040    CISNEROS, MARIA Laredo, LLC       15040   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6041    CISNEROS, MARIA                   20787   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6042    CISNEROS, MARIA                   26519   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6043    CISNEROS, MARIA                   32281   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6044    CISNEROS, RAUL                    8503    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6045    CISNEROS, RAUL    Laredo, LLC     14253   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 895 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6046    CISNEROS, RAUL                   20000   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6047    CISNEROS, RAUL                   25732   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6048    CISNEROS, RAUL                   31494   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6049    CISSE, DAOUDA                    6901    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6050    CISSE, DAOUDA    Laredo, LLC     12651   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6051    CISSE, DAOUDA                    18398   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6052    CISSE, DAOUDA                    24132   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 896 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6053    CISSE, DAOUDA                   29892   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CITY NATIONAL                                        Priority: $0.00
6054    INSURANCE       Laredo, LLC     3336    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CITY NATIONAL                                        Priority: $0.00
                        Barney Davis,
6055    INSURANCE                       3349    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CITY NATIONAL                                        Priority: $0.00
                        Nueces Bay,
6056    INSURANCE                       3480    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6057    CITY, SHIRLEY                   5307    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6058    CITY, SHIRLEY   Laredo, LLC     11057   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6059    CITY, SHIRLEY                   16804   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 897 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6060    CITY, SHIRLEY                   22549   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6061    CITY, SHIRLEY                   28298   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6062    CIUS, NADINE                    8302    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6063    CIUS, NADINE    Laredo, LLC     14052   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6064    CIUS, NADINE                    19799   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6065    CIUS, NADINE                    25533   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6066    CIUS, NADINE                    31293   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 898 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CIVIC PROPERTY                                        Priority: $0.00
                         Barney Davis,
6067    AND CASUALTY                     3184    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CIVIC PROPERTY                                        Priority: $0.00
6068    AND CASUALTY     Laredo, LLC     3188    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CIVIC PROPERTY                                        Priority: $0.00
                         Nueces Bay,
6069    AND CASUALTY                     3192    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CIVITELLO,       Barney Davis,
6070                                     4928    8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CIVITELLO,
6071                     Laredo, LLC     10678   8/1/2022     Secured: $0.00
        DEBORAH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CIVITELLO,       Nueces Bay,
6072                                     16425   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CIVITELLO,       Talen Texas
6073                                     22170   8/1/2022     Secured: $0.00
        DEBORAH          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 899 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CIVITELLO,      Talen Texas,
6074                                    27919   8/1/2022     Secured: $0.00
        DEBORAH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CLANTON,
6075                    Laredo, LLC     32493   8/1/2022     Secured: $0.00
        BARBARA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CLANTON,        Barney Davis,
6076                                    33484   8/1/2022     Secured: $0.00
        BARBARA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CLANTON,        Nueces Bay,
6077                                    34475   8/1/2022     Secured: $0.00
        BARBARA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CLANTON,        Talen Texas
6078                                    35466   8/1/2022     Secured: $0.00
        BARBARA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CLANTON,        Talen Texas,
6079                                    36457   8/1/2022     Secured: $0.00
        BARBARA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6080    CLARK, ADRIAN   Laredo, LLC     32494   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 900 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6081    CLARK, ADRIAN                   33485   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6082    CLARK, ADRIAN                   34476   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6083    CLARK, ADRIAN                   35467   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6084    CLARK, ADRIAN                   36458   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6085    CLARK, BOBBIE                   5731    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6086    CLARK, BOBBIE   Laredo, LLC     11481   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6087    CLARK, BOBBIE                   17228   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 901 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6088    CLARK, BOBBIE                    22973   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6089    CLARK, BOBBIE                    28722   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6090    CLARK, CYNTHIA                   6858    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6091    CLARK, CYNTHIA   Laredo, LLC     12608   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6092    CLARK, CYNTHIA                   18355   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6093    CLARK, CYNTHIA                   24089   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6094    CLARK, CYNTHIA                   29849   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 902 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6095    CLARK, GLENN                   5980    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6096    CLARK, GLENN   Laredo, LLC     11730   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6097    CLARK, GLENN                   17477   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6098    CLARK, GLENN                   23222   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6099    CLARK, GLENN                   28971   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6100    CLARK, JERRY                   7546    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6101    CLARK, JERRY   Laredo, LLC     13296   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 903 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6102    CLARK, JERRY                   19043   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6103    CLARK, JERRY                   24777   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6104    CLARK, JERRY                   30537   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6105    CLARK, KELLY                   9276    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6106    CLARK, KELLY   Laredo, LLC     15026   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6107    CLARK, KELLY                   20773   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6108    CLARK, KELLY                   26505   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 904 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6109    CLARK, KELLY                     32267   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6110    CLARK, LARRY                     7910    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6111    CLARK, LARRY     Laredo, LLC     13660   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6112    CLARK, LARRY                     19407   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6113    CLARK, LARRY                     25141   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6114    CLARK, LARRY                     30901   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6115    CLARK, LAVETTA                   7937    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 905 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6116    CLARK, LAVETTA   Laredo, LLC     13687   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6117    CLARK, LAVETTA                   19434   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6118    CLARK, LAVETTA                   25168   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6119    CLARK, LAVETTA                   30928   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6120    CLARK, MADISON                   8046    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6121    CLARK, MADISON Laredo, LLC       13796   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6122    CLARK, MADISON                   19543   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 906 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6123    CLARK, MADISON                   25277   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6124    CLARK, MADISON                   31037   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6125    CLARK, MARK                      8114    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6126    CLARK, MARK      Laredo, LLC     13864   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6127    CLARK, MARK                      19611   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6128    CLARK, MARK                      25345   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6129    CLARK, MARK                      31105   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 907 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6130    CLARK, MICHAEL   Laredo, LLC     32495   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6131    CLARK, MICHAEL                   33486   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6132    CLARK, MICHAEL                   34477   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6133    CLARK, MICHAEL                   35468   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6134    CLARK, MICHAEL                   36459   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6135    CLARK, PATSY                     4565    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6136    CLARK, PATSY     Laredo, LLC     10315   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 908 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6137    CLARK, PATSY                     16062   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6138    CLARK, PATSY                     21808   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6139    CLARK, PATSY                     27556   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6140    CLARK, RAYMOND Laredo, LLC       32496   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6141    CLARK, RAYMOND                   33487   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6142    CLARK, RAYMOND                   34478   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6143    CLARK, RAYMOND                   35469   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 909 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6144    CLARK, RAYMOND                   36460   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6145    CLARK, REUBEN                    4601    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6146    CLARK, REUBEN    Laredo, LLC     10351   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6147    CLARK, REUBEN                    16098   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6148    CLARK, REUBEN                    21844   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6149    CLARK, REUBEN                    27592   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6150    CLARK, SHANEKA                   4667    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 910 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6151    CLARK, SHANEKA Laredo, LLC       10417   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6152    CLARK, SHANEKA                   16164   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6153    CLARK, SHANEKA                   21910   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6154    CLARK, SHANEKA                   27658   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6155    CLARK, VALERIE                   5355    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6156    CLARK, VALERIE   Laredo, LLC     11105   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6157    CLARK, VALERIE                   16852   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 911 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6158    CLARK, VALERIE                   22597   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6159    CLARK, VALERIE                   28346   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6160    CLARK, VICKI     Laredo, LLC     32497   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6161    CLARK, VICKI                     33488   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6162    CLARK, VICKI                     34479   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6163    CLARK, VICKI                     35470   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6164    CLARK, VICKI                     36461   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 912 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAWSON,
6165                   Laredo, LLC     32498   8/1/2022     Secured: $0.00
        DENESA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAWSON,       Barney Davis,
6166                                   33489   8/1/2022     Secured: $0.00
        DENESA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAWSON,       Nueces Bay,
6167                                   34480   8/1/2022     Secured: $0.00
        DENESA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAWSON,       Talen Texas
6168                                   35471   8/1/2022     Secured: $0.00
        DENESA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAWSON,       Talen Texas,
6169                                   36462   8/1/2022     Secured: $0.00
        DENESA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6170    CLAY, ROBERT                   8594    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6171    CLAY, ROBERT   Laredo, LLC     14344   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 913 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6172    CLAY, ROBERT                   20091   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6173    CLAY, ROBERT                   25823   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6174    CLAY, ROBERT                   31585   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAYTON,       Barney Davis,
6175                                   3980    8/1/2022     Secured: $0.00
        BRANDY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAYTON,
6176                   Laredo, LLC     9730    8/1/2022     Secured: $0.00
        BRANDY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAYTON,       Nueces Bay,
6177                                   15477   8/1/2022     Secured: $0.00
        BRANDY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLAYTON,       Talen Texas
6178                                   21223   8/1/2022     Secured: $0.00
        BRANDY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 914 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Talen Texas,
6179                                     26971   8/1/2022     Secured: $0.00
        BRANDY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Barney Davis,
6180                                     8052    8/1/2022     Secured: $0.00
        MANDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,
6181                     Laredo, LLC     13802   8/1/2022     Secured: $0.00
        MANDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Nueces Bay,
6182                                     19549   8/1/2022     Secured: $0.00
        MANDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Talen Texas
6183                                     25283   8/1/2022     Secured: $0.00
        MANDA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Talen Texas,
6184                                     31043   8/1/2022     Secured: $0.00
        MANDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6185    CLAYTON, RICKY                   4614    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 915 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6186    CLAYTON, RICKY   Laredo, LLC     10364   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6187    CLAYTON, RICKY                   16111   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6188    CLAYTON, RICKY                   21857   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6189    CLAYTON, RICKY                   27605   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Barney Davis,
6190                                     4778    8/1/2022     Secured: $0.00
        WENDOLYN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,
6191                     Laredo, LLC     10528   8/1/2022     Secured: $0.00
        WENDOLYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLAYTON,         Nueces Bay,
6192                                     16275   8/1/2022     Secured: $0.00
        WENDOLYN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 916 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLAYTON,      Talen Texas
6193                                  22021   8/1/2022     Secured: $0.00
        WENDOLYN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLAYTON,      Talen Texas,
6194                                  27769   8/1/2022     Secured: $0.00
        WENDOLYN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CLEAR BLUE                                         Priority: $0.00
                      Barney Davis,
6195    INSURANCE                     2424    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $8,253,329.75 + Unliquidated

                                                           Total: $8,253,329.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CLEAR BLUE                                         Priority: $0.00
                      Nueces Bay,
6196    INSURANCE                     2497    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $8,253,329.75 + Unliquidated

                                                           Total: $8,253,329.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CLEAR BLUE                                         Priority: $0.00
6197    INSURANCE     Laredo, LLC     2499    7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $8,253,329.75 + Unliquidated

                                                           Total: $8,253,329.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CLEAR BLUE
                                                           Priority: $0.00
        SPECIALTY     Nueces Bay,
6198                                  2502    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $297,916.30 + Unliquidated
        COMPANY
                                                           Total: $297,916.30 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CLEAR BLUE
                                                           Priority: $0.00
        SPECIALTY
6199                  Laredo, LLC     2571    7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $297,916.30 + Unliquidated
        COMPANY
                                                           Total: $297,916.30 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 917 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CLEAR BLUE
                                                           Priority: $0.00
        SPECIALTY     Barney Davis,
6200                                  2769    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $297,916.30 + Unliquidated
        COMPANY
                                                           Total: $297,916.30 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENT,      Barney Davis,
6201                                  6621    8/1/2022     Secured: $0.00
        CAMILLA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENT,
6202                  Laredo, LLC     12371   8/1/2022     Secured: $0.00
        CAMILLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENT,      Nueces Bay,
6203                                  18118   8/1/2022     Secured: $0.00
        CAMILLA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENT,      Talen Texas
6204                                  23852   8/1/2022     Secured: $0.00
        CAMILLA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENT,      Talen Texas,
6205                                  29612   8/1/2022     Secured: $0.00
        CAMILLA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENTS,
6206                  Laredo, LLC     32499   8/1/2022     Secured: $0.00
        LEONARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 918 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENTS,     Barney Davis,
6207                                  33490   8/1/2022     Secured: $0.00
        LEONARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENTS,     Nueces Bay,
6208                                  34481   8/1/2022     Secured: $0.00
        LEONARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENTS,     Talen Texas
6209                                  35472   8/1/2022     Secured: $0.00
        LEONARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMENTS,     Talen Texas,
6210                                  36463   8/1/2022     Secured: $0.00
        LEONARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMONS,      Barney Davis,
6211                                  4261    8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMONS,
6212                  Laredo, LLC     10011   8/1/2022     Secured: $0.00
        JEANETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMONS,      Nueces Bay,
6213                                  15758   8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 919 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMONS,      Talen Texas
6214                                  21504   8/1/2022     Secured: $0.00
        JEANETTE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEMONS,      Talen Texas,
6215                                  27252   8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDENING,   Barney Davis,
6216                                  4507    8/1/2022     Secured: $0.00
        MELISSA KIM   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDENING,
6217                  Laredo, LLC     10257   8/1/2022     Secured: $0.00
        MELISSA KIM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDENING,   Nueces Bay,
6218                                  16004   8/1/2022     Secured: $0.00
        MELISSA KIM   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDENING,   Talen Texas
6219                                  21750   8/1/2022     Secured: $0.00
        MELISSA KIM   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDENING,   Talen Texas,
6220                                  27498   8/1/2022     Secured: $0.00
        MELISSA KIM   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 920 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDON,      Barney Davis,
6221                                  6682    8/1/2022     Secured: $0.00
        CATHLEEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDON,
6222                  Laredo, LLC     12432   8/1/2022     Secured: $0.00
        CATHLEEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDON,      Nueces Bay,
6223                                  18179   8/1/2022     Secured: $0.00
        CATHLEEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDON,      Talen Texas
6224                                  23913   8/1/2022     Secured: $0.00
        CATHLEEN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLENDON,      Talen Texas,
6225                                  29673   8/1/2022     Secured: $0.00
        CATHLEEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVELAND,    Barney Davis,
6226                                  9086    8/1/2022     Secured: $0.00
        TYRONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVELAND,
6227                  Laredo, LLC     14836   8/1/2022     Secured: $0.00
        TYRONE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 921 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVELAND,    Nueces Bay,
6228                                  20583   8/1/2022     Secured: $0.00
        TYRONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVELAND,    Talen Texas
6229                                  26315   8/1/2022     Secured: $0.00
        TYRONE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVELAND,    Talen Texas,
6230                                  32077   8/1/2022     Secured: $0.00
        TYRONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVENGER,
6231                  Laredo, LLC     32500   8/1/2022     Secured: $0.00
        DANIEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVENGER,    Barney Davis,
6232                                  33491   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVENGER,    Nueces Bay,
6233                                  34482   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLEVENGER,    Talen Texas
6234                                  35473   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 922 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLEVENGER,     Talen Texas,
6235                                   36464   8/1/2022     Secured: $0.00
        DANIEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6236    CLICK, TODD                    3716    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6237    CLICK, TODD    Laredo, LLC     9466    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6238    CLICK, TODD                    15213   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6239    CLICK, TODD                    20960   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6240    CLICK, TODD                    26707   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CLIFFORD,      Barney Davis,
6241                                   6187    8/1/2022     Secured: $0.00
        SHARON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 923 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLIFFORD,
6242                     Laredo, LLC     11937   8/1/2022     Secured: $0.00
        SHARON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLIFFORD,        Nueces Bay,
6243                                     17684   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLIFFORD,        Talen Texas
6244                                     23429   8/1/2022     Secured: $0.00
        SHARON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CLIFFORD,        Talen Texas,
6245                                     29178   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6246    CLIFTON, BETTY                   4854    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6247    CLIFTON, BETTY   Laredo, LLC     10604   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6248    CLIFTON, BETTY                   16351   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 924 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6249    CLIFTON, BETTY                   22097   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6250    CLIFTON, BETTY                   27845   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6251    CLIFTON, ROSSI                   5259    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6252    CLIFTON, ROSSI   Laredo, LLC     11009   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6253    CLIFTON, ROSSI                   16756   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6254    CLIFTON, ROSSI                   22501   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6255    CLIFTON, ROSSI                   28250   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 925 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLINTON,      Barney Davis,
6256                                  4014    8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLINTON,
6257                  Laredo, LLC     9764    8/1/2022     Secured: $0.00
        CASSANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLINTON,      Nueces Bay,
6258                                  15511   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLINTON,      Talen Texas
6259                                  21257   8/1/2022     Secured: $0.00
        CASSANDRA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CLINTON,      Talen Texas,
6260                                  27005   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
6261    CLUCK, MARK   Laredo, LLC     32501   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
6262    CLUCK, MARK                   33492   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 926 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6263    CLUCK, MARK                     34483   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6264    CLUCK, MARK                     35474   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6265    CLUCK, MARK                     36465   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6266    CLUES, NOLDON                   3633    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6267    CLUES, NOLDON   Laredo, LLC     9383    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6268    CLUES, NOLDON                   15130   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6269    CLUES, NOLDON                   20877   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 927 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6270    CLUES, NOLDON                     26624   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6271    CLUTTER, SYLVIA   Laredo, LLC     32502   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6272    CLUTTER, SYLVIA                   33493   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6273    CLUTTER, SYLVIA                   34484   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6274    CLUTTER, SYLVIA                   35475   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6275    CLUTTER, SYLVIA                   36466   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CM SELECT                                              Priority: $0.00
                          Barney Davis,
6276    INSURANCE                         2406    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $697,690.51 + Unliquidated

                                                               Total: $697,690.51 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 928 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CM SELECT                                           Priority: $0.00
6277    INSURANCE       Laredo, LLC     2411   7/31/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $697,690.51 + Unliquidated

                                                            Total: $697,690.51 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CM SELECT                                           Priority: $0.00
                        Nueces Bay,
6278    INSURANCE                       2485   7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $697,690.51 + Unliquidated

                                                            Total: $697,690.51 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CM VANTAGE
                                                            Priority: $0.00
        SPECIALTY
6279                    Laredo, LLC     2418   7/31/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $2,478,677.00 + Unliquidated
        COMPANY
                                                            Total: $2,478,677.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CM VANTAGE
                                                            Priority: $0.00
        SPECIALTY       Nueces Bay,
6280                                    2841   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $2,478,677.00 + Unliquidated
        COMPANY
                                                            Total: $2,478,677.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CM VANTAGE
                                                            Priority: $0.00
        SPECIALTY       Barney Davis,
6281                                    2943   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $2,478,677.00 + Unliquidated
        COMPANY
                                                            Total: $2,478,677.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CNA INSURANCE
                                                            Priority: $0.00
        COMPANY
6282                    Laredo, LLC     2665   8/1/2022     Secured: $0.00
        LIMITED D/B/A
                                                            General Unsecured: $0.00 + Unliquidated
        CNA HARDY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CNA INSURANCE
                                                            Priority: $0.00
        COMPANY
6283                    Laredo, LLC     3269   8/1/2022     Secured: $0.00
        LIMITED D/B/A
                                                            General Unsecured: $0.00 + Unliquidated
        CNA HARDY
                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 929 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CNA INSURANCE
                                                             Priority: $0.00
        COMPANY         Barney Davis,
6284                                    3458    8/1/2022     Secured: $0.00
        LIMITED D/B/A   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CNA HARDY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CNA INSURANCE
                                                             Priority: $0.00
        COMPANY         Barney Davis,
6285                                    3467    8/1/2022     Secured: $0.00
        LIMITED D/B/A   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CNA HARDY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CNA INSURANCE
                                                             Priority: $0.00
        COMPANY         Nueces Bay,
6286                                    3483    8/1/2022     Secured: $0.00
        LIMITED D/B/A   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CNA HARDY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CNA INSURANCE
                                                             Priority: $0.00
        COMPANY         Nueces Bay,
6287                                    3494    8/1/2022     Secured: $0.00
        LIMITED D/B/A   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CNA HARDY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COACH MEG'S     Barney Davis,
6288                                    5690    8/1/2022     Secured: $0.00
        SWIM LLC        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COACH MEG'S
6289                    Laredo, LLC     11440   8/1/2022     Secured: $0.00
        SWIM LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COACH MEG'S     Nueces Bay,
6290                                    17187   8/1/2022     Secured: $0.00
        SWIM LLC        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 930 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COACH MEG'S     Talen Texas
6291                                    22932   8/1/2022     Secured: $0.00
        SWIM LLC        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COACH MEG'S     Talen Texas,
6292                                    28681   8/1/2022     Secured: $0.00
        SWIM LLC        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COAST NATIONAL                                       Priority: $0.00
6293    INSURANCE      Laredo, LLC      3100    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COAST NATIONAL                                       Priority: $0.00
                       Barney Davis,
6294    INSURANCE                       3194    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COAST NATIONAL                                       Priority: $0.00
                       Nueces Bay,
6295    INSURANCE                       3274    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COATNEY,        Barney Davis,
6296                                    8595    8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COATNEY,
6297                    Laredo, LLC     14345   8/1/2022     Secured: $0.00
        ROBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 931 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COATNEY,       Nueces Bay,
6298                                   20092   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COATNEY,       Talen Texas
6299                                   25824   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COATNEY,       Talen Texas,
6300                                   31586   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6301    COATS, CASEY                   4884    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6302    COATS, CASEY   Laredo, LLC     10634   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6303    COATS, CASEY                   16381   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6304    COATS, CASEY                   22126   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 932 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6305    COATS, CASEY                    27875   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6306    COATS, MARVIN                   3840    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6307    COATS, MARVIN   Laredo, LLC     9590    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6308    COATS, MARVIN                   15337   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6309    COATS, MARVIN                   21084   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6310    COATS, MARVIN                   26831   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6311    COBBS, CARLA                    6631    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 933 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6312    COBBS, CARLA   Laredo, LLC     12381   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6313    COBBS, CARLA                   18128   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6314    COBBS, CARLA                   23862   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6315    COBBS, CARLA                   29622   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6316    COBOS, JOHN    Laredo, LLC     32503   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6317    COBOS, JOHN                    33494   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6318    COBOS, JOHN                    34485   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 934 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6319    COBOS, JOHN                     35476   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6320    COBOS, JOHN                     36467   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6321    COBURN, ERIKA                   4169    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6322    COBURN, ERIKA   Laredo, LLC     9919    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6323    COBURN, ERIKA                   15666   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6324    COBURN, ERIKA                   21412   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6325    COBURN, ERIKA                   27160   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 935 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6326    COCHRAN, TYESIA                   9083    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6327    COCHRAN, TYESIA Laredo, LLC       14833   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6328    COCHRAN, TYESIA                   20580   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6329    COCHRAN, TYESIA                   26312   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6330    COCHRAN, TYESIA                   32074   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COFFEY,           Barney Davis,
6331                                      8176    8/1/2022     Secured: $0.00
        MARYANN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COFFEY,
6332                      Laredo, LLC     13926   8/1/2022     Secured: $0.00
        MARYANN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 936 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COFFEY,           Nueces Bay,
6333                                      19673   8/1/2022     Secured: $0.00
        MARYANN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COFFEY,           Talen Texas
6334                                      25407   8/1/2022     Secured: $0.00
        MARYANN           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COFFEY,           Talen Texas,
6335                                      31167   8/1/2022     Secured: $0.00
        MARYANN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6336    COFFEY, THERESA                   8989    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6337    COFFEY, THERESA Laredo, LLC       14739   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6338    COFFEY, THERESA                   20486   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6339    COFFEY, THERESA                   26218   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 937 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6340    COFFEY, THERESA                   31980   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6341    COFFMAN, BETTY                    6505    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6342    COFFMAN, BETTY Laredo, LLC        12255   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6343    COFFMAN, BETTY                    18002   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6344    COFFMAN, BETTY                    23737   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6345    COFFMAN, BETTY                    29496   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COFFMAN,          Barney Davis,
6346                                      9331    8/1/2022     Secured: $0.00
        THOMAS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 938 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COFFMAN,
6347                  Laredo, LLC     15081   8/1/2022     Secured: $0.00
        THOMAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COFFMAN,      Nueces Bay,
6348                                  20828   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COFFMAN,      Talen Texas
6349                                  26560   8/1/2022     Secured: $0.00
        THOMAS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COFFMAN,      Talen Texas,
6350                                  32322   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COGBURN,      Barney Davis,
6351                                  4342    8/1/2022     Secured: $0.00
        JUDITH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COGBURN,
6352                  Laredo, LLC     10092   8/1/2022     Secured: $0.00
        JUDITH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COGBURN,      Nueces Bay,
6353                                  15839   8/1/2022     Secured: $0.00
        JUDITH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 939 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COGBURN,       Talen Texas
6354                                   21585   8/1/2022     Secured: $0.00
        JUDITH         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COGBURN,       Talen Texas,
6355                                   27333   8/1/2022     Secured: $0.00
        JUDITH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6356    COHEN, WENDY                   9142    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6357    COHEN, WENDY   Laredo, LLC     14892   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6358    COHEN, WENDY                   20639   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6359    COHEN, WENDY                   26371   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6360    COHEN, WENDY                   32133   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 940 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COHENOUR,       Barney Davis,
6361                                    3600    8/1/2022     Secured: $0.00
        JAMES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COHENOUR,
6362                    Laredo, LLC     9350    8/1/2022     Secured: $0.00
        JAMES
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COHENOUR,       Nueces Bay,
6363                                    15097   8/1/2022     Secured: $0.00
        JAMES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COHENOUR,       Talen Texas
6364                                    20844   8/1/2022     Secured: $0.00
        JAMES           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COHENOUR,       Talen Texas,
6365                                    26591   8/1/2022     Secured: $0.00
        JAMES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6366    COKER, ANGELA                   6390    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6367    COKER, ANGELA   Laredo, LLC     12140   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 941 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6368    COKER, ANGELA                   17887   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6369    COKER, ANGELA                   23622   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6370    COKER, ANGELA                   29381   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6371    COKER, SCOTT                    5870    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6372    COKER, SCOTT    Laredo, LLC     11620   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6373    COKER, SCOTT                    17367   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6374    COKER, SCOTT                    23112   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 942 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6375    COKER, SCOTT                    28861   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLASONO,       Barney Davis,
6376                                    6744    8/1/2022     Secured: $0.00
        CHRISTIAN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLASONO,
6377                    Laredo, LLC     12494   8/1/2022     Secured: $0.00
        CHRISTIAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLASONO,       Nueces Bay,
6378                                    18241   8/1/2022     Secured: $0.00
        CHRISTIAN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLASONO,       Talen Texas
6379                                    23975   8/1/2022     Secured: $0.00
        CHRISTIAN       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLASONO,       Talen Texas,
6380                                    29735   8/1/2022     Secured: $0.00
        CHRISTIAN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6381    COLBERT, ERIC                   4168    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 943 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6382    COLBERT, ERIC    Laredo, LLC    9918    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
6383    COLBERT, ERIC                   15665   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
6384    COLBERT, ERIC                   21411   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
6385    COLBERT, ERIC                   27159   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLDWELL, TYLER Barney Davis,
6386                                    5903    8/1/2022     Secured: $0.00
        A.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLDWELL, TYLER
6387                    Laredo, LLC     11653   8/1/2022     Secured: $0.00
        A.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLDWELL, TYLER Nueces Bay,
6388                                    17400   8/1/2022     Secured: $0.00
        A.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 944 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLDWELL, TYLER Talen Texas
6389                                     23145   8/1/2022     Secured: $0.00
        A.              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLDWELL, TYLER Talen Texas,
6390                                     28894   8/1/2022     Secured: $0.00
        A.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6391    COLE, ANIEISIA   Laredo, LLC     32504   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6392    COLE, ANIEISIA                   33495   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6393    COLE, ANIEISIA                   34486   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6394    COLE, ANIEISIA                   35477   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6395    COLE, ANIEISIA                   36468   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 945 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6396    COLE, JOHNNIE   Laredo, LLC     32505   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6397    COLE, JOHNNIE                   33496   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6398    COLE, JOHNNIE                   34487   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6399    COLE, JOHNNIE                   35478   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6400    COLE, JOHNNIE                   36469   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6401    COLE, LUTHER                    4447    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6402    COLE, LUTHER    Laredo, LLC     10197   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 946 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6403    COLE, LUTHER                     15944   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6404    COLE, LUTHER                     21690   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6405    COLE, LUTHER                     27438   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6406    COLE, SHENEIKA                   5304    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6407    COLE, SHENEIKA   Laredo, LLC     11054   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6408    COLE, SHENEIKA                   16801   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6409    COLE, SHENEIKA                   22546   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 947 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6410    COLE, SHENEIKA                   28295   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6411    COLEMAN, ALVIN Laredo, LLC       32506   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6412    COLEMAN, ALVIN                   33497   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6413    COLEMAN, ALVIN                   34488   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6414    COLEMAN, ALVIN                   35479   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6415    COLEMAN, ALVIN                   36470   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLEMAN,         Barney Davis,
6416                                     4861    8/1/2022     Secured: $0.00
        BILLITTA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 948 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,
6417                  Laredo, LLC     10611   8/1/2022     Secured: $0.00
        BILLITTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Nueces Bay,
6418                                  16358   8/1/2022     Secured: $0.00
        BILLITTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas
6419                                  22104   8/1/2022     Secured: $0.00
        BILLITTA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas,
6420                                  27852   8/1/2022     Secured: $0.00
        BILLITTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Barney Davis,
6421                                  4085    8/1/2022     Secured: $0.00
        DAPHNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,
6422                  Laredo, LLC     9835    8/1/2022     Secured: $0.00
        DAPHNE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Nueces Bay,
6423                                  15582   8/1/2022     Secured: $0.00
        DAPHNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 949 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas
6424                                  21328   8/1/2022     Secured: $0.00
        DAPHNE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas,
6425                                  27076   8/1/2022     Secured: $0.00
        DAPHNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,
6426                  Laredo, LLC     32507   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Barney Davis,
6427                                  33498   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Nueces Bay,
6428                                  34489   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas
6429                                  35480   8/1/2022     Secured: $0.00
        GEORGE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas,
6430                                  36471   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 950 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Barney Davis,
6431                                  6022    8/1/2022     Secured: $0.00
        SHERMAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,
6432                  Laredo, LLC     11772   8/1/2022     Secured: $0.00
        SHERMAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Nueces Bay,
6433                                  17519   8/1/2022     Secured: $0.00
        SHERMAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas
6434                                  23264   8/1/2022     Secured: $0.00
        SHERMAN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Talen Texas,
6435                                  29013   8/1/2022     Secured: $0.00
        SHERMAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,      Barney Davis,
6436                                  5521    8/1/2022     Secured: $0.00
        SIMONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COLEMAN,
6437                  Laredo, LLC     11271   8/1/2022     Secured: $0.00
        SIMONE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 951 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COLEMAN,          Nueces Bay,
6438                                      17018   8/1/2022     Secured: $0.00
        SIMONE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COLEMAN,          Talen Texas
6439                                      22763   8/1/2022     Secured: $0.00
        SIMONE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COLEMAN,          Talen Texas,
6440                                      28512   8/1/2022     Secured: $0.00
        SIMONE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6441    COLES, KAREN Y.   Laredo, LLC     32508   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6442    COLES, KAREN Y.                   33499   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6443    COLES, KAREN Y.                   34490   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6444    COLES, KAREN Y.                   35481   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 952 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6445    COLES, KAREN Y.                   36472   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6446    COLES, TERESA                     8963    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6447    COLES, TERESA     Laredo, LLC     14713   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6448    COLES, TERESA                     20460   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6449    COLES, TERESA                     26192   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6450    COLES, TERESA                     31954   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6451    COLLAZO, LUIS                     8025    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 953 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6452    COLLAZO, LUIS   Laredo, LLC     13775   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6453    COLLAZO, LUIS                   19522   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6454    COLLAZO, LUIS                   25256   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6455    COLLAZO, LUIS                   31016   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLIER,        Barney Davis,
6456                                    4109    8/1/2022     Secured: $0.00
        DEBORAH SUE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLIER,
6457                    Laredo, LLC     9859    8/1/2022     Secured: $0.00
        DEBORAH SUE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLIER,        Nueces Bay,
6458                                    15606   8/1/2022     Secured: $0.00
        DEBORAH SUE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 954 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        COLLIER,           Talen Texas
6459                                       21352   8/1/2022     Secured: $0.00
        DEBORAH SUE        Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        COLLIER,           Talen Texas,
6460                                       27100   8/1/2022     Secured: $0.00
        DEBORAH SUE        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
6461    COLLIER, JAMAICA                   7429    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
6462    COLLIER, JAMAICA Laredo, LLC       13179   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
6463    COLLIER, JAMAICA                   18926   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
6464    COLLIER, JAMAICA                   24660   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
6465    COLLIER, JAMAICA                   30420   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 955 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6466    COLLINS, ALTHEA                   3913    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6467    COLLINS, ALTHEA Laredo, LLC       9663    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6468    COLLINS, ALTHEA                   15410   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6469    COLLINS, ALTHEA                   21157   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6470    COLLINS, ALTHEA                   26904   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COLLINS,          Barney Davis,
6471                                      6662    8/1/2022     Secured: $0.00
        CAROLINE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COLLINS,
6472                      Laredo, LLC     12412   8/1/2022     Secured: $0.00
        CAROLINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 956 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Nueces Bay,
6473                                    18159   8/1/2022     Secured: $0.00
        CAROLINE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Talen Texas
6474                                    23893   8/1/2022     Secured: $0.00
        CAROLINE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Talen Texas,
6475                                    29653   8/1/2022     Secured: $0.00
        CAROLINE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6476    COLLINS, DANA                   6880    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6477    COLLINS, DANA   Laredo, LLC     12630   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6478    COLLINS, DANA                   18377   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6479    COLLINS, DANA                   24111   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 957 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6480    COLLINS, DANA                     29871   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6481    COLLINS, JANELL                   7469    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6482    COLLINS, JANELL   Laredo, LLC     13219   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6483    COLLINS, JANELL                   18966   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6484    COLLINS, JANELL                   24700   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6485    COLLINS, JANELL                   30460   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        COLLINS,          Barney Davis,
6486                                      4397    8/1/2022     Secured: $0.00
        LAKENDRIK         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 958 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,
6487                    Laredo, LLC     10147   8/1/2022     Secured: $0.00
        LAKENDRIK
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Nueces Bay,
6488                                    15894   8/1/2022     Secured: $0.00
        LAKENDRIK       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Talen Texas
6489                                    21640   8/1/2022     Secured: $0.00
        LAKENDRIK       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Talen Texas,
6490                                    27388   8/1/2022     Secured: $0.00
        LAKENDRIK       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6491    COLLINS, LISA                   7996    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6492    COLLINS, LISA   Laredo, LLC     13746   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6493    COLLINS, LISA                   19493   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 959 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6494    COLLINS, LISA                   25227   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6495    COLLINS, LISA                   30987   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Barney Davis,
6496                                    5124    8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,
6497                    Laredo, LLC     10874   8/1/2022     Secured: $0.00
        MARGARET
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Nueces Bay,
6498                                    16621   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Talen Texas
6499                                    22366   8/1/2022     Secured: $0.00
        MARGARET        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS,        Talen Texas,
6500                                    28115   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 960 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COLLINS,       Barney Davis,
6501                                   4467    8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COLLINS,
6502                   Laredo, LLC     10217   8/1/2022     Secured: $0.00
        MARILYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COLLINS,       Nueces Bay,
6503                                   15964   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COLLINS,       Talen Texas
6504                                   21710   8/1/2022     Secured: $0.00
        MARILYN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        COLLINS,       Talen Texas,
6505                                   27458   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLLINS,                                            Priority: $0.00
                       Barney Davis,
6506    PRENTICE                       9308    8/1/2022     Secured: $0.00
                       LLC
        ANTONIO                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLLINS,                                            Priority: $0.00
6507    PRENTICE       Laredo, LLC     15058   8/1/2022     Secured: $0.00
        ANTONIO                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 961 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLLINS,                                             Priority: $0.00
                         Nueces Bay,
6508    PRENTICE                        20805   8/1/2022     Secured: $0.00
                         LLC
        ANTONIO                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLLINS,                                             Priority: $0.00
                         Talen Texas
6509    PRENTICE                        26537   8/1/2022     Secured: $0.00
                         Group, LLC
        ANTONIO                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLLINS,                                             Priority: $0.00
                         Talen Texas,
6510    PRENTICE                        32299   8/1/2022     Secured: $0.00
                         LLC
        ANTONIO                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS‐        Barney Davis,
6511                                    4766    8/1/2022     Secured: $0.00
        JACKSON, VENICE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS‐
6512                    Laredo, LLC     10516   8/1/2022     Secured: $0.00
        JACKSON, VENICE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS‐        Nueces Bay,
6513                                    16263   8/1/2022     Secured: $0.00
        JACKSON, VENICE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COLLINS‐        Talen Texas
6514                                    22009   8/1/2022     Secured: $0.00
        JACKSON, VENICE Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 962 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLLINS‐        Talen Texas,
6515                                     27757   8/1/2022     Secured: $0.00
        JACKSON, VENICE LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLOMBRITO,      Barney Davis,
6516                                     4735    8/1/2022     Secured: $0.00
        THOMAS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLOMBRITO,
6517                     Laredo, LLC     10485   8/1/2022     Secured: $0.00
        THOMAS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLOMBRITO,      Nueces Bay,
6518                                     16232   8/1/2022     Secured: $0.00
        THOMAS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLOMBRITO,      Talen Texas
6519                                     21978   8/1/2022     Secured: $0.00
        THOMAS           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COLOMBRITO,      Talen Texas,
6520                                     27726   8/1/2022     Secured: $0.00
        THOMAS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        COLONY                                                Priority: $0.00
                         Barney Davis,
6521    INSURANCE                        1451    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $2,550,000.00 + Unliquidated

                                                              Total: $2,550,000.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 963 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLONY                                              Priority: $0.00
                        Nueces Bay,
6522    INSURANCE                       1452   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $2,550,000.00 + Unliquidated

                                                            Total: $2,550,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLONY                                              Priority: $0.00
6523    INSURANCE       Laredo, LLC     1489   7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $2,550,000.00 + Unliquidated

                                                            Total: $2,550,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLONY                                              Priority: $0.00
                        Barney Davis,
6524    INSURANCE                       1676   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $52,924,967.67 + Unliquidated

                                                            Total: $52,924,967.67 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLONY                                              Priority: $0.00
6525    INSURANCE       Laredo, LLC     1855   7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $52,924,967.67 + Unliquidated

                                                            Total: $52,924,967.67 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        COLONY                                              Priority: $0.00
                        Nueces Bay,
6526    INSURANCE                       1888   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $52,924,967.67 + Unliquidated

                                                            Total: $52,924,967.67 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Barney Davis,
6527    COLUCCI, JOSE                   7656   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 964 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6528    COLUCCI, JOSE   Laredo, LLC     13406   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6529    COLUCCI, JOSE                   19153   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6530    COLUCCI, JOSE                   24887   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6531    COLUCCI, JOSE                   30647   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLUMBIA                                             Priority: $0.00
                        Barney Davis,
6532    CASUALTY                        1091    7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $797,209.61 + Unliquidated

                                                             Total: $797,209.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLUMBIA                                             Priority: $0.00
                        Nueces Bay,
6533    CASUALTY                        1094    7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $797,209.61 + Unliquidated

                                                             Total: $797,209.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLUMBIA                                             Priority: $0.00
6534    CASUALTY        Laredo, LLC     1242    7/28/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $797,209.61 + Unliquidated

                                                             Total: $797,209.61 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 965 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLUMBIA                                             Priority: $0.00
                        Barney Davis,
6535    CASUALTY                        2120    7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $3,846,265.00 + Unliquidated

                                                             Total: $3,846,265.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLUMBIA                                             Priority: $0.00
6536    CASUALTY        Laredo, LLC     2129    7/30/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $3,846,265.00 + Unliquidated

                                                             Total: $3,846,265.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        COLUMBIA                                             Priority: $0.00
                        Nueces Bay,
6537    CASUALTY                        2138    7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $3,846,265.00 + Unliquidated

                                                             Total: $3,846,265.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6538    COLVIL, MARIA                   5128    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6539    COLVIL, MARIA   Laredo, LLC     10878   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6540    COLVIL, MARIA                   16625   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6541    COLVIL, MARIA                   22370   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 966 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6542    COLVIL, MARIA                    28119   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMANSE,
6543                     Laredo, LLC     32509   8/1/2022     Secured: $0.00
        WAYNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMANSE,         Barney Davis,
6544                                     33500   8/1/2022     Secured: $0.00
        WAYNE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMANSE,         Nueces Bay,
6545                                     34491   8/1/2022     Secured: $0.00
        WAYNE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMANSE,         Talen Texas
6546                                     35482   8/1/2022     Secured: $0.00
        WAYNE            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMANSE,         Talen Texas,
6547                                     36473   8/1/2022     Secured: $0.00
        WAYNE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6548    COMBS, CHARLES                   6692    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 967 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6549    COMBS, CHARLES Laredo, LLC       12442   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6550    COMBS, CHARLES                   18189   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6551    COMBS, CHARLES                   23923   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6552    COMBS, CHARLES                   29683   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMFORT CPA      Barney Davis,
6553                                     5914    8/1/2022     Secured: $0.00
        CARE, LLC.       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMFORT CPA
6554                     Laredo, LLC     11664   8/1/2022     Secured: $0.00
        CARE, LLC.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COMFORT CPA      Nueces Bay,
6555                                     17411   8/1/2022     Secured: $0.00
        CARE, LLC.       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 968 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMFORT CPA   Talen Texas
6556                                  23156   8/1/2022     Secured: $0.00
        CARE, LLC.    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMFORT CPA   Talen Texas,
6557                                  28905   8/1/2022     Secured: $0.00
        CARE, LLC.    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMPIAN,
6558                  Laredo, LLC     32510   8/1/2022     Secured: $0.00
        NORMAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMPIAN,      Barney Davis,
6559                                  33501   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMPIAN,      Nueces Bay,
6560                                  34492   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMPIAN,      Talen Texas
6561                                  35483   8/1/2022     Secured: $0.00
        NORMAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COMPIAN,      Talen Texas,
6562                                  36474   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 969 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONCHA,          Barney Davis,
6563                                     7241    8/1/2022     Secured: $0.00
        FRANCISCO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONCHA,
6564                     Laredo, LLC     12991   8/1/2022     Secured: $0.00
        FRANCISCO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONCHA,          Nueces Bay,
6565                                     18738   8/1/2022     Secured: $0.00
        FRANCISCO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONCHA,          Talen Texas
6566                                     24472   8/1/2022     Secured: $0.00
        FRANCISCO        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONCHA,          Talen Texas,
6567                                     30232   8/1/2022     Secured: $0.00
        FRANCISCO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6568    CONDE, CLAUDIA                   4057    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6569    CONDE, CLAUDIA Laredo, LLC       9807    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 970 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6570    CONDE, CLAUDIA                   15554   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6571    CONDE, CLAUDIA                   21300   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6572    CONDE, CLAUDIA                   27048   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6573    CONDON, JOHN F                   7599    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6574    CONDON, JOHN F Laredo, LLC       13349   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6575    CONDON, JOHN F                   19096   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6576    CONDON, JOHN F                   24830   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 971 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6577    CONDON, JOHN F                   30590   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6578    CONELY, SHIVON                   4692    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6579    CONELY, SHIVON Laredo, LLC       10442   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6580    CONELY, SHIVON                   16189   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6581    CONELY, SHIVON                   21935   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6582    CONELY, SHIVON                   27683   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6583    CONERLY, CHERI                   4893    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 972 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6584    CONERLY, CHERI   Laredo, LLC     10643   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6585    CONERLY, CHERI                   16390   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6586    CONERLY, CHERI                   22135   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6587    CONERLY, CHERI                   27884   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONIFER
6588                     Laredo, LLC     1449    7/29/2022    Secured: $0.00
        INSURANCE CO.
                                                              General Unsecured: $572,018.06 + Unliquidated

                                                              Total: $572,018.06 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONIFER          Barney Davis,
6589                                     1522    7/29/2022    Secured: $0.00
        INSURANCE CO.    LLC
                                                              General Unsecured: $572,018.06 + Unliquidated

                                                              Total: $572,018.06 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CONIFER          Nueces Bay,
6590                                     1756    7/29/2022    Secured: $0.00
        INSURANCE CO.    LLC
                                                              General Unsecured: $572,018.06 + Unliquidated

                                                              Total: $572,018.06 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 973 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6591    CONRAD, JEN                     7510    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6592    CONRAD, JEN     Laredo, LLC     13260   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6593    CONRAD, JEN                     19007   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6594    CONRAD, JEN                     24741   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6595    CONRAD, JEN                     30501   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6596    CONROY, JENNA   Laredo, LLC     32511   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6597    CONROY, JENNA                   33502   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 974 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
6598    CONROY, JENNA                   34493   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
6599    CONROY, JENNA                   35484   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
6600    CONROY, JENNA                   36475   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
        CONSTITUTION
        STATES SERVICES
        AS THIRD PARTY
        ADMINISTRATOR                                        503(b)(9): $0.00
        FOR STARR                                            Other Administrative: $0.00
        INDEMNITY AND                                        Priority: $0.00
6601    THE UNITED      Laredo, LLC     1972    7/29/2022    Secured: $0.00
        CHURCH                                               General Unsecured: $0.00 + Unliquidated
        INSURANCE
        ASSOCIATION                                          Total: $0.00 + Unliquidated
        DBA THE
        INSURANCE
        BOARD
        CONSTITUTION
        STATES SERVICES
        AS THIRD PARTY
        ADMINISTRATOR                                        503(b)(9): $0.00
        FOR STARR                                            Other Administrative: $0.00
        INDEMNITY AND                                        Priority: $0.00
                        Barney Davis,
6602    THE UNITED                      2473    7/30/2022    Secured: $0.00
                        LLC
        CHURCH                                               General Unsecured: $0.00 + Unliquidated
        INSURANCE
        ASSOCIATION                                          Total: $0.00 + Unliquidated
        DBA THE
        INSURANCE
        BOARD
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 975 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim
        CONSTITUTION
        STATES SERVICES
        AS THIRD PARTY
        ADMINISTRATOR                                       503(b)(9): $0.00
        FOR STARR                                           Other Administrative: $0.00
        INDEMNITY AND                                       Priority: $0.00
                        Nueces Bay,
6603    THE UNITED                   2737      7/30/2022    Secured: $0.00
                        LLC
        CHURCH                                              General Unsecured: $0.00 + Unliquidated
        INSURANCE
        ASSOCIATION                                         Total: $0.00 + Unliquidated
        DBA THE
        INSURANCE
        BOARD
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONSUEGRA,
6604                   Laredo, LLC     32512   8/1/2022     Secured: $0.00
        JULIO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONSUEGRA,     Barney Davis,
6605                                   33503   8/1/2022     Secured: $0.00
        JULIO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONSUEGRA,     Nueces Bay,
6606                                   34494   8/1/2022     Secured: $0.00
        JULIO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONSUEGRA,     Talen Texas
6607                                   35485   8/1/2022     Secured: $0.00
        JULIO          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONSUEGRA,     Talen Texas,
6608                                   36476   8/1/2022     Secured: $0.00
        JULIO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 976 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONSUMERS
                                                           Priority: $0.00
        COUNTY MUTUAL Barney Davis,
6609                                   1096   7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $4,742.95 + Unliquidated
        COMPANY
                                                           Total: $4,742.95 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONSUMERS
                                                           Priority: $0.00
        COUNTY MUTUAL
6610                  Laredo, LLC      1098   7/28/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $4,742.95 + Unliquidated
        COMPANY
                                                           Total: $4,742.95 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONSUMERS
                                                           Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
6611                                   1127   7/28/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $4,742.95 + Unliquidated
        COMPANY
                                                           Total: $4,742.95 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTINENTAL                                        Priority: $0.00
                       Barney Davis,
6612    CASUALTY                       1110   7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $5,092,105.80 + Unliquidated

                                                           Total: $5,092,105.80 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTINENTAL                                        Priority: $0.00
6613    CASUALTY       Laredo, LLC     1112   7/28/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $5,092,105.80 + Unliquidated

                                                           Total: $5,092,105.80 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTINENTAL                                        Priority: $0.00
                       Nueces Bay,
6614    CASUALTY                       1113   7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $5,092,105.80 + Unliquidated

                                                           Total: $5,092,105.80 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 977 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        CONTINENTAL                                       Priority: $0.00
6615    CASUALTY      Laredo, LLC     2093   7/30/2022    Secured: $0.00
        COMPANY                                           General Unsecured: $104,797,490.00 + Unliquidated

                                                          Total: $104,797,490.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        CONTINENTAL                                       Priority: $0.00
                      Barney Davis,
6616    CASUALTY                      2111   7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $104,797,490.00 + Unliquidated

                                                          Total: $104,797,490.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        CONTINENTAL                                       Priority: $0.00
                      Nueces Bay,
6617    CASUALTY                      2214   7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $104,797,490.00 + Unliquidated

                                                          Total: $104,797,490.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        CONTINENTAL                                       Priority: $0.00
                      Nueces Bay,
6618    CASUALTY                      3310   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $104,797,490.00 + Unliquidated

                                                          Total: $104,797,490.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        CONTINENTAL
                                                          Priority: $0.00
        WESTERN       Nueces Bay,
6619                                  2718   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $835,475.34 + Unliquidated
        COMPANY
                                                          Total: $835,475.34 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        CONTINENTAL
                                                          Priority: $0.00
        WESTERN
6620                  Laredo, LLC     2782   8/1/2022     Secured: $0.00
        INSURANCE
                                                          General Unsecured: $835,475.34 + Unliquidated
        COMPANY
                                                          Total: $835,475.34 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 978 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTINENTAL
                                                           Priority: $0.00
        WESTERN       Barney Davis,
6621                                  3389    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $835,475.34 + Unliquidated
        COMPANY
                                                           Total: $835,475.34 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTOLEON,
6622                  Laredo, LLC     32513   8/1/2022     Secured: $0.00
        JACK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTOLEON,    Barney Davis,
6623                                  33504   8/1/2022     Secured: $0.00
        JACK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTOLEON,    Nueces Bay,
6624                                  34495   8/1/2022     Secured: $0.00
        JACK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTOLEON,    Talen Texas
6625                                  35486   8/1/2022     Secured: $0.00
        JACK          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTOLEON,    Talen Texas,
6626                                  36477   8/1/2022     Secured: $0.00
        JACK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTRACTORS
                                                           Priority: $0.00
        BONDING AND   Nueces Bay,
6627                                  2725    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $805.00 + Unliquidated
        COMPANY
                                                           Total: $805.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 979 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTRACTORS
                                                           Priority: $0.00
        BONDING AND
6628                  Laredo, LLC     2728    7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $805.00 + Unliquidated
        COMPANY
                                                           Total: $805.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        CONTRACTORS
                                                           Priority: $0.00
        BONDING AND   Barney Davis,
6629                                  3181    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $805.00 + Unliquidated
        COMPANY
                                                           Total: $805.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTRERAS,    Barney Davis,
6630                                  8368    8/1/2022     Secured: $0.00
        OSCAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTRERAS,
6631                  Laredo, LLC     14118   8/1/2022     Secured: $0.00
        OSCAR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTRERAS,    Nueces Bay,
6632                                  19865   8/1/2022     Secured: $0.00
        OSCAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTRERAS,    Talen Texas
6633                                  25598   8/1/2022     Secured: $0.00
        OSCAR         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CONTRERAS,    Talen Texas,
6634                                  31359   8/1/2022     Secured: $0.00
        OSCAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 980 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONTRERAS,     Barney Davis,
6635                                   5198    8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONTRERAS,
6636                   Laredo, LLC     10948   8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONTRERAS,     Nueces Bay,
6637                                   16695   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONTRERAS,     Talen Texas
6638                                   22440   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CONTRERAS,     Talen Texas,
6639                                   28189   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CONVEX                                              Priority: $0.00
6640    INSURANCE UK   Laredo, LLC     1967    7/30/2022    Secured: $0.00
        LIMITED                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CONVEX                                              Priority: $0.00
                       Barney Davis,
6641    INSURANCE UK                   1969    7/30/2022    Secured: $0.00
                       LLC
        LIMITED                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 981 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CONVEX                                              Priority: $0.00
                       Nueces Bay,
6642    INSURANCE UK                   2063    7/30/2022    Secured: $0.00
                       LLC
        LIMITED                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CONVEX                                              Priority: $0.00
6643    INSURANCE UK   Laredo, LLC     1454    7/29/2022    Secured: $0.00
        LTD                                                 General Unsecured: $20,000,000.00 + Unliquidated

                                                            Total: $20,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CONVEX                                              Priority: $0.00
                       Barney Davis,
6644    INSURANCE UK                   1546    7/29/2022    Secured: $0.00
                       LLC
        LTD                                                 General Unsecured: $20,000,000.00 + Unliquidated

                                                            Total: $20,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CONVEX                                              Priority: $0.00
                       Nueces Bay,
6645    INSURANCE UK                   1646    7/29/2022    Secured: $0.00
                       LLC
        LTD                                                 General Unsecured: $20,000,000.00 + Unliquidated

                                                            Total: $20,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6646    COOK, ALAN                     6302    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6647    COOK, ALAN     Laredo, LLC     12052   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 982 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
6648    COOK, ALAN                    17799   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
6649    COOK, ALAN                    23534   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
6650    COOK, ALAN                    29293   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
6651    COOK, ANNIE                   6421    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
6652    COOK, ANNIE   Laredo, LLC     12171   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
6653    COOK, ANNIE                   17918   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
6654    COOK, ANNIE                   23653   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 983 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6655    COOK, ANNIE                      29412   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6656    COOK, CHASTITY                   5757    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6657    COOK, CHASTITY   Laredo, LLC     11507   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6658    COOK, CHASTITY                   17254   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6659    COOK, CHASTITY                   22999   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6660    COOK, CHASTITY                   28748   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6661    COOK, CHRIS                      9229    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 984 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6662    COOK, CHRIS    Laredo, LLC     14979   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6663    COOK, CHRIS                    20726   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6664    COOK, CHRIS                    26458   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6665    COOK, CHRIS                    32220   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6666    COOK, JAMES                    3624    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6667    COOK, JAMES    Laredo, LLC     9374    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6668    COOK, JAMES                    15121   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
             Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 985 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6669    COOK, JAMES                    20868   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6670    COOK, JAMES                    26615   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6671    COOK, JILL                     6253    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6672    COOK, JILL     Laredo, LLC     12003   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6673    COOK, JILL                     17750   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6674    COOK, JILL                     23485   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6675    COOK, JILL                     29244   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 986 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6676    COOK, ROBERT                   8596    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6677    COOK, ROBERT   Laredo, LLC     14346   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6678    COOK, ROBERT                   20093   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6679    COOK, ROBERT                   25825   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6680    COOK, ROBERT                   31587   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6681    COOK, TERRA                    5334    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6682    COOK, TERRA    Laredo, LLC     11084   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 987 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
6683    COOK, TERRA                   16831   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
6684    COOK, TERRA                   22576   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
6685    COOK, TERRA                   28325   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COOKS,        Barney Davis,
6686                                  4908    8/1/2022     Secured: $0.00
        CORNELIOUS    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COOKS,
6687                  Laredo, LLC     10658   8/1/2022     Secured: $0.00
        CORNELIOUS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COOKS,        Nueces Bay,
6688                                  16405   8/1/2022     Secured: $0.00
        CORNELIOUS    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COOKS,        Talen Texas
6689                                  22150   8/1/2022     Secured: $0.00
        CORNELIOUS    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 988 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COOKS,          Talen Texas,
6690                                    27899   8/1/2022     Secured: $0.00
        CORNELIOUS      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6691    COOLEY, ADDIE                   6287    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6692    COOLEY, ADDIE   Laredo, LLC     12037   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6693    COOLEY, ADDIE                   17784   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6694    COOLEY, ADDIE                   23519   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6695    COOLEY, ADDIE                   29278   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6696    COOLEY, JAMES                   7439    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 989 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6697    COOLEY, JAMES    Laredo, LLC     13189   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6698    COOLEY, JAMES                    18936   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6699    COOLEY, JAMES                    24670   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6700    COOLEY, JAMES                    30430   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6701    COONEY, DENNIS                   9252    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6702    COONEY, DENNIS Laredo, LLC       15002   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6703    COONEY, DENNIS                   20749   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 990 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6704    COONEY, DENNIS                   26481   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6705    COONEY, DENNIS                   32243   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COOPER,          Barney Davis,
6706                                     6717    8/1/2022     Secured: $0.00
        CHAWNTEE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COOPER,
6707                     Laredo, LLC     12467   8/1/2022     Secured: $0.00
        CHAWNTEE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COOPER,          Nueces Bay,
6708                                     18214   8/1/2022     Secured: $0.00
        CHAWNTEE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COOPER,          Talen Texas
6709                                     23948   8/1/2022     Secured: $0.00
        CHAWNTEE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COOPER,          Talen Texas,
6710                                     29708   8/1/2022     Secured: $0.00
        CHAWNTEE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 991 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COOPER, DIANA   Barney Davis,
6711                                    7032    8/1/2022     Secured: $0.00
        GENE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COOPER, DIANA
6712                    Laredo, LLC     12782   8/1/2022     Secured: $0.00
        GENE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COOPER, DIANA   Nueces Bay,
6713                                    18529   8/1/2022     Secured: $0.00
        GENE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COOPER, DIANA   Talen Texas
6714                                    24263   8/1/2022     Secured: $0.00
        GENE            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COOPER, DIANA   Talen Texas,
6715                                    30023   8/1/2022     Secured: $0.00
        GENE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6716    COOPER, JOYCE                   5050    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6717    COOPER, JOYCE   Laredo, LLC     10800   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 992 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6718    COOPER, JOYCE                    16547   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6719    COOPER, JOYCE                    22292   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6720    COOPER, JOYCE                    28041   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6721    COOPER, TERRIE                   8971    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6722    COOPER, TERRIE   Laredo, LLC     14721   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6723    COOPER, TERRIE                   20468   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6724    COOPER, TERRIE                   26200   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 993 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6725    COOPER, TERRIE                   31962   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6726    COPAUS, DAVID                    6919    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6727    COPAUS, DAVID    Laredo, LLC     12669   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6728    COPAUS, DAVID                    18416   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6729    COPAUS, DAVID                    24150   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6730    COPAUS, DAVID                    29910   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6731    COPE, LENETTE                    4420    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 994 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6732    COPE, LENETTE    Laredo, LLC     10170   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6733    COPE, LENETTE                    15917   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6734    COPE, LENETTE                    21663   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6735    COPE, LENETTE                    27411   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6736    CORAM, WILLIAM                   9152    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6737    CORAM, WILLIAM Laredo, LLC       14902   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6738    CORAM, WILLIAM                   20649   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 995 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
6739    CORAM, WILLIAM                  26381   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
6740    CORAM, WILLIAM                  32143   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CORBITT,       Barney Davis,
6741                                    6584    8/1/2022     Secured: $0.00
        BRIANNA NICOLE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CORBITT,
6742                   Laredo, LLC      12334   8/1/2022     Secured: $0.00
        BRIANNA NICOLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CORBITT,       Nueces Bay,
6743                                    18081   8/1/2022     Secured: $0.00
        BRIANNA NICOLE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CORBITT,       Talen Texas
6744                                    23815   8/1/2022     Secured: $0.00
        BRIANNA NICOLE Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CORBITT,       Talen Texas,
6745                                    29575   8/1/2022     Secured: $0.00
        BRIANNA NICOLE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 996 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6746    CORDOVA, RALPH Laredo, LLC       32514   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6747    CORDOVA, RALPH                   33505   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6748    CORDOVA, RALPH                   34496   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6749    CORDOVA, RALPH                   35487   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6750    CORDOVA, RALPH                   36478   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6751    COREY, CODY                      6806    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6752    COREY, CODY      Laredo, LLC     12556   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 997 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
6753    COREY, CODY                   18303   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
6754    COREY, CODY                   24037   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
6755    COREY, CODY                   29797   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORGEY,       Barney Davis,
6756                                  8296    8/1/2022     Secured: $0.00
        MORGAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORGEY,
6757                  Laredo, LLC     14046   8/1/2022     Secured: $0.00
        MORGAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORGEY,       Nueces Bay,
6758                                  19793   8/1/2022     Secured: $0.00
        MORGAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORGEY,       Talen Texas
6759                                  25527   8/1/2022     Secured: $0.00
        MORGAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 998 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        CORGEY,            Talen Texas,
6760                                       31287   8/1/2022     Secured: $0.00
        MORGAN             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
6761    CORNELIUS, ERICA                   3793    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
6762    CORNELIUS, ERICA Laredo, LLC       9543    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
6763    CORNELIUS, ERICA                   15290   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
6764    CORNELIUS, ERICA                   21037   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
6765    CORNELIUS, ERICA                   26784   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        CORNERSTONE                                             Priority: $0.00
                           Barney Davis,
6766    FAMILY                             5486    8/1/2022     Secured: $0.00
                           LLC
        MEDICINE, PLLC                                          General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 999 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CORNERSTONE                                           Priority: $0.00
6767    FAMILY           Laredo, LLC     11236   8/1/2022     Secured: $0.00
        MEDICINE, PLLC                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CORNERSTONE                                           Priority: $0.00
                         Nueces Bay,
6768    FAMILY                           16983   8/1/2022     Secured: $0.00
                         LLC
        MEDICINE, PLLC                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CORNERSTONE                                           Priority: $0.00
                         Talen Texas
6769    FAMILY                           22728   8/1/2022     Secured: $0.00
                         Group, LLC
        MEDICINE, PLLC                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CORNERSTONE                                           Priority: $0.00
                         Talen Texas,
6770    FAMILY                           28477   8/1/2022     Secured: $0.00
                         LLC
        MEDICINE, PLLC                                        General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CORONA,          Barney Davis,
6771                                     6795    8/1/2022     Secured: $0.00
        CLAUDIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CORONA,
6772                     Laredo, LLC     12545   8/1/2022     Secured: $0.00
        CLAUDIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CORONA,          Nueces Bay,
6773                                     18292   8/1/2022     Secured: $0.00
        CLAUDIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1000 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONA,       Talen Texas
6774                                  24026   8/1/2022     Secured: $0.00
        CLAUDIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONA,       Talen Texas,
6775                                  29786   8/1/2022     Secured: $0.00
        CLAUDIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONADO,
6776                  Laredo, LLC     32515   8/1/2022     Secured: $0.00
        ERMENIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONADO,     Barney Davis,
6777                                  33506   8/1/2022     Secured: $0.00
        ERMENIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONADO,     Nueces Bay,
6778                                  34497   8/1/2022     Secured: $0.00
        ERMENIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONADO,     Talen Texas
6779                                  35488   8/1/2022     Secured: $0.00
        ERMENIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CORONADO,     Talen Texas,
6780                                  36479   8/1/2022     Secured: $0.00
        ERMENIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1001 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CORRALES,      Barney Davis,
6781                                   3721    8/1/2022     Secured: $0.00
        ERMINIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CORRALES,
6782                   Laredo, LLC     9471    8/1/2022     Secured: $0.00
        ERMINIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CORRALES,      Nueces Bay,
6783                                   15218   8/1/2022     Secured: $0.00
        ERMINIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CORRALES,      Talen Texas
6784                                   20965   8/1/2022     Secured: $0.00
        ERMINIA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CORRALES,      Talen Texas,
6785                                   26712   8/1/2022     Secured: $0.00
        ERMINIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6786    CORRIE, RENE                   8537    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6787    CORRIE, RENE   Laredo, LLC     14287   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1002 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6788    CORRIE, RENE                   20034   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6789    CORRIE, RENE                   25766   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6790    CORRIE, RENE                   31528   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6791    CORSON, MARK                   6158    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6792    CORSON, MARK   Laredo, LLC     11908   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6793    CORSON, MARK                   17655   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6794    CORSON, MARK                   23400   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1003 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6795    CORSON, MARK                     29149   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6796    CORTEZ, IRMA     Laredo, LLC     32516   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6797    CORTEZ, IRMA                     33507   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6798    CORTEZ, IRMA                     34498   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6799    CORTEZ, IRMA                     35489   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6800    CORTEZ, IRMA                     36480   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6801    CORTEZ, JAVIER                   4258    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1004 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6802    CORTEZ, JAVIER   Laredo, LLC     10008   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6803    CORTEZ, JAVIER                   15755   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6804    CORTEZ, JAVIER                   21501   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6805    CORTEZ, JAVIER                   27249   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6806    CORTEZ, MARIA    Laredo, LLC     32517   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6807    CORTEZ, MARIA                    33508   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6808    CORTEZ, MARIA                    34499   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1005 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6809    CORTEZ, MARIA                   35490   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6810    CORTEZ, MARIA                   36481   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6811    CORTEZ, MIKE                    5163    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6812    CORTEZ, MIKE    Laredo, LLC     10913   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6813    CORTEZ, MIKE                    16660   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6814    CORTEZ, MIKE                    22405   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6815    CORTEZ, MIKE                    28154   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1006 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6816    CORTHELL, TERRY                   8974    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6817    CORTHELL, TERRY Laredo, LLC       14724   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6818    CORTHELL, TERRY                   20471   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6819    CORTHELL, TERRY                   26203   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6820    CORTHELL, TERRY                   31965   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6821    CORTINA, JOSE                     4317    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6822    CORTINA, JOSE     Laredo, LLC     10067   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1007 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6823    CORTINA, JOSE                    15814   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6824    CORTINA, JOSE                    21560   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6825    CORTINA, JOSE                    27308   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6826    CORVINO, LAURA                   7928    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6827    CORVINO, LAURA Laredo, LLC       13678   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6828    CORVINO, LAURA                   19425   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6829    CORVINO, LAURA                   25159   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1008 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6830    CORVINO, LAURA                   30919   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6831    COSTA, DEBRA P                   6977    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6832    COSTA, DEBRA P   Laredo, LLC     12727   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6833    COSTA, DEBRA P                   18474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6834    COSTA, DEBRA P                   24208   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6835    COSTA, DEBRA P                   29968   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6836    COSTLOW, JAMES Laredo, LLC       32518   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1009 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6837    COSTLOW, JAMES                   33509   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6838    COSTLOW, JAMES                   34500   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6839    COSTLOW, JAMES                   35491   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6840    COSTLOW, JAMES                   36482   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6841    COTE, MARY       Laredo, LLC     32519   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6842    COTE, MARY                       33510   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6843    COTE, MARY                       34501   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1010 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6844    COTE, MARY                       35492   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6845    COTE, MARY                       36483   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6846    COTTON, KESHIA                   3750    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6847    COTTON, KESHIA Laredo, LLC       9500    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6848    COTTON, KESHIA                   15247   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6849    COTTON, KESHIA                   20994   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6850    COTTON, KESHIA                   26741   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1011 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COTTON,       Barney Davis,
6851                                  5371    8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COTTON,
6852                  Laredo, LLC     11121   8/1/2022     Secured: $0.00
        WILLIAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COTTON,       Nueces Bay,
6853                                  16868   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COTTON,       Talen Texas
6854                                  22613   8/1/2022     Secured: $0.00
        WILLIAM       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COTTON,       Talen Texas,
6855                                  28362   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COULTER,      Barney Davis,
6856                                  3983    8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        COULTER,
6857                  Laredo, LLC     9733    8/1/2022     Secured: $0.00
        BRENDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1012 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COULTER,        Nueces Bay,
6858                                    15480   8/1/2022     Secured: $0.00
        BRENDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COULTER,        Talen Texas
6859                                    21226   8/1/2022     Secured: $0.00
        BRENDA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COULTER,        Talen Texas,
6860                                    26974   8/1/2022     Secured: $0.00
        BRENDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
6861    COULTER, MARK                   5133    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
6862    COULTER, MARK   Laredo, LLC     10883   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
6863    COULTER, MARK                   16630   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
6864    COULTER, MARK                   22375   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1013 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
6865    COULTER, MARK                   28124   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COVENANT        Barney Davis,
6866                                    5681    8/1/2022     Secured: $0.00
        GARDENS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COVENANT
6867                    Laredo, LLC     11431   8/1/2022     Secured: $0.00
        GARDENS LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COVENANT        Nueces Bay,
6868                                    17178   8/1/2022     Secured: $0.00
        GARDENS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COVENANT        Talen Texas
6869                                    22923   8/1/2022     Secured: $0.00
        GARDENS LLC     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COVENANT        Talen Texas,
6870                                    28672   8/1/2022     Secured: $0.00
        GARDENS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        COVINGTON,      Barney Davis,
6871                                    8523    8/1/2022     Secured: $0.00
        REBECCA SHAW    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1014 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COVINGTON,
6872                     Laredo, LLC     14273   8/1/2022     Secured: $0.00
        REBECCA SHAW
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COVINGTON,       Nueces Bay,
6873                                     20020   8/1/2022     Secured: $0.00
        REBECCA SHAW     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COVINGTON,       Talen Texas
6874                                     25752   8/1/2022     Secured: $0.00
        REBECCA SHAW     Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        COVINGTON,       Talen Texas,
6875                                     31514   8/1/2022     Secured: $0.00
        REBECCA SHAW     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6876    COWAN, CYNTHIA                   4913    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6877    COWAN, CYNTHIA Laredo, LLC       10663   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6878    COWAN, CYNTHIA                   16410   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1015 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6879    COWAN, CYNTHIA                   22155   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6880    COWAN, CYNTHIA                   27904   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6881    COX, AMANDA                      6354    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6882    COX, AMANDA      Laredo, LLC     12104   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6883    COX, AMANDA                      17851   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6884    COX, AMANDA                      23586   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6885    COX, AMANDA                      29345   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1016 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6886    COX, ANGELIA                   6064    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6887    COX, ANGELIA   Laredo, LLC     11814   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6888    COX, ANGELIA                   17561   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6889    COX, ANGELIA                   23306   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6890    COX, ANGELIA                   29055   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6891    COX, BARBARA                   6482    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6892    COX, BARBARA   Laredo, LLC     12232   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1017 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6893    COX, BARBARA                   17979   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6894    COX, BARBARA                   23714   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6895    COX, BARBARA                   29473   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6896    COX, CHARLES                   6693    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6897    COX, CHARLES   Laredo, LLC     12443   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6898    COX, CHARLES                   18190   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6899    COX, CHARLES                   23924   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1018 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6900    COX, CHARLES                   29684   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6901    COX, WILLIAM                   5525    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6902    COX, WILLIAM   Laredo, LLC     11275   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6903    COX, WILLIAM                   17022   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6904    COX, WILLIAM                   22767   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6905    COX, WILLIAM                   28516   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6906    COZAD, JOHN                    7605    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1019 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6907    COZAD, JOHN    Laredo, LLC     13355   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6908    COZAD, JOHN                    19102   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6909    COZAD, JOHN                    24836   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
6910    COZAD, JOHN                    30596   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6911    CRABB, LAURA                   6035    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6912    CRABB, LAURA   Laredo, LLC     11785   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6913    CRABB, LAURA                   17532   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1020 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6914    CRABB, LAURA                     23277   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6915    CRABB, LAURA                     29026   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6916    CRABTREE, MARK                   8115    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6917    CRABTREE, MARK Laredo, LLC       13865   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6918    CRABTREE, MARK                   19612   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6919    CRABTREE, MARK                   25346   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6920    CRABTREE, MARK                   31106   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1021 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRAIG,            Barney Davis,
6921                                      7759    8/1/2022     Secured: $0.00
        KATELYNNE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRAIG,
6922                      Laredo, LLC     13509   8/1/2022     Secured: $0.00
        KATELYNNE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRAIG,            Nueces Bay,
6923                                      19256   8/1/2022     Secured: $0.00
        KATELYNNE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRAIG,            Talen Texas
6924                                      24990   8/1/2022     Secured: $0.00
        KATELYNNE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRAIG,            Talen Texas,
6925                                      30750   8/1/2022     Secured: $0.00
        KATELYNNE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6926    CRAIG, KATHRINE                   9275    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6927    CRAIG, KATHRINE Laredo, LLC       15025   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1022 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6928    CRAIG, KATHRINE                   20772   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6929    CRAIG, KATHRINE                   26504   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6930    CRAIG, KATHRINE                   32266   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6931    CRAIG, KAYLA                      4371    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6932    CRAIG, KAYLA      Laredo, LLC     10121   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6933    CRAIG, KAYLA                      15868   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6934    CRAIG, KAYLA                      21614   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1023 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6935    CRAIG, KAYLA                     27362   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6936    CRAIG, MELISSA                   5148    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6937    CRAIG, MELISSA   Laredo, LLC     10898   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6938    CRAIG, MELISSA                   16645   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6939    CRAIG, MELISSA                   22390   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6940    CRAIG, MELISSA                   28139   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6941    CRANE, CRYSTAL                   6844    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1024 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6942    CRANE, CRYSTAL   Laredo, LLC     12594   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6943    CRANE, CRYSTAL                   18341   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6944    CRANE, CRYSTAL                   24075   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6945    CRANE, CRYSTAL                   29835   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6946    CRAVENS, CAYLA                   6683    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6947    CRAVENS, CAYLA Laredo, LLC       12433   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6948    CRAVENS, CAYLA                   18180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1025 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6949    CRAVENS, CAYLA                    23914   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6950    CRAVENS, CAYLA                    29674   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
6951    CRAVEY, REYCHEL                   5231    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
6952    CRAVEY, REYCHEL Laredo, LLC       10981   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
6953    CRAVEY, REYCHEL                   16728   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
6954    CRAVEY, REYCHEL                   22473   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
6955    CRAVEY, REYCHEL                   28222   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1026 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Barney Davis,
6956                                  4149    8/1/2022     Secured: $0.00
        EDDIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,
6957                  Laredo, LLC     9899    8/1/2022     Secured: $0.00
        EDDIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Nueces Bay,
6958                                  15646   8/1/2022     Secured: $0.00
        EDDIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Talen Texas
6959                                  21392   8/1/2022     Secured: $0.00
        EDDIE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Talen Texas,
6960                                  27140   8/1/2022     Secured: $0.00
        EDDIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Barney Davis,
6961                                  9257    8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,
6962                  Laredo, LLC     15007   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1027 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRAWFORD,        Nueces Bay,
6963                                     20754   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRAWFORD,        Talen Texas
6964                                     26486   8/1/2022     Secured: $0.00
        ELIZABETH        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRAWFORD,        Talen Texas,
6965                                     32248   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6966    CRAWFORD, JEAN                   4260    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6967    CRAWFORD, JEAN Laredo, LLC       10010   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6968    CRAWFORD, JEAN                   15757   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6969    CRAWFORD, JEAN                   21503   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1028 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6970    CRAWFORD, JEAN                   27251   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
6971    CRAWFORD, KURT                   7882    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
6972    CRAWFORD, KURT Laredo, LLC       13632   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
6973    CRAWFORD, KURT                   19379   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
6974    CRAWFORD, KURT                   25113   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
6975    CRAWFORD, KURT                   30873   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRAWFORD,        Barney Davis,
6976                                     8010    8/1/2022     Secured: $0.00
        LONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1029 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,
6977                  Laredo, LLC     13760   8/1/2022     Secured: $0.00
        LONNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Nueces Bay,
6978                                  19507   8/1/2022     Secured: $0.00
        LONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Talen Texas
6979                                  25241   8/1/2022     Secured: $0.00
        LONNIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Talen Texas,
6980                                  31001   8/1/2022     Secured: $0.00
        LONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Barney Davis,
6981                                  5265    8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,
6982                  Laredo, LLC     11015   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Nueces Bay,
6983                                  16762   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1030 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Talen Texas
6984                                  22507   8/1/2022     Secured: $0.00
        SANDRA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWFORD,     Talen Texas,
6985                                  28256   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWLEY,      Barney Davis,
6986                                  4046    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWLEY,
6987                  Laredo, LLC     9796    8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWLEY,      Nueces Bay,
6988                                  15543   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWLEY,      Talen Texas
6989                                  21289   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CRAWLEY,      Talen Texas,
6990                                  27037   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1031 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREAGER,       Barney Davis,
6991                                   5894    8/1/2022     Secured: $0.00
        AMANDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREAGER,
6992                   Laredo, LLC     11644   8/1/2022     Secured: $0.00
        AMANDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREAGER,       Nueces Bay,
6993                                   17391   8/1/2022     Secured: $0.00
        AMANDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREAGER,       Talen Texas
6994                                   23136   8/1/2022     Secured: $0.00
        AMANDA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREAGER,       Talen Texas,
6995                                   28885   8/1/2022     Secured: $0.00
        AMANDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
6996    CREAGH, PAUL                   3847    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
6997    CREAGH, PAUL   Laredo, LLC     9597    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1032 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
6998    CREAGH, PAUL                   15344   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
6999    CREAGH, PAUL                   21091   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7000    CREAGH, PAUL                   26838   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREEK,         Barney Davis,
7001                                   5125    8/1/2022     Secured: $0.00
        MARGARET       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREEK,
7002                   Laredo, LLC     10875   8/1/2022     Secured: $0.00
        MARGARET
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREEK,         Nueces Bay,
7003                                   16622   8/1/2022     Secured: $0.00
        MARGARET       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CREEK,         Talen Texas
7004                                   22367   8/1/2022     Secured: $0.00
        MARGARET       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1033 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CREEK,          Talen Texas,
7005                                    28116   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRENSHAW,       Barney Davis,
7006                                    6422    8/1/2022     Secured: $0.00
        ANNIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRENSHAW,
7007                    Laredo, LLC     12172   8/1/2022     Secured: $0.00
        ANNIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRENSHAW,       Nueces Bay,
7008                                    17919   8/1/2022     Secured: $0.00
        ANNIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRENSHAW,       Talen Texas
7009                                    23654   8/1/2022     Secured: $0.00
        ANNIE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRENSHAW,       Talen Texas,
7010                                    29413   8/1/2022     Secured: $0.00
        ANNIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7011    CRIDER, DAVID                   3823    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1034 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7012    CRIDER, DAVID   Laredo, LLC     9573    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7013    CRIDER, DAVID                   15320   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7014    CRIDER, DAVID                   21067   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7015    CRIDER, DAVID                   26814   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRISCOE,        Barney Davis,
7016                                    7642    8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRISCOE,
7017                    Laredo, LLC     13392   8/1/2022     Secured: $0.00
        JONATHAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRISCOE,        Nueces Bay,
7018                                    19139   8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1035 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRISCOE,        Talen Texas
7019                                    24873   8/1/2022     Secured: $0.00
        JONATHAN        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CRISCOE,        Talen Texas,
7020                                    30633   8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7021    CRIST, TIM A.                   9333    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7022    CRIST, TIM A.   Laredo, LLC     15083   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7023    CRIST, TIM A.                   20830   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7024    CRIST, TIM A.                   26562   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7025    CRIST, TIM A.                   32324   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1036 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CRISWELL
                                                               Priority: $0.00
        INVESTMENTS     Barney Davis,
7026                                      5915    8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                               General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CRISWELL
                                                               Priority: $0.00
        INVESTMENTS
7027                    Laredo, LLC       11665   8/1/2022     Secured: $0.00
        LLC, FRANCHISE
                                                               General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CRISWELL
                                                               Priority: $0.00
        INVESTMENTS     Nueces Bay,
7028                                      17412   8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                               General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CRISWELL
                                                               Priority: $0.00
        INVESTMENTS     Talen Texas
7029                                      23157   8/1/2022     Secured: $0.00
        LLC, FRANCHISE Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        CRISWELL
                                                               Priority: $0.00
        INVESTMENTS     Talen Texas,
7030                                      28906   8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                               General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7031    CRISWELL, KAYLA                   7789    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7032    CRISWELL, KAYLA Laredo, LLC       13539   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1037 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7033    CRISWELL, KAYLA                   19286   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7034    CRISWELL, KAYLA                   25020   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7035    CRISWELL, KAYLA                   30780   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CROCKETT,
7036                      Laredo, LLC     32520   8/1/2022     Secured: $0.00
        DIEDRA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CROCKETT,         Barney Davis,
7037                                      33511   8/1/2022     Secured: $0.00
        DIEDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CROCKETT,         Nueces Bay,
7038                                      34502   8/1/2022     Secured: $0.00
        DIEDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CROCKETT,         Talen Texas
7039                                      35493   8/1/2022     Secured: $0.00
        DIEDRA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1038 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROCKETT,       Talen Texas,
7040                                    36484   8/1/2022     Secured: $0.00
        DIEDRA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7041    CROFTS, JERRI                   5990    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7042    CROFTS, JERRI   Laredo, LLC     11740   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7043    CROFTS, JERRI                   17487   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7044    CROFTS, JERRI                   23232   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7045    CROFTS, JERRI                   28981   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7046    CROPP, CONNIE                   6089    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1039 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7047    CROPP, CONNIE    Laredo, LLC     11839   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7048    CROPP, CONNIE                    17586   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7049    CROPP, CONNIE                    23331   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7050    CROPP, CONNIE                    29080   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7051    CROSBY, BONNIE                   9221    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7052    CROSBY, BONNIE Laredo, LLC       14971   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7053    CROSBY, BONNIE                   20718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1040 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7054    CROSBY, BONNIE                   26450   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7055    CROSBY, BONNIE                   32212   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7056    CROSBY, MABEL                    6043    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7057    CROSBY, MABEL    Laredo, LLC     11793   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7058    CROSBY, MABEL                    17540   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7059    CROSBY, MABEL                    23285   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7060    CROSBY, MABEL                    29034   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1041 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROSSWHITE,   Barney Davis,
7061                                  4745    8/1/2022     Secured: $0.00
        TIMOTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROSSWHITE,
7062                  Laredo, LLC     10495   8/1/2022     Secured: $0.00
        TIMOTHY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROSSWHITE,   Nueces Bay,
7063                                  16242   8/1/2022     Secured: $0.00
        TIMOTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROSSWHITE,   Talen Texas
7064                                  21988   8/1/2022     Secured: $0.00
        TIMOTHY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROSSWHITE,   Talen Texas,
7065                                  27736   8/1/2022     Secured: $0.00
        TIMOTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROUPE,       Barney Davis,
7066                                  6764    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CROUPE,
7067                  Laredo, LLC     12514   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1042 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROUPE,         Nueces Bay,
7068                                    18261   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROUPE,         Talen Texas
7069                                    23995   8/1/2022     Secured: $0.00
        CHRISTOPHER     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROUPE,         Talen Texas,
7070                                    29755   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7071    CROW, THERICA                   8992    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7072    CROW, THERICA   Laredo, LLC     14742   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7073    CROW, THERICA                   20489   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7074    CROW, THERICA                   26221   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1043 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7075    CROW, THERICA                   31983   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7076    CROW, THOMAS                    8994    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7077    CROW, THOMAS    Laredo, LLC     14744   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7078    CROW, THOMAS                    20491   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7079    CROW, THOMAS                    26223   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7080    CROW, THOMAS                    31985   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7081    CROWDER, BETH                   4851    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1044 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7082    CROWDER, BETH Laredo, LLC       10601   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7083    CROWDER, BETH                   16348   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7084    CROWDER, BETH                   22094   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7085    CROWDER, BETH                   27842   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROWDER,        Barney Davis,
7086                                    8666    8/1/2022     Secured: $0.00
        RONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROWDER,
7087                    Laredo, LLC     14416   8/1/2022     Secured: $0.00
        RONALD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CROWDER,        Nueces Bay,
7088                                    20163   8/1/2022     Secured: $0.00
        RONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1045 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CROWDER,        Talen Texas
7089                                   25895   8/1/2022     Secured: $0.00
        RONALD          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CROWDER,        Talen Texas,
7090                                   31657   8/1/2022     Secured: $0.00
        RONALD          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CRUM & FORSTER                                      Priority: $0.00
                       Barney Davis,
7091    INDEMNITY                      1656    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CRUM & FORSTER                                      Priority: $0.00
                       Nueces Bay,
7092    INDEMNITY                      1838    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CRUM & FORSTER                                      Priority: $0.00
7093    INDEMNITY      Laredo, LLC     1959    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CRUM & FORSTER
                                                            Priority: $0.00
        SPECIALTY      Nueces Bay,
7094                                   1421    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        CRUM & FORSTER
                                                            Priority: $0.00
        SPECIALTY
7095                   Laredo, LLC     1599    7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1046 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7096    CRUMBO, EDDIE J                   7123    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7097    CRUMBO, EDDIE J Laredo, LLC       12873   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7098    CRUMBO, EDDIE J                   18620   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7099    CRUMBO, EDDIE J                   24354   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7100    CRUMBO, EDDIE J                   30114   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRUMP, MELVIN     Barney Davis,
7101                                      4511    8/1/2022     Secured: $0.00
        M                 LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        CRUMP, MELVIN
7102                      Laredo, LLC     10261   8/1/2022     Secured: $0.00
        M
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1047 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRUMP, MELVIN    Nueces Bay,
7103                                     16008   8/1/2022     Secured: $0.00
        M                LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRUMP, MELVIN    Talen Texas
7104                                     21754   8/1/2022     Secured: $0.00
        M                Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CRUMP, MELVIN    Talen Texas,
7105                                     27502   8/1/2022     Secured: $0.00
        M                LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7106    CRUPI, JOHANNS                   7598    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7107    CRUPI, JOHANNS Laredo, LLC       13348   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7108    CRUPI, JOHANNS                   19095   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7109    CRUPI, JOHANNS                   24829   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1048 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7110    CRUPI, JOHANNS                    30589   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7111    CRUZ, ANNABEL                     3755    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7112    CRUZ, ANNABEL     Laredo, LLC     9505    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7113    CRUZ, ANNABEL                     15252   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7114    CRUZ, ANNABEL                     20999   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7115    CRUZ, ANNABEL                     26746   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7116    CRUZ, FILIBERTO                   7230    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1049 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7117    CRUZ, FILIBERTO   Laredo, LLC     12980   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7118    CRUZ, FILIBERTO                   18727   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7119    CRUZ, FILIBERTO                   24461   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7120    CRUZ, FILIBERTO                   30221   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7121    CRUZ, HECTOR L. Laredo, LLC       32521   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7122    CRUZ, HECTOR L.                   33512   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7123    CRUZ, HECTOR L.                   34503   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1050 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7124    CRUZ, HECTOR L.                   35494   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7125    CRUZ, HECTOR L.                   36485   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7126    CRUZ, JESUS                       7561    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7127    CRUZ, JESUS       Laredo, LLC     13311   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7128    CRUZ, JESUS                       19058   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7129    CRUZ, JESUS                       24792   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7130    CRUZ, JESUS                       30552   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1051 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
7131    CRUZ, MARIA   Laredo, LLC     32522   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
7132    CRUZ, MARIA                   33513   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
7133    CRUZ, MARIA                   34504   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
7134    CRUZ, MARIA                   35495   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
7135    CRUZ, MARIA                   36486   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
7136    CRUZ, MARK                    8116    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
7137    CRUZ, MARK    Laredo, LLC     13866   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1052 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7138    CRUZ, MARK                     19613   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7139    CRUZ, MARK                     25347   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7140    CRUZ, MARK                     31107   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7141    CRUZ, NADINE                   8303    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7142    CRUZ, NADINE   Laredo, LLC     14053   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7143    CRUZ, NADINE                   19800   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7144    CRUZ, NADINE                   25534   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1053 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7145    CRUZ, NADINE                      31294   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7146    CRUZ, SAMANTHA                    5263    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7147    CRUZ, SAMANTHA Laredo, LLC        11013   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7148    CRUZ, SAMANTHA                    16760   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7149    CRUZ, SAMANTHA                    22505   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7150    CRUZ, SAMANTHA                    28254   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7151    CRUZ, STEPHANIE                   8879    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1054 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7152    CRUZ, STEPHANIE Laredo, LLC       14629   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7153    CRUZ, STEPHANIE                   20376   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7154    CRUZ, STEPHANIE                   26108   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7155    CRUZ, STEPHANIE                   31870   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7156    CRUZ, SYLVIA                      4709    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7157    CRUZ, SYLVIA      Laredo, LLC     10459   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7158    CRUZ, SYLVIA                      16206   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1055 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7159    CRUZ, SYLVIA                   21952   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7160    CRUZ, SYLVIA                   27700   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CRUZ‐MOYET,    Barney Davis,
7161                                   7765    8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CRUZ‐MOYET,
7162                   Laredo, LLC     13515   8/1/2022     Secured: $0.00
        KATHLEEN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CRUZ‐MOYET,    Nueces Bay,
7163                                   19262   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CRUZ‐MOYET,    Talen Texas
7164                                   24996   8/1/2022     Secured: $0.00
        KATHLEEN       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CRUZ‐MOYET,    Talen Texas,
7165                                   30756   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1056 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7166    CRYER, KIMBERLY                   7848    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7167    CRYER, KIMBERLY Laredo, LLC       13598   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7168    CRYER, KIMBERLY                   19345   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7169    CRYER, KIMBERLY                   25079   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7170    CRYER, KIMBERLY                   30839   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        CRYSTAL
                                                               Other Administrative: $0.00
        EDWARDS,
                                                               Priority: $0.00
        INDIVIDUALLY   Barney Davis,
7171                                      5385    8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                               General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        HELEN DOSKOCIL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        CRYSTAL
                                                               Other Administrative: $0.00
        EDWARDS,
                                                               Priority: $0.00
        INDIVIDUALLY
7172                   Laredo, LLC        11135   8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                               General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        HELEN DOSKOCIL
                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1057 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        CRYSTAL
                                                              Other Administrative: $0.00
        EDWARDS,
                                                              Priority: $0.00
        INDIVIDUALLY   Nueces Bay,
7173                                     16882   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        HELEN DOSKOCIL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CRYSTAL
                                                              Other Administrative: $0.00
        EDWARDS,
                                                              Priority: $0.00
        INDIVIDUALLY   Talen Texas
7174                                     22627   8/1/2022     Secured: $0.00
        AND AS HEIR OF Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        HELEN DOSKOCIL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        CRYSTAL
                                                              Other Administrative: $0.00
        EDWARDS,
                                                              Priority: $0.00
        INDIVIDUALLY   Talen Texas,
7175                                     28376   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        HELEN DOSKOCIL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7176    CUBILLO, TOMAS                   9031    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7177    CUBILLO, TOMAS Laredo, LLC       14781   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7178    CUBILLO, TOMAS                   20528   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7179    CUBILLO, TOMAS                   26260   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1058 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7180    CUBILLO, TOMAS                   32022   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUELLAR, JESUS   Barney Davis,
7181                                     7562    8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUELLAR, JESUS
7182                     Laredo, LLC     13312   8/1/2022     Secured: $0.00
        FERNANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUELLAR, JESUS   Nueces Bay,
7183                                     19059   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUELLAR, JESUS   Talen Texas
7184                                     24793   8/1/2022     Secured: $0.00
        FERNANDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUELLAR, JESUS   Talen Texas,
7185                                     30553   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7186    CUELLAR, OLGA                    8363    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1059 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7187    CUELLAR, OLGA   Laredo, LLC     14113   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7188    CUELLAR, OLGA                   19860   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7189    CUELLAR, OLGA                   25593   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7190    CUELLAR, OLGA                   31354   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7191    CUELLAR, OMAR   Laredo, LLC     32523   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7192    CUELLAR, OMAR                   33514   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7193    CUELLAR, OMAR                   34505   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1060 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7194    CUELLAR, OMAR                     35496   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7195    CUELLAR, OMAR                     36487   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7196    CUELLAR, ROBERT                   8597    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7197    CUELLAR, ROBERT Laredo, LLC       14347   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7198    CUELLAR, ROBERT                   20094   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7199    CUELLAR, ROBERT                   25826   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7200    CUELLAR, ROBERT                   31588   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1061 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUELLAR,        Barney Davis,
7201                                    5286    8/1/2022     Secured: $0.00
        SERVANDO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUELLAR,
7202                    Laredo, LLC     11036   8/1/2022     Secured: $0.00
        SERVANDO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUELLAR,        Nueces Bay,
7203                                    16783   8/1/2022     Secured: $0.00
        SERVANDO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUELLAR,        Talen Texas
7204                                    22528   8/1/2022     Secured: $0.00
        SERVANDO        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUELLAR,        Talen Texas,
7205                                    28277   8/1/2022     Secured: $0.00
        SERVANDO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7206    CUETER, DAVID                   6920    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7207    CUETER, DAVID   Laredo, LLC     12670   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1062 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7208    CUETER, DAVID                   18417   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7209    CUETER, DAVID                   24151   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7210    CUETER, DAVID                   29911   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7211    CUEVAS, CINDY   Laredo, LLC     32524   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7212    CUEVAS, CINDY                   33515   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7213    CUEVAS, CINDY                   34506   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7214    CUEVAS, CINDY                   35497   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1063 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7215    CUEVAS, CINDY                    36488   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7216    CUILLA, MARK                     8117    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7217    CUILLA, MARK     Laredo, LLC     13867   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7218    CUILLA, MARK                     19614   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7219    CUILLA, MARK                     25348   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7220    CUILLA, MARK                     31108   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7221    CULBERT, LEWIS                   7973    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1064 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7222    CULBERT, LEWIS   Laredo, LLC     13723   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7223    CULBERT, LEWIS                   19470   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7224    CULBERT, LEWIS                   25204   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7225    CULBERT, LEWIS                   30964   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7226    CULLINS, DAVID                   6921    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7227    CULLINS, DAVID   Laredo, LLC     12671   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7228    CULLINS, DAVID                   18418   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1065 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
7229    CULLINS, DAVID                  24152   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
7230    CULLINS, DAVID                  29912   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CULLUM & KELLEY                                      Priority: $0.00
                        Barney Davis,
7231    PROPERTY                        5682    8/1/2022     Secured: $0.00
                        LLC
        HOLDINGS, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CULLUM & KELLEY                                      Priority: $0.00
7232    PROPERTY        Laredo, LLC     11432   8/1/2022     Secured: $0.00
        HOLDINGS, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CULLUM & KELLEY                                      Priority: $0.00
                        Nueces Bay,
7233    PROPERTY                        17179   8/1/2022     Secured: $0.00
                        LLC
        HOLDINGS, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CULLUM & KELLEY                                      Priority: $0.00
                        Talen Texas
7234    PROPERTY                        22924   8/1/2022     Secured: $0.00
                        Group, LLC
        HOLDINGS, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        CULLUM & KELLEY                                      Priority: $0.00
                        Talen Texas,
7235    PROPERTY                        28673   8/1/2022     Secured: $0.00
                        LLC
        HOLDINGS, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1066 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7236    CULLUM, KEITH                   7796    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7237    CULLUM, KEITH   Laredo, LLC     13546   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7238    CULLUM, KEITH                   19293   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7239    CULLUM, KEITH                   25027   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7240    CULLUM, KEITH                   30787   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,       Barney Davis,
7241                                    8013    8/1/2022     Secured: $0.00
        LORETTA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,
7242                    Laredo, LLC     13763   8/1/2022     Secured: $0.00
        LORETTA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1067 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,     Nueces Bay,
7243                                  19510   8/1/2022     Secured: $0.00
        LORETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,     Talen Texas
7244                                  25244   8/1/2022     Secured: $0.00
        LORETTA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,     Talen Texas,
7245                                  31004   8/1/2022     Secured: $0.00
        LORETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,     Barney Davis,
7246                                  8733    8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,
7247                  Laredo, LLC     14483   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,     Nueces Bay,
7248                                  20230   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUMMINGS,     Talen Texas
7249                                  25962   8/1/2022     Secured: $0.00
        SANDRA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1068 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,       Talen Texas,
7250                                    31724   8/1/2022     Secured: $0.00
        SANDRA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,       Barney Davis,
7251                                    8791    8/1/2022     Secured: $0.00
        SHARON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,
7252                    Laredo, LLC     14541   8/1/2022     Secured: $0.00
        SHARON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,       Nueces Bay,
7253                                    20288   8/1/2022     Secured: $0.00
        SHARON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,       Talen Texas
7254                                    26020   8/1/2022     Secured: $0.00
        SHARON          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUMMINGS,       Talen Texas,
7255                                    31782   8/1/2022     Secured: $0.00
        SHARON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7256    CUMMINS, MARK                   4472    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1069 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7257    CUMMINS, MARK Laredo, LLC       10222   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7258    CUMMINS, MARK                   15969   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7259    CUMMINS, MARK                   21715   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7260    CUMMINS, MARK                   27463   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUNNINGHAM,
7261                    Laredo, LLC     32525   8/1/2022     Secured: $0.00
        DONYETTA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUNNINGHAM,     Barney Davis,
7262                                    33516   8/1/2022     Secured: $0.00
        DONYETTA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CUNNINGHAM,     Nueces Bay,
7263                                    34507   8/1/2022     Secured: $0.00
        DONYETTA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1070 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,   Talen Texas
7264                                  35498   8/1/2022     Secured: $0.00
        DONYETTA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,   Talen Texas,
7265                                  36489   8/1/2022     Secured: $0.00
        DONYETTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,   Barney Davis,
7266                                  5846    8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,
7267                  Laredo, LLC     11596   8/1/2022     Secured: $0.00
        NICOLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,   Nueces Bay,
7268                                  17343   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,   Talen Texas
7269                                  23088   8/1/2022     Secured: $0.00
        NICOLE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CUNNINGHAM,   Talen Texas,
7270                                  28837   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1071 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7271    CURETTE, DONNA                   7070    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7272    CURETTE, DONNA Laredo, LLC       12820   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7273    CURETTE, DONNA                   18567   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7274    CURETTE, DONNA                   24301   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7275    CURETTE, DONNA                   30061   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CURRENCE,        Barney Davis,
7276                                     4674    8/1/2022     Secured: $0.00
        SHATIQUA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CURRENCE,
7277                     Laredo, LLC     10424   8/1/2022     Secured: $0.00
        SHATIQUA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1072 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CURRENCE,     Nueces Bay,
7278                                  16171   8/1/2022     Secured: $0.00
        SHATIQUA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CURRENCE,     Talen Texas
7279                                  21917   8/1/2022     Secured: $0.00
        SHATIQUA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        CURRENCE,     Talen Texas,
7280                                  27665   8/1/2022     Secured: $0.00
        SHATIQUA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
7281    CURRY, LYNN                   8039    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
7282    CURRY, LYNN   Laredo, LLC     13789   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
7283    CURRY, LYNN                   19536   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
7284    CURRY, LYNN                   25270   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1073 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7285    CURRY, LYNN                     31030   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURRY,          Barney Davis,
7286                                    5879    8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURRY,
7287                    Laredo, LLC     11629   8/1/2022     Secured: $0.00
        STEPHANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURRY,          Nueces Bay,
7288                                    17376   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURRY,          Talen Texas
7289                                    23121   8/1/2022     Secured: $0.00
        STEPHANIE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURRY,          Talen Texas,
7290                                    28870   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7291    CURRY, WESLEY                   6211    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1074 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7292    CURRY, WESLEY   Laredo, LLC     11961   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7293    CURRY, WESLEY                   17708   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7294    CURRY, WESLEY                   23453   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7295    CURRY, WESLEY                   29202   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURTESS,        Barney Davis,
7296                                    8299    8/1/2022     Secured: $0.00
        MUSTAFA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURTESS,
7297                    Laredo, LLC     14049   8/1/2022     Secured: $0.00
        MUSTAFA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURTESS,        Nueces Bay,
7298                                    19796   8/1/2022     Secured: $0.00
        MUSTAFA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1075 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURTESS,        Talen Texas
7299                                    25530   8/1/2022     Secured: $0.00
        MUSTAFA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CURTESS,        Talen Texas,
7300                                    31290   8/1/2022     Secured: $0.00
        MUSTAFA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7301    CURTIS, JIMMY                   3748    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7302    CURTIS, JIMMY   Laredo, LLC     9498    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7303    CURTIS, JIMMY                   15245   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7304    CURTIS, JIMMY                   20992   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7305    CURTIS, JIMMY                   26739   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1076 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7306    CURTIS, TONY                   9042    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7307    CURTIS, TONY   Laredo, LLC     14792   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7308    CURTIS, TONY                   20539   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7309    CURTIS, TONY                   26271   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7310    CURTIS, TONY                   32033   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CURTISS,       Barney Davis,
7311                                   8098    8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CURTISS,
7312                   Laredo, LLC     13848   8/1/2022     Secured: $0.00
        MARILYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1077 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CURTISS,         Nueces Bay,
7313                                     19595   8/1/2022     Secured: $0.00
        MARILYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CURTISS,         Talen Texas
7314                                     25329   8/1/2022     Secured: $0.00
        MARILYN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CURTISS,         Talen Texas,
7315                                     31089   8/1/2022     Secured: $0.00
        MARILYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7316    CUSTER, ROBERT                   8598    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7317    CUSTER, ROBERT Laredo, LLC       14348   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7318    CUSTER, ROBERT                   20095   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7319    CUSTER, ROBERT                   25827   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1078 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7320    CUSTER, ROBERT                   31589   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUTLER,          Barney Davis,
7321                                     6742    8/1/2022     Secured: $0.00
        CHRISTEN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUTLER,
7322                     Laredo, LLC     12492   8/1/2022     Secured: $0.00
        CHRISTEN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUTLER,          Nueces Bay,
7323                                     18239   8/1/2022     Secured: $0.00
        CHRISTEN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUTLER,          Talen Texas
7324                                     23973   8/1/2022     Secured: $0.00
        CHRISTEN         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CUTLER,          Talen Texas,
7325                                     29733   8/1/2022     Secured: $0.00
        CHRISTEN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        CYNTHIA ROBBINS Barney Davis,
7326                                     5772    8/1/2022     Secured: $0.00
        MD              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1079 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CYNTHIA ROBBINS
7327                    Laredo, LLC    11522   8/1/2022     Secured: $0.00
        MD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CYNTHIA ROBBINS Nueces Bay,
7328                                   17269   8/1/2022     Secured: $0.00
        MD              LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CYNTHIA ROBBINS Talen Texas
7329                                   23014   8/1/2022     Secured: $0.00
        MD              Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        CYNTHIA ROBBINS Talen Texas,
7330                                   28763   8/1/2022     Secured: $0.00
        MD              LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        CYPRESS                                             Other Administrative: $0.00
        PROPERTY &                                          Priority: $0.00
7331    CASUALTY         Laredo, LLC   1344    7/29/2022    Secured: $0.00
        INSURANCE                                           General Unsecured: $13,351,579.37 + Unliquidated
        COMPANY
                                                            Total: $13,351,579.37 + Unliquidated

                                                            503(b)(9): $0.00
        CYPRESS                                             Other Administrative: $0.00
        PROPERTY &                                          Priority: $0.00
                         Nueces Bay,
7332    CASUALTY                       1430    7/29/2022    Secured: $0.00
                         LLC
        INSURANCE                                           General Unsecured: $13,351,579.37 + Unliquidated
        COMPANY
                                                            Total: $13,351,579.37 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1080 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                              503(b)(9): $0.00
        CYPRESS                                               Other Administrative: $0.00
        PROPERTY &                                            Priority: $0.00
                         Barney Davis,
7333    CASUALTY                         1777    7/29/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $13,351,579.37 + Unliquidated
        COMPANY
                                                              Total: $13,351,579.37 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CY‐QUEST GLOBAL                                       Priority: $0.00
                        Barney Davis,
7334    INC., FRANCHISE                  5916    8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CY‐QUEST GLOBAL                                       Priority: $0.00
7335    INC., FRANCHISE Laredo, LLC      11666   8/1/2022     Secured: $0.00
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CY‐QUEST GLOBAL                                       Priority: $0.00
                        Nueces Bay,
7336    INC., FRANCHISE                  17413   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CY‐QUEST GLOBAL                                       Priority: $0.00
                        Talen Texas
7337    INC., FRANCHISE                  23158   8/1/2022     Secured: $0.00
                        Group, LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        CY‐QUEST GLOBAL                                       Priority: $0.00
                        Talen Texas,
7338    INC., FRANCHISE                  28907   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1081 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CYRUS,          Barney Davis,
7339                                    4669    8/1/2022     Secured: $0.00
        SHAQUALA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CYRUS,
7340                    Laredo, LLC     10419   8/1/2022     Secured: $0.00
        SHAQUALA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CYRUS,          Nueces Bay,
7341                                    16166   8/1/2022     Secured: $0.00
        SHAQUALA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CYRUS,          Talen Texas
7342                                    21912   8/1/2022     Secured: $0.00
        SHAQUALA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        CYRUS,          Talen Texas,
7343                                    27660   8/1/2022     Secured: $0.00
        SHAQUALA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        D&T RELIABLE                                         Priority: $0.00
                       Barney Davis,
7344    TRANSPORTATION                  5917    8/1/2022     Secured: $0.00
                       LLC
        , LLC                                                General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        D&T RELIABLE                                         Priority: $0.00
7345    TRANSPORTATION Laredo, LLC      11667   8/1/2022     Secured: $0.00
        , LLC                                                General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1082 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        D&T RELIABLE                                         Priority: $0.00
                       Nueces Bay,
7346    TRANSPORTATION                  17414   8/1/2022     Secured: $0.00
                       LLC
        , LLC                                                General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        D&T RELIABLE                                         Priority: $0.00
                       Talen Texas
7347    TRANSPORTATION                  23159   8/1/2022     Secured: $0.00
                       Group, LLC
        , LLC                                                General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        D&T RELIABLE                                         Priority: $0.00
                       Talen Texas,
7348    TRANSPORTATION                  28908   8/1/2022     Secured: $0.00
                       LLC
        , LLC                                                General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7349    DABBS, JANICE   Laredo, LLC     32526   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7350    DABBS, JANICE                   33517   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7351    DABBS, JANICE                   34508   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7352    DABBS, JANICE                   35499   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1083 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7353    DABBS, JANICE                   36490   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DACUS,          Barney Davis,
7354                                    8781    8/1/2022     Secured: $0.00
        SHANNON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DACUS,
7355                    Laredo, LLC     14531   8/1/2022     Secured: $0.00
        SHANNON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DACUS,          Nueces Bay,
7356                                    20278   8/1/2022     Secured: $0.00
        SHANNON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DACUS,          Talen Texas
7357                                    26010   8/1/2022     Secured: $0.00
        SHANNON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DACUS,          Talen Texas,
7358                                    31772   8/1/2022     Secured: $0.00
        SHANNON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAGNALL,        Barney Davis,
7359                                    8560    8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1084 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAGNALL,
7360                     Laredo, LLC     14310   8/1/2022     Secured: $0.00
        RICHARD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAGNALL,         Nueces Bay,
7361                                     20057   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAGNALL,         Talen Texas
7362                                     25789   8/1/2022     Secured: $0.00
        RICHARD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAGNALL,         Talen Texas,
7363                                     31551   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAHL, MICHELLE   Barney Davis,
7364                                     8251    8/1/2022     Secured: $0.00
        C                LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAHL, MICHELLE
7365                     Laredo, LLC     14001   8/1/2022     Secured: $0.00
        C
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAHL, MICHELLE   Nueces Bay,
7366                                     19748   8/1/2022     Secured: $0.00
        C                LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1085 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAHL, MICHELLE   Talen Texas
7367                                     25482   8/1/2022     Secured: $0.00
        C                Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAHL, MICHELLE   Talen Texas,
7368                                     31242   8/1/2022     Secured: $0.00
        C                LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7369    DAIGLE, SHANI                    5290    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7370    DAIGLE, SHANI    Laredo, LLC     11040   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7371    DAIGLE, SHANI                    16787   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7372    DAIGLE, SHANI                    22532   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7373    DAIGLE, SHANI                    28281   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1086 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7374    DANCER, DONNA                   7071    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7375    DANCER, DONNA Laredo, LLC       12821   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7376    DANCER, DONNA                   18568   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7377    DANCER, DONNA                   24302   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7378    DANCER, DONNA                   30062   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7379    DANCEY, TOMMY                   9033    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7380    DANCEY, TOMMY Laredo, LLC       14783   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1087 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7381    DANCEY, TOMMY                   20530   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7382    DANCEY, TOMMY                   26262   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7383    DANCEY, TOMMY                   32024   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANESHJOU,      Barney Davis,
7384                                    6501    8/1/2022     Secured: $0.00
        BENNY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANESHJOU,
7385                    Laredo, LLC     12251   8/1/2022     Secured: $0.00
        BENNY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANESHJOU,      Nueces Bay,
7386                                    17998   8/1/2022     Secured: $0.00
        BENNY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANESHJOU,      Talen Texas
7387                                    23733   8/1/2022     Secured: $0.00
        BENNY           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1088 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DANESHJOU,        Talen Texas,
7388                                      29492   8/1/2022     Secured: $0.00
        BENNY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7389    DANIEL, DANIELA                   6899    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7390    DANIEL, DANIELA Laredo, LLC       12649   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7391    DANIEL, DANIELA                   18396   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7392    DANIEL, DANIELA                   24130   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7393    DANIEL, DANIELA                   29890   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7394    DANIEL, ETHEL                     7206    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1089 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7395    DANIEL, ETHEL    Laredo, LLC     12956   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7396    DANIEL, ETHEL                    18703   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7397    DANIEL, ETHEL                    24437   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7398    DANIEL, ETHEL                    30197   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7399    DANIEL, HAROLD                   7351    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7400    DANIEL, HAROLD Laredo, LLC       13101   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7401    DANIEL, HAROLD                   18848   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1090 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7402    DANIEL, HAROLD                   24582   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7403    DANIEL, HAROLD                   30342   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7404    DANIEL, JULIA                    7713    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7405    DANIEL, JULIA    Laredo, LLC     13463   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7406    DANIEL, JULIA                    19210   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7407    DANIEL, JULIA                    24944   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7408    DANIEL, JULIA                    30704   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1091 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7409    DANIEL, ROBERT                   8599    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7410    DANIEL, ROBERT   Laredo, LLC     14349   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7411    DANIEL, ROBERT                   20096   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7412    DANIEL, ROBERT                   25828   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7413    DANIEL, ROBERT                   31590   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DANIELS,         Barney Davis,
7414                                     8057    8/1/2022     Secured: $0.00
        MARCARLOS        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DANIELS,
7415                     Laredo, LLC     13807   8/1/2022     Secured: $0.00
        MARCARLOS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1092 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANIELS,        Nueces Bay,
7416                                    19554   8/1/2022     Secured: $0.00
        MARCARLOS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANIELS,        Talen Texas
7417                                    25288   8/1/2022     Secured: $0.00
        MARCARLOS       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DANIELS,        Talen Texas,
7418                                    31048   8/1/2022     Secured: $0.00
        MARCARLOS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7419    DANIELS, SEAN                   5283    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7420    DANIELS, SEAN   Laredo, LLC     11033   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7421    DANIELS, SEAN                   16780   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7422    DANIELS, SEAN                   22525   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1093 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7423    DANIELS, SEAN                   28274   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7424    DANNA, RITA     Laredo, LLC     32527   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7425    DANNA, RITA                     33518   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7426    DANNA, RITA                     34509   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7427    DANNA, RITA                     35500   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7428    DANNA, RITA                     36491   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7429    DANNER, MONTY                   8295    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1094 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7430    DANNER, MONTY Laredo, LLC       14045   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
7431    DANNER, MONTY                   19792   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
7432    DANNER, MONTY                   25526   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
7433    DANNER, MONTY                   31286   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DANNY MCROY
                                                             Priority: $0.00
        AS HEIR OF THE  Barney Davis,
7434                                    5419    8/1/2022     Secured: $0.00
        ESTATE OF DANNY LLC
                                                             General Unsecured: $0.00 + Unliquidated
        MCROY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DANNY MCROY
                                                             Priority: $0.00
        AS HEIR OF THE
7435                    Laredo, LLC     11169   8/1/2022     Secured: $0.00
        ESTATE OF DANNY
                                                             General Unsecured: $0.00 + Unliquidated
        MCROY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DANNY MCROY
                                                             Priority: $0.00
        AS HEIR OF THE  Nueces Bay,
7436                                    16916   8/1/2022     Secured: $0.00
        ESTATE OF DANNY LLC
                                                             General Unsecured: $0.00 + Unliquidated
        MCROY
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1095 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DANNY MCROY
                                                              Priority: $0.00
        AS HEIR OF THE  Talen Texas
7437                                     22661   8/1/2022     Secured: $0.00
        ESTATE OF DANNY Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MCROY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DANNY MCROY
                                                              Priority: $0.00
        AS HEIR OF THE  Talen Texas,
7438                                     28410   8/1/2022     Secured: $0.00
        ESTATE OF DANNY LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MCROY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7439    DANSO, RICHARD                   8561    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7440    DANSO, RICHARD Laredo, LLC       14311   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7441    DANSO, RICHARD                   20058   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7442    DANSO, RICHARD                   25790   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7443    DANSO, RICHARD                   31552   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1096 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7444    DANTAS, DESIREE                   5971    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7445    DANTAS, DESIREE Laredo, LLC       11721   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7446    DANTAS, DESIREE                   17468   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7447    DANTAS, DESIREE                   23213   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7448    DANTAS, DESIREE                   28962   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7449    DARDEN, DAWN                      6944    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7450    DARDEN, DAWN      Laredo, LLC     12694   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1097 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7451    DARDEN, DAWN                   18441   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7452    DARDEN, DAWN                   24175   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7453    DARDEN, DAWN                   29935   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DARDEN,        Barney Davis,
7454                                   5293    8/1/2022     Secured: $0.00
        SHARNETTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DARDEN,
7455                   Laredo, LLC     11043   8/1/2022     Secured: $0.00
        SHARNETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DARDEN,        Nueces Bay,
7456                                   16790   8/1/2022     Secured: $0.00
        SHARNETTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DARDEN,        Talen Texas
7457                                   22535   8/1/2022     Secured: $0.00
        SHARNETTE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1098 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DARDEN,        Talen Texas,
7458                                   28284   8/1/2022     Secured: $0.00
        SHARNETTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7459    DARE, ANDREW                   6387    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7460    DARE, ANDREW   Laredo, LLC     12137   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7461    DARE, ANDREW                   17884   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7462    DARE, ANDREW                   23619   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7463    DARE, ANDREW                   29378   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7464    DARKS, AARON                   6276    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1099 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7465    DARKS, AARON     Laredo, LLC     12026   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7466    DARKS, AARON                     17773   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7467    DARKS, AARON                     23508   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7468    DARKS, AARON                     29267   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7469    DARLING, CAROL                   6652    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7470    DARLING, CAROL Laredo, LLC       12402   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7471    DARLING, CAROL                   18149   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1100 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7472    DARLING, CAROL                   23883   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7473    DARLING, CAROL                   29643   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DARLINGTON,      Barney Davis,
7474                                     4108    8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DARLINGTON,
7475                     Laredo, LLC     9858    8/1/2022     Secured: $0.00
        DEBORAH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DARLINGTON,      Nueces Bay,
7476                                     15605   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DARLINGTON,      Talen Texas
7477                                     21351   8/1/2022     Secured: $0.00
        DEBORAH          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DARLINGTON,      Talen Texas,
7478                                     27099   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1101 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARMSTAEDTER, Barney Davis,
7479                                    7360    8/1/2022     Secured: $0.00
        HEATHER       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARMSTAEDTER,
7480                  Laredo, LLC       13110   8/1/2022     Secured: $0.00
        HEATHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARMSTAEDTER, Nueces Bay,
7481                                    18857   8/1/2022     Secured: $0.00
        HEATHER       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARMSTAEDTER, Talen Texas
7482                                    24591   8/1/2022     Secured: $0.00
        HEATHER       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARMSTAEDTER, Talen Texas,
7483                                    30351   8/1/2022     Secured: $0.00
        HEATHER       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARREHSHOORI,   Barney Davis,
7484                                    8751    8/1/2022     Secured: $0.00
        SARAH           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DARREHSHOORI,
7485                    Laredo, LLC     14501   8/1/2022     Secured: $0.00
        SARAH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1102 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DARREHSHOORI,      Nueces Bay,
7486                                       20248   8/1/2022     Secured: $0.00
        SARAH              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DARREHSHOORI,      Talen Texas
7487                                       25980   8/1/2022     Secured: $0.00
        SARAH              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DARREHSHOORI,      Talen Texas,
7488                                       31742   8/1/2022     Secured: $0.00
        SARAH              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
7489    DASTIDAR, KRISTY                   7878    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
7490    DASTIDAR, KRISTY Laredo, LLC       13628   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
7491    DASTIDAR, KRISTY                   19375   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
7492    DASTIDAR, KRISTY                   25109   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1103 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
7493    DASTIDAR, KRISTY                   30869   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
7494    DAUGHTREY, ROY                     8690    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
7495    DAUGHTREY, ROY Laredo, LLC         14440   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
7496    DAUGHTREY, ROY                     20187   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
7497    DAUGHTREY, ROY                     25919   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
7498    DAUGHTREY, ROY                     31681   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        DAUNDAGROUND                                            Priority: $0.00
                      Barney Davis,
7499    MUSIC PODCAST                      5683    8/1/2022     Secured: $0.00
                      LLC
        LLC                                                     General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1104 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAUNDAGROUND                                        Priority: $0.00
7500    MUSIC PODCAST Laredo, LLC      11433   8/1/2022     Secured: $0.00
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAUNDAGROUND                                        Priority: $0.00
                      Nueces Bay,
7501    MUSIC PODCAST                  17180   8/1/2022     Secured: $0.00
                      LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAUNDAGROUND                                        Priority: $0.00
                      Talen Texas
7502    MUSIC PODCAST                  22925   8/1/2022     Secured: $0.00
                      Group, LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAUNDAGROUND                                        Priority: $0.00
                      Talen Texas,
7503    MUSIC PODCAST                  28674   8/1/2022     Secured: $0.00
                      LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAVALOS DE                                          Priority: $0.00
7504    GARCIA,        Laredo, LLC     32528   8/1/2022     Secured: $0.00
        SANJUANA                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAVALOS DE                                          Priority: $0.00
                       Barney Davis,
7505    GARCIA,                        33519   8/1/2022     Secured: $0.00
                       LLC
        SANJUANA                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DAVALOS DE                                          Priority: $0.00
                       Nueces Bay,
7506    GARCIA,                        34510   8/1/2022     Secured: $0.00
                       LLC
        SANJUANA                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1105 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        DAVALOS DE                                         Priority: $0.00
                      Talen Texas
7507    GARCIA,                       35501   8/1/2022     Secured: $0.00
                      Group, LLC
        SANJUANA                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        DAVALOS DE                                         Priority: $0.00
                      Talen Texas,
7508    GARCIA,                       36492   8/1/2022     Secured: $0.00
                      LLC
        SANJUANA                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVENPORT,    Barney Davis,
7509                                  6403    8/1/2022     Secured: $0.00
        ANITA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVENPORT,
7510                  Laredo, LLC     12153   8/1/2022     Secured: $0.00
        ANITA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVENPORT,    Nueces Bay,
7511                                  17900   8/1/2022     Secured: $0.00
        ANITA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVENPORT,    Talen Texas
7512                                  23635   8/1/2022     Secured: $0.00
        ANITA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVENPORT,    Talen Texas,
7513                                  29394   8/1/2022     Secured: $0.00
        ANITA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1106 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7514    DAVID, BEATRICE Laredo, LLC       32529   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7515    DAVID, BEATRICE                   33520   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7516    DAVID, BEATRICE                   34511   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7517    DAVID, BEATRICE                   35502   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7518    DAVID, BEATRICE                   36493   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7519    DAVID, RICHARD                    8562    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7520    DAVID, RICHARD    Laredo, LLC     14312   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1107 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7521    DAVID, RICHARD                   20059   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7522    DAVID, RICHARD                   25791   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7523    DAVID, RICHARD                   31553   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIDOVICH,      Barney Davis,
7524                                     7330    8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIDOVICH,
7525                     Laredo, LLC     13080   8/1/2022     Secured: $0.00
        GREGORY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIDOVICH,      Nueces Bay,
7526                                     18827   8/1/2022     Secured: $0.00
        GREGORY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIDOVICH,      Talen Texas
7527                                     24561   8/1/2022     Secured: $0.00
        GREGORY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1108 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDOVICH,   Talen Texas,
7528                                  30321   8/1/2022     Secured: $0.00
        GREGORY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Barney Davis,
7529                                  6823    8/1/2022     Secured: $0.00
        COREY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,
7530                  Laredo, LLC     12573   8/1/2022     Secured: $0.00
        COREY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Nueces Bay,
7531                                  18320   8/1/2022     Secured: $0.00
        COREY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Talen Texas
7532                                  24054   8/1/2022     Secured: $0.00
        COREY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Talen Texas,
7533                                  29814   8/1/2022     Secured: $0.00
        COREY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,
7534                  Laredo, LLC     32530   8/1/2022     Secured: $0.00
        KRISTINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1109 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Barney Davis,
7535                                  33521   8/1/2022     Secured: $0.00
        KRISTINA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Nueces Bay,
7536                                  34512   8/1/2022     Secured: $0.00
        KRISTINA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Talen Texas
7537                                  35503   8/1/2022     Secured: $0.00
        KRISTINA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Talen Texas,
7538                                  36494   8/1/2022     Secured: $0.00
        KRISTINA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Barney Davis,
7539                                  8563    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,
7540                  Laredo, LLC     14313   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DAVIDSON,     Nueces Bay,
7541                                  20060   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1110 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DAVIDSON,         Talen Texas
7542                                      25792   8/1/2022     Secured: $0.00
        RICHARD           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DAVIDSON,         Talen Texas,
7543                                      31554   8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7544    DAVIES, PATRICE                   4554    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7545    DAVIES, PATRICE   Laredo, LLC     10304   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7546    DAVIES, PATRICE                   16051   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7547    DAVIES, PATRICE                   21797   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7548    DAVIES, PATRICE                   27545   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1111 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7549    DAVILA, GILBERT                   5452    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7550    DAVILA, GILBERT   Laredo, LLC     11202   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7551    DAVILA, GILBERT                   16949   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7552    DAVILA, GILBERT                   22694   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7553    DAVILA, GILBERT                   28443   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7554    DAVIS, ALICE                      6334    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7555    DAVIS, ALICE      Laredo, LLC     12084   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1112 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7556    DAVIS, ALICE                    17831   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7557    DAVIS, ALICE                    23566   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7558    DAVIS, ALICE                    29325   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7559    DAVIS, ANGELA                   5533    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7560    DAVIS, ANGELA   Laredo, LLC     11283   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7561    DAVIS, ANGELA                   17030   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7562    DAVIS, ANGELA                   22775   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1113 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7563    DAVIS, ANGELA                   28524   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7564    DAVIS, ARLISE                   6448    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7565    DAVIS, ARLISE   Laredo, LLC     12198   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7566    DAVIS, ARLISE                   17945   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7567    DAVIS, ARLISE                   23680   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7568    DAVIS, ARLISE                   29439   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7569    DAVIS, BETH                     6502    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1114 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7570    DAVIS, BETH    Laredo, LLC     12252   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7571    DAVIS, BETH                    17999   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7572    DAVIS, BETH                    23734   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7573    DAVIS, BETH                    29493   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7574    DAVIS, BETTY                   3967    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7575    DAVIS, BETTY   Laredo, LLC     9717    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7576    DAVIS, BETTY                   15464   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1115 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7577    DAVIS, BETTY                   21210   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7578    DAVIS, BETTY                   26958   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7579    DAVIS, BRENT                   4872    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7580    DAVIS, BRENT   Laredo, LLC     10622   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7581    DAVIS, BRENT                   16369   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7582    DAVIS, BRENT                   22115   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7583    DAVIS, BRENT                   27863   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1116 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7584    DAVIS, CAROLYN                   4011    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7585    DAVIS, CAROLYN   Laredo, LLC     9761    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7586    DAVIS, CAROLYN                   15508   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7587    DAVIS, CAROLYN                   21254   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7588    DAVIS, CAROLYN                   27002   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7589    DAVIS, CHARLES                   6216    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7590    DAVIS, CHARLES                   6694    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1117 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7591    DAVIS, CHARLES   Laredo, LLC    11966   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7592    DAVIS, CHARLES   Laredo, LLC    12444   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
7593    DAVIS, CHARLES                  17713   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
7594    DAVIS, CHARLES                  18191   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
7595    DAVIS, CHARLES                  23458   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
7596    DAVIS, CHARLES                  23925   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
7597    DAVIS, CHARLES                  29207   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1118 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7598    DAVIS, CHARLES                    29685   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7599    DAVIS, CREZETTE                   4910    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7600    DAVIS, CREZETTE Laredo, LLC       10660   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7601    DAVIS, CREZETTE                   16407   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7602    DAVIS, CREZETTE                   22152   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7603    DAVIS, CREZETTE                   27901   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7604    DAVIS, CRISTA                     6839    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1119 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7605    DAVIS, CRISTA   Laredo, LLC     12589   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7606    DAVIS, CRISTA                   18336   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7607    DAVIS, CRISTA                   24070   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7608    DAVIS, CRISTA                   29830   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7609    DAVIS, DANIEL                   6881    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7610    DAVIS, DANIEL   Laredo, LLC     12631   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7611    DAVIS, DANIEL                   18378   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1120 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7612    DAVIS, DANIEL                   24112   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7613    DAVIS, DANIEL                   29872   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7614    DAVIS, DEBRA                    4110    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7615    DAVIS, DEBRA    Laredo, LLC     9860    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7616    DAVIS, DEBRA                    15607   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7617    DAVIS, DEBRA                    21353   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7618    DAVIS, DEBRA                    27101   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1121 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7619    DAVIS, DESHUN                   4124    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7620    DAVIS, DESHUN   Laredo, LLC     9874    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7621    DAVIS, DESHUN                   15621   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7622    DAVIS, DESHUN                   21367   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7623    DAVIS, DESHUN                   27115   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7624    DAVIS, EDWARD                   4953    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7625    DAVIS, EDWARD   Laredo, LLC     10703   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1122 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7626    DAVIS, EDWARD                   16450   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7627    DAVIS, EDWARD                   22195   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7628    DAVIS, EDWARD                   27944   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7629    DAVIS, ELNORA                   4959    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7630    DAVIS, ELNORA   Laredo, LLC     10709   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7631    DAVIS, ELNORA                   16456   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7632    DAVIS, ELNORA                   22201   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1123 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7633    DAVIS, ELNORA                   27950   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7634    DAVIS, FLORIE   Laredo, LLC     32531   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7635    DAVIS, FLORIE                   33522   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7636    DAVIS, FLORIE                   34513   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7637    DAVIS, FLORIE                   35504   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7638    DAVIS, FLORIE                   36495   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7639    DAVIS, FRED     Laredo, LLC     32532   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1124 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7640    DAVIS, FRED                    33523   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7641    DAVIS, FRED                    34514   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7642    DAVIS, FRED                    35505   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7643    DAVIS, FRED                    36496   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVIS,         Barney Davis,
7644                                   7343    8/1/2022     Secured: $0.00
        GWENDOLYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVIS,
7645                   Laredo, LLC     13093   8/1/2022     Secured: $0.00
        GWENDOLYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVIS,         Nueces Bay,
7646                                   18840   8/1/2022     Secured: $0.00
        GWENDOLYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1125 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS,          Talen Texas
7647                                    24574   8/1/2022     Secured: $0.00
        GWENDOLYN       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS,          Talen Texas,
7648                                    30334   8/1/2022     Secured: $0.00
        GWENDOLYN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7649    DAVIS, JASMIN                   7485    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7650    DAVIS, JASMIN   Laredo, LLC     13235   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7651    DAVIS, JASMIN                   18982   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7652    DAVIS, JASMIN                   24716   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7653    DAVIS, JASMIN                   30476   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1126 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7654    DAVIS, JEFFREY                   7505    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7655    DAVIS, JEFFREY   Laredo, LLC     13255   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7656    DAVIS, JEFFREY                   19002   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7657    DAVIS, JEFFREY                   24736   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7658    DAVIS, JEFFREY                   30496   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7659    DAVIS, JESSENA                   5460    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7660    DAVIS, JESSENA   Laredo, LLC     11210   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1127 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7661    DAVIS, JESSENA                   16957   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7662    DAVIS, JESSENA                   22702   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7663    DAVIS, JESSENA                   28451   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7664    DAVIS, JIM                       7572    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7665    DAVIS, JIM       Laredo, LLC     13322   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7666    DAVIS, JIM                       19069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7667    DAVIS, JIM                       24803   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1128 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7668    DAVIS, JIM                       30563   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7669    DAVIS, JOHN                      7606    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7670    DAVIS, JOHN      Laredo, LLC     13356   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7671    DAVIS, JOHN                      19103   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7672    DAVIS, JOHN                      24837   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7673    DAVIS, JOHN                      30597   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7674    DAVIS, JOHNNIE                   5041    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1129 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7675    DAVIS, JOHNNIE    Laredo, LLC     10791   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7676    DAVIS, JOHNNIE                    16538   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7677    DAVIS, JOHNNIE                    22283   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7678    DAVIS, JOHNNIE                    28032   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7679    DAVIS, JONATHAN                   7643    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7680    DAVIS, JONATHAN Laredo, LLC       13393   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7681    DAVIS, JONATHAN                   19140   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1130 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7682    DAVIS, JONATHAN                   24874   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7683    DAVIS, JONATHAN                   30634   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7684    DAVIS, KALYNN                     7736    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7685    DAVIS, KALYNN     Laredo, LLC     13486   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7686    DAVIS, KALYNN                     19233   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7687    DAVIS, KALYNN                     24967   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7688    DAVIS, KALYNN                     30727   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1131 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7689    DAVIS, LAJUANA                   5081    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7690    DAVIS, LAJUANA   Laredo, LLC     10831   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7691    DAVIS, LAJUANA                   16578   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7692    DAVIS, LAJUANA                   22323   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7693    DAVIS, LAJUANA                   28072   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, MARIA     Barney Davis,
7694                                     8086    8/1/2022     Secured: $0.00
        SILVA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, MARIA
7695                     Laredo, LLC     13836   8/1/2022     Secured: $0.00
        SILVA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1132 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS, MARIA    Nueces Bay,
7696                                    19583   8/1/2022     Secured: $0.00
        SILVA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS, MARIA    Talen Texas
7697                                    25317   8/1/2022     Secured: $0.00
        SILVA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS, MARIA    Talen Texas,
7698                                    31077   8/1/2022     Secured: $0.00
        SILVA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7699    DAVIS, MARTHA                   8139    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7700    DAVIS, MARTHA   Laredo, LLC     13889   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7701    DAVIS, MARTHA                   19636   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7702    DAVIS, MARTHA                   25370   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1133 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7703    DAVIS, MARTHA                    31130   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, PAULA     Barney Davis,
7704                                     8420    8/1/2022     Secured: $0.00
        WYNETTE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, PAULA
7705                     Laredo, LLC     14170   8/1/2022     Secured: $0.00
        WYNETTE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, PAULA     Nueces Bay,
7706                                     19917   8/1/2022     Secured: $0.00
        WYNETTE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, PAULA     Talen Texas
7707                                     25650   8/1/2022     Secured: $0.00
        WYNETTE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS, PAULA     Talen Texas,
7708                                     31411   8/1/2022     Secured: $0.00
        WYNETTE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7709    DAVIS, RAYMOND                   6167    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1134 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7710    DAVIS, RAYMOND Laredo, LLC       11917   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7711    DAVIS, RAYMOND                   17664   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7712    DAVIS, RAYMOND                   23409   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7713    DAVIS, RAYMOND                   29158   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7714    DAVIS, RICHARD                   8564    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7715    DAVIS, RICHARD   Laredo, LLC     14314   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7716    DAVIS, RICHARD                   20061   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1135 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7717    DAVIS, RICHARD                   25793   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7718    DAVIS, RICHARD                   31555   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7719    DAVIS, ROBERT                    5653    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7720    DAVIS, ROBERT                    8600    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7721    DAVIS, ROBERT    Laredo, LLC     11403   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7722    DAVIS, ROBERT    Laredo, LLC     14350   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7723    DAVIS, ROBERT                    17150   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1136 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7724    DAVIS, ROBERT                    20097   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7725    DAVIS, ROBERT                    22895   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7726    DAVIS, ROBERT                    25829   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7727    DAVIS, ROBERT                    28644   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7728    DAVIS, ROBERT                    31591   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7729    DAVIS, SHERRYL                   8832    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7730    DAVIS, SHERRYL   Laredo, LLC     14582   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1137 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7731    DAVIS, SHERRYL                    20329   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7732    DAVIS, SHERRYL                    26061   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7733    DAVIS, SHERRYL                    31823   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7734    DAVIS, TERRANCE                   8968    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7735    DAVIS, TERRANCE Laredo, LLC       14718   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7736    DAVIS, TERRANCE                   20465   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7737    DAVIS, TERRANCE                   26197   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1138 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7738    DAVIS, TERRANCE                   31959   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7739    DAVIS, TRACI      Laredo, LLC     32533   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7740    DAVIS, TRACI                      33524   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7741    DAVIS, TRACI                      34515   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7742    DAVIS, TRACI                      35506   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7743    DAVIS, TRACI                      36497   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7744    DAVIS, WILLIAM    Laredo, LLC     32534   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1139 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7745    DAVIS, WILLIAM                    33525   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7746    DAVIS, WILLIAM                    34516   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7747    DAVIS, WILLIAM                    35507   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7748    DAVIS, WILLIAM                    36498   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7749    DAVIS, WINIFRED                   5377    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7750    DAVIS, WINIFRED Laredo, LLC       11127   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7751    DAVIS, WINIFRED                   16874   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1140 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7752    DAVIS, WINIFRED                   22619   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7753    DAVIS, WINIFRED                   28368   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
7754    DAVIS, YOLANDA Laredo, LLC        32535   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
7755    DAVIS, YOLANDA                    33526   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
7756    DAVIS, YOLANDA                    34517   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
7757    DAVIS, YOLANDA                    35508   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
7758    DAVIS, YOLANDA                    36499   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1141 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVISON,       Barney Davis,
7759                                   4791    8/1/2022     Secured: $0.00
        ZCHARLETTE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVISON,
7760                   Laredo, LLC     10541   8/1/2022     Secured: $0.00
        ZCHARLETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVISON,       Nueces Bay,
7761                                   16288   8/1/2022     Secured: $0.00
        ZCHARLETTE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVISON,       Talen Texas
7762                                   22034   8/1/2022     Secured: $0.00
        ZCHARLETTE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DAVISON,       Talen Texas,
7763                                   27782   8/1/2022     Secured: $0.00
        ZCHARLETTE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7764    DAVISS, TODD                   9025    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7765    DAVISS, TODD   Laredo, LLC     14775   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1142 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
7766    DAVISS, TODD                    20522   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
7767    DAVISS, TODD                    26254   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
7768    DAVISS, TODD                    32016   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS‐WILLIAMS, Barney Davis,
7769                                    6054    8/1/2022     Secured: $0.00
        ALEXIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS‐WILLIAMS,
7770                    Laredo, LLC     11804   8/1/2022     Secured: $0.00
        ALEXIS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS‐WILLIAMS, Nueces Bay,
7771                                    17551   8/1/2022     Secured: $0.00
        ALEXIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DAVIS‐WILLIAMS, Talen Texas
7772                                    23296   8/1/2022     Secured: $0.00
        ALEXIS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1143 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DAVIS‐WILLIAMS, Talen Texas,
7773                                     29045   8/1/2022     Secured: $0.00
        ALEXIS          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7774    DAWDY, KRISTI                    7869    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7775    DAWDY, KRISTI    Laredo, LLC     13619   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7776    DAWDY, KRISTI                    19366   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7777    DAWDY, KRISTI                    25100   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7778    DAWDY, KRISTI                    30860   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7779    DAWKINS, ERICA                   7189    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1144 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7780    DAWKINS, ERICA   Laredo, LLC     12939   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7781    DAWKINS, ERICA                   18686   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7782    DAWKINS, ERICA                   24420   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7783    DAWKINS, ERICA                   30180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7784    DAWSON, GENNA                    4199    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7785    DAWSON, GENNA Laredo, LLC        9949    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7786    DAWSON, GENNA                    15696   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1145 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7787    DAWSON, GENNA                   21442   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7788    DAWSON, GENNA                   27190   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DAWSON,                                              Priority: $0.00
                        Barney Davis,
7789    MARLON                          8134    8/1/2022     Secured: $0.00
                        LLC
        RODRGIUEZ                                            General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DAWSON,                                              Priority: $0.00
7790    MARLON          Laredo, LLC     13884   8/1/2022     Secured: $0.00
        RODRGIUEZ                                            General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DAWSON,                                              Priority: $0.00
                        Nueces Bay,
7791    MARLON                          19631   8/1/2022     Secured: $0.00
                        LLC
        RODRGIUEZ                                            General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DAWSON,                                              Priority: $0.00
                        Talen Texas
7792    MARLON                          25365   8/1/2022     Secured: $0.00
                        Group, LLC
        RODRGIUEZ                                            General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DAWSON,                                              Priority: $0.00
                        Talen Texas,
7793    MARLON                          31125   8/1/2022     Secured: $0.00
                        LLC
        RODRGIUEZ                                            General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1146 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7794    DAY, JASON                     7488    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7795    DAY, JASON     Laredo, LLC     13238   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7796    DAY, JASON                     18985   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7797    DAY, JASON                     24719   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7798    DAY, JASON                     30479   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7799    DAY, MELANIE                   4503    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7800    DAY, MELANIE   Laredo, LLC     10253   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1147 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
7801    DAY, MELANIE                       16000   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
7802    DAY, MELANIE                       21746   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
7803    DAY, MELANIE                       27494   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
7804    DE ASIS, MELISSA                   4505    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
7805    DE ASIS, MELISSA Laredo, LLC       10255   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
7806    DE ASIS, MELISSA                   16002   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
7807    DE ASIS, MELISSA                   21748   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1148 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
7808    DE ASIS, MELISSA                   27496   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE HOYOS,          Barney Davis,
7809                                       6668    8/1/2022     Secured: $0.00
        CARRIE             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE HOYOS,
7810                       Laredo, LLC     12418   8/1/2022     Secured: $0.00
        CARRIE
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE HOYOS,          Nueces Bay,
7811                                       18165   8/1/2022     Secured: $0.00
        CARRIE             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE HOYOS,          Talen Texas
7812                                       23899   8/1/2022     Secured: $0.00
        CARRIE             Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE HOYOS,          Talen Texas,
7813                                       29659   8/1/2022     Secured: $0.00
        CARRIE             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE HOYOS,          Barney Davis,
7814                                       9034    8/1/2022     Secured: $0.00
        TOMMY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1149 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE HOYOS,
7815                   Laredo, LLC     14784   8/1/2022     Secured: $0.00
        TOMMY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE HOYOS,      Nueces Bay,
7816                                   20531   8/1/2022     Secured: $0.00
        TOMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE HOYOS,      Talen Texas
7817                                   26263   8/1/2022     Secured: $0.00
        TOMMY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE HOYOS,      Talen Texas,
7818                                   32025   8/1/2022     Secured: $0.00
        TOMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA CRUZ,
7819                   Laredo, LLC     32536   8/1/2022     Secured: $0.00
        IDALIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA CRUZ,    Barney Davis,
7820                                   33527   8/1/2022     Secured: $0.00
        IDALIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA CRUZ,    Nueces Bay,
7821                                   34518   8/1/2022     Secured: $0.00
        IDALIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1150 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA CRUZ,     Talen Texas
7822                                    35509   8/1/2022     Secured: $0.00
        IDALIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA CRUZ,     Talen Texas,
7823                                    36500   8/1/2022     Secured: $0.00
        IDALIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA FUENTE,   Barney Davis,
7824                                    8291    8/1/2022     Secured: $0.00
        MONIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA FUENTE,
7825                    Laredo, LLC     14041   8/1/2022     Secured: $0.00
        MONIQUE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA FUENTE,   Nueces Bay,
7826                                    19788   8/1/2022     Secured: $0.00
        MONIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA FUENTE,   Talen Texas
7827                                    25522   8/1/2022     Secured: $0.00
        MONIQUE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DE LA FUENTE,   Talen Texas,
7828                                    31282   8/1/2022     Secured: $0.00
        MONIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1151 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
7829    DE LA GARZA, IDA                   7385    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
7830    DE LA GARZA, IDA Laredo, LLC       13135   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
7831    DE LA GARZA, IDA                   18882   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
7832    DE LA GARZA, IDA                   24616   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
7833    DE LA GARZA, IDA                   30376   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE LA HAYA,
7834                       Laredo, LLC     32538   8/1/2022     Secured: $0.00
        ARMANDO
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        DE LA HAYA,        Barney Davis,
7835                                       33529   8/1/2022     Secured: $0.00
        ARMANDO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1152 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        DE LA HAYA,         Nueces Bay,
7836                                        34520   8/1/2022     Secured: $0.00
        ARMANDO             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        DE LA HAYA,         Talen Texas
7837                                        35511   8/1/2022     Secured: $0.00
        ARMANDO             Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        DE LA HAYA,         Talen Texas,
7838                                        36502   8/1/2022     Secured: $0.00
        ARMANDO             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
7839    DE LA PAZ, OFELIA                   5556    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
7840    DE LA PAZ, OFELIA Laredo, LLC       11306   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
7841    DE LA PAZ, OFELIA                   17053   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
7842    DE LA PAZ, OFELIA                   22798   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1153 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
7843    DE LA PAZ, OFELIA                   28547   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        DE LA ROSA,                                              Priority: $0.00
                            Barney Davis,
7844    MARLON                              4478    8/1/2022     Secured: $0.00
                            LLC
        THOMPSON                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        DE LA ROSA,                                              Priority: $0.00
7845    MARLON              Laredo, LLC     10228   8/1/2022     Secured: $0.00
        THOMPSON                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        DE LA ROSA,                                              Priority: $0.00
                            Nueces Bay,
7846    MARLON                              15975   8/1/2022     Secured: $0.00
                            LLC
        THOMPSON                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        DE LA ROSA,                                              Priority: $0.00
                            Talen Texas
7847    MARLON                              21721   8/1/2022     Secured: $0.00
                            Group, LLC
        THOMPSON                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        DE LA ROSA,                                              Priority: $0.00
                            Talen Texas,
7848    MARLON                              27469   8/1/2022     Secured: $0.00
                            LLC
        THOMPSON                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        DE LA TORRE,        Barney Davis,
7849                                        6058    8/1/2022     Secured: $0.00
        AMANDA              LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1154 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA TORRE,
7850                   Laredo, LLC     11808   8/1/2022     Secured: $0.00
        AMANDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA TORRE,   Nueces Bay,
7851                                   17555   8/1/2022     Secured: $0.00
        AMANDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA TORRE,   Talen Texas
7852                                   23300   8/1/2022     Secured: $0.00
        AMANDA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA TORRE,   Talen Texas,
7853                                   29049   8/1/2022     Secured: $0.00
        AMANDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA, GARZA
7854                   Laredo, LLC     32537   8/1/2022     Secured: $0.00
        AURELIANO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA, GARZA   Barney Davis,
7855                                   33528   8/1/2022     Secured: $0.00
        AURELIANO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LA, GARZA   Nueces Bay,
7856                                   34519   8/1/2022     Secured: $0.00
        AURELIANO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1155 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LA, GARZA     Talen Texas
7857                                     35510   8/1/2022     Secured: $0.00
        AURELIANO        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LA, GARZA     Talen Texas,
7858                                     36501   8/1/2022     Secured: $0.00
        AURELIANO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7859    DE LEON, ALICE                   6335    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7860    DE LEON, ALICE   Laredo, LLC     12085   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7861    DE LEON, ALICE                   17832   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7862    DE LEON, ALICE                   23567   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7863    DE LEON, ALICE                   29326   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1156 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,       Barney Davis,
7864                                   6797    8/1/2022     Secured: $0.00
        CLAYTON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,
7865                   Laredo, LLC     12547   8/1/2022     Secured: $0.00
        CLAYTON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,       Nueces Bay,
7866                                   18294   8/1/2022     Secured: $0.00
        CLAYTON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,       Talen Texas
7867                                   24028   8/1/2022     Secured: $0.00
        CLAYTON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,       Talen Texas,
7868                                   29788   8/1/2022     Secured: $0.00
        CLAYTON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,
7869                   Laredo, LLC     32539   8/1/2022     Secured: $0.00
        GUADALUPE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DE LEON,       Barney Davis,
7870                                   33530   8/1/2022     Secured: $0.00
        GUADALUPE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1157 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LEON,         Nueces Bay,
7871                                     34521   8/1/2022     Secured: $0.00
        GUADALUPE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LEON,         Talen Texas
7872                                     35512   8/1/2022     Secured: $0.00
        GUADALUPE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LEON,         Talen Texas,
7873                                     36503   8/1/2022     Secured: $0.00
        GUADALUPE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7874    DE LEON, LYDIA                   5436    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7875    DE LEON, LYDIA   Laredo, LLC     11186   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7876    DE LEON, LYDIA                   16933   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7877    DE LEON, LYDIA                   22678   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1158 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7878    DE LEON, LYDIA                   28427   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS REYES,    Barney Davis,
7879                                     5597    8/1/2022     Secured: $0.00
        EUGENIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS REYES,
7880                     Laredo, LLC     11347   8/1/2022     Secured: $0.00
        EUGENIO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS REYES,    Nueces Bay,
7881                                     17094   8/1/2022     Secured: $0.00
        EUGENIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS REYES,    Talen Texas
7882                                     22839   8/1/2022     Secured: $0.00
        EUGENIO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS REYES,    Talen Texas,
7883                                     28588   8/1/2022     Secured: $0.00
        EUGENIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS
7884                     Laredo, LLC     32540   8/1/2022     Secured: $0.00
        LINDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1159 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Barney Davis,
7885                                     33531   8/1/2022     Secured: $0.00
        LINDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Nueces Bay,
7886                                     34522   8/1/2022     Secured: $0.00
        LINDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Talen Texas
7887                                     35513   8/1/2022     Secured: $0.00
        LINDA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Talen Texas,
7888                                     36504   8/1/2022     Secured: $0.00
        LINDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS
7889                     Laredo, LLC     32541   8/1/2022     Secured: $0.00
        PRISCILLA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Barney Davis,
7890                                     33532   8/1/2022     Secured: $0.00
        PRISCILLA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Nueces Bay,
7891                                     34523   8/1/2022     Secured: $0.00
        PRISCILLA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1160 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Talen Texas
7892                                     35514   8/1/2022     Secured: $0.00
        PRISCILLA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DE LOS, SANTOS   Talen Texas,
7893                                     36505   8/1/2022     Secured: $0.00
        PRISCILLA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DEALEJANDRO,     Barney Davis,
7894                                     4111    8/1/2022     Secured: $0.00
        DEBRA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DEALEJANDRO,
7895                     Laredo, LLC     9861    8/1/2022     Secured: $0.00
        DEBRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DEALEJANDRO,     Nueces Bay,
7896                                     15608   8/1/2022     Secured: $0.00
        DEBRA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DEALEJANDRO,     Talen Texas
7897                                     21354   8/1/2022     Secured: $0.00
        DEBRA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DEALEJANDRO,     Talen Texas,
7898                                     27102   8/1/2022     Secured: $0.00
        DEBRA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1161 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEAN,
7899                   Laredo, LLC     32542   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEAN,          Barney Davis,
7900                                   33533   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEAN,          Nueces Bay,
7901                                   34524   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEAN,          Talen Texas
7902                                   35515   8/1/2022     Secured: $0.00
        CHRISTOPHER    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEAN,          Talen Texas,
7903                                   36506   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7904    DEAN, THOMAS                   5340    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7905    DEAN, THOMAS   Laredo, LLC     11090   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1162 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
7906    DEAN, THOMAS                   16837   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
7907    DEAN, THOMAS                   22582   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
7908    DEAN, THOMAS                   28331   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        DEANA DUTCHER,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Barney Davis,
7909                                   5386    8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                            General Unsecured: $0.00 + Unliquidated
        FRANKLIN
        DUTCHER, JR.
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        DEANA DUTCHER,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF
7910                   Laredo, LLC     11136   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                            General Unsecured: $0.00 + Unliquidated
        FRANKLIN
        DUTCHER, JR.
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        DEANA DUTCHER,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Nueces Bay,
7911                                   16883   8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                            General Unsecured: $0.00 + Unliquidated
        FRANKLIN
        DUTCHER, JR.
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        DEANA DUTCHER,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Talen Texas
7912                                   22628   8/1/2022     Secured: $0.00
        THE ESTATE OF  Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        FRANKLIN
        DUTCHER, JR.
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1163 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        DEANA DUTCHER,
                                                             Other Administrative: $0.00
        INDIVIDUALLY
                                                             Priority: $0.00
        AND AS HEIR OF Talen Texas,
7913                                    28377   8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                             General Unsecured: $0.00 + Unliquidated
        FRANKLIN
        DUTCHER, JR.
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEANGELIS,      Barney Davis,
7914                                    4877    8/1/2022     Secured: $0.00
        CAIRO           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEANGELIS,
7915                    Laredo, LLC     10627   8/1/2022     Secured: $0.00
        CAIRO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEANGELIS,      Nueces Bay,
7916                                    16374   8/1/2022     Secured: $0.00
        CAIRO           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEANGELIS,      Talen Texas
7917                                    22120   8/1/2022     Secured: $0.00
        CAIRO           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEANGELIS,      Talen Texas,
7918                                    27868   8/1/2022     Secured: $0.00
        CAIRO           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEANS, MARY
7919                    Laredo, LLC     32543   8/1/2022     Secured: $0.00
        LOU
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1164 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEANS, MARY    Barney Davis,
7920                                   33534   8/1/2022     Secured: $0.00
        LOU            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEANS, MARY    Nueces Bay,
7921                                   34525   8/1/2022     Secured: $0.00
        LOU            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEANS, MARY    Talen Texas
7922                                   35516   8/1/2022     Secured: $0.00
        LOU            Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEANS, MARY    Talen Texas,
7923                                   36507   8/1/2022     Secured: $0.00
        LOU            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
7924    DEARS, DONNA                   5448    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
7925    DEARS, DONNA   Laredo, LLC     11198   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
7926    DEARS, DONNA                   16945   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1165 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
7927    DEARS, DONNA                   22690   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
7928    DEARS, DONNA                   28439   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEBOUSE,       Barney Davis,
7929                                   4184    8/1/2022     Secured: $0.00
        FELECIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEBOUSE,
7930                   Laredo, LLC     9934    8/1/2022     Secured: $0.00
        FELECIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEBOUSE,       Nueces Bay,
7931                                   15681   8/1/2022     Secured: $0.00
        FELECIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEBOUSE,       Talen Texas
7932                                   21427   8/1/2022     Secured: $0.00
        FELECIA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEBOUSE,       Talen Texas,
7933                                   27175   8/1/2022     Secured: $0.00
        FELECIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1166 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DEBRA BLAKE AS
                                                              Priority: $0.00
        HEIR OF THE      Barney Davis,
7934                                     5420    8/1/2022     Secured: $0.00
        ESTATE OF LENA   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RILEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DEBRA BLAKE AS
                                                              Priority: $0.00
        HEIR OF THE
7935                     Laredo, LLC     11170   8/1/2022     Secured: $0.00
        ESTATE OF LENA
                                                              General Unsecured: $0.00 + Unliquidated
        RILEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DEBRA BLAKE AS
                                                              Priority: $0.00
        HEIR OF THE      Nueces Bay,
7936                                     16917   8/1/2022     Secured: $0.00
        ESTATE OF LENA   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RILEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DEBRA BLAKE AS
                                                              Priority: $0.00
        HEIR OF THE      Talen Texas
7937                                     22662   8/1/2022     Secured: $0.00
        ESTATE OF LENA   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RILEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        DEBRA BLAKE AS
                                                              Priority: $0.00
        HEIR OF THE      Talen Texas,
7938                                     28411   8/1/2022     Secured: $0.00
        ESTATE OF LENA   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RILEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA
                                                              Other Administrative: $0.00
        GALLANDER,
                                                              Priority: $0.00
        INDIVIDUALLY,  Barney Davis,
7939                                     5387    8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        JIMMY CAMPBELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA
                                                              Other Administrative: $0.00
        GALLANDER,
                                                              Priority: $0.00
        INDIVIDUALLY,
7940                   Laredo, LLC       11137   8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        JIMMY CAMPBELL
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1167 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        DEBRA
                                                              Other Administrative: $0.00
        GALLANDER,
                                                              Priority: $0.00
        INDIVIDUALLY,  Nueces Bay,
7941                                     16884   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        JIMMY CAMPBELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA
                                                              Other Administrative: $0.00
        GALLANDER,
                                                              Priority: $0.00
        INDIVIDUALLY,  Talen Texas
7942                                     22629   8/1/2022     Secured: $0.00
        AND AS HEIR OF Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        JIMMY CAMPBELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA
                                                              Other Administrative: $0.00
        GALLANDER,
                                                              Priority: $0.00
        INDIVIDUALLY,  Talen Texas,
7943                                     28378   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        JIMMY CAMPBELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA METTING,                                        Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
7944    AND AS HEIR OF                   9251    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RICKY R. METTING
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA METTING,                                        Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
7945    AND AS HEIR OF Laredo, LLC       15001   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RICKY R. METTING
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA METTING,                                        Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
7946    AND AS HEIR OF                   20748   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RICKY R. METTING
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DEBRA METTING,                                        Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
7947    AND AS HEIR OF                   26480   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RICKY R. METTING
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1168 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        DEBRA METTING,                                        Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
7948    AND AS HEIR OF                   32242   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RICKY R. METTING
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER III,      Barney Davis,
7949                                     5760    8/1/2022     Secured: $0.00
        CHESTER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER III,
7950                     Laredo, LLC     11510   8/1/2022     Secured: $0.00
        CHESTER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER III,      Nueces Bay,
7951                                     17257   8/1/2022     Secured: $0.00
        CHESTER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER III,      Talen Texas
7952                                     23002   8/1/2022     Secured: $0.00
        CHESTER          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER III,      Talen Texas,
7953                                     28751   8/1/2022     Secured: $0.00
        CHESTER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER,
7954                     Laredo, LLC     32544   8/1/2022     Secured: $0.00
        BARBARA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1169 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER,          Barney Davis,
7955                                     33535   8/1/2022     Secured: $0.00
        BARBARA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER,          Nueces Bay,
7956                                     34526   8/1/2022     Secured: $0.00
        BARBARA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER,          Talen Texas
7957                                     35517   8/1/2022     Secured: $0.00
        BARBARA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER,          Talen Texas,
7958                                     36508   8/1/2022     Secured: $0.00
        BARBARA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER, WILLIAM Barney Davis,
7959                                     9165    8/1/2022     Secured: $0.00
        PAUL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER, WILLIAM
7960                    Laredo, LLC      14915   8/1/2022     Secured: $0.00
        PAUL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER, WILLIAM Nueces Bay,
7961                                     20662   8/1/2022     Secured: $0.00
        PAUL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1170 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER, WILLIAM Talen Texas
7962                                     26394   8/1/2022     Secured: $0.00
        PAUL            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DECKER, WILLIAM Talen Texas,
7963                                     32156   8/1/2022     Secured: $0.00
        PAUL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7964    DEDRICK, BILLY                   6238    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7965    DEDRICK, BILLY   Laredo, LLC     11988   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7966    DEDRICK, BILLY                   17735   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7967    DEDRICK, BILLY                   26580   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7968    DEDRICK, BILLY                   29229   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1171 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7969    DEEHRING, JEFF                   7499    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7970    DEEHRING, JEFF   Laredo, LLC     13249   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7971    DEEHRING, JEFF                   18996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7972    DEEHRING, JEFF                   24730   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7973    DEEHRING, JEFF                   30490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7974    DEENER, JOHN                     6137    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7975    DEENER, JOHN     Laredo, LLC     11887   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1172 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7976    DEENER, JOHN                    17634   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7977    DEENER, JOHN                    23379   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7978    DEENER, JOHN                    29128   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7979    DEENER, KATHY                   3812    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7980    DEENER, KATHY   Laredo, LLC     9562    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7981    DEENER, KATHY                   15309   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7982    DEENER, KATHY                   21056   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1173 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7983    DEENER, KATHY                    26803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7984    DEERFOOT, MARK                   5835    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
7985    DEERFOOT, MARK Laredo, LLC       11585   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
7986    DEERFOOT, MARK                   17332   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
7987    DEERFOOT, MARK                   23077   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
7988    DEERFOOT, MARK                   28826   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
7989    DEES, GEORGE                     6247    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1174 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7990    DEES, GEORGE    Laredo, LLC     11997   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7991    DEES, GEORGE                    17744   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7992    DEES, GEORGE                    23479   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7993    DEES, GEORGE                    29238   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
7994    DEES, LINETTA                   5103    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
7995    DEES, LINETTA   Laredo, LLC     10853   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
7996    DEES, LINETTA                   16600   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1175 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
7997    DEES, LINETTA                   22345   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
7998    DEES, LINETTA                   28094   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEGEYTER,       Barney Davis,
7999                                    7879    8/1/2022     Secured: $0.00
        KRYSTAL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEGEYTER,
8000                    Laredo, LLC     13629   8/1/2022     Secured: $0.00
        KRYSTAL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEGEYTER,       Nueces Bay,
8001                                    19376   8/1/2022     Secured: $0.00
        KRYSTAL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEGEYTER,       Talen Texas
8002                                    25110   8/1/2022     Secured: $0.00
        KRYSTAL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEGEYTER,       Talen Texas,
8003                                    30870   8/1/2022     Secured: $0.00
        KRYSTAL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1176 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEGOLLADO,
8004                  Laredo, LLC     32545   8/1/2022     Secured: $0.00
        VERONICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEGOLLADO,    Barney Davis,
8005                                  33536   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEGOLLADO,    Nueces Bay,
8006                                  34527   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEGOLLADO,    Talen Texas
8007                                  35518   8/1/2022     Secured: $0.00
        VERONICA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEGOLLADO,    Talen Texas,
8008                                  36509   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEL BOSQUE,   Barney Davis,
8009                                  8630    8/1/2022     Secured: $0.00
        ROBIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEL BOSQUE,
8010                  Laredo, LLC     14380   8/1/2022     Secured: $0.00
        ROBIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1177 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEL BOSQUE,     Nueces Bay,
8011                                    20127   8/1/2022     Secured: $0.00
        ROBIN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEL BOSQUE,     Talen Texas
8012                                    25859   8/1/2022     Secured: $0.00
        ROBIN           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DEL BOSQUE,     Talen Texas,
8013                                    31621   8/1/2022     Secured: $0.00
        ROBIN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELACERDA JR,   Barney Davis,
8014                                    9272    8/1/2022     Secured: $0.00
        JOSE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELACERDA JR,
8015                    Laredo, LLC     15022   8/1/2022     Secured: $0.00
        JOSE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELACERDA JR,   Nueces Bay,
8016                                    20769   8/1/2022     Secured: $0.00
        JOSE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELACERDA JR,   Talen Texas
8017                                    26501   8/1/2022     Secured: $0.00
        JOSE            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1178 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELACERDA JR,   Talen Texas,
8018                                    32263   8/1/2022     Secured: $0.00
        JOSE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAHOUSSAYE,   Barney Davis,
8019                                    5478    8/1/2022     Secured: $0.00
        SANYA LYNN      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAHOUSSAYE,
8020                    Laredo, LLC     11228   8/1/2022     Secured: $0.00
        SANYA LYNN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAHOUSSAYE,   Nueces Bay,
8021                                    16975   8/1/2022     Secured: $0.00
        SANYA LYNN      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAHOUSSAYE,   Talen Texas
8022                                    22720   8/1/2022     Secured: $0.00
        SANYA LYNN      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAHOUSSAYE,   Talen Texas,
8023                                    28469   8/1/2022     Secured: $0.00
        SANYA LYNN      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELANEY,        Barney Davis,
8024                                    7059    8/1/2022     Secured: $0.00
        DONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1179 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DELANEY,
8025                      Laredo, LLC     12809   8/1/2022     Secured: $0.00
        DONALD
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DELANEY,          Nueces Bay,
8026                                      18556   8/1/2022     Secured: $0.00
        DONALD            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DELANEY,          Talen Texas
8027                                      24290   8/1/2022     Secured: $0.00
        DONALD            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DELANEY,          Talen Texas,
8028                                      30050   8/1/2022     Secured: $0.00
        DONALD            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8029    DELAO, PATRICIA                   6166    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8030    DELAO, PATRICIA Laredo, LLC       11916   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8031    DELAO, PATRICIA                   17663   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1180 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8032    DELAO, PATRICIA                   23408   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8033    DELAO, PATRICIA                   29157   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8034    DELAPAZ, FELIX                    3830    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8035    DELAPAZ, FELIX    Laredo, LLC     9580    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8036    DELAPAZ, FELIX                    15327   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8037    DELAPAZ, FELIX                    21074   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8038    DELAPAZ, FELIX                    26821   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1181 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8039    DELAPEZA, MITZI                   8281    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8040    DELAPEZA, MITZI Laredo, LLC       14031   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8041    DELAPEZA, MITZI                   19778   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8042    DELAPEZA, MITZI                   25512   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8043    DELAPEZA, MITZI                   31272   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DELAROSA,         Barney Davis,
8044                                      8075    8/1/2022     Secured: $0.00
        MARIA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DELAROSA,
8045                      Laredo, LLC     13825   8/1/2022     Secured: $0.00
        MARIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1182 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAROSA,       Nueces Bay,
8046                                    19572   8/1/2022     Secured: $0.00
        MARIA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAROSA,       Talen Texas
8047                                    25306   8/1/2022     Secured: $0.00
        MARIA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELAROSA,       Talen Texas,
8048                                    31066   8/1/2022     Secured: $0.00
        MARIA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8049    DELEON, AARON                   3869    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8050    DELEON, AARON   Laredo, LLC     9619    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8051    DELEON, AARON                   15366   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8052    DELEON, AARON                   21113   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1183 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8053    DELEON, AARON                     26860   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8054    DELEON, CECILIA   Laredo, LLC     32546   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8055    DELEON, CECILIA                   33537   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8056    DELEON, CECILIA                   34528   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8057    DELEON, CECILIA                   35519   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8058    DELEON, CECILIA                   36510   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8059    DELEON, JOSE                      5723    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1184 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8060    DELEON, JOSE    Laredo, LLC     11473   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8061    DELEON, JOSE                    17220   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8062    DELEON, JOSE                    22965   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8063    DELEON, JOSE                    28714   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8064    DELEON, LINDA   Laredo, LLC     32547   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8065    DELEON, LINDA                   33538   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8066    DELEON, LINDA                   34529   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1185 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8067    DELEON, LINDA                   35520   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8068    DELEON, LINDA                   36511   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8069    DELEON, LISA                    7997    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8070    DELEON, LISA    Laredo, LLC     13747   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8071    DELEON, LISA                    19494   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8072    DELEON, LISA                    25228   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8073    DELEON, LISA                    30988   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1186 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELEON,         Barney Davis,
8074                                    4456    8/1/2022     Secured: $0.00
        MARGARITA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELEON,
8075                    Laredo, LLC     10206   8/1/2022     Secured: $0.00
        MARGARITA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELEON,         Nueces Bay,
8076                                    15953   8/1/2022     Secured: $0.00
        MARGARITA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELEON,         Talen Texas
8077                                    21699   8/1/2022     Secured: $0.00
        MARGARITA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELEON,         Talen Texas,
8078                                    27447   8/1/2022     Secured: $0.00
        MARGARITA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8079    DELEON, MARIA   Laredo, LLC     32548   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8080    DELEON, MARIA                   33539   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1187 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8081    DELEON, MARIA                     34530   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8082    DELEON, MARIA                     35521   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8083    DELEON, MARIA                     36512   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8084    DELEON, MARISSA                   8109    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8085    DELEON, MARISSA Laredo, LLC       13859   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8086    DELEON, MARISSA                   19606   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8087    DELEON, MARISSA                   25340   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1188 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8088    DELEON, MARISSA                   31100   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8089    DELGADO, EMILEY Laredo, LLC       32549   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8090    DELGADO, EMILEY                   33540   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8091    DELGADO, EMILEY                   34531   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8092    DELGADO, EMILEY                   35522   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8093    DELGADO, EMILEY                   36513   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8094    DELGADO, LEROY Laredo, LLC        32550   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1189 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8095    DELGADO, LEROY                   33541   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8096    DELGADO, LEROY                   34532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8097    DELGADO, LEROY                   35523   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8098    DELGADO, LEROY                   36514   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8099    DELGADO, LUIS                    8026    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8100    DELGADO, LUIS    Laredo, LLC     13776   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8101    DELGADO, LUIS                    19523   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1190 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8102    DELGADO, LUIS                   25257   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8103    DELGADO, LUIS                   31017   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELGADO,        Barney Davis,
8104                                    8225    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELGADO,
8105                    Laredo, LLC     13975   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELGADO,        Nueces Bay,
8106                                    19722   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELGADO,        Talen Texas
8107                                    25456   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELGADO,        Talen Texas,
8108                                    31216   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1191 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8109    DELLER, PAMELA                   4552    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8110    DELLER, PAMELA Laredo, LLC       10302   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8111    DELLER, PAMELA                   16049   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8112    DELLER, PAMELA                   21795   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8113    DELLER, PAMELA                   27543   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DELORES DAVIS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF Barney Davis,
8114                                     5388    8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DEMERISE MABEL
        DAVIS
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DELORES DAVIS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF
8115                   Laredo, LLC       11138   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        DEMERISE MABEL
        DAVIS
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1192 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        DELORES DAVIS,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Nueces Bay,
8116                                    16885   8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                             General Unsecured: $0.00 + Unliquidated
        DEMERISE MABEL
        DAVIS
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        DELORES DAVIS,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Talen Texas
8117                                    22630   8/1/2022     Secured: $0.00
        THE ESTATE OF  Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        DEMERISE MABEL
        DAVIS
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        DELORES DAVIS,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Talen Texas,
8118                                    28379   8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                             General Unsecured: $0.00 + Unliquidated
        DEMERISE MABEL
        DAVIS
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELROSARIO,     Barney Davis,
8119                                    6998    8/1/2022     Secured: $0.00
        DENNIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELROSARIO,
8120                    Laredo, LLC     12748   8/1/2022     Secured: $0.00
        DENNIS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELROSARIO,     Nueces Bay,
8121                                    18495   8/1/2022     Secured: $0.00
        DENNIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DELROSARIO,     Talen Texas
8122                                    24229   8/1/2022     Secured: $0.00
        DENNIS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1193 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DELROSARIO,      Talen Texas,
8123                                     29989   8/1/2022     Secured: $0.00
        DENNIS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8124    DELUNA, MARY     Laredo, LLC     32551   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8125    DELUNA, MARY                     33542   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8126    DELUNA, MARY                     34533   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8127    DELUNA, MARY                     35524   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8128    DELUNA, MARY                     36515   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8129    DELZELL, DAVID                   6922    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1194 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8130    DELZELL, DAVID   Laredo, LLC     12672   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8131    DELZELL, DAVID                   18419   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8132    DELZELL, DAVID                   24153   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8133    DELZELL, DAVID                   29913   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8134    DEMNY, TONNI                     9041    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8135    DEMNY, TONNI     Laredo, LLC     14791   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8136    DEMNY, TONNI                     20538   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1195 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8137    DEMNY, TONNI                   26270   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8138    DEMNY, TONNI                   32032   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEMUS,         Barney Davis,
8139                                   6635    8/1/2022     Secured: $0.00
        CARLETTA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEMUS,
8140                   Laredo, LLC     12385   8/1/2022     Secured: $0.00
        CARLETTA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEMUS,         Nueces Bay,
8141                                   18132   8/1/2022     Secured: $0.00
        CARLETTA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEMUS,         Talen Texas
8142                                   23866   8/1/2022     Secured: $0.00
        CARLETTA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DEMUS,         Talen Texas,
8143                                   29626   8/1/2022     Secured: $0.00
        CARLETTA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1196 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEMYERS,      Barney Davis,
8144                                  6827    8/1/2022     Secured: $0.00
        CORINNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEMYERS,
8145                  Laredo, LLC     12577   8/1/2022     Secured: $0.00
        CORINNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEMYERS,      Nueces Bay,
8146                                  18324   8/1/2022     Secured: $0.00
        CORINNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEMYERS,      Talen Texas
8147                                  24058   8/1/2022     Secured: $0.00
        CORINNA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DEMYERS,      Talen Texas,
8148                                  29818   8/1/2022     Secured: $0.00
        CORINNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
8149    DENAY, MARY   Laredo, LLC     32552   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
8150    DENAY, MARY                   33543   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1197 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8151    DENAY, MARY                      34534   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8152    DENAY, MARY                      35525   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8153    DENAY, MARY                      36516   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8154    DENGEL, DANIEL                   6882    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8155    DENGEL, DANIEL   Laredo, LLC     12632   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8156    DENGEL, DANIEL                   18379   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8157    DENGEL, DANIEL                   24113   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1198 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8158    DENGEL, DANIEL                   29873   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DENHAM,          Barney Davis,
8159                                     6859    8/1/2022     Secured: $0.00
        CYNTHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DENHAM,
8160                     Laredo, LLC     12609   8/1/2022     Secured: $0.00
        CYNTHIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DENHAM,          Nueces Bay,
8161                                     18356   8/1/2022     Secured: $0.00
        CYNTHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DENHAM,          Talen Texas
8162                                     24090   8/1/2022     Secured: $0.00
        CYNTHIA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DENHAM,          Talen Texas,
8163                                     29850   8/1/2022     Secured: $0.00
        CYNTHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8164    DENISE, VERNA    Laredo, LLC     32553   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1199 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8165    DENISE, VERNA                   33544   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8166    DENISE, VERNA                   34535   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8167    DENISE, VERNA                   35526   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8168    DENISE, VERNA                   36517   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DENMARK,        Barney Davis,
8169                                    5602    8/1/2022     Secured: $0.00
        GLADYS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DENMARK,
8170                    Laredo, LLC     11352   8/1/2022     Secured: $0.00
        GLADYS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DENMARK,        Nueces Bay,
8171                                    17099   8/1/2022     Secured: $0.00
        GLADYS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1200 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENMARK,      Talen Texas
8172                                  22844   8/1/2022     Secured: $0.00
        GLADYS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENMARK,      Talen Texas,
8173                                  28593   8/1/2022     Secured: $0.00
        GLADYS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENNISTON,    Barney Davis,
8174                                  6653    8/1/2022     Secured: $0.00
        CAROL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENNISTON,
8175                  Laredo, LLC     12403   8/1/2022     Secured: $0.00
        CAROL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENNISTON,    Nueces Bay,
8176                                  18150   8/1/2022     Secured: $0.00
        CAROL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENNISTON,    Talen Texas
8177                                  23884   8/1/2022     Secured: $0.00
        CAROL         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DENNISTON,    Talen Texas,
8178                                  29644   8/1/2022     Secured: $0.00
        CAROL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1201 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8179    DENNY, ERIC                       3767    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8180    DENNY, ERIC       Laredo, LLC     9517    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8181    DENNY, ERIC                       15264   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8182    DENNY, ERIC                       21011   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8183    DENNY, ERIC                       26758   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8184    DER SUN, ROBERT                   8601    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8185    DER SUN, ROBERT Laredo, LLC       14351   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1202 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
8186    DER SUN, ROBERT                  20098   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
8187    DER SUN, ROBERT                  25830   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
8188    DER SUN, ROBERT                  31592   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DERRICK
                                                              Other Administrative: $0.00
        CALVERT,
                                                              Priority: $0.00
        INDIVIDUALLY,  Barney Davis,
8189                                     5389    8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        DEOLVA CALVERT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DERRICK
                                                              Other Administrative: $0.00
        CALVERT,
                                                              Priority: $0.00
        INDIVIDUALLY,
8190                   Laredo, LLC       11139   8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        DEOLVA CALVERT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DERRICK
                                                              Other Administrative: $0.00
        CALVERT,
                                                              Priority: $0.00
        INDIVIDUALLY,  Nueces Bay,
8191                                     16886   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        DEOLVA CALVERT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DERRICK
                                                              Other Administrative: $0.00
        CALVERT,
                                                              Priority: $0.00
        INDIVIDUALLY,  Talen Texas
8192                                     22631   8/1/2022     Secured: $0.00
        AND AS HEIR OF Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        DEOLVA CALVERT
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1203 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        DERRICK
                                                             Other Administrative: $0.00
        CALVERT,
                                                             Priority: $0.00
        INDIVIDUALLY,  Talen Texas,
8193                                    28380   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                             General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        DEOLVA CALVERT
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DERUSHA‐                                             Priority: $0.00
                        Barney Davis,
8194    MORRIS,                         5131    8/1/2022     Secured: $0.00
                        LLC
        MARJORIE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DERUSHA‐                                             Priority: $0.00
8195    MORRIS,         Laredo, LLC     10881   8/1/2022     Secured: $0.00
        MARJORIE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DERUSHA‐                                             Priority: $0.00
                        Nueces Bay,
8196    MORRIS,                         16628   8/1/2022     Secured: $0.00
                        LLC
        MARJORIE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DERUSHA‐                                             Priority: $0.00
                        Talen Texas
8197    MORRIS,                         22373   8/1/2022     Secured: $0.00
                        Group, LLC
        MARJORIE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DERUSHA‐                                             Priority: $0.00
                        Talen Texas,
8198    MORRIS,                         28122   8/1/2022     Secured: $0.00
                        LLC
        MARJORIE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DETILLIER,      Barney Davis,
8199                                    5117    8/1/2022     Secured: $0.00
        MADELINE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1204 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DETILLIER,
8200                   Laredo, LLC     10867   8/1/2022     Secured: $0.00
        MADELINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DETILLIER,     Nueces Bay,
8201                                   16614   8/1/2022     Secured: $0.00
        MADELINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DETILLIER,     Talen Texas
8202                                   22359   8/1/2022     Secured: $0.00
        MADELINE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DETILLIER,     Talen Texas,
8203                                   28108   8/1/2022     Secured: $0.00
        MADELINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8204    DEUEL, TAWNY                   8953    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8205    DEUEL, TAWNY   Laredo, LLC     14703   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8206    DEUEL, TAWNY                   20450   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1205 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
8207    DEUEL, TAWNY                       26182   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
8208    DEUEL, TAWNY                       31944   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
8209    DEVILLIER, RENÉE                   5901    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
8210    DEVILLIER, RENÉE Laredo, LLC       11651   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
8211    DEVILLIER, RENÉE                   17398   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
8212    DEVILLIER, RENÉE                   23143   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
8213    DEVILLIER, RENÉE                   28892   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1206 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        DEWAYNE DUNN,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Barney Davis,
8214    AND AS HEIR OF                  6231    8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JAMES DUNN
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        DEWAYNE DUNN,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
8215    AND AS HEIR OF Laredo, LLC      11981   8/1/2022     Secured: $0.00
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JAMES DUNN
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        DEWAYNE DUNN,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Nueces Bay,
8216    AND AS HEIR OF                  17728   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JAMES DUNN
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        DEWAYNE DUNN,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Talen Texas
8217    AND AS HEIR OF                  23473   8/1/2022     Secured: $0.00
                       Group, LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JAMES DUNN
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        DEWAYNE DUNN,                                        Other Administrative: $0.00
        INDIVIDUALLY                                         Priority: $0.00
                       Talen Texas,
8218    AND AS HEIR OF                  29222   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JAMES DUNN
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8219    DEWEES, JACK                    5603    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8220    DEWEES, JACK    Laredo, LLC     11353   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1207 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8221    DEWEES, JACK                   17100   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8222    DEWEES, JACK                   22845   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8223    DEWEES, JACK                   28594   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DI PIAZZA,     Barney Davis,
8224                                   6125    8/1/2022     Secured: $0.00
        JANNETTE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DI PIAZZA,
8225                   Laredo, LLC     11875   8/1/2022     Secured: $0.00
        JANNETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DI PIAZZA,     Nueces Bay,
8226                                   17622   8/1/2022     Secured: $0.00
        JANNETTE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DI PIAZZA,     Talen Texas
8227                                   23367   8/1/2022     Secured: $0.00
        JANNETTE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1208 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DI PIAZZA,     Talen Texas,
8228                                   29116   8/1/2022     Secured: $0.00
        JANNETTE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DIAMOND STATE                                       Priority: $0.00
8229    INSURANCE     Laredo, LLC      1293    7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $165,174.12 + Unliquidated

                                                            Total: $165,174.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DIAMOND STATE                                       Priority: $0.00
                      Nueces Bay,
8230    INSURANCE                      1337    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $165,174.12 + Unliquidated

                                                            Total: $165,174.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DIAMOND STATE                                       Priority: $0.00
                      Barney Davis,
8231    INSURANCE                      1440    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $165,174.12 + Unliquidated

                                                            Total: $165,174.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DIAMOND STATE                                       Priority: $0.00
                      Barney Davis,
8232    INSURANCE                      2334    7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8233    DIAMOND, DON                   3668    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8234    DIAMOND, DON   Laredo, LLC     9418    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1209 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8235    DIAMOND, DON                   15165   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8236    DIAMOND, DON                   20912   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8237    DIAMOND, DON                   26659   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIAMOND,       Barney Davis,
8238                                   3715    8/1/2022     Secured: $0.00
        THERESA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIAMOND,
8239                   Laredo, LLC     9465    8/1/2022     Secured: $0.00
        THERESA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIAMOND,       Nueces Bay,
8240                                   15212   8/1/2022     Secured: $0.00
        THERESA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIAMOND,       Talen Texas
8241                                   20959   8/1/2022     Secured: $0.00
        THERESA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1210 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIAMOND,       Talen Texas,
8242                                   26706   8/1/2022     Secured: $0.00
        THERESA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8243    DIAZ, ELOY     Laredo, LLC     32554   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8244    DIAZ, ELOY                     33545   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8245    DIAZ, ELOY                     34536   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8246    DIAZ, ELOY                     35527   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8247    DIAZ, ELOY                     36518   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8248    DIAZ, JUAN     Laredo, LLC     32555   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1211 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8249    DIAZ, JUAN                       33546   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8250    DIAZ, JUAN                       34537   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8251    DIAZ, JUAN                       35528   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8252    DIAZ, JUAN                       36519   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8253    DIAZ, MICHELLE                   8252    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8254    DIAZ, MICHELLE   Laredo, LLC     14002   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8255    DIAZ, MICHELLE                   19749   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1212 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8256    DIAZ, MICHELLE                    25483   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8257    DIAZ, MICHELLE                    31243   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8258    DIAZ, SILVESTRE                   8848    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8259    DIAZ, SILVESTRE   Laredo, LLC     14598   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8260    DIAZ, SILVESTRE                   20345   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8261    DIAZ, SILVESTRE                   26077   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8262    DIAZ, SILVESTRE                   31839   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1213 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8263    DICARLO, JOANA                   6135    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8264    DICARLO, JOANA Laredo, LLC       11885   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8265    DICARLO, JOANA                   17632   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8266    DICARLO, JOANA                   23377   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8267    DICARLO, JOANA                   29126   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8268    DICKENS, EMMA                    4167    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8269    DICKENS, EMMA    Laredo, LLC     9917    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1214 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8270    DICKENS, EMMA                    15664   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8271    DICKENS, EMMA                    21410   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8272    DICKENS, EMMA                    27158   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8273    DICKENS, GERRY                   7305    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8274    DICKENS, GERRY   Laredo, LLC     13055   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8275    DICKENS, GERRY                   18802   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8276    DICKENS, GERRY                   24536   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1215 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8277    DICKENS, GERRY                    30296   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8278    DICKENS, NORVAL                   8357    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8279    DICKENS, NORVAL Laredo, LLC       14107   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8280    DICKENS, NORVAL                   19854   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8281    DICKENS, NORVAL                   25588   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8282    DICKENS, NORVAL                   31348   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKENSHEETS,     Barney Davis,
8283                                      5570    8/1/2022     Secured: $0.00
        TRAVIS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1216 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKENSHEETS,
8284                    Laredo, LLC     11320   8/1/2022     Secured: $0.00
        TRAVIS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKENSHEETS,   Nueces Bay,
8285                                    17067   8/1/2022     Secured: $0.00
        TRAVIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKENSHEETS,   Talen Texas
8286                                    22812   8/1/2022     Secured: $0.00
        TRAVIS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKENSHEETS,   Talen Texas,
8287                                    28561   8/1/2022     Secured: $0.00
        TRAVIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKERSON,
8288                    Laredo, LLC     32556   8/1/2022     Secured: $0.00
        BOBBY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKERSON,      Barney Davis,
8289                                    33547   8/1/2022     Secured: $0.00
        BOBBY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DICKERSON,      Nueces Bay,
8290                                    34538   8/1/2022     Secured: $0.00
        BOBBY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1217 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,    Talen Texas
8291                                  35529   8/1/2022     Secured: $0.00
        BOBBY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,    Talen Texas,
8292                                  36520   8/1/2022     Secured: $0.00
        BOBBY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,    Barney Davis,
8293                                  5883    8/1/2022     Secured: $0.00
        TONYA REYES   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,
8294                  Laredo, LLC     11633   8/1/2022     Secured: $0.00
        TONYA REYES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,    Nueces Bay,
8295                                  17380   8/1/2022     Secured: $0.00
        TONYA REYES   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,    Talen Texas
8296                                  23125   8/1/2022     Secured: $0.00
        TONYA REYES   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DICKERSON,    Talen Texas,
8297                                  28874   8/1/2022     Secured: $0.00
        TONYA REYES   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1218 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKINSON,        Barney Davis,
8298                                      6615    8/1/2022     Secured: $0.00
        CADENCE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKINSON,
8299                      Laredo, LLC     12365   8/1/2022     Secured: $0.00
        CADENCE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKINSON,        Nueces Bay,
8300                                      18112   8/1/2022     Secured: $0.00
        CADENCE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKINSON,        Talen Texas
8301                                      23846   8/1/2022     Secured: $0.00
        CADENCE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKINSON,        Talen Texas,
8302                                      29606   8/1/2022     Secured: $0.00
        CADENCE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8303    DICKINSON, DALE                   6871    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8304    DICKINSON, DALE Laredo, LLC       12621   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1219 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8305    DICKINSON, DALE                   18368   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8306    DICKINSON, DALE                   24102   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8307    DICKINSON, DALE                   29862   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKSON JR,       Barney Davis,
8308                                      6172    8/1/2022     Secured: $0.00
        ROLAND            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKSON JR,
8309                      Laredo, LLC     11922   8/1/2022     Secured: $0.00
        ROLAND
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKSON JR,       Nueces Bay,
8310                                      17669   8/1/2022     Secured: $0.00
        ROLAND            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKSON JR,       Talen Texas
8311                                      23414   8/1/2022     Secured: $0.00
        ROLAND            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1220 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DICKSON JR,       Talen Texas,
8312                                      29163   8/1/2022     Secured: $0.00
        ROLAND            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8313    DIERKE, MICHAEL                   5840    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8314    DIERKE, MICHAEL Laredo, LLC       11590   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8315    DIERKE, MICHAEL                   17337   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8316    DIERKE, MICHAEL                   23082   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8317    DIERKE, MICHAEL                   28831   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8318    DIGGD, BETHANN                    6503    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1221 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8319    DIGGD, BETHANN Laredo, LLC        12253   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8320    DIGGD, BETHANN                    18000   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8321    DIGGD, BETHANN                    23735   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8322    DIGGD, BETHANN                    29494   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8323    DIGGS, ROSALIND                   8677    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8324    DIGGS, ROSALIND Laredo, LLC       14427   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8325    DIGGS, ROSALIND                   20174   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1222 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8326    DIGGS, ROSALIND                   25906   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8327    DIGGS, ROSALIND                   31668   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DIGGS,            Barney Davis,
8328                                      4702    8/1/2022     Secured: $0.00
        STEPHANIE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DIGGS,
8329                      Laredo, LLC     10452   8/1/2022     Secured: $0.00
        STEPHANIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DIGGS,            Nueces Bay,
8330                                      16199   8/1/2022     Secured: $0.00
        STEPHANIE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DIGGS,            Talen Texas
8331                                      21945   8/1/2022     Secured: $0.00
        STEPHANIE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DIGGS,            Talen Texas,
8332                                      27693   8/1/2022     Secured: $0.00
        STEPHANIE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1223 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DILDY,           Barney Davis,
8333                                     4902    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DILDY,
8334                     Laredo, LLC     10652   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DILDY,           Nueces Bay,
8335                                     16399   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DILDY,           Talen Texas
8336                                     22144   8/1/2022     Secured: $0.00
        CHRISTOPHER      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DILDY,           Talen Texas,
8337                                     27893   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8338    DILLARD, HELEN                   7368    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8339    DILLARD, HELEN   Laredo, LLC     13118   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1224 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8340    DILLARD, HELEN                    18865   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8341    DILLARD, HELEN                    24599   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8342    DILLARD, HELEN                    30359   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8343    DILLINHAM, JACK                   5001    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8344    DILLINHAM, JACK Laredo, LLC       10751   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8345    DILLINHAM, JACK                   16498   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8346    DILLINHAM, JACK                   22243   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1225 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8347    DILLINHAM, JACK                   27992   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        DIRENZIC
                                                               Priority: $0.00
        TECHNOLOGY        Barney Davis,
8348                                      5918    8/1/2022     Secured: $0.00
        CONSULTING        LLC
                                                               General Unsecured: $0.00 + Unliquidated
        GROUP LLC
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        DIRENZIC
                                                               Priority: $0.00
        TECHNOLOGY
8349                      Laredo, LLC     11668   8/1/2022     Secured: $0.00
        CONSULTING
                                                               General Unsecured: $0.00 + Unliquidated
        GROUP LLC
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        DIRENZIC
                                                               Priority: $0.00
        TECHNOLOGY        Nueces Bay,
8350                                      17415   8/1/2022     Secured: $0.00
        CONSULTING        LLC
                                                               General Unsecured: $0.00 + Unliquidated
        GROUP LLC
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        DIRENZIC
                                                               Priority: $0.00
        TECHNOLOGY        Talen Texas
8351                                      23160   8/1/2022     Secured: $0.00
        CONSULTING        Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        GROUP LLC
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        DIRENZIC
                                                               Priority: $0.00
        TECHNOLOGY        Talen Texas,
8352                                      28909   8/1/2022     Secured: $0.00
        CONSULTING        LLC
                                                               General Unsecured: $0.00 + Unliquidated
        GROUP LLC
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        DISCOVER                                               Other Administrative: $0.00
        PROPERTY AND                                           Priority: $0.00
8353    CASUALTY          Laredo, LLC     1721    7/29/2022    Secured: $0.00
        INSURANCE                                              General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1226 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        DISCOVER                                              Other Administrative: $0.00
        PROPERTY AND                                          Priority: $0.00
                         Barney Davis,
8354    CASUALTY                         2314    7/30/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        DISCOVER                                              Other Administrative: $0.00
        PROPERTY AND                                          Priority: $0.00
                         Nueces Bay,
8355    CASUALTY                         2616    7/30/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8356    DIXON, ALEETHA                   4804    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8357    DIXON, ALEETHA   Laredo, LLC     10554   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8358    DIXON, ALEETHA                   16301   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8359    DIXON, ALEETHA                   22047   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8360    DIXON, ALEETHA                   27795   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1227 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8361    DIXON, ARLENE                   6445    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8362    DIXON, ARLENE   Laredo, LLC     12195   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8363    DIXON, ARLENE                   17942   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8364    DIXON, ARLENE                   23677   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8365    DIXON, ARLENE                   29436   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8366    DIXON, FREDA                    4192    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8367    DIXON, FREDA    Laredo, LLC     9942    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1228 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8368    DIXON, FREDA                   15689   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8369    DIXON, FREDA                   21435   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8370    DIXON, FREDA                   27183   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIXON,         Barney Davis,
8371                                   9263    8/1/2022     Secured: $0.00
        JASHANDRAH     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIXON,
8372                   Laredo, LLC     15013   8/1/2022     Secured: $0.00
        JASHANDRAH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIXON,         Nueces Bay,
8373                                   20760   8/1/2022     Secured: $0.00
        JASHANDRAH     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIXON,         Talen Texas
8374                                   26492   8/1/2022     Secured: $0.00
        JASHANDRAH     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1229 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DIXON,           Talen Texas,
8375                                     32254   8/1/2022     Secured: $0.00
        JASHANDRAH       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8376    DIXON, TIFFANY                   6044    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8377    DIXON, TIFFANY   Laredo, LLC     11794   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8378    DIXON, TIFFANY                   17541   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8379    DIXON, TIFFANY                   23286   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8380    DIXON, TIFFANY                   29035   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8381    DIXON, VICTOR                    9111    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1230 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8382    DIXON, VICTOR   Laredo, LLC     14861   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8383    DIXON, VICTOR                   20608   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8384    DIXON, VICTOR                   26340   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8385    DIXON, VICTOR                   32102   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DIZGAH,         Barney Davis,
8386                                    3880    8/1/2022     Secured: $0.00
        FATEMEH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DIZGAH,
8387                    Laredo, LLC     9630    8/1/2022     Secured: $0.00
        FATEMEH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DIZGAH,         Nueces Bay,
8388                                    15377   8/1/2022     Secured: $0.00
        FATEMEH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1231 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIZGAH,        Talen Texas
8389                                   21124   8/1/2022     Secured: $0.00
        FATEMEH        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DIZGAH,        Talen Texas,
8390                                   26871   8/1/2022     Secured: $0.00
        FATEMEH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8391    DO, MYPHUONG                   8300    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8392    DO, MYPHUONG   Laredo, LLC     14050   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8393    DO, MYPHUONG                   19797   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8394    DO, MYPHUONG                   25531   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8395    DO, MYPHUONG                   31291   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1232 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8396    DO, QUANG                         8469    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8397    DO, QUANG         Laredo, LLC     14219   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8398    DO, QUANG                         19966   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8399    DO, QUANG                         25698   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8400    DO, QUANG                         31460   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8401    DOAKEA, JASMINE                   4256    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8402    DOAKEA, JASMINE Laredo, LLC       10006   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1233 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8403    DOAKEA, JASMINE                   15753   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8404    DOAKEA, JASMINE                   21499   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8405    DOAKEA, JASMINE                   27247   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8406    DOBBS, MICHAEL                    5841    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8407    DOBBS, MICHAEL Laredo, LLC        11591   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8408    DOBBS, MICHAEL                    17338   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8409    DOBBS, MICHAEL                    23083   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1234 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8410    DOBBS, MICHAEL                   28832   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOBBS, MICHAEL Barney Davis,
8411                                     5511    8/1/2022     Secured: $0.00
        G.             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOBBS, MICHAEL
8412                   Laredo, LLC       11261   8/1/2022     Secured: $0.00
        G.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOBBS, MICHAEL Nueces Bay,
8413                                     17008   8/1/2022     Secured: $0.00
        G.             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOBBS, MICHAEL Talen Texas
8414                                     22753   8/1/2022     Secured: $0.00
        G.             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOBBS, MICHAEL Talen Texas,
8415                                     28502   8/1/2022     Secured: $0.00
        G.             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8416    DOBBS, TAMMY                     6195    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1235 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8417    DOBBS, TAMMY      Laredo, LLC     11945   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8418    DOBBS, TAMMY                      17692   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8419    DOBBS, TAMMY                      23437   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8420    DOBBS, TAMMY                      29186   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8421    DOBSON, RUSSELL                   8701    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8422    DOBSON, RUSSELL Laredo, LLC       14451   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8423    DOBSON, RUSSELL                   20198   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1236 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8424    DOBSON, RUSSELL                   25930   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8425    DOBSON, RUSSELL                   31692   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8426    DOCKAL, SANDRA                    8734    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8427    DOCKAL, SANDRA Laredo, LLC        14484   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8428    DOCKAL, SANDRA                    20231   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8429    DOCKAL, SANDRA                    25963   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8430    DOCKAL, SANDRA                    31725   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1237 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8431    DOCTOR, LARI                   7908    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8432    DOCTOR, LARI   Laredo, LLC     13658   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8433    DOCTOR, LARI                   19405   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8434    DOCTOR, LARI                   25139   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8435    DOCTOR, LARI                   30899   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8436    DODD, ATVAYS                   9212    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8437    DODD, ATVAYS   Laredo, LLC     14962   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1238 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8438    DODD, ATVAYS                   20709   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8439    DODD, ATVAYS                   26441   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8440    DODD, ATVAYS                   32203   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8441    DODD, VINCE                    9125    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8442    DODD, VINCE    Laredo, LLC     14875   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8443    DODD, VINCE                    20622   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8444    DODD, VINCE                    26354   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1239 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8445    DODD, VINCE                       32116   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DODSON,           Barney Davis,
8446                                      6719    8/1/2022     Secured: $0.00
        CHERILYN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DODSON,
8447                      Laredo, LLC     12469   8/1/2022     Secured: $0.00
        CHERILYN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DODSON,           Nueces Bay,
8448                                      18216   8/1/2022     Secured: $0.00
        CHERILYN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DODSON,           Talen Texas
8449                                      23950   8/1/2022     Secured: $0.00
        CHERILYN          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DODSON,           Talen Texas,
8450                                      29710   8/1/2022     Secured: $0.00
        CHERILYN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8451    DOLIVE, DOUGLAS                   7103    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1240 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8452    DOLIVE, DOUGLAS Laredo, LLC       12853   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8453    DOLIVE, DOUGLAS                   18600   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8454    DOLIVE, DOUGLAS                   24334   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8455    DOLIVE, DOUGLAS                   30094   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOLLAR METAL      Barney Davis,
8456                                      5685    8/1/2022     Secured: $0.00
        CORPORATION       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOLLAR METAL
8457                      Laredo, LLC     11435   8/1/2022     Secured: $0.00
        CORPORATION
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOLLAR METAL      Nueces Bay,
8458                                      17182   8/1/2022     Secured: $0.00
        CORPORATION       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1241 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLAR METAL   Talen Texas
8459                                  22927   8/1/2022     Secured: $0.00
        CORPORATION    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLAR METAL   Talen Texas,
8460                                  28676   8/1/2022     Secured: $0.00
        CORPORATION    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLHOUSEBEAU Barney Davis,
8461                                  5919    8/1/2022     Secured: $0.00
        TYLOUNGE, LLC LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLHOUSEBEAU
8462                  Laredo, LLC     11669   8/1/2022     Secured: $0.00
        TYLOUNGE, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLHOUSEBEAU Nueces Bay,
8463                                  17416   8/1/2022     Secured: $0.00
        TYLOUNGE, LLC LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLHOUSEBEAU Talen Texas
8464                                  23161   8/1/2022     Secured: $0.00
        TYLOUNGE, LLC Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOLLHOUSEBEAU Talen Texas,
8465                                  28910   8/1/2022     Secured: $0.00
        TYLOUNGE, LLC LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1242 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8466    DOLLINS, SANDRA                   5266    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8467    DOLLINS, SANDRA Laredo, LLC       11016   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8468    DOLLINS, SANDRA                   16763   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8469    DOLLINS, SANDRA                   22508   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8470    DOLLINS, SANDRA                   28257   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8471    DOLLY, JOHN                       7607    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8472    DOLLY, JOHN       Laredo, LLC     13357   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1243 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
8473    DOLLY, JOHN                    19104   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
8474    DOLLY, JOHN                    24838   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
8475    DOLLY, JOHN                    30598   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOLPHUS‐SWEAT, Barney Davis,
8476                                   7223    8/1/2022     Secured: $0.00
        FAYE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOLPHUS‐SWEAT,
8477                   Laredo, LLC     12973   8/1/2022     Secured: $0.00
        FAYE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOLPHUS‐SWEAT, Nueces Bay,
8478                                   18720   8/1/2022     Secured: $0.00
        FAYE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOLPHUS‐SWEAT, Talen Texas
8479                                   24454   8/1/2022     Secured: $0.00
        FAYE           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1244 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOLPHUS‐SWEAT, Talen Texas,
8480                                     30214   8/1/2022     Secured: $0.00
        FAYE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8481    DOMINGUE, AL     Laredo, LLC     32557   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8482    DOMINGUE, AL                     33548   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8483    DOMINGUE, AL                     34539   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8484    DOMINGUE, AL                     35530   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8485    DOMINGUE, AL                     36521   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ JR.,
8486                     Laredo, LLC     32558   8/1/2022     Secured: $0.00
        RAYMUNDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1245 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ JR.,   Barney Davis,
8487                                     33549   8/1/2022     Secured: $0.00
        RAYMUNDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ JR.,   Nueces Bay,
8488                                     34540   8/1/2022     Secured: $0.00
        RAYMUNDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ JR.,   Talen Texas
8489                                     35531   8/1/2022     Secured: $0.00
        RAYMUNDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ JR.,   Talen Texas,
8490                                     36522   8/1/2022     Secured: $0.00
        RAYMUNDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ,       Barney Davis,
8491                                     3982    8/1/2022     Secured: $0.00
        BRAULIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ,
8492                     Laredo, LLC     9732    8/1/2022     Secured: $0.00
        BRAULIO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOMINGUEZ,       Nueces Bay,
8493                                     15479   8/1/2022     Secured: $0.00
        BRAULIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1246 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Talen Texas
8494                                  21225   8/1/2022     Secured: $0.00
        BRAULIO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Talen Texas,
8495                                  26973   8/1/2022     Secured: $0.00
        BRAULIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Barney Davis,
8496                                  4450    8/1/2022     Secured: $0.00
        MALISA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,
8497                  Laredo, LLC     10200   8/1/2022     Secured: $0.00
        MALISA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Nueces Bay,
8498                                  15947   8/1/2022     Secured: $0.00
        MALISA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Talen Texas
8499                                  21693   8/1/2022     Secured: $0.00
        MALISA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Talen Texas,
8500                                  27441   8/1/2022     Secured: $0.00
        MALISA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1247 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Barney Davis,
8501                                  8492    8/1/2022     Secured: $0.00
        RANDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,
8502                  Laredo, LLC     14242   8/1/2022     Secured: $0.00
        RANDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Nueces Bay,
8503                                  19989   8/1/2022     Secured: $0.00
        RANDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Talen Texas
8504                                  25721   8/1/2022     Secured: $0.00
        RANDY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINGUEZ,    Talen Texas,
8505                                  31483   8/1/2022     Secured: $0.00
        RANDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINSKI,     Barney Davis,
8506                                  3788    8/1/2022     Secured: $0.00
        MARIBEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINSKI,
8507                  Laredo, LLC     9538    8/1/2022     Secured: $0.00
        MARIBEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1248 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINSKI,     Nueces Bay,
8508                                  15285   8/1/2022     Secured: $0.00
        MARIBEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINSKI,     Talen Texas
8509                                  21032   8/1/2022     Secured: $0.00
        MARIBEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOMINSKI,     Talen Texas,
8510                                  26779   8/1/2022     Secured: $0.00
        MARIBEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DONALDSON,    Barney Davis,
8511                                  6616    8/1/2022     Secured: $0.00
        CALEB         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DONALDSON,
8512                  Laredo, LLC     12366   8/1/2022     Secured: $0.00
        CALEB
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DONALDSON,    Nueces Bay,
8513                                  18113   8/1/2022     Secured: $0.00
        CALEB         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DONALDSON,    Talen Texas
8514                                  23847   8/1/2022     Secured: $0.00
        CALEB         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1249 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DONALDSON,     Talen Texas,
8515                                   29607   8/1/2022     Secured: $0.00
        CALEB          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DONEGAL
                                                            Priority: $0.00
        MUTUAL         Nueces Bay,
8516                                   2170    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,012,149.67 + Unliquidated
        COMPANY
                                                            Total: $1,012,149.67 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DONEGAL
                                                            Priority: $0.00
        MUTUAL         Barney Davis,
8517                                   37334   6/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,012,149.67 + Unliquidated
        COMPANY
                                                            Total: $1,012,149.67 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        DONEGAL
                                                            Priority: $0.00
        MUTUAL
8518                   Laredo, LLC     37364   6/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $1,012,149.67 + Unliquidated
        COMPANY
                                                            Total: $1,012,149.67 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8519    DONES, DAVID   Laredo, LLC     32559   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8520    DONES, DAVID                   33550   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8521    DONES, DAVID                   34541   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1250 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8522    DONES, DAVID                   35532   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8523    DONES, DAVID                   36523   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8524    DONIS, OTTO                    6236    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8525    DONIS, OTTO    Laredo, LLC     11986   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8526    DONIS, OTTO                    17733   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8527    DONIS, OTTO                    26578   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8528    DONIS, OTTO                    29227   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1251 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8529    DONLEY, JOHN                     4301    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8530    DONLEY, JOHN     Laredo, LLC     10051   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8531    DONLEY, JOHN                     15798   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8532    DONLEY, JOHN                     21544   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8533    DONLEY, JOHN                     27292   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8534    DONNELL, SUSAN Laredo, LLC       32560   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8535    DONNELL, SUSAN                   33551   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1252 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8536    DONNELL, SUSAN                   34542   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8537    DONNELL, SUSAN                   35533   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8538    DONNELL, SUSAN                   36524   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8539    DOOLEY, PAMELA                   5192    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8540    DOOLEY, PAMELA Laredo, LLC       10942   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8541    DOOLEY, PAMELA                   16689   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8542    DOOLEY, PAMELA                   22434   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1253 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8543    DOOLEY, PAMELA                    28183   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8544    DORIA, VALENCIA Laredo, LLC       32561   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8545    DORIA, VALENCIA                   33552   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8546    DORIA, VALENCIA                   34543   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8547    DORIA, VALENCIA                   35534   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8548    DORIA, VALENCIA                   36525   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DORNIN,           Barney Davis,
8549                                      7873    8/1/2022     Secured: $0.00
        KRISTINA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1254 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DORNIN,
8550                    Laredo, LLC     13623   8/1/2022     Secured: $0.00
        KRISTINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DORNIN,         Nueces Bay,
8551                                    19370   8/1/2022     Secured: $0.00
        KRISTINA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DORNIN,         Talen Texas
8552                                    25104   8/1/2022     Secured: $0.00
        KRISTINA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DORNIN,         Talen Texas,
8553                                    30864   8/1/2022     Secured: $0.00
        KRISTINA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8554    DORRIS, JACOB                   7419    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8555    DORRIS, JACOB   Laredo, LLC     13169   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8556    DORRIS, JACOB                   18916   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1255 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8557    DORRIS, JACOB                    24650   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8558    DORRIS, JACOB                    30410   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8559    DORSEY, NICOLE                   8332    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8560    DORSEY, NICOLE   Laredo, LLC     14082   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8561    DORSEY, NICOLE                   19829   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8562    DORSEY, NICOLE                   25563   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8563    DORSEY, NICOLE                   31323   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1256 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8564    DORSEY, SONDRA                   4698    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8565    DORSEY, SONDRA Laredo, LLC       10448   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8566    DORSEY, SONDRA                   16195   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8567    DORSEY, SONDRA                   21941   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8568    DORSEY, SONDRA                   27689   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOSEWELL,        Barney Davis,
8569                                     4779    8/1/2022     Secured: $0.00
        WENDY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOSEWELL,
8570                     Laredo, LLC     10529   8/1/2022     Secured: $0.00
        WENDY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1257 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOSEWELL,      Nueces Bay,
8571                                   16276   8/1/2022     Secured: $0.00
        WENDY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOSEWELL,      Talen Texas
8572                                   22022   8/1/2022     Secured: $0.00
        WENDY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOSEWELL,      Talen Texas,
8573                                   27770   8/1/2022     Secured: $0.00
        WENDY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8574    DOSS, AQUITA                   6065    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8575    DOSS, AQUITA   Laredo, LLC     11815   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8576    DOSS, AQUITA                   17562   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8577    DOSS, AQUITA                   23307   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1258 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
8578    DOSS, AQUITA                        29056   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
8579    DOSS, RUSSELL                       8702    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
8580    DOSS, RUSSELL       Laredo, LLC     14452   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
8581    DOSS, RUSSELL                       20199   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
8582    DOSS, RUSSELL                       25931   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
8583    DOSS, RUSSELL                       31693   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
8584    DOSSARI, LILLIANE                   4429    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1259 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
8585    DOSSARI, LILLIANE Laredo, LLC       10179   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
8586    DOSSARI, LILLIANE                   15926   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
8587    DOSSARI, LILLIANE                   21672   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
8588    DOSSARI, LILLIANE                   27420   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
8589    DOSSEY, MICHAEL                     8226    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
8590    DOSSEY, MICHAEL Laredo, LLC         13976   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
8591    DOSSEY, MICHAEL                     19723   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1260 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8592    DOSSEY, MICHAEL                   25457   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8593    DOSSEY, MICHAEL                   31217   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOTSON,           Barney Davis,
8594                                      7735    8/1/2022     Secured: $0.00
        KALETHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOTSON,
8595                      Laredo, LLC     13485   8/1/2022     Secured: $0.00
        KALETHA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOTSON,           Nueces Bay,
8596                                      19232   8/1/2022     Secured: $0.00
        KALETHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOTSON,           Talen Texas
8597                                      24966   8/1/2022     Secured: $0.00
        KALETHA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOTSON,           Talen Texas,
8598                                      30726   8/1/2022     Secured: $0.00
        KALETHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1261 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8599    DOTSON, SANDRA                   8735    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8600    DOTSON, SANDRA Laredo, LLC       14485   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8601    DOTSON, SANDRA                   20232   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8602    DOTSON, SANDRA                   25964   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8603    DOTSON, SANDRA                   31726   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOUCETTE,        Barney Davis,
8604                                     8667    8/1/2022     Secured: $0.00
        RONALD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOUCETTE,
8605                     Laredo, LLC     14417   8/1/2022     Secured: $0.00
        RONALD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1262 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUCETTE,     Nueces Bay,
8606                                  20164   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUCETTE,     Talen Texas
8607                                  25896   8/1/2022     Secured: $0.00
        RONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUCETTE,     Talen Texas,
8608                                  31658   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Barney Davis,
8609                                  7092    8/1/2022     Secured: $0.00
        DOROTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,
8610                  Laredo, LLC     12842   8/1/2022     Secured: $0.00
        DOROTHY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Nueces Bay,
8611                                  18589   8/1/2022     Secured: $0.00
        DOROTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas
8612                                  24323   8/1/2022     Secured: $0.00
        DOROTHY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1263 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas,
8613                                  30083   8/1/2022     Secured: $0.00
        DOROTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Barney Davis,
8614                                  6141    8/1/2022     Secured: $0.00
        JUMEKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,
8615                  Laredo, LLC     11891   8/1/2022     Secured: $0.00
        JUMEKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Nueces Bay,
8616                                  17638   8/1/2022     Secured: $0.00
        JUMEKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas
8617                                  23383   8/1/2022     Secured: $0.00
        JUMEKA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas,
8618                                  29132   8/1/2022     Secured: $0.00
        JUMEKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Barney Davis,
8619                                  4620    8/1/2022     Secured: $0.00
        ROBBIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1264 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,
8620                  Laredo, LLC     10370   8/1/2022     Secured: $0.00
        ROBBIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Nueces Bay,
8621                                  16117   8/1/2022     Secured: $0.00
        ROBBIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas
8622                                  21863   8/1/2022     Secured: $0.00
        ROBBIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas,
8623                                  27611   8/1/2022     Secured: $0.00
        ROBBIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Barney Davis,
8624                                  5267    8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,
8625                  Laredo, LLC     11017   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Nueces Bay,
8626                                  16764   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1265 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas
8627                                  22509   8/1/2022     Secured: $0.00
        SANDRA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas,
8628                                  28258   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Barney Davis,
8629                                  8880    8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,
8630                  Laredo, LLC     14630   8/1/2022     Secured: $0.00
        STEPHANIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Nueces Bay,
8631                                  20377   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas
8632                                  26109   8/1/2022     Secured: $0.00
        STEPHANIE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DOUGLAS,      Talen Texas,
8633                                  31871   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1266 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8634    DOUGLAS, SUSAN                   5321    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8635    DOUGLAS, SUSAN Laredo, LLC       11071   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8636    DOUGLAS, SUSAN                   16818   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8637    DOUGLAS, SUSAN                   22563   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8638    DOUGLAS, SUSAN                   28312   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOUGLASS,        Barney Davis,
8639                                     7093    8/1/2022     Secured: $0.00
        DOROTHY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DOUGLASS,
8640                     Laredo, LLC     12843   8/1/2022     Secured: $0.00
        DOROTHY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1267 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOUGLASS,      Nueces Bay,
8641                                   18590   8/1/2022     Secured: $0.00
        DOROTHY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOUGLASS,      Talen Texas
8642                                   24324   8/1/2022     Secured: $0.00
        DOROTHY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOUGLASS,      Talen Texas,
8643                                   30084   8/1/2022     Secured: $0.00
        DOROTHY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOWLER, MARY   Barney Davis,
8644                                   4485    8/1/2022     Secured: $0.00
        ANN            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOWLER, MARY
8645                   Laredo, LLC     10235   8/1/2022     Secured: $0.00
        ANN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOWLER, MARY   Nueces Bay,
8646                                   15982   8/1/2022     Secured: $0.00
        ANN            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DOWLER, MARY   Talen Texas
8647                                   21728   8/1/2022     Secured: $0.00
        ANN            Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1268 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DOWLER, MARY    Talen Texas,
8648                                    27476   8/1/2022     Secured: $0.00
        ANN             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8649    DOWNEY, NIKKI                   8339    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8650    DOWNEY, NIKKI   Laredo, LLC     14089   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8651    DOWNEY, NIKKI                   19836   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8652    DOWNEY, NIKKI                   25570   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8653    DOWNEY, NIKKI                   31330   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DOWNS,          Barney Davis,
8654                                    8196    8/1/2022     Secured: $0.00
        MELINDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1269 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOWNS,
8655                      Laredo, LLC     13946   8/1/2022     Secured: $0.00
        MELINDA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOWNS,            Nueces Bay,
8656                                      19693   8/1/2022     Secured: $0.00
        MELINDA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOWNS,            Talen Texas
8657                                      25427   8/1/2022     Secured: $0.00
        MELINDA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        DOWNS,            Talen Texas,
8658                                      31187   8/1/2022     Secured: $0.00
        MELINDA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8659    DOZIER, BRIANNA                   6583    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8660    DOZIER, BRIANNA Laredo, LLC       12333   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8661    DOZIER, BRIANNA                   18080   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1270 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
8662    DOZIER, BRIANNA                  23814   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
8663    DOZIER, BRIANNA                  29574   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DR. CHERYL CARR Barney Davis,
8664                                     5920    8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DR. CHERYL CARR
8665                    Laredo, LLC      11670   8/1/2022     Secured: $0.00
        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DR. CHERYL CARR Nueces Bay,
8666                                     17417   8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DR. CHERYL CARR Talen Texas
8667                                     23162   8/1/2022     Secured: $0.00
        LLC             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DR. CHERYL CARR Talen Texas,
8668                                     28911   8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1271 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8669    DRAKE, JOSH    Laredo, LLC     32562   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8670    DRAKE, JOSH                    33553   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8671    DRAKE, JOSH                    34544   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8672    DRAKE, JOSH                    35535   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8673    DRAKE, JOSH                    36526   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DRAKE,         Barney Davis,
8674                                   3618    8/1/2022     Secured: $0.00
        SIRROBERT      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DRAKE,
8675                   Laredo, LLC     9368    8/1/2022     Secured: $0.00
        SIRROBERT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1272 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAKE,        Nueces Bay,
8676                                  15115   8/1/2022     Secured: $0.00
        SIRROBERT     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAKE,        Talen Texas
8677                                  20862   8/1/2022     Secured: $0.00
        SIRROBERT     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAKE,        Talen Texas,
8678                                  26609   8/1/2022     Secured: $0.00
        SIRROBERT     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAWHORN,     Barney Davis,
8679                                  6348    8/1/2022     Secured: $0.00
        ALPHONZO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAWHORN,
8680                  Laredo, LLC     12098   8/1/2022     Secured: $0.00
        ALPHONZO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAWHORN,     Nueces Bay,
8681                                  17845   8/1/2022     Secured: $0.00
        ALPHONZO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DRAWHORN,     Talen Texas
8682                                  23580   8/1/2022     Secured: $0.00
        ALPHONZO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1273 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DRAWHORN,      Talen Texas,
8683                                   29339   8/1/2022     Secured: $0.00
        ALPHONZO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8684    DREW, DAVID                    5543    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8685    DREW, DAVID    Laredo, LLC     11293   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8686    DREW, DAVID                    17040   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8687    DREW, DAVID                    22785   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8688    DREW, DAVID                    28534   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8689    DREW, DEANNA                   6952    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1274 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8690    DREW, DEANNA   Laredo, LLC     12702   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8691    DREW, DEANNA                   18449   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8692    DREW, DEANNA                   24183   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8693    DREW, DEANNA                   29943   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8694    DREW, DEBRA                    6972    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8695    DREW, DEBRA    Laredo, LLC     12722   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8696    DREW, DEBRA                    18469   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1275 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8697    DREW, DEBRA                      24203   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8698    DREW, DEBRA                      29963   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DRISCOLL, PAUL   Barney Davis,
8699                                     8414    8/1/2022     Secured: $0.00
        MARTIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DRISCOLL, PAUL
8700                     Laredo, LLC     14164   8/1/2022     Secured: $0.00
        MARTIN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DRISCOLL, PAUL   Nueces Bay,
8701                                     19911   8/1/2022     Secured: $0.00
        MARTIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DRISCOLL, PAUL   Talen Texas
8702                                     25644   8/1/2022     Secured: $0.00
        MARTIN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DRISCOLL, PAUL   Talen Texas,
8703                                     31405   8/1/2022     Secured: $0.00
        MARTIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1276 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8704    DROW, ARTHUR                     9211    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8705    DROW, ARTHUR     Laredo, LLC     14961   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8706    DROW, ARTHUR                     20708   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8707    DROW, ARTHUR                     26440   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8708    DROW, ARTHUR                     32202   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8709    DU PREE, RONDA Laredo, LLC       32563   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8710    DU PREE, RONDA                   33554   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1277 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8711    DU PREE, RONDA                   34545   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8712    DU PREE, RONDA                   35536   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8713    DU PREE, RONDA                   36527   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8714    DUB, MARY        Laredo, LLC     32564   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8715    DUB, MARY                        33555   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8716    DUB, MARY                        34546   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8717    DUB, MARY                        35537   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1278 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8718    DUB, MARY                         36528   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8719    DUBOIS, CHANTAL Laredo, LLC       32565   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8720    DUBOIS, CHANTAL                   33556   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8721    DUBOIS, CHANTAL                   34547   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8722    DUBOIS, CHANTAL                   35538   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8723    DUBOIS, CHANTAL                   36529   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8724    DUDLEY, LORETTA                   3628    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1279 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8725    DUDLEY, LORETTA Laredo, LLC       9378    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8726    DUDLEY, LORETTA                   15125   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8727    DUDLEY, LORETTA                   20872   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8728    DUDLEY, LORETTA                   26619   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8729    DUFFEL, DEREK                     7003    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8730    DUFFEL, DEREK     Laredo, LLC     12753   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8731    DUFFEL, DEREK                     18500   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1280 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8732    DUFFEL, DEREK                     24234   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8733    DUFFEL, DEREK                     29994   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8734    DUFFEY, VINCENT                   9126    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8735    DUFFEY, VINCENT Laredo, LLC       14876   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8736    DUFFEY, VINCENT                   20623   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8737    DUFFEY, VINCENT                   26355   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8738    DUFFEY, VINCENT                   32117   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1281 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8739    DUFFIELD, MARY                   8154    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8740    DUFFIELD, MARY Laredo, LLC       13904   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8741    DUFFIELD, MARY                   19651   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8742    DUFFIELD, MARY                   25385   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8743    DUFFIELD, MARY                   31145   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8744    DUFFY, JEMMIE                    5457    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8745    DUFFY, JEMMIE    Laredo, LLC     11207   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1282 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8746    DUFFY, JEMMIE                    16954   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8747    DUFFY, JEMMIE                    22699   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8748    DUFFY, JEMMIE                    28448   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8749    DUGAN, LAKISHA                   7897    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8750    DUGAN, LAKISHA Laredo, LLC       13647   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8751    DUGAN, LAKISHA                   19394   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8752    DUGAN, LAKISHA                   25128   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1283 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8753    DUGAN, LAKISHA                   30888   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUHIG,           Barney Davis,
8754                                     8064    8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUHIG,
8755                     Laredo, LLC     13814   8/1/2022     Secured: $0.00
        MARGARET
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUHIG,           Nueces Bay,
8756                                     19561   8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUHIG,           Talen Texas
8757                                     25295   8/1/2022     Secured: $0.00
        MARGARET         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUHIG,           Talen Texas,
8758                                     31055   8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
        DULCE                                                 503(b)(9): $0.00
        BOBADILLA,                                            Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
8759    AND AS HEIR OF                   3800    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ANA BOBADILLA
        LARA                                                  Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1284 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
        DULCE                                                 503(b)(9): $0.00
        BOBADILLA,                                            Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
8760    AND AS HEIR OF   Laredo, LLC     9550    8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ANA BOBADILLA
        LARA                                                  Total: $0.00 + Unliquidated
        DULCE                                                 503(b)(9): $0.00
        BOBADILLA,                                            Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
8761    AND AS HEIR OF                   15297   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ANA BOBADILLA
        LARA                                                  Total: $0.00 + Unliquidated
        DULCE                                                 503(b)(9): $0.00
        BOBADILLA,                                            Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
8762    AND AS HEIR OF                   21044   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ANA BOBADILLA
        LARA                                                  Total: $0.00 + Unliquidated
        DULCE                                                 503(b)(9): $0.00
        BOBADILLA,                                            Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
8763    AND AS HEIR OF                   26791   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ANA BOBADILLA
        LARA                                                  Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8764    DUMIRE, CHRIS                    4897    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8765    DUMIRE, CHRIS    Laredo, LLC     10647   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8766    DUMIRE, CHRIS                    16394   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1285 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8767    DUMIRE, CHRIS                   22139   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8768    DUMIRE, CHRIS                   27888   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8769    DUMONT, ED                      7120    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8770    DUMONT, ED      Laredo, LLC     12870   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8771    DUMONT, ED                      18617   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8772    DUMONT, ED                      24351   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8773    DUMONT, ED                      30111   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1286 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUMOUCHELLE,     Barney Davis,
8774                                     6147    8/1/2022     Secured: $0.00
        KORINNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUMOUCHELLE,
8775                     Laredo, LLC     11897   8/1/2022     Secured: $0.00
        KORINNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUMOUCHELLE,     Nueces Bay,
8776                                     17644   8/1/2022     Secured: $0.00
        KORINNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUMOUCHELLE,     Talen Texas
8777                                     23389   8/1/2022     Secured: $0.00
        KORINNE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUMOUCHELLE,     Talen Texas,
8778                                     29138   8/1/2022     Secured: $0.00
        KORINNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8779    DUNAWAY, CHRIS                   6737    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8780    DUNAWAY, CHRIS Laredo, LLC       12487   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1287 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8781    DUNAWAY, CHRIS                   18234   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8782    DUNAWAY, CHRIS                   23968   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8783    DUNAWAY, CHRIS                   29728   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8784    DUNCAN, FRANK                    7246    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8785    DUNCAN, FRANK Laredo, LLC        12996   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8786    DUNCAN, FRANK                    18743   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8787    DUNCAN, FRANK                    24477   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1288 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8788    DUNCAN, FRANK                    30237   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8789    DUNCAN, LESLIE                   7965    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8790    DUNCAN, LESLIE   Laredo, LLC     13715   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8791    DUNCAN, LESLIE                   19462   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8792    DUNCAN, LESLIE                   25196   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8793    DUNCAN, LESLIE                   30956   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8794    DUNCAN, TERRY                    8975    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1289 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8795    DUNCAN, TERRY    Laredo, LLC     14725   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8796    DUNCAN, TERRY                    20472   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8797    DUNCAN, TERRY                    26204   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8798    DUNCAN, TERRY                    31966   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8799    DUNLAP, JUSTIN                   7728    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8800    DUNLAP, JUSTIN   Laredo, LLC     13478   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8801    DUNLAP, JUSTIN                   19225   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1290 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8802    DUNLAP, JUSTIN                   24959   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8803    DUNLAP, JUSTIN                   30719   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUNMEYER,        Barney Davis,
8804                                     7644    8/1/2022     Secured: $0.00
        JONATHAN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUNMEYER,
8805                     Laredo, LLC     13394   8/1/2022     Secured: $0.00
        JONATHAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUNMEYER,        Nueces Bay,
8806                                     19141   8/1/2022     Secured: $0.00
        JONATHAN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUNMEYER,        Talen Texas
8807                                     24875   8/1/2022     Secured: $0.00
        JONATHAN         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUNMEYER,        Talen Texas,
8808                                     30635   8/1/2022     Secured: $0.00
        JONATHAN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1291 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8809    DUNN, DAN                       9243    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8810    DUNN, DAN       Laredo, LLC     14993   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8811    DUNN, DAN                       20740   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8812    DUNN, DAN                       26472   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8813    DUNN, DAN                       32234   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8814    DUNN, FELICIA                   4966    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8815    DUNN, FELICIA   Laredo, LLC     10716   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1292 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8816    DUNN, FELICIA                   16463   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8817    DUNN, FELICIA                   22208   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8818    DUNN, FELICIA                   27957   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8819    DUNN, LISA                      7998    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8820    DUNN, LISA      Laredo, LLC     13748   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8821    DUNN, LISA                      19495   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8822    DUNN, LISA                      25229   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1293 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8823    DUNN, LISA                      30989   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8824    DUNN, OSCAR                     4547    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8825    DUNN, OSCAR     Laredo, LLC     10297   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8826    DUNN, OSCAR                     16044   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8827    DUNN, OSCAR                     21790   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8828    DUNN, OSCAR                     27538   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8829    DUNN, RICHARD P Laredo, LLC     32566   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1294 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8830    DUNN, RICHARD P                   33557   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8831    DUNN, RICHARD P                   34548   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8832    DUNN, RICHARD P                   35539   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8833    DUNN, RICHARD P                   36530   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8834    DUPLESSIS, DEON                   4937    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8835    DUPLESSIS, DEON Laredo, LLC       10687   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8836    DUPLESSIS, DEON                   16434   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1295 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8837    DUPLESSIS, DEON                   22179   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8838    DUPLESSIS, DEON                   27928   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8839    DUQUE, ROBERTO                    8624    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8840    DUQUE, ROBERTO Laredo, LLC        14374   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8841    DUQUE, ROBERTO                    20121   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8842    DUQUE, ROBERTO                    25853   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8843    DUQUE, ROBERTO                    31615   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1296 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN JR.,
8844                  Laredo, LLC     32567   8/1/2022     Secured: $0.00
        GUILLERMO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN JR.,    Barney Davis,
8845                                  33558   8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN JR.,    Nueces Bay,
8846                                  34549   8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN JR.,    Talen Texas
8847                                  35540   8/1/2022     Secured: $0.00
        GUILLERMO     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN JR.,    Talen Texas,
8848                                  36531   8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN,        Barney Davis,
8849                                  7243    8/1/2022     Secured: $0.00
        FRANCISO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURAN,
8850                  Laredo, LLC     12993   8/1/2022     Secured: $0.00
        FRANCISO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1297 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DURAN,         Nueces Bay,
8851                                   18740   8/1/2022     Secured: $0.00
        FRANCISO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DURAN,         Talen Texas
8852                                   24474   8/1/2022     Secured: $0.00
        FRANCISO       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        DURAN,         Talen Texas,
8853                                   30234   8/1/2022     Secured: $0.00
        FRANCISO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8854    DURAN, HENRY                   4224    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8855    DURAN, HENRY   Laredo, LLC     9974    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8856    DURAN, HENRY                   15721   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8857    DURAN, HENRY                   21467   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1298 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8858    DURAN, HENRY                    27215   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8859    DURAN, MATHEW                   5553    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8860    DURAN, MATHEW Laredo, LLC       11303   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8861    DURAN, MATHEW                   17050   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8862    DURAN, MATHEW                   22795   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8863    DURAN, MATHEW                   28544   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DURAN,          Barney Davis,
8864                                    8329    8/1/2022     Secured: $0.00
        NICHOLAS        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1299 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAN,
8865                     Laredo, LLC     14079   8/1/2022     Secured: $0.00
        NICHOLAS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAN,           Nueces Bay,
8866                                     19826   8/1/2022     Secured: $0.00
        NICHOLAS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAN,           Talen Texas
8867                                     25560   8/1/2022     Secured: $0.00
        NICHOLAS         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAN,           Talen Texas,
8868                                     31320   8/1/2022     Secured: $0.00
        NICHOLAS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8869    DURAN, PAULINE Laredo, LLC       32568   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8870    DURAN, PAULINE                   33559   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8871    DURAN, PAULINE                   34550   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1300 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8872    DURAN, PAULINE                   35541   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8873    DURAN, PAULINE                   36532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAZO,          Barney Davis,
8874                                     4217    8/1/2022     Secured: $0.00
        GUILLERMO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAZO,
8875                     Laredo, LLC     9967    8/1/2022     Secured: $0.00
        GUILLERMO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAZO,          Nueces Bay,
8876                                     15714   8/1/2022     Secured: $0.00
        GUILLERMO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAZO,          Talen Texas
8877                                     21460   8/1/2022     Secured: $0.00
        GUILLERMO        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DURAZO,          Talen Texas,
8878                                     27208   8/1/2022     Secured: $0.00
        GUILLERMO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1301 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8879    DUREE, ASHLEY                     4835    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8880    DUREE, ASHLEY     Laredo, LLC     10585   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8881    DUREE, ASHLEY                     16332   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8882    DUREE, ASHLEY                     22078   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8883    DUREE, ASHLEY                     27826   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8884    DURGIN, JEFFREY                   5796    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8885    DURGIN, JEFFREY Laredo, LLC       11546   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1302 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8886    DURGIN, JEFFREY                   17293   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8887    DURGIN, JEFFREY                   23038   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8888    DURGIN, JEFFREY                   28787   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8889    DURHAM, JON                       4314    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8890    DURHAM, JON       Laredo, LLC     10064   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8891    DURHAM, JON                       15811   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8892    DURHAM, JON                       21557   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1303 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
8893    DURHAM, JON                   27305   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Barney Davis,
8894                                  5483    8/1/2022     Secured: $0.00
        TOMMIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,
8895                  Laredo, LLC     11233   8/1/2022     Secured: $0.00
        TOMMIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Nueces Bay,
8896                                  16980   8/1/2022     Secured: $0.00
        TOMMIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Talen Texas
8897                                  22725   8/1/2022     Secured: $0.00
        TOMMIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Talen Texas,
8898                                  28474   8/1/2022     Secured: $0.00
        TOMMIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Barney Davis,
8899                                  3621    8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1304 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,
8900                  Laredo, LLC     9371    8/1/2022     Secured: $0.00
        WILLIAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Nueces Bay,
8901                                  15118   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Talen Texas
8902                                  20865   8/1/2022     Secured: $0.00
        WILLIAM       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        DURHAM,       Talen Texas,
8903                                  26612   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
8904    DURON, ROY                    5675    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
8905    DURON, ROY    Laredo, LLC     11425   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
8906    DURON, ROY                    17172   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1305 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8907    DURON, ROY                     22917   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8908    DURON, ROY                     28666   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8909    DUSEK, LUCIA                   4445    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8910    DUSEK, LUCIA   Laredo, LLC     10195   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8911    DUSEK, LUCIA                   15942   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8912    DUSEK, LUCIA                   21688   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8913    DUSEK, LUCIA                   27436   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1306 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8914    DUTTON, DEDRIA                   6243    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8915    DUTTON, DEDRIA Laredo, LLC       11993   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8916    DUTTON, DEDRIA                   17740   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8917    DUTTON, DEDRIA                   23475   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8918    DUTTON, DEDRIA                   29234   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUTTON,          Barney Davis,
8919                                     5701    8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        DUTTON,
8920                     Laredo, LLC     11451   8/1/2022     Secured: $0.00
        JENNIFER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1307 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DUTTON,         Nueces Bay,
8921                                    17198   8/1/2022     Secured: $0.00
        JENNIFER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DUTTON,         Talen Texas
8922                                    22943   8/1/2022     Secured: $0.00
        JENNIFER        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        DUTTON,         Talen Texas,
8923                                    28692   8/1/2022     Secured: $0.00
        JENNIFER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8924    DUTTON, JOYCE                   4336    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8925    DUTTON, JOYCE   Laredo, LLC     10086   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8926    DUTTON, JOYCE                   15833   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8927    DUTTON, JOYCE                   21579   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1308 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8928    DUTTON, JOYCE                   27327   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8929    DUTY, ESTELLA                   7201    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8930    DUTY, ESTELLA   Laredo, LLC     12951   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8931    DUTY, ESTELLA                   18698   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8932    DUTY, ESTELLA                   24432   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8933    DUTY, ESTELLA                   30192   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8934    DYE, CHARLENE   Laredo, LLC     32569   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1309 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8935    DYE, CHARLENE                   33560   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8936    DYE, CHARLENE                   34551   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
8937    DYE, CHARLENE                   35542   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
8938    DYE, CHARLENE                   36533   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
8939    DYKES, HENRY                    7370    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8940    DYKES, HENRY    Laredo, LLC     13120   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
8941    DYKES, HENRY                    18867   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1310 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8942    DYKES, HENRY                   24601   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8943    DYKES, HENRY                   30361   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8944    DYSON, GINA                    7307    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8945    DYSON, GINA    Laredo, LLC     13057   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8946    DYSON, GINA                    18804   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8947    DYSON, GINA                    24538   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8948    DYSON, GINA                    30298   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1311 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8949    E&S / SPECIALTY                   1739    7/31/2022    Secured: $0.00
                          LLC
                                                               General Unsecured: $217,852.00 + Unliquidated

                                                               Total: $217,852.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8950    E&S / SPECIALTY                   2490    7/31/2022    Secured: $0.00
                          LLC
                                                               General Unsecured: $217,852.00 + Unliquidated

                                                               Total: $217,852.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8951    E&S/ SPECIALTY    Laredo, LLC     2763    7/31/2022    Secured: $0.00
                                                               General Unsecured: $217,852.00 + Unliquidated

                                                               Total: $217,852.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8952    EADES, NATALIE                    8316    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8953    EADES, NATALIE    Laredo, LLC     14066   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8954    EADES, NATALIE                    19813   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8955    EADES, NATALIE                    25547   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1312 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8956    EADES, NATALIE                    31307   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8957    EADS, CLIFFETTE                   6801    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8958    EADS, CLIFFETTE   Laredo, LLC     12551   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8959    EADS, CLIFFETTE                   18298   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8960    EADS, CLIFFETTE                   24032   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8961    EADS, CLIFFETTE                   29792   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8962    EADY, ERIC                        7180    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1313 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8963    EADY, ERIC     Laredo, LLC     12930   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8964    EADY, ERIC                     18677   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
8965    EADY, ERIC                     24411   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
8966    EADY, ERIC                     30171   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
8967    EALY, JAMES                    7440    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
8968    EALY, JAMES    Laredo, LLC     13190   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
8969    EALY, JAMES                    18937   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1314 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8970    EALY, JAMES                       24671   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8971    EALY, JAMES                       30431   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
8972    EARHART, LOUISE                   8020    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
8973    EARHART, LOUISE Laredo, LLC       13770   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
8974    EARHART, LOUISE                   19517   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
8975    EARHART, LOUISE                   25251   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
8976    EARHART, LOUISE                   31011   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1315 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EARLS, TIFFANY   Barney Davis,
8977                                     9007    8/1/2022     Secured: $0.00
        RENE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EARLS, TIFFANY
8978                     Laredo, LLC     14757   8/1/2022     Secured: $0.00
        RENE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EARLS, TIFFANY   Nueces Bay,
8979                                     20504   8/1/2022     Secured: $0.00
        RENE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EARLS, TIFFANY   Talen Texas
8980                                     26236   8/1/2022     Secured: $0.00
        RENE             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EARLS, TIFFANY   Talen Texas,
8981                                     31998   8/1/2022     Secured: $0.00
        RENE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8982    EASDON, BRYAN                    6606    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
8983    EASDON, BRYAN    Laredo, LLC     12356   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1316 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
8984    EASDON, BRYAN                    18103   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
8985    EASDON, BRYAN                    23837   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
8986    EASDON, BRYAN                    29597   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        EASTGUARD                                             Priority: $0.00
8987    INSURANCE        Laredo, LLC     3034    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        EASTGUARD                                             Priority: $0.00
                         Nueces Bay,
8988    INSURANCE                        3270    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        EASTGUARD                                             Priority: $0.00
                         Barney Davis,
8989    INSURANCE                        3305    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
8990    EBONG, MICHAEL                   5153    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1317 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
8991    EBONG, MICHAEL Laredo, LLC      10903   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
8992    EBONG, MICHAEL                  16650   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
8993    EBONG, MICHAEL                  22395   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
8994    EBONG, MICHAEL                  28144   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ECKIE WOODARD,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Barney Davis,
8995                                    3731    8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ZELTEE
        WOODARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ECKIE WOODARD,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF
8996                   Laredo, LLC      9481    8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                             General Unsecured: $0.00 + Unliquidated
        ZELTEE
        WOODARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ECKIE WOODARD,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Nueces Bay,
8997                                    15228   8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ZELTEE
        WOODARD
                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1318 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        ECKIE WOODARD,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Talen Texas
8998                                    20975   8/1/2022     Secured: $0.00
        THE ESTATE OF  Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ZELTEE
        WOODARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ECKIE WOODARD,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Talen Texas,
8999                                    26722   8/1/2022     Secured: $0.00
        THE ESTATE OF  LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ZELTEE
        WOODARD
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9000    ECKLE, DANIEL                   6883    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9001    ECKLE, DANIEL   Laredo, LLC     12633   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9002    ECKLE, DANIEL                   18380   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9003    ECKLE, DANIEL                   24114   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9004    ECKLE, DANIEL                   29874   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1319 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ECONOMY FIRE   Nueces Bay,
9005                                   2925   8/1/2022     Secured: $0.00
        AND CASUALTY   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ECONOMY FIRE
9006                   Laredo, LLC     3209   8/1/2022     Secured: $0.00
        AND CASUALTY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ECONOMY FIRE                                       Priority: $0.00
                       Barney Davis,
9007    AND CASUALTY                   3300   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ECONOMY
                                                           Priority: $0.00
        PREFERRED      Nueces Bay,
9008                                   3037   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ECONOMY
                                                           Priority: $0.00
        PREFERRED      Barney Davis,
9009                                   3225   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ECONOMY
                                                           Priority: $0.00
        PREFERRED
9010                   Laredo, LLC     3234   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        ECONOMY                                            Other Administrative: $0.00
        PREMIER                                            Priority: $0.00
                       Nueces Bay,
9011    ASSURANCE                      2992   8/1/2022     Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1320 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        ECONOMY                                             Other Administrative: $0.00
        PREMIER                                             Priority: $0.00
9012    ASSURANCE      Laredo, LLC     3203    8/1/2022     Secured: $0.00
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        ECONOMY                                             Other Administrative: $0.00
        PREMIER                                             Priority: $0.00
                       Barney Davis,
9013    ASSURANCE                      3232    8/1/2022     Secured: $0.00
                       LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EDDIE AND
                                                            Priority: $0.00
        PAMELA CUMBO Barney Davis,
9014                                   5921    8/1/2022     Secured: $0.00
        LEADERSHIP   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        ACADEMY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EDDIE AND
                                                            Priority: $0.00
        PAMELA CUMBO
9015                 Laredo, LLC       11671   8/1/2022     Secured: $0.00
        LEADERSHIP
                                                            General Unsecured: $0.00 + Unliquidated
        ACADEMY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EDDIE AND
                                                            Priority: $0.00
        PAMELA CUMBO Nueces Bay,
9016                                   17418   8/1/2022     Secured: $0.00
        LEADERSHIP   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        ACADEMY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EDDIE AND
                                                            Priority: $0.00
        PAMELA CUMBO Talen Texas
9017                                   23163   8/1/2022     Secured: $0.00
        LEADERSHIP   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        ACADEMY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EDDIE AND
                                                            Priority: $0.00
        PAMELA CUMBO Talen Texas,
9018                                   28912   8/1/2022     Secured: $0.00
        LEADERSHIP   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        ACADEMY
                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1321 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9019    EDDY, ERIC                     7181    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9020    EDDY, ERIC     Laredo, LLC     12931   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9021    EDDY, ERIC                     18678   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9022    EDDY, ERIC                     24412   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9023    EDDY, ERIC                     30172   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        EDGERSON,
9024                   Laredo, LLC     32570   8/1/2022     Secured: $0.00
        PERRY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        EDGERSON,      Barney Davis,
9025                                   33561   8/1/2022     Secured: $0.00
        PERRY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1322 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDGERSON,       Nueces Bay,
9026                                    34552   8/1/2022     Secured: $0.00
        PERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDGERSON,       Talen Texas
9027                                    35543   8/1/2022     Secured: $0.00
        PERRY           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDGERSON,       Talen Texas,
9028                                    36534   8/1/2022     Secured: $0.00
        PERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9029    EDGLEY, CRAIG                   6833    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9030    EDGLEY, CRAIG   Laredo, LLC     12583   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9031    EDGLEY, CRAIG                   18330   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9032    EDGLEY, CRAIG                   24064   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1323 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9033    EDGLEY, CRAIG                    29824   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9034    EDWARDS, CRAIG                   4909    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9035    EDWARDS, CRAIG Laredo, LLC       10659   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9036    EDWARDS, CRAIG                   16406   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9037    EDWARDS, CRAIG                   22151   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9038    EDWARDS, CRAIG                   27900   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Barney Davis,
9039                                     5700    8/1/2022     Secured: $0.00
        DONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1324 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,
9040                  Laredo, LLC     11450   8/1/2022     Secured: $0.00
        DONNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,      Nueces Bay,
9041                                  17197   8/1/2022     Secured: $0.00
        DONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,      Talen Texas
9042                                  22942   8/1/2022     Secured: $0.00
        DONNIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,      Talen Texas,
9043                                  28691   8/1/2022     Secured: $0.00
        DONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,      Barney Davis,
9044                                  4156    8/1/2022     Secured: $0.00
        EDWIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,
9045                  Laredo, LLC     9906    8/1/2022     Secured: $0.00
        EDWIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EDWARDS,      Nueces Bay,
9046                                  15653   8/1/2022     Secured: $0.00
        EDWIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1325 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Talen Texas
9047                                     21399   8/1/2022     Secured: $0.00
        EDWIN            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Talen Texas,
9048                                     27147   8/1/2022     Secured: $0.00
        EDWIN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9049    EDWARDS, ELLIS                   7160    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9050    EDWARDS, ELLIS   Laredo, LLC     12910   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9051    EDWARDS, ELLIS                   18657   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9052    EDWARDS, ELLIS                   24391   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9053    EDWARDS, ELLIS                   30151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1326 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9054    EDWARDS, GAIL                   4194    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9055    EDWARDS, GAIL   Laredo, LLC     9944    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9056    EDWARDS, GAIL                   15691   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9057    EDWARDS, GAIL                   21437   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9058    EDWARDS, GAIL                   27185   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Barney Davis,
9059                                    7352    8/1/2022     Secured: $0.00
        HAROLD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,
9060                    Laredo, LLC     13102   8/1/2022     Secured: $0.00
        HAROLD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1327 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Nueces Bay,
9061                                     18849   8/1/2022     Secured: $0.00
        HAROLD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Talen Texas
9062                                     24583   8/1/2022     Secured: $0.00
        HAROLD           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Talen Texas,
9063                                     30343   8/1/2022     Secured: $0.00
        HAROLD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9064    EDWARDS, LINDA                   5996    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9065    EDWARDS, LINDA Laredo, LLC       11746   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9066    EDWARDS, LINDA                   17493   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9067    EDWARDS, LINDA                   23238   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1328 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9068    EDWARDS, LINDA                   28987   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9069    EDWARDS, NAKIA                   5555    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9070    EDWARDS, NAKIA Laredo, LLC       11305   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9071    EDWARDS, NAKIA                   17052   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9072    EDWARDS, NAKIA                   22797   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9073    EDWARDS, NAKIA                   28546   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Barney Davis,
9074                                     8529    8/1/2022     Secured: $0.00
        REGINALD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1329 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,
9075                    Laredo, LLC     14279   8/1/2022     Secured: $0.00
        REGINALD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Nueces Bay,
9076                                    20026   8/1/2022     Secured: $0.00
        REGINALD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Talen Texas
9077                                    25758   8/1/2022     Secured: $0.00
        REGINALD        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Talen Texas,
9078                                    31520   8/1/2022     Secured: $0.00
        REGINALD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9079    EDWARDS, RYAN                   3616    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9080    EDWARDS, RYAN Laredo, LLC       9366    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9081    EDWARDS, RYAN                   15113   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1330 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9082    EDWARDS, RYAN                   20860   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9083    EDWARDS, RYAN                   26607   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Barney Davis,
9084                                    5308    8/1/2022     Secured: $0.00
        SHIRLEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,
9085                    Laredo, LLC     11058   8/1/2022     Secured: $0.00
        SHIRLEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Nueces Bay,
9086                                    16805   8/1/2022     Secured: $0.00
        SHIRLEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Talen Texas
9087                                    22550   8/1/2022     Secured: $0.00
        SHIRLEY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EDWARDS,        Talen Texas,
9088                                    28299   8/1/2022     Secured: $0.00
        SHIRLEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1331 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Barney Davis,
9089                                     6024    8/1/2022     Secured: $0.00
        TARENCE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,
9090                     Laredo, LLC     11774   8/1/2022     Secured: $0.00
        TARENCE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Nueces Bay,
9091                                     17521   8/1/2022     Secured: $0.00
        TARENCE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Talen Texas
9092                                     23266   8/1/2022     Secured: $0.00
        TARENCE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EDWARDS,         Talen Texas,
9093                                     29015   8/1/2022     Secured: $0.00
        TARENCE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9094    EDWARDS, TRACY                   6040    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9095    EDWARDS, TRACY Laredo, LLC       11790   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1332 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9096    EDWARDS, TRACY                   17537   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9097    EDWARDS, TRACY                   23282   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9098    EDWARDS, TRACY                   29031   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EFFENDI,         Barney Davis,
9099                                     7520    8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EFFENDI,
9100                     Laredo, LLC     13270   8/1/2022     Secured: $0.00
        JENNIFER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EFFENDI,         Nueces Bay,
9101                                     19017   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EFFENDI,         Talen Texas
9102                                     24751   8/1/2022     Secured: $0.00
        JENNIFER         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1333 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EFFENDI,         Talen Texas,
9103                                     30511   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9104    EICH, JOE                        5032    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9105    EICH, JOE        Laredo, LLC     10782   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9106    EICH, JOE                        16529   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9107    EICH, JOE                        22274   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9108    EICH, JOE                        28023   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9109    EIDE, RANDOLPH                   8491    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1334 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9110    EIDE, RANDOLPH Laredo, LLC       14241   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9111    EIDE, RANDOLPH                   19988   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9112    EIDE, RANDOLPH                   25720   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9113    EIDE, RANDOLPH                   31482   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9114    EKONDO, EUGENE                   4173    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9115    EKONDO, EUGENE Laredo, LLC       9923    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9116    EKONDO, EUGENE                   15670   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1335 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9117    EKONDO, EUGENE                     21416   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9118    EKONDO, EUGENE                     27164   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9119    EL ISSA, DEBORAH                   4929    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9120    EL ISSA, DEBORAH Laredo, LLC       10679   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9121    EL ISSA, DEBORAH                   16426   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9122    EL ISSA, DEBORAH                   22171   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9123    EL ISSA, DEBORAH                   27920   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1336 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9124    EL, DANNY A.                    3663    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9125    EL, DANNY A.    Laredo, LLC     9413    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9126    EL, DANNY A.                    15160   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9127    EL, DANNY A.                    20907   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9128    EL, DANNY A.                    26654   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ELAINE ROBISON                                       Other Administrative: $0.00
        AS HEIR OF THE                                       Priority: $0.00
                       Barney Davis,
9129    ESTATE OF                       5421    8/1/2022     Secured: $0.00
                       LLC
        STEPHEN P.                                           General Unsecured: $0.00 + Unliquidated
        ROBISON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ELAINE ROBISON                                       Other Administrative: $0.00
        AS HEIR OF THE                                       Priority: $0.00
9130    ESTATE OF      Laredo, LLC      11171   8/1/2022     Secured: $0.00
        STEPHEN P.                                           General Unsecured: $0.00 + Unliquidated
        ROBISON
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1337 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        ELAINE ROBISON                                       Other Administrative: $0.00
        AS HEIR OF THE                                       Priority: $0.00
                       Nueces Bay,
9131    ESTATE OF                       16918   8/1/2022     Secured: $0.00
                       LLC
        STEPHEN P.                                           General Unsecured: $0.00 + Unliquidated
        ROBISON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ELAINE ROBISON                                       Other Administrative: $0.00
        AS HEIR OF THE                                       Priority: $0.00
                       Talen Texas
9132    ESTATE OF                       22663   8/1/2022     Secured: $0.00
                       Group, LLC
        STEPHEN P.                                           General Unsecured: $0.00 + Unliquidated
        ROBISON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        ELAINE ROBISON                                       Other Administrative: $0.00
        AS HEIR OF THE                                       Priority: $0.00
                       Talen Texas,
9133    ESTATE OF                       28412   8/1/2022     Secured: $0.00
                       LLC
        STEPHEN P.                                           General Unsecured: $0.00 + Unliquidated
        ROBISON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9134    ELDER, AESHIA                   6297    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9135    ELDER, AESHIA   Laredo, LLC     12047   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9136    ELDER, AESHIA                   17794   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9137    ELDER, AESHIA                   23529   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1338 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9138    ELDER, AESHIA                     29288   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9139    ELDRIDGE, DOYLE                   7108    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9140    ELDRIDGE, DOYLE Laredo, LLC       12858   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9141    ELDRIDGE, DOYLE                   18605   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9142    ELDRIDGE, DOYLE                   24339   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9143    ELDRIDGE, DOYLE                   30099   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ELIZONDO,         Barney Davis,
9144                                      4847    8/1/2022     Secured: $0.00
        BELINDA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1339 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,
9145                  Laredo, LLC     10597   8/1/2022     Secured: $0.00
        BELINDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Nueces Bay,
9146                                  16344   8/1/2022     Secured: $0.00
        BELINDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Talen Texas
9147                                  22090   8/1/2022     Secured: $0.00
        BELINDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Talen Texas,
9148                                  27838   8/1/2022     Secured: $0.00
        BELINDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,
9149                  Laredo, LLC     32571   8/1/2022     Secured: $0.00
        CARLOS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,
9150                  Laredo, LLC     32572   8/1/2022     Secured: $0.00
        CARLOS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Barney Davis,
9151                                  33562   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1340 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Barney Davis,
9152                                  33563   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Nueces Bay,
9153                                  34553   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Nueces Bay,
9154                                  34554   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Talen Texas
9155                                  35544   8/1/2022     Secured: $0.00
        CARLOS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Talen Texas
9156                                  35545   8/1/2022     Secured: $0.00
        CARLOS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Talen Texas,
9157                                  36535   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ELIZONDO,     Talen Texas,
9158                                  36536   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1341 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9159    ELIZONDO, JULIA                   7714    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9160    ELIZONDO, JULIA Laredo, LLC       13464   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9161    ELIZONDO, JULIA                   19211   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9162    ELIZONDO, JULIA                   24945   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9163    ELIZONDO, JULIA                   30705   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ELIZONDO,         Barney Davis,
9164                                      4722    8/1/2022     Secured: $0.00
        TERESA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ELIZONDO,
9165                      Laredo, LLC     10472   8/1/2022     Secured: $0.00
        TERESA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1342 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ELIZONDO,        Nueces Bay,
9166                                     16219   8/1/2022     Secured: $0.00
        TERESA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ELIZONDO,        Talen Texas
9167                                     21965   8/1/2022     Secured: $0.00
        TERESA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ELIZONDO,        Talen Texas,
9168                                     27713   8/1/2022     Secured: $0.00
        TERESA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9169    ELLARD, AUTUMN                   6477    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9170    ELLARD, AUTUMN Laredo, LLC       12227   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9171    ELLARD, AUTUMN                   17974   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9172    ELLARD, AUTUMN                   23709   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1343 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9173    ELLARD, AUTUMN                   29468   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9174    ELLEDGE, CARL                    6627    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9175    ELLEDGE, CARL    Laredo, LLC     12377   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9176    ELLEDGE, CARL                    18124   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9177    ELLEDGE, CARL                    23858   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9178    ELLEDGE, CARL                    29618   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ELLENBERGER,     Barney Davis,
9179                                     5284    8/1/2022     Secured: $0.00
        SEBASTYAN        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1344 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLENBERGER,
9180                   Laredo, LLC     11034   8/1/2022     Secured: $0.00
        SEBASTYAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLENBERGER,   Nueces Bay,
9181                                   16781   8/1/2022     Secured: $0.00
        SEBASTYAN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLENBERGER,   Talen Texas
9182                                   22526   8/1/2022     Secured: $0.00
        SEBASTYAN      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLENBERGER,   Talen Texas,
9183                                   28275   8/1/2022     Secured: $0.00
        SEBASTYAN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLER,         Barney Davis,
9184                                   4015    8/1/2022     Secured: $0.00
        CASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLER,
9185                   Laredo, LLC     9765    8/1/2022     Secured: $0.00
        CASSANDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ELLER,         Nueces Bay,
9186                                   15512   8/1/2022     Secured: $0.00
        CASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1345 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLER,          Talen Texas
9187                                    21258   8/1/2022     Secured: $0.00
        CASSANDRA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLER,          Talen Texas,
9188                                    27006   8/1/2022     Secured: $0.00
        CASSANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLINGSWORTH,   Barney Davis,
9189                                    3922    8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLINGSWORTH,
9190                    Laredo, LLC     9672    8/1/2022     Secured: $0.00
        ANDREA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLINGSWORTH,   Nueces Bay,
9191                                    15419   8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLINGSWORTH,   Talen Texas
9192                                    21166   8/1/2022     Secured: $0.00
        ANDREA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ELLINGSWORTH,   Talen Texas,
9193                                    26913   8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1346 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9194    ELLIOTT, BRENDA Laredo, LLC       32573   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9195    ELLIOTT, BRENDA                   33564   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9196    ELLIOTT, BRENDA                   34555   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9197    ELLIOTT, BRENDA                   35546   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9198    ELLIOTT, BRENDA                   36537   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9199    ELLIOTT, LINDA                    5097    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9200    ELLIOTT, LINDA    Laredo, LLC     10847   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1347 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9201    ELLIOTT, LINDA                   16594   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9202    ELLIOTT, LINDA                   22339   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9203    ELLIOTT, LINDA                   28088   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9204    ELLIOTT, LISA                    7999    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9205    ELLIOTT, LISA    Laredo, LLC     13749   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9206    ELLIOTT, LISA                    19496   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9207    ELLIOTT, LISA                    25230   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1348 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9208    ELLIOTT, LISA                   30990   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9209    ELLIS, BECKY                    4846    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9210    ELLIS, BECKY    Laredo, LLC     10596   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9211    ELLIS, BECKY                    16343   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9212    ELLIS, BECKY                    22089   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9213    ELLIS, BECKY                    27837   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9214    ELLIS, BRIAN                    3989    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1349 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9215    ELLIS, BRIAN   Laredo, LLC     9739    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9216    ELLIS, BRIAN                   15486   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9217    ELLIS, BRIAN                   21232   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9218    ELLIS, BRIAN                   26980   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9219    ELLIS, EDNA                    7130    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9220    ELLIS, EDNA    Laredo, LLC     12880   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9221    ELLIS, EDNA                    18627   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1350 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9222    ELLIS, EDNA                     24361   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9223    ELLIS, EDNA                     30121   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9224    ELLIS, ROBERT                   8602    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9225    ELLIS, ROBERT   Laredo, LLC     14352   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9226    ELLIS, ROBERT                   20099   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9227    ELLIS, ROBERT                   25831   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9228    ELLIS, ROBERT                   31593   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1351 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9229    ELLISON, JESSIKA Laredo, LLC       32574   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9230    ELLISON, JESSIKA                   33565   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9231    ELLISON, JESSIKA                   34556   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9232    ELLISON, JESSIKA                   35547   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9233    ELLISON, JESSIKA                   36538   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9234    ELMORE, SIMONE                     8850    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9235    ELMORE, SIMONE Laredo, LLC         14600   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1352 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9236    ELMORE, SIMONE                   20347   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9237    ELMORE, SIMONE                   26079   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9238    ELMORE, SIMONE                   31841   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9239    ELSE, PATSY                      5207    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9240    ELSE, PATSY      Laredo, LLC     10957   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9241    ELSE, PATSY                      16704   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9242    ELSE, PATSY                      22449   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1353 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9243    ELSE, PATSY                      28198   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ELVIRA GARAY,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
9244    AND AS HEIR OF                   5391    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PETRA FLORES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ELVIRA GARAY,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
9245    AND AS HEIR OF   Laredo, LLC     11141   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PETRA FLORES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ELVIRA GARAY,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
9246    AND AS HEIR OF                   16888   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PETRA FLORES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ELVIRA GARAY,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
9247    AND AS HEIR OF                   22633   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PETRA FLORES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ELVIRA GARAY,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
9248    AND AS HEIR OF                   28382   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PETRA FLORES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9249    ELWELL, JEFF                     6128    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1354 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9250    ELWELL, JEFF   Laredo, LLC     11878   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9251    ELWELL, JEFF                   17625   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9252    ELWELL, JEFF                   23370   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9253    ELWELL, JEFF                   29119   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9254    ELWOOD, BERT   Laredo, LLC     32575   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9255    ELWOOD, BERT                   33566   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9256    ELWOOD, BERT                   34557   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1355 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9257    ELWOOD, BERT                    35548   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9258    ELWOOD, BERT                    36539   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9259    ELWOOD, RANDY                   4588    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9260    ELWOOD, RANDY Laredo, LLC       10338   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9261    ELWOOD, RANDY                   16085   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9262    ELWOOD, RANDY                   21831   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9263    ELWOOD, RANDY                   27579   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1356 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9264    ELY, DAVID                       6923    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9265    ELY, DAVID       Laredo, LLC     12673   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9266    ELY, DAVID                       18420   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9267    ELY, DAVID                       24154   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9268    ELY, DAVID                       29914   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9269    EMANUEL, JERRY                   4277    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9270    EMANUEL, JERRY Laredo, LLC       10027   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1357 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9271    EMANUEL, JERRY                   15774   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9272    EMANUEL, JERRY                   21520   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9273    EMANUEL, JERRY                   27268   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9274    EMANUEL, VACHE                   6270    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9275    EMANUEL, VACHE Laredo, LLC       12020   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9276    EMANUEL, VACHE                   17767   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9277    EMANUEL, VACHE                   23502   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1358 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9278    EMANUEL, VACHE                   29261   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9279    EMBRY, MARY                      5139    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9280    EMBRY, MARY      Laredo, LLC     10889   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9281    EMBRY, MARY                      16636   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9282    EMBRY, MARY                      22381   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9283    EMBRY, MARY                      28130   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EMENAHA,         Barney Davis,
9284                                     7386    8/1/2022     Secured: $0.00
        IFEYINWA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1359 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMENAHA,
9285                  Laredo, LLC     13136   8/1/2022     Secured: $0.00
        IFEYINWA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMENAHA,      Nueces Bay,
9286                                  18883   8/1/2022     Secured: $0.00
        IFEYINWA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMENAHA,      Talen Texas
9287                                  24617   8/1/2022     Secured: $0.00
        IFEYINWA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMENAHA,      Talen Texas,
9288                                  30377   8/1/2022     Secured: $0.00
        IFEYINWA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMERSON,      Barney Davis,
9289                                  6989    8/1/2022     Secured: $0.00
        DEMETRIK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMERSON,
9290                  Laredo, LLC     12739   8/1/2022     Secured: $0.00
        DEMETRIK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        EMERSON,      Nueces Bay,
9291                                  18486   8/1/2022     Secured: $0.00
        DEMETRIK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1360 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EMERSON,         Talen Texas
9292                                     24220   8/1/2022     Secured: $0.00
        DEMETRIK         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EMERSON,         Talen Texas,
9293                                     29980   8/1/2022     Secured: $0.00
        DEMETRIK         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9294    EMERSON, JAMES                   7441    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9295    EMERSON, JAMES Laredo, LLC       13191   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9296    EMERSON, JAMES                   18938   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9297    EMERSON, JAMES                   24672   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9298    EMERSON, JAMES                   30432   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1361 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9299    EMERSON, JOHN                   3771    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9300    EMERSON, JOHN Laredo, LLC       9521    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9301    EMERSON, JOHN                   15268   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9302    EMERSON, JOHN                   21015   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9303    EMERSON, JOHN                   26762   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EMERSON,        Barney Davis,
9304                                    8728    8/1/2022     Secured: $0.00
        SAMMY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EMERSON,
9305                    Laredo, LLC     14478   8/1/2022     Secured: $0.00
        SAMMY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1362 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EMERSON,         Nueces Bay,
9306                                     20225   8/1/2022     Secured: $0.00
        SAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EMERSON,         Talen Texas
9307                                     25957   8/1/2022     Secured: $0.00
        SAMMY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EMERSON,         Talen Texas,
9308                                     31719   8/1/2022     Secured: $0.00
        SAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9309    EMFINGER, ADAM                   6285    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9310    EMFINGER, ADAM Laredo, LLC       12035   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9311    EMFINGER, ADAM                   17782   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9312    EMFINGER, ADAM                   23517   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1363 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9313    EMFINGER, ADAM                   29276   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9314    EMIGH, TERESA                    8964    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9315    EMIGH, TERESA    Laredo, LLC     14714   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9316    EMIGH, TERESA                    20461   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9317    EMIGH, TERESA                    26193   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9318    EMIGH, TERESA                    31955   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        EMPIRE
                                                              Priority: $0.00
        INDEMNITY
9319                     Laredo, LLC     1134    7/28/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $65,314.45 + Unliquidated
        COMPANY
                                                              Total: $65,314.45 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1364 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EMPIRE
                                                            Priority: $0.00
        INDEMNITY       Nueces Bay,
9320                                    1170   7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $65,314.45 + Unliquidated
        COMPANY
                                                            Total: $65,314.45 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        EMPIRE
                                                            Priority: $0.00
        INDEMNITY       Barney Davis,
9321                                    1284   7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $65,314.45 + Unliquidated
        COMPANY
                                                            Total: $65,314.45 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        EMPLOYERS INS   Barney Davis,
9322                                    2122   7/30/2022    Secured: $0.00
        CO OF WAUSAU    LLC
                                                            General Unsecured: $2,700,000.00 + Unliquidated

                                                            Total: $2,700,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        EMPLOYERS INS
9323                    Laredo, LLC     2223   7/30/2022    Secured: $0.00
        CO OF WAUSAU
                                                            General Unsecured: $2,700,000.00 + Unliquidated

                                                            Total: $2,700,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        EMPLOYERS INS   Nueces Bay,
9324                                    2230   7/30/2022    Secured: $0.00
        CO OF WAUSAU    LLC
                                                            General Unsecured: $2,700,000.00 + Unliquidated

                                                            Total: $2,700,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ENCOMPASS
                                                            Priority: $0.00
        HOME AND AUTO Barney Davis,
9325                                    1841   7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                            General Unsecured: $1,539,862.02 + Unliquidated
        COMPANY
                                                            Total: $1,539,862.02 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ENCOMPASS
                                                            Priority: $0.00
        HOME AND AUTO Nueces Bay,
9326                                    2580   7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                            General Unsecured: $1,539,862.02 + Unliquidated
        COMPANY
                                                            Total: $1,539,862.02 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1365 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        HOME AND AUTO
9327                  Laredo, LLC      3579   7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $1,539,862.02 + Unliquidated
        COMPANY
                                                           Total: $1,539,862.02 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS                                          Priority: $0.00
                       Barney Davis,
9328    INDEMNITY                      2456   7/31/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $11,987,582.40 + Unliquidated

                                                           Total: $11,987,582.40 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS                                          Priority: $0.00
                       Nueces Bay,
9329    INDEMNITY                      2620   7/31/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $11,987,582.40 + Unliquidated

                                                           Total: $11,987,582.40 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS                                          Priority: $0.00
9330    INDEMNITY      Laredo, LLC     2831   7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $11,987,582.40 + Unliquidated

                                                           Total: $11,987,582.40 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        INDEPENDENT
9331                   Laredo, LLC     2241   7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $1,023,982.20 + Unliquidated
        COMPANY
                                                           Total: $1,023,982.20 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        INDEPENDENT    Nueces Bay,
9332                                   2704   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,023,982.20 + Unliquidated
        COMPANY
                                                           Total: $1,023,982.20 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1366 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        INDEPENDENT    Barney Davis,
9333                                   2936   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $1,023,982.20 + Unliquidated
        COMPANY
                                                           Total: $1,023,982.20 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        INSURANCE
9334                   Laredo, LLC     2344   7/31/2022    Secured: $0.00
        COMPANY OF
                                                           General Unsecured: $834,146.57 + Unliquidated
        AMERICA
                                                           Total: $834,146.57 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        INSURANCE      Nueces Bay,
9335                                   2535   7/31/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $834,146.57 + Unliquidated
        AMERICA
                                                           Total: $834,146.57 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        INSURANCE      Barney Davis,
9336                                   2709   7/31/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $834,146.57 + Unliquidated
        AMERICA
                                                           Total: $834,146.57 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        PROPERTY AND
9337                   Laredo, LLC     2512   7/31/2022    Secured: $0.00
        CASUALTY
                                                           General Unsecured: $249,126.81 + Unliquidated
        COMPANY
                                                           Total: $249,126.81 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        PROPERTY AND   Nueces Bay,
9338                                   2523   7/31/2022    Secured: $0.00
        CASUALTY       LLC
                                                           General Unsecured: $249,126.81 + Unliquidated
        COMPANY
                                                           Total: $249,126.81 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ENCOMPASS
                                                           Priority: $0.00
        PROPERTY AND   Barney Davis,
9339                                   2731   7/31/2022    Secured: $0.00
        CASUALTY       LLC
                                                           General Unsecured: $249,126.81 + Unliquidated
        COMPANY
                                                           Total: $249,126.81 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1367 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENDSLEY,        Barney Davis,
9340                                    6101    8/1/2022     Secured: $0.00
        DEBALENE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENDSLEY,
9341                    Laredo, LLC     11851   8/1/2022     Secured: $0.00
        DEBALENE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENDSLEY,        Nueces Bay,
9342                                    17598   8/1/2022     Secured: $0.00
        DEBALENE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENDSLEY,        Talen Texas
9343                                    23343   8/1/2022     Secured: $0.00
        DEBALENE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENDSLEY,        Talen Texas,
9344                                    29092   8/1/2022     Secured: $0.00
        DEBALENE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE                                            Priority: $0.00
9345    AMERICAN        Laredo, LLC     1047    7/28/2022    Secured: $0.00
        INSURANCE CO.                                        General Unsecured: $8,810,969.06 + Unliquidated

                                                             Total: $8,810,969.06 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE                                            Priority: $0.00
                        Barney Davis,
9346    AMERICAN                        1148    7/28/2022    Secured: $0.00
                        LLC
        INSURANCE CO.                                        General Unsecured: $8,810,969.06 + Unliquidated

                                                             Total: $8,810,969.06 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1368 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ENDURANCE                                           Priority: $0.00
                        Nueces Bay,
9347    AMERICAN                        1179   7/28/2022    Secured: $0.00
                        LLC
        INSURANCE CO.                                       General Unsecured: $8,810,969.06 + Unliquidated

                                                            Total: $8,810,969.06 + Unliquidated
                                                            503(b)(9): $0.00
        ENDURANCE                                           Other Administrative: $0.00
        AMERICAN                                            Priority: $0.00
9348    SPECIALTY       Laredo, LLC     1106   7/28/2022    Secured: $0.00
        INSURANCE                                           General Unsecured: $255,707,808.83 + Unliquidated
        COMPANY
                                                            Total: $255,707,808.83 + Unliquidated

                                                            503(b)(9): $0.00
        ENDURANCE                                           Other Administrative: $0.00
        AMERICAN                                            Priority: $0.00
                        Nueces Bay,
9349    SPECIALTY                       1167   7/28/2022    Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $255,707,808.83 + Unliquidated
        COMPANY
                                                            Total: $255,707,808.83 + Unliquidated

                                                            503(b)(9): $0.00
        ENDURANCE                                           Other Administrative: $0.00
        AMERICAN                                            Priority: $0.00
                        Barney Davis,
9350    SPECIALTY                       1255   7/28/2022    Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $255,707,808.83 + Unliquidated
        COMPANY
                                                            Total: $255,707,808.83 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ENDURANCE                                           Priority: $0.00
9351    ASSURANCE       Laredo, LLC     1101   7/28/2022    Secured: $0.00
        CORP.                                               General Unsecured: $655,016.94 + Unliquidated

                                                            Total: $655,016.94 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ENDURANCE                                           Priority: $0.00
                        Nueces Bay,
9352    ASSURANCE                       1261   7/28/2022    Secured: $0.00
                        LLC
        CORP.                                               General Unsecured: $655,016.94 + Unliquidated

                                                            Total: $655,016.94 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1369 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE                                            Priority: $0.00
                         Barney Davis,
9353    ASSURANCE                        1275   7/28/2022    Secured: $0.00
                         LLC
        CORP.                                                General Unsecured: $655,016.94 + Unliquidated

                                                             Total: $655,016.94 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE
                                                             Priority: $0.00
        WORLDWIDE
9354                     Laredo, LLC     1345   7/29/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        LIMITED
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE
                                                             Priority: $0.00
        WORLDWIDE        Nueces Bay,
9355                                     1462   7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        LIMITED
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE
                                                             Priority: $0.00
        WORLDWIDE        Barney Davis,
9356                                     1548   7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        LIMITED
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE                                            Priority: $0.00
                         Barney Davis,
9357    WORLDWIDE                        2439   8/1/2022     Secured: $0.00
                         LLC
        INSURANCE LTD.                                       General Unsecured: $230,200.44 + Unliquidated

                                                             Total: $230,200.44 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE                                            Priority: $0.00
                         Nueces Bay,
9358    WORLDWIDE                        2440   8/1/2022     Secured: $0.00
                         LLC
        INSURANCE LTD.                                       General Unsecured: $230,200.44 + Unliquidated

                                                             Total: $230,200.44 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ENDURANCE                                            Priority: $0.00
9359    WORLDWIDE        Laredo, LLC     2455   8/1/2022     Secured: $0.00
        INSURANCE LTD.                                       General Unsecured: $230,200.44 + Unliquidated

                                                             Total: $230,200.44 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1370 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9360    ENER, ROSETTA                    8685    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9361    ENER, ROSETTA    Laredo, LLC     14435   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9362    ENER, ROSETTA                    20182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9363    ENER, ROSETTA                    25914   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9364    ENER, ROSETTA                    31676   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ENERGY BANDITS                                        Priority: $0.00
                        Barney Davis,
9365    INC, FRANCHISE                   5922    8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ENERGY BANDITS                                        Priority: $0.00
9366    INC, FRANCHISE Laredo, LLC       11672   8/1/2022     Secured: $0.00
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1371 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ENERGY BANDITS                                        Priority: $0.00
                        Nueces Bay,
9367    INC, FRANCHISE                   17419   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ENERGY BANDITS                                        Priority: $0.00
                        Talen Texas
9368    INC, FRANCHISE                   23164   8/1/2022     Secured: $0.00
                        Group, LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ENERGY BANDITS                                        Priority: $0.00
                        Talen Texas,
9369    INC, FRANCHISE                   28913   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9370    ENGELMAN, DIAN                   7030    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9371    ENGELMAN, DIAN Laredo, LLC       12780   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9372    ENGELMAN, DIAN                   18527   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9373    ENGELMAN, DIAN                   24261   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1372 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9374    ENGELMAN, DIAN                   30021   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9375    ENGLAND, JOHN                    5548    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9376    ENGLAND, JOHN    Laredo, LLC     11298   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9377    ENGLAND, JOHN                    17045   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9378    ENGLAND, JOHN                    22790   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9379    ENGLAND, JOHN                    28539   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9380    ENGLERT, SARAH                   3705    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1373 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9381    ENGLERT, SARAH Laredo, LLC       9455    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9382    ENGLERT, SARAH                   15202   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9383    ENGLERT, SARAH                   20949   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9384    ENGLERT, SARAH                   26696   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ENGLETON,        Barney Davis,
9385                                     5673    8/1/2022     Secured: $0.00
        JONATHAN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ENGLETON,
9386                     Laredo, LLC     11423   8/1/2022     Secured: $0.00
        JONATHAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ENGLETON,        Nueces Bay,
9387                                     17170   8/1/2022     Secured: $0.00
        JONATHAN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1374 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ENGLETON,      Talen Texas
9388                                   22915   8/1/2022     Secured: $0.00
        JONATHAN       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ENGLETON,      Talen Texas,
9389                                   28664   8/1/2022     Secured: $0.00
        JONATHAN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9390    ENLOE, CINDY                   5967    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9391    ENLOE, CINDY   Laredo, LLC     11717   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9392    ENLOE, CINDY                   17464   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9393    ENLOE, CINDY                   23209   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9394    ENLOE, CINDY                   28958   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1375 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9395    ENNETT, RICHARD                   9312    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9396    ENNETT, RICHARD Laredo, LLC       15062   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9397    ENNETT, RICHARD                   20809   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9398    ENNETT, RICHARD                   26541   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9399    ENNETT, RICHARD                   32303   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9400    ENNIS, PAMELA                     5633    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9401    ENNIS, PAMELA     Laredo, LLC     11383   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1376 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9402    ENNIS, PAMELA                   17130   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9403    ENNIS, PAMELA                   22875   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9404    ENNIS, PAMELA                   28624   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENOCHS,         Barney Davis,
9405                                    7331    8/1/2022     Secured: $0.00
        GREGORY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENOCHS,
9406                    Laredo, LLC     13081   8/1/2022     Secured: $0.00
        GREGORY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENOCHS,         Nueces Bay,
9407                                    18828   8/1/2022     Secured: $0.00
        GREGORY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ENOCHS,         Talen Texas
9408                                    24562   8/1/2022     Secured: $0.00
        GREGORY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1377 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ENOCHS,            Talen Texas,
9409                                       30322   8/1/2022     Secured: $0.00
        GREGORY            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9410    ENOCHS, JUANA                      3835    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9411    ENOCHS, JUANA      Laredo, LLC     9585    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9412    ENOCHS, JUANA                      15332   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9413    ENOCHS, JUANA                      21079   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9414    ENOCHS, JUANA                      26826   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9415    ENRIQUEZ, ISABEL                   4230    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1378 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9416    ENRIQUEZ, ISABEL Laredo, LLC       9980    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9417    ENRIQUEZ, ISABEL                   15727   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9418    ENRIQUEZ, ISABEL                   21473   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9419    ENRIQUEZ, ISABEL                   27221   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9420    ENRIQUEZ, JOSE                     7657    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9421    ENRIQUEZ, JOSE     Laredo, LLC     13407   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9422    ENRIQUEZ, JOSE                     19154   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1379 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9423    ENRIQUEZ, JOSE                   24888   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9424    ENRIQUEZ, JOSE                   30648   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9425    ERICKSON, DOUG                   7099    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9426    ERICKSON, DOUG Laredo, LLC       12849   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9427    ERICKSON, DOUG                   18596   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9428    ERICKSON, DOUG                   24330   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9429    ERICKSON, DOUG                   30090   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1380 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9430    ERICKSON, LYDIA                   5997    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9431    ERICKSON, LYDIA Laredo, LLC       11747   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9432    ERICKSON, LYDIA                   17494   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9433    ERICKSON, LYDIA                   23239   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9434    ERICKSON, LYDIA                   28988   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ERIE INSURANCE    Barney Davis,
9435                                      2595    7/31/2022    Secured: $0.00
        GROUP             LLC
                                                               General Unsecured: $10,820.00 + Unliquidated

                                                               Total: $10,820.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ERIE INSURANCE    Nueces Bay,
9436                                      2618    7/31/2022    Secured: $0.00
        GROUP             LLC
                                                               General Unsecured: $10,820.00 + Unliquidated

                                                               Total: $10,820.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1381 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ERIE INSURANCE
9437                     Laredo, LLC     2833    7/31/2022    Secured: $0.00
        GROUP
                                                              General Unsecured: $10,820.00 + Unliquidated

                                                              Total: $10,820.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9438    ERNO, MARY                       8155    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9439    ERNO, MARY       Laredo, LLC     13905   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9440    ERNO, MARY                       19652   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9441    ERNO, MARY                       25386   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9442    ERNO, MARY                       31146   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9443    ERVIN, MICHAEL                   5473    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1382 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9444    ERVIN, MICHAEL   Laredo, LLC     11223   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9445    ERVIN, MICHAEL                   16970   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9446    ERVIN, MICHAEL                   22715   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9447    ERVIN, MICHAEL                   28464   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ERVIN‐ROSS,      Barney Davis,
9448                                     4185    8/1/2022     Secured: $0.00
        FELICIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ERVIN‐ROSS,
9449                     Laredo, LLC     9935    8/1/2022     Secured: $0.00
        FELICIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ERVIN‐ROSS,      Nueces Bay,
9450                                     15682   8/1/2022     Secured: $0.00
        FELICIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1383 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ERVIN‐ROSS,     Talen Texas
9451                                    21428   8/1/2022     Secured: $0.00
        FELICIA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ERVIN‐ROSS,     Talen Texas,
9452                                    27176   8/1/2022     Secured: $0.00
        FELICIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9453    ERVINS, BETTY                   6506    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9454    ERVINS, BETTY   Laredo, LLC     12256   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9455    ERVINS, BETTY                   18003   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9456    ERVINS, BETTY                   23738   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9457    ERVINS, BETTY                   29497   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1384 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9458    ESCALANTE, JOSE                   7658    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9459    ESCALANTE, JOSE Laredo, LLC       13408   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9460    ESCALANTE, JOSE                   19155   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9461    ESCALANTE, JOSE                   24889   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9462    ESCALANTE, JOSE                   30649   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESCALANTE,
9463                      Laredo, LLC     32576   8/1/2022     Secured: $0.00
        VALERIA M
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESCALANTE,        Barney Davis,
9464                                      33567   8/1/2022     Secured: $0.00
        VALERIA M         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1385 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALANTE,    Nueces Bay,
9465                                  34558   8/1/2022     Secured: $0.00
        VALERIA M     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALANTE,    Talen Texas
9466                                  35549   8/1/2022     Secured: $0.00
        VALERIA M     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALANTE,    Talen Texas,
9467                                  36540   8/1/2022     Secured: $0.00
        VALERIA M     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALERA,
9468                  Laredo, LLC     32577   8/1/2022     Secured: $0.00
        RAYMOND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALERA,     Barney Davis,
9469                                  33568   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALERA,     Nueces Bay,
9470                                  34559   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCALERA,     Talen Texas
9471                                  35550   8/1/2022     Secured: $0.00
        RAYMOND       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1386 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESCALERA,        Talen Texas,
9472                                     36541   8/1/2022     Secured: $0.00
        RAYMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9473    ESCALON, JORGE                   7648    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9474    ESCALON, JORGE Laredo, LLC       13398   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9475    ESCALON, JORGE                   19145   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9476    ESCALON, JORGE                   24879   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9477    ESCALON, JORGE                   30639   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESCAMILLA,       Barney Davis,
9478                                     5122    8/1/2022     Secured: $0.00
        MARCUS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1387 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,
9479                  Laredo, LLC     10872   8/1/2022     Secured: $0.00
        MARCUS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,    Nueces Bay,
9480                                  16619   8/1/2022     Secured: $0.00
        MARCUS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,    Talen Texas
9481                                  22364   8/1/2022     Secured: $0.00
        MARCUS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,    Talen Texas,
9482                                  28113   8/1/2022     Secured: $0.00
        MARCUS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,    Barney Davis,
9483                                  8090    8/1/2022     Secured: $0.00
        MARIANITA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,
9484                  Laredo, LLC     13840   8/1/2022     Secured: $0.00
        MARIANITA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ESCAMILLA,    Nueces Bay,
9485                                  19587   8/1/2022     Secured: $0.00
        MARIANITA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1388 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCAMILLA,      Talen Texas
9486                                    25321   8/1/2022     Secured: $0.00
        MARIANITA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCAMILLA,      Talen Texas,
9487                                    31081   8/1/2022     Secured: $0.00
        MARIANITA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9488    ESCOBAR, DANA                   4077    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9489    ESCOBAR, DANA   Laredo, LLC     9827    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9490    ESCOBAR, DANA                   15574   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9491    ESCOBAR, DANA                   21320   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9492    ESCOBAR, DANA                   27068   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1389 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9493    ESCOBAR, LARK                   5824    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9494    ESCOBAR, LARK   Laredo, LLC     11574   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9495    ESCOBAR, LARK                   17321   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9496    ESCOBAR, LARK                   23066   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9497    ESCOBAR, LARK                   28815   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO JR.,
9498                    Laredo, LLC     32578   8/1/2022     Secured: $0.00
        ANTONIO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO JR.,   Barney Davis,
9499                                    33569   8/1/2022     Secured: $0.00
        ANTONIO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1390 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO JR.,   Nueces Bay,
9500                                    34560   8/1/2022     Secured: $0.00
        ANTONIO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO JR.,   Talen Texas
9501                                    35551   8/1/2022     Secured: $0.00
        ANTONIO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO JR.,   Talen Texas,
9502                                    36542   8/1/2022     Secured: $0.00
        ANTONIO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO,
9503                    Laredo, LLC     32579   8/1/2022     Secured: $0.00
        FRANSISCO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO,       Barney Davis,
9504                                    33570   8/1/2022     Secured: $0.00
        FRANSISCO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO,       Nueces Bay,
9505                                    34561   8/1/2022     Secured: $0.00
        FRANSISCO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESCOBEDO,       Talen Texas
9506                                    35552   8/1/2022     Secured: $0.00
        FRANSISCO       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1391 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESCOBEDO,      Talen Texas,
9507                                   36543   8/1/2022     Secured: $0.00
        FRANSISCO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESCUADRA,      Barney Davis,
9508                                   4805    8/1/2022     Secured: $0.00
        ALEIDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESCUADRA,
9509                   Laredo, LLC     10555   8/1/2022     Secured: $0.00
        ALEIDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESCUADRA,      Nueces Bay,
9510                                   16302   8/1/2022     Secured: $0.00
        ALEIDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESCUADRA,      Talen Texas
9511                                   22048   8/1/2022     Secured: $0.00
        ALEIDA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESCUADRA,      Talen Texas,
9512                                   27796   8/1/2022     Secured: $0.00
        ALEIDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9513    ESMAN, JOYCE                   5051    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1392 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9514    ESMAN, JOYCE     Laredo, LLC     10801   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9515    ESMAN, JOYCE                     16548   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9516    ESMAN, JOYCE                     22293   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9517    ESMAN, JOYCE                     28042   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9518    ESPADA, CARMEN                   6649    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9519    ESPADA, CARMEN Laredo, LLC       12399   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9520    ESPADA, CARMEN                   18146   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1393 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9521    ESPADA, CARMEN                   23880   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9522    ESPADA, CARMEN                   29640   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPARZA JR,      Barney Davis,
9523                                     5030    8/1/2022     Secured: $0.00
        JESUS            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPARZA JR,
9524                     Laredo, LLC     10780   8/1/2022     Secured: $0.00
        JESUS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPARZA JR,      Nueces Bay,
9525                                     16527   8/1/2022     Secured: $0.00
        JESUS            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPARZA JR,      Talen Texas
9526                                     22272   8/1/2022     Secured: $0.00
        JESUS            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPARZA JR,      Talen Texas,
9527                                     28021   8/1/2022     Secured: $0.00
        JESUS            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1394 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPENSCHIED,     Barney Davis,
9528                                     6723    8/1/2022     Secured: $0.00
        CHERYL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPENSCHIED,
9529                     Laredo, LLC     12473   8/1/2022     Secured: $0.00
        CHERYL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPENSCHIED,     Nueces Bay,
9530                                     18220   8/1/2022     Secured: $0.00
        CHERYL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPENSCHIED,     Talen Texas
9531                                     23954   8/1/2022     Secured: $0.00
        CHERYL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESPENSCHIED,     Talen Texas,
9532                                     29714   8/1/2022     Secured: $0.00
        CHERYL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9533    ESPING, NOELLE                   8347    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9534    ESPING, NOELLE   Laredo, LLC     14097   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1395 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9535    ESPING, NOELLE                   19844   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9536    ESPING, NOELLE                   25578   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9537    ESPING, NOELLE                   31338   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9538    ESPINO, ROBERT                   8603    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9539    ESPINO, ROBERT   Laredo, LLC     14353   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9540    ESPINO, ROBERT                   20100   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9541    ESPINO, ROBERT                   25832   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1396 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9542    ESPINO, ROBERT                     31594   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9543    ESPINOSA, JAVIER Laredo, LLC       32580   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9544    ESPINOSA, JAVIER                   33571   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9545    ESPINOSA, JAVIER                   34562   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9546    ESPINOSA, JAVIER                   35553   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9547    ESPINOSA, JAVIER                   36544   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9548    ESPREE, PATRICE                    8387    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1397 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9549    ESPREE, PATRICE Laredo, LLC       14137   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9550    ESPREE, PATRICE                   19884   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9551    ESPREE, PATRICE                   25617   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9552    ESPREE, PATRICE                   31378   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9553    ESQUEDA, JESSE                    4280    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9554    ESQUEDA, JESSE    Laredo, LLC     10030   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9555    ESQUEDA, JESSE                    15777   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1398 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9556    ESQUEDA, JESSE                    21523   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9557    ESQUEDA, JESSE                    27271   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9558    ESQUIVEL, MARIA                   4458    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9559    ESQUIVEL, MARIA Laredo, LLC       10208   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9560    ESQUIVEL, MARIA                   15955   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9561    ESQUIVEL, MARIA                   21701   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9562    ESQUIVEL, MARIA                   27449   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1399 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESSARY,          Barney Davis,
9563                                     9231    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESSARY,
9564                     Laredo, LLC     14981   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESSARY,          Nueces Bay,
9565                                     20728   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESSARY,          Talen Texas
9566                                     26460   8/1/2022     Secured: $0.00
        CHRISTOPHER      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESSARY,          Talen Texas,
9567                                     32222   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9568    ESSERY, LOUISE                   8021    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9569    ESSERY, LOUISE   Laredo, LLC     13771   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1400 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9570    ESSERY, LOUISE                    19518   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9571    ESSERY, LOUISE                    25252   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9572    ESSERY, LOUISE                    31012   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESSEX INSURANCE Nueces Bay,
9573                                      2270    7/29/2022    Secured: $0.00
        COMPANY         LLC
                                                               General Unsecured: $284,000.00 + Unliquidated

                                                               Total: $284,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESSEX INSURANCE Barney Davis,
9574                                      37341   6/29/2022    Secured: $0.00
        COMPANY         LLC
                                                               General Unsecured: $284,000.00 + Unliquidated

                                                               Total: $284,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESSEX INSURANCE
9575                    Laredo, LLC       37355   6/29/2022    Secured: $0.00
        COMPANY
                                                               General Unsecured: $284,000.00 + Unliquidated

                                                               Total: $284,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9576    ESTALA, OPHELIA                   8365    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1401 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9577    ESTALA, OPHELIA Laredo, LLC       14115   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9578    ESTALA, OPHELIA                   19862   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9579    ESTALA, OPHELIA                   25595   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9580    ESTALA, OPHELIA                   31356   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESTEBAN,          Barney Davis,
9581                                      6755    8/1/2022     Secured: $0.00
        CHRISTINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESTEBAN,
9582                      Laredo, LLC     12505   8/1/2022     Secured: $0.00
        CHRISTINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ESTEBAN,          Nueces Bay,
9583                                      18252   8/1/2022     Secured: $0.00
        CHRISTINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1402 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEBAN,        Talen Texas
9584                                    23986   8/1/2022     Secured: $0.00
        CHRISTINE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEBAN,        Talen Texas,
9585                                    29746   8/1/2022     Secured: $0.00
        CHRISTINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEEM          Barney Davis,
9586                                    5923    8/1/2022     Secured: $0.00
        MARRIAGE, LLC   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEEM
9587                    Laredo, LLC     11673   8/1/2022     Secured: $0.00
        MARRIAGE, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEEM          Nueces Bay,
9588                                    17420   8/1/2022     Secured: $0.00
        MARRIAGE, LLC   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEEM          Talen Texas
9589                                    23165   8/1/2022     Secured: $0.00
        MARRIAGE, LLC   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ESTEEM          Talen Texas,
9590                                    28914   8/1/2022     Secured: $0.00
        MARRIAGE, LLC   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1403 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9591    ESTELL, BRIANA                   3990    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9592    ESTELL, BRIANA   Laredo, LLC     9740    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9593    ESTELL, BRIANA                   15487   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9594    ESTELL, BRIANA                   21233   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9595    ESTELL, BRIANA                   26981   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTEP, MARLENE Barney Davis,
9596                                     4477    8/1/2022     Secured: $0.00
        LILLI          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTEP, MARLENE
9597                   Laredo, LLC       10227   8/1/2022     Secured: $0.00
        LILLI
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1404 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTEP, MARLENE Nueces Bay,
9598                                     15974   8/1/2022     Secured: $0.00
        LILLI          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTEP, MARLENE Talen Texas
9599                                     21720   8/1/2022     Secured: $0.00
        LILLI          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTEP, MARLENE Talen Texas,
9600                                     27468   8/1/2022     Secured: $0.00
        LILLI          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9601    ESTES, CHARLES                   5960    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9602    ESTES, CHARLES   Laredo, LLC     11710   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9603    ESTES, CHARLES                   17457   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9604    ESTES, CHARLES                   23202   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1405 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9605    ESTES, CHARLES                   28951   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9606    ESTES, ROBIN                     5250    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9607    ESTES, ROBIN     Laredo, LLC     11000   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9608    ESTES, ROBIN                     16747   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9609    ESTES, ROBIN                     22492   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9610    ESTES, ROBIN                     28241   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9611    ESTES, TIM                       9009    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1406 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9612    ESTES, TIM       Laredo, LLC     14759   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9613    ESTES, TIM                       20506   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9614    ESTES, TIM                       26238   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9615    ESTES, TIM                       32000   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9616    ESTORGA, CAROL                   6654    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9617    ESTORGA, CAROL Laredo, LLC       12404   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9618    ESTORGA, CAROL                   18151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1407 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9619    ESTORGA, CAROL                    23885   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9620    ESTORGA, CAROL                    29645   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9621    ESTRADA, ADRIAN                   6291    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9622    ESTRADA, ADRIAN Laredo, LLC       12041   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9623    ESTRADA, ADRIAN                   17788   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9624    ESTRADA, ADRIAN                   23523   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9625    ESTRADA, ADRIAN                   29282   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1408 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9626    ESTRADA, LETICIA                   4425    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9627    ESTRADA, LETICIA Laredo, LLC       10175   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9628    ESTRADA, LETICIA                   15922   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9629    ESTRADA, LETICIA                   21668   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9630    ESTRADA, LETICIA                   27416   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9631    ESTRADA, MARIA                     8076    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9632    ESTRADA, MARIA Laredo, LLC         13826   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1409 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9633    ESTRADA, MARIA                   19573   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9634    ESTRADA, MARIA                   25307   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9635    ESTRADA, MARIA                   31067   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTRADA,         Barney Davis,
9636                                     8177    8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTRADA,
9637                     Laredo, LLC     13927   8/1/2022     Secured: $0.00
        MARYANN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTRADA,         Nueces Bay,
9638                                     19674   8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ESTRADA,         Talen Texas
9639                                     25408   8/1/2022     Secured: $0.00
        MARYANN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1410 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESTRADA,       Talen Texas,
9640                                   31168   8/1/2022     Secured: $0.00
        MARYANN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESTRELLA,      Barney Davis,
9641                                   8274    8/1/2022     Secured: $0.00
        MIRAYA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESTRELLA,
9642                   Laredo, LLC     14024   8/1/2022     Secured: $0.00
        MIRAYA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESTRELLA,      Nueces Bay,
9643                                   19771   8/1/2022     Secured: $0.00
        MIRAYA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESTRELLA,      Talen Texas
9644                                   25505   8/1/2022     Secured: $0.00
        MIRAYA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ESTRELLA,      Talen Texas,
9645                                   31265   8/1/2022     Secured: $0.00
        MIRAYA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ESURANCE                                            Priority: $0.00
9646    INSURANCE      Laredo, LLC     2450    7/31/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $9,233,406.86 + Unliquidated

                                                            Total: $9,233,406.86 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1411 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ESURANCE                                             Priority: $0.00
                        Barney Davis,
9647    INSURANCE                       2544    7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $9,233,406.86 + Unliquidated

                                                             Total: $9,233,406.86 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ESURANCE                                             Priority: $0.00
                        Nueces Bay,
9648    INSURANCE                       2762    7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $9,233,406.86 + Unliquidated

                                                             Total: $9,233,406.86 + Unliquidated
                                                             503(b)(9): $0.00
        ESURANCE                                             Other Administrative: $0.00
        PROPERTY AND                                         Priority: $0.00
                        Barney Davis,
9649    CASUALTY                        2653    7/31/2022    Secured: $0.00
                        LLC
        INSURANCE                                            General Unsecured: $303,641.32 + Unliquidated
        COMPANY
                                                             Total: $303,641.32 + Unliquidated
                                                             503(b)(9): $0.00
        ESURANCE                                             Other Administrative: $0.00
        PROPERTY AND                                         Priority: $0.00
9650    CASUALTY        Laredo, LLC     2724    7/31/2022    Secured: $0.00
        INSURANCE                                            General Unsecured: $303,641.32 + Unliquidated
        COMPANY
                                                             Total: $303,641.32 + Unliquidated
                                                             503(b)(9): $0.00
        ESURANCE                                             Other Administrative: $0.00
        PROPERTY AND                                         Priority: $0.00
                        Nueces Bay,
9651    CASUALTY                        2830    7/31/2022    Secured: $0.00
                        LLC
        INSURANCE                                            General Unsecured: $303,641.32 + Unliquidated
        COMPANY
                                                             Total: $303,641.32 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9652    ETHRIDGE, LOU                   8017    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9653    ETHRIDGE, LOU   Laredo, LLC     13767   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1412 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9654    ETHRIDGE, LOU                     19514   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9655    ETHRIDGE, LOU                     25248   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9656    ETHRIDGE, LOU                     31008   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9657    ETHRIDGE, PAULA                   8421    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9658    ETHRIDGE, PAULA Laredo, LLC       14171   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9659    ETHRIDGE, PAULA                   19918   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9660    ETHRIDGE, PAULA                   25651   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1413 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9661    ETHRIDGE, PAULA                   31412   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ETIENNE,          Barney Davis,
9662                                      8131    8/1/2022     Secured: $0.00
        MARLANA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ETIENNE,
9663                      Laredo, LLC     13881   8/1/2022     Secured: $0.00
        MARLANA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ETIENNE,          Nueces Bay,
9664                                      19628   8/1/2022     Secured: $0.00
        MARLANA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ETIENNE,          Talen Texas
9665                                      25362   8/1/2022     Secured: $0.00
        MARLANA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ETIENNE,          Talen Texas,
9666                                      31122   8/1/2022     Secured: $0.00
        MARLANA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9667    EUBANKS, CHUCK                    5541    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1414 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9668    EUBANKS, CHUCK Laredo, LLC       11291   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9669    EUBANKS, CHUCK                   17038   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9670    EUBANKS, CHUCK                   22783   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9671    EUBANKS, CHUCK                   28532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EUBANKS,         Barney Davis,
9672                                     8793    8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EUBANKS,
9673                     Laredo, LLC     14543   8/1/2022     Secured: $0.00
        SHARON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EUBANKS,         Nueces Bay,
9674                                     20290   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1415 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EUBANKS,         Talen Texas
9675                                     26022   8/1/2022     Secured: $0.00
        SHARON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        EUBANKS,         Talen Texas,
9676                                     31784   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9677    EVANS, DAVY J.                   3666    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9678    EVANS, DAVY J.   Laredo, LLC     9416    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9679    EVANS, DAVY J.                   15163   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9680    EVANS, DAVY J.                   20910   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9681    EVANS, DAVY J.                   26657   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1416 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9682    EVANS, DONALD                   7060    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9683    EVANS, DONALD   Laredo, LLC     12810   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9684    EVANS, DONALD                   18557   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9685    EVANS, DONALD                   24291   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9686    EVANS, DONALD                   30051   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EVANS, JERALD   Barney Davis,
9687                                    4273    8/1/2022     Secured: $0.00
        JEROME          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EVANS, JERALD
9688                    Laredo, LLC     10023   8/1/2022     Secured: $0.00
        JEROME
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1417 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EVANS, JERALD   Nueces Bay,
9689                                    15770   8/1/2022     Secured: $0.00
        JEROME          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EVANS, JERALD   Talen Texas
9690                                    21516   8/1/2022     Secured: $0.00
        JEROME          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        EVANS, JERALD   Talen Texas,
9691                                    27264   8/1/2022     Secured: $0.00
        JEROME          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9692    EVANS, JOEL                     4299    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9693    EVANS, JOEL     Laredo, LLC     10049   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9694    EVANS, JOEL                     15796   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9695    EVANS, JOEL                     21542   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1418 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9696    EVANS, JOEL                      27290   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9697    EVANS, KENDRAY                   7806    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9698    EVANS, KENDRAY Laredo, LLC       13556   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9699    EVANS, KENDRAY                   19303   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9700    EVANS, KENDRAY                   25037   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9701    EVANS, KENDRAY                   30797   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9702    EVANS, KENNY                     7820    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1419 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9703    EVANS, KENNY    Laredo, LLC     13570   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9704    EVANS, KENNY                    19317   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9705    EVANS, KENNY                    25051   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9706    EVANS, KENNY                    30811   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9707    EVANS, MARVIN                   8145    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9708    EVANS, MARVIN   Laredo, LLC     13895   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9709    EVANS, MARVIN                   19642   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1420 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9710    EVANS, MARVIN                    25376   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9711    EVANS, MARVIN                    31136   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9712    EVANS, MINERVA Laredo, LLC       32581   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9713    EVANS, MINERVA                   33572   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9714    EVANS, MINERVA                   34563   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9715    EVANS, MINERVA                   35554   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9716    EVANS, MINERVA                   36545   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1421 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9717    EVANS, NEQUAN                   5176    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9718    EVANS, NEQUAN Laredo, LLC       10926   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9719    EVANS, NEQUAN                   16673   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9720    EVANS, NEQUAN                   22418   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9721    EVANS, NEQUAN                   28167   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9722    EVANS, PAMELA                   5193    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9723    EVANS, PAMELA   Laredo, LLC     10943   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1422 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9724    EVANS, PAMELA                    16690   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9725    EVANS, PAMELA                    22435   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9726    EVANS, PAMELA                    28184   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9727    EVANS, RANDELL                   8489    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9728    EVANS, RANDELL Laredo, LLC       14239   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9729    EVANS, RANDELL                   19986   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9730    EVANS, RANDELL                   25718   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1423 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9731    EVANS, RANDELL                    31480   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9732    EVANS, SCKECHIA                   4663    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9733    EVANS, SCKECHIA Laredo, LLC       10413   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9734    EVANS, SCKECHIA                   16160   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9735    EVANS, SCKECHIA                   21906   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9736    EVANS, SCKECHIA                   27654   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9737    EVANS, TAMMY                      4717    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1424 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9738    EVANS, TAMMY   Laredo, LLC     10467   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9739    EVANS, TAMMY                   16214   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9740    EVANS, TAMMY                   21960   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9741    EVANS, TAMMY                   27708   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9742    EVANS, TERRE                   4724    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9743    EVANS, TERRE   Laredo, LLC     10474   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9744    EVANS, TERRE                   16221   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1425 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9745    EVANS, TERRE                   21967   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9746    EVANS, TERRE                   27715   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9747    EVANS, TROY                    9071    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9748    EVANS, TROY    Laredo, LLC     14821   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9749    EVANS, TROY                    20568   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9750    EVANS, TROY                    26300   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9751    EVANS, TROY                    32062   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1426 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        EVANSTON                                           Priority: $0.00
                      Nueces Bay,
9752    INSURANCE                     2140    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $12,462,333.21 + Unliquidated

                                                           Total: $12,462,333.21 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        EVANSTON                                           Priority: $0.00
9753    INSURANCE     Laredo, LLC     37344   6/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $12,462,333.21 + Unliquidated

                                                           Total: $12,462,333.21 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        EVANSTON                                           Priority: $0.00
                      Barney Davis,
9754    INSURANCE                     37358   6/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $12,462,333.21 + Unliquidated

                                                           Total: $12,462,333.21 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        EVEREST
                                                           Priority: $0.00
        INDEMNITY     Barney Davis,
9755                                  2513    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $73,294,601.19 + Unliquidated
        COMPANY
                                                           Total: $73,294,601.19 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        EVEREST
                                                           Priority: $0.00
        INDEMNITY     Nueces Bay,
9756                                  3487    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $73,294,601.19 + Unliquidated
        COMPANY
                                                           Total: $73,294,601.19 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        EVEREST
                                                           Priority: $0.00
        INDEMNITY
9757                  Laredo, LLC     3517    8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $73,294,601.19 + Unliquidated
        COMPANY
                                                           Total: $73,294,601.19 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1427 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        EVEREST
                                                             Priority: $0.00
        NATIONAL        Barney Davis,
9758                                    2796    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $16,766,907.36 + Unliquidated
        COMPANY
                                                             Total: $16,766,907.36 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        EVEREST
                                                             Priority: $0.00
        NATIONAL
9759                    Laredo, LLC     3491    8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $16,766,907.36 + Unliquidated
        COMPANY
                                                             Total: $16,766,907.36 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        EVEREST
                                                             Priority: $0.00
        NATIONAL        Nueces Bay,
9760                                    3526    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $16,766,907.36 + Unliquidated
        COMPANY
                                                             Total: $16,766,907.36 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9761    EVERETT, JUDY                   7710    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9762    EVERETT, JUDY   Laredo, LLC     13460   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9763    EVERETT, JUDY                   19207   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1428 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9764    EVERETT, JUDY                   24941   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9765    EVERETT, JUDY                   30701   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        EXACT PROPERTY                                       Priority: $0.00
                       Nueces Bay,
9766    AND CASUALTY                    3147    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        EXACT PROPERTY                                       Priority: $0.00
                       Barney Davis,
9767    AND CASUALTY                    3183    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        EXACT PROPERTY                                       Priority: $0.00
9768    AND CASUALTY   Laredo, LLC      3260    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9769    EYO, ASUQUO                     6469    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9770    EYO, ASUQUO     Laredo, LLC     12219   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1429 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9771    EYO, ASUQUO                        17966   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9772    EYO, ASUQUO                        23701   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9773    EYO, ASUQUO                        29460   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9774    E‐Z MOVING, INC.                   5924    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9775    E‐Z MOVING, INC. Laredo, LLC       11674   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9776    E‐Z MOVING, INC.                   17421   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9777    E‐Z MOVING, INC.                   23166   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1430 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9778    E‐Z MOVING, INC.                   28915   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9779    EZKOVICH, JAN                      5006    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9780    EZKOVICH, JAN      Laredo, LLC     10756   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9781    EZKOVICH, JAN                      16503   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9782    EZKOVICH, JAN                      22248   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9783    EZKOVICH, JAN                      27997   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9784    FABRO, MISTI       Laredo, LLC     32582   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1431 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9785    FABRO, MISTI                   33573   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9786    FABRO, MISTI                   34564   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9787    FABRO, MISTI                   35555   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9788    FABRO, MISTI                   36546   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FADEYI,        Barney Davis,
9789                                   7898    8/1/2022     Secured: $0.00
        LAMARILYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FADEYI,
9790                   Laredo, LLC     13648   8/1/2022     Secured: $0.00
        LAMARILYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FADEYI,        Nueces Bay,
9791                                   19395   8/1/2022     Secured: $0.00
        LAMARILYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1432 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FADEYI,           Talen Texas
9792                                      25129   8/1/2022     Secured: $0.00
        LAMARILYN         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FADEYI,           Talen Texas,
9793                                      30889   8/1/2022     Secured: $0.00
        LAMARILYN         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9794    FADIYIMU, MOSES                   4531    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9795    FADIYIMU, MOSES Laredo, LLC       10281   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9796    FADIYIMU, MOSES                   16028   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9797    FADIYIMU, MOSES                   21774   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9798    FADIYIMU, MOSES                   27522   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1433 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAGBAMILA,     Barney Davis,
9799                                   5574    8/1/2022     Secured: $0.00
        ABIMBOLA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAGBAMILA,
9800                   Laredo, LLC     11324   8/1/2022     Secured: $0.00
        ABIMBOLA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAGBAMILA,     Nueces Bay,
9801                                   17071   8/1/2022     Secured: $0.00
        ABIMBOLA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAGBAMILA,     Talen Texas
9802                                   22816   8/1/2022     Secured: $0.00
        ABIMBOLA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAGBAMILA,     Talen Texas,
9803                                   28565   8/1/2022     Secured: $0.00
        ABIMBOLA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9804    FAIAS, MARY    Laredo, LLC     32583   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9805    FAIAS, MARY                    33574   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1434 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9806    FAIAS, MARY                    34565   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9807    FAIAS, MARY                    35556   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
9808    FAIAS, MARY                    36547   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
9809    FAIR, SHARON                   5295    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
9810    FAIR, SHARON   Laredo, LLC     11045   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
9811    FAIR, SHARON                   16792   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
9812    FAIR, SHARON                   22537   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1435 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9813    FAIR, SHARON                    28286   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAIRCLOTH,      Barney Davis,
9814                                    4819    8/1/2022     Secured: $0.00
        ANITA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAIRCLOTH,
9815                    Laredo, LLC     10569   8/1/2022     Secured: $0.00
        ANITA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAIRCLOTH,      Nueces Bay,
9816                                    16316   8/1/2022     Secured: $0.00
        ANITA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAIRCLOTH,      Talen Texas
9817                                    22062   8/1/2022     Secured: $0.00
        ANITA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAIRCLOTH,      Talen Texas,
9818                                    27810   8/1/2022     Secured: $0.00
        ANITA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9819    FALCON, EDWARD Laredo, LLC      32584   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1436 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9820    FALCON, EDWARD                   33575   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9821    FALCON, EDWARD                   34566   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9822    FALCON, EDWARD                   35557   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9823    FALCON, EDWARD                   36548   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9824    FALCON, FRANK                    4972    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9825    FALCON, FRANK    Laredo, LLC     10722   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9826    FALCON, FRANK                    16469   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1437 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9827    FALCON, FRANK                   22214   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9828    FALCON, FRANK                   27963   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9829    FANG, ALBERT                    6307    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9830    FANG, ALBERT    Laredo, LLC     12057   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9831    FANG, ALBERT                    17804   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9832    FANG, ALBERT                    23539   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9833    FANG, ALBERT                    29298   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1438 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9834    FARIAS, ELIAS     Laredo, LLC     32585   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9835    FARIAS, ELIAS                     33576   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9836    FARIAS, ELIAS                     34567   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9837    FARIAS, ELIAS                     35558   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9838    FARIAS, ELIAS                     36549   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9839    FARILLAS, RENEE                   4599    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9840    FARILLAS, RENEE   Laredo, LLC     10349   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1439 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9841    FARILLAS, RENEE                   16096   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9842    FARILLAS, RENEE                   21842   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9843    FARILLAS, RENEE                   27590   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9844    FARLEY SR, JOHN                   7608    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9845    FARLEY SR, JOHN Laredo, LLC       13358   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9846    FARLEY SR, JOHN                   19105   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9847    FARLEY SR, JOHN                   24839   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1440 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9848    FARLEY SR, JOHN                   30599   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,           Barney Davis,
9849                                      5748    8/1/2022     Secured: $0.00
        BRANDON           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,
9850                      Laredo, LLC     11498   8/1/2022     Secured: $0.00
        BRANDON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,           Nueces Bay,
9851                                      17245   8/1/2022     Secured: $0.00
        BRANDON           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,           Talen Texas
9852                                      22990   8/1/2022     Secured: $0.00
        BRANDON           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,           Talen Texas,
9853                                      28739   8/1/2022     Secured: $0.00
        BRANDON           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9854    FARMER, JESSICA                   7554    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1441 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9855    FARMER, JESSICA Laredo, LLC       13304   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9856    FARMER, JESSICA                   19051   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9857    FARMER, JESSICA                   24785   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9858    FARMER, JESSICA                   30545   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,           Barney Davis,
9859                                      7857    8/1/2022     Secured: $0.00
        KIMSHAMDRA        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,
9860                      Laredo, LLC     13607   8/1/2022     Secured: $0.00
        KIMSHAMDRA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FARMER,           Nueces Bay,
9861                                      19354   8/1/2022     Secured: $0.00
        KIMSHAMDRA        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1442 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FARMER,          Talen Texas
9862                                     25088   8/1/2022     Secured: $0.00
        KIMSHAMDRA       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FARMER,          Talen Texas,
9863                                     30848   8/1/2022     Secured: $0.00
        KIMSHAMDRA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9864    FARMER, RICKEY                   8578    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9865    FARMER, RICKEY   Laredo, LLC     14328   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9866    FARMER, RICKEY                   20075   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
9867    FARMER, RICKEY                   25807   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9868    FARMER, RICKEY                   31569   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1443 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9869    FARMER, TRACY                   9057    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9870    FARMER, TRACY   Laredo, LLC     14807   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9871    FARMER, TRACY                   20554   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9872    FARMER, TRACY                   26286   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9873    FARMER, TRACY                   32048   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FARMERS
                                                             Priority: $0.00
        CASUALTY
9874                    Laredo, LLC     3176    8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FARMERS
                                                             Priority: $0.00
        CASUALTY        Barney Davis,
9875                                    3258    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1444 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS
                                                           Priority: $0.00
        CASUALTY        Nueces Bay,
9876                                   3266   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS DIRECT                                     Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Nueces Bay,
9877    CASUALTY                       2885   8/1/2022     Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS DIRECT                                     Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
9878    CASUALTY       Laredo, LLC     3186   8/1/2022     Secured: $0.00
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS DIRECT                                     Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Barney Davis,
9879    CASUALTY                       3285   8/1/2022     Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS GROUP                                      Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                      Nueces Bay,
9880    CASUALTY                       2900   8/1/2022     Secured: $0.00
                      LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS GROUP                                      Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                      Barney Davis,
9881    CASUALTY                       3051   8/1/2022     Secured: $0.00
                      LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS GROUP                                      Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
9882    CASUALTY      Laredo, LLC      3197   8/1/2022     Secured: $0.00
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1445 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS                                           Priority: $0.00
                      Nueces Bay,
9883    INSURANCE                     3177   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Nueces Bay,
9884                                  2961   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        ARIZONA
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE
9885                  Laredo, LLC     3205   8/1/2022     Secured: $0.00
        COMPANY OF
                                                          General Unsecured: $0.00 + Unliquidated
        ARIZONA
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Barney Davis,
9886                                  3268   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        ARIZONA
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Barney Davis,
9887                                  3042   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        COLUMBUS
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Nueces Bay,
9888                                  3087   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        COLUMBUS
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE
9889                  Laredo, LLC     3116   8/1/2022     Secured: $0.00
        COMPANY OF
                                                          General Unsecured: $0.00 + Unliquidated
        COLUMBUS
                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1446 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE
9890                  Laredo, LLC     3046   8/1/2022     Secured: $0.00
        COMPANY OF
                                                          General Unsecured: $0.00 + Unliquidated
        IDAHO
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Barney Davis,
9891                                  3180   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        IDAHO
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Nueces Bay,
9892                                  3227   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        IDAHO
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Barney Davis,
9893                                  3112   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        OREGON
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE
9894                  Laredo, LLC     3248   8/1/2022     Secured: $0.00
        COMPANY OF
                                                          General Unsecured: $0.00 + Unliquidated
        OREGON
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE     Nueces Bay,
9895                                  3250   8/1/2022     Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $0.00 + Unliquidated
        OREGON
                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FARMERS
                                                          Priority: $0.00
        INSURANCE
9896                  Laredo, LLC     3253   8/1/2022     Secured: $0.00
        COMPANY OF
                                                          General Unsecured: $0.00 + Unliquidated
        WASHINGTON
                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1447 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FARMERS
                                                            Priority: $0.00
        INSURANCE       Barney Davis,
9897                                    3256   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        WASHINGTON
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FARMERS
                                                            Priority: $0.00
        INSURANCE       Nueces Bay,
9898                                    3296   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        WASHINGTON
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FARMERS                                             Priority: $0.00
                        Barney Davis,
9899    INSURANCE                       2876   8/1/2022     Secured: $0.00
                        LLC
        COMPANY, INC.                                       General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FARMERS                                             Priority: $0.00
9900    INSURANCE       Laredo, LLC     3199   8/1/2022     Secured: $0.00
        COMPANY, INC.                                       General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FARMERS                                             Priority: $0.00
                        Barney Davis,
9901    INSURANCE                       2484   7/31/2022    Secured: $0.00
                        LLC
        EXCHANGE                                            General Unsecured: $20,717,737.73 + Unliquidated

                                                            Total: $20,717,737.73 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FARMERS                                             Priority: $0.00
9902    INSURANCE       Laredo, LLC     2897   7/31/2022    Secured: $0.00
        EXCHANGE                                            General Unsecured: $20,717,737.73 + Unliquidated

                                                            Total: $20,717,737.73 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1448 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS                                            Priority: $0.00
                        Nueces Bay,
9903    INSURANCE                      2938   7/31/2022    Secured: $0.00
                        LLC
        EXCHANGE                                           General Unsecured: $20,717,737.73 + Unliquidated

                                                           Total: $20,717,737.73 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS LLOYDS
                                                           Priority: $0.00
        INSURANCE      Barney Davis,
9904                                   2447   7/31/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        TEXAS
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS LLOYDS
                                                           Priority: $0.00
        INSURANCE
9905                   Laredo, LLC     2716   7/31/2022    Secured: $0.00
        COMPANY OF
                                                           General Unsecured: $0.00 + Unliquidated
        TEXAS
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS LLOYDS
                                                           Priority: $0.00
        INSURANCE      Nueces Bay,
9906                                   2946   7/31/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        TEXAS
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS NEW
                                                           Priority: $0.00
        CENTURY         Nueces Bay,
9907                                   3190   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS NEW
                                                           Priority: $0.00
        CENTURY
9908                    Laredo, LLC    3195   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1449 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS NEW
                                                           Priority: $0.00
        CENTURY        Barney Davis,
9909                                   3262   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS                                            Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Barney Davis,
9910    CASUALTY                       2501   7/31/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS                                            Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Nueces Bay,
9911    CASUALTY                       2703   7/31/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        FARMERS                                            Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
9912    CASUALTY       Laredo, LLC     2865   7/31/2022    Secured: $0.00
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS
                                                           Priority: $0.00
        SPECIALTY      Barney Davis,
9913                                   3148   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS
                                                           Priority: $0.00
        SPECIALTY      Nueces Bay,
9914                                   3216   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FARMERS
                                                           Priority: $0.00
        SPECIALTY
9915                   Laredo, LLC     3222   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1450 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FARMERS TEXAS
                                                              Priority: $0.00
        COUNTY MUTUAL
9916                  Laredo, LLC         2234   7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $190,486.88 + Unliquidated
        COMPANY
                                                              Total: $190,486.88 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FARMERS TEXAS
                                                              Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
9917                                      2695   7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                              General Unsecured: $190,486.88 + Unliquidated
        COMPANY
                                                              Total: $190,486.88 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FARMERS TEXAS
                                                              Priority: $0.00
        COUNTY MUTUAL Barney Davis,
9918                                      2714   7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                              General Unsecured: $190,486.88 + Unliquidated
        COMPANY
                                                              Total: $190,486.88 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FARMLAND ‐                                            Priority: $0.00
                          Nueces Bay,
9919    NATIONWIDE                        2517   7/31/2022    Secured: $0.00
                          LLC
        AGRIBUSINESS                                          General Unsecured: $10,331.00 + Unliquidated

                                                              Total: $10,331.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FARMLAND‐                                             Priority: $0.00
                          Barney Davis,
9920    NATIONWIDE                        2748   7/31/2022    Secured: $0.00
                          LLC
        AGRIBUSINESS                                          General Unsecured: $10,331.00 + Unliquidated

                                                              Total: $10,331.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FARMLAND‐                                             Priority: $0.00
9921    NATIONWIDE        Laredo, LLC     2757   7/31/2022    Secured: $0.00
        AGRIBUSINESS                                          General Unsecured: $10,331.00 + Unliquidated

                                                              Total: $10,331.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Barney Davis,
9922    FARRIS, MELINDA                   8197   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1451 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9923    FARRIS, MELINDA Laredo, LLC       13947   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9924    FARRIS, MELINDA                   19694   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9925    FARRIS, MELINDA                   25428   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9926    FARRIS, MELINDA                   31188   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FASSLER,          Barney Davis,
9927                                      8886    8/1/2022     Secured: $0.00
        STEPHEN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FASSLER,
9928                      Laredo, LLC     14636   8/1/2022     Secured: $0.00
        STEPHEN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FASSLER,          Nueces Bay,
9929                                      20383   8/1/2022     Secured: $0.00
        STEPHEN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1452 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FASSLER,       Talen Texas
9930                                   26115   8/1/2022     Secured: $0.00
        STEPHEN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FASSLER,       Talen Texas,
9931                                   31877   8/1/2022     Secured: $0.00
        STEPHEN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAUCHEAUX,     Barney Davis,
9932                                   7217    8/1/2022     Secured: $0.00
        EVELYNE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAUCHEAUX,
9933                   Laredo, LLC     12967   8/1/2022     Secured: $0.00
        EVELYNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAUCHEAUX,     Nueces Bay,
9934                                   18714   8/1/2022     Secured: $0.00
        EVELYNE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAUCHEAUX,     Talen Texas
9935                                   24448   8/1/2022     Secured: $0.00
        EVELYNE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FAUCHEAUX,     Talen Texas,
9936                                   30208   8/1/2022     Secured: $0.00
        EVELYNE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1453 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,     Barney Davis,
9937                                  4946    8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,
9938                  Laredo, LLC     10696   8/1/2022     Secured: $0.00
        DONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,     Nueces Bay,
9939                                  16443   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,     Talen Texas
9940                                  22188   8/1/2022     Secured: $0.00
        DONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,     Talen Texas,
9941                                  27937   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,     Barney Davis,
9942                                  5564    8/1/2022     Secured: $0.00
        RUSSELL W     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FAULKNER,
9943                  Laredo, LLC     11314   8/1/2022     Secured: $0.00
        RUSSELL W
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1454 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAULKNER,       Nueces Bay,
9944                                    17061   8/1/2022     Secured: $0.00
        RUSSELL W       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAULKNER,       Talen Texas
9945                                    22806   8/1/2022     Secured: $0.00
        RUSSELL W       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FAULKNER,       Talen Texas,
9946                                    28555   8/1/2022     Secured: $0.00
        RUSSELL W       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9947    FAUST, ALBERT   Laredo, LLC     32586   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9948    FAUST, ALBERT                   33577   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9949    FAUST, ALBERT                   34568   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9950    FAUST, ALBERT                   35559   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1455 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
9951    FAUST, ALBERT                    36550   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FCCI INSURANCE   Barney Davis,
9952                                     2441    7/31/2022    Secured: $0.00
        COMPANY          LLC
                                                              General Unsecured: $2,158,366.97 + Unliquidated

                                                              Total: $2,158,366.97 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FCCI INSURANCE   Nueces Bay,
9953                                     2587    7/31/2022    Secured: $0.00
        COMPANY          LLC
                                                              General Unsecured: $2,158,366.97 + Unliquidated

                                                              Total: $2,158,366.97 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FCCI INSURANCE
9954                     Laredo, LLC     2719    7/31/2022    Secured: $0.00
        COMPANY
                                                              General Unsecured: $2,158,366.97 + Unliquidated

                                                              Total: $2,158,366.97 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
9955    FEAGIN, DANIEL                   4081    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
9956    FEAGIN, DANIEL   Laredo, LLC     9831    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
9957    FEAGIN, DANIEL                   15578   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1456 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9958    FEAGIN, DANIEL                     21324   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9959    FEAGIN, DANIEL                     27072   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
9960    FEAGIN, SERENA A                   8772    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
9961    FEAGIN, SERENA A Laredo, LLC       14522   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
9962    FEAGIN, SERENA A                   20269   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
9963    FEAGIN, SERENA A                   26001   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
9964    FEAGIN, SERENA A                   31763   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1457 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9965    FEAGINS, SONJA                    4699    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9966    FEAGINS, SONJA    Laredo, LLC     10449   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9967    FEAGINS, SONJA                    16196   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9968    FEAGINS, SONJA                    21942   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9969    FEAGINS, SONJA                    27690   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
9970    FEARS, SONYA D.                   8857    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
9971    FEARS, SONYA D. Laredo, LLC       14607   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1458 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
9972    FEARS, SONYA D.                   20354   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
9973    FEARS, SONYA D.                   26086   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
9974    FEARS, SONYA D.                   31848   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FEDERAL                                                Priority: $0.00
                          Barney Davis,
9975    INSURANCE                         1925    7/30/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $28,848,793.67 + Unliquidated

                                                               Total: $28,848,793.67 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FEDERAL                                                Priority: $0.00
9976    INSURANCE         Laredo, LLC     2141    7/30/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $28,848,793.67 + Unliquidated

                                                               Total: $28,848,793.67 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FEDERAL                                                Priority: $0.00
                          Nueces Bay,
9977    INSURANCE                         2158    7/30/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $28,848,793.67 + Unliquidated

                                                               Total: $28,848,793.67 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1459 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        MUTUAL        Nueces Bay,
9978                                  2428    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $4,520,337.44 + Unliquidated
        COMPANY
                                                           Total: $4,520,337.44 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        MUTUAL
9979                  Laredo, LLC     37339   6/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $4,520,337.44 + Unliquidated
        COMPANY
                                                           Total: $4,520,337.44 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        MUTUAL        Barney Davis,
9980                                  37366   6/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $4,520,337.44 + Unliquidated
        COMPANY
                                                           Total: $4,520,337.44 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        RESERVE       Nueces Bay,
9981                                  2331    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $579,142.82 + Unliquidated
        COMPANY
                                                           Total: $579,142.82 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        RESERVE
9982                  Laredo, LLC     37340   6/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $579,142.82 + Unliquidated
        COMPANY
                                                           Total: $579,142.82 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        RESERVE       Barney Davis,
9983                                  37367   6/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $579,142.82 + Unliquidated
        COMPANY
                                                           Total: $579,142.82 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        SERVICE       Nueces Bay,
9984                                  2279    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $392,373.65 + Unliquidated
        COMPANY
                                                           Total: $392,373.65 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1460 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        SERVICE       Barney Davis,
9985                                  37318   6/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $392,373.65 + Unliquidated
        COMPANY
                                                           Total: $392,373.65 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FEDERATED
                                                           Priority: $0.00
        SERVICE
9986                  Laredo, LLC     37337   6/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $392,373.65 + Unliquidated
        COMPANY
                                                           Total: $392,373.65 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
9987    FELAN, MARK                   6159    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
9988    FELAN, MARK   Laredo, LLC     11909   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
9989    FELAN, MARK                   17656   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
9990    FELAN, MARK                   23401   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
9991    FELAN, MARK                   29150   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1461 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9992    FELDER, BRUCE                   6603    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9993    FELDER, BRUCE   Laredo, LLC     12353   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9994    FELDER, BRUCE                   18100   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
9995    FELDER, BRUCE                   23834   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
9996    FELDER, BRUCE                   29594   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
9997    FELDER, DEBRA   Laredo, LLC     32587   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
9998    FELDER, DEBRA                   33578   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1462 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
9999    FELDER, DEBRA                   34569   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10000   FELDER, DEBRA                   35560   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10001   FELDER, DEBRA                   36551   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10002   FELIX, MARY                     4489    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10003   FELIX, MARY     Laredo, LLC     10239   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10004   FELIX, MARY                     15986   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10005   FELIX, MARY                     21732   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1463 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10006   FELIX, MARY                      27480   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10007   FENNELL, LINDA                   4431    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10008   FENNELL, LINDA   Laredo, LLC     10181   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10009   FENNELL, LINDA                   15928   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10010   FENNELL, LINDA                   21674   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10011   FENNELL, LINDA                   27422   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FERGUSON JR,     Barney Davis,
10012                                    7576    8/1/2022     Secured: $0.00
        JIMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1464 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERGUSON JR,
10013                     Laredo, LLC     13326   8/1/2022     Secured: $0.00
        JIMMY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERGUSON JR,      Nueces Bay,
10014                                     19073   8/1/2022     Secured: $0.00
        JIMMY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERGUSON JR,      Talen Texas
10015                                     24807   8/1/2022     Secured: $0.00
        JIMMY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERGUSON JR,      Talen Texas,
10016                                     30567   8/1/2022     Secured: $0.00
        JIMMY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10017   FERNANDEZ, ERIC                   7182    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10018   FERNANDEZ, ERIC Laredo, LLC       12932   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10019   FERNANDEZ, ERIC                   18679   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1465 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10020   FERNANDEZ, ERIC                   24413   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10021   FERNANDEZ, ERIC                   30173   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERNANDEZ,        Barney Davis,
10022                                     5830    8/1/2022     Secured: $0.00
        MANNY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERNANDEZ,
10023                     Laredo, LLC     11580   8/1/2022     Secured: $0.00
        MANNY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERNANDEZ,        Nueces Bay,
10024                                     17327   8/1/2022     Secured: $0.00
        MANNY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERNANDEZ,        Talen Texas
10025                                     23072   8/1/2022     Secured: $0.00
        MANNY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FERNANDEZ,        Talen Texas,
10026                                     28821   8/1/2022     Secured: $0.00
        MANNY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1466 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDEZ,    Barney Davis,
10027                                 8227    8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDEZ,
10028                 Laredo, LLC     13977   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDEZ,    Nueces Bay,
10029                                 19724   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDEZ,    Talen Texas
10030                                 25458   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDEZ,    Talen Texas,
10031                                 31218   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDO,     Barney Davis,
10032                                 7047    8/1/2022     Secured: $0.00
        DIHAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDO,
10033                 Laredo, LLC     12797   8/1/2022     Secured: $0.00
        DIHAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1467 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDO,     Nueces Bay,
10034                                 18544   8/1/2022     Secured: $0.00
        DIHAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDO,     Talen Texas
10035                                 24278   8/1/2022     Secured: $0.00
        DIHAN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERNANDO,     Talen Texas,
10036                                 30038   8/1/2022     Secured: $0.00
        DIHAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERRELL,      Barney Davis,
10037                                 5378    8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERRELL,
10038                 Laredo, LLC     11128   8/1/2022     Secured: $0.00
        YOLANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERRELL,      Nueces Bay,
10039                                 16875   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FERRELL,      Talen Texas
10040                                 22620   8/1/2022     Secured: $0.00
        YOLANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1468 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FERRELL,        Talen Texas,
10041                                   28369   8/1/2022     Secured: $0.00
        YOLANDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10042   FERREN, CANDY                   4001    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10043   FERREN, CANDY   Laredo, LLC     9751    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10044   FERREN, CANDY                   15498   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10045   FERREN, CANDY                   21244   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10046   FERREN, CANDY                   26992   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FESCZENKO,      Barney Davis,
10047                                   8447    8/1/2022     Secured: $0.00
        PHILIP          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1469 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESCZENKO,
10048                 Laredo, LLC     14197   8/1/2022     Secured: $0.00
        PHILIP
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESCZENKO,    Nueces Bay,
10049                                 19944   8/1/2022     Secured: $0.00
        PHILIP        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESCZENKO,    Talen Texas
10050                                 25677   8/1/2022     Secured: $0.00
        PHILIP        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESCZENKO,    Talen Texas,
10051                                 31438   8/1/2022     Secured: $0.00
        PHILIP        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESSENDEN,    Barney Davis,
10052                                 4008    8/1/2022     Secured: $0.00
        CAROL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESSENDEN,
10053                 Laredo, LLC     9758    8/1/2022     Secured: $0.00
        CAROL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FESSENDEN,    Nueces Bay,
10054                                 15505   8/1/2022     Secured: $0.00
        CAROL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1470 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FESSENDEN,     Talen Texas
10055                                  21251   8/1/2022     Secured: $0.00
        CAROL          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FESSENDEN,     Talen Texas,
10056                                  26999   8/1/2022     Secured: $0.00
        CAROL          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10057   FEW, DEBORAH                   6964    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10058   FEW, DEBORAH   Laredo, LLC     12714   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10059   FEW, DEBORAH                   18461   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10060   FEW, DEBORAH                   24195   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10061   FEW, DEBORAH                   29955   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1471 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10062   FEW, JONATHIAN                   7647    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10063   FEW, JONATHIAN Laredo, LLC       13397   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10064   FEW, JONATHIAN                   19144   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10065   FEW, JONATHIAN                   24878   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10066   FEW, JONATHIAN                   30638   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FIDELIS
                                                              Priority: $0.00
        INSURANCE        Barney Davis,
10067                                    3307    8/1/2022     Secured: $0.00
        BERMUDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FIDELIS
                                                              Priority: $0.00
        INSURANCE
10068                    Laredo, LLC     3443    8/1/2022     Secured: $0.00
        BERMUDA
                                                              General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1472 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELIS
                                                            Priority: $0.00
        INSURANCE
10069                  Laredo, LLC     3470    8/1/2022     Secured: $0.00
        BERMUDA
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELIS
                                                            Priority: $0.00
        INSURANCE      Nueces Bay,
10070                                  3473    8/1/2022     Secured: $0.00
        BERMUDA        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELIS
                                                            Priority: $0.00
        INSURANCE      Barney Davis,
10071                                  3478    8/1/2022     Secured: $0.00
        BERMUDA        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELIS
                                                            Priority: $0.00
        INSURANCE      Nueces Bay,
10072                                  3488    8/1/2022     Secured: $0.00
        BERMUDA        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY                                            Priority: $0.00
10073   ACCOUNT        Laredo, LLC     32588   8/1/2022     Secured: $0.00
        SERVICES LLC                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY                                            Priority: $0.00
                       Barney Davis,
10074   ACCOUNT                        33579   8/1/2022     Secured: $0.00
                       LLC
        SERVICES LLC                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY                                            Priority: $0.00
                       Nueces Bay,
10075   ACCOUNT                        34570   8/1/2022     Secured: $0.00
                       LLC
        SERVICES LLC                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1473 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY                                            Priority: $0.00
                       Talen Texas
10076   ACCOUNT                        35561   8/1/2022     Secured: $0.00
                       Group, LLC
        SERVICES LLC                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY                                            Priority: $0.00
                       Talen Texas,
10077   ACCOUNT                        36552   8/1/2022     Secured: $0.00
                       LLC
        SERVICES LLC                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY AND
                                                            Priority: $0.00
        DEPOSIT        Barney Davis,
10078                                  1286    7/28/2022    Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $829.59 + Unliquidated
        MARYLAND
                                                            Total: $829.59 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY AND
                                                            Priority: $0.00
        DEPOSIT
10079                  Laredo, LLC     1304    7/28/2022    Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $829.59 + Unliquidated
        MARYLAND
                                                            Total: $829.59 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY AND
                                                            Priority: $0.00
        DEPOSIT        Nueces Bay,
10080                                  1321    7/28/2022    Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $829.59 + Unliquidated
        MARYLAND
                                                            Total: $829.59 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY AND
                                                            Priority: $0.00
        GUARANTY
10081                  Laredo, LLC     1584    7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FIDELITY AND
                                                            Priority: $0.00
        GUARANTY       Nueces Bay,
10082                                  2326    7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1474 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        FIDELITY AND
                                                                Priority: $0.00
        GUARANTY           Barney Davis,
10083                                      2415    7/30/2022    Secured: $0.00
        INSURANCE          LLC
                                                                General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10084   FIELD, CHARLOTTE                   6084    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10085   FIELD, CHARLOTTE Laredo, LLC       11834   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10086   FIELD, CHARLOTTE                   17581   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10087   FIELD, CHARLOTTE                   23326   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10088   FIELD, CHARLOTTE                   29075   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10089   FIELD, EILEEN                      4157    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1475 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10090   FIELD, EILEEN   Laredo, LLC     9907    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10091   FIELD, EILEEN                   15654   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10092   FIELD, EILEEN                   21400   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10093   FIELD, EILEEN                   27148   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10094   FIELDS, D'EVA                   7020    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10095   FIELDS, D'EVA   Laredo, LLC     12770   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10096   FIELDS, D'EVA                   18517   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1476 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10097   FIELDS, D'EVA                   24251   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10098   FIELDS, D'EVA                   30011   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10099   FIELDS, JERRY   Laredo, LLC     32589   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10100   FIELDS, JERRY                   33580   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10101   FIELDS, JERRY                   34571   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10102   FIELDS, JERRY                   35562   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10103   FIELDS, JERRY                   36553   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1477 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10104   FIELDS, SOPHIA                   8862    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10105   FIELDS, SOPHIA   Laredo, LLC     14612   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10106   FIELDS, SOPHIA                   20359   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10107   FIELDS, SOPHIA                   26091   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10108   FIELDS, SOPHIA                   31853   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10109   FIFER, ROBBYE                    4621    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10110   FIFER, ROBBYE    Laredo, LLC     10371   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1478 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10111   FIFER, ROBBYE                   16118   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10112   FIFER, ROBBYE                   21864   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10113   FIFER, ROBBYE                   27612   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIGUEROA,       Barney Davis,
10114                                   3940    8/1/2022     Secured: $0.00
        ANTONIO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIGUEROA,
10115                   Laredo, LLC     9690    8/1/2022     Secured: $0.00
        ANTONIO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIGUEROA,       Nueces Bay,
10116                                   15437   8/1/2022     Secured: $0.00
        ANTONIO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIGUEROA,       Talen Texas
10117                                   21183   8/1/2022     Secured: $0.00
        ANTONIO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1479 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FIGUEROA,      Talen Texas,
10118                                  26931   8/1/2022     Secured: $0.00
        ANTONIO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FIGUEROA,      Barney Davis,
10119                                  8749    8/1/2022     Secured: $0.00
        SANTOS         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FIGUEROA,
10120                  Laredo, LLC     14499   8/1/2022     Secured: $0.00
        SANTOS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FIGUEROA,      Nueces Bay,
10121                                  20246   8/1/2022     Secured: $0.00
        SANTOS         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FIGUEROA,      Talen Texas
10122                                  25978   8/1/2022     Secured: $0.00
        SANTOS         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FIGUEROA,      Talen Texas,
10123                                  31740   8/1/2022     Secured: $0.00
        SANTOS         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FILIPPELLI,    Barney Davis,
10124                                  7705    8/1/2022     Secured: $0.00
        JUANICE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1480 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FILIPPELLI,
10125                     Laredo, LLC     13455   8/1/2022     Secured: $0.00
        JUANICE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FILIPPELLI,       Nueces Bay,
10126                                     19202   8/1/2022     Secured: $0.00
        JUANICE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FILIPPELLI,       Talen Texas
10127                                     24936   8/1/2022     Secured: $0.00
        JUANICE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FILIPPELLI,       Talen Texas,
10128                                     30696   8/1/2022     Secured: $0.00
        JUANICE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10129   FINCH, BOBBIE M                   3973    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10130   FINCH, BOBBIE M Laredo, LLC       9723    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10131   FINCH, BOBBIE M                   15470   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1481 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10132   FINCH, BOBBIE M                   21216   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10133   FINCH, BOBBIE M                   26964   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10134   FINCH, SHALEA                     5287    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10135   FINCH, SHALEA     Laredo, LLC     11037   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10136   FINCH, SHALEA                     16784   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10137   FINCH, SHALEA                     22529   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10138   FINCH, SHALEA                     28278   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1482 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10139   FINCK, ROGER   Laredo, LLC     32590   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10140   FINCK, ROGER                   33581   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10141   FINCK, ROGER                   34572   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10142   FINCK, ROGER                   35563   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10143   FINCK, ROGER                   36554   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10144   FINN, ANN                      9206    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10145   FINN, ANN      Laredo, LLC     14956   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1483 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10146   FINN, ANN                       20703   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10147   FINN, ANN                       26435   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10148   FINN, ANN                       32197   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10149   FINNETT, PAUL                   8408    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10150   FINNETT, PAUL   Laredo, LLC     14158   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10151   FINNETT, PAUL                   19905   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10152   FINNETT, PAUL                   25638   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1484 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10153   FINNETT, PAUL                   31399   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10154   FINNEY, FINN                    7231    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10155   FINNEY, FINN    Laredo, LLC     12981   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10156   FINNEY, FINN                    18728   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10157   FINNEY, FINN                    24462   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10158   FINNEY, FINN                    30222   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1485 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIRE INSURANCE   Barney Davis,
10159                                    2518   7/31/2022    Secured: $0.00
        EXCHANGE         LLC
                                                             General Unsecured: $18,943,706.40 + Unliquidated

                                                             Total: $18,943,706.40 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIRE INSURANCE
10160                    Laredo, LLC     2520   7/31/2022    Secured: $0.00
        EXCHANGE
                                                             General Unsecured: $18,943,706.40 + Unliquidated

                                                             Total: $18,943,706.40 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FIRE INSURANCE   Nueces Bay,
10161                                    2939   7/31/2022    Secured: $0.00
        EXCHANGE         LLC
                                                             General Unsecured: $18,943,706.40 + Unliquidated

                                                             Total: $18,943,706.40 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FIREMAN'S FUND                                       Priority: $0.00
10162   INSURANCE      Laredo, LLC       1202   7/28/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $15,609,550.00 + Unliquidated

                                                             Total: $15,609,550.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FIREMAN'S FUND                                       Priority: $0.00
                       Barney Davis,
10163   INSURANCE                        1241   7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $15,609,550.00 + Unliquidated

                                                             Total: $15,609,550.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FIREMAN'S FUND                                       Priority: $0.00
                       Nueces Bay,
10164   INSURANCE                        1283   7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $15,609,550.00 + Unliquidated

                                                             Total: $15,609,550.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1486 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
        FIREMEN'S                                         Other Administrative: $0.00
        INSURANCE                                         Priority: $0.00
                      Nueces Bay,
10165   COMPANY OF                    2657   8/1/2022     Secured: $0.00
                      LLC
        WASHINGTON,                                       General Unsecured: $67,040.10 + Unliquidated
        D.C.
                                                          Total: $67,040.10 + Unliquidated
                                                          503(b)(9): $0.00
        FIREMEN'S                                         Other Administrative: $0.00
        INSURANCE                                         Priority: $0.00
                      Barney Davis,
10166   COMPANY OF                    2663   8/1/2022     Secured: $0.00
                      LLC
        WASHINGTON,                                       General Unsecured: $67,040.10 + Unliquidated
        D.C.
                                                          Total: $67,040.10 + Unliquidated
                                                          503(b)(9): $0.00
        FIREMEN'S                                         Other Administrative: $0.00
        INSURANCE                                         Priority: $0.00
10167   COMPANY OF    Laredo, LLC     2908   8/1/2022     Secured: $0.00
        WASHINGTON,                                       General Unsecured: $67,040.10 + Unliquidated
        D.C.
                                                          Total: $67,040.10 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FIRST
                                                          Priority: $0.00
        COMMUNITY
10168                 Laredo, LLC     2353   7/30/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $9,845,613.00 + Unliquidated
        COMPANY
                                                          Total: $9,845,613.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FIRST
                                                          Priority: $0.00
        COMMUNITY     Barney Davis,
10169                                 2543   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $9,845,613.00 + Unliquidated
        COMPANY
                                                          Total: $9,845,613.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        FIRST
                                                          Priority: $0.00
        COMMUNITY     Nueces Bay,
10170                                 2553   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $9,845,613.00 + Unliquidated
        COMPANY
                                                          Total: $9,845,613.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1487 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FIRST SPECIALTY                                        Priority: $0.00
10171   INSURANCE         Laredo, LLC     1482    7/29/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $26,091,698.14 + Unliquidated

                                                               Total: $26,091,698.14 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FIRST SPECIALTY                                        Priority: $0.00
                          Nueces Bay,
10172   INSURANCE                         1627    7/29/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $26,091,698.14 + Unliquidated

                                                               Total: $26,091,698.14 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FIRST SPECIALTY                                        Priority: $0.00
                          Barney Davis,
10173   INSURANCE                         2019    7/29/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $26,091,698.14 + Unliquidated

                                                               Total: $26,091,698.14 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FISCHER,          Barney Davis,
10174                                     5762    8/1/2022     Secured: $0.00
        CHRISTAL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FISCHER,
10175                     Laredo, LLC     11512   8/1/2022     Secured: $0.00
        CHRISTAL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FISCHER,          Nueces Bay,
10176                                     17259   8/1/2022     Secured: $0.00
        CHRISTAL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1488 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISCHER,       Talen Texas
10177                                  23004   8/1/2022     Secured: $0.00
        CHRISTAL       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISCHER,       Talen Texas,
10178                                  28753   8/1/2022     Secured: $0.00
        CHRISTAL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISH TRADING   Barney Davis,
10179                                  5651    8/1/2022     Secured: $0.00
        LTD.           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISH TRADING
10180                  Laredo, LLC     11401   8/1/2022     Secured: $0.00
        LTD.
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISH TRADING   Nueces Bay,
10181                                  17148   8/1/2022     Secured: $0.00
        LTD.           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISH TRADING   Talen Texas
10182                                  22893   8/1/2022     Secured: $0.00
        LTD.           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FISH TRADING   Talen Texas,
10183                                  28642   8/1/2022     Secured: $0.00
        LTD.           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1489 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10184   FISHER, ALFRA                    6327    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10185   FISHER, ALFRA    Laredo, LLC     12077   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10186   FISHER, ALFRA                    17824   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10187   FISHER, ALFRA                    23559   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10188   FISHER, ALFRA                    29318   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10189   FISHER, SYLVIA                   8916    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10190   FISHER, SYLVIA   Laredo, LLC     14666   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1490 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10191   FISHER, SYLVIA                   20413   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10192   FISHER, SYLVIA                   26145   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10193   FISHER, SYLVIA                   31907   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10194   FISHER, TONYA                    9049    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10195   FISHER, TONYA    Laredo, LLC     14799   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10196   FISHER, TONYA                    20546   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10197   FISHER, TONYA                    26278   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1491 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10198   FISHER, TONYA                     32040   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10199   FISHER, WHITNEY                   9342    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10200   FISHER, WHITNEY Laredo, LLC       15092   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10201   FISHER, WHITNEY                   20839   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10202   FISHER, WHITNEY                   26571   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10203   FISHER, WHITNEY                   32333   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10204   FISK, STACEY                      8865    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1492 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10205   FISK, STACEY   Laredo, LLC     14615   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10206   FISK, STACEY                   20362   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10207   FISK, STACEY                   26094   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10208   FISK, STACEY                   31856   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Barney Davis,
10209                                  4408    8/1/2022     Secured: $0.00
        LATANYA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,
10210                  Laredo, LLC     10158   8/1/2022     Secured: $0.00
        LATANYA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Nueces Bay,
10211                                  15905   8/1/2022     Secured: $0.00
        LATANYA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1493 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Talen Texas
10212                                  21651   8/1/2022     Secured: $0.00
        LATANYA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Talen Texas,
10213                                  27399   8/1/2022     Secured: $0.00
        LATANYA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Barney Davis,
10214                                  3704    8/1/2022     Secured: $0.00
        SANDRA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,
10215                  Laredo, LLC     9454    8/1/2022     Secured: $0.00
        SANDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Nueces Bay,
10216                                  15201   8/1/2022     Secured: $0.00
        SANDRA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Talen Texas
10217                                  20948   8/1/2022     Secured: $0.00
        SANDRA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZGERALD,    Talen Texas,
10218                                  26695   8/1/2022     Secured: $0.00
        SANDRA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1494 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZPATRICK,   Barney Davis,
10219                                  8287    8/1/2022     Secured: $0.00
        MONICA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZPATRICK,
10220                  Laredo, LLC     14037   8/1/2022     Secured: $0.00
        MONICA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZPATRICK,   Nueces Bay,
10221                                  19784   8/1/2022     Secured: $0.00
        MONICA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZPATRICK,   Talen Texas
10222                                  25518   8/1/2022     Secured: $0.00
        MONICA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FITZPATRICK,   Talen Texas,
10223                                  31278   8/1/2022     Secured: $0.00
        MONICA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FLANAGAN,      Barney Davis,
10224                                  7050    8/1/2022     Secured: $0.00
        DJUANA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FLANAGAN,
10225                  Laredo, LLC     12800   8/1/2022     Secured: $0.00
        DJUANA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1495 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,     Nueces Bay,
10226                                 18547   8/1/2022     Secured: $0.00
        DJUANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,     Talen Texas
10227                                 24281   8/1/2022     Secured: $0.00
        DJUANA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,     Talen Texas,
10228                                 30041   8/1/2022     Secured: $0.00
        DJUANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,     Barney Davis,
10229                                 4241    8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,
10230                 Laredo, LLC     9991    8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,     Nueces Bay,
10231                                 15738   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLANAGAN,     Talen Texas
10232                                 21484   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1496 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLANAGAN,        Talen Texas,
10233                                    27232   8/1/2022     Secured: $0.00
        JAMES            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10234   FLANAGAN, JOEL                   4300    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10235   FLANAGAN, JOEL Laredo, LLC       10050   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10236   FLANAGAN, JOEL                   15797   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10237   FLANAGAN, JOEL                   21543   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10238   FLANAGAN, JOEL                   27291   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLANAGAN,        Barney Davis,
10239                                    4341    8/1/2022     Secured: $0.00
        JUDAH BEN        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1497 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANAGAN,
10240                   Laredo, LLC     10091   8/1/2022     Secured: $0.00
        JUDAH BEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANAGAN,       Nueces Bay,
10241                                   15838   8/1/2022     Secured: $0.00
        JUDAH BEN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANAGAN,       Talen Texas
10242                                   21584   8/1/2022     Secured: $0.00
        JUDAH BEN       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANAGAN,       Talen Texas,
10243                                   27332   8/1/2022     Secured: $0.00
        JUDAH BEN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10244   FLANAGAN, KAY                   7783    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10245   FLANAGAN, KAY   Laredo, LLC     13533   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10246   FLANAGAN, KAY                   19280   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1498 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10247   FLANAGAN, KAY                   25014   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10248   FLANAGAN, KAY                   30774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANDERS,       Barney Davis,
10249                                   4890    8/1/2022     Secured: $0.00
        CHARLES         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANDERS,
10250                   Laredo, LLC     10640   8/1/2022     Secured: $0.00
        CHARLES
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANDERS,       Nueces Bay,
10251                                   16387   8/1/2022     Secured: $0.00
        CHARLES         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANDERS,       Talen Texas
10252                                   22132   8/1/2022     Secured: $0.00
        CHARLES         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLANDERS,       Talen Texas,
10253                                   27881   8/1/2022     Secured: $0.00
        CHARLES         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1499 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10254   FLANNIGAN, LEAH                   4416    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10255   FLANNIGAN, LEAH Laredo, LLC       10166   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10256   FLANNIGAN, LEAH                   15913   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10257   FLANNIGAN, LEAH                   21659   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10258   FLANNIGAN, LEAH                   27407   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLEMING,
10259                     Laredo, LLC     32591   8/1/2022     Secured: $0.00
        MAURICE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLEMING,          Barney Davis,
10260                                     33582   8/1/2022     Secured: $0.00
        MAURICE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1500 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLEMING,         Nueces Bay,
10261                                    34573   8/1/2022     Secured: $0.00
        MAURICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLEMING,         Talen Texas
10262                                    35564   8/1/2022     Secured: $0.00
        MAURICE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLEMING,         Talen Texas,
10263                                    36555   8/1/2022     Secured: $0.00
        MAURICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10264   FLETCHER, ANNE                   6417    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10265   FLETCHER, ANNE Laredo, LLC       12167   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10266   FLETCHER, ANNE                   17914   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10267   FLETCHER, ANNE                   23649   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1501 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10268   FLETCHER, ANNE                   29408   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLICKINGER,      Barney Davis,
10269                                    8566    8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLICKINGER,
10270                    Laredo, LLC     14316   8/1/2022     Secured: $0.00
        RICHARD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLICKINGER,      Nueces Bay,
10271                                    20063   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLICKINGER,      Talen Texas
10272                                    25795   8/1/2022     Secured: $0.00
        RICHARD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLICKINGER,      Talen Texas,
10273                                    31557   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10274   FLORES, ABEL                     6282    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1502 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10275   FLORES, ABEL   Laredo, LLC     12032   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10276   FLORES, ABEL                   17779   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10277   FLORES, ABEL                   23514   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10278   FLORES, ABEL                   29273   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10279   FLORES, AIDA   Laredo, LLC     32592   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10280   FLORES, AIDA                   33583   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10281   FLORES, AIDA                   34574   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1503 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10282   FLORES, AIDA                    35565   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10283   FLORES, AIDA                    36556   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10284   FLORES, ANITA   Laredo, LLC     32593   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10285   FLORES, ANITA                   33584   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10286   FLORES, ANITA                   34575   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10287   FLORES, ANITA                   35566   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10288   FLORES, ANITA                   36557   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1504 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10289   FLORES, AUTUMN Laredo, LLC       32594   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10290   FLORES, AUTUMN                   33585   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10291   FLORES, AUTUMN                   34576   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10292   FLORES, AUTUMN                   35567   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10293   FLORES, AUTUMN                   36558   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10294   FLORES, BECKY    Laredo, LLC     32595   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10295   FLORES, BECKY                    33586   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1505 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10296   FLORES, BECKY                    34577   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10297   FLORES, BECKY                    35568   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10298   FLORES, BECKY                    36559   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10299   FLORES, BLANCA   Laredo, LLC     32596   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10300   FLORES, BLANCA                   33587   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10301   FLORES, BLANCA                   34578   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10302   FLORES, BLANCA                   35569   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1506 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10303   FLORES, BLANCA                   36560   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Barney Davis,
10304                                    6748    8/1/2022     Secured: $0.00
        CHRISTINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Barney Davis,
10305                                    6749    8/1/2022     Secured: $0.00
        CHRISTINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,
10306                    Laredo, LLC     12498   8/1/2022     Secured: $0.00
        CHRISTINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,
10307                    Laredo, LLC     12499   8/1/2022     Secured: $0.00
        CHRISTINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Nueces Bay,
10308                                    18245   8/1/2022     Secured: $0.00
        CHRISTINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Nueces Bay,
10309                                    18246   8/1/2022     Secured: $0.00
        CHRISTINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1507 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLORES,         Talen Texas
10310                                   23979   8/1/2022     Secured: $0.00
        CHRISTINA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLORES,         Talen Texas
10311                                   23980   8/1/2022     Secured: $0.00
        CHRISTINA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLORES,         Talen Texas,
10312                                   29739   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLORES,         Talen Texas,
10313                                   29740   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10314   FLORES, CLARA   Laredo, LLC     32597   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10315   FLORES, CLARA                   33588   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10316   FLORES, CLARA                   34579   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1508 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10317   FLORES, CLARA                   35570   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10318   FLORES, CLARA                   36561   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10319   FLORES, ELIA                    9256    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10320   FLORES, ELIA    Laredo, LLC     15006   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10321   FLORES, ELIA                    20753   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10322   FLORES, ELIA                    26485   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10323   FLORES, ELIA                    32247   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1509 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10324   FLORES, FREDRICK                   6112    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10325   FLORES, FREDRICK Laredo, LLC       11862   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10326   FLORES, FREDRICK                   17609   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10327   FLORES, FREDRICK                   23354   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10328   FLORES, FREDRICK                   29103   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10329   FLORES, ISMAEL                     7402    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10330   FLORES, ISMAEL     Laredo, LLC     13152   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1510 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10331   FLORES, ISMAEL                   18899   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10332   FLORES, ISMAEL                   24633   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10333   FLORES, ISMAEL                   30393   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10334   FLORES, JACOB                    7420    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10335   FLORES, JACOB    Laredo, LLC     13170   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10336   FLORES, JACOB                    18917   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10337   FLORES, JACOB                    24651   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1511 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10338   FLORES, JACOB                   30411   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10339   FLORES, JESUS                   5804    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10340   FLORES, JESUS   Laredo, LLC     11554   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10341   FLORES, JESUS                   17301   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10342   FLORES, JESUS                   23046   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10343   FLORES, JESUS                   28795   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10344   FLORES, JOSE                    5722    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1512 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10345   FLORES, JOSE     Laredo, LLC     11472   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10346   FLORES, JOSE                     17219   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10347   FLORES, JOSE                     22964   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10348   FLORES, JOSE                     28713   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10349   FLORES, LONNIE                   8011    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10350   FLORES, LONNIE   Laredo, LLC     13761   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10351   FLORES, LONNIE                   19508   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1513 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10352   FLORES, LONNIE                   25242   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10353   FLORES, LONNIE                   31002   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,
10354                    Laredo, LLC     32598   8/1/2022     Secured: $0.00
        MARICRUZ
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Barney Davis,
10355                                    33589   8/1/2022     Secured: $0.00
        MARICRUZ         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Nueces Bay,
10356                                    34580   8/1/2022     Secured: $0.00
        MARICRUZ         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Talen Texas
10357                                    35571   8/1/2022     Secured: $0.00
        MARICRUZ         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FLORES,          Talen Texas,
10358                                    36562   8/1/2022     Secured: $0.00
        MARICRUZ         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1514 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10359   FLORES, PORFIRIO                   8460    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10360   FLORES, PORFIRIO Laredo, LLC       14210   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10361   FLORES, PORFIRIO                   19957   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10362   FLORES, PORFIRIO                   25690   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10363   FLORES, PORFIRIO                   31451   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10364   FLORES, RAFAEL     Laredo, LLC     32599   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10365   FLORES, RAFAEL                     33590   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1515 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10366   FLORES, RAFAEL                   34581   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10367   FLORES, RAFAEL                   35572   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10368   FLORES, RAFAEL                   36563   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10369   FLORES, RAUL                     4589    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10370   FLORES, RAUL     Laredo, LLC     10339   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10371   FLORES, RAUL                     16086   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10372   FLORES, RAUL                     21832   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1516 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10373   FLORES, RAUL                      27580   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLORES,           Barney Davis,
10374                                     8507    8/1/2022     Secured: $0.00
        RAYMOND           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLORES,
10375                     Laredo, LLC     14257   8/1/2022     Secured: $0.00
        RAYMOND
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLORES,           Nueces Bay,
10376                                     20004   8/1/2022     Secured: $0.00
        RAYMOND           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLORES,           Talen Texas
10377                                     25736   8/1/2022     Secured: $0.00
        RAYMOND           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FLORES,           Talen Texas,
10378                                     31498   8/1/2022     Secured: $0.00
        RAYMOND           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10379   FLORES, REBECCA                   4594    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1517 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10380   FLORES, REBECCA Laredo, LLC       10344   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10381   FLORES, REBECCA                   16091   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10382   FLORES, REBECCA                   21837   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10383   FLORES, REBECCA                   27585   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10384   FLORES, ROLAND Laredo, LLC        32600   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10385   FLORES, ROLAND                    33591   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10386   FLORES, ROLAND                    34582   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1518 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10387   FLORES, ROLAND                   35573   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10388   FLORES, ROLAND                   36564   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10389   FLORES, SYLVIA   Laredo, LLC     32601   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10390   FLORES, SYLVIA                   33592   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10391   FLORES, SYLVIA                   34583   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10392   FLORES, SYLVIA                   35574   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10393   FLORES, SYLVIA                   36565   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1519 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FLORISTS'
                                                           Priority: $0.00
        MUTUAL        Nueces Bay,
10394                                 2183    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $757,585.68 + Unliquidated
        COMPANY
                                                           Total: $757,585.68 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FLORISTS'
                                                           Priority: $0.00
        MUTUAL        Barney Davis,
10395                                 37320   6/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $757,585.68 + Unliquidated
        COMPANY
                                                           Total: $757,585.68 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FLORISTS'
                                                           Priority: $0.00
        MUTUAL
10396                 Laredo, LLC     37322   6/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $757,585.68 + Unliquidated
        COMPANY
                                                           Total: $757,585.68 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOURNOY,     Barney Davis,
10397                                 6945    8/1/2022     Secured: $0.00
        DAWN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOURNOY,
10398                 Laredo, LLC     12695   8/1/2022     Secured: $0.00
        DAWN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOURNOY,     Nueces Bay,
10399                                 18442   8/1/2022     Secured: $0.00
        DAWN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOURNOY,     Talen Texas
10400                                 24176   8/1/2022     Secured: $0.00
        DAWN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1520 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOURNOY,     Talen Texas,
10401                                 29936   8/1/2022     Secured: $0.00
        DAWN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOWERS,      Barney Davis,
10402                                 7465    8/1/2022     Secured: $0.00
        JAMIEJO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOWERS,
10403                 Laredo, LLC     13215   8/1/2022     Secured: $0.00
        JAMIEJO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOWERS,      Nueces Bay,
10404                                 18962   8/1/2022     Secured: $0.00
        JAMIEJO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOWERS,      Talen Texas
10405                                 24696   8/1/2022     Secured: $0.00
        JAMIEJO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOWERS,      Talen Texas,
10406                                 30456   8/1/2022     Secured: $0.00
        JAMIEJO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FLOWERS,      Barney Davis,
10407                                 7684    8/1/2022     Secured: $0.00
        JOURDAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1521 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLOWERS,
10408                   Laredo, LLC     13434   8/1/2022     Secured: $0.00
        JOURDAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLOWERS,        Nueces Bay,
10409                                   19181   8/1/2022     Secured: $0.00
        JOURDAN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLOWERS,        Talen Texas
10410                                   24915   8/1/2022     Secured: $0.00
        JOURDAN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FLOWERS,        Talen Texas,
10411                                   30675   8/1/2022     Secured: $0.00
        JOURDAN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10412   FLOYD, DANIEL                   6884    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10413   FLOYD, DANIEL   Laredo, LLC     12634   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10414   FLOYD, DANIEL                   18381   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1522 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10415   FLOYD, DANIEL                   24115   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10416   FLOYD, DANIEL                   29875   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10417   FLOYD, DRATON                   4948    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10418   FLOYD, DRATON   Laredo, LLC     10698   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10419   FLOYD, DRATON                   16445   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10420   FLOYD, DRATON                   22190   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10421   FLOYD, DRATON                   27939   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1523 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10422   FLUHR, RICHARD                   6169    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10423   FLUHR, RICHARD   Laredo, LLC     11919   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10424   FLUHR, RICHARD                   17666   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10425   FLUHR, RICHARD                   23411   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10426   FLUHR, RICHARD                   29160   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10427   FLYNN, PATRICK                   5850    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10428   FLYNN, PATRICK   Laredo, LLC     11600   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1524 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10429   FLYNN, PATRICK                   17347   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10430   FLYNN, PATRICK                   23092   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10431   FLYNN, PATRICK                   28841   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10432   FOBBS, TERRI                     4725    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10433   FOBBS, TERRI     Laredo, LLC     10475   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10434   FOBBS, TERRI                     16222   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10435   FOBBS, TERRI                     21968   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1525 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10436   FOBBS, TERRI                    27716   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10437   FOLEY, ARLENE                   6446    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10438   FOLEY, ARLENE   Laredo, LLC     12196   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10439   FOLEY, ARLENE                   17943   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10440   FOLEY, ARLENE                   23678   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10441   FOLEY, ARLENE                   29437   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10442   FOLEY, PEGGY                    8431    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1526 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10443   FOLEY, PEGGY     Laredo, LLC     14181   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10444   FOLEY, PEGGY                     19928   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10445   FOLEY, PEGGY                     25661   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10446   FOLEY, PEGGY                     31422   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10447   FONSECA, LOUIS   Laredo, LLC     32602   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10448   FONSECA, LOUIS                   33593   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10449   FONSECA, LOUIS                   34584   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1527 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10450   FONSECA, LOUIS                   35575   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10451   FONSECA, LOUIS                   36566   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FONTENOT,        Barney Davis,
10452                                    8050    8/1/2022     Secured: $0.00
        MAKEBA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FONTENOT,
10453                    Laredo, LLC     13800   8/1/2022     Secured: $0.00
        MAKEBA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FONTENOT,        Nueces Bay,
10454                                    19547   8/1/2022     Secured: $0.00
        MAKEBA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FONTENOT,        Talen Texas
10455                                    25281   8/1/2022     Secured: $0.00
        MAKEBA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FONTENOT,        Talen Texas,
10456                                    31041   8/1/2022     Secured: $0.00
        MAKEBA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1528 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORBECK,         Barney Davis,
10457                                    5970    8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORBECK,
10458                    Laredo, LLC     11720   8/1/2022     Secured: $0.00
        DEBORAH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORBECK,         Nueces Bay,
10459                                    17467   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORBECK,         Talen Texas
10460                                    23212   8/1/2022     Secured: $0.00
        DEBORAH          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORBECK,         Talen Texas,
10461                                    28961   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10462   FORBES, ARLENE                   6447    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10463   FORBES, ARLENE   Laredo, LLC     12197   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1529 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10464   FORBES, ARLENE                   17944   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10465   FORBES, ARLENE                   23679   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10466   FORBES, ARLENE                   29438   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10467   FORCE, RALPH                     8482    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10468   FORCE, RALPH     Laredo, LLC     14232   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10469   FORCE, RALPH                     19979   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10470   FORCE, RALPH                     25711   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1530 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10471   FORCE, RALPH                     31473   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10472   FORD, BARBARA                    9218    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10473   FORD, BARBARA    Laredo, LLC     14968   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10474   FORD, BARBARA                    20715   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10475   FORD, BARBARA                    26447   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10476   FORD, BARBARA                    32209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10477   FORD, CHAUNDRA                   4892    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1531 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10478   FORD, CHAUNDRA Laredo, LLC       10642   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10479   FORD, CHAUNDRA                   16389   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10480   FORD, CHAUNDRA                   22134   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10481   FORD, CHAUNDRA                   27883   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10482   FORD, DAVID                      4092    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10483   FORD, DAVID      Laredo, LLC     9842    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10484   FORD, DAVID                      15589   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1532 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10485   FORD, DAVID                     21335   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10486   FORD, DAVID                     27083   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10487   FORD, GREGORY                   4988    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10488   FORD, GREGORY   Laredo, LLC     10738   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10489   FORD, GREGORY                   16485   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10490   FORD, GREGORY                   22230   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10491   FORD, GREGORY                   27979   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1533 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10492   FORD, KIORI                    5440    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10493   FORD, KIORI    Laredo, LLC     11190   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10494   FORD, KIORI                    16937   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10495   FORD, KIORI                    22682   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10496   FORD, KIORI                    28431   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10497   FORD, LELAND                   7955    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10498   FORD, LELAND   Laredo, LLC     13705   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1534 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Nueces Bay,
10499   FORD, LELAND                  19452   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas
10500   FORD, LELAND                  25186   8/1/2022     Secured: $0.00
                       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas,
10501   FORD, LELAND                  30946   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FOREMOST
                                                           Priority: $0.00
        COUNTY MUTUAL Barney Davis,
10502                                 2532    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $12,517,173.03 + Unliquidated
        COMPANY
                                                           Total: $12,517,173.03 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FOREMOST
                                                           Priority: $0.00
        COUNTY MUTUAL
10503                 Laredo, LLC     2540    7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $12,517,173.03 + Unliquidated
        COMPANY
                                                           Total: $12,517,173.03 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        FOREMOST
                                                           Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
10504                                 2772    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $12,517,173.03 + Unliquidated
        COMPANY
                                                           Total: $12,517,173.03 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1535 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        FOREMOST                                            Other Administrative: $0.00
        INSURANCE                                           Priority: $0.00
                      Nueces Bay,
10505   COMPANY GRAND                   2660   7/31/2022    Secured: $0.00
                      LLC
        RAPIDS,                                             General Unsecured: $837,808.42 + Unliquidated
        MICHIGAN
                                                            Total: $837,808.42 + Unliquidated
                                                            503(b)(9): $0.00
        FOREMOST                                            Other Administrative: $0.00
        INSURANCE                                           Priority: $0.00
                      Barney Davis,
10506   COMPANY GRAND                   2706   7/31/2022    Secured: $0.00
                      LLC
        RAPIDS,                                             General Unsecured: $837,808.42 + Unliquidated
        MICHIGAN
                                                            Total: $837,808.42 + Unliquidated
                                                            503(b)(9): $0.00
        FOREMOST                                            Other Administrative: $0.00
        INSURANCE                                           Priority: $0.00
10507   COMPANY GRAND Laredo, LLC       2818   7/31/2022    Secured: $0.00
        RAPIDS,                                             General Unsecured: $837,808.42 + Unliquidated
        MICHIGAN
                                                            Total: $837,808.42 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOREMOST        Nueces Bay,
10508                                   2488   7/31/2022    Secured: $0.00
        LLOYDS OF TEXAS LLC
                                                            General Unsecured: $22,800,517.03 + Unliquidated

                                                            Total: $22,800,517.03 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOREMOST        Barney Davis,
10509                                   2558   7/31/2022    Secured: $0.00
        LLOYDS OF TEXAS LLC
                                                            General Unsecured: $22,800,517.03 + Unliquidated

                                                            Total: $22,800,517.03 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOREMOST
10510                   Laredo, LLC     2584   7/31/2022    Secured: $0.00
        LLOYDS OF TEXAS
                                                            General Unsecured: $22,800,517.03 + Unliquidated

                                                            Total: $22,800,517.03 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1536 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        FOREMOST                                            Other Administrative: $0.00
        PROPERTY AND                                        Priority: $0.00
                        Barney Davis,
10511   CASUALTY                        2947   8/1/2022     Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        FOREMOST                                            Other Administrative: $0.00
        PROPERTY AND                                        Priority: $0.00
                        Nueces Bay,
10512   CASUALTY                        2979   8/1/2022     Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        FOREMOST                                            Other Administrative: $0.00
        PROPERTY AND                                        Priority: $0.00
10513   CASUALTY        Laredo, LLC     3202   8/1/2022     Secured: $0.00
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FOREMOST
                                                            Priority: $0.00
        SIGNATURE
10514                   Laredo, LLC     3054   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FOREMOST
                                                            Priority: $0.00
        SIGNATURE       Nueces Bay,
10515                                   3063   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FOREMOST
                                                            Priority: $0.00
        SIGNATURE       Barney Davis,
10516                                   3284   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Barney Davis,
10517   FOREST, HOLLY                   7376   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1537 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10518   FOREST, HOLLY    Laredo, LLC    13126   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
10519   FOREST, HOLLY                   18873   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
10520   FOREST, HOLLY                   24607   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
10521   FOREST, HOLLY                   30367   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FORNELLI        Barney Davis,
10522                                   5926    8/1/2022     Secured: $0.00
        ENTERPRISES LLC LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FORNELLI
10523                   Laredo, LLC     11676   8/1/2022     Secured: $0.00
        ENTERPRISES LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FORNELLI        Nueces Bay,
10524                                   17423   8/1/2022     Secured: $0.00
        ENTERPRISES LLC LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1538 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI        Talen Texas
10525                                    23168   8/1/2022     Secured: $0.00
        ENTERPRISES LLC Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI        Talen Texas,
10526                                    28917   8/1/2022     Secured: $0.00
        ENTERPRISES LLC LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI,        Barney Davis,
10527                                    4968    8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI,
10528                    Laredo, LLC     10718   8/1/2022     Secured: $0.00
        FERNANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI,        Nueces Bay,
10529                                    16465   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI,        Talen Texas
10530                                    22210   8/1/2022     Secured: $0.00
        FERNANDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORNELLI,        Talen Texas,
10531                                    27959   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1539 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10532   FORREST, KELVIN                   7801    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10533   FORREST, KELVIN Laredo, LLC       13551   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10534   FORREST, KELVIN                   19298   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10535   FORREST, KELVIN                   25032   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10536   FORREST, KELVIN                   30792   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FORRESTER,        Barney Davis,
10537                                     8451    8/1/2022     Secured: $0.00
        PHILLIP           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FORRESTER,
10538                     Laredo, LLC     14201   8/1/2022     Secured: $0.00
        PHILLIP
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1540 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORRESTER,       Nueces Bay,
10539                                    19948   8/1/2022     Secured: $0.00
        PHILLIP          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORRESTER,       Talen Texas
10540                                    25681   8/1/2022     Secured: $0.00
        PHILLIP          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORRESTER,       Talen Texas,
10541                                    31442   8/1/2022     Secured: $0.00
        PHILLIP          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORT BEND        Barney Davis,
10542                                    3113    8/1/2022     Secured: $0.00
        COUNTY, TEXAS    LLC
                                                              General Unsecured: $100,000.00 + Unliquidated

                                                              Total: $100,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORT BEND        Nueces Bay,
10543                                    3276    8/1/2022     Secured: $0.00
        COUNTY, TEXAS    LLC
                                                              General Unsecured: $100,000.00 + Unliquidated

                                                              Total: $100,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FORT BEND
10544                    Laredo, LLC     3283    8/1/2022     Secured: $0.00
        COUNTY, TEXAS
                                                              General Unsecured: $100,000.00 + Unliquidated

                                                              Total: $100,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10545   FORTIN, MARION                   5510    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1541 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10546   FORTIN, MARION Laredo, LLC       11260   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10547   FORTIN, MARION                   17007   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10548   FORTIN, MARION                   22752   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10549   FORTIN, MARION                   28501   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10550   FOSTER, BRIAN                    6239    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10551   FOSTER, BRIAN    Laredo, LLC     11989   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10552   FOSTER, BRIAN                    17736   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1542 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10553   FOSTER, BRIAN                    26581   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10554   FOSTER, BRIAN                    29230   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10555   FOSTER, CANDIA                   6622    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10556   FOSTER, CANDIA   Laredo, LLC     12372   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10557   FOSTER, CANDIA                   18119   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10558   FOSTER, CANDIA                   23853   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10559   FOSTER, CANDIA                   29613   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1543 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10560   FOSTER, DIANA                   7031    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10561   FOSTER, DIANA   Laredo, LLC     12781   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10562   FOSTER, DIANA                   18528   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10563   FOSTER, DIANA                   24262   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10564   FOSTER, DIANA                   30022   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10565   FOSTER, JARDA                   4255    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10566   FOSTER, JARDA   Laredo, LLC     10005   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1544 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10567   FOSTER, JARDA                      15752   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10568   FOSTER, JARDA                      21498   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10569   FOSTER, JARDA                      27246   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10570   FOSTER, JENNIFER                   7521    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10571   FOSTER, JENNIFER Laredo, LLC       13271   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10572   FOSTER, JENNIFER                   19018   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10573   FOSTER, JENNIFER                   24752   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1545 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10574   FOSTER, JENNIFER                   30512   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10575   FOSTER, LATOYA                     7923    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10576   FOSTER, LATOYA     Laredo, LLC     13673   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10577   FOSTER, LATOYA                     19420   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10578   FOSTER, LATOYA                     25154   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10579   FOSTER, LATOYA                     30914   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10580   FOSTER, MICHAEL                    5842    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1546 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10581   FOSTER, MICHAEL Laredo, LLC       11592   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10582   FOSTER, MICHAEL                   17339   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10583   FOSTER, MICHAEL                   23084   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10584   FOSTER, MICHAEL                   28833   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10585   FOSTER, RODNEY                    8643    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10586   FOSTER, RODNEY Laredo, LLC        14393   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10587   FOSTER, RODNEY                    20140   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1547 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10588   FOSTER, RODNEY                   25872   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10589   FOSTER, RODNEY                   31634   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10590   FOSTER, SANDRA                   8736    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10591   FOSTER, SANDRA Laredo, LLC       14486   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10592   FOSTER, SANDRA                   20233   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10593   FOSTER, SANDRA                   25965   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10594   FOSTER, SANDRA                   31727   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1548 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOSTER,           Barney Davis,
10595                                     3636    8/1/2022     Secured: $0.00
        SHENIQUA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOSTER,
10596                     Laredo, LLC     9386    8/1/2022     Secured: $0.00
        SHENIQUA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOSTER,           Nueces Bay,
10597                                     15133   8/1/2022     Secured: $0.00
        SHENIQUA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOSTER,           Talen Texas
10598                                     20880   8/1/2022     Secured: $0.00
        SHENIQUA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOSTER,           Talen Texas,
10599                                     26627   8/1/2022     Secured: $0.00
        SHENIQUA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10600   FOSTER, SHERRIE                   8827    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10601   FOSTER, SHERRIE Laredo, LLC       14577   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1549 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10602   FOSTER, SHERRIE                   20324   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10603   FOSTER, SHERRIE                   26056   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10604   FOSTER, SHERRIE                   31818   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOUGERE,          Barney Davis,
10605                                     6121    8/1/2022     Secured: $0.00
        JAMEELAH          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOUGERE,
10606                     Laredo, LLC     11871   8/1/2022     Secured: $0.00
        JAMEELAH
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOUGERE,          Nueces Bay,
10607                                     17618   8/1/2022     Secured: $0.00
        JAMEELAH          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FOUGERE,          Talen Texas
10608                                     23363   8/1/2022     Secured: $0.00
        JAMEELAH          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1550 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOUGERE,       Talen Texas,
10609                                  29112   8/1/2022     Secured: $0.00
        JAMEELAH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOUNTAIN,      Barney Davis,
10610                                  4989    8/1/2022     Secured: $0.00
        GREGORY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOUNTAIN,
10611                  Laredo, LLC     10739   8/1/2022     Secured: $0.00
        GREGORY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOUNTAIN,      Nueces Bay,
10612                                  16486   8/1/2022     Secured: $0.00
        GREGORY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOUNTAIN,      Talen Texas
10613                                  22231   8/1/2022     Secured: $0.00
        GREGORY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FOUNTAIN,      Talen Texas,
10614                                  27980   8/1/2022     Secured: $0.00
        GREGORY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10615   FOUST, BRIAN                   6576    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1551 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10616   FOUST, BRIAN    Laredo, LLC     12326   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10617   FOUST, BRIAN                    18073   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10618   FOUST, BRIAN                    23808   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10619   FOUST, BRIAN                    29567   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10620   FOX, PATRICIA                   8392    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10621   FOX, PATRICIA   Laredo, LLC     14142   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10622   FOX, PATRICIA                   19889   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1552 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10623   FOX, PATRICIA                   25622   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10624   FOX, PATRICIA                   31383   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10625   FOX, WILLIAM                    9153    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10626   FOX, WILLIAM    Laredo, LLC     14903   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10627   FOX, WILLIAM                    20650   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10628   FOX, WILLIAM                    26382   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10629   FOX, WILLIAM                    32144   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1553 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10630   FRALEY, JUDY                     6031    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10631   FRALEY, JUDY     Laredo, LLC     11781   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10632   FRALEY, JUDY                     17528   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10633   FRALEY, JUDY                     23273   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10634   FRALEY, JUDY                     29022   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10635   FRANCIS, APRIL                   6441    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10636   FRANCIS, APRIL   Laredo, LLC     12191   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1554 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10637   FRANCIS, APRIL                    17938   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10638   FRANCIS, APRIL                    23673   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10639   FRANCIS, APRIL                    29432   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10640   FRANCO, ROGELIO                   8651    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10641   FRANCO, ROGELIO Laredo, LLC       14401   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10642   FRANCO, ROGELIO                   20148   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10643   FRANCO, ROGELIO                   25880   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1555 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10644   FRANCO, ROGELIO                   31642   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FRANK WEST                                             Priority: $0.00
                          Barney Davis,
10645   OAKS                              6220    8/1/2022     Secured: $0.00
                          LLC
        FELLOWSHIP                                             General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FRANK WEST                                             Priority: $0.00
10646   OAKS              Laredo, LLC     11970   8/1/2022     Secured: $0.00
        FELLOWSHIP                                             General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FRANK WEST                                             Priority: $0.00
                          Nueces Bay,
10647   OAKS                              17717   8/1/2022     Secured: $0.00
                          LLC
        FELLOWSHIP                                             General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FRANK WEST                                             Priority: $0.00
                          Talen Texas
10648   OAKS                              23462   8/1/2022     Secured: $0.00
                          Group, LLC
        FELLOWSHIP                                             General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        FRANK WEST                                             Priority: $0.00
                          Talen Texas,
10649   OAKS                              29211   8/1/2022     Secured: $0.00
                          LLC
        FELLOWSHIP                                             General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10650   FRANK, SHARRI                     6266    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1556 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10651   FRANK, SHARRI     Laredo, LLC     12016   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10652   FRANK, SHARRI                     17763   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10653   FRANK, SHARRI                     23498   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10654   FRANK, SHARRI                     29257   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10655   FRANKE, TIFFANY Laredo, LLC       32603   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10656   FRANKE, TIFFANY                   33594   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10657   FRANKE, TIFFANY                   34585   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1557 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10658   FRANKE, TIFFANY                   35576   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10659   FRANKE, TIFFANY                   36567   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,
10660                     Laredo, LLC     32604   8/1/2022     Secured: $0.00
        AARON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Barney Davis,
10661                                     33595   8/1/2022     Secured: $0.00
        AARON             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Nueces Bay,
10662                                     34586   8/1/2022     Secured: $0.00
        AARON             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Talen Texas
10663                                     35577   8/1/2022     Secured: $0.00
        AARON             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Talen Texas,
10664                                     36568   8/1/2022     Secured: $0.00
        AARON             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1558 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,      Barney Davis,
10665                                  4940    8/1/2022     Secured: $0.00
        DESTINY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,
10666                  Laredo, LLC     10690   8/1/2022     Secured: $0.00
        DESTINY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,      Nueces Bay,
10667                                  16437   8/1/2022     Secured: $0.00
        DESTINY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,      Talen Texas
10668                                  22182   8/1/2022     Secured: $0.00
        DESTINY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,      Talen Texas,
10669                                  27931   8/1/2022     Secured: $0.00
        DESTINY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,      Barney Davis,
10670                                  3765    8/1/2022     Secured: $0.00
        DOUGLAS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRANKLIN,
10671                  Laredo, LLC     9515    8/1/2022     Secured: $0.00
        DOUGLAS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1559 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Nueces Bay,
10672                                     15262   8/1/2022     Secured: $0.00
        DOUGLAS           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Talen Texas
10673                                     21009   8/1/2022     Secured: $0.00
        DOUGLAS           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Talen Texas,
10674                                     26756   8/1/2022     Secured: $0.00
        DOUGLAS           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10675   FRANKLIN, EDWIN Laredo, LLC       32605   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10676   FRANKLIN, EDWIN                   33596   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10677   FRANKLIN, EDWIN                   34587   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10678   FRANKLIN, EDWIN                   35578   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1560 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10679   FRANKLIN, EDWIN                   36569   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Barney Davis,
10680                                     8737    8/1/2022     Secured: $0.00
        SANDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,
10681                     Laredo, LLC     14487   8/1/2022     Secured: $0.00
        SANDRA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Nueces Bay,
10682                                     20234   8/1/2022     Secured: $0.00
        SANDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Talen Texas
10683                                     25966   8/1/2022     Secured: $0.00
        SANDRA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRANKLIN,         Talen Texas,
10684                                     31728   8/1/2022     Secured: $0.00
        SANDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10685   FRANKLIN, SCOTT                   5280    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1561 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10686   FRANKLIN, SCOTT Laredo, LLC       11030   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10687   FRANKLIN, SCOTT                   16777   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10688   FRANKLIN, SCOTT                   22522   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10689   FRANKLIN, SCOTT                   28271   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10690   FRANZ, CHARLENE                   4030    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10691   FRANZ, CHARLENE Laredo, LLC       9780    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10692   FRANZ, CHARLENE                   15527   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1562 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10693   FRANZ, CHARLENE                   21273   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10694   FRANZ, CHARLENE                   27021   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10695   FRAZIER, BRIAN                    6577    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10696   FRAZIER, BRIAN    Laredo, LLC     12327   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10697   FRAZIER, BRIAN                    18074   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10698   FRAZIER, BRIAN                    23809   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10699   FRAZIER, BRIAN                    29568   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1563 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10700   FRAZIER, CHERYL                    6724    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10701   FRAZIER, CHERYL Laredo, LLC        12474   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10702   FRAZIER, CHERYL                    18221   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10703   FRAZIER, CHERYL                    23955   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10704   FRAZIER, CHERYL                    29715   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10705   FRAZIER, FELICIA   Laredo, LLC     32606   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10706   FRAZIER, FELICIA                   33597   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1564 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10707   FRAZIER, FELICIA                   34588   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10708   FRAZIER, FELICIA                   35579   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10709   FRAZIER, FELICIA                   36570   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10710   FRAZIER, KYBRAN                    7883    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10711   FRAZIER, KYBRAN Laredo, LLC        13633   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10712   FRAZIER, KYBRAN                    19380   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10713   FRAZIER, KYBRAN                    25114   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1565 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10714   FRAZIER, KYBRAN                   30874   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRAZIER, MARY     Barney Davis,
10715                                     4484    8/1/2022     Secured: $0.00
        WILLIAMS          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRAZIER, MARY
10716                     Laredo, LLC     10234   8/1/2022     Secured: $0.00
        WILLIAMS
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRAZIER, MARY     Nueces Bay,
10717                                     15981   8/1/2022     Secured: $0.00
        WILLIAMS          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRAZIER, MARY     Talen Texas
10718                                     21727   8/1/2022     Secured: $0.00
        WILLIAMS          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FRAZIER, MARY     Talen Texas,
10719                                     27475   8/1/2022     Secured: $0.00
        WILLIAMS          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10720   FRAZIER, RACHEL                   5218    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1566 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10721   FRAZIER, RACHEL Laredo, LLC       10968   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10722   FRAZIER, RACHEL                   16715   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10723   FRAZIER, RACHEL                   22460   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10724   FRAZIER, RACHEL                   28209   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10725   FRAZIER, TIA                      4741    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10726   FRAZIER, TIA      Laredo, LLC     10491   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10727   FRAZIER, TIA                      16238   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1567 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10728   FRAZIER, TIA                   21984   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10729   FRAZIER, TIA                   27732   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRAZIER,       Barney Davis,
10730                                  9102    8/1/2022     Secured: $0.00
        VERONICA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRAZIER,
10731                  Laredo, LLC     14852   8/1/2022     Secured: $0.00
        VERONICA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRAZIER,       Nueces Bay,
10732                                  20599   8/1/2022     Secured: $0.00
        VERONICA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRAZIER,       Talen Texas
10733                                  26331   8/1/2022     Secured: $0.00
        VERONICA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FRAZIER,       Talen Texas,
10734                                  32093   8/1/2022     Secured: $0.00
        VERONICA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1568 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10735   FRAZIER, WAYNE Laredo, LLC       32607   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10736   FRAZIER, WAYNE                   33598   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10737   FRAZIER, WAYNE                   34589   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10738   FRAZIER, WAYNE                   35580   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10739   FRAZIER, WAYNE                   36571   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FREEBING,        Barney Davis,
10740                                    9154    8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FREEBING,
10741                    Laredo, LLC     14904   8/1/2022     Secured: $0.00
        WILLIAM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1569 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEBING,       Nueces Bay,
10742                                   20651   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEBING,       Talen Texas
10743                                   26383   8/1/2022     Secured: $0.00
        WILLIAM         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEBING,       Talen Texas,
10744                                   32145   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FREEDOM TAX &                                        Priority: $0.00
                        Barney Davis,
10745   BOOKKEEPING                     5927    8/1/2022     Secured: $0.00
                        LLC
        SERVICES INC.                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FREEDOM TAX &                                        Priority: $0.00
10746   BOOKKEEPING     Laredo, LLC     11677   8/1/2022     Secured: $0.00
        SERVICES INC.                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FREEDOM TAX &                                        Priority: $0.00
                        Nueces Bay,
10747   BOOKKEEPING                     17424   8/1/2022     Secured: $0.00
                        LLC
        SERVICES INC.                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FREEDOM TAX &                                        Priority: $0.00
                        Talen Texas
10748   BOOKKEEPING                     23169   8/1/2022     Secured: $0.00
                        Group, LLC
        SERVICES INC.                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1570 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        FREEDOM TAX &                                         Priority: $0.00
                         Talen Texas,
10749   BOOKKEEPING                      28918   8/1/2022     Secured: $0.00
                         LLC
        SERVICES INC.                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10750   FREEMAN, DAVID                   6924    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10751   FREEMAN, DAVID Laredo, LLC       12674   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10752   FREEMAN, DAVID                   18421   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10753   FREEMAN, DAVID                   24155   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10754   FREEMAN, DAVID                   29915   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FREEMAN,         Barney Davis,
10755                                    7535    8/1/2022     Secured: $0.00
        JEREMEY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1571 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,
10756                  Laredo, LLC     13285   8/1/2022     Secured: $0.00
        JEREMEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Nueces Bay,
10757                                  19032   8/1/2022     Secured: $0.00
        JEREMEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Talen Texas
10758                                  24766   8/1/2022     Secured: $0.00
        JEREMEY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Talen Texas,
10759                                  30526   8/1/2022     Secured: $0.00
        JEREMEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10760   FREEMAN, PAM                   5558    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10761   FREEMAN, PAM   Laredo, LLC     11308   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10762   FREEMAN, PAM                   17055   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1572 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10763   FREEMAN, PAM                   22800   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10764   FREEMAN, PAM                   28549   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Barney Davis,
10765                                  4579    8/1/2022     Secured: $0.00
        PRESTON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,
10766                  Laredo, LLC     10329   8/1/2022     Secured: $0.00
        PRESTON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Nueces Bay,
10767                                  16076   8/1/2022     Secured: $0.00
        PRESTON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Talen Texas
10768                                  21822   8/1/2022     Secured: $0.00
        PRESTON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FREEMAN,       Talen Texas,
10769                                  27570   8/1/2022     Secured: $0.00
        PRESTON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1573 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN,        Barney Davis,
10770                                   8881    8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN,
10771                   Laredo, LLC     14631   8/1/2022     Secured: $0.00
        STEPHANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN,        Nueces Bay,
10772                                   20378   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN,        Talen Texas
10773                                   26110   8/1/2022     Secured: $0.00
        STEPHANIE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN,        Talen Texas,
10774                                   31872   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN‐       Barney Davis,
10775                                   7790    8/1/2022     Secured: $0.00
        THOMAS, KAYLAH LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN‐
10776                  Laredo, LLC      13540   8/1/2022     Secured: $0.00
        THOMAS, KAYLAH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1574 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN‐       Nueces Bay,
10777                                   19287   8/1/2022     Secured: $0.00
        THOMAS, KAYLAH LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN‐       Talen Texas
10778                                   25021   8/1/2022     Secured: $0.00
        THOMAS, KAYLAH Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREEMAN‐       Talen Texas,
10779                                   30781   8/1/2022     Secured: $0.00
        THOMAS, KAYLAH LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREESTONE,      Barney Davis,
10780                                   4038    8/1/2022     Secured: $0.00
        CHERYL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREESTONE,
10781                   Laredo, LLC     9788    8/1/2022     Secured: $0.00
        CHERYL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREESTONE,      Nueces Bay,
10782                                   15535   8/1/2022     Secured: $0.00
        CHERYL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FREESTONE,      Talen Texas
10783                                   21281   8/1/2022     Secured: $0.00
        CHERYL          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1575 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FREESTONE,    Talen Texas,
10784                                 27029   8/1/2022     Secured: $0.00
        CHERYL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FREIXAS,      Barney Davis,
10785                                 4422    8/1/2022     Secured: $0.00
        LEONARDO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FREIXAS,
10786                 Laredo, LLC     10172   8/1/2022     Secured: $0.00
        LEONARDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FREIXAS,      Nueces Bay,
10787                                 15919   8/1/2022     Secured: $0.00
        LEONARDO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FREIXAS,      Talen Texas
10788                                 21665   8/1/2022     Secured: $0.00
        LEONARDO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FREIXAS,      Talen Texas,
10789                                 27413   8/1/2022     Secured: $0.00
        LEONARDO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
10790   FRENCH, JAN                   6123    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1576 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10791   FRENCH, JAN      Laredo, LLC     11873   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10792   FRENCH, JAN                      17620   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10793   FRENCH, JAN                      23365   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10794   FRENCH, JAN                      29114   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10795   FRENCH, JOHNNY                   4310    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10796   FRENCH, JOHNNY Laredo, LLC       10060   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10797   FRENCH, JOHNNY                   15807   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1577 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10798   FRENCH, JOHNNY                    21553   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10799   FRENCH, JOHNNY                    27301   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10800   FRENCH, MICHAEL                   8228    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10801   FRENCH, MICHAEL Laredo, LLC       13978   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10802   FRENCH, MICHAEL                   19725   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10803   FRENCH, MICHAEL                   25459   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10804   FRENCH, MICHAEL                   31219   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1578 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10805   FRENCH, STELLA                   4701    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10806   FRENCH, STELLA   Laredo, LLC     10451   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10807   FRENCH, STELLA                   16198   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10808   FRENCH, STELLA                   21944   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10809   FRENCH, STELLA                   27692   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10810   FRENNY, KAREN                    4353    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10811   FRENNY, KAREN    Laredo, LLC     10103   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1579 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10812   FRENNY, KAREN                   15850   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10813   FRENNY, KAREN                   21596   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10814   FRENNY, KAREN                   27344   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10815   FRICK, ROBERT                   5529    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10816   FRICK, ROBERT   Laredo, LLC     11279   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10817   FRICK, ROBERT                   17026   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10818   FRICK, ROBERT                   22771   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1580 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10819   FRICK, ROBERT                   28520   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10820   FRITZ, ALMA     Laredo, LLC     32608   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10821   FRITZ, ALMA                     33599   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10822   FRITZ, ALMA                     34590   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10823   FRITZ, ALMA                     35581   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10824   FRITZ, ALMA                     36572   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10825   FRITZE, ERIC                    7183    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1581 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10826   FRITZE, ERIC   Laredo, LLC     12933   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10827   FRITZE, ERIC                   18680   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10828   FRITZE, ERIC                   24414   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10829   FRITZE, ERIC                   30174   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FRUGIE‐                                             Priority: $0.00
                       Barney Davis,
10830   EDWARDS,                       7026    8/1/2022     Secured: $0.00
                       LLC
        DEZRAL                                              General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FRUGIE‐                                             Priority: $0.00
10831   EDWARDS,       Laredo, LLC     12776   8/1/2022     Secured: $0.00
        DEZRAL                                              General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        FRUGIE‐                                             Priority: $0.00
                       Nueces Bay,
10832   EDWARDS,                       18523   8/1/2022     Secured: $0.00
                       LLC
        DEZRAL                                              General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1582 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FRUGIE‐                                              Priority: $0.00
                        Talen Texas
10833   EDWARDS,                        24257   8/1/2022     Secured: $0.00
                        Group, LLC
        DEZRAL                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        FRUGIE‐                                              Priority: $0.00
                        Talen Texas,
10834   EDWARDS,                        30017   8/1/2022     Secured: $0.00
                        LLC
        DEZRAL                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10835   FRUSHA, GRETA                   7334    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10836   FRUSHA, GRETA   Laredo, LLC     13084   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10837   FRUSHA, GRETA                   18831   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10838   FRUSHA, GRETA                   24565   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10839   FRUSHA, GRETA                   30325   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1583 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10840   FRY, LAURENCE                   7933    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10841   FRY, LAURENCE   Laredo, LLC     13683   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10842   FRY, LAURENCE                   19430   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10843   FRY, LAURENCE                   25164   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10844   FRY, LAURENCE                   30924   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10845   FRY, SHERI                      6191    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10846   FRY, SHERI      Laredo, LLC     11941   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1584 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10847   FRY, SHERI                       17688   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10848   FRY, SHERI                       23433   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10849   FRY, SHERI                       29182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10850   FRYAR, CRYSTAL                   6845    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
10851   FRYAR, CRYSTAL   Laredo, LLC     12595   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
10852   FRYAR, CRYSTAL                   18342   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
10853   FRYAR, CRYSTAL                   24076   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1585 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
10854   FRYAR, CRYSTAL                   29836   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FUEHRER,         Barney Davis,
10855                                    8567    8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FUEHRER,
10856                    Laredo, LLC     14317   8/1/2022     Secured: $0.00
        RICHARD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FUEHRER,         Nueces Bay,
10857                                    20064   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FUEHRER,         Talen Texas
10858                                    25796   8/1/2022     Secured: $0.00
        RICHARD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        FUEHRER,         Talen Texas,
10859                                    31558   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
10860   FUENTES, DAVE                    4922    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1586 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10861   FUENTES, DAVE   Laredo, LLC     10672   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10862   FUENTES, DAVE                   16419   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10863   FUENTES, DAVE                   22164   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10864   FUENTES, DAVE                   27913   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,
10865                   Laredo, LLC     32609   8/1/2022     Secured: $0.00
        ESTEFANIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,        Barney Davis,
10866                                   33600   8/1/2022     Secured: $0.00
        ESTEFANIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,        Nueces Bay,
10867                                   34591   8/1/2022     Secured: $0.00
        ESTEFANIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1587 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,      Talen Texas
10868                                 35582   8/1/2022     Secured: $0.00
        ESTEFANIA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,      Talen Texas,
10869                                 36573   8/1/2022     Secured: $0.00
        ESTEFANIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,      Barney Davis,
10870                                 3607    8/1/2022     Secured: $0.00
        LEONARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,
10871                 Laredo, LLC     9357    8/1/2022     Secured: $0.00
        LEONARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,      Nueces Bay,
10872                                 15104   8/1/2022     Secured: $0.00
        LEONARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,      Talen Texas
10873                                 20851   8/1/2022     Secured: $0.00
        LEONARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        FUENTES,      Talen Texas,
10874                                 26598   8/1/2022     Secured: $0.00
        LEONARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1588 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,
10875                   Laredo, LLC     32610   8/1/2022     Secured: $0.00
        MARCELO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,        Barney Davis,
10876                                   33601   8/1/2022     Secured: $0.00
        MARCELO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,        Nueces Bay,
10877                                   34592   8/1/2022     Secured: $0.00
        MARCELO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,        Talen Texas
10878                                   35583   8/1/2022     Secured: $0.00
        MARCELO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        FUENTES,        Talen Texas,
10879                                   36574   8/1/2022     Secured: $0.00
        MARCELO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10880   FUENTES, RUBY                   6179    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10881   FUENTES, RUBY   Laredo, LLC     11929   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1589 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10882   FUENTES, RUBY                     17676   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10883   FUENTES, RUBY                     23421   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10884   FUENTES, RUBY                     29170   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10885   FUENTEZ, MIGUEL Laredo, LLC       32611   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10886   FUENTEZ, MIGUEL                   33602   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10887   FUENTEZ, MIGUEL                   34593   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10888   FUENTEZ, MIGUEL                   35584   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1590 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10889   FUENTEZ, MIGUEL                   36575   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10890   FULLER, JESSE                     7549    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10891   FULLER, JESSE     Laredo, LLC     13299   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10892   FULLER, JESSE                     19046   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10893   FULLER, JESSE                     24780   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10894   FULLER, JESSE                     30540   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FULLINGTON,       Barney Davis,
10895                                     5324    8/1/2022     Secured: $0.00
        TAMARA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1591 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FULLINGTON,
10896                   Laredo, LLC    11074   8/1/2022     Secured: $0.00
        TAMARA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FULLINGTON,     Nueces Bay,
10897                                  16821   8/1/2022     Secured: $0.00
        TAMARA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FULLINGTON,     Talen Texas
10898                                  22566   8/1/2022     Secured: $0.00
        TAMARA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FULLINGTON,     Talen Texas,
10899                                  28315   8/1/2022     Secured: $0.00
        TAMARA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FURRER, RAQUEL Barney Davis,
10900                                  8498    8/1/2022     Secured: $0.00
        DARLA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FURRER, RAQUEL
10901                  Laredo, LLC     14248   8/1/2022     Secured: $0.00
        DARLA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        FURRER, RAQUEL Nueces Bay,
10902                                  19995   8/1/2022     Secured: $0.00
        DARLA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1592 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FURRER, RAQUEL Talen Texas
10903                                     25727   8/1/2022     Secured: $0.00
        DARLA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        FURRER, RAQUEL Talen Texas,
10904                                     31489   8/1/2022     Secured: $0.00
        DARLA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        G & G NAILS SPA   Barney Davis,
10905                                     5652    8/1/2022     Secured: $0.00
        CORPORATION       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        G & G NAILS SPA
10906                     Laredo, LLC     11402   8/1/2022     Secured: $0.00
        CORPORATION
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        G & G NAILS SPA   Nueces Bay,
10907                                     17149   8/1/2022     Secured: $0.00
        CORPORATION       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        G & G NAILS SPA   Talen Texas
10908                                     22894   8/1/2022     Secured: $0.00
        CORPORATION       Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        G & G NAILS SPA   Talen Texas,
10909                                     28643   8/1/2022     Secured: $0.00
        CORPORATION       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1593 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10910   GABLE, GARY                     7264    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10911   GABLE, GARY     Laredo, LLC     13014   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10912   GABLE, GARY                     18761   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10913   GABLE, GARY                     24495   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10914   GABLE, GARY                     30255   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10915   GADD, ARBUTUS   Laredo, LLC     32612   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10916   GADD, ARBUTUS                   33603   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1594 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10917   GADD, ARBUTUS                   34594   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10918   GADD, ARBUTUS                   35585   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10919   GADD, ARBUTUS                   36576   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GADDIS,         Barney Davis,
10920                                   6965    8/1/2022     Secured: $0.00
        DEBORAH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GADDIS,
10921                   Laredo, LLC     12715   8/1/2022     Secured: $0.00
        DEBORAH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GADDIS,         Nueces Bay,
10922                                   18462   8/1/2022     Secured: $0.00
        DEBORAH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GADDIS,         Talen Texas
10923                                   24196   8/1/2022     Secured: $0.00
        DEBORAH         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1595 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GADDIS,        Talen Texas,
10924                                  29956   8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10925   GAGE, ANDREW                   4815    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
10926   GAGE, ANDREW   Laredo, LLC     10565   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
10927   GAGE, ANDREW                   16312   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
10928   GAGE, ANDREW                   22058   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
10929   GAGE, ANDREW                   27806   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
10930   GAGE, LESLIE                   7966    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1596 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10931   GAGE, LESLIE    Laredo, LLC     13716   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10932   GAGE, LESLIE                    19463   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10933   GAGE, LESLIE                    25197   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10934   GAGE, LESLIE                    30957   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10935   GAGNON, TYLER                   9085    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10936   GAGNON, TYLER   Laredo, LLC     14835   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10937   GAGNON, TYLER                   20582   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1597 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10938   GAGNON, TYLER                   26314   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
10939   GAGNON, TYLER                   32076   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAICA,
10940                   Laredo, LLC     32613   8/1/2022     Secured: $0.00
        SOARNANO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAICA,          Barney Davis,
10941                                   33604   8/1/2022     Secured: $0.00
        SOARNANO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAICA,          Nueces Bay,
10942                                   34595   8/1/2022     Secured: $0.00
        SOARNANO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAICA,          Talen Texas
10943                                   35586   8/1/2022     Secured: $0.00
        SOARNANO        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAICA,          Talen Texas,
10944                                   36577   8/1/2022     Secured: $0.00
        SOARNANO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1598 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10945   GAINES, ANDRIEN                   5957    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10946   GAINES, ANDRIEN Laredo, LLC       11707   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10947   GAINES, ANDRIEN                   17454   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10948   GAINES, ANDRIEN                   23199   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10949   GAINES, ANDRIEN                   28948   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10950   GAINES, DEBBIE                    6959    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10951   GAINES, DEBBIE    Laredo, LLC     12709   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1599 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10952   GAINES, DEBBIE                    18456   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10953   GAINES, DEBBIE                    24190   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10954   GAINES, DEBBIE                    29950   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10955   GAINOUS, JECOBY                   7498    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10956   GAINOUS, JECOBY Laredo, LLC       13248   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10957   GAINOUS, JECOBY                   18995   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10958   GAINOUS, JECOBY                   24729   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1600 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10959   GAINOUS, JECOBY                   30489   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10960   GAITAN, JOE       Laredo, LLC     32614   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10961   GAITAN, JOE                       33605   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10962   GAITAN, JOE                       34596   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10963   GAITAN, JOE                       35587   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10964   GAITAN, JOE                       36578   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10965   GAITAN, VIRGINIA Laredo, LLC      32615   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1601 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10966   GAITAN, VIRGINIA                   33606   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10967   GAITAN, VIRGINIA                   34597   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
10968   GAITAN, VIRGINIA                   35588   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
10969   GAITAN, VIRGINIA                   36579   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
10970   GAITER, KAY                        7784    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
10971   GAITER, KAY        Laredo, LLC     13534   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
10972   GAITER, KAY                        19281   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1602 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
10973   GAITER, KAY                    25015   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
10974   GAITER, KAY                    30775   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GAJEWSKY‐MALY, Barney Davis,
10975                                  3934    8/1/2022     Secured: $0.00
        ANNETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GAJEWSKY‐MALY,
10976                  Laredo, LLC     9684    8/1/2022     Secured: $0.00
        ANNETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GAJEWSKY‐MALY, Nueces Bay,
10977                                  15431   8/1/2022     Secured: $0.00
        ANNETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GAJEWSKY‐MALY, Talen Texas
10978                                  21177   8/1/2022     Secured: $0.00
        ANNETTE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GAJEWSKY‐MALY, Talen Texas,
10979                                  26925   8/1/2022     Secured: $0.00
        ANNETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1603 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10980   GALARZA, AYSHIA                   9216    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10981   GALARZA, AYSHIA Laredo, LLC       14966   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10982   GALARZA, AYSHIA                   20713   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10983   GALARZA, AYSHIA                   26445   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10984   GALARZA, AYSHIA                   32207   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GALARZA,          Barney Davis,
10985                                     6114    8/1/2022     Secured: $0.00
        GABRIELA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GALARZA,
10986                     Laredo, LLC     11864   8/1/2022     Secured: $0.00
        GABRIELA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1604 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALARZA,        Nueces Bay,
10987                                   17611   8/1/2022     Secured: $0.00
        GABRIELA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALARZA,        Talen Texas
10988                                   23356   8/1/2022     Secured: $0.00
        GABRIELA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALARZA,        Talen Texas,
10989                                   29105   8/1/2022     Secured: $0.00
        GABRIELA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
10990   GALBERT, LEXI                   7975    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
10991   GALBERT, LEXI   Laredo, LLC     13725   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
10992   GALBERT, LEXI                   19472   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
10993   GALBERT, LEXI                   25206   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1605 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10994   GALBERT, LEXI                     30966   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
10995   GALINDO, ALFRED                   3909    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
10996   GALINDO, ALFRED Laredo, LLC       9659    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
10997   GALINDO, ALFRED                   15406   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
10998   GALINDO, ALFRED                   21153   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
10999   GALINDO, ALFRED                   26900   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11000   GALINDO, JOE      Laredo, LLC     32616   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1606 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11001   GALINDO, JOE                   33607   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11002   GALINDO, JOE                   34598   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11003   GALINDO, JOE                   35589   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11004   GALINDO, JOE                   36580   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GALLEGOS,      Barney Davis,
11005                                  3954    8/1/2022     Secured: $0.00
        AUDON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GALLEGOS,
11006                  Laredo, LLC     9704    8/1/2022     Secured: $0.00
        AUDON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GALLEGOS,      Nueces Bay,
11007                                  15451   8/1/2022     Secured: $0.00
        AUDON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1607 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,     Talen Texas
11008                                 21197   8/1/2022     Secured: $0.00
        AUDON         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,     Talen Texas,
11009                                 26945   8/1/2022     Secured: $0.00
        AUDON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,
11010                 Laredo, LLC     32617   8/1/2022     Secured: $0.00
        CYNTHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,     Barney Davis,
11011                                 33608   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,     Nueces Bay,
11012                                 34599   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,     Talen Texas
11013                                 35590   8/1/2022     Secured: $0.00
        CYNTHIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GALLEGOS,     Talen Texas,
11014                                 36581   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1608 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11015   GALLEGOS, DELLA                   6233    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11016   GALLEGOS, DELLA Laredo, LLC       11983   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11017   GALLEGOS, DELLA                   17730   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11018   GALLEGOS, DELLA                   26575   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11019   GALLEGOS, DELLA                   29224   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GALLINGER,
11020                     Laredo, LLC     32618   8/1/2022     Secured: $0.00
        MAUREEN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GALLINGER,        Barney Davis,
11021                                     33609   8/1/2022     Secured: $0.00
        MAUREEN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1609 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALLINGER,      Nueces Bay,
11022                                   34600   8/1/2022     Secured: $0.00
        MAUREEN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALLINGER,      Talen Texas
11023                                   35591   8/1/2022     Secured: $0.00
        MAUREEN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALLINGER,      Talen Texas,
11024                                   36582   8/1/2022     Secured: $0.00
        MAUREEN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11025   GALLOWAY, JAN                   7466    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11026   GALLOWAY, JAN   Laredo, LLC     13216   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11027   GALLOWAY, JAN                   18963   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11028   GALLOWAY, JAN                   24697   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1610 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11029   GALLOWAY, JAN                   30457   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALPERIN,       Barney Davis,
11030                                   4977    8/1/2022     Secured: $0.00
        GALINA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALPERIN,
11031                   Laredo, LLC     10727   8/1/2022     Secured: $0.00
        GALINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALPERIN,       Nueces Bay,
11032                                   16474   8/1/2022     Secured: $0.00
        GALINA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALPERIN,       Talen Texas
11033                                   22219   8/1/2022     Secured: $0.00
        GALINA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALPERIN,       Talen Texas,
11034                                   27968   8/1/2022     Secured: $0.00
        GALINA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GALVAN,         Barney Davis,
11035                                   4177    8/1/2022     Secured: $0.00
        EVANGELINA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1611 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GALVAN,
11036                    Laredo, LLC     9927    8/1/2022     Secured: $0.00
        EVANGELINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GALVAN,          Nueces Bay,
11037                                    15674   8/1/2022     Secured: $0.00
        EVANGELINA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GALVAN,          Talen Texas
11038                                    21420   8/1/2022     Secured: $0.00
        EVANGELINA       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GALVAN,          Talen Texas,
11039                                    27168   8/1/2022     Secured: $0.00
        EVANGELINA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11040   GALVAN, ISRAEL                   7404    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11041   GALVAN, ISRAEL   Laredo, LLC     13154   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11042   GALVAN, ISRAEL                   18901   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1612 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11043   GALVAN, ISRAEL                   24635   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11044   GALVAN, ISRAEL                   30395   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11045   GALVAN, JOSE     Laredo, LLC     32619   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11046   GALVAN, JOSE                     33610   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11047   GALVAN, JOSE                     34601   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11048   GALVAN, JOSE                     35592   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11049   GALVAN, JOSE                     36583   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1613 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11050   GALVAN, RALPH   Laredo, LLC     32620   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11051   GALVAN, RALPH                   33611   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11052   GALVAN, RALPH                   34602   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11053   GALVAN, RALPH                   35593   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11054   GALVAN, RALPH                   36584   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAMBOA,         Barney Davis,
11055                                   4976    8/1/2022     Secured: $0.00
        GABRIEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAMBOA,
11056                   Laredo, LLC     10726   8/1/2022     Secured: $0.00
        GABRIEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1614 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAMBOA,          Nueces Bay,
11057                                    16473   8/1/2022     Secured: $0.00
        GABRIEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAMBOA,          Talen Texas
11058                                    22218   8/1/2022     Secured: $0.00
        GABRIEL          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAMBOA,          Talen Texas,
11059                                    27967   8/1/2022     Secured: $0.00
        GABRIEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11060   GAMBOA, GLORIA                   7310    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11061   GAMBOA, GLORIA Laredo, LLC       13060   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11062   GAMBOA, GLORIA                   18807   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11063   GAMBOA, GLORIA                   24541   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1615 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11064   GAMBOA, GLORIA                    30301   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11065   GAMBOA, GRACE                     7319    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11066   GAMBOA, GRACE Laredo, LLC         13069   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11067   GAMBOA, GRACE                     18816   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11068   GAMBOA, GRACE                     24550   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11069   GAMBOA, GRACE                     30310   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11070   GAMEZ, CONNIE S                   6814    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1616 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11071   GAMEZ, CONNIE S Laredo, LLC       12564   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11072   GAMEZ, CONNIE S                   18311   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11073   GAMEZ, CONNIE S                   24045   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11074   GAMEZ, CONNIE S                   29805   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11075   GAMEZ, JOHNNY                     7635    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11076   GAMEZ, JOHNNY Laredo, LLC         13385   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11077   GAMEZ, JOHNNY                     19132   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1617 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11078   GAMEZ, JOHNNY                   24866   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11079   GAMEZ, JOHNNY                   30626   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11080   GANDY, TINA                     9018    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11081   GANDY, TINA     Laredo, LLC     14768   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11082   GANDY, TINA                     20515   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11083   GANDY, TINA                     26247   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11084   GANDY, TINA                     32009   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1618 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11085   GANGSEI, JOSHUA                   7675    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11086   GANGSEI, JOSHUA Laredo, LLC       13425   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11087   GANGSEI, JOSHUA                   19172   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11088   GANGSEI, JOSHUA                   24906   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11089   GANGSEI, JOSHUA                   30666   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11090   GANN, BRUCE                       3995    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11091   GANN, BRUCE       Laredo, LLC     9745    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1619 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
11092   GANN, BRUCE                   15492   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
11093   GANN, BRUCE                   21238   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
11094   GANN, BRUCE                   26986   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GANN,         Barney Davis,
11095                                 6765    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GANN,
11096                 Laredo, LLC     12515   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GANN,         Nueces Bay,
11097                                 18262   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GANN,         Talen Texas
11098                                 23996   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1620 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GANN,           Talen Texas,
11099                                   29756   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11100   GANN, JULIE                     4347    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11101   GANN, JULIE     Laredo, LLC     10097   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11102   GANN, JULIE                     15844   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11103   GANN, JULIE                     21590   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11104   GANN, JULIE                     27338   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11105   GARAY, CARLOS                   6638    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1621 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11106   GARAY, CARLOS   Laredo, LLC     12388   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11107   GARAY, CARLOS                   18135   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11108   GARAY, CARLOS                   23869   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11109   GARAY, CARLOS                   29629   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11110   GARCES, ANA                     6372    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11111   GARCES, ANA     Laredo, LLC     12122   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11112   GARCES, ANA                     17869   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1622 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11113   GARCES, ANA                    23604   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11114   GARCES, ANA                    29363   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11115   GARCIA, ALAN                   6303    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11116   GARCIA, ALAN   Laredo, LLC     12053   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11117   GARCIA, ALAN                   17800   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11118   GARCIA, ALAN                   23535   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11119   GARCIA, ALAN                   29294   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1623 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11120   GARCIA, ALFRED   Laredo, LLC     32622   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11121   GARCIA, ALFRED                   33613   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11122   GARCIA, ALFRED                   34604   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11123   GARCIA, ALFRED                   35595   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11124   GARCIA, ALFRED                   36586   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, ALLISON Barney Davis,
11125                                    5736    8/1/2022     Secured: $0.00
        M               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, ALLISON
11126                   Laredo, LLC      11486   8/1/2022     Secured: $0.00
        M
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1624 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ALLISON Nueces Bay,
11127                                   17233   8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ALLISON Talen Texas
11128                                   22978   8/1/2022     Secured: $0.00
        M               Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ALLISON Talen Texas,
11129                                   28727   8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ANTONIO
11130                   Laredo, LLC     32623   8/1/2022     Secured: $0.00
        A.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ANTONIO Barney Davis,
11131                                   33614   8/1/2022     Secured: $0.00
        A.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ANTONIO Nueces Bay,
11132                                   34605   8/1/2022     Secured: $0.00
        A.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA, ANTONIO Talen Texas
11133                                   35596   8/1/2022     Secured: $0.00
        A.              Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1625 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, ANTONIO Talen Texas,
11134                                    36587   8/1/2022     Secured: $0.00
        A.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA,          Barney Davis,
11135                                    6449    8/1/2022     Secured: $0.00
        ARMANDINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA,
11136                    Laredo, LLC     12199   8/1/2022     Secured: $0.00
        ARMANDINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA,          Nueces Bay,
11137                                    17946   8/1/2022     Secured: $0.00
        ARMANDINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA,          Talen Texas
11138                                    23681   8/1/2022     Secured: $0.00
        ARMANDINA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA,          Talen Texas,
11139                                    29440   8/1/2022     Secured: $0.00
        ARMANDINA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11140   GARCIA, ASHLEE                   6066    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1626 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11141   GARCIA, ASHLEE   Laredo, LLC     11816   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11142   GARCIA, ASHLEE                   17563   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11143   GARCIA, ASHLEE                   23308   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11144   GARCIA, ASHLEE                   29057   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11145   GARCIA, BEN                      6497    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11146   GARCIA, BEN      Laredo, LLC     12247   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11147   GARCIA, BEN                      17994   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1627 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11148   GARCIA, BEN                       23729   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11149   GARCIA, BEN                       29488   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11150   GARCIA, CAROLYN                   6664    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11151   GARCIA, CAROLYN Laredo, LLC       12414   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11152   GARCIA, CAROLYN                   18161   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11153   GARCIA, CAROLYN                   23895   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11154   GARCIA, CAROLYN                   29655   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1628 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GARCIA,
11155                      Laredo, LLC     32624   8/1/2022     Secured: $0.00
        CASANDRA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GARCIA,            Barney Davis,
11156                                      33615   8/1/2022     Secured: $0.00
        CASANDRA           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GARCIA,            Nueces Bay,
11157                                      34606   8/1/2022     Secured: $0.00
        CASANDRA           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GARCIA,            Talen Texas
11158                                      35597   8/1/2022     Secured: $0.00
        CASANDRA           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GARCIA,            Talen Texas,
11159                                      36588   8/1/2022     Secured: $0.00
        CASANDRA           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
11160   GARCIA, CRISTELL Laredo, LLC       32625   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11161   GARCIA, CRISTELL                   33616   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1629 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11162   GARCIA, CRISTELL                   34607   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
11163   GARCIA, CRISTELL                   35598   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11164   GARCIA, CRISTELL                   36589   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
11165   GARCIA, CYNTHIA Laredo, LLC        32626   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11166   GARCIA, CYNTHIA                    33617   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11167   GARCIA, CYNTHIA                    34608   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
11168   GARCIA, CYNTHIA                    35599   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1630 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11169   GARCIA, CYNTHIA                   36590   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11170   GARCIA, DAVID                     6097    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11171   GARCIA, DAVID     Laredo, LLC     11847   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11172   GARCIA, DAVID                     17594   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11173   GARCIA, DAVID                     23339   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11174   GARCIA, DAVID                     29088   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11175   GARCIA, DIANA     Laredo, LLC     32627   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1631 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11176   GARCIA, DIANA                   33618   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11177   GARCIA, DIANA                   34609   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11178   GARCIA, DIANA                   35600   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11179   GARCIA, DIANA                   36591   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11180   GARCIA, DILMA   Laredo, LLC     32628   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11181   GARCIA, DILMA                   33619   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11182   GARCIA, DILMA                   34610   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1632 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11183   GARCIA, DILMA                   35601   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11184   GARCIA, DILMA                   36592   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11185   GARCIA, ELENA   Laredo, LLC     32629   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11186   GARCIA, ELENA                   33620   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11187   GARCIA, ELENA                   34611   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11188   GARCIA, ELENA                   35602   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11189   GARCIA, ELENA                   36593   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1633 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11190   GARCIA, ELSA   Laredo, LLC     32630   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11191   GARCIA, ELSA                   33621   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11192   GARCIA, ELSA                   34612   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11193   GARCIA, ELSA                   35603   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11194   GARCIA, ELSA                   36594   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA,        Barney Davis,
11195                                  7199    8/1/2022     Secured: $0.00
        ESMERALDA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA,
11196                  Laredo, LLC     12949   8/1/2022     Secured: $0.00
        ESMERALDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1634 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Nueces Bay,
11197                                   18696   8/1/2022     Secured: $0.00
        ESMERALDA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas
11198                                   24430   8/1/2022     Secured: $0.00
        ESMERALDA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas,
11199                                   30190   8/1/2022     Secured: $0.00
        ESMERALDA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11200   GARCIA, FRANK                   7247    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11201   GARCIA, FRANK   Laredo, LLC     12997   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11202   GARCIA, FRANK                   18744   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11203   GARCIA, FRANK                   24478   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1635 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11204   GARCIA, FRANK                    30238   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11205   GARCIA, GLORIA                   4204    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11206   GARCIA, GLORIA   Laredo, LLC     9954    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11207   GARCIA, GLORIA                   15701   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11208   GARCIA, GLORIA                   21447   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11209   GARCIA, GLORIA                   27195   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11210   GARCIA, GRETA    Laredo, LLC     32631   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1636 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11211   GARCIA, GRETA                     33622   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11212   GARCIA, GRETA                     34613   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11213   GARCIA, GRETA                     35604   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11214   GARCIA, GRETA                     36595   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11215   GARCIA, JEANNIE Laredo, LLC       32632   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11216   GARCIA, JEANNIE                   33623   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11217   GARCIA, JEANNIE                   34614   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1637 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11218   GARCIA, JEANNIE                   35605   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11219   GARCIA, JEANNIE                   36596   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11220   GARCIA, JHONNY                    4287    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11221   GARCIA, JHONNY Laredo, LLC        10037   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11222   GARCIA, JHONNY                    15784   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11223   GARCIA, JHONNY                    21530   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11224   GARCIA, JHONNY                    27278   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1638 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11225   GARCIA, JOE    Laredo, LLC     32633   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11226   GARCIA, JOE                    33624   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11227   GARCIA, JOE                    34615   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11228   GARCIA, JOE                    35606   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11229   GARCIA, JOE                    36597   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA, JOE
11230                  Laredo, LLC     32634   8/1/2022     Secured: $0.00
        ROBERT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA, JOE    Barney Davis,
11231                                  33625   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1639 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA, JOE    Nueces Bay,
11232                                  34616   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA, JOE    Talen Texas
11233                                  35607   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA, JOE    Talen Texas,
11234                                  36598   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11235   GARCIA, JOSE                   4318    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11236   GARCIA, JOSE   Laredo, LLC     10068   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11237   GARCIA, JOSE                   15815   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11238   GARCIA, JOSE                   21561   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1640 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11239   GARCIA, JOSE                       27309   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
11240   GARCIA, JOSEFINA Laredo, LLC       32635   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11241   GARCIA, JOSEFINA                   33626   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11242   GARCIA, JOSEFINA                   34617   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
11243   GARCIA, JOSEFINA                   35608   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11244   GARCIA, JOSEFINA                   36599   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11245   GARCIA, JOSEPH                     7666    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1641 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11246   GARCIA, JOSEPH   Laredo, LLC     13416   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11247   GARCIA, JOSEPH                   19163   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11248   GARCIA, JOSEPH                   24897   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11249   GARCIA, JOSEPH                   30657   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11250   GARCIA, KATIA                    7777    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11251   GARCIA, KATIA    Laredo, LLC     13527   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11252   GARCIA, KATIA                    19274   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1642 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11253   GARCIA, KATIA                   25008   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11254   GARCIA, KATIA                   30768   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Barney Davis,
11255                                   7850    8/1/2022     Secured: $0.00
        KIMBERLY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,
11256                   Laredo, LLC     13600   8/1/2022     Secured: $0.00
        KIMBERLY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Nueces Bay,
11257                                   19347   8/1/2022     Secured: $0.00
        KIMBERLY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas
11258                                   25081   8/1/2022     Secured: $0.00
        KIMBERLY        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas,
11259                                   30841   8/1/2022     Secured: $0.00
        KIMBERLY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1643 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11260   GARCIA, LAURA                   7929    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11261   GARCIA, LAURA   Laredo, LLC     13679   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11262   GARCIA, LAURA                   19426   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11263   GARCIA, LAURA                   25160   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11264   GARCIA, LAURA                   30920   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11265   GARCIA, LILIA                   4426    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11266   GARCIA, LILIA   Laredo, LLC     10176   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1644 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11267   GARCIA, LILIA                   15923   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11268   GARCIA, LILIA                   21669   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11269   GARCIA, LILIA                   27417   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11270   GARCIA, LINDA                   7981    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11271   GARCIA, LINDA                   7982    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11272   GARCIA, LINDA   Laredo, LLC     13731   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11273   GARCIA, LINDA   Laredo, LLC     13732   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1645 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
11274   GARCIA, LINDA                   19478   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
11275   GARCIA, LINDA                   19479   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
11276   GARCIA, LINDA                   25212   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
11277   GARCIA, LINDA                   25213   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
11278   GARCIA, LINDA                   30972   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
11279   GARCIA, LINDA                   30973   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11280   GARCIA, LLL ADAN Laredo, LLC    32621   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1646 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11281   GARCIA, LLL ADAN                   33612   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11282   GARCIA, LLL ADAN                   34603   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
11283   GARCIA, LLL ADAN                   35594   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11284   GARCIA, LLL ADAN                   36585   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11285   GARCIA, MARITZA                    8111    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
11286   GARCIA, MARITZA Laredo, LLC        13861   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11287   GARCIA, MARITZA                    19608   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1647 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11288   GARCIA, MARITZA                   25342   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11289   GARCIA, MARITZA                   31102   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11290   GARCIA, MARTA     Laredo, LLC     32636   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11291   GARCIA, MARTA                     33627   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11292   GARCIA, MARTA                     34618   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11293   GARCIA, MARTA                     35609   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11294   GARCIA, MARTA                     36600   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1648 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, MARY
11295                    Laredo, LLC     32637   8/1/2022     Secured: $0.00
        JANE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, MARY     Barney Davis,
11296                                    33628   8/1/2022     Secured: $0.00
        JANE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, MARY     Nueces Bay,
11297                                    34619   8/1/2022     Secured: $0.00
        JANE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, MARY     Talen Texas
11298                                    35610   8/1/2022     Secured: $0.00
        JANE             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARCIA, MARY     Talen Texas,
11299                                    36601   8/1/2022     Secured: $0.00
        JANE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11300   GARCIA, MIGUEL Laredo, LLC       32638   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11301   GARCIA, MIGUEL                   33629   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1649 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11302   GARCIA, MIGUEL                   34620   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11303   GARCIA, MIGUEL                   35611   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11304   GARCIA, MIGUEL                   36602   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11305   GARCIA, NAOMI                    8311    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11306   GARCIA, NAOMI    Laredo, LLC     14061   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11307   GARCIA, NAOMI                    19808   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11308   GARCIA, NAOMI                    25542   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1650 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11309   GARCIA, NAOMI                     31302   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11310   GARCIA, NARCISO                   5170    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11311   GARCIA, NARCISO Laredo, LLC       10920   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11312   GARCIA, NARCISO                   16667   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11313   GARCIA, NARCISO                   22412   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11314   GARCIA, NARCISO                   28161   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11315   GARCIA, NOEMI     Laredo, LLC     32639   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1651 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11316   GARCIA, NOEMI                   33630   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11317   GARCIA, NOEMI                   34621   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11318   GARCIA, NOEMI                   35612   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11319   GARCIA, NOEMI                   36603   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Barney Davis,
11320                                   4590    8/1/2022     Secured: $0.00
        RAYMOND         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,
11321                   Laredo, LLC     10340   8/1/2022     Secured: $0.00
        RAYMOND
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Nueces Bay,
11322                                   16087   8/1/2022     Secured: $0.00
        RAYMOND         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1652 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA,           Talen Texas
11323                                     21833   8/1/2022     Secured: $0.00
        RAYMOND           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA,           Talen Texas,
11324                                     27581   8/1/2022     Secured: $0.00
        RAYMOND           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11325   GARCIA, REFUGIO                   8525    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11326   GARCIA, REFUGIO Laredo, LLC       14275   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11327   GARCIA, REFUGIO                   20022   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11328   GARCIA, REFUGIO                   25754   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11329   GARCIA, REFUGIO                   31516   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1653 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11330   GARCIA, REGINA    Laredo, LLC     32640   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11331   GARCIA, REGINA                    33631   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11332   GARCIA, REGINA                    34622   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11333   GARCIA, REGINA                    35613   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11334   GARCIA, REGINA                    36604   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11335   GARCIA, ROGELIO Laredo, LLC       32641   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11336   GARCIA, ROGELIO                   33632   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1654 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11337   GARCIA, ROGELIO                   34623   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11338   GARCIA, ROGELIO                   35614   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11339   GARCIA, ROGELIO                   36605   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA, ROSE
11340                     Laredo, LLC     32642   8/1/2022     Secured: $0.00
        MARIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA, ROSE      Barney Davis,
11341                                     33633   8/1/2022     Secured: $0.00
        MARIE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA, ROSE      Nueces Bay,
11342                                     34624   8/1/2022     Secured: $0.00
        MARIE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA, ROSE      Talen Texas
11343                                     35615   8/1/2022     Secured: $0.00
        MARIE             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1655 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA, ROSE   Talen Texas,
11344                                  36606   8/1/2022     Secured: $0.00
        MARIE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11345   GARCIA, ROY                    8691    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11346   GARCIA, ROY    Laredo, LLC     14441   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11347   GARCIA, ROY                    20188   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11348   GARCIA, ROY                    25920   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11349   GARCIA, ROY                    31682   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARCIA,
11350                  Laredo, LLC     32643   8/1/2022     Secured: $0.00
        SANJUANITA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1656 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Barney Davis,
11351                                   33634   8/1/2022     Secured: $0.00
        SANJUANITA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Nueces Bay,
11352                                   34625   8/1/2022     Secured: $0.00
        SANJUANITA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas
11353                                   35616   8/1/2022     Secured: $0.00
        SANJUANITA      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas,
11354                                   36607   8/1/2022     Secured: $0.00
        SANJUANITA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11355   GARCIA, SHARI                   8787    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11356   GARCIA, SHARI   Laredo, LLC     14537   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11357   GARCIA, SHARI                   20284   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1657 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11358   GARCIA, SHARI                    26016   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11359   GARCIA, SHARI                    31778   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11360   GARCIA, SHELLY                   5302    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11361   GARCIA, SHELLY   Laredo, LLC     11052   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11362   GARCIA, SHELLY                   16799   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11363   GARCIA, SHELLY                   22544   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11364   GARCIA, SHELLY                   28293   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1658 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCÍA,           Barney Davis,
11365                                     8986    8/1/2022     Secured: $0.00
        THEOBALDO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCÍA,
11366                     Laredo, LLC     14736   8/1/2022     Secured: $0.00
        THEOBALDO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCÍA,           Nueces Bay,
11367                                     20483   8/1/2022     Secured: $0.00
        THEOBALDO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCÍA,           Talen Texas
11368                                     26215   8/1/2022     Secured: $0.00
        THEOBALDO         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCÍA,           Talen Texas,
11369                                     31977   8/1/2022     Secured: $0.00
        THEOBALDO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11370   GARCIA, VENTURA                   9097    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11371   GARCIA, VENTURA Laredo, LLC       14847   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1659 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11372   GARCIA, VENTURA                   20594   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11373   GARCIA, VENTURA                   26326   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11374   GARCIA, VENTURA                   32088   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA,
11375                     Laredo, LLC     32644   8/1/2022     Secured: $0.00
        YOLANDA B.
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA,           Barney Davis,
11376                                     33635   8/1/2022     Secured: $0.00
        YOLANDA B.        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA,           Nueces Bay,
11377                                     34626   8/1/2022     Secured: $0.00
        YOLANDA B.        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARCIA,           Talen Texas
11378                                     35617   8/1/2022     Secured: $0.00
        YOLANDA B.        Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1660 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA,         Talen Texas,
11379                                   36608   8/1/2022     Secured: $0.00
        YOLANDA B.      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA‐PARKER, Barney Davis,
11380                                   9053    8/1/2022     Secured: $0.00
        TRACI          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA‐PARKER,
11381                  Laredo, LLC      14803   8/1/2022     Secured: $0.00
        TRACI
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA‐PARKER, Nueces Bay,
11382                                   20550   8/1/2022     Secured: $0.00
        TRACI          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA‐PARKER, Talen Texas
11383                                   26282   8/1/2022     Secured: $0.00
        TRACI          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARCIA‐PARKER, Talen Texas,
11384                                   32044   8/1/2022     Secured: $0.00
        TRACI          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARDNER,        Barney Davis,
11385                                   4867    8/1/2022     Secured: $0.00
        BRANDY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1661 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,
11386                 Laredo, LLC     10617   8/1/2022     Secured: $0.00
        BRANDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Nueces Bay,
11387                                 16364   8/1/2022     Secured: $0.00
        BRANDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Talen Texas
11388                                 22110   8/1/2022     Secured: $0.00
        BRANDY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Talen Texas,
11389                                 27858   8/1/2022     Secured: $0.00
        BRANDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Barney Davis,
11390                                 5799    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Barney Davis,
11391                                 7522    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,
11392                 Laredo, LLC     11549   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1662 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,
11393                 Laredo, LLC    13272   8/1/2022     Secured: $0.00
        JENNIFER
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,      Nueces Bay,
11394                                17296   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,      Nueces Bay,
11395                                19019   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,      Talen Texas
11396                                23041   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,      Talen Texas
11397                                24753   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,      Talen Texas,
11398                                28790   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        GARDNER,      Talen Texas,
11399                                30513   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1663 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Barney Davis,
11400                                 7737    8/1/2022     Secured: $0.00
        KAMESHAL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,
11401                 Laredo, LLC     13487   8/1/2022     Secured: $0.00
        KAMESHAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Nueces Bay,
11402                                 19234   8/1/2022     Secured: $0.00
        KAMESHAL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Talen Texas
11403                                 24968   8/1/2022     Secured: $0.00
        KAMESHAL      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Talen Texas,
11404                                 30728   8/1/2022     Secured: $0.00
        KAMESHAL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,      Barney Davis,
11405                                 8192    8/1/2022     Secured: $0.00
        MELANIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARDNER,
11406                 Laredo, LLC     13942   8/1/2022     Secured: $0.00
        MELANIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1664 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARDNER,          Nueces Bay,
11407                                     19689   8/1/2022     Secured: $0.00
        MELANIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARDNER,          Talen Texas
11408                                     25423   8/1/2022     Secured: $0.00
        MELANIE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARDNER,          Talen Texas,
11409                                     31183   8/1/2022     Secured: $0.00
        MELANIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11410   GARDNER, SIERRA                   4697    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11411   GARDNER, SIERRA Laredo, LLC       10447   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11412   GARDNER, SIERRA                   16194   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11413   GARDNER, SIERRA                   21940   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1665 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11414   GARDNER, SIERRA                   27688   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARIBAY,          Barney Davis,
11415                                     7961    8/1/2022     Secured: $0.00
        LEONICIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARIBAY,
11416                     Laredo, LLC     13711   8/1/2022     Secured: $0.00
        LEONICIO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARIBAY,          Nueces Bay,
11417                                     19458   8/1/2022     Secured: $0.00
        LEONICIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARIBAY,          Talen Texas
11418                                     25192   8/1/2022     Secured: $0.00
        LEONICIO          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARIBAY,          Talen Texas,
11419                                     30952   8/1/2022     Secured: $0.00
        LEONICIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARLAND,          Barney Davis,
11420                                     3757    8/1/2022     Secured: $0.00
        GABRIELLE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1666 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARLAND,
11421                    Laredo, LLC     9507    8/1/2022     Secured: $0.00
        GABRIELLE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARLAND,         Nueces Bay,
11422                                    15254   8/1/2022     Secured: $0.00
        GABRIELLE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARLAND,         Talen Texas
11423                                    21001   8/1/2022     Secured: $0.00
        GABRIELLE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARLAND,         Talen Texas,
11424                                    26748   8/1/2022     Secured: $0.00
        GABRIELLE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11425   GARNER, JUSTIN                   7729    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11426   GARNER, JUSTIN   Laredo, LLC     13479   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11427   GARNER, JUSTIN                   19226   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1667 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11428   GARNER, JUSTIN                    24960   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11429   GARNER, JUSTIN                    30720   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11430   GARNER, TIFFANY                   9006    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11431   GARNER, TIFFANY Laredo, LLC       14756   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11432   GARNER, TIFFANY                   20503   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11433   GARNER, TIFFANY                   26235   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11434   GARNER, TIFFANY                   31997   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1668 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11435   GARNER, TINA                     4747    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11436   GARNER, TINA     Laredo, LLC     10497   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11437   GARNER, TINA                     16244   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11438   GARNER, TINA                     21990   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11439   GARNER, TINA                     27738   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11440   GARNER, WILLIE                   5376    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11441   GARNER, WILLIE   Laredo, LLC     11126   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1669 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11442   GARNER, WILLIE                   16873   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11443   GARNER, WILLIE                   22618   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11444   GARNER, WILLIE                   28367   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARRETT,         Barney Davis,
11445                                    6766    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARRETT,
11446                    Laredo, LLC     12516   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARRETT,         Nueces Bay,
11447                                    18263   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARRETT,         Talen Texas
11448                                    23997   8/1/2022     Secured: $0.00
        CHRISTOPHER      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1670 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARRETT,         Talen Texas,
11449                                    29757   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11450   GARRETT, CLARA                   6787    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11451   GARRETT, CLARA Laredo, LLC       12537   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11452   GARRETT, CLARA                   18284   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11453   GARRETT, CLARA                   24018   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11454   GARRETT, CLARA                   29778   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11455   GARRETT, KIP                     5079    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1671 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11456   GARRETT, KIP   Laredo, LLC     10829   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11457   GARRETT, KIP                   16576   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11458   GARRETT, KIP                   22321   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11459   GARRETT, KIP                   28070   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARRETT,       Barney Davis,
11460                                  8668    8/1/2022     Secured: $0.00
        RONALD         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARRETT,
11461                  Laredo, LLC     14418   8/1/2022     Secured: $0.00
        RONALD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARRETT,       Nueces Bay,
11462                                  20165   8/1/2022     Secured: $0.00
        RONALD         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1672 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRETT,      Talen Texas
11463                                 25897   8/1/2022     Secured: $0.00
        RONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRETT,      Talen Texas,
11464                                 31659   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRIGA,      Barney Davis,
11465                                 8188    8/1/2022     Secured: $0.00
        MAYDELEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRIGA,
11466                 Laredo, LLC     13938   8/1/2022     Secured: $0.00
        MAYDELEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRIGA,      Nueces Bay,
11467                                 19685   8/1/2022     Secured: $0.00
        MAYDELEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRIGA,      Talen Texas
11468                                 25419   8/1/2022     Secured: $0.00
        MAYDELEN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARRIGA,      Talen Texas,
11469                                 31179   8/1/2022     Secured: $0.00
        MAYDELEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1673 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
        GARRISON                                            Other Administrative: $0.00
        PROPERTY AND                                        Priority: $0.00
                       Barney Davis,
11470   CASUALTY                       1173    7/28/2022    Secured: $0.00
                       LLC
        INSURANCE                                           General Unsecured: $79,271,700.76 + Unliquidated
        COMPANY
                                                            Total: $79,271,700.76 + Unliquidated

                                                            503(b)(9): $0.00
        GARRISON                                            Other Administrative: $0.00
        PROPERTY AND                                        Priority: $0.00
                       Nueces Bay,
11471   CASUALTY                       1215    7/28/2022    Secured: $0.00
                       LLC
        INSURANCE                                           General Unsecured: $79,271,700.76 + Unliquidated
        COMPANY
                                                            Total: $79,271,700.76 + Unliquidated

                                                            503(b)(9): $0.00
        GARRISON                                            Other Administrative: $0.00
        PROPERTY AND                                        Priority: $0.00
11472   CASUALTY       Laredo, LLC     1276    7/28/2022    Secured: $0.00
        INSURANCE                                           General Unsecured: $79,271,700.76 + Unliquidated
        COMPANY
                                                            Total: $79,271,700.76 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARRISON,      Barney Davis,
11473                                  4970    8/1/2022     Secured: $0.00
        FRANCES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARRISON,
11474                  Laredo, LLC     10720   8/1/2022     Secured: $0.00
        FRANCES
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GARRISON,      Nueces Bay,
11475                                  16467   8/1/2022     Secured: $0.00
        FRANCES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1674 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARRISON,       Talen Texas
11476                                   22212   8/1/2022     Secured: $0.00
        FRANCES         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GARRISON,       Talen Texas,
11477                                   27961   8/1/2022     Secured: $0.00
        FRANCES         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11478   GARRISON, JIM                   5805    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11479   GARRISON, JIM   Laredo, LLC     11555   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11480   GARRISON, JIM                   17302   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11481   GARRISON, JIM                   23047   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11482   GARRISON, JIM                   28796   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1675 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11483   GARST, GARRY    Laredo, LLC     32645   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11484   GARST, GARRY                    33636   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11485   GARST, GARRY                    34627   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11486   GARST, GARRY                    35618   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11487   GARST, GARRY                    36609   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11488   GARY, RAYMOND                   8508    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11489   GARY, RAYMOND Laredo, LLC       14258   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1676 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11490   GARY, RAYMOND                    20005   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11491   GARY, RAYMOND                    25737   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11492   GARY, RAYMOND                    31499   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11493   GARY, WILLIAMS                   9171    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11494   GARY, WILLIAMS   Laredo, LLC     14921   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11495   GARY, WILLIAMS                   20668   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11496   GARY, WILLIAMS                   26400   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1677 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11497   GARY, WILLIAMS                   32162   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,
11498                    Laredo, LLC     32646   8/1/2022     Secured: $0.00
        BRIDGETTE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Barney Davis,
11499                                    33637   8/1/2022     Secured: $0.00
        BRIDGETTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Nueces Bay,
11500                                    34628   8/1/2022     Secured: $0.00
        BRIDGETTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Talen Texas
11501                                    35619   8/1/2022     Secured: $0.00
        BRIDGETTE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Talen Texas,
11502                                    36610   8/1/2022     Secured: $0.00
        BRIDGETTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11503   GARZA, BRINDA                    6592    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1678 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11504   GARZA, BRINDA   Laredo, LLC     12342   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11505   GARZA, BRINDA                   18089   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11506   GARZA, BRINDA                   23823   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11507   GARZA, BRINDA                   29583   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11508   GARZA, DAVID    Laredo, LLC     32647   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11509   GARZA, DAVID                    33638   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11510   GARZA, DAVID                    34629   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1679 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11511   GARZA, DAVID                   35620   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11512   GARZA, DAVID                   36611   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11513   GARZA, DIANA                   5544    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11514   GARZA, DIANA   Laredo, LLC     11294   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11515   GARZA, DIANA                   17041   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11516   GARZA, DIANA                   22786   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11517   GARZA, DIANA                   28535   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1680 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZA, DIANA      Barney Davis,
11518                                     4127    8/1/2022     Secured: $0.00
        CORTEZ            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZA, DIANA
11519                     Laredo, LLC     9877    8/1/2022     Secured: $0.00
        CORTEZ
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZA, DIANA      Nueces Bay,
11520                                     15624   8/1/2022     Secured: $0.00
        CORTEZ            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZA, DIANA      Talen Texas
11521                                     21370   8/1/2022     Secured: $0.00
        CORTEZ            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZA, DIANA      Talen Texas,
11522                                     27118   8/1/2022     Secured: $0.00
        CORTEZ            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11523   GARZA, EDELMIRA                   4152    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11524   GARZA, EDELMIRA Laredo, LLC       9902    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1681 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11525   GARZA, EDELMIRA                   15649   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11526   GARZA, EDELMIRA                   21395   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11527   GARZA, EDELMIRA                   27143   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11528   GARZA, ELEAZAR                    5787    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11529   GARZA, ELEAZAR    Laredo, LLC     11537   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11530   GARZA, ELEAZAR                    17284   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11531   GARZA, ELEAZAR                    23029   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1682 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11532   GARZA, ELEAZAR                   28778   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11533   GARZA, ESTHER                    4172    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11534   GARZA, ESTHER    Laredo, LLC     9922    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11535   GARZA, ESTHER                    15669   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11536   GARZA, ESTHER                    21415   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11537   GARZA, ESTHER                    27163   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,
11538                    Laredo, LLC     32648   8/1/2022     Secured: $0.00
        FERNANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1683 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Barney Davis,
11539                                 33639   8/1/2022     Secured: $0.00
        FERNANDO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Nueces Bay,
11540                                 34630   8/1/2022     Secured: $0.00
        FERNANDO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Talen Texas
11541                                 35621   8/1/2022     Secured: $0.00
        FERNANDO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Talen Texas,
11542                                 36612   8/1/2022     Secured: $0.00
        FERNANDO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
11543   GARZA, IRMA                   7398    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
11544   GARZA, IRMA   Laredo, LLC     13148   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
11545   GARZA, IRMA                   18895   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1684 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
11546   GARZA, IRMA                   24629   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
11547   GARZA, IRMA                   30389   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
11548   GARZA, JUAN                   7697    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
11549   GARZA, JUAN                   7698    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
11550   GARZA, JUAN   Laredo, LLC     13447   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
11551   GARZA, JUAN   Laredo, LLC     13448   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
11552   GARZA, JUAN                   19194   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1685 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11553   GARZA, JUAN                     19195   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11554   GARZA, JUAN                     24928   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11555   GARZA, JUAN                     24929   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11556   GARZA, JUAN                     30688   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11557   GARZA, JUAN                     30689   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11558   GARZA, LEONEL   Laredo, LLC     32649   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11559   GARZA, LEONEL                   33640   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1686 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11560   GARZA, LEONEL                   34631   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11561   GARZA, LEONEL                   35622   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11562   GARZA, LEONEL                   36613   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11563   GARZA, MONICA   Laredo, LLC     32650   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
11564   GARZA, MONICA                   33641   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11565   GARZA, MONICA                   34632   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11566   GARZA, MONICA                   35623   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1687 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11567   GARZA, MONICA                     36614   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11568   GARZA, NICHOLAS                   3612    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11569   GARZA, NICHOLAS Laredo, LLC       9362    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11570   GARZA, NICHOLAS                   15109   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11571   GARZA, NICHOLAS                   20856   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11572   GARZA, NICHOLAS                   26603   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11573   GARZA, ORLANDO                    8367    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1688 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11574   GARZA, ORLANDO Laredo, LLC       14117   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11575   GARZA, ORLANDO                   19864   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11576   GARZA, ORLANDO                   25597   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11577   GARZA, ORLANDO                   31358   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11578   GARZA, PETEA                     8442    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11579   GARZA, PETEA     Laredo, LLC     14192   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11580   GARZA, PETEA                     19939   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1689 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11581   GARZA, PETEA                     25672   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11582   GARZA, PETEA                     31433   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11583   GARZA, RICARDO                   4604    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11584   GARZA, RICARDO Laredo, LLC       10354   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11585   GARZA, RICARDO                   16101   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11586   GARZA, RICARDO                   21847   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11587   GARZA, RICARDO                   27595   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1690 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11588   GARZA, RICARDO Laredo, LLC       32651   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11589   GARZA, RICARDO                   33642   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11590   GARZA, RICARDO                   34633   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11591   GARZA, RICARDO                   35624   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11592   GARZA, RICARDO                   36615   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11593   GARZA, RICHARD                   6015    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11594   GARZA, RICHARD Laredo, LLC       11765   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1691 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11595   GARZA, RICHARD                   17512   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11596   GARZA, RICHARD                   23257   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11597   GARZA, RICHARD                   29006   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11598   GARZA, RICHARD Laredo, LLC       32652   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11599   GARZA, RICHARD                   33643   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11600   GARZA, RICHARD                   34634   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11601   GARZA, RICHARD                   35625   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1692 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11602   GARZA, RICHARD                    36616   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11603   GARZA, ROGELIO Laredo, LLC        32653   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11604   GARZA, ROGELIO                    33644   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11605   GARZA, ROGELIO                    34635   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11606   GARZA, ROGELIO                    35626   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11607   GARZA, ROGELIO                    36617   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11608   GARZA, SHERISSA                   8824    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1693 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11609   GARZA, SHERISSA Laredo, LLC       14574   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11610   GARZA, SHERISSA                   20321   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11611   GARZA, SHERISSA                   26053   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11612   GARZA, SHERISSA                   31815   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11613   GARZA, SUELLEN                    6192    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11614   GARZA, SUELLEN    Laredo, LLC     11942   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11615   GARZA, SUELLEN                    17689   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1694 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11616   GARZA, SUELLEN                   23434   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11617   GARZA, SUELLEN                   29183   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Barney Davis,
11618                                    9103    8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,
11619                    Laredo, LLC     14853   8/1/2022     Secured: $0.00
        VERONICA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Nueces Bay,
11620                                    20600   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Talen Texas
11621                                    26332   8/1/2022     Secured: $0.00
        VERONICA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GARZA,           Talen Texas,
11622                                    32094   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1695 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,
11623                 Laredo, LLC     32654   8/1/2022     Secured: $0.00
        VERONICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Barney Davis,
11624                                 33645   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Nueces Bay,
11625                                 34636   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Talen Texas
11626                                 35627   8/1/2022     Secured: $0.00
        VERONICA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZA,        Talen Texas,
11627                                 36618   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZAGLASS,   Barney Davis,
11628                                 8190    8/1/2022     Secured: $0.00
        MEGAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GARZAGLASS,
11629                 Laredo, LLC     13940   8/1/2022     Secured: $0.00
        MEGAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1696 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZAGLASS,       Nueces Bay,
11630                                     19687   8/1/2022     Secured: $0.00
        MEGAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZAGLASS,       Talen Texas
11631                                     25421   8/1/2022     Secured: $0.00
        MEGAN             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GARZAGLASS,       Talen Texas,
11632                                     31181   8/1/2022     Secured: $0.00
        MEGAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11633   GARZORIA, DIANA                   4942    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11634   GARZORIA, DIANA Laredo, LLC       10692   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11635   GARZORIA, DIANA                   16439   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11636   GARZORIA, DIANA                   22184   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1697 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11637   GARZORIA, DIANA                   27933   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        GAS AND GREASE                                         Other Administrative: $0.00
        AUTOMATIVE                                             Priority: $0.00
                       Barney Davis,
11638   REPAIR LLC,                       5686    8/1/2022     Secured: $0.00
                       LLC
        FRANCHISE TAX                                          General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        GAS AND GREASE                                         Other Administrative: $0.00
        AUTOMATIVE                                             Priority: $0.00
11639   REPAIR LLC,    Laredo, LLC        11436   8/1/2022     Secured: $0.00
        FRANCHISE TAX                                          General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        GAS AND GREASE                                         Other Administrative: $0.00
        AUTOMATIVE                                             Priority: $0.00
                       Nueces Bay,
11640   REPAIR LLC,                       17183   8/1/2022     Secured: $0.00
                       LLC
        FRANCHISE TAX                                          General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        GAS AND GREASE                                         Other Administrative: $0.00
        AUTOMATIVE                                             Priority: $0.00
                       Talen Texas
11641   REPAIR LLC,                       22928   8/1/2022     Secured: $0.00
                       Group, LLC
        FRANCHISE TAX                                          General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        GAS AND GREASE                                         Other Administrative: $0.00
        AUTOMATIVE                                             Priority: $0.00
                       Talen Texas,
11642   REPAIR LLC,                       28677   8/1/2022     Secured: $0.00
                       LLC
        FRANCHISE TAX                                          General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GASAWAY,          Barney Davis,
11643                                     6875    8/1/2022     Secured: $0.00
        DAMIAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1698 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASAWAY,
11644                    Laredo, LLC    12625   8/1/2022     Secured: $0.00
        DAMIAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASAWAY,         Nueces Bay,
11645                                   18372   8/1/2022     Secured: $0.00
        DAMIAN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASAWAY,         Talen Texas
11646                                   24106   8/1/2022     Secured: $0.00
        DAMIAN           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASAWAY,         Talen Texas,
11647                                   29866   8/1/2022     Secured: $0.00
        DAMIAN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASKINS, NICOLE Barney Davis,
11648                                   4540    8/1/2022     Secured: $0.00
        MARIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASKINS, NICOLE
11649                   Laredo, LLC     10290   8/1/2022     Secured: $0.00
        MARIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GASKINS, NICOLE Nueces Bay,
11650                                   16037   8/1/2022     Secured: $0.00
        MARIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1699 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GASKINS, NICOLE Talen Texas
11651                                     21783   8/1/2022     Secured: $0.00
        MARIE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GASKINS, NICOLE Talen Texas,
11652                                     27531   8/1/2022     Secured: $0.00
        MARIE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11653   GASKINS, TERESA                   8965    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11654   GASKINS, TERESA Laredo, LLC       14715   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11655   GASKINS, TERESA                   20462   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11656   GASKINS, TERESA                   26194   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11657   GASKINS, TERESA                   31956   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1700 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11658   GASPAR, TERESA   Laredo, LLC     32655   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11659   GASPAR, TERESA                   33646   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11660   GASPAR, TERESA                   34637   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11661   GASPAR, TERESA                   35628   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11662   GASPAR, TERESA                   36619   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11663   GASTON, DORRIS                   7098    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11664   GASTON, DORRIS Laredo, LLC       12848   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1701 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11665   GASTON, DORRIS                   18595   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11666   GASTON, DORRIS                   24329   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11667   GASTON, DORRIS                   30089   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GASTON, MARY     Barney Davis,
11668                                    5839    8/1/2022     Secured: $0.00
        BETH             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GASTON, MARY
11669                    Laredo, LLC     11589   8/1/2022     Secured: $0.00
        BETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GASTON, MARY     Nueces Bay,
11670                                    17336   8/1/2022     Secured: $0.00
        BETH             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GASTON, MARY     Talen Texas
11671                                    23081   8/1/2022     Secured: $0.00
        BETH             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1702 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GASTON, MARY     Talen Texas,
11672                                    28830   8/1/2022     Secured: $0.00
        BETH             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11673   GATES, VERA                      9098    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11674   GATES, VERA      Laredo, LLC     14848   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11675   GATES, VERA                      20595   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11676   GATES, VERA                      26327   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11677   GATES, VERA                      32089   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11678   GATHERS, DARYL                   6217    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1703 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11679   GATHERS, DARYL Laredo, LLC        11967   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11680   GATHERS, DARYL                    17714   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11681   GATHERS, DARYL                    23459   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11682   GATHERS, DARYL                    29208   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11683   GATICA, CYNTHIA Laredo, LLC       32656   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11684   GATICA, CYNTHIA                   33647   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11685   GATICA, CYNTHIA                   34638   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1704 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11686   GATICA, CYNTHIA                   35629   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11687   GATICA, CYNTHIA                   36620   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GATLIN,           Barney Davis,
11688                                     4020    8/1/2022     Secured: $0.00
        CATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GATLIN,
11689                     Laredo, LLC     9770    8/1/2022     Secured: $0.00
        CATHERINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GATLIN,           Nueces Bay,
11690                                     15517   8/1/2022     Secured: $0.00
        CATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GATLIN,           Talen Texas
11691                                     21263   8/1/2022     Secured: $0.00
        CATHERINE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GATLIN,           Talen Texas,
11692                                     27011   8/1/2022     Secured: $0.00
        CATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1705 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAULDIN,         Barney Davis,
11693                                    6565    8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAULDIN,
11694                    Laredo, LLC     12315   8/1/2022     Secured: $0.00
        BRENDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAULDIN,         Nueces Bay,
11695                                    18062   8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAULDIN,         Talen Texas
11696                                    23797   8/1/2022     Secured: $0.00
        BRENDA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAULDIN,         Talen Texas,
11697                                    29556   8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11698   GAULDING, RITA   Laredo, LLC     32657   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11699   GAULDING, RITA                   33648   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1706 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
11700   GAULDING, RITA                  34639   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
11701   GAULDING, RITA                  35630   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
11702   GAULDING, RITA                  36621   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAVIN ‐ BARNES, Barney Davis,
11703                                   6675    8/1/2022     Secured: $0.00
        CASSANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAVIN ‐ BARNES,
11704                   Laredo, LLC     12425   8/1/2022     Secured: $0.00
        CASSANDRA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAVIN ‐ BARNES, Nueces Bay,
11705                                   18172   8/1/2022     Secured: $0.00
        CASSANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GAVIN ‐ BARNES, Talen Texas
11706                                   23906   8/1/2022     Secured: $0.00
        CASSANDRA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1707 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAVIN ‐ BARNES, Talen Texas,
11707                                    29666   8/1/2022     Secured: $0.00
        CASSANDRA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GAWLIK JR,                                            Priority: $0.00
                         Barney Davis,
11708   GERALD LEE                       4201    8/1/2022     Secured: $0.00
                         LLC
        GAWLIK                                                General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GAWLIK JR,                                            Priority: $0.00
11709   GERALD LEE       Laredo, LLC     9951    8/1/2022     Secured: $0.00
        GAWLIK                                                General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GAWLIK JR,                                            Priority: $0.00
                         Nueces Bay,
11710   GERALD LEE                       15698   8/1/2022     Secured: $0.00
                         LLC
        GAWLIK                                                General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GAWLIK JR,                                            Priority: $0.00
                         Talen Texas
11711   GERALD LEE                       21444   8/1/2022     Secured: $0.00
                         Group, LLC
        GAWLIK                                                General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GAWLIK JR,                                            Priority: $0.00
                         Talen Texas,
11712   GERALD LEE                       27192   8/1/2022     Secured: $0.00
                         LLC
        GAWLIK                                                General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GAYMES,          Barney Davis,
11713                                    5972    8/1/2022     Secured: $0.00
        DEVANAND         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1708 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GAYMES,
11714                     Laredo, LLC     11722   8/1/2022     Secured: $0.00
        DEVANAND
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GAYMES,           Nueces Bay,
11715                                     17469   8/1/2022     Secured: $0.00
        DEVANAND          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GAYMES,           Talen Texas
11716                                     23214   8/1/2022     Secured: $0.00
        DEVANAND          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GAYMES,           Talen Texas,
11717                                     28963   8/1/2022     Secured: $0.00
        DEVANAND          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11718   GAYTAN, GABRIEL                   7257    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11719   GAYTAN, GABRIEL Laredo, LLC       13007   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11720   GAYTAN, GABRIEL                   18754   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1709 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11721   GAYTAN, GABRIEL                   24488   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11722   GAYTAN, GABRIEL                   30248   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEARHART,
11723                     Laredo, LLC     32658   8/1/2022     Secured: $0.00
        JORDAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEARHART,         Barney Davis,
11724                                     33649   8/1/2022     Secured: $0.00
        JORDAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEARHART,         Nueces Bay,
11725                                     34640   8/1/2022     Secured: $0.00
        JORDAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEARHART,         Talen Texas
11726                                     35631   8/1/2022     Secured: $0.00
        JORDAN            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEARHART,         Talen Texas,
11727                                     36622   8/1/2022     Secured: $0.00
        JORDAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1710 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11728   GEER, KATHLEEN                   3772    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11729   GEER, KATHLEEN Laredo, LLC       9522    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11730   GEER, KATHLEEN                   15269   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11731   GEER, KATHLEEN                   21016   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11732   GEER, KATHLEEN                   26763   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11733   GEFALLER, LUKE                   9287    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11734   GEFALLER, LUKE   Laredo, LLC     15037   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1711 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11735   GEFALLER, LUKE                   20784   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11736   GEFALLER, LUKE                   26516   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11737   GEFALLER, LUKE                   32278   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GEHRING,         Barney Davis,
11738                                    8782    8/1/2022     Secured: $0.00
        SHANNON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GEHRING,
11739                    Laredo, LLC     14532   8/1/2022     Secured: $0.00
        SHANNON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GEHRING,         Nueces Bay,
11740                                    20279   8/1/2022     Secured: $0.00
        SHANNON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GEHRING,         Talen Texas
11741                                    26011   8/1/2022     Secured: $0.00
        SHANNON          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1712 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GEHRING,       Talen Texas,
11742                                  31773   8/1/2022     Secured: $0.00
        SHANNON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11743   GEIGER, LEON                   4421    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11744   GEIGER, LEON   Laredo, LLC     10171   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11745   GEIGER, LEON                   15918   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11746   GEIGER, LEON                   21664   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11747   GEIGER, LEON                   27412   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        CASUALTY
11748                  Laredo, LLC     2398    8/1/2022     Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $1,437,496.35 + Unliquidated
        WISCONSIN
                                                            Total: $1,437,496.35 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1713 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        CASUALTY        Barney Davis,
11749                                   2403   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $1,437,496.35 + Unliquidated
        WISCONSIN
                                                            Total: $1,437,496.35 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        CASUALTY        Nueces Bay,
11750                                   2407   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $1,437,496.35 + Unliquidated
        WISCONSIN
                                                            Total: $1,437,496.35 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        CASUALTY
11751                   Laredo, LLC     2920   8/1/2022     Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $8,556,115.63 + Unliquidated
        WISCONSIN
                                                            Total: $8,556,115.63 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        CASUALTY        Barney Davis,
11752                                   3003   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $8,556,115.63 + Unliquidated
        WISCONSIN
                                                            Total: $8,556,115.63 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        CASUALTY        Nueces Bay,
11753                                   3312   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $8,556,115.63 + Unliquidated
        WISCONSIN
                                                            Total: $8,556,115.63 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL                                             Priority: $0.00
11754   INTERNATIONAL   Laredo, LLC     1487   7/29/2022    Secured: $0.00
        LIMITED                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL                                             Priority: $0.00
                        Barney Davis,
11755   INTERNATIONAL                   1552   7/29/2022    Secured: $0.00
                        LLC
        LIMITED                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1714 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL                                             Priority: $0.00
                        Nueces Bay,
11756   INTERNATIONAL                   1556   7/29/2022    Secured: $0.00
                        LLC
        LIMITED                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        SECURITY
11757                   Laredo, LLC     2896   8/1/2022     Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        ARIZONA
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        SECURITY        Barney Davis,
11758                                   2997   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        ARIZONA
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL
                                                            Priority: $0.00
        SECURITY        Nueces Bay,
11759                                   3362   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        ARIZONA
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL STAR                                        Priority: $0.00
                        Barney Davis,
11760   INDEMNITY                       1166   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $62,724,892.87 + Unliquidated

                                                            Total: $62,724,892.87 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL STAR                                        Priority: $0.00
11761   INDEMNITY       Laredo, LLC     1168   7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $62,724,892.87 + Unliquidated

                                                            Total: $62,724,892.87 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1715 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GENERAL STAR                                        Priority: $0.00
                       Nueces Bay,
11762   INDEMNITY                      1224    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $62,724,892.87 + Unliquidated

                                                            Total: $62,724,892.87 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11763   GENTRY, KYLE                   7885    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11764   GENTRY, KYLE   Laredo, LLC     13635   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11765   GENTRY, KYLE                   19382   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11766   GENTRY, KYLE                   25116   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11767   GENTRY, KYLE                   30876   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1716 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEOFFRION,        Barney Davis,
11768                                     8312    8/1/2022     Secured: $0.00
        NAOMI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEOFFRION,
11769                     Laredo, LLC     14062   8/1/2022     Secured: $0.00
        NAOMI
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEOFFRION,        Nueces Bay,
11770                                     19809   8/1/2022     Secured: $0.00
        NAOMI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEOFFRION,        Talen Texas
11771                                     25543   8/1/2022     Secured: $0.00
        NAOMI             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GEOFFRION,        Talen Texas,
11772                                     31303   8/1/2022     Secured: $0.00
        NAOMI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11773   GEORGE, FREDDIE                   7253    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11774   GEORGE, FREDDIE Laredo, LLC       13003   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1717 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11775   GEORGE, FREDDIE                   18750   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11776   GEORGE, FREDDIE                   24484   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11777   GEORGE, FREDDIE                   30244   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11778   GEORGE, SYLVIA                    8917    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11779   GEORGE, SYLVIA    Laredo, LLC     14667   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11780   GEORGE, SYLVIA                    20414   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11781   GEORGE, SYLVIA                    26146   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1718 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11782   GEORGE, SYLVIA                   31908   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GEOVERA
                                                              Priority: $0.00
        SPECIALTY        Barney Davis,
11783                                    2474    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $52,050,797.00 + Unliquidated
        COMPANY
                                                              Total: $52,050,797.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GEOVERA
                                                              Priority: $0.00
        SPECIALTY        Nueces Bay,
11784                                    2489    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $52,050,797.00 + Unliquidated
        COMPANY
                                                              Total: $52,050,797.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GEOVERA
                                                              Priority: $0.00
        SPECIALTY
11785                    Laredo, LLC     2625    7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $52,050,797.00 + Unliquidated
        COMPANY
                                                              Total: $52,050,797.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GERBER,          Barney Davis,
11786                                    7148    8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GERBER,
11787                    Laredo, LLC     12898   8/1/2022     Secured: $0.00
        ELIZABETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1719 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERBER,        Nueces Bay,
11788                                  18645   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERBER,        Talen Texas
11789                                  24379   8/1/2022     Secured: $0.00
        ELIZABETH      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERBER,        Talen Texas,
11790                                  30139   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
11791   GEREN, WYNDI                   9178    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
11792   GEREN, WYNDI   Laredo, LLC     14928   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
11793   GEREN, WYNDI                   20675   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
11794   GEREN, WYNDI                   26407   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1720 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
11795   GEREN, WYNDI                   32169   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERHART,       Barney Davis,
11796                                  5706    8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERHART,
11797                  Laredo, LLC     11456   8/1/2022     Secured: $0.00
        ROBERT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERHART,       Nueces Bay,
11798                                  17203   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERHART,       Talen Texas
11799                                  22948   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GERHART,       Talen Texas,
11800                                  28697   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GERMANIA FARM
                                                            Priority: $0.00
        MUTUAL        Barney Davis,
11801                                  492     7/21/2022    Secured: $0.00
        INSURANCE     LLC
                                                            General Unsecured: $54,489,461.28
        ASSOCIATION
                                                            Total: $54,489,461.28
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1721 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GERMANIA FARM
                                                           Priority: $0.00
        MUTUAL        Nueces Bay,
11802                                 493     7/21/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $54,489,461.28
        ASSOCIATION
                                                           Total: $54,489,461.28
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GERMANIA FARM
                                                           Priority: $0.00
        MUTUAL
11803                 Laredo, LLC     505     7/21/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $54,489,461.28
        ASSOCIATION
                                                           Total: $54,489,461.28
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GERMANIA FARM
                                                           Priority: $0.00
        MUTUAL        Nueces Bay,
11804                                 2995    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $54,489,461.28 + Unliquidated
        ASSOCIATION
                                                           Total: $54,489,461.28 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GERMANIA FARM
                                                           Priority: $0.00
        MUTUAL
11805                 Laredo, LLC     3041    8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $1,396,581.38 + Unliquidated
        ASSOCIATION
                                                           Total: $1,396,581.38 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GERMANIA FARM
                                                           Priority: $0.00
        MUTUAL
11806                 Laredo, LLC     3318    8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $54,489,461.28 + Unliquidated
        ASSOCIATION
                                                           Total: $54,489,461.28 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GERMANIA FARM
                                                           Priority: $0.00
        MUTUAL        Barney Davis,
11807                                 3328    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $1,396,581.38 + Unliquidated
        ASSOCIATION
                                                           Total: $1,396,581.38 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1722 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERMANY,      Barney Davis,
11808                                 4047    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERMANY,
11809                 Laredo, LLC     9797    8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERMANY,      Nueces Bay,
11810                                 15544   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERMANY,      Talen Texas
11811                                 21290   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERMANY,      Talen Texas,
11812                                 27038   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERRER,       Barney Davis,
11813                                 6750    8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERRER,
11814                 Laredo, LLC     12500   8/1/2022     Secured: $0.00
        CHRISTINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1723 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERRER,       Nueces Bay,
11815                                 18247   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERRER,       Talen Texas
11816                                 23981   8/1/2022     Secured: $0.00
        CHRISTINA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GERRER,       Talen Texas,
11817                                 29741   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GHORNDIKE,
11818                 Laredo, LLC     32659   8/1/2022     Secured: $0.00
        PATRICIA A
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GHORNDIKE,    Barney Davis,
11819                                 33650   8/1/2022     Secured: $0.00
        PATRICIA A    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GHORNDIKE,    Nueces Bay,
11820                                 34641   8/1/2022     Secured: $0.00
        PATRICIA A    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GHORNDIKE,    Talen Texas
11821                                 35632   8/1/2022     Secured: $0.00
        PATRICIA A    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1724 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GHORNDIKE,        Talen Texas,
11822                                     36623   8/1/2022     Secured: $0.00
        PATRICIA A        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11823   GIBBS, DARRELL                    4090    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11824   GIBBS, DARRELL    Laredo, LLC     9840    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11825   GIBBS, DARRELL                    15587   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11826   GIBBS, DARRELL                    21333   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11827   GIBBS, DARRELL                    27081   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11828   GIBBS, DIMITRIA                   7048    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1725 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11829   GIBBS, DIMITRIA   Laredo, LLC     12798   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11830   GIBBS, DIMITRIA                   18545   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11831   GIBBS, DIMITRIA                   24279   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11832   GIBBS, DIMITRIA                   30039   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11833   GIBBS, RITA                       8586    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11834   GIBBS, RITA       Laredo, LLC     14336   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11835   GIBBS, RITA                       20083   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1726 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11836   GIBBS, RITA                       25815   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11837   GIBBS, RITA                       31577   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11838   GIBSON, JESSICA                   5803    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11839   GIBSON, JESSICA   Laredo, LLC     11553   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11840   GIBSON, JESSICA                   17300   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11841   GIBSON, JESSICA                   23045   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11842   GIBSON, JESSICA                   28794   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1727 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11843   GIDEON, DEANNA                   4101    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11844   GIDEON, DEANNA Laredo, LLC       9851    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11845   GIDEON, DEANNA                   15598   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11846   GIDEON, DEANNA                   21344   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11847   GIDEON, DEANNA                   27092   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11848   GIL, VICKI                       9104    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11849   GIL, VICKI       Laredo, LLC     14854   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1728 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11850   GIL, VICKI                        20601   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11851   GIL, VICKI                        26333   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11852   GIL, VICKI                        32095   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11853   GILBERT, ALEXIS                   6325    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11854   GILBERT, ALEXIS   Laredo, LLC     12075   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11855   GILBERT, ALEXIS                   17822   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11856   GILBERT, ALEXIS                   23557   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1729 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11857   GILBERT, ALEXIS                    29316   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11858   GILBERT, ASHELEY                   4833    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
11859   GILBERT, ASHELEY Laredo, LLC       10583   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11860   GILBERT, ASHELEY                   16330   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
11861   GILBERT, ASHELEY                   22076   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11862   GILBERT, ASHELEY                   27824   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GILBERT, DEREK     Barney Davis,
11863                                      7007    8/1/2022     Secured: $0.00
        RYAN               LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1730 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILBERT, DEREK
11864                    Laredo, LLC     12757   8/1/2022     Secured: $0.00
        RYAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILBERT, DEREK   Nueces Bay,
11865                                    18504   8/1/2022     Secured: $0.00
        RYAN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILBERT, DEREK   Talen Texas
11866                                    24238   8/1/2022     Secured: $0.00
        RYAN             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILBERT, DEREK   Talen Texas,
11867                                    29998   8/1/2022     Secured: $0.00
        RYAN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11868   GILBERT, JOHN                    5037    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11869   GILBERT, JOHN    Laredo, LLC     10787   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11870   GILBERT, JOHN                    16534   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1731 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11871   GILBERT, JOHN                    22279   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11872   GILBERT, JOHN                    28028   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11873   GILBERT, LACEE                   5463    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11874   GILBERT, LACEE   Laredo, LLC     11213   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11875   GILBERT, LACEE                   16960   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11876   GILBERT, LACEE                   22705   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11877   GILBERT, LACEE                   28454   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1732 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11878   GILBERT, MARIA                   5472    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11879   GILBERT, MARIA   Laredo, LLC     11222   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11880   GILBERT, MARIA                   16969   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11881   GILBERT, MARIA                   22714   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11882   GILBERT, MARIA                   28463   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILBERT, RANDELL Barney Davis,
11883                                    5221    8/1/2022     Secured: $0.00
        J.               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILBERT, RANDELL
11884                    Laredo, LLC     10971   8/1/2022     Secured: $0.00
        J.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1733 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILBERT, RANDELL Nueces Bay,
11885                                     16718   8/1/2022     Secured: $0.00
        J.               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILBERT, RANDELL Talen Texas
11886                                     22463   8/1/2022     Secured: $0.00
        J.               Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILBERT, RANDELL Talen Texas,
11887                                     28212   8/1/2022     Secured: $0.00
        J.               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11888   GILBERT, YVETTE                   5380    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11889   GILBERT, YVETTE   Laredo, LLC     11130   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11890   GILBERT, YVETTE                   16877   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11891   GILBERT, YVETTE                   22622   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1734 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11892   GILBERT, YVETTE                    28371   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11893   GILBREATH, STACI                   8868    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
11894   GILBREATH, STACI Laredo, LLC       14618   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
11895   GILBREATH, STACI                   20365   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
11896   GILBREATH, STACI                   26097   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11897   GILBREATH, STACI                   31859   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11898   GILES, BOBBIE                      6529    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1735 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
11899   GILES, BOBBIE   Laredo, LLC     12279   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
11900   GILES, BOBBIE                   18026   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
11901   GILES, BOBBIE                   23761   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
11902   GILES, BOBBIE                   29520   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GILES,          Barney Davis,
11903                                   6849    8/1/2022     Secured: $0.00
        CUCIUKYWANA     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GILES,
11904                   Laredo, LLC     12599   8/1/2022     Secured: $0.00
        CUCIUKYWANA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GILES,          Nueces Bay,
11905                                   18346   8/1/2022     Secured: $0.00
        CUCIUKYWANA     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1736 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILES,            Talen Texas
11906                                     24080   8/1/2022     Secured: $0.00
        CUCIUKYWANA       Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILES,            Talen Texas,
11907                                     29840   8/1/2022     Secured: $0.00
        CUCIUKYWANA       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11908   GILKERSON, GARY                   4978    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11909   GILKERSON, GARY Laredo, LLC       10728   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11910   GILKERSON, GARY                   16475   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11911   GILKERSON, GARY                   22220   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11912   GILKERSON, GARY                   27969   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1737 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
11913   GILKEY, DALE                        4073    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
11914   GILKEY, DALE        Laredo, LLC     9823    8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
11915   GILKEY, DALE                        15570   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
11916   GILKEY, DALE                        21316   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
11917   GILKEY, DALE                        27064   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
11918   GILKEY, N LUCILLE                   5514    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
11919   GILKEY, N LUCILLE Laredo, LLC       11264   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1738 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
11920   GILKEY, N LUCILLE                   17011   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
11921   GILKEY, N LUCILLE                   22756   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
11922   GILKEY, N LUCILLE                   28505   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
11923   GILL, WILLIAM                       9155    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
11924   GILL, WILLIAM       Laredo, LLC     14905   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
11925   GILL, WILLIAM                       20652   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
11926   GILL, WILLIAM                       26384   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1739 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
11927   GILL, WILLIAM                      32146   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GILLARD,           Barney Davis,
11928                                      7013    8/1/2022     Secured: $0.00
        DESHONTE           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GILLARD,
11929                      Laredo, LLC     12763   8/1/2022     Secured: $0.00
        DESHONTE
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GILLARD,           Nueces Bay,
11930                                      18510   8/1/2022     Secured: $0.00
        DESHONTE           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GILLARD,           Talen Texas
11931                                      24244   8/1/2022     Secured: $0.00
        DESHONTE           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GILLARD,           Talen Texas,
11932                                      30004   8/1/2022     Secured: $0.00
        DESHONTE           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
11933   GILLASPIE, BRUCE                   6604    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1740 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
11934   GILLASPIE, BRUCE Laredo, LLC        12354   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
11935   GILLASPIE, BRUCE                    18101   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
11936   GILLASPIE, BRUCE                    23835   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
11937   GILLASPIE, BRUCE                    29595   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
11938   GILLES, ELIZABETH                   7149    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
11939   GILLES, ELIZABETH Laredo, LLC       12899   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
11940   GILLES, ELIZABETH                   18646   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1741 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
11941   GILLES, ELIZABETH                   24380   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
11942   GILLES, ELIZABETH                   30140   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
11943   GILLESPIE, ELVINA                   5671    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
11944   GILLESPIE, ELVINA Laredo, LLC       11421   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
11945   GILLESPIE, ELVINA                   17168   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
11946   GILLESPIE, ELVINA                   22913   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
11947   GILLESPIE, ELVINA                   28662   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1742 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11948   GILLETTE, SARA                   5275    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11949   GILLETTE, SARA   Laredo, LLC     11025   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11950   GILLETTE, SARA                   16772   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11951   GILLETTE, SARA                   22517   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11952   GILLETTE, SARA                   28266   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILLIAM,         Barney Davis,
11953                                    4031    8/1/2022     Secured: $0.00
        CHARLENE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILLIAM,
11954                    Laredo, LLC     9781    8/1/2022     Secured: $0.00
        CHARLENE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1743 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,      Nueces Bay,
11955                                 15528   8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,      Talen Texas
11956                                 21274   8/1/2022     Secured: $0.00
        CHARLENE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,      Talen Texas,
11957                                 27022   8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,      Barney Davis,
11958                                 7851    8/1/2022     Secured: $0.00
        KIMBERLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,
11959                 Laredo, LLC     13601   8/1/2022     Secured: $0.00
        KIMBERLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,      Nueces Bay,
11960                                 19348   8/1/2022     Secured: $0.00
        KIMBERLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GILLIAM,      Talen Texas
11961                                 25082   8/1/2022     Secured: $0.00
        KIMBERLY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1744 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLIAM,          Talen Texas,
11962                                     30842   8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLIAM,          Barney Davis,
11963                                     3608    8/1/2022     Secured: $0.00
        MARCINA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLIAM,
11964                     Laredo, LLC     9358    8/1/2022     Secured: $0.00
        MARCINA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLIAM,          Nueces Bay,
11965                                     15105   8/1/2022     Secured: $0.00
        MARCINA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLIAM,          Talen Texas
11966                                     20852   8/1/2022     Secured: $0.00
        MARCINA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLIAM,          Talen Texas,
11967                                     26599   8/1/2022     Secured: $0.00
        MARCINA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11968   GILLIAM, MARSHA                   4479    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1745 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11969   GILLIAM, MARSHA Laredo, LLC       10229   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11970   GILLIAM, MARSHA                   15976   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11971   GILLIAM, MARSHA                   21722   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11972   GILLIAM, MARSHA                   27470   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLILAND,        Barney Davis,
11973                                     7361    8/1/2022     Secured: $0.00
        HEATHER           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLILAND,
11974                     Laredo, LLC     13111   8/1/2022     Secured: $0.00
        HEATHER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILLILAND,        Nueces Bay,
11975                                     18858   8/1/2022     Secured: $0.00
        HEATHER           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1746 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLILAND,     Talen Texas
11976                                  24592   8/1/2022     Secured: $0.00
        HEATHER        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLILAND,     Talen Texas,
11977                                  30352   8/1/2022     Secured: $0.00
        HEATHER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLMORE,      Barney Davis,
11978                                  6556    8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLMORE,
11979                  Laredo, LLC     12306   8/1/2022     Secured: $0.00
        BRANDON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLMORE,      Nueces Bay,
11980                                  18053   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLMORE,      Talen Texas
11981                                  23788   8/1/2022     Secured: $0.00
        BRANDON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GILLMORE,      Talen Texas,
11982                                  29547   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1747 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
11983   GILMER, STACIA                   3638    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
11984   GILMER, STACIA   Laredo, LLC     9388    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
11985   GILMER, STACIA                   15135   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
11986   GILMER, STACIA                   20882   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
11987   GILMER, STACIA                   26629   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILMORE,         Barney Davis,
11988                                    7102    8/1/2022     Secured: $0.00
        DOUGLAS CRAIG    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GILMORE,
11989                    Laredo, LLC     12852   8/1/2022     Secured: $0.00
        DOUGLAS CRAIG
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1748 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILMORE,          Nueces Bay,
11990                                     18599   8/1/2022     Secured: $0.00
        DOUGLAS CRAIG     LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILMORE,          Talen Texas
11991                                     24333   8/1/2022     Secured: $0.00
        DOUGLAS CRAIG     Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GILMORE,          Talen Texas,
11992                                     30093   8/1/2022     Secured: $0.00
        DOUGLAS CRAIG     LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11993   GILMORE, LESTER                   7969    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11994   GILMORE, LESTER Laredo, LLC       13719   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
11995   GILMORE, LESTER                   19466   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
11996   GILMORE, LESTER                   25200   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1749 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
11997   GILMORE, LESTER                   30960   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
11998   GILMORE, TALENA                   5881    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
11999   GILMORE, TALENA Laredo, LLC       11631   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12000   GILMORE, TALENA                   17378   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12001   GILMORE, TALENA                   23123   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12002   GILMORE, TALENA                   28872   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GINSBURG,         Barney Davis,
12003                                     7676    8/1/2022     Secured: $0.00
        JOSHUA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1750 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GINSBURG,
12004                 Laredo, LLC     13426   8/1/2022     Secured: $0.00
        JOSHUA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GINSBURG,     Nueces Bay,
12005                                 19173   8/1/2022     Secured: $0.00
        JOSHUA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GINSBURG,     Talen Texas
12006                                 24907   8/1/2022     Secured: $0.00
        JOSHUA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GINSBURG,     Talen Texas,
12007                                 30667   8/1/2022     Secured: $0.00
        JOSHUA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GIPSON,       Barney Davis,
12008                                 7761    8/1/2022     Secured: $0.00
        KATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GIPSON,
12009                 Laredo, LLC     13511   8/1/2022     Secured: $0.00
        KATHERINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GIPSON,       Nueces Bay,
12010                                 19258   8/1/2022     Secured: $0.00
        KATHERINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1751 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GIPSON,           Talen Texas
12011                                     24992   8/1/2022     Secured: $0.00
        KATHERINE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GIPSON,           Talen Texas,
12012                                     30752   8/1/2022     Secured: $0.00
        KATHERINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12013   GIPSON, PRESTON                   5214    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12014   GIPSON, PRESTON Laredo, LLC       10964   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12015   GIPSON, PRESTON                   16711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12016   GIPSON, PRESTON                   22456   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12017   GIPSON, PRESTON                   28205   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1752 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12018   GIROUARD, JANET                   5008    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12019   GIROUARD, JANET Laredo, LLC       10758   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12020   GIROUARD, JANET                   16505   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12021   GIROUARD, JANET                   22250   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12022   GIROUARD, JANET                   27999   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GLASTETTER,       Barney Davis,
12023                                     6578    8/1/2022     Secured: $0.00
        BRIAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GLASTETTER,
12024                     Laredo, LLC     12328   8/1/2022     Secured: $0.00
        BRIAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1753 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GLASTETTER,    Nueces Bay,
12025                                  18075   8/1/2022     Secured: $0.00
        BRIAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GLASTETTER,    Talen Texas
12026                                  23810   8/1/2022     Secured: $0.00
        BRIAN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GLASTETTER,    Talen Texas,
12027                                  29569   8/1/2022     Secured: $0.00
        BRIAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12028   GLAUM, TERRY                   5643    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12029   GLAUM, TERRY   Laredo, LLC     11393   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12030   GLAUM, TERRY                   17140   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12031   GLAUM, TERRY                   22885   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1754 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12032   GLAUM, TERRY                   28634   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12033   GLAZE, BETTY                   4855    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12034   GLAZE, BETTY   Laredo, LLC     10605   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12035   GLAZE, BETTY                   16352   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12036   GLAZE, BETTY                   22098   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12037   GLAZE, BETTY                   27846   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12038   GLENN, APRIL                   6442    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1755 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12039   GLENN, APRIL     Laredo, LLC     12192   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12040   GLENN, APRIL                     17939   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12041   GLENN, APRIL                     23674   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12042   GLENN, APRIL                     29433   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12043   GLENN, CHARLEY                   6709    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12044   GLENN, CHARLEY Laredo, LLC       12459   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12045   GLENN, CHARLEY                   18206   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1756 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12046   GLENN, CHARLEY                   23940   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12047   GLENN, CHARLEY                   29700   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12048   GLENN, DENNIS                    6102    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12049   GLENN, DENNIS    Laredo, LLC     11852   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12050   GLENN, DENNIS                    17599   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12051   GLENN, DENNIS                    23344   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12052   GLENN, DENNIS                    29093   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1757 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12053   GLENN, DEVIN                   7021    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12054   GLENN, DEVIN   Laredo, LLC     12771   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12055   GLENN, DEVIN                   18518   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12056   GLENN, DEVIN                   24252   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12057   GLENN, DEVIN                   30012   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GLENN,         Barney Davis,
12058                                  6207    8/1/2022     Secured: $0.00
        VERSHAUNA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GLENN,
12059                  Laredo, LLC     11957   8/1/2022     Secured: $0.00
        VERSHAUNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1758 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GLENN,           Nueces Bay,
12060                                    17704   8/1/2022     Secured: $0.00
        VERSHAUNA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GLENN,           Talen Texas
12061                                    23449   8/1/2022     Secured: $0.00
        VERSHAUNA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GLENN,           Talen Texas,
12062                                    29198   8/1/2022     Secured: $0.00
        VERSHAUNA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GLOBAL                                                Priority: $0.00
                         Barney Davis,
12063   INDEMNITY                        2320    7/30/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GLOBAL                                                Priority: $0.00
12064   INDEMNITY        Laredo, LLC     2346    7/30/2022    Secured: $0.00
        INSURANCE                                             General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GLOBAL                                                Priority: $0.00
                         Nueces Bay,
12065   INDEMNITY                        2715    7/30/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GLOBAL SERVICES
                                                              Priority: $0.00
        & PRODUCTS, INC. Barney Davis,
12066                                    5484    8/1/2022     Secured: $0.00
        DBA CARNICERIA LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MISSION
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1759 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        GLOBAL SERVICES
                                                               Priority: $0.00
        & PRODUCTS, INC.
12067                    Laredo, LLC      11234   8/1/2022     Secured: $0.00
        DBA CARNICERIA
                                                               General Unsecured: $0.00 + Unliquidated
        MISSION
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        GLOBAL SERVICES
                                                               Priority: $0.00
        & PRODUCTS, INC. Nueces Bay,
12068                                     16981   8/1/2022     Secured: $0.00
        DBA CARNICERIA LLC
                                                               General Unsecured: $0.00 + Unliquidated
        MISSION
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        GLOBAL SERVICES
                                                               Priority: $0.00
        & PRODUCTS, INC. Talen Texas
12069                                     22726   8/1/2022     Secured: $0.00
        DBA CARNICERIA Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        MISSION
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        GLOBAL SERVICES
                                                               Priority: $0.00
        & PRODUCTS, INC. Talen Texas,
12070                                     28475   8/1/2022     Secured: $0.00
        DBA CARNICERIA LLC
                                                               General Unsecured: $0.00 + Unliquidated
        MISSION
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12071   GLOVER, CLIFTON                   3821    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12072   GLOVER, CLIFTON Laredo, LLC       9571    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12073   GLOVER, CLIFTON                   15318   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1760 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12074   GLOVER, CLIFTON                   21065   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12075   GLOVER, CLIFTON                   26812   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12076   GLOVER, ENGLISH                   7172    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12077   GLOVER, ENGLISH Laredo, LLC       12922   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12078   GLOVER, ENGLISH                   18669   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12079   GLOVER, ENGLISH                   24403   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12080   GLOVER, ENGLISH                   30163   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1761 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12081   GLOVER, JEFF                     7500    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12082   GLOVER, JEFF     Laredo, LLC     13250   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12083   GLOVER, JEFF                     18997   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12084   GLOVER, JEFF                     24731   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12085   GLOVER, JEFF                     30491   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12086   GOBERT, PAMELA                   8379    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12087   GOBERT, PAMELA Laredo, LLC       14129   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1762 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12088   GOBERT, PAMELA                   19876   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12089   GOBERT, PAMELA                   25609   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12090   GOBERT, PAMELA                   31370   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GODBOUT,         Barney Davis,
12091                                    6885    8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GODBOUT,
12092                    Laredo, LLC     12635   8/1/2022     Secured: $0.00
        DANIEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GODBOUT,         Nueces Bay,
12093                                    18382   8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GODBOUT,         Talen Texas
12094                                    24116   8/1/2022     Secured: $0.00
        DANIEL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1763 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GODBOUT,        Talen Texas,
12095                                   29876   8/1/2022     Secured: $0.00
        DANIEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12096   GOFF, KAITLYN                   5059    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12097   GOFF, KAITLYN   Laredo, LLC     10809   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12098   GOFF, KAITLYN                   16556   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12099   GOFF, KAITLYN                   22301   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12100   GOFF, KAITLYN                   28050   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12101   GOINS, DONNA                    3828    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1764 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12102   GOINS, DONNA     Laredo, LLC     9578    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12103   GOINS, DONNA                     15325   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12104   GOINS, DONNA                     21072   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12105   GOINS, DONNA                     26819   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12106   GOLDEN, CALVIN                   6619    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12107   GOLDEN, CALVIN Laredo, LLC       12369   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12108   GOLDEN, CALVIN                   18116   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1765 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12109   GOLDEN, CALVIN                   23850   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12110   GOLDEN, CALVIN                   29610   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOLDER,          Barney Davis,
12111                                    8292    8/1/2022     Secured: $0.00
        MONIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOLDER,
12112                    Laredo, LLC     14042   8/1/2022     Secured: $0.00
        MONIQUE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOLDER,          Nueces Bay,
12113                                    19789   8/1/2022     Secured: $0.00
        MONIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOLDER,          Talen Texas
12114                                    25523   8/1/2022     Secured: $0.00
        MONIQUE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOLDER,          Talen Texas,
12115                                    31283   8/1/2022     Secured: $0.00
        MONIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1766 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12116   GOLDSMITH, LC                   7941    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12117   GOLDSMITH, LC   Laredo, LLC     13691   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12118   GOLDSMITH, LC                   19438   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12119   GOLDSMITH, LC                   25172   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12120   GOLDSMITH, LC                   30932   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOLDSTEIN,      Barney Davis,
12121                                   5369    8/1/2022     Secured: $0.00
        WENDY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOLDSTEIN,
12122                   Laredo, LLC     11119   8/1/2022     Secured: $0.00
        WENDY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1767 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOLDSTEIN,    Nueces Bay,
12123                                 16866   8/1/2022     Secured: $0.00
        WENDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOLDSTEIN,    Talen Texas
12124                                 22611   8/1/2022     Secured: $0.00
        WENDY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOLDSTEIN,    Talen Texas,
12125                                 28360   8/1/2022     Secured: $0.00
        WENDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOMEZ JR,     Barney Davis,
12126                                 4783    8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOMEZ JR,
12127                 Laredo, LLC     10533   8/1/2022     Secured: $0.00
        WILLIAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOMEZ JR,     Nueces Bay,
12128                                 16280   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOMEZ JR,     Talen Texas
12129                                 22026   8/1/2022     Secured: $0.00
        WILLIAM       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1768 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ JR,      Talen Texas,
12130                                  27774   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ JR.,
12131                  Laredo, LLC     32660   8/1/2022     Secured: $0.00
        RICARDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ JR.,     Barney Davis,
12132                                  33651   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ JR.,     Nueces Bay,
12133                                  34642   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ JR.,     Talen Texas
12134                                  35633   8/1/2022     Secured: $0.00
        RICARDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ JR.,     Talen Texas,
12135                                  36624   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ, ANGELA Barney Davis,
12136                                  6062    8/1/2022     Secured: $0.00
        REDEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1769 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ, ANGELA
12137                 Laredo, LLC      11812   8/1/2022     Secured: $0.00
        REDEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ, ANGELA Nueces Bay,
12138                                  17559   8/1/2022     Secured: $0.00
        REDEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ, ANGELA Talen Texas
12139                                  23304   8/1/2022     Secured: $0.00
        REDEL         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ, ANGELA Talen Texas,
12140                                  29053   8/1/2022     Secured: $0.00
        REDEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ,         Barney Davis,
12141                                  3656    8/1/2022     Secured: $0.00
        BERNARDO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ,
12142                  Laredo, LLC     9406    8/1/2022     Secured: $0.00
        BERNARDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ,         Nueces Bay,
12143                                  15153   8/1/2022     Secured: $0.00
        BERNARDO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1770 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ,         Talen Texas
12144                                  20900   8/1/2022     Secured: $0.00
        BERNARDO       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GOMEZ,         Talen Texas,
12145                                  26647   8/1/2022     Secured: $0.00
        BERNARDO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12146   GOMEZ, DAVID                   6098    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12147   GOMEZ, DAVID   Laredo, LLC     11848   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12148   GOMEZ, DAVID                   17595   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12149   GOMEZ, DAVID                   23340   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12150   GOMEZ, DAVID                   29089   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1771 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12151   GOMEZ, ENRIQUE Laredo, LLC       32661   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12152   GOMEZ, ENRIQUE                   33652   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12153   GOMEZ, ENRIQUE                   34643   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12154   GOMEZ, ENRIQUE                   35634   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12155   GOMEZ, ENRIQUE                   36625   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOMEZ, GLORIA
12156                    Laredo, LLC     32662   8/1/2022     Secured: $0.00
        ALDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOMEZ, GLORIA    Barney Davis,
12157                                    33653   8/1/2022     Secured: $0.00
        ALDA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1772 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ, GLORIA   Nueces Bay,
12158                                   34644   8/1/2022     Secured: $0.00
        ALDA            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ, GLORIA   Talen Texas
12159                                   35635   8/1/2022     Secured: $0.00
        ALDA            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ, GLORIA   Talen Texas,
12160                                   36626   8/1/2022     Secured: $0.00
        ALDA            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12161   GOMEZ, JOSEPH   Laredo, LLC     32663   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12162   GOMEZ, JOSEPH                   33654   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12163   GOMEZ, JOSEPH                   34645   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12164   GOMEZ, JOSEPH                   35636   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1773 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12165   GOMEZ, JOSEPH                   36627   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ,
12166                   Laredo, LLC     32664   8/1/2022     Secured: $0.00
        MARCELINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ,          Barney Davis,
12167                                   33655   8/1/2022     Secured: $0.00
        MARCELINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ,          Nueces Bay,
12168                                   34646   8/1/2022     Secured: $0.00
        MARCELINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ,          Talen Texas
12169                                   35637   8/1/2022     Secured: $0.00
        MARCELINA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GOMEZ,          Talen Texas,
12170                                   36628   8/1/2022     Secured: $0.00
        MARCELINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12171   GOMEZ, MARIA    Laredo, LLC     32665   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1774 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12172   GOMEZ, MARIA                     33656   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12173   GOMEZ, MARIA                     34647   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12174   GOMEZ, MARIA                     35638   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12175   GOMEZ, MARIA                     36629   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12176   GOMEZ, REBECCA                   4595    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12177   GOMEZ, REBECCA Laredo, LLC       10345   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12178   GOMEZ, REBECCA                   16092   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1775 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12179   GOMEZ, REBECCA                   21838   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12180   GOMEZ, REBECCA                   27586   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12181   GOMEZ, SERGIO    Laredo, LLC     32666   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12182   GOMEZ, SERGIO                    33657   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12183   GOMEZ, SERGIO                    34648   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12184   GOMEZ, SERGIO                    35639   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12185   GOMEZ, SERGIO                    36630   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1776 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12186   GOMEZ, STEVE                   4704    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12187   GOMEZ, STEVE   Laredo, LLC     10454   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12188   GOMEZ, STEVE                   16201   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12189   GOMEZ, STEVE                   21947   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12190   GOMEZ, STEVE                   27695   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12191   GOMEZ, SUSAN   Laredo, LLC     32667   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12192   GOMEZ, SUSAN                   33658   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1777 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12193   GOMEZ, SUSAN                     34649   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12194   GOMEZ, SUSAN                     35640   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12195   GOMEZ, SUSAN                     36631   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12196   GOMEZ, VANESSA                   3717    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12197   GOMEZ, VANESSA Laredo, LLC       9467    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12198   GOMEZ, VANESSA                   15214   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12199   GOMEZ, VANESSA                   20961   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1778 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12200   GOMEZ, VANESSA                    26708   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12201   GOMEZ, VICTORIA Laredo, LLC       32668   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12202   GOMEZ, VICTORIA                   33659   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12203   GOMEZ, VICTORIA                   34650   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12204   GOMEZ, VICTORIA                   35641   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12205   GOMEZ, VICTORIA                   36632   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALES JR,
12206                     Laredo, LLC     32669   8/1/2022     Secured: $0.00
        JUAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1779 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES JR,   Barney Davis,
12207                                  33660   8/1/2022     Secured: $0.00
        JUAN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES JR,   Nueces Bay,
12208                                  34651   8/1/2022     Secured: $0.00
        JUAN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES JR,   Talen Texas
12209                                  35642   8/1/2022     Secured: $0.00
        JUAN           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES JR,   Talen Texas,
12210                                  36633   8/1/2022     Secured: $0.00
        JUAN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES,
12211                  Laredo, LLC     32670   8/1/2022     Secured: $0.00
        ANDREW
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES,      Barney Davis,
12212                                  33661   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALES,      Nueces Bay,
12213                                  34652   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1780 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12214                                 35643   8/1/2022     Secured: $0.00
        ANDREW        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12215                                 36634   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12216                                 6426    8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12217                 Laredo, LLC     12176   8/1/2022     Secured: $0.00
        ANTHONY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12218                                 17923   8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12219                                 23658   8/1/2022     Secured: $0.00
        ANTHONY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12220                                 29417   8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1781 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12221                 Laredo, LLC     32671   8/1/2022     Secured: $0.00
        CHRISTINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12222                 Laredo, LLC     32672   8/1/2022     Secured: $0.00
        CHRISTINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12223                                 33662   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12224                                 33663   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12225                                 34653   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12226                                 34654   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12227                                 35644   8/1/2022     Secured: $0.00
        CHRISTINA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1782 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12228                                 35645   8/1/2022     Secured: $0.00
        CHRISTINA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12229                                 36635   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12230                                 36636   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12231                 Laredo, LLC     32673   8/1/2022     Secured: $0.00
        DANNY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12232                                 33664   8/1/2022     Secured: $0.00
        DANNY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12233                                 34655   8/1/2022     Secured: $0.00
        DANNY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12234                                 35646   8/1/2022     Secured: $0.00
        DANNY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1783 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12235                                 36637   8/1/2022     Secured: $0.00
        DANNY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12236                 Laredo, LLC     32674   8/1/2022     Secured: $0.00
        GLORIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12237                                 33665   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12238                                 34656   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12239                                 35647   8/1/2022     Secured: $0.00
        GLORIA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12240                                 36638   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12241                                 5734    8/1/2022     Secured: $0.00
        HEATHER       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1784 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,
12242                    Laredo, LLC     11484   8/1/2022     Secured: $0.00
        HEATHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Nueces Bay,
12243                                    17231   8/1/2022     Secured: $0.00
        HEATHER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Talen Texas
12244                                    22976   8/1/2022     Secured: $0.00
        HEATHER          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Talen Texas,
12245                                    28725   8/1/2022     Secured: $0.00
        HEATHER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12246   GONZALES, IRMA Laredo, LLC       32675   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12247   GONZALES, IRMA                   33666   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12248   GONZALES, IRMA                   34657   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1785 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12249   GONZALES, IRMA                    35648   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12250   GONZALES, IRMA                    36639   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12251   GONZALES, JESUS                   7563    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12252   GONZALES, JESUS Laredo, LLC       13313   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12253   GONZALES, JESUS                   19060   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12254   GONZALES, JESUS                   24794   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12255   GONZALES, JESUS                   30554   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1786 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12256                 Laredo, LLC     32676   8/1/2022     Secured: $0.00
        MARTIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12257                                 33667   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12258                                 34658   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12259                                 35649   8/1/2022     Secured: $0.00
        MARTIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12260                                 36640   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12261                                 8604    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12262                 Laredo, LLC     14354   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1787 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12263                                 20101   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12264                                 25833   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas,
12265                                 31595   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,
12266                 Laredo, LLC     32677   8/1/2022     Secured: $0.00
        ROGELIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Barney Davis,
12267                                 33668   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Nueces Bay,
12268                                 34659   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALES,     Talen Texas
12269                                 35650   8/1/2022     Secured: $0.00
        ROGELIO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1788 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Talen Texas,
12270                                    36641   8/1/2022     Secured: $0.00
        ROGELIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,
12271                    Laredo, LLC     32678   8/1/2022     Secured: $0.00
        ROSALINDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Barney Davis,
12272                                    33669   8/1/2022     Secured: $0.00
        ROSALINDA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Nueces Bay,
12273                                    34660   8/1/2022     Secured: $0.00
        ROSALINDA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Talen Texas
12274                                    35651   8/1/2022     Secured: $0.00
        ROSALINDA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALES,        Talen Texas,
12275                                    36642   8/1/2022     Secured: $0.00
        ROSALINDA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12276   GONZALES, RUDY                   4650    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1789 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12277   GONZALES, RUDY Laredo, LLC        10400   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12278   GONZALES, RUDY                    16147   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12279   GONZALES, RUDY                    21893   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12280   GONZALES, RUDY                    27641   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12281   GONZALES, SASHA Laredo, LLC       32679   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12282   GONZALES, SASHA                   33670   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12283   GONZALES, SASHA                   34661   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1790 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
12284   GONZALES, SASHA                    35652   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
12285   GONZALES, SASHA                    36643   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
12286   GONZALES, SILVIA Laredo, LLC       32680   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
12287   GONZALES, SILVIA                   33671   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
12288   GONZALES, SILVIA                   34662   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
12289   GONZALES, SILVIA                   35653   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
12290   GONZALES, SILVIA                   36644   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1791 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ JR,   Barney Davis,
12291                                  5043    8/1/2022     Secured: $0.00
        JOSE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ JR,
12292                  Laredo, LLC     10793   8/1/2022     Secured: $0.00
        JOSE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ JR,   Nueces Bay,
12293                                  16540   8/1/2022     Secured: $0.00
        JOSE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ JR,   Talen Texas
12294                                  22285   8/1/2022     Secured: $0.00
        JOSE           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ JR,   Talen Texas,
12295                                  28034   8/1/2022     Secured: $0.00
        JOSE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ,
12296                  Laredo, LLC     32681   8/1/2022     Secured: $0.00
        ANGELA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GONZALEZ,      Barney Davis,
12297                                  33672   8/1/2022     Secured: $0.00
        ANGELA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1792 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12298                                 34663   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12299                                 35654   8/1/2022     Secured: $0.00
        ANGELA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12300                                 36645   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12301                 Laredo, LLC     32682   8/1/2022     Secured: $0.00
        BALBINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12302                                 33673   8/1/2022     Secured: $0.00
        BALBINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12303                                 34664   8/1/2022     Secured: $0.00
        BALBINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12304                                 35655   8/1/2022     Secured: $0.00
        BALBINA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1793 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12305                                 36646   8/1/2022     Secured: $0.00
        BALBINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12306                                 6639    8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12307                                 6640    8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12308                 Laredo, LLC     12389   8/1/2022     Secured: $0.00
        CARLOS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12309                 Laredo, LLC     12390   8/1/2022     Secured: $0.00
        CARLOS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12310                                 18136   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12311                                 18137   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1794 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12312                                 23870   8/1/2022     Secured: $0.00
        CARLOS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12313                                 23871   8/1/2022     Secured: $0.00
        CARLOS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12314                                 29630   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12315                                 29631   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12316                 Laredo, LLC     32683   8/1/2022     Secured: $0.00
        CARMITA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12317                                 33674   8/1/2022     Secured: $0.00
        CARMITA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12318                                 34665   8/1/2022     Secured: $0.00
        CARMITA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1795 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12319                                 35656   8/1/2022     Secured: $0.00
        CARMITA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12320                                 36647   8/1/2022     Secured: $0.00
        CARMITA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12321                                 6886    8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12322                 Laredo, LLC     12636   8/1/2022     Secured: $0.00
        DANIEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12323                                 18383   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12324                                 24117   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12325                                 29877   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1796 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Barney Davis,
12326                                     7176    8/1/2022     Secured: $0.00
        ENRIQUE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,
12327                     Laredo, LLC     12926   8/1/2022     Secured: $0.00
        ENRIQUE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Nueces Bay,
12328                                     18673   8/1/2022     Secured: $0.00
        ENRIQUE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Talen Texas
12329                                     24407   8/1/2022     Secured: $0.00
        ENRIQUE           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Talen Texas,
12330                                     30167   8/1/2022     Secured: $0.00
        ENRIQUE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12331   GONZALEZ, ESTER Laredo, LLC       32684   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12332   GONZALEZ, ESTER                   33675   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1797 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12333   GONZALEZ, ESTER                   34666   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12334   GONZALEZ, ESTER                   35657   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12335   GONZALEZ, ESTER                   36648   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Barney Davis,
12336                                     4983    8/1/2022     Secured: $0.00
        GILVERTO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,
12337                     Laredo, LLC     10733   8/1/2022     Secured: $0.00
        GILVERTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Nueces Bay,
12338                                     16480   8/1/2022     Secured: $0.00
        GILVERTO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Talen Texas
12339                                     22225   8/1/2022     Secured: $0.00
        GILVERTO          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1798 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GONZALEZ,       Talen Texas,
12340                                   27974   8/1/2022     Secured: $0.00
        GILVERTO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12341   GONZALEZ, GUS   Laredo, LLC     32685   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12342   GONZALEZ, GUS                   33676   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12343   GONZALEZ, GUS                   34667   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12344   GONZALEZ, GUS                   35658   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12345   GONZALEZ, GUS                   36649   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GONZALEZ,       Barney Davis,
12346                                   5794    8/1/2022     Secured: $0.00
        JAHZEEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1799 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,
12347                     Laredo, LLC     11544   8/1/2022     Secured: $0.00
        JAHZEEL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Nueces Bay,
12348                                     17291   8/1/2022     Secured: $0.00
        JAHZEEL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Talen Texas
12349                                     23036   8/1/2022     Secured: $0.00
        JAHZEEL           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ,         Talen Texas,
12350                                     28785   8/1/2022     Secured: $0.00
        JAHZEEL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12351   GONZALEZ, JAMES                   7442    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12352   GONZALEZ, JAMES Laredo, LLC       13192   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12353   GONZALEZ, JAMES                   18939   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1800 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12354   GONZALEZ, JAMES                   24673   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12355   GONZALEZ, JAMES                   30433   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12356   GONZALEZ, JANIE                   7478    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12357   GONZALEZ, JANIE Laredo, LLC       13228   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12358   GONZALEZ, JANIE                   18975   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12359   GONZALEZ, JANIE                   24709   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12360   GONZALEZ, JANIE                   30469   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1801 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GONZALEZ,          Barney Davis,
12361                                      5797    8/1/2022     Secured: $0.00
        JEFFREY            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GONZALEZ,
12362                      Laredo, LLC     11547   8/1/2022     Secured: $0.00
        JEFFREY
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GONZALEZ,          Nueces Bay,
12363                                      17294   8/1/2022     Secured: $0.00
        JEFFREY            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GONZALEZ,          Talen Texas
12364                                      23039   8/1/2022     Secured: $0.00
        JEFFREY            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GONZALEZ,          Talen Texas,
12365                                      28788   8/1/2022     Secured: $0.00
        JEFFREY            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
12366   GONZALEZ, JESSIE                   5029    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
12367   GONZALEZ, JESSIE Laredo, LLC       10779   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1802 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Nueces Bay,
12368   GONZALEZ, JESSIE                  16526   8/1/2022     Secured: $0.00
                           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas
12369   GONZALEZ, JESSIE                  22271   8/1/2022     Secured: $0.00
                           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas,
12370   GONZALEZ, JESSIE                  28020   8/1/2022     Secured: $0.00
                           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ, JOHN Barney Davis,
12371                                     7600    8/1/2022     Secured: $0.00
        LEE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ, JOHN
12372                  Laredo, LLC        13350   8/1/2022     Secured: $0.00
        LEE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ, JOHN Nueces Bay,
12373                                     19097   8/1/2022     Secured: $0.00
        LEE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GONZALEZ, JOHN Talen Texas
12374                                     24831   8/1/2022     Secured: $0.00
        LEE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1803 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ, JOHN Talen Texas,
12375                                    30591   8/1/2022     Secured: $0.00
        LEE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ, JOSE   Barney Davis,
12376                                    9271    8/1/2022     Secured: $0.00
        ANGEL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ, JOSE
12377                    Laredo, LLC     15021   8/1/2022     Secured: $0.00
        ANGEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ, JOSE   Nueces Bay,
12378                                    20768   8/1/2022     Secured: $0.00
        ANGEL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ, JOSE   Talen Texas
12379                                    26500   8/1/2022     Secured: $0.00
        ANGEL            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ, JOSE   Talen Texas,
12380                                    32262   8/1/2022     Secured: $0.00
        ANGEL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12381   GONZALEZ, JUAN                   5053    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1804 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12382   GONZALEZ, JUAN Laredo, LLC       10803   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12383   GONZALEZ, JUAN                   16550   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12384   GONZALEZ, JUAN                   22295   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12385   GONZALEZ, JUAN                   28044   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12386   GONZALEZ, JUAN Laredo, LLC       32686   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12387   GONZALEZ, JUAN                   33677   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12388   GONZALEZ, JUAN                   34668   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1805 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12389   GONZALEZ, JUAN                    35659   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12390   GONZALEZ, JUAN                    36650   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12391   GONZALEZ, JULIO Laredo, LLC       32687   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12392   GONZALEZ, JULIO                   33678   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12393   GONZALEZ, JULIO                   34669   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12394   GONZALEZ, JULIO                   35660   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12395   GONZALEZ, JULIO                   36651   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1806 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,
12396                    Laredo, LLC     32688   8/1/2022     Secured: $0.00
        LILIANA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Barney Davis,
12397                                    33679   8/1/2022     Secured: $0.00
        LILIANA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Nueces Bay,
12398                                    34670   8/1/2022     Secured: $0.00
        LILIANA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas
12399                                    35661   8/1/2022     Secured: $0.00
        LILIANA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas,
12400                                    36652   8/1/2022     Secured: $0.00
        LILIANA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12401   GONZALEZ, LISA   Laredo, LLC     32689   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12402   GONZALEZ, LISA                   33680   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1807 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12403   GONZALEZ, LISA                   34671   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12404   GONZALEZ, LISA                   35662   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12405   GONZALEZ, LISA                   36653   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Barney Davis,
12406                                    4443    8/1/2022     Secured: $0.00
        LOURDES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,
12407                    Laredo, LLC     10193   8/1/2022     Secured: $0.00
        LOURDES
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Nueces Bay,
12408                                    15940   8/1/2022     Secured: $0.00
        LOURDES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas
12409                                    21686   8/1/2022     Secured: $0.00
        LOURDES          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1808 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12410                                 27434   8/1/2022     Secured: $0.00
        LOURDES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12411                                 5550    8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12412                 Laredo, LLC     11300   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12413                                 17047   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12414                                 22792   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12415                                 28541   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12416                                 4461    8/1/2022     Secured: $0.00
        MARIA R.      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1809 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,
12417                    Laredo, LLC     10211   8/1/2022     Secured: $0.00
        MARIA R.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Nueces Bay,
12418                                    15958   8/1/2022     Secured: $0.00
        MARIA R.         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas
12419                                    21704   8/1/2022     Secured: $0.00
        MARIA R.         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas,
12420                                    27452   8/1/2022     Secured: $0.00
        MARIA R.         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12421   GONZALEZ, MARK Laredo, LLC       32690   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12422   GONZALEZ, MARK                   33681   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12423   GONZALEZ, MARK                   34672   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1810 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12424   GONZALEZ, MARK                   35663   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12425   GONZALEZ, MARK                   36654   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12426   GONZALEZ, ROEL Laredo, LLC       32691   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12427   GONZALEZ, ROEL                   33682   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12428   GONZALEZ, ROEL                   34673   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12429   GONZALEZ, ROEL                   35664   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12430   GONZALEZ, ROEL                   36655   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1811 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12431                 Laredo, LLC     32692   8/1/2022     Secured: $0.00
        ROLANDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12432                                 33683   8/1/2022     Secured: $0.00
        ROLANDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12433                                 34674   8/1/2022     Secured: $0.00
        ROLANDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12434                                 35665   8/1/2022     Secured: $0.00
        ROLANDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12435                                 36656   8/1/2022     Secured: $0.00
        ROLANDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12436                 Laredo, LLC     32693   8/1/2022     Secured: $0.00
        ROSEMARIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12437                                 33684   8/1/2022     Secured: $0.00
        ROSEMARIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1812 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Nueces Bay,
12438                                    34675   8/1/2022     Secured: $0.00
        ROSEMARIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas
12439                                    35666   8/1/2022     Secured: $0.00
        ROSEMARIE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas,
12440                                    36657   8/1/2022     Secured: $0.00
        ROSEMARIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12441   GONZALEZ, RUDY                   8699    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12442   GONZALEZ, RUDY Laredo, LLC       14449   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12443   GONZALEZ, RUDY                   20196   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12444   GONZALEZ, RUDY                   25928   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1813 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12445   GONZALEZ, RUDY                   31690   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Barney Davis,
12446                                    5268    8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,
12447                    Laredo, LLC     11018   8/1/2022     Secured: $0.00
        SANDRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Nueces Bay,
12448                                    16765   8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas
12449                                    22510   8/1/2022     Secured: $0.00
        SANDRA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Talen Texas,
12450                                    28259   8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GONZALEZ,        Barney Davis,
12451                                    8773    8/1/2022     Secured: $0.00
        SERGIO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1814 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12452                 Laredo, LLC     14523   8/1/2022     Secured: $0.00
        SERGIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12453                                 20270   8/1/2022     Secured: $0.00
        SERGIO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12454                                 26002   8/1/2022     Secured: $0.00
        SERGIO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12455                                 31764   8/1/2022     Secured: $0.00
        SERGIO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12456                 Laredo, LLC     32694   8/1/2022     Secured: $0.00
        YSABEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12457                                 33685   8/1/2022     Secured: $0.00
        YSABEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12458                                 34676   8/1/2022     Secured: $0.00
        YSABEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1815 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12459                                 35667   8/1/2022     Secured: $0.00
        YSABEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12460                                 36658   8/1/2022     Secured: $0.00
        YSABEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,
12461                 Laredo, LLC     32695   8/1/2022     Secured: $0.00
        YVONNE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Barney Davis,
12462                                 33686   8/1/2022     Secured: $0.00
        YVONNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Nueces Bay,
12463                                 34677   8/1/2022     Secured: $0.00
        YVONNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas
12464                                 35668   8/1/2022     Secured: $0.00
        YVONNE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GONZALEZ,     Talen Texas,
12465                                 36659   8/1/2022     Secured: $0.00
        YVONNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1816 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODALE,         Barney Davis,
12466                                    6539    8/1/2022     Secured: $0.00
        BONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODALE,
12467                    Laredo, LLC     12289   8/1/2022     Secured: $0.00
        BONNIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODALE,         Nueces Bay,
12468                                    18036   8/1/2022     Secured: $0.00
        BONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODALE,         Talen Texas
12469                                    23771   8/1/2022     Secured: $0.00
        BONNIE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODALE,         Talen Texas,
12470                                    29530   8/1/2022     Secured: $0.00
        BONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12471   GOODEN, BECKEY Laredo, LLC       32696   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12472   GOODEN, BECKEY                   33687   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1817 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12473   GOODEN, BECKEY                   34678   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12474   GOODEN, BECKEY                   35669   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12475   GOODEN, BECKEY                   36660   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12476   GOODEN, RACHEL                   4585    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12477   GOODEN, RACHEL Laredo, LLC       10335   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12478   GOODEN, RACHEL                   16082   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12479   GOODEN, RACHEL                   21828   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1818 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12480   GOODEN, RACHEL                   27576   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODMAN,         Barney Davis,
12481                                    5542    8/1/2022     Secured: $0.00
        DANA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODMAN,
12482                    Laredo, LLC     11292   8/1/2022     Secured: $0.00
        DANA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODMAN,         Nueces Bay,
12483                                    17039   8/1/2022     Secured: $0.00
        DANA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODMAN,         Talen Texas
12484                                    22784   8/1/2022     Secured: $0.00
        DANA             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODMAN,         Talen Texas,
12485                                    28533   8/1/2022     Secured: $0.00
        DANA             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODMAN,         Barney Davis,
12486                                    9309    8/1/2022     Secured: $0.00
        RACHEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1819 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODMAN,
12487                 Laredo, LLC     15059   8/1/2022     Secured: $0.00
        RACHEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODMAN,      Nueces Bay,
12488                                 20806   8/1/2022     Secured: $0.00
        RACHEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODMAN,      Talen Texas
12489                                 26538   8/1/2022     Secured: $0.00
        RACHEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODMAN,      Talen Texas,
12490                                 32300   8/1/2022     Secured: $0.00
        RACHEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODNIGHT,    Barney Davis,
12491                                 7580    8/1/2022     Secured: $0.00
        JOAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODNIGHT,
12492                 Laredo, LLC     13330   8/1/2022     Secured: $0.00
        JOAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODNIGHT,    Nueces Bay,
12493                                 19077   8/1/2022     Secured: $0.00
        JOAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1820 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODNIGHT,    Talen Texas
12494                                 24811   8/1/2022     Secured: $0.00
        JOAN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODNIGHT,    Talen Texas,
12495                                 30571   8/1/2022     Secured: $0.00
        JOAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODPASTER,   Barney Davis,
12496                                 4473    8/1/2022     Secured: $0.00
        MARK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODPASTER,
12497                 Laredo, LLC     10223   8/1/2022     Secured: $0.00
        MARK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODPASTER,   Nueces Bay,
12498                                 15970   8/1/2022     Secured: $0.00
        MARK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODPASTER,   Talen Texas
12499                                 21716   8/1/2022     Secured: $0.00
        MARK          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODPASTER,   Talen Texas,
12500                                 27464   8/1/2022     Secured: $0.00
        MARK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1821 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODSON,      Barney Davis,
12501                                 4881    8/1/2022     Secured: $0.00
        CARMILLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODSON,
12502                 Laredo, LLC     10631   8/1/2022     Secured: $0.00
        CARMILLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODSON,      Nueces Bay,
12503                                 16378   8/1/2022     Secured: $0.00
        CARMILLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODSON,      Talen Texas
12504                                 22123   8/1/2022     Secured: $0.00
        CARMILLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODSON,      Talen Texas,
12505                                 27872   8/1/2022     Secured: $0.00
        CARMILLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODWIN,      Barney Davis,
12506                                 7487    8/1/2022     Secured: $0.00
        JASMINE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOODWIN,
12507                 Laredo, LLC     13237   8/1/2022     Secured: $0.00
        JASMINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1822 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODWIN,         Nueces Bay,
12508                                    18984   8/1/2022     Secured: $0.00
        JASMINE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODWIN,         Talen Texas
12509                                    24718   8/1/2022     Secured: $0.00
        JASMINE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GOODWIN,         Talen Texas,
12510                                    30478   8/1/2022     Secured: $0.00
        JASMINE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12511   GOPIE, KHRESHA                   7839    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12512   GOPIE, KHRESHA Laredo, LLC       13589   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12513   GOPIE, KHRESHA                   19336   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12514   GOPIE, KHRESHA                   25070   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1823 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12515   GOPIE, KHRESHA                   30830   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12516   GORDIN, ALLEN                    6055    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12517   GORDIN, ALLEN    Laredo, LLC     11805   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12518   GORDIN, ALLEN                    17552   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12519   GORDIN, ALLEN                    23297   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12520   GORDIN, ALLEN                    29046   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12521   GORDON, JUDY     Laredo, LLC     32697   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1824 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12522   GORDON, JUDY                    33688   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12523   GORDON, JUDY                    34679   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12524   GORDON, JUDY                    35670   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12525   GORDON, JUDY                    36661   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12526   GORDON, LAURA                   5466    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12527   GORDON, LAURA Laredo, LLC       11216   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12528   GORDON, LAURA                   16963   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1825 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12529   GORDON, LAURA                    22708   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12530   GORDON, LAURA                    28457   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12531   GOREE, SAUNDRA                   4661    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12532   GOREE, SAUNDRA Laredo, LLC       10411   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12533   GOREE, SAUNDRA                   16158   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12534   GOREE, SAUNDRA                   21904   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12535   GOREE, SAUNDRA                   27652   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1826 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12536   GORELIK, OLGA                   3694    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12537   GORELIK, OLGA   Laredo, LLC     9444    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12538   GORELIK, OLGA                   15191   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12539   GORELIK, OLGA                   20938   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12540   GORELIK, OLGA                   26685   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12541   GOSS, PATRICK                   8402    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12542   GOSS, PATRICK   Laredo, LLC     14152   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1827 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12543   GOSS, PATRICK                     19899   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12544   GOSS, PATRICK                     25632   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12545   GOSS, PATRICK                     31393   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12546   GOSTON, JEFFREY                   4265    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12547   GOSTON, JEFFREY Laredo, LLC       10015   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12548   GOSTON, JEFFREY                   15762   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12549   GOSTON, JEFFREY                   21508   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1828 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12550   GOSTON, JEFFREY                   27256   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12551   GOTCHET, LISA                     6222    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12552   GOTCHET, LISA     Laredo, LLC     11972   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12553   GOTCHET, LISA                     17719   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12554   GOTCHET, LISA                     23464   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12555   GOTCHET, LISA                     29213   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12556   GOTLIEB, DAN                      6877    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1829 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12557   GOTLIEB, DAN   Laredo, LLC     12627   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12558   GOTLIEB, DAN                   18374   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12559   GOTLIEB, DAN                   24108   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12560   GOTLIEB, DAN                   29868   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12561   GOTT, DONNA    Laredo, LLC     32698   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12562   GOTT, DONNA                    33689   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12563   GOTT, DONNA                    34680   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1830 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
12564   GOTT, DONNA                   35671   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
12565   GOTT, DONNA                   36662   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOTTSCHALK,   Barney Davis,
12566                                 4459    8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOTTSCHALK,
12567                 Laredo, LLC     10209   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOTTSCHALK,   Nueces Bay,
12568                                 15956   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOTTSCHALK,   Talen Texas
12569                                 21702   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GOTTSCHALK,   Talen Texas,
12570                                 27450   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1831 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12571   GOULET, EDDIE                   7122    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12572   GOULET, EDDIE   Laredo, LLC     12872   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12573   GOULET, EDDIE                   18619   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12574   GOULET, EDDIE                   24353   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12575   GOULET, EDDIE                   30113   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12576   GOVER, JENNY                    4272    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12577   GOVER, JENNY    Laredo, LLC     10022   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1832 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12578   GOVER, JENNY                     15769   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12579   GOVER, JENNY                     21515   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12580   GOVER, JENNY                     27263   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12581   GOYNE, ASHLYNN                   3951    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12582   GOYNE, ASHLYNN Laredo, LLC       9701    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12583   GOYNE, ASHLYNN                   15448   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12584   GOYNE, ASHLYNN                   21194   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1833 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12585   GOYNE, ASHLYNN                   26942   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRABOWSKI,       Barney Davis,
12586                                    3689    8/1/2022     Secured: $0.00
        LORRI            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRABOWSKI,
12587                    Laredo, LLC     9439    8/1/2022     Secured: $0.00
        LORRI
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRABOWSKI,       Nueces Bay,
12588                                    15186   8/1/2022     Secured: $0.00
        LORRI            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRABOWSKI,       Talen Texas
12589                                    20933   8/1/2022     Secured: $0.00
        LORRI            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRABOWSKI,       Talen Texas,
12590                                    26680   8/1/2022     Secured: $0.00
        LORRI            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRACIANO,        Barney Davis,
12591                                    4862    8/1/2022     Secured: $0.00
        BOBBIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1834 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRACIANO,
12592                   Laredo, LLC     10612   8/1/2022     Secured: $0.00
        BOBBIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRACIANO,       Nueces Bay,
12593                                   16359   8/1/2022     Secured: $0.00
        BOBBIE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRACIANO,       Talen Texas
12594                                   22105   8/1/2022     Secured: $0.00
        BOBBIE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRACIANO,       Talen Texas,
12595                                   27853   8/1/2022     Secured: $0.00
        BOBBIE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12596   GRAFF, BRENDA                   3984    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12597   GRAFF, BRENDA   Laredo, LLC     9734    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12598   GRAFF, BRENDA                   15481   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1835 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12599   GRAFF, BRENDA                   21227   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12600   GRAFF, BRENDA                   26975   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12601   GRAFF, CODY B                   9237    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12602   GRAFF, CODY B   Laredo, LLC     14987   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12603   GRAFF, CODY B                   20734   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12604   GRAFF, CODY B                   26466   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12605   GRAFF, CODY B                   32228   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1836 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12606   GRAFF, STUART                   4706    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12607   GRAFF, STUART   Laredo, LLC     10456   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12608   GRAFF, STUART                   16203   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12609   GRAFF, STUART                   21949   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12610   GRAFF, STUART                   27697   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Barney Davis,
12611                                   6082    8/1/2022     Secured: $0.00
        CEDRISHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,
12612                   Laredo, LLC     11832   8/1/2022     Secured: $0.00
        CEDRISHA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1837 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Nueces Bay,
12613                                 17579   8/1/2022     Secured: $0.00
        CEDRISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Talen Texas
12614                                 23324   8/1/2022     Secured: $0.00
        CEDRISHA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Talen Texas,
12615                                 29073   8/1/2022     Secured: $0.00
        CEDRISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Barney Davis,
12616                                 6798    8/1/2022     Secured: $0.00
        CLAYTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,
12617                 Laredo, LLC     12548   8/1/2022     Secured: $0.00
        CLAYTON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Nueces Bay,
12618                                 18295   8/1/2022     Secured: $0.00
        CLAYTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Talen Texas
12619                                 24029   8/1/2022     Secured: $0.00
        CLAYTON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1838 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Talen Texas,
12620                                   29789   8/1/2022     Secured: $0.00
        CLAYTON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Barney Davis,
12621                                   6911    8/1/2022     Secured: $0.00
        DARRILL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,
12622                   Laredo, LLC     12661   8/1/2022     Secured: $0.00
        DARRILL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Nueces Bay,
12623                                   18408   8/1/2022     Secured: $0.00
        DARRILL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Talen Texas
12624                                   24142   8/1/2022     Secured: $0.00
        DARRILL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Talen Texas,
12625                                   29902   8/1/2022     Secured: $0.00
        DARRILL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12626   GRAHAM, EDITH                   4952    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1839 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12627   GRAHAM, EDITH   Laredo, LLC     10702   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12628   GRAHAM, EDITH                   16449   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12629   GRAHAM, EDITH                   22194   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12630   GRAHAM, EDITH                   27943   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12631   GRAHAM, EVAN                    7212    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12632   GRAHAM, EVAN    Laredo, LLC     12962   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12633   GRAHAM, EVAN                    18709   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1840 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12634   GRAHAM, EVAN                   24443   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12635   GRAHAM, EVAN                   30203   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAHAM,
12636                  Laredo, LLC     32699   8/1/2022     Secured: $0.00
        RICHARD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAHAM,        Barney Davis,
12637                                  33690   8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAHAM,        Nueces Bay,
12638                                  34681   8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAHAM,        Talen Texas
12639                                  35672   8/1/2022     Secured: $0.00
        RICHARD        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAHAM,        Talen Texas,
12640                                  36663   8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1841 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12641   GRAHAM, SONYA                   9324    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12642   GRAHAM, SONYA Laredo, LLC       15074   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12643   GRAHAM, SONYA                   20821   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12644   GRAHAM, SONYA                   26553   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12645   GRAHAM, SONYA                   32315   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,         Barney Davis,
12646                                   9156    8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRAHAM,
12647                   Laredo, LLC     14906   8/1/2022     Secured: $0.00
        WILLIAM
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1842 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Nueces Bay,
12648                                 20653   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Talen Texas
12649                                 26385   8/1/2022     Secured: $0.00
        WILLIAM       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRAHAM,       Talen Texas,
12650                                 32147   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRANADO,
12651                 Laredo, LLC     32700   8/1/2022     Secured: $0.00
        JOANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRANADO,      Barney Davis,
12652                                 33691   8/1/2022     Secured: $0.00
        JOANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRANADO,      Nueces Bay,
12653                                 34682   8/1/2022     Secured: $0.00
        JOANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRANADO,      Talen Texas
12654                                 35673   8/1/2022     Secured: $0.00
        JOANNA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1843 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRANADO,        Talen Texas,
12655                                   36664   8/1/2022     Secured: $0.00
        JOANNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRANGER,        Barney Davis,
12656                                   5114    8/1/2022     Secured: $0.00
        LYNDON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRANGER,
12657                   Laredo, LLC     10864   8/1/2022     Secured: $0.00
        LYNDON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRANGER,        Nueces Bay,
12658                                   16611   8/1/2022     Secured: $0.00
        LYNDON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRANGER,        Talen Texas
12659                                   22356   8/1/2022     Secured: $0.00
        LYNDON          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GRANGER,        Talen Texas,
12660                                   28105   8/1/2022     Secured: $0.00
        LYNDON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GRANITE STATE                                        Priority: $0.00
                        Barney Davis,
12661   INSURANCE                       2932    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $1,035,735.47 + Unliquidated

                                                             Total: $1,035,735.47 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1844 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GRANITE STATE                                         Priority: $0.00
                         Nueces Bay,
12662   INSURANCE                        3071    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $1,035,735.47 + Unliquidated

                                                              Total: $1,035,735.47 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GRANITE STATE                                         Priority: $0.00
12663   INSURANCE        Laredo, LLC     3141    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $1,035,735.47 + Unliquidated

                                                              Total: $1,035,735.47 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12664   GRANT, TEKESHA                   8956    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12665   GRANT, TEKESHA Laredo, LLC       14706   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12666   GRANT, TEKESHA                   20453   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12667   GRANT, TEKESHA                   26185   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12668   GRANT, TEKESHA                   31947   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1845 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRANTHAM,      Barney Davis,
12669                                  4520    8/1/2022     Secured: $0.00
        MICHELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRANTHAM,
12670                  Laredo, LLC     10270   8/1/2022     Secured: $0.00
        MICHELLE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRANTHAM,      Nueces Bay,
12671                                  16017   8/1/2022     Secured: $0.00
        MICHELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRANTHAM,      Talen Texas
12672                                  21763   8/1/2022     Secured: $0.00
        MICHELLE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRANTHAM,      Talen Texas,
12673                                  27511   8/1/2022     Secured: $0.00
        MICHELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GRAPHIC ARTS
                                                            Priority: $0.00
        MUTUAL         Nueces Bay,
12674                                  2409    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $4,098,251.00 + Unliquidated
        COMPANY
                                                            Total: $4,098,251.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GRAPHIC ARTS
                                                            Priority: $0.00
        MUTUAL
12675                  Laredo, LLC     37310   6/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $4,098,251.00 + Unliquidated
        COMPANY
                                                            Total: $4,098,251.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1846 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        GRAPHIC ARTS
                                                               Priority: $0.00
        MUTUAL            Barney Davis,
12676                                     37351   6/29/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $4,098,251.00 + Unliquidated
        COMPANY
                                                               Total: $4,098,251.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12677   GRASSEL, JANICE Laredo, LLC       32701   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12678   GRASSEL, JANICE                   33692   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12679   GRASSEL, JANICE                   34683   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12680   GRASSEL, JANICE                   35674   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12681   GRASSEL, JANICE                   36665   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12682   GRAU, KENNETH                     7811    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1847 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12683   GRAU, KENNETH   Laredo, LLC     13561   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12684   GRAU, KENNETH                   19308   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12685   GRAU, KENNETH                   25042   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12686   GRAU, KENNETH                   30802   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12687   GRAUN, JOE                      7589    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12688   GRAUN, JOE      Laredo, LLC     13339   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12689   GRAUN, JOE                      19086   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1848 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12690   GRAUN, JOE                     24820   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12691   GRAUN, JOE                     30580   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12692   GRAY, BRIAN                    6074    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12693   GRAY, BRIAN    Laredo, LLC     11824   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12694   GRAY, BRIAN                    17571   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12695   GRAY, BRIAN                    23316   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12696   GRAY, BRIAN                    29065   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1849 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12697   GRAY, ELAINE                     4954    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12698   GRAY, ELAINE     Laredo, LLC     10704   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12699   GRAY, ELAINE                     16451   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12700   GRAY, ELAINE                     22196   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12701   GRAY, ELAINE                     27945   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12702   GRAY, JEOFFREY                   7532    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12703   GRAY, JEOFFREY   Laredo, LLC     13282   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1850 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12704   GRAY, JEOFFREY                   19029   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12705   GRAY, JEOFFREY                   24763   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12706   GRAY, JEOFFREY                   30523   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12707   GRAY, ODELL                      8360    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12708   GRAY, ODELL      Laredo, LLC     14110   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12709   GRAY, ODELL                      19857   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12710   GRAY, ODELL                      25590   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1851 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12711   GRAY, ODELL                    31351   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAY, SANDRA   Barney Davis,
12712                                  8742    8/1/2022     Secured: $0.00
        LEE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAY, SANDRA
12713                  Laredo, LLC     14492   8/1/2022     Secured: $0.00
        LEE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAY, SANDRA   Nueces Bay,
12714                                  20239   8/1/2022     Secured: $0.00
        LEE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAY, SANDRA   Talen Texas
12715                                  25971   8/1/2022     Secured: $0.00
        LEE            Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GRAY, SANDRA   Talen Texas,
12716                                  31733   8/1/2022     Secured: $0.00
        LEE            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12717   GRAY, VERA                     9099    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1852 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12718   GRAY, VERA      Laredo, LLC     14849   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12719   GRAY, VERA                      20596   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12720   GRAY, VERA                      26328   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12721   GRAY, VERA                      32090   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12722   GRAY, WENDELL                   9141    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12723   GRAY, WENDELL   Laredo, LLC     14891   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12724   GRAY, WENDELL                   20638   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1853 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12725   GRAY, WENDELL                   26370   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12726   GRAY, WENDELL                   32132   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12727   GREASBY, KAT                    4361    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12728   GREASBY, KAT    Laredo, LLC     10111   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12729   GREASBY, KAT                    15858   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12730   GREASBY, KAT                    21604   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12731   GREASBY, KAT                    27352   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1854 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN
                                                           Priority: $0.00
        ALLIANCE       Barney Davis,
12732                                  1974   7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $267,791.21 + Unliquidated
        COMPANY
                                                           Total: $267,791.21 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN
                                                           Priority: $0.00
        ALLIANCE
12733                  Laredo, LLC     2116   7/30/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $267,791.21 + Unliquidated
        COMPANY
                                                           Total: $267,791.21 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN
                                                           Priority: $0.00
        ALLIANCE       Nueces Bay,
12734                                  2145   7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $267,791.21 + Unliquidated
        COMPANY
                                                           Total: $267,791.21 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
                       Nueces Bay,
12735   ASSURANCE                      2020   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $5,476,334.39 + Unliquidated

                                                           Total: $5,476,334.39 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
                       Barney Davis,
12736   ASSURANCE                      2115   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $5,476,334.39 + Unliquidated

                                                           Total: $5,476,334.39 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
12737   ASSURANCE      Laredo, LLC     2254   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $5,476,334.39 + Unliquidated

                                                           Total: $5,476,334.39 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
                       Barney Davis,
12738   E&S INSURANCE                  2144   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $1,287,728.67 + Unliquidated

                                                           Total: $1,287,728.67 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1855 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
                       Nueces Bay,
12739   E&S INSURANCE                  2151   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $1,287,728.67 + Unliquidated

                                                           Total: $1,287,728.67 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
12740   E&S INSURANCE Laredo, LLC      2391   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $1,287,728.67 + Unliquidated

                                                           Total: $1,287,728.67 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
                       Barney Davis,
12741   INSURANCE                      2128   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $10,192,990.10 + Unliquidated

                                                           Total: $10,192,990.10 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
12742   INSURANCE      Laredo, LLC     2165   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $10,192,990.10 + Unliquidated

                                                           Total: $10,192,990.10 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN                                     Priority: $0.00
                       Nueces Bay,
12743   INSURANCE                      2251   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $10,192,990.10 + Unliquidated

                                                           Total: $10,192,990.10 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREAT AMERICAN
                                                           Priority: $0.00
        INSURANCE      Nueces Bay,
12744                                  2046   7/30/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $6,150,553.74 + Unliquidated
        NEW YORK
                                                           Total: $6,150,553.74 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1856 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT AMERICAN
                                                             Priority: $0.00
        INSURANCE
12745                  Laredo, LLC       2130   7/30/2022    Secured: $0.00
        COMPANY OF
                                                             General Unsecured: $6,150,553.74 + Unliquidated
        NEW YORK
                                                             Total: $6,150,553.74 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT AMERICAN
                                                             Priority: $0.00
        INSURANCE      Barney Davis,
12746                                    2146   7/30/2022    Secured: $0.00
        COMPANY OF     LLC
                                                             General Unsecured: $6,150,553.74 + Unliquidated
        NEW YORK
                                                             Total: $6,150,553.74 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT AMERICAN                                       Priority: $0.00
                         Barney Davis,
12747   SPIRIT INSURANCE                 2049   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $23,563.30 + Unliquidated

                                                             Total: $23,563.30 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT AMERICAN                                       Priority: $0.00
12748   SPIRIT INSURANCE Laredo, LLC     2091   7/30/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $23,563.30 + Unliquidated

                                                             Total: $23,563.30 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT AMERICAN                                       Priority: $0.00
                         Nueces Bay,
12749   SPIRIT INSURANCE                 2258   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $23,563.30 + Unliquidated

                                                             Total: $23,563.30 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GREAT LAKES      Nueces Bay,
12750                                    1161   7/28/2022    Secured: $0.00
        INSURANCE S.E.   LLC
                                                             General Unsecured: $48,600,000.00 + Unliquidated

                                                             Total: $48,600,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1857 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GREAT LAKES
12751                    Laredo, LLC     1175   7/28/2022    Secured: $0.00
        INSURANCE S.E.
                                                             General Unsecured: $48,600,000.00 + Unliquidated

                                                             Total: $48,600,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GREAT LAKES      Barney Davis,
12752                                    1296   7/28/2022    Secured: $0.00
        INSURANCE S.E.   LLC
                                                             General Unsecured: $48,600,000.00 + Unliquidated

                                                             Total: $48,600,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GREAT LAKES      Barney Davis,
12753                                    1979   7/30/2022    Secured: $0.00
        INSURANCE SE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GREAT LAKES      Nueces Bay,
12754                                    2068   7/30/2022    Secured: $0.00
        INSURANCE SE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GREAT LAKES
12755                    Laredo, LLC     2070   7/30/2022    Secured: $0.00
        INSURANCE SE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT
                                                             Priority: $0.00
        NORTHERN
12756                    Laredo, LLC     2051   7/30/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $8,708,616.93 + Unliquidated
        COMPANY
                                                             Total: $8,708,616.93 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1858 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT
                                                             Priority: $0.00
        NORTHERN        Barney Davis,
12757                                   2157    7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $8,708,616.93 + Unliquidated
        COMPANY
                                                             Total: $8,708,616.93 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        GREAT
                                                             Priority: $0.00
        NORTHERN        Nueces Bay,
12758                                   2476    7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $8,708,616.93 + Unliquidated
        COMPANY
                                                             Total: $8,708,616.93 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12759   GREEN, AMANDA                   3735    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12760   GREEN, AMANDA Laredo, LLC       9485    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12761   GREEN, AMANDA                   15232   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12762   GREEN, AMANDA                   20979   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12763   GREEN, AMANDA                   26726   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1859 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12764   GREEN, BELINDA                    6495    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12765   GREEN, BELINDA    Laredo, LLC     12245   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12766   GREEN, BELINDA                    17992   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12767   GREEN, BELINDA                    23727   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12768   GREEN, BELINDA                    29486   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12769   GREEN, BRITTNEY                   3994    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12770   GREEN, BRITTNEY Laredo, LLC       9744    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1860 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12771   GREEN, BRITTNEY                   15491   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12772   GREEN, BRITTNEY                   21237   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12773   GREEN, BRITTNEY                   26985   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12774   GREEN, CREOLA                     6837    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12775   GREEN, CREOLA     Laredo, LLC     12587   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12776   GREEN, CREOLA                     18334   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12777   GREEN, CREOLA                     24068   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1861 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12778   GREEN, CREOLA                   29828   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12779   GREEN, DEBBIE                   4104    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12780   GREEN, DEBBIE   Laredo, LLC     9854    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12781   GREEN, DEBBIE                   15601   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12782   GREEN, DEBBIE                   21347   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12783   GREEN, DEBBIE                   27095   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12784   GREEN, HELEN                    7369    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1862 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12785   GREEN, HELEN   Laredo, LLC     13119   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12786   GREEN, HELEN                   18866   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12787   GREEN, HELEN                   24600   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12788   GREEN, HELEN                   30360   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12789   GREEN, JAMES                   7443    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12790   GREEN, JAMES   Laredo, LLC     13193   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12791   GREEN, JAMES                   18940   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1863 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12792   GREEN, JAMES                   24674   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12793   GREEN, JAMES                   30434   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREEN,         Barney Davis,
12794                                  4315    8/1/2022     Secured: $0.00
        JONTORRIUS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREEN,
12795                  Laredo, LLC     10065   8/1/2022     Secured: $0.00
        JONTORRIUS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREEN,         Nueces Bay,
12796                                  15812   8/1/2022     Secured: $0.00
        JONTORRIUS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREEN,         Talen Texas
12797                                  21558   8/1/2022     Secured: $0.00
        JONTORRIUS     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREEN,         Talen Texas,
12798                                  27306   8/1/2022     Secured: $0.00
        JONTORRIUS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1864 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12799   GREEN, JULIA      Laredo, LLC     32702   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12800   GREEN, JULIA                      33693   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12801   GREEN, JULIA                      34684   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12802   GREEN, JULIA                      35675   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12803   GREEN, JULIA                      36666   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12804   GREEN, MARJORIE                   8113    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12805   GREEN, MARJORIE Laredo, LLC       13863   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1865 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12806   GREEN, MARJORIE                   19610   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12807   GREEN, MARJORIE                   25344   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12808   GREEN, MARJORIE                   31104   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GREEN,            Barney Davis,
12809                                     8319    8/1/2022     Secured: $0.00
        NATHANIEL         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GREEN,
12810                     Laredo, LLC     14069   8/1/2022     Secured: $0.00
        NATHANIEL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GREEN,            Nueces Bay,
12811                                     19816   8/1/2022     Secured: $0.00
        NATHANIEL         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GREEN,            Talen Texas
12812                                     25550   8/1/2022     Secured: $0.00
        NATHANIEL         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1866 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREEN,           Talen Texas,
12813                                    31310   8/1/2022     Secured: $0.00
        NATHANIEL        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREEN, PORTIA    Barney Davis,
12814                                    8462    8/1/2022     Secured: $0.00
        MCGOWAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREEN, PORTIA
12815                    Laredo, LLC     14212   8/1/2022     Secured: $0.00
        MCGOWAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREEN, PORTIA    Nueces Bay,
12816                                    19959   8/1/2022     Secured: $0.00
        MCGOWAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREEN, PORTIA    Talen Texas
12817                                    25692   8/1/2022     Secured: $0.00
        MCGOWAN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREEN, PORTIA    Talen Texas,
12818                                    31453   8/1/2022     Secured: $0.00
        MCGOWAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12819   GREEN, RICHARD                   8568    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1867 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12820   GREEN, RICHARD Laredo, LLC       14318   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12821   GREEN, RICHARD                   20065   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12822   GREEN, RICHARD                   25797   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12823   GREEN, RICHARD                   31559   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREENE JR,       Barney Davis,
12824                                    8579    8/1/2022     Secured: $0.00
        RICKEY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREENE JR,
12825                    Laredo, LLC     14329   8/1/2022     Secured: $0.00
        RICKEY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREENE JR,       Nueces Bay,
12826                                    20076   8/1/2022     Secured: $0.00
        RICKEY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1868 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE JR,     Talen Texas
12827                                  25808   8/1/2022     Secured: $0.00
        RICKEY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE JR,     Talen Texas,
12828                                  31570   8/1/2022     Secured: $0.00
        RICKEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE,        Barney Davis,
12829                                  6051    8/1/2022     Secured: $0.00
        ADRIENNE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE,
12830                  Laredo, LLC     11801   8/1/2022     Secured: $0.00
        ADRIENNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE,        Nueces Bay,
12831                                  17548   8/1/2022     Secured: $0.00
        ADRIENNE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE,        Talen Texas
12832                                  23293   8/1/2022     Secured: $0.00
        ADRIENNE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GREENE,        Talen Texas,
12833                                  29042   8/1/2022     Secured: $0.00
        ADRIENNE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1869 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12834   GREENE, DWIGHT Laredo, LLC       32703   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12835   GREENE, DWIGHT                   33694   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12836   GREENE, DWIGHT                   34685   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12837   GREENE, DWIGHT                   35676   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12838   GREENE, DWIGHT                   36667   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREENE,          Barney Davis,
12839                                    5294    8/1/2022     Secured: $0.00
        SHAROLYN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GREENE,
12840                    Laredo, LLC     11044   8/1/2022     Secured: $0.00
        SHAROLYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1870 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENE,       Nueces Bay,
12841                                 16791   8/1/2022     Secured: $0.00
        SHAROLYN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENE,       Talen Texas
12842                                 22536   8/1/2022     Secured: $0.00
        SHAROLYN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENE,       Talen Texas,
12843                                 28285   8/1/2022     Secured: $0.00
        SHAROLYN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENOUGH,    Barney Davis,
12844                                 7771    8/1/2022     Secured: $0.00
        KATHY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENOUGH,
12845                 Laredo, LLC     13521   8/1/2022     Secured: $0.00
        KATHY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENOUGH,    Nueces Bay,
12846                                 19268   8/1/2022     Secured: $0.00
        KATHY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENOUGH,    Talen Texas
12847                                 25002   8/1/2022     Secured: $0.00
        KATHY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1871 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENOUGH,    Talen Texas,
12848                                 30762   8/1/2022     Secured: $0.00
        KATHY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENWELL,    Barney Davis,
12849                                 4032    8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENWELL,
12850                 Laredo, LLC     9782    8/1/2022     Secured: $0.00
        CHARLES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENWELL,    Nueces Bay,
12851                                 15529   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENWELL,    Talen Texas
12852                                 21275   8/1/2022     Secured: $0.00
        CHARLES       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREENWELL,    Talen Texas,
12853                                 27023   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GREENWICH                                          Priority: $0.00
                      Barney Davis,
12854   INSURANCE                     1131    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $5,612.33 + Unliquidated

                                                           Total: $5,612.33 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1872 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GREENWICH                                           Priority: $0.00
12855   INSURANCE      Laredo, LLC     1292    7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $5,612.33 + Unliquidated

                                                            Total: $5,612.33 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        GREENWICH                                           Priority: $0.00
                       Nueces Bay,
12856   INSURANCE                      1326    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $5,612.33 + Unliquidated

                                                            Total: $5,612.33 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
12857   GREER, RICKY                   5240    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
12858   GREER, RICKY   Laredo, LLC     10990   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
12859   GREER, RICKY                   16737   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
12860   GREER, RICKY                   22482   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
12861   GREER, RICKY                   28231   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1873 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREGSON,
12862                 Laredo, LLC     32704   8/1/2022     Secured: $0.00
        LENORE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREGSON,      Barney Davis,
12863                                 33695   8/1/2022     Secured: $0.00
        LENORE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREGSON,      Nueces Bay,
12864                                 34686   8/1/2022     Secured: $0.00
        LENORE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREGSON,      Talen Texas
12865                                 35677   8/1/2022     Secured: $0.00
        LENORE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GREGSON,      Talen Texas,
12866                                 36668   8/1/2022     Secured: $0.00
        LENORE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRENSHAM,     Barney Davis,
12867                                 5314    8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRENSHAM,
12868                 Laredo, LLC     11064   8/1/2022     Secured: $0.00
        STEPHANIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1874 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GRENSHAM,         Nueces Bay,
12869                                     16811   8/1/2022     Secured: $0.00
        STEPHANIE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GRENSHAM,         Talen Texas
12870                                     22556   8/1/2022     Secured: $0.00
        STEPHANIE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GRENSHAM,         Talen Texas,
12871                                     28305   8/1/2022     Secured: $0.00
        STEPHANIE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12872   GREY, NATHANIEL                   5173    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12873   GREY, NATHANIEL Laredo, LLC       10923   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12874   GREY, NATHANIEL                   16670   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12875   GREY, NATHANIEL                   22415   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1875 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12876   GREY, NATHANIEL                   28164   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12877   GRICE, SHARON                     8794    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12878   GRICE, SHARON     Laredo, LLC     14544   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12879   GRICE, SHARON                     20291   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12880   GRICE, SHARON                     26023   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12881   GRICE, SHARON                     31785   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12882   GRIDER, OSCAR                     5189    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1876 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12883   GRIDER, OSCAR   Laredo, LLC     10939   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12884   GRIDER, OSCAR                   16686   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12885   GRIDER, OSCAR                   22431   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12886   GRIDER, OSCAR                   28180   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12887   GRIER, JAMES                    7444    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12888   GRIER, JAMES    Laredo, LLC     13194   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12889   GRIER, JAMES                    18941   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1877 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12890   GRIER, JAMES                      24675   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12891   GRIER, JAMES                      30435   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12892   GRIEVE, DOUGLAS                   5975    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12893   GRIEVE, DOUGLAS Laredo, LLC       11725   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12894   GRIEVE, DOUGLAS                   17472   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12895   GRIEVE, DOUGLAS                   23217   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12896   GRIEVE, DOUGLAS                   28966   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1878 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12897   GRIFFEN, NICOLE                   8333    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12898   GRIFFEN, NICOLE Laredo, LLC       14083   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12899   GRIFFEN, NICOLE                   19830   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12900   GRIFFEN, NICOLE                   25564   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12901   GRIFFEN, NICOLE                   31324   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GRIFFENBERG,      Barney Davis,
12902                                     5372    8/1/2022     Secured: $0.00
        WILLIAM           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GRIFFENBERG,
12903                     Laredo, LLC     11122   8/1/2022     Secured: $0.00
        WILLIAM
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1879 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRIFFENBERG,     Nueces Bay,
12904                                    16869   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRIFFENBERG,     Talen Texas
12905                                    22614   8/1/2022     Secured: $0.00
        WILLIAM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GRIFFENBERG,     Talen Texas,
12906                                    28363   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12907   GRIFFIN, BRYAN                   6607    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12908   GRIFFIN, BRYAN   Laredo, LLC     12357   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12909   GRIFFIN, BRYAN                   18104   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12910   GRIFFIN, BRYAN                   23838   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1880 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
12911   GRIFFIN, BRYAN                     29598   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
12912   GRIFFIN, JESSICA                   7555    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
12913   GRIFFIN, JESSICA   Laredo, LLC     13305   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
12914   GRIFFIN, JESSICA                   19052   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
12915   GRIFFIN, JESSICA                   24786   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
12916   GRIFFIN, JESSICA                   30546   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
12917   GRIFFIN, PARRIS                    8385    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1881 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12918   GRIFFIN, PARRIS   Laredo, LLC     14135   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12919   GRIFFIN, PARRIS                   19882   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12920   GRIFFIN, PARRIS                   25615   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12921   GRIFFIN, PARRIS                   31376   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12922   GRIFFIN, SHEILA                   4679    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12923   GRIFFIN, SHEILA   Laredo, LLC     10429   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12924   GRIFFIN, SHEILA                   16176   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1882 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
12925   GRIFFIN, SHEILA                    21922   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
12926   GRIFFIN, SHEILA                    27670   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
12927   GRIFFITH, ALAINA Laredo, LLC       32705   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
12928   GRIFFITH, ALAINA                   33696   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
12929   GRIFFITH, ALAINA                   34687   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
12930   GRIFFITH, ALAINA                   35678   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
12931   GRIFFITH, ALAINA                   36669   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1883 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12932   GRIFFITH, JOHN                   7609    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12933   GRIFFITH, JOHN   Laredo, LLC     13359   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12934   GRIFFITH, JOHN                   19106   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12935   GRIFFITH, JOHN                   24840   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12936   GRIFFITH, JOHN                   30600   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12937   GRIGSBY, JAMAR                   7430    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12938   GRIGSBY, JAMAR Laredo, LLC       13180   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1884 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12939   GRIGSBY, JAMAR                   18927   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12940   GRIGSBY, JAMAR                   24661   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12941   GRIGSBY, JAMAR                   30421   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12942   GRILL, JEFFREY                   3833    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12943   GRILL, JEFFREY   Laredo, LLC     9583    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12944   GRILL, JEFFREY                   15330   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12945   GRILL, JEFFREY                   21077   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1885 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12946   GRILL, JEFFREY                    26824   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12947   GRIMES, CHARLES                   6695    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12948   GRIMES, CHARLES Laredo, LLC       12445   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12949   GRIMES, CHARLES                   18192   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12950   GRIMES, CHARLES                   23926   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12951   GRIMES, CHARLES                   29686   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12952   GRIMES, JBREIL                    5672    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1886 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12953   GRIMES, JBREIL   Laredo, LLC     11422   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12954   GRIMES, JBREIL                   17169   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12955   GRIMES, JBREIL                   22914   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12956   GRIMES, JBREIL                   28663   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12957   GROBA, MARK                      5552    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12958   GROBA, MARK      Laredo, LLC     11302   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12959   GROBA, MARK                      17049   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1887 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12960   GROBA, MARK                     22794   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12961   GROBA, MARK                     28543   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12962   GROFF, TAMALA                   8929    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12963   GROFF, TAMALA   Laredo, LLC     14679   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12964   GROFF, TAMALA                   20426   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12965   GROFF, TAMALA                   26158   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12966   GROFF, TAMALA                   31920   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1888 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
12967   GROHMAN, FAYE                   4182    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
12968   GROHMAN, FAYE Laredo, LLC       9932    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
12969   GROHMAN, FAYE                   15679   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
12970   GROHMAN, FAYE                   21425   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
12971   GROHMAN, FAYE                   27173   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GROMACKI,       Barney Davis,
12972                                   9332    8/1/2022     Secured: $0.00
        TIFFANY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GROMACKI,
12973                   Laredo, LLC     15082   8/1/2022     Secured: $0.00
        TIFFANY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1889 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROMACKI,         Nueces Bay,
12974                                     20829   8/1/2022     Secured: $0.00
        TIFFANY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROMACKI,         Talen Texas
12975                                     26561   8/1/2022     Secured: $0.00
        TIFFANY           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROMACKI,         Talen Texas,
12976                                     32323   8/1/2022     Secured: $0.00
        TIFFANY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12977   GROS, ANASTASIA                   6374    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
12978   GROS, ANASTASIA Laredo, LLC       12124   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
12979   GROS, ANASTASIA                   17871   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
12980   GROS, ANASTASIA                   23606   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1890 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
12981   GROS, ANASTASIA                   29365   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROSEL, JOSHUA Barney Davis,
12982                                     7673    8/1/2022     Secured: $0.00
        ANTHONY        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROSEL, JOSHUA
12983                  Laredo, LLC        13423   8/1/2022     Secured: $0.00
        ANTHONY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROSEL, JOSHUA Nueces Bay,
12984                                     19170   8/1/2022     Secured: $0.00
        ANTHONY        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROSEL, JOSHUA Talen Texas
12985                                     24904   8/1/2022     Secured: $0.00
        ANTHONY        Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GROSEL, JOSHUA Talen Texas,
12986                                     30664   8/1/2022     Secured: $0.00
        ANTHONY        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
12987   GROSS, JARKERA                    7483    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1891 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12988   GROSS, JARKERA   Laredo, LLC     13233   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12989   GROSS, JARKERA                   18980   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
12990   GROSS, JARKERA                   24714   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
12991   GROSS, JARKERA                   30474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
12992   GROSS, KIM                       5613    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
12993   GROSS, KIM       Laredo, LLC     11363   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
12994   GROSS, KIM                       17110   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1892 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
12995   GROSS, KIM                    22855   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
12996   GROSS, KIM                    28604   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GROUMBS,
12997                 Laredo, LLC     32706   8/1/2022     Secured: $0.00
        JIMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GROUMBS,      Barney Davis,
12998                                 33697   8/1/2022     Secured: $0.00
        JIMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GROUMBS,      Nueces Bay,
12999                                 34688   8/1/2022     Secured: $0.00
        JIMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GROUMBS,      Talen Texas
13000                                 35679   8/1/2022     Secured: $0.00
        JIMMY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GROUMBS,      Talen Texas,
13001                                 36670   8/1/2022     Secured: $0.00
        JIMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1893 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13002   GRUBBS, JANIE                    7479    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13003   GRUBBS, JANIE    Laredo, LLC     13229   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13004   GRUBBS, JANIE                    18976   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13005   GRUBBS, JANIE                    24710   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13006   GRUBBS, JANIE                    30470   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13007   GRUBER, SHERRI                   8825    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13008   GRUBER, SHERRI   Laredo, LLC     14575   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1894 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13009   GRUBER, SHERRI                   20322   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13010   GRUBER, SHERRI                   26054   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13011   GRUBER, SHERRI                   31816   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13012   GRYCH, ANN                       6407    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13013   GRYCH, ANN       Laredo, LLC     12157   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13014   GRYCH, ANN                       17904   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13015   GRYCH, ANN                       23639   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1895 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
13016   GRYCH, ANN                    29398   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRZYSON,      Barney Davis,
13017                                 4677    8/1/2022     Secured: $0.00
        SHAWNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRZYSON,
13018                 Laredo, LLC     10427   8/1/2022     Secured: $0.00
        SHAWNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRZYSON,      Nueces Bay,
13019                                 16174   8/1/2022     Secured: $0.00
        SHAWNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRZYSON,      Talen Texas
13020                                 21920   8/1/2022     Secured: $0.00
        SHAWNA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GRZYSON,      Talen Texas,
13021                                 27668   8/1/2022     Secured: $0.00
        SHAWNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Barney Davis,
13022                                 6860    8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1896 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,
13023                 Laredo, LLC     12610   8/1/2022     Secured: $0.00
        CYNTHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Nueces Bay,
13024                                 18357   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Talen Texas
13025                                 24091   8/1/2022     Secured: $0.00
        CYNTHIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Talen Texas,
13026                                 29851   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Barney Davis,
13027                                 4153    8/1/2022     Secured: $0.00
        EDUARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,
13028                 Laredo, LLC     9903    8/1/2022     Secured: $0.00
        EDUARDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Nueces Bay,
13029                                 15650   8/1/2022     Secured: $0.00
        EDUARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1897 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Talen Texas
13030                                 21396   8/1/2022     Secured: $0.00
        EDUARDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Talen Texas,
13031                                 27144   8/1/2022     Secured: $0.00
        EDUARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,
13032                 Laredo, LLC     32707   8/1/2022     Secured: $0.00
        EDUARDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Barney Davis,
13033                                 33698   8/1/2022     Secured: $0.00
        EDUARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Nueces Bay,
13034                                 34689   8/1/2022     Secured: $0.00
        EDUARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Talen Texas
13035                                 35680   8/1/2022     Secured: $0.00
        EDUARDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUAJARDO,     Talen Texas,
13036                                 36671   8/1/2022     Secured: $0.00
        EDUARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1898 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
13037   GUE, DEJOUR                   4116    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
13038   GUE, DEJOUR   Laredo, LLC     9866    8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
13039   GUE, DEJOUR                   15613   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
13040   GUE, DEJOUR                   21359   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
13041   GUE, DEJOUR                   27107   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRA,       Barney Davis,
13042                                 5749    8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRA,
13043                 Laredo, LLC     11499   8/1/2022     Secured: $0.00
        BRANDON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1899 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUERRA,        Nueces Bay,
13044                                  17246   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUERRA,        Talen Texas
13045                                  22991   8/1/2022     Secured: $0.00
        BRANDON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUERRA,        Talen Texas,
13046                                  28740   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13047   GUERRA, CIRA                   9235    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13048   GUERRA, CIRA   Laredo, LLC     14985   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13049   GUERRA, CIRA                   20732   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13050   GUERRA, CIRA                   26464   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1900 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13051   GUERRA, CIRA                     32226   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13052   GUERRA, JOE A.   Laredo, LLC     32708   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13053   GUERRA, JOE A.                   33699   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13054   GUERRA, JOE A.                   34690   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13055   GUERRA, JOE A.                   35681   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13056   GUERRA, JOE A.                   36672   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13057   GUERRA, ROBERT Laredo, LLC       32709   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1901 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13058   GUERRA, ROBERT                   33700   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13059   GUERRA, ROBERT                   34691   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13060   GUERRA, ROBERT                   35682   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13061   GUERRA, ROBERT                   36673   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13062   GUERRERO, ABEL Laredo, LLC       32710   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13063   GUERRERO, ABEL                   33701   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13064   GUERRERO, ABEL                   34692   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1902 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13065   GUERRERO, ABEL                   35683   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13066   GUERRERO, ABEL                   36674   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUERRERO,        Barney Davis,
13067                                    6450    8/1/2022     Secured: $0.00
        ARMANDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUERRERO,
13068                    Laredo, LLC     12200   8/1/2022     Secured: $0.00
        ARMANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUERRERO,        Nueces Bay,
13069                                    17947   8/1/2022     Secured: $0.00
        ARMANDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUERRERO,        Talen Texas
13070                                    23682   8/1/2022     Secured: $0.00
        ARMANDO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUERRERO,        Talen Texas,
13071                                    29441   8/1/2022     Secured: $0.00
        ARMANDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1903 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,
13072                 Laredo, LLC     32711   8/1/2022     Secured: $0.00
        MELISSA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,     Barney Davis,
13073                                 33702   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,     Nueces Bay,
13074                                 34693   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,     Talen Texas
13075                                 35684   8/1/2022     Secured: $0.00
        MELISSA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,     Talen Texas,
13076                                 36675   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,     Barney Davis,
13077                                 8369    8/1/2022     Secured: $0.00
        OSCAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUERRERO,
13078                 Laredo, LLC     14119   8/1/2022     Secured: $0.00
        OSCAR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1904 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUERRERO,       Nueces Bay,
13079                                   19866   8/1/2022     Secured: $0.00
        OSCAR           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUERRERO,       Talen Texas
13080                                   25599   8/1/2022     Secured: $0.00
        OSCAR           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUERRERO,       Talen Texas,
13081                                   31360   8/1/2022     Secured: $0.00
        OSCAR           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13082   GUERRERO, RAY                   8505    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13083   GUERRERO, RAY   Laredo, LLC     14255   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13084   GUERRERO, RAY                   20002   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13085   GUERRERO, RAY                   25734   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1905 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13086   GUERRERO, RAY                    31496   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13087   GUESS, MELODY                    8213    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13088   GUESS, MELODY    Laredo, LLC     13963   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13089   GUESS, MELODY                    19710   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13090   GUESS, MELODY                    25444   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13091   GUESS, MELODY                    31204   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13092   GUEST, LINDSEY                   7991    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1906 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13093   GUEST, LINDSEY   Laredo, LLC     13741   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13094   GUEST, LINDSEY                   19488   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13095   GUEST, LINDSEY                   25222   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13096   GUEST, LINDSEY                   30982   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUEVARA,         Barney Davis,
13097                                    5647    8/1/2022     Secured: $0.00
        LORENA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUEVARA,
13098                    Laredo, LLC     11397   8/1/2022     Secured: $0.00
        LORENA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUEVARA,         Nueces Bay,
13099                                    17144   8/1/2022     Secured: $0.00
        LORENA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1907 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,      Talen Texas
13100                                 22889   8/1/2022     Secured: $0.00
        LORENA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,      Talen Texas,
13101                                 28638   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,      Barney Davis,
13102                                 5158    8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,
13103                 Laredo, LLC     10908   8/1/2022     Secured: $0.00
        MICHELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,      Nueces Bay,
13104                                 16655   8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,      Talen Texas
13105                                 22400   8/1/2022     Secured: $0.00
        MICHELLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUEVARA,      Talen Texas,
13106                                 28149   8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1908 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GUIDEONE ELITE                                        Priority: $0.00
                         Nueces Bay,
13107   INSURANCE                        2100    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $2,770,055.75 + Unliquidated

                                                              Total: $2,770,055.75 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GUIDEONE ELITE                                        Priority: $0.00
13108   INSURANCE        Laredo, LLC     37321   6/29/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $2,770,055.75 + Unliquidated

                                                              Total: $2,770,055.75 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GUIDEONE ELITE                                        Priority: $0.00
                         Barney Davis,
13109   INSURANCE                        37359   6/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $2,770,055.75 + Unliquidated

                                                              Total: $2,770,055.75 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GUIDEONE
                                                              Priority: $0.00
        MUTUAL           Nueces Bay,
13110                                    2268    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $30,194,848.52 + Unliquidated
        COMPANY
                                                              Total: $30,194,848.52 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GUIDEONE
                                                              Priority: $0.00
        MUTUAL
13111                    Laredo, LLC     37319   6/29/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $30,194,848.52 + Unliquidated
        COMPANY
                                                              Total: $30,194,848.52 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        GUIDEONE
                                                              Priority: $0.00
        MUTUAL           Barney Davis,
13112                                    37350   6/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $30,194,848.52 + Unliquidated
        COMPANY
                                                              Total: $30,194,848.52 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1909 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GUIDEONE
                                                           Priority: $0.00
        NATIONAL      Barney Davis,
13113                                 1545    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $1,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GUIDEONE
                                                           Priority: $0.00
        NATIONAL      Nueces Bay,
13114                                 1654    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $1,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GUIDEONE
                                                           Priority: $0.00
        NATIONAL
13115                 Laredo, LLC     2017    8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $1,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GUIDEONE
                                                           Priority: $0.00
        NATIONAL      Nueces Bay,
13116                                 2229    7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $7,640,483.25 + Unliquidated
        COMPANY
                                                           Total: $7,640,483.25 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GUIDEONE
                                                           Priority: $0.00
        NATIONAL
13117                 Laredo, LLC     37357   6/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $7,640,483.25 + Unliquidated
        COMPANY
                                                           Total: $7,640,483.25 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        GUIDEONE
                                                           Priority: $0.00
        NATIONAL      Barney Davis,
13118                                 37369   6/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $7,640,483.25 + Unliquidated
        COMPANY
                                                           Total: $7,640,483.25 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1910 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
        GUIDEONE                                             Other Administrative: $0.00
        SPECIALTY                                            Priority: $0.00
                        Nueces Bay,
13119   MUTUAL                          2419    7/29/2022    Secured: $0.00
                        LLC
        INSURANCE                                            General Unsecured: $12,490,042.06 + Unliquidated
        COMPANY
                                                             Total: $12,490,042.06 + Unliquidated

                                                             503(b)(9): $0.00
        GUIDEONE                                             Other Administrative: $0.00
        SPECIALTY                                            Priority: $0.00
13120   MUTUAL          Laredo, LLC     37362   6/29/2022    Secured: $0.00
        INSURANCE                                            General Unsecured: $12,490,042.06 + Unliquidated
        COMPANY
                                                             Total: $12,490,042.06 + Unliquidated

                                                             503(b)(9): $0.00
        GUIDEONE                                             Other Administrative: $0.00
        SPECIALTY                                            Priority: $0.00
                        Barney Davis,
13121   MUTUAL                          37368   6/29/2022    Secured: $0.00
                        LLC
        INSURANCE                                            General Unsecured: $12,490,042.06 + Unliquidated
        COMPANY
                                                             Total: $12,490,042.06 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUIDRY, ADDIE   Barney Davis,
13122                                   4798    8/1/2022     Secured: $0.00
        RITA            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUIDRY, ADDIE
13123                   Laredo, LLC     10548   8/1/2022     Secured: $0.00
        RITA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUIDRY, ADDIE   Nueces Bay,
13124                                   16295   8/1/2022     Secured: $0.00
        RITA            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1911 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUIDRY, ADDIE     Talen Texas
13125                                     22041   8/1/2022     Secured: $0.00
        RITA              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUIDRY, ADDIE     Talen Texas,
13126                                     27789   8/1/2022     Secured: $0.00
        RITA              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13127   GUILBEAU, KIARA Laredo, LLC       32712   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13128   GUILBEAU, KIARA                   33703   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13129   GUILBEAU, KIARA                   34694   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13130   GUILBEAU, KIARA                   35685   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13131   GUILBEAU, KIARA                   36676   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1912 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILFORD,     Barney Davis,
13132                                 5305    8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILFORD,
13133                 Laredo, LLC     11055   8/1/2022     Secured: $0.00
        SHERRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILFORD,     Nueces Bay,
13134                                 16802   8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILFORD,     Talen Texas
13135                                 22547   8/1/2022     Secured: $0.00
        SHERRY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILFORD,     Talen Texas,
13136                                 28296   8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILLEN,
13137                 Laredo, LLC     32713   8/1/2022     Secured: $0.00
        MARGARITA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUILLEN,      Barney Davis,
13138                                 33704   8/1/2022     Secured: $0.00
        MARGARITA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1913 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUILLEN,          Nueces Bay,
13139                                     34695   8/1/2022     Secured: $0.00
        MARGARITA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUILLEN,          Talen Texas
13140                                     35686   8/1/2022     Secured: $0.00
        MARGARITA         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUILLEN,          Talen Texas,
13141                                     36677   8/1/2022     Secured: $0.00
        MARGARITA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13142   GUILLORY, ERICA                   6108    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13143   GUILLORY, ERICA Laredo, LLC       11858   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13144   GUILLORY, ERICA                   17605   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13145   GUILLORY, ERICA                   23350   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1914 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13146   GUILLORY, ERICA                   29099   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13147   GUILLORY, MARY                    8156    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13148   GUILLORY, MARY Laredo, LLC        13906   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13149   GUILLORY, MARY                    19653   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13150   GUILLORY, MARY                    25387   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13151   GUILLORY, MARY                    31147   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUILLORY,         Barney Davis,
13152                                     3637    8/1/2022     Secured: $0.00
        SHIRLEY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1915 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY,
13153                    Laredo, LLC    9387    8/1/2022     Secured: $0.00
        SHIRLEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY,        Nueces Bay,
13154                                   15134   8/1/2022     Secured: $0.00
        SHIRLEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY,        Talen Texas
13155                                   20881   8/1/2022     Secured: $0.00
        SHIRLEY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY,        Talen Texas,
13156                                   26628   8/1/2022     Secured: $0.00
        SHIRLEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY‐DAVIS, Barney Davis,
13157                                   3746    8/1/2022     Secured: $0.00
        GABRIELLE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY‐DAVIS,
13158                   Laredo, LLC     9496    8/1/2022     Secured: $0.00
        GABRIELLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUILLORY‐DAVIS, Nueces Bay,
13159                                   15243   8/1/2022     Secured: $0.00
        GABRIELLE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1916 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUILLORY‐DAVIS, Talen Texas
13160                                    20990   8/1/2022     Secured: $0.00
        GABRIELLE       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUILLORY‐DAVIS, Talen Texas,
13161                                    26737   8/1/2022     Secured: $0.00
        GABRIELLE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUINDON,         Barney Davis,
13162                                    5885    8/1/2022     Secured: $0.00
        TRISTAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUINDON,
13163                    Laredo, LLC     11635   8/1/2022     Secured: $0.00
        TRISTAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUINDON,         Nueces Bay,
13164                                    17382   8/1/2022     Secured: $0.00
        TRISTAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUINDON,         Talen Texas
13165                                    23127   8/1/2022     Secured: $0.00
        TRISTAN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUINDON,         Talen Texas,
13166                                    28876   8/1/2022     Secured: $0.00
        TRISTAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1917 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUMMINGS,
13167                 Laredo, LLC     32714   8/1/2022     Secured: $0.00
        THOMAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUMMINGS,     Barney Davis,
13168                                 33705   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUMMINGS,     Nueces Bay,
13169                                 34696   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUMMINGS,     Talen Texas
13170                                 35687   8/1/2022     Secured: $0.00
        THOMAS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUMMINGS,     Talen Texas,
13171                                 36678   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUNTHER,      Barney Davis,
13172                                 8906    8/1/2022     Secured: $0.00
        SUSANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUNTHER,
13173                 Laredo, LLC     14656   8/1/2022     Secured: $0.00
        SUSANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1918 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUNTHER,          Nueces Bay,
13174                                     20403   8/1/2022     Secured: $0.00
        SUSANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUNTHER,          Talen Texas
13175                                     26135   8/1/2022     Secured: $0.00
        SUSANA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUNTHER,          Talen Texas,
13176                                     31897   8/1/2022     Secured: $0.00
        SUSANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13177   GUSTAFSON, LEVI                   7971    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13178   GUSTAFSON, LEVI Laredo, LLC       13721   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13179   GUSTAFSON, LEVI                   19468   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13180   GUSTAFSON, LEVI                   25202   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1919 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13181   GUSTAFSON, LEVI                   30962   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13182   GUTHRIE, AUBREY                   3653    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13183   GUTHRIE, AUBREY Laredo, LLC       9403    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13184   GUTHRIE, AUBREY                   15150   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13185   GUTHRIE, AUBREY                   20897   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13186   GUTHRIE, AUBREY                   26644   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        GUTHRIE,          Barney Davis,
13187                                     4037    8/1/2022     Secured: $0.00
        CHELSEA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1920 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUTHRIE,
13188                    Laredo, LLC     9787    8/1/2022     Secured: $0.00
        CHELSEA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUTHRIE,         Nueces Bay,
13189                                    15534   8/1/2022     Secured: $0.00
        CHELSEA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUTHRIE,         Talen Texas
13190                                    21280   8/1/2022     Secured: $0.00
        CHELSEA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        GUTHRIE,         Talen Texas,
13191                                    27028   8/1/2022     Secured: $0.00
        CHELSEA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13192   GUTHRIE, DAVID                   5775    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13193   GUTHRIE, DAVID   Laredo, LLC     11525   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13194   GUTHRIE, DAVID                   17272   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1921 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
13195   GUTHRIE, DAVID                  23017   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
13196   GUTHRIE, DAVID                  28766   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUTIERREZ,     Barney Davis,
13197                                   3933    8/1/2022     Secured: $0.00
        ANNETTE DENISE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUTIERREZ,
13198                  Laredo, LLC      9683    8/1/2022     Secured: $0.00
        ANNETTE DENISE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUTIERREZ,     Nueces Bay,
13199                                   15430   8/1/2022     Secured: $0.00
        ANNETTE DENISE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUTIERREZ,     Talen Texas
13200                                   21176   8/1/2022     Secured: $0.00
        ANNETTE DENISE Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUTIERREZ,     Talen Texas,
13201                                   26924   8/1/2022     Secured: $0.00
        ANNETTE DENISE LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1922 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Barney Davis,
13202                                  4016    8/1/2022     Secured: $0.00
        CASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,
13203                  Laredo, LLC     9766    8/1/2022     Secured: $0.00
        CASSANDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Nueces Bay,
13204                                  15513   8/1/2022     Secured: $0.00
        CASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas
13205                                  21259   8/1/2022     Secured: $0.00
        CASSANDRA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas,
13206                                  27007   8/1/2022     Secured: $0.00
        CASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,
13207                  Laredo, LLC     32715   8/1/2022     Secured: $0.00
        EUGENE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Barney Davis,
13208                                  33706   8/1/2022     Secured: $0.00
        EUGENE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1923 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Nueces Bay,
13209                                      34697   8/1/2022     Secured: $0.00
        EUGENE             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Talen Texas
13210                                      35688   8/1/2022     Secured: $0.00
        EUGENE             Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Talen Texas,
13211                                      36679   8/1/2022     Secured: $0.00
        EUGENE             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
13212   GUTIERREZ, ISSIS                   5663    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
13213   GUTIERREZ, ISSIS Laredo, LLC       11413   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
13214   GUTIERREZ, ISSIS                   17160   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
13215   GUTIERREZ, ISSIS                   22905   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1924 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
13216   GUTIERREZ, ISSIS                   28654   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,
13217                      Laredo, LLC     32716   8/1/2022     Secured: $0.00
        LARRY
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Barney Davis,
13218                                      33707   8/1/2022     Secured: $0.00
        LARRY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Nueces Bay,
13219                                      34698   8/1/2022     Secured: $0.00
        LARRY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Talen Texas
13220                                      35689   8/1/2022     Secured: $0.00
        LARRY              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Talen Texas,
13221                                      36680   8/1/2022     Secured: $0.00
        LARRY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        GUTIERREZ,         Barney Davis,
13222                                      4457    8/1/2022     Secured: $0.00
        MARGARITA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1925 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,
13223                  Laredo, LLC     10207   8/1/2022     Secured: $0.00
        MARGARITA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Nueces Bay,
13224                                  15954   8/1/2022     Secured: $0.00
        MARGARITA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas
13225                                  21700   8/1/2022     Secured: $0.00
        MARGARITA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas,
13226                                  27448   8/1/2022     Secured: $0.00
        MARGARITA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Barney Davis,
13227                                  5627    8/1/2022     Secured: $0.00
        MERCEDES       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,
13228                  Laredo, LLC     11377   8/1/2022     Secured: $0.00
        MERCEDES
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Nueces Bay,
13229                                  17124   8/1/2022     Secured: $0.00
        MERCEDES       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1926 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas
13230                                  22869   8/1/2022     Secured: $0.00
        MERCEDES       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas,
13231                                  28618   8/1/2022     Secured: $0.00
        MERCEDES       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,
13232                  Laredo, LLC     32717   8/1/2022     Secured: $0.00
        OSCAR
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Barney Davis,
13233                                  33708   8/1/2022     Secured: $0.00
        OSCAR          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Nueces Bay,
13234                                  34699   8/1/2022     Secured: $0.00
        OSCAR          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas
13235                                  35690   8/1/2022     Secured: $0.00
        OSCAR          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas,
13236                                  36681   8/1/2022     Secured: $0.00
        OSCAR          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1927 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Barney Davis,
13237                                  8696    8/1/2022     Secured: $0.00
        RUBEN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,
13238                  Laredo, LLC     14446   8/1/2022     Secured: $0.00
        RUBEN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Nueces Bay,
13239                                  20193   8/1/2022     Secured: $0.00
        RUBEN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas
13240                                  25925   8/1/2022     Secured: $0.00
        RUBEN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUTIERREZ,     Talen Texas,
13241                                  31687   8/1/2022     Secured: $0.00
        RUBEN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13242   GUY, GLORIA    Laredo, LLC     32718   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13243   GUY, GLORIA                    33709   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1928 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
13244   GUY, GLORIA                   34700   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
13245   GUY, GLORIA                   35691   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
13246   GUY, GLORIA                   36682   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUYNES,       Barney Davis,
13247                                 3979    8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUYNES,
13248                 Laredo, LLC     9729    8/1/2022     Secured: $0.00
        BRANDON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUYNES,       Nueces Bay,
13249                                 15476   8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUYNES,       Talen Texas
13250                                 21222   8/1/2022     Secured: $0.00
        BRANDON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1929 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUYNES,         Talen Texas,
13251                                   26970   8/1/2022     Secured: $0.00
        BRANDON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13252   GUYNES, CARLA                   4002    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13253   GUYNES, CARLA   Laredo, LLC     9752    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13254   GUYNES, CARLA                   15499   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13255   GUYNES, CARLA                   21245   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13256   GUYNES, CARLA                   26993   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13257   GUYNES, CATHY                   4022    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1930 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13258   GUYNES, CATHY   Laredo, LLC     9772    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13259   GUYNES, CATHY                   15519   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13260   GUYNES, CATHY                   21265   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13261   GUYNES, CATHY                   27013   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUYTON,         Barney Davis,
13262                                   5845    8/1/2022     Secured: $0.00
        NAHCHON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUYTON,
13263                   Laredo, LLC     11595   8/1/2022     Secured: $0.00
        NAHCHON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        GUYTON,         Nueces Bay,
13264                                   17342   8/1/2022     Secured: $0.00
        NAHCHON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1931 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUYTON,       Talen Texas
13265                                 23087   8/1/2022     Secured: $0.00
        NAHCHON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUYTON,       Talen Texas,
13266                                 28836   8/1/2022     Secured: $0.00
        NAHCHON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Barney Davis,
13267                                 7287    8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,
13268                 Laredo, LLC     13037   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Nueces Bay,
13269                                 18784   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Talen Texas
13270                                 24518   8/1/2022     Secured: $0.00
        GEORGE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Talen Texas,
13271                                 30278   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1932 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,
13272                  Laredo, LLC     32719   8/1/2022     Secured: $0.00
        GERARDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Barney Davis,
13273                                  33710   8/1/2022     Secured: $0.00
        GERARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Nueces Bay,
13274                                  34701   8/1/2022     Secured: $0.00
        GERARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Talen Texas
13275                                  35692   8/1/2022     Secured: $0.00
        GERARDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Talen Texas,
13276                                  36683   8/1/2022     Secured: $0.00
        GERARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN, JUAN
13277                  Laredo, LLC     32720   8/1/2022     Secured: $0.00
        ARMANDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN, JUAN   Barney Davis,
13278                                  33711   8/1/2022     Secured: $0.00
        ARMANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1933 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN, JUAN   Nueces Bay,
13279                                  34702   8/1/2022     Secured: $0.00
        ARMANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN, JUAN   Talen Texas
13280                                  35693   8/1/2022     Secured: $0.00
        ARMANDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN, JUAN   Talen Texas,
13281                                  36684   8/1/2022     Secured: $0.00
        ARMANDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,
13282                  Laredo, LLC     32721   8/1/2022     Secured: $0.00
        JUANITA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Barney Davis,
13283                                  33712   8/1/2022     Secured: $0.00
        JUANITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Nueces Bay,
13284                                  34703   8/1/2022     Secured: $0.00
        JUANITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Talen Texas
13285                                  35694   8/1/2022     Secured: $0.00
        JUANITA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1934 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Talen Texas,
13286                                  36685   8/1/2022     Secured: $0.00
        JUANITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13287   GUZMAN, MARY   Laredo, LLC     32722   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13288   GUZMAN, MARY                   33713   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13289   GUZMAN, MARY                   34704   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13290   GUZMAN, MARY                   35695   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13291   GUZMAN, MARY                   36686   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,
13292                  Laredo, LLC     32723   8/1/2022     Secured: $0.00
        RICARDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1935 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Barney Davis,
13293                                 33714   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Nueces Bay,
13294                                 34705   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Talen Texas
13295                                 35696   8/1/2022     Secured: $0.00
        RICARDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Talen Texas,
13296                                 36687   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,
13297                 Laredo, LLC     32724   8/1/2022     Secured: $0.00
        ROLAND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Barney Davis,
13298                                 33715   8/1/2022     Secured: $0.00
        ROLAND        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        GUZMAN,       Nueces Bay,
13299                                 34706   8/1/2022     Secured: $0.00
        ROLAND        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1936 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Talen Texas
13300                                  35697   8/1/2022     Secured: $0.00
        ROLAND         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        GUZMAN,        Talen Texas,
13301                                  36688   8/1/2022     Secured: $0.00
        ROLAND         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13302   HAAS, SANDRA                   8738    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13303   HAAS, SANDRA   Laredo, LLC     14488   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13304   HAAS, SANDRA                   20235   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13305   HAAS, SANDRA                   25967   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13306   HAAS, SANDRA                   31729   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1937 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HABIB,             Barney Davis,
13307                                      6359    8/1/2022     Secured: $0.00
        AMANULLAH          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HABIB,
13308                      Laredo, LLC     12109   8/1/2022     Secured: $0.00
        AMANULLAH
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HABIB,             Nueces Bay,
13309                                      17856   8/1/2022     Secured: $0.00
        AMANULLAH          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HABIB,             Talen Texas
13310                                      23591   8/1/2022     Secured: $0.00
        AMANULLAH          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HABIB,             Talen Texas,
13311                                      29350   8/1/2022     Secured: $0.00
        AMANULLAH          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
13312   HACKETT, FELICIA                   7226    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
13313   HACKETT, FELICIA Laredo, LLC       12976   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1938 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
13314   HACKETT, FELICIA                   18723   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
13315   HACKETT, FELICIA                   24457   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
13316   HACKETT, FELICIA                   30217   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HACKNEY,
13317                      Laredo, LLC     32725   8/1/2022     Secured: $0.00
        GEORGIA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HACKNEY,           Barney Davis,
13318                                      33716   8/1/2022     Secured: $0.00
        GEORGIA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HACKNEY,           Nueces Bay,
13319                                      34707   8/1/2022     Secured: $0.00
        GEORGIA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        HACKNEY,           Talen Texas
13320                                      35698   8/1/2022     Secured: $0.00
        GEORGIA            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1939 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HACKNEY,          Talen Texas,
13321                                     36689   8/1/2022     Secured: $0.00
        GEORGIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13322   HACKNEY, REBECA                   4593    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13323   HACKNEY, REBECA Laredo, LLC       10343   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13324   HACKNEY, REBECA                   16090   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13325   HACKNEY, REBECA                   21836   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13326   HACKNEY, REBECA                   27584   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13327   HADDAD, VAHID                     4762    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1940 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13328   HADDAD, VAHID   Laredo, LLC     10512   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13329   HADDAD, VAHID                   16259   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13330   HADDAD, VAHID                   22005   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13331   HADDAD, VAHID                   27753   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADDOCK,        Barney Davis,
13332                                   8288    8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADDOCK,
13333                   Laredo, LLC     14038   8/1/2022     Secured: $0.00
        MONICA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADDOCK,        Nueces Bay,
13334                                   19785   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1941 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADDOCK,         Talen Texas
13335                                   25519   8/1/2022     Secured: $0.00
        MONICA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADDOCK,         Talen Texas,
13336                                   31279   8/1/2022     Secured: $0.00
        MONICA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADFIELD, LINDA Barney Davis,
13337                                   4430    8/1/2022     Secured: $0.00
        C               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADFIELD, LINDA
13338                   Laredo, LLC     10180   8/1/2022     Secured: $0.00
        C
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADFIELD, LINDA Nueces Bay,
13339                                   15927   8/1/2022     Secured: $0.00
        C               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADFIELD, LINDA Talen Texas
13340                                   21673   8/1/2022     Secured: $0.00
        C               Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HADFIELD, LINDA Talen Texas,
13341                                   27421   8/1/2022     Secured: $0.00
        C               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1942 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13342   HAESLY, JACK                   5002    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13343   HAESLY, JACK   Laredo, LLC     10752   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13344   HAESLY, JACK                   16499   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13345   HAESLY, JACK                   22244   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13346   HAESLY, JACK                   27993   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAGANS,        Barney Davis,
13347                                  4344    8/1/2022     Secured: $0.00
        JUGONDUO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAGANS,
13348                  Laredo, LLC     10094   8/1/2022     Secured: $0.00
        JUGONDUO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1943 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAGANS,       Nueces Bay,
13349                                 15841   8/1/2022     Secured: $0.00
        JUGONDUO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAGANS,       Talen Texas
13350                                 21587   8/1/2022     Secured: $0.00
        JUGONDUO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAGANS,       Talen Texas,
13351                                 27335   8/1/2022     Secured: $0.00
        JUGONDUO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAIRSTON,     Barney Davis,
13352                                 5018    8/1/2022     Secured: $0.00
        JEANETTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAIRSTON,
13353                 Laredo, LLC     10768   8/1/2022     Secured: $0.00
        JEANETTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAIRSTON,     Nueces Bay,
13354                                 16515   8/1/2022     Secured: $0.00
        JEANETTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAIRSTON,     Talen Texas
13355                                 22260   8/1/2022     Secured: $0.00
        JEANETTA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1944 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAIRSTON,        Talen Texas,
13356                                    28009   8/1/2022     Secured: $0.00
        JEANETTA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13357   HAIRSTON, JOAN                   7581    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13358   HAIRSTON, JOAN Laredo, LLC       13331   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13359   HAIRSTON, JOAN                   19078   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13360   HAIRSTON, JOAN                   24812   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13361   HAIRSTON, JOAN                   30572   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13362   HALDY, ROSS                      8687    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1945 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13363   HALDY, ROSS      Laredo, LLC    14437   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
13364   HALDY, ROSS                     20184   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
13365   HALDY, ROSS                     25916   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
13366   HALDY, ROSS                     31678   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HALE SR, DENNIS Barney Davis,
13367                                   3825    8/1/2022     Secured: $0.00
        WAYNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HALE SR, DENNIS
13368                   Laredo, LLC     9575    8/1/2022     Secured: $0.00
        WAYNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HALE SR, DENNIS Nueces Bay,
13369                                   15322   8/1/2022     Secured: $0.00
        WAYNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1946 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HALE SR, DENNIS Talen Texas
13370                                    21069   8/1/2022     Secured: $0.00
        WAYNE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HALE SR, DENNIS Talen Texas,
13371                                    26816   8/1/2022     Secured: $0.00
        WAYNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13372   HALE, DEVAN                      4126    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13373   HALE, DEVAN      Laredo, LLC     9876    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13374   HALE, DEVAN                      15623   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13375   HALE, DEVAN                      21369   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13376   HALE, DEVAN                      27117   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1947 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13377   HALE, GLORIA                   7311    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13378   HALE, GLORIA   Laredo, LLC     13061   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13379   HALE, GLORIA                   18808   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13380   HALE, GLORIA                   24542   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13381   HALE, GLORIA                   30302   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13382   HALE, HENRY                    7371    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13383   HALE, HENRY    Laredo, LLC     13121   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1948 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13384   HALE, HENRY                    18868   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13385   HALE, HENRY                    24602   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13386   HALE, HENRY                    30362   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13387   HALE, RONALD                   9314    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13388   HALE, RONALD   Laredo, LLC     15064   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13389   HALE, RONALD                   20811   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13390   HALE, RONALD                   26543   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1949 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13391   HALE, RONALD                    32305   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13392   HALEY, JOHN                     5810    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13393   HALEY, JOHN     Laredo, LLC     11560   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13394   HALEY, JOHN                     17307   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13395   HALEY, JOHN                     23052   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13396   HALEY, JOHN                     28801   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13397   HALL, JASMINE                   3678    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1950 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13398   HALL, JASMINE   Laredo, LLC     9428    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13399   HALL, JASMINE                   15175   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13400   HALL, JASMINE                   20922   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13401   HALL, JASMINE                   26669   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13402   HALL, JIMECIA                   7573    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13403   HALL, JIMECIA   Laredo, LLC     13323   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13404   HALL, JIMECIA                   19070   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1951 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13405   HALL, JIMECIA                   24804   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13406   HALL, JIMECIA                   30564   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13407   HALL, ROBERT                    5860    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13408   HALL, ROBERT    Laredo, LLC     11610   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13409   HALL, ROBERT                    17357   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13410   HALL, ROBERT                    23102   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13411   HALL, ROBERT                    28851   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1952 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13412   HALL, SHANNON                   8783    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13413   HALL, SHANNON   Laredo, LLC     14533   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13414   HALL, SHANNON                   20280   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13415   HALL, SHANNON                   26012   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13416   HALL, SHANNON                   31774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13417   HALL, SHEENA                    5873    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13418   HALL, SHEENA    Laredo, LLC     11623   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1953 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13419   HALL, SHEENA                     17370   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13420   HALL, SHEENA                     23115   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13421   HALL, SHEENA                     28864   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13422   HALLEY, DANIEL                   5773    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13423   HALLEY, DANIEL   Laredo, LLC     11523   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13424   HALLEY, DANIEL                   17270   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13425   HALLEY, DANIEL                   23015   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1954 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13426   HALLEY, DANIEL                   28764   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HALLMARK
13427                 Laredo, LLC        1580    8/1/2022     Secured: $0.00
        COUNTY MUTUAL
                                                              General Unsecured: $28,127.00 + Unliquidated

                                                              Total: $28,127.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HALLMARK      Barney Davis,
13428                                    1760    8/1/2022     Secured: $0.00
        COUNTY MUTUAL LLC
                                                              General Unsecured: $28,127.00 + Unliquidated

                                                              Total: $28,127.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HALLMARK      Nueces Bay,
13429                                    2018    8/1/2022     Secured: $0.00
        COUNTY MUTUAL LLC
                                                              General Unsecured: $28,127.00 + Unliquidated

                                                              Total: $28,127.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        HALLMARK
                                                              Priority: $0.00
        SPECIALTY        Nueces Bay,
13430                                    1557    8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $3,308,178.00 + Unliquidated
        COMPANY
                                                              Total: $3,308,178.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        HALLMARK
                                                              Priority: $0.00
        SPECIALTY        Barney Davis,
13431                                    1577    8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $3,308,178.00 + Unliquidated
        COMPANY
                                                              Total: $3,308,178.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        HALLMARK
                                                              Priority: $0.00
        SPECIALTY
13432                    Laredo, LLC     1764    8/1/2022     Secured: $0.00
        INSURANCE
                                                              General Unsecured: $3,308,178.00 + Unliquidated
        COMPANY
                                                              Total: $3,308,178.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1955 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMBLIN,      Barney Davis,
13433                                 5068    8/1/2022     Secured: $0.00
        KATHRYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMBLIN,
13434                 Laredo, LLC     10818   8/1/2022     Secured: $0.00
        KATHRYN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMBLIN,      Nueces Bay,
13435                                 16565   8/1/2022     Secured: $0.00
        KATHRYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMBLIN,      Talen Texas
13436                                 22310   8/1/2022     Secured: $0.00
        KATHRYN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMBLIN,      Talen Texas,
13437                                 28059   8/1/2022     Secured: $0.00
        KATHRYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMEL,        Barney Davis,
13438                                 7150    8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMEL,
13439                 Laredo, LLC     12900   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1956 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAMEL,          Nueces Bay,
13440                                   18647   8/1/2022     Secured: $0.00
        ELIZABETH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAMEL,          Talen Texas
13441                                   24381   8/1/2022     Secured: $0.00
        ELIZABETH       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAMEL,          Talen Texas,
13442                                   30141   8/1/2022     Secured: $0.00
        ELIZABETH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HAMILTON                                             Priority: $0.00
                       Nueces Bay,
13443   MANAGING                        2064    7/30/2022    Secured: $0.00
                       LLC
        AGENCY LIMITED                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HAMILTON                                             Priority: $0.00
13444   MANAGING       Laredo, LLC      2069    7/30/2022    Secured: $0.00
        AGENCY LIMITED                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HAMILTON                                             Priority: $0.00
                       Barney Davis,
13445   MANAGING                        2072    7/30/2022    Secured: $0.00
                       LLC
        AGENCY LIMITED                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAMILTON,       Barney Davis,
13446                                   6425    8/1/2022     Secured: $0.00
        ANNTWANETTE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1957 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,
13447                 Laredo, LLC     12175   8/1/2022     Secured: $0.00
        ANNTWANETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Nueces Bay,
13448                                 17922   8/1/2022     Secured: $0.00
        ANNTWANETTE   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas
13449                                 23657   8/1/2022     Secured: $0.00
        ANNTWANETTE   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas,
13450                                 29416   8/1/2022     Secured: $0.00
        ANNTWANETTE   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Barney Davis,
13451                                 5768    8/1/2022     Secured: $0.00
        CHASTITY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,
13452                 Laredo, LLC     11518   8/1/2022     Secured: $0.00
        CHASTITY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Nueces Bay,
13453                                 17265   8/1/2022     Secured: $0.00
        CHASTITY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1958 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas
13454                                 23010   8/1/2022     Secured: $0.00
        CHASTITY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas,
13455                                 28759   8/1/2022     Secured: $0.00
        CHASTITY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Barney Davis,
13456                                 7445    8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,
13457                 Laredo, LLC     13195   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Nueces Bay,
13458                                 18942   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas
13459                                 24676   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas,
13460                                 30436   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1959 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMILTON,        Barney Davis,
13461                                    7476    8/1/2022     Secured: $0.00
        JANICE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMILTON,
13462                    Laredo, LLC     13226   8/1/2022     Secured: $0.00
        JANICE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMILTON,        Nueces Bay,
13463                                    18973   8/1/2022     Secured: $0.00
        JANICE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMILTON,        Talen Texas
13464                                    24707   8/1/2022     Secured: $0.00
        JANICE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMILTON,        Talen Texas,
13465                                    30467   8/1/2022     Secured: $0.00
        JANICE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13466   HAMILTON, MARK                   8118    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13467   HAMILTON, MARK Laredo, LLC       13868   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1960 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13468   HAMILTON, MARK                   19615   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13469   HAMILTON, MARK                   25349   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13470   HAMILTON, MARK                   31109   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13471   HAMILTON, PHIL                   8446    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13472   HAMILTON, PHIL   Laredo, LLC     14196   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13473   HAMILTON, PHIL                   19943   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13474   HAMILTON, PHIL                   25676   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1961 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13475   HAMILTON, PHIL                   31437   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13476   HAMILTON, RAY                    8506    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13477   HAMILTON, RAY    Laredo, LLC     14256   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13478   HAMILTON, RAY                    20003   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13479   HAMILTON, RAY                    25735   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13480   HAMILTON, RAY                    31497   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMILTON,        Barney Davis,
13481                                    3617    8/1/2022     Secured: $0.00
        SACHA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1962 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,
13482                 Laredo, LLC     9367    8/1/2022     Secured: $0.00
        SACHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Nueces Bay,
13483                                 15114   8/1/2022     Secured: $0.00
        SACHA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas
13484                                 20861   8/1/2022     Secured: $0.00
        SACHA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMILTON,     Talen Texas,
13485                                 26608   8/1/2022     Secured: $0.00
        SACHA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMLETT,      Barney Davis,
13486                                 6711    8/1/2022     Secured: $0.00
        CHARLOTTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMLETT,
13487                 Laredo, LLC     12461   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMLETT,      Nueces Bay,
13488                                 18208   8/1/2022     Secured: $0.00
        CHARLOTTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1963 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAMLETT,        Talen Texas
13489                                   23942   8/1/2022     Secured: $0.00
        CHARLOTTE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAMLETT,        Talen Texas,
13490                                   29702   8/1/2022     Secured: $0.00
        CHARLOTTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13491   HAMMACK, ERIK                   7194    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13492   HAMMACK, ERIK   Laredo, LLC     12944   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13493   HAMMACK, ERIK                   18691   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13494   HAMMACK, ERIK                   24425   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13495   HAMMACK, ERIK                   30185   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1964 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMMONS,      Barney Davis,
13496                                 9185    8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMMONS,
13497                 Laredo, LLC     14935   8/1/2022     Secured: $0.00
        YOLANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMMONS,      Nueces Bay,
13498                                 20682   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMMONS,      Talen Texas
13499                                 26414   8/1/2022     Secured: $0.00
        YOLANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMMONS,      Talen Texas,
13500                                 32176   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Barney Davis,
13501                                 4944    8/1/2022     Secured: $0.00
        DIANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,
13502                 Laredo, LLC     10694   8/1/2022     Secured: $0.00
        DIANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1965 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Nueces Bay,
13503                                 16441   8/1/2022     Secured: $0.00
        DIANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Talen Texas
13504                                 22186   8/1/2022     Secured: $0.00
        DIANNA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Talen Texas,
13505                                 27935   8/1/2022     Secured: $0.00
        DIANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Barney Davis,
13506                                 6130    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,
13507                 Laredo, LLC     11880   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Nueces Bay,
13508                                 17627   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAMRICK,      Talen Texas
13509                                 23372   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1966 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAMRICK,         Talen Texas,
13510                                    29121   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13511   HANCE, PATRICE                   4555    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13512   HANCE, PATRICE   Laredo, LLC     10305   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13513   HANCE, PATRICE                   16052   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13514   HANCE, PATRICE                   21798   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13515   HANCE, PATRICE                   27546   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13516   HANCHETT, PAUL                   5208    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1967 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13517   HANCHETT, PAUL Laredo, LLC       10958   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13518   HANCHETT, PAUL                   16705   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13519   HANCHETT, PAUL                   22450   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13520   HANCHETT, PAUL                   28199   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HANCOCK,         Barney Davis,
13521                                    5434    8/1/2022     Secured: $0.00
        QUINTON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HANCOCK,
13522                    Laredo, LLC     11184   8/1/2022     Secured: $0.00
        QUINTON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HANCOCK,         Nueces Bay,
13523                                    16931   8/1/2022     Secured: $0.00
        QUINTON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1968 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HANCOCK,         Talen Texas
13524                                    22676   8/1/2022     Secured: $0.00
        QUINTON          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HANCOCK,         Talen Texas,
13525                                    28425   8/1/2022     Secured: $0.00
        QUINTON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13526   HANCOCK, TERRY                   8976    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13527   HANCOCK, TERRY Laredo, LLC       14726   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13528   HANCOCK, TERRY                   20473   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13529   HANCOCK, TERRY                   26205   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13530   HANCOCK, TERRY                   31967   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1969 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HANDSOME                                             Priority: $0.00
13531   SAILOR YACHT    Laredo, LLC     32726   8/1/2022     Secured: $0.00
        CHARTERS                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HANDSOME                                             Priority: $0.00
                        Barney Davis,
13532   SAILOR YACHT                    33717   8/1/2022     Secured: $0.00
                        LLC
        CHARTERS                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HANDSOME                                             Priority: $0.00
                        Nueces Bay,
13533   SAILOR YACHT                    34708   8/1/2022     Secured: $0.00
                        LLC
        CHARTERS                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HANDSOME                                             Priority: $0.00
                        Talen Texas
13534   SAILOR YACHT                    35699   8/1/2022     Secured: $0.00
                        Group, LLC
        CHARTERS                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HANDSOME                                             Priority: $0.00
                        Talen Texas,
13535   SAILOR YACHT                    36690   8/1/2022     Secured: $0.00
                        LLC
        CHARTERS                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13536   HANDY, ROBERT                   8605    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13537   HANDY, ROBERT   Laredo, LLC     14355   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1970 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13538   HANDY, ROBERT                   20102   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13539   HANDY, ROBERT                   25834   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13540   HANDY, ROBERT                   31596   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANDY,
13541                   Laredo, LLC     32727   8/1/2022     Secured: $0.00
        VINQUELLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANDY,          Barney Davis,
13542                                   33718   8/1/2022     Secured: $0.00
        VINQUELLE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANDY,          Nueces Bay,
13543                                   34709   8/1/2022     Secured: $0.00
        VINQUELLE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANDY,          Talen Texas
13544                                   35700   8/1/2022     Secured: $0.00
        VINQUELLE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1971 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANDY,          Talen Texas,
13545                                   36691   8/1/2022     Secured: $0.00
        VINQUELLE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13546   HANEY, ANNA                     4823    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13547   HANEY, ANNA     Laredo, LLC     10573   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13548   HANEY, ANNA                     16320   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13549   HANEY, ANNA                     22066   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13550   HANEY, ANNA                     27814   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13551   HANKS, PAMELA   Laredo, LLC     32728   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1972 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13552   HANKS, PAMELA                    33719   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13553   HANKS, PAMELA                    34710   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13554   HANKS, PAMELA                    35701   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13555   HANKS, PAMELA                    36692   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13556   HANKS, RACHAEL                   5635    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13557   HANKS, RACHAEL Laredo, LLC       11385   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13558   HANKS, RACHAEL                   17132   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1973 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13559   HANKS, RACHAEL                   22877   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13560   HANKS, RACHAEL                   28626   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13561   HANKS, ROSE                      8681    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13562   HANKS, ROSE      Laredo, LLC     14431   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13563   HANKS, ROSE                      20178   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13564   HANKS, ROSE                      25910   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13565   HANKS, ROSE                      31672   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1974 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13566   HANLEY, TONI      Laredo, LLC     32729   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13567   HANLEY, TONI                      33720   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13568   HANLEY, TONI                      34711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13569   HANLEY, TONI                      35702   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13570   HANLEY, TONI                      36693   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13571   HANLIN, SHELLIE                   5875    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13572   HANLIN, SHELLIE   Laredo, LLC     11625   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1975 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13573   HANLIN, SHELLIE                   17372   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13574   HANLIN, SHELLIE                   23117   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13575   HANLIN, SHELLIE                   28866   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13576   HANLON, JAMES                     7446    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13577   HANLON, JAMES     Laredo, LLC     13196   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13578   HANLON, JAMES                     18943   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13579   HANLON, JAMES                     24677   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1976 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13580   HANLON, JAMES                   30437   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANNAH,         Barney Davis,
13581                                   9157    8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANNAH,
13582                   Laredo, LLC     14907   8/1/2022     Secured: $0.00
        WILLIAM
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANNAH,         Nueces Bay,
13583                                   20654   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANNAH,         Talen Texas
13584                                   26386   8/1/2022     Secured: $0.00
        WILLIAM         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANNAH,         Talen Texas,
13585                                   32148   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HANNAN,         Barney Davis,
13586                                   4553    8/1/2022     Secured: $0.00
        PAMELA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1977 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANNAN,
13587                 Laredo, LLC     10303   8/1/2022     Secured: $0.00
        PAMELA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANNAN,       Nueces Bay,
13588                                 16050   8/1/2022     Secured: $0.00
        PAMELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANNAN,       Talen Texas
13589                                 21796   8/1/2022     Secured: $0.00
        PAMELA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANNAN,       Talen Texas,
13590                                 27544   8/1/2022     Secured: $0.00
        PAMELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANSBROUGH,   Barney Davis,
13591                                 8828    8/1/2022     Secured: $0.00
        SHERRON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANSBROUGH,
13592                 Laredo, LLC     14578   8/1/2022     Secured: $0.00
        SHERRON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HANSBROUGH,   Nueces Bay,
13593                                 20325   8/1/2022     Secured: $0.00
        SHERRON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1978 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HANSBROUGH,       Talen Texas
13594                                     26057   8/1/2022     Secured: $0.00
        SHERRON           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HANSBROUGH,       Talen Texas,
13595                                     31819   8/1/2022     Secured: $0.00
        SHERRON           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13596   HANSEN, JESSICA                   7556    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13597   HANSEN, JESSICA Laredo, LLC       13306   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13598   HANSEN, JESSICA                   19053   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13599   HANSEN, JESSICA                   24787   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13600   HANSEN, JESSICA                   30547   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1979 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13601   HANSON, ALAIN                   5725    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13602   HANSON, ALAIN   Laredo, LLC     11475   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13603   HANSON, ALAIN                   17222   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13604   HANSON, ALAIN                   22967   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13605   HANSON, ALAIN                   28716   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13606   HANSON, COREY                   4062    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13607   HANSON, COREY   Laredo, LLC     9812    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1980 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13608   HANSON, COREY                   15559   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13609   HANSON, COREY                   21305   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13610   HANSON, COREY                   27053   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13611   HANSON, GAIL                    7259    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13612   HANSON, GAIL    Laredo, LLC     13009   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13613   HANSON, GAIL                    18756   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13614   HANSON, GAIL                    24490   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1981 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13615   HANSON, GAIL                    30250   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13616   HANSON, KATHY                   5069    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13617   HANSON, KATHY   Laredo, LLC     10819   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13618   HANSON, KATHY                   16566   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13619   HANSON, KATHY                   22311   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13620   HANSON, KATHY                   28060   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13621   HANSON, TINA                    4748    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1982 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13622   HANSON, TINA     Laredo, LLC     10498   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13623   HANSON, TINA                     16245   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13624   HANSON, TINA                     21991   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13625   HANSON, TINA                     27739   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13626   HARBOUR, ALVIN                   6351    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13627   HARBOUR, ALVIN Laredo, LLC       12101   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13628   HARBOUR, ALVIN                   17848   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1983 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13629   HARBOUR, ALVIN                   23583   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13630   HARBOUR, ALVIN                   29342   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARCLERODE,      Barney Davis,
13631                                    9253    8/1/2022     Secured: $0.00
        DON              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARCLERODE,
13632                    Laredo, LLC     15003   8/1/2022     Secured: $0.00
        DON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARCLERODE,      Nueces Bay,
13633                                    20750   8/1/2022     Secured: $0.00
        DON              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARCLERODE,      Talen Texas
13634                                    26482   8/1/2022     Secured: $0.00
        DON              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARCLERODE,      Talen Texas,
13635                                    32244   8/1/2022     Secured: $0.00
        DON              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1984 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HARCO NATIONAL                                       Priority: $0.00
13636   INSURANCE      Laredo, LLC      1042    7/28/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $330,340.61 + Unliquidated

                                                             Total: $330,340.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HARCO NATIONAL                                       Priority: $0.00
                       Talen Energy
13637   INSURANCE                       1123    7/28/2022    Secured: $0.00
                       Supply, LLC
        COMPANY                                              General Unsecured: $330,340.61 + Unliquidated

                                                             Total: $330,340.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HARCO NATIONAL                                       Priority: $0.00
                       Barney Davis,
13638   INSURANCE                       1132    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $330,340.61 + Unliquidated

                                                             Total: $330,340.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HARCO NATIONAL                                       Priority: $0.00
                       Nueces Bay,
13639   INSURANCE                       1136    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                              General Unsecured: $330,340.61 + Unliquidated

                                                             Total: $330,340.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13640   HARDEE, JANET                   7473    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13641   HARDEE, JANET   Laredo, LLC     13223   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13642   HARDEE, JANET                   18970   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1985 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13643   HARDEE, JANET                   24704   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13644   HARDEE, JANET                   30464   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARDEMAN,
13645                   Laredo, LLC     32730   8/1/2022     Secured: $0.00
        ALONZO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARDEMAN,       Barney Davis,
13646                                   33721   8/1/2022     Secured: $0.00
        ALONZO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARDEMAN,       Nueces Bay,
13647                                   34712   8/1/2022     Secured: $0.00
        ALONZO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARDEMAN,       Talen Texas
13648                                   35703   8/1/2022     Secured: $0.00
        ALONZO          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARDEMAN,       Talen Texas,
13649                                   36694   8/1/2022     Secured: $0.00
        ALONZO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1986 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,     Barney Davis,
13650                                 7687    8/1/2022     Secured: $0.00
        JOYCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,
13651                 Laredo, LLC     13437   8/1/2022     Secured: $0.00
        JOYCE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,     Nueces Bay,
13652                                 19184   8/1/2022     Secured: $0.00
        JOYCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,     Talen Texas
13653                                 24918   8/1/2022     Secured: $0.00
        JOYCE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,     Talen Texas,
13654                                 30678   8/1/2022     Secured: $0.00
        JOYCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,     Barney Davis,
13655                                 7963    8/1/2022     Secured: $0.00
        LESIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARDEMAN,
13656                 Laredo, LLC     13713   8/1/2022     Secured: $0.00
        LESIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1987 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARDEMAN,        Nueces Bay,
13657                                    19460   8/1/2022     Secured: $0.00
        LESIA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARDEMAN,        Talen Texas
13658                                    25194   8/1/2022     Secured: $0.00
        LESIA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARDEMAN,        Talen Texas,
13659                                    30954   8/1/2022     Secured: $0.00
        LESIA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13660   HARDEY, WESLEY                   9146    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13661   HARDEY, WESLEY Laredo, LLC       14896   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13662   HARDEY, WESLEY                   20643   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13663   HARDEY, WESLEY                   26375   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1988 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13664   HARDEY, WESLEY                    32137   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13665   HARDIN, KAREN                     5061    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13666   HARDIN, KAREN     Laredo, LLC     10811   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13667   HARDIN, KAREN                     16558   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13668   HARDIN, KAREN                     22303   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13669   HARDIN, KAREN                     28052   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13670   HARDIN, STEPHEN                   8887    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1989 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13671   HARDIN, STEPHEN Laredo, LLC       14637   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13672   HARDIN, STEPHEN                   20384   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13673   HARDIN, STEPHEN                   26116   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13674   HARDIN, STEPHEN                   31878   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13675   HARDRICK, BOBBY                   5537    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13676   HARDRICK, BOBBY Laredo, LLC       11287   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13677   HARDRICK, BOBBY                   17034   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1990 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13678   HARDRICK, BOBBY                   22779   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13679   HARDRICK, BOBBY                   28528   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARDWELL,         Barney Davis,
13680                                     9236    8/1/2022     Secured: $0.00
        CLARENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARDWELL,
13681                     Laredo, LLC     14986   8/1/2022     Secured: $0.00
        CLARENCE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARDWELL,         Nueces Bay,
13682                                     20733   8/1/2022     Secured: $0.00
        CLARENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARDWELL,         Talen Texas
13683                                     26465   8/1/2022     Secured: $0.00
        CLARENCE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARDWELL,         Talen Texas,
13684                                     32227   8/1/2022     Secured: $0.00
        CLARENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1991 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARGETT,        Barney Davis,
13685                                   8649    8/1/2022     Secured: $0.00
        RODREQUIZ       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARGETT,
13686                   Laredo, LLC     14399   8/1/2022     Secured: $0.00
        RODREQUIZ
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARGETT,        Nueces Bay,
13687                                   20146   8/1/2022     Secured: $0.00
        RODREQUIZ       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARGETT,        Talen Texas
13688                                   25878   8/1/2022     Secured: $0.00
        RODREQUIZ       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARGETT,        Talen Texas,
13689                                   31640   8/1/2022     Secured: $0.00
        RODREQUIZ       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13690   HARLEY, TOMMY                   5346    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13691   HARLEY, TOMMY Laredo, LLC       11096   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1992 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13692   HARLEY, TOMMY                   16843   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13693   HARLEY, TOMMY                   22588   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13694   HARLEY, TOMMY                   28337   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13695   HARLOW, PETE                    8439    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13696   HARLOW, PETE    Laredo, LLC     14189   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13697   HARLOW, PETE                    19936   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13698   HARLOW, PETE                    25669   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1993 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13699   HARLOW, PETE                    31430   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARMON, FLOYD Barney Davis,
13700                                   7234    8/1/2022     Secured: $0.00
        W             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARMON, FLOYD
13701                 Laredo, LLC       12984   8/1/2022     Secured: $0.00
        W
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARMON, FLOYD Nueces Bay,
13702                                   18731   8/1/2022     Secured: $0.00
        W             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARMON, FLOYD Talen Texas
13703                                   24465   8/1/2022     Secured: $0.00
        W             Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARMON, FLOYD Talen Texas,
13704                                   30225   8/1/2022     Secured: $0.00
        W             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13705   HARMON, VICKY                   5363    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1994 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13706   HARMON, VICKY    Laredo, LLC     11113   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13707   HARMON, VICKY                    16860   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13708   HARMON, VICKY                    22605   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13709   HARMON, VICKY                    28354   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13710   HARPER, ANNETT                   4825    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13711   HARPER, ANNETT Laredo, LLC       10575   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13712   HARPER, ANNETT                   16322   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1995 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13713   HARPER, ANNETT                   22068   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13714   HARPER, ANNETT                   27816   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARPER,          Barney Davis,
13715                                    5961    8/1/2022     Secured: $0.00
        CHASSIDY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARPER,
13716                    Laredo, LLC     11711   8/1/2022     Secured: $0.00
        CHASSIDY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARPER,          Nueces Bay,
13717                                    17458   8/1/2022     Secured: $0.00
        CHASSIDY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARPER,          Talen Texas
13718                                    23203   8/1/2022     Secured: $0.00
        CHASSIDY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARPER,          Talen Texas,
13719                                    28952   8/1/2022     Secured: $0.00
        CHASSIDY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1996 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13720   HARPER, DINAH                   4131    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13721   HARPER, DINAH   Laredo, LLC     9881    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13722   HARPER, DINAH                   15628   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13723   HARPER, DINAH                   21374   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13724   HARPER, DINAH                   27122   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARPER,         Barney Davis,
13725                                   5003    8/1/2022     Secured: $0.00
        JACQUELINE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARPER,
13726                   Laredo, LLC     10753   8/1/2022     Secured: $0.00
        JACQUELINE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1997 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARPER,        Nueces Bay,
13727                                  16500   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARPER,        Talen Texas
13728                                  22245   8/1/2022     Secured: $0.00
        JACQUELINE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARPER,        Talen Texas,
13729                                  27994   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13730   HARPER, MARY                   8157    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13731   HARPER, MARY   Laredo, LLC     13907   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13732   HARPER, MARY                   19654   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13733   HARPER, MARY                   25388   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1998 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13734   HARPER, MARY                     31148   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13735   HARPER, PHILIP                   8448    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13736   HARPER, PHILIP   Laredo, LLC     14198   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13737   HARPER, PHILIP                   19945   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13738   HARPER, PHILIP                   25678   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13739   HARPER, PHILIP                   31439   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13740   HARRELL, BRYAN                   5649    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 1999 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13741   HARRELL, BRYAN Laredo, LLC       11399   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13742   HARRELL, BRYAN                   17146   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13743   HARRELL, BRYAN                   22891   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13744   HARRELL, BRYAN                   28640   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRELL,         Barney Davis,
13745                                    4468    8/1/2022     Secured: $0.00
        MARILYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRELL,
13746                    Laredo, LLC     10218   8/1/2022     Secured: $0.00
        MARILYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRELL,         Nueces Bay,
13747                                    15965   8/1/2022     Secured: $0.00
        MARILYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2000 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRELL,      Talen Texas
13748                                 21711   8/1/2022     Secured: $0.00
        MARILYN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRELL,      Talen Texas,
13749                                 27459   8/1/2022     Secured: $0.00
        MARILYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRIGAN,     Barney Davis,
13750                                 5506    8/1/2022     Secured: $0.00
        LAURIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRIGAN,
13751                 Laredo, LLC     11256   8/1/2022     Secured: $0.00
        LAURIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRIGAN,     Nueces Bay,
13752                                 17003   8/1/2022     Secured: $0.00
        LAURIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRIGAN,     Talen Texas
13753                                 22748   8/1/2022     Secured: $0.00
        LAURIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARRIGAN,     Talen Texas,
13754                                 28497   8/1/2022     Secured: $0.00
        LAURIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2001 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRIS,         Barney Davis,
13755                                   6214    8/1/2022     Secured: $0.00
        BRANDON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRIS,
13756                   Laredo, LLC     11964   8/1/2022     Secured: $0.00
        BRANDON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRIS,         Nueces Bay,
13757                                   17711   8/1/2022     Secured: $0.00
        BRANDON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRIS,         Talen Texas
13758                                   23456   8/1/2022     Secured: $0.00
        BRANDON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRIS,         Talen Texas,
13759                                   29205   8/1/2022     Secured: $0.00
        BRANDON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13760   HARRIS, DEBRA                   6973    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13761   HARRIS, DEBRA   Laredo, LLC     12723   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2002 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13762   HARRIS, DEBRA                     18470   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13763   HARRIS, DEBRA                     24204   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13764   HARRIS, DEBRA                     29964   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13765   HARRIS, DESTANI                   3742    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13766   HARRIS, DESTANI Laredo, LLC       9492    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13767   HARRIS, DESTANI                   15239   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13768   HARRIS, DESTANI                   20986   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2003 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13769   HARRIS, DESTANI                   26733   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13770   HARRIS, DIANA                     3641    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13771   HARRIS, DIANA     Laredo, LLC     9391    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13772   HARRIS, DIANA                     15138   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13773   HARRIS, DIANA                     20885   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13774   HARRIS, DIANA                     26632   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13775   HARRIS, ELOISE                    7161    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2004 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13776   HARRIS, ELOISE   Laredo, LLC     12911   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13777   HARRIS, ELOISE                   18658   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13778   HARRIS, ELOISE                   24392   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13779   HARRIS, ELOISE                   30152   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13780   HARRIS, HAROLD                   7353    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13781   HARRIS, HAROLD Laredo, LLC       13103   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13782   HARRIS, HAROLD                   18850   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2005 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13783   HARRIS, HAROLD                   24584   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13784   HARRIS, HAROLD                   30344   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13785   HARRIS, JAMES                    7447    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13786   HARRIS, JAMES    Laredo, LLC     13197   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13787   HARRIS, JAMES                    18944   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13788   HARRIS, JAMES                    24678   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13789   HARRIS, JAMES                    30438   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2006 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13790   HARRIS, JOAN                      4292    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13791   HARRIS, JOAN      Laredo, LLC     10042   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13792   HARRIS, JOAN                      15789   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13793   HARRIS, JOAN                      21535   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13794   HARRIS, JOAN                      27283   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13795   HARRIS, KATIYAH                   6032    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13796   HARRIS, KATIYAH Laredo, LLC       11782   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2007 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13797   HARRIS, KATIYAH                   17529   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13798   HARRIS, KATIYAH                   23274   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13799   HARRIS, KATIYAH                   29023   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13800   HARRIS, KELTON                    7800    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13801   HARRIS, KELTON    Laredo, LLC     13550   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13802   HARRIS, KELTON                    19297   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13803   HARRIS, KELTON                    25031   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2008 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13804   HARRIS, KELTON                   30791   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13805   HARRIS, KIYADA                   7863    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13806   HARRIS, KIYADA   Laredo, LLC     13613   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13807   HARRIS, KIYADA                   19360   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13808   HARRIS, KIYADA                   25094   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13809   HARRIS, KIYADA                   30854   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13810   HARRIS, LARITA                   4403    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2009 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13811   HARRIS, LARITA   Laredo, LLC     10153   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13812   HARRIS, LARITA                   15900   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13813   HARRIS, LARITA                   21646   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13814   HARRIS, LARITA                   27394   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13815   HARRIS, LLOYD                    4440    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13816   HARRIS, LLOYD    Laredo, LLC     10190   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13817   HARRIS, LLOYD                    15937   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2010 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13818   HARRIS, LLOYD                   21683   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13819   HARRIS, LLOYD                   27431   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13820   HARRIS, LOVIE                   4444    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13821   HARRIS, LOVIE   Laredo, LLC     10194   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13822   HARRIS, LOVIE                   15941   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
13823   HARRIS, LOVIE                   21687   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
13824   HARRIS, LOVIE                   27435   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2011 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRIS,          Barney Davis,
13825                                    6257    8/1/2022     Secured: $0.00
        MALTHIUS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRIS,
13826                    Laredo, LLC     12007   8/1/2022     Secured: $0.00
        MALTHIUS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRIS,          Nueces Bay,
13827                                    17754   8/1/2022     Secured: $0.00
        MALTHIUS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRIS,          Talen Texas
13828                                    23489   8/1/2022     Secured: $0.00
        MALTHIUS         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARRIS,          Talen Texas,
13829                                    29248   8/1/2022     Secured: $0.00
        MALTHIUS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13830   HARRIS, MARGIE                   8070    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13831   HARRIS, MARGIE   Laredo, LLC     13820   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2012 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13832   HARRIS, MARGIE                    19567   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13833   HARRIS, MARGIE                    25301   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13834   HARRIS, MARGIE                    31061   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13835   HARRIS, PEARLIE                   8428    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13836   HARRIS, PEARLIE   Laredo, LLC     14178   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13837   HARRIS, PEARLIE                   19925   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13838   HARRIS, PEARLIE                   25658   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2013 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
13839   HARRIS, PEARLIE                     31419   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
13840   HARRIS, PRISCILLA                   8464    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
13841   HARRIS, PRISCILLA Laredo, LLC       14214   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
13842   HARRIS, PRISCILLA                   19961   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
13843   HARRIS, PRISCILLA                   25694   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
13844   HARRIS, PRISCILLA                   31455   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
13845   HARRIS, RODNEY                      8644    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2014 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13846   HARRIS, RODNEY Laredo, LLC       14394   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13847   HARRIS, RODNEY                   20141   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13848   HARRIS, RODNEY                   25873   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13849   HARRIS, RODNEY                   31635   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13850   HARRIS, TAMMY                    4718    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13851   HARRIS, TAMMY    Laredo, LLC     10468   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13852   HARRIS, TAMMY                    16215   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2015 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13853   HARRIS, TAMMY                     21961   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13854   HARRIS, TAMMY                     27709   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13855   HARRIS, TAVELLA                   4720    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13856   HARRIS, TAVELLA Laredo, LLC       10470   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13857   HARRIS, TAVELLA                   16217   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13858   HARRIS, TAVELLA                   21963   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13859   HARRIS, TAVELLA                   27711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2016 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13860   HARRIS, TIMMY                     9013    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13861   HARRIS, TIMMY     Laredo, LLC     14763   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13862   HARRIS, TIMMY                     20510   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13863   HARRIS, TIMMY                     26242   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13864   HARRIS, TIMMY                     32004   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13865   HARRIS, VALERIE                   3640    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13866   HARRIS, VALERIE   Laredo, LLC     9390    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2017 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13867   HARRIS, VALERIE                   15137   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13868   HARRIS, VALERIE                   20884   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13869   HARRIS, VALERIE                   26631   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARRIS,           Barney Davis,
13870                                     5571    8/1/2022     Secured: $0.00
        VYQUETTA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARRIS,
13871                     Laredo, LLC     11321   8/1/2022     Secured: $0.00
        VYQUETTA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARRIS,           Nueces Bay,
13872                                     17068   8/1/2022     Secured: $0.00
        VYQUETTA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARRIS,           Talen Texas
13873                                     22813   8/1/2022     Secured: $0.00
        VYQUETTA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2018 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRIS,         Talen Texas,
13874                                   28562   8/1/2022     Secured: $0.00
        VYQUETTA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON,       Barney Davis,
13875                                   6460    8/1/2022     Secured: $0.00
        ASHLEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON,
13876                   Laredo, LLC     12210   8/1/2022     Secured: $0.00
        ASHLEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON,       Nueces Bay,
13877                                   17957   8/1/2022     Secured: $0.00
        ASHLEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON,       Talen Texas
13878                                   23692   8/1/2022     Secured: $0.00
        ASHLEY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON,       Talen Texas,
13879                                   29451   8/1/2022     Secured: $0.00
        ASHLEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON‐POLK, Barney Davis,
13880                                   9246    8/1/2022     Secured: $0.00
        DAPHNE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2019 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON‐POLK,
13881                  Laredo, LLC      14996   8/1/2022     Secured: $0.00
        DAPHNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON‐POLK, Nueces Bay,
13882                                   20743   8/1/2022     Secured: $0.00
        DAPHNE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON‐POLK, Talen Texas
13883                                   26475   8/1/2022     Secured: $0.00
        DAPHNE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HARRISON‐POLK, Talen Texas,
13884                                   32237   8/1/2022     Secured: $0.00
        DAPHNE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
13885   HART, ELLEN                     7158    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
13886   HART, ELLEN     Laredo, LLC     12908   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
13887   HART, ELLEN                     18655   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2020 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13888   HART, ELLEN                    24389   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13889   HART, ELLEN                    30149   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13890   HART, GERALD                   7298    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13891   HART, GERALD   Laredo, LLC     13048   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13892   HART, GERALD                   18795   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13893   HART, GERALD                   24529   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13894   HART, GERALD                   30289   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2021 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
13895   HART, MARLON                   5837    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
13896   HART, MARLON   Laredo, LLC     11587   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
13897   HART, MARLON                   17334   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
13898   HART, MARLON                   23079   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
13899   HART, MARLON                   28828   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARTFIELD,     Barney Davis,
13900                                  8918    8/1/2022     Secured: $0.00
        SYLVIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARTFIELD,
13901                  Laredo, LLC     14668   8/1/2022     Secured: $0.00
        SYLVIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2022 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARTFIELD,     Nueces Bay,
13902                                  20415   8/1/2022     Secured: $0.00
        SYLVIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARTFIELD,     Talen Texas
13903                                  26147   8/1/2022     Secured: $0.00
        SYLVIA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HARTFIELD,     Talen Texas,
13904                                  31909   8/1/2022     Secured: $0.00
        SYLVIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD
                                                            Priority: $0.00
        ACCIDENT &
13905                  Laredo, LLC     1611    7/29/2022    Secured: $0.00
        INDEMNITY
                                                            General Unsecured: $2,852,974.12 + Unliquidated
        COMPANY
                                                            Total: $2,852,974.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD
                                                            Priority: $0.00
        ACCIDENT &     Nueces Bay,
13906                                  1832    7/29/2022    Secured: $0.00
        INDEMNITY      LLC
                                                            General Unsecured: $2,852,974.12 + Unliquidated
        COMPANY
                                                            Total: $2,852,974.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD
                                                            Priority: $0.00
        ACCIDENT &     Barney Davis,
13907                                  2074    7/29/2022    Secured: $0.00
        INDEMNITY      LLC
                                                            General Unsecured: $2,852,974.12 + Unliquidated
        COMPANY
                                                            Total: $2,852,974.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD
                                                            Priority: $0.00
        CASUALTY
13908                  Laredo, LLC     2539    8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $173,763.45 + Unliquidated
        COMPANY
                                                            Total: $173,763.45 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2023 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD
                                                            Priority: $0.00
        CASUALTY        Nueces Bay,
13909                                   2545   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $173,763.45 + Unliquidated
        COMPANY
                                                            Total: $173,763.45 + Unliquidated
                                                            503(b)(9): $0.00
        HARTFORD
                                                            Other Administrative: $0.00
        CASUALTY
                                                            Priority: $0.00
        INSURANCE       Barney Davis,
13910                                   2536   8/1/2022     Secured: $0.00
        COMPANY,        LLC
                                                            General Unsecured: $173,763.45 + Unliquidated
        GEORGE A.
        MCMULLIN
                                                            Total: $173,763.45 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD FIRE                                       Priority: $0.00
                        Barney Davis,
13911   INSURANCE                       2547   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $33,116,508.09 + Unliquidated

                                                            Total: $33,116,508.09 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD FIRE                                       Priority: $0.00
                        Nueces Bay,
13912   INSURANCE                       2550   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $33,116,508.09 + Unliquidated

                                                            Total: $33,116,508.09 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD FIRE                                       Priority: $0.00
13913   INSURANCE       Laredo, LLC     2552   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $33,116,508.09 + Unliquidated

                                                            Total: $33,116,508.09 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HARTFORD
                                                            Priority: $0.00
        LLOYD'S         Barney Davis,
13914                                   2556   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $17,229,018.79 + Unliquidated
        COMPANY
                                                            Total: $17,229,018.79 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2024 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HARTFORD
                                                           Priority: $0.00
        LLOYD'S
13915                  Laredo, LLC     2563   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $17,229,018.79 + Unliquidated
        COMPANY
                                                           Total: $17,229,018.79 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HARTFORD
                                                           Priority: $0.00
        LLOYD'S        Nueces Bay,
13916                                  2582   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $17,229,018.79 + Unliquidated
        COMPANY
                                                           Total: $17,229,018.79 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HARTFORD
                                                           Priority: $0.00
        UNDERWRITERS   Nueces Bay,
13917                                  2527   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $19,679,200.72 + Unliquidated
        COMPANY
                                                           Total: $19,679,200.72 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HARTFORD
                                                           Priority: $0.00
        UNDERWRITERS   Barney Davis,
13918                                  2559   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $19,679,200.72 + Unliquidated
        COMPANY
                                                           Total: $19,679,200.72 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HARTFORD
                                                           Priority: $0.00
        UNDERWRITERS
13919                  Laredo, LLC     2569   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $19,679,200.72 + Unliquidated
        COMPANY
                                                           Total: $19,679,200.72 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HARTMAN,       Barney Davis,
13920                                  5273   8/1/2022     Secured: $0.00
        SANDY          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2025 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARTMAN,
13921                    Laredo, LLC     11023   8/1/2022     Secured: $0.00
        SANDY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARTMAN,         Nueces Bay,
13922                                    16770   8/1/2022     Secured: $0.00
        SANDY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARTMAN,         Talen Texas
13923                                    22515   8/1/2022     Secured: $0.00
        SANDY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HARTMAN,         Talen Texas,
13924                                    28264   8/1/2022     Secured: $0.00
        SANDY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13925   HARTNETT, JENA                   6251    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13926   HARTNETT, JENA   Laredo, LLC     12001   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13927   HARTNETT, JENA                   17748   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2026 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13928   HARTNETT, JENA                   23483   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13929   HARTNETT, JENA                   29242   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13930   HARTWELL, PAUL                   8409    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13931   HARTWELL, PAUL Laredo, LLC       14159   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13932   HARTWELL, PAUL                   19906   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13933   HARTWELL, PAUL                   25639   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13934   HARTWELL, PAUL                   31400   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2027 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13935   HARVEY, LYNDA K                   8035    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13936   HARVEY, LYNDA K Laredo, LLC       13785   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13937   HARVEY, LYNDA K                   19532   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13938   HARVEY, LYNDA K                   25266   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13939   HARVEY, LYNDA K                   31026   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13940   HARVEY, NICOLE                    6028    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13941   HARVEY, NICOLE    Laredo, LLC     11778   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2028 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13942   HARVEY, NICOLE                    17525   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13943   HARVEY, NICOLE                    23270   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13944   HARVEY, NICOLE                    29019   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13945   HARVEY, STANLEY                   8872    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13946   HARVEY, STANLEY Laredo, LLC       14622   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13947   HARVEY, STANLEY                   20369   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13948   HARVEY, STANLEY                   26101   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2029 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13949   HARVEY, STANLEY                   31863   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARVEY,           Barney Davis,
13950                                     5367    8/1/2022     Secured: $0.00
        WALIDAH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARVEY,
13951                     Laredo, LLC     11117   8/1/2022     Secured: $0.00
        WALIDAH
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARVEY,           Nueces Bay,
13952                                     16864   8/1/2022     Secured: $0.00
        WALIDAH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARVEY,           Talen Texas
13953                                     22609   8/1/2022     Secured: $0.00
        WALIDAH           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HARVEY,           Talen Texas,
13954                                     28358   8/1/2022     Secured: $0.00
        WALIDAH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HASELBAUER,       Barney Davis,
13955                                     5871    8/1/2022     Secured: $0.00
        SCOTT JOSEPH      LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2030 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HASELBAUER,
13956                    Laredo, LLC     11621   8/1/2022     Secured: $0.00
        SCOTT JOSEPH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HASELBAUER,      Nueces Bay,
13957                                    17368   8/1/2022     Secured: $0.00
        SCOTT JOSEPH     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HASELBAUER,      Talen Texas
13958                                    23113   8/1/2022     Secured: $0.00
        SCOTT JOSEPH     Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HASELBAUER,      Talen Texas,
13959                                    28862   8/1/2022     Secured: $0.00
        SCOTT JOSEPH     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13960   HATCH, HEATHER                   3881    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13961   HATCH, HEATHER Laredo, LLC       9631    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13962   HATCH, HEATHER                   15378   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2031 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13963   HATCH, HEATHER                   21125   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13964   HATCH, HEATHER                   26872   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
13965   HATCHER, RALPH                   8483    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
13966   HATCHER, RALPH Laredo, LLC       14233   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
13967   HATCHER, RALPH                   19980   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
13968   HATCHER, RALPH                   25712   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
13969   HATCHER, RALPH                   31474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2032 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13970   HATFIELD, CINDY                   6784    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13971   HATFIELD, CINDY Laredo, LLC       12534   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
13972   HATFIELD, CINDY                   18281   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
13973   HATFIELD, CINDY                   24015   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
13974   HATFIELD, CINDY                   29775   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
13975   HATTON, TERESA                    5331    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
13976   HATTON, TERESA Laredo, LLC        11081   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2033 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
13977   HATTON, TERESA                  16828   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
13978   HATTON, TERESA                  22573   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
13979   HATTON, TERESA                  28322   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUCK‐PRESTON, Barney Davis,
13980                                   8543    8/1/2022     Secured: $0.00
        RENEEMARIE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUCK‐PRESTON,
13981                  Laredo, LLC      14293   8/1/2022     Secured: $0.00
        RENEEMARIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUCK‐PRESTON, Nueces Bay,
13982                                   20040   8/1/2022     Secured: $0.00
        RENEEMARIE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUCK‐PRESTON, Talen Texas
13983                                   25772   8/1/2022     Secured: $0.00
        RENEEMARIE     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2034 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUCK‐PRESTON, Talen Texas,
13984                                   31534   8/1/2022     Secured: $0.00
        RENEEMARIE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUGHTON,       Barney Davis,
13985                                   3863    8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUGHTON,
13986                   Laredo, LLC     9613    8/1/2022     Secured: $0.00
        MATTHEW
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUGHTON,       Nueces Bay,
13987                                   15360   8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUGHTON,       Talen Texas
13988                                   21107   8/1/2022     Secured: $0.00
        MATTHEW         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAUGHTON,       Talen Texas,
13989                                   26854   8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAVENS,         Barney Davis,
13990                                   4088    8/1/2022     Secured: $0.00
        DARLENE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2035 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,
13991                 Laredo, LLC     9838    8/1/2022     Secured: $0.00
        DARLENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Nueces Bay,
13992                                 15585   8/1/2022     Secured: $0.00
        DARLENE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Talen Texas
13993                                 21331   8/1/2022     Secured: $0.00
        DARLENE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Talen Texas,
13994                                 27079   8/1/2022     Secured: $0.00
        DARLENE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Barney Davis,
13995                                 7382    8/1/2022     Secured: $0.00
        HUONGCAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,
13996                 Laredo, LLC     13132   8/1/2022     Secured: $0.00
        HUONGCAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Nueces Bay,
13997                                 18879   8/1/2022     Secured: $0.00
        HUONGCAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2036 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Talen Texas
13998                                 24613   8/1/2022     Secured: $0.00
        HUONGCAN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAVENS,       Talen Texas,
13999                                 30373   8/1/2022     Secured: $0.00
        HUONGCAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWKINS,      Barney Davis,
14000                                 6391    8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWKINS,
14001                 Laredo, LLC     12141   8/1/2022     Secured: $0.00
        ANGELA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWKINS,      Nueces Bay,
14002                                 17888   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWKINS,      Talen Texas
14003                                 23623   8/1/2022     Secured: $0.00
        ANGELA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWKINS,      Talen Texas,
14004                                 29382   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2037 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14005   HAWKINS, BETTY Laredo, LLC       32731   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14006   HAWKINS, BETTY                   33722   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14007   HAWKINS, BETTY                   34713   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14008   HAWKINS, BETTY                   35704   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14009   HAWKINS, BETTY                   36695   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Barney Davis,
14010                                    6566    8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,
14011                    Laredo, LLC     12316   8/1/2022     Secured: $0.00
        BRENDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2038 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Nueces Bay,
14012                                    18063   8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Talen Texas
14013                                    23798   8/1/2022     Secured: $0.00
        BRENDA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Talen Texas,
14014                                    29557   8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14015   HAWKINS, BYRON                   4876    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14016   HAWKINS, BYRON Laredo, LLC       10626   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14017   HAWKINS, BYRON                   16373   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14018   HAWKINS, BYRON                   22119   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2039 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14019   HAWKINS, BYRON                   27867   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Barney Davis,
14020                                    6660    8/1/2022     Secured: $0.00
        CAROLE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,
14021                    Laredo, LLC     12410   8/1/2022     Secured: $0.00
        CAROLE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Nueces Bay,
14022                                    18157   8/1/2022     Secured: $0.00
        CAROLE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Talen Texas
14023                                    23891   8/1/2022     Secured: $0.00
        CAROLE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Talen Texas,
14024                                    29651   8/1/2022     Secured: $0.00
        CAROLE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HAWKINS,         Barney Davis,
14025                                    7925    8/1/2022     Secured: $0.00
        LATRICIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2040 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,
14026                  Laredo, LLC     13675   8/1/2022     Secured: $0.00
        LATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Nueces Bay,
14027                                  19422   8/1/2022     Secured: $0.00
        LATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Talen Texas
14028                                  25156   8/1/2022     Secured: $0.00
        LATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Talen Texas,
14029                                  30916   8/1/2022     Secured: $0.00
        LATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Barney Davis,
14030                                  5530    8/1/2022     Secured: $0.00
        NEFERTITI      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,
14031                  Laredo, LLC     11280   8/1/2022     Secured: $0.00
        NEFERTITI
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Nueces Bay,
14032                                  17027   8/1/2022     Secured: $0.00
        NEFERTITI      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2041 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Talen Texas
14033                                  22772   8/1/2022     Secured: $0.00
        NEFERTITI      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Talen Texas,
14034                                  28521   8/1/2022     Secured: $0.00
        NEFERTITI      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Barney Davis,
14035                                  3784    8/1/2022     Secured: $0.00
        TAMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,
14036                  Laredo, LLC     9534    8/1/2022     Secured: $0.00
        TAMMY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Nueces Bay,
14037                                  15281   8/1/2022     Secured: $0.00
        TAMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Talen Texas
14038                                  21028   8/1/2022     Secured: $0.00
        TAMMY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS,       Talen Texas,
14039                                  26775   8/1/2022     Secured: $0.00
        TAMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2042 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS‐       Barney Davis,
14040                                  5352    8/1/2022     Secured: $0.00
        PROPES, TROY   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS‐
14041                  Laredo, LLC     11102   8/1/2022     Secured: $0.00
        PROPES, TROY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS‐       Nueces Bay,
14042                                  16849   8/1/2022     Secured: $0.00
        PROPES, TROY   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS‐       Talen Texas
14043                                  22594   8/1/2022     Secured: $0.00
        PROPES, TROY   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWKINS‐       Talen Texas,
14044                                  28343   8/1/2022     Secured: $0.00
        PROPES, TROY   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWYWARD,      Barney Davis,
14045                                  7344    8/1/2022     Secured: $0.00
        GWENDOLYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAWYWARD,
14046                  Laredo, LLC     13094   8/1/2022     Secured: $0.00
        GWENDOLYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2043 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWYWARD,     Nueces Bay,
14047                                 18841   8/1/2022     Secured: $0.00
        GWENDOLYN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWYWARD,     Talen Texas
14048                                 24575   8/1/2022     Secured: $0.00
        GWENDOLYN     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HAWYWARD,     Talen Texas,
14049                                 30335   8/1/2022     Secured: $0.00
        GWENDOLYN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
14050   HAY, PEGGY                    8432    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
14051   HAY, PEGGY    Laredo, LLC     14182   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
14052   HAY, PEGGY                    19929   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
14053   HAY, PEGGY                    25662   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2044 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14054   HAY, PEGGY                     31423   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAYES,         Barney Davis,
14055                                  4036    8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAYES,
14056                  Laredo, LLC     9786    8/1/2022     Secured: $0.00
        CHARLOTTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAYES,         Nueces Bay,
14057                                  15533   8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAYES,         Talen Texas
14058                                  21279   8/1/2022     Secured: $0.00
        CHARLOTTE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAYES,         Talen Texas,
14059                                  27027   8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14060   HAYES, FAITH   Laredo, LLC     32732   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2045 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14061   HAYES, FAITH                     33723   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14062   HAYES, FAITH                     34714   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14063   HAYES, FAITH                     35705   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14064   HAYES, FAITH                     36696   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14065   HAYES, KAROLYN                   4359    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14066   HAYES, KAROLYN Laredo, LLC       10109   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14067   HAYES, KAROLYN                   15856   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2046 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14068   HAYES, KAROLYN                   21602   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14069   HAYES, KAROLYN                   27350   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14070   HAYES, SCOTT                     8760    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14071   HAYES, SCOTT     Laredo, LLC     14510   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14072   HAYES, SCOTT                     20257   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14073   HAYES, SCOTT                     25989   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14074   HAYES, SCOTT                     31751   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2047 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14075   HAYNES, NANCY                   3692    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14076   HAYNES, NANCY   Laredo, LLC     9442    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14077   HAYNES, NANCY                   15189   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14078   HAYNES, NANCY                   20936   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14079   HAYNES, NANCY                   26683   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14080   HAYS, LINDA                     5098    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14081   HAYS, LINDA     Laredo, LLC     10848   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2048 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14082   HAYS, LINDA                    16595   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14083   HAYS, LINDA                    22340   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14084   HAYS, LINDA                    28089   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14085   HAYS, LYDIA                    8029    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14086   HAYS, LYDIA    Laredo, LLC     13779   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14087   HAYS, LYDIA                    19526   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14088   HAYS, LYDIA                    25260   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2049 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14089   HAYS, LYDIA                    31020   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14090   HAYS, TINA                     9019    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14091   HAYS, TINA     Laredo, LLC     14769   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14092   HAYS, TINA                     20516   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14093   HAYS, TINA                     26248   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14094   HAYS, TINA                     32010   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HAYWOOD,       Barney Davis,
14095                                  3642    8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2050 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAYWOOD,
14096                   Laredo, LLC     9392    8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAYWOOD,        Nueces Bay,
14097                                   15139   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAYWOOD,        Talen Texas
14098                                   20886   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HAYWOOD,        Talen Texas,
14099                                   26633   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HCC
                                                             Priority: $0.00
        INTERNATIONAL   Barney Davis,
14100                                   1576    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY PLC
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HCC
                                                             Priority: $0.00
        INTERNATIONAL   Nueces Bay,
14101                                   1653    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY PLC
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HCC
                                                             Priority: $0.00
        INTERNATIONAL
14102                   Laredo, LLC     1773    8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY PLC
                                                             Total: $1,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2051 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        HDI GLOBAL                                        Priority: $0.00
                      Barney Davis,
14103   INSURANCE                     1553   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $240,923,478.00 + Unliquidated

                                                          Total: $240,923,478.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        HDI GLOBAL                                        Priority: $0.00
                      Nueces Bay,
14104   INSURANCE                     1787   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $240,923,478.00 + Unliquidated

                                                          Total: $240,923,478.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        HDI GLOBAL                                        Priority: $0.00
14105   INSURANCE     Laredo, LLC     2022   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $240,923,478.00 + Unliquidated

                                                          Total: $240,923,478.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        HDI GLOBAL                                        Priority: $0.00
                      Nueces Bay,
14106   INSURANCE                     2195   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $29,073.62 + Unliquidated

                                                          Total: $29,073.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        HDI GLOBAL                                        Priority: $0.00
                      Barney Davis,
14107   INSURANCE                     2199   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $42,500,000.00 + Unliquidated

                                                          Total: $42,500,000.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        HDI GLOBAL                                        Priority: $0.00
                      Nueces Bay,
14108   INSURANCE                     2200   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $42,500,000.00 + Unliquidated

                                                          Total: $42,500,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2052 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HDI GLOBAL                                          Priority: $0.00
14109   INSURANCE       Laredo, LLC     2202   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $42,500,000.00 + Unliquidated

                                                            Total: $42,500,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HDI GLOBAL                                          Priority: $0.00
14110   INSURANCE       Laredo, LLC     2674   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $29,073.62 + Unliquidated

                                                            Total: $29,073.62 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HDI GLOBAL                                          Priority: $0.00
                        Barney Davis,
14111   INSURANCE                       2794   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $29,073.62 + Unliquidated

                                                            Total: $29,073.62 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Barney Davis,
14112   HDI GLOBAL SE                   1772   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $240,923,478.00 + Unliquidated

                                                            Total: $240,923,478.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
14113   HDI GLOBAL SE                   2004   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $240,923,478.00 + Unliquidated

                                                            Total: $240,923,478.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14114   HDI GLOBAL SE   Laredo, LLC     2016   8/1/2022     Secured: $0.00
                                                            General Unsecured: $240,923,478.00 + Unliquidated

                                                            Total: $240,923,478.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2053 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Barney Davis,
14115   HDI GLOBAL SE                   2546   7/31/2022    Secured: $0.00
                        LLC
                                                            General Unsecured: $13,092,529.79 + Unliquidated

                                                            Total: $13,092,529.79 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14116   HDI GLOBAL SE   Laredo, LLC     2555   7/31/2022    Secured: $0.00
                                                            General Unsecured: $13,092,529.79 + Unliquidated

                                                            Total: $13,092,529.79 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
14117   HDI GLOBAL SE                   2642   7/31/2022    Secured: $0.00
                        LLC
                                                            General Unsecured: $13,092,529.79 + Unliquidated

                                                            Total: $13,092,529.79 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HDI GLOBAL
14118                   Laredo, LLC     1734   8/1/2022     Secured: $0.00
        SPECIALTY SE
                                                            General Unsecured: $240,923,478.00 + Unliquidated

                                                            Total: $240,923,478.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HDI GLOBAL      Nueces Bay,
14119                                   1774   8/1/2022     Secured: $0.00
        SPECIALTY SE    LLC
                                                            General Unsecured: $240,923,478.00 + Unliquidated

                                                            Total: $240,923,478.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HDI GLOBAL      Barney Davis,
14120                                   2002   8/1/2022     Secured: $0.00
        SPECIALTY SE    LLC
                                                            General Unsecured: $240,923,478.00 + Unliquidated

                                                            Total: $240,923,478.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2054 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HDI GLOBAL     Barney Davis,
14121                                  2680   8/1/2022     Secured: $0.00
        SPECIALTY SE   LLC
                                                           General Unsecured: $3,671,882.64 + Unliquidated

                                                           Total: $3,671,882.64 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HDI GLOBAL     Nueces Bay,
14122                                  2683   8/1/2022     Secured: $0.00
        SPECIALTY SE   LLC
                                                           General Unsecured: $3,671,882.64 + Unliquidated

                                                           Total: $3,671,882.64 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HDI GLOBAL
14123                  Laredo, LLC     2688   8/1/2022     Secured: $0.00
        SPECIALTY SE
                                                           General Unsecured: $3,671,882.64 + Unliquidated

                                                           Total: $3,671,882.64 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HDI GLOBAL     Nueces Bay,
14124                                  2754   8/1/2022     Secured: $0.00
        SPECIALTY SE   LLC
                                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                           Total: $198,152,103.43 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HDI GLOBAL     Barney Davis,
14125                                  2798   7/31/2022    Secured: $0.00
        SPECIALTY SE   LLC
                                                           General Unsecured: $177,680.05 + Unliquidated

                                                           Total: $177,680.05 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HDI GLOBAL
14126                  Laredo, LLC     2825   7/31/2022    Secured: $0.00
        SPECIALTY SE
                                                           General Unsecured: $177,680.05 + Unliquidated

                                                           Total: $177,680.05 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2055 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HDI GLOBAL       Nueces Bay,
14127                                    2829   7/31/2022    Secured: $0.00
        SPECIALTY SE     LLC
                                                             General Unsecured: $177,680.05 + Unliquidated

                                                             Total: $177,680.05 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HDI GLOBAL
14128                    Laredo, LLC     2867   8/1/2022     Secured: $0.00
        SPECIALTY SE
                                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                             Total: $198,152,103.43 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HDI GLOBAL       Barney Davis,
14129                                    2874   8/1/2022     Secured: $0.00
        SPECIALTY SE     LLC
                                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                             Total: $198,152,103.43 + Unliquidated
        HDI GLOBAL
                                                             503(b)(9): $0.00
        SPECIALTY SE,
                                                             Other Administrative: $0.00
        SUBSCRIBING TO
                                                             Priority: $0.00
        THE CABRILLO
14130                    Laredo, LLC     1890   7/29/2022    Secured: $0.00
        COASTAL
                                                             General Unsecured: $875,179.54 + Unliquidated
        GENERAL
        INSURANCE
                                                             Total: $875,179.54 + Unliquidated
        AGENCY, LLC
        HDI GLOBAL
                                                             503(b)(9): $0.00
        SPECIALTY SE,
                                                             Other Administrative: $0.00
        SUBSCRIBING TO
                                                             Priority: $0.00
        THE CABRILLO     Nueces Bay,
14131                                    1896   7/29/2022    Secured: $0.00
        COASTAL          LLC
                                                             General Unsecured: $875,179.54 + Unliquidated
        GENERAL
        INSURANCE
                                                             Total: $875,179.54 + Unliquidated
        AGENCY, LLC
        HDI GLOBAL
                                                             503(b)(9): $0.00
        SPECIALTY SE,
                                                             Other Administrative: $0.00
        SUBSCRIBING TO
                                                             Priority: $0.00
        THE CABRILLO     Barney Davis,
14132                                    1901   7/29/2022    Secured: $0.00
        COASTAL          LLC
                                                             General Unsecured: $875,179.54 + Unliquidated
        GENERAL
        INSURANCE
                                                             Total: $875,179.54 + Unliquidated
        AGENCY, LLC
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2056 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim
        HDI GLOBAL
                                                             503(b)(9): $0.00
        SPECIALTY SE,
                                                             Other Administrative: $0.00
        SUBSCRIBING TO
                                                             Priority: $0.00
        THE CABRILLO     Barney Davis,
14133                                    1903   7/29/2022    Secured: $0.00
        COASTAL          LLC
                                                             General Unsecured: $875,179.54 + Unliquidated
        GENERAL
        INSURANCE
                                                             Total: $875,179.54 + Unliquidated
        AGENCY, LLC
        HDI GLOBAL
                                                             503(b)(9): $0.00
        SPECIALTY SE,
                                                             Other Administrative: $0.00
        SUBSCRIBING TO
                                                             Priority: $0.00
        THE CABRILLO     Nueces Bay,
14134                                    1905   7/29/2022    Secured: $0.00
        COASTAL          LLC
                                                             General Unsecured: $875,179.54 + Unliquidated
        GENERAL
        INSURANCE
                                                             Total: $875,179.54 + Unliquidated
        AGENCY, LLC
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HDI SPECIALTY                                        Priority: $0.00
                         Barney Davis,
14135   INSURANCE                        1992   8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $240,923,478.00 + Unliquidated

                                                             Total: $240,923,478.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HDI SPECIALTY                                        Priority: $0.00
                         Nueces Bay,
14136   INSURANCE                        1994   8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $240,923,478.00 + Unliquidated

                                                             Total: $240,923,478.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HDI SPECIALTY                                        Priority: $0.00
14137   INSURANCE        Laredo, LLC     2003   8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $240,923,478.00 + Unliquidated

                                                             Total: $240,923,478.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14138   HDI SPECIALTY SE Laredo, LLC     1792   8/1/2022     Secured: $0.00
                                                             General Unsecured: $240,923,478.00 + Unliquidated

                                                             Total: $240,923,478.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2057 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
14139   HDI SPECIALTY SE                   1807    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $240,923,478.00 + Unliquidated

                                                                Total: $240,923,478.00 + Unliquidated

                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
14140   HDI SPECIALTY SE                   2006    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $240,923,478.00 + Unliquidated

                                                                Total: $240,923,478.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
14141   HEARD, LESLIE                      7967    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
14142   HEARD, LESLIE      Laredo, LLC     13717   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
14143   HEARD, LESLIE                      19464   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
14144   HEARD, LESLIE                      25198   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2058 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
14145   HEARD, LESLIE                      30958   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
14146   HEARNE, ROBERT Laredo, LLC         32733   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
14147   HEARNE, ROBERT                     33724   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
14148   HEARNE, ROBERT                     34715   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
14149   HEARNE, ROBERT                     35706   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
14150   HEARNE, ROBERT                     36697   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
14151   HEATH, PRISCILLA                   4581    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2059 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
14152   HEATH, PRISCILLA Laredo, LLC       10331   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
14153   HEATH, PRISCILLA                   16078   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
14154   HEATH, PRISCILLA                   21824   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
14155   HEATH, PRISCILLA                   27572   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
14156   HEBERT, JAMES                      4242    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
14157   HEBERT, JAMES      Laredo, LLC     9992    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
14158   HEBERT, JAMES                      15739   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2060 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14159   HEBERT, JAMES                   21485   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14160   HEBERT, JAMES                   27233   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEBERT,         Barney Davis,
14161                                   9062    8/1/2022     Secured: $0.00
        TRAMEICE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEBERT,
14162                   Laredo, LLC     14812   8/1/2022     Secured: $0.00
        TRAMEICE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEBERT,         Nueces Bay,
14163                                   20559   8/1/2022     Secured: $0.00
        TRAMEICE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEBERT,         Talen Texas
14164                                   26291   8/1/2022     Secured: $0.00
        TRAMEICE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEBERT,         Talen Texas,
14165                                   32053   8/1/2022     Secured: $0.00
        TRAMEICE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2061 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14166   HEDGECOTH, LISA Laredo, LLC       32734   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14167   HEDGECOTH, LISA                   33725   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14168   HEDGECOTH, LISA                   34716   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14169   HEDGECOTH, LISA                   35707   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14170   HEDGECOTH, LISA                   36698   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HEDGER,           Barney Davis,
14171                                     7350    8/1/2022     Secured: $0.00
        HARMONY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HEDGER,
14172                     Laredo, LLC     13100   8/1/2022     Secured: $0.00
        HARMONY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2062 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDGER,          Nueces Bay,
14173                                    18847   8/1/2022     Secured: $0.00
        HARMONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDGER,          Talen Texas
14174                                    24581   8/1/2022     Secured: $0.00
        HARMONY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDGER,          Talen Texas,
14175                                    30341   8/1/2022     Secured: $0.00
        HARMONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDRICK ‐ SMITH, Barney Davis,
14176                                    6756    8/1/2022     Secured: $0.00
        CHRISTINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDRICK ‐ SMITH,
14177                    Laredo, LLC     12506   8/1/2022     Secured: $0.00
        CHRISTINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDRICK ‐ SMITH, Nueces Bay,
14178                                    18253   8/1/2022     Secured: $0.00
        CHRISTINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDRICK ‐ SMITH, Talen Texas
14179                                    23987   8/1/2022     Secured: $0.00
        CHRISTINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2063 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HEDRICK ‐ SMITH, Talen Texas,
14180                                    29747   8/1/2022     Secured: $0.00
        CHRISTINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14181   HEFLIN, RICK     Laredo, LLC     32735   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14182   HEFLIN, RICK                     33726   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14183   HEFLIN, RICK                     34717   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14184   HEFLIN, RICK                     35708   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14185   HEFLIN, RICK                     36699   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14186   HEFLIN, SHEILA                   8812    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2064 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14187   HEFLIN, SHEILA   Laredo, LLC     14562   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14188   HEFLIN, SHEILA                   20309   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14189   HEFLIN, SHEILA                   26041   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14190   HEFLIN, SHEILA                   31803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14191   HEGE, VERA                       9100    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14192   HEGE, VERA       Laredo, LLC     14850   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14193   HEGE, VERA                       20597   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2065 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
14194   HEGE, VERA                    26329   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
14195   HEGE, VERA                    32091   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HEGGER,       Barney Davis,
14196                                 5144    8/1/2022     Secured: $0.00
        MATYLINANN    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HEGGER,
14197                 Laredo, LLC     10894   8/1/2022     Secured: $0.00
        MATYLINANN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HEGGER,       Nueces Bay,
14198                                 16641   8/1/2022     Secured: $0.00
        MATYLINANN    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HEGGER,       Talen Texas
14199                                 22386   8/1/2022     Secured: $0.00
        MATYLINANN    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HEGGER,       Talen Texas,
14200                                 28135   8/1/2022     Secured: $0.00
        MATYLINANN    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2066 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14201   HEIMRICH, GARY Laredo, LLC       32736   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14202   HEIMRICH, GARY                   33727   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14203   HEIMRICH, GARY                   34718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14204   HEIMRICH, GARY                   35709   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14205   HEIMRICH, GARY                   36700   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14206   HEJI, STACEY                     8866    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14207   HEJI, STACEY     Laredo, LLC     14616   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2067 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14208   HEJI, STACEY                    20363   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14209   HEJI, STACEY                    26095   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14210   HEJI, STACEY                    31857   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14211   HELM, WILLIAM                   9158    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14212   HELM, WILLIAM   Laredo, LLC     14908   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14213   HELM, WILLIAM                   20655   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14214   HELM, WILLIAM                   26387   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2068 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14215   HELM, WILLIAM                   32149   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14216   HELMS, DEREK                    7004    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14217   HELMS, DEREK    Laredo, LLC     12754   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14218   HELMS, DEREK                    18501   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14219   HELMS, DEREK                    24235   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14220   HELMS, DEREK                    29995   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14221   HEMBY, MAXIE    Laredo, LLC     32737   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2069 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14222   HEMBY, MAXIE                      33728   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14223   HEMBY, MAXIE                      34719   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14224   HEMBY, MAXIE                      35710   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14225   HEMBY, MAXIE                      36701   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14226   HEMPHILL, JACOY                   4235    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14227   HEMPHILL, JACOY Laredo, LLC       9985    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14228   HEMPHILL, JACOY                   15732   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2070 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14229   HEMPHILL, JACOY                   21478   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14230   HEMPHILL, JACOY                   27226   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14231   HENAGER, JAMES                    7449    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14232   HENAGER, JAMES Laredo, LLC        13199   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14233   HENAGER, JAMES                    18946   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14234   HENAGER, JAMES                    24680   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14235   HENAGER, JAMES                    30440   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2071 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14236                                 3912    8/1/2022     Secured: $0.00
        ALLINE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14237                 Laredo, LLC     9662    8/1/2022     Secured: $0.00
        ALLINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14238                                 15409   8/1/2022     Secured: $0.00
        ALLINE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14239                                 21156   8/1/2022     Secured: $0.00
        ALLINE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14240                                 26903   8/1/2022     Secured: $0.00
        ALLINE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14241                                 6900    8/1/2022     Secured: $0.00
        DANIELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14242                 Laredo, LLC     12650   8/1/2022     Secured: $0.00
        DANIELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2072 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14243                                 18397   8/1/2022     Secured: $0.00
        DANIELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14244                                 24131   8/1/2022     Secured: $0.00
        DANIELLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14245                                 29891   8/1/2022     Secured: $0.00
        DANIELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14246                                 6966    8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14247                 Laredo, LLC     12716   8/1/2022     Secured: $0.00
        DEBORAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14248                                 18463   8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14249                                 24197   8/1/2022     Secured: $0.00
        DEBORAH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2073 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14250                                 29957   8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14251                                 5451    8/1/2022     Secured: $0.00
        FRANK         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14252                 Laredo, LLC     11201   8/1/2022     Secured: $0.00
        FRANK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14253                                 16948   8/1/2022     Secured: $0.00
        FRANK         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14254                                 22693   8/1/2022     Secured: $0.00
        FRANK         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14255                                 28442   8/1/2022     Secured: $0.00
        FRANK         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14256                                 7304    8/1/2022     Secured: $0.00
        GERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2074 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14257                 Laredo, LLC     13054   8/1/2022     Secured: $0.00
        GERRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14258                                 18801   8/1/2022     Secured: $0.00
        GERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14259                                 24535   8/1/2022     Secured: $0.00
        GERRY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14260                                 30295   8/1/2022     Secured: $0.00
        GERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14261                                 7470    8/1/2022     Secured: $0.00
        JANELLE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14262                 Laredo, LLC     13220   8/1/2022     Secured: $0.00
        JANELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14263                                 18967   8/1/2022     Secured: $0.00
        JANELLE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2075 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14264                                 24701   8/1/2022     Secured: $0.00
        JANELLE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14265                                 30461   8/1/2022     Secured: $0.00
        JANELLE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14266                                 7547    8/1/2022     Secured: $0.00
        JERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14267                 Laredo, LLC     13297   8/1/2022     Secured: $0.00
        JERRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14268                                 19044   8/1/2022     Secured: $0.00
        JERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14269                                 24778   8/1/2022     Secured: $0.00
        JERRY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14270                                 30538   8/1/2022     Secured: $0.00
        JERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2076 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14271                                 7636    8/1/2022     Secured: $0.00
        JOHNNY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14272                 Laredo, LLC     13386   8/1/2022     Secured: $0.00
        JOHNNY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14273                                 19133   8/1/2022     Secured: $0.00
        JOHNNY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14274                                 24867   8/1/2022     Secured: $0.00
        JOHNNY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14275                                 30627   8/1/2022     Secured: $0.00
        JOHNNY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14276                                 7727    8/1/2022     Secured: $0.00
        JUSTIN D      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14277                 Laredo, LLC     13477   8/1/2022     Secured: $0.00
        JUSTIN D
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2077 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14278                                 19224   8/1/2022     Secured: $0.00
        JUSTIN D      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14279                                 24958   8/1/2022     Secured: $0.00
        JUSTIN D      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14280                                 30718   8/1/2022     Secured: $0.00
        JUSTIN D      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14281                                 6255    8/1/2022     Secured: $0.00
        LASHONDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14282                 Laredo, LLC     12005   8/1/2022     Secured: $0.00
        LASHONDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14283                                 17752   8/1/2022     Secured: $0.00
        LASHONDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14284                                 23487   8/1/2022     Secured: $0.00
        LASHONDA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2078 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14285                                 29246   8/1/2022     Secured: $0.00
        LASHONDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14286                                 8193    8/1/2022     Secured: $0.00
        MELANIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14287                 Laredo, LLC     13943   8/1/2022     Secured: $0.00
        MELANIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14288                                 19690   8/1/2022     Secured: $0.00
        MELANIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14289                                 25424   8/1/2022     Secured: $0.00
        MELANIE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14290                                 31184   8/1/2022     Secured: $0.00
        MELANIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14291                                 8606    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2079 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14292                 Laredo, LLC     14356   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14293                                 20103   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14294                                 25835   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14295                                 31597   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14296                                 5868    8/1/2022     Secured: $0.00
        SAMUEL RAY    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14297                 Laredo, LLC     11618   8/1/2022     Secured: $0.00
        SAMUEL RAY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14298                                 17365   8/1/2022     Secured: $0.00
        SAMUEL RAY    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2080 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14299                                 23110   8/1/2022     Secured: $0.00
        SAMUEL RAY    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14300                                 28859   8/1/2022     Secured: $0.00
        SAMUEL RAY    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14301                                 3707    8/1/2022     Secured: $0.00
        SHAMEKIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14302                 Laredo, LLC     9457    8/1/2022     Secured: $0.00
        SHAMEKIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14303                                 15204   8/1/2022     Secured: $0.00
        SHAMEKIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14304                                 20951   8/1/2022     Secured: $0.00
        SHAMEKIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14305                                 26698   8/1/2022     Secured: $0.00
        SHAMEKIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2081 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14306                                 5311    8/1/2022     Secured: $0.00
        SLOANE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14307                 Laredo, LLC     11061   8/1/2022     Secured: $0.00
        SLOANE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14308                                 16808   8/1/2022     Secured: $0.00
        SLOANE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14309                                 22553   8/1/2022     Secured: $0.00
        SLOANE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14310                                 28302   8/1/2022     Secured: $0.00
        SLOANE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14311                                 8972    8/1/2022     Secured: $0.00
        TERRIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14312                 Laredo, LLC     14722   8/1/2022     Secured: $0.00
        TERRIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2082 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14313                                 20469   8/1/2022     Secured: $0.00
        TERRIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14314                                 26201   8/1/2022     Secured: $0.00
        TERRIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14315                                 31963   8/1/2022     Secured: $0.00
        TERRIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14316                                 9026    8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14317                 Laredo, LLC     14776   8/1/2022     Secured: $0.00
        TODD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14318                                 20523   8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14319                                 26255   8/1/2022     Secured: $0.00
        TODD          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2083 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14320                                 32017   8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Barney Davis,
14321                                 9172    8/1/2022     Secured: $0.00
        WILLIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,
14322                 Laredo, LLC     14922   8/1/2022     Secured: $0.00
        WILLIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Nueces Bay,
14323                                 20669   8/1/2022     Secured: $0.00
        WILLIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas
14324                                 26401   8/1/2022     Secured: $0.00
        WILLIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDERSON,    Talen Texas,
14325                                 32163   8/1/2022     Secured: $0.00
        WILLIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HENDON‐                                            Priority: $0.00
                      Barney Davis,
14326   RUTHERFORD,                   6868    8/1/2022     Secured: $0.00
                      LLC
        DAISHA                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2084 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HENDON‐                                            Priority: $0.00
14327   RUTHERFORD,   Laredo, LLC     12618   8/1/2022     Secured: $0.00
        DAISHA                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HENDON‐                                            Priority: $0.00
                      Nueces Bay,
14328   RUTHERFORD,                   18365   8/1/2022     Secured: $0.00
                      LLC
        DAISHA                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HENDON‐                                            Priority: $0.00
                      Talen Texas
14329   RUTHERFORD,                   24099   8/1/2022     Secured: $0.00
                      Group, LLC
        DAISHA                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HENDON‐                                            Priority: $0.00
                      Talen Texas,
14330   RUTHERFORD,                   29859   8/1/2022     Secured: $0.00
                      LLC
        DAISHA                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICK,     Barney Davis,
14331                                 3634    8/1/2022     Secured: $0.00
        REBEKAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICK,
14332                 Laredo, LLC     9384    8/1/2022     Secured: $0.00
        REBEKAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICK,     Nueces Bay,
14333                                 15131   8/1/2022     Secured: $0.00
        REBEKAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2085 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICK,     Talen Texas
14334                                 20878   8/1/2022     Secured: $0.00
        REBEKAH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICK,     Talen Texas,
14335                                 26625   8/1/2022     Secured: $0.00
        REBEKAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICKS,    Barney Davis,
14336                                 7028    8/1/2022     Secured: $0.00
        DIAMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICKS,
14337                 Laredo, LLC     12778   8/1/2022     Secured: $0.00
        DIAMOND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICKS,    Nueces Bay,
14338                                 18525   8/1/2022     Secured: $0.00
        DIAMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICKS,    Talen Texas
14339                                 24259   8/1/2022     Secured: $0.00
        DIAMOND       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HENDRICKS,    Talen Texas,
14340                                 30019   8/1/2022     Secured: $0.00
        DIAMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2086 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HENDRICKSON,
14341                     Laredo, LLC     32738   8/1/2022     Secured: $0.00
        MELISSA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HENDRICKSON,      Barney Davis,
14342                                     33729   8/1/2022     Secured: $0.00
        MELISSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HENDRICKSON,      Nueces Bay,
14343                                     34720   8/1/2022     Secured: $0.00
        MELISSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HENDRICKSON,      Talen Texas
14344                                     35711   8/1/2022     Secured: $0.00
        MELISSA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HENDRICKSON,      Talen Texas,
14345                                     36702   8/1/2022     Secured: $0.00
        MELISSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14346   HENDRIX, ALEXIS Laredo, LLC       32739   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14347   HENDRIX, ALEXIS                   33730   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2087 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14348   HENDRIX, ALEXIS                   34721   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14349   HENDRIX, ALEXIS                   35712   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14350   HENDRIX, ALEXIS                   36703   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14351   HENDRIX, DENNIS                   6999    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14352   HENDRIX, DENNIS Laredo, LLC       12749   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14353   HENDRIX, DENNIS                   18496   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14354   HENDRIX, DENNIS                   24230   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2088 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14355   HENDRIX, DENNIS                   29990   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14356   HENLEY, TARA                      8947    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14357   HENLEY, TARA      Laredo, LLC     14697   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14358   HENLEY, TARA                      20444   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14359   HENLEY, TARA                      26176   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14360   HENLEY, TARA                      31938   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14361   HENNESSY, MARK                    6001    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2089 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14362   HENNESSY, MARK Laredo, LLC       11751   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14363   HENNESSY, MARK                   17498   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14364   HENNESSY, MARK                   23243   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14365   HENNESSY, MARK                   28992   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14366   HENNESSY, VIN                    4772    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14367   HENNESSY, VIN    Laredo, LLC     10522   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14368   HENNESSY, VIN                    16269   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2090 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14369   HENNESSY, VIN                   22015   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14370   HENNESSY, VIN                   27763   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HENRIQUEZ,      Barney Davis,
14371                                   6249    8/1/2022     Secured: $0.00
        JACOB           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HENRIQUEZ,
14372                   Laredo, LLC     11999   8/1/2022     Secured: $0.00
        JACOB
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HENRIQUEZ,      Nueces Bay,
14373                                   17746   8/1/2022     Secured: $0.00
        JACOB           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HENRIQUEZ,      Talen Texas
14374                                   23481   8/1/2022     Secured: $0.00
        JACOB           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HENRIQUEZ,      Talen Texas,
14375                                   29240   8/1/2022     Secured: $0.00
        JACOB           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2091 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HENRY,           Barney Davis,
14376                                    6648    8/1/2022     Secured: $0.00
        CARMELLIA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HENRY,
14377                    Laredo, LLC     12398   8/1/2022     Secured: $0.00
        CARMELLIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HENRY,           Nueces Bay,
14378                                    18145   8/1/2022     Secured: $0.00
        CARMELLIA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HENRY,           Talen Texas
14379                                    23879   8/1/2022     Secured: $0.00
        CARMELLIA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HENRY,           Talen Texas,
14380                                    29639   8/1/2022     Secured: $0.00
        CARMELLIA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14381   HENRY, CYNTHIA                   6861    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14382   HENRY, CYNTHIA Laredo, LLC       12611   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2092 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14383   HENRY, CYNTHIA                   18358   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14384   HENRY, CYNTHIA                   24092   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14385   HENRY, CYNTHIA                   29852   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14386   HENRY, DERRICK                   4122    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14387   HENRY, DERRICK   Laredo, LLC     9872    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14388   HENRY, DERRICK                   15619   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14389   HENRY, DERRICK                   21365   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2093 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14390   HENRY, DERRICK                    27113   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14391   HENRY, GAYLE                      7278    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14392   HENRY, GAYLE      Laredo, LLC     13028   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14393   HENRY, GAYLE                      18775   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14394   HENRY, GAYLE                      24509   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14395   HENRY, GAYLE                      30269   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14396   HENRY, MICHELLE                   5159    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2094 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14397   HENRY, MICHELLE Laredo, LLC       10909   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14398   HENRY, MICHELLE                   16656   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14399   HENRY, MICHELLE                   22401   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14400   HENRY, MICHELLE                   28150   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14401   HENRY, MONICA                     8289    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14402   HENRY, MONICA     Laredo, LLC     14039   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14403   HENRY, MONICA                     19786   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2095 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
14404   HENRY, MONICA                  25520   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
14405   HENRY, MONICA                  31280   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HENRY, RICHARD Barney Davis,
14406                                  8565    8/1/2022     Secured: $0.00
        EARL           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HENRY, RICHARD
14407                  Laredo, LLC     14315   8/1/2022     Secured: $0.00
        EARL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HENRY, RICHARD Nueces Bay,
14408                                  20062   8/1/2022     Secured: $0.00
        EARL           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HENRY, RICHARD Talen Texas
14409                                  25794   8/1/2022     Secured: $0.00
        EARL           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HENRY, RICHARD Talen Texas,
14410                                  31556   8/1/2022     Secured: $0.00
        EARL           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2096 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14411   HENRY, SHERRY                     4687    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14412   HENRY, SHERRY     Laredo, LLC     10437   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14413   HENRY, SHERRY                     16184   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14414   HENRY, SHERRY                     21930   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14415   HENRY, SHERRY                     27678   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14416   HENSLEY, GERALD                   7299    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14417   HENSLEY, GERALD Laredo, LLC       13049   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2097 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14418   HENSLEY, GERALD                   18796   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14419   HENSLEY, GERALD                   24530   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14420   HENSLEY, GERALD                   30290   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14421   HENSON, JAMES                     4244    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14422   HENSON, JAMES     Laredo, LLC     9994    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14423   HENSON, JAMES                     15741   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14424   HENSON, JAMES                     21487   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2098 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14425   HENSON, JAMES                    27235   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14426   HERMAN, STEVEN                   4705    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14427   HERMAN, STEVEN Laredo, LLC       10455   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14428   HERMAN, STEVEN                   16202   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14429   HERMAN, STEVEN                   21948   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14430   HERMAN, STEVEN                   27696   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERMANN,         Barney Davis,
14431                                    6887    8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2099 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERMANN,
14432                 Laredo, LLC     12637   8/1/2022     Secured: $0.00
        DANIEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERMANN,      Nueces Bay,
14433                                 18384   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERMANN,      Talen Texas
14434                                 24118   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERMANN,      Talen Texas,
14435                                 29878   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14436                                 3814    8/1/2022     Secured: $0.00
        ALEX          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14437                 Laredo, LLC     9564    8/1/2022     Secured: $0.00
        ALEX
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14438                                 15311   8/1/2022     Secured: $0.00
        ALEX          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2100 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14439                                 21058   8/1/2022     Secured: $0.00
        ALEX          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14440                                 26805   8/1/2022     Secured: $0.00
        ALEX          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14441                 Laredo, LLC     32740   8/1/2022     Secured: $0.00
        ANDREA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14442                                 33731   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14443                                 34722   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14444                                 35713   8/1/2022     Secured: $0.00
        ANDREA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14445                                 36704   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2101 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14446                                 6381    8/1/2022     Secured: $0.00
        ANDRES        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14447                 Laredo, LLC     12131   8/1/2022     Secured: $0.00
        ANDRES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14448                                 17878   8/1/2022     Secured: $0.00
        ANDRES        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14449                                 23613   8/1/2022     Secured: $0.00
        ANDRES        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14450                                 29372   8/1/2022     Secured: $0.00
        ANDRES        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14451                 Laredo, LLC     32741   8/1/2022     Secured: $0.00
        ANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14452                                 33732   8/1/2022     Secured: $0.00
        ANNA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2102 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14453                                 34723   8/1/2022     Secured: $0.00
        ANNA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14454                                 35714   8/1/2022     Secured: $0.00
        ANNA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14455                                 36705   8/1/2022     Secured: $0.00
        ANNA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14456                                 3953    8/1/2022     Secured: $0.00
        AUBREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14457                 Laredo, LLC     9703    8/1/2022     Secured: $0.00
        AUBREY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14458                                 15450   8/1/2022     Secured: $0.00
        AUBREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14459                                 21196   8/1/2022     Secured: $0.00
        AUBREY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2103 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14460                                 26944   8/1/2022     Secured: $0.00
        AUBREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14461                 Laredo, LLC     32742   8/1/2022     Secured: $0.00
        AUBREY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14462                                 33733   8/1/2022     Secured: $0.00
        AUBREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14463                                 34724   8/1/2022     Secured: $0.00
        AUBREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14464                                 35715   8/1/2022     Secured: $0.00
        AUBREY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14465                                 36706   8/1/2022     Secured: $0.00
        AUBREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14466                                 6507    8/1/2022     Secured: $0.00
        BETTY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2104 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14467                 Laredo, LLC     12257   8/1/2022     Secured: $0.00
        BETTY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14468                                 18004   8/1/2022     Secured: $0.00
        BETTY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14469                                 23739   8/1/2022     Secured: $0.00
        BETTY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14470                                 29498   8/1/2022     Secured: $0.00
        BETTY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14471                 Laredo, LLC     32743   8/1/2022     Secured: $0.00
        BRYANT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14472                                 33734   8/1/2022     Secured: $0.00
        BRYANT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14473                                 34725   8/1/2022     Secured: $0.00
        BRYANT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2105 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14474                                 35716   8/1/2022     Secured: $0.00
        BRYANT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14475                                 36707   8/1/2022     Secured: $0.00
        BRYANT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14476                                 7236    8/1/2022     Secured: $0.00
        FRANCE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14477                 Laredo, LLC     12986   8/1/2022     Secured: $0.00
        FRANCE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14478                                 18733   8/1/2022     Secured: $0.00
        FRANCE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14479                                 24467   8/1/2022     Secured: $0.00
        FRANCE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14480                                 30227   8/1/2022     Secured: $0.00
        FRANCE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2106 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14481                                 7288    8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14482                 Laredo, LLC     13038   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14483                                 18785   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14484                                 24519   8/1/2022     Secured: $0.00
        GEORGE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14485                                 30279   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14486                                 7324    8/1/2022     Secured: $0.00
        GRADY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14487                 Laredo, LLC     13074   8/1/2022     Secured: $0.00
        GRADY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2107 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14488                                 18821   8/1/2022     Secured: $0.00
        GRADY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14489                                 24555   8/1/2022     Secured: $0.00
        GRADY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14490                                 30315   8/1/2022     Secured: $0.00
        GRADY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14491                                 7366    8/1/2022     Secured: $0.00
        HECTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14492                 Laredo, LLC     13116   8/1/2022     Secured: $0.00
        HECTOR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14493                                 18863   8/1/2022     Secured: $0.00
        HECTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14494                                 24597   8/1/2022     Secured: $0.00
        HECTOR        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2108 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14495                                 30357   8/1/2022     Secured: $0.00
        HECTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14496                                 7405    8/1/2022     Secured: $0.00
        ISRAEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14497                 Laredo, LLC     13155   8/1/2022     Secured: $0.00
        ISRAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14498                                 18902   8/1/2022     Secured: $0.00
        ISRAEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14499                                 24636   8/1/2022     Secured: $0.00
        ISRAEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14500                                 30396   8/1/2022     Secured: $0.00
        ISRAEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14501                 Laredo, LLC     32744   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2109 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14502                                 33735   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14503                                 34726   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14504                                 35717   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14505                                 36708   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14506                                 7564    8/1/2022     Secured: $0.00
        JESUS         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14507                 Laredo, LLC     13314   8/1/2022     Secured: $0.00
        JESUS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14508                                 19061   8/1/2022     Secured: $0.00
        JESUS         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2110 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14509                                 24795   8/1/2022     Secured: $0.00
        JESUS         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14510                                 30555   8/1/2022     Secured: $0.00
        JESUS         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14511                                 5503    8/1/2022     Secured: $0.00
        JUAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14512                 Laredo, LLC     11253   8/1/2022     Secured: $0.00
        JUAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14513                                 17000   8/1/2022     Secured: $0.00
        JUAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14514                                 22745   8/1/2022     Secured: $0.00
        JUAN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14515                                 28494   8/1/2022     Secured: $0.00
        JUAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2111 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14516                                 4365    8/1/2022     Secured: $0.00
        KATHY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14517                 Laredo, LLC     10115   8/1/2022     Secured: $0.00
        KATHY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14518                                 15862   8/1/2022     Secured: $0.00
        KATHY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14519                                 21608   8/1/2022     Secured: $0.00
        KATHY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14520                                 27356   8/1/2022     Secured: $0.00
        KATHY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14521                                 7826    8/1/2022     Secured: $0.00
        KEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14522                 Laredo, LLC     13576   8/1/2022     Secured: $0.00
        KEVIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2112 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Nueces Bay,
14523                                    19323   8/1/2022     Secured: $0.00
        KEVIN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Talen Texas
14524                                    25057   8/1/2022     Secured: $0.00
        KEVIN            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Talen Texas,
14525                                    30817   8/1/2022     Secured: $0.00
        KEVIN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14526   HERNANDEZ, LUZ                   8028    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14527   HERNANDEZ, LUZ Laredo, LLC       13778   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14528   HERNANDEZ, LUZ                   19525   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14529   HERNANDEZ, LUZ                   25259   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2113 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14530   HERNANDEZ, LUZ                   31019   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,
14531                    Laredo, LLC     32745   8/1/2022     Secured: $0.00
        MARGARITA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Barney Davis,
14532                                    33736   8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Nueces Bay,
14533                                    34727   8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Talen Texas
14534                                    35718   8/1/2022     Secured: $0.00
        MARGARITA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,       Talen Texas,
14535                                    36709   8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HERNANDEZ,
14536                    Laredo, LLC     32746   8/1/2022     Secured: $0.00
        OSKAR
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2114 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14537                                 33737   8/1/2022     Secured: $0.00
        OSKAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14538                                 34728   8/1/2022     Secured: $0.00
        OSKAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14539                                 35719   8/1/2022     Secured: $0.00
        OSKAR         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14540                                 36710   8/1/2022     Secured: $0.00
        OSKAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14541                                 4563    8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14542                 Laredo, LLC     10313   8/1/2022     Secured: $0.00
        PATRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14543                                 16060   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2115 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14544                                 21806   8/1/2022     Secured: $0.00
        PATRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14545                                 27554   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14546                                 8538    8/1/2022     Secured: $0.00
        RENE          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14547                 Laredo, LLC     14288   8/1/2022     Secured: $0.00
        RENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14548                                 20035   8/1/2022     Secured: $0.00
        RENE          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14549                                 25767   8/1/2022     Secured: $0.00
        RENE          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14550                                 31529   8/1/2022     Secured: $0.00
        RENE          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2116 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14551                                 8607    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14552                 Laredo, LLC     14357   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14553                                 20104   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14554                                 25836   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14555                                 31598   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14556                                 8658    8/1/2022     Secured: $0.00
        ROLAND        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14557                 Laredo, LLC     14408   8/1/2022     Secured: $0.00
        ROLAND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2117 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14558                                 20155   8/1/2022     Secured: $0.00
        ROLAND        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14559                                 25887   8/1/2022     Secured: $0.00
        ROLAND        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14560                                 31649   8/1/2022     Secured: $0.00
        ROLAND        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14561                 Laredo, LLC     32747   8/1/2022     Secured: $0.00
        ROMAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14562                                 33738   8/1/2022     Secured: $0.00
        ROMAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14563                                 34729   8/1/2022     Secured: $0.00
        ROMAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14564                                 35720   8/1/2022     Secured: $0.00
        ROMAN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2118 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14565                                 36711   8/1/2022     Secured: $0.00
        ROMAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14566                                 6176    8/1/2022     Secured: $0.00
        ROSE          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,
14567                 Laredo, LLC     11926   8/1/2022     Secured: $0.00
        ROSE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Nueces Bay,
14568                                 17673   8/1/2022     Secured: $0.00
        ROSE          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas
14569                                 23418   8/1/2022     Secured: $0.00
        ROSE          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Talen Texas,
14570                                 29167   8/1/2022     Secured: $0.00
        ROSE          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERNANDEZ,    Barney Davis,
14571                                 8815    8/1/2022     Secured: $0.00
        SHELIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2119 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERNANDEZ,
14572                   Laredo, LLC     14565   8/1/2022     Secured: $0.00
        SHELIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERNANDEZ,      Nueces Bay,
14573                                   20312   8/1/2022     Secured: $0.00
        SHELIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERNANDEZ,      Talen Texas
14574                                   26044   8/1/2022     Secured: $0.00
        SHELIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERNANDEZ,      Talen Texas,
14575                                   31806   8/1/2022     Secured: $0.00
        SHELIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14576   HERNDEN, A.L.   Laredo, LLC     32748   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14577   HERNDEN, A.L.                   33739   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14578   HERNDEN, A.L.                   34730   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2120 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14579   HERNDEN, A.L.                   35721   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14580   HERNDEN, A.L.                   36712   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERRERA,
14581                   Laredo, LLC     32749   8/1/2022     Secured: $0.00
        ALBERTO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERRERA,        Barney Davis,
14582                                   33740   8/1/2022     Secured: $0.00
        ALBERTO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERRERA,        Nueces Bay,
14583                                   34731   8/1/2022     Secured: $0.00
        ALBERTO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERRERA,        Talen Texas
14584                                   35722   8/1/2022     Secured: $0.00
        ALBERTO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HERRERA,        Talen Texas,
14585                                   36713   8/1/2022     Secured: $0.00
        ALBERTO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2121 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14586   HERRERA, CARLA Laredo, LLC        32750   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14587   HERRERA, CARLA                    33741   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14588   HERRERA, CARLA                    34732   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14589   HERRERA, CARLA                    35723   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14590   HERRERA, CARLA                    36714   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14591   HERRERA, CARLOS                   6641    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14592   HERRERA, CARLOS Laredo, LLC       12391   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2122 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14593   HERRERA, CARLOS                   18138   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14594   HERRERA, CARLOS                   23872   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14595   HERRERA, CARLOS                   29632   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HERRERA,          Barney Davis,
14596                                     8550    8/1/2022     Secured: $0.00
        RICARDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HERRERA,
14597                     Laredo, LLC     14300   8/1/2022     Secured: $0.00
        RICARDO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HERRERA,          Nueces Bay,
14598                                     20047   8/1/2022     Secured: $0.00
        RICARDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HERRERA,          Talen Texas
14599                                     25779   8/1/2022     Secured: $0.00
        RICARDO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2123 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Talen Texas,
14600                                 31541   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,
14601                 Laredo, LLC     32751   8/1/2022     Secured: $0.00
        RICARDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Barney Davis,
14602                                 33742   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Nueces Bay,
14603                                 34733   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Talen Texas
14604                                 35724   8/1/2022     Secured: $0.00
        RICARDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Talen Texas,
14605                                 36715   8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Barney Davis,
14606                                 8717    8/1/2022     Secured: $0.00
        SABRINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2124 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,
14607                 Laredo, LLC     14467   8/1/2022     Secured: $0.00
        SABRINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Nueces Bay,
14608                                 20214   8/1/2022     Secured: $0.00
        SABRINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Talen Texas
14609                                 25946   8/1/2022     Secured: $0.00
        SABRINA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HERRERA,      Talen Texas,
14610                                 31708   8/1/2022     Secured: $0.00
        SABRINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
14611   HERRIN, SAM                   8724    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
14612   HERRIN, SAM   Laredo, LLC     14474   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
14613   HERRIN, SAM                   20221   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2125 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14614   HERRIN, SAM                       25953   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14615   HERRIN, SAM                       31715   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14616   HERRING, ROBERT                   4622    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14617   HERRING, ROBERT Laredo, LLC       10372   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14618   HERRING, ROBERT                   16119   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14619   HERRING, ROBERT                   21865   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14620   HERRING, ROBERT                   27613   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2126 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14621   HERRON, CHERYL                   5758    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14622   HERRON, CHERYL Laredo, LLC       11508   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14623   HERRON, CHERYL                   17255   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14624   HERRON, CHERYL                   23000   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14625   HERRON, CHERYL                   28749   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14626   HESLES, LINDA    Laredo, LLC     32752   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14627   HESLES, LINDA                    33743   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2127 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14628   HESLES, LINDA                    34734   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14629   HESLES, LINDA                    35725   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14630   HESLES, LINDA                    36716   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14631   HESTER, DONALD                   7061    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14632   HESTER, DONALD Laredo, LLC       12811   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14633   HESTER, DONALD                   18558   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14634   HESTER, DONALD                   24292   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2128 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14635   HESTER, DONALD                   30052   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14636   HETER, WAYNE                     4777    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14637   HETER, WAYNE     Laredo, LLC     10527   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14638   HETER, WAYNE                     16274   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14639   HETER, WAYNE                     22020   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14640   HETER, WAYNE                     27768   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14641   HEWETT, CARLA                    5494    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2129 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14642   HEWETT, CARLA   Laredo, LLC     11244   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14643   HEWETT, CARLA                   16991   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14644   HEWETT, CARLA                   22736   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14645   HEWETT, CARLA                   28485   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEWITT,         Barney Davis,
14646                                   4990    8/1/2022     Secured: $0.00
        GREGORY LEON    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEWITT,
14647                   Laredo, LLC     10740   8/1/2022     Secured: $0.00
        GREGORY LEON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HEWITT,         Nueces Bay,
14648                                   16487   8/1/2022     Secured: $0.00
        GREGORY LEON    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2130 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HEWITT,        Talen Texas
14649                                  22232   8/1/2022     Secured: $0.00
        GREGORY LEON   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HEWITT,        Talen Texas,
14650                                  27981   8/1/2022     Secured: $0.00
        GREGORY LEON   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14651   HIATT, KEVIN                   7827    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14652   HIATT, KEVIN   Laredo, LLC     13577   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14653   HIATT, KEVIN                   19324   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14654   HIATT, KEVIN                   25058   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14655   HIATT, KEVIN                   30818   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2131 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HIBBARD,         Barney Davis,
14656                                    5789    8/1/2022     Secured: $0.00
        GAGANDEEP        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HIBBARD,
14657                    Laredo, LLC     11539   8/1/2022     Secured: $0.00
        GAGANDEEP
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HIBBARD,         Nueces Bay,
14658                                    17286   8/1/2022     Secured: $0.00
        GAGANDEEP        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HIBBARD,         Talen Texas
14659                                    23031   8/1/2022     Secured: $0.00
        GAGANDEEP        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HIBBARD,         Talen Texas,
14660                                    28780   8/1/2022     Secured: $0.00
        GAGANDEEP        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14661   HIBBLER, LARRY                   4404    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14662   HIBBLER, LARRY   Laredo, LLC     10154   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2132 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14663   HIBBLER, LARRY                   15901   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14664   HIBBLER, LARRY                   21647   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14665   HIBBLER, LARRY                   27395   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKERSON,       Barney Davis,
14666                                    9159    8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKERSON,
14667                    Laredo, LLC     14909   8/1/2022     Secured: $0.00
        WILLIAM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKERSON,       Nueces Bay,
14668                                    20656   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKERSON,       Talen Texas
14669                                    26388   8/1/2022     Secured: $0.00
        WILLIAM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2133 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HICKERSON,      Talen Texas,
14670                                   32150   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14671   HICKEY, SCOTT                   8761    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14672   HICKEY, SCOTT   Laredo, LLC     14511   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14673   HICKEY, SCOTT                   20258   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14674   HICKEY, SCOTT                   25990   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14675   HICKEY, SCOTT                   31752   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HICKLIN,        Barney Davis,
14676                                   5632    8/1/2022     Secured: $0.00
        NORMAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2134 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKLIN,
14677                 Laredo, LLC     11382   8/1/2022     Secured: $0.00
        NORMAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKLIN,      Nueces Bay,
14678                                 17129   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKLIN,      Talen Texas
14679                                 22874   8/1/2022     Secured: $0.00
        NORMAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKLIN,      Talen Texas,
14680                                 28623   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Barney Davis,
14681                                 3736    8/1/2022     Secured: $0.00
        ASHLEY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,
14682                 Laredo, LLC     9486    8/1/2022     Secured: $0.00
        ASHLEY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Nueces Bay,
14683                                 15233   8/1/2022     Secured: $0.00
        ASHLEY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2135 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Talen Texas
14684                                 20980   8/1/2022     Secured: $0.00
        ASHLEY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Talen Texas,
14685                                 26727   8/1/2022     Secured: $0.00
        ASHLEY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Barney Davis,
14686                                 5315    8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,
14687                 Laredo, LLC     11065   8/1/2022     Secured: $0.00
        STEPHANIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Nueces Bay,
14688                                 16812   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Talen Texas
14689                                 22557   8/1/2022     Secured: $0.00
        STEPHANIE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HICKMAN,      Talen Texas,
14690                                 28306   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2136 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKMAN‐SILVA,   Barney Davis,
14691                                    4723    8/1/2022     Secured: $0.00
        TERESA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKMAN‐SILVA,
14692                    Laredo, LLC     10473   8/1/2022     Secured: $0.00
        TERESA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKMAN‐SILVA,   Nueces Bay,
14693                                    16220   8/1/2022     Secured: $0.00
        TERESA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKMAN‐SILVA,   Talen Texas
14694                                    21966   8/1/2022     Secured: $0.00
        TERESA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKMAN‐SILVA,   Talen Texas,
14695                                    27714   8/1/2022     Secured: $0.00
        TERESA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14696   HICKS, ELLIE                     7159    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14697   HICKS, ELLIE     Laredo, LLC     12909   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2137 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14698   HICKS, ELLIE                   18656   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14699   HICKS, ELLIE                   24390   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14700   HICKS, ELLIE                   30150   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HICKS,         Barney Davis,
14701                                  7422    8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HICKS,
14702                  Laredo, LLC     13172   8/1/2022     Secured: $0.00
        JACQUELINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HICKS,         Nueces Bay,
14703                                  18919   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HICKS,         Talen Texas
14704                                  24653   8/1/2022     Secured: $0.00
        JACQUELINE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2138 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HICKS,           Talen Texas,
14705                                    30413   8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14706   HICKS, JEFFREY                   6129    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14707   HICKS, JEFFREY   Laredo, LLC     11879   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14708   HICKS, JEFFREY                   17626   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14709   HICKS, JEFFREY                   23371   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14710   HICKS, JEFFREY                   29120   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14711   HICKS, KENDRIC                   5612    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2139 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14712   HICKS, KENDRIC   Laredo, LLC     11362   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14713   HICKS, KENDRIC                   17109   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14714   HICKS, KENDRIC                   22854   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14715   HICKS, KENDRIC                   28603   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14716   HICKS, TONYA                     6201    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14717   HICKS, TONYA     Laredo, LLC     11951   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14718   HICKS, TONYA                     17698   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2140 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14719   HICKS, TONYA                      23443   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14720   HICKS, TONYA                      29192   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14721   HICKSON, ROBERT                   3614    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14722   HICKSON, ROBERT Laredo, LLC       9364    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14723   HICKSON, ROBERT                   15111   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14724   HICKSON, ROBERT                   20858   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14725   HICKSON, ROBERT                   26605   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2141 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGGINS,        Barney Davis,
14726                                   6948    8/1/2022     Secured: $0.00
        DAWNNETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGGINS,
14727                   Laredo, LLC     12698   8/1/2022     Secured: $0.00
        DAWNNETTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGGINS,        Nueces Bay,
14728                                   18445   8/1/2022     Secured: $0.00
        DAWNNETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGGINS,        Talen Texas
14729                                   24179   8/1/2022     Secured: $0.00
        DAWNNETTE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGGINS,        Talen Texas,
14730                                   29939   8/1/2022     Secured: $0.00
        DAWNNETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14731   HIGHT, MARTHA                   8140    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14732   HIGHT, MARTHA   Laredo, LLC     13890   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2142 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14733   HIGHT, MARTHA                   19637   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14734   HIGHT, MARTHA                   25371   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14735   HIGHT, MARTHA                   31131   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Barney Davis,
14736                                   6336    8/1/2022     Secured: $0.00
        ALICE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,
14737                   Laredo, LLC     12086   8/1/2022     Secured: $0.00
        ALICE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Nueces Bay,
14738                                   17833   8/1/2022     Secured: $0.00
        ALICE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Talen Texas
14739                                   23568   8/1/2022     Secured: $0.00
        ALICE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2143 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Talen Texas,
14740                                   29327   8/1/2022     Secured: $0.00
        ALICE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,
14741                   Laredo, LLC     32753   8/1/2022     Secured: $0.00
        ELLEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Barney Davis,
14742                                   33744   8/1/2022     Secured: $0.00
        ELLEN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Nueces Bay,
14743                                   34735   8/1/2022     Secured: $0.00
        ELLEN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Talen Texas
14744                                   35726   8/1/2022     Secured: $0.00
        ELLEN           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HIGHTOWER,      Talen Texas,
14745                                   36717   8/1/2022     Secured: $0.00
        ELLEN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14746   HILL, ADRIANE                   3903    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2144 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14747   HILL, ADRIANE   Laredo, LLC     9653    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14748   HILL, ADRIANE                   15400   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14749   HILL, ADRIANE                   21147   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14750   HILL, ADRIANE                   26894   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14751   HILL, CRYSTAL                   6846    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14752   HILL, CRYSTAL   Laredo, LLC     12596   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14753   HILL, CRYSTAL                   18343   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2145 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14754   HILL, CRYSTAL                   24077   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14755   HILL, CRYSTAL                   29837   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14756   HILL, DAVID                     6925    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14757   HILL, DAVID     Laredo, LLC     12675   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14758   HILL, DAVID                     18422   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14759   HILL, DAVID                     24156   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14760   HILL, DAVID                     29916   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2146 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14761   HILL, DEANNE                   6955    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14762   HILL, DEANNE   Laredo, LLC     12705   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14763   HILL, DEANNE                   18452   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14764   HILL, DEANNE                   24186   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14765   HILL, DEANNE                   29946   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14766   HILL, DEREK                    7005    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14767   HILL, DEREK    Laredo, LLC     12755   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2147 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14768   HILL, DEREK                       18502   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14769   HILL, DEREK                       24236   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14770   HILL, DEREK                       29996   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14771   HILL, FREDERICK                   7255    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14772   HILL, FREDERICK   Laredo, LLC     13005   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14773   HILL, FREDERICK                   18752   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14774   HILL, FREDERICK                   24486   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2148 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14775   HILL, FREDERICK                   30246   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14776   HILL, JINJER                      7579    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14777   HILL, JINJER      Laredo, LLC     13329   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14778   HILL, JINJER                      19076   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14779   HILL, JINJER                      24810   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14780   HILL, JINJER                      30570   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14781   HILL, JOHNNY                      7637    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2149 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14782   HILL, JOHNNY   Laredo, LLC     13387   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14783   HILL, JOHNNY                   19134   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14784   HILL, JOHNNY                   24868   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14785   HILL, JOHNNY                   30628   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14786   HILL, KATHY                    7772    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14787   HILL, KATHY    Laredo, LLC     13522   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14788   HILL, KATHY                    19269   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2150 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14789   HILL, KATHY                    25003   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14790   HILL, KATHY                    30763   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14791   HILL, MARIE                    8093    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14792   HILL, MARIE    Laredo, LLC     13843   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14793   HILL, MARIE                    19590   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14794   HILL, MARIE                    25324   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14795   HILL, MARIE                    31084   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2151 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14796   HILL, MARY      Laredo, LLC     32754   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14797   HILL, MARY                      33745   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14798   HILL, MARY                      34736   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14799   HILL, MARY                      35727   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14800   HILL, MARY                      36718   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14801   HILL, MICHEAL                   4518    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14802   HILL, MICHEAL   Laredo, LLC     10268   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2152 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14803   HILL, MICHEAL                   16015   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14804   HILL, MICHEAL                   21761   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14805   HILL, MICHEAL                   27509   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14806   HILL, SHELBY                    6190    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14807   HILL, SHELBY    Laredo, LLC     11940   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14808   HILL, SHELBY                    17687   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14809   HILL, SHELBY                    23432   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2153 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14810   HILL, SHELBY                    29181   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14811   HILL, TANISHA                   8943    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14812   HILL, TANISHA   Laredo, LLC     14693   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14813   HILL, TANISHA                   20440   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14814   HILL, TANISHA                   26172   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14815   HILL, TANISHA                   31934   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14816   HILL, TONYA                     5348    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2154 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14817   HILL, TONYA    Laredo, LLC     11098   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14818   HILL, TONYA                    16845   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14819   HILL, TONYA                    22590   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14820   HILL, TONYA                    28339   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14821   HILL, ZHEYRA                   9196    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14822   HILL, ZHEYRA   Laredo, LLC     14946   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14823   HILL, ZHEYRA                   20693   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2155 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14824   HILL, ZHEYRA                   26425   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14825   HILL, ZHEYRA                   32187   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HILLIARD,      Barney Davis,
14826                                  4048    8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HILLIARD,
14827                  Laredo, LLC     9798    8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HILLIARD,      Nueces Bay,
14828                                  15545   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HILLIARD,      Talen Texas
14829                                  21291   8/1/2022     Secured: $0.00
        CHRISTOPHER    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HILLIARD,      Talen Texas,
14830                                  27039   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2156 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HILLSMAN,     Barney Davis,
14831                                 6235    8/1/2022     Secured: $0.00
        MAURICE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HILLSMAN,
14832                 Laredo, LLC     11985   8/1/2022     Secured: $0.00
        MAURICE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HILLSMAN,     Nueces Bay,
14833                                 17732   8/1/2022     Secured: $0.00
        MAURICE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HILLSMAN,     Talen Texas
14834                                 26577   8/1/2022     Secured: $0.00
        MAURICE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HILLSMAN,     Talen Texas,
14835                                 29226   8/1/2022     Secured: $0.00
        MAURICE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        HILLTOP
                                                           Other Administrative: $0.00
        SPECIALTY
                                                           Priority: $0.00
        (HUDSON       Barney Davis,
14836                                 1560    8/1/2022     Secured: $0.00
        SPECIALTY     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        INSURANCE
        COMPANY)
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        HILLTOP
                                                           Other Administrative: $0.00
        SPECIALTY
                                                           Priority: $0.00
        (HUDSON
14837                 Laredo, LLC     1612    8/1/2022     Secured: $0.00
        SPECIALTY
                                                           General Unsecured: $0.00 + Unliquidated
        INSURANCE
        COMPANY)
                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2157 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        HILLTOP
                                                             Other Administrative: $0.00
        SPECIALTY
                                                             Priority: $0.00
        (HUDSON         Nueces Bay,
14838                                   1806    8/1/2022     Secured: $0.00
        SPECIALTY       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        INSURANCE
        COMPANY)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HILLTOP
                                                             Priority: $0.00
        SPECIALTY
14839                   Laredo, LLC     2009    8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HILLTOP
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
14840                                   2010    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HILLTOP
                                                             Priority: $0.00
        SPECIALTY       Barney Davis,
14841                                   2011    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14842   HILOW, PHILIP                   3697    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14843   HILOW, PHILIP   Laredo, LLC     9447    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14844   HILOW, PHILIP                   15194   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2158 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14845   HILOW, PHILIP                   20941   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14846   HILOW, PHILIP                   26688   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14847   HINES, BARRY                    6488    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14848   HINES, BARRY    Laredo, LLC     12238   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14849   HINES, BARRY                    17985   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14850   HINES, BARRY                    23720   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14851   HINES, BARRY                    29479   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2159 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINES,          Barney Davis,
14852                                   9232    8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINES,
14853                   Laredo, LLC     14982   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINES,          Nueces Bay,
14854                                   20729   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINES,          Talen Texas
14855                                   26461   8/1/2022     Secured: $0.00
        CHRISTOPHER     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINES,          Talen Texas,
14856                                   32223   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINKLE, AMBER   Barney Davis,
14857                                   3918    8/1/2022     Secured: $0.00
        PARHAM          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HINKLE, AMBER
14858                   Laredo, LLC     9668    8/1/2022     Secured: $0.00
        PARHAM
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2160 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINKLE, AMBER    Nueces Bay,
14859                                    15415   8/1/2022     Secured: $0.00
        PARHAM           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINKLE, AMBER    Talen Texas
14860                                    21162   8/1/2022     Secured: $0.00
        PARHAM           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINKLE, AMBER    Talen Texas,
14861                                    26909   8/1/2022     Secured: $0.00
        PARHAM           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14862   HINKLE, PRESLI                   5213    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14863   HINKLE, PRESLI   Laredo, LLC     10963   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14864   HINKLE, PRESLI                   16710   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14865   HINKLE, PRESLI                   22455   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2161 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14866   HINKLE, PRESLI                   28204   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINOJOSA,        Barney Davis,
14867                                    7852    8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINOJOSA,
14868                    Laredo, LLC     13602   8/1/2022     Secured: $0.00
        KIMBERLY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINOJOSA,        Nueces Bay,
14869                                    19349   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINOJOSA,        Talen Texas
14870                                    25083   8/1/2022     Secured: $0.00
        KIMBERLY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINOJOSA,        Talen Texas,
14871                                    30843   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HINTZ,           Barney Davis,
14872                                    8065    8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2162 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HINTZ,
14873                  Laredo, LLC     13815   8/1/2022     Secured: $0.00
        MARGARET
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HINTZ,         Nueces Bay,
14874                                  19562   8/1/2022     Secured: $0.00
        MARGARET       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HINTZ,         Talen Texas
14875                                  25296   8/1/2022     Secured: $0.00
        MARGARET       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HINTZ,         Talen Texas,
14876                                  31056   8/1/2022     Secured: $0.00
        MARGARET       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14877   HIRN, MINNIE                   8272    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14878   HIRN, MINNIE   Laredo, LLC     14022   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14879   HIRN, MINNIE                   19769   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2163 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14880   HIRN, MINNIE                     25503   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14881   HIRN, MINNIE                     31263   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        HISCOX                                                Priority: $0.00
14882   INSURANCE        Laredo, LLC     2590    7/31/2022    Secured: $0.00
        COMPANY INC.                                          General Unsecured: $1,198,443.00 + Unliquidated

                                                              Total: $1,198,443.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        HISCOX                                                Priority: $0.00
                         Nueces Bay,
14883   INSURANCE                        2613    7/31/2022    Secured: $0.00
                         LLC
        COMPANY INC.                                          General Unsecured: $1,198,443.00 + Unliquidated

                                                              Total: $1,198,443.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        HISCOX                                                Priority: $0.00
                         Barney Davis,
14884   INSURANCE                        2707    7/31/2022    Secured: $0.00
                         LLC
        COMPANY INC.                                          General Unsecured: $1,198,443.00 + Unliquidated

                                                              Total: $1,198,443.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14885   HITTLE, SHARON                   8795    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14886   HITTLE, SHARON   Laredo, LLC     14545   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2164 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14887   HITTLE, SHARON                   20292   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14888   HITTLE, SHARON                   26024   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14889   HITTLE, SHARON                   31786   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14890   HLAVINKA, SYL    Laredo, LLC     32755   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14891   HLAVINKA, SYL                    33746   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14892   HLAVINKA, SYL                    34737   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14893   HLAVINKA, SYL                    35728   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2165 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14894   HLAVINKA, SYL                     36719   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14895   HOARD, DANIEL                     4082    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14896   HOARD, DANIEL     Laredo, LLC     9832    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14897   HOARD, DANIEL                     15579   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14898   HOARD, DANIEL                     21325   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14899   HOARD, DANIEL                     27073   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14900   HOBBS, BEVERLEY                   4856    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2166 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14901   HOBBS, BEVERLEY Laredo, LLC       10606   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14902   HOBBS, BEVERLEY                   16353   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14903   HOBBS, BEVERLEY                   22099   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14904   HOBBS, BEVERLEY                   27847   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14905   HOBBS, JACK                       5455    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14906   HOBBS, JACK       Laredo, LLC     11205   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14907   HOBBS, JACK                       16952   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2167 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14908   HOBBS, JACK                    22697   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14909   HOBBS, JACK                    28446   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOBBS,         Barney Davis,
14910                                  7889    8/1/2022     Secured: $0.00
        KYUNQUANE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOBBS,
14911                  Laredo, LLC     13639   8/1/2022     Secured: $0.00
        KYUNQUANE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOBBS,         Nueces Bay,
14912                                  19386   8/1/2022     Secured: $0.00
        KYUNQUANE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOBBS,         Talen Texas
14913                                  25120   8/1/2022     Secured: $0.00
        KYUNQUANE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOBBS,         Talen Texas,
14914                                  30880   8/1/2022     Secured: $0.00
        KYUNQUANE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2168 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        HOCHHEIM                                           Other Administrative: $0.00
        PRAIRIE                                            Priority: $0.00
                       Barney Davis,
14915   CASUALTY                       1350   7/28/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $1,321,076.17 + Unliquidated
        COMPANY
                                                           Total: $1,321,076.17 + Unliquidated
                                                           503(b)(9): $0.00
        HOCHHEIM                                           Other Administrative: $0.00
        PRAIRIE                                            Priority: $0.00
14916   CASUALTY       Laredo, LLC     1391   7/28/2022    Secured: $0.00
        INSURANCE                                          General Unsecured: $1,321,076.17 + Unliquidated
        COMPANY
                                                           Total: $1,321,076.17 + Unliquidated
                                                           503(b)(9): $0.00
        HOCHHEIM                                           Other Administrative: $0.00
        PRAIRIE                                            Priority: $0.00
                       Nueces Bay,
14917   CASUALTY                       1559   7/28/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $1,321,076.17 + Unliquidated
        COMPANY
                                                           Total: $1,321,076.17 + Unliquidated
                                                           503(b)(9): $0.00
        HOCHHEIM                                           Other Administrative: $0.00
        PRAIRIE FARM                                       Priority: $0.00
                       Barney Davis,
14918   MUTUAL                         1133   7/28/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $10,720,766.43 + Unliquidated
        ASSOCIATION
                                                           Total: $10,720,766.43 + Unliquidated

                                                           503(b)(9): $0.00
        HOCHHEIM                                           Other Administrative: $0.00
        PRAIRIE FARM                                       Priority: $0.00
14919   MUTUAL         Laredo, LLC     1450   7/28/2022    Secured: $0.00
        INSURANCE                                          General Unsecured: $10,720,766.43 + Unliquidated
        ASSOCIATION
                                                           Total: $10,720,766.43 + Unliquidated

                                                           503(b)(9): $0.00
        HOCHHEIM                                           Other Administrative: $0.00
        PRAIRIE FARM                                       Priority: $0.00
                       Nueces Bay,
14920   MUTUAL                         1554   7/28/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $10,720,766.43 + Unliquidated
        ASSOCIATION
                                                           Total: $10,720,766.43 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2169 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14921   HODGE, ANITA   Laredo, LLC     32756   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14922   HODGE, ANITA                   33747   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
14923   HODGE, ANITA                   34738   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
14924   HODGE, ANITA                   35729   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
14925   HODGE, ANITA                   36720   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGE‐GORGON,
14926                 Laredo, LLC      32757   8/1/2022     Secured: $0.00
        JACQUELYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGE‐GORGON, Barney Davis,
14927                                  33748   8/1/2022     Secured: $0.00
        JACQUELYN     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2170 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGE‐GORGON, Nueces Bay,
14928                                  34739   8/1/2022     Secured: $0.00
        JACQUELYN     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGE‐GORGON, Talen Texas
14929                                  35730   8/1/2022     Secured: $0.00
        JACQUELYN     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGE‐GORGON, Talen Texas,
14930                                  36721   8/1/2022     Secured: $0.00
        JACQUELYN     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGES,        Barney Davis,
14931                                  4481    8/1/2022     Secured: $0.00
        MARTHA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGES,
14932                  Laredo, LLC     10231   8/1/2022     Secured: $0.00
        MARTHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGES,        Nueces Bay,
14933                                  15978   8/1/2022     Secured: $0.00
        MARTHA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HODGES,        Talen Texas
14934                                  21724   8/1/2022     Secured: $0.00
        MARTHA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2171 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HODGES,         Talen Texas,
14935                                   27472   8/1/2022     Secured: $0.00
        MARTHA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HODGES‐SMITH,   Barney Davis,
14936                                   6590    8/1/2022     Secured: $0.00
        BRIDGETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HODGES‐SMITH,
14937                   Laredo, LLC     12340   8/1/2022     Secured: $0.00
        BRIDGETTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HODGES‐SMITH,   Nueces Bay,
14938                                   18087   8/1/2022     Secured: $0.00
        BRIDGETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HODGES‐SMITH,   Talen Texas
14939                                   23821   8/1/2022     Secured: $0.00
        BRIDGETTE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HODGES‐SMITH,   Talen Texas,
14940                                   29581   8/1/2022     Secured: $0.00
        BRIDGETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14941   HOESEN, KAREN                   6142    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2172 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14942   HOESEN, KAREN   Laredo, LLC     11892   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14943   HOESEN, KAREN                   17639   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14944   HOESEN, KAREN                   23384   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14945   HOESEN, KAREN                   29133   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOFFMAN,        Barney Davis,
14946                                   5676    8/1/2022     Secured: $0.00
        DANIEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOFFMAN,
14947                   Laredo, LLC     11426   8/1/2022     Secured: $0.00
        DANIEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOFFMAN,        Nueces Bay,
14948                                   17173   8/1/2022     Secured: $0.00
        DANIEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2173 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,      Talen Texas
14949                                 22918   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,      Talen Texas,
14950                                 28667   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,
14951                 Laredo, LLC     32758   8/1/2022     Secured: $0.00
        MATHEW D.
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,      Barney Davis,
14952                                 33749   8/1/2022     Secured: $0.00
        MATHEW D.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,      Nueces Bay,
14953                                 34740   8/1/2022     Secured: $0.00
        MATHEW D.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,      Talen Texas
14954                                 35731   8/1/2022     Secured: $0.00
        MATHEW D.     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOFFMAN,      Talen Texas,
14955                                 36722   8/1/2022     Secured: $0.00
        MATHEW D.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2174 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOGAN,         Barney Davis,
14956                                  4449    8/1/2022     Secured: $0.00
        MALINDA FAYE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOGAN,
14957                  Laredo, LLC     10199   8/1/2022     Secured: $0.00
        MALINDA FAYE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOGAN,         Nueces Bay,
14958                                  15946   8/1/2022     Secured: $0.00
        MALINDA FAYE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOGAN,         Talen Texas
14959                                  21692   8/1/2022     Secured: $0.00
        MALINDA FAYE   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOGAN,         Talen Texas,
14960                                  27440   8/1/2022     Secured: $0.00
        MALINDA FAYE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
14961   HOGAN, PAUL                    8410    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
14962   HOGAN, PAUL    Laredo, LLC     14160   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2175 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
14963   HOGAN, PAUL                   19907   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
14964   HOGAN, PAUL                   25640   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
14965   HOGAN, PAUL                   31401   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOGUE,        Barney Davis,
14966                                 8371    8/1/2022     Secured: $0.00
        OTHELETTA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOGUE,
14967                 Laredo, LLC     14121   8/1/2022     Secured: $0.00
        OTHELETTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOGUE,        Nueces Bay,
14968                                 19868   8/1/2022     Secured: $0.00
        OTHELETTA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOGUE,        Talen Texas
14969                                 25601   8/1/2022     Secured: $0.00
        OTHELETTA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2176 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOGUE,           Talen Texas,
14970                                    31362   8/1/2022     Secured: $0.00
        OTHELETTA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLBROOK,        Barney Davis,
14971                                    4140    8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLBROOK,
14972                    Laredo, LLC     9890    8/1/2022     Secured: $0.00
        DONNA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLBROOK,        Nueces Bay,
14973                                    15637   8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLBROOK,        Talen Texas
14974                                    21383   8/1/2022     Secured: $0.00
        DONNA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLBROOK,        Talen Texas,
14975                                    27131   8/1/2022     Secured: $0.00
        DONNA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
14976   HOLCOMB, PEGGY                   8433    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2177 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
14977   HOLCOMB, PEGGY Laredo, LLC       14183   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
14978   HOLCOMB, PEGGY                   19930   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
14979   HOLCOMB, PEGGY                   25663   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
14980   HOLCOMB, PEGGY                   31424   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLCOMB,         Barney Davis,
14981                                    8608    8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLCOMB,
14982                    Laredo, LLC     14358   8/1/2022     Secured: $0.00
        ROBERT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLCOMB,         Nueces Bay,
14983                                    20105   8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2178 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HOLCOMB,          Talen Texas
14984                                     25837   8/1/2022     Secured: $0.00
        ROBERT            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HOLCOMB,          Talen Texas,
14985                                     31599   8/1/2022     Secured: $0.00
        ROBERT            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
14986   HOLDEN, ISHARIA                   4231    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
14987   HOLDEN, ISHARIA Laredo, LLC       9981    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
14988   HOLDEN, ISHARIA                   15728   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
14989   HOLDEN, ISHARIA                   21474   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
14990   HOLDEN, ISHARIA                   27222   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2179 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14991   HOLDEN, SHAWN                   5567    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14992   HOLDEN, SHAWN Laredo, LLC       11317   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14993   HOLDEN, SHAWN                   17064   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14994   HOLDEN, SHAWN                   22809   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
14995   HOLDEN, SHAWN                   28558   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
14996   HOLDEN, TRACY                   9058    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
14997   HOLDEN, TRACY   Laredo, LLC     14808   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2180 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
14998   HOLDEN, TRACY                   20555   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
14999   HOLDEN, TRACY                   26287   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15000   HOLDEN, TRACY                   32049   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15001   HOLDER, JAMES                   5795    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15002   HOLDER, JAMES   Laredo, LLC     11545   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15003   HOLDER, JAMES                   17292   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15004   HOLDER, JAMES                   23037   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2181 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15005   HOLDER, JAMES                   28786   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOLIFIELD,      Barney Davis,
15006                                   6308    8/1/2022     Secured: $0.00
        ALBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOLIFIELD,
15007                   Laredo, LLC     12058   8/1/2022     Secured: $0.00
        ALBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOLIFIELD,      Nueces Bay,
15008                                   17805   8/1/2022     Secured: $0.00
        ALBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOLIFIELD,      Talen Texas
15009                                   23540   8/1/2022     Secured: $0.00
        ALBERT          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOLIFIELD,      Talen Texas,
15010                                   29299   8/1/2022     Secured: $0.00
        ALBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOLLAND,
15011                   Laredo, LLC     32759   8/1/2022     Secured: $0.00
        ANDREW
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2182 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,
15012                 Laredo, LLC     32760   8/1/2022     Secured: $0.00
        ANDREW
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Barney Davis,
15013                                 33750   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Barney Davis,
15014                                 33751   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Nueces Bay,
15015                                 34741   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Nueces Bay,
15016                                 34742   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Talen Texas
15017                                 35732   8/1/2022     Secured: $0.00
        ANDREW        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Talen Texas
15018                                 35733   8/1/2022     Secured: $0.00
        ANDREW        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2183 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLLAND,         Talen Texas,
15019                                    36723   8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLLAND,         Talen Texas,
15020                                    36724   8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15021   HOLLAND, CAROL                   4009    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15022   HOLLAND, CAROL Laredo, LLC       9759    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15023   HOLLAND, CAROL                   15506   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15024   HOLLAND, CAROL                   21252   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15025   HOLLAND, CAROL                   27000   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2184 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15026   HOLLAND, DEWEY                   7024    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15027   HOLLAND, DEWEY Laredo, LLC       12774   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15028   HOLLAND, DEWEY                   18521   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15029   HOLLAND, DEWEY                   24255   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15030   HOLLAND, DEWEY                   30015   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLLAND,         Barney Davis,
15031                                    8355    8/1/2022     Secured: $0.00
        NORMAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLLAND,
15032                    Laredo, LLC     14105   8/1/2022     Secured: $0.00
        NORMAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2185 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Nueces Bay,
15033                                 19852   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Talen Texas
15034                                 25586   8/1/2022     Secured: $0.00
        NORMAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Talen Texas,
15035                                 31346   8/1/2022     Secured: $0.00
        NORMAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Barney Davis,
15036                                 6196    8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,
15037                 Laredo, LLC     11946   8/1/2022     Secured: $0.00
        TAMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Nueces Bay,
15038                                 17693   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLAND,      Talen Texas
15039                                 23438   8/1/2022     Secured: $0.00
        TAMMY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2186 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLLAND,       Talen Texas,
15040                                  29187   8/1/2022     Secured: $0.00
        TAMMY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15041   HOLLAS, MARK                   8119    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15042   HOLLAS, MARK   Laredo, LLC     13869   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15043   HOLLAS, MARK                   19616   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15044   HOLLAS, MARK                   25350   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15045   HOLLAS, MARK                   31110   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLLCROFT,     Barney Davis,
15046                                  4880    8/1/2022     Secured: $0.00
        CARMELA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2187 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLLCROFT,
15047                  Laredo, LLC     10630   8/1/2022     Secured: $0.00
        CARMELA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLLCROFT,     Nueces Bay,
15048                                  16377   8/1/2022     Secured: $0.00
        CARMELA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLLCROFT,     Talen Texas
15049                                  26573   8/1/2022     Secured: $0.00
        CARMELA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLLCROFT,     Talen Texas,
15050                                  27871   8/1/2022     Secured: $0.00
        CARMELA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15051   HOLLEY, CALI                   6617    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15052   HOLLEY, CALI   Laredo, LLC     12367   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15053   HOLLEY, CALI                   18114   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2188 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas
15054   HOLLEY, CALI                  23848   8/1/2022     Secured: $0.00
                       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas,
15055   HOLLEY, CALI                  29608   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLINGSWORTH Barney Davis,
15056                                 6632    8/1/2022     Secured: $0.00
        , CARLA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLINGSWORTH
15057                 Laredo, LLC     12382   8/1/2022     Secured: $0.00
        , CARLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLINGSWORTH Nueces Bay,
15058                                 18129   8/1/2022     Secured: $0.00
        , CARLA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLINGSWORTH Talen Texas
15059                                 23863   8/1/2022     Secured: $0.00
        , CARLA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOLLINGSWORTH Talen Texas,
15060                                 29623   8/1/2022     Secured: $0.00
        , CARLA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2189 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15061   HOLLIS, GRANT                    7325    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15062   HOLLIS, GRANT    Laredo, LLC     13075   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15063   HOLLIS, GRANT                    18822   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15064   HOLLIS, GRANT                    24556   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15065   HOLLIS, GRANT                    30316   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15066   HOLLIS, MEAGAN Laredo, LLC       32761   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15067   HOLLIS, MEAGAN                   33752   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2190 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15068   HOLLIS, MEAGAN                   34743   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15069   HOLLIS, MEAGAN                   35734   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15070   HOLLIS, MEAGAN                   36725   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15071   HOLLY, MERRITT                   6005    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15072   HOLLY, MERRITT   Laredo, LLC     11755   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15073   HOLLY, MERRITT                   17502   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15074   HOLLY, MERRITT                   23247   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2191 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15075   HOLLY, MERRITT                   28996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMAN,          Barney Davis,
15076                                    8380    8/1/2022     Secured: $0.00
        PAMELA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMAN,
15077                    Laredo, LLC     14130   8/1/2022     Secured: $0.00
        PAMELA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMAN,          Nueces Bay,
15078                                    19877   8/1/2022     Secured: $0.00
        PAMELA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMAN,          Talen Texas
15079                                    25610   8/1/2022     Secured: $0.00
        PAMELA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMAN,          Talen Texas,
15080                                    31371   8/1/2022     Secured: $0.00
        PAMELA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15081   HOLMBERG, BRAD                   6546    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2192 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15082   HOLMBERG, BRAD Laredo, LLC       12296   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15083   HOLMBERG, BRAD                   18043   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15084   HOLMBERG, BRAD                   23778   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15085   HOLMBERG, BRAD                   29537   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMES,
15086                    Laredo, LLC     32762   8/1/2022     Secured: $0.00
        DEBORAH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMES,          Barney Davis,
15087                                    33753   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLMES,          Nueces Bay,
15088                                    34744   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2193 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HOLMES,           Talen Texas
15089                                     35735   8/1/2022     Secured: $0.00
        DEBORAH           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HOLMES,           Talen Texas,
15090                                     36726   8/1/2022     Secured: $0.00
        DEBORAH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15091   HOLMES, MELISSA                   8205    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15092   HOLMES, MELISSA Laredo, LLC       13955   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15093   HOLMES, MELISSA                   19702   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15094   HOLMES, MELISSA                   25436   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15095   HOLMES, MELISSA                   31196   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2194 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15096   HOLMES, SHIKERA Laredo, LLC       32763   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15097   HOLMES, SHIKERA                   33754   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15098   HOLMES, SHIKERA                   34745   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15099   HOLMES, SHIKERA                   35736   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15100   HOLMES, SHIKERA                   36727   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15101   HOLT, PATRICIA                    8393    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15102   HOLT, PATRICIA    Laredo, LLC     14143   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2195 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15103   HOLT, PATRICIA                   19890   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15104   HOLT, PATRICIA                   25623   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15105   HOLT, PATRICIA                   31384   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLWEGER,        Barney Davis,
15106                                    8059    8/1/2022     Secured: $0.00
        MARCIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLWEGER,
15107                    Laredo, LLC     13809   8/1/2022     Secured: $0.00
        MARCIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLWEGER,        Nueces Bay,
15108                                    19556   8/1/2022     Secured: $0.00
        MARCIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOLWEGER,        Talen Texas
15109                                    25290   8/1/2022     Secured: $0.00
        MARCIA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2196 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOLWEGER,      Talen Texas,
15110                                  31050   8/1/2022     Secured: $0.00
        MARCIA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15111   HOLZER, DAWN                   6099    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15112   HOLZER, DAWN   Laredo, LLC     11849   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15113   HOLZER, DAWN                   17596   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15114   HOLZER, DAWN                   23341   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15115   HOLZER, DAWN                   29090   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOME STATE
                                                            Priority: $0.00
        COUNTY MUTUAL
15116                 Laredo, LLC      2240    7/31/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $92.00 + Unliquidated
        COMPANY
                                                            Total: $92.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2197 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOME STATE
                                                           Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
15117                                  2472   7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $92.00 + Unliquidated
        COMPANY
                                                           Total: $92.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOME STATE
                                                           Priority: $0.00
        COUNTY MUTUAL Barney Davis,
15118                                  2646   7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $92.00 + Unliquidated
        COMPANY
                                                           Total: $92.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOME STATE
                                                           Priority: $0.00
        COUNTY MUTUAL
15119                 Laredo, LLC      2984   8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOME STATE
                                                           Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
15120                                  3062   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOME STATE
                                                           Priority: $0.00
        COUNTY MUTUAL Barney Davis,
15121                                  3235   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMELAND
                                                           Priority: $0.00
        INSURANCE      Barney Davis,
15122                                  1938   7/29/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $8,362,500.00 + Unliquidated
        NEW YORK
                                                           Total: $8,362,500.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMELAND
                                                           Priority: $0.00
        INSURANCE
15123                  Laredo, LLC     1946   7/29/2022    Secured: $0.00
        COMPANY OF
                                                           General Unsecured: $8,362,500.00 + Unliquidated
        NEW YORK
                                                           Total: $8,362,500.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2198 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMELAND
                                                           Priority: $0.00
        INSURANCE     Nueces Bay,
15124                                 1949    7/29/2022    Secured: $0.00
        COMPANY OF    LLC
                                                           General Unsecured: $8,362,500.00 + Unliquidated
        NEW YORK
                                                           Total: $8,362,500.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMESITE                                           Priority: $0.00
                      Nueces Bay,
15125   INDEMNITY                     2160    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $1,450,593.36 + Unliquidated

                                                           Total: $1,450,593.36 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMESITE                                           Priority: $0.00
15126   INDEMNITY     Laredo, LLC     37361   6/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $1,450,593.36 + Unliquidated

                                                           Total: $1,450,593.36 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMESITE                                           Priority: $0.00
                      Barney Davis,
15127   INDEMNITY                     37365   6/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $1,450,593.36 + Unliquidated

                                                           Total: $1,450,593.36 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMESITE                                           Priority: $0.00
                      Nueces Bay,
15128   INSURANCE                     2163    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $20,102,181.50 + Unliquidated

                                                           Total: $20,102,181.50 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMESITE                                           Priority: $0.00
                      Barney Davis,
15129   INSURANCE                     37331   6/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $20,102,181.50 + Unliquidated

                                                           Total: $20,102,181.50 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2199 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOMESITE                                           Priority: $0.00
15130   INSURANCE     Laredo, LLC     37363   6/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $20,102,181.50 + Unliquidated

                                                           Total: $20,102,181.50 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOMPESCH,     Barney Davis,
15131                                 9241    8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOMPESCH,
15132                 Laredo, LLC     14991   8/1/2022     Secured: $0.00
        CYNTHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOMPESCH,     Nueces Bay,
15133                                 20738   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOMPESCH,     Talen Texas
15134                                 26470   8/1/2022     Secured: $0.00
        CYNTHIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOMPESCH,     Talen Texas,
15135                                 32232   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2200 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15136   HONG, ALAN                        6304    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15137   HONG, ALAN        Laredo, LLC     12054   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15138   HONG, ALAN                        17801   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15139   HONG, ALAN                        23536   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15140   HONG, ALAN                        29295   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15141   HONORABLE, LISA                   6150    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15142   HONORABLE, LISA Laredo, LLC       11900   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2201 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15143   HONORABLE, LISA                   17647   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15144   HONORABLE, LISA                   23392   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15145   HONORABLE, LISA                   29141   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15146   HONZA, NORMAN                     9306    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15147   HONZA, NORMAN Laredo, LLC         15056   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15148   HONZA, NORMAN                     20803   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15149   HONZA, NORMAN                     26535   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2202 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15150   HONZA, NORMAN                   32297   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15151   HOOD, JASMIN                    5015    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15152   HOOD, JASMIN    Laredo, LLC     10765   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15153   HOOD, JASMIN                    16512   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15154   HOOD, JASMIN                    22257   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15155   HOOD, JASMIN                    28006   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15156   HOOD, MELISSA                   5656    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2203 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15157   HOOD, MELISSA   Laredo, LLC     11406   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15158   HOOD, MELISSA                   17153   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15159   HOOD, MELISSA                   22898   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15160   HOOD, MELISSA                   28647   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15161   HOOKER, KATHY   Laredo, LLC     32764   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15162   HOOKER, KATHY                   33755   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15163   HOOKER, KATHY                   34746   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2204 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15164   HOOKER, KATHY                    35737   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15165   HOOKER, KATHY                    36728   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15166   HOOKS, STEPHEN                   8888    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15167   HOOKS, STEPHEN Laredo, LLC       14638   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15168   HOOKS, STEPHEN                   20385   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15169   HOOKS, STEPHEN                   26117   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15170   HOOKS, STEPHEN                   31879   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2205 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15171   HOPE, BONNIE                   6540    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15172   HOPE, BONNIE   Laredo, LLC     12290   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15173   HOPE, BONNIE                   18037   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15174   HOPE, BONNIE                   23772   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15175   HOPE, BONNIE                   29531   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15176   HOPE, HOLLY                    3674    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15177   HOPE, HOLLY    Laredo, LLC     9424    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2206 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15178   HOPE, HOLLY                      15171   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15179   HOPE, HOLLY                      20918   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15180   HOPE, HOLLY                      26665   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15181   HOPES, MAUREEN                   4796    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15182   HOPES, MAUREEN Laredo, LLC       10546   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15183   HOPES, MAUREEN                   16293   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15184   HOPES, MAUREEN                   22039   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2207 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15185   HOPES, MAUREEN                   27787   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15186   HOPKINS, CAROL                   6655    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15187   HOPKINS, CAROL Laredo, LLC       12405   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15188   HOPKINS, CAROL                   18152   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15189   HOPKINS, CAROL                   23886   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15190   HOPKINS, CAROL                   29646   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15191   HOPKINS, CLAIR                   6785    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2208 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15192   HOPKINS, CLAIR   Laredo, LLC     12535   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15193   HOPKINS, CLAIR                   18282   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15194   HOPKINS, CLAIR                   24016   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15195   HOPKINS, CLAIR                   29776   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15196   HOPPAS, LYLE                     8031    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15197   HOPPAS, LYLE     Laredo, LLC     13781   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15198   HOPPAS, LYLE                     19528   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2209 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15199   HOPPAS, LYLE                   25262   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15200   HOPPAS, LYLE                   31022   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HORACE MANN                                         Priority: $0.00
                       Talen Energy
15201   INSURANCE                      1347    7/29/2022    Secured: $0.00
                       Supply, LLC
        COMPANY                                             General Unsecured: $2,952,705.00 + Unliquidated

                                                            Total: $2,952,705.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HORACE MANN                                         Priority: $0.00
                       Barney Davis,
15202   INSURANCE                      1352    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $2,952,705.00 + Unliquidated

                                                            Total: $2,952,705.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HORACE MANN    Talen                                Priority: $0.00
15203   INSURANCE      Treasure        1455    7/29/2022    Secured: $0.00
        COMPANY        State, LLC                           General Unsecured: $2,952,705.00 + Unliquidated

                                                            Total: $2,952,705.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HORACE MANN                                         Priority: $0.00
                       Nueces Bay,
15204   INSURANCE                      1465    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $2,952,705.00 + Unliquidated

                                                            Total: $2,952,705.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HORACE MANN                                         Priority: $0.00
15205   INSURANCE      Laredo, LLC     1754    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $2,952,705.00 + Unliquidated

                                                            Total: $2,952,705.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2210 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORACE,          Barney Davis,
15206                                    3849    8/1/2022     Secured: $0.00
        RASHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORACE,
15207                    Laredo, LLC     9599    8/1/2022     Secured: $0.00
        RASHARD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORACE,          Nueces Bay,
15208                                    15346   8/1/2022     Secured: $0.00
        RASHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORACE,          Talen Texas
15209                                    21093   8/1/2022     Secured: $0.00
        RASHARD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORACE,          Talen Texas,
15210                                    26840   8/1/2022     Secured: $0.00
        RASHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15211   HORALAN, BRETT                   9224    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15212   HORALAN, BRETT Laredo, LLC       14974   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2211 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15213   HORALAN, BRETT                   20721   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15214   HORALAN, BRETT                   26453   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15215   HORALAN, BRETT                   32215   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORMIGA,         Barney Davis,
15216                                    5708    8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORMIGA,
15217                    Laredo, LLC     11458   8/1/2022     Secured: $0.00
        SANDRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORMIGA,         Nueces Bay,
15218                                    17205   8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HORMIGA,         Talen Texas
15219                                    22950   8/1/2022     Secured: $0.00
        SANDRA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2212 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORMIGA,       Talen Texas,
15220                                  28699   8/1/2022     Secured: $0.00
        SANDRA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15221   HORN, REBECA                   8513    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15222   HORN, REBECA   Laredo, LLC     14263   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15223   HORN, REBECA                   20010   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15224   HORN, REBECA                   25742   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15225   HORN, REBECA                   31504   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORNSBY,       Barney Davis,
15226                                  5594    8/1/2022     Secured: $0.00
        DEMARCUS       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2213 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORNSBY,
15227                  Laredo, LLC     11344   8/1/2022     Secured: $0.00
        DEMARCUS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORNSBY,       Nueces Bay,
15228                                  17091   8/1/2022     Secured: $0.00
        DEMARCUS       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORNSBY,       Talen Texas
15229                                  22836   8/1/2022     Secured: $0.00
        DEMARCUS       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORNSBY,       Talen Texas,
15230                                  28585   8/1/2022     Secured: $0.00
        DEMARCUS       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15231   HORTON, LISA                   5620    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15232   HORTON, LISA   Laredo, LLC     11370   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15233   HORTON, LISA                   17117   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2214 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15234   HORTON, LISA                   22862   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15235   HORTON, LISA                   28611   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORTON,        Barney Davis,
15236                                  5832    8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORTON,
15237                  Laredo, LLC     11582   8/1/2022     Secured: $0.00
        MARILYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORTON,        Nueces Bay,
15238                                  17329   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORTON,        Talen Texas
15239                                  23074   8/1/2022     Secured: $0.00
        MARILYN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HORTON,        Talen Texas,
15240                                  28823   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2215 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15241   HORVATH, MARY                    8158    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15242   HORVATH, MARY Laredo, LLC        13908   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15243   HORVATH, MARY                    19655   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15244   HORVATH, MARY                    25389   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15245   HORVATH, MARY                    31149   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15246   HOSTLER, MANDY                   8053    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15247   HOSTLER, MANDY Laredo, LLC       13803   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2216 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15248   HOSTLER, MANDY                   19550   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15249   HOSTLER, MANDY                   25284   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15250   HOSTLER, MANDY                   31044   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOUGHTON,        Barney Davis,
15251                                    4391    8/1/2022     Secured: $0.00
        KRISTIE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOUGHTON,
15252                    Laredo, LLC     10141   8/1/2022     Secured: $0.00
        KRISTIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOUGHTON,        Nueces Bay,
15253                                    15888   8/1/2022     Secured: $0.00
        KRISTIE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOUGHTON,        Talen Texas
15254                                    21634   8/1/2022     Secured: $0.00
        KRISTIE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2217 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOUGHTON,     Talen Texas,
15255                                 27382   8/1/2022     Secured: $0.00
        KRISTIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
15256   HOUSE, JACK                   4234    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
15257   HOUSE, JACK   Laredo, LLC     9984    8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
15258   HOUSE, JACK                   15731   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
15259   HOUSE, JACK                   21477   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
15260   HOUSE, JACK                   27225   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2218 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOUSING
                                                            Priority: $0.00
        ENTERPRISE      Nueces Bay,
15261                                   711    7/27/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $11,746,016.66 + Unliquidated
        COMPANY, INC
                                                            Total: $11,746,016.66 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOUSING
                                                            Priority: $0.00
        ENTERPRISE
15262                   Laredo, LLC     712    7/27/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $11,746,016.66 + Unliquidated
        COMPANY, INC
                                                            Total: $11,746,016.66 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOUSING
                                                            Priority: $0.00
        ENTERPRISE      Talen Energy
15263                                   677    7/27/2022    Secured: $0.00
        INSURANCE       Supply, LLC
                                                            General Unsecured: $11,746,016.66 + Unliquidated
        COMPANY, INC.
                                                            Total: $11,746,016.66 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOUSING
                                                            Priority: $0.00
        ENTERPRISE      Barney Davis,
15264                                   678    7/27/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $11,746,016.66 + Unliquidated
        COMPANY, INC.
                                                            Total: $11,746,016.66 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOUSTON                                             Priority: $0.00
                        Barney Davis,
15265   CASUALTY                        1033   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $300,000.00 + Unliquidated

                                                            Total: $300,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        HOUSTON                                             Priority: $0.00
15266   CASUALTY        Laredo, LLC     1089   7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $300,000.00 + Unliquidated

                                                            Total: $300,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2219 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOUSTON                                            Priority: $0.00
                       Nueces Bay,
15267   CASUALTY                       1239   7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $300,000.00 + Unliquidated

                                                           Total: $300,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOUSTON
                                                           Priority: $0.00
        CASUALTY       Nueces Bay,
15268                                  1016   7/29/2022    Secured: $0.00
        COMPANY (UK    LLC
                                                           General Unsecured: $30,785,368.65 + Unliquidated
        BRANCH)
                                                           Total: $30,785,368.65 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOUSTON
                                                           Priority: $0.00
        CASUALTY       Barney Davis,
15269                                  1533   7/29/2022    Secured: $0.00
        COMPANY (UK    LLC
                                                           General Unsecured: $30,785,368.65 + Unliquidated
        BRANCH)
                                                           Total: $30,785,368.65 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOUSTON                                            Priority: $0.00
15270   CASUALTYCOMPA Laredo, LLC      1343   7/29/2022    Secured: $0.00
        NY (UK BRANCH)                                     General Unsecured: $30,785,368.65 + Unliquidated

                                                           Total: $30,785,368.65 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOUSTON
                                                           Priority: $0.00
        SPECIALTY      Barney Davis,
15271                                  1092   7/28/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $25,000,000.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HOUSTON
                                                           Priority: $0.00
        SPECIALTY
15272                  Laredo, LLC     1095   7/28/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $25,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2220 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HOUSTON
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
15273                                   1116    7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $25,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15274   HOUSTON, JERI                   5025    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15275   HOUSTON, JERI   Laredo, LLC     10775   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15276   HOUSTON, JERI                   16522   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15277   HOUSTON, JERI                   22267   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15278   HOUSTON, JERI                   28016   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2221 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Barney Davis,
15279                                 4887    8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,
15280                 Laredo, LLC     10637   8/1/2022     Secured: $0.00
        CHARLENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Nueces Bay,
15281                                 16384   8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas
15282                                 22129   8/1/2022     Secured: $0.00
        CHARLENE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas,
15283                                 27878   8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Barney Davis,
15284                                 6696    8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,
15285                 Laredo, LLC     12446   8/1/2022     Secured: $0.00
        CHARLES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2222 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Nueces Bay,
15286                                 18193   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas
15287                                 23927   8/1/2022     Secured: $0.00
        CHARLES       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas,
15288                                 29687   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Barney Davis,
15289                                 6847    8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,
15290                 Laredo, LLC     12597   8/1/2022     Secured: $0.00
        CRYSTAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Nueces Bay,
15291                                 18344   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas
15292                                 24078   8/1/2022     Secured: $0.00
        CRYSTAL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2223 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas,
15293                                 29838   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Barney Davis,
15294                                 6916    8/1/2022     Secured: $0.00
        DAVAUN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,
15295                 Laredo, LLC     12666   8/1/2022     Secured: $0.00
        DAVAUN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Nueces Bay,
15296                                 18413   8/1/2022     Secured: $0.00
        DAVAUN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas
15297                                 24147   8/1/2022     Secured: $0.00
        DAVAUN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,       Talen Texas,
15298                                 29907   8/1/2022     Secured: $0.00
        DAVAUN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HOWARD,
15299                 Laredo, LLC     32765   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2224 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWARD,        Barney Davis,
15300                                  33756   8/1/2022     Secured: $0.00
        GEORGE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWARD,        Nueces Bay,
15301                                  34747   8/1/2022     Secured: $0.00
        GEORGE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWARD,        Talen Texas
15302                                  35738   8/1/2022     Secured: $0.00
        GEORGE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWARD,        Talen Texas,
15303                                  36729   8/1/2022     Secured: $0.00
        GEORGE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15304   HOWARD, JOHN                   7610    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15305   HOWARD, JOHN   Laredo, LLC     13360   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15306   HOWARD, JOHN                   19107   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2225 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15307   HOWARD, JOHN                    24841   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15308   HOWARD, JOHN                    30601   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, JULIA   Barney Davis,
15309                                   4345    8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, JULIA
15310                   Laredo, LLC     10095   8/1/2022     Secured: $0.00
        CHRISTINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, JULIA   Nueces Bay,
15311                                   15842   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, JULIA   Talen Texas
15312                                   21588   8/1/2022     Secured: $0.00
        CHRISTINA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, JULIA   Talen Texas,
15313                                   27336   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2226 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15314   HOWARD, KIRK                     7859    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15315   HOWARD, KIRK     Laredo, LLC     13609   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15316   HOWARD, KIRK                     19356   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15317   HOWARD, KIRK                     25090   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15318   HOWARD, KIRK                     30850   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15319   HOWARD, KISCHA                   7860    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15320   HOWARD, KISCHA Laredo, LLC       13610   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2227 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
15321   HOWARD, KISCHA                  19357   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
15322   HOWARD, KISCHA                  25091   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
15323   HOWARD, KISCHA                  30851   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, SHERRY Barney Davis,
15324                                   8829    8/1/2022     Secured: $0.00
        ANNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, SHERRY
15325                  Laredo, LLC      14579   8/1/2022     Secured: $0.00
        ANNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, SHERRY Nueces Bay,
15326                                   20326   8/1/2022     Secured: $0.00
        ANNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, SHERRY Talen Texas
15327                                   26058   8/1/2022     Secured: $0.00
        ANNE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2228 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWARD, SHERRY Talen Texas,
15328                                   31820   8/1/2022     Secured: $0.00
        ANNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15329   HOWE, CINDY                     4904    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15330   HOWE, CINDY     Laredo, LLC     10654   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15331   HOWE, CINDY                     16401   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15332   HOWE, CINDY                     22146   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15333   HOWE, CINDY                     27895   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15334   HOWE, PHOEBE                    8456    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2229 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15335   HOWE, PHOEBE    Laredo, LLC     14206   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15336   HOWE, PHOEBE                    19953   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15337   HOWE, PHOEBE                    25686   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15338   HOWE, PHOEBE                    31447   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15339   HOWELL, KAREN                   7747    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15340   HOWELL, KAREN   Laredo, LLC     13497   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15341   HOWELL, KAREN                   19244   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2230 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15342   HOWELL, KAREN                   24978   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15343   HOWELL, KAREN                   30738   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWELL,         Barney Davis,
15344                                   5474    8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWELL,
15345                   Laredo, LLC     11224   8/1/2022     Secured: $0.00
        MICHELLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWELL,         Nueces Bay,
15346                                   16971   8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWELL,         Talen Texas
15347                                   22716   8/1/2022     Secured: $0.00
        MICHELLE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HOWELL,         Talen Texas,
15348                                   28465   8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2231 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15349   HOWELL, STEVEN                   5319    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15350   HOWELL, STEVEN Laredo, LLC       11069   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15351   HOWELL, STEVEN                   16816   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15352   HOWELL, STEVEN                   22561   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15353   HOWELL, STEVEN                   28310   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWEN,           Barney Davis,
15354                                    4363    8/1/2022     Secured: $0.00
        KATHLEEN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWEN,
15355                    Laredo, LLC     10113   8/1/2022     Secured: $0.00
        KATHLEEN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2232 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWEN,         Nueces Bay,
15356                                  15860   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWEN,         Talen Texas
15357                                  21606   8/1/2022     Secured: $0.00
        KATHLEEN       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HOWEN,         Talen Texas,
15358                                  27354   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15359   HOWER, CAROL                   6656    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15360   HOWER, CAROL   Laredo, LLC     12406   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15361   HOWER, CAROL                   18153   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15362   HOWER, CAROL                   23887   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2233 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15363   HOWER, CAROL                     29647   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWERD,
15364                    Laredo, LLC     32766   8/1/2022     Secured: $0.00
        ANDRALUZ
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWERD,          Barney Davis,
15365                                    33757   8/1/2022     Secured: $0.00
        ANDRALUZ         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWERD,          Nueces Bay,
15366                                    34748   8/1/2022     Secured: $0.00
        ANDRALUZ         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWERD,          Talen Texas
15367                                    35739   8/1/2022     Secured: $0.00
        ANDRALUZ         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HOWERD,          Talen Texas,
15368                                    36730   8/1/2022     Secured: $0.00
        ANDRALUZ         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15369   HOWERY, SCOTTY                   6265    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2234 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15370   HOWERY, SCOTTY Laredo, LLC       12015   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15371   HOWERY, SCOTTY                   17762   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15372   HOWERY, SCOTTY                   23497   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15373   HOWERY, SCOTTY                   29256   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15374   HOWIE, JOSIE                     4333    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15375   HOWIE, JOSIE     Laredo, LLC     10083   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15376   HOWIE, JOSIE                     15830   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2235 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15377   HOWIE, JOSIE                   21576   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15378   HOWIE, JOSIE                   27324   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HRABAL,        Barney Davis,
15379                                  4387    8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HRABAL,
15380                  Laredo, LLC     10137   8/1/2022     Secured: $0.00
        KIMBERLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HRABAL,        Nueces Bay,
15381                                  15884   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HRABAL,        Talen Texas
15382                                  21630   8/1/2022     Secured: $0.00
        KIMBERLY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HRABAL,        Talen Texas,
15383                                  27378   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2236 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15384   HSU, LAI CHUN                   7895    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15385   HSU, LAI CHUN   Laredo, LLC     13645   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15386   HSU, LAI CHUN                   19392   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15387   HSU, LAI CHUN                   25126   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15388   HSU, LAI CHUN                   30886   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUARACHA,
15389                   Laredo, LLC     32767   8/1/2022     Secured: $0.00
        PATRICIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUARACHA,       Barney Davis,
15390                                   33758   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2237 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUARACHA,     Nueces Bay,
15391                                 34749   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUARACHA,     Talen Texas
15392                                 35740   8/1/2022     Secured: $0.00
        PATRICIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUARACHA,     Talen Texas,
15393                                 36731   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUBBARD,      Barney Davis,
15394                                 8821    8/1/2022     Secured: $0.00
        SHEREKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUBBARD,
15395                 Laredo, LLC     14571   8/1/2022     Secured: $0.00
        SHEREKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUBBARD,      Nueces Bay,
15396                                 20318   8/1/2022     Secured: $0.00
        SHEREKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUBBARD,      Talen Texas
15397                                 26050   8/1/2022     Secured: $0.00
        SHEREKA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2238 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUBBARD,       Talen Texas,
15398                                  31812   8/1/2022     Secured: $0.00
        SHEREKA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUBBARD,       Barney Davis,
15399                                  8931    8/1/2022     Secured: $0.00
        TAMARAA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUBBARD,
15400                  Laredo, LLC     14681   8/1/2022     Secured: $0.00
        TAMARAA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUBBARD,       Nueces Bay,
15401                                  20428   8/1/2022     Secured: $0.00
        TAMARAA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUBBARD,       Talen Texas
15402                                  26160   8/1/2022     Secured: $0.00
        TAMARAA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUBBARD,       Talen Texas,
15403                                  31922   8/1/2022     Secured: $0.00
        TAMARAA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15404   HUBER, EMERY                   6219    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2239 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15405   HUBER, EMERY    Laredo, LLC     11969   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15406   HUBER, EMERY                    17716   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15407   HUBER, EMERY                    23461   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15408   HUBER, EMERY                    29210   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15409   HUBER, JOSHUA                   7677    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15410   HUBER, JOSHUA   Laredo, LLC     13427   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15411   HUBER, JOSHUA                   19174   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2240 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15412   HUBER, JOSHUA                   24908   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15413   HUBER, JOSHUA                   30668   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15414   HUBER, ROBIN                    8631    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15415   HUBER, ROBIN    Laredo, LLC     14381   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15416   HUBER, ROBIN                    20128   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15417   HUBER, ROBIN                    25860   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15418   HUBER, ROBIN                    31622   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2241 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUCKABEE,     Barney Davis,
15419                                 8569    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUCKABEE,
15420                 Laredo, LLC     14319   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUCKABEE,     Nueces Bay,
15421                                 20066   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUCKABEE,     Talen Texas
15422                                 25798   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUCKABEE,     Talen Texas,
15423                                 31560   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDDLESTON,   Barney Davis,
15424                                 8753    8/1/2022     Secured: $0.00
        SASHA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDDLESTON,
15425                 Laredo, LLC     14503   8/1/2022     Secured: $0.00
        SASHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2242 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUDDLESTON,     Nueces Bay,
15426                                   20250   8/1/2022     Secured: $0.00
        SASHA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUDDLESTON,     Talen Texas
15427                                   25982   8/1/2022     Secured: $0.00
        SASHA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUDDLESTON,     Talen Texas,
15428                                   31744   8/1/2022     Secured: $0.00
        SASHA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HUDSON EXCESS                                        Priority: $0.00
                        Nueces Bay,
15429   INSURANCE                       1029    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $2,000,000.00 + Unliquidated

                                                             Total: $2,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HUDSON EXCESS                                        Priority: $0.00
15430   INSURANCE       Laredo, LLC     1365    7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $1,000,000.00 + Unliquidated

                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HUDSON EXCESS                                        Priority: $0.00
                        Barney Davis,
15431   INSURANCE                       1503    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $1,000,000.00 + Unliquidated

                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        HUDSON                                               Priority: $0.00
                        Barney Davis,
15432   INSURANCE                       1373    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $2,000,000.00 + Unliquidated

                                                             Total: $2,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2243 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HUDSON                                             Priority: $0.00
15433   INSURANCE     Laredo, LLC     1374    7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $2,000,000.00 + Unliquidated

                                                           Total: $2,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        HUDSON                                             Priority: $0.00
                      Nueces Bay,
15434   INSURANCE                     1496    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $2,000,000.00 + Unliquidated

                                                           Total: $2,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDSON,       Barney Davis,
15435                                 5779    8/1/2022     Secured: $0.00
        DERRICK D     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDSON,
15436                 Laredo, LLC     11529   8/1/2022     Secured: $0.00
        DERRICK D
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDSON,       Nueces Bay,
15437                                 17276   8/1/2022     Secured: $0.00
        DERRICK D     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDSON,       Talen Texas
15438                                 23021   8/1/2022     Secured: $0.00
        DERRICK D     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUDSON,       Talen Texas,
15439                                 28770   8/1/2022     Secured: $0.00
        DERRICK D     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2244 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15440   HUDSON, KEVIN                   7828    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15441   HUDSON, KEVIN   Laredo, LLC     13578   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15442   HUDSON, KEVIN                   19325   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15443   HUDSON, KEVIN                   25059   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15444   HUDSON, KEVIN                   30819   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUDSON,         Barney Davis,
15445                                   8990    8/1/2022     Secured: $0.00
        THERESA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUDSON,
15446                   Laredo, LLC     14740   8/1/2022     Secured: $0.00
        THERESA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2245 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUDSON,        Nueces Bay,
15447                                  20487   8/1/2022     Secured: $0.00
        THERESA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUDSON,        Talen Texas
15448                                  26219   8/1/2022     Secured: $0.00
        THERESA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUDSON,        Talen Texas,
15449                                  31981   8/1/2022     Secured: $0.00
        THERESA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15450   HUE, LAINE                     6254    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15451   HUE, LAINE     Laredo, LLC     12004   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15452   HUE, LAINE                     17751   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15453   HUE, LAINE                     23486   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2246 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15454   HUE, LAINE                       29245   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15455   HUERTA, DENISE                   4935    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15456   HUERTA, DENISE   Laredo, LLC     10685   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15457   HUERTA, DENISE                   16432   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15458   HUERTA, DENISE                   22177   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15459   HUERTA, DENISE                   27926   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15460   HUERTA, MARIA                    8077    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2247 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
15461   HUERTA, MARIA       Laredo, LLC     13827   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
15462   HUERTA, MARIA                       19574   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
15463   HUERTA, MARIA                       25308   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
15464   HUERTA, MARIA                       31068   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
15465   HUESCA, FELIPE C. Laredo, LLC       32768   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
15466   HUESCA, FELIPE C.                   33759   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
15467   HUESCA, FELIPE C.                   34750   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2248 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
15468   HUESCA, FELIPE C.                   35741   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
15469   HUESCA, FELIPE C.                   36732   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
15470   HUFF, LESLIE                        4424    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
15471   HUFF, LESLIE        Laredo, LLC     10174   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
15472   HUFF, LESLIE                        15921   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
15473   HUFF, LESLIE                        21667   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
15474   HUFF, LESLIE                        27415   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2249 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15475   HUFFMAN, LORI                   9284    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15476   HUFFMAN, LORI   Laredo, LLC     15034   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15477   HUFFMAN, LORI                   20781   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15478   HUFFMAN, LORI                   26513   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15479   HUFFMAN, LORI                   32275   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUFFMAN,        Barney Davis,
15480                                   3703    8/1/2022     Secured: $0.00
        ROXANN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUFFMAN,
15481                   Laredo, LLC     9453    8/1/2022     Secured: $0.00
        ROXANN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2250 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUFFMAN,      Nueces Bay,
15482                                 15200   8/1/2022     Secured: $0.00
        ROXANN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUFFMAN,      Talen Texas
15483                                 20947   8/1/2022     Secured: $0.00
        ROXANN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUFFMAN,      Talen Texas,
15484                                 26694   8/1/2022     Secured: $0.00
        ROXANN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUGHBANKS,    Barney Davis,
15485                                 4586    8/1/2022     Secured: $0.00
        RACHEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUGHBANKS,
15486                 Laredo, LLC     10336   8/1/2022     Secured: $0.00
        RACHEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUGHBANKS,    Nueces Bay,
15487                                 16083   8/1/2022     Secured: $0.00
        RACHEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUGHBANKS,    Talen Texas
15488                                 21829   8/1/2022     Secured: $0.00
        RACHEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2251 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUGHBANKS,      Talen Texas,
15489                                   27577   8/1/2022     Secured: $0.00
        RACHEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15490   HUGHES, EUJON                   3673    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15491   HUGHES, EUJON   Laredo, LLC     9423    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15492   HUGHES, EUJON                   15170   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15493   HUGHES, EUJON                   20917   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15494   HUGHES, EUJON                   26664   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUGHES,         Barney Davis,
15495                                   8546    8/1/2022     Secured: $0.00
        RHONDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2252 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHES,
15496                  Laredo, LLC     14296   8/1/2022     Secured: $0.00
        RHONDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHES,        Nueces Bay,
15497                                  20043   8/1/2022     Secured: $0.00
        RHONDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHES,        Talen Texas
15498                                  25775   8/1/2022     Secured: $0.00
        RHONDA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHES,        Talen Texas,
15499                                  31537   8/1/2022     Secured: $0.00
        RHONDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15500   HUGHES, RUBY                   5865    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15501   HUGHES, RUBY   Laredo, LLC     11615   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15502   HUGHES, RUBY                   17362   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2253 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15503   HUGHES, RUBY                     23107   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15504   HUGHES, RUBY                     28856   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15505   HUGHES, STEVEN                   8894    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15506   HUGHES, STEVEN Laredo, LLC       14644   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15507   HUGHES, STEVEN                   20391   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15508   HUGHES, STEVEN                   26123   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15509   HUGHES, STEVEN                   31885   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2254 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15510   HUGHEY, CHRISTY                   4050    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15511   HUGHEY, CHRISTY Laredo, LLC       9800    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15512   HUGHEY, CHRISTY                   15547   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15513   HUGHEY, CHRISTY                   21293   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15514   HUGHEY, CHRISTY                   27041   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUGHITT,          Barney Davis,
15515                                     8779    8/1/2022     Secured: $0.00
        SHANNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUGHITT,
15516                     Laredo, LLC     14529   8/1/2022     Secured: $0.00
        SHANNA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2255 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHITT,       Nueces Bay,
15517                                  20276   8/1/2022     Secured: $0.00
        SHANNA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHITT,       Talen Texas
15518                                  26008   8/1/2022     Secured: $0.00
        SHANNA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUGHITT,       Talen Texas,
15519                                  31770   8/1/2022     Secured: $0.00
        SHANNA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15520   HUIE, TERESA                   8966    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15521   HUIE, TERESA   Laredo, LLC     14716   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15522   HUIE, TERESA                   20463   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15523   HUIE, TERESA                   26195   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2256 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15524   HUIE, TERESA                    31957   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15525   HULEN, EDWARD                   7132    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15526   HULEN, EDWARD Laredo, LLC       12882   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15527   HULEN, EDWARD                   18629   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15528   HULEN, EDWARD                   24363   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15529   HULEN, EDWARD                   30123   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15530   HULL, BARBARA                   3960    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2257 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15531   HULL, BARBARA   Laredo, LLC     9710    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15532   HULL, BARBARA                   15457   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15533   HULL, BARBARA                   21203   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15534   HULL, BARBARA                   26951   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15535   HULL, RICH                      5233    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15536   HULL, RICH      Laredo, LLC     10983   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15537   HULL, RICH                      16730   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2258 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15538   HULL, RICH                       22475   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15539   HULL, RICH                       28224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15540   HULSEY, CARRIE                   6670    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15541   HULSEY, CARRIE   Laredo, LLC     12420   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15542   HULSEY, CARRIE                   18167   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15543   HULSEY, CARRIE                   23901   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15544   HULSEY, CARRIE                   29661   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2259 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
15545   HULTS, JOHN                   6138    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
15546   HULTS, JOHN   Laredo, LLC     11888   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
15547   HULTS, JOHN                   17635   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
15548   HULTS, JOHN                   23380   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
15549   HULTS, JOHN                   29129   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Barney Davis,
15550                                 7165    8/1/2022     Secured: $0.00
        EMILY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,
15551                 Laredo, LLC     12915   8/1/2022     Secured: $0.00
        EMILY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2260 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Nueces Bay,
15552                                 18662   8/1/2022     Secured: $0.00
        EMILY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Talen Texas
15553                                 24396   8/1/2022     Secured: $0.00
        EMILY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Talen Texas,
15554                                 30156   8/1/2022     Secured: $0.00
        EMILY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Barney Davis,
15555                                 8826    8/1/2022     Secured: $0.00
        SHERRI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,
15556                 Laredo, LLC     14576   8/1/2022     Secured: $0.00
        SHERRI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Nueces Bay,
15557                                 20323   8/1/2022     Secured: $0.00
        SHERRI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUMPHREY,     Talen Texas
15558                                 26055   8/1/2022     Secured: $0.00
        SHERRI        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2261 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUMPHREY,         Talen Texas,
15559                                     31817   8/1/2022     Secured: $0.00
        SHERRI            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15560   HUNSUCKLE, LACY                   5505    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15561   HUNSUCKLE, LACY Laredo, LLC       11255   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15562   HUNSUCKLE, LACY                   17002   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15563   HUNSUCKLE, LACY                   22747   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15564   HUNSUCKLE, LACY                   28496   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15565   HUNT, DESTINY                     7016    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2262 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15566   HUNT, DESTINY   Laredo, LLC     12766   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15567   HUNT, DESTINY                   18513   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15568   HUNT, DESTINY                   24247   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15569   HUNT, DESTINY                   30007   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15570   HUNT, DONALD    Laredo, LLC     32769   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15571   HUNT, DONALD                    33760   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15572   HUNT, DONALD                    34751   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2263 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15573   HUNT, DONALD                   35742   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15574   HUNT, DONALD                   36733   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15575   HUNT, HAYDEN                   7357    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15576   HUNT, HAYDEN   Laredo, LLC     13107   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15577   HUNT, HAYDEN                   18854   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15578   HUNT, HAYDEN                   24588   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15579   HUNT, HAYDEN                   30348   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2264 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15580   HUNT, LEANN                      7948    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15581   HUNT, LEANN      Laredo, LLC     13698   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15582   HUNT, LEANN                      19445   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15583   HUNT, LEANN                      25179   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15584   HUNT, LEANN                      30939   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15585   HUNTER, ABIJAH                   9199    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15586   HUNTER, ABIJAH   Laredo, LLC     14949   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2265 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15587   HUNTER, ABIJAH                    20696   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15588   HUNTER, ABIJAH                    26428   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15589   HUNTER, ABIJAH                    32190   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15590   HUNTER, CHARLES                   4033    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15591   HUNTER, CHARLES Laredo, LLC       9783    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15592   HUNTER, CHARLES                   15530   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15593   HUNTER, CHARLES                   21276   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2266 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15594   HUNTER, CHARLES                   27024   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER, NORMA Barney Davis,
15595                                     8350    8/1/2022     Secured: $0.00
        J.            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER, NORMA
15596                 Laredo, LLC         14100   8/1/2022     Secured: $0.00
        J.
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER, NORMA Nueces Bay,
15597                                     19847   8/1/2022     Secured: $0.00
        J.            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER, NORMA Talen Texas
15598                                     25581   8/1/2022     Secured: $0.00
        J.            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER, NORMA Talen Texas,
15599                                     31341   8/1/2022     Secured: $0.00
        J.            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15600   HUNTER, TYKITTA                   4758    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2267 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15601   HUNTER, TYKITTA Laredo, LLC       10508   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15602   HUNTER, TYKITTA                   16255   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15603   HUNTER, TYKITTA                   22001   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15604   HUNTER, TYKITTA                   27749   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER,           Barney Davis,
15605                                     9128    8/1/2022     Secured: $0.00
        VIRGINIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER,
15606                     Laredo, LLC     14878   8/1/2022     Secured: $0.00
        VIRGINIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        HUNTER,           Nueces Bay,
15607                                     20625   8/1/2022     Secured: $0.00
        VIRGINIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2268 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER,         Talen Texas
15608                                   26357   8/1/2022     Secured: $0.00
        VIRGINIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER,         Talen Texas,
15609                                   32119   8/1/2022     Secured: $0.00
        VIRGINIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER‐JONES,   Barney Davis,
15610                                   6341    8/1/2022     Secured: $0.00
        ALISHA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER‐JONES,
15611                   Laredo, LLC     12091   8/1/2022     Secured: $0.00
        ALISHA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER‐JONES,   Nueces Bay,
15612                                   17838   8/1/2022     Secured: $0.00
        ALISHA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER‐JONES,   Talen Texas
15613                                   23573   8/1/2022     Secured: $0.00
        ALISHA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HUNTER‐JONES,   Talen Texas,
15614                                   29332   8/1/2022     Secured: $0.00
        ALISHA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2269 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HURADO,
15615                   Laredo, LLC     32770   8/1/2022     Secured: $0.00
        CHRISTINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HURADO,         Barney Davis,
15616                                   33761   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HURADO,         Nueces Bay,
15617                                   34752   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HURADO,         Talen Texas
15618                                   35743   8/1/2022     Secured: $0.00
        CHRISTINA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        HURADO,         Talen Texas,
15619                                   36734   8/1/2022     Secured: $0.00
        CHRISTINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15620   HURD, JEANNIE                   5606    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15621   HURD, JEANNIE   Laredo, LLC     11356   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2270 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15622   HURD, JEANNIE                   17103   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15623   HURD, JEANNIE                   22848   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15624   HURD, JEANNIE                   28597   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15625   HURD, REBECCA                   8515    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15626   HURD, REBECCA   Laredo, LLC     14265   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15627   HURD, REBECCA                   20012   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15628   HURD, REBECCA                   25744   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2271 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15629   HURD, REBECCA                     31506   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15630   HURST, ALICIA     Laredo, LLC     32771   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15631   HURST, ALICIA                     33762   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15632   HURST, ALICIA                     34753   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15633   HURST, ALICIA                     35744   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15634   HURST, ALICIA                     36735   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15635   HURST, MITCHAEL                   8279    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2272 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15636   HURST, MITCHAEL Laredo, LLC       14029   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15637   HURST, MITCHAEL                   19776   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15638   HURST, MITCHAEL                   25510   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15639   HURST, MITCHAEL                   31270   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15640   HURTADO, ANDRE                    6376    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15641   HURTADO, ANDRE Laredo, LLC        12126   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15642   HURTADO, ANDRE                    17873   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2273 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15643   HURTADO, ANDRE                   23608   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15644   HURTADO, ANDRE                   29367   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HUTCHESON,       Barney Davis,
15645                                    7935    8/1/2022     Secured: $0.00
        LAURIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HUTCHESON,
15646                    Laredo, LLC     13685   8/1/2022     Secured: $0.00
        LAURIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HUTCHESON,       Nueces Bay,
15647                                    19432   8/1/2022     Secured: $0.00
        LAURIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HUTCHESON,       Talen Texas
15648                                    25166   8/1/2022     Secured: $0.00
        LAURIE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        HUTCHESON,       Talen Texas,
15649                                    30926   8/1/2022     Secured: $0.00
        LAURIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2274 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINS,     Barney Davis,
15650                                 5242    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINS,
15651                 Laredo, LLC     10992   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINS,     Nueces Bay,
15652                                 16739   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINS,     Talen Texas
15653                                 22484   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINS,     Talen Texas,
15654                                 28233   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Barney Davis,
15655                                 4607    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,
15656                 Laredo, LLC     10357   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2275 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Nueces Bay,
15657                                 16104   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Talen Texas
15658                                 21850   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Talen Texas,
15659                                 27598   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Barney Davis,
15660                                 8912    8/1/2022     Secured: $0.00
        SUZETTE A     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,
15661                 Laredo, LLC     14662   8/1/2022     Secured: $0.00
        SUZETTE A
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Nueces Bay,
15662                                 20409   8/1/2022     Secured: $0.00
        SUZETTE A     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        HUTCHINSON,   Talen Texas
15663                                 26141   8/1/2022     Secured: $0.00
        SUZETTE A     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2276 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HUTCHINSON,    Talen Texas,
15664                                  31903   8/1/2022     Secured: $0.00
        SUZETTE A      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15665   HUYNH, WAYNE                   9136    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15666   HUYNH, WAYNE   Laredo, LLC     14886   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15667   HUYNH, WAYNE                   20633   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15668   HUYNH, WAYNE                   26365   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15669   HUYNH, WAYNE                   32127   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HWANG, HYUN    Barney Davis,
15670                                  4999    8/1/2022     Secured: $0.00
        SOOK           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2277 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HWANG, HYUN
15671                  Laredo, LLC     10749   8/1/2022     Secured: $0.00
        SOOK
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HWANG, HYUN    Nueces Bay,
15672                                  16496   8/1/2022     Secured: $0.00
        SOOK           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HWANG, HYUN    Talen Texas
15673                                  22241   8/1/2022     Secured: $0.00
        SOOK           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        HWANG, HYUN    Talen Texas,
15674                                  27990   8/1/2022     Secured: $0.00
        SOOK           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15675   HYDE, JESSIE                   7559    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15676   HYDE, JESSIE   Laredo, LLC     13309   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15677   HYDE, JESSIE                   19056   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2278 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15678   HYDE, JESSIE                      24790   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15679   HYDE, JESSIE                      30550   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15680   IANNUCCI, DIANE                   7039    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15681   IANNUCCI, DIANE Laredo, LLC       12789   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15682   IANNUCCI, DIANE                   18536   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15683   IANNUCCI, DIANE                   24270   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15684   IANNUCCI, DIANE                   30030   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2279 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IBARRA,                                              Priority: $0.00
                       Barney Davis,
15685   AUGUSTO                         6474    8/1/2022     Secured: $0.00
                       LLC
        GERALD VASQUEZ                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IBARRA,                                              Priority: $0.00
15686   AUGUSTO        Laredo, LLC      12224   8/1/2022     Secured: $0.00
        GERALD VASQUEZ                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IBARRA,                                              Priority: $0.00
                       Nueces Bay,
15687   AUGUSTO                         17971   8/1/2022     Secured: $0.00
                       LLC
        GERALD VASQUEZ                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IBARRA,                                              Priority: $0.00
                       Talen Texas
15688   AUGUSTO                         23706   8/1/2022     Secured: $0.00
                       Group, LLC
        GERALD VASQUEZ                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IBARRA,                                              Priority: $0.00
                       Talen Texas,
15689   AUGUSTO                         29465   8/1/2022     Secured: $0.00
                       LLC
        GERALD VASQUEZ                                       General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15690   IBARRA, OLGA    Laredo, LLC     32772   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15691   IBARRA, OLGA                    33763   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2280 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15692   IBARRA, OLGA                   34754   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15693   IBARRA, OLGA                   35745   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15694   IBARRA, OLGA                   36736   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,
15695                  Laredo, LLC     32773   8/1/2022     Secured: $0.00
        ROSALINDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,
15696                  Laredo, LLC     32774   8/1/2022     Secured: $0.00
        ROSALINDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,        Barney Davis,
15697                                  33764   8/1/2022     Secured: $0.00
        ROSALINDA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,        Barney Davis,
15698                                  33765   8/1/2022     Secured: $0.00
        ROSALINDA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2281 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,         Nueces Bay,
15699                                  34755   8/1/2022     Secured: $0.00
        ROSALINDA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,         Nueces Bay,
15700                                  34756   8/1/2022     Secured: $0.00
        ROSALINDA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,         Talen Texas
15701                                  35746   8/1/2022     Secured: $0.00
        ROSALINDA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,         Talen Texas
15702                                  35747   8/1/2022     Secured: $0.00
        ROSALINDA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,         Talen Texas,
15703                                  36737   8/1/2022     Secured: $0.00
        ROSALINDA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        IBARRA,         Talen Texas,
15704                                  36738   8/1/2022     Secured: $0.00
        ROSALINDA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15705   IGARD, ROBERTA Laredo, LLC     32775   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2282 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15706   IGARD, ROBERTA                    33766   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15707   IGARD, ROBERTA                    34757   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15708   IGARD, ROBERTA                    35748   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15709   IGARD, ROBERTA                    36739   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15710   IGLESIAS, ROBIN                   8632    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15711   IGLESIAS, ROBIN   Laredo, LLC     14382   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15712   IGLESIAS, ROBIN                   20129   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2283 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
15713   IGLESIAS, ROBIN                  25861   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
15714   IGLESIAS, ROBIN                  31623   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ILLINOIS FARMERS                                      Priority: $0.00
                         Nueces Bay,
15715   INSURANCE                        3025    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ILLINOIS FARMERS                                      Priority: $0.00
                         Barney Davis,
15716   INSURANCE                        3103    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ILLINOIS FARMERS                                      Priority: $0.00
15717   INSURANCE        Laredo, LLC     3138    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ILLINOIS                                              Priority: $0.00
15718   NATIONAL          Laredo, LLC    2981    8/1/2022     Secured: $0.00
        INSURANCE CO                                          General Unsecured: $889,969.70 + Unliquidated

                                                              Total: $889,969.70 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ILLINOIS                                              Priority: $0.00
                          Nueces Bay,
15719   NATIONAL                         3040    8/1/2022     Secured: $0.00
                          LLC
        INSURANCE CO.                                         General Unsecured: $889,969.70 + Unliquidated

                                                              Total: $889,969.70 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2284 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS                                             Priority: $0.00
                         Barney Davis,
15720   NATIONAL                         3160   8/1/2022     Secured: $0.00
                         LLC
        INSURANCE CO.                                        General Unsecured: $889,969.70 + Unliquidated

                                                             Total: $889,969.70 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS UNION                                       Priority: $0.00
                         Barney Davis,
15721   INSURANCE                        1383   7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS UNION                                       Priority: $0.00
15722   INSURANCE        Laredo, LLC     1385   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS UNION                                       Priority: $0.00
                         Nueces Bay,
15723   INSURANCE                        1386   7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS UNION                                       Priority: $0.00
                         Nueces Bay,
15724   INSURANCE                        1977   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $31,190,040.72 + Unliquidated

                                                             Total: $31,190,040.72 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS UNION                                       Priority: $0.00
15725   INSURANCE        Laredo, LLC     2139   7/30/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $31,190,040.72 + Unliquidated

                                                             Total: $31,190,040.72 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2285 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ILLINOIS UNION                                       Priority: $0.00
                         Barney Davis,
15726   INSURANCE                        2448   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $31,190,040.72 + Unliquidated

                                                             Total: $31,190,040.72 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IMPERIAL FIRE
                                                             Priority: $0.00
        AND CASUALTY     Barney Davis,
15727                                    2575   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $348,107.00 + Unliquidated
        COMPANY
                                                             Total: $348,107.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IMPERIAL FIRE
                                                             Priority: $0.00
        AND CASUALTY
15728                    Laredo, LLC     2672   7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $348,107.00 + Unliquidated
        COMPANY
                                                             Total: $348,107.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IMPERIAL FIRE
                                                             Priority: $0.00
        AND CASUALTY     Nueces Bay,
15729                                    2723   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $348,107.00 + Unliquidated
        COMPANY
                                                             Total: $348,107.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INCLINE                                              Priority: $0.00
                         Barney Davis,
15730   CASUALTY                         1187   7/28/2022    Secured: $0.00
                         LLC
        INSURANCE CO.                                        General Unsecured: $11,703,103.83 + Unliquidated

                                                             Total: $11,703,103.83 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INCLINE                                              Priority: $0.00
15731   CASUALTY         Laredo, LLC     1494   7/29/2022    Secured: $0.00
        INSURANCE CO.                                        General Unsecured: $11,703,103.83 + Unliquidated

                                                             Total: $11,703,103.83 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2286 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INCLINE                                             Priority: $0.00
                        Nueces Bay,
15732   CASUALTY                        1513   7/29/2022    Secured: $0.00
                        LLC
        INSURANCE CO.                                       General Unsecured: $11,703,103.83 + Unliquidated

                                                            Total: $11,703,103.83 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEMNITY
                                                            Priority: $0.00
        INSURANCE     Barney Davis,
15733                                   2259   7/30/2022    Secured: $0.00
        COMPANY OF    LLC
                                                            General Unsecured: $2,610,872.12 + Unliquidated
        NORTH AMERICA
                                                            Total: $2,610,872.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEMNITY
                                                            Priority: $0.00
        INSURANCE
15734                 Laredo, LLC       2335   7/30/2022    Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $2,610,872.12 + Unliquidated
        NORTH AMERICA
                                                            Total: $2,610,872.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEMNITY
                                                            Priority: $0.00
        INSURANCE     Nueces Bay,
15735                                   2458   7/30/2022    Secured: $0.00
        COMPANY OF    LLC
                                                            General Unsecured: $2,610,872.12 + Unliquidated
        NORTH AMERICA
                                                            Total: $2,610,872.12 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEPENDENT
                                                            Priority: $0.00
        MUTUAL FIRE
15736                   Laredo, LLC     1875   7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $1,354,039.68 + Unliquidated
        COMPANY
                                                            Total: $1,354,039.68 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEPENDENT
                                                            Priority: $0.00
        MUTUAL FIRE     Barney Davis,
15737                                   1936   7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $1,354,039.68 + Unliquidated
        COMPANY
                                                            Total: $1,354,039.68 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2287 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEPENDENT
                                                            Priority: $0.00
        MUTUAL FIRE     Nueces Bay,
15738                                   2255   7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $1,354,039.68 + Unliquidated
        COMPANY
                                                            Total: $1,354,039.68 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEPENDENT
                                                            Priority: $0.00
        SPECIALTY
15739                   Laredo, LLC     3418   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEPENDENT
                                                            Priority: $0.00
        SPECIALTY       Nueces Bay,
15740                                   3426   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDEPENDENT
                                                            Priority: $0.00
        SPECIALTY       Barney Davis,
15741                                   3476   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
                        Barney Davis,
15742   INSURANCE                       1117   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $104,876,982.22 + Unliquidated

                                                            Total: $104,876,982.22 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
15743   INSURANCE       Laredo, LLC     1153   7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $104,876,982.22 + Unliquidated

                                                            Total: $104,876,982.22 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2288 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
                        Nueces Bay,
15744   INSURANCE                       1201   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $104,876,982.22 + Unliquidated

                                                            Total: $104,876,982.22 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
15745   INSURANCE       Laredo, LLC     2742   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
                        Barney Davis,
15746   INSURANCE                       2861   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
                        Nueces Bay,
15747   INSURANCE                       2863   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                            Total: $198,152,103.43 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
                        Barney Davis,
15748   INSURANCE                       3045   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $6,612,733.30 + Unliquidated

                                                            Total: $6,612,733.30 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INDIAN HARBOR                                       Priority: $0.00
                        Nueces Bay,
15749   INSURANCE                       3128   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $6,612,733.30 + Unliquidated

                                                            Total: $6,612,733.30 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2289 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INDIAN HARBOR                                         Priority: $0.00
15750   INSURANCE        Laredo, LLC     3156    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $6,612,733.30 + Unliquidated

                                                              Total: $6,612,733.30 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INDUSTRIAL                                            Priority: $0.00
                        Barney Davis,
15751   MACHINE REPAIR,                  5999    8/1/2022     Secured: $0.00
                        LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INDUSTRIAL                                            Priority: $0.00
15752   MACHINE REPAIR, Laredo, LLC      11749   8/1/2022     Secured: $0.00
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INDUSTRIAL                                            Priority: $0.00
                        Nueces Bay,
15753   MACHINE REPAIR,                  17496   8/1/2022     Secured: $0.00
                        LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INDUSTRIAL                                            Priority: $0.00
                        Talen Texas
15754   MACHINE REPAIR,                  23241   8/1/2022     Secured: $0.00
                        Group, LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INDUSTRIAL                                            Priority: $0.00
                        Talen Texas,
15755   MACHINE REPAIR,                  28990   8/1/2022     Secured: $0.00
                        LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15756   INHAM, SARAH                     5479    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2290 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15757   INHAM, SARAH     Laredo, LLC     11229   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15758   INHAM, SARAH                     16976   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15759   INHAM, SARAH                     22721   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15760   INHAM, SARAH                     28470   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15761   INMAN, JORRELE                   5925    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15762   INMAN, JORRELE Laredo, LLC       11675   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15763   INMAN, JORRELE                   17422   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2291 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15764   INMAN, JORRELE                   23167   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15765   INMAN, JORRELE                   28916   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15766   INMON, MARTHA                    5704    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15767   INMON, MARTHA Laredo, LLC        11454   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15768   INMON, MARTHA                    17201   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15769   INMON, MARTHA                    22946   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15770   INMON, MARTHA                    28695   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2292 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        INOJOSA,
15771                  Laredo, LLC     32776   8/1/2022     Secured: $0.00
        JUANITA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        INOJOSA,       Barney Davis,
15772                                  33767   8/1/2022     Secured: $0.00
        JUANITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        INOJOSA,       Nueces Bay,
15773                                  34758   8/1/2022     Secured: $0.00
        JUANITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        INOJOSA,       Talen Texas
15774                                  35749   8/1/2022     Secured: $0.00
        JUANITA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        INOJOSA,       Talen Texas,
15775                                  36740   8/1/2022     Secured: $0.00
        JUANITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTEGON
                                                            Priority: $0.00
        NATIONAL       Barney Davis,
15776                                  2681    7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $4,339,392.00 + Unliquidated
        COMPANY
                                                            Total: $4,339,392.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTEGON
                                                            Priority: $0.00
        NATIONAL
15777                  Laredo, LLC     2736    7/31/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $4,339,392.00 + Unliquidated
        COMPANY
                                                            Total: $4,339,392.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2293 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTEGON
                                                            Priority: $0.00
        NATIONAL         Nueces Bay,
15778                                   2850   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                            General Unsecured: $4,339,392.00 + Unliquidated
        COMPANY
                                                            Total: $4,339,392.00 + Unliquidated
        INTERESTED                                          503(b)(9): $0.00
        UNDERWRITERS                                        Other Administrative: $0.00
        (QSPP)                                              Priority: $0.00
                        Barney Davis,
15779   SUBSCRIBING TO                  2697   8/1/2022     Secured: $0.00
                        LLC
        POLICY NOS. HAN                                     General Unsecured: $47,416.00 + Unliquidated
        2417700,
        HAN2384600                                          Total: $47,416.00 + Unliquidated
        INTERESTED                                          503(b)(9): $0.00
        UNDERWRITERS                                        Other Administrative: $0.00
        (QSPP)                                              Priority: $0.00
                        Nueces Bay,
15780   SUBSCRIBING TO                  2957   8/1/2022     Secured: $0.00
                        LLC
        POLICY NOS. HAN                                     General Unsecured: $47,416.00 + Unliquidated
        2417700,
        HAN2384600                                          Total: $47,416.00 + Unliquidated
        INTERESTED                                          503(b)(9): $0.00
        UNDERWRITERS                                        Other Administrative: $0.00
        (QSPP)                                              Priority: $0.00
15781   SUBSCRIBING TO Laredo, LLC      2692   8/1/2022     Secured: $0.00
        POLICY NOS.                                         General Unsecured: $47,416.00 + Unliquidated
        HAN2417700,
        HAN2384600                                          Total: $47,416.00 + Unliquidated
        INTERESTED
        UNDERWRITERS
        (SNAP)
                                                            503(b)(9): $0.00
        SUBSCRIBING TO
                                                            Other Administrative: $0.00
        POLICY NOS.
                                                            Priority: $0.00
        HAN2421300,     Barney Davis,
15782                                   3115   8/1/2022     Secured: $0.00
        HAN2421300,     LLC
                                                            General Unsecured: $659,856.25 + Unliquidated
        HAN2419400,
        HAN2421600,
                                                            Total: $659,856.25 + Unliquidated
        HAN2427600,
        HAN2410900,
        HAN2384300
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2294 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim
        INTERESTED
        UNDERWRITERS
        (SNAP)
                                                           503(b)(9): $0.00
        SUBSCRIBING TO
                                                           Other Administrative: $0.00
        POLICY NOS.
                                                           Priority: $0.00
        HAN2425200,
15783                  Laredo, LLC  3166      8/1/2022     Secured: $0.00
        HAN2421300,
                                                           General Unsecured: $659,856.25 + Unliquidated
        HAN2419400,
        HAN2421600,
                                                           Total: $659,856.25 + Unliquidated
        HAN2427600,
        HAN 2410900,
        HAN2384300
        INTERESTED
        UNDERWRITERS
        (SNAP)
                                                           503(b)(9): $0.00
        SUBSCRIBING TO
                                                           Other Administrative: $0.00
        POLICY NOS.
                                                           Priority: $0.00
        HAN2425200,    Nueces Bay,
15784                               3021      8/1/2022     Secured: $0.00
        HAN2421300,    LLC
                                                           General Unsecured: $659,856.25 + Unliquidated
        HAN2419400,
        HAN2421600,
                                                           Total: $659,856.25 + Unliquidated
        HAN2427600,
        HAN2410900,
        HAN2384300
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        INTERINSURANCE
                                                           Priority: $0.00
        EXCHANGE OF    Barney Davis,
15785                                  2066   7/30/2022    Secured: $0.00
        THE AUTOMOBILE LLC
                                                           General Unsecured: $0.00 + Unliquidated
        CLUB
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        INTERINSURANCE
                                                           Priority: $0.00
        EXCHANGE OF
15786                  Laredo, LLC     2132   7/30/2022    Secured: $0.00
        THE AUTOMOBILE
                                                           General Unsecured: $0.00 + Unliquidated
        CLUB
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        INTERINSURANCE
                                                           Priority: $0.00
        EXCHANGE OF    Nueces Bay,
15787                                  2225   7/30/2022    Secured: $0.00
        THE AUTOMOBILE LLC
                                                           General Unsecured: $0.00 + Unliquidated
        CLUB
                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2295 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INTERNATIONAL
                                                             Priority: $0.00
        INSURANCE        Nueces Bay,
15788                                    2756   8/1/2022     Secured: $0.00
        COMPANY OF       LLC
                                                             General Unsecured: $198,152,103.43 + Unliquidated
        HANNOVER SE
                                                             Total: $198,152,103.43 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INTERNATIONAL
                                                             Priority: $0.00
        INSURANCE
15789                    Laredo, LLC     2912   8/1/2022     Secured: $0.00
        COMPANY OF
                                                             General Unsecured: $198,152,103.43 + Unliquidated
        HANNOVER SE
                                                             Total: $198,152,103.43 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INTERNATIONAL
                                                             Priority: $0.00
        INSURANCE        Barney Davis,
15790                                    2988   8/1/2022     Secured: $0.00
        COMPANY OF       LLC
                                                             General Unsecured: $198,152,103.43 + Unliquidated
        HANNOVER SE
                                                             Total: $198,152,103.43 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INTERSTATE FIRE                                      Priority: $0.00
                        Nueces Bay,
15791   & CASUALTY                       1165   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $178,275.00 + Unliquidated

                                                             Total: $178,275.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INTERSTATE FIRE                                      Priority: $0.00
                        Barney Davis,
15792   & CASUALTY                       1259   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $178,275.00 + Unliquidated

                                                             Total: $178,275.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        INTERSTATE FIRE                                      Priority: $0.00
15793   & CASUALTY      Laredo, LLC      1277   7/28/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $178,275.00 + Unliquidated

                                                             Total: $178,275.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2296 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTERSTATE FIRE                                     Priority: $0.00
                        Nueces Bay,
15794   & CASUALTY                      1954   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $439,622.29 + Unliquidated

                                                            Total: $439,622.29 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTERSTATE FIRE                                     Priority: $0.00
15795   & CASUALTY      Laredo, LLC     1980   7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $439,622.29 + Unliquidated

                                                            Total: $439,622.29 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTERSTATE FIRE                                     Priority: $0.00
                        Barney Davis,
15796   & CASUALTY                      2052   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $439,622.29 + Unliquidated

                                                            Total: $439,622.29 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTERSTATE FIRE                                     Priority: $0.00
                        Nueces Bay,
15797   AND CASUALTY                    3286   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTERSTATE FIRE                                     Priority: $0.00
                        Barney Davis,
15798   AND CASUALTY                    3415   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTERSTATE FIRE                                     Priority: $0.00
15799   AND CASUALTY    Laredo, LLC     3492   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        INTREPID                                            Priority: $0.00
                         Nueces Bay,
15800   INSURANCE                       2966   8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                             General Unsecured: $1,242,348.97 + Unliquidated

                                                            Total: $1,242,348.97 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2297 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INTREPID                                              Priority: $0.00
15801   INSURANCE        Laredo, LLC     3008    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $1,242,348.97 + Unliquidated

                                                              Total: $1,242,348.97 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        INTREPID                                              Priority: $0.00
                         Barney Davis,
15802   INSURANCE                        3110    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $1,242,348.97 + Unliquidated

                                                              Total: $1,242,348.97 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15803   IRELAND, JASON                   6126    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15804   IRELAND, JASON   Laredo, LLC     11876   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15805   IRELAND, JASON                   17623   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15806   IRELAND, JASON                   23368   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15807   IRELAND, JASON                   29117   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2298 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
15808   IRELAND, SHIRLEY                   8836    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
15809   IRELAND, SHIRLEY Laredo, LLC       14586   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
15810   IRELAND, SHIRLEY                   20333   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
15811   IRELAND, SHIRLEY                   26065   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
15812   IRELAND, SHIRLEY                   31827   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
        IRIS VELTKAMP,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                           Priority: $0.00
                       Barney Davis,
15813   AND AS HEIR OF                     3801    8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                           General Unsecured: $0.00 + Unliquidated
        JOHN VELTKAMP
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
        IRIS VELTKAMP,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                           Priority: $0.00
15814   AND AS HEIR OF Laredo, LLC         9551    8/1/2022     Secured: $0.00
        THE ESTATE OF                                           General Unsecured: $0.00 + Unliquidated
        JOHN VELTKAMP
                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2299 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        IRIS VELTKAMP,                                       Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                       Nueces Bay,
15815   AND AS HEIR OF                  15298   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JOHN VELTKAMP
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        IRIS VELTKAMP,                                       Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                       Talen Texas
15816   AND AS HEIR OF                  21045   8/1/2022     Secured: $0.00
                       Group, LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JOHN VELTKAMP
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        IRIS VELTKAMP,                                       Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                       Talen Texas,
15817   AND AS HEIR OF                  26792   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        JOHN VELTKAMP
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IRONSHORE
                                                             Priority: $0.00
        SPECIALTY       Barney Davis,
15818                                   1382    7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $25,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IRONSHORE
                                                             Priority: $0.00
        SPECIALTY
15819                   Laredo, LLC     1389    7/29/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $25,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IRONSHORE
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
15820                                   1395    7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $25,000,000.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2300 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IRONSHORE
                                                             Priority: $0.00
        SPECIALTY
15821                   Laredo, LLC     1910    7/30/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $30,246,218.07 + Unliquidated
        COMPANY
                                                             Total: $30,246,218.07 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IRONSHORE
                                                             Priority: $0.00
        SPECIALTY       Barney Davis,
15822                                   1912    7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $30,246,218.07 + Unliquidated
        COMPANY
                                                             Total: $30,246,218.07 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        IRONSHORE
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
15823                                   2107    7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $30,246,218.07 + Unliquidated
        COMPANY
                                                             Total: $30,246,218.07 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15824   IRVIN, SALLIE                   8721    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15825   IRVIN, SALLIE   Laredo, LLC     14471   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15826   IRVIN, SALLIE                   20218   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2301 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15827   IRVIN, SALLIE                   25950   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15828   IRVIN, SALLIE                   31712   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        IRVING,         Barney Davis,
15829                                   8999    8/1/2022     Secured: $0.00
        THORANDA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        IRVING,
15830                   Laredo, LLC     14749   8/1/2022     Secured: $0.00
        THORANDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        IRVING,         Nueces Bay,
15831                                   20496   8/1/2022     Secured: $0.00
        THORANDA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        IRVING,         Talen Texas
15832                                   26228   8/1/2022     Secured: $0.00
        THORANDA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        IRVING,         Talen Texas,
15833                                   31990   8/1/2022     Secured: $0.00
        THORANDA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2302 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15834   IRWIN, ILA                     7387    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15835   IRWIN, ILA     Laredo, LLC     13137   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15836   IRWIN, ILA                     18884   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15837   IRWIN, ILA                     24618   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15838   IRWIN, ILA                     30378   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15839   IRWIN, JOHN                    5038    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15840   IRWIN, JOHN    Laredo, LLC     10788   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2303 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15841   IRWIN, JOHN                      16535   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15842   IRWIN, JOHN                      22280   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15843   IRWIN, JOHN                      28029   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15844   ISOM, BRIGETTE                   3992    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15845   ISOM, BRIGETTE   Laredo, LLC     9742    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15846   ISOM, BRIGETTE                   15489   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15847   ISOM, BRIGETTE                   21235   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2304 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15848   ISOM, BRIGETTE                   26983   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15849   ITZEP, ANYULL                    6439    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15850   ITZEP, ANYULL    Laredo, LLC     12189   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15851   ITZEP, ANYULL                    17936   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15852   ITZEP, ANYULL                    23671   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15853   ITZEP, ANYULL                    29430   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15854   IVEY, REBECCA                    5227    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2305 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15855   IVEY, REBECCA   Laredo, LLC     10977   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15856   IVEY, REBECCA                   16724   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
15857   IVEY, REBECCA                   22469   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
15858   IVEY, REBECCA                   28218   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15859   JACK, FAYE                      4183    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15860   JACK, FAYE      Laredo, LLC     9933    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
15861   JACK, FAYE                      15680   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2306 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15862   JACK, FAYE                     21426   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15863   JACK, FAYE                     27174   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
15864   JACKS, TREY                    9068    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
15865   JACKS, TREY    Laredo, LLC     14818   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
15866   JACKS, TREY                    20565   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
15867   JACKS, TREY                    26297   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
15868   JACKS, TREY                    32059   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2307 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
15869                                     6400    8/1/2022     Secured: $0.00
        ANGELIQUE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,
15870                     Laredo, LLC     12150   8/1/2022     Secured: $0.00
        ANGELIQUE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Nueces Bay,
15871                                     17897   8/1/2022     Secured: $0.00
        ANGELIQUE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas
15872                                     23632   8/1/2022     Secured: $0.00
        ANGELIQUE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas,
15873                                     29391   8/1/2022     Secured: $0.00
        ANGELIQUE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15874   JACKSON, ANITRA                   6405    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15875   JACKSON, ANITRA Laredo, LLC       12155   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2308 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15876   JACKSON, ANITRA                   17902   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15877   JACKSON, ANITRA                   23637   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15878   JACKSON, ANITRA                   29396   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
15879                                     9213    8/1/2022     Secured: $0.00
        AUNDRE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,
15880                     Laredo, LLC     14963   8/1/2022     Secured: $0.00
        AUNDRE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Nueces Bay,
15881                                     20710   8/1/2022     Secured: $0.00
        AUNDRE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas
15882                                     26442   8/1/2022     Secured: $0.00
        AUNDRE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2309 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Talen Texas,
15883                                 32204   8/1/2022     Secured: $0.00
        AUNDRE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Barney Davis,
15884                                 6665    8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,
15885                 Laredo, LLC     12415   8/1/2022     Secured: $0.00
        CAROLYN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Nueces Bay,
15886                                 18162   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Talen Texas
15887                                 23896   8/1/2022     Secured: $0.00
        CAROLYN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Talen Texas,
15888                                 29656   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Barney Davis,
15889                                 6812    8/1/2022     Secured: $0.00
        CONARD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2310 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,
15890                     Laredo, LLC     12562   8/1/2022     Secured: $0.00
        CONARD
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Nueces Bay,
15891                                     18309   8/1/2022     Secured: $0.00
        CONARD            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas
15892                                     24043   8/1/2022     Secured: $0.00
        CONARD            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas,
15893                                     29803   8/1/2022     Secured: $0.00
        CONARD            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15894   JACKSON, DARRYL                   9248    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15895   JACKSON, DARRYL Laredo, LLC       14998   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15896   JACKSON, DARRYL                   20745   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2311 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15897   JACKSON, DARRYL                   26477   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15898   JACKSON, DARRYL                   32239   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
15899                                     4121    8/1/2022     Secured: $0.00
        DEONLAVELLE       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,
15900                     Laredo, LLC     9871    8/1/2022     Secured: $0.00
        DEONLAVELLE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Nueces Bay,
15901                                     15618   8/1/2022     Secured: $0.00
        DEONLAVELLE       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas
15902                                     21364   8/1/2022     Secured: $0.00
        DEONLAVELLE       Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas,
15903                                     27112   8/1/2022     Secured: $0.00
        DEONLAVELLE       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2312 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15904   JACKSON, EARL                    9255    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15905   JACKSON, EARL    Laredo, LLC     15005   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15906   JACKSON, EARL                    20752   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15907   JACKSON, EARL                    26484   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15908   JACKSON, EARL                    32246   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Barney Davis,
15909                                    4163    8/1/2022     Secured: $0.00
        ELIZABETH ROSE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,
15910                    Laredo, LLC     9913    8/1/2022     Secured: $0.00
        ELIZABETH ROSE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2313 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Nueces Bay,
15911                                    15660   8/1/2022     Secured: $0.00
        ELIZABETH ROSE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Talen Texas
15912                                    21406   8/1/2022     Secured: $0.00
        ELIZABETH ROSE   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Talen Texas,
15913                                    27154   8/1/2022     Secured: $0.00
        ELIZABETH ROSE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Barney Davis,
15914                                    7239    8/1/2022     Secured: $0.00
        FRANCINE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,
15915                    Laredo, LLC     12989   8/1/2022     Secured: $0.00
        FRANCINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Nueces Bay,
15916                                    18736   8/1/2022     Secured: $0.00
        FRANCINE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Talen Texas
15917                                    24470   8/1/2022     Secured: $0.00
        FRANCINE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2314 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Talen Texas,
15918                                    30230   8/1/2022     Secured: $0.00
        FRANCINE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
15919   JACKSON, JAMIE                   6030    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
15920   JACKSON, JAMIE   Laredo, LLC     11780   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
15921   JACKSON, JAMIE                   17527   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
15922   JACKSON, JAMIE                   23272   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
15923   JACKSON, JAMIE                   29021   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON, JAMILIA Barney Davis,
15924                                    5500    8/1/2022     Secured: $0.00
        R                LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2315 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON, JAMILIA
15925                    Laredo, LLC       11250   8/1/2022     Secured: $0.00
        R
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON, JAMILIA Nueces Bay,
15926                                      16997   8/1/2022     Secured: $0.00
        R                LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON, JAMILIA Talen Texas
15927                                      22742   8/1/2022     Secured: $0.00
        R                Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON, JAMILIA Talen Texas,
15928                                      28491   8/1/2022     Secured: $0.00
        R                LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
15929   JACKSON, JEFFREY                   7506    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
15930   JACKSON, JEFFREY Laredo, LLC       13256   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
15931   JACKSON, JEFFREY                   19003   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2316 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
15932   JACKSON, JEFFREY                   24737   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
15933   JACKSON, JEFFREY                   30497   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON,           Barney Davis,
15934                                      4266    8/1/2022     Secured: $0.00
        JENEYNA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON,
15935                      Laredo, LLC     10016   8/1/2022     Secured: $0.00
        JENEYNA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON,           Nueces Bay,
15936                                      15763   8/1/2022     Secured: $0.00
        JENEYNA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON,           Talen Texas
15937                                      21509   8/1/2022     Secured: $0.00
        JENEYNA            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JACKSON,           Talen Texas,
15938                                      27257   8/1/2022     Secured: $0.00
        JENEYNA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2317 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15939   JACKSON, JEREMY                   9266    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15940   JACKSON, JEREMY Laredo, LLC       15016   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15941   JACKSON, JEREMY                   20763   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15942   JACKSON, JEREMY                   26495   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15943   JACKSON, JEREMY                   32257   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15944   JACKSON, JOSHUA                   5049    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15945   JACKSON, JOSHUA Laredo, LLC       10799   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2318 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15946   JACKSON, JOSHUA                   16546   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15947   JACKSON, JOSHUA                   22291   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15948   JACKSON, JOSHUA                   28040   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15949   JACKSON, KARRIE                   7755    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15950   JACKSON, KARRIE Laredo, LLC       13505   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15951   JACKSON, KARRIE                   19252   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15952   JACKSON, KARRIE                   24986   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2319 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15953   JACKSON, KARRIE                   30746   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
15954                                     4364    8/1/2022     Secured: $0.00
        KATHRYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,
15955                     Laredo, LLC     10114   8/1/2022     Secured: $0.00
        KATHRYN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Nueces Bay,
15956                                     15861   8/1/2022     Secured: $0.00
        KATHRYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas
15957                                     21607   8/1/2022     Secured: $0.00
        KATHRYN           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas,
15958                                     27355   8/1/2022     Secured: $0.00
        KATHRYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
15959                                     4388    8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2320 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,
15960                  Laredo, LLC     10138   8/1/2022     Secured: $0.00
        KIMBERLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Nueces Bay,
15961                                  15885   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Talen Texas
15962                                  21631   8/1/2022     Secured: $0.00
        KIMBERLY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Talen Texas,
15963                                  27379   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON, LA    Barney Davis,
15964                                  5823    8/1/2022     Secured: $0.00
        TONYA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON, LA
15965                  Laredo, LLC     11573   8/1/2022     Secured: $0.00
        TONYA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON, LA    Nueces Bay,
15966                                  17320   8/1/2022     Secured: $0.00
        TONYA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2321 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON, LA    Talen Texas
15967                                  23065   8/1/2022     Secured: $0.00
        TONYA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON, LA    Talen Texas,
15968                                  28814   8/1/2022     Secured: $0.00
        TONYA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Barney Davis,
15969                                  7893    8/1/2022     Secured: $0.00
        LADANIEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,
15970                  Laredo, LLC     13643   8/1/2022     Secured: $0.00
        LADANIEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Nueces Bay,
15971                                  19390   8/1/2022     Secured: $0.00
        LADANIEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Talen Texas
15972                                  25124   8/1/2022     Secured: $0.00
        LADANIEL       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACKSON,       Talen Texas,
15973                                  30884   8/1/2022     Secured: $0.00
        LADANIEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2322 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON,        Barney Davis,
15974                                   7994    8/1/2022     Secured: $0.00
        LINSHONDRA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON,
15975                   Laredo, LLC     13744   8/1/2022     Secured: $0.00
        LINSHONDRA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON,        Nueces Bay,
15976                                   19491   8/1/2022     Secured: $0.00
        LINSHONDRA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON,        Talen Texas
15977                                   25225   8/1/2022     Secured: $0.00
        LINSHONDRA      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON,        Talen Texas,
15978                                   30985   8/1/2022     Secured: $0.00
        LINSHONDRA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
15979   JACKSON, NINA                   8342    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
15980   JACKSON, NINA   Laredo, LLC     14092   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2323 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15981   JACKSON, NINA                     19839   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15982   JACKSON, NINA                     25573   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15983   JACKSON, NINA                     31333   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15984   JACKSON, REGINA                   3699    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15985   JACKSON, REGINA Laredo, LLC       9449    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15986   JACKSON, REGINA                   15196   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15987   JACKSON, REGINA                   20943   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2324 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15988   JACKSON, REGINA                   26690   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
15989   JACKSON, SD                       8768    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
15990   JACKSON, SD       Laredo, LLC     14518   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
15991   JACKSON, SD                       20265   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
15992   JACKSON, SD                       25997   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
15993   JACKSON, SD                       31759   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
15994                                     8789    8/1/2022     Secured: $0.00
        SHARNETTE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2325 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,
15995                 Laredo, LLC     14539   8/1/2022     Secured: $0.00
        SHARNETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Nueces Bay,
15996                                 20286   8/1/2022     Secured: $0.00
        SHARNETTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Talen Texas
15997                                 26018   8/1/2022     Secured: $0.00
        SHARNETTE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Talen Texas,
15998                                 31780   8/1/2022     Secured: $0.00
        SHARNETTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Barney Davis,
15999                                 5709    8/1/2022     Secured: $0.00
        SHONTAYA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,
16000                 Laredo, LLC     11459   8/1/2022     Secured: $0.00
        SHONTAYA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JACKSON,      Nueces Bay,
16001                                 17206   8/1/2022     Secured: $0.00
        SHONTAYA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2326 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Talen Texas
16002                                    22951   8/1/2022     Secured: $0.00
        SHONTAYA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACKSON,         Talen Texas,
16003                                    28700   8/1/2022     Secured: $0.00
        SHONTAYA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16004   JACKSON, TONYA                   3620    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16005   JACKSON, TONYA Laredo, LLC       9370    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16006   JACKSON, TONYA                   15117   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16007   JACKSON, TONYA                   20864   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16008   JACKSON, TONYA                   26611   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2327 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16009   JACKSON, TROY                     9072    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16010   JACKSON, TROY     Laredo, LLC     14822   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16011   JACKSON, TROY                     20569   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16012   JACKSON, TROY                     26301   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16013   JACKSON, TROY                     32063   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16014   JACKSON, TYRONE                   4759    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16015   JACKSON, TYRONE Laredo, LLC       10509   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2328 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16016   JACKSON, TYRONE                   16256   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16017   JACKSON, TYRONE                   22002   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16018   JACKSON, TYRONE                   27750   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16019   JACKSON, URSULA                   9338    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16020   JACKSON, URSULA Laredo, LLC       15088   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16021   JACKSON, URSULA                   20835   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16022   JACKSON, URSULA                   26567   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2329 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16023   JACKSON, URSULA                   32329   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Barney Davis,
16024                                     5359    8/1/2022     Secured: $0.00
        VERONICA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,
16025                     Laredo, LLC     11109   8/1/2022     Secured: $0.00
        VERONICA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Nueces Bay,
16026                                     16856   8/1/2022     Secured: $0.00
        VERONICA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas
16027                                     22601   8/1/2022     Secured: $0.00
        VERONICA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON,          Talen Texas,
16028                                     28350   8/1/2022     Secured: $0.00
        VERONICA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JACKSON‐HOYLE,
16029                  Laredo, LLC        32777   8/1/2022     Secured: $0.00
        BRENDA FAYE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2330 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON‐HOYLE, Barney Davis,
16030                                   33768   8/1/2022     Secured: $0.00
        BRENDA FAYE    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON‐HOYLE, Nueces Bay,
16031                                   34759   8/1/2022     Secured: $0.00
        BRENDA FAYE    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON‐HOYLE, Talen Texas
16032                                   35750   8/1/2022     Secured: $0.00
        BRENDA FAYE    Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JACKSON‐HOYLE, Talen Texas,
16033                                   36741   8/1/2022     Secured: $0.00
        BRENDA FAYE    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16034   JACO, DALTON                    4076    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16035   JACO, DALTON    Laredo, LLC     9826    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16036   JACO, DALTON                    15573   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2331 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16037   JACO, DALTON                     21319   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16038   JACO, DALTON                     27067   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16039   JACOBS, ANDRAY                   4812    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16040   JACOBS, ANDRAY Laredo, LLC       10562   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16041   JACOBS, ANDRAY                   16309   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16042   JACOBS, ANDRAY                   22055   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16043   JACOBS, ANDRAY                   27803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2332 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16044   JACOBS, MARVIN                   4483    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16045   JACOBS, MARVIN Laredo, LLC       10233   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16046   JACOBS, MARVIN                   15980   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16047   JACOBS, MARVIN                   21726   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16048   JACOBS, MARVIN                   27474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16049   JACOBS, PAMELA                   5194    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16050   JACOBS, PAMELA Laredo, LLC       10944   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2333 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16051   JACOBS, PAMELA                   16691   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16052   JACOBS, PAMELA                   22436   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16053   JACOBS, PAMELA                   28185   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACOBSON,        Barney Davis,
16054                                    7949    8/1/2022     Secured: $0.00
        LEASTER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACOBSON,
16055                    Laredo, LLC     13699   8/1/2022     Secured: $0.00
        LEASTER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACOBSON,        Nueces Bay,
16056                                    19446   8/1/2022     Secured: $0.00
        LEASTER          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JACOBSON,        Talen Texas
16057                                    25180   8/1/2022     Secured: $0.00
        LEASTER          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2334 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JACOBSON,      Talen Texas,
16058                                  30940   8/1/2022     Secured: $0.00
        LEASTER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16059   JACOBY, JOHN                   5811    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16060   JACOBY, JOHN   Laredo, LLC     11561   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16061   JACOBY, JOHN                   17308   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16062   JACOBY, JOHN                   23053   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16063   JACOBY, JOHN                   28802   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JAENICKE,      Barney Davis,
16064                                  6767    8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2335 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAENICKE,
16065                   Laredo, LLC     12517   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAENICKE,       Nueces Bay,
16066                                   18264   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAENICKE,       Talen Texas
16067                                   23998   8/1/2022     Secured: $0.00
        CHRISTOPHER     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAENICKE,       Talen Texas,
16068                                   29758   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16069   JAFARI, CYRUS                   5445    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16070   JAFARI, CYRUS   Laredo, LLC     11195   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16071   JAFARI, CYRUS                   16942   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2336 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16072   JAFARI, CYRUS                   22687   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16073   JAFARI, CYRUS                   28436   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAKUBOWSKI,     Barney Davis,
16074                                   5575    8/1/2022     Secured: $0.00
        AMANDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAKUBOWSKI,
16075                   Laredo, LLC     11325   8/1/2022     Secured: $0.00
        AMANDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAKUBOWSKI,     Nueces Bay,
16076                                   17072   8/1/2022     Secured: $0.00
        AMANDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAKUBOWSKI,     Talen Texas
16077                                   22817   8/1/2022     Secured: $0.00
        AMANDA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JAKUBOWSKI,     Talen Texas,
16078                                   28566   8/1/2022     Secured: $0.00
        AMANDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2337 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16079   JALLOH, ABDOUL                   5951    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16080   JALLOH, ABDOUL Laredo, LLC       11701   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16081   JALLOH, ABDOUL                   17448   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16082   JALLOH, ABDOUL                   23193   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16083   JALLOH, ABDOUL                   28942   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16084   JALLOH, ABDUL                    6280    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16085   JALLOH, ABDUL    Laredo, LLC     12030   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2338 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16086   JALLOH, ABDUL                   17777   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16087   JALLOH, ABDUL                   23512   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16088   JALLOH, ABDUL                   29271   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16089   JAMES, ALLEN                    3911    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16090   JAMES, ALLEN    Laredo, LLC     9661    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16091   JAMES, ALLEN                    15408   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16092   JAMES, ALLEN                    21155   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2339 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16093   JAMES, ALLEN                     26902   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16094   JAMES, ERICA                     7190    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16095   JAMES, ERICA     Laredo, LLC     12940   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16096   JAMES, ERICA                     18687   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16097   JAMES, ERICA                     24421   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16098   JAMES, ERICA                     30181   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16099   JAMES, HEATHER                   7362    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2340 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16100   JAMES, HEATHER Laredo, LLC       13112   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16101   JAMES, HEATHER                   18859   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16102   JAMES, HEATHER                   24593   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16103   JAMES, HEATHER                   30353   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16104   JAMES, JESSE                     5458    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16105   JAMES, JESSE     Laredo, LLC     11208   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16106   JAMES, JESSE                     16955   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2341 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16107   JAMES, JESSE                     22700   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16108   JAMES, JESSE                     28449   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16109   JAMES, LATIFAH                   4409    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16110   JAMES, LATIFAH   Laredo, LLC     10159   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16111   JAMES, LATIFAH                   15906   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16112   JAMES, LATIFAH                   21652   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16113   JAMES, LATIFAH                   27400   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2342 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
16114   JAMES, MARY                   5140    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
16115   JAMES, MARY   Laredo, LLC     10890   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
16116   JAMES, MARY                   16637   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
16117   JAMES, MARY                   22382   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
16118   JAMES, MARY                   28131   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
16119   JAMES, MIKE                   8262    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
16120   JAMES, MIKE   Laredo, LLC     14012   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2343 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16121   JAMES, MIKE                     19759   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16122   JAMES, MIKE                     25493   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16123   JAMES, MIKE                     31253   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16124   JAMES, RHONDA                   8547    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16125   JAMES, RHONDA   Laredo, LLC     14297   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16126   JAMES, RHONDA                   20044   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16127   JAMES, RHONDA                   25776   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2344 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16128   JAMES, RHONDA                      31538   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16129   JANIE, FORSMAN                     7235    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16130   JANIE, FORSMAN Laredo, LLC         12985   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16131   JANIE, FORSMAN                     18732   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16132   JANIE, FORSMAN                     24466   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16133   JANIE, FORSMAN                     30226   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16134   JANISSE, CHARLES                   6697    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2345 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16135   JANISSE, CHARLES Laredo, LLC       12447   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16136   JANISSE, CHARLES                   18194   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16137   JANISSE, CHARLES                   23928   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16138   JANISSE, CHARLES                   29688   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16139   JANUSCH, MIKE                      8263    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16140   JANUSCH, MIKE      Laredo, LLC     14013   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16141   JANUSCH, MIKE                      19760   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2346 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16142   JANUSCH, MIKE                     25494   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16143   JANUSCH, MIKE                     31254   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16144   JARAMILLO, JOSE Laredo, LLC       32778   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16145   JARAMILLO, JOSE                   33769   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16146   JARAMILLO, JOSE                   34760   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16147   JARAMILLO, JOSE                   35751   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16148   JARAMILLO, JOSE                   36742   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2347 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16149   JARED, MELISSA                   4506    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16150   JARED, MELISSA   Laredo, LLC     10256   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16151   JARED, MELISSA                   16003   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16152   JARED, MELISSA                   21749   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16153   JARED, MELISSA                   27497   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JARMUSH,         Barney Davis,
16154                                    8099    8/1/2022     Secured: $0.00
        MARILYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JARMUSH,
16155                    Laredo, LLC     13849   8/1/2022     Secured: $0.00
        MARILYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2348 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARMUSH,      Nueces Bay,
16156                                 19596   8/1/2022     Secured: $0.00
        MARILYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARMUSH,      Talen Texas
16157                                 25330   8/1/2022     Secured: $0.00
        MARILYN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARMUSH,      Talen Texas,
16158                                 31090   8/1/2022     Secured: $0.00
        MARILYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARRETT,      Barney Davis,
16159                                 6967    8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARRETT,
16160                 Laredo, LLC     12717   8/1/2022     Secured: $0.00
        DEBORAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARRETT,      Nueces Bay,
16161                                 18464   8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JARRETT,      Talen Texas
16162                                 24198   8/1/2022     Secured: $0.00
        DEBORAH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2349 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JARRETT,         Talen Texas,
16163                                    29958   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16164   JASON, JASMINE                   3832    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16165   JASON, JASMINE   Laredo, LLC     9582    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16166   JASON, JASMINE                   15329   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16167   JASON, JASMINE                   21076   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16168   JASON, JASMINE                   26823   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JASPERSON,       Barney Davis,
16169                                    6605    8/1/2022     Secured: $0.00
        BRUCE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2350 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JASPERSON,
16170                  Laredo, LLC     12355   8/1/2022     Secured: $0.00
        BRUCE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JASPERSON,     Nueces Bay,
16171                                  18102   8/1/2022     Secured: $0.00
        BRUCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JASPERSON,     Talen Texas
16172                                  23836   8/1/2022     Secured: $0.00
        BRUCE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JASPERSON,     Talen Texas,
16173                                  29596   8/1/2022     Secured: $0.00
        BRUCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16174   JASSO, GRACE   Laredo, LLC     32779   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16175   JASSO, GRACE                   33770   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16176   JASSO, GRACE                   34761   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2351 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16177   JASSO, GRACE                   35752   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16178   JASSO, GRACE                   36743   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16179   JASSO, LINA                    7980    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16180   JASSO, LINA    Laredo, LLC     13730   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16181   JASSO, LINA                    19477   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16182   JASSO, LINA                    25211   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16183   JASSO, LINA                    30971   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2352 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16184   JASSO, MARIO A.                   4469    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16185   JASSO, MARIO A. Laredo, LLC       10219   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16186   JASSO, MARIO A.                   15966   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16187   JASSO, MARIO A.                   21712   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16188   JASSO, MARIO A.                   27460   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        JAYNE ORETGA,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF    Barney Davis,
16189                                     5422    8/1/2022     Secured: $0.00
        THE ESTATE OF     LLC
                                                               General Unsecured: $0.00 + Unliquidated
        ROBERT A.
        MICHAEL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        JAYNE ORETGA,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF
16190                     Laredo, LLC     11172   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                               General Unsecured: $0.00 + Unliquidated
        ROBERT A.
        MICHAEL
                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2353 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        JAYNE ORETGA,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF    Nueces Bay,
16191                                     16919   8/1/2022     Secured: $0.00
        THE ESTATE OF     LLC
                                                               General Unsecured: $0.00 + Unliquidated
        ROBERT A.
        MICHAEL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        JAYNE ORETGA,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF    Talen Texas
16192                                     22664   8/1/2022     Secured: $0.00
        THE ESTATE OF     Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        ROBERT A.
        MICHAEL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        JAYNE ORETGA,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF    Talen Texas,
16193                                     28413   8/1/2022     Secured: $0.00
        THE ESTATE OF     LLC
                                                               General Unsecured: $0.00 + Unliquidated
        ROBERT A.
        MICHAEL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16194   JEFFCOAT, PEGGY                   8434    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16195   JEFFCOAT, PEGGY Laredo, LLC       14184   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16196   JEFFCOAT, PEGGY                   19931   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16197   JEFFCOAT, PEGGY                   25664   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2354 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16198   JEFFCOAT, PEGGY                   31425   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16199   JEFFERS, GLORIA                   4205    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16200   JEFFERS, GLORIA   Laredo, LLC     9955    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16201   JEFFERS, GLORIA                   15702   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16202   JEFFERS, GLORIA                   21448   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16203   JEFFERS, GLORIA                   27196   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16204   JEFFERSON, LISA                   5468    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2355 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16205   JEFFERSON, LISA   Laredo, LLC     11218   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16206   JEFFERSON, LISA                   16965   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16207   JEFFERSON, LISA                   22710   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16208   JEFFERSON, LISA                   28459   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16209   JEFFERY, HELEN                    4221    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16210   JEFFERY, HELEN    Laredo, LLC     9971    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16211   JEFFERY, HELEN                    15718   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2356 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16212   JEFFERY, HELEN                     21464   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16213   JEFFERY, HELEN                     27212   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16214   JEFFERY, SHAKIRA                   8776    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16215   JEFFERY, SHAKIRA Laredo, LLC       14526   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16216   JEFFERY, SHAKIRA                   20273   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16217   JEFFERY, SHAKIRA                   26005   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16218   JEFFERY, SHAKIRA                   31767   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2357 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        JEFFREY MOEN,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
16219   AND AS HEIR OF                   5414    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        KENNETH MOEN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JEFFREY MOEN,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
16220   AND AS HEIR OF   Laredo, LLC     11164   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        KENNETH MOEN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JEFFREY MOEN,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
16221   AND AS HEIR OF                   16911   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        KENNETH MOEN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JEFFREY MOEN,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
16222   AND AS HEIR OF                   22656   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        KENNETH MOEN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JEFFREY MOEN,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
16223   AND AS HEIR OF                   28405   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        KENNETH MOEN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16224   JEFFREY, KEVIN                   7829    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16225   JEFFREY, KEVIN   Laredo, LLC     13579   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2358 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16226   JEFFREY, KEVIN                   19326   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16227   JEFFREY, KEVIN                   25060   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16228   JEFFREY, KEVIN                   30820   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        JEM                                                   Priority: $0.00
                         Nueces Bay,
16229   UNDERWRITER                      1769    8/1/2022     Secured: $0.00
                         LLC
        MANAGERS                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        JEM                                                   Priority: $0.00
                         Barney Davis,
16230   UNDERWRITING                     1399    7/29/2022    Secured: $0.00
                         LLC
        MANAGERS                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        JEM                                                   Priority: $0.00
16231   UNDERWRITING     Laredo, LLC     1730    8/1/2022     Secured: $0.00
        MANAGERS                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16232   JEMISON, NINA                    8343    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2359 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16233   JEMISON, NINA    Laredo, LLC     14093   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16234   JEMISON, NINA                    19840   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16235   JEMISON, NINA                    25574   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16236   JEMISON, NINA                    31334   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16237   JENKINS, ANNIA                   5743    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16238   JENKINS, ANNIA   Laredo, LLC     11493   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16239   JENKINS, ANNIA                   17240   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2360 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16240   JENKINS, ANNIA                   22985   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16241   JENKINS, ANNIA                   28734   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Barney Davis,
16242                                    4850    8/1/2022     Secured: $0.00
        BERTRAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,
16243                    Laredo, LLC     10600   8/1/2022     Secured: $0.00
        BERTRAM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Nueces Bay,
16244                                    16347   8/1/2022     Secured: $0.00
        BERTRAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Talen Texas
16245                                    22093   8/1/2022     Secured: $0.00
        BERTRAM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Talen Texas,
16246                                    27841   8/1/2022     Secured: $0.00
        BERTRAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2361 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,           Barney Davis,
16247                                      3978    8/1/2022     Secured: $0.00
        BRANDEN            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,
16248                      Laredo, LLC     9728    8/1/2022     Secured: $0.00
        BRANDEN
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,           Nueces Bay,
16249                                      15475   8/1/2022     Secured: $0.00
        BRANDEN            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,           Talen Texas
16250                                      21221   8/1/2022     Secured: $0.00
        BRANDEN            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,           Talen Texas,
16251                                      26969   8/1/2022     Secured: $0.00
        BRANDEN            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16252   JENKINS, DARRIES                   6910    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16253   JENKINS, DARRIES Laredo, LLC       12660   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2362 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16254   JENKINS, DARRIES                   18407   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16255   JENKINS, DARRIES                   24141   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16256   JENKINS, DARRIES                   29901   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16257   JENKINS, DELISA                    4117    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16258   JENKINS, DELISA    Laredo, LLC     9867    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16259   JENKINS, DELISA                    15614   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16260   JENKINS, DELISA                    21360   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2363 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16261   JENKINS, DELISA                   27108   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16262   JENKINS, DORA                     7086    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16263   JENKINS, DORA     Laredo, LLC     12836   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16264   JENKINS, DORA                     18583   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16265   JENKINS, DORA                     24317   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16266   JENKINS, DORA                     30077   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JENKINS, JOYCE    Barney Davis,
16267                                     7690    8/1/2022     Secured: $0.00
        MONTGOMERY        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2364 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS, JOYCE
16268                    Laredo, LLC     13440   8/1/2022     Secured: $0.00
        MONTGOMERY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS, JOYCE   Nueces Bay,
16269                                    19187   8/1/2022     Secured: $0.00
        MONTGOMERY       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS, JOYCE   Talen Texas
16270                                    24921   8/1/2022     Secured: $0.00
        MONTGOMERY       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS, JOYCE   Talen Texas,
16271                                    30681   8/1/2022     Secured: $0.00
        MONTGOMERY       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Barney Davis,
16272                                    7740    8/1/2022     Secured: $0.00
        KANDRICK         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,
16273                    Laredo, LLC     13490   8/1/2022     Secured: $0.00
        KANDRICK
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Nueces Bay,
16274                                    19237   8/1/2022     Secured: $0.00
        KANDRICK         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2365 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JENKINS,          Talen Texas
16275                                     24971   8/1/2022     Secured: $0.00
        KANDRICK          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JENKINS,          Talen Texas,
16276                                     30731   8/1/2022     Secured: $0.00
        KANDRICK          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16277   JENKINS, KATINA                   7779    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16278   JENKINS, KATINA Laredo, LLC       13529   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16279   JENKINS, KATINA                   19276   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16280   JENKINS, KATINA                   25010   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16281   JENKINS, KATINA                   30770   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2366 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16282   JENKINS, LATASHA                   3857    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16283   JENKINS, LATASHA Laredo, LLC       9607    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16284   JENKINS, LATASHA                   15354   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16285   JENKINS, LATASHA                   21101   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16286   JENKINS, LATASHA                   26848   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,           Barney Davis,
16287                                      3701    8/1/2022     Secured: $0.00
        ROCHELLE           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        JENKINS,
16288                      Laredo, LLC     9451    8/1/2022     Secured: $0.00
        ROCHELLE
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2367 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,      Nueces Bay,
16289                                 15198   8/1/2022     Secured: $0.00
        ROCHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,      Talen Texas
16290                                 20945   8/1/2022     Secured: $0.00
        ROCHELLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,      Talen Texas,
16291                                 26692   8/1/2022     Secured: $0.00
        ROCHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,      Barney Davis,
16292                                 5867    8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,
16293                 Laredo, LLC     11617   8/1/2022     Secured: $0.00
        SAMANTHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,      Nueces Bay,
16294                                 17364   8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENKINS,      Talen Texas
16295                                 23109   8/1/2022     Secured: $0.00
        SAMANTHA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2368 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS,         Talen Texas,
16296                                    28858   8/1/2022     Secured: $0.00
        SAMANTHA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS‐SORCE,   Barney Davis,
16297                                    8846    8/1/2022     Secured: $0.00
        SIERRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS‐SORCE,
16298                    Laredo, LLC     14596   8/1/2022     Secured: $0.00
        SIERRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS‐SORCE,   Nueces Bay,
16299                                    20343   8/1/2022     Secured: $0.00
        SIERRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS‐SORCE,   Talen Texas
16300                                    26075   8/1/2022     Secured: $0.00
        SIERRA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENKINS‐SORCE,   Talen Texas,
16301                                    31837   8/1/2022     Secured: $0.00
        SIERRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JENNIFER BLAKE,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF Barney Davis,
16302                                    5392    8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        BARBARA
        MICHAEL
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2369 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        JENNIFER BLAKE,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF
16303                   Laredo, LLC    11142   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                            General Unsecured: $0.00 + Unliquidated
        BARBARA
        MICHAEL
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        JENNIFER BLAKE,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Nueces Bay,
16304                                  16889   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        BARBARA
        MICHAEL
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        JENNIFER BLAKE,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Talen Texas
16305                                  22634   8/1/2022     Secured: $0.00
        THE ESTATE OF   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        BARBARA
        MICHAEL
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        JENNIFER BLAKE,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Talen Texas,
16306                                  28383   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        BARBARA
        MICHAEL
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        JENNIFER WYRICK,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Barney Davis,
16307                                  3747    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                            General Unsecured: $0.00 + Unliquidated
        JACKIE JAMES
        WYRICK
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        JENNIFER WYRICK,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF
16308                    Laredo, LLC   9497    8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                            General Unsecured: $0.00 + Unliquidated
        JACKIE JAMES
        WYRICK
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        JENNIFER WYRICK,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Nueces Bay,
16309                                  15244   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                            General Unsecured: $0.00 + Unliquidated
        JACKIE JAMES
        WYRICK
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2370 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        JENNIFER WYRICK,
                                                               Other Administrative: $0.00
        INDIVIDUALLY
                                                               Priority: $0.00
        AND AS HEIR OF Talen Texas
16310                                     20991   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        JACKIE JAMES
        WYRICK
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        JENNIFER WYRICK,
                                                               Other Administrative: $0.00
        INDIVIDUALLY
                                                               Priority: $0.00
        AND AS HEIR OF Talen Texas,
16311                                     26738   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                               General Unsecured: $0.00 + Unliquidated
        JACKIE JAMES
        WYRICK
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16312   JENNINGS, DOLLY Laredo, LLC       32780   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16313   JENNINGS, DOLLY                   33771   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16314   JENNINGS, DOLLY                   34762   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16315   JENNINGS, DOLLY                   35753   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16316   JENNINGS, DOLLY                   36744   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2371 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,
16317                 Laredo, LLC     32781   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Barney Davis,
16318                                 33772   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Nueces Bay,
16319                                 34763   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Talen Texas
16320                                 35754   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Talen Texas,
16321                                 36745   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Barney Davis,
16322                                 8141    8/1/2022     Secured: $0.00
        MARTHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,
16323                 Laredo, LLC     13891   8/1/2022     Secured: $0.00
        MARTHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2372 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Nueces Bay,
16324                                 19638   8/1/2022     Secured: $0.00
        MARTHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Talen Texas
16325                                 25372   8/1/2022     Secured: $0.00
        MARTHA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Talen Texas,
16326                                 31132   8/1/2022     Secured: $0.00
        MARTHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Barney Davis,
16327                                 8570    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,
16328                 Laredo, LLC     14320   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Nueces Bay,
16329                                 20067   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JENNINGS,     Talen Texas
16330                                 25799   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2373 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENNINGS,        Talen Texas,
16331                                    31561   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16332   JENNINGS, TONI                   9037    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16333   JENNINGS, TONI   Laredo, LLC     14787   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16334   JENNINGS, TONI                   20534   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16335   JENNINGS, TONI                   26266   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16336   JENNINGS, TONI                   32028   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JENNINGS‐
16337                    Laredo, LLC     32782   8/1/2022     Secured: $0.00
        GOMEZ, TRACEY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2374 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JENNINGS‐       Barney Davis,
16338                                   33773   8/1/2022     Secured: $0.00
        GOMEZ, TRACEY   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JENNINGS‐       Nueces Bay,
16339                                   34764   8/1/2022     Secured: $0.00
        GOMEZ, TRACEY   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JENNINGS‐       Talen Texas
16340                                   35755   8/1/2022     Secured: $0.00
        GOMEZ, TRACEY   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JENNINGS‐       Talen Texas,
16341                                   36746   8/1/2022     Secured: $0.00
        GOMEZ, TRACEY   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16342   JENNY, STACEY                   9325    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16343   JENNY, STACEY   Laredo, LLC     15075   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16344   JENNY, STACEY                   20822   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2375 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16345   JENNY, STACEY                   26554   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16346   JENNY, STACEY                   32316   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16347   JERDO, TRACY                    5349    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16348   JERDO, TRACY    Laredo, LLC     11099   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16349   JERDO, TRACY                    16846   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16350   JERDO, TRACY                    22591   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16351   JERDO, TRACY                    28340   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2376 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JERNIGAN,      Barney Davis,
16352                                  3740    8/1/2022     Secured: $0.00
        DANIELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JERNIGAN,
16353                  Laredo, LLC     9490    8/1/2022     Secured: $0.00
        DANIELLE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JERNIGAN,      Nueces Bay,
16354                                  15237   8/1/2022     Secured: $0.00
        DANIELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JERNIGAN,      Talen Texas
16355                                  20984   8/1/2022     Secured: $0.00
        DANIELLE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JERNIGAN,      Talen Texas,
16356                                  26731   8/1/2022     Secured: $0.00
        DANIELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16357   JESSIE, MARY                   5623    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16358   JESSIE, MARY   Laredo, LLC     11373   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2377 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16359   JESSIE, MARY                      17120   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16360   JESSIE, MARY                      22865   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16361   JESSIE, MARY                      28614   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16362   JETER, JENNIFER                   4268    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16363   JETER, JENNIFER   Laredo, LLC     10018   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16364   JETER, JENNIFER                   15765   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16365   JETER, JENNIFER                   21511   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2378 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16366   JETER, JENNIFER                   27259   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        JEWELERS
                                                               Priority: $0.00
        MUTUAL
16367                     Laredo, LLC     2608    7/31/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $8,743.00 + Unliquidated
        COMPANY
                                                               Total: $8,743.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        JEWELERS
                                                               Priority: $0.00
        MUTUAL            Barney Davis,
16368                                     2666    7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $8,743.00 + Unliquidated
        COMPANY
                                                               Total: $8,743.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        JEWELERS
                                                               Priority: $0.00
        MUTUAL            Nueces Bay,
16369                                     2753    7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $8,743.00 + Unliquidated
        COMPANY
                                                               Total: $8,743.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JEWEL'S        Barney Davis,
16370                                     5654    8/1/2022     Secured: $0.00
        COMFORT KEEPER LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JEWEL'S
16371                  Laredo, LLC        11404   8/1/2022     Secured: $0.00
        COMFORT KEEPER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JEWEL'S        Nueces Bay,
16372                                     17151   8/1/2022     Secured: $0.00
        COMFORT KEEPER LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2379 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        JEWEL'S        Talen Texas
16373                                       22896   8/1/2022     Secured: $0.00
        COMFORT KEEPER Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        JEWEL'S        Talen Texas,
16374                                       28645   8/1/2022     Secured: $0.00
        COMFORT KEEPER LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
16375   JILES, JUNE MARIE                   7725    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
16376   JILES, JUNE MARIE Laredo, LLC       13475   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
16377   JILES, JUNE MARIE                   19222   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
16378   JILES, JUNE MARIE                   24956   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
16379   JILES, JUNE MARIE                   30716   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2380 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,      Barney Davis,
16380                                 4216    8/1/2022     Secured: $0.00
        GUADALUPE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,
16381                 Laredo, LLC     9966    8/1/2022     Secured: $0.00
        GUADALUPE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,      Nueces Bay,
16382                                 15713   8/1/2022     Secured: $0.00
        GUADALUPE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,      Talen Texas
16383                                 21459   8/1/2022     Secured: $0.00
        GUADALUPE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,      Talen Texas,
16384                                 27207   8/1/2022     Secured: $0.00
        GUADALUPE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,      Barney Davis,
16385                                 8271    8/1/2022     Secured: $0.00
        MINERVA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JIMENEZ,
16386                 Laredo, LLC     14021   8/1/2022     Secured: $0.00
        MINERVA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2381 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JIMENEZ,        Nueces Bay,
16387                                   19768   8/1/2022     Secured: $0.00
        MINERVA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JIMENEZ,        Talen Texas
16388                                   25502   8/1/2022     Secured: $0.00
        MINERVA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JIMENEZ,        Talen Texas,
16389                                   31262   8/1/2022     Secured: $0.00
        MINERVA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16390   JIMENEZ, TONY                   9043    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16391   JIMENEZ, TONY   Laredo, LLC     14793   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16392   JIMENEZ, TONY                   20540   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16393   JIMENEZ, TONY                   26272   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2382 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16394   JIMENEZ, TONY                     32034   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JIMENEZ,          Barney Davis,
16395                                     4765    8/1/2022     Secured: $0.00
        VANESSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JIMENEZ,
16396                     Laredo, LLC     10515   8/1/2022     Secured: $0.00
        VANESSA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JIMENEZ,          Nueces Bay,
16397                                     16262   8/1/2022     Secured: $0.00
        VANESSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JIMENEZ,          Talen Texas
16398                                     22008   8/1/2022     Secured: $0.00
        VANESSA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JIMENEZ,          Talen Texas,
16399                                     27756   8/1/2022     Secured: $0.00
        VANESSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16400   JIMENEZ, VICTOR                   9112    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2383 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16401   JIMENEZ, VICTOR Laredo, LLC       14862   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16402   JIMENEZ, VICTOR                   20609   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16403   JIMENEZ, VICTOR                   26341   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16404   JIMENEZ, VICTOR                   32103   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16405   JINKS, ROBERT                     8610    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16406   JINKS, ROBERT     Laredo, LLC     14360   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16407   JINKS, ROBERT                     20107   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2384 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16408   JINKS, ROBERT                   25839   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16409   JINKS, ROBERT                   31601   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16410   JOB, JAMES                      7450    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16411   JOB, JAMES      Laredo, LLC     13200   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16412   JOB, JAMES                      18947   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16413   JOB, JAMES                      24681   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16414   JOB, JAMES                      30441   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2385 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
16415   JOHANSON, LILLIE                   7979    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
16416   JOHANSON, LILLIE Laredo, LLC       13729   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
16417   JOHANSON, LILLIE                   19476   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
16418   JOHANSON, LILLIE                   25210   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
16419   JOHANSON, LILLIE                   30970   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
        JOHN SALAZAR,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                           Priority: $0.00
                        Barney Davis,
16420   AND AS HEIR OF                     5393    8/1/2022     Secured: $0.00
                        LLC
        THE ESTATE OF                                           General Unsecured: $0.00 + Unliquidated
        MARIA F SALAZAR
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
        JOHN SALAZAR,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                           Priority: $0.00
16421   AND AS HEIR OF Laredo, LLC         11143   8/1/2022     Secured: $0.00
        THE ESTATE OF                                           General Unsecured: $0.00 + Unliquidated
        MARIA F SALAZAR
                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2386 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        JOHN SALAZAR,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                        Nueces Bay,
16422   AND AS HEIR OF                   16890   8/1/2022     Secured: $0.00
                        LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        MARIA F SALAZAR
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JOHN SALAZAR,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                        Talen Texas
16423   AND AS HEIR OF                   22635   8/1/2022     Secured: $0.00
                        Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        MARIA F SALAZAR
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        JOHN SALAZAR,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                        Talen Texas,
16424   AND AS HEIR OF                   28384   8/1/2022     Secured: $0.00
                        LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        MARIA F SALAZAR
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHN,            Barney Davis,
16425                                    3932    8/1/2022     Secured: $0.00
        ANNASTASIA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHN,
16426                    Laredo, LLC     9682    8/1/2022     Secured: $0.00
        ANNASTASIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHN,            Nueces Bay,
16427                                    15429   8/1/2022     Secured: $0.00
        ANNASTASIA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHN,            Talen Texas
16428                                    21175   8/1/2022     Secured: $0.00
        ANNASTASIA       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2387 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHN,          Talen Texas,
16429                                  26923   8/1/2022     Secured: $0.00
        ANNASTASIA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16430   JOHN, BABY                     6478    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16431   JOHN, BABY     Laredo, LLC     12228   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16432   JOHN, BABY                     17975   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16433   JOHN, BABY                     23710   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16434   JOHN, BABY                     29469   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16435   JOHNDROW, ANN Laredo, LLC      32783   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2388 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16436   JOHNDROW, ANN                   33774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16437   JOHNDROW, ANN                   34765   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16438   JOHNDROW, ANN                   35756   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16439   JOHNDROW, ANN                   36747   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16440   JOHNS, GLORIA                   7312    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16441   JOHNS, GLORIA   Laredo, LLC     13062   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16442   JOHNS, GLORIA                   18809   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2389 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16443   JOHNS, GLORIA                    24543   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16444   JOHNS, GLORIA                    30303   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16445   JOHNS, JANETTE                   9262    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16446   JOHNS, JANETTE   Laredo, LLC     15012   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16447   JOHNS, JANETTE                   20759   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16448   JOHNS, JANETTE                   26491   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16449   JOHNS, JANETTE                   32253   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2390 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16450   JOHNSON, ALAN   Laredo, LLC     32784   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16451   JOHNSON, ALAN                   33775   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16452   JOHNSON, ALAN                   34766   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16453   JOHNSON, ALAN                   35757   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16454   JOHNSON, ALAN                   36748   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Barney Davis,
16455                                   5735    8/1/2022     Secured: $0.00
        ALLISON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16456                   Laredo, LLC     11485   8/1/2022     Secured: $0.00
        ALLISON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2391 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Nueces Bay,
16457                                   17232   8/1/2022     Secured: $0.00
        ALLISON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas
16458                                   22977   8/1/2022     Secured: $0.00
        ALLISON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas,
16459                                   28726   8/1/2022     Secured: $0.00
        ALLISON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, AMY‐   Barney Davis,
16460                                   5738    8/1/2022     Secured: $0.00
        BETH            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, AMY‐
16461                   Laredo, LLC     11488   8/1/2022     Secured: $0.00
        BETH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, AMY‐   Nueces Bay,
16462                                   17235   8/1/2022     Secured: $0.00
        BETH            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, AMY‐   Talen Texas
16463                                   22980   8/1/2022     Secured: $0.00
        BETH            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2392 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, AMY‐   Talen Texas,
16464                                   28729   8/1/2022     Secured: $0.00
        BETH            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16465                   Laredo, LLC     32785   8/1/2022     Secured: $0.00
        ANDREA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Barney Davis,
16466                                   33776   8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Nueces Bay,
16467                                   34767   8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas
16468                                   35758   8/1/2022     Secured: $0.00
        ANDREA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas,
16469                                   36749   8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Barney Davis,
16470                                   3817    8/1/2022     Secured: $0.00
        ANTHONY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2393 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16471                 Laredo, LLC     9567    8/1/2022     Secured: $0.00
        ANTHONY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16472                                 15314   8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16473                                 21061   8/1/2022     Secured: $0.00
        ANTHONY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16474                                 26808   8/1/2022     Secured: $0.00
        ANTHONY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16475                                 6431    8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16476                 Laredo, LLC     12181   8/1/2022     Secured: $0.00
        ANTOINETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16477                                 17928   8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2394 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas
16478                                    23663   8/1/2022     Secured: $0.00
        ANTOINETTE       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas,
16479                                    29422   8/1/2022     Secured: $0.00
        ANTOINETTE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16480   JOHNSON, BETTY                   5747    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16481   JOHNSON, BETTY Laredo, LLC       11497   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16482   JOHNSON, BETTY                   17244   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16483   JOHNSON, BETTY                   22989   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16484   JOHNSON, BETTY                   28738   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2395 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16485   JOHNSON, BOBBY                   4863    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16486   JOHNSON, BOBBY Laredo, LLC       10613   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16487   JOHNSON, BOBBY                   16360   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16488   JOHNSON, BOBBY                   22106   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16489   JOHNSON, BOBBY                   27854   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16490                                    4871    8/1/2022     Secured: $0.00
        BRENDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,
16491                    Laredo, LLC     10621   8/1/2022     Secured: $0.00
        BRENDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2396 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16492                                 16368   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16493                                 22114   8/1/2022     Secured: $0.00
        BRENDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16494                                 27862   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16495                                 6593    8/1/2022     Secured: $0.00
        BRITTANI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16496                 Laredo, LLC     12343   8/1/2022     Secured: $0.00
        BRITTANI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16497                                 18090   8/1/2022     Secured: $0.00
        BRITTANI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16498                                 23824   8/1/2022     Secured: $0.00
        BRITTANI      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2397 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas,
16499                                    29584   8/1/2022     Secured: $0.00
        BRITTANI         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, BRUCE Barney Davis,
16500                                    3996    8/1/2022     Secured: $0.00
        HILL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, BRUCE
16501                  Laredo, LLC       9746    8/1/2022     Secured: $0.00
        HILL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, BRUCE Nueces Bay,
16502                                    15493   8/1/2022     Secured: $0.00
        HILL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, BRUCE Talen Texas
16503                                    21239   8/1/2022     Secured: $0.00
        HILL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, BRUCE Talen Texas,
16504                                    26987   8/1/2022     Secured: $0.00
        HILL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16505   JOHNSON, CAROL                   4882    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2398 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16506   JOHNSON, CAROL Laredo, LLC       10632   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16507   JOHNSON, CAROL                   16379   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16508   JOHNSON, CAROL                   22124   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16509   JOHNSON, CAROL                   27873   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16510                                    6712    8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,
16511                    Laredo, LLC     12462   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Nueces Bay,
16512                                    18209   8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2399 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16513                                 23943   8/1/2022     Secured: $0.00
        CHARLOTTE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16514                                 29703   8/1/2022     Secured: $0.00
        CHARLOTTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16515                                 6751    8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16516                 Laredo, LLC     12501   8/1/2022     Secured: $0.00
        CHRISTINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16517                                 18248   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16518                                 23982   8/1/2022     Secured: $0.00
        CHRISTINA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16519                                 29742   8/1/2022     Secured: $0.00
        CHRISTINA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2400 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16520   JOHNSON, CODY                   6807    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16521   JOHNSON, CODY   Laredo, LLC     12557   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16522   JOHNSON, CODY                   18304   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16523   JOHNSON, CODY                   24038   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16524   JOHNSON, CODY                   29798   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Barney Davis,
16525                                   6831    8/1/2022     Secured: $0.00
        COWANA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16526                   Laredo, LLC     12581   8/1/2022     Secured: $0.00
        COWANA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2401 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16527                                 18328   8/1/2022     Secured: $0.00
        COWANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16528                                 24062   8/1/2022     Secured: $0.00
        COWANA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16529                                 29822   8/1/2022     Secured: $0.00
        COWANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16530                                 6876    8/1/2022     Secured: $0.00
        DAMIAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16531                 Laredo, LLC     12626   8/1/2022     Secured: $0.00
        DAMIAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16532                                 18373   8/1/2022     Secured: $0.00
        DAMIAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16533                                 24107   8/1/2022     Secured: $0.00
        DAMIAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2402 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas,
16534                                    29867   8/1/2022     Secured: $0.00
        DAMIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16535   JOHNSON, DARIN                   6905    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16536   JOHNSON, DARIN Laredo, LLC       12655   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16537   JOHNSON, DARIN                   18402   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16538   JOHNSON, DARIN                   24136   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16539   JOHNSON, DARIN                   29896   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16540                                    6095    8/1/2022     Secured: $0.00
        D'ARRIN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2403 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16541                   Laredo, LLC     11845   8/1/2022     Secured: $0.00
        D'ARRIN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Nueces Bay,
16542                                   17592   8/1/2022     Secured: $0.00
        D'ARRIN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas
16543                                   23337   8/1/2022     Secured: $0.00
        D'ARRIN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas,
16544                                   29086   8/1/2022     Secured: $0.00
        D'ARRIN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16545   JOHNSON, DAVE                   6917    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16546   JOHNSON, DAVE   Laredo, LLC     12667   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16547   JOHNSON, DAVE                   18414   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2404 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16548   JOHNSON, DAVE                     24148   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16549   JOHNSON, DAVE                     29908   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16550   JOHNSON, DEBBIE                   4105    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16551   JOHNSON, DEBBIE Laredo, LLC       9855    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16552   JOHNSON, DEBBIE                   15602   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16553   JOHNSON, DEBBIE                   21348   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16554   JOHNSON, DEBBIE                   27096   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2405 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16555   JOHNSON, DEBRA                   6974    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16556   JOHNSON, DEBRA Laredo, LLC       12724   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16557   JOHNSON, DEBRA                   18471   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16558   JOHNSON, DEBRA                   24205   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16559   JOHNSON, DEBRA                   29965   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16560   JOHNSON, DEREK                   7006    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16561   JOHNSON, DEREK Laredo, LLC       12756   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2406 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16562   JOHNSON, DEREK                   18503   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16563   JOHNSON, DEREK                   24237   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16564   JOHNSON, DEREK                   29997   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16565   JOHNSON, DIANE                   6244    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16566   JOHNSON, DIANE Laredo, LLC       11994   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16567   JOHNSON, DIANE                   17741   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16568   JOHNSON, DIANE                   23476   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2407 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16569   JOHNSON, DIANE                   29235   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16570                                    5447    8/1/2022     Secured: $0.00
        DOMINIQUE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,
16571                    Laredo, LLC     11197   8/1/2022     Secured: $0.00
        DOMINIQUE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Nueces Bay,
16572                                    16944   8/1/2022     Secured: $0.00
        DOMINIQUE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas
16573                                    22689   8/1/2022     Secured: $0.00
        DOMINIQUE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas,
16574                                    28438   8/1/2022     Secured: $0.00
        DOMINIQUE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16575                                    7106    8/1/2022     Secured: $0.00
        DOUGLAS W        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2408 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16576                   Laredo, LLC     12856   8/1/2022     Secured: $0.00
        DOUGLAS W
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Nueces Bay,
16577                                   18603   8/1/2022     Secured: $0.00
        DOUGLAS W       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas
16578                                   24337   8/1/2022     Secured: $0.00
        DOUGLAS W       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas,
16579                                   30097   8/1/2022     Secured: $0.00
        DOUGLAS W       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16580   JOHNSON, EDDY                   7126    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16581   JOHNSON, EDDY   Laredo, LLC     12876   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16582   JOHNSON, EDDY                   18623   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2409 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16583   JOHNSON, EDDY                   24357   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16584   JOHNSON, EDDY                   30117   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16585   JOHNSON, FAYE                   7224    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16586   JOHNSON, FAYE   Laredo, LLC     12974   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16587   JOHNSON, FAYE                   18721   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16588   JOHNSON, FAYE                   24455   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16589   JOHNSON, FAYE                   30215   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2410 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16590   JOHNSON, GAIL   Laredo, LLC     32786   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16591   JOHNSON, GAIL   Laredo, LLC     32787   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16592   JOHNSON, GAIL                   33777   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16593   JOHNSON, GAIL                   33778   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16594   JOHNSON, GAIL                   34768   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16595   JOHNSON, GAIL                   34769   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16596   JOHNSON, GAIL                   35759   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2411 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16597   JOHNSON, GAIL                   35760   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16598   JOHNSON, GAIL                   36750   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16599   JOHNSON, GAIL                   36751   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Barney Davis,
16600                                   7373    8/1/2022     Secured: $0.00
        HERBERT         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16601                   Laredo, LLC     13123   8/1/2022     Secured: $0.00
        HERBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Nueces Bay,
16602                                   18870   8/1/2022     Secured: $0.00
        HERBERT         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas
16603                                   24604   8/1/2022     Secured: $0.00
        HERBERT         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2412 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas,
16604                                    30364   8/1/2022     Secured: $0.00
        HERBERT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16605   JOHNSON, JAMES                   7451    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16606   JOHNSON, JAMES Laredo, LLC       13201   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16607   JOHNSON, JAMES                   18948   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16608   JOHNSON, JAMES                   24682   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16609   JOHNSON, JAMES                   30442   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16610   JOHNSON, JO                      4291    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2413 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
16611   JOHNSON, JO   Laredo, LLC     10041   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
16612   JOHNSON, JO                   15788   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
16613   JOHNSON, JO                   21534   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
16614   JOHNSON, JO                   27282   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16615                                 7638    8/1/2022     Secured: $0.00
        JOHNNY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16616                 Laredo, LLC     13388   8/1/2022     Secured: $0.00
        JOHNNY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16617                                 19135   8/1/2022     Secured: $0.00
        JOHNNY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2414 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16618                                 24869   8/1/2022     Secured: $0.00
        JOHNNY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16619                                 30629   8/1/2022     Secured: $0.00
        JOHNNY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16620                                 4326    8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16621                 Laredo, LLC     10076   8/1/2022     Secured: $0.00
        JOSEPH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16622                                 15823   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16623                                 21569   8/1/2022     Secured: $0.00
        JOSEPH        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16624                                 27317   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2415 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16625   JOHNSON, JULIA                   4346    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16626   JOHNSON, JULIA   Laredo, LLC     10096   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16627   JOHNSON, JULIA                   15843   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16628   JOHNSON, JULIA                   21589   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16629   JOHNSON, JULIA                   27337   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16630   JOHNSON, KAREN                   4354    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16631   JOHNSON, KAREN Laredo, LLC       10104   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2416 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16632   JOHNSON, KAREN                   15851   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16633   JOHNSON, KAREN                   21597   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16634   JOHNSON, KAREN                   27345   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16635   JOHNSON, KATIE                   7778    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16636   JOHNSON, KATIE   Laredo, LLC     13528   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16637   JOHNSON, KATIE                   19275   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16638   JOHNSON, KATIE                   25009   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2417 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16639   JOHNSON, KATIE                   30769   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16640   JOHNSON, KAY                     7785    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16641   JOHNSON, KAY     Laredo, LLC     13535   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16642   JOHNSON, KAY                     19282   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16643   JOHNSON, KAY                     25016   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16644   JOHNSON, KAY                     30776   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16645   JOHNSON, KEETH                   5071    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2418 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16646   JOHNSON, KEETH Laredo, LLC       10821   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16647   JOHNSON, KEETH                   16568   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16648   JOHNSON, KEETH                   22313   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16649   JOHNSON, KEETH                   28062   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16650                                    4380    8/1/2022     Secured: $0.00
        KERRON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,
16651                    Laredo, LLC     10130   8/1/2022     Secured: $0.00
        KERRON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Nueces Bay,
16652                                    15877   8/1/2022     Secured: $0.00
        KERRON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2419 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16653                                 21623   8/1/2022     Secured: $0.00
        KERRON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16654                                 27371   8/1/2022     Secured: $0.00
        KERRON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16655                                 3646    8/1/2022     Secured: $0.00
        KEYANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16656                 Laredo, LLC     9396    8/1/2022     Secured: $0.00
        KEYANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16657                                 15143   8/1/2022     Secured: $0.00
        KEYANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16658                                 20890   8/1/2022     Secured: $0.00
        KEYANNA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16659                                 26637   8/1/2022     Secured: $0.00
        KEYANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2420 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16660                                 4395    8/1/2022     Secured: $0.00
        LAKEISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16661                 Laredo, LLC     10145   8/1/2022     Secured: $0.00
        LAKEISHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16662                                 15892   8/1/2022     Secured: $0.00
        LAKEISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16663                                 21638   8/1/2022     Secured: $0.00
        LAKEISHA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16664                                 27386   8/1/2022     Secured: $0.00
        LAKEISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16665                                 7904    8/1/2022     Secured: $0.00
        LANTRANETTE   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16666                 Laredo, LLC     13654   8/1/2022     Secured: $0.00
        LANTRANETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2421 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16667                                 19401   8/1/2022     Secured: $0.00
        LANTRANETTE   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16668                                 25135   8/1/2022     Secured: $0.00
        LANTRANETTE   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16669                                 30895   8/1/2022     Secured: $0.00
        LANTRANETTE   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16670                 Laredo, LLC     32788   8/1/2022     Secured: $0.00
        LAUREN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16671                                 33779   8/1/2022     Secured: $0.00
        LAUREN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16672                                 34770   8/1/2022     Secured: $0.00
        LAUREN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16673                                 35761   8/1/2022     Secured: $0.00
        LAUREN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2422 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,         Talen Texas,
16674                                   36752   8/1/2022     Secured: $0.00
        LAUREN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, LESTER Barney Davis,
16675                                   5094    8/1/2022     Secured: $0.00
        D.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, LESTER
16676                   Laredo, LLC     10844   8/1/2022     Secured: $0.00
        D.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, LESTER Nueces Bay,
16677                                   16591   8/1/2022     Secured: $0.00
        D.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, LESTER Talen Texas
16678                                   22336   8/1/2022     Secured: $0.00
        D.              Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON, LESTER Talen Texas,
16679                                   28085   8/1/2022     Secured: $0.00
        D.              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16680   JOHNSON, LIA     Laredo, LLC    32789   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2423 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16681   JOHNSON, LIA                    33780   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16682   JOHNSON, LIA                    34771   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16683   JOHNSON, LIA                    35762   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16684   JOHNSON, LIA                    36753   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16685   JOHNSON, LISA                   8000    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16686   JOHNSON, LISA   Laredo, LLC     13750   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16687   JOHNSON, LISA                   19497   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2424 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16688   JOHNSON, LISA                     25231   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16689   JOHNSON, LISA                     30991   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16690   JOHNSON, NICOLE                   5182    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16691   JOHNSON, NICOLE Laredo, LLC       10932   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16692   JOHNSON, NICOLE                   16679   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16693   JOHNSON, NICOLE                   22424   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16694   JOHNSON, NICOLE                   28173   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2425 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16695                                 8348    8/1/2022     Secured: $0.00
        NOLANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16696                 Laredo, LLC     14098   8/1/2022     Secured: $0.00
        NOLANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16697                                 19845   8/1/2022     Secured: $0.00
        NOLANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16698                                 25579   8/1/2022     Secured: $0.00
        NOLANA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16699                                 31339   8/1/2022     Secured: $0.00
        NOLANA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16700                 Laredo, LLC     32790   8/1/2022     Secured: $0.00
        PATRICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16701                                 33781   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2426 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16702                                 34772   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16703                                 35763   8/1/2022     Secured: $0.00
        PATRICIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16704                                 36754   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16705                                 6014    8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16706                 Laredo, LLC     11764   8/1/2022     Secured: $0.00
        PATRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16707                                 17511   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16708                                 23256   8/1/2022     Secured: $0.00
        PATRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2427 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas,
16709                                   29005   8/1/2022     Secured: $0.00
        PATRICK         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16710   JOHNSON, PAUL                   8411    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16711   JOHNSON, PAUL                   8412    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16712   JOHNSON, PAUL   Laredo, LLC     14161   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16713   JOHNSON, PAUL   Laredo, LLC     14162   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16714   JOHNSON, PAUL                   19908   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16715   JOHNSON, PAUL                   19909   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2428 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16716   JOHNSON, PAUL                   25641   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16717   JOHNSON, PAUL                   25642   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16718   JOHNSON, PAUL                   31402   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16719   JOHNSON, PAUL                   31403   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Barney Davis,
16720                                   8530    8/1/2022     Secured: $0.00
        REGINALD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,
16721                   Laredo, LLC     14280   8/1/2022     Secured: $0.00
        REGINALD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Nueces Bay,
16722                                   20027   8/1/2022     Secured: $0.00
        REGINALD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2429 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16723                                 25759   8/1/2022     Secured: $0.00
        REGINALD      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16724                                 31521   8/1/2022     Secured: $0.00
        REGINALD      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16725                                 8548    8/1/2022     Secured: $0.00
        RHONDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16726                 Laredo, LLC     14298   8/1/2022     Secured: $0.00
        RHONDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16727                                 20045   8/1/2022     Secured: $0.00
        RHONDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16728                                 25777   8/1/2022     Secured: $0.00
        RHONDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16729                                 31539   8/1/2022     Secured: $0.00
        RHONDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2430 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16730                                 6170    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16731                 Laredo, LLC     11920   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16732                                 17667   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16733                                 23412   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16734                                 29161   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16735                                 5490    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16736                                 5861    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2431 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16737                                 8611    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16738                 Laredo, LLC     11240   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16739                 Laredo, LLC     11611   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16740                 Laredo, LLC     14361   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16741                                 16987   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16742                                 17358   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16743                                 20108   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2432 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16744                                 22732   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16745                                 23103   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16746                                 25840   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16747                                 28481   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16748                                 28852   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16749                                 31602   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16750                                 4640    8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2433 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16751                 Laredo, LLC     10390   8/1/2022     Secured: $0.00
        RONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16752                                 16137   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16753                                 21883   8/1/2022     Secured: $0.00
        RONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16754                                 27631   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16755                                 6048    8/1/2022     Secured: $0.00
        RONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16756                 Laredo, LLC     11798   8/1/2022     Secured: $0.00
        RONNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16757                                 17545   8/1/2022     Secured: $0.00
        RONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2434 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas
16758                                   23290   8/1/2022     Secured: $0.00
        RONNIE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON,        Talen Texas,
16759                                   29039   8/1/2022     Secured: $0.00
        RONNIE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16760   JOHNSON, ROSE                   5864    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16761   JOHNSON, ROSE   Laredo, LLC     11614   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16762   JOHNSON, ROSE                   17361   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16763   JOHNSON, ROSE                   23106   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16764   JOHNSON, ROSE                   28855   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2435 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Barney Davis,
16765                                  8686    8/1/2022     Secured: $0.00
        ROSLINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,
16766                  Laredo, LLC     14436   8/1/2022     Secured: $0.00
        ROSLINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Nueces Bay,
16767                                  20183   8/1/2022     Secured: $0.00
        ROSLINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Talen Texas
16768                                  25915   8/1/2022     Secured: $0.00
        ROSLINE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Talen Texas,
16769                                  31677   8/1/2022     Secured: $0.00
        ROSLINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16770   JOHNSON, ROY                   8692    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16771   JOHNSON, ROY   Laredo, LLC     14442   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2436 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16772   JOHNSON, ROY                   20189   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16773   JOHNSON, ROY                   25921   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16774   JOHNSON, ROY                   31683   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Barney Davis,
16775                                  4668    8/1/2022     Secured: $0.00
        SHANNUN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,
16776                  Laredo, LLC     10418   8/1/2022     Secured: $0.00
        SHANNUN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Nueces Bay,
16777                                  16165   8/1/2022     Secured: $0.00
        SHANNUN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOHNSON,       Talen Texas
16778                                  21911   8/1/2022     Secured: $0.00
        SHANNUN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2437 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16779                                 27659   8/1/2022     Secured: $0.00
        SHANNUN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16780                                 6188    8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16781                                 9198    8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16782                 Laredo, LLC     11938   8/1/2022     Secured: $0.00
        SHARON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16783                 Laredo, LLC     14948   8/1/2022     Secured: $0.00
        SHARON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16784                                 17685   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Nueces Bay,
16785                                 20695   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2438 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16786                                 23430   8/1/2022     Secured: $0.00
        SHARON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas
16787                                 26427   8/1/2022     Secured: $0.00
        SHARON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16788                                 29179   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Talen Texas,
16789                                 32189   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16790                                 4688    8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,      Barney Davis,
16791                                 5427    8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSON,
16792                 Laredo, LLC     10438   8/1/2022     Secured: $0.00
        SHERRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2439 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,
16793                 Laredo, LLC    11177   8/1/2022     Secured: $0.00
        SHERRY
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Nueces Bay,
16794                                16185   8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Nueces Bay,
16795                                16924   8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas
16796                                21931   8/1/2022     Secured: $0.00
        SHERRY        Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas
16797                                22669   8/1/2022     Secured: $0.00
        SHERRY        Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas,
16798                                27679   8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas,
16799                                28418   8/1/2022     Secured: $0.00
        SHERRY        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2440 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16800   JOHNSON, SIDNEY                   4695    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16801   JOHNSON, SIDNEY Laredo, LLC       10445   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16802   JOHNSON, SIDNEY                   16192   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16803   JOHNSON, SIDNEY                   21938   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16804   JOHNSON, SIDNEY                   27686   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Barney Davis,
16805                                     6194    8/1/2022     Secured: $0.00
        SUZANNE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Barney Davis,
16806                                     8909    8/1/2022     Secured: $0.00
        SUZANNE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2441 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,
16807                 Laredo, LLC    11944   8/1/2022     Secured: $0.00
        SUZANNE
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,
16808                 Laredo, LLC    14659   8/1/2022     Secured: $0.00
        SUZANNE
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Nueces Bay,
16809                                17691   8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Nueces Bay,
16810                                20406   8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas
16811                                23436   8/1/2022     Secured: $0.00
        SUZANNE       Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas
16812                                26138   8/1/2022     Secured: $0.00
        SUZANNE       Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        JOHNSON,      Talen Texas,
16813                                29185   8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2442 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Talen Texas,
16814                                     31900   8/1/2022     Secured: $0.00
        SUZANNE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Barney Davis,
16815                                     8952    8/1/2022     Secured: $0.00
        TAWANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,
16816                     Laredo, LLC     14702   8/1/2022     Secured: $0.00
        TAWANA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Nueces Bay,
16817                                     20449   8/1/2022     Secured: $0.00
        TAWANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Talen Texas
16818                                     26181   8/1/2022     Secured: $0.00
        TAWANA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JOHNSON,          Talen Texas,
16819                                     31943   8/1/2022     Secured: $0.00
        TAWANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16820   JOHNSON, TERESA                   5332    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2443 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16821   JOHNSON, TERESA Laredo, LLC      11082   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
16822   JOHNSON, TERESA                  16829   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
16823   JOHNSON, TERESA                  22574   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
16824   JOHNSON, TERESA                  28323   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, VENITA Barney Davis,
16825                                    9096    8/1/2022     Secured: $0.00
        JAMISON         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, VENITA
16826                   Laredo, LLC      14846   8/1/2022     Secured: $0.00
        JAMISON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, VENITA Nueces Bay,
16827                                    20593   8/1/2022     Secured: $0.00
        JAMISON         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2444 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, VENITA Talen Texas
16828                                    26325   8/1/2022     Secured: $0.00
        JAMISON         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON, VENITA Talen Texas,
16829                                    32087   8/1/2022     Secured: $0.00
        JAMISON         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Barney Davis,
16830                                    9140    8/1/2022     Secured: $0.00
        WELLENDON        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,
16831                    Laredo, LLC     14890   8/1/2022     Secured: $0.00
        WELLENDON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Nueces Bay,
16832                                    20637   8/1/2022     Secured: $0.00
        WELLENDON        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas
16833                                    26369   8/1/2022     Secured: $0.00
        WELLENDON        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON,         Talen Texas,
16834                                    32131   8/1/2022     Secured: $0.00
        WELLENDON        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2445 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16835   JOHNSON, XAVIER                   9180    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16836   JOHNSON, XAVIER Laredo, LLC       14930   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16837   JOHNSON, XAVIER                   20677   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16838   JOHNSON, XAVIER                   26409   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16839   JOHNSON, XAVIER                   32171   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16840   JOHNSON, ZEE                      3622    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16841   JOHNSON, ZEE      Laredo, LLC     9372    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2446 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16842   JOHNSON, ZEE                    15119   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16843   JOHNSON, ZEE                    20866   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16844   JOHNSON, ZEE                    26613   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON‐FISK,   Barney Davis,
16845                                   7377    8/1/2022     Secured: $0.00
        HOLLY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON‐FISK,
16846                   Laredo, LLC     13127   8/1/2022     Secured: $0.00
        HOLLY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON‐FISK,   Nueces Bay,
16847                                   18874   8/1/2022     Secured: $0.00
        HOLLY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSON‐FISK,   Talen Texas
16848                                   24608   8/1/2022     Secured: $0.00
        HOLLY           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2447 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSON‐FISK,    Talen Texas,
16849                                    30368   8/1/2022     Secured: $0.00
        HOLLY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16850   JOHNSTON, ERIC                   4961    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16851   JOHNSTON, ERIC   Laredo, LLC     10711   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16852   JOHNSTON, ERIC                   16458   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16853   JOHNSTON, ERIC                   22203   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16854   JOHNSTON, ERIC                   27952   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16855   JOHNSTON, GARY                   6115    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2448 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16856   JOHNSTON, GARY Laredo, LLC       11865   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16857   JOHNSTON, GARY                   17612   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16858   JOHNSTON, GARY                   23357   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16859   JOHNSTON, GARY                   29106   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16860   JOHNSTON, HAVA                   5454    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16861   JOHNSTON, HAVA Laredo, LLC       11204   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16862   JOHNSTON, HAVA                   16951   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2449 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16863   JOHNSTON, HAVA                   22696   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16864   JOHNSTON, HAVA                   28445   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSTON,        Barney Davis,
16865                                    4274    8/1/2022     Secured: $0.00
        JEREMIAH         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSTON,
16866                    Laredo, LLC     10024   8/1/2022     Secured: $0.00
        JEREMIAH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSTON,        Nueces Bay,
16867                                    15771   8/1/2022     Secured: $0.00
        JEREMIAH         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSTON,        Talen Texas
16868                                    21517   8/1/2022     Secured: $0.00
        JEREMIAH         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOHNSTON,        Talen Texas,
16869                                    27265   8/1/2022     Secured: $0.00
        JEREMIAH         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2450 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,
16870                 Laredo, LLC     32791   8/1/2022     Secured: $0.00
        LORENA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Barney Davis,
16871                                 33782   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Nueces Bay,
16872                                 34773   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Talen Texas
16873                                 35764   8/1/2022     Secured: $0.00
        LORENA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Talen Texas,
16874                                 36755   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,
16875                 Laredo, LLC     32792   8/1/2022     Secured: $0.00
        NATHAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Barney Davis,
16876                                 33783   8/1/2022     Secured: $0.00
        NATHAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2451 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Nueces Bay,
16877                                 34774   8/1/2022     Secured: $0.00
        NATHAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Talen Texas
16878                                 35765   8/1/2022     Secured: $0.00
        NATHAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Talen Texas,
16879                                 36756   8/1/2022     Secured: $0.00
        NATHAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Barney Davis,
16880                                 8593    8/1/2022     Secured: $0.00
        ROBERT CARL   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,
16881                 Laredo, LLC     14343   8/1/2022     Secured: $0.00
        ROBERT CARL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Nueces Bay,
16882                                 20090   8/1/2022     Secured: $0.00
        ROBERT CARL   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        JOHNSTON,     Talen Texas
16883                                 25822   8/1/2022     Secured: $0.00
        ROBERT CARL   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2452 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSTON,       Talen Texas,
16884                                   31584   8/1/2022     Secured: $0.00
        ROBERT CARL     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16885   JOHNSTON, ROY                   8693    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16886   JOHNSTON, ROY   Laredo, LLC     14443   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16887   JOHNSTON, ROY                   20190   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16888   JOHNSTON, ROY                   25922   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16889   JOHNSTON, ROY                   31684   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSTON,      Barney Davis,
16890                                   5872    8/1/2022     Secured: $0.00
        SHARON BENNETT LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2453 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSTON,
16891                  Laredo, LLC      11622   8/1/2022     Secured: $0.00
        SHARON BENNETT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSTON,      Nueces Bay,
16892                                   17369   8/1/2022     Secured: $0.00
        SHARON BENNETT LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSTON,      Talen Texas
16893                                   23114   8/1/2022     Secured: $0.00
        SHARON BENNETT Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JOHNSTON,      Talen Texas,
16894                                   28863   8/1/2022     Secured: $0.00
        SHARON BENNETT LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16895   JOINER, TERRI                   8970    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16896   JOINER, TERRI   Laredo, LLC     14720   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16897   JOINER, TERRI                   20467   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2454 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16898   JOINER, TERRI                    26199   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16899   JOINER, TERRI                    31961   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16900   JOINER, VICKIE                   5362    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16901   JOINER, VICKIE   Laredo, LLC     11112   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16902   JOINER, VICKIE                   16859   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16903   JOINER, VICKIE                   22604   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16904   JOINER, VICKIE                   28353   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2455 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16905   JOLLY, SANDY   Laredo, LLC     32793   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16906   JOLLY, SANDY                   33784   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16907   JOLLY, SANDY                   34775   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16908   JOLLY, SANDY                   35766   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16909   JOLLY, SANDY                   36757   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONAH,         Barney Davis,
16910                                  7169    8/1/2022     Secured: $0.00
        EMMANUEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONAH,
16911                  Laredo, LLC     12919   8/1/2022     Secured: $0.00
        EMMANUEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2456 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONAH,           Nueces Bay,
16912                                    18666   8/1/2022     Secured: $0.00
        EMMANUEL         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONAH,           Talen Texas
16913                                    24400   8/1/2022     Secured: $0.00
        EMMANUEL         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONAH,           Talen Texas,
16914                                    30160   8/1/2022     Secured: $0.00
        EMMANUEL         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16915   JONDALL, JULIE                   7717    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16916   JONDALL, JULIE   Laredo, LLC     13467   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16917   JONDALL, JULIE                   19214   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16918   JONDALL, JULIE                   24948   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2457 of 5163
            Name of
Ref #       Claimant         Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Talen Texas,
16919   JONDALL, JULIE                       30708   8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Barney Davis,
16920   JONDALL, LEWIS                       7974    8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
16921   JONDALL, LEWIS       Laredo, LLC     13724   8/1/2022     Secured: $0.00
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Nueces Bay,
16922   JONDALL, LEWIS                       19471   8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Talen Texas
16923   JONDALL, LEWIS                       25205   8/1/2022     Secured: $0.00
                             Group, LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Talen Texas,
16924   JONDALL, LEWIS                       30965   8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Barney Davis,
16925   JONES JR, EDDIE J.                   6103    8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2458 of 5163
            Name of
Ref #       Claimant         Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
16926   JONES JR, EDDIE J. Laredo, LLC       11853   8/1/2022     Secured: $0.00
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Nueces Bay,
16927   JONES JR, EDDIE J.                   17600   8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Talen Texas
16928   JONES JR, EDDIE J.                   23345   8/1/2022     Secured: $0.00
                             Group, LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Talen Texas,
16929   JONES JR, EDDIE J.                   29094   8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Barney Davis,
16930   JONES, ANTHONY                       6427    8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
16931   JONES, ANTHONY Laredo, LLC           12177   8/1/2022     Secured: $0.00
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
                                                                  503(b)(9): $0.00
                                                                  Other Administrative: $0.00
                                                                  Priority: $0.00
                             Nueces Bay,
16932   JONES, ANTHONY                       17924   8/1/2022     Secured: $0.00
                             LLC
                                                                  General Unsecured: $0.00 + Unliquidated

                                                                  Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2459 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16933   JONES, ANTHONY                   23659   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16934   JONES, ANTHONY                   29418   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16935   JONES, BEVERLY   Laredo, LLC     32794   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16936   JONES, BEVERLY                   33785   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16937   JONES, BEVERLY                   34776   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16938   JONES, BEVERLY                   35767   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16939   JONES, BEVERLY                   36758   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2460 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16940   JONES, BRANDON                    6557    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16941   JONES, BRANDON Laredo, LLC        12307   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16942   JONES, BRANDON                    18054   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16943   JONES, BRANDON                    23789   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16944   JONES, BRANDON                    29548   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16945   JONES, BRITTANY                   6596    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16946   JONES, BRITTANY Laredo, LLC       12346   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2461 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16947   JONES, BRITTANY                   18093   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16948   JONES, BRITTANY                   23827   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
16949   JONES, BRITTANY                   29587   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
16950   JONES, CHERYL                     6725    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
16951   JONES, CHERYL     Laredo, LLC     12475   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
16952   JONES, CHERYL                     18222   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
16953   JONES, CHERYL                     23956   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2462 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16954   JONES, CHERYL                   29716   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
16955   JONES, CHRIS                    9230    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
16956   JONES, CHRIS    Laredo, LLC     14980   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
16957   JONES, CHRIS                    20727   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
16958   JONES, CHRIS                    26459   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
16959   JONES, CHRIS                    32221   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JONES,          Barney Davis,
16960                                   9233    8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2463 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONES,
16961                    Laredo, LLC     14983   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONES,           Nueces Bay,
16962                                    20730   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONES,           Talen Texas
16963                                    26462   8/1/2022     Secured: $0.00
        CHRISTOPHER      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JONES,           Talen Texas,
16964                                    32224   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16965   JONES, CRYSTAL                   4911    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16966   JONES, CRYSTAL   Laredo, LLC     10661   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16967   JONES, CRYSTAL                   16408   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2464 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16968   JONES, CRYSTAL                   22153   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16969   JONES, CRYSTAL                   27902   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
16970   JONES, DANIEL                    6888    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
16971   JONES, DANIEL    Laredo, LLC     12638   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
16972   JONES, DANIEL                    18385   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
16973   JONES, DANIEL                    24119   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
16974   JONES, DANIEL                    29879   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2465 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16975   JONES, DEBBY                   4107    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16976   JONES, DEBBY   Laredo, LLC     9857    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16977   JONES, DEBBY                   15604   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16978   JONES, DEBBY                   21350   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16979   JONES, DEBBY                   27098   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16980   JONES, DIANA                   7033    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16981   JONES, DIANA   Laredo, LLC     12783   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2466 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16982   JONES, DIANA                   18530   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16983   JONES, DIANA                   24264   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16984   JONES, DIANA                   30024   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16985   JONES, ELLA                    6046    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16986   JONES, ELLA    Laredo, LLC     11796   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16987   JONES, ELLA                    17543   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16988   JONES, ELLA                    23288   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2467 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16989   JONES, ELLA                    29037   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16990   JONES, GARY                    7265    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16991   JONES, GARY    Laredo, LLC     13015   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16992   JONES, GARY                    18762   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16993   JONES, GARY                    24496   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16994   JONES, GARY                    30256   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
16995   JONES, GRACE                   5981    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2468 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
16996   JONES, GRACE   Laredo, LLC     11731   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
16997   JONES, GRACE                   17478   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
16998   JONES, GRACE                   23223   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
16999   JONES, GRACE                   28972   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17000   JONES, HOLLY   Laredo, LLC     32795   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17001   JONES, HOLLY                   33786   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17002   JONES, HOLLY                   34777   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2469 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17003   JONES, HOLLY                    35768   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17004   JONES, HOLLY                    36759   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17005   JONES, IESHEA                   5792    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17006   JONES, IESHEA   Laredo, LLC     11542   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17007   JONES, IESHEA                   17289   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17008   JONES, IESHEA                   23034   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17009   JONES, IESHEA                   28783   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2470 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17010   JONES, IMANI                   7388    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17011   JONES, IMANI   Laredo, LLC     13138   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17012   JONES, IMANI                   18885   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17013   JONES, IMANI                   24619   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17014   JONES, IMANI                   30379   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Barney Davis,
17015                                  5985    8/1/2022     Secured: $0.00
        JAMARICIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,
17016                  Laredo, LLC     11735   8/1/2022     Secured: $0.00
        JAMARICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2471 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Nueces Bay,
17017                                  17482   8/1/2022     Secured: $0.00
        JAMARICIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Talen Texas
17018                                  23227   8/1/2022     Secured: $0.00
        JAMARICIA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Talen Texas,
17019                                  28976   8/1/2022     Secured: $0.00
        JAMARICIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17020   JONES, JOEL                    5033    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17021   JONES, JOEL    Laredo, LLC     10783   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17022   JONES, JOEL                    16530   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17023   JONES, JOEL                    22275   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2472 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17024   JONES, JOEL                      28024   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17025   JONES, JOHANNA                   7597    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17026   JONES, JOHANNA Laredo, LLC       13347   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17027   JONES, JOHANNA                   19094   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17028   JONES, JOHANNA                   24828   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17029   JONES, JOHANNA                   30588   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17030   JONES, JUAN                      7699    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2473 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17031   JONES, JUAN    Laredo, LLC     13449   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17032   JONES, JUAN                    19196   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17033   JONES, JUAN                    24930   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17034   JONES, JUAN                    30690   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17035   JONES, KARA                    7742    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17036   JONES, KARA    Laredo, LLC     13492   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17037   JONES, KARA                    19239   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2474 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
17038   JONES, KARA                    24973   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
17039   JONES, KARA                    30733   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES, KENNETH Barney Davis,
17040                                  7818    8/1/2022     Secured: $0.00
        WAYNE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES, KENNETH
17041                  Laredo, LLC     13568   8/1/2022     Secured: $0.00
        WAYNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES, KENNETH Nueces Bay,
17042                                  19315   8/1/2022     Secured: $0.00
        WAYNE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES, KENNETH Talen Texas
17043                                  25049   8/1/2022     Secured: $0.00
        WAYNE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES, KENNETH Talen Texas,
17044                                  30809   8/1/2022     Secured: $0.00
        WAYNE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2475 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17045   JONES, KEVIN                   7830    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17046   JONES, KEVIN   Laredo, LLC     13580   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17047   JONES, KEVIN                   19327   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17048   JONES, KEVIN                   25061   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17049   JONES, KEVIN                   30821   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17050   JONES, LAUNA                   4412    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17051   JONES, LAUNA   Laredo, LLC     10162   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2476 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17052   JONES, LAUNA                   15909   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17053   JONES, LAUNA                   21655   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17054   JONES, LAUNA                   27403   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Barney Davis,
17055                                  5827    8/1/2022     Secured: $0.00
        LINDAMARIE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,
17056                  Laredo, LLC     11577   8/1/2022     Secured: $0.00
        LINDAMARIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Nueces Bay,
17057                                  17324   8/1/2022     Secured: $0.00
        LINDAMARIE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Talen Texas
17058                                  23069   8/1/2022     Secured: $0.00
        LINDAMARIE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2477 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Talen Texas,
17059                                  28818   8/1/2022     Secured: $0.00
        LINDAMARIE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17060   JONES, LISA                    8001    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17061   JONES, LISA    Laredo, LLC     13751   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17062   JONES, LISA                    19498   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17063   JONES, LISA                    25232   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17064   JONES, LISA                    30992   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17065   JONES, MARK                    8120    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2478 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17066   JONES, MARK    Laredo, LLC     13870   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17067   JONES, MARK                    19617   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17068   JONES, MARK                    25351   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17069   JONES, MARK                    31111   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17070   JONES, MARLO                   5836    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17071   JONES, MARLO   Laredo, LLC     11586   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17072   JONES, MARLO                   17333   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2479 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17073   JONES, MARLO                   23078   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17074   JONES, MARLO                   28827   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17075   JONES, MARY                    8159    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17076   JONES, MARY    Laredo, LLC     13909   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17077   JONES, MARY                    19656   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17078   JONES, MARY                    25390   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17079   JONES, MARY                    31150   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2480 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17080   JONES, MELVA                    5900    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17081   JONES, MELVA    Laredo, LLC     11650   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17082   JONES, MELVA                    17397   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17083   JONES, MELVA                    23142   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17084   JONES, MELVA                    28891   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17085   JONES, MILTON   Laredo, LLC     32796   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17086   JONES, MILTON                   33787   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2481 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17087   JONES, MILTON                   34778   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17088   JONES, MILTON                   35769   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17089   JONES, MILTON                   36760   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17090   JONES, PAUL                     4569    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17091   JONES, PAUL                     4570    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17092   JONES, PAUL     Laredo, LLC     10319   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17093   JONES, PAUL     Laredo, LLC     10320   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2482 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17094   JONES, PAUL                       16066   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17095   JONES, PAUL                       16067   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17096   JONES, PAUL                       21812   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17097   JONES, PAUL                       21813   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17098   JONES, PAUL                       27560   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17099   JONES, PAUL                       27561   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17100   JONES, ROCHELLE                   4634    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2483 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17101   JONES, ROCHELLE Laredo, LLC       10384   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17102   JONES, ROCHELLE                   16131   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17103   JONES, ROCHELLE                   21877   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17104   JONES, ROCHELLE                   27625   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17105   JONES, SANDRA                     8740    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17106   JONES, SANDRA     Laredo, LLC     14490   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17107   JONES, SANDRA                     20237   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2484 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17108   JONES, SANDRA                   25969   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17109   JONES, SANDRA                   31731   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17110   JONES, SHARON                   8796    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17111   JONES, SHARON   Laredo, LLC     14546   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17112   JONES, SHARON                   20293   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17113   JONES, SHARON                   26025   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17114   JONES, SHARON                   31787   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2485 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17115   JONES, SHARON A                   8790    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17116   JONES, SHARON A Laredo, LLC       14540   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17117   JONES, SHARON A                   20287   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17118   JONES, SHARON A                   26019   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17119   JONES, SHARON A                   31781   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17120   JONES, SHELLIE                    8819    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17121   JONES, SHELLIE    Laredo, LLC     14569   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2486 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17122   JONES, SHELLIE                   20316   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17123   JONES, SHELLIE                   26048   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17124   JONES, SHELLIE                   31810   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17125   JONES, SONJA                     4700    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17126   JONES, SONJA     Laredo, LLC     10450   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17127   JONES, SONJA                     16197   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17128   JONES, SONJA                     21943   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2487 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17129   JONES, SONJA                    27691   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17130   JONES, STEVEN                   5642    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17131   JONES, STEVEN   Laredo, LLC     11392   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17132   JONES, STEVEN                   17139   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17133   JONES, STEVEN                   22884   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17134   JONES, STEVEN                   28633   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17135   JONES, TAMMY                    8937    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2488 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17136   JONES, TAMMY   Laredo, LLC     14687   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17137   JONES, TAMMY                   20434   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17138   JONES, TAMMY                   26166   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17139   JONES, TAMMY                   31928   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17140   JONES, TERRY                   4728    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17141   JONES, TERRY   Laredo, LLC     10478   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17142   JONES, TERRY                   16225   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2489 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17143   JONES, TERRY                   21971   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17144   JONES, TERRY                   27719   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Barney Davis,
17145                                  9051    8/1/2022     Secured: $0.00
        TOYESHANEE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,
17146                  Laredo, LLC     14801   8/1/2022     Secured: $0.00
        TOYESHANEE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Nueces Bay,
17147                                  20548   8/1/2022     Secured: $0.00
        TOYESHANEE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Talen Texas
17148                                  26280   8/1/2022     Secured: $0.00
        TOYESHANEE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JONES,         Talen Texas,
17149                                  32042   8/1/2022     Secured: $0.00
        TOYESHANEE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2490 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17150   JONES, TROY                     4756    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17151   JONES, TROY     Laredo, LLC     10506   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17152   JONES, TROY                     16253   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17153   JONES, TROY                     21999   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17154   JONES, TROY                     27747   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17155   JONES, WELDON                   3855    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17156   JONES, WELDON   Laredo, LLC     9605    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2491 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17157   JONES, WELDON                   15352   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17158   JONES, WELDON                   21099   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17159   JONES, WELDON                   26846   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17160   JONES, ZEPHYR                   3864    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17161   JONES, ZEPHYR   Laredo, LLC     9614    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17162   JONES, ZEPHYR                   15361   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17163   JONES, ZEPHYR                   21108   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2492 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17164   JONES, ZEPHYR                   26855   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JONES‐STEWART, Barney Davis,
17165                                   6949    8/1/2022     Secured: $0.00
        DAX            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JONES‐STEWART,
17166                  Laredo, LLC      12699   8/1/2022     Secured: $0.00
        DAX
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JONES‐STEWART, Nueces Bay,
17167                                   18446   8/1/2022     Secured: $0.00
        DAX            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JONES‐STEWART, Talen Texas
17168                                   24180   8/1/2022     Secured: $0.00
        DAX            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JONES‐STEWART, Talen Texas,
17169                                   29940   8/1/2022     Secured: $0.00
        DAX            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Barney Davis,
17170                                   4063    8/1/2022     Secured: $0.00
        COURTNEY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2493 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,
17171                   Laredo, LLC     9813    8/1/2022     Secured: $0.00
        COURTNEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Nueces Bay,
17172                                   15560   8/1/2022     Secured: $0.00
        COURTNEY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Talen Texas
17173                                   21306   8/1/2022     Secured: $0.00
        COURTNEY        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Talen Texas,
17174                                   27054   8/1/2022     Secured: $0.00
        COURTNEY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17175   JORDAN, JAMES                   3677    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17176   JORDAN, JAMES   Laredo, LLC     9427    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17177   JORDAN, JAMES                   15174   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2494 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17178   JORDAN, JAMES                   20921   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17179   JORDAN, JAMES                   26668   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Barney Davis,
17180                                   8293    8/1/2022     Secured: $0.00
        MONIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,
17181                   Laredo, LLC     14043   8/1/2022     Secured: $0.00
        MONIQUE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Nueces Bay,
17182                                   19790   8/1/2022     Secured: $0.00
        MONIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Talen Texas
17183                                   25524   8/1/2022     Secured: $0.00
        MONIQUE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        JORDAN,         Talen Texas,
17184                                   31284   8/1/2022     Secured: $0.00
        MONIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2495 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17185   JORDAN, RICHARD                   8571    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17186   JORDAN, RICHARD Laredo, LLC       14321   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17187   JORDAN, RICHARD                   20068   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17188   JORDAN, RICHARD                   25800   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17189   JORDAN, RICHARD                   31562   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JORDAN,
17190                     Laredo, LLC     32797   8/1/2022     Secured: $0.00
        SUSANNE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        JORDAN,           Barney Davis,
17191                                     33788   8/1/2022     Secured: $0.00
        SUSANNE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2496 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Nueces Bay,
17192                                    34779   8/1/2022     Secured: $0.00
        SUSANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Talen Texas
17193                                    35770   8/1/2022     Secured: $0.00
        SUSANNE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Talen Texas,
17194                                    36761   8/1/2022     Secured: $0.00
        SUSANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17195   JORDAN, TEREKA                   5330    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17196   JORDAN, TEREKA Laredo, LLC       11080   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17197   JORDAN, TEREKA                   16827   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17198   JORDAN, TEREKA                   22572   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2497 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17199   JORDAN, TEREKA                   28321   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Barney Davis,
17200                                    3899    8/1/2022     Secured: $0.00
        YOLANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,
17201                    Laredo, LLC     9649    8/1/2022     Secured: $0.00
        YOLANDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Nueces Bay,
17202                                    15396   8/1/2022     Secured: $0.00
        YOLANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Talen Texas
17203                                    21143   8/1/2022     Secured: $0.00
        YOLANDA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JORDAN,          Talen Texas,
17204                                    26890   8/1/2022     Secured: $0.00
        YOLANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        JOSEPH TOVAR                                          Priority: $0.00
                         Barney Davis,
17205   DBA SAPO CAR                     5693    8/1/2022     Secured: $0.00
                         LLC
        WASH                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2498 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        JOSEPH TOVAR                                        Priority: $0.00
17206   DBA SAPO CAR   Laredo, LLC     11443   8/1/2022     Secured: $0.00
        WASH                                                General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        JOSEPH TOVAR                                        Priority: $0.00
                       Nueces Bay,
17207   DBA SAPO CAR                   17190   8/1/2022     Secured: $0.00
                       LLC
        WASH                                                General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        JOSEPH TOVAR                                        Priority: $0.00
                       Talen Texas
17208   DBA SAPO CAR                   22935   8/1/2022     Secured: $0.00
                       Group, LLC
        WASH                                                General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        JOSEPH TOVAR                                        Priority: $0.00
                       Talen Texas,
17209   DBA SAPO CAR                   28684   8/1/2022     Secured: $0.00
                       LLC
        WASH                                                General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOSEPH,        Barney Davis,
17210                                  6549    8/1/2022     Secured: $0.00
        BRADFORD       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOSEPH,
17211                  Laredo, LLC     12299   8/1/2022     Secured: $0.00
        BRADFORD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        JOSEPH,        Nueces Bay,
17212                                  18046   8/1/2022     Secured: $0.00
        BRADFORD       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2499 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOSEPH,          Talen Texas
17213                                    23781   8/1/2022     Secured: $0.00
        BRADFORD         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JOSEPH,          Talen Texas,
17214                                    29540   8/1/2022     Secured: $0.00
        BRADFORD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17215   JOSEPH, JANICE                   7477    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17216   JOSEPH, JANICE   Laredo, LLC     13227   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17217   JOSEPH, JANICE                   18974   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17218   JOSEPH, JANICE                   24708   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17219   JOSEPH, JANICE                   30468   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2500 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17220   JOSEPH, JIMMY                   7578    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17221   JOSEPH, JIMMY   Laredo, LLC     13328   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17222   JOSEPH, JIMMY                   19075   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17223   JOSEPH, JIMMY                   24809   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17224   JOSEPH, JIMMY                   30569   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17225   JOSEPH, TRACY                   5350    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17226   JOSEPH, TRACY   Laredo, LLC     11100   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2501 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17227   JOSEPH, TRACY                   16847   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17228   JOSEPH, TRACY                   22592   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17229   JOSEPH, TRACY                   28341   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        JOSHUA
                                                             Other Administrative: $0.00
        WORTHAM AS
                                                             Priority: $0.00
        HEIR OF THE     Barney Davis,
17230                                   5394    8/1/2022     Secured: $0.00
        ESTATE OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ROBERT
        WORTHAM
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        JOSHUA
                                                             Other Administrative: $0.00
        WORTHAM AS
                                                             Priority: $0.00
        HEIR OF THE
17231                   Laredo, LLC     11144   8/1/2022     Secured: $0.00
        ESTATE OF
                                                             General Unsecured: $0.00 + Unliquidated
        ROBERT
        WORTHAM
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        JOSHUA
                                                             Other Administrative: $0.00
        WORTHAM AS
                                                             Priority: $0.00
        HEIR OF THE     Nueces Bay,
17232                                   16891   8/1/2022     Secured: $0.00
        ESTATE OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ROBERT
        WORTHAM
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        JOSHUA
                                                             Other Administrative: $0.00
        WORTHAM AS
                                                             Priority: $0.00
        HEIR OF THE     Talen Texas
17233                                   22636   8/1/2022     Secured: $0.00
        ESTATE OF       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ROBERT
        WORTHAM
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2502 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        JOSHUA
                                                             Other Administrative: $0.00
        WORTHAM AS
                                                             Priority: $0.00
        HEIR OF THE     Talen Texas,
17234                                   28385   8/1/2022     Secured: $0.00
        ESTATE OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ROBERT
        WORTHAM
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17235   JOYCE, RONI                     8671    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17236   JOYCE, RONI     Laredo, LLC     14421   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17237   JOYCE, RONI                     20168   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17238   JOYCE, RONI                     25900   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17239   JOYCE, RONI                     31662   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17240   JOYNER, TRACI                   5884    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2503 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17241   JOYNER, TRACI    Laredo, LLC     11634   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17242   JOYNER, TRACI                    17381   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17243   JOYNER, TRACI                    23126   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17244   JOYNER, TRACI                    28875   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17245   JUAREZ, CARLOS                   6642    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17246   JUAREZ, CARLOS   Laredo, LLC     12392   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17247   JUAREZ, CARLOS                   18139   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2504 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17248   JUAREZ, CARLOS                   23873   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17249   JUAREZ, CARLOS                   29633   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17250   JUAREZ, JAIRO                    7428    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17251   JUAREZ, JAIRO    Laredo, LLC     13178   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17252   JUAREZ, JAIRO                    18925   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17253   JUAREZ, JAIRO                    24659   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17254   JUAREZ, JAIRO                    30419   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2505 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17255   JUAREZ, JUAN                     4338    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17256   JUAREZ, JUAN     Laredo, LLC     10088   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17257   JUAREZ, JUAN                     15835   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17258   JUAREZ, JUAN                     21581   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17259   JUAREZ, JUAN                     27329   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17260   JUAREZ, MARGIE Laredo, LLC       32798   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17261   JUAREZ, MARGIE                   33789   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2506 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17262   JUAREZ, MARGIE                   34780   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17263   JUAREZ, MARGIE                   35771   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17264   JUAREZ, MARGIE                   36762   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17265   JUAREZ, ZOILA                    9197    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17266   JUAREZ, ZOILA    Laredo, LLC     14947   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17267   JUAREZ, ZOILA                    20694   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17268   JUAREZ, ZOILA                    26426   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2507 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17269   JUAREZ, ZOILA                    32188   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JUENKE,
17270                    Laredo, LLC     32799   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JUENKE,          Barney Davis,
17271                                    33790   8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JUENKE,          Nueces Bay,
17272                                    34781   8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JUENKE,          Talen Texas
17273                                    35772   8/1/2022     Secured: $0.00
        CHARLOTTE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        JUENKE,          Talen Texas,
17274                                    36763   8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17275   JUMEL, BRANDIE                   4866    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2508 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17276   JUMEL, BRANDIE Laredo, LLC       10616   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17277   JUMEL, BRANDIE                   16363   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17278   JUMEL, BRANDIE                   22109   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17279   JUMEL, BRANDIE                   27857   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17280   JUUL, MARCIE                     4452    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17281   JUUL, MARCIE     Laredo, LLC     10202   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17282   JUUL, MARCIE                     15949   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2509 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17283   JUUL, MARCIE                   21695   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17284   JUUL, MARCIE                   27443   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        K STAFFING     Barney Davis,
17285                                  5930    8/1/2022     Secured: $0.00
        INCORPORATED   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        K STAFFING
17286                  Laredo, LLC     11680   8/1/2022     Secured: $0.00
        INCORPORATED
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        K STAFFING     Nueces Bay,
17287                                  17427   8/1/2022     Secured: $0.00
        INCORPORATED   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        K STAFFING     Talen Texas
17288                                  23172   8/1/2022     Secured: $0.00
        INCORPORATED   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        K STAFFING     Talen Texas,
17289                                  28921   8/1/2022     Secured: $0.00
        INCORPORATED   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2510 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17290   KALALI, BAHMAN                   6479    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17291   KALALI, BAHMAN Laredo, LLC       12229   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17292   KALALI, BAHMAN                   17976   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17293   KALALI, BAHMAN                   23711   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17294   KALALI, BAHMAN                   29470   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17295   KALLER, BRUCE                    3657    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17296   KALLER, BRUCE    Laredo, LLC     9407    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2511 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17297   KALLER, BRUCE                   15154   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17298   KALLER, BRUCE                   20901   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17299   KALLER, BRUCE                   26648   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KAMISH,         Barney Davis,
17300                                   3844    8/1/2022     Secured: $0.00
        NICHOLAUS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KAMISH,
17301                   Laredo, LLC     9594    8/1/2022     Secured: $0.00
        NICHOLAUS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KAMISH,         Nueces Bay,
17302                                   15341   8/1/2022     Secured: $0.00
        NICHOLAUS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KAMISH,         Talen Texas
17303                                   21088   8/1/2022     Secured: $0.00
        NICHOLAUS       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2512 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KAMISH,         Talen Texas,
17304                                   26835   8/1/2022     Secured: $0.00
        NICHOLAUS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17305   KANIU, SAMUEL                   3779    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17306   KANIU, SAMUEL   Laredo, LLC     9529    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17307   KANIU, SAMUEL                   15276   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17308   KANIU, SAMUEL                   21023   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17309   KANIU, SAMUEL                   26770   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KAPLINSKY,      Barney Davis,
17310                                   5890    8/1/2022     Secured: $0.00
        YVETTE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2513 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPLINSKY,
17311                  Laredo, LLC     11640   8/1/2022     Secured: $0.00
        YVETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPLINSKY,     Nueces Bay,
17312                                  17387   8/1/2022     Secured: $0.00
        YVETTE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPLINSKY,     Talen Texas
17313                                  23132   8/1/2022     Secured: $0.00
        YVETTE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPLINSKY,     Talen Texas,
17314                                  28881   8/1/2022     Secured: $0.00
        YVETTE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPPELMANN,
17315                  Laredo, LLC     32800   8/1/2022     Secured: $0.00
        FRANCES
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPPELMANN,    Barney Davis,
17316                                  33791   8/1/2022     Secured: $0.00
        FRANCES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAPPELMANN,    Nueces Bay,
17317                                  34782   8/1/2022     Secured: $0.00
        FRANCES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2514 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KAPPELMANN,      Talen Texas
17318                                    35773   8/1/2022     Secured: $0.00
        FRANCES          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KAPPELMANN,      Talen Texas,
17319                                    36764   8/1/2022     Secured: $0.00
        FRANCES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17320   KARGE, JADWIGA                   6120    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17321   KARGE, JADWIGA Laredo, LLC       11870   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17322   KARGE, JADWIGA                   17617   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17323   KARGE, JADWIGA                   23362   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17324   KARGE, JADWIGA                   29111   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2515 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17325   KARGOU, SARBIEH                   8752    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17326   KARGOU, SARBIEH Laredo, LLC       14502   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17327   KARGOU, SARBIEH                   20249   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17328   KARGOU, SARBIEH                   25981   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17329   KARGOU, SARBIEH                   31743   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17330   KARNA, LATA                       3837    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17331   KARNA, LATA       Laredo, LLC     9587    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2516 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
17332   KARNA, LATA                    15334   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
17333   KARNA, LATA                    21081   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
17334   KARNA, LATA                    26828   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KARNS, BRANDON Barney Davis,
17335                                  9222    8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KARNS, BRANDON
17336                  Laredo, LLC     14972   8/1/2022     Secured: $0.00
        WILLIAM
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KARNS, BRANDON Nueces Bay,
17337                                  20719   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KARNS, BRANDON Talen Texas
17338                                  26451   8/1/2022     Secured: $0.00
        WILLIAM        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2517 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KARNS, BRANDON Talen Texas,
17339                                     32213   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17340   KARRICK, TAUNIA                   8951    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17341   KARRICK, TAUNIA Laredo, LLC       14701   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17342   KARRICK, TAUNIA                   20448   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17343   KARRICK, TAUNIA                   26180   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17344   KARRICK, TAUNIA                   31942   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17345   KASH, TRACY                       9059    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2518 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17346   KASH, TRACY    Laredo, LLC     14809   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17347   KASH, TRACY                    20556   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17348   KASH, TRACY                    26288   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17349   KASH, TRACY                    32050   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17350   KASMIN, NICK                   5180    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17351   KASMIN, NICK   Laredo, LLC     10930   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17352   KASMIN, NICK                   16677   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2519 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17353   KASMIN, NICK                    22422   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17354   KASMIN, NICK                    28171   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17355   KASTEN, BRUCE                   5959    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17356   KASTEN, BRUCE   Laredo, LLC     11709   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17357   KASTEN, BRUCE                   17456   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17358   KASTEN, BRUCE                   23201   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17359   KASTEN, BRUCE                   28950   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2520 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17360   KATZ, KALANI                   7734    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17361   KATZ, KALANI   Laredo, LLC     13484   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17362   KATZ, KALANI                   19231   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17363   KATZ, KALANI                   24965   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17364   KATZ, KALANI                   30725   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAUFMANN,      Barney Davis,
17365                                  8435    8/1/2022     Secured: $0.00
        PEGGY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAUFMANN,
17366                  Laredo, LLC     14185   8/1/2022     Secured: $0.00
        PEGGY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2521 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAUFMANN,      Nueces Bay,
17367                                  19932   8/1/2022     Secured: $0.00
        PEGGY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAUFMANN,      Talen Texas
17368                                  25665   8/1/2022     Secured: $0.00
        PEGGY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KAUFMANN,      Talen Texas,
17369                                  31426   8/1/2022     Secured: $0.00
        PEGGY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17370   KEEL, JENE                     7511    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17371   KEEL, JENE     Laredo, LLC     13261   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17372   KEEL, JENE                     19008   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17373   KEEL, JENE                     24742   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2522 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17374   KEEL, JENE                        30502   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17375   KEENE JR, CLYDE                   6802    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17376   KEENE JR, CLYDE   Laredo, LLC     12552   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17377   KEENE JR, CLYDE                   18299   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17378   KEENE JR, CLYDE                   24033   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17379   KEENE JR, CLYDE                   29793   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KEENEY‐LOVEJOY, Barney Davis,
17380                                     8516    8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2523 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KEENEY‐LOVEJOY,
17381                   Laredo, LLC      14266   8/1/2022     Secured: $0.00
        REBECCA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KEENEY‐LOVEJOY, Nueces Bay,
17382                                    20013   8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KEENEY‐LOVEJOY, Talen Texas
17383                                    25745   8/1/2022     Secured: $0.00
        REBECCA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KEENEY‐LOVEJOY, Talen Texas,
17384                                    31507   8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        KEITH GREER,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
17385   AND AS HEIR OF                   3802    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELA GEER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        KEITH GREER,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
17386   AND AS HEIR OF   Laredo, LLC     9552    8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELA GEER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        KEITH GREER,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
17387   AND AS HEIR OF                   15299   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELA GEER
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2524 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        KEITH GREER,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
17388   AND AS HEIR OF                   21046   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELA GEER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        KEITH GREER,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
17389   AND AS HEIR OF                   26793   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELA GEER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17390   KEITH, BRADLEY                   6550    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17391   KEITH, BRADLEY   Laredo, LLC     12300   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17392   KEITH, BRADLEY                   18047   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17393   KEITH, BRADLEY                   23782   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17394   KEITH, BRADLEY                   29541   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2525 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17395   KEITH, BRESHAY                   6073    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17396   KEITH, BRESHAY   Laredo, LLC     11823   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17397   KEITH, BRESHAY                   17570   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17398   KEITH, BRESHAY                   23315   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17399   KEITH, BRESHAY                   29064   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17400   KEITH, KETURAH                   3751    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17401   KEITH, KETURAH   Laredo, LLC     9501    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2526 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17402   KEITH, KETURAH                   15248   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17403   KEITH, KETURAH                   20995   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17404   KEITH, KETURAH                   26742   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17405   KEITH, SHERYL                    8833    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17406   KEITH, SHERYL    Laredo, LLC     14583   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17407   KEITH, SHERYL                    20330   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17408   KEITH, SHERYL                    26062   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2527 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17409   KEITH, SHERYL                     31824   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17410   KELLCY, TIM       Laredo, LLC     32801   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17411   KELLCY, TIM                       33792   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17412   KELLCY, TIM                       34783   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17413   KELLCY, TIM                       35774   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17414   KELLCY, TIM                       36765   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17415   KELLEY, DESMONE                   7015    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2528 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17416   KELLEY, DESMONE Laredo, LLC       12765   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17417   KELLEY, DESMONE                   18512   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17418   KELLEY, DESMONE                   24246   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17419   KELLEY, DESMONE                   30006   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17420   KELLEY, ELLA                      7157    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17421   KELLEY, ELLA      Laredo, LLC     12907   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17422   KELLEY, ELLA                      18654   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2529 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17423   KELLEY, ELLA                    24388   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17424   KELLEY, ELLA                    30148   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17425   KELLEY, FLOYD                   7233    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17426   KELLEY, FLOYD   Laredo, LLC     12983   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17427   KELLEY, FLOYD                   18730   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17428   KELLEY, FLOYD                   24464   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17429   KELLEY, FLOYD                   30224   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2530 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17430   KELLEY, TAMMY                     4719    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17431   KELLEY, TAMMY     Laredo, LLC     10469   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17432   KELLEY, TAMMY                     16216   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17433   KELLEY, TAMMY                     21962   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17434   KELLEY, TAMMY                     27710   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17435   KELLEY, ZACHARY                   5381    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17436   KELLEY, ZACHARY Laredo, LLC       11131   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2531 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17437   KELLEY, ZACHARY                   16878   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17438   KELLEY, ZACHARY                   22623   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17439   KELLEY, ZACHARY                   28372   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        KELLNER,                                               Priority: $0.00
                          Barney Davis,
17440   LAWRENCE                          7939    8/1/2022     Secured: $0.00
                          LLC
        RICHARD                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        KELLNER,                                               Priority: $0.00
17441   LAWRENCE          Laredo, LLC     13689   8/1/2022     Secured: $0.00
        RICHARD                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        KELLNER,                                               Priority: $0.00
                          Nueces Bay,
17442   LAWRENCE                          19436   8/1/2022     Secured: $0.00
                          LLC
        RICHARD                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        KELLNER,                                               Priority: $0.00
                          Talen Texas
17443   LAWRENCE                          25170   8/1/2022     Secured: $0.00
                          Group, LLC
        RICHARD                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2532 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        KELLNER,                                             Priority: $0.00
                        Talen Texas,
17444   LAWRENCE                        30930   8/1/2022     Secured: $0.00
                        LLC
        RICHARD                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KELLOUGH,       Barney Davis,
17445                                   6862    8/1/2022     Secured: $0.00
        CYNTHIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KELLOUGH,
17446                   Laredo, LLC     12612   8/1/2022     Secured: $0.00
        CYNTHIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KELLOUGH,       Nueces Bay,
17447                                   18359   8/1/2022     Secured: $0.00
        CYNTHIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KELLOUGH,       Talen Texas
17448                                   24093   8/1/2022     Secured: $0.00
        CYNTHIA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KELLOUGH,       Talen Texas,
17449                                   29853   8/1/2022     Secured: $0.00
        CYNTHIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17450   KELLY, AMANDA                   6355    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2533 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17451   KELLY, AMANDA   Laredo, LLC     12105   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17452   KELLY, AMANDA                   17852   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17453   KELLY, AMANDA                   23587   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17454   KELLY, AMANDA                   29346   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17455   KELLY, JADE                     7427    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17456   KELLY, JADE     Laredo, LLC     13177   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17457   KELLY, JADE                     18924   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2534 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17458   KELLY, JADE                      24658   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17459   KELLY, JADE                      30418   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17460   KELLY, NATASHA                   5171    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17461   KELLY, NATASHA   Laredo, LLC     10921   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17462   KELLY, NATASHA                   16668   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17463   KELLY, NATASHA                   22413   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17464   KELLY, NATASHA                   28162   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2535 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17465   KELLY, NINA                     8344    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17466   KELLY, NINA     Laredo, LLC     14094   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17467   KELLY, NINA                     19841   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17468   KELLY, NINA                     25575   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17469   KELLY, NINA                     31335   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17470   KELLY, PENEKA                   5211    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17471   KELLY, PENEKA   Laredo, LLC     10961   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2536 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17472   KELLY, PENEKA                     16708   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17473   KELLY, PENEKA                     22453   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17474   KELLY, PENEKA                     28202   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17475   KELLY, ROCHELLE                   8640    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17476   KELLY, ROCHELLE Laredo, LLC       14390   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17477   KELLY, ROCHELLE                   20137   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17478   KELLY, ROCHELLE                   25869   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2537 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17479   KELLY, ROCHELLE                   31631   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17480   KELLY, SCOTTY                     8766    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17481   KELLY, SCOTTY     Laredo, LLC     14516   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17482   KELLY, SCOTTY                     20263   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17483   KELLY, SCOTTY                     25995   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17484   KELLY, SCOTTY                     31757   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17485   KELLY, SONYA                      8858    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2538 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17486   KELLY, SONYA   Laredo, LLC     14608   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17487   KELLY, SONYA                   20355   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17488   KELLY, SONYA                   26087   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17489   KELLY, SONYA                   31849   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17490   KELLY, TONY                    9044    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17491   KELLY, TONY    Laredo, LLC     14794   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17492   KELLY, TONY                    20541   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2539 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17493   KELLY, TONY                      26273   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17494   KELLY, TONY                      32035   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KELLYCHIKEZIE,   Barney Davis,
17495                                    4269    8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KELLYCHIKEZIE,
17496                    Laredo, LLC     10019   8/1/2022     Secured: $0.00
        JENNIFER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KELLYCHIKEZIE,   Nueces Bay,
17497                                    15766   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KELLYCHIKEZIE,   Talen Texas
17498                                    21512   8/1/2022     Secured: $0.00
        JENNIFER         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KELLYCHIKEZIE,   Talen Texas,
17499                                    27260   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2540 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17500   KEMP, DEZZIE                   5973    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17501   KEMP, DEZZIE   Laredo, LLC     11723   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17502   KEMP, DEZZIE                   17470   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17503   KEMP, DEZZIE                   23215   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17504   KEMP, DEZZIE                   28964   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        KEMPER
                                                            Priority: $0.00
        INDEPENDENCE   Nueces Bay,
17505                                  1945    7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $3,786,298.90 + Unliquidated
        COMPANY
                                                            Total: $3,786,298.90 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        KEMPER
                                                            Priority: $0.00
        INDEPENDENCE   Barney Davis,
17506                                  2099    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $3,786,298.90 + Unliquidated
        COMPANY
                                                            Total: $3,786,298.90 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2541 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        KEMPER
                                                            Priority: $0.00
        INDEPENDENCE
17507                  Laredo, LLC     2250    7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $3,786,298.90 + Unliquidated
        COMPANY
                                                            Total: $3,786,298.90 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KENDALL,       Barney Davis,
17508                                  3710    8/1/2022     Secured: $0.00
        SHAWNECE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KENDALL,
17509                  Laredo, LLC     9460    8/1/2022     Secured: $0.00
        SHAWNECE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KENDALL,       Nueces Bay,
17510                                  15207   8/1/2022     Secured: $0.00
        SHAWNECE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KENDALL,       Talen Texas
17511                                  20954   8/1/2022     Secured: $0.00
        SHAWNECE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KENDALL,       Talen Texas,
17512                                  26701   8/1/2022     Secured: $0.00
        SHAWNECE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KENDRICK,      Barney Davis,
17513                                  5467    8/1/2022     Secured: $0.00
        LINDSEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2542 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENDRICK,
17514                    Laredo, LLC    11217   8/1/2022     Secured: $0.00
        LINDSEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENDRICK,        Nueces Bay,
17515                                   16964   8/1/2022     Secured: $0.00
        LINDSEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENDRICK,        Talen Texas
17516                                   22709   8/1/2022     Secured: $0.00
        LINDSEY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENDRICK,        Talen Texas,
17517                                   28458   8/1/2022     Secured: $0.00
        LINDSEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENMAR FITNESS, Barney Davis,
17518                                   5687    8/1/2022     Secured: $0.00
        LLC             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENMAR FITNESS,
17519                   Laredo, LLC     11437   8/1/2022     Secured: $0.00
        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KENMAR FITNESS, Nueces Bay,
17520                                   17184   8/1/2022     Secured: $0.00
        LLC             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2543 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENMAR FITNESS, Talen Texas
17521                                    22929   8/1/2022     Secured: $0.00
        LLC             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENMAR FITNESS, Talen Texas,
17522                                    28678   8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNARD,         Barney Davis,
17523                                    7104    8/1/2022     Secured: $0.00
        DOUGLAS          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNARD,
17524                    Laredo, LLC     12854   8/1/2022     Secured: $0.00
        DOUGLAS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNARD,         Nueces Bay,
17525                                    18601   8/1/2022     Secured: $0.00
        DOUGLAS          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNARD,         Talen Texas
17526                                    24335   8/1/2022     Secured: $0.00
        DOUGLAS          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNARD,         Talen Texas,
17527                                    30095   8/1/2022     Secured: $0.00
        DOUGLAS          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2544 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNEDY,         Barney Davis,
17528                                    6523    8/1/2022     Secured: $0.00
        BIRVECKEA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNEDY,
17529                    Laredo, LLC     12273   8/1/2022     Secured: $0.00
        BIRVECKEA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNEDY,         Nueces Bay,
17530                                    18020   8/1/2022     Secured: $0.00
        BIRVECKEA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNEDY,         Talen Texas
17531                                    23755   8/1/2022     Secured: $0.00
        BIRVECKEA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KENNEDY,         Talen Texas,
17532                                    29514   8/1/2022     Secured: $0.00
        BIRVECKEA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17533   KENNEDY, CINDI                   4053    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17534   KENNEDY, CINDI   Laredo, LLC     9803    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2545 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17535   KENNEDY, CINDI                     15550   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17536   KENNEDY, CINDI                     21296   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17537   KENNEDY, CINDI                     27044   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17538   KENNEDY, JESSICA                   4282    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
17539   KENNEDY, JESSICA Laredo, LLC       10032   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17540   KENNEDY, JESSICA                   15779   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17541   KENNEDY, JESSICA                   21525   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2546 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas,
17542   KENNEDY, JESSICA                  27273   8/1/2022     Secured: $0.00
                           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY, LYNDA Barney Davis,
17543                                     8038    8/1/2022     Secured: $0.00
        T.             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY, LYNDA
17544                  Laredo, LLC        13788   8/1/2022     Secured: $0.00
        T.
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY, LYNDA Nueces Bay,
17545                                     19535   8/1/2022     Secured: $0.00
        T.             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY, LYNDA Talen Texas
17546                                     25269   8/1/2022     Secured: $0.00
        T.             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY, LYNDA Talen Texas,
17547                                     31029   8/1/2022     Secured: $0.00
        T.             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY,
17548                      Laredo, LLC    32802   8/1/2022     Secured: $0.00
        VERNON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2547 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY,          Barney Davis,
17549                                     33793   8/1/2022     Secured: $0.00
        VERNON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY,          Nueces Bay,
17550                                     34784   8/1/2022     Secured: $0.00
        VERNON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY,          Talen Texas
17551                                     35775   8/1/2022     Secured: $0.00
        VERNON            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KENNEDY,          Talen Texas,
17552                                     36766   8/1/2022     Secured: $0.00
        VERNON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17553   KENNILLIA, ASAD                   4379    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17554   KENNILLIA, ASAD Laredo, LLC       10129   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17555   KENNILLIA, ASAD                   15876   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2548 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17556   KENNILLIA, ASAD                   21622   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17557   KENNILLIA, ASAD                   27370   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17558   KENNY, MYKELA                     6162    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17559   KENNY, MYKELA     Laredo, LLC     11912   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17560   KENNY, MYKELA                     17659   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17561   KENNY, MYKELA                     23404   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17562   KENNY, MYKELA                     29153   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2549 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17563   KENYON, KAY    Laredo, LLC     32803   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17564   KENYON, KAY                    33794   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17565   KENYON, KAY                    34785   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17566   KENYON, KAY                    35776   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17567   KENYON, KAY                    36767   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17568   KERN, EUNICE   Laredo, LLC     32804   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17569   KERN, EUNICE                   33795   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2550 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17570   KERN, EUNICE                   34786   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17571   KERN, EUNICE                   35777   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17572   KERN, EUNICE                   36768   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17573   KERNER, CARY                   6671    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17574   KERNER, CARY   Laredo, LLC     12421   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17575   KERNER, CARY                   18168   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17576   KERNER, CARY                   23902   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2551 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17577   KERNER, CARY                     29662   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17578   KERNS, MICHAEL                   8230    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17579   KERNS, MICHAEL Laredo, LLC       13980   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17580   KERNS, MICHAEL                   19727   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17581   KERNS, MICHAEL                   25461   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17582   KERNS, MICHAEL                   31221   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17583   KERR, ARTHUR                     3949    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2552 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17584   KERR, ARTHUR   Laredo, LLC     9699    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17585   KERR, ARTHUR                   15446   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17586   KERR, ARTHUR                   21192   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17587   KERR, ARTHUR                   26940   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17588   KERR, DAWN                     4925    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17589   KERR, DAWN     Laredo, LLC     10675   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17590   KERR, DAWN                     16422   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2553 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
17591   KERR, DAWN                    22167   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
17592   KERR, DAWN                    27916   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KERR,         Barney Davis,
17593                                 7876    8/1/2022     Secured: $0.00
        KRISTOPHER    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KERR,
17594                 Laredo, LLC     13626   8/1/2022     Secured: $0.00
        KRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KERR,         Nueces Bay,
17595                                 19373   8/1/2022     Secured: $0.00
        KRISTOPHER    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KERR,         Talen Texas
17596                                 25107   8/1/2022     Secured: $0.00
        KRISTOPHER    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KERR,         Talen Texas,
17597                                 30867   8/1/2022     Secured: $0.00
        KRISTOPHER    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2554 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KESSEL, MARSHA Barney Davis,
17598                                   5136    8/1/2022     Secured: $0.00
        ANN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KESSEL, MARSHA
17599                  Laredo, LLC      10886   8/1/2022     Secured: $0.00
        ANN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KESSEL, MARSHA Nueces Bay,
17600                                   16633   8/1/2022     Secured: $0.00
        ANN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KESSEL, MARSHA Talen Texas
17601                                   22378   8/1/2022     Secured: $0.00
        ANN            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KESSEL, MARSHA Talen Texas,
17602                                   28127   8/1/2022     Secured: $0.00
        ANN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KETURAH´S       Barney Davis,
17603                                   5688    8/1/2022     Secured: $0.00
        HAVEN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KETURAH´S
17604                   Laredo, LLC     11438   8/1/2022     Secured: $0.00
        HAVEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2555 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KETURAH´S          Nueces Bay,
17605                                      17185   8/1/2022     Secured: $0.00
        HAVEN              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KETURAH´S          Talen Texas
17606                                      22930   8/1/2022     Secured: $0.00
        HAVEN              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KETURAH´S          Talen Texas,
17607                                      28679   8/1/2022     Secured: $0.00
        HAVEN              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        KEY WIND L.L.C.,                                        Priority: $0.00
                           Barney Davis,
17608   FRANCHISE TAX                      5931    8/1/2022     Secured: $0.00
                           LLC
        (PMT PEND.)                                             General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        KEY WIND L.L.C.,                                        Priority: $0.00
17609   FRANCHISE TAX      Laredo, LLC     11681   8/1/2022     Secured: $0.00
        (PMT PEND.)                                             General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        KEY WIND L.L.C.,                                        Priority: $0.00
                           Nueces Bay,
17610   FRANCHISE TAX                      17428   8/1/2022     Secured: $0.00
                           LLC
        (PMT PEND.)                                             General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        KEY WIND L.L.C.,                                        Priority: $0.00
                           Talen Texas
17611   FRANCHISE TAX                      23173   8/1/2022     Secured: $0.00
                           Group, LLC
        (PMT PEND.)                                             General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2556 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        KEY WIND L.L.C.,                                        Priority: $0.00
                           Talen Texas,
17612   FRANCHISE TAX                      28922   8/1/2022     Secured: $0.00
                           LLC
        (PMT PEND.)                                             General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17613   KEY, KATHLEEN                      5067    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
17614   KEY, KATHLEEN      Laredo, LLC     10817   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17615   KEY, KATHLEEN                      16564   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17616   KEY, KATHLEEN                      22309   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17617   KEY, KATHLEEN                      28058   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17618   KEYS, DONNA                        7072    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2557 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
17619   KEYS, DONNA   Laredo, LLC     12822   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
17620   KEYS, DONNA                   18569   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
17621   KEYS, DONNA                   24303   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
17622   KEYS, DONNA                   30063   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHADIVIAN,    Barney Davis,
17623                                 8180    8/1/2022     Secured: $0.00
        MASSOUD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHADIVIAN,
17624                 Laredo, LLC     13930   8/1/2022     Secured: $0.00
        MASSOUD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHADIVIAN,    Nueces Bay,
17625                                 19677   8/1/2022     Secured: $0.00
        MASSOUD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2558 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHADIVIAN,    Talen Texas
17626                                 25411   8/1/2022     Secured: $0.00
        MASSOUD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHADIVIAN,    Talen Texas,
17627                                 31171   8/1/2022     Secured: $0.00
        MASSOUD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHAIRZADA,    Barney Davis,
17628                                 8657    8/1/2022     Secured: $0.00
        ROKSHANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHAIRZADA,
17629                 Laredo, LLC     14407   8/1/2022     Secured: $0.00
        ROKSHANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHAIRZADA,    Nueces Bay,
17630                                 20154   8/1/2022     Secured: $0.00
        ROKSHANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHAIRZADA,    Talen Texas
17631                                 25886   8/1/2022     Secured: $0.00
        ROKSHANA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KHAIRZADA,    Talen Texas,
17632                                 31648   8/1/2022     Secured: $0.00
        ROKSHANA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2559 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17633   KHAN, SANDRA   Laredo, LLC     32805   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17634   KHAN, SANDRA                   33796   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17635   KHAN, SANDRA                   34787   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17636   KHAN, SANDRA                   35778   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17637   KHAN, SANDRA                   36769   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17638   KHAN, SHAZIA                   5520    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17639   KHAN, SHAZIA   Laredo, LLC     11270   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2560 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17640   KHAN, SHAZIA                   17017   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17641   KHAN, SHAZIA                   22762   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17642   KHAN, SHAZIA                   28511   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KHOSHNOUDI,    Barney Davis,
17643                                  9288    8/1/2022     Secured: $0.00
        MAHBOOBEH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KHOSHNOUDI,
17644                  Laredo, LLC     15038   8/1/2022     Secured: $0.00
        MAHBOOBEH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KHOSHNOUDI,    Nueces Bay,
17645                                  20785   8/1/2022     Secured: $0.00
        MAHBOOBEH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KHOSHNOUDI,    Talen Texas
17646                                  26517   8/1/2022     Secured: $0.00
        MAHBOOBEH      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2561 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KHOSHNOUDI,     Talen Texas,
17647                                   32279   8/1/2022     Secured: $0.00
        MAHBOOBEH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIBLER, GORDON Barney Davis,
17648                                   7317    8/1/2022     Secured: $0.00
        T              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIBLER, GORDON
17649                  Laredo, LLC      13067   8/1/2022     Secured: $0.00
        T
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIBLER, GORDON Nueces Bay,
17650                                   18814   8/1/2022     Secured: $0.00
        T              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIBLER, GORDON Talen Texas
17651                                   24548   8/1/2022     Secured: $0.00
        T              Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIBLER, GORDON Talen Texas,
17652                                   30308   8/1/2022     Secured: $0.00
        T              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17653   KIDD, DONALD                    7062    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2562 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17654   KIDD, DONALD   Laredo, LLC     12812   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17655   KIDD, DONALD                   18559   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17656   KIDD, DONALD                   24293   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17657   KIDD, DONALD                   30053   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17658   KILE, GERI     Laredo, LLC     32806   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17659   KILE, GERI                     33797   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17660   KILE, GERI                     34788   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2563 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17661   KILE, GERI                     35779   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17662   KILE, GERI                     36770   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17663   KILE, ROY L                    8694    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17664   KILE, ROY L    Laredo, LLC     14444   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17665   KILE, ROY L                    20191   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17666   KILE, ROY L                    25923   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17667   KILE, ROY L                    31685   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2564 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17668   KIM, RICHARD                   4608    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17669   KIM, RICHARD   Laredo, LLC     10358   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17670   KIM, RICHARD                   16105   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17671   KIM, RICHARD                   21851   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17672   KIM, RICHARD                   27599   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIMBERLIN,     Barney Davis,
17673                                  5183    8/1/2022     Secured: $0.00
        NICOLE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIMBERLIN,
17674                  Laredo, LLC     10933   8/1/2022     Secured: $0.00
        NICOLE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2565 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIMBERLIN,      Nueces Bay,
17675                                  16680   8/1/2022     Secured: $0.00
        NICOLE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIMBERLIN,      Talen Texas
17676                                  22425   8/1/2022     Secured: $0.00
        NICOLE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIMBERLIN,      Talen Texas,
17677                                  28174   8/1/2022     Secured: $0.00
        NICOLE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        KIMBERLY OLSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Barney Davis,
17678                                  3862    8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        CLINTON
        MAURICE VOTH
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        KIMBERLY OLSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF
17679                   Laredo, LLC    9612    8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                            General Unsecured: $0.00 + Unliquidated
        CLINTON
        MAURICE VOTH
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        KIMBERLY OLSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Nueces Bay,
17680                                  15359   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        CLINTON
        MAURICE VOTH
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        KIMBERLY OLSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Talen Texas
17681                                  21106   8/1/2022     Secured: $0.00
        THE ESTATE OF   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        CLINTON
        MAURICE VOTH
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2566 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        KIMBERLY OLSON,
                                                             Other Administrative: $0.00
        INDIVIDUALLY
                                                             Priority: $0.00
        AND AS HEIR OF Talen Texas,
17682                                   26853   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CLINTON
        MAURICE VOTH
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIMBRELL,       Barney Davis,
17683                                   6419    8/1/2022     Secured: $0.00
        ANNETTE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIMBRELL,
17684                   Laredo, LLC     12169   8/1/2022     Secured: $0.00
        ANNETTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIMBRELL,       Nueces Bay,
17685                                   17916   8/1/2022     Secured: $0.00
        ANNETTE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIMBRELL,       Talen Texas
17686                                   23651   8/1/2022     Secured: $0.00
        ANNETTE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIMBRELL,       Talen Texas,
17687                                   29410   8/1/2022     Secured: $0.00
        ANNETTE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KIMMERLE,       Barney Davis,
17688                                   5243    8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2567 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMERLE,
17689                 Laredo, LLC     10993   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMERLE,     Nueces Bay,
17690                                 16740   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMERLE,     Talen Texas
17691                                 22485   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMERLE,     Talen Texas,
17692                                 28234   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMONS,      Barney Davis,
17693                                 8334    8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMONS,
17694                 Laredo, LLC     14084   8/1/2022     Secured: $0.00
        NICOLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KIMMONS,      Nueces Bay,
17695                                 19831   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2568 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KIMMONS,         Talen Texas
17696                                    25565   8/1/2022     Secured: $0.00
        NICOLE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KIMMONS,         Talen Texas,
17697                                    31325   8/1/2022     Secured: $0.00
        NICOLE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17698   KINARD, SHEILA   Laredo, LLC     32807   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17699   KINARD, SHEILA                   33798   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17700   KINARD, SHEILA                   34789   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17701   KINARD, SHEILA                   35780   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17702   KINARD, SHEILA                   36771   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2569 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINCHELOE,      Barney Davis,
17703                                   6117    8/1/2022     Secured: $0.00
        HANNAH          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINCHELOE,
17704                   Laredo, LLC     11867   8/1/2022     Secured: $0.00
        HANNAH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINCHELOE,      Nueces Bay,
17705                                   17614   8/1/2022     Secured: $0.00
        HANNAH          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINCHELOE,      Talen Texas
17706                                   23359   8/1/2022     Secured: $0.00
        HANNAH          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINCHELOE,      Talen Texas,
17707                                   29108   8/1/2022     Secured: $0.00
        HANNAH          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17708   KINDLE, JAMES                   7452    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17709   KINDLE, JAMES   Laredo, LLC     13202   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2570 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17710   KINDLE, JAMES                   18949   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17711   KINDLE, JAMES                   24683   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17712   KINDLE, JAMES                   30443   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17713   KINDLE, OLENA                   6165    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17714   KINDLE, OLENA   Laredo, LLC     11915   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17715   KINDLE, OLENA                   17662   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17716   KINDLE, OLENA                   23407   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2571 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17717   KINDLE, OLENA                   29156   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINDRED,        Barney Davis,
17718                                   4308    8/1/2022     Secured: $0.00
        JOHNNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINDRED,
17719                   Laredo, LLC     10058   8/1/2022     Secured: $0.00
        JOHNNA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINDRED,        Nueces Bay,
17720                                   15805   8/1/2022     Secured: $0.00
        JOHNNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINDRED,        Talen Texas
17721                                   21551   8/1/2022     Secured: $0.00
        JOHNNA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KINDRED,        Talen Texas,
17722                                   27299   8/1/2022     Secured: $0.00
        JOHNNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17723   KING, DALE                      6872    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2572 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17724   KING, DALE     Laredo, LLC     12622   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17725   KING, DALE                     18369   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17726   KING, DALE                     24103   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17727   KING, DALE                     29863   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17728   KING, DALWIN                   6874    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17729   KING, DALWIN   Laredo, LLC     12624   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17730   KING, DALWIN                   18371   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2573 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17731   KING, DALWIN                   24105   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17732   KING, DALWIN                   29865   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17733   KING, DANA                     4915    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17734   KING, DANA     Laredo, LLC     10665   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17735   KING, DANA                     16412   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17736   KING, DANA                     22157   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17737   KING, DANA                     27906   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2574 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17738   KING, EA                       7117    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17739   KING, EA       Laredo, LLC     12867   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17740   KING, EA                       18614   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17741   KING, EA                       24348   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17742   KING, EA                       30108   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17743   KING, JUSTIN                   5058    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17744   KING, JUSTIN   Laredo, LLC     10808   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2575 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17745   KING, JUSTIN                     16555   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17746   KING, JUSTIN                     22300   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17747   KING, JUSTIN                     28049   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KING, KIMBERLY   Barney Davis,
17748                                    7849    8/1/2022     Secured: $0.00
        FAITHE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KING, KIMBERLY
17749                    Laredo, LLC     13599   8/1/2022     Secured: $0.00
        FAITHE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KING, KIMBERLY   Nueces Bay,
17750                                    19346   8/1/2022     Secured: $0.00
        FAITHE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KING, KIMBERLY   Talen Texas
17751                                    25080   8/1/2022     Secured: $0.00
        FAITHE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2576 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KING, KIMBERLY   Talen Texas,
17752                                    30840   8/1/2022     Secured: $0.00
        FAITHE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17753   KING, LEOLA                      5091    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17754   KING, LEOLA      Laredo, LLC     10841   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17755   KING, LEOLA                      16588   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17756   KING, LEOLA                      22333   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17757   KING, LEOLA                      28082   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17758   KING, PAMALA                     8378    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2577 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17759   KING, PAMALA    Laredo, LLC     14128   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17760   KING, PAMALA                    19875   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17761   KING, PAMALA                    25608   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17762   KING, PAMALA                    31369   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17763   KING, SAMECIA                   4654    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17764   KING, SAMECIA   Laredo, LLC     10404   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17765   KING, SAMECIA                   16151   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2578 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17766   KING, SAMECIA                   21897   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17767   KING, SAMECIA                   27645   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17768   KING, WELDON                    9139    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17769   KING, WELDON    Laredo, LLC     14889   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17770   KING, WELDON                    20636   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17771   KING, WELDON                    26368   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17772   KING, WELDON                    32130   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2579 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17773   KINMON, DONNA                   7073    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17774   KINMON, DONNA Laredo, LLC       12823   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17775   KINMON, DONNA                   18570   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17776   KINMON, DONNA                   24304   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17777   KINMON, DONNA                   30064   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17778   KIRBY, BODIE                    6535    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17779   KIRBY, BODIE    Laredo, LLC     12285   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2580 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17780   KIRBY, BODIE                       18032   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17781   KIRBY, BODIE                       23767   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17782   KIRBY, BODIE                       29526   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17783   KIRBY, KATHERINE                   7762    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
17784   KIRBY, KATHERINE Laredo, LLC       13512   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17785   KIRBY, KATHERINE                   19259   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17786   KIRBY, KATHERINE                   24993   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2581 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17787   KIRBY, KATHERINE                   30753   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17788   KIRK, CHERYL                       9228    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
17789   KIRK, CHERYL       Laredo, LLC     14978   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17790   KIRK, CHERYL                       20725   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17791   KIRK, CHERYL                       26457   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17792   KIRK, CHERYL                       32219   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KIRKHART,          Barney Davis,
17793                                      4737    8/1/2022     Secured: $0.00
        THOMAS             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2582 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKHART,
17794                  Laredo, LLC     10487   8/1/2022     Secured: $0.00
        THOMAS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKHART,      Nueces Bay,
17795                                  16234   8/1/2022     Secured: $0.00
        THOMAS         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKHART,      Talen Texas
17796                                  21980   8/1/2022     Secured: $0.00
        THOMAS         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKHART,      Talen Texas,
17797                                  27728   8/1/2022     Secured: $0.00
        THOMAS         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Barney Davis,
17798                                  6511    8/1/2022     Secured: $0.00
        BEVERLY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,
17799                  Laredo, LLC     12261   8/1/2022     Secured: $0.00
        BEVERLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Nueces Bay,
17800                                  18008   8/1/2022     Secured: $0.00
        BEVERLY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2583 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Talen Texas
17801                                  23743   8/1/2022     Secured: $0.00
        BEVERLY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Talen Texas,
17802                                  29502   8/1/2022     Secured: $0.00
        BEVERLY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Barney Davis,
17803                                  8427    8/1/2022     Secured: $0.00
        PAULINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,
17804                  Laredo, LLC     14177   8/1/2022     Secured: $0.00
        PAULINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Nueces Bay,
17805                                  19924   8/1/2022     Secured: $0.00
        PAULINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Talen Texas
17806                                  25657   8/1/2022     Secured: $0.00
        PAULINE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KIRKPATRICK,   Talen Texas,
17807                                  31418   8/1/2022     Secured: $0.00
        PAULINE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2584 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17808   KIRVEN, SHARON                   5296    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17809   KIRVEN, SHARON Laredo, LLC       11046   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17810   KIRVEN, SHARON                   16793   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17811   KIRVEN, SHARON                   22538   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17812   KIRVEN, SHARON                   28287   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17813   KIRVEN, WILLIE                   3753    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17814   KIRVEN, WILLIE   Laredo, LLC     9503    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2585 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17815   KIRVEN, WILLIE                   15250   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17816   KIRVEN, WILLIE                   20997   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17817   KIRVEN, WILLIE                   26744   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17818   KISER, CHARLES                   5755    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17819   KISER, CHARLES   Laredo, LLC     11505   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17820   KISER, CHARLES                   17252   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17821   KISER, CHARLES                   22997   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2586 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17822   KISER, CHARLES                     28746   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17823   KISER, WENDY                       9341    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
17824   KISER, WENDY       Laredo, LLC     15091   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17825   KISER, WENDY                       20838   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17826   KISER, WENDY                       26570   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17827   KISER, WENDY                       32332   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
17828   KISHA, ELIZABETH                   7151    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2587 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
17829   KISHA, ELIZABETH Laredo, LLC       12901   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
17830   KISHA, ELIZABETH                   18648   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
17831   KISHA, ELIZABETH                   24382   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
17832   KISHA, ELIZABETH                   30142   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KITCHENS,          Barney Davis,
17833                                      8326    8/1/2022     Secured: $0.00
        NGUYET             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KITCHENS,
17834                      Laredo, LLC     14076   8/1/2022     Secured: $0.00
        NGUYET
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        KITCHENS,          Nueces Bay,
17835                                      19823   8/1/2022     Secured: $0.00
        NGUYET             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2588 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KITCHENS,       Talen Texas
17836                                   25557   8/1/2022     Secured: $0.00
        NGUYET          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KITCHENS,       Talen Texas,
17837                                   31317   8/1/2022     Secured: $0.00
        NGUYET          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17838   KIZER, JOSHUA                   5928    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17839   KIZER, JOSHUA   Laredo, LLC     11678   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17840   KIZER, JOSHUA                   17425   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17841   KIZER, JOSHUA                   23170   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17842   KIZER, JOSHUA                   28919   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2589 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17843   KLEIN, ALLISON                   5954    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17844   KLEIN, ALLISON   Laredo, LLC     11704   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17845   KLEIN, ALLISON                   17451   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17846   KLEIN, ALLISON                   23196   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17847   KLEIN, ALLISON                   28945   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17848   KLEIN, DEBORAH                   6968    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17849   KLEIN, DEBORAH   Laredo, LLC     12718   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2590 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17850   KLEIN, DEBORAH                   18465   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17851   KLEIN, DEBORAH                   24199   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17852   KLEIN, DEBORAH                   29959   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17853   KLEIN, KENNETH                   7812    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17854   KLEIN, KENNETH   Laredo, LLC     13562   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17855   KLEIN, KENNETH                   19309   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17856   KLEIN, KENNETH                   25043   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2591 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17857   KLEIN, KENNETH                   30803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17858   KLEIN, WILLIAM                   4782    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17859   KLEIN, WILLIAM   Laredo, LLC     10532   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17860   KLEIN, WILLIAM                   16279   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17861   KLEIN, WILLIAM                   22025   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17862   KLEIN, WILLIAM                   27773   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KLEMANN, DEBRA Barney Davis,
17863                                    4932    8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2592 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KLEMANN, DEBRA
17864                  Laredo, LLC       10682   8/1/2022     Secured: $0.00
        ELIZABETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KLEMANN, DEBRA Nueces Bay,
17865                                    16429   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KLEMANN, DEBRA Talen Texas
17866                                    22174   8/1/2022     Secured: $0.00
        ELIZABETH      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KLEMANN, DEBRA Talen Texas,
17867                                    27923   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17868   KLEMESRUD, TOM Laredo, LLC       32808   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17869   KLEMESRUD, TOM                   33799   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17870   KLEMESRUD, TOM                   34790   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2593 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17871   KLEMESRUD, TOM                    35781   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17872   KLEMESRUD, TOM                    36772   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17873   KNIGHT, CHRISTY                   5764    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17874   KNIGHT, CHRISTY Laredo, LLC       11514   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17875   KNIGHT, CHRISTY                   17261   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17876   KNIGHT, CHRISTY                   23006   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17877   KNIGHT, CHRISTY                   28755   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2594 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17878   KNIGHT, CYNTHIA                   9242    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17879   KNIGHT, CYNTHIA Laredo, LLC       14992   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17880   KNIGHT, CYNTHIA                   20739   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17881   KNIGHT, CYNTHIA                   26471   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17882   KNIGHT, CYNTHIA                   32233   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17883   KNIGHT, STEVE                     5568    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17884   KNIGHT, STEVE     Laredo, LLC     11318   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2595 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17885   KNIGHT, STEVE                    17065   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17886   KNIGHT, STEVE                    22810   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17887   KNIGHT, STEVE                    28559   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17888   KNIGHT, THOMAS                   5341    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17889   KNIGHT, THOMAS Laredo, LLC       11091   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17890   KNIGHT, THOMAS                   16838   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17891   KNIGHT, THOMAS                   22583   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2596 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17892   KNIGHT, THOMAS                   28332   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KNOEBLE,
17893                    Laredo, LLC     32809   8/1/2022     Secured: $0.00
        SHARON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KNOEBLE,         Barney Davis,
17894                                    33800   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KNOEBLE,         Nueces Bay,
17895                                    34791   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KNOEBLE,         Talen Texas
17896                                    35782   8/1/2022     Secured: $0.00
        SHARON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KNOEBLE,         Talen Texas,
17897                                    36773   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17898   KNOUSE, JACK                     7413    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2597 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17899   KNOUSE, JACK   Laredo, LLC     13163   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17900   KNOUSE, JACK                   18910   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17901   KNOUSE, JACK                   24644   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17902   KNOUSE, JACK                   30404   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KNOWLES,       Barney Davis,
17903                                  8231    8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KNOWLES,
17904                  Laredo, LLC     13981   8/1/2022     Secured: $0.00
        MICHAEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KNOWLES,       Nueces Bay,
17905                                  19728   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2598 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOWLES,        Talen Texas
17906                                   25462   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOWLES,        Talen Texas,
17907                                   31222   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17908   KNOX, BELINDA                   5432    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17909   KNOX, BELINDA   Laredo, LLC     11182   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17910   KNOX, BELINDA                   16929   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17911   KNOX, BELINDA                   22674   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17912   KNOX, BELINDA                   28423   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2599 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, FAEISHA   Barney Davis,
17913                                   9259    8/1/2022     Secured: $0.00
        RENEE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, FAEISHA
17914                   Laredo, LLC     15009   8/1/2022     Secured: $0.00
        RENEE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, FAEISHA   Nueces Bay,
17915                                   20756   8/1/2022     Secured: $0.00
        RENEE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, FAEISHA   Talen Texas
17916                                   26488   8/1/2022     Secured: $0.00
        RENEE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, FAEISHA   Talen Texas,
17917                                   32250   8/1/2022     Secured: $0.00
        RENEE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, GEORGIA   Barney Davis,
17918                                   7296    8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, GEORGIA
17919                   Laredo, LLC     13046   8/1/2022     Secured: $0.00
        M
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2600 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, GEORGIA   Nueces Bay,
17920                                   18793   8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, GEORGIA   Talen Texas
17921                                   24527   8/1/2022     Secured: $0.00
        M               Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNOX, GEORGIA   Talen Texas,
17922                                   30287   8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNUEPPEL,       Barney Davis,
17923                                   7813    8/1/2022     Secured: $0.00
        KENNETH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNUEPPEL,
17924                   Laredo, LLC     13563   8/1/2022     Secured: $0.00
        KENNETH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNUEPPEL,       Nueces Bay,
17925                                   19310   8/1/2022     Secured: $0.00
        KENNETH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KNUEPPEL,       Talen Texas
17926                                   25044   8/1/2022     Secured: $0.00
        KENNETH         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2601 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KNUEPPEL,         Talen Texas,
17927                                     30804   8/1/2022     Secured: $0.00
        KENNETH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
17928   KOCUREK, DANIEL Laredo, LLC       32810   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
17929   KOCUREK, DANIEL                   33801   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
17930   KOCUREK, DANIEL                   34792   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
17931   KOCUREK, DANIEL                   35783   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
17932   KOCUREK, DANIEL                   36774   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        KOENDARFER,       Barney Davis,
17933                                     7688    8/1/2022     Secured: $0.00
        JOYCE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2602 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KOENDARFER,
17934                  Laredo, LLC     13438   8/1/2022     Secured: $0.00
        JOYCE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KOENDARFER,    Nueces Bay,
17935                                  19185   8/1/2022     Secured: $0.00
        JOYCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KOENDARFER,    Talen Texas
17936                                  24919   8/1/2022     Secured: $0.00
        JOYCE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KOENDARFER,    Talen Texas,
17937                                  30679   8/1/2022     Secured: $0.00
        JOYCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17938   KOHN, JOSEPH   Laredo, LLC     32811   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17939   KOHN, JOSEPH                   33802   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17940   KOHN, JOSEPH                   34793   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2603 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17941   KOHN, JOSEPH                   35784   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17942   KOHN, JOSEPH                   36775   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17943   KOPACK, JOHN                   7611    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17944   KOPACK, JOHN   Laredo, LLC     13361   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17945   KOPACK, JOHN                   19108   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17946   KOPACK, JOHN                   24842   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17947   KOPACK, JOHN                   30602   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2604 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KOPIWODA,       Barney Davis,
17948                                   5370    8/1/2022     Secured: $0.00
        WENDY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KOPIWODA,
17949                   Laredo, LLC     11120   8/1/2022     Secured: $0.00
        WENDY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KOPIWODA,       Nueces Bay,
17950                                   16867   8/1/2022     Secured: $0.00
        WENDY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KOPIWODA,       Talen Texas
17951                                   22612   8/1/2022     Secured: $0.00
        WENDY           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KOPIWODA,       Talen Texas,
17952                                   28361   8/1/2022     Secured: $0.00
        WENDY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17953   KORDASH, MIKE                   5513    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17954   KORDASH, MIKE   Laredo, LLC     11263   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2605 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17955   KORDASH, MIKE                   17010   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17956   KORDASH, MIKE                   22755   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17957   KORDASH, MIKE                   28504   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17958   KOSICH, JOHN                    7612    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17959   KOSICH, JOHN    Laredo, LLC     13362   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17960   KOSICH, JOHN                    19109   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17961   KOSICH, JOHN                    24843   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2606 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17962   KOSICH, JOHN                     30603   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
17963   KOSTY, CARLITA   Laredo, LLC     32812   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
17964   KOSTY, CARLITA                   33803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
17965   KOSTY, CARLITA                   34794   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
17966   KOSTY, CARLITA                   35785   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
17967   KOSTY, CARLITA                   36776   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KOTRULJA,        Barney Davis,
17968                                    5733    8/1/2022     Secured: $0.00
        DALIDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2607 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTRULJA,
17969                 Laredo, LLC     11483   8/1/2022     Secured: $0.00
        DALIDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTRULJA,     Nueces Bay,
17970                                 17230   8/1/2022     Secured: $0.00
        DALIDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTRULJA,     Talen Texas
17971                                 22975   8/1/2022     Secured: $0.00
        DALIDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTRULJA,     Talen Texas,
17972                                 28724   8/1/2022     Secured: $0.00
        DALIDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTZUR,
17973                 Laredo, LLC     32813   8/1/2022     Secured: $0.00
        FRANCISCA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTZUR,       Barney Davis,
17974                                 33804   8/1/2022     Secured: $0.00
        FRANCISCA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        KOTZUR,       Nueces Bay,
17975                                 34795   8/1/2022     Secured: $0.00
        FRANCISCA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2608 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KOTZUR,        Talen Texas
17976                                  35786   8/1/2022     Secured: $0.00
        FRANCISCA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KOTZUR,        Talen Texas,
17977                                  36777   8/1/2022     Secured: $0.00
        FRANCISCA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
17978   KOZAK, LINDA                   9281    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
17979   KOZAK, LINDA   Laredo, LLC     15031   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
17980   KOZAK, LINDA                   20778   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
17981   KOZAK, LINDA                   26510   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
17982   KOZAK, LINDA                   32272   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2609 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
17983   KRAEER, STACI                   8869    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
17984   KRAEER, STACI   Laredo, LLC     14619   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
17985   KRAEER, STACI                   20366   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
17986   KRAEER, STACI                   26098   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
17987   KRAEER, STACI                   31860   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRAMER,
17988                   Laredo, LLC     32814   8/1/2022     Secured: $0.00
        KIMBERLY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRAMER,         Barney Davis,
17989                                   33805   8/1/2022     Secured: $0.00
        KIMBERLY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2610 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KRAMER,        Nueces Bay,
17990                                  34796   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KRAMER,        Talen Texas
17991                                  35787   8/1/2022     Secured: $0.00
        KIMBERLY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KRAMER,        Talen Texas,
17992                                  36778   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KREIDLER,      Barney Davis,
17993                                  7289    8/1/2022     Secured: $0.00
        GEORGE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KREIDLER,
17994                  Laredo, LLC     13039   8/1/2022     Secured: $0.00
        GEORGE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KREIDLER,      Nueces Bay,
17995                                  18786   8/1/2022     Secured: $0.00
        GEORGE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KREIDLER,      Talen Texas
17996                                  24520   8/1/2022     Secured: $0.00
        GEORGE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2611 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KREIDLER,       Talen Texas,
17997                                   30280   8/1/2022     Secured: $0.00
        GEORGE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRICHEVSKY,     Barney Davis,
17998                                   8517    8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRICHEVSKY,
17999                   Laredo, LLC     14267   8/1/2022     Secured: $0.00
        REBECCA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRICHEVSKY,     Nueces Bay,
18000                                   20014   8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRICHEVSKY,     Talen Texas
18001                                   25746   8/1/2022     Secured: $0.00
        REBECCA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        KRICHEVSKY,     Talen Texas,
18002                                   31508   8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18003   KROBOT, ELSIE                   7162    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2612 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18004   KROBOT, ELSIE    Laredo, LLC     12912   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18005   KROBOT, ELSIE                    18659   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18006   KROBOT, ELSIE                    24393   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18007   KROBOT, ELSIE                    30153   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18008   KRUEGER, BRYCE                   3999    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18009   KRUEGER, BRYCE Laredo, LLC       9749    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18010   KRUEGER, BRYCE                   15496   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2613 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18011   KRUEGER, BRYCE                   21242   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18012   KRUEGER, BRYCE                   26990   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUBALA,          Barney Davis,
18013                                    4012    8/1/2022     Secured: $0.00
        CAROLYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUBALA,
18014                    Laredo, LLC     9762    8/1/2022     Secured: $0.00
        CAROLYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUBALA,          Nueces Bay,
18015                                    15509   8/1/2022     Secured: $0.00
        CAROLYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUBALA,          Talen Texas
18016                                    21255   8/1/2022     Secured: $0.00
        CAROLYN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUBALA,          Talen Texas,
18017                                    27003   8/1/2022     Secured: $0.00
        CAROLYN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2614 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18018   KUCHERA, LEIGH                   5825    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18019   KUCHERA, LEIGH   Laredo, LLC     11575   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18020   KUCHERA, LEIGH                   17322   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18021   KUCHERA, LEIGH                   23067   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18022   KUCHERA, LEIGH                   28816   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUFFNER,         Barney Davis,
18023                                    8741    8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUFFNER,
18024                    Laredo, LLC     14491   8/1/2022     Secured: $0.00
        SANDRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2615 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUFFNER,         Nueces Bay,
18025                                    20238   8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUFFNER,         Talen Texas
18026                                    25970   8/1/2022     Secured: $0.00
        SANDRA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        KUFFNER,         Talen Texas,
18027                                    31732   8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18028   KUMAR, NAVDEEP                   5174    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18029   KUMAR, NAVDEEP Laredo, LLC       10924   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18030   KUMAR, NAVDEEP                   16671   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18031   KUMAR, NAVDEEP                   22416   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2616 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18032   KUMAR, NAVDEEP                   28165   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18033   KUREK, TEKLA                     8957    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18034   KUREK, TEKLA     Laredo, LLC     14707   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18035   KUREK, TEKLA                     20454   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18036   KUREK, TEKLA                     26186   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18037   KUREK, TEKLA                     31948   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18038   KUTZER, JEAN                     7496    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2617 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18039   KUTZER, JEAN   Laredo, LLC     13246   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18040   KUTZER, JEAN                   18993   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18041   KUTZER, JEAN                   24727   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18042   KUTZER, JEAN                   30487   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KWARTENG,      Barney Davis,
18043                                  5667    8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KWARTENG,
18044                  Laredo, LLC     11417   8/1/2022     Secured: $0.00
        MICHAEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KWARTENG,      Nueces Bay,
18045                                  17164   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2618 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KWARTENG,      Talen Texas
18046                                  22909   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        KWARTENG,      Talen Texas,
18047                                  28658   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18048   KYTE, TANYA                    8945    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18049   KYTE, TANYA    Laredo, LLC     14695   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18050   KYTE, TANYA                    20442   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18051   KYTE, TANYA                    26174   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18052   KYTE, TANYA                    31936   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2619 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LA ROCHELLE,   Barney Davis,
18053                                  8183    8/1/2022     Secured: $0.00
        MATTHEW        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LA ROCHELLE,
18054                  Laredo, LLC     13933   8/1/2022     Secured: $0.00
        MATTHEW
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LA ROCHELLE,   Nueces Bay,
18055                                  19680   8/1/2022     Secured: $0.00
        MATTHEW        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LA ROCHELLE,   Talen Texas
18056                                  25414   8/1/2022     Secured: $0.00
        MATTHEW        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LA ROCHELLE,   Talen Texas,
18057                                  31174   8/1/2022     Secured: $0.00
        MATTHEW        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LABATE,        Barney Davis,
18058                                  6990    8/1/2022     Secured: $0.00
        DEMETRIO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LABATE,
18059                  Laredo, LLC     12740   8/1/2022     Secured: $0.00
        DEMETRIO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2620 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LABATE,           Nueces Bay,
18060                                     18487   8/1/2022     Secured: $0.00
        DEMETRIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LABATE,           Talen Texas
18061                                     24221   8/1/2022     Secured: $0.00
        DEMETRIO          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LABATE,           Talen Texas,
18062                                     29981   8/1/2022     Secured: $0.00
        DEMETRIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18063   LABELLE, CHERYL                   6726    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18064   LABELLE, CHERYL Laredo, LLC       12476   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18065   LABELLE, CHERYL                   18223   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18066   LABELLE, CHERYL                   23957   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2621 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18067   LABELLE, CHERYL                   29717   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18068   LABERTA, BRICE                    6587    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18069   LABERTA, BRICE    Laredo, LLC     12337   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18070   LABERTA, BRICE                    18084   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18071   LABERTA, BRICE                    23818   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18072   LABERTA, BRICE                    29578   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18073   LACEY, RICCARDO                   8553    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2622 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18074   LACEY, RICCARDO Laredo, LLC       14303   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18075   LACEY, RICCARDO                   20050   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18076   LACEY, RICCARDO                   25782   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18077   LACEY, RICCARDO                   31544   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18078   LACY, ELEAZER                     7139    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18079   LACY, ELEAZER     Laredo, LLC     12889   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18080   LACY, ELEAZER                     18636   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2623 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18081   LACY, ELEAZER                   24370   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18082   LACY, ELEAZER                   30130   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18083   LACY, MYKECIA                   9303    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18084   LACY, MYKECIA   Laredo, LLC     15053   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18085   LACY, MYKECIA                   20800   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18086   LACY, MYKECIA                   26532   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18087   LACY, MYKECIA                   32294   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2624 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
18088   LACY, SHARO                   4671    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
18089   LACY, SHARO   Laredo, LLC     10421   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
18090   LACY, SHARO                   16168   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
18091   LACY, SHARO                   21914   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
18092   LACY, SHARO                   27662   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LADEWIG,      Barney Davis,
18093                                 6070    8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LADEWIG,
18094                 Laredo, LLC     11820   8/1/2022     Secured: $0.00
        BRANDON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2625 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LADEWIG,       Nueces Bay,
18095                                  17567   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LADEWIG,       Talen Texas
18096                                  23312   8/1/2022     Secured: $0.00
        BRANDON        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LADEWIG,       Talen Texas,
18097                                  29061   8/1/2022     Secured: $0.00
        BRANDON        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18098   LADNER, RYAN                   8713    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18099   LADNER, RYAN   Laredo, LLC     14463   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18100   LADNER, RYAN                   20210   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18101   LADNER, RYAN                   25942   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2626 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18102   LADNER, RYAN                   31704   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18103   LAGOS, DIEGO                   7045    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18104   LAGOS, DIEGO   Laredo, LLC     12795   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18105   LAGOS, DIEGO                   18542   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18106   LAGOS, DIEGO                   24276   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18107   LAGOS, DIEGO                   30036   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAHASKY,       Barney Davis,
18108                                  7381    8/1/2022     Secured: $0.00
        HUNTER         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2627 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAHASKY,
18109                   Laredo, LLC     13131   8/1/2022     Secured: $0.00
        HUNTER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAHASKY,        Nueces Bay,
18110                                   18878   8/1/2022     Secured: $0.00
        HUNTER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAHASKY,        Talen Texas
18111                                   24612   8/1/2022     Secured: $0.00
        HUNTER          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAHASKY,        Talen Texas,
18112                                   30372   8/1/2022     Secured: $0.00
        HUNTER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18113   LAIN, RAYMOND                   8509    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18114   LAIN, RAYMOND   Laredo, LLC     14259   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18115   LAIN, RAYMOND                   20006   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2628 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18116   LAIN, RAYMOND                     25738   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18117   LAIN, RAYMOND                     31500   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18118   LAINEZ, MILAGRO                   8267    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18119   LAINEZ, MILAGRO Laredo, LLC       14017   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18120   LAINEZ, MILAGRO                   19764   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18121   LAINEZ, MILAGRO                   25498   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18122   LAINEZ, MILAGRO                   31258   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2629 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18123   LAKE, CHANELLE                   4029    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18124   LAKE, CHANELLE   Laredo, LLC     9779    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18125   LAKE, CHANELLE                   15526   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18126   LAKE, CHANELLE                   21272   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18127   LAKE, CHANELLE                   27020   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18128   LALANI, SALMA                    5707    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18129   LALANI, SALMA    Laredo, LLC     11457   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2630 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18130   LALANI, SALMA                     17204   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18131   LALANI, SALMA                     22949   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18132   LALANI, SALMA                     28698   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18133   LALEYE, ANTHONY                   3936    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18134   LALEYE, ANTHONY Laredo, LLC       9686    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18135   LALEYE, ANTHONY                   15433   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18136   LALEYE, ANTHONY                   21179   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2631 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18137   LALEYE, ANTHONY                   26927   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18138   LAMB, CHRISTINE Laredo, LLC       32815   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18139   LAMB, CHRISTINE                   33806   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18140   LAMB, CHRISTINE                   34797   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18141   LAMB, CHRISTINE                   35788   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18142   LAMB, CHRISTINE                   36779   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LAMB,             Barney Davis,
18143                                     4653    8/1/2022     Secured: $0.00
        SAMANTHA K        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2632 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMB,
18144                   Laredo, LLC     10403   8/1/2022     Secured: $0.00
        SAMANTHA K
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMB,           Nueces Bay,
18145                                   16150   8/1/2022     Secured: $0.00
        SAMANTHA K      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMB,           Talen Texas
18146                                   21896   8/1/2022     Secured: $0.00
        SAMANTHA K      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMB,           Talen Texas,
18147                                   27644   8/1/2022     Secured: $0.00
        SAMANTHA K      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18148   LAMBERT, JEFF                   7501    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18149   LAMBERT, JEFF   Laredo, LLC     13251   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18150   LAMBERT, JEFF                   18998   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2633 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18151   LAMBERT, JEFF                   24732   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18152   LAMBERT, JEFF                   30492   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMBERT,        Barney Davis,
18153                                   5200    8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMBERT,
18154                   Laredo, LLC     10950   8/1/2022     Secured: $0.00
        PATRICIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMBERT,        Nueces Bay,
18155                                   16697   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMBERT,        Talen Texas
18156                                   22442   8/1/2022     Secured: $0.00
        PATRICIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LAMBERT,        Talen Texas,
18157                                   28191   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2634 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMKIN,       Barney Davis,
18158                                 5087    8/1/2022     Secured: $0.00
        LATONYA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMKIN,
18159                 Laredo, LLC     10837   8/1/2022     Secured: $0.00
        LATONYA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMKIN,       Nueces Bay,
18160                                 16584   8/1/2022     Secured: $0.00
        LATONYA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMKIN,       Talen Texas
18161                                 22329   8/1/2022     Secured: $0.00
        LATONYA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMKIN,       Talen Texas,
18162                                 28078   8/1/2022     Secured: $0.00
        LATONYA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMOTHE,      Barney Davis,
18163                                 7678    8/1/2022     Secured: $0.00
        JOSHUA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LAMOTHE,
18164                 Laredo, LLC     13428   8/1/2022     Secured: $0.00
        JOSHUA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2635 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMOTHE,       Nueces Bay,
18165                                  19175   8/1/2022     Secured: $0.00
        JOSHUA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMOTHE,       Talen Texas
18166                                  24909   8/1/2022     Secured: $0.00
        JOSHUA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMOTHE,       Talen Texas,
18167                                  30669   8/1/2022     Secured: $0.00
        JOSHUA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18168   LAMPING, KIM                   4385    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18169   LAMPING, KIM   Laredo, LLC     10135   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18170   LAMPING, KIM                   15882   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18171   LAMPING, KIM                   21628   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2636 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18172   LAMPING, KIM                   27376   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMPKIN,       Barney Davis,
18173                                  7890    8/1/2022     Secured: $0.00
        LABRANDON      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMPKIN,
18174                  Laredo, LLC     13640   8/1/2022     Secured: $0.00
        LABRANDON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMPKIN,       Nueces Bay,
18175                                  19387   8/1/2022     Secured: $0.00
        LABRANDON      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMPKIN,       Talen Texas
18176                                  25121   8/1/2022     Secured: $0.00
        LABRANDON      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAMPKIN,       Talen Texas,
18177                                  30881   8/1/2022     Secured: $0.00
        LABRANDON      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANDENBERGER, Barney Davis,
18178                                  8002    8/1/2022     Secured: $0.00
        LISA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2637 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANDENBERGER,
18179                 Laredo, LLC      13752   8/1/2022     Secured: $0.00
        LISA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANDENBERGER, Nueces Bay,
18180                                  19499   8/1/2022     Secured: $0.00
        LISA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANDENBERGER, Talen Texas
18181                                  25233   8/1/2022     Secured: $0.00
        LISA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANDENBERGER, Talen Texas,
18182                                  30993   8/1/2022     Secured: $0.00
        LISA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        LANDMARK
                                                            Priority: $0.00
        AMERICAN
18183                  Laredo, LLC     1238    7/28/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $1,999,999.19
        COMPANY
                                                            Total: $1,999,999.19
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        LANDMARK
                                                            Priority: $0.00
        AMERICAN       Barney Davis,
18184                                  1278    7/28/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,999,999.19
        COMPANY
                                                            Total: $1,999,999.19
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        LANDMARK
                                                            Priority: $0.00
        AMERICAN       Nueces Bay,
18185                                  1392    7/28/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,999,999.19
        COMPANY
                                                            Total: $1,999,999.19
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2638 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18186   LANDON, ALEXIS                   3908    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18187   LANDON, ALEXIS   Laredo, LLC     9658    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18188   LANDON, ALEXIS                   15405   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18189   LANDON, ALEXIS                   21152   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18190   LANDON, ALEXIS                   26899   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANDON,          Barney Davis,
18191                                    4648    8/1/2022     Secured: $0.00
        ROXANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANDON,
18192                    Laredo, LLC     10398   8/1/2022     Secured: $0.00
        ROXANNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2639 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LANDON,         Nueces Bay,
18193                                   16145   8/1/2022     Secured: $0.00
        ROXANNE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LANDON,         Talen Texas
18194                                   21891   8/1/2022     Secured: $0.00
        ROXANNE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LANDON,         Talen Texas,
18195                                   27639   8/1/2022     Secured: $0.00
        ROXANNE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18196   LANDRY, EDDIE                   4150    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18197   LANDRY, EDDIE   Laredo, LLC     9900    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18198   LANDRY, EDDIE                   15647   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18199   LANDRY, EDDIE                   21393   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2640 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18200   LANDRY, EDDIE                     27141   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18201   LANDRY, NATALIE                   6011    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18202   LANDRY, NATALIE Laredo, LLC       11761   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18203   LANDRY, NATALIE                   17508   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18204   LANDRY, NATALIE                   23253   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18205   LANDRY, NATALIE                   29002   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18206   LANDRY, WILLIAM                   4784    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2641 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18207   LANDRY, WILLIAM Laredo, LLC       10534   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18208   LANDRY, WILLIAM                   16281   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18209   LANDRY, WILLIAM                   22027   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18210   LANDRY, WILLIAM                   27775   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18211   LANE, AGNES                       6298    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18212   LANE, AGNES       Laredo, LLC     12048   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18213   LANE, AGNES                       17795   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2642 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18214   LANE, AGNES                    23530   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18215   LANE, AGNES                    29289   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANE, GLORIA   Barney Davis,
18216                                  4206    8/1/2022     Secured: $0.00
        MASON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANE, GLORIA
18217                  Laredo, LLC     9956    8/1/2022     Secured: $0.00
        MASON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANE, GLORIA   Nueces Bay,
18218                                  15703   8/1/2022     Secured: $0.00
        MASON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANE, GLORIA   Talen Texas
18219                                  21449   8/1/2022     Secured: $0.00
        MASON          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LANE, GLORIA   Talen Texas,
18220                                  27197   8/1/2022     Secured: $0.00
        MASON          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2643 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18221   LANE, MARILYN                     8100    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18222   LANE, MARILYN     Laredo, LLC     13850   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18223   LANE, MARILYN                     19597   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18224   LANE, MARILYN                     25331   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18225   LANE, MARILYN                     31091   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18226   LANGEBERG, KYLE                   7886    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18227   LANGEBERG, KYLE Laredo, LLC       13636   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2644 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18228   LANGEBERG, KYLE                   19383   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18229   LANGEBERG, KYLE                   25117   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18230   LANGEBERG, KYLE                   30877   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18231   LANGERUD, JOHN                    7613    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18232   LANGERUD, JOHN Laredo, LLC        13363   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18233   LANGERUD, JOHN                    19110   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18234   LANGERUD, JOHN                    24844   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2645 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18235   LANGERUD, JOHN                   30604   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18236   LANGLEY, GLEN                    6248    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18237   LANGLEY, GLEN    Laredo, LLC     11998   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18238   LANGLEY, GLEN                    17745   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18239   LANGLEY, GLEN                    23480   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18240   LANGLEY, GLEN                    29239   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANGSTON,        Barney Davis,
18241                                    4916    8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2646 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANGSTON,
18242                    Laredo, LLC     10666   8/1/2022     Secured: $0.00
        DANIEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANGSTON,        Nueces Bay,
18243                                    16413   8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANGSTON,        Talen Texas
18244                                    22158   8/1/2022     Secured: $0.00
        DANIEL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANGSTON,        Talen Texas,
18245                                    27907   8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18246   LANSANA, DAVID                   4093    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18247   LANSANA, DAVID Laredo, LLC       9843    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18248   LANSANA, DAVID                   15590   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2647 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18249   LANSANA, DAVID                   21336   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18250   LANSANA, DAVID                   27084   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANSFORD,        Barney Davis,
18251                                    5518    8/1/2022     Secured: $0.00
        SAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANSFORD,
18252                    Laredo, LLC     11268   8/1/2022     Secured: $0.00
        SAMMY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANSFORD,        Nueces Bay,
18253                                    17015   8/1/2022     Secured: $0.00
        SAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANSFORD,        Talen Texas
18254                                    22760   8/1/2022     Secured: $0.00
        SAMMY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LANSFORD,        Talen Texas,
18255                                    28509   8/1/2022     Secured: $0.00
        SAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2648 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18256   LAPOINTE, DIANA                   4128    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18257   LAPOINTE, DIANA Laredo, LLC       9878    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18258   LAPOINTE, DIANA                   15625   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18259   LAPOINTE, DIANA                   21371   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18260   LAPOINTE, DIANA                   27119   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18261   LARA, AMALIA                      5717    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18262   LARA, AMALIA      Laredo, LLC     11467   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2649 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18263   LARA, AMALIA                   17214   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18264   LARA, AMALIA                   22959   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18265   LARA, AMALIA                   28708   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18266   LARA, ANDRES                   3719    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18267   LARA, ANDRES   Laredo, LLC     9469    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18268   LARA, ANDRES                   15216   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18269   LARA, ANDRES                   20963   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2650 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18270   LARA, ANDRES                     26710   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18271   LARA, LUIS                       6155    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18272   LARA, LUIS       Laredo, LLC     11905   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18273   LARA, LUIS                       17652   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18274   LARA, LUIS                       23397   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18275   LARA, LUIS                       29146   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18276   LARA, VERONICA                   5438    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2651 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18277   LARA, VERONICA Laredo, LLC       11188   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18278   LARA, VERONICA                   16935   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18279   LARA, VERONICA                   22680   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18280   LARA, VERONICA                   28429   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18281   LAREDO, VICTOR   Laredo, LLC     32816   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18282   LAREDO, VICTOR                   33807   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18283   LAREDO, VICTOR                   34798   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2652 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18284   LAREDO, VICTOR                    35789   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18285   LAREDO, VICTOR                    36780   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18286   LARKIN, BEVERLY                   3970    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18287   LARKIN, BEVERLY Laredo, LLC       9720    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18288   LARKIN, BEVERLY                   15467   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18289   LARKIN, BEVERLY                   21213   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18290   LARKIN, BEVERLY                   26961   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2653 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18291   LARKIN, SHERRY                   3896    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18292   LARKIN, SHERRY   Laredo, LLC     9646    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18293   LARKIN, SHERRY                   15393   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18294   LARKIN, SHERRY                   21140   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18295   LARKIN, SHERRY                   26887   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18296   LARKIN, TODD                     9027    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18297   LARKIN, TODD     Laredo, LLC     14777   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2654 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18298   LARKIN, TODD                    20524   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18299   LARKIN, TODD                    26256   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18300   LARKIN, TODD                    32018   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18301   LARKS, QUIANA                   6262    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18302   LARKS, QUIANA   Laredo, LLC     12012   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18303   LARKS, QUIANA                   17759   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18304   LARKS, QUIANA                   23494   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2655 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18305   LARKS, QUIANA                     29253   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Barney Davis,
18306   INDIVIDUALLY,                     5396    8/1/2022     Secured: $0.00
                          LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        ROBERT MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
18307   INDIVIDUALLY,     Laredo, LLC     11146   8/1/2022     Secured: $0.00
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        ROBERT MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Nueces Bay,
18308   INDIVIDUALLY,                     16893   8/1/2022     Secured: $0.00
                          LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        ROBERT MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Talen Texas
18309   INDIVIDUALLY,                     22638   8/1/2022     Secured: $0.00
                          Group, LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        ROBERT MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Talen Texas,
18310   INDIVIDUALLY,                     28387   8/1/2022     Secured: $0.00
                          LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        ROBERT MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Barney Davis,
18311   INDIVIDUALLY,                     5395    8/1/2022     Secured: $0.00
                          LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        VICKIE MARTIN                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2656 of 5163
             Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
18312   INDIVIDUALLY,     Laredo, LLC     11145   8/1/2022     Secured: $0.00
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        VICKIE MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Nueces Bay,
18313   INDIVIDUALLY,                     16892   8/1/2022     Secured: $0.00
                          LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        VICKIE MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Talen Texas
18314   INDIVIDUALLY,                     22637   8/1/2022     Secured: $0.00
                          Group, LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        VICKIE MARTIN                                          Total: $0.00 + Unliquidated
        LARRY MARTIN                                           503(b)(9): $0.00
        AND RHONDA                                             Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Talen Texas,
18315   INDIVIDUALLY,                     28386   8/1/2022     Secured: $0.00
                          LLC
        AND AS HEIRS OF                                        General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        VICKIE MARTIN                                          Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LARSEN,           Barney Davis,
18316                                     5160    8/1/2022     Secured: $0.00
        MICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LARSEN,
18317                     Laredo, LLC     10910   8/1/2022     Secured: $0.00
        MICHELLE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LARSEN,           Nueces Bay,
18318                                     16657   8/1/2022     Secured: $0.00
        MICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2657 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LARSEN,         Talen Texas
18319                                   22402   8/1/2022     Secured: $0.00
        MICHELLE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LARSEN,         Talen Texas,
18320                                   28151   8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18321   LARSON, KAREN   Laredo, LLC     32817   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18322   LARSON, KAREN                   33808   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18323   LARSON, KAREN                   34799   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18324   LARSON, KAREN                   35790   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18325   LARSON, KAREN                   36781   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2658 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18326   LARSON, LAFE                   5464    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18327   LARSON, LAFE   Laredo, LLC     11214   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18328   LARSON, LAFE                   16961   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18329   LARSON, LAFE                   22706   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18330   LARSON, LAFE                   28455   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LARSON,        Barney Davis,
18331                                  8882    8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LARSON,
18332                  Laredo, LLC     14632   8/1/2022     Secured: $0.00
        STEPHANIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2659 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LARSON,         Nueces Bay,
18333                                   20379   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LARSON,         Talen Texas
18334                                   26111   8/1/2022     Secured: $0.00
        STEPHANIE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LARSON,         Talen Texas,
18335                                   31873   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18336   LARSON, STEVE                   9328    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18337   LARSON, STEVE   Laredo, LLC     15078   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18338   LARSON, STEVE                   20825   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18339   LARSON, STEVE                   26557   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2660 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18340   LARSON, STEVE                    32319   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18341   LARUE, TIMOTHY                   9015    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18342   LARUE, TIMOTHY Laredo, LLC       14765   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18343   LARUE, TIMOTHY                   20512   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18344   LARUE, TIMOTHY                   26244   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18345   LARUE, TIMOTHY                   32006   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18346   LASCANO, JUAN    Laredo, LLC     32818   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2661 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18347   LASCANO, JUAN                    33809   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18348   LASCANO, JUAN                    34800   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18349   LASCANO, JUAN                    35791   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18350   LASCANO, JUAN                    36782   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
        LASHANDRA
        DAVIS, AS NEXT
                                                              503(b)(9): $0.00
        FRIEND OF MINOR
                                                              Other Administrative: $0.00
        CHILDREN, N.A.
                                                              Priority: $0.00
        AND F.M., JR.,  Barney Davis,
18351                                    5397    8/1/2022     Secured: $0.00
        INDIVIDUALLY    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        AND AS HEIRS OF
        THE ESTATE OF
                                                              Total: $0.00 + Unliquidated
        FERNANDO
        MORGAN, SR.
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2662 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                  Non‐GUC Trust Claim

        LASHANDRA
        DAVIS, AS NEXT
                                                            503(b)(9): $0.00
        FRIEND OF MINOR
                                                            Other Administrative: $0.00
        CHILDREN, N.A.
                                                            Priority: $0.00
        AND F.M., JR.,
18352                   Laredo, LLC    11147   8/1/2022     Secured: $0.00
        INDIVIDUALLY
                                                            General Unsecured: $0.00 + Unliquidated
        AND AS HEIRS OF
        THE ESTATE OF
                                                            Total: $0.00 + Unliquidated
        FERNANDO
        MORGAN, SR.

        LASHANDRA
        DAVIS, AS NEXT
                                                            503(b)(9): $0.00
        FRIEND OF MINOR
                                                            Other Administrative: $0.00
        CHILDREN, N.A.
                                                            Priority: $0.00
        AND F.M., JR.,  Nueces Bay,
18353                                  16894   8/1/2022     Secured: $0.00
        INDIVIDUALLY    LLC
                                                            General Unsecured: $0.00 + Unliquidated
        AND AS HEIRS OF
        THE ESTATE OF
                                                            Total: $0.00 + Unliquidated
        FERNANDO
        MORGAN, SR.

        LASHANDRA
        DAVIS, AS NEXT
                                                            503(b)(9): $0.00
        FRIEND OF MINOR
                                                            Other Administrative: $0.00
        CHILDREN, N.A.
                                                            Priority: $0.00
        AND F.M., JR.,  Talen Texas
18354                                  22639   8/1/2022     Secured: $0.00
        INDIVIDUALLY    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        AND AS HEIRS OF
        THE ESTATE OF
                                                            Total: $0.00 + Unliquidated
        FERNANDO
        MORGAN, SR.

        LASHANDRA
        DAVIS, AS NEXT
                                                            503(b)(9): $0.00
        FRIEND OF MINOR
                                                            Other Administrative: $0.00
        CHILDREN, N.A.
                                                            Priority: $0.00
        AND F.M., JR.,  Talen Texas,
18355                                  28388   8/1/2022     Secured: $0.00
        INDIVIDUALLY    LLC
                                                            General Unsecured: $0.00 + Unliquidated
        AND AS HEIRS OF
        THE ESTATE OF
                                                            Total: $0.00 + Unliquidated
        FERNANDO
        MORGAN, SR.
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2663 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18356   LASTER, GREGORY                   7332    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18357   LASTER, GREGORY Laredo, LLC       13082   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18358   LASTER, GREGORY                   18829   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18359   LASTER, GREGORY                   24563   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18360   LASTER, GREGORY                   30323   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18361   LATRAY, DUSTIN                    7112    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18362   LATRAY, DUSTIN    Laredo, LLC     12862   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2664 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18363   LATRAY, DUSTIN                   18609   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18364   LATRAY, DUSTIN                   24343   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18365   LATRAY, DUSTIN                   30103   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18366   LATSON, WILLIE                   9173    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18367   LATSON, WILLIE   Laredo, LLC     14923   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18368   LATSON, WILLIE                   20670   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18369   LATSON, WILLIE                   26402   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2665 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18370   LATSON, WILLIE                    32164   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18371   LATTIN, ALAINA                    4802    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18372   LATTIN, ALAINA    Laredo, LLC     10552   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18373   LATTIN, ALAINA                    16299   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18374   LATTIN, ALAINA                    22045   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18375   LATTIN, ALAINA                    27793   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18376   LAUGHLIN, JAMES                   4245    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2666 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18377   LAUGHLIN, JAMES Laredo, LLC       9995    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18378   LAUGHLIN, JAMES                   15742   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18379   LAUGHLIN, JAMES                   21488   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18380   LAUGHLIN, JAMES                   27236   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18381   LAVAN, AUSINO                     9214    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18382   LAVAN, AUSINO     Laredo, LLC     14964   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18383   LAVAN, AUSINO                     20711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2667 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18384   LAVAN, AUSINO                   26443   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18385   LAVAN, AUSINO                   32205   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18386   LAVAN, MARY                     4491    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18387   LAVAN, MARY     Laredo, LLC     10241   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18388   LAVAN, MARY                     15988   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18389   LAVAN, MARY                     21734   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18390   LAVAN, MARY                     27482   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2668 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LAW OFFICES OF                                        Priority: $0.00
                         Barney Davis,
18391   TERESA COLES‐                    5655    8/1/2022     Secured: $0.00
                         LLC
        DAVILA, P.C.                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LAW OFFICES OF                                        Priority: $0.00
18392   TERESA COLES‐    Laredo, LLC     11405   8/1/2022     Secured: $0.00
        DAVILA, P.C.                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LAW OFFICES OF                                        Priority: $0.00
                         Nueces Bay,
18393   TERESA COLES‐                    17152   8/1/2022     Secured: $0.00
                         LLC
        DAVILA, P.C.                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LAW OFFICES OF                                        Priority: $0.00
                         Talen Texas
18394   TERESA COLES‐                    22897   8/1/2022     Secured: $0.00
                         Group, LLC
        DAVILA, P.C.                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LAW OFFICES OF                                        Priority: $0.00
                         Talen Texas,
18395   TERESA COLES‐                    28646   8/1/2022     Secured: $0.00
                         LLC
        DAVILA, P.C.                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18396   LAW, CHRIS                       6738    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18397   LAW, CHRIS       Laredo, LLC     12488   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2669 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18398   LAW, CHRIS                     18235   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18399   LAW, CHRIS                     23969   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18400   LAW, CHRIS                     29729   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAWFORD,       Barney Davis,
18401                                  6757    8/1/2022     Secured: $0.00
        CHRISTINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAWFORD,
18402                  Laredo, LLC     12507   8/1/2022     Secured: $0.00
        CHRISTINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAWFORD,       Nueces Bay,
18403                                  18254   8/1/2022     Secured: $0.00
        CHRISTINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LAWFORD,       Talen Texas
18404                                  23988   8/1/2022     Secured: $0.00
        CHRISTINE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2670 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAWFORD,         Talen Texas,
18405                                    29748   8/1/2022     Secured: $0.00
        CHRISTINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAWRENCE,        Barney Davis,
18406                                    7722    8/1/2022     Secured: $0.00
        JULISSA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAWRENCE,
18407                    Laredo, LLC     13472   8/1/2022     Secured: $0.00
        JULISSA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAWRENCE,        Nueces Bay,
18408                                    19219   8/1/2022     Secured: $0.00
        JULISSA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAWRENCE,        Talen Texas
18409                                    24953   8/1/2022     Secured: $0.00
        JULISSA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAWRENCE,        Talen Texas,
18410                                    30713   8/1/2022     Secured: $0.00
        JULISSA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18411   LAWRENCE, TARA                   8948    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2671 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18412   LAWRENCE, TARA Laredo, LLC       14698   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18413   LAWRENCE, TARA                   20445   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18414   LAWRENCE, TARA                   26177   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18415   LAWRENCE, TARA                   31939   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18416   LAWS, REBA                       5225    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18417   LAWS, REBA       Laredo, LLC     10975   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18418   LAWS, REBA                       16722   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2672 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18419   LAWS, REBA                       22467   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18420   LAWS, REBA                       28216   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18421   LAWSON, ALYSSA                   3815    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18422   LAWSON, ALYSSA Laredo, LLC       9565    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18423   LAWSON, ALYSSA                   15312   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18424   LAWSON, ALYSSA                   21059   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18425   LAWSON, ALYSSA                   26806   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2673 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAXTON,         Barney Davis,
18426                                    5316    8/1/2022     Secured: $0.00
        STEPHANIE NAIHE LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAXTON,
18427                   Laredo, LLC      11066   8/1/2022     Secured: $0.00
        STEPHANIE NAIHE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAXTON,         Nueces Bay,
18428                                    16813   8/1/2022     Secured: $0.00
        STEPHANIE NAIHE LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAXTON,         Talen Texas
18429                                    22558   8/1/2022     Secured: $0.00
        STEPHANIE NAIHE Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LAXTON,         Talen Texas,
18430                                    28307   8/1/2022     Secured: $0.00
        STEPHANIE NAIHE LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18431   LAZO, AMANDA     Laredo, LLC     32819   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18432   LAZO, AMANDA                     33810   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2674 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18433   LAZO, AMANDA                      34801   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18434   LAZO, AMANDA                      35792   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18435   LAZO, AMANDA                      36783   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18436   LAZO, ELIZABETH Laredo, LLC       32820   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18437   LAZO, ELIZABETH                   33811   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18438   LAZO, ELIZABETH                   34802   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18439   LAZO, ELIZABETH                   35793   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2675 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18440   LAZO, ELIZABETH                   36784   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18441   LAZO, YOLANDA     Laredo, LLC     32821   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18442   LAZO, YOLANDA                     33812   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18443   LAZO, YOLANDA                     34803   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18444   LAZO, YOLANDA                     35794   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18445   LAZO, YOLANDA                     36785   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18446   LE, ANH DUNG                      5694    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2676 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18447   LE, ANH DUNG   Laredo, LLC     11444   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18448   LE, ANH DUNG                   17191   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18449   LE, ANH DUNG                   22936   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18450   LE, ANH DUNG                   28685   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18451   LE, DAI HONG                   4071    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18452   LE, DAI HONG   Laredo, LLC     9821    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18453   LE, DAI HONG                   15568   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2677 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18454   LE, DAI HONG                   21314   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18455   LE, DAI HONG                   27062   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18456   LE, OCEAN                      5186    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18457   LE, OCEAN      Laredo, LLC     10936   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18458   LE, OCEAN                      16683   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18459   LE, OCEAN                      22428   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18460   LE, OCEAN                      28177   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2678 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18461   LEAKE, KAREN                    5062    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18462   LEAKE, KAREN    Laredo, LLC     10812   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18463   LEAKE, KAREN                    16559   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18464   LEAKE, KAREN                    22304   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18465   LEAKE, KAREN                    28053   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18466   LEAL, ABRAHAM   Laredo, LLC     32822   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18467   LEAL, ABRAHAM                   33813   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2679 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18468   LEAL, ABRAHAM                   34804   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18469   LEAL, ABRAHAM                   35795   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18470   LEAL, ABRAHAM                   36786   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18471   LEAL, JOE       Laredo, LLC     32823   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18472   LEAL, JOE                       33814   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18473   LEAL, JOE                       34805   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18474   LEAL, JOE                       35796   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2680 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18475   LEAL, JOE                        36787   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        LEALA WHITLEY,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
18476                                    5398    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JEFFREY O'NEAL
        WHITLEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        LEALA WHITLEY,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF
18477                    Laredo, LLC     11148   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        JEFFREY O'NEAL
        WHITLEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        LEALA WHITLEY,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
18478                                    16895   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JEFFREY O'NEAL
        WHITLEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        LEALA WHITLEY,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
18479                                    22640   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JEFFREY O'NEAL
        WHITLEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        LEALA WHITLEY,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
18480                                    28389   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JEFFREY O'NEAL
        WHITLEY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEATHERWOOD,     Barney Davis,
18481                                    7900    8/1/2022     Secured: $0.00
        LANCE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2681 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEATHERWOOD,
18482                  Laredo, LLC     13650   8/1/2022     Secured: $0.00
        LANCE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEATHERWOOD,   Nueces Bay,
18483                                  19397   8/1/2022     Secured: $0.00
        LANCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEATHERWOOD,   Talen Texas
18484                                  25131   8/1/2022     Secured: $0.00
        LANCE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEATHERWOOD,   Talen Texas,
18485                                  30891   8/1/2022     Secured: $0.00
        LANCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEBARON,
18486                  Laredo, LLC     32824   8/1/2022     Secured: $0.00
        BONNIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEBARON,       Barney Davis,
18487                                  33815   8/1/2022     Secured: $0.00
        BONNIE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEBARON,       Nueces Bay,
18488                                  34806   8/1/2022     Secured: $0.00
        BONNIE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2682 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LEBARON,          Talen Texas
18489                                     35797   8/1/2022     Secured: $0.00
        BONNIE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LEBARON,          Talen Texas,
18490                                     36788   8/1/2022     Secured: $0.00
        BONNIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18491   LEBLANC, DEDRIC                   4115    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18492   LEBLANC, DEDRIC Laredo, LLC       9865    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18493   LEBLANC, DEDRIC                   15612   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18494   LEBLANC, DEDRIC                   21358   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18495   LEBLANC, DEDRIC                   27106   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2683 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18496   LEBLUE, DORIS                   4143    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18497   LEBLUE, DORIS   Laredo, LLC     9893    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18498   LEBLUE, DORIS                   15640   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18499   LEBLUE, DORIS                   21386   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18500   LEBLUE, DORIS                   27134   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18501   LEDAY, NAOMI                    6163    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18502   LEDAY, NAOMI    Laredo, LLC     11913   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2684 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
18503   LEDAY, NAOMI                    17660   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
18504   LEDAY, NAOMI                    23405   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
18505   LEDAY, NAOMI                    29154   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEDBETTER, RUTH Barney Davis,
18506                                   8705    8/1/2022     Secured: $0.00
        ANN             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEDBETTER, RUTH
18507                   Laredo, LLC     14455   8/1/2022     Secured: $0.00
        ANN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEDBETTER, RUTH Nueces Bay,
18508                                   20202   8/1/2022     Secured: $0.00
        ANN             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEDBETTER, RUTH Talen Texas
18509                                   25934   8/1/2022     Secured: $0.00
        ANN             Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2685 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDBETTER, RUTH Talen Texas,
18510                                    31696   8/1/2022     Secured: $0.00
        ANN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDESMA,
18511                    Laredo, LLC     32825   8/1/2022     Secured: $0.00
        GEORGE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDESMA,         Barney Davis,
18512                                    33816   8/1/2022     Secured: $0.00
        GEORGE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDESMA,         Nueces Bay,
18513                                    34807   8/1/2022     Secured: $0.00
        GEORGE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDESMA,         Talen Texas
18514                                    35798   8/1/2022     Secured: $0.00
        GEORGE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDESMA,         Talen Texas,
18515                                    36789   8/1/2022     Secured: $0.00
        GEORGE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LEDINGHAM,
18516                    Laredo, LLC     32826   8/1/2022     Secured: $0.00
        DEBORAH L.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2686 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEDINGHAM,     Barney Davis,
18517                                  33817   8/1/2022     Secured: $0.00
        DEBORAH L.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEDINGHAM,     Nueces Bay,
18518                                  34808   8/1/2022     Secured: $0.00
        DEBORAH L.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEDINGHAM,     Talen Texas
18519                                  35799   8/1/2022     Secured: $0.00
        DEBORAH L.     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEDINGHAM,     Talen Texas,
18520                                  36790   8/1/2022     Secured: $0.00
        DEBORAH L.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18521   LEE, ANNIE                     4826    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18522   LEE, ANNIE                     4827    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18523   LEE, ANNIE     Laredo, LLC     10576   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2687 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
18524   LEE, ANNIE     Laredo, LLC    10577   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Nueces Bay,
18525   LEE, ANNIE                    16323   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Nueces Bay,
18526   LEE, ANNIE                    16324   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas
18527   LEE, ANNIE                    22069   8/1/2022     Secured: $0.00
                       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas
18528   LEE, ANNIE                    22070   8/1/2022     Secured: $0.00
                       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas,
18529   LEE, ANNIE                    27817   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Talen Texas,
18530   LEE, ANNIE                    27818   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2688 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18531   LEE, DEBRA                     6975    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18532   LEE, DEBRA     Laredo, LLC     12725   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18533   LEE, DEBRA                     18472   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18534   LEE, DEBRA                     24206   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18535   LEE, DEBRA                     29966   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEE, DIANNE    Barney Davis,
18536                                  7043    8/1/2022     Secured: $0.00
        MICKENS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEE, DIANNE
18537                  Laredo, LLC     12793   8/1/2022     Secured: $0.00
        MICKENS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2689 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEE, DIANNE    Nueces Bay,
18538                                  18540   8/1/2022     Secured: $0.00
        MICKENS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEE, DIANNE    Talen Texas
18539                                  24274   8/1/2022     Secured: $0.00
        MICKENS        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEE, DIANNE    Talen Texas,
18540                                  30034   8/1/2022     Secured: $0.00
        MICKENS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18541   LEE, DORMAN                    7090    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18542   LEE, DORMAN    Laredo, LLC     12840   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18543   LEE, DORMAN                    18587   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18544   LEE, DORMAN                    24321   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2690 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18545   LEE, DORMAN                     30081   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18546   LEE, JENNIFER   Laredo, LLC     32827   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18547   LEE, JENNIFER                   33818   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18548   LEE, JENNIFER                   34809   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18549   LEE, JENNIFER                   35800   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18550   LEE, JENNIFER                   36791   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18551   LEE, JOANNA                     4294    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2691 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18552   LEE, JOANNA    Laredo, LLC     10044   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18553   LEE, JOANNA                    15791   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18554   LEE, JOANNA                    21537   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18555   LEE, JOANNA                    27285   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18556   LEE, KRYSTAL                   5615    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18557   LEE, KRYSTAL   Laredo, LLC     11365   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18558   LEE, KRYSTAL                   17112   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2692 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18559   LEE, KRYSTAL                   22857   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18560   LEE, KRYSTAL                   28606   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18561   LEE, LARRY                     3687    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18562   LEE, LARRY     Laredo, LLC     9437    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18563   LEE, LARRY                     15184   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18564   LEE, LARRY                     20931   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18565   LEE, LARRY                     26678   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2693 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18566   LEE, PEI                       4573    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18567   LEE, PEI       Laredo, LLC     10323   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18568   LEE, PEI                       16070   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18569   LEE, PEI                       21816   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18570   LEE, PEI                       27564   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18571   LEE, ROBERT    Laredo, LLC     32828   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18572   LEE, ROBERT                    33819   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2694 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18573   LEE, ROBERT                    34810   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18574   LEE, ROBERT                    35801   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18575   LEE, ROBERT                    36792   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18576   LEE, SINDY                     5877    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18577   LEE, SINDY     Laredo, LLC     11627   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18578   LEE, SINDY                     17374   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18579   LEE, SINDY                     23119   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2695 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18580   LEE, SINDY                      28868   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEE‐MARTINEZ,   Barney Davis,
18581                                   4676    8/1/2022     Secured: $0.00
        SHAWN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEE‐MARTINEZ,
18582                   Laredo, LLC     10426   8/1/2022     Secured: $0.00
        SHAWN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEE‐MARTINEZ,   Nueces Bay,
18583                                   16173   8/1/2022     Secured: $0.00
        SHAWN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEE‐MARTINEZ,   Talen Texas
18584                                   21919   8/1/2022     Secured: $0.00
        SHAWN           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEE‐MARTINEZ,   Talen Texas,
18585                                   27667   8/1/2022     Secured: $0.00
        SHAWN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEGARRETA,      Barney Davis,
18586                                   7177    8/1/2022     Secured: $0.00
        ENRIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2696 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEGARRETA,
18587                  Laredo, LLC     12927   8/1/2022     Secured: $0.00
        ENRIQUE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEGARRETA,     Nueces Bay,
18588                                  18674   8/1/2022     Secured: $0.00
        ENRIQUE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEGARRETA,     Talen Texas
18589                                  24408   8/1/2022     Secured: $0.00
        ENRIQUE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEGARRETA,     Talen Texas,
18590                                  30168   8/1/2022     Secured: $0.00
        ENRIQUE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEINDECKER,    Barney Davis,
18591                                  7063    8/1/2022     Secured: $0.00
        DONALD         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEINDECKER,
18592                  Laredo, LLC     12813   8/1/2022     Secured: $0.00
        DONALD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LEINDECKER,    Nueces Bay,
18593                                  18560   8/1/2022     Secured: $0.00
        DONALD         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2697 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LEINDECKER,       Talen Texas
18594                                     24294   8/1/2022     Secured: $0.00
        DONALD            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LEINDECKER,       Talen Texas,
18595                                     30054   8/1/2022     Secured: $0.00
        DONALD            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18596   LEJARAZU, LUCIA                   5621    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18597   LEJARAZU, LUCIA Laredo, LLC       11371   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18598   LEJARAZU, LUCIA                   17118   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18599   LEJARAZU, LUCIA                   22863   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18600   LEJARAZU, LUCIA                   28612   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2698 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18601   LEMLEY, DORIS                   5711    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18602   LEMLEY, DORIS   Laredo, LLC     11461   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18603   LEMLEY, DORIS                   17208   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18604   LEMLEY, DORIS                   22953   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18605   LEMLEY, DORIS                   28702   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEMMON,         Barney Davis,
18606                                   3985    8/1/2022     Secured: $0.00
        BRENDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEMMON,
18607                   Laredo, LLC     9735    8/1/2022     Secured: $0.00
        BRENDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2699 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LEMMON,       Nueces Bay,
18608                                 15482   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LEMMON,       Talen Texas
18609                                 21228   8/1/2022     Secured: $0.00
        BRENDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LEMMON,       Talen Texas,
18610                                 26976   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LEMONADE                                           Priority: $0.00
                      Nueces Bay,
18611   INSURANCE                     1032    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $20,213,621.00 + Unliquidated

                                                           Total: $20,213,621.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LEMONADE                                           Priority: $0.00
                      Barney Davis,
18612   INSURANCE                     1186    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $20,213,621.00 + Unliquidated

                                                           Total: $20,213,621.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LEMONADE                                           Priority: $0.00
18613   INSURANCE     Laredo, LLC     1413    7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $20,213,621.00 + Unliquidated

                                                           Total: $20,213,621.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2700 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18614   LEMONS, ROBIN                   8633    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18615   LEMONS, ROBIN   Laredo, LLC     14383   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18616   LEMONS, ROBIN                   20130   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18617   LEMONS, ROBIN                   25862   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18618   LEMONS, ROBIN                   31624   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18619   LEMOS, ROBERT   Laredo, LLC     32829   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18620   LEMOS, ROBERT                   33820   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2701 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18621   LEMOS, ROBERT                   34811   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18622   LEMOS, ROBERT                   35802   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18623   LEMOS, ROBERT                   36793   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18624   LENIG, STEVEN                   8895    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18625   LENIG, STEVEN   Laredo, LLC     14645   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18626   LENIG, STEVEN                   20392   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18627   LENIG, STEVEN                   26124   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2702 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18628   LENIG, STEVEN                   31886   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18629   LENTS, ROGER                    8656    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18630   LENTS, ROGER    Laredo, LLC     14406   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18631   LENTS, ROGER                    20153   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18632   LENTS, ROGER                    25885   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18633   LENTS, ROGER                    31647   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEONARD, BETTY Barney Davis,
18634                                   6504    8/1/2022     Secured: $0.00
        ANN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2703 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEONARD, BETTY
18635                  Laredo, LLC      12254   8/1/2022     Secured: $0.00
        ANN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEONARD, BETTY Nueces Bay,
18636                                   18001   8/1/2022     Secured: $0.00
        ANN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEONARD, BETTY Talen Texas
18637                                   23736   8/1/2022     Secured: $0.00
        ANN            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LEONARD, BETTY Talen Texas,
18638                                   29495   8/1/2022     Secured: $0.00
        ANN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18639   LEOS, ESTHER                    7203    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18640   LEOS, ESTHER    Laredo, LLC     12953   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18641   LEOS, ESTHER                    18700   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2704 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18642   LEOS, ESTHER                      24434   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18643   LEOS, ESTHER                      30194   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18644   LESKINEN, ALLAN                   6343    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18645   LESKINEN, ALLAN Laredo, LLC       12093   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18646   LESKINEN, ALLAN                   17840   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18647   LESKINEN, ALLAN                   23575   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18648   LESKINEN, ALLAN                   29334   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2705 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18649   LESLIE, MARK                   8121    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18650   LESLIE, MARK   Laredo, LLC     13871   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18651   LESLIE, MARK                   19618   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18652   LESLIE, MARK                   25352   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18653   LESLIE, MARK                   31112   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18654   LESO, CARMEN                   6650    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18655   LESO, CARMEN   Laredo, LLC     12400   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2706 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18656   LESO, CARMEN                       18147   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18657   LESO, CARMEN                       23881   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18658   LESO, CARMEN                       29641   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18659   LESSEUR, BEVERLY Laredo, LLC       32830   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18660   LESSEUR, BEVERLY                   33821   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18661   LESSEUR, BEVERLY                   34812   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18662   LESSEUR, BEVERLY                   35803   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2707 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18663   LESSEUR, BEVERLY                   36794   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18664   LESTER, CODY                       6808    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18665   LESTER, CODY       Laredo, LLC     12558   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18666   LESTER, CODY                       18305   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18667   LESTER, CODY                       24039   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18668   LESTER, CODY                       29799   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18669   LEVECK, GILBERT Laredo, LLC        32831   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2708 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18670   LEVECK, GILBERT                   33822   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18671   LEVECK, GILBERT                   34813   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18672   LEVECK, GILBERT                   35804   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18673   LEVECK, GILBERT                   36795   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18674   LEVESTON, LINDA                   5099    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18675   LEVESTON, LINDA Laredo, LLC       10849   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18676   LEVESTON, LINDA                   16596   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2709 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18677   LEVESTON, LINDA                   22341   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18678   LEVESTON, LINDA                   28090   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18679   LEVINSKI, HENRY                   7372    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18680   LEVINSKI, HENRY Laredo, LLC       13122   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18681   LEVINSKI, HENRY                   18869   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18682   LEVINSKI, HENRY                   24603   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18683   LEVINSKI, HENRY                   30363   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2710 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18684   LEVY, WANDA                    9131    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18685   LEVY, WANDA    Laredo, LLC     14881   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18686   LEVY, WANDA                    20628   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18687   LEVY, WANDA                    26360   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18688   LEVY, WANDA                    32122   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18689   LEWIS, BOBBY                   6530    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18690   LEWIS, BOBBY   Laredo, LLC     12280   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2711 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18691   LEWIS, BOBBY                     18027   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18692   LEWIS, BOBBY                     23762   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18693   LEWIS, BOBBY                     29521   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18694   LEWIS, CHAVVAH                   3659    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18695   LEWIS, CHAVVAH Laredo, LLC       9409    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18696   LEWIS, CHAVVAH                   15156   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18697   LEWIS, CHAVVAH                   20903   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2712 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18698   LEWIS, CHAVVAH                    26650   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18699   LEWIS, CHEYENNE                   6733    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18700   LEWIS, CHEYENNE Laredo, LLC       12483   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18701   LEWIS, CHEYENNE                   18230   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18702   LEWIS, CHEYENNE                   23964   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18703   LEWIS, CHEYENNE                   29724   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18704   LEWIS, COLLINS    Laredo, LLC     32832   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2713 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18705   LEWIS, COLLINS                   33823   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18706   LEWIS, COLLINS                   34814   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18707   LEWIS, COLLINS                   35805   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18708   LEWIS, COLLINS                   36796   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18709   LEWIS, CYNTHIA                   6863    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18710   LEWIS, CYNTHIA   Laredo, LLC     12613   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18711   LEWIS, CYNTHIA                   18360   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2714 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18712   LEWIS, CYNTHIA                   24094   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18713   LEWIS, CYNTHIA                   29854   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18714   LEWIS, JAMES                     7453    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18715   LEWIS, JAMES     Laredo, LLC     13203   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18716   LEWIS, JAMES                     18950   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18717   LEWIS, JAMES                     24684   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18718   LEWIS, JAMES                     30444   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2715 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18719   LEWIS, JOSHUA                    7679    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18720   LEWIS, JOSHUA    Laredo, LLC     13429   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18721   LEWIS, JOSHUA                    19176   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18722   LEWIS, JOSHUA                    24910   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18723   LEWIS, JOSHUA                    30670   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18724   LEWIS, MICHAEL                   8232    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18725   LEWIS, MICHAEL   Laredo, LLC     13982   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2716 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18726   LEWIS, MICHAEL                   19729   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18727   LEWIS, MICHAEL                   25463   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18728   LEWIS, MICHAEL                   31223   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18729   LEWIS, MICHELL                   5843    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18730   LEWIS, MICHELL   Laredo, LLC     11593   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18731   LEWIS, MICHELL                   17340   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18732   LEWIS, MICHELL                   23085   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2717 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18733   LEWIS, MICHELL                   28834   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18734   LEWIS, OKIM                      5557    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18735   LEWIS, OKIM      Laredo, LLC     11307   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18736   LEWIS, OKIM                      17054   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18737   LEWIS, OKIM                      22799   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18738   LEWIS, OKIM                      28548   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18739   LEWIS, TED                       5328    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2718 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18740   LEWIS, TED     Laredo, LLC     11078   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18741   LEWIS, TED                     16825   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18742   LEWIS, TED                     22570   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18743   LEWIS, TED                     28319   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18744   LEWIS, TROY                    9074    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18745   LEWIS, TROY    Laredo, LLC     14824   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18746   LEWIS, TROY                    20571   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2719 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18747   LEWIS, TROY                        26303   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18748   LEWIS, TROY                        32065   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LEWRAB, INC.       Barney Davis,
18749                                      5913    8/1/2022     Secured: $0.00
        DBA CICI'S PIZZA   LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LEWRAB, INC.
18750                      Laredo, LLC     11663   8/1/2022     Secured: $0.00
        DBA CICI'S PIZZA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LEWRAB, INC.       Nueces Bay,
18751                                      17410   8/1/2022     Secured: $0.00
        DBA CICI'S PIZZA   LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LEWRAB, INC.       Talen Texas
18752                                      23155   8/1/2022     Secured: $0.00
        DBA CICI'S PIZZA   Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LEWRAB, INC.       Talen Texas,
18753                                      28904   8/1/2022     Secured: $0.00
        DBA CICI'S PIZZA   LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2720 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        LEXINGTON                                         Priority: $0.00
                      Nueces Bay,
18754   INSURANCE                     2641   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                          Total: $198,152,103.43 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        LEXINGTON                                         Priority: $0.00
18755   INSURANCE     Laredo, LLC     2797   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                          Total: $198,152,103.43 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        LEXINGTON                                         Priority: $0.00
                      Barney Davis,
18756   INSURANCE                     2921   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                          Total: $198,152,103.43 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        LEXINGTON                                         Priority: $0.00
                      Nueces Bay,
18757   INSURANCE                     2958   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $142,110,449.93 + Unliquidated

                                                          Total: $142,110,449.93 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        LEXINGTON                                         Priority: $0.00
18758   INSURANCE     Laredo, LLC     2969   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $142,110,449.93 + Unliquidated

                                                          Total: $142,110,449.93 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        LEXINGTON                                         Priority: $0.00
                      Barney Davis,
18759   INSURANCE                     2989   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $142,110,449.93 + Unliquidated

                                                          Total: $142,110,449.93 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2721 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        LEXINGTON                                           Priority: $0.00
                       Barney Davis,
18760   INSURANCE                      3150    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $6,943,708.92 + Unliquidated

                                                            Total: $6,943,708.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        LEXINGTON                                           Priority: $0.00
18761   INSURANCE      Laredo, LLC     3297    8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $6,943,708.92 + Unliquidated

                                                            Total: $6,943,708.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        LEXINGTON                                           Priority: $0.00
                       Nueces Bay,
18762   INSURANCE                      3337    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $6,943,708.92 + Unliquidated

                                                            Total: $6,943,708.92 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18763   LEYVA, MAYRA                   8189    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18764   LEYVA, MAYRA   Laredo, LLC     13939   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18765   LEYVA, MAYRA                   19686   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18766   LEYVA, MAYRA                   25420   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2722 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18767   LEYVA, MAYRA                   31180   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIBERONI,      Barney Davis,
18768                                  9181    8/1/2022     Secured: $0.00
        XIMENA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIBERONI,
18769                  Laredo, LLC     14931   8/1/2022     Secured: $0.00
        XIMENA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIBERONI,      Nueces Bay,
18770                                  20678   8/1/2022     Secured: $0.00
        XIMENA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIBERONI,      Talen Texas
18771                                  26410   8/1/2022     Secured: $0.00
        XIMENA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIBERONI,      Talen Texas,
18772                                  32172   8/1/2022     Secured: $0.00
        XIMENA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2723 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        LIBERTY                                              Priority: $0.00
                         Barney Davis,
18773   INSURANCE                        2291   7/30/2022    Secured: $0.00
                         LLC
        CORPORATION                                          General Unsecured: $21,138,377.60 + Unliquidated

                                                             Total: $21,138,377.60 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        LIBERTY                                              Priority: $0.00
                         Nueces Bay,
18774   INSURANCE                        2293   7/30/2022    Secured: $0.00
                         LLC
        CORPORATION                                          General Unsecured: $21,138,377.60 + Unliquidated

                                                             Total: $21,138,377.60 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        LIBERTY                                              Priority: $0.00
18775   INSURANCE        Laredo, LLC     2294   7/30/2022    Secured: $0.00
        CORPORATION                                          General Unsecured: $21,138,377.60 + Unliquidated

                                                             Total: $21,138,377.60 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        LIBERTY LLOYDS
                                                             Priority: $0.00
        OF TEXAS         Nueces Bay,
18776                                    2237   7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $2,781,505.03 + Unliquidated
        COMPANY
                                                             Total: $2,781,505.03 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        LIBERTY LLOYDS
                                                             Priority: $0.00
        OF TEXAS         Barney Davis,
18777                                    2288   7/30/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $2,781,505.03 + Unliquidated
        COMPANY
                                                             Total: $2,781,505.03 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        LIBERTY LLOYDS
                                                             Priority: $0.00
        OF TEXAS
18778                    Laredo, LLC     2297   7/30/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $2,781,505.03 + Unliquidated
        COMPANY
                                                             Total: $2,781,505.03 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2724 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY                                            Priority: $0.00
18779   MANAGING       Laredo, LLC     1984   7/30/2022    Secured: $0.00
        AGENCY LIMITED                                     General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY                                            Priority: $0.00
                       Barney Davis,
18780   MANAGING                       1997   7/30/2022    Secured: $0.00
                       LLC
        AGENCY LIMITED                                     General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY                                            Priority: $0.00
                       Nueces Bay,
18781   MANAGING                       2013   7/30/2022    Secured: $0.00
                       LLC
        AGENCY LIMITED                                     General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY MUTUAL                                     Priority: $0.00
18782   FIRE INSURANCE Laredo, LLC     2508   7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $4,436,351.75 + Unliquidated

                                                           Total: $4,436,351.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY MUTUAL                                     Priority: $0.00
                       Nueces Bay,
18783   FIRE INSURANCE                 2521   7/31/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $4,436,351.75 + Unliquidated

                                                           Total: $4,436,351.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY MUTUAL                                     Priority: $0.00
                       Barney Davis,
18784   FIRE INSURANCE                 2676   7/31/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $4,436,351.75 + Unliquidated

                                                           Total: $4,436,351.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        LIBERTY MUTUAL
                                                           Priority: $0.00
        PERSONAL       Barney Davis,
18785                                  2300   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $6,750,469.00 + Unliquidated
        COMPANY
                                                           Total: $6,750,469.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2725 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LIBERTY MUTUAL
                                                              Priority: $0.00
        PERSONAL
18786                  Laredo, LLC       2342    7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $6,750,469.00 + Unliquidated
        COMPANY
                                                              Total: $6,750,469.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LIBERTY MUTUAL
                                                              Priority: $0.00
        PERSONAL       Nueces Bay,
18787                                    2670    7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                              General Unsecured: $6,750,469.00 + Unliquidated
        COMPANY
                                                              Total: $6,750,469.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LIBERTY SURPLUS                                       Priority: $0.00
                        Nueces Bay,
18788   INSURANCE                        2086    7/30/2022    Secured: $0.00
                        LLC
        CORPORATION                                           General Unsecured: $52,300.00 + Unliquidated

                                                              Total: $52,300.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LIBERTY SURPLUS                                       Priority: $0.00
18789   INSURANCE       Laredo, LLC      2227    7/30/2022    Secured: $0.00
        CORPORATION                                           General Unsecured: $52,300.00 + Unliquidated

                                                              Total: $52,300.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        LIBERTY SURPLUS                                       Priority: $0.00
                        Barney Davis,
18790   INSURANCE                        2228    7/30/2022    Secured: $0.00
                        LLC
        CORPORATION                                           General Unsecured: $52,300.00 + Unliquidated

                                                              Total: $52,300.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIEBERMAN,
18791                    Laredo, LLC     32833   8/1/2022     Secured: $0.00
        ELIZABETH I.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIEBERMAN,       Barney Davis,
18792                                    33824   8/1/2022     Secured: $0.00
        ELIZABETH I.     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2726 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIEBERMAN,     Nueces Bay,
18793                                  34815   8/1/2022     Secured: $0.00
        ELIZABETH I.   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIEBERMAN,     Talen Texas
18794                                  35806   8/1/2022     Secured: $0.00
        ELIZABETH I.   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIEBERMAN,     Talen Texas,
18795                                  36797   8/1/2022     Secured: $0.00
        ELIZABETH I.   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIGGINS,       Barney Davis,
18796                                  8294    8/1/2022     Secured: $0.00
        MONIQUE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIGGINS,
18797                  Laredo, LLC     14044   8/1/2022     Secured: $0.00
        MONIQUE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIGGINS,       Nueces Bay,
18798                                  19791   8/1/2022     Secured: $0.00
        MONIQUE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LIGGINS,       Talen Texas
18799                                  25525   8/1/2022     Secured: $0.00
        MONIQUE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2727 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIGGINS,         Talen Texas,
18800                                    31285   8/1/2022     Secured: $0.00
        MONIQUE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIGHTING        Barney Davis,
18801                                    5932    8/1/2022     Secured: $0.00
        ASSOCIATES, INC LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIGHTING
18802                   Laredo, LLC      11682   8/1/2022     Secured: $0.00
        ASSOCIATES, INC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIGHTING        Nueces Bay,
18803                                    17429   8/1/2022     Secured: $0.00
        ASSOCIATES, INC LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIGHTING        Talen Texas
18804                                    23174   8/1/2022     Secured: $0.00
        ASSOCIATES, INC Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LIGHTING        Talen Texas,
18805                                    28923   8/1/2022     Secured: $0.00
        ASSOCIATES, INC LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18806   LIGON, NANCY                     8307    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2728 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18807   LIGON, NANCY     Laredo, LLC     14057   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18808   LIGON, NANCY                     19804   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18809   LIGON, NANCY                     25538   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18810   LIGON, NANCY                     31298   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18811   LIKENS, GINNIE                   7309    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18812   LIKENS, GINNIE   Laredo, LLC     13059   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18813   LIKENS, GINNIE                   18806   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2729 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18814   LIKENS, GINNIE                   24540   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18815   LIKENS, GINNIE                   30300   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18816   LILLY, CARL                      6628    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18817   LILLY, CARL      Laredo, LLC     12378   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18818   LILLY, CARL                      18125   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18819   LILLY, CARL                      23859   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18820   LILLY, CARL                      29619   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2730 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18821   LINCOLN, SHELIA                   4682    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18822   LINCOLN, SHELIA Laredo, LLC       10432   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18823   LINCOLN, SHELIA                   16179   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18824   LINCOLN, SHELIA                   21925   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18825   LINCOLN, SHELIA                   27673   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINDERMAN,        Barney Davis,
18826                                     7614    8/1/2022     Secured: $0.00
        JOHN              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINDERMAN,
18827                     Laredo, LLC     13364   8/1/2022     Secured: $0.00
        JOHN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2731 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINDERMAN,        Nueces Bay,
18828                                     19111   8/1/2022     Secured: $0.00
        JOHN              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINDERMAN,        Talen Texas
18829                                     24845   8/1/2022     Secured: $0.00
        JOHN              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINDERMAN,        Talen Texas,
18830                                     30605   8/1/2022     Secured: $0.00
        JOHN              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18831   LINDHOLM, EMILY                   7166    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18832   LINDHOLM, EMILY Laredo, LLC       12916   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18833   LINDHOLM, EMILY                   18663   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18834   LINDHOLM, EMILY                   24397   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2732 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18835   LINDHOLM, EMILY                   30157   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18836   LINDLEY, KANDI                    5060    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18837   LINDLEY, KANDI    Laredo, LLC     10810   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18838   LINDLEY, KANDI                    16557   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18839   LINDLEY, KANDI                    22302   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18840   LINDLEY, KANDI                    28051   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18841   LINDSAY, LISA                     3838    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2733 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18842   LINDSAY, LISA     Laredo, LLC     9588    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18843   LINDSAY, LISA                     15335   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18844   LINDSAY, LISA                     21082   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18845   LINDSAY, LISA                     26829   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18846   LINDSEY, BERTHA                   3966    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18847   LINDSEY, BERTHA Laredo, LLC       9716    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18848   LINDSEY, BERTHA                   15463   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2734 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18849   LINDSEY, BERTHA                    21209   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18850   LINDSEY, BERTHA                    26957   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18851   LINDSEY, CLIFTON                   3738    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18852   LINDSEY, CLIFTON Laredo, LLC       9488    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18853   LINDSEY, CLIFTON                   15235   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18854   LINDSEY, CLIFTON                   20982   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18855   LINDSEY, CLIFTON                   26729   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2735 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18856   LINDSEY, KRISTIN                   4392    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18857   LINDSEY, KRISTIN Laredo, LLC       10142   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18858   LINDSEY, KRISTIN                   15889   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18859   LINDSEY, KRISTIN                   21635   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18860   LINDSEY, KRISTIN                   27383   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LINDSEY,           Barney Davis,
18861                                      3609    8/1/2022     Secured: $0.00
        MARILYN            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LINDSEY,
18862                      Laredo, LLC     9359    8/1/2022     Secured: $0.00
        MARILYN
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2736 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSEY,       Nueces Bay,
18863                                  15106   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSEY,       Talen Texas
18864                                  20853   8/1/2022     Secured: $0.00
        MARILYN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSEY,       Talen Texas,
18865                                  26600   8/1/2022     Secured: $0.00
        MARILYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSKOG,      Barney Davis,
18866                                  9282    8/1/2022     Secured: $0.00
        LINDSAY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSKOG,
18867                  Laredo, LLC     15032   8/1/2022     Secured: $0.00
        LINDSAY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSKOG,      Nueces Bay,
18868                                  20779   8/1/2022     Secured: $0.00
        LINDSAY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LINDSKOG,      Talen Texas
18869                                  26511   8/1/2022     Secured: $0.00
        LINDSAY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2737 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINDSKOG,         Talen Texas,
18870                                     32273   8/1/2022     Secured: $0.00
        LINDSAY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINKENHOKER,      Barney Davis,
18871                                     6080    8/1/2022     Secured: $0.00
        CARY              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINKENHOKER,
18872                     Laredo, LLC     11830   8/1/2022     Secured: $0.00
        CARY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINKENHOKER,      Nueces Bay,
18873                                     17577   8/1/2022     Secured: $0.00
        CARY              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINKENHOKER,      Talen Texas
18874                                     23322   8/1/2022     Secured: $0.00
        CARY              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LINKENHOKER,      Talen Texas,
18875                                     29071   8/1/2022     Secured: $0.00
        CARY              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18876   LINVILLE, SCHON                   8758    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2738 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18877   LINVILLE, SCHON Laredo, LLC       14508   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18878   LINVILLE, SCHON                   20255   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18879   LINVILLE, SCHON                   25987   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18880   LINVILLE, SCHON                   31749   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18881   LIPPS, GLORIA                     7313    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18882   LIPPS, GLORIA     Laredo, LLC     13063   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18883   LIPPS, GLORIA                     18810   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2739 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18884   LIPPS, GLORIA                   24544   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18885   LIPPS, GLORIA                   30304   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18886   LIRA, JACINTO                   5000    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18887   LIRA, JACINTO   Laredo, LLC     10750   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18888   LIRA, JACINTO                   16497   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18889   LIRA, JACINTO                   22242   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
18890   LIRA, JACINTO                   27991   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2740 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18891   LIRA, MARISELA   Laredo, LLC     32834   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18892   LIRA, MARISELA                   33825   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18893   LIRA, MARISELA                   34816   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18894   LIRA, MARISELA                   35807   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18895   LIRA, MARISELA                   36798   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18896   LITRUN, JAMIE                    4252    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18897   LITRUN, JAMIE    Laredo, LLC     10002   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2741 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18898   LITRUN, JAMIE                      15749   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18899   LITRUN, JAMIE                      21495   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18900   LITRUN, JAMIE                      27243   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18901   LITTLE, LASHAVIO                   7914    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18902   LITTLE, LASHAVIO Laredo, LLC       13664   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18903   LITTLE, LASHAVIO                   19411   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18904   LITTLE, LASHAVIO                   25145   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2742 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18905   LITTLE, LASHAVIO                   30905   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18906   LITTLE, MELVIN                     3630    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18907   LITTLE, MELVIN     Laredo, LLC     9380    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18908   LITTLE, MELVIN                     15127   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18909   LITTLE, MELVIN                     20874   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18910   LITTLE, MELVIN                     26621   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18911   LIU, VICTORIA                      9118    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2743 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18912   LIU, VICTORIA      Laredo, LLC     14868   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18913   LIU, VICTORIA                      20615   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18914   LIU, VICTORIA                      26347   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18915   LIU, VICTORIA                      32109   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
18916   LIVINGS, KRISTON                   7875    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
18917   LIVINGS, KRISTON Laredo, LLC       13625   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
18918   LIVINGS, KRISTON                   19372   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2744 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
18919   LIVINGS, KRISTON                   25106   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
18920   LIVINGS, KRISTON                   30866   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LIVINGSTON,        Barney Davis,
18921                                      8018    8/1/2022     Secured: $0.00
        LOUIS              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LIVINGSTON,
18922                      Laredo, LLC     13768   8/1/2022     Secured: $0.00
        LOUIS
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LIVINGSTON,        Nueces Bay,
18923                                      19515   8/1/2022     Secured: $0.00
        LOUIS              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LIVINGSTON,        Talen Texas
18924                                      25249   8/1/2022     Secured: $0.00
        LOUIS              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        LIVINGSTON,        Talen Texas,
18925                                      31009   8/1/2022     Secured: $0.00
        LOUIS              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2745 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LLORANCE, SEAN Barney Davis,
18926                                   4664    8/1/2022     Secured: $0.00
        PAUL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LLORANCE, SEAN
18927                  Laredo, LLC      10414   8/1/2022     Secured: $0.00
        PAUL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LLORANCE, SEAN Nueces Bay,
18928                                   16161   8/1/2022     Secured: $0.00
        PAUL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LLORANCE, SEAN Talen Texas
18929                                   21907   8/1/2022     Secured: $0.00
        PAUL           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LLORANCE, SEAN Talen Texas,
18930                                   27655   8/1/2022     Secured: $0.00
        PAUL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18931   LLOYD, WAYNE                    9137    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18932   LLOYD, WAYNE    Laredo, LLC     14887   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2746 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18933   LLOYD, WAYNE                      20634   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18934   LLOYD, WAYNE                      26366   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18935   LLOYD, WAYNE                      32128   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18936   LOBELLO, SHERRY                   8830    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18937   LOBELLO, SHERRY Laredo, LLC       14580   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18938   LOBELLO, SHERRY                   20327   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18939   LOBELLO, SHERRY                   26059   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2747 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18940   LOBELLO, SHERRY                   31821   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOBSENZ,          Barney Davis,
18941                                     6388    8/1/2022     Secured: $0.00
        ANDREW            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOBSENZ,
18942                     Laredo, LLC     12138   8/1/2022     Secured: $0.00
        ANDREW
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOBSENZ,          Nueces Bay,
18943                                     17885   8/1/2022     Secured: $0.00
        ANDREW            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOBSENZ,          Talen Texas
18944                                     23620   8/1/2022     Secured: $0.00
        ANDREW            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOBSENZ,          Talen Texas,
18945                                     29379   8/1/2022     Secured: $0.00
        ANDREW            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18946   LOCKHART, BILLY                   6520    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2748 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18947   LOCKHART, BILLY Laredo, LLC       12270   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18948   LOCKHART, BILLY                   18017   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18949   LOCKHART, BILLY                   23752   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18950   LOCKHART, BILLY                   29511   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18951   LOCKHART, HAZEL                   7358    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18952   LOCKHART, HAZEL Laredo, LLC       13108   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18953   LOCKHART, HAZEL                   18855   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2749 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
18954   LOCKHART, HAZEL                  24589   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
18955   LOCKHART, HAZEL                  30349   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOCKHART‐        Barney Davis,
18956                                    5952    8/1/2022     Secured: $0.00
        CALPITO, ABIGAIL LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOCKHART‐
18957                    Laredo, LLC     11702   8/1/2022     Secured: $0.00
        CALPITO, ABIGAIL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOCKHART‐        Nueces Bay,
18958                                    17449   8/1/2022     Secured: $0.00
        CALPITO, ABIGAIL LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOCKHART‐        Talen Texas
18959                                    23194   8/1/2022     Secured: $0.00
        CALPITO, ABIGAIL Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOCKHART‐        Talen Texas,
18960                                    28943   8/1/2022     Secured: $0.00
        CALPITO, ABIGAIL LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2750 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18961   LOCKLIN, DONNA                   7074    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18962   LOCKLIN, DONNA Laredo, LLC       12824   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18963   LOCKLIN, DONNA                   18571   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18964   LOCKLIN, DONNA                   24305   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18965   LOCKLIN, DONNA                   30065   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18966   LOE, JOE                         4298    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18967   LOE, JOE         Laredo, LLC     10048   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2751 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18968   LOE, JOE                       15795   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18969   LOE, JOE                       21541   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
18970   LOE, JOE                       27289   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
18971   LOERA, DIANE                   7040    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
18972   LOERA, DIANE   Laredo, LLC     12790   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
18973   LOERA, DIANE                   18537   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
18974   LOERA, DIANE                   24271   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2752 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18975   LOERA, DIANE                      30031   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18976   LOERA, ROGELIO                    5254    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18977   LOERA, ROGELIO    Laredo, LLC     11004   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18978   LOERA, ROGELIO                    16751   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18979   LOERA, ROGELIO                    22496   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18980   LOERA, ROGELIO                    28245   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18981   LOFTIS, BARBARA                   6483    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2753 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18982   LOFTIS, BARBARA Laredo, LLC       12233   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18983   LOFTIS, BARBARA                   17980   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
18984   LOFTIS, BARBARA                   23715   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
18985   LOFTIS, BARBARA                   29474   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
18986   LOFTON, KELVIN                    5076    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
18987   LOFTON, KELVIN    Laredo, LLC     10826   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
18988   LOFTON, KELVIN                    16573   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2754 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18989   LOFTON, KELVIN                   22318   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18990   LOFTON, KELVIN                   28067   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
18991   LOFTON, SHEILA                   5874    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
18992   LOFTON, SHEILA   Laredo, LLC     11624   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
18993   LOFTON, SHEILA                   17371   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
18994   LOFTON, SHEILA                   23116   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
18995   LOFTON, SHEILA                   28865   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2755 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
18996   LOFTUS, JERRE                   4276    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
18997   LOFTUS, JERRE   Laredo, LLC     10026   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
18998   LOFTUS, JERRE                   15773   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
18999   LOFTUS, JERRE                   21519   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19000   LOFTUS, JERRE                   27267   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19001   LOGAN, DARIN                    6906    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19002   LOGAN, DARIN    Laredo, LLC     12656   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2756 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19003   LOGAN, DARIN                   18403   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19004   LOGAN, DARIN                   24137   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19005   LOGAN, DARIN                   29897   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19006   LOGAN, DAVID   Laredo, LLC     32835   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19007   LOGAN, DAVID                   33826   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19008   LOGAN, DAVID                   34817   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19009   LOGAN, DAVID                   35808   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2757 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19010   LOGAN, DAVID                   36799   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOGAN, JOHN‐   Barney Davis,
19011                                  7620    8/1/2022     Secured: $0.00
        PATRICK        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOGAN, JOHN‐
19012                  Laredo, LLC     13370   8/1/2022     Secured: $0.00
        PATRICK
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOGAN, JOHN‐   Nueces Bay,
19013                                  19117   8/1/2022     Secured: $0.00
        PATRICK        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOGAN, JOHN‐   Talen Texas
19014                                  24851   8/1/2022     Secured: $0.00
        PATRICK        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOGAN, JOHN‐   Talen Texas,
19015                                  30611   8/1/2022     Secured: $0.00
        PATRICK        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19016   LOGAN, VONDA                   9339    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2758 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19017   LOGAN, VONDA   Laredo, LLC     15089   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19018   LOGAN, VONDA                   20836   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19019   LOGAN, VONDA                   26568   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19020   LOGAN, VONDA                   32330   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19021   LONG, DOUG                     7100    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19022   LONG, DOUG     Laredo, LLC     12850   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19023   LONG, DOUG                     18597   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2759 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19024   LONG, DOUG                      24331   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19025   LONG, DOUG                      30091   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19026   LONG, WILLIAM                   9160    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19027   LONG, WILLIAM   Laredo, LLC     14910   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19028   LONG, WILLIAM                   20657   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19029   LONG, WILLIAM                   26389   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19030   LONG, WILLIAM                   32151   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2760 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LONGORIA,
19031                    Laredo, LLC     32836   8/1/2022     Secured: $0.00
        MANUEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LONGORIA,        Barney Davis,
19032                                    33827   8/1/2022     Secured: $0.00
        MANUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LONGORIA,        Nueces Bay,
19033                                    34818   8/1/2022     Secured: $0.00
        MANUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LONGORIA,        Talen Texas
19034                                    35809   8/1/2022     Secured: $0.00
        MANUEL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LONGORIA,        Talen Texas,
19035                                    36800   8/1/2022     Secured: $0.00
        MANUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19036   LOOMIS, DANIEL                   9244    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19037   LOOMIS, DANIEL   Laredo, LLC     14994   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2761 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19038   LOOMIS, DANIEL                   20741   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19039   LOOMIS, DANIEL                   26473   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19040   LOOMIS, DANIEL                   32235   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ JR,        Barney Davis,
19041                                    6816    8/1/2022     Secured: $0.00
        CONRAD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ JR,
19042                    Laredo, LLC     12566   8/1/2022     Secured: $0.00
        CONRAD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ JR,        Nueces Bay,
19043                                    18313   8/1/2022     Secured: $0.00
        CONRAD           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ JR,        Talen Texas
19044                                    24047   8/1/2022     Secured: $0.00
        CONRAD           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2762 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOPEZ JR,       Talen Texas,
19045                                   29807   8/1/2022     Secured: $0.00
        CONRAD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOPEZ JR,       Barney Davis,
19046                                   4738    8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOPEZ JR,
19047                   Laredo, LLC     10488   8/1/2022     Secured: $0.00
        THOMAS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOPEZ JR,       Nueces Bay,
19048                                   16235   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOPEZ JR,       Talen Texas
19049                                   21981   8/1/2022     Secured: $0.00
        THOMAS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOPEZ JR,       Talen Texas,
19050                                   27729   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19051   LOPEZ, BERTHA   Laredo, LLC     32837   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2763 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19052   LOPEZ, BERTHA                   33828   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19053   LOPEZ, BERTHA                   34819   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19054   LOPEZ, BERTHA                   35810   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19055   LOPEZ, BERTHA                   36801   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19056   LOPEZ, BRIGID                   3791    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19057   LOPEZ, BRIGID   Laredo, LLC     9541    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19058   LOPEZ, BRIGID                   15288   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2764 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
19059   LOPEZ, BRIGID                      21035   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
19060   LOPEZ, BRIGID                      26782   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
19061   LOPEZ, CHRISTINE                   6758    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
19062   LOPEZ, CHRISTINE Laredo, LLC       12508   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
19063   LOPEZ, CHRISTINE                   18255   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
19064   LOPEZ, CHRISTINE                   23989   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
19065   LOPEZ, CHRISTINE                   29749   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2765 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19066   LOPEZ, CLAUDIA   Laredo, LLC     32838   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19067   LOPEZ, CLAUDIA                   33829   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19068   LOPEZ, CLAUDIA                   34820   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19069   LOPEZ, CLAUDIA                   35811   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19070   LOPEZ, CLAUDIA                   36802   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19071   LOPEZ, DORA      Laredo, LLC     32839   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19072   LOPEZ, DORA                      33830   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2766 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19073   LOPEZ, DORA                      34821   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19074   LOPEZ, DORA                      35812   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19075   LOPEZ, DORA                      36803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19076   LOPEZ, DOROTHY                   7094    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19077   LOPEZ, DOROTHY Laredo, LLC       12844   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19078   LOPEZ, DOROTHY                   18591   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19079   LOPEZ, DOROTHY                   24325   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2767 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19080   LOPEZ, DOROTHY                   30085   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ, EMMA      Barney Davis,
19081                                    7168    8/1/2022     Secured: $0.00
        SUAREZ           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ, EMMA
19082                    Laredo, LLC     12918   8/1/2022     Secured: $0.00
        SUAREZ
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ, EMMA      Nueces Bay,
19083                                    18665   8/1/2022     Secured: $0.00
        SUAREZ           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ, EMMA      Talen Texas
19084                                    24399   8/1/2022     Secured: $0.00
        SUAREZ           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ, EMMA      Talen Texas,
19085                                    30159   8/1/2022     Secured: $0.00
        SUAREZ           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19086   LOPEZ, ENRIQUE                   7178    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2768 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19087   LOPEZ, ENRIQUE   Laredo, LLC     12928   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19088   LOPEZ, ENRIQUE                   18675   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19089   LOPEZ, ENRIQUE                   24409   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19090   LOPEZ, ENRIQUE                   30169   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ,
19091                    Laredo, LLC     32840   8/1/2022     Secured: $0.00
        FERNANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ,           Barney Davis,
19092                                    33831   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ,           Nueces Bay,
19093                                    34822   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2769 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ,           Talen Texas
19094                                    35813   8/1/2022     Secured: $0.00
        FERNANDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ,           Talen Texas,
19095                                    36804   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19096   LOPEZ, FRANK J   Laredo, LLC     32841   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19097   LOPEZ, FRANK J                   33832   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19098   LOPEZ, FRANK J                   34823   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19099   LOPEZ, FRANK J                   35814   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19100   LOPEZ, FRANK J                   36805   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2770 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19101   LOPEZ, GLORIA   Laredo, LLC     32842   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19102   LOPEZ, GLORIA                   33833   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19103   LOPEZ, GLORIA                   34824   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19104   LOPEZ, GLORIA                   35815   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19105   LOPEZ, GLORIA                   36806   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19106   LOPEZ, HILDA                    7375    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19107   LOPEZ, HILDA    Laredo, LLC     13125   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2771 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19108   LOPEZ, HILDA                   18872   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19109   LOPEZ, HILDA                   24606   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19110   LOPEZ, HILDA                   30366   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19111   LOPEZ, JAIME   Laredo, LLC     32843   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19112   LOPEZ, JAIME                   33834   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19113   LOPEZ, JAIME                   34825   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19114   LOPEZ, JAIME                   35816   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2772 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19115   LOPEZ, JAIME                     36807   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19116   LOPEZ, LINDSEY                   5828    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19117   LOPEZ, LINDSEY   Laredo, LLC     11578   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19118   LOPEZ, LINDSEY                   17325   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19119   LOPEZ, LINDSEY                   23070   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19120   LOPEZ, LINDSEY                   28819   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOPEZ,           Barney Davis,
19121                                    8069    8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2773 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOPEZ,
19122                  Laredo, LLC     13819   8/1/2022     Secured: $0.00
        MARGARITA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOPEZ,         Nueces Bay,
19123                                  19566   8/1/2022     Secured: $0.00
        MARGARITA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOPEZ,         Talen Texas
19124                                  25300   8/1/2022     Secured: $0.00
        MARGARITA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LOPEZ,         Talen Texas,
19125                                  31060   8/1/2022     Secured: $0.00
        MARGARITA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19126   LOPEZ, MARIA                   8078    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19127   LOPEZ, MARIA   Laredo, LLC     13828   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19128   LOPEZ, MARIA                   19575   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2774 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19129   LOPEZ, MARIA                   25309   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19130   LOPEZ, MARIA                   31069   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19131   LOPEZ, MARIO                   8104    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19132   LOPEZ, MARIO   Laredo, LLC     13854   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19133   LOPEZ, MARIO                   19601   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19134   LOPEZ, MARIO                   25335   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19135   LOPEZ, MARIO                   31095   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2775 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19136   LOPEZ, MARY                      8160    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19137   LOPEZ, MARY      Laredo, LLC     13910   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19138   LOPEZ, MARY                      19657   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19139   LOPEZ, MARY                      25391   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19140   LOPEZ, MARY                      31151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19141   LOPEZ, MELODYE Laredo, LLC       32844   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19142   LOPEZ, MELODYE                   33835   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2776 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19143   LOPEZ, MELODYE                   34826   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19144   LOPEZ, MELODYE                   35817   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19145   LOPEZ, MELODYE                   36808   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19146   LOPEZ, MICHAEL                   6007    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19147   LOPEZ, MICHAEL   Laredo, LLC     11757   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19148   LOPEZ, MICHAEL                   17504   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19149   LOPEZ, MICHAEL                   23249   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2777 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19150   LOPEZ, MICHAEL                   28998   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19151   LOPEZ, NINA                      5184    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19152   LOPEZ, NINA      Laredo, LLC     10934   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19153   LOPEZ, NINA                      16681   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19154   LOPEZ, NINA                      22426   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19155   LOPEZ, NINA                      28175   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19156   LOPEZ, NORMA     Laredo, LLC     32845   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2778 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19157   LOPEZ, NORMA                   33836   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19158   LOPEZ, NORMA                   34827   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19159   LOPEZ, NORMA                   35818   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19160   LOPEZ, NORMA                   36809   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19161   LOPEZ, OLGA                    4544    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19162   LOPEZ, OLGA    Laredo, LLC     10294   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19163   LOPEZ, OLGA                    16041   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2779 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19164   LOPEZ, OLGA                    21787   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19165   LOPEZ, OLGA                    27535   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19166   LOPEZ, OSCAR   Laredo, LLC     32846   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19167   LOPEZ, OSCAR                   33837   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19168   LOPEZ, OSCAR                   34828   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19169   LOPEZ, OSCAR                   35819   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19170   LOPEZ, OSCAR                   36810   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2780 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19171   LOPEZ, PASCUAL                   8386    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19172   LOPEZ, PASCUAL   Laredo, LLC     14136   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19173   LOPEZ, PASCUAL                   19883   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19174   LOPEZ, PASCUAL                   25616   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19175   LOPEZ, PASCUAL                   31377   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19176   LOPEZ, PAUL                      8413    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19177   LOPEZ, PAUL      Laredo, LLC     14163   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2781 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19178   LOPEZ, PAUL                      19910   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19179   LOPEZ, PAUL                      25643   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19180   LOPEZ, PAUL                      31404   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19181   LOPEZ, REFUGIO                   4598    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19182   LOPEZ, REFUGIO   Laredo, LLC     10348   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19183   LOPEZ, REFUGIO                   16095   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19184   LOPEZ, REFUGIO                   21841   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2782 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19185   LOPEZ, REFUGIO                   27589   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19186   LOPEZ, RODOLFO                   8646    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19187   LOPEZ, RODOLFO Laredo, LLC       14396   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19188   LOPEZ, RODOLFO                   20143   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19189   LOPEZ, RODOLFO                   25875   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19190   LOPEZ, RODOLFO                   31637   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19191   LOPEZ, RYAN                      5489    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2783 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19192   LOPEZ, RYAN     Laredo, LLC     11239   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19193   LOPEZ, RYAN                     16986   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19194   LOPEZ, RYAN                     22731   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19195   LOPEZ, RYAN                     28480   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19196   LOPEZ, SANDRA                   8743    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19197   LOPEZ, SANDRA   Laredo, LLC     14493   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19198   LOPEZ, SANDRA                   20240   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2784 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19199   LOPEZ, SANDRA                    25972   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19200   LOPEZ, SANDRA                    31734   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19201   LOPEZ, VINCENT                   6027    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19202   LOPEZ, VINCENT   Laredo, LLC     11777   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19203   LOPEZ, VINCENT                   17524   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19204   LOPEZ, VINCENT                   23269   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19205   LOPEZ, VINCENT                   29018   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2785 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19206   LORD, DALE                     6873    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19207   LORD, DALE     Laredo, LLC     12623   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19208   LORD, DALE                     18370   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19209   LORD, DALE                     24104   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19210   LORD, DALE                     29864   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19211   LORD, SERGIO                   3780    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19212   LORD, SERGIO   Laredo, LLC     9530    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2786 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19213   LORD, SERGIO                   15277   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19214   LORD, SERGIO                   21024   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19215   LORD, SERGIO                   26771   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19216   LOSOYA, KYM                    5549    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19217   LOSOYA, KYM    Laredo, LLC     11299   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19218   LOSOYA, KYM                    17046   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19219   LOSOYA, KYM                    22791   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2787 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19220   LOSOYA, KYM                     28540   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19221   LOTT, ALBERT                    5491    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19222   LOTT, ALBERT    Laredo, LLC     11241   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19223   LOTT, ALBERT                    16988   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19224   LOTT, ALBERT                    22733   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19225   LOTT, ALBERT                    28482   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19226   LOTT, JACINTA                   7412    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2788 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19227   LOTT, JACINTA    Laredo, LLC     13162   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19228   LOTT, JACINTA                    18909   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19229   LOTT, JACINTA                    24643   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19230   LOTT, JACINTA                    30403   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19231   LOTT, ROSEMARY                   8684    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19232   LOTT, ROSEMARY Laredo, LLC       14434   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19233   LOTT, ROSEMARY                   20181   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2789 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19234   LOTT, ROSEMARY                   25913   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19235   LOTT, ROSEMARY                   31675   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19236   LOTT, TONKA                      9040    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19237   LOTT, TONKA      Laredo, LLC     14790   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19238   LOTT, TONKA                      20537   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19239   LOTT, TONKA                      26269   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19240   LOTT, TONKA                      32031   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2790 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19241   LOUIS, TALBOTA   Laredo, LLC     32847   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19242   LOUIS, TALBOTA                   33838   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19243   LOUIS, TALBOTA                   34829   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19244   LOUIS, TALBOTA                   35820   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19245   LOUIS, TALBOTA                   36811   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19246   LOVE, BETTY                      6508    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19247   LOVE, BETTY      Laredo, LLC     12258   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2791 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19248   LOVE, BETTY                      18005   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19249   LOVE, BETTY                      23740   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19250   LOVE, BETTY                      29499   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19251   LOVE, DEMARCUS                   6984    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19252   LOVE, DEMARCUS Laredo, LLC       12734   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19253   LOVE, DEMARCUS                   18481   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19254   LOVE, DEMARCUS                   24215   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2792 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19255   LOVE, DEMARCUS                   29975   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19256   LOVE, EDDIE                      7124    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19257   LOVE, EDDIE      Laredo, LLC     12874   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19258   LOVE, EDDIE                      18621   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19259   LOVE, EDDIE                      24355   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19260   LOVE, EDDIE                      30115   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19261   LOVE, ERNEST                     3829    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2793 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19262   LOVE, ERNEST   Laredo, LLC     9579    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19263   LOVE, ERNEST                   15326   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19264   LOVE, ERNEST                   21073   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19265   LOVE, ERNEST                   26820   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19266   LOVE, JANICE   Laredo, LLC     32848   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19267   LOVE, JANICE                   33839   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19268   LOVE, JANICE                   34830   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2794 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19269   LOVE, JANICE                   35821   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19270   LOVE, JANICE                   36812   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19271   LOVE, MAGGIE                   8048    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19272   LOVE, MAGGIE   Laredo, LLC     13798   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19273   LOVE, MAGGIE                   19545   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19274   LOVE, MAGGIE                   25279   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19275   LOVE, MAGGIE                   31039   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2795 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19276   LOVE, PRESCOTT                   5634    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19277   LOVE, PRESCOTT   Laredo, LLC     11384   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19278   LOVE, PRESCOTT                   17131   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19279   LOVE, PRESCOTT                   22876   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19280   LOVE, PRESCOTT                   28625   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOVEDAY,         Barney Davis,
19281                                    6698    8/1/2022     Secured: $0.00
        CHARLES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LOVEDAY,
19282                    Laredo, LLC     12448   8/1/2022     Secured: $0.00
        CHARLES
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2796 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOVEDAY,          Nueces Bay,
19283                                     18195   8/1/2022     Secured: $0.00
        CHARLES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOVEDAY,          Talen Texas
19284                                     23929   8/1/2022     Secured: $0.00
        CHARLES           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LOVEDAY,          Talen Texas,
19285                                     29689   8/1/2022     Secured: $0.00
        CHARLES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19286   LOVELESS, KARLA                   5065    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19287   LOVELESS, KARLA Laredo, LLC       10815   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19288   LOVELESS, KARLA                   16562   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19289   LOVELESS, KARLA                   22307   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2797 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19290   LOVELESS, KARLA                   28056   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19291   LOVELL, JENNIE                    7515    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19292   LOVELL, JENNIE    Laredo, LLC     13265   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19293   LOVELL, JENNIE                    19012   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19294   LOVELL, JENNIE                    24746   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19295   LOVELL, JENNIE                    30506   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19296   LOVIN, SANDRA                     8744    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2798 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19297   LOVIN, SANDRA   Laredo, LLC     14494   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19298   LOVIN, SANDRA                   20241   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19299   LOVIN, SANDRA                   25973   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19300   LOVIN, SANDRA                   31735   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        LOVING CARE                                          Other Administrative: $0.00
        PERSONAL CARE                                        Priority: $0.00
                        Barney Davis,
19301   HOME DBA                        5936    8/1/2022     Secured: $0.00
                        LLC
        NORTHLINE                                            General Unsecured: $0.00 + Unliquidated
        ADULT DAYCARE
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        LOVING CARE                                          Other Administrative: $0.00
        PERSONAL CARE                                        Priority: $0.00
19302   HOME DBA        Laredo, LLC     11686   8/1/2022     Secured: $0.00
        NORTHLINE                                            General Unsecured: $0.00 + Unliquidated
        ADULT DAYCARE
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        LOVING CARE                                          Other Administrative: $0.00
        PERSONAL CARE                                        Priority: $0.00
                        Nueces Bay,
19303   HOME DBA                        17433   8/1/2022     Secured: $0.00
                        LLC
        NORTHLINE                                            General Unsecured: $0.00 + Unliquidated
        ADULT DAYCARE
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2799 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        LOVING CARE                                          Other Administrative: $0.00
        PERSONAL CARE                                        Priority: $0.00
                        Talen Texas
19304   HOME DBA                        23178   8/1/2022     Secured: $0.00
                        Group, LLC
        NORTHLINE                                            General Unsecured: $0.00 + Unliquidated
        ADULT DAYCARE
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        LOVING CARE                                          Other Administrative: $0.00
        PERSONAL CARE                                        Priority: $0.00
                        Talen Texas,
19305   HOME DBA                        28927   8/1/2022     Secured: $0.00
                        LLC
        NORTHLINE                                            General Unsecured: $0.00 + Unliquidated
        ADULT DAYCARE
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOVINGS,        Barney Davis,
19306                                   5167    8/1/2022     Secured: $0.00
        MONTAVEIS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOVINGS,
19307                   Laredo, LLC     10917   8/1/2022     Secured: $0.00
        MONTAVEIS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOVINGS,        Nueces Bay,
19308                                   16664   8/1/2022     Secured: $0.00
        MONTAVEIS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOVINGS,        Talen Texas
19309                                   22409   8/1/2022     Secured: $0.00
        MONTAVEIS       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOVINGS,        Talen Texas,
19310                                   28158   8/1/2022     Secured: $0.00
        MONTAVEIS       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2800 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19311   LOWE, JOSHUA                   7680    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19312   LOWE, JOSHUA   Laredo, LLC     13430   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19313   LOWE, JOSHUA                   19177   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19314   LOWE, JOSHUA                   24911   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19315   LOWE, JOSHUA                   30671   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19316   LOWE, MARDI                    8063    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19317   LOWE, MARDI    Laredo, LLC     13813   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2801 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
19318   LOWE, MARDI                   19560   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
19319   LOWE, MARDI                   25294   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
19320   LOWE, MARDI                   31054   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LOWERY,       Barney Davis,
19321                                 4662    8/1/2022     Secured: $0.00
        SCARLETT      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LOWERY,
19322                 Laredo, LLC     10412   8/1/2022     Secured: $0.00
        SCARLETT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LOWERY,       Nueces Bay,
19323                                 16159   8/1/2022     Secured: $0.00
        SCARLETT      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        LOWERY,       Talen Texas
19324                                 21905   8/1/2022     Secured: $0.00
        SCARLETT      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2802 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LOWERY,         Talen Texas,
19325                                   27653   8/1/2022     Secured: $0.00
        SCARLETT        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19326   LOYOLA, RUBEN                   8697    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19327   LOYOLA, RUBEN   Laredo, LLC     14447   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19328   LOYOLA, RUBEN                   20194   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19329   LOYOLA, RUBEN                   25926   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19330   LOYOLA, RUBEN                   31688   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19331   LOZANO, ELENA   Laredo, LLC     32849   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2803 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19332   LOZANO, ELENA                    33840   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19333   LOZANO, ELENA                    34831   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19334   LOZANO, ELENA                    35822   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19335   LOZANO, ELENA                    37287   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19336   LOZANO, NELSON                   8324    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19337   LOZANO, NELSON Laredo, LLC       14074   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19338   LOZANO, NELSON                   19821   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2804 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19339   LOZANO, NELSON                   25555   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19340   LOZANO, NELSON                   31315   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19341   LOZANO, SAMUEL Laredo, LLC       32850   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19342   LOZANO, SAMUEL                   33841   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19343   LOZANO, SAMUEL                   34832   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19344   LOZANO, SAMUEL                   35823   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19345   LOZANO, SAMUEL                   36813   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2805 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19346   LU, PETER                      5684    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19347   LU, PETER      Laredo, LLC     11434   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19348   LU, PETER                      17181   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19349   LU, PETER                      22926   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19350   LU, PETER                      28675   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUCANTONIO,
19351                  Laredo, LLC     32851   8/1/2022     Secured: $0.00
        ELIZABETH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUCANTONIO,    Barney Davis,
19352                                  33842   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2806 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUCANTONIO,    Nueces Bay,
19353                                  34833   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUCANTONIO,    Talen Texas
19354                                  35824   8/1/2022     Secured: $0.00
        ELIZABETH      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUCANTONIO,    Talen Texas,
19355                                  36814   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19356   LUCAS, CAROL                   6657    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19357   LUCAS, CAROL   Laredo, LLC     12407   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19358   LUCAS, CAROL                   18154   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19359   LUCAS, CAROL                   23888   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2807 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19360   LUCAS, CAROL                      29648   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19361   LUCAS, JAMES      Laredo, LLC     32852   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19362   LUCAS, JAMES                      33843   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19363   LUCAS, JAMES                      34834   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19364   LUCAS, JAMES                      35825   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19365   LUCAS, JAMES                      36815   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19366   LUCERO, MICHAEL                   8233    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2808 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19367   LUCERO, MICHAEL Laredo, LLC       13983   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19368   LUCERO, MICHAEL                   19730   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19369   LUCERO, MICHAEL                   25464   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19370   LUCERO, MICHAEL                   31224   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LUCERO,           Barney Davis,
19371                                     8625    8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LUCERO,
19372                     Laredo, LLC     14375   8/1/2022     Secured: $0.00
        ROBERTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LUCERO,           Nueces Bay,
19373                                     20122   8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2809 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LUCERO,           Talen Texas
19374                                     25854   8/1/2022     Secured: $0.00
        ROBERTO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LUCERO,           Talen Texas,
19375                                     31616   8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19376   LUCKEY, CHIHARA                   5587    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19377   LUCKEY, CHIHARA Laredo, LLC       11337   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19378   LUCKEY, CHIHARA                   17084   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19379   LUCKEY, CHIHARA                   22829   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19380   LUCKEY, CHIHARA                   28578   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2810 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19381   LUCKEY, LUENNE                   5112    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19382   LUCKEY, LUENNE Laredo, LLC       10862   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19383   LUCKEY, LUENNE                   16609   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19384   LUCKEY, LUENNE                   22354   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19385   LUCKEY, LUENNE                   28103   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19386   LUCKY, CEDRIC                    4024    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19387   LUCKY, CEDRIC    Laredo, LLC     9774    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2811 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19388   LUCKY, CEDRIC                   15521   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19389   LUCKY, CEDRIC                   21267   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19390   LUCKY, CEDRIC                   27015   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19391   LUELL, SANDRA                   8745    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19392   LUELL, SANDRA   Laredo, LLC     14495   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19393   LUELL, SANDRA                   20242   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19394   LUELL, SANDRA                   25974   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2812 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19395   LUELL, SANDRA                    31736   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19396   LUERA, SANDRA                    4655    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19397   LUERA, SANDRA    Laredo, LLC     10405   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19398   LUERA, SANDRA                    16152   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19399   LUERA, SANDRA                    21898   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19400   LUERA, SANDRA                    27646   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19401   LUEVANO, DAVID                   4094    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2813 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19402   LUEVANO, DAVID Laredo, LLC       9844    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19403   LUEVANO, DAVID                   15591   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19404   LUEVANO, DAVID                   21337   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19405   LUEVANO, DAVID                   27085   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19406   LUGO, ENNA                       7173    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19407   LUGO, ENNA       Laredo, LLC     12923   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19408   LUGO, ENNA                       18670   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2814 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19409   LUGO, ENNA                      24404   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19410   LUGO, ENNA                      30164   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19411   LUJAN, MIGUEL                   8257    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19412   LUJAN, MIGUEL   Laredo, LLC     14007   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19413   LUJAN, MIGUEL                   19754   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19414   LUJAN, MIGUEL                   25488   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19415   LUJAN, MIGUEL                   31248   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2815 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19416   LUKER, JOE                     7590    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19417   LUKER, JOE     Laredo, LLC     13340   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19418   LUKER, JOE                     19087   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19419   LUKER, JOE                     24821   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19420   LUKER, JOE                     30581   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19421   LUNA, MAGDA    Laredo, LLC     32853   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19422   LUNA, MAGDA                    33844   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2816 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19423   LUNA, MAGDA                    34835   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19424   LUNA, MAGDA                    35826   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19425   LUNA, MAGDA                    36816   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19426   LUND, ANGELA                   6392    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19427   LUND, ANGELA   Laredo, LLC     12142   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19428   LUND, ANGELA                   17889   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19429   LUND, ANGELA                   23624   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2817 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19430   LUND, ANGELA                      29383   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19431   LUNDBERG, KEITH                   5073    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19432   LUNDBERG, KEITH Laredo, LLC       10823   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19433   LUNDBERG, KEITH                   16570   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19434   LUNDBERG, KEITH                   22315   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19435   LUNDBERG, KEITH                   28064   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19436   LUNDIN, KIT                       5822    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2818 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19437   LUNDIN, KIT    Laredo, LLC     11572   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19438   LUNDIN, KIT                    17319   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19439   LUNDIN, KIT                    23064   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19440   LUNDIN, KIT                    28813   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19441   LURYE, BRIAN                   6579    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19442   LURYE, BRIAN   Laredo, LLC     12329   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19443   LURYE, BRIAN                   18076   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2819 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19444   LURYE, BRIAN                      23811   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19445   LURYE, BRIAN                      29570   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19446   LUSSIER, JOSEPH                   4327    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19447   LUSSIER, JOSEPH   Laredo, LLC     10077   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19448   LUSSIER, JOSEPH                   15824   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19449   LUSSIER, JOSEPH                   21570   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19450   LUSSIER, JOSEPH                   27318   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2820 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19451   LUTHE, LOLA                    8009    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19452   LUTHE, LOLA    Laredo, LLC     13759   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19453   LUTHE, LOLA                    19506   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19454   LUTHE, LOLA                    25240   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19455   LUTHE, LOLA                    31000   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUYANDO JR,    Barney Davis,
19456                                  6331    8/1/2022     Secured: $0.00
        ALFREDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUYANDO JR,
19457                  Laredo, LLC     12081   8/1/2022     Secured: $0.00
        ALFREDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2821 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUYANDO JR,    Nueces Bay,
19458                                  17828   8/1/2022     Secured: $0.00
        ALFREDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUYANDO JR,    Talen Texas
19459                                  23563   8/1/2022     Secured: $0.00
        ALFREDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LUYANDO JR,    Talen Texas,
19460                                  29322   8/1/2022     Secured: $0.00
        ALFREDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19461   LUZA, KELLI                    4373    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19462   LUZA, KELLI    Laredo, LLC     10123   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19463   LUZA, KELLI                    15870   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19464   LUZA, KELLI                    21616   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2822 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19465   LUZA, KELLI                      27364   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LY, MATTHEW      Barney Davis,
19466                                    4500    8/1/2022     Secured: $0.00
        DEAN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LY, MATTHEW
19467                    Laredo, LLC     10250   8/1/2022     Secured: $0.00
        DEAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LY, MATTHEW      Nueces Bay,
19468                                    15997   8/1/2022     Secured: $0.00
        DEAN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LY, MATTHEW      Talen Texas
19469                                    21743   8/1/2022     Secured: $0.00
        DEAN             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LY, MATTHEW      Talen Texas,
19470                                    27491   8/1/2022     Secured: $0.00
        DEAN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19471   LYDIA, LORENZA                   8012    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2823 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19472   LYDIA, LORENZA    Laredo, LLC     13762   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19473   LYDIA, LORENZA                    19509   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19474   LYDIA, LORENZA                    25243   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19475   LYDIA, LORENZA                    31003   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19476   LYDIA, PATRICIA                   8394    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19477   LYDIA, PATRICIA   Laredo, LLC     14144   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19478   LYDIA, PATRICIA                   19891   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2824 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19479   LYDIA, PATRICIA                   25624   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19480   LYDIA, PATRICIA                   31385   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYLES,            Barney Davis,
19481                                     4730    8/1/2022     Secured: $0.00
        THEODORSA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYLES,
19482                     Laredo, LLC     10480   8/1/2022     Secured: $0.00
        THEODORSA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYLES,            Nueces Bay,
19483                                     16227   8/1/2022     Secured: $0.00
        THEODORSA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYLES,            Talen Texas
19484                                     21973   8/1/2022     Secured: $0.00
        THEODORSA         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYLES,            Talen Texas,
19485                                     27721   8/1/2022     Secured: $0.00
        THEODORSA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2825 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19486   LYMAN, CHRIS                   5588    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19487   LYMAN, CHRIS   Laredo, LLC     11338   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19488   LYMAN, CHRIS                   17085   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19489   LYMAN, CHRIS                   22830   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19490   LYMAN, CHRIS                   28579   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19491   LYNCH, BOBBY                   4864    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19492   LYNCH, BOBBY   Laredo, LLC     10614   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2826 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19493   LYNCH, BOBBY                   16361   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19494   LYNCH, BOBBY                   22107   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19495   LYNCH, BOBBY                   27855   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19496   LYNCH, BRYAN                   6608    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19497   LYNCH, BRYAN   Laredo, LLC     12358   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19498   LYNCH, BRYAN                   18105   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19499   LYNCH, BRYAN                   23839   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2827 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19500   LYNCH, BRYAN                   29599   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LYNCH,         Barney Davis,
19501                                  6752    8/1/2022     Secured: $0.00
        CHRISTINA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LYNCH,
19502                  Laredo, LLC     12502   8/1/2022     Secured: $0.00
        CHRISTINA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LYNCH,         Nueces Bay,
19503                                  18249   8/1/2022     Secured: $0.00
        CHRISTINA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LYNCH,         Talen Texas
19504                                  23983   8/1/2022     Secured: $0.00
        CHRISTINA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        LYNCH,         Talen Texas,
19505                                  29743   8/1/2022     Secured: $0.00
        CHRISTINA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19506   LYNCH, LAURA                   4413    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2828 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19507   LYNCH, LAURA     Laredo, LLC    10163   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
19508   LYNCH, LAURA                    15910   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
19509   LYNCH, LAURA                    21656   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
19510   LYNCH, LAURA                    27404   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LYNDA HARVEY    Barney Davis,
19511                                   5689    8/1/2022     Secured: $0.00
        PATTERSON, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LYNDA HARVEY
19512                   Laredo, LLC     11439   8/1/2022     Secured: $0.00
        PATTERSON, INC.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LYNDA HARVEY    Nueces Bay,
19513                                   17186   8/1/2022     Secured: $0.00
        PATTERSON, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2829 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LYNDA HARVEY    Talen Texas
19514                                    22931   8/1/2022     Secured: $0.00
        PATTERSON, INC. Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        LYNDA HARVEY    Talen Texas,
19515                                    28680   8/1/2022     Secured: $0.00
        PATTERSON, INC. LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19516   LYON, THEODORE                   8987    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19517   LYON, THEODORE Laredo, LLC       14737   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19518   LYON, THEODORE                   20484   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19519   LYON, THEODORE                   26216   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19520   LYON, THEODORE                   31978   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2830 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19521   LYONS, EZEKIEL                    7219    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19522   LYONS, EZEKIEL    Laredo, LLC     12969   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19523   LYONS, EZEKIEL                    18716   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19524   LYONS, EZEKIEL                    24450   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19525   LYONS, EZEKIEL                    30210   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19526   LYONS, PATRICIA                   4558    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19527   LYONS, PATRICIA Laredo, LLC       10308   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2831 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19528   LYONS, PATRICIA                   16055   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19529   LYONS, PATRICIA                   21801   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19530   LYONS, PATRICIA                   27549   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYONS‐GHRIRI,     Barney Davis,
19531                                     5108    8/1/2022     Secured: $0.00
        LORETTA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYONS‐GHRIRI,
19532                     Laredo, LLC     10858   8/1/2022     Secured: $0.00
        LORETTA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYONS‐GHRIRI,     Nueces Bay,
19533                                     16605   8/1/2022     Secured: $0.00
        LORETTA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        LYONS‐GHRIRI,     Talen Texas
19534                                     22350   8/1/2022     Secured: $0.00
        LORETTA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2832 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        LYONS‐GHRIRI,   Talen Texas,
19535                                   28099   8/1/2022     Secured: $0.00
        LORETTA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19536   LYTLE, DANIEL                   3662    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19537   LYTLE, DANIEL   Laredo, LLC     9412    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19538   LYTLE, DANIEL                   15159   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19539   LYTLE, DANIEL                   20906   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19540   LYTLE, DANIEL                   26653   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MACDONALD,      Barney Davis,
19541                                   4917    8/1/2022     Secured: $0.00
        DANIEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2833 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONALD,
19542                 Laredo, LLC     10667   8/1/2022     Secured: $0.00
        DANIEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONALD,    Nueces Bay,
19543                                 16414   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONALD,    Talen Texas
19544                                 22159   8/1/2022     Secured: $0.00
        DANIEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONALD,    Talen Texas,
19545                                 27908   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONELL,    Barney Davis,
19546                                 5270    8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONELL,
19547                 Laredo, LLC     11020   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MACDONELL,    Nueces Bay,
19548                                 16767   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2834 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MACDONELL,       Talen Texas
19549                                    22512   8/1/2022     Secured: $0.00
        SANDRA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MACDONELL,       Talen Texas,
19550                                    28261   8/1/2022     Secured: $0.00
        SANDRA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
        MACECILIA                                             503(b)(9): $0.00
        SANTOS COY,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
19551   AND AS HEIR OF                   6232    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ALEJO SANTOS
        COY                                                   Total: $0.00 + Unliquidated
        MACECILIA                                             503(b)(9): $0.00
        SANTOS COY,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
19552   AND AS HEIR OF   Laredo, LLC     11982   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ALEJO SANTOS
        COY                                                   Total: $0.00 + Unliquidated
        MACECILIA                                             503(b)(9): $0.00
        SANTOS COY,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
19553   AND AS HEIR OF                   17729   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ALEJO SANTOS
        COY                                                   Total: $0.00 + Unliquidated
        MACECILIA                                             503(b)(9): $0.00
        SANTOS COY,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
19554   AND AS HEIR OF                   26574   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ALEJO SANTOS
        COY                                                   Total: $0.00 + Unliquidated
        MACECILIA                                             503(b)(9): $0.00
        SANTOS COY,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
19555   AND AS HEIR OF                   29223   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ALEJO SANTOS
        COY                                                   Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2835 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MACFENERSTEIN,
19556                  Laredo, LLC      32854   8/1/2022     Secured: $0.00
        HARVEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MACFENERSTEIN, Barney Davis,
19557                                   33845   8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MACFENERSTEIN, Nueces Bay,
19558                                   34836   8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MACFENERSTEIN, Talen Texas
19559                                   35827   8/1/2022     Secured: $0.00
        HARVEY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MACFENERSTEIN, Talen Texas,
19560                                   36817   8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19561   MACH, JUSTIN                    7730    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19562   MACH, JUSTIN    Laredo, LLC     13480   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2836 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19563   MACH, JUSTIN                     19227   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19564   MACH, JUSTIN                     24961   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19565   MACH, JUSTIN                     30721   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19566   MACHA, MICHAEL Laredo, LLC       32855   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19567   MACHA, MICHAEL                   33846   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19568   MACHA, MICHAEL                   34837   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19569   MACHA, MICHAEL                   35828   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2837 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19570   MACHA, MICHAEL                    36818   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19571   MACHICEK, CRAIG                   6834    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19572   MACHICEK, CRAIG Laredo, LLC       12584   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19573   MACHICEK, CRAIG                   18331   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19574   MACHICEK, CRAIG                   24065   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19575   MACHICEK, CRAIG                   29825   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MACHICEK,
19576                     Laredo, LLC     32856   8/1/2022     Secured: $0.00
        FRANKLIN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2838 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MACHICEK,        Barney Davis,
19577                                    33847   8/1/2022     Secured: $0.00
        FRANKLIN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MACHICEK,        Nueces Bay,
19578                                    34838   8/1/2022     Secured: $0.00
        FRANKLIN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MACHICEK,        Talen Texas
19579                                    35829   8/1/2022     Secured: $0.00
        FRANKLIN         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MACHICEK,        Talen Texas,
19580                                    36819   8/1/2022     Secured: $0.00
        FRANKLIN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19581   MACIAS, DEANNA                   6953    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19582   MACIAS, DEANNA Laredo, LLC       12703   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19583   MACIAS, DEANNA                   18450   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2839 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19584   MACIAS, DEANNA                   24184   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19585   MACIAS, DEANNA                   29944   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19586   MACK, BILLY                      6521    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19587   MACK, BILLY      Laredo, LLC     12271   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19588   MACK, BILLY                      18018   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19589   MACK, BILLY                      23753   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19590   MACK, BILLY                      29512   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2840 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19591   MACK, GARY     Laredo, LLC     32857   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19592   MACK, GARY                     33848   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19593   MACK, GARY                     34839   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19594   MACK, GARY                     35830   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19595   MACK, GARY                     36820   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19596   MACK, MONICA                   5844    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19597   MACK, MONICA   Laredo, LLC     11594   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2841 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19598   MACK, MONICA                   17341   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19599   MACK, MONICA                   23086   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19600   MACK, MONICA                   28835   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19601   MACK, ROBIN                    5251    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19602   MACK, ROBIN    Laredo, LLC     11001   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19603   MACK, ROBIN                    16748   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19604   MACK, ROBIN                    22493   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2842 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19605   MACK, ROBIN                    28242   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19606   MACOY, RICK                    8577    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19607   MACOY, RICK    Laredo, LLC     14327   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19608   MACOY, RICK                    20074   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19609   MACOY, RICK                    25806   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19610   MACOY, RICK                    31568   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MADDEN‐MAIER, Barney Davis,
19611                                  8883    8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2843 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADDEN‐MAIER,
19612                 Laredo, LLC       14633   8/1/2022     Secured: $0.00
        STEPHANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADDEN‐MAIER, Nueces Bay,
19613                                   20380   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADDEN‐MAIER, Talen Texas
19614                                   26112   8/1/2022     Secured: $0.00
        STEPHANIE     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADDEN‐MAIER, Talen Texas,
19615                                   31874   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19616   MADIKA, HENRI                   5719    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19617   MADIKA, HENRI   Laredo, LLC     11469   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19618   MADIKA, HENRI                   17216   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2844 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19619   MADIKA, HENRI                   22961   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19620   MADIKA, HENRI                   28710   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADISON,        Barney Davis,
19621                                   5955    8/1/2022     Secured: $0.00
        ALLISON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADISON,
19622                   Laredo, LLC     11705   8/1/2022     Secured: $0.00
        ALLISON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADISON,        Nueces Bay,
19623                                   17452   8/1/2022     Secured: $0.00
        ALLISON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADISON,        Talen Texas
19624                                   23197   8/1/2022     Secured: $0.00
        ALLISON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MADISON,        Talen Texas,
19625                                   28946   8/1/2022     Secured: $0.00
        ALLISON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2845 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADRIGAL,     Barney Davis,
19626                                 6679    8/1/2022     Secured: $0.00
        CASSONDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADRIGAL,
19627                 Laredo, LLC     12429   8/1/2022     Secured: $0.00
        CASSONDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADRIGAL,     Nueces Bay,
19628                                 18176   8/1/2022     Secured: $0.00
        CASSONDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADRIGAL,     Talen Texas
19629                                 23910   8/1/2022     Secured: $0.00
        CASSONDRA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADRIGAL,     Talen Texas,
19630                                 29670   8/1/2022     Secured: $0.00
        CASSONDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADUEMESI,
19631                 Laredo, LLC     32858   8/1/2022     Secured: $0.00
        MATTHEW
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADUEMESI,    Barney Davis,
19632                                 33849   8/1/2022     Secured: $0.00
        MATTHEW       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2846 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADUEMESI,    Nueces Bay,
19633                                 34840   8/1/2022     Secured: $0.00
        MATTHEW       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADUEMESI,    Talen Texas
19634                                 35831   8/1/2022     Secured: $0.00
        MATTHEW       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MADUEMESI,    Talen Texas,
19635                                 36821   8/1/2022     Secured: $0.00
        MATTHEW       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAGALLANEZ,   Barney Davis,
19636                                 4451    8/1/2022     Secured: $0.00
        MARC          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAGALLANEZ,
19637                 Laredo, LLC     10201   8/1/2022     Secured: $0.00
        MARC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAGALLANEZ,   Nueces Bay,
19638                                 15948   8/1/2022     Secured: $0.00
        MARC          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAGALLANEZ,   Talen Texas
19639                                 21694   8/1/2022     Secured: $0.00
        MARC          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2847 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAGALLANEZ,      Talen Texas,
19640                                    27442   8/1/2022     Secured: $0.00
        MARC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAGLOTHIN,       Barney Davis,
19641                                    6509    8/1/2022     Secured: $0.00
        BETTY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAGLOTHIN,
19642                    Laredo, LLC     12259   8/1/2022     Secured: $0.00
        BETTY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAGLOTHIN,       Nueces Bay,
19643                                    18006   8/1/2022     Secured: $0.00
        BETTY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAGLOTHIN,       Talen Texas
19644                                    23741   8/1/2022     Secured: $0.00
        BETTY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAGLOTHIN,       Talen Texas,
19645                                    29500   8/1/2022     Secured: $0.00
        BETTY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19646   MAHHFUZ, QUAZI                   5215    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2848 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19647   MAHHFUZ, QUAZI Laredo, LLC       10965   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19648   MAHHFUZ, QUAZI                   16712   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19649   MAHHFUZ, QUAZI                   22457   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19650   MAHHFUZ, QUAZI                   28206   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAHOOD,          Barney Davis,
19651                                    8297    8/1/2022     Secured: $0.00
        MORGAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAHOOD,
19652                    Laredo, LLC     14047   8/1/2022     Secured: $0.00
        MORGAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MAHOOD,          Nueces Bay,
19653                                    19794   8/1/2022     Secured: $0.00
        MORGAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2849 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAHOOD,       Talen Texas
19654                                 25528   8/1/2022     Secured: $0.00
        MORGAN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAHOOD,       Talen Texas,
19655                                 31288   8/1/2022     Secured: $0.00
        MORGAN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAINOO,       Barney Davis,
19656                                 5596    8/1/2022     Secured: $0.00
        EMMANUEL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAINOO,
19657                 Laredo, LLC     11346   8/1/2022     Secured: $0.00
        EMMANUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAINOO,       Nueces Bay,
19658                                 17093   8/1/2022     Secured: $0.00
        EMMANUEL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAINOO,       Talen Texas
19659                                 22838   8/1/2022     Secured: $0.00
        EMMANUEL      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAINOO,       Talen Texas,
19660                                 28587   8/1/2022     Secured: $0.00
        EMMANUEL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2850 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19661   MAIR, RONALD                   5255    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19662   MAIR, RONALD   Laredo, LLC     11005   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19663   MAIR, RONALD                   16752   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19664   MAIR, RONALD                   22497   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19665   MAIR, RONALD                   28246   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAITRAN,       Barney Davis,
19666                                  8216    8/1/2022     Secured: $0.00
        MERSING        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAITRAN,
19667                  Laredo, LLC     13966   8/1/2022     Secured: $0.00
        MERSING
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2851 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAITRAN,       Nueces Bay,
19668                                  19713   8/1/2022     Secured: $0.00
        MERSING        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAITRAN,       Talen Texas
19669                                  25447   8/1/2022     Secured: $0.00
        MERSING        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAITRAN,       Talen Texas,
19670                                  31207   8/1/2022     Secured: $0.00
        MERSING        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19671   MAJEED, ASIF                   4838    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19672   MAJEED, ASIF   Laredo, LLC     10588   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19673   MAJEED, ASIF                   16335   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19674   MAJEED, ASIF                   22081   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2852 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19675   MAJEED, ASIF                      27829   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19676   MALABVER, CHRIS                   5963    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19677   MALABVER, CHRIS Laredo, LLC       11713   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19678   MALABVER, CHRIS                   17460   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19679   MALABVER, CHRIS                   23205   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19680   MALABVER, CHRIS                   28954   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MALBROUGH,        Barney Davis,
19681                                     6651    8/1/2022     Secured: $0.00
        CAROL A           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2853 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALBROUGH,
19682                 Laredo, LLC     12401   8/1/2022     Secured: $0.00
        CAROL A
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALBROUGH,    Nueces Bay,
19683                                 18148   8/1/2022     Secured: $0.00
        CAROL A       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALBROUGH,    Talen Texas
19684                                 23882   8/1/2022     Secured: $0.00
        CAROL A       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALBROUGH,    Talen Texas,
19685                                 29642   8/1/2022     Secured: $0.00
        CAROL A       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Barney Davis,
19686                                 3928    8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,
19687                 Laredo, LLC     9678    8/1/2022     Secured: $0.00
        ANGELA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Nueces Bay,
19688                                 15425   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2854 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas
19689                                 21172   8/1/2022     Secured: $0.00
        ANGELA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas,
19690                                 26919   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,
19691                 Laredo, LLC     32859   8/1/2022     Secured: $0.00
        IRMA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Barney Davis,
19692                                 33850   8/1/2022     Secured: $0.00
        IRMA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Nueces Bay,
19693                                 34841   8/1/2022     Secured: $0.00
        IRMA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas
19694                                 35832   8/1/2022     Secured: $0.00
        IRMA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas,
19695                                 36822   8/1/2022     Secured: $0.00
        IRMA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2855 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Barney Davis,
19696                                 4460    8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,
19697                 Laredo, LLC     10210   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Nueces Bay,
19698                                 15957   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas
19699                                 21703   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas,
19700                                 27451   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Barney Davis,
19701                                 8612    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,
19702                 Laredo, LLC     14362   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2856 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Nueces Bay,
19703                                 20109   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas
19704                                 25841   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALDONADO,    Talen Texas,
19705                                 31603   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALKUSKI,     Barney Davis,
19706                                 8910    8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALKUSKI,
19707                 Laredo, LLC     14660   8/1/2022     Secured: $0.00
        SUZANNE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALKUSKI,     Nueces Bay,
19708                                 20407   8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MALKUSKI,     Talen Texas
19709                                 26139   8/1/2022     Secured: $0.00
        SUZANNE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2857 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MALKUSKI,         Talen Texas,
19710                                     31901   8/1/2022     Secured: $0.00
        SUZANNE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19711   MALLETT, JIMMIE                   7574    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19712   MALLETT, JIMMIE Laredo, LLC       13324   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19713   MALLETT, JIMMIE                   19071   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19714   MALLETT, JIMMIE                   24805   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19715   MALLETT, JIMMIE                   30565   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19716   MALLETT, RYAN                     6018    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2858 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19717   MALLETT, RYAN   Laredo, LLC     11768   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19718   MALLETT, RYAN                   17515   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19719   MALLETT, RYAN                   23260   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19720   MALLETT, RYAN                   29009   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALLORY,        Barney Davis,
19721                                   8234    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALLORY,
19722                   Laredo, LLC     13984   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALLORY,        Nueces Bay,
19723                                   19731   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2859 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALLORY,        Talen Texas
19724                                   25465   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALLORY,        Talen Texas,
19725                                   31225   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19726   MALLOY, JAMES   Laredo, LLC     32860   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19727   MALLOY, JAMES                   33851   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19728   MALLOY, JAMES                   34842   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19729   MALLOY, JAMES                   35833   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19730   MALLOY, JAMES                   36823   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2860 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALONE,         Barney Davis,
19731                                   8194    8/1/2022     Secured: $0.00
        MELANIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALONE,
19732                   Laredo, LLC     13944   8/1/2022     Secured: $0.00
        MELANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALONE,         Nueces Bay,
19733                                   19691   8/1/2022     Secured: $0.00
        MELANIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALONE,         Talen Texas
19734                                   25425   8/1/2022     Secured: $0.00
        MELANIE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MALONE,         Talen Texas,
19735                                   31185   8/1/2022     Secured: $0.00
        MELANIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19736   MAMBY, RUPERT                   8700    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19737   MAMBY, RUPERT Laredo, LLC       14450   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2861 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19738   MAMBY, RUPERT                   20197   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19739   MAMBY, RUPERT                   25929   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19740   MAMBY, RUPERT                   31691   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MANAGING
                                                             Priority: $0.00
        AGENCY
19741                   Laredo, LLC     1894    7/30/2022    Secured: $0.00
        PARTNERS
                                                             General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MANAGING
                                                             Priority: $0.00
        AGENCY          Nueces Bay,
19742                                   1985    7/30/2022    Secured: $0.00
        PARTNERS        LLC
                                                             General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MANAGING
                                                             Priority: $0.00
        AGENCY          Barney Davis,
19743                                   1991    7/30/2022    Secured: $0.00
        PARTNERS        LLC
                                                             General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19744   MANBY, PAUL                     5851    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2862 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
19745   MANBY, PAUL   Laredo, LLC     11601   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
19746   MANBY, PAUL                   17348   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
19747   MANBY, PAUL                   23093   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
19748   MANBY, PAUL                   28842   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
19749   MANBY, PAUL   Laredo, LLC     32861   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
19750   MANBY, PAUL                   33852   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
19751   MANBY, PAUL                   34843   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2863 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19752   MANBY, PAUL                     35834   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19753   MANBY, PAUL                     36824   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19754   MANCERA, IVAN                   9261    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19755   MANCERA, IVAN   Laredo, LLC     15011   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19756   MANCERA, IVAN                   20758   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19757   MANCERA, IVAN                   26490   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19758   MANCERA, IVAN                   32252   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2864 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19759   MANCIAS, JUAN                    7700    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19760   MANCIAS, JUAN    Laredo, LLC     13450   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19761   MANCIAS, JUAN                    19197   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19762   MANCIAS, JUAN                    24931   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19763   MANCIAS, JUAN                    30691   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19764   MANEAR, BONNIE                   6541    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19765   MANEAR, BONNIE Laredo, LLC       12291   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2865 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19766   MANEAR, BONNIE                   18038   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19767   MANEAR, BONNIE                   23773   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19768   MANEAR, BONNIE                   29532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19769   MANGES, COREY                    6824    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19770   MANGES, COREY    Laredo, LLC     12574   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19771   MANGES, COREY                    18321   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19772   MANGES, COREY                    24055   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2866 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19773   MANGES, COREY                   29815   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19774   MANGHAM, ALAN                   3870    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19775   MANGHAM, ALAN Laredo, LLC       9620    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19776   MANGHAM, ALAN                   15367   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19777   MANGHAM, ALAN                   21114   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19778   MANGHAM, ALAN                   26861   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANGIONE,       Barney Davis,
19779                                   6008    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2867 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANGIONE,
19780                   Laredo, LLC     11758   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANGIONE,       Nueces Bay,
19781                                   17505   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANGIONE,       Talen Texas
19782                                   23250   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANGIONE,       Talen Texas,
19783                                   28999   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19784   MANN, CRYSTAL   Laredo, LLC     32862   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19785   MANN, CRYSTAL                   33853   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19786   MANN, CRYSTAL                   34844   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2868 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19787   MANN, CRYSTAL                   35835   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19788   MANN, CRYSTAL                   36825   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19789   MANNAN, JOHN                    4302    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19790   MANNAN, JOHN    Laredo, LLC     10052   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19791   MANNAN, JOHN                    15799   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19792   MANNAN, JOHN                    21545   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19793   MANNAN, JOHN                    27293   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2869 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Barney Davis,
19794                                 6470    8/1/2022     Secured: $0.00
        ATONYA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,
19795                 Laredo, LLC     12220   8/1/2022     Secured: $0.00
        ATONYA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Nueces Bay,
19796                                 17967   8/1/2022     Secured: $0.00
        ATONYA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Talen Texas
19797                                 23702   8/1/2022     Secured: $0.00
        ATONYA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Talen Texas,
19798                                 29461   8/1/2022     Secured: $0.00
        ATONYA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Barney Davis,
19799                                 7300    8/1/2022     Secured: $0.00
        GERALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,
19800                 Laredo, LLC     13050   8/1/2022     Secured: $0.00
        GERALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2870 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Nueces Bay,
19801                                 18797   8/1/2022     Secured: $0.00
        GERALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Talen Texas
19802                                 24531   8/1/2022     Secured: $0.00
        GERALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Talen Texas,
19803                                 30291   8/1/2022     Secured: $0.00
        GERALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Barney Davis,
19804                                 9292    8/1/2022     Secured: $0.00
        MARVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,
19805                 Laredo, LLC     15042   8/1/2022     Secured: $0.00
        MARVIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Nueces Bay,
19806                                 20789   8/1/2022     Secured: $0.00
        MARVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANNING,      Talen Texas
19807                                 26521   8/1/2022     Secured: $0.00
        MARVIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2871 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANNING,        Talen Texas,
19808                                   32283   8/1/2022     Secured: $0.00
        MARVIN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19809   MANNING, MARY                   8162    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19810   MANNING, MARY Laredo, LLC       13912   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19811   MANNING, MARY                   19659   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19812   MANNING, MARY                   25393   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19813   MANNING, MARY                   31153   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MANQUERO,       Barney Davis,
19814                                   4879    8/1/2022     Secured: $0.00
        CARLOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2872 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANQUERO,
19815                 Laredo, LLC     10629   8/1/2022     Secured: $0.00
        CARLOS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANQUERO,     Nueces Bay,
19816                                 16376   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANQUERO,     Talen Texas
19817                                 22122   8/1/2022     Secured: $0.00
        CARLOS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANQUERO,     Talen Texas,
19818                                 27870   8/1/2022     Secured: $0.00
        CARLOS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANUEL,       Barney Davis,
19819                                 4034    8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANUEL,
19820                 Laredo, LLC     9784    8/1/2022     Secured: $0.00
        CHARLES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MANUEL,       Nueces Bay,
19821                                 15531   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2873 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MANUEL,        Talen Texas
19822                                  21277   8/1/2022     Secured: $0.00
        CHARLES        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MANUEL,        Talen Texas,
19823                                  27025   8/1/2022     Secured: $0.00
        CHARLES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
19824   MANUEL, GARY                   4196    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
19825   MANUEL, GARY   Laredo, LLC     9946    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
19826   MANUEL, GARY                   15693   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
19827   MANUEL, GARY                   21439   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
19828   MANUEL, GARY                   27187   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2874 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19829   MANUEL, LETITIA                   7970    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19830   MANUEL, LETITIA Laredo, LLC       13720   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19831   MANUEL, LETITIA                   19467   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19832   MANUEL, LETITIA                   25201   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19833   MANUEL, LETITIA                   30961   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19834   MANZANO, JOSE                     6140    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19835   MANZANO, JOSE     Laredo, LLC     11890   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2875 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19836   MANZANO, JOSE                   17637   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19837   MANZANO, JOSE                   23382   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19838   MANZANO, JOSE                   29131   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAPP, MICHAEL   Barney Davis,
19839                                   8229    8/1/2022     Secured: $0.00
        JEROME          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAPP, MICHAEL
19840                   Laredo, LLC     13979   8/1/2022     Secured: $0.00
        JEROME
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAPP, MICHAEL   Nueces Bay,
19841                                   19726   8/1/2022     Secured: $0.00
        JEROME          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAPP, MICHAEL   Talen Texas
19842                                   25460   8/1/2022     Secured: $0.00
        JEROME          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2876 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAPP, MICHAEL   Talen Texas,
19843                                   31220   8/1/2022     Secured: $0.00
        JEROME          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARCKS,         Barney Davis,
19844                                   5042    8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARCKS,
19845                   Laredo, LLC     10792   8/1/2022     Secured: $0.00
        JONATHAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARCKS,         Nueces Bay,
19846                                   16539   8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARCKS,         Talen Texas
19847                                   22284   8/1/2022     Secured: $0.00
        JONATHAN        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARCKS,         Talen Texas,
19848                                   28033   8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19849   MARCUS, KAY     Laredo, LLC     32863   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2877 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19850   MARCUS, KAY                     33854   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19851   MARCUS, KAY                     34845   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19852   MARCUS, KAY                     35836   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19853   MARCUS, KAY                     36826   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19854   MAREZ, DENISE   Laredo, LLC     32864   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19855   MAREZ, DENISE                   33855   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19856   MAREZ, DENISE                   34846   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2878 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
19857   MAREZ, DENISE                  35837   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
19858   MAREZ, DENISE                  36827   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        MARIA
                                                            Other Administrative: $0.00
        MARTINEZ,
                                                            Priority: $0.00
        INDIVIDUALLY,  Barney Davis,
19859                                  3803    8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                            General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MARIO MARTINEZ
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        MARIA
                                                            Other Administrative: $0.00
        MARTINEZ,
                                                            Priority: $0.00
        INDIVIDUALLY,
19860                  Laredo, LLC     9553    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                            General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MARIO MARTINEZ
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        MARIA
                                                            Other Administrative: $0.00
        MARTINEZ,
                                                            Priority: $0.00
        INDIVIDUALLY,  Nueces Bay,
19861                                  15300   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                            General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MARIO MARTINEZ
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        MARIA
                                                            Other Administrative: $0.00
        MARTINEZ,
                                                            Priority: $0.00
        INDIVIDUALLY,  Talen Texas
19862                                  21047   8/1/2022     Secured: $0.00
        AND AS HEIR OF Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MARIO MARTINEZ
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        MARIA
                                                            Other Administrative: $0.00
        MARTINEZ,
                                                            Priority: $0.00
        INDIVIDUALLY,  Talen Texas,
19863                                  26794   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                            General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MARIO MARTINEZ
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2879 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARIANO,         Barney Davis,
19864                                    8485    8/1/2022     Secured: $0.00
        RAMON            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARIANO,
19865                    Laredo, LLC     14235   8/1/2022     Secured: $0.00
        RAMON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARIANO,         Nueces Bay,
19866                                    19982   8/1/2022     Secured: $0.00
        RAMON            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARIANO,         Talen Texas
19867                                    25714   8/1/2022     Secured: $0.00
        RAMON            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARIANO,         Talen Texas,
19868                                    31476   8/1/2022     Secured: $0.00
        RAMON            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19869   MARINO, SIMONE                   8851    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19870   MARINO, SIMONE Laredo, LLC       14601   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2880 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19871   MARINO, SIMONE                   20348   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19872   MARINO, SIMONE                   26080   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19873   MARINO, SIMONE                   31842   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19874   MARION, ALICIA                   9203    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19875   MARION, ALICIA   Laredo, LLC     14953   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19876   MARION, ALICIA                   20700   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19877   MARION, ALICIA                   26432   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2881 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19878   MARION, ALICIA                   32194   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARION,          Barney Davis,
19879                                    5338    8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARION,
19880                    Laredo, LLC     11088   8/1/2022     Secured: $0.00
        THERESA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARION,          Nueces Bay,
19881                                    16835   8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARION,          Talen Texas
19882                                    22580   8/1/2022     Secured: $0.00
        THERESA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARION,          Talen Texas,
19883                                    28329   8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARKEL
                                                              Priority: $0.00
        AMERICAN         Nueces Bay,
19884                                    2106    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $1,655,948.94 + Unliquidated
        COMPANY
                                                              Total: $1,655,948.94 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2882 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARKEL
                                                              Priority: $0.00
        AMERICAN
19885                    Laredo, LLC     37326   6/29/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $1,655,948.94 + Unliquidated
        COMPANY
                                                              Total: $1,655,948.94 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARKEL                                                Priority: $0.00
                         Nueces Bay,
19886   INSURANCE                        2177    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $3,682,954.80 + Unliquidated

                                                              Total: $3,682,954.80 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARKEL                                                Priority: $0.00
                         Barney Davis,
19887   INSURANCE                        37329   6/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $3,682,954.80 + Unliquidated

                                                              Total: $3,682,954.80 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARKEL                                                Priority: $0.00
                         Barney Davis,
19888   INSURANCE                        37330   6/29/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $1,655,948.94 + Unliquidated

                                                              Total: $1,655,948.94 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARKEL                                                Priority: $0.00
19889   INSURANCE        Laredo, LLC     37349   6/29/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $3,682,954.80 + Unliquidated

                                                              Total: $3,682,954.80 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19890   MARKEL, DANIEL                   6889    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19891   MARKEL, DANIEL Laredo, LLC       12639   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2883 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19892   MARKEL, DANIEL                    18386   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19893   MARKEL, DANIEL                    24120   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19894   MARKEL, DANIEL                    29880   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19895   MARKS, PATRICIA                   3695    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19896   MARKS, PATRICIA Laredo, LLC       9445    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19897   MARKS, PATRICIA                   15192   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19898   MARKS, PATRICIA                   20939   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2884 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19899   MARKS, PATRICIA                   26686   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARKUM,           Barney Davis,
19900                                     9101    8/1/2022     Secured: $0.00
        VERNON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARKUM,
19901                     Laredo, LLC     14851   8/1/2022     Secured: $0.00
        VERNON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARKUM,           Nueces Bay,
19902                                     20598   8/1/2022     Secured: $0.00
        VERNON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARKUM,           Talen Texas
19903                                     26330   8/1/2022     Secured: $0.00
        VERNON            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARKUM,           Talen Texas,
19904                                     32092   8/1/2022     Secured: $0.00
        VERNON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARQUEZ,          Barney Davis,
19905                                     5162    8/1/2022     Secured: $0.00
        MIGUEL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2885 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,
19906                 Laredo, LLC     10912   8/1/2022     Secured: $0.00
        MIGUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,      Nueces Bay,
19907                                 16659   8/1/2022     Secured: $0.00
        MIGUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,      Talen Texas
19908                                 22404   8/1/2022     Secured: $0.00
        MIGUEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,      Talen Texas,
19909                                 28153   8/1/2022     Secured: $0.00
        MIGUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,      Barney Davis,
19910                                 5201    8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,
19911                 Laredo, LLC     10951   8/1/2022     Secured: $0.00
        PATRICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,      Nueces Bay,
19912                                 16698   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2886 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,       Talen Texas
19913                                 22443   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUEZ,       Talen Texas,
19914                                 28192   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUIS, ALAM Barney Davis,
19915                                 5726    8/1/2022     Secured: $0.00
        CHAUDRY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUIS, ALAM
19916                 Laredo, LLC     11476   8/1/2022     Secured: $0.00
        CHAUDRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUIS, ALAM Nueces Bay,
19917                                 17223   8/1/2022     Secured: $0.00
        CHAUDRY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUIS, ALAM Talen Texas
19918                                 22968   8/1/2022     Secured: $0.00
        CHAUDRY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARQUIS, ALAM Talen Texas,
19919                                 28717   8/1/2022     Secured: $0.00
        CHAUDRY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2887 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARREROBATIST Barney Davis,
19920                                  4320    8/1/2022     Secured: $0.00
        A, JOSE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARREROBATIST
19921                 Laredo, LLC      10070   8/1/2022     Secured: $0.00
        A, JOSE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARREROBATIST Nueces Bay,
19922                                  15817   8/1/2022     Secured: $0.00
        A, JOSE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARREROBATIST Talen Texas
19923                                  21563   8/1/2022     Secured: $0.00
        A, JOSE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARREROBATIST Talen Texas,
19924                                  27311   8/1/2022     Secured: $0.00
        A, JOSE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARROQUIN,
19925                  Laredo, LLC     32865   8/1/2022     Secured: $0.00
        ALONDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARROQUIN,     Barney Davis,
19926                                  33856   8/1/2022     Secured: $0.00
        ALONDRA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2888 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARROQUIN,    Nueces Bay,
19927                                 34847   8/1/2022     Secured: $0.00
        ALONDRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARROQUIN,    Talen Texas
19928                                 35838   8/1/2022     Secured: $0.00
        ALONDRA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARROQUIN,    Talen Texas,
19929                                 36828   8/1/2022     Secured: $0.00
        ALONDRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARSHALL,     Barney Davis,
19930                                 4834    8/1/2022     Secured: $0.00
        ASHELY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARSHALL,
19931                 Laredo, LLC     10584   8/1/2022     Secured: $0.00
        ASHELY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARSHALL,     Nueces Bay,
19932                                 16331   8/1/2022     Secured: $0.00
        ASHELY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARSHALL,     Talen Texas
19933                                 22077   8/1/2022     Secured: $0.00
        ASHELY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2889 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARSHALL,         Talen Texas,
19934                                     27825   8/1/2022     Secured: $0.00
        ASHELY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19935   MARSHALL, ASIAH                   6468    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19936   MARSHALL, ASIAH Laredo, LLC       12218   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19937   MARSHALL, ASIAH                   17965   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19938   MARSHALL, ASIAH                   23700   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19939   MARSHALL, ASIAH                   29459   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19940   MARSHALL, CYRIL                   6867    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2890 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19941   MARSHALL, CYRIL Laredo, LLC       12617   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19942   MARSHALL, CYRIL                   18364   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19943   MARSHALL, CYRIL                   24098   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19944   MARSHALL, CYRIL                   29858   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARSHALL,         Barney Davis,
19945                                     6954    8/1/2022     Secured: $0.00
        DEANNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARSHALL,
19946                     Laredo, LLC     12704   8/1/2022     Secured: $0.00
        DEANNA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARSHALL,         Nueces Bay,
19947                                     18451   8/1/2022     Secured: $0.00
        DEANNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2891 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARSHALL,        Talen Texas
19948                                    24185   8/1/2022     Secured: $0.00
        DEANNA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARSHALL,        Talen Texas,
19949                                    29945   8/1/2022     Secured: $0.00
        DEANNA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19950   MARSHALL, JOSH                   7672    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19951   MARSHALL, JOSH Laredo, LLC       13422   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19952   MARSHALL, JOSH                   19169   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19953   MARSHALL, JOSH                   24903   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19954   MARSHALL, JOSH                   30663   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2892 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARSHALL‐COOK, Barney Davis,
19955                                   8634    8/1/2022     Secured: $0.00
        ROBIN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARSHALL‐COOK,
19956                  Laredo, LLC      14384   8/1/2022     Secured: $0.00
        ROBIN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARSHALL‐COOK, Nueces Bay,
19957                                   20131   8/1/2022     Secured: $0.00
        ROBIN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARSHALL‐COOK, Talen Texas
19958                                   25863   8/1/2022     Secured: $0.00
        ROBIN          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARSHALL‐COOK, Talen Texas,
19959                                   31625   8/1/2022     Secured: $0.00
        ROBIN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
19960   MARTENS, LISA                   5508    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
19961   MARTENS, LISA   Laredo, LLC     11258   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2893 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
19962   MARTENS, LISA                   17005   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
19963   MARTENS, LISA                   22750   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
19964   MARTENS, LISA                   28499   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Barney Davis,
19965                                   5737    8/1/2022     Secured: $0.00
        AMANDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,
19966                   Laredo, LLC     11487   8/1/2022     Secured: $0.00
        AMANDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Nueces Bay,
19967                                   17234   8/1/2022     Secured: $0.00
        AMANDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas
19968                                   22979   8/1/2022     Secured: $0.00
        AMANDA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2894 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTIN,           Talen Texas,
19969                                     28728   8/1/2022     Secured: $0.00
        AMANDA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19970   MARTIN, BRENDA                    6567    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19971   MARTIN, BRENDA Laredo, LLC        12317   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19972   MARTIN, BRENDA                    18064   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19973   MARTIN, BRENDA                    23799   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19974   MARTIN, BRENDA                    29558   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
19975   MARTIN, CHARLES                   6699    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2895 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
19976   MARTIN, CHARLES Laredo, LLC       12449   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
19977   MARTIN, CHARLES                   18196   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
19978   MARTIN, CHARLES                   23930   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
19979   MARTIN, CHARLES                   29690   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Barney Davis,
19980   CHRISTOPHER                       6768    8/1/2022     Secured: $0.00
                          LLC
        JOHN                                                   General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
19981   CHRISTOPHER       Laredo, LLC     12518   8/1/2022     Secured: $0.00
        JOHN                                                   General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MARTIN,                                                Priority: $0.00
                          Nueces Bay,
19982   CHRISTOPHER                       18265   8/1/2022     Secured: $0.00
                          LLC
        JOHN                                                   General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2896 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARTIN,                                               Priority: $0.00
                         Talen Texas
19983   CHRISTOPHER                      23999   8/1/2022     Secured: $0.00
                         Group, LLC
        JOHN                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MARTIN,                                               Priority: $0.00
                         Talen Texas,
19984   CHRISTOPHER                      29759   8/1/2022     Secured: $0.00
                         LLC
        JOHN                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19985   MARTIN, DENISE   Laredo, LLC     32866   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19986   MARTIN, DENISE                   33857   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19987   MARTIN, DENISE                   34848   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19988   MARTIN, DENISE                   35839   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19989   MARTIN, DENISE                   36829   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2897 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Barney Davis,
19990                                    7095    8/1/2022     Secured: $0.00
        DOROTHY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,
19991                    Laredo, LLC     12845   8/1/2022     Secured: $0.00
        DOROTHY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Nueces Bay,
19992                                    18592   8/1/2022     Secured: $0.00
        DOROTHY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Talen Texas
19993                                    24326   8/1/2022     Secured: $0.00
        DOROTHY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Talen Texas,
19994                                    30086   8/1/2022     Secured: $0.00
        DOROTHY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
19995   MARTIN, ENRIKA                   7174    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
19996   MARTIN, ENRIKA Laredo, LLC       12924   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2898 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
19997   MARTIN, ENRIKA                   18671   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
19998   MARTIN, ENRIKA                   24405   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
19999   MARTIN, ENRIKA                   30165   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20000   MARTIN, GEORGE                   7290    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20001   MARTIN, GEORGE Laredo, LLC       13040   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20002   MARTIN, GEORGE                   18787   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20003   MARTIN, GEORGE                   24521   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2899 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20004   MARTIN, GEORGE                   30281   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Barney Davis,
20005                                    7345    8/1/2022     Secured: $0.00
        GWENDOLYN        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,
20006                    Laredo, LLC     13095   8/1/2022     Secured: $0.00
        GWENDOLYN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Nueces Bay,
20007                                    18842   8/1/2022     Secured: $0.00
        GWENDOLYN        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Talen Texas
20008                                    24576   8/1/2022     Secured: $0.00
        GWENDOLYN        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTIN,          Talen Texas,
20009                                    30336   8/1/2022     Secured: $0.00
        GWENDOLYN        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20010   MARTIN, HENRY                    5982    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2900 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20011   MARTIN, HENRY   Laredo, LLC     11732   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20012   MARTIN, HENRY                   17479   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20013   MARTIN, HENRY                   23224   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20014   MARTIN, HENRY                   28973   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20015   MARTIN, JOHN                    4303    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20016   MARTIN, JOHN    Laredo, LLC     10053   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20017   MARTIN, JOHN                    15800   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2901 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20018   MARTIN, JOHN                   21546   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20019   MARTIN, JOHN                   27294   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
20020   MARTIN, JOHN   Laredo, LLC     32867   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20021   MARTIN, JOHN                   33858   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
20022   MARTIN, JOHN                   34849   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20023   MARTIN, JOHN                   35840   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20024   MARTIN, JOHN                   36830   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2902 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Barney Davis,
20025                                   3626    8/1/2022     Secured: $0.00
        KARIANN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,
20026                   Laredo, LLC     9376    8/1/2022     Secured: $0.00
        KARIANN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Nueces Bay,
20027                                   15123   8/1/2022     Secured: $0.00
        KARIANN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas
20028                                   20870   8/1/2022     Secured: $0.00
        KARIANN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas,
20029                                   26617   8/1/2022     Secured: $0.00
        KARIANN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN, LANEY   Barney Davis,
20030                                   5082    8/1/2022     Secured: $0.00
        REED            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN, LANEY
20031                   Laredo, LLC     10832   8/1/2022     Secured: $0.00
        REED
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2903 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN, LANEY   Nueces Bay,
20032                                   16579   8/1/2022     Secured: $0.00
        REED            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN, LANEY   Talen Texas
20033                                   22324   8/1/2022     Secured: $0.00
        REED            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN, LANEY   Talen Texas,
20034                                   28073   8/1/2022     Secured: $0.00
        REED            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Barney Davis,
20035                                   8195    8/1/2022     Secured: $0.00
        MELANIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,
20036                   Laredo, LLC     13945   8/1/2022     Secured: $0.00
        MELANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Nueces Bay,
20037                                   19692   8/1/2022     Secured: $0.00
        MELANIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas
20038                                   25426   8/1/2022     Secured: $0.00
        MELANIE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2904 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas,
20039                                   31186   8/1/2022     Secured: $0.00
        MELANIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20040   MARTIN, PATTY                   8406    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20041   MARTIN, PATTY   Laredo, LLC     14156   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20042   MARTIN, PATTY                   19903   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20043   MARTIN, PATTY                   25636   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20044   MARTIN, PATTY                   31397   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20045   MARTIN, PAULA                   8422    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2905 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20046   MARTIN, PAULA   Laredo, LLC     14172   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20047   MARTIN, PAULA                   19919   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20048   MARTIN, PAULA                   25652   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20049   MARTIN, PAULA                   31413   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Barney Davis,
20050                                   8861    8/1/2022     Secured: $0.00
        SOPHELIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,
20051                   Laredo, LLC     14611   8/1/2022     Secured: $0.00
        SOPHELIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Nueces Bay,
20052                                   20358   8/1/2022     Secured: $0.00
        SOPHELIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2906 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,       Talen Texas
20053                                 26090   8/1/2022     Secured: $0.00
        SOPHELIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,       Talen Texas,
20054                                 31852   8/1/2022     Secured: $0.00
        SOPHELIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,       Barney Davis,
20055                                 8911    8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,
20056                 Laredo, LLC     14661   8/1/2022     Secured: $0.00
        SUZANNE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,       Nueces Bay,
20057                                 20408   8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,       Talen Texas
20058                                 26140   8/1/2022     Secured: $0.00
        SUZANNE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTIN,       Talen Texas,
20059                                 31902   8/1/2022     Secured: $0.00
        SUZANNE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2907 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20060   MARTIN, THERESA                   8991    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20061   MARTIN, THERESA Laredo, LLC       14741   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20062   MARTIN, THERESA                   20488   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20063   MARTIN, THERESA                   26220   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20064   MARTIN, THERESA                   31982   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTIN,           Barney Davis,
20065                                     9089    8/1/2022     Secured: $0.00
        URSULINE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTIN,
20066                     Laredo, LLC     14839   8/1/2022     Secured: $0.00
        URSULINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2908 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Nueces Bay,
20067                                   20586   8/1/2022     Secured: $0.00
        URSULINE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas
20068                                   26318   8/1/2022     Secured: $0.00
        URSULINE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTIN,         Talen Texas,
20069                                   32080   8/1/2022     Secured: $0.00
        URSULINE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20070   MARTIN, WANDA                   9132    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20071   MARTIN, WANDA Laredo, LLC       14882   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20072   MARTIN, WANDA                   20629   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20073   MARTIN, WANDA                   26361   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2909 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20074   MARTIN, WANDA                     32123   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20075   MARTIN, WILLIAM                   9161    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20076   MARTIN, WILLIAM                   9162    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20077   MARTIN, WILLIAM Laredo, LLC       14911   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20078   MARTIN, WILLIAM Laredo, LLC       14912   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20079   MARTIN, WILLIAM                   20658   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20080   MARTIN, WILLIAM                   20659   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2910 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20081   MARTIN, WILLIAM                   26390   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20082   MARTIN, WILLIAM                   26391   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20083   MARTIN, WILLIAM                   32152   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20084   MARTIN, WILLIAM                   32153   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEAU,
20085                     Laredo, LLC     32868   8/1/2022     Secured: $0.00
        ADRIANA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEAU,        Barney Davis,
20086                                     33859   8/1/2022     Secured: $0.00
        ADRIANA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEAU,        Nueces Bay,
20087                                     34850   8/1/2022     Secured: $0.00
        ADRIANA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2911 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEAU,     Talen Texas
20088                                  35841   8/1/2022     Secured: $0.00
        ADRIANA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEAU,     Talen Texas,
20089                                  36831   8/1/2022     Secured: $0.00
        ADRIANA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ JR,
20090                  Laredo, LLC     32869   8/1/2022     Secured: $0.00
        ALEJANDRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ JR,   Barney Davis,
20091                                  33860   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ JR,   Nueces Bay,
20092                                  34851   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ JR,   Talen Texas
20093                                  35842   8/1/2022     Secured: $0.00
        ALEJANDRO      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ JR,   Talen Texas,
20094                                  36832   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2912 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20095                 Laredo, LLC     32870   8/1/2022     Secured: $0.00
        AIRAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20096                                 33861   8/1/2022     Secured: $0.00
        AIRAM         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20097                                 34852   8/1/2022     Secured: $0.00
        AIRAM         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20098                                 35843   8/1/2022     Secured: $0.00
        AIRAM         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20099                                 36833   8/1/2022     Secured: $0.00
        AIRAM         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MARTINEZ,                                          Priority: $0.00
                      Barney Davis,
20100   ANDRES                        6382    8/1/2022     Secured: $0.00
                      LLC
        MAURICIO                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MARTINEZ,                                          Priority: $0.00
20101   ANDRES        Laredo, LLC     12132   8/1/2022     Secured: $0.00
        MAURICIO                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2913 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MARTINEZ,                                          Priority: $0.00
                      Nueces Bay,
20102   ANDRES                        17879   8/1/2022     Secured: $0.00
                      LLC
        MAURICIO                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MARTINEZ,                                          Priority: $0.00
                      Talen Texas
20103   ANDRES                        23614   8/1/2022     Secured: $0.00
                      Group, LLC
        MAURICIO                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MARTINEZ,                                          Priority: $0.00
                      Talen Texas,
20104   ANDRES                        29373   8/1/2022     Secured: $0.00
                      LLC
        MAURICIO                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20105                                 3947    8/1/2022     Secured: $0.00
        ARMANDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20106                 Laredo, LLC     9697    8/1/2022     Secured: $0.00
        ARMANDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20107                                 15444   8/1/2022     Secured: $0.00
        ARMANDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20108                                 21190   8/1/2022     Secured: $0.00
        ARMANDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2914 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20109                                 26938   8/1/2022     Secured: $0.00
        ARMANDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20110                                 6454    8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20111                 Laredo, LLC     12204   8/1/2022     Secured: $0.00
        ARTURO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20112                                 17951   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20113                                 23686   8/1/2022     Secured: $0.00
        ARTURO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20114                                 29445   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20115                 Laredo, LLC     32871   8/1/2022     Secured: $0.00
        ARTURO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2915 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20116                                 33862   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20117                                 34853   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20118                                 35844   8/1/2022     Secured: $0.00
        ARTURO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20119                                 36834   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20120                 Laredo, LLC     32872   8/1/2022     Secured: $0.00
        BEATRICE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20121                                 33863   8/1/2022     Secured: $0.00
        BEATRICE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20122                                 34854   8/1/2022     Secured: $0.00
        BEATRICE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2916 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20123                                 35845   8/1/2022     Secured: $0.00
        BEATRICE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20124                                 36835   8/1/2022     Secured: $0.00
        BEATRICE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20125                                 6568    8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20126                 Laredo, LLC     12318   8/1/2022     Secured: $0.00
        BRENDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20127                                 18065   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20128                                 23800   8/1/2022     Secured: $0.00
        BRENDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20129                                 29559   8/1/2022     Secured: $0.00
        BRENDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2917 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20130   MARTINEZ, DAVID                   6926    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20131   MARTINEZ, DAVID Laredo, LLC       12676   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20132   MARTINEZ, DAVID                   18423   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20133   MARTINEZ, DAVID                   24157   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20134   MARTINEZ, DAVID                   29917   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20135   MARTINEZ, DAVID Laredo, LLC       32873   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20136   MARTINEZ, DAVID                   33864   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2918 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20137   MARTINEZ, DAVID                   34855   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20138   MARTINEZ, DAVID                   35846   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20139   MARTINEZ, DAVID                   36836   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Barney Davis,
20140                                     4135    8/1/2022     Secured: $0.00
        DOLORES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,
20141                     Laredo, LLC     9885    8/1/2022     Secured: $0.00
        DOLORES
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Nueces Bay,
20142                                     15632   8/1/2022     Secured: $0.00
        DOLORES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas
20143                                     21378   8/1/2022     Secured: $0.00
        DOLORES           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2919 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Talen Texas,
20144                                    27126   8/1/2022     Secured: $0.00
        DOLORES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20145   MARTINEZ, EDNA Laredo, LLC       32874   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20146   MARTINEZ, EDNA                   33865   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20147   MARTINEZ, EDNA                   34856   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20148   MARTINEZ, EDNA                   35847   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20149   MARTINEZ, EDNA                   36837   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,
20150                    Laredo, LLC     32875   8/1/2022     Secured: $0.00
        ENRIQUE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2920 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Barney Davis,
20151                                   33866   8/1/2022     Secured: $0.00
        ENRIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Nueces Bay,
20152                                   34857   8/1/2022     Secured: $0.00
        ENRIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas
20153                                   35848   8/1/2022     Secured: $0.00
        ENRIQUE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas,
20154                                   36838   8/1/2022     Secured: $0.00
        ENRIQUE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,      Barney Davis,
20155                                   4960    8/1/2022     Secured: $0.00
        ENRIQUE TORRES LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,
20156                  Laredo, LLC      10710   8/1/2022     Secured: $0.00
        ENRIQUE TORRES
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,      Nueces Bay,
20157                                   16457   8/1/2022     Secured: $0.00
        ENRIQUE TORRES LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2921 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,      Talen Texas
20158                                   22202   8/1/2022     Secured: $0.00
        ENRIQUE TORRES Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,      Talen Texas,
20159                                   27951   8/1/2022     Secured: $0.00
        ENRIQUE TORRES LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,
20160                   Laredo, LLC     32876   8/1/2022     Secured: $0.00
        ESTELLA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Barney Davis,
20161                                   33867   8/1/2022     Secured: $0.00
        ESTELLA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Nueces Bay,
20162                                   34858   8/1/2022     Secured: $0.00
        ESTELLA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas
20163                                   35849   8/1/2022     Secured: $0.00
        ESTELLA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas,
20164                                   36839   8/1/2022     Secured: $0.00
        ESTELLA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2922 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Barney Davis,
20165                                   4187    8/1/2022     Secured: $0.00
        FILOMENO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,
20166                   Laredo, LLC     9937    8/1/2022     Secured: $0.00
        FILOMENO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Nueces Bay,
20167                                   15684   8/1/2022     Secured: $0.00
        FILOMENO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas
20168                                   21430   8/1/2022     Secured: $0.00
        FILOMENO        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas,
20169                                   27178   8/1/2022     Secured: $0.00
        FILOMENO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20170   MARTINEZ, GAY                   7276    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20171   MARTINEZ, GAY   Laredo, LLC     13026   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2923 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20172   MARTINEZ, GAY                   18773   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20173   MARTINEZ, GAY                   24507   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20174   MARTINEZ, GAY                   30267   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,
20175                   Laredo, LLC     32877   8/1/2022     Secured: $0.00
        GLORIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Barney Davis,
20176                                   33868   8/1/2022     Secured: $0.00
        GLORIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Nueces Bay,
20177                                   34859   8/1/2022     Secured: $0.00
        GLORIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas
20178                                   35850   8/1/2022     Secured: $0.00
        GLORIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2924 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20179                                 36840   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20180                                 7365    8/1/2022     Secured: $0.00
        HEAVENLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20181                 Laredo, LLC     13115   8/1/2022     Secured: $0.00
        HEAVENLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20182                                 18862   8/1/2022     Secured: $0.00
        HEAVENLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20183                                 24596   8/1/2022     Secured: $0.00
        HEAVENLY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20184                                 30356   8/1/2022     Secured: $0.00
        HEAVENLY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20185                 Laredo, LLC     32878   8/1/2022     Secured: $0.00
        JACINTO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2925 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Barney Davis,
20186                                      33869   8/1/2022     Secured: $0.00
        JACINTO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Nueces Bay,
20187                                      34860   8/1/2022     Secured: $0.00
        JACINTO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Talen Texas
20188                                      35851   8/1/2022     Secured: $0.00
        JACINTO            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Talen Texas,
20189                                      36841   8/1/2022     Secured: $0.00
        JACINTO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
20190   MARTINEZ, JAVIER Laredo, LLC       32879   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
20191   MARTINEZ, JAVIER                   33870   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
20192   MARTINEZ, JAVIER                   34861   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2926 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
20193   MARTINEZ, JAVIER                   35852   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
20194   MARTINEZ, JAVIER                   36842   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
20195   MARTINEZ, JESUS                    7565    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
20196   MARTINEZ, JESUS Laredo, LLC        13315   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
20197   MARTINEZ, JESUS                    19062   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
20198   MARTINEZ, JESUS                    24796   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
20199   MARTINEZ, JESUS                    30556   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2927 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20200   MARTINEZ, JORGE                   7649    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20201   MARTINEZ, JORGE Laredo, LLC       13399   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20202   MARTINEZ, JORGE                   19146   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20203   MARTINEZ, JORGE                   24880   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20204   MARTINEZ, JORGE                   30640   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20205   MARTINEZ, JUAN                    6229    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20206   MARTINEZ, JUAN                    7701    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2928 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20207   MARTINEZ, JUAN Laredo, LLC      11979   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20208   MARTINEZ, JUAN Laredo, LLC      13451   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
20209   MARTINEZ, JUAN                  17726   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
20210   MARTINEZ, JUAN                  19198   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
20211   MARTINEZ, JUAN                  23471   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
20212   MARTINEZ, JUAN                  24932   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
20213   MARTINEZ, JUAN                  29220   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2929 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
20214   MARTINEZ, JUAN                     30692   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,
20215                      Laredo, LLC     32880   8/1/2022     Secured: $0.00
        JUANITA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Barney Davis,
20216                                      33871   8/1/2022     Secured: $0.00
        JUANITA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Nueces Bay,
20217                                      34862   8/1/2022     Secured: $0.00
        JUANITA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Talen Texas
20218                                      35853   8/1/2022     Secured: $0.00
        JUANITA            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MARTINEZ,          Talen Texas,
20219                                      36843   8/1/2022     Secured: $0.00
        JUANITA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
20220   MARTINEZ, KRISTI                   7870    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2930 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
20221   MARTINEZ, KRISTI Laredo, LLC       13620   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
20222   MARTINEZ, KRISTI                   19367   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
20223   MARTINEZ, KRISTI                   25101   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
20224   MARTINEZ, KRISTI                   30861   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
20225   MARTINEZ, LOUIS                    5110    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
20226   MARTINEZ, LOUIS Laredo, LLC        10860   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
20227   MARTINEZ, LOUIS                    16607   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2931 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20228   MARTINEZ, LOUIS                   22352   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20229   MARTINEZ, LOUIS                   28101   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Barney Davis,
20230                                     8044    8/1/2022     Secured: $0.00
        MACARIO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,
20231                     Laredo, LLC     13794   8/1/2022     Secured: $0.00
        MACARIO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Nueces Bay,
20232                                     19541   8/1/2022     Secured: $0.00
        MACARIO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas
20233                                     25275   8/1/2022     Secured: $0.00
        MACARIO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas,
20234                                     31035   8/1/2022     Secured: $0.00
        MACARIO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2932 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20235                                 5119    8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20236                 Laredo, LLC     10869   8/1/2022     Secured: $0.00
        MANUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20237                                 16616   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20238                                 22361   8/1/2022     Secured: $0.00
        MANUEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20239                                 28110   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20240                                 8079    8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20241                 Laredo, LLC     13829   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2933 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20242                                 19576   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20243                                 25310   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20244                                 31070   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20245                 Laredo, LLC     32881   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20246                 Laredo, LLC     32882   8/1/2022     Secured: $0.00
        MARIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20247                                 33872   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20248                                 33873   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2934 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20249                                 34863   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20250                                 34864   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20251                                 35854   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20252                                 35855   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20253                                 36844   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20254                                 36845   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20255                                 8105    8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2935 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20256                                 8106    8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20257                 Laredo, LLC     13855   8/1/2022     Secured: $0.00
        MARIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20258                 Laredo, LLC     13856   8/1/2022     Secured: $0.00
        MARIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20259                                 19602   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20260                                 19603   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20261                                 25336   8/1/2022     Secured: $0.00
        MARIO         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20262                                 25337   8/1/2022     Secured: $0.00
        MARIO         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2936 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20263                                 31096   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20264                                 31097   8/1/2022     Secured: $0.00
        MARIO         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20265                 Laredo, LLC     32883   8/1/2022     Secured: $0.00
        MARISOL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20266                                 33874   8/1/2022     Secured: $0.00
        MARISOL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20267                                 34865   8/1/2022     Secured: $0.00
        MARISOL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20268                                 35856   8/1/2022     Secured: $0.00
        MARISOL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20269                                 36846   8/1/2022     Secured: $0.00
        MARISOL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2937 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20270                 Laredo, LLC     32884   8/1/2022     Secured: $0.00
        MARTIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20271                 Laredo, LLC     32885   8/1/2022     Secured: $0.00
        MARTIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20272                                 33875   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20273                                 33876   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20274                                 34866   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20275                                 34867   8/1/2022     Secured: $0.00
        MARTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20276                                 35857   8/1/2022     Secured: $0.00
        MARTIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2938 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ,       Talen Texas
20277                                  35858   8/1/2022     Secured: $0.00
        MARTIN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ,       Talen Texas,
20278                                  36847   8/1/2022     Secured: $0.00
        MARTIN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ,       Talen Texas,
20279                                  36848   8/1/2022     Secured: $0.00
        MARTIN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ, MARY
20280                  Laredo, LLC     32886   8/1/2022     Secured: $0.00
        ALICE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ, MARY Barney Davis,
20281                                  33877   8/1/2022     Secured: $0.00
        ALICE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ, MARY Nueces Bay,
20282                                  34868   8/1/2022     Secured: $0.00
        ALICE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINEZ, MARY Talen Texas
20283                                  35859   8/1/2022     Secured: $0.00
        ALICE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2939 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ, MARY Talen Texas,
20284                                   36849   8/1/2022     Secured: $0.00
        ALICE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,
20285                   Laredo, LLC     32887   8/1/2022     Secured: $0.00
        MONICA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Barney Davis,
20286                                   33878   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Nueces Bay,
20287                                   34869   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas
20288                                   35860   8/1/2022     Secured: $0.00
        MONICA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,       Talen Texas,
20289                                   36850   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MARTINEZ,
20290                   Laredo, LLC     32888   8/1/2022     Secured: $0.00
        NANCY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2940 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Barney Davis,
20291                                     33879   8/1/2022     Secured: $0.00
        NANCY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Nueces Bay,
20292                                     34870   8/1/2022     Secured: $0.00
        NANCY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas
20293                                     35861   8/1/2022     Secured: $0.00
        NANCY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas,
20294                                     36851   8/1/2022     Secured: $0.00
        NANCY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20295   MARTINEZ, NILDA                   4542    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20296   MARTINEZ, NILDA Laredo, LLC       10292   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20297   MARTINEZ, NILDA                   16039   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2941 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20298   MARTINEZ, NILDA                   21785   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20299   MARTINEZ, NILDA                   27533   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,
20300                     Laredo, LLC     32889   8/1/2022     Secured: $0.00
        RACHEL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Barney Davis,
20301                                     33880   8/1/2022     Secured: $0.00
        RACHEL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Nueces Bay,
20302                                     34871   8/1/2022     Secured: $0.00
        RACHEL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas
20303                                     35862   8/1/2022     Secured: $0.00
        RACHEL            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas,
20304                                     36852   8/1/2022     Secured: $0.00
        RACHEL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2942 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20305   MARTINEZ, RENEE Laredo, LLC       32890   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20306   MARTINEZ, RENEE                   33881   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20307   MARTINEZ, RENEE                   34872   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20308   MARTINEZ, RENEE                   35863   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20309   MARTINEZ, RENEE                   36853   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ, REYES
20310                   Laredo, LLC       32891   8/1/2022     Secured: $0.00
        R.
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ, REYES Barney Davis,
20311                                     33882   8/1/2022     Secured: $0.00
        R.              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2943 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ, REYES Nueces Bay,
20312                                     34873   8/1/2022     Secured: $0.00
        R.              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ, REYES Talen Texas
20313                                     35864   8/1/2022     Secured: $0.00
        R.              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ, REYES Talen Texas,
20314                                     36854   8/1/2022     Secured: $0.00
        R.              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20315   MARTINEZ, RICKY Laredo, LLC       32892   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20316   MARTINEZ, RICKY                   33883   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20317   MARTINEZ, RICKY                   34874   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20318   MARTINEZ, RICKY                   35865   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2944 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20319   MARTINEZ, RICKY                   36855   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Barney Davis,
20320                                     8584    8/1/2022     Secured: $0.00
        RIGOBERTO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,
20321                     Laredo, LLC     14334   8/1/2022     Secured: $0.00
        RIGOBERTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Nueces Bay,
20322                                     20081   8/1/2022     Secured: $0.00
        RIGOBERTO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas
20323                                     25813   8/1/2022     Secured: $0.00
        RIGOBERTO         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,         Talen Texas,
20324                                     31575   8/1/2022     Secured: $0.00
        RIGOBERTO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MARTINEZ,
20325                     Laredo, LLC     32893   8/1/2022     Secured: $0.00
        RIGOBERTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2945 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Barney Davis,
20326                                    33884   8/1/2022     Secured: $0.00
        RIGOBERTO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Nueces Bay,
20327                                    34875   8/1/2022     Secured: $0.00
        RIGOBERTO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Talen Texas
20328                                    35866   8/1/2022     Secured: $0.00
        RIGOBERTO        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Talen Texas,
20329                                    36856   8/1/2022     Secured: $0.00
        RIGOBERTO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20330   MARTINEZ, ROEL Laredo, LLC       32894   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20331   MARTINEZ, ROEL                   33885   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20332   MARTINEZ, ROEL                   34876   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2946 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20333   MARTINEZ, ROEL                   35867   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20334   MARTINEZ, ROEL                   36857   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,
20335                    Laredo, LLC     32895   8/1/2022     Secured: $0.00
        VELMA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Barney Davis,
20336                                    33886   8/1/2022     Secured: $0.00
        VELMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Nueces Bay,
20337                                    34877   8/1/2022     Secured: $0.00
        VELMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Talen Texas
20338                                    35868   8/1/2022     Secured: $0.00
        VELMA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARTINEZ,        Talen Texas,
20339                                    36858   8/1/2022     Secured: $0.00
        VELMA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2947 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,
20340                 Laredo, LLC     32896   8/1/2022     Secured: $0.00
        YOLANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Barney Davis,
20341                                 33887   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Nueces Bay,
20342                                 34878   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas
20343                                 35869   8/1/2022     Secured: $0.00
        YOLANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINEZ,     Talen Texas,
20344                                 36859   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINUCCI,   Barney Davis,
20345                                 6927    8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MARTINUCCI,
20346                 Laredo, LLC     12677   8/1/2022     Secured: $0.00
        DAVID
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2948 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINUCCI,    Nueces Bay,
20347                                  18424   8/1/2022     Secured: $0.00
        DAVID          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINUCCI,    Talen Texas
20348                                  24158   8/1/2022     Secured: $0.00
        DAVID          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MARTINUCCI,    Talen Texas,
20349                                  29918   8/1/2022     Secured: $0.00
        DAVID          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20350   MARVIN, MARK                   4474    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
20351   MARVIN, MARK   Laredo, LLC     10224   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
20352   MARVIN, MARK                   15971   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20353   MARVIN, MARK                   21717   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2949 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20354   MARVIN, MARK                     27465   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARX,            Barney Davis,
20355                                    6769    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARX,
20356                    Laredo, LLC     12519   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARX,            Nueces Bay,
20357                                    18266   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARX,            Talen Texas
20358                                    24000   8/1/2022     Secured: $0.00
        CHRISTOPHER      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MARX,            Talen Texas,
20359                                    29760   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20360   MASCH, SHIRLEY                   4690    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2950 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20361   MASCH, SHIRLEY   Laredo, LLC     10440   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20362   MASCH, SHIRLEY                   16187   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20363   MASCH, SHIRLEY                   21933   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20364   MASCH, SHIRLEY                   27681   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20365   MASON, JOANIE                    3680    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20366   MASON, JOANIE    Laredo, LLC     9430    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20367   MASON, JOANIE                    15177   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2951 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20368   MASON, JOANIE                    20924   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20369   MASON, JOANIE                    26671   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20370   MASON, QUENTIN                   8471    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20371   MASON, QUENTIN Laredo, LLC       14221   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20372   MASON, QUENTIN                   19968   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20373   MASON, QUENTIN                   25700   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20374   MASON, QUENTIN                   31462   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2952 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MASSACHUSETTS                                       Priority: $0.00
                      Barney Davis,
20375   BAY INSURANCE                  1499    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $17,125,127.47 + Unliquidated

                                                            Total: $17,125,127.47 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MASSACHUSETTS                                       Priority: $0.00
                      Nueces Bay,
20376   BAY INSURANCE                  1529    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $17,125,127.47 + Unliquidated

                                                            Total: $17,125,127.47 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MASSACHUSETTS                                       Priority: $0.00
20377   BAY INSURANCE Laredo, LLC      1558    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $17,125,127.47 + Unliquidated

                                                            Total: $17,125,127.47 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MASSELINK,     Barney Davis,
20378                                  9060    8/1/2022     Secured: $0.00
        TRACY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MASSELINK,
20379                  Laredo, LLC     14810   8/1/2022     Secured: $0.00
        TRACY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MASSELINK,     Nueces Bay,
20380                                  20557   8/1/2022     Secured: $0.00
        TRACY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2953 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSELINK,    Talen Texas
20381                                 26289   8/1/2022     Secured: $0.00
        TRACY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSELINK,    Talen Texas,
20382                                 32051   8/1/2022     Secured: $0.00
        TRACY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSENGILL,   Barney Davis,
20383                                 5281    8/1/2022     Secured: $0.00
        SCOTT         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSENGILL,
20384                 Laredo, LLC     11031   8/1/2022     Secured: $0.00
        SCOTT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSENGILL,   Nueces Bay,
20385                                 16778   8/1/2022     Secured: $0.00
        SCOTT         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSENGILL,   Talen Texas
20386                                 22523   8/1/2022     Secured: $0.00
        SCOTT         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MASSENGILL,   Talen Texas,
20387                                 28272   8/1/2022     Secured: $0.00
        SCOTT         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2954 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MASSEY,          Barney Davis,
20388                                    7012    8/1/2022     Secured: $0.00
        DESHANDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MASSEY,
20389                    Laredo, LLC     12762   8/1/2022     Secured: $0.00
        DESHANDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MASSEY,          Nueces Bay,
20390                                    18509   8/1/2022     Secured: $0.00
        DESHANDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MASSEY,          Talen Texas
20391                                    24243   8/1/2022     Secured: $0.00
        DESHANDA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MASSEY,          Talen Texas,
20392                                    30003   8/1/2022     Secured: $0.00
        DESHANDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20393   MASSIE, ITASKA                   7406    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20394   MASSIE, ITASKA   Laredo, LLC     13156   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2955 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20395   MASSIE, ITASKA                   18903   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20396   MASSIE, ITASKA                   24637   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20397   MASSIE, ITASKA                   30397   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20398   MATA, ALMA P     Laredo, LLC     32897   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20399   MATA, ALMA P                     33888   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20400   MATA, ALMA P                     34879   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20401   MATA, ALMA P                     35870   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2956 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20402   MATA, ALMA P                    36860   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20403   MATA, DESIREE                   4125    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20404   MATA, DESIREE   Laredo, LLC     9875    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20405   MATA, DESIREE                   15622   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20406   MATA, DESIREE                   21368   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20407   MATA, DESIREE                   27116   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20408   MATA, JILLENA                   5502    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2957 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20409   MATA, JILLENA   Laredo, LLC     11252   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20410   MATA, JILLENA                   16999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20411   MATA, JILLENA                   22744   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20412   MATA, JILLENA                   28493   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20413   MATA, JOSE                      4321    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20414   MATA, JOSE      Laredo, LLC     10071   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20415   MATA, JOSE                      15818   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2958 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20416   MATA, JOSE                     21564   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20417   MATA, JOSE                     27312   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
20418   MATA, OLIVIA   Laredo, LLC     32898   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20419   MATA, OLIVIA                   33889   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
20420   MATA, OLIVIA                   34880   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20421   MATA, OLIVIA                   35871   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20422   MATA, OLIVIA                   36861   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2959 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20423   MATA, RICKY                     6016    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20424   MATA, RICKY     Laredo, LLC     11766   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20425   MATA, RICKY                     17513   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20426   MATA, RICKY                     23258   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20427   MATA, RICKY                     29007   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20428   MATHAI, MARIA                   8080    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20429   MATHAI, MARIA   Laredo, LLC     13830   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2960 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20430   MATHAI, MARIA                   19577   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20431   MATHAI, MARIA                   25311   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20432   MATHAI, MARIA                   31071   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MATHEAUS,       Barney Davis,
20433                                   6853    8/1/2022     Secured: $0.00
        CURTIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MATHEAUS,
20434                   Laredo, LLC     12603   8/1/2022     Secured: $0.00
        CURTIS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MATHEAUS,       Nueces Bay,
20435                                   18350   8/1/2022     Secured: $0.00
        CURTIS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MATHEAUS,       Talen Texas
20436                                   24084   8/1/2022     Secured: $0.00
        CURTIS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2961 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MATHEAUS,         Talen Texas,
20437                                     29844   8/1/2022     Secured: $0.00
        CURTIS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20438   MATHER, JOHN                      5039    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20439   MATHER, JOHN      Laredo, LLC     10789   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20440   MATHER, JOHN                      16536   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20441   MATHER, JOHN                      22281   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20442   MATHER, JOHN                      28030   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20443   MATHER, PHILLIP                   8452    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2962 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20444   MATHER, PHILLIP Laredo, LLC       14202   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20445   MATHER, PHILLIP                   19949   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20446   MATHER, PHILLIP                   25682   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20447   MATHER, PHILLIP                   31443   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MATHEWS,          Barney Davis,
20448                                     4207    8/1/2022     Secured: $0.00
        GLORIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MATHEWS,
20449                     Laredo, LLC     9957    8/1/2022     Secured: $0.00
        GLORIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MATHEWS,          Nueces Bay,
20450                                     15704   8/1/2022     Secured: $0.00
        GLORIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2963 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWS,      Talen Texas
20451                                 21450   8/1/2022     Secured: $0.00
        GLORIA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWS,      Talen Texas,
20452                                 27198   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWSON,    Barney Davis,
20453                                 7354    8/1/2022     Secured: $0.00
        HARRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWSON,
20454                 Laredo, LLC     13104   8/1/2022     Secured: $0.00
        HARRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWSON,    Nueces Bay,
20455                                 18851   8/1/2022     Secured: $0.00
        HARRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWSON,    Talen Texas
20456                                 24585   8/1/2022     Secured: $0.00
        HARRY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHEWSON,    Talen Texas,
20457                                 30345   8/1/2022     Secured: $0.00
        HARRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2964 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHIS,          Barney Davis,
20458                                    9202    8/1/2022     Secured: $0.00
        ALAYDREA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHIS,
20459                    Laredo, LLC     14952   8/1/2022     Secured: $0.00
        ALAYDREA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHIS,          Nueces Bay,
20460                                    20699   8/1/2022     Secured: $0.00
        ALAYDREA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHIS,          Talen Texas
20461                                    26431   8/1/2022     Secured: $0.00
        ALAYDREA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHIS,          Talen Texas,
20462                                    32193   8/1/2022     Secured: $0.00
        ALAYDREA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20463   MATHIS, BRENDA                   6569    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20464   MATHIS, BRENDA Laredo, LLC       12319   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2965 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20465   MATHIS, BRENDA                   18066   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20466   MATHIS, BRENDA                   23801   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20467   MATHIS, BRENDA                   29560   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20468   MATHIS, FRED                     7249    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20469   MATHIS, FRED     Laredo, LLC     12999   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20470   MATHIS, FRED                     18746   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20471   MATHIS, FRED                     24480   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2966 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20472   MATHIS, FRED                   30240   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20473   MATHIS, KIM                    7841    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
20474   MATHIS, KIM    Laredo, LLC     13591   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
20475   MATHIS, KIM                    19338   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20476   MATHIS, KIM                    25072   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20477   MATHIS, KIM                    30832   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MATHIS,                                             Priority: $0.00
                       Barney Davis,
20478   LATRESHA                       4411    8/1/2022     Secured: $0.00
                       LLC
        SHANETTE                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2967 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MATHIS,                                              Priority: $0.00
20479   LATRESHA        Laredo, LLC     10161   8/1/2022     Secured: $0.00
        SHANETTE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MATHIS,                                              Priority: $0.00
                        Nueces Bay,
20480   LATRESHA                        15908   8/1/2022     Secured: $0.00
                        LLC
        SHANETTE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MATHIS,                                              Priority: $0.00
                        Talen Texas
20481   LATRESHA                        21654   8/1/2022     Secured: $0.00
                        Group, LLC
        SHANETTE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MATHIS,                                              Priority: $0.00
                        Talen Texas,
20482   LATRESHA                        27402   8/1/2022     Secured: $0.00
                        LLC
        SHANETTE                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20483   MATHIS, MABLE                   8043    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20484   MATHIS, MABLE   Laredo, LLC     13793   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20485   MATHIS, MABLE                   19540   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2968 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20486   MATHIS, MABLE                     25274   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20487   MATHIS, MABLE                     31034   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20488   MATHIS, MICHAEL                   3728    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20489   MATHIS, MICHAEL Laredo, LLC       9478    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20490   MATHIS, MICHAEL                   15225   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20491   MATHIS, MICHAEL                   20972   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20492   MATHIS, MICHAEL                   26719   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2969 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHIS,       Barney Davis,
20493                                 4788    8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHIS,
20494                 Laredo, LLC     10538   8/1/2022     Secured: $0.00
        YOLANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHIS,       Nueces Bay,
20495                                 16285   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHIS,       Talen Texas
20496                                 22031   8/1/2022     Secured: $0.00
        YOLANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHIS,       Talen Texas,
20497                                 27779   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHUR,       Barney Davis,
20498                                 8807    8/1/2022     Secured: $0.00
        SHASHANK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATHUR,
20499                 Laredo, LLC     14557   8/1/2022     Secured: $0.00
        SHASHANK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2970 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHUR,          Nueces Bay,
20500                                    20304   8/1/2022     Secured: $0.00
        SHASHANK         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHUR,          Talen Texas
20501                                    26036   8/1/2022     Secured: $0.00
        SHASHANK         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATHUR,          Talen Texas,
20502                                    31798   8/1/2022     Secured: $0.00
        SHASHANK         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20503   MATSON, NICOLE                   3718    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20504   MATSON, NICOLE Laredo, LLC       9468    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20505   MATSON, NICOLE                   15215   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20506   MATSON, NICOLE                   20962   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2971 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20507   MATSON, NICOLE                   26709   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20508   MATTA, SAM                       5262    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20509   MATTA, SAM       Laredo, LLC     11012   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20510   MATTA, SAM                       16759   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20511   MATTA, SAM                       22504   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20512   MATTA, SAM                       28253   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MATTHEWS,        Barney Davis,
20513                                    3901    8/1/2022     Secured: $0.00
        ABIGAIL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2972 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,
20514                 Laredo, LLC     9651    8/1/2022     Secured: $0.00
        ABIGAIL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Nueces Bay,
20515                                 15398   8/1/2022     Secured: $0.00
        ABIGAIL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas
20516                                 21145   8/1/2022     Secured: $0.00
        ABIGAIL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas,
20517                                 26892   8/1/2022     Secured: $0.00
        ABIGAIL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Barney Davis,
20518                                 6423    8/1/2022     Secured: $0.00
        ANNIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,
20519                 Laredo, LLC     12173   8/1/2022     Secured: $0.00
        ANNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Nueces Bay,
20520                                 17920   8/1/2022     Secured: $0.00
        ANNIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2973 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas
20521                                 23655   8/1/2022     Secured: $0.00
        ANNIE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas,
20522                                 29414   8/1/2022     Secured: $0.00
        ANNIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Barney Davis,
20523                                 8175    8/1/2022     Secured: $0.00
        MARYAH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,
20524                 Laredo, LLC     13925   8/1/2022     Secured: $0.00
        MARYAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Nueces Bay,
20525                                 19672   8/1/2022     Secured: $0.00
        MARYAH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas
20526                                 25406   8/1/2022     Secured: $0.00
        MARYAH        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas,
20527                                 31166   8/1/2022     Secured: $0.00
        MARYAH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2974 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Barney Davis,
20528                                 3774    8/1/2022     Secured: $0.00
        NANCY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,
20529                 Laredo, LLC     9524    8/1/2022     Secured: $0.00
        NANCY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Nueces Bay,
20530                                 15271   8/1/2022     Secured: $0.00
        NANCY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas
20531                                 21018   8/1/2022     Secured: $0.00
        NANCY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTHEWS,     Talen Texas,
20532                                 26765   8/1/2022     Secured: $0.00
        NANCY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINGLY,    Barney Davis,
20533                                 5590    8/1/2022     Secured: $0.00
        CONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINGLY,
20534                 Laredo, LLC     11340   8/1/2022     Secured: $0.00
        CONNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2975 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINGLY,    Nueces Bay,
20535                                 17087   8/1/2022     Secured: $0.00
        CONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINGLY,    Talen Texas
20536                                 22832   8/1/2022     Secured: $0.00
        CONNIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINGLY,    Talen Texas,
20537                                 28581   8/1/2022     Secured: $0.00
        CONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINSON,    Barney Davis,
20538                                 7480    8/1/2022     Secured: $0.00
        JARED         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINSON,
20539                 Laredo, LLC     13230   8/1/2022     Secured: $0.00
        JARED
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINSON,    Nueces Bay,
20540                                 18977   8/1/2022     Secured: $0.00
        JARED         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MATTINSON,    Talen Texas
20541                                 24711   8/1/2022     Secured: $0.00
        JARED         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2976 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MATTINSON,     Talen Texas,
20542                                  30471   8/1/2022     Secured: $0.00
        JARED          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MATTIX,
20543                  Laredo, LLC     32899   8/1/2022     Secured: $0.00
        STEPHANIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MATTIX,        Barney Davis,
20544                                  33890   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MATTIX,        Nueces Bay,
20545                                  34881   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MATTIX,        Talen Texas
20546                                  35872   8/1/2022     Secured: $0.00
        STEPHANIE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MATTIX,        Talen Texas,
20547                                  36862   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20548   MATURE, JOHN                   4304    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2977 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20549   MATURE, JOHN    Laredo, LLC     10054   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20550   MATURE, JOHN                    15801   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20551   MATURE, JOHN                    21547   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20552   MATURE, JOHN                    27295   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20553   MAULDIN, SARA                   9318    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20554   MAULDIN, SARA   Laredo, LLC     15068   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20555   MAULDIN, SARA                   20815   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2978 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20556   MAULDIN, SARA                   26547   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20557   MAULDIN, SARA                   32309   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20558   MAXIE, NICOLE                   8335    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20559   MAXIE, NICOLE   Laredo, LLC     14085   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20560   MAXIE, NICOLE                   19832   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20561   MAXIE, NICOLE                   25566   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20562   MAXIE, NICOLE                   31326   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2979 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Barney Davis,
20563                                 6512    8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,
20564                 Laredo, LLC     12262   8/1/2022     Secured: $0.00
        BEVERLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Nueces Bay,
20565                                 18009   8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Talen Texas
20566                                 23744   8/1/2022     Secured: $0.00
        BEVERLY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Talen Texas,
20567                                 29503   8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Barney Davis,
20568                                 3824    8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,
20569                 Laredo, LLC     9574    8/1/2022     Secured: $0.00
        DENISE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2980 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Nueces Bay,
20570                                 15321   8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Talen Texas
20571                                 21068   8/1/2022     Secured: $0.00
        DENISE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Talen Texas,
20572                                 26815   8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Barney Davis,
20573                                 4973    8/1/2022     Secured: $0.00
        FREDDIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,
20574                 Laredo, LLC     10723   8/1/2022     Secured: $0.00
        FREDDIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Nueces Bay,
20575                                 16470   8/1/2022     Secured: $0.00
        FREDDIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAXWELL,      Talen Texas
20576                                 22215   8/1/2022     Secured: $0.00
        FREDDIE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2981 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAXWELL,       Talen Texas,
20577                                  27964   8/1/2022     Secured: $0.00
        FREDDIE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20578   MAXWELL, JON                   6139    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
20579   MAXWELL, JON   Laredo, LLC     11889   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
20580   MAXWELL, JON                   17636   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20581   MAXWELL, JON                   23381   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20582   MAXWELL, JON                   29130   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MAXWELL,       Barney Davis,
20583                                  8549    8/1/2022     Secured: $0.00
        RHONDA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2982 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAXWELL,
20584                   Laredo, LLC     14299   8/1/2022     Secured: $0.00
        RHONDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAXWELL,        Nueces Bay,
20585                                   20046   8/1/2022     Secured: $0.00
        RHONDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAXWELL,        Talen Texas
20586                                   25778   8/1/2022     Secured: $0.00
        RHONDA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MAXWELL,        Talen Texas,
20587                                   31540   8/1/2022     Secured: $0.00
        RHONDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20588   MAXWELL, RITA                   4616    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20589   MAXWELL, RITA   Laredo, LLC     10366   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20590   MAXWELL, RITA                   16113   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2983 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20591   MAXWELL, RITA                    21859   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20592   MAXWELL, RITA                    27607   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20593   MAXWELL, SABRA                   8716    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20594   MAXWELL, SABRA Laredo, LLC       14466   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20595   MAXWELL, SABRA                   20213   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20596   MAXWELL, SABRA                   25945   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20597   MAXWELL, SABRA                   31707   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2984 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
20598   MAY, DANIEL                   6890    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
20599   MAY, DANIEL   Laredo, LLC     12640   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
20600   MAY, DANIEL                   18387   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
20601   MAY, DANIEL                   24121   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
20602   MAY, DANIEL                   29881   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
20603   MAY, ROGER                    6263    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
20604   MAY, ROGER    Laredo, LLC     12013   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2985 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
20605   MAY, ROGER                    17760   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
20606   MAY, ROGER                    23495   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
20607   MAY, ROGER                    29254   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYBERRY,     Barney Davis,
20608                                 4994    8/1/2022     Secured: $0.00
        GWEN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYBERRY,
20609                 Laredo, LLC     10744   8/1/2022     Secured: $0.00
        GWEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYBERRY,     Nueces Bay,
20610                                 16491   8/1/2022     Secured: $0.00
        GWEN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYBERRY,     Talen Texas
20611                                 22236   8/1/2022     Secured: $0.00
        GWEN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2986 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYBERRY,     Talen Texas,
20612                                 27985   8/1/2022     Secured: $0.00
        GWEN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYERS,       Barney Davis,
20613                                 6770    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYERS,
20614                 Laredo, LLC     12520   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYERS,       Nueces Bay,
20615                                 18267   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYERS,       Talen Texas
20616                                 24001   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYERS,       Talen Texas,
20617                                 29761   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYFIELD,     Barney Davis,
20618                                 4017    8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2987 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYFIELD,
20619                 Laredo, LLC     9767    8/1/2022     Secured: $0.00
        CASSANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYFIELD,     Nueces Bay,
20620                                 15514   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYFIELD,     Talen Texas
20621                                 21260   8/1/2022     Secured: $0.00
        CASSANDRA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYFIELD,     Talen Texas,
20622                                 27008   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYMARD,      Barney Davis,
20623                                 8269    8/1/2022     Secured: $0.00
        MILDRED       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYMARD,
20624                 Laredo, LLC     14019   8/1/2022     Secured: $0.00
        MILDRED
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYMARD,      Nueces Bay,
20625                                 19766   8/1/2022     Secured: $0.00
        MILDRED       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2988 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYMARD,      Talen Texas
20626                                 25500   8/1/2022     Secured: $0.00
        MILDRED       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYMARD,      Talen Texas,
20627                                 31260   8/1/2022     Secured: $0.00
        MILDRED       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYNARD,      Barney Davis,
20628                                 6069    8/1/2022     Secured: $0.00
        BRANDIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYNARD,
20629                 Laredo, LLC     11819   8/1/2022     Secured: $0.00
        BRANDIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYNARD,      Nueces Bay,
20630                                 17566   8/1/2022     Secured: $0.00
        BRANDIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYNARD,      Talen Texas
20631                                 23311   8/1/2022     Secured: $0.00
        BRANDIE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MAYNARD,      Talen Texas,
20632                                 29060   8/1/2022     Secured: $0.00
        BRANDIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2989 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20633   MAYO, JAMES                      7454    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20634   MAYO, JAMES      Laredo, LLC     13204   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20635   MAYO, JAMES                      18951   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20636   MAYO, JAMES                      24685   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20637   MAYO, JAMES                      30445   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20638   MAYPOLE, LARRY Laredo, LLC       32900   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20639   MAYPOLE, LARRY                   33891   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2990 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20640   MAYPOLE, LARRY                   34882   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20641   MAYPOLE, LARRY                   35873   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20642   MAYPOLE, LARRY                   36863   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20643   MAYS, DAESHAUN                   6092    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20644   MAYS, DAESHAUN Laredo, LLC       11842   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20645   MAYS, DAESHAUN                   17589   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20646   MAYS, DAESHAUN                   23334   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2991 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20647   MAYS, DAESHAUN                   29083   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20648   MAYS, YATICE                     9184    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20649   MAYS, YATICE     Laredo, LLC     14934   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20650   MAYS, YATICE                     20681   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20651   MAYS, YATICE                     26413   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20652   MAYS, YATICE                     32175   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20653   MAYSON, IRENA                    7391    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2992 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20654   MAYSON, IRENA   Laredo, LLC     13141   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20655   MAYSON, IRENA                   18888   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20656   MAYSON, IRENA                   24622   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20657   MAYSON, IRENA                   30382   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20658   MAZE, PHILLIP                   8453    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20659   MAZE, PHILLIP   Laredo, LLC     14203   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20660   MAZE, PHILLIP                   19950   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2993 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20661   MAZE, PHILLIP                   25683   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20662   MAZE, PHILLIP                   31444   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20663   MAZE, SHAINA                    8775    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20664   MAZE, SHAINA    Laredo, LLC     14525   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20665   MAZE, SHAINA                    20272   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20666   MAZE, SHAINA                    26004   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20667   MAZE, SHAINA                    31766   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2994 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
20668   MAZZU, SUSAN                   8902    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
20669   MAZZU, SUSAN   Laredo, LLC     14652   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
20670   MAZZU, SUSAN                   20399   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
20671   MAZZU, SUSAN                   26131   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
20672   MAZZU, SUSAN                   31893   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MC CLINTIC,    Barney Davis,
20673                                  3819    8/1/2022     Secured: $0.00
        BLAKE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MC CLINTIC,
20674                  Laredo, LLC     9569    8/1/2022     Secured: $0.00
        BLAKE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2995 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MC CLINTIC,     Nueces Bay,
20675                                   15316   8/1/2022     Secured: $0.00
        BLAKE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MC CLINTIC,     Talen Texas
20676                                   21063   8/1/2022     Secured: $0.00
        BLAKE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MC CLINTIC,     Talen Texas,
20677                                   26810   8/1/2022     Secured: $0.00
        BLAKE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20678   MCADA, TRACEY                   4753    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20679   MCADA, TRACEY   Laredo, LLC     10503   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20680   MCADA, TRACEY                   16250   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20681   MCADA, TRACEY                   21996   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2996 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20682   MCADA, TRACEY                     27744   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20683   MCAFEE, JAMEEL                    5986    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20684   MCAFEE, JAMEEL Laredo, LLC        11736   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20685   MCAFEE, JAMEEL                    17483   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20686   MCAFEE, JAMEEL                    23228   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20687   MCAFEE, JAMEEL                    28977   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20688   MCALISTER, MIKE                   8264    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2997 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20689   MCALISTER, MIKE Laredo, LLC       14014   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20690   MCALISTER, MIKE                   19761   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20691   MCALISTER, MIKE                   25495   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20692   MCALISTER, MIKE                   31255   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCALLISTER,       Barney Davis,
20693                                     3613    8/1/2022     Secured: $0.00
        PAUL              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCALLISTER,
20694                     Laredo, LLC     9363    8/1/2022     Secured: $0.00
        PAUL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCALLISTER,       Nueces Bay,
20695                                     15110   8/1/2022     Secured: $0.00
        PAUL              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2998 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCALLISTER,    Talen Texas
20696                                  20857   8/1/2022     Secured: $0.00
        PAUL           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCALLISTER,    Talen Texas,
20697                                  26604   8/1/2022     Secured: $0.00
        PAUL           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCANALLY,      Barney Davis,
20698                                  6820    8/1/2022     Secured: $0.00
        CORALYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCANALLY,
20699                  Laredo, LLC     12570   8/1/2022     Secured: $0.00
        CORALYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCANALLY,      Nueces Bay,
20700                                  18317   8/1/2022     Secured: $0.00
        CORALYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCANALLY,      Talen Texas
20701                                  24051   8/1/2022     Secured: $0.00
        CORALYN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCANALLY,      Talen Texas,
20702                                  29811   8/1/2022     Secured: $0.00
        CORALYN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 2999 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20703   MCBAIN, MARK                     8122    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20704   MCBAIN, MARK     Laredo, LLC     13872   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20705   MCBAIN, MARK                     19619   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20706   MCBAIN, MARK                     25353   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20707   MCBAIN, MARK                     31113   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20708   MCCABE, ELIJAH                   4159    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20709   MCCABE, ELIJAH   Laredo, LLC     9909    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3000 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20710   MCCABE, ELIJAH                   15656   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20711   MCCABE, ELIJAH                   21402   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20712   MCCABE, ELIJAH                   27150   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCABE,          Barney Davis,
20713                                    8465    8/1/2022     Secured: $0.00
        PRISCILLA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCABE,
20714                    Laredo, LLC     14215   8/1/2022     Secured: $0.00
        PRISCILLA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCABE,          Nueces Bay,
20715                                    19962   8/1/2022     Secured: $0.00
        PRISCILLA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCABE,          Talen Texas
20716                                    25695   8/1/2022     Secured: $0.00
        PRISCILLA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3001 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCABE,        Talen Texas,
20717                                  31456   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCAIN,        Barney Davis,
20718                                  7484    8/1/2022     Secured: $0.00
        JASMAINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCAIN,
20719                  Laredo, LLC     13234   8/1/2022     Secured: $0.00
        JASMAINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCAIN,        Nueces Bay,
20720                                  18981   8/1/2022     Secured: $0.00
        JASMAINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCAIN,        Talen Texas
20721                                  24715   8/1/2022     Secured: $0.00
        JASMAINE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCAIN,        Talen Texas,
20722                                  30475   8/1/2022     Secured: $0.00
        JASMAINE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCALL,
20723                  Laredo, LLC     32901   8/1/2022     Secured: $0.00
        TIAWANA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3002 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCALL,       Barney Davis,
20724                                 33892   8/1/2022     Secured: $0.00
        TIAWANA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCALL,       Nueces Bay,
20725                                 34883   8/1/2022     Secured: $0.00
        TIAWANA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCALL,       Talen Texas
20726                                 35874   8/1/2022     Secured: $0.00
        TIAWANA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCALL,       Talen Texas,
20727                                 36864   8/1/2022     Secured: $0.00
        TIAWANA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARDELL,    Barney Davis,
20728                                 8930    8/1/2022     Secured: $0.00
        TAMALA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARDELL,
20729                 Laredo, LLC     14680   8/1/2022     Secured: $0.00
        TAMALA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARDELL,    Nueces Bay,
20730                                 20427   8/1/2022     Secured: $0.00
        TAMALA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3003 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARDELL,    Talen Texas
20731                                 26159   8/1/2022     Secured: $0.00
        TAMALA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARDELL,    Talen Texas,
20732                                 31921   8/1/2022     Secured: $0.00
        TAMALA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARLEY,
20733                 Laredo, LLC     32902   8/1/2022     Secured: $0.00
        DONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARLEY,     Barney Davis,
20734                                 33893   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARLEY,     Nueces Bay,
20735                                 34884   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARLEY,     Talen Texas
20736                                 35875   8/1/2022     Secured: $0.00
        DONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARLEY,     Talen Texas,
20737                                 36865   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3004 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTHUR,    Barney Davis,
20738                                 8859    8/1/2022     Secured: $0.00
        SONYA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTHUR,
20739                 Laredo, LLC     14609   8/1/2022     Secured: $0.00
        SONYA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTHUR,    Nueces Bay,
20740                                 20356   8/1/2022     Secured: $0.00
        SONYA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTHUR,    Talen Texas
20741                                 26088   8/1/2022     Secured: $0.00
        SONYA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTHUR,    Talen Texas,
20742                                 31850   8/1/2022     Secured: $0.00
        SONYA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTNEY,    Barney Davis,
20743                                 4064    8/1/2022     Secured: $0.00
        CRYSTAL C     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTNEY,
20744                 Laredo, LLC     9814    8/1/2022     Secured: $0.00
        CRYSTAL C
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3005 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTNEY,    Nueces Bay,
20745                                 15561   8/1/2022     Secured: $0.00
        CRYSTAL C     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTNEY,    Talen Texas
20746                                 21307   8/1/2022     Secured: $0.00
        CRYSTAL C     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTNEY,    Talen Texas,
20747                                 27055   8/1/2022     Secured: $0.00
        CRYSTAL C     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY JR,   Barney Davis,
20748                                 4951    8/1/2022     Secured: $0.00
        EDDIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY JR,
20749                 Laredo, LLC     10701   8/1/2022     Secured: $0.00
        EDDIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY JR,   Nueces Bay,
20750                                 16448   8/1/2022     Secured: $0.00
        EDDIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY JR,   Talen Texas
20751                                 22193   8/1/2022     Secured: $0.00
        EDDIE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3006 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY JR,   Talen Texas,
20752                                 27942   8/1/2022     Secured: $0.00
        EDDIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY,      Barney Davis,
20753                                 7776    8/1/2022     Secured: $0.00
        KATHYLEEN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY,
20754                 Laredo, LLC     13526   8/1/2022     Secured: $0.00
        KATHYLEEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY,      Nueces Bay,
20755                                 19273   8/1/2022     Secured: $0.00
        KATHYLEEN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY,      Talen Texas
20756                                 25007   8/1/2022     Secured: $0.00
        KATHYLEEN     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY,      Talen Texas,
20757                                 30767   8/1/2022     Secured: $0.00
        KATHYLEEN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCARTY,      Barney Davis,
20758                                 4497    8/1/2022     Secured: $0.00
        MASHAWN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3007 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCARTY,
20759                     Laredo, LLC     10247   8/1/2022     Secured: $0.00
        MASHAWN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCARTY,          Nueces Bay,
20760                                     15994   8/1/2022     Secured: $0.00
        MASHAWN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCARTY,          Talen Texas
20761                                     21740   8/1/2022     Secured: $0.00
        MASHAWN           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCARTY,          Talen Texas,
20762                                     27488   8/1/2022     Secured: $0.00
        MASHAWN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20763   MCCAULEY, KEVIN Laredo, LLC       32903   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20764   MCCAULEY, KEVIN                   33894   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20765   MCCAULEY, KEVIN                   34885   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3008 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20766   MCCAULEY, KEVIN                   35876   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20767   MCCAULEY, KEVIN                   36866   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCHRISTIAN,      Barney Davis,
20768                                     7083    8/1/2022     Secured: $0.00
        DONYEA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCHRISTIAN,
20769                     Laredo, LLC     12833   8/1/2022     Secured: $0.00
        DONYEA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCHRISTIAN,      Nueces Bay,
20770                                     18580   8/1/2022     Secured: $0.00
        DONYEA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCHRISTIAN,      Talen Texas
20771                                     24314   8/1/2022     Secured: $0.00
        DONYEA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCHRISTIAN,      Talen Texas,
20772                                     30074   8/1/2022     Secured: $0.00
        DONYEA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3009 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20773   MCCLAIN, JESSIE                   4286    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20774   MCCLAIN, JESSIE   Laredo, LLC     10036   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20775   MCCLAIN, JESSIE                   15783   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20776   MCCLAIN, JESSIE                   21529   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20777   MCCLAIN, JESSIE                   27277   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCLAIN,          Barney Davis,
20778                                     7814    8/1/2022     Secured: $0.00
        KENNETH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCLAIN,
20779                     Laredo, LLC     13564   8/1/2022     Secured: $0.00
        KENNETH
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3010 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAIN,      Nueces Bay,
20780                                 19311   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAIN,      Talen Texas
20781                                 25045   8/1/2022     Secured: $0.00
        KENNETH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAIN,      Talen Texas,
20782                                 30805   8/1/2022     Secured: $0.00
        KENNETH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAINE,     Barney Davis,
20783                                 9238    8/1/2022     Secured: $0.00
        COLLIN R      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAINE,
20784                 Laredo, LLC     14988   8/1/2022     Secured: $0.00
        COLLIN R
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAINE,     Nueces Bay,
20785                                 20735   8/1/2022     Secured: $0.00
        COLLIN R      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAINE,     Talen Texas
20786                                 26467   8/1/2022     Secured: $0.00
        COLLIN R      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3011 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLAINE,     Talen Texas,
20787                                 32229   8/1/2022     Secured: $0.00
        COLLIN R      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLELLEN,
20788                 Laredo, LLC     32904   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLELLEN,    Barney Davis,
20789                                 33895   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLELLEN,    Nueces Bay,
20790                                 34886   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLELLEN,    Talen Texas
20791                                 35877   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLELLEN,    Talen Texas,
20792                                 36867   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,    Barney Davis,
20793                                 6790    8/1/2022     Secured: $0.00
        CLARISSA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3012 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,
20794                 Laredo, LLC     12540   8/1/2022     Secured: $0.00
        CLARISSA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,    Nueces Bay,
20795                                 18287   8/1/2022     Secured: $0.00
        CLARISSA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,    Talen Texas
20796                                 24021   8/1/2022     Secured: $0.00
        CLARISSA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,    Talen Texas,
20797                                 29781   8/1/2022     Secured: $0.00
        CLARISSA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,    Barney Davis,
20798                                 4246    8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,
20799                 Laredo, LLC     9996    8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLENDON,    Nueces Bay,
20800                                 15743   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3013 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLENDON,     Talen Texas
20801                                  21489   8/1/2022     Secured: $0.00
        JAMES          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLENDON,     Talen Texas,
20802                                  27237   8/1/2022     Secured: $0.00
        JAMES          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLURE,       Barney Davis,
20803                                  7082    8/1/2022     Secured: $0.00
        DONNIE WAYNE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLURE,
20804                  Laredo, LLC     12832   8/1/2022     Secured: $0.00
        DONNIE WAYNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLURE,       Nueces Bay,
20805                                  18579   8/1/2022     Secured: $0.00
        DONNIE WAYNE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLURE,       Talen Texas
20806                                  24313   8/1/2022     Secured: $0.00
        DONNIE WAYNE   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCCLURE,       Talen Texas,
20807                                  30073   8/1/2022     Secured: $0.00
        DONNIE WAYNE   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3014 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20808   MCCLURE, KAY                      7786    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20809   MCCLURE, KAY      Laredo, LLC     13536   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20810   MCCLURE, KAY                      19283   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20811   MCCLURE, KAY                      25017   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20812   MCCLURE, KAY                      30777   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20813   MCCLURE, LIANNE                   7976    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20814   MCCLURE, LIANNE Laredo, LLC       13726   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3015 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20815   MCCLURE, LIANNE                   19473   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20816   MCCLURE, LIANNE                   25207   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20817   MCCLURE, LIANNE                   30967   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCLURE,          Barney Davis,
20818                                     5674    8/1/2022     Secured: $0.00
        REBECCA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCLURE,
20819                     Laredo, LLC     11424   8/1/2022     Secured: $0.00
        REBECCA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCLURE,          Nueces Bay,
20820                                     17171   8/1/2022     Secured: $0.00
        REBECCA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCCLURE,          Talen Texas
20821                                     22916   8/1/2022     Secured: $0.00
        REBECCA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3016 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCLURE,      Talen Texas,
20822                                 28665   8/1/2022     Secured: $0.00
        REBECCA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCONNELL,    Barney Davis,
20823                                 6542    8/1/2022     Secured: $0.00
        BONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCONNELL,
20824                 Laredo, LLC     12292   8/1/2022     Secured: $0.00
        BONNIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCONNELL,    Nueces Bay,
20825                                 18039   8/1/2022     Secured: $0.00
        BONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCONNELL,    Talen Texas
20826                                 23774   8/1/2022     Secured: $0.00
        BONNIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCONNELL,    Talen Texas,
20827                                 29533   8/1/2022     Secured: $0.00
        BONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCONNELL,    Barney Davis,
20828                                 5619    8/1/2022     Secured: $0.00
        LESTER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3017 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCONNELL,
20829                   Laredo, LLC     11369   8/1/2022     Secured: $0.00
        LESTER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCONNELL,      Nueces Bay,
20830                                   17116   8/1/2022     Secured: $0.00
        LESTER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCONNELL,      Talen Texas
20831                                   22861   8/1/2022     Secured: $0.00
        LESTER          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCONNELL,      Talen Texas,
20832                                   28610   8/1/2022     Secured: $0.00
        LESTER          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20833   MCCOO, BRENDA                   3986    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20834   MCCOO, BRENDA Laredo, LLC       9736    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20835   MCCOO, BRENDA                   15483   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3018 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20836   MCCOO, BRENDA                   21229   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20837   MCCOO, BRENDA                   26977   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20838   MCCORD, JAMES                   7455    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20839   MCCORD, JAMES Laredo, LLC       13205   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20840   MCCORD, JAMES                   18952   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20841   MCCORD, JAMES                   24686   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20842   MCCORD, JAMES                   30446   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3019 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCORMICK,      Barney Davis,
20843                                   5172    8/1/2022     Secured: $0.00
        NATHAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCORMICK,
20844                   Laredo, LLC     10922   8/1/2022     Secured: $0.00
        NATHAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCORMICK,      Nueces Bay,
20845                                   16669   8/1/2022     Secured: $0.00
        NATHAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCORMICK,      Talen Texas
20846                                   22414   8/1/2022     Secured: $0.00
        NATHAN          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCORMICK,      Talen Texas,
20847                                   28163   8/1/2022     Secured: $0.00
        NATHAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20848   MCCOY, ASHLEY                   6461    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20849   MCCOY, ASHLEY   Laredo, LLC     12211   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3020 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20850   MCCOY, ASHLEY                   17958   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20851   MCCOY, ASHLEY                   23693   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20852   MCCOY, ASHLEY                   29452   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MCCOY,                                               Priority: $0.00
                        Barney Davis,
20853   BRIDGETT                        6589    8/1/2022     Secured: $0.00
                        LLC
        MORRIS                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MCCOY,                                               Priority: $0.00
20854   BRIDGETT        Laredo, LLC     12339   8/1/2022     Secured: $0.00
        MORRIS                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MCCOY,                                               Priority: $0.00
                        Nueces Bay,
20855   BRIDGETT                        18086   8/1/2022     Secured: $0.00
                        LLC
        MORRIS                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MCCOY,                                               Priority: $0.00
                        Talen Texas
20856   BRIDGETT                        23820   8/1/2022     Secured: $0.00
                        Group, LLC
        MORRIS                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3021 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MCCOY,                                                Priority: $0.00
                         Talen Texas,
20857   BRIDGETT                         29580   8/1/2022     Secured: $0.00
                         LLC
        MORRIS                                                General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20858   MCCOY, MICHAEL                   8235    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20859   MCCOY, MICHAEL Laredo, LLC       13985   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20860   MCCOY, MICHAEL                   19732   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20861   MCCOY, MICHAEL                   25466   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20862   MCCOY, MICHAEL                   31226   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20863   MCCOY, NAFESSA                   5169    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3022 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20864   MCCOY, NAFESSA Laredo, LLC       10919   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20865   MCCOY, NAFESSA                   16666   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20866   MCCOY, NAFESSA                   22411   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20867   MCCOY, NAFESSA                   28160   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCRAVEN,        Barney Davis,
20868                                    4275    8/1/2022     Secured: $0.00
        JEREMY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCRAVEN,
20869                    Laredo, LLC     10025   8/1/2022     Secured: $0.00
        JEREMY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCCRAVEN,        Nueces Bay,
20870                                    15772   8/1/2022     Secured: $0.00
        JEREMY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3023 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCRAVEN,       Talen Texas
20871                                   21518   8/1/2022     Secured: $0.00
        JEREMY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCRAVEN,       Talen Texas,
20872                                   27266   8/1/2022     Secured: $0.00
        JEREMY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20873   MCCREE, JANET                   5009    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20874   MCCREE, JANET   Laredo, LLC     10759   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20875   MCCREE, JANET                   16506   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20876   MCCREE, JANET                   22251   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20877   MCCREE, JANET                   28000   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3024 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
20878   MCCREERY, TIM                   4744    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
20879   MCCREERY, TIM   Laredo, LLC     10494   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
20880   MCCREERY, TIM                   16241   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
20881   MCCREERY, TIM                   21987   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
20882   MCCREERY, TIM                   27735   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,     Barney Davis,
20883                                   7766    8/1/2022     Secured: $0.00
        KATHLEEN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,
20884                   Laredo, LLC     13516   8/1/2022     Secured: $0.00
        KATHLEEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3025 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,   Nueces Bay,
20885                                 19263   8/1/2022     Secured: $0.00
        KATHLEEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,   Talen Texas
20886                                 24997   8/1/2022     Secured: $0.00
        KATHLEEN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,   Talen Texas,
20887                                 30757   8/1/2022     Secured: $0.00
        KATHLEEN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,   Barney Davis,
20888                                 8336    8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,
20889                 Laredo, LLC     14086   8/1/2022     Secured: $0.00
        NICOLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,   Nueces Bay,
20890                                 19833   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCCULLOUGH,   Talen Texas
20891                                 25567   8/1/2022     Secured: $0.00
        NICOLE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3026 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,     Talen Texas,
20892                                   31327   8/1/2022     Secured: $0.00
        NICOLE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,     Barney Davis,
20893                                   8995    8/1/2022     Secured: $0.00
        THOMAS LEE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,
20894                   Laredo, LLC     14745   8/1/2022     Secured: $0.00
        THOMAS LEE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,     Nueces Bay,
20895                                   20492   8/1/2022     Secured: $0.00
        THOMAS LEE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,     Talen Texas
20896                                   26224   8/1/2022     Secured: $0.00
        THOMAS LEE      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCCULLOUGH,     Talen Texas,
20897                                   31986   8/1/2022     Secured: $0.00
        THOMAS LEE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,      Barney Davis,
20898                                   3777    8/1/2022     Secured: $0.00
        ROBERT FORREST LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3027 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,
20899                  Laredo, LLC      9527    8/1/2022     Secured: $0.00
        ROBERT FORREST
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,      Nueces Bay,
20900                                   15274   8/1/2022     Secured: $0.00
        ROBERT FORREST LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,      Talen Texas
20901                                   21021   8/1/2022     Secured: $0.00
        ROBERT FORREST Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,      Talen Texas,
20902                                   26768   8/1/2022     Secured: $0.00
        ROBERT FORREST LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,       Barney Davis,
20903                                   8797    8/1/2022     Secured: $0.00
        SHARON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,
20904                   Laredo, LLC     14547   8/1/2022     Secured: $0.00
        SHARON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCDANIEL,       Nueces Bay,
20905                                   20294   8/1/2022     Secured: $0.00
        SHARON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3028 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIEL,        Talen Texas
20906                                    26026   8/1/2022     Secured: $0.00
        SHARON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIEL,        Talen Texas,
20907                                    31788   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIELS,       Barney Davis,
20908                                    8268    8/1/2022     Secured: $0.00
        MILDRED ALICIA   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIELS,
20909                    Laredo, LLC     14018   8/1/2022     Secured: $0.00
        MILDRED ALICIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIELS,       Nueces Bay,
20910                                    19765   8/1/2022     Secured: $0.00
        MILDRED ALICIA   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIELS,       Talen Texas
20911                                    25499   8/1/2022     Secured: $0.00
        MILDRED ALICIA   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDANIELS,       Talen Texas,
20912                                    31259   8/1/2022     Secured: $0.00
        MILDRED ALICIA   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3029 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDERMOTT,    Barney Davis,
20913                                 7831    8/1/2022     Secured: $0.00
        KEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDERMOTT,
20914                 Laredo, LLC     13581   8/1/2022     Secured: $0.00
        KEVIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDERMOTT,    Nueces Bay,
20915                                 19328   8/1/2022     Secured: $0.00
        KEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDERMOTT,    Talen Texas
20916                                 25062   8/1/2022     Secured: $0.00
        KEVIN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDERMOTT,    Talen Texas,
20917                                 30822   8/1/2022     Secured: $0.00
        KEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Barney Davis,
20918                                 9210    8/1/2022     Secured: $0.00
        AQUILA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,
20919                 Laredo, LLC     14960   8/1/2022     Secured: $0.00
        AQUILA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3030 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Nueces Bay,
20920                                 20707   8/1/2022     Secured: $0.00
        AQUILA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Talen Texas
20921                                 26439   8/1/2022     Secured: $0.00
        AQUILA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Talen Texas,
20922                                 32201   8/1/2022     Secured: $0.00
        AQUILA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Barney Davis,
20923                                 8770    8/1/2022     Secured: $0.00
        SEAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,
20924                 Laredo, LLC     14520   8/1/2022     Secured: $0.00
        SEAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Nueces Bay,
20925                                 20267   8/1/2022     Secured: $0.00
        SEAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Talen Texas
20926                                 25999   8/1/2022     Secured: $0.00
        SEAN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3031 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCDONALD,         Talen Texas,
20927                                     31761   8/1/2022     Secured: $0.00
        SEAN              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20928   MCDONALD, VICKI                   9105    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20929   MCDONALD, VICKI Laredo, LLC       14855   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20930   MCDONALD, VICKI                   20602   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20931   MCDONALD, VICKI                   26334   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20932   MCDONALD, VICKI                   32096   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCDONALD,         Barney Davis,
20933                                     9182    8/1/2022     Secured: $0.00
        YAJAIRA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3032 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,
20934                 Laredo, LLC     14932   8/1/2022     Secured: $0.00
        YAJAIRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Nueces Bay,
20935                                 20679   8/1/2022     Secured: $0.00
        YAJAIRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Talen Texas
20936                                 26411   8/1/2022     Secured: $0.00
        YAJAIRA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDONALD,     Talen Texas,
20937                                 32173   8/1/2022     Secured: $0.00
        YAJAIRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Barney Davis,
20938                                 3944    8/1/2022     Secured: $0.00
        APRIL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,
20939                 Laredo, LLC     9694    8/1/2022     Secured: $0.00
        APRIL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Nueces Bay,
20940                                 15441   8/1/2022     Secured: $0.00
        APRIL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3033 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Talen Texas
20941                                 21187   8/1/2022     Secured: $0.00
        APRIL         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Talen Texas,
20942                                 26935   8/1/2022     Secured: $0.00
        APRIL         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Barney Davis,
20943                                 7645    8/1/2022     Secured: $0.00
        JONATHAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,
20944                 Laredo, LLC     13395   8/1/2022     Secured: $0.00
        JONATHAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Nueces Bay,
20945                                 19142   8/1/2022     Secured: $0.00
        JONATHAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Talen Texas
20946                                 24876   8/1/2022     Secured: $0.00
        JONATHAN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCDOWELL,     Talen Texas,
20947                                 30636   8/1/2022     Secured: $0.00
        JONATHAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3034 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDOWELL,        Barney Davis,
20948                                    4536    8/1/2022     Secured: $0.00
        NELLIE A         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDOWELL,
20949                    Laredo, LLC     10286   8/1/2022     Secured: $0.00
        NELLIE A
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDOWELL,        Nueces Bay,
20950                                    16033   8/1/2022     Secured: $0.00
        NELLIE A         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDOWELL,        Talen Texas
20951                                    21779   8/1/2022     Secured: $0.00
        NELLIE A         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCDOWELL,        Talen Texas,
20952                                    27527   8/1/2022     Secured: $0.00
        NELLIE A         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20953   MCDUFF, ADRIAN                   6292    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20954   MCDUFF, ADRIAN Laredo, LLC       12042   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3035 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
20955   MCDUFF, ADRIAN                   17789   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
20956   MCDUFF, ADRIAN                   23524   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
20957   MCDUFF, ADRIAN                   29283   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCFADDEN,        Barney Davis,
20958                                    6700    8/1/2022     Secured: $0.00
        CHARLES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCFADDEN,
20959                    Laredo, LLC     12450   8/1/2022     Secured: $0.00
        CHARLES
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCFADDEN,        Nueces Bay,
20960                                    18197   8/1/2022     Secured: $0.00
        CHARLES          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCFADDEN,        Talen Texas
20961                                    23931   8/1/2022     Secured: $0.00
        CHARLES          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3036 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFADDEN,     Talen Texas,
20962                                 29691   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFADDEN,     Barney Davis,
20963                                 7416    8/1/2022     Secured: $0.00
        JACKIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFADDEN,
20964                 Laredo, LLC     13166   8/1/2022     Secured: $0.00
        JACKIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFADDEN,     Nueces Bay,
20965                                 18913   8/1/2022     Secured: $0.00
        JACKIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFADDEN,     Talen Texas
20966                                 24647   8/1/2022     Secured: $0.00
        JACKIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFADDEN,     Talen Texas,
20967                                 30407   8/1/2022     Secured: $0.00
        JACKIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Barney Davis,
20968                                 6613    8/1/2022     Secured: $0.00
        BYRON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3037 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,
20969                 Laredo, LLC     12363   8/1/2022     Secured: $0.00
        BYRON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Nueces Bay,
20970                                 18110   8/1/2022     Secured: $0.00
        BYRON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Talen Texas
20971                                 23844   8/1/2022     Secured: $0.00
        BYRON         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Talen Texas,
20972                                 29604   8/1/2022     Secured: $0.00
        BYRON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Barney Davis,
20973                                 4358    8/1/2022     Secured: $0.00
        KARLISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,
20974                 Laredo, LLC     10108   8/1/2022     Secured: $0.00
        KARLISHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Nueces Bay,
20975                                 15855   8/1/2022     Secured: $0.00
        KARLISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3038 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Talen Texas
20976                                 21601   8/1/2022     Secured: $0.00
        KARLISHA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCFARLAND,    Talen Texas,
20977                                 27349   8/1/2022     Secured: $0.00
        KARLISHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGARITY,
20978                 Laredo, LLC     32905   8/1/2022     Secured: $0.00
        CLIFTON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGARITY,     Barney Davis,
20979                                 33896   8/1/2022     Secured: $0.00
        CLIFTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGARITY,     Nueces Bay,
20980                                 34887   8/1/2022     Secured: $0.00
        CLIFTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGARITY,     Talen Texas
20981                                 35878   8/1/2022     Secured: $0.00
        CLIFTON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGARITY,     Talen Texas,
20982                                 36868   8/1/2022     Secured: $0.00
        CLIFTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3039 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGARVIE,
20983                     Laredo, LLC     32906   8/1/2022     Secured: $0.00
        CYNTHIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGARVIE,         Barney Davis,
20984                                     33897   8/1/2022     Secured: $0.00
        CYNTHIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGARVIE,         Nueces Bay,
20985                                     34888   8/1/2022     Secured: $0.00
        CYNTHIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGARVIE,         Talen Texas
20986                                     35879   8/1/2022     Secured: $0.00
        CYNTHIA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGARVIE,         Talen Texas,
20987                                     36869   8/1/2022     Secured: $0.00
        CYNTHIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
20988   MCGARY, JESSICA                   4283    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
20989   MCGARY, JESSICA Laredo, LLC       10033   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3040 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
20990   MCGARY, JESSICA                   15780   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
20991   MCGARY, JESSICA                   21526   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
20992   MCGARY, JESSICA                   27274   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGAUGHEY,        Barney Davis,
20993                                     6835    8/1/2022     Secured: $0.00
        CRAIG             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGAUGHEY,
20994                     Laredo, LLC     12585   8/1/2022     Secured: $0.00
        CRAIG
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGAUGHEY,        Nueces Bay,
20995                                     18332   8/1/2022     Secured: $0.00
        CRAIG             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCGAUGHEY,        Talen Texas
20996                                     24066   8/1/2022     Secured: $0.00
        CRAIG             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3041 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCGAUGHEY,       Talen Texas,
20997                                    29826   8/1/2022     Secured: $0.00
        CRAIG            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
20998   MCGEE, BRANDIE                   6553    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
20999   MCGEE, BRANDIE Laredo, LLC       12303   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21000   MCGEE, BRANDIE                   18050   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21001   MCGEE, BRANDIE                   23785   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21002   MCGEE, BRANDIE                   29544   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21003   MCGEE, KENNETH Laredo, LLC       32907   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3042 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21004   MCGEE, KENNETH                   33898   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21005   MCGEE, KENNETH                   34889   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21006   MCGEE, KENNETH                   35880   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21007   MCGEE, KENNETH                   36870   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21008   MCGEE, TRAVIS                    5351    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21009   MCGEE, TRAVIS    Laredo, LLC     11101   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21010   MCGEE, TRAVIS                    16848   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3043 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21011   MCGEE, TRAVIS                   22593   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21012   MCGEE, TRAVIS                   28342   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21013   MCGEHEE, MARK                   8123    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21014   MCGEHEE, MARK Laredo, LLC       13873   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21015   MCGEHEE, MARK                   19620   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21016   MCGEHEE, MARK                   25354   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21017   MCGEHEE, MARK                   31114   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3044 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGHEE,       Barney Davis,
21018                                 3826    8/1/2022     Secured: $0.00
        DERRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGHEE,
21019                 Laredo, LLC     9576    8/1/2022     Secured: $0.00
        DERRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGHEE,       Nueces Bay,
21020                                 15323   8/1/2022     Secured: $0.00
        DERRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGHEE,       Talen Texas
21021                                 21070   8/1/2022     Secured: $0.00
        DERRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGHEE,       Talen Texas,
21022                                 26817   8/1/2022     Secured: $0.00
        DERRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGILL,       Barney Davis,
21023                                 6558    8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGILL,
21024                 Laredo, LLC     12308   8/1/2022     Secured: $0.00
        BRANDON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3045 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGILL,       Nueces Bay,
21025                                 18055   8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGILL,       Talen Texas
21026                                 23790   8/1/2022     Secured: $0.00
        BRANDON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGILL,       Talen Texas,
21027                                 29549   8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGLOSSIE,    Barney Davis,
21028                                 8757    8/1/2022     Secured: $0.00
        SCHENIQUA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGLOSSIE,
21029                 Laredo, LLC     14507   8/1/2022     Secured: $0.00
        SCHENIQUA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGLOSSIE,    Nueces Bay,
21030                                 20254   8/1/2022     Secured: $0.00
        SCHENIQUA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGLOSSIE,    Talen Texas
21031                                 25986   8/1/2022     Secured: $0.00
        SCHENIQUA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3046 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCGLOSSIE,     Talen Texas,
21032                                  31748   8/1/2022     Secured: $0.00
        SCHENIQUA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21033   MCGOUGH, KIM                   7842    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21034   MCGOUGH, KIM   Laredo, LLC     13592   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21035   MCGOUGH, KIM                   19339   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21036   MCGOUGH, KIM                   25073   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21037   MCGOUGH, KIM                   30833   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCGOWAN,       Barney Davis,
21038                                  5011    8/1/2022     Secured: $0.00
        JANICE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
          Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3047 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,
21039                 Laredo, LLC     10761   8/1/2022     Secured: $0.00
        JANICE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Nueces Bay,
21040                                 16508   8/1/2022     Secured: $0.00
        JANICE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Talen Texas
21041                                 22253   8/1/2022     Secured: $0.00
        JANICE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Talen Texas,
21042                                 28002   8/1/2022     Secured: $0.00
        JANICE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Barney Davis,
21043                                 5229    8/1/2022     Secured: $0.00
        RENEE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,
21044                 Laredo, LLC     10979   8/1/2022     Secured: $0.00
        RENEE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Nueces Bay,
21045                                 16726   8/1/2022     Secured: $0.00
        RENEE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
          Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3048 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Talen Texas
21046                                 22471   8/1/2022     Secured: $0.00
        RENEE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Talen Texas,
21047                                 28220   8/1/2022     Secured: $0.00
        RENEE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Barney Davis,
21048                                 8923    8/1/2022     Secured: $0.00
        TABIAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,
21049                 Laredo, LLC     14673   8/1/2022     Secured: $0.00
        TABIAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Nueces Bay,
21050                                 20420   8/1/2022     Secured: $0.00
        TABIAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Talen Texas
21051                                 26152   8/1/2022     Secured: $0.00
        TABIAS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGOWAN,      Talen Texas,
21052                                 31914   8/1/2022     Secured: $0.00
        TABIAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3049 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21053   MCGRATH, JOHN                   5991    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21054   MCGRATH, JOHN Laredo, LLC       11741   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21055   MCGRATH, JOHN                   17488   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21056   MCGRATH, JOHN                   23233   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21057   MCGRATH, JOHN                   28982   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCGRUDER,       Barney Davis,
21058                                   5751    8/1/2022     Secured: $0.00
        BRITTANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCGRUDER,
21059                   Laredo, LLC     11501   8/1/2022     Secured: $0.00
        BRITTANY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3050 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGRUDER,     Nueces Bay,
21060                                 17248   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGRUDER,     Talen Texas
21061                                 22993   8/1/2022     Secured: $0.00
        BRITTANY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGRUDER,     Talen Texas,
21062                                 28742   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGUINNESS,   Barney Davis,
21063                                 7022    8/1/2022     Secured: $0.00
        DEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGUINNESS,
21064                 Laredo, LLC     12772   8/1/2022     Secured: $0.00
        DEVIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGUINNESS,   Nueces Bay,
21065                                 18519   8/1/2022     Secured: $0.00
        DEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGUINNESS,   Talen Texas
21066                                 24253   8/1/2022     Secured: $0.00
        DEVIN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3051 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCGUINNESS,   Talen Texas,
21067                                 30013   8/1/2022     Secured: $0.00
        DEVIN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCHANEY,      Barney Davis,
21068                                 6104    8/1/2022     Secured: $0.00
        EDWARD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCHANEY,
21069                 Laredo, LLC     11854   8/1/2022     Secured: $0.00
        EDWARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCHANEY,      Nueces Bay,
21070                                 17601   8/1/2022     Secured: $0.00
        EDWARD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCHANEY,      Talen Texas
21071                                 23346   8/1/2022     Secured: $0.00
        EDWARD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCHANEY,      Talen Texas,
21072                                 29095   8/1/2022     Secured: $0.00
        EDWARD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCHARGH,      Barney Davis,
21073                                 4693    8/1/2022     Secured: $0.00
        SHUDYLYN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3052 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHARGH,
21074                   Laredo, LLC     10443   8/1/2022     Secured: $0.00
        SHUDYLYN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHARGH,        Nueces Bay,
21075                                   16190   8/1/2022     Secured: $0.00
        SHUDYLYN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHARGH,        Talen Texas
21076                                   21936   8/1/2022     Secured: $0.00
        SHUDYLYN        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHARGH,        Talen Texas,
21077                                   27684   8/1/2022     Secured: $0.00
        SHUDYLYN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21078   MCHENRY, TORI                   3639    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21079   MCHENRY, TORI   Laredo, LLC     9389    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21080   MCHENRY, TORI                   15136   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3053 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21081   MCHENRY, TORI                   20883   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21082   MCHENRY, TORI                   26630   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHENRY,        Barney Davis,
21083                                   4763    8/1/2022     Secured: $0.00
        VALENCIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHENRY,
21084                   Laredo, LLC     10513   8/1/2022     Secured: $0.00
        VALENCIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHENRY,        Nueces Bay,
21085                                   16260   8/1/2022     Secured: $0.00
        VALENCIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHENRY,        Talen Texas
21086                                   22006   8/1/2022     Secured: $0.00
        VALENCIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MCHENRY,        Talen Texas,
21087                                   27754   8/1/2022     Secured: $0.00
        VALENCIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3054 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Barney Davis,
21088                                 4941    8/1/2022     Secured: $0.00
        DETRIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,
21089                 Laredo, LLC     10691   8/1/2022     Secured: $0.00
        DETRIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Nueces Bay,
21090                                 16438   8/1/2022     Secured: $0.00
        DETRIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Talen Texas
21091                                 22183   8/1/2022     Secured: $0.00
        DETRIA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Talen Texas,
21092                                 27932   8/1/2022     Secured: $0.00
        DETRIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Barney Davis,
21093                                 7286    8/1/2022     Secured: $0.00
        GEOFF         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,
21094                 Laredo, LLC     13036   8/1/2022     Secured: $0.00
        GEOFF
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3055 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Nueces Bay,
21095                                 18783   8/1/2022     Secured: $0.00
        GEOFF         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Talen Texas
21096                                 24517   8/1/2022     Secured: $0.00
        GEOFF         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTOSH,     Talen Texas,
21097                                 30277   8/1/2022     Secured: $0.00
        GEOFF         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Barney Davis,
21098                                 4868    8/1/2022     Secured: $0.00
        BRANDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,
21099                 Laredo, LLC     10618   8/1/2022     Secured: $0.00
        BRANDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Nueces Bay,
21100                                 16365   8/1/2022     Secured: $0.00
        BRANDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Talen Texas
21101                                 22111   8/1/2022     Secured: $0.00
        BRANDY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3056 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Talen Texas,
21102                                 27859   8/1/2022     Secured: $0.00
        BRANDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Barney Davis,
21103                                 6620    8/1/2022     Secured: $0.00
        CALVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,
21104                 Laredo, LLC     12370   8/1/2022     Secured: $0.00
        CALVIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Nueces Bay,
21105                                 18117   8/1/2022     Secured: $0.00
        CALVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Talen Texas
21106                                 23851   8/1/2022     Secured: $0.00
        CALVIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Talen Texas,
21107                                 29611   8/1/2022     Secured: $0.00
        CALVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCINTYRE,     Barney Davis,
21108                                 7938    8/1/2022     Secured: $0.00
        LAVETTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3057 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCINTYRE,
21109                  Laredo, LLC     13688   8/1/2022     Secured: $0.00
        LAVETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCINTYRE,      Nueces Bay,
21110                                  19435   8/1/2022     Secured: $0.00
        LAVETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCINTYRE,      Talen Texas
21111                                  25169   8/1/2022     Secured: $0.00
        LAVETTE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCINTYRE,      Talen Texas,
21112                                  30929   8/1/2022     Secured: $0.00
        LAVETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21113   MCKEE, RICKY                   8581    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21114   MCKEE, RICKY   Laredo, LLC     14331   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21115   MCKEE, RICKY                   20078   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3058 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21116   MCKEE, RICKY                      25810   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21117   MCKEE, RICKY                      31572   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21118   MCKENZIE, DAVID                   4095    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21119   MCKENZIE, DAVID Laredo, LLC       9845    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21120   MCKENZIE, DAVID                   15592   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21121   MCKENZIE, DAVID                   21338   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21122   MCKENZIE, DAVID                   27086   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3059 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKENZIE,     Barney Davis,
21123                                 7281    8/1/2022     Secured: $0.00
        GAYLORD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKENZIE,
21124                 Laredo, LLC     13031   8/1/2022     Secured: $0.00
        GAYLORD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKENZIE,     Nueces Bay,
21125                                 18778   8/1/2022     Secured: $0.00
        GAYLORD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKENZIE,     Talen Texas
21126                                 24512   8/1/2022     Secured: $0.00
        GAYLORD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKENZIE,     Talen Texas,
21127                                 30272   8/1/2022     Secured: $0.00
        GAYLORD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Barney Davis,
21128                                 4035    8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,
21129                 Laredo, LLC     9785    8/1/2022     Secured: $0.00
        CHARLES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3060 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Nueces Bay,
21130                                 15532   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Talen Texas
21131                                 21278   8/1/2022     Secured: $0.00
        CHARLES       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Talen Texas,
21132                                 27026   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Barney Davis,
21133                                 6199    8/1/2022     Secured: $0.00
        TERRENCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,
21134                 Laredo, LLC     11949   8/1/2022     Secured: $0.00
        TERRENCE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Nueces Bay,
21135                                 17696   8/1/2022     Secured: $0.00
        TERRENCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKINNEY,     Talen Texas
21136                                 23441   8/1/2022     Secured: $0.00
        TERRENCE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3061 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCKINNEY,         Talen Texas,
21137                                     29190   8/1/2022     Secured: $0.00
        TERRENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21138   MCKINNEY, VERA Laredo, LLC        32908   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21139   MCKINNEY, VERA                    33899   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21140   MCKINNEY, VERA                    34890   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21141   MCKINNEY, VERA                    35881   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21142   MCKINNEY, VERA                    36871   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21143   MCKINNIES, TROY                   9075    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3062 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21144   MCKINNIES, TROY Laredo, LLC       14825   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21145   MCKINNIES, TROY                   20572   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21146   MCKINNIES, TROY                   26304   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21147   MCKINNIES, TROY                   32066   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21148   MCKNIGHT, KIRK                    4390    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21149   MCKNIGHT, KIRK    Laredo, LLC     10140   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21150   MCKNIGHT, KIRK                    15887   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3063 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21151   MCKNIGHT, KIRK                   21633   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21152   MCKNIGHT, KIRK                   27381   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCKNIGHT,        Barney Davis,
21153                                    8831    8/1/2022     Secured: $0.00
        SHERRY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCKNIGHT,
21154                    Laredo, LLC     14581   8/1/2022     Secured: $0.00
        SHERRY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCKNIGHT,        Nueces Bay,
21155                                    20328   8/1/2022     Secured: $0.00
        SHERRY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCKNIGHT,        Talen Texas
21156                                    26060   8/1/2022     Secured: $0.00
        SHERRY           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MCKNIGHT,        Talen Texas,
21157                                    31822   8/1/2022     Secured: $0.00
        SHERRY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3064 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKNIGHT,     Barney Davis,
21158                                 4715    8/1/2022     Secured: $0.00
        TAMMIE L.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKNIGHT,
21159                 Laredo, LLC     10465   8/1/2022     Secured: $0.00
        TAMMIE L.
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKNIGHT,     Nueces Bay,
21160                                 16212   8/1/2022     Secured: $0.00
        TAMMIE L.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKNIGHT,     Talen Texas
21161                                 21958   8/1/2022     Secured: $0.00
        TAMMIE L.     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCKNIGHT,     Talen Texas,
21162                                 27706   8/1/2022     Secured: $0.00
        TAMMIE L.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAUGHLIN,   Barney Davis,
21163                                 5164    8/1/2022     Secured: $0.00
        MIRIAM        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAUGHLIN,
21164                 Laredo, LLC     10914   8/1/2022     Secured: $0.00
        MIRIAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3065 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAUGHLIN,   Nueces Bay,
21165                                 16661   8/1/2022     Secured: $0.00
        MIRIAM        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAUGHLIN,   Talen Texas
21166                                 22406   8/1/2022     Secured: $0.00
        MIRIAM        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAUGHLIN,   Talen Texas,
21167                                 28155   8/1/2022     Secured: $0.00
        MIRIAM        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAURIN,     Barney Davis,
21168                                 6067    8/1/2022     Secured: $0.00
        BARRON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAURIN,
21169                 Laredo, LLC     11817   8/1/2022     Secured: $0.00
        BARRON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAURIN,     Nueces Bay,
21170                                 17564   8/1/2022     Secured: $0.00
        BARRON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLAURIN,     Talen Texas
21171                                 23309   8/1/2022     Secured: $0.00
        BARRON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3066 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCLAURIN,         Talen Texas,
21172                                     29058   8/1/2022     Secured: $0.00
        BARRON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21173   MCLEAN, IAIN                      5984    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21174   MCLEAN, IAIN      Laredo, LLC     11734   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21175   MCLEAN, IAIN                      17481   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21176   MCLEAN, IAIN                      23226   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21177   MCLEAN, IAIN                      28975   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21178   MCLELLAN, SHARI                   5519    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3067 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21179   MCLELLAN, SHARI Laredo, LLC       11269   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21180   MCLELLAN, SHARI                   17016   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21181   MCLELLAN, SHARI                   22761   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21182   MCLELLAN, SHARI                   28510   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCLEMORE,         Barney Davis,
21183                                     8187    8/1/2022     Secured: $0.00
        MAXINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCLEMORE,
21184                     Laredo, LLC     13937   8/1/2022     Secured: $0.00
        MAXINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MCLEMORE,         Nueces Bay,
21185                                     19684   8/1/2022     Secured: $0.00
        MAXINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3068 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLEMORE,     Talen Texas
21186                                 25418   8/1/2022     Secured: $0.00
        MAXINE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCLEMORE,     Talen Texas,
21187                                 31178   8/1/2022     Secured: $0.00
        MAXINE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMAHON,      Barney Davis,
21188                                 6580    8/1/2022     Secured: $0.00
        BRIAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMAHON,
21189                 Laredo, LLC     12330   8/1/2022     Secured: $0.00
        BRIAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMAHON,      Nueces Bay,
21190                                 18077   8/1/2022     Secured: $0.00
        BRIAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMAHON,      Talen Texas
21191                                 23812   8/1/2022     Secured: $0.00
        BRIAN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMAHON,      Talen Texas,
21192                                 29571   8/1/2022     Secured: $0.00
        BRIAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3069 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMASTER,     Barney Davis,
21193                                 7797    8/1/2022     Secured: $0.00
        KEITH         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMASTER,
21194                 Laredo, LLC     13547   8/1/2022     Secured: $0.00
        KEITH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMASTER,     Nueces Bay,
21195                                 19294   8/1/2022     Secured: $0.00
        KEITH         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMASTER,     Talen Texas
21196                                 25028   8/1/2022     Secured: $0.00
        KEITH         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMASTER,     Talen Texas,
21197                                 30788   8/1/2022     Secured: $0.00
        KEITH         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLAN,     Barney Davis,
21198                                 4923    8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLAN,
21199                 Laredo, LLC     10673   8/1/2022     Secured: $0.00
        DAVID
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3070 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLAN,     Nueces Bay,
21200                                 16420   8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLAN,     Talen Texas
21201                                 22165   8/1/2022     Secured: $0.00
        DAVID         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLAN,     Talen Texas,
21202                                 27914   8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLIAN,
21203                 Laredo, LLC     32909   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLIAN,    Barney Davis,
21204                                 33900   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLIAN,    Nueces Bay,
21205                                 34891   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLIAN,    Talen Texas
21206                                 35882   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3071 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLIAN,    Talen Texas,
21207                                 36872   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLON,     Barney Davis,
21208                                 5149    8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLON,
21209                 Laredo, LLC     10899   8/1/2022     Secured: $0.00
        MELISSA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLON,     Nueces Bay,
21210                                 16646   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLON,     Talen Texas
21211                                 22391   8/1/2022     Secured: $0.00
        MELISSA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMILLON,     Talen Texas,
21212                                 28140   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Barney Davis,
21213                                 5004    8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3072 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,
21214                 Laredo, LLC     10754   8/1/2022     Secured: $0.00
        JAMES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Nueces Bay,
21215                                 16501   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Talen Texas
21216                                 22246   8/1/2022     Secured: $0.00
        JAMES         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Talen Texas,
21217                                 27995   8/1/2022     Secured: $0.00
        JAMES         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Barney Davis,
21218                                 4514    8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,
21219                 Laredo, LLC     10264   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Nueces Bay,
21220                                 16011   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3073 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Talen Texas
21221                                 21757   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Talen Texas,
21222                                 27505   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Barney Davis,
21223                                 5230    8/1/2022     Secured: $0.00
        REXIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,
21224                 Laredo, LLC     10980   8/1/2022     Secured: $0.00
        REXIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Nueces Bay,
21225                                 16727   8/1/2022     Secured: $0.00
        REXIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Talen Texas
21226                                 22472   8/1/2022     Secured: $0.00
        REXIE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMULLEN,     Talen Texas,
21227                                 28221   8/1/2022     Secured: $0.00
        REXIE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3074 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Barney Davis,
21228                                 7507    8/1/2022     Secured: $0.00
        JEFFREY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,
21229                 Laredo, LLC     13257   8/1/2022     Secured: $0.00
        JEFFREY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Nueces Bay,
21230                                 19004   8/1/2022     Secured: $0.00
        JEFFREY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Talen Texas
21231                                 24738   8/1/2022     Secured: $0.00
        JEFFREY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Talen Texas,
21232                                 30498   8/1/2022     Secured: $0.00
        JEFFREY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Barney Davis,
21233                                 8108    8/1/2022     Secured: $0.00
        MARION        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,
21234                 Laredo, LLC     13858   8/1/2022     Secured: $0.00
        MARION
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3075 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Nueces Bay,
21235                                 19605   8/1/2022     Secured: $0.00
        MARION        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Talen Texas
21236                                 25339   8/1/2022     Secured: $0.00
        MARION        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURRAY,     Talen Texas,
21237                                 31099   8/1/2022     Secured: $0.00
        MARION        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURTRY,     Barney Davis,
21238                                 9054    8/1/2022     Secured: $0.00
        TRACI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURTRY,
21239                 Laredo, LLC     14804   8/1/2022     Secured: $0.00
        TRACI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURTRY,     Nueces Bay,
21240                                 20551   8/1/2022     Secured: $0.00
        TRACI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCMURTRY,     Talen Texas
21241                                 26283   8/1/2022     Secured: $0.00
        TRACI         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3076 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCMURTRY,      Talen Texas,
21242                                  32045   8/1/2022     Secured: $0.00
        TRACI          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCNAUGHTON,    Barney Davis,
21243                                  6946    8/1/2022     Secured: $0.00
        DAWN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCNAUGHTON,
21244                  Laredo, LLC     12696   8/1/2022     Secured: $0.00
        DAWN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCNAUGHTON,    Nueces Bay,
21245                                  18443   8/1/2022     Secured: $0.00
        DAWN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCNAUGHTON,    Talen Texas
21246                                  24177   8/1/2022     Secured: $0.00
        DAWN           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCNAUGHTON,    Talen Texas,
21247                                  29937   8/1/2022     Secured: $0.00
        DAWN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21248   MCNEW, DAVID                   5495    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3077 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21249   MCNEW, DAVID   Laredo, LLC     11245   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21250   MCNEW, DAVID                   16992   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21251   MCNEW, DAVID                   22737   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21252   MCNEW, DAVID                   28486   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCQUEEN,       Barney Davis,
21253                                  3619    8/1/2022     Secured: $0.00
        SYNNACHIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCQUEEN,
21254                  Laredo, LLC     9369    8/1/2022     Secured: $0.00
        SYNNACHIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCQUEEN,       Nueces Bay,
21255                                  15116   8/1/2022     Secured: $0.00
        SYNNACHIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3078 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUEEN,      Talen Texas
21256                                 20863   8/1/2022     Secured: $0.00
        SYNNACHIA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUEEN,      Talen Texas,
21257                                 26610   8/1/2022     Secured: $0.00
        SYNNACHIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUINN,      Barney Davis,
21258                                 6041    8/1/2022     Secured: $0.00
        HANSEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUINN,
21259                 Laredo, LLC     11791   8/1/2022     Secured: $0.00
        HANSEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUINN,      Nueces Bay,
21260                                 17538   8/1/2022     Secured: $0.00
        HANSEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUINN,      Talen Texas
21261                                 23283   8/1/2022     Secured: $0.00
        HANSEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCQUINN,      Talen Texas,
21262                                 29032   8/1/2022     Secured: $0.00
        HANSEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3079 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
21263   MCVEAN, PAM                   4550    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
21264   MCVEAN, PAM   Laredo, LLC     10300   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
21265   MCVEAN, PAM                   16047   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
21266   MCVEAN, PAM                   21793   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
21267   MCVEAN, PAM                   27541   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWHORTER,    Barney Davis,
21268                                 6404    8/1/2022     Secured: $0.00
        ANITA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWHORTER,
21269                 Laredo, LLC     12154   8/1/2022     Secured: $0.00
        ANITA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3080 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWHORTER,    Nueces Bay,
21270                                 17901   8/1/2022     Secured: $0.00
        ANITA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWHORTER,    Talen Texas
21271                                 23636   8/1/2022     Secured: $0.00
        ANITA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWHORTER,    Talen Texas,
21272                                 29395   8/1/2022     Secured: $0.00
        ANITA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWILLIAMS,   Barney Davis,
21273                                 3625    8/1/2022     Secured: $0.00
        JOHNEY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWILLIAMS,
21274                 Laredo, LLC     9375    8/1/2022     Secured: $0.00
        JOHNEY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWILLIAMS,   Nueces Bay,
21275                                 15122   8/1/2022     Secured: $0.00
        JOHNEY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MCWILLIAMS,   Talen Texas
21276                                 20869   8/1/2022     Secured: $0.00
        JOHNEY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3081 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MCWILLIAMS,    Talen Texas,
21277                                  26616   8/1/2022     Secured: $0.00
        JOHNEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEAD, CAROL    Barney Davis,
21278                                  6658    8/1/2022     Secured: $0.00
        LYNN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEAD, CAROL
21279                  Laredo, LLC     12408   8/1/2022     Secured: $0.00
        LYNN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEAD, CAROL    Nueces Bay,
21280                                  18155   8/1/2022     Secured: $0.00
        LYNN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEAD, CAROL    Talen Texas
21281                                  23889   8/1/2022     Secured: $0.00
        LYNN           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEAD, CAROL    Talen Texas,
21282                                  29649   8/1/2022     Secured: $0.00
        LYNN           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21283   MEAD, LISA                     8003    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3082 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21284   MEAD, LISA     Laredo, LLC     13753   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21285   MEAD, LISA                     19500   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21286   MEAD, LISA                     25234   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21287   MEAD, LISA                     30994   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEADOR,        Barney Davis,
21288                                  5583    8/1/2022     Secured: $0.00
        BRITTANY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEADOR,
21289                  Laredo, LLC     11333   8/1/2022     Secured: $0.00
        BRITTANY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEADOR,        Nueces Bay,
21290                                  17080   8/1/2022     Secured: $0.00
        BRITTANY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3083 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,       Talen Texas
21291                                 22825   8/1/2022     Secured: $0.00
        BRITTANY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,       Talen Texas,
21292                                 28574   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,       Barney Davis,
21293                                 5833    8/1/2022     Secured: $0.00
        MARISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,
21294                 Laredo, LLC     11583   8/1/2022     Secured: $0.00
        MARISSA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,       Nueces Bay,
21295                                 17330   8/1/2022     Secured: $0.00
        MARISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,       Talen Texas
21296                                 23075   8/1/2022     Secured: $0.00
        MARISSA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MEADOR,       Talen Texas,
21297                                 28824   8/1/2022     Secured: $0.00
        MARISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3084 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEADOWS,        Barney Davis,
21298                                   6068    8/1/2022     Secured: $0.00
        BERNADETTE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEADOWS,
21299                   Laredo, LLC     11818   8/1/2022     Secured: $0.00
        BERNADETTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEADOWS,        Nueces Bay,
21300                                   17565   8/1/2022     Secured: $0.00
        BERNADETTE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEADOWS,        Talen Texas
21301                                   23310   8/1/2022     Secured: $0.00
        BERNADETTE      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEADOWS,        Talen Texas,
21302                                   29059   8/1/2022     Secured: $0.00
        BERNADETTE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21303   MEADOWS, NICK                   9305    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21304   MEADOWS, NICK Laredo, LLC       15055   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3085 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21305   MEADOWS, NICK                   20802   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21306   MEADOWS, NICK                   26534   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21307   MEADOWS, NICK                   32296   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MECHLOWICZ,     Barney Davis,
21308                                   5322    8/1/2022     Secured: $0.00
        SUSAN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MECHLOWICZ,
21309                   Laredo, LLC     11072   8/1/2022     Secured: $0.00
        SUSAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MECHLOWICZ,     Nueces Bay,
21310                                   16819   8/1/2022     Secured: $0.00
        SUSAN           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MECHLOWICZ,     Talen Texas
21311                                   22564   8/1/2022     Secured: $0.00
        SUSAN           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3086 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MECHLOWICZ,       Talen Texas,
21312                                     28313   8/1/2022     Secured: $0.00
        SUSAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21313   MEDELLIN, DIANA                   7034    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21314   MEDELLIN, DIANA Laredo, LLC       12784   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21315   MEDELLIN, DIANA                   18531   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21316   MEDELLIN, DIANA                   24265   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21317   MEDELLIN, DIANA                   30025   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MEDINA,
21318                     Laredo, LLC     32910   8/1/2022     Secured: $0.00
        ANTHONY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3087 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MEDINA,          Barney Davis,
21319                                    33901   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MEDINA,          Nueces Bay,
21320                                    34892   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MEDINA,          Talen Texas
21321                                    35883   8/1/2022     Secured: $0.00
        ANTHONY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MEDINA,          Talen Texas,
21322                                    36873   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21323   MEDINA, EILEEN                   6105    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21324   MEDINA, EILEEN   Laredo, LLC     11855   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21325   MEDINA, EILEEN                   17602   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3088 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21326   MEDINA, EILEEN                   23347   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21327   MEDINA, EILEEN                   29096   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21328   MEDINA, JANET    Laredo, LLC     32911   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21329   MEDINA, JANET                    33902   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21330   MEDINA, JANET                    34893   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21331   MEDINA, JANET                    35884   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21332   MEDINA, JANET                    36874   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3089 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDINA,
21333                  Laredo, LLC     32912   8/1/2022     Secured: $0.00
        RICARDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDINA,        Barney Davis,
21334                                  33903   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDINA,        Nueces Bay,
21335                                  34894   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDINA,        Talen Texas
21336                                  35885   8/1/2022     Secured: $0.00
        RICARDO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDINA,        Talen Texas,
21337                                  36875   8/1/2022     Secured: $0.00
        RICARDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDWHEELS
21338                  Laredo, LLC     32913   8/1/2022     Secured: $0.00
        INCORPORATED
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEDWHEELS      Barney Davis,
21339                                  33904   8/1/2022     Secured: $0.00
        INCORPORATED   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3090 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEDWHEELS       Nueces Bay,
21340                                   34895   8/1/2022     Secured: $0.00
        INCORPORATED    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEDWHEELS       Talen Texas
21341                                   35886   8/1/2022     Secured: $0.00
        INCORPORATED    Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEDWHEELS       Talen Texas,
21342                                   36876   8/1/2022     Secured: $0.00
        INCORPORATED    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21343   MEEK, RAYMUND                   8511    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21344   MEEK, RAYMUND Laredo, LLC       14261   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21345   MEEK, RAYMUND                   20008   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21346   MEEK, RAYMUND                   25740   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3091 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21347   MEEK, RAYMUND                   31502   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEGGETT,        Barney Davis,
21348                                   5953    8/1/2022     Secured: $0.00
        ABIGAIL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEGGETT,
21349                   Laredo, LLC     11703   8/1/2022     Secured: $0.00
        ABIGAIL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEGGETT,        Nueces Bay,
21350                                   17450   8/1/2022     Secured: $0.00
        ABIGAIL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEGGETT,        Talen Texas
21351                                   23195   8/1/2022     Secured: $0.00
        ABIGAIL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEGGETT,        Talen Texas,
21352                                   28944   8/1/2022     Secured: $0.00
        ABIGAIL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21353   MEHTA, BRIAN                    4873    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3092 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21354   MEHTA, BRIAN     Laredo, LLC     10623   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21355   MEHTA, BRIAN                     16370   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21356   MEHTA, BRIAN                     22116   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21357   MEHTA, BRIAN                     27864   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21358   MEICKE, TERRIE                   4727    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21359   MEICKE, TERRIE   Laredo, LLC     10477   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21360   MEICKE, TERRIE                   16224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3093 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21361   MEICKE, TERRIE                   21970   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21362   MEICKE, TERRIE                   27718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21363   MEIER, LESLIE                    7968    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21364   MEIER, LESLIE    Laredo, LLC     13718   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21365   MEIER, LESLIE                    19465   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21366   MEIER, LESLIE                    25199   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21367   MEIER, LESLIE                    30959   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3094 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21368   MEIS, JOHN     Laredo, LLC     32914   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21369   MEIS, JOHN                     33905   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21370   MEIS, JOHN                     34896   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21371   MEIS, JOHN                     35887   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21372   MEIS, JOHN                     36877   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEJIA PENA,
21373                  Laredo, LLC     32915   8/1/2022     Secured: $0.00
        REYNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MEJIA PENA,    Barney Davis,
21374                                  33906   8/1/2022     Secured: $0.00
        REYNA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3095 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MEJIA PENA,       Nueces Bay,
21375                                     34897   8/1/2022     Secured: $0.00
        REYNA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MEJIA PENA,       Talen Texas
21376                                     35888   8/1/2022     Secured: $0.00
        REYNA             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MEJIA PENA,       Talen Texas,
21377                                     36878   8/1/2022     Secured: $0.00
        REYNA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21378   MEJIA, CATARINA Laredo, LLC       32916   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21379   MEJIA, CATARINA                   33907   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21380   MEJIA, CATARINA                   34898   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21381   MEJIA, CATARINA                   35889   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3096 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21382   MEJIA, CATARINA                   36879   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21383   MEJIA, EVELIN                     4178    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21384   MEJIA, EVELIN     Laredo, LLC     9928    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21385   MEJIA, EVELIN                     15675   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21386   MEJIA, EVELIN                     21421   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21387   MEJIA, EVELIN                     27169   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MEJORADO,
21388                     Laredo, LLC     32917   8/1/2022     Secured: $0.00
        SYLVIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3097 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEJORADO,       Barney Davis,
21389                                   33908   8/1/2022     Secured: $0.00
        SYLVIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEJORADO,       Nueces Bay,
21390                                   34899   8/1/2022     Secured: $0.00
        SYLVIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEJORADO,       Talen Texas
21391                                   35890   8/1/2022     Secured: $0.00
        SYLVIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MEJORADO,       Talen Texas,
21392                                   36880   8/1/2022     Secured: $0.00
        SYLVIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21393   MEL, GONZALES                   5453    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21394   MEL, GONZALES   Laredo, LLC     11203   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21395   MEL, GONZALES                   16950   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3098 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21396   MEL, GONZALES                    22695   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21397   MEL, GONZALES                    28444   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21398   MELANCON, TINA                   9020    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21399   MELANCON, TINA Laredo, LLC       14770   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21400   MELANCON, TINA                   20517   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21401   MELANCON, TINA                   26249   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21402   MELANCON, TINA                   32011   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3099 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21403   MELDRUM, LISA                   8004    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21404   MELDRUM, LISA   Laredo, LLC     13754   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21405   MELDRUM, LISA                   19501   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21406   MELDRUM, LISA                   25235   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21407   MELDRUM, LISA                   30995   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MELENDEZ,       Barney Davis,
21408                                   7338    8/1/2022     Secured: $0.00
        GUILLERMO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MELENDEZ,
21409                   Laredo, LLC     13088   8/1/2022     Secured: $0.00
        GUILLERMO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3100 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,     Nueces Bay,
21410                                 18835   8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,     Talen Texas
21411                                 24569   8/1/2022     Secured: $0.00
        GUILLERMO     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,     Talen Texas,
21412                                 30329   8/1/2022     Secured: $0.00
        GUILLERMO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,
21413                 Laredo, LLC     32918   8/1/2022     Secured: $0.00
        NELDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,     Barney Davis,
21414                                 33909   8/1/2022     Secured: $0.00
        NELDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,     Nueces Bay,
21415                                 34900   8/1/2022     Secured: $0.00
        NELDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MELENDEZ,     Talen Texas
21416                                 35891   8/1/2022     Secured: $0.00
        NELDA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3101 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELENDEZ,      Talen Texas,
21417                                  36881   8/1/2022     Secured: $0.00
        NELDA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELESE,        Barney Davis,
21418                                  6314    8/1/2022     Secured: $0.00
        ALEMNESH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELESE,
21419                  Laredo, LLC     12064   8/1/2022     Secured: $0.00
        ALEMNESH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELESE,        Nueces Bay,
21420                                  17811   8/1/2022     Secured: $0.00
        ALEMNESH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELESE,        Talen Texas
21421                                  23546   8/1/2022     Secured: $0.00
        ALEMNESH       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELESE,        Talen Texas,
21422                                  29305   8/1/2022     Secured: $0.00
        ALEMNESH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21423   MELLO, JOYCE   Laredo, LLC     32919   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3102 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21424   MELLO, JOYCE                   33910   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21425   MELLO, JOYCE                   34901   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21426   MELLO, JOYCE                   35892   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21427   MELLO, JOYCE                   36882   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELONCON,      Barney Davis,
21428                                  6491    8/1/2022     Secured: $0.00
        BEATRICE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELONCON,
21429                  Laredo, LLC     12241   8/1/2022     Secured: $0.00
        BEATRICE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELONCON,      Nueces Bay,
21430                                  17988   8/1/2022     Secured: $0.00
        BEATRICE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3103 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MELONCON,       Talen Texas
21431                                   23723   8/1/2022     Secured: $0.00
        BEATRICE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MELONCON,       Talen Texas,
21432                                   29482   8/1/2022     Secured: $0.00
        BEATRICE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21433   MELTON, IVORY                   7409    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21434   MELTON, IVORY   Laredo, LLC     13159   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21435   MELTON, IVORY                   18906   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21436   MELTON, IVORY                   24640   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21437   MELTON, IVORY                   30400   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3104 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21438   MELTON, NANCY                   4534    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21439   MELTON, NANCY Laredo, LLC       10284   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21440   MELTON, NANCY                   16031   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21441   MELTON, NANCY                   21777   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21442   MELTON, NANCY                   27525   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MELTZER,        Barney Davis,
21443                                   9226    8/1/2022     Secured: $0.00
        CHARLENE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MELTZER,
21444                   Laredo, LLC     14976   8/1/2022     Secured: $0.00
        CHARLENE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3105 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELTZER,       Nueces Bay,
21445                                  20723   8/1/2022     Secured: $0.00
        CHARLENE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELTZER,       Talen Texas
21446                                  26455   8/1/2022     Secured: $0.00
        CHARLENE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MELTZER,       Talen Texas,
21447                                  32217   8/1/2022     Secured: $0.00
        CHARLENE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21448   MENA, RAQUEL                   8499    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21449   MENA, RAQUEL   Laredo, LLC     14249   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21450   MENA, RAQUEL                   19996   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21451   MENA, RAQUEL                   25728   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3106 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21452   MENA, RAQUEL                    31490   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21453   MENARD, FELIX   Laredo, LLC     32920   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21454   MENARD, FELIX                   33911   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21455   MENARD, FELIX                   34902   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21456   MENARD, FELIX                   35893   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21457   MENARD, FELIX                   36883   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MENCHACA,       Barney Davis,
21458                                   4672    8/1/2022     Secured: $0.00
        SHARON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3107 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MENCHACA,
21459                    Laredo, LLC     10422   8/1/2022     Secured: $0.00
        SHARON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MENCHACA,        Nueces Bay,
21460                                    16169   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MENCHACA,        Talen Texas
21461                                    21915   8/1/2022     Secured: $0.00
        SHARON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MENCHACA,        Talen Texas,
21462                                    27663   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21463   MENDEZ, ANDREA                   3923    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21464   MENDEZ, ANDREA Laredo, LLC       9673    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21465   MENDEZ, ANDREA                   15420   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3108 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21466   MENDEZ, ANDREA                   21167   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21467   MENDEZ, ANDREA                   26914   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21468   MENDEZ, COREY                    5444    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21469   MENDEZ, COREY    Laredo, LLC     11194   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21470   MENDEZ, COREY                    16941   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21471   MENDEZ, COREY                    22686   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21472   MENDEZ, COREY                    28435   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3109 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDEZ,
21473                  Laredo, LLC     32921   8/1/2022     Secured: $0.00
        CYNTHIA P.
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDEZ,        Barney Davis,
21474                                  33912   8/1/2022     Secured: $0.00
        CYNTHIA P.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDEZ,        Nueces Bay,
21475                                  34903   8/1/2022     Secured: $0.00
        CYNTHIA P.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDEZ,        Talen Texas
21476                                  35894   8/1/2022     Secured: $0.00
        CYNTHIA P.     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDEZ,        Talen Texas,
21477                                  36884   8/1/2022     Secured: $0.00
        CYNTHIA P.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDIAS,       Barney Davis,
21478                                  5607    8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDIAS,
21479                  Laredo, LLC     11357   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3110 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIAS,      Nueces Bay,
21480                                 17104   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIAS,      Talen Texas
21481                                 22849   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIAS,      Talen Texas,
21482                                 28598   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIETA,     Barney Davis,
21483                                 8308    8/1/2022     Secured: $0.00
        NANCY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIETA,
21484                 Laredo, LLC     14058   8/1/2022     Secured: $0.00
        NANCY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIETA,     Nueces Bay,
21485                                 19805   8/1/2022     Secured: $0.00
        NANCY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIETA,     Talen Texas
21486                                 25539   8/1/2022     Secured: $0.00
        NANCY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3111 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIETA,     Talen Texas,
21487                                 31299   8/1/2022     Secured: $0.00
        NANCY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIOLA,     Barney Davis,
21488                                 4025    8/1/2022     Secured: $0.00
        CESAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIOLA,
21489                 Laredo, LLC     9775    8/1/2022     Secured: $0.00
        CESAR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIOLA,     Nueces Bay,
21490                                 15522   8/1/2022     Secured: $0.00
        CESAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIOLA,     Talen Texas
21491                                 21268   8/1/2022     Secured: $0.00
        CESAR         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDIOLA,     Talen Texas,
21492                                 27016   8/1/2022     Secured: $0.00
        CESAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,      Barney Davis,
21493                                 6294    8/1/2022     Secured: $0.00
        ADRIANNA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3112 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,
21494                 Laredo, LLC     12044   8/1/2022     Secured: $0.00
        ADRIANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,      Nueces Bay,
21495                                 17791   8/1/2022     Secured: $0.00
        ADRIANNA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,      Talen Texas
21496                                 23526   8/1/2022     Secured: $0.00
        ADRIANNA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,      Talen Texas,
21497                                 29285   8/1/2022     Secured: $0.00
        ADRIANNA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,      Barney Davis,
21498                                 6969    8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,
21499                 Laredo, LLC     12719   8/1/2022     Secured: $0.00
        DEBORAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MENDOZA,      Nueces Bay,
21500                                 18466   8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3113 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MENDOZA,         Talen Texas
21501                                    24200   8/1/2022     Secured: $0.00
        DEBORAH          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MENDOZA,         Talen Texas,
21502                                    29960   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21503   MENDOZA, ERIKA                   7196    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21504   MENDOZA, ERIKA Laredo, LLC       12946   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21505   MENDOZA, ERIKA                   18693   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21506   MENDOZA, ERIKA                   24427   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21507   MENDOZA, ERIKA                   30187   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3114 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDOZA,
21508                  Laredo, LLC     32922   8/1/2022     Secured: $0.00
        VANESSA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDOZA,       Barney Davis,
21509                                  33913   8/1/2022     Secured: $0.00
        VANESSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDOZA,       Nueces Bay,
21510                                  34904   8/1/2022     Secured: $0.00
        VANESSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDOZA,       Talen Texas
21511                                  35895   8/1/2022     Secured: $0.00
        VANESSA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MENDOZA,       Talen Texas,
21512                                  36885   8/1/2022     Secured: $0.00
        VANESSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21513   MERCY, JOYCE                   7689    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21514   MERCY, JOYCE   Laredo, LLC     13439   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3115 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21515   MERCY, JOYCE                     19186   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21516   MERCY, JOYCE                     24920   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21517   MERCY, JOYCE                     30680   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21518   MERGELE, SUSAN Laredo, LLC       32923   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21519   MERGELE, SUSAN                   33914   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21520   MERGELE, SUSAN                   34905   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21521   MERGELE, SUSAN                   35896   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3116 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21522   MERGELE, SUSAN                   36886   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MERIDIAN
                                                              Priority: $0.00
        SECURITY         Barney Davis,
21523                                    2832    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $143,563,247.74 + Unliquidated
        COMPANY
                                                              Total: $143,563,247.74 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MERIDIAN
                                                              Priority: $0.00
        SECURITY         Nueces Bay,
21524                                    2839    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $143,563,247.74 + Unliquidated
        COMPANY
                                                              Total: $143,563,247.74 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MERIDIAN
                                                              Priority: $0.00
        SECURITY
21525                    Laredo, LLC     2847    7/31/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $143,563,247.74 + Unliquidated
        COMPANY
                                                              Total: $143,563,247.74 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MERRILL,
21526                    Laredo, LLC     32924   8/1/2022     Secured: $0.00
        DARRELL L.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MERRILL,         Barney Davis,
21527                                    33915   8/1/2022     Secured: $0.00
        DARRELL L.       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3117 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,       Nueces Bay,
21528                                  34906   8/1/2022     Secured: $0.00
        DARRELL L.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,       Talen Texas
21529                                  35897   8/1/2022     Secured: $0.00
        DARRELL L.     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,       Talen Texas,
21530                                  36887   8/1/2022     Secured: $0.00
        DARRELL L.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,       Barney Davis,
21531                                  7853    8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,
21532                  Laredo, LLC     13603   8/1/2022     Secured: $0.00
        KIMBERLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,       Nueces Bay,
21533                                  19350   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MERRILL,       Talen Texas
21534                                  25084   8/1/2022     Secured: $0.00
        KIMBERLY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3118 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MERRILL,          Talen Texas,
21535                                     30844   8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21536   MERRILL, SARAH                    4658    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21537   MERRILL, SARAH    Laredo, LLC     10408   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21538   MERRILL, SARAH                    16155   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21539   MERRILL, SARAH                    21901   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21540   MERRILL, SARAH                    27649   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21541   MERRITT, LONNIE                   6151    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3119 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21542   MERRITT, LONNIE Laredo, LLC       11901   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21543   MERRITT, LONNIE                   17648   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21544   MERRITT, LONNIE                   23393   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21545   MERRITT, LONNIE                   29142   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21546   MERVIS, JUDITH                    4343    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21547   MERVIS, JUDITH    Laredo, LLC     10093   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21548   MERVIS, JUDITH                    15840   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3120 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21549   MERVIS, JUDITH                   21586   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21550   MERVIS, JUDITH                   27334   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MESA
                                                              Priority: $0.00
        UNDERWRITERS     Nueces Bay,
21551                                    2125    7/29/2022    Secured: $0.00
        SPECIALTY        LLC
                                                              General Unsecured: $1,853,405.00 + Unliquidated
        INSURANCE CO.
                                                              Total: $1,853,405.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MESA
                                                              Priority: $0.00
        UNDERWRITERS
21552                    Laredo, LLC     37327   6/29/2022    Secured: $0.00
        SPECIALTY
                                                              General Unsecured: $1,853,405.00 + Unliquidated
        INSURANCE CO.
                                                              Total: $1,853,405.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MESA
                                                              Priority: $0.00
        UNDERWRITERS     Barney Davis,
21553                                    37328   6/29/2022    Secured: $0.00
        SPECIALTY        LLC
                                                              General Unsecured: $1,853,405.00 + Unliquidated
        INSURANCE CO.
                                                              Total: $1,853,405.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21554   MESSER, JOHN                     7615    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21555   MESSER, JOHN     Laredo, LLC     13365   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3121 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21556   MESSER, JOHN                     19112   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21557   MESSER, JOHN                     24846   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21558   MESSER, JOHN                     30606   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21559   METLOCK, LLOYD Laredo, LLC       32925   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21560   METLOCK, LLOYD                   33916   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21561   METLOCK, LLOYD                   34907   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21562   METLOCK, LLOYD                   35898   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3122 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21563   METLOCK, LLOYD                   36888   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21564   METTING, WAYNE Laredo, LLC       32926   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21565   METTING, WAYNE                   33917   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21566   METTING, WAYNE                   34908   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21567   METTING, WAYNE                   35899   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21568   METTING, WAYNE                   36889   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21569   MEYER, DAVID                     6928    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3123 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21570   MEYER, DAVID   Laredo, LLC     12678   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21571   MEYER, DAVID                   18425   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21572   MEYER, DAVID                   24159   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21573   MEYER, DAVID                   29919   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21574   MEYER, GARY                    7266    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21575   MEYER, GARY    Laredo, LLC     13016   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21576   MEYER, GARY                    18763   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3124 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
21577   MEYER, GARY                   24497   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
21578   MEYER, GARY                   30257   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
21579   MEYER, MARK                   5622    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
21580   MEYER, MARK   Laredo, LLC     11372   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
21581   MEYER, MARK                   17119   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
21582   MEYER, MARK                   22864   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
21583   MEYER, MARK                   28613   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3125 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21584   MEYER, MELISSA                   9297    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21585   MEYER, MELISSA   Laredo, LLC     15047   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21586   MEYER, MELISSA                   20794   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21587   MEYER, MELISSA                   26526   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21588   MEYER, MELISSA                   32288   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21589   MEYER, WILLIAM                   9163    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21590   MEYER, WILLIAM Laredo, LLC       14913   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3126 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21591   MEYER, WILLIAM                   20660   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21592   MEYER, WILLIAM                   26392   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21593   MEYER, WILLIAM                   32154   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21594   MEYERS, MIKE                     8265    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21595   MEYERS, MIKE     Laredo, LLC     14015   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21596   MEYERS, MIKE                     19762   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21597   MEYERS, MIKE                     25496   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3127 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21598   MEYERS, MIKE                    31256   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21599   MEZA, GERARDO                   7302    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21600   MEZA, GERARDO Laredo, LLC       13052   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21601   MEZA, GERARDO                   18799   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21602   MEZA, GERARDO                   24533   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21603   MEZA, GERARDO                   30293   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        MIC GENERAL                                          Priority: $0.00
21604   INSURANCE       Laredo, LLC     2568    7/31/2022    Secured: $0.00
        CORPORATION                                          General Unsecured: $4,257,277.00 + Unliquidated

                                                             Total: $4,257,277.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3128 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MIC GENERAL                                        Priority: $0.00
                      Nueces Bay,
21605   INSURANCE                     2730    7/31/2022    Secured: $0.00
                      LLC
        CORPORATION                                        General Unsecured: $4,257,277.00 + Unliquidated

                                                           Total: $4,257,277.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MIC GENERAL                                        Priority: $0.00
                      Barney Davis,
21606   INSURANCE                     2822    7/31/2022    Secured: $0.00
                      LLC
        CORPORATION                                        General Unsecured: $4,257,277.00 + Unliquidated

                                                           Total: $4,257,277.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MICEK,        Barney Davis,
21607                                 8725    8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MICEK,
21608                 Laredo, LLC     14475   8/1/2022     Secured: $0.00
        SAMANTHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MICEK,        Nueces Bay,
21609                                 20222   8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MICEK,        Talen Texas
21610                                 25954   8/1/2022     Secured: $0.00
        SAMANTHA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MICEK,        Talen Texas,
21611                                 31716   8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3129 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21612   MICK, WILLIAM    Laredo, LLC     32927   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21613   MICK, WILLIAM                    33918   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21614   MICK, WILLIAM                    34909   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21615   MICK, WILLIAM                    35900   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21616   MICK, WILLIAM                    36890   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID CITIES R&R                                        Priority: $0.00
                        Barney Davis,
21617   LLC, FRANCHISE                   5720    8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID CITIES R&R                                        Priority: $0.00
21618   LLC, FRANCHISE Laredo, LLC       11470   8/1/2022     Secured: $0.00
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3130 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID CITIES R&R                                        Priority: $0.00
                        Nueces Bay,
21619   LLC, FRANCHISE                   17217   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID CITIES R&R                                        Priority: $0.00
                        Talen Texas
21620   LLC, FRANCHISE                   22962   8/1/2022     Secured: $0.00
                        Group, LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID CITIES R&R                                        Priority: $0.00
                        Talen Texas,
21621   LLC, FRANCHISE                   28711   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID‐CENTURY                                           Priority: $0.00
                         Nueces Bay,
21622   INSURANCE                        2480    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $44,323,915.47 + Unliquidated

                                                              Total: $44,323,915.47 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID‐CENTURY                                           Priority: $0.00
21623   INSURANCE        Laredo, LLC     2851    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $44,323,915.47 + Unliquidated

                                                              Total: $44,323,915.47 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MID‐CENTURY                                           Priority: $0.00
                         Barney Davis,
21624   INSURANCE                        3191    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $44,323,915.47 + Unliquidated

                                                              Total: $44,323,915.47 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3131 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MID‐CENTURY
                                                            Priority: $0.00
        INSURANCE      Nueces Bay,
21625                                  2903    8/1/2022     Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $0.00 + Unliquidated
        TEXAS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MID‐CENTURY
                                                            Priority: $0.00
        INSURANCE      Barney Davis,
21626                                  3134    8/1/2022     Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $0.00 + Unliquidated
        TEXAS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MID‐CENTURY
                                                            Priority: $0.00
        INSURANCE
21627                  Laredo, LLC     3201    8/1/2022     Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $0.00 + Unliquidated
        TEXAS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLEBROOKS, Barney Davis,
21628                                  6186    8/1/2022     Secured: $0.00
        SHARISSA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLEBROOKS,
21629                 Laredo, LLC      11936   8/1/2022     Secured: $0.00
        SHARISSA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLEBROOKS, Nueces Bay,
21630                                  17683   8/1/2022     Secured: $0.00
        SHARISSA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLEBROOKS, Talen Texas
21631                                  23428   8/1/2022     Secured: $0.00
        SHARISSA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3132 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLEBROOKS, Talen Texas,
21632                                  29177   8/1/2022     Secured: $0.00
        SHARISSA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MIDDLESEX                                           Priority: $0.00
                       Nueces Bay,
21633   INSURANCE                      2168    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $181,576.05 + Unliquidated

                                                            Total: $181,576.05 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MIDDLESEX                                           Priority: $0.00
21634   INSURANCE      Laredo, LLC     37323   6/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $181,576.05 + Unliquidated

                                                            Total: $181,576.05 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MIDDLESEX                                           Priority: $0.00
                       Barney Davis,
21635   INSURANCE                      37324   6/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $181,576.05 + Unliquidated

                                                            Total: $181,576.05 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLETON,     Barney Davis,
21636                                  6781    8/1/2022     Secured: $0.00
        CHUNTEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLETON,
21637                  Laredo, LLC     12531   8/1/2022     Secured: $0.00
        CHUNTEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIDDLETON,     Nueces Bay,
21638                                  18278   8/1/2022     Secured: $0.00
        CHUNTEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3133 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MIDDLETON,       Talen Texas
21639                                    24012   8/1/2022     Secured: $0.00
        CHUNTEL          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MIDDLETON,       Talen Texas,
21640                                    29772   8/1/2022     Secured: $0.00
        CHUNTEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21641   MIDDOUR, DAVID Laredo, LLC       32928   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21642   MIDDOUR, DAVID                   33919   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21643   MIDDOUR, DAVID                   34910   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21644   MIDDOUR, DAVID                   35901   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21645   MIDDOUR, DAVID                   36891   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3134 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MIDVALE                                            Priority: $0.00
21646   INDEMNITY     Laredo, LLC     2789    7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $5,500.00 + Unliquidated

                                                           Total: $5,500.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MIDVALE                                            Priority: $0.00
                      Nueces Bay,
21647   INDEMNITY                     2837    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $5,500.00 + Unliquidated

                                                           Total: $5,500.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MIDVALE                                            Priority: $0.00
                      Barney Davis,
21648   INDEMNITY                     2899    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $5,500.00 + Unliquidated

                                                           Total: $5,500.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MIGNUCCI,     Barney Davis,
21649                                 3854    8/1/2022     Secured: $0.00
        WANDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MIGNUCCI,
21650                 Laredo, LLC     9604    8/1/2022     Secured: $0.00
        WANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MIGNUCCI,     Nueces Bay,
21651                                 15351   8/1/2022     Secured: $0.00
        WANDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MIGNUCCI,     Talen Texas
21652                                 21098   8/1/2022     Secured: $0.00
        WANDA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3135 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MIGNUCCI,      Talen Texas,
21653                                  26845   8/1/2022     Secured: $0.00
        WANDA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21654   MIKA, ALLAN    Laredo, LLC     32929   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21655   MIKA, ALLAN                    33920   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21656   MIKA, ALLAN                    34911   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21657   MIKA, ALLAN                    35902   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21658   MIKA, ALLAN                    36892   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21659   MIKE, LOPEZ    Laredo, LLC     32930   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3136 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21660   MIKE, LOPEZ                      33921   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21661   MIKE, LOPEZ                      34912   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21662   MIKE, LOPEZ                      35903   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21663   MIKE, LOPEZ                      36893   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21664   MIKESKA, KEVIN                   7832    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21665   MIKESKA, KEVIN   Laredo, LLC     13582   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21666   MIKESKA, KEVIN                   19329   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3137 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21667   MIKESKA, KEVIN                   25063   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21668   MIKESKA, KEVIN                   30823   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21669   MILAM, LORI                      9285    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21670   MILAM, LORI      Laredo, LLC     15035   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21671   MILAM, LORI                      20782   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21672   MILAM, LORI                      26514   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21673   MILAM, LORI                      32276   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3138 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILAM,        Barney Davis,
21674                                 9321    8/1/2022     Secured: $0.00
        SHAMEKKA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILAM,
21675                 Laredo, LLC     15071   8/1/2022     Secured: $0.00
        SHAMEKKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILAM,        Nueces Bay,
21676                                 20818   8/1/2022     Secured: $0.00
        SHAMEKKA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILAM,        Talen Texas
21677                                 26550   8/1/2022     Secured: $0.00
        SHAMEKKA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILAM,        Talen Texas,
21678                                 32312   8/1/2022     Secured: $0.00
        SHAMEKKA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILBURN,      Barney Davis,
21679                                 4991    8/1/2022     Secured: $0.00
        GREGORY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MILBURN,
21680                 Laredo, LLC     10741   8/1/2022     Secured: $0.00
        GREGORY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3139 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MILBURN,       Nueces Bay,
21681                                  16488   8/1/2022     Secured: $0.00
        GREGORY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MILBURN,       Talen Texas
21682                                  22233   8/1/2022     Secured: $0.00
        GREGORY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MILBURN,       Talen Texas,
21683                                  27982   8/1/2022     Secured: $0.00
        GREGORY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21684   MILES, AMINA                   3596    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21685   MILES, AMINA   Laredo, LLC     9346    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21686   MILES, AMINA                   15093   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21687   MILES, AMINA                   20841   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3140 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21688   MILES, AMINA                     26587   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21689   MILES, CHESTER                   6732    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21690   MILES, CHESTER   Laredo, LLC     12482   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21691   MILES, CHESTER                   18229   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21692   MILES, CHESTER                   23963   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21693   MILES, CHESTER                   29723   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21694   MILES, ERIC                      5545    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3141 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21695   MILES, ERIC    Laredo, LLC     11295   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21696   MILES, ERIC                    17042   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21697   MILES, ERIC                    22787   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21698   MILES, ERIC                    28536   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MILFORD
                                                            Priority: $0.00
        CASUALTY
21699                  Laredo, LLC     3514    8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $1,140,300.00 + Unliquidated
        COMPANY
                                                            Total: $1,140,300.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MILFORD
                                                            Priority: $0.00
        CASUALTY       Nueces Bay,
21700                                  3518    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,140,300.00 + Unliquidated
        COMPANY
                                                            Total: $1,140,300.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MILFORD
                                                            Priority: $0.00
        CASUALTY       Barney Davis,
21701                                  3569    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $1,140,300.00 + Unliquidated
        COMPANY
                                                            Total: $1,140,300.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3142 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLAR MACHINE, Barney Davis,
21702                                    5933    8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLAR MACHINE,
21703                   Laredo, LLC      11683   8/1/2022     Secured: $0.00
        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLAR MACHINE, Nueces Bay,
21704                                    17430   8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLAR MACHINE, Talen Texas
21705                                    23175   8/1/2022     Secured: $0.00
        LLC             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLAR MACHINE, Talen Texas,
21706                                    28924   8/1/2022     Secured: $0.00
        LLC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21707   MILLAR, JOHN                     4305    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21708   MILLAR, JOHN     Laredo, LLC     10055   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3143 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21709   MILLAR, JOHN                   15802   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21710   MILLAR, JOHN                   21548   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21711   MILLAR, JOHN                   27296   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21712   MILLER, ANNA                   6414    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21713   MILLER, ANNA   Laredo, LLC     12164   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21714   MILLER, ANNA                   17911   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21715   MILLER, ANNA                   23646   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3144 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21716   MILLER, ANNA                      29405   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21717   MILLER, CARL E.                   6626    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21718   MILLER, CARL E.   Laredo, LLC     12376   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21719   MILLER, CARL E.                   18123   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21720   MILLER, CARL E.                   23857   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21721   MILLER, CARL E.                   29617   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21722   MILLER, CHERYL                    6727    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3145 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21723   MILLER, CHERYL   Laredo, LLC     12477   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21724   MILLER, CHERYL                   18224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21725   MILLER, CHERYL                   23958   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21726   MILLER, CHERYL                   29718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21727   MILLER, CHRIS                    6739    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21728   MILLER, CHRIS    Laredo, LLC     12489   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21729   MILLER, CHRIS                    18236   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3146 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21730   MILLER, CHRIS                   23970   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21731   MILLER, CHRIS                   29730   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,
21732                   Laredo, LLC     32931   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Barney Davis,
21733                                   33922   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Nueces Bay,
21734                                   34913   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Talen Texas
21735                                   35904   8/1/2022     Secured: $0.00
        CHRISTOPHER     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Talen Texas,
21736                                   36894   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3147 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Barney Davis,
21737                                   5766    8/1/2022     Secured: $0.00
        CLARENCE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,
21738                   Laredo, LLC     11516   8/1/2022     Secured: $0.00
        CLARENCE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Nueces Bay,
21739                                   17263   8/1/2022     Secured: $0.00
        CLARENCE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Talen Texas
21740                                   23008   8/1/2022     Secured: $0.00
        CLARENCE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MILLER,         Talen Texas,
21741                                   28757   8/1/2022     Secured: $0.00
        CLARENCE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21742   MILLER, DEBRA                   4933    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21743   MILLER, DEBRA   Laredo, LLC     10683   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3148 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21744   MILLER, DEBRA                   16430   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21745   MILLER, DEBRA                   22175   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21746   MILLER, DEBRA                   27924   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21747   MILLER, GWEN                    5527    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21748   MILLER, GWEN    Laredo, LLC     11277   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21749   MILLER, GWEN                    17024   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21750   MILLER, GWEN                    22769   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3149 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
21751   MILLER, GWEN                       28518   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
21752   MILLER, JENNIFER                   7523    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
21753   MILLER, JENNIFER Laredo, LLC       13273   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
21754   MILLER, JENNIFER                   19020   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
21755   MILLER, JENNIFER                   24754   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
21756   MILLER, JENNIFER                   30514   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
21757   MILLER, JOHN                       7616    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3150 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21758   MILLER, JOHN     Laredo, LLC     13366   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21759   MILLER, JOHN                     19113   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21760   MILLER, JOHN                     24847   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21761   MILLER, JOHN                     30607   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21762   MILLER, JOSEPH   Laredo, LLC     32932   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21763   MILLER, JOSEPH                   33923   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21764   MILLER, JOSEPH                   34914   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3151 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21765   MILLER, JOSEPH                   35905   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21766   MILLER, JOSEPH                   36895   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21767   MILLER, LADAWN                   3603    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21768   MILLER, LADAWN Laredo, LLC       9353    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21769   MILLER, LADAWN                   15100   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21770   MILLER, LADAWN                   20847   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21771   MILLER, LADAWN                   26594   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3152 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21772   MILLER, LOIS      Laredo, LLC     32933   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21773   MILLER, LOIS                      33924   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21774   MILLER, LOIS                      34915   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21775   MILLER, LOIS                      35906   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21776   MILLER, LOIS                      36896   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21777   MILLER, MARIELA                   8096    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21778   MILLER, MARIELA Laredo, LLC       13846   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3153 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21779   MILLER, MARIELA                   19593   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21780   MILLER, MARIELA                   25327   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21781   MILLER, MARIELA                   31087   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21782   MILLER, MARION Laredo, LLC        32934   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21783   MILLER, MARION                    33925   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21784   MILLER, MARION                    34916   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21785   MILLER, MARION                    35907   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3154 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21786   MILLER, MARION                    36897   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21787   MILLER, MARY                      8163    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21788   MILLER, MARY      Laredo, LLC     13913   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21789   MILLER, MARY                      19660   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21790   MILLER, MARY                      25394   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21791   MILLER, MARY                      31154   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21792   MILLER, MICHAEL                   8236    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3155 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21793   MILLER, MICHAEL Laredo, LLC       13986   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21794   MILLER, MICHAEL                   19733   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21795   MILLER, MICHAEL                   25467   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21796   MILLER, MICHAEL                   31227   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21797   MILLER, MISTY                     5891    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21798   MILLER, MISTY     Laredo, LLC     11641   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21799   MILLER, MISTY                     17388   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3156 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21800   MILLER, MISTY                   23133   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21801   MILLER, MISTY                   28882   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21802   MILLER, OREN                    8366    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21803   MILLER, OREN    Laredo, LLC     14116   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21804   MILLER, OREN                    19863   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21805   MILLER, OREN                    25596   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21806   MILLER, OREN                    31357   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3157 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21807   MILLER, PAUL                     8415    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21808   MILLER, PAUL     Laredo, LLC     14165   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21809   MILLER, PAUL                     19912   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21810   MILLER, PAUL                     25645   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21811   MILLER, PAUL                     31406   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21812   MILLER, RHONDA                   4602    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21813   MILLER, RHONDA Laredo, LLC       10352   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3158 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21814   MILLER, RHONDA                   16099   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21815   MILLER, RHONDA                   21845   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21816   MILLER, RHONDA                   27593   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21817   MILLER, SHARON Laredo, LLC       32935   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21818   MILLER, SHARON                   33926   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21819   MILLER, SHARON                   34917   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21820   MILLER, SHARON                   35908   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3159 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21821   MILLER, SHARON                    36898   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21822   MILLER, SHIRLEY                   8838    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21823   MILLER, SHIRLEY   Laredo, LLC     14588   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21824   MILLER, SHIRLEY                   20335   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21825   MILLER, SHIRLEY                   26067   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21826   MILLER, SHIRLEY                   31829   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21827   MILLER, STEPHEN                   8889    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3160 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21828   MILLER, STEPHEN Laredo, LLC       14639   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21829   MILLER, STEPHEN                   20386   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21830   MILLER, STEPHEN                   26118   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21831   MILLER, STEPHEN                   31880   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21832   MILLER, STEVE                     5318    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21833   MILLER, STEVE     Laredo, LLC     11068   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21834   MILLER, STEVE                     16815   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3161 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21835   MILLER, STEVE                    22560   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21836   MILLER, STEVE                    28309   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21837   MILLER, STEVEN                   8896    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21838   MILLER, STEVEN   Laredo, LLC     14646   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21839   MILLER, STEVEN                   20393   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21840   MILLER, STEVEN                   26125   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21841   MILLER, STEVEN                   31887   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3162 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21842   MILLER, TRILBY                   9069    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21843   MILLER, TRILBY   Laredo, LLC     14819   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21844   MILLER, TRILBY                   20566   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21845   MILLER, TRILBY                   26298   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21846   MILLER, TRILBY                   32060   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21847   MILLER, WESLEY                   9148    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21848   MILLER, WESLEY   Laredo, LLC     14898   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3163 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21849   MILLER, WESLEY                   20645   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21850   MILLER, WESLEY                   26377   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21851   MILLER, WESLEY                   32139   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLHOLLON,      Barney Davis,
21852                                    3895    8/1/2022     Secured: $0.00
        SHANNON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLHOLLON,
21853                    Laredo, LLC     9645    8/1/2022     Secured: $0.00
        SHANNON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLHOLLON,      Nueces Bay,
21854                                    15392   8/1/2022     Secured: $0.00
        SHANNON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLHOLLON,      Talen Texas
21855                                    21139   8/1/2022     Secured: $0.00
        SHANNON          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3164 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLHOLLON,      Talen Texas,
21856                                    26886   8/1/2022     Secured: $0.00
        SHANNON          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLINGTON,      Barney Davis,
21857                                    4945    8/1/2022     Secured: $0.00
        DON              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLINGTON,
21858                    Laredo, LLC     10695   8/1/2022     Secured: $0.00
        DON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLINGTON,      Nueces Bay,
21859                                    16442   8/1/2022     Secured: $0.00
        DON              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLINGTON,      Talen Texas
21860                                    22187   8/1/2022     Secured: $0.00
        DON              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILLINGTON,      Talen Texas,
21861                                    27936   8/1/2022     Secured: $0.00
        DON              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21862   MILLS, ANTHONY                   5579    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3165 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21863   MILLS, ANTHONY Laredo, LLC       11329   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21864   MILLS, ANTHONY                   17076   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21865   MILLS, ANTHONY                   22821   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21866   MILLS, ANTHONY                   28570   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21867   MILLS, BILLY                     6522    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21868   MILLS, BILLY     Laredo, LLC     12272   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21869   MILLS, BILLY                     18019   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3166 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21870   MILLS, BILLY                   23754   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21871   MILLS, BILLY                   29513   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
21872   MILLS, DEBRA   Laredo, LLC     32936   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
21873   MILLS, DEBRA                   33927   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
21874   MILLS, DEBRA                   34918   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
21875   MILLS, DEBRA                   35909   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
21876   MILLS, DEBRA                   36899   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3167 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21877   MILLS, ROBERT                   8613    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21878   MILLS, ROBERT   Laredo, LLC     14363   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21879   MILLS, ROBERT                   20110   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21880   MILLS, ROBERT                   25842   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21881   MILLS, ROBERT                   31604   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21882   MILLS, RONALD                   4641    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21883   MILLS, RONALD   Laredo, LLC     10391   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3168 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21884   MILLS, RONALD                    16138   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21885   MILLS, RONALD                    21884   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21886   MILLS, RONALD                    27632   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21887   MILLS, TERRELL   Laredo, LLC     32937   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21888   MILLS, TERRELL                   33928   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21889   MILLS, TERRELL                   34919   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21890   MILLS, TERRELL                   35910   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3169 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21891   MILLS, TERRELL                   36900   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILNER,          Barney Davis,
21892                                    7152    8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILNER,
21893                    Laredo, LLC     12902   8/1/2022     Secured: $0.00
        ELIZABETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILNER,          Nueces Bay,
21894                                    18649   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILNER,          Talen Texas
21895                                    24383   8/1/2022     Secured: $0.00
        ELIZABETH        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MILNER,          Talen Texas,
21896                                    30143   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21897   MILNER, MARIE                    8094    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3170 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21898   MILNER, MARIE    Laredo, LLC     13844   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21899   MILNER, MARIE                    19591   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21900   MILNER, MARIE                    25325   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21901   MILNER, MARIE                    31085   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21902   MIMS, LAKEISHA                   4396    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21903   MIMS, LAKEISHA   Laredo, LLC     10146   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21904   MIMS, LAKEISHA                   15893   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3171 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21905   MIMS, LAKEISHA                   21639   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21906   MIMS, LAKEISHA                   27387   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
21907   MIN, BRIAN                       6581    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
21908   MIN, BRIAN       Laredo, LLC     12331   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
21909   MIN, BRIAN                       18078   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
21910   MIN, BRIAN                       23813   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
21911   MIN, BRIAN                       29572   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3172 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21912   MING, MARK        Laredo, LLC     32938   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21913   MING, MARK                        33929   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21914   MING, MARK                        34920   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21915   MING, MARK                        35911   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21916   MING, MARK                        36901   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21917   MINICA, CHARLES                   5756    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21918   MINICA, CHARLES Laredo, LLC       11506   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3173 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21919   MINICA, CHARLES                   17253   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21920   MINICA, CHARLES                   22998   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21921   MINICA, CHARLES                   28747   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21922   MINJAREZ, OSCAR Laredo, LLC       32939   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21923   MINJAREZ, OSCAR                   33930   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21924   MINJAREZ, OSCAR                   34921   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21925   MINJAREZ, OSCAR                   35912   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3174 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21926   MINJAREZ, OSCAR                   36902   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21927   MINNEY, DONNA                     7075    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21928   MINNEY, DONNA Laredo, LLC         12825   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21929   MINNEY, DONNA                     18572   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21930   MINNEY, DONNA                     24306   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21931   MINNEY, DONNA                     30066   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21932   MINOR, DARREN                     6909    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3175 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21933   MINOR, DARREN   Laredo, LLC     12659   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21934   MINOR, DARREN                   18406   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21935   MINOR, DARREN                   24140   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21936   MINOR, DARREN                   29900   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21937   MINOR, GARY                     7267    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21938   MINOR, GARY     Laredo, LLC     13017   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21939   MINOR, GARY                     18764   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3176 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21940   MINOR, GARY                     24498   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21941   MINOR, GARY                     30258   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
21942   MINOR, WILLIE                   9174    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
21943   MINOR, WILLIE   Laredo, LLC     14924   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
21944   MINOR, WILLIE                   20671   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
21945   MINOR, WILLIE                   26403   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
21946   MINOR, WILLIE                   32165   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3177 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21947   MINSKY, GAIL                      5979    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21948   MINSKY, GAIL      Laredo, LLC     11729   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
21949   MINSKY, GAIL                      17476   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
21950   MINSKY, GAIL                      23221   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
21951   MINSKY, GAIL                      28970   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
21952   MINTER, SHALAIC                   8777    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
21953   MINTER, SHALAIC Laredo, LLC       14527   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3178 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
21954   MINTER, SHALAIC                  20274   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
21955   MINTER, SHALAIC                  26006   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
21956   MINTER, SHALAIC                  31768   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MIRANDA, IDAEL
21957                  Laredo, LLC       32940   8/1/2022     Secured: $0.00
        JR.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MIRANDA, IDAEL Barney Davis,
21958                                    33931   8/1/2022     Secured: $0.00
        JR.            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MIRANDA, IDAEL Nueces Bay,
21959                                    34922   8/1/2022     Secured: $0.00
        JR.            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MIRANDA, IDAEL Talen Texas
21960                                    35913   8/1/2022     Secured: $0.00
        JR.            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3179 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MIRANDA, IDAEL Talen Texas,
21961                                   36903   8/1/2022     Secured: $0.00
        JR.            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MISHAL,
21962                   Laredo, LLC     32941   8/1/2022     Secured: $0.00
        MOHAMMAD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MISHAL,         Barney Davis,
21963                                   33932   8/1/2022     Secured: $0.00
        MOHAMMAD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MISHAL,         Nueces Bay,
21964                                   34923   8/1/2022     Secured: $0.00
        MOHAMMAD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MISHAL,         Talen Texas
21965                                   35914   8/1/2022     Secured: $0.00
        MOHAMMAD        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MISHAL,         Talen Texas,
21966                                   36904   8/1/2022     Secured: $0.00
        MOHAMMAD        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MISSOURI FARM
21967                   Laredo, LLC     2751    7/31/2022    Secured: $0.00
        BUREAU
                                                             General Unsecured: $1,192.00 + Unliquidated

                                                             Total: $1,192.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3180 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MISSOURI FARM    Barney Davis,
21968                                    2795    7/31/2022    Secured: $0.00
        BUREAU           LLC
                                                              General Unsecured: $1,192.00 + Unliquidated

                                                              Total: $1,192.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MISSOURI FARM    Nueces Bay,
21969                                    2869    7/31/2022    Secured: $0.00
        BUREAU           LLC
                                                              General Unsecured: $1,192.00 + Unliquidated

                                                              Total: $1,192.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MIT                                                   Priority: $0.00
                         Barney Davis,
21970   PROFESSIONALS,                   5934    8/1/2022     Secured: $0.00
                         LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MIT                                                   Priority: $0.00
21971   PROFESSIONALS,   Laredo, LLC     11684   8/1/2022     Secured: $0.00
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MIT                                                   Priority: $0.00
                         Nueces Bay,
21972   PROFESSIONALS,                   17431   8/1/2022     Secured: $0.00
                         LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MIT                                                   Priority: $0.00
                         Talen Texas
21973   PROFESSIONALS,                   23176   8/1/2022     Secured: $0.00
                         Group, LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        MIT                                                   Priority: $0.00
                         Talen Texas,
21974   PROFESSIONALS,                   28925   8/1/2022     Secured: $0.00
                         LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3181 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Barney Davis,
21975                                 6379    8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,
21976                 Laredo, LLC     12129   8/1/2022     Secured: $0.00
        ANDREA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Nueces Bay,
21977                                 17876   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Talen Texas
21978                                 23611   8/1/2022     Secured: $0.00
        ANDREA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Talen Texas,
21979                                 29370   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MITCHELL,                                          Priority: $0.00
                      Barney Davis,
21980   ANDREA ‐                      6378    8/1/2022     Secured: $0.00
                      LLC
        VANESSA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MITCHELL,                                          Priority: $0.00
21981   ANDREA ‐      Laredo, LLC     12128   8/1/2022     Secured: $0.00
        VANESSA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3182 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MITCHELL,                                          Priority: $0.00
                      Nueces Bay,
21982   ANDREA ‐                      17875   8/1/2022     Secured: $0.00
                      LLC
        VANESSA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MITCHELL,                                          Priority: $0.00
                      Talen Texas
21983   ANDREA ‐                      23610   8/1/2022     Secured: $0.00
                      Group, LLC
        VANESSA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MITCHELL,                                          Priority: $0.00
                      Talen Texas,
21984   ANDREA ‐                      29369   8/1/2022     Secured: $0.00
                      LLC
        VANESSA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Barney Davis,
21985                                 4829    8/1/2022     Secured: $0.00
        ANTIONETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,
21986                 Laredo, LLC     10579   8/1/2022     Secured: $0.00
        ANTIONETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Nueces Bay,
21987                                 16326   8/1/2022     Secured: $0.00
        ANTIONETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Talen Texas
21988                                 22072   8/1/2022     Secured: $0.00
        ANTIONETTE    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3183 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MITCHELL,          Talen Texas,
21989                                      27820   8/1/2022     Secured: $0.00
        ANTIONETTE         LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
21990   MITCHELL, JOSEF                    5609    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
21991   MITCHELL, JOSEF Laredo, LLC        11359   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
21992   MITCHELL, JOSEF                    17106   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
21993   MITCHELL, JOSEF                    22851   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
21994   MITCHELL, JOSEF                    28600   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
21995   MITCHELL, KEISHA                   7794    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3184 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
21996   MITCHELL, KEISHA Laredo, LLC       13544   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
21997   MITCHELL, KEISHA                   19291   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
21998   MITCHELL, KEISHA                   25025   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
21999   MITCHELL, KEISHA                   30785   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
22000   MITCHELL, LARRY                    5084    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
22001   MITCHELL, LARRY Laredo, LLC        10834   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
22002   MITCHELL, LARRY                    16581   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3185 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22003   MITCHELL, LARRY                   22326   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22004   MITCHELL, LARRY                   28075   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Barney Davis,
22005                                     7918    8/1/2022     Secured: $0.00
        LATASHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,
22006                     Laredo, LLC     13668   8/1/2022     Secured: $0.00
        LATASHA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Nueces Bay,
22007                                     19415   8/1/2022     Secured: $0.00
        LATASHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Talen Texas
22008                                     25149   8/1/2022     Secured: $0.00
        LATASHA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Talen Texas,
22009                                     30909   8/1/2022     Secured: $0.00
        LATASHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3186 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,
22010                 Laredo, LLC     32942   8/1/2022     Secured: $0.00
        MYRNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Barney Davis,
22011                                 33933   8/1/2022     Secured: $0.00
        MYRNA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Nueces Bay,
22012                                 34924   8/1/2022     Secured: $0.00
        MYRNA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Talen Texas
22013                                 35915   8/1/2022     Secured: $0.00
        MYRNA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Talen Texas,
22014                                 36905   8/1/2022     Secured: $0.00
        MYRNA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,     Barney Davis,
22015                                 6012    8/1/2022     Secured: $0.00
        NATASHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MITCHELL,
22016                 Laredo, LLC     11762   8/1/2022     Secured: $0.00
        NATASHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3187 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Nueces Bay,
22017                                     17509   8/1/2022     Secured: $0.00
        NATASHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Talen Texas
22018                                     23254   8/1/2022     Secured: $0.00
        NATASHA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHELL,         Talen Texas,
22019                                     29003   8/1/2022     Secured: $0.00
        NATASHA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22020   MITCHELL, RICKY                   8582    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22021   MITCHELL, RICKY Laredo, LLC       14332   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22022   MITCHELL, RICKY                   20079   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22023   MITCHELL, RICKY                   25811   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3188 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22024   MITCHELL, RICKY                   31573   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHUM,          Barney Davis,
22025                                     5465    8/1/2022     Secured: $0.00
        LASHAILA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHUM,
22026                     Laredo, LLC     11215   8/1/2022     Secured: $0.00
        LASHAILA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHUM,          Nueces Bay,
22027                                     16962   8/1/2022     Secured: $0.00
        LASHAILA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHUM,          Talen Texas
22028                                     22707   8/1/2022     Secured: $0.00
        LASHAILA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MITCHUM,          Talen Texas,
22029                                     28456   8/1/2022     Secured: $0.00
        LASHAILA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3189 of 5163
             Name of
Ref #        Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim
        MITSUI
                                                            503(b)(9): $0.00
        SUMITOMO
                                                            Other Administrative: $0.00
        INSURANCE
                                                            Priority: $0.00
        COMPANY FOR     Barney Davis,
22030                                   1604   8/1/2022     Secured: $0.00
        AIOI NISSAY     LLC
                                                            General Unsecured: $0.00 + Unliquidated
        DOWA
        INSURANCE
                                                            Total: $0.00 + Unliquidated
        COMPANY LTD
                                                            503(b)(9): $0.00
        MITSUI                                              Other Administrative: $0.00
        SUMITOMO                                            Priority: $0.00
22031   INSURANCE       Laredo, LLC     1517   8/1/2022     Secured: $0.00
        COMPANY OF                                          General Unsecured: $1,547,510.90 + Unliquidated
        AMERICA
                                                            Total: $1,547,510.90 + Unliquidated
                                                            503(b)(9): $0.00
        MITSUI                                              Other Administrative: $0.00
        SUMITOMO                                            Priority: $0.00
                        Nueces Bay,
22032   INSURANCE                       1527   8/1/2022     Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $1,547,510.90 + Unliquidated
        AMERICA
                                                            Total: $1,547,510.90 + Unliquidated
                                                            503(b)(9): $0.00
        MITSUI                                              Other Administrative: $0.00
        SUMITOMO                                            Priority: $0.00
                        Barney Davis,
22033   INSURANCE                       2082   8/1/2022     Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $1,547,510.90 + Unliquidated
        AMERICA
                                                            Total: $1,547,510.90 + Unliquidated
                                                            503(b)(9): $0.00
        MITSUI                                              Other Administrative: $0.00
        SUMITOMO                                            Priority: $0.00
22034   INSURANCE       Laredo, LLC     2374   7/31/2022    Secured: $0.00
        COMPANY OF                                          General Unsecured: $22,002,326.60 + Unliquidated
        AMERICA
                                                            Total: $22,002,326.60 + Unliquidated

                                                            503(b)(9): $0.00
        MITSUI                                              Other Administrative: $0.00
        SUMITOMO                                            Priority: $0.00
                        Nueces Bay,
22035   INSURANCE                       2622   7/31/2022    Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $22,002,326.60 + Unliquidated
        AMERICA
                                                            Total: $22,002,326.60 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3190 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
        MITSUI                                              Other Administrative: $0.00
        SUMITOMO                                            Priority: $0.00
                        Barney Davis,
22036   INSURANCE                       2819   7/31/2022    Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $22,002,326.60 + Unliquidated
        AMERICA
                                                            Total: $22,002,326.60 + Unliquidated
        MITSUI
        SUMITOMO                                            503(b)(9): $0.00
        INSURANCE                                           Other Administrative: $0.00
        COMPANY OF                                          Priority: $0.00
                      Nueces Bay,
22037   AMERICA FOR                     2560   8/1/2022     Secured: $0.00
                      LLC
        AIOI NISSAY                                         General Unsecured: $0.00 + Unliquidated
        DOWA INSURACE
        COMPANY                                             Total: $0.00 + Unliquidated
        LIMITED.
        MITSUI
        SUMITOMO
                                                            503(b)(9): $0.00
        INSURANCE
                                                            Other Administrative: $0.00
        COMPANY OF
                                                            Priority: $0.00
        AMERICA FOR
22038                 Laredo, LLC       3395   8/1/2022     Secured: $0.00
        AIOI NISSAY
                                                            General Unsecured: $0.00 + Unliquidated
        DOWA
        INSURANCE
                                                            Total: $0.00 + Unliquidated
        COMPANY
        LIMITED,
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MITSUI
                                                            Priority: $0.00
        SUMITOMO
22039                   Laredo, LLC     1844   7/31/2022    Secured: $0.00
        INSURANCE USA
                                                            General Unsecured: $5,200,000.00 + Unliquidated
        INC.
                                                            Total: $5,200,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MITSUI
                                                            Priority: $0.00
        SUMITOMO        Barney Davis,
22040                                   2494   7/31/2022    Secured: $0.00
        INSURANCE USA   LLC
                                                            General Unsecured: $5,200,000.00 + Unliquidated
        INC.
                                                            Total: $5,200,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MITSUI
                                                            Priority: $0.00
        SUMITOMO        Nueces Bay,
22041                                   2504   7/31/2022    Secured: $0.00
        INSURANCE USA   LLC
                                                            General Unsecured: $5,200,000.00 + Unliquidated
        INC.
                                                            Total: $5,200,000.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3191 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Barney Davis,
22042   MOCK, JOHN                         5992    8/1/2022     Secured: $0.00
                          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
22043   MOCK, JOHN        Laredo, LLC      11742   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Nueces Bay,
22044   MOCK, JOHN                         17489   8/1/2022     Secured: $0.00
                          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Talen Texas
22045   MOCK, JOHN                         23234   8/1/2022     Secured: $0.00
                          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                          Talen Texas,
22046   MOCK, JOHN                         28983   8/1/2022     Secured: $0.00
                          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        MODERN BACK &
                                                                Priority: $0.00
        NECK CLINIC, INC., Barney Davis,
22047                                      5677    8/1/2022     Secured: $0.00
        FRANCHISE TAX LLC
                                                                General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        MODERN BACK &
                                                                Priority: $0.00
        NECK CLINIC, INC.,
22048                      Laredo, LLC     11427   8/1/2022     Secured: $0.00
        FRANCHISE TAX
                                                                General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3192 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MODERN BACK &
                                                               Priority: $0.00
        NECK CLINIC, INC., Nueces Bay,
22049                                     17174   8/1/2022     Secured: $0.00
        FRANCHISE TAX LLC
                                                               General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MODERN BACK &
                                                               Priority: $0.00
        NECK CLINIC, INC., Talen Texas
22050                                     22919   8/1/2022     Secured: $0.00
        FRANCHISE TAX Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MODERN BACK &
                                                               Priority: $0.00
        NECK CLINIC, INC., Talen Texas,
22051                                     28668   8/1/2022     Secured: $0.00
        FRANCHISE TAX LLC
                                                               General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MOFFETT,                                               Priority: $0.00
                          Barney Davis,
22052   MELISSA                           4508    8/1/2022     Secured: $0.00
                          LLC
        STAMPLEY                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MOFFETT,                                               Priority: $0.00
22053   MELISSA           Laredo, LLC     10258   8/1/2022     Secured: $0.00
        STAMPLEY                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MOFFETT,                                               Priority: $0.00
                          Nueces Bay,
22054   MELISSA                           16005   8/1/2022     Secured: $0.00
                          LLC
        STAMPLEY                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        MOFFETT,                                               Priority: $0.00
                          Talen Texas
22055   MELISSA                           21751   8/1/2022     Secured: $0.00
                          Group, LLC
        STAMPLEY                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3193 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MOFFETT,                                           Priority: $0.00
                      Talen Texas,
22056   MELISSA                       27499   8/1/2022     Secured: $0.00
                      LLC
        STAMPLEY                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOHAMMED,     Barney Davis,
22057                                 6281    8/1/2022     Secured: $0.00
        ABDUL MALIK   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOHAMMED,
22058                 Laredo, LLC     12031   8/1/2022     Secured: $0.00
        ABDUL MALIK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOHAMMED,     Nueces Bay,
22059                                 17778   8/1/2022     Secured: $0.00
        ABDUL MALIK   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOHAMMED,     Talen Texas
22060                                 23513   8/1/2022     Secured: $0.00
        ABDUL MALIK   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOHAMMED,     Talen Texas,
22061                                 29272   8/1/2022     Secured: $0.00
        ABDUL MALIK   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOHAMUD,      Barney Davis,
22062                                 4841    8/1/2022     Secured: $0.00
        AYAN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3194 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOHAMUD,
22063                   Laredo, LLC     10591   8/1/2022     Secured: $0.00
        AYAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOHAMUD,        Nueces Bay,
22064                                   16338   8/1/2022     Secured: $0.00
        AYAN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOHAMUD,        Talen Texas
22065                                   22084   8/1/2022     Secured: $0.00
        AYAN            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOHAMUD,        Talen Texas,
22066                                   27832   8/1/2022     Secured: $0.00
        AYAN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22067   MOHER, STEVEN                   8897    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22068   MOHER, STEVEN   Laredo, LLC     14647   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22069   MOHER, STEVEN                   20394   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3195 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22070   MOHER, STEVEN                    26126   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22071   MOHER, STEVEN                    31888   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22072   MOHLER, RONALD                   8669    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22073   MOHLER, RONALD Laredo, LLC       14419   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22074   MOHLER, RONALD                   20166   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22075   MOHLER, RONALD                   25898   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22076   MOHLER, RONALD                   31660   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3196 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOLINA,         Barney Davis,
22077                                   6078    8/1/2022     Secured: $0.00
        CANDICE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOLINA,
22078                   Laredo, LLC     11828   8/1/2022     Secured: $0.00
        CANDICE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOLINA,         Nueces Bay,
22079                                   17575   8/1/2022     Secured: $0.00
        CANDICE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOLINA,         Talen Texas
22080                                   23320   8/1/2022     Secured: $0.00
        CANDICE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOLINA,         Talen Texas,
22081                                   29069   8/1/2022     Secured: $0.00
        CANDICE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22082   MOLINA, DANNY                   3664    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22083   MOLINA, DANNY Laredo, LLC       9414    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3197 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22084   MOLINA, DANNY                     15161   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22085   MOLINA, DANNY                     20908   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22086   MOLINA, DANNY                     26655   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22087   MOLINA, EUSEBIO Laredo, LLC       32943   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22088   MOLINA, EUSEBIO                   33934   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22089   MOLINA, EUSEBIO                   34925   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22090   MOLINA, EUSEBIO                   35916   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3198 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22091   MOLINA, EUSEBIO                   36906   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLINA,           Barney Davis,
22092                                     4188    8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLINA,
22093                     Laredo, LLC     9938    8/1/2022     Secured: $0.00
        FRANCISCO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLINA,           Nueces Bay,
22094                                     15685   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLINA,           Talen Texas
22095                                     21431   8/1/2022     Secured: $0.00
        FRANCISCO         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLINA,           Talen Texas,
22096                                     27179   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22097   MOLISON, ALFRED                   6329    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3199 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22098   MOLISON, ALFRED Laredo, LLC       12079   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22099   MOLISON, ALFRED                   17826   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22100   MOLISON, ALFRED                   23561   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22101   MOLISON, ALFRED                   29320   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLLENHOUR,       Barney Davis,
22102                                     8903    8/1/2022     Secured: $0.00
        SUSAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLLENHOUR,
22103                     Laredo, LLC     14653   8/1/2022     Secured: $0.00
        SUSAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOLLENHOUR,       Nueces Bay,
22104                                     20400   8/1/2022     Secured: $0.00
        SUSAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3200 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOLLENHOUR,   Talen Texas
22105                                 26132   8/1/2022     Secured: $0.00
        SUSAN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOLLENHOUR,   Talen Texas,
22106                                 31894   8/1/2022     Secured: $0.00
        SUSAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONISTERE,
22107                 Laredo, LLC     32944   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONISTERE,    Barney Davis,
22108                                 33935   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONISTERE,    Nueces Bay,
22109                                 34926   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONISTERE,    Talen Texas
22110                                 35917   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONISTERE,    Talen Texas,
22111                                 36907   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3201 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MONROE
                                                           Priority: $0.00
        GUARANTY      Nueces Bay,
22112                                 2679    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $1,902,533.13 + Unliquidated
        COMPANY
                                                           Total: $1,902,533.13 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MONROE
                                                           Priority: $0.00
        GUARANTY      Barney Davis,
22113                                 2694    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $1,902,533.13 + Unliquidated
        COMPANY
                                                           Total: $1,902,533.13 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MONROE
                                                           Priority: $0.00
        GUARANTY
22114                 Laredo, LLC     2771    7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $1,902,533.13 + Unliquidated
        COMPANY
                                                           Total: $1,902,533.13 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONROE,       Barney Davis,
22115                                 8938    8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONROE,
22116                 Laredo, LLC     14688   8/1/2022     Secured: $0.00
        TAMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONROE,       Nueces Bay,
22117                                 20435   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONROE,       Talen Texas
22118                                 26167   8/1/2022     Secured: $0.00
        TAMMY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3202 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONROE,       Talen Texas,
22119                                 31929   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTALVO,     Barney Davis,
22120                                 8132    8/1/2022     Secured: $0.00
        MARLEN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTALVO,
22121                 Laredo, LLC     13882   8/1/2022     Secured: $0.00
        MARLEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTALVO,     Nueces Bay,
22122                                 19629   8/1/2022     Secured: $0.00
        MARLEN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTALVO,     Talen Texas
22123                                 25363   8/1/2022     Secured: $0.00
        MARLEN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTALVO,     Talen Texas,
22124                                 31123   8/1/2022     Secured: $0.00
        MARLEN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTALVO,     Barney Davis,
22125                                 5146    8/1/2022     Secured: $0.00
        MELINDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3203 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MONTALVO,
22126                     Laredo, LLC     10896   8/1/2022     Secured: $0.00
        MELINDA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MONTALVO,         Nueces Bay,
22127                                     16643   8/1/2022     Secured: $0.00
        MELINDA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MONTALVO,         Talen Texas
22128                                     22388   8/1/2022     Secured: $0.00
        MELINDA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MONTALVO,         Talen Texas,
22129                                     28137   8/1/2022     Secured: $0.00
        MELINDA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22130   MONTANEZ, JOSIE                   7682    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22131   MONTANEZ, JOSIE Laredo, LLC       13432   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22132   MONTANEZ, JOSIE                   19179   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3204 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22133   MONTANEZ, JOSIE                   24913   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22134   MONTANEZ, JOSIE                   30673   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22135   MONTANO, ERIK                     3672    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22136   MONTANO, ERIK     Laredo, LLC     9422    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22137   MONTANO, ERIK                     15169   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22138   MONTANO, ERIK                     20916   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22139   MONTANO, ERIK                     26663   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3205 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTANO,      Barney Davis,
22140                                 6206    8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTANO,
22141                 Laredo, LLC     11956   8/1/2022     Secured: $0.00
        VERONICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTANO,      Nueces Bay,
22142                                 17703   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTANO,      Talen Texas
22143                                 23448   8/1/2022     Secured: $0.00
        VERONICA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTANO,      Talen Texas,
22144                                 29197   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTAYNE,     Barney Davis,
22145                                 8490    8/1/2022     Secured: $0.00
        RANDI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTAYNE,
22146                 Laredo, LLC     14240   8/1/2022     Secured: $0.00
        RANDI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3206 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTAYNE,     Nueces Bay,
22147                                 19987   8/1/2022     Secured: $0.00
        RANDI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTAYNE,     Talen Texas
22148                                 25719   8/1/2022     Secured: $0.00
        RANDI         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTAYNE,     Talen Texas,
22149                                 31481   8/1/2022     Secured: $0.00
        RANDI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAYOR,   Barney Davis,
22150                                 8652    8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAYOR,
22151                 Laredo, LLC     14402   8/1/2022     Secured: $0.00
        ROGELIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAYOR,   Nueces Bay,
22152                                 20149   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAYOR,   Talen Texas
22153                                 25881   8/1/2022     Secured: $0.00
        ROGELIO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3207 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAYOR,   Talen Texas,
22154                                 31643   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAZOR,
22155                 Laredo, LLC     32945   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAZOR,   Barney Davis,
22156                                 33936   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAZOR,   Nueces Bay,
22157                                 34927   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAZOR,   Talen Texas
22158                                 35918   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTEMAZOR,   Talen Texas,
22159                                 36908   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTENEGRO,   Barney Davis,
22160                                 9119    8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3208 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTENEGRO,
22161                 Laredo, LLC     14869   8/1/2022     Secured: $0.00
        VICTORIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTENEGRO,   Nueces Bay,
22162                                 20616   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTENEGRO,   Talen Texas
22163                                 26348   8/1/2022     Secured: $0.00
        VICTORIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTENEGRO,   Talen Texas,
22164                                 32110   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Barney Davis,
22165                                 6310    8/1/2022     Secured: $0.00
        ALBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,
22166                 Laredo, LLC     12060   8/1/2022     Secured: $0.00
        ALBERTO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Nueces Bay,
22167                                 17807   8/1/2022     Secured: $0.00
        ALBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3209 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Talen Texas
22168                                 23542   8/1/2022     Secured: $0.00
        ALBERTO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Talen Texas,
22169                                 29301   8/1/2022     Secured: $0.00
        ALBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Barney Davis,
22170                                 4170    8/1/2022     Secured: $0.00
        ESTEBAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,
22171                 Laredo, LLC     9920    8/1/2022     Secured: $0.00
        ESTEBAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Nueces Bay,
22172                                 15667   8/1/2022     Secured: $0.00
        ESTEBAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Talen Texas
22173                                 21413   8/1/2022     Secured: $0.00
        ESTEBAN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTES,       Talen Texas,
22174                                 27161   8/1/2022     Secured: $0.00
        ESTEBAN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3210 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22175   MONTEZ, MARIE                   6157    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22176   MONTEZ, MARIE   Laredo, LLC     11907   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22177   MONTEZ, MARIE                   17654   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22178   MONTEZ, MARIE                   23399   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22179   MONTEZ, MARIE                   29148   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22180   MONTEZ, MARIE   Laredo, LLC     32946   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22181   MONTEZ, MARIE                   33937   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3211 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22182   MONTEZ, MARIE                   34928   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22183   MONTEZ, MARIE                   35919   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22184   MONTEZ, MARIE                   36909   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MONTGOMERY,     Barney Davis,
22185                                   3623    8/1/2022     Secured: $0.00
        ALISIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MONTGOMERY,
22186                   Laredo, LLC     9373    8/1/2022     Secured: $0.00
        ALISIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MONTGOMERY,     Nueces Bay,
22187                                   15120   8/1/2022     Secured: $0.00
        ALISIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MONTGOMERY,     Talen Texas
22188                                   20867   8/1/2022     Secured: $0.00
        ALISIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3212 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTGOMERY,   Talen Texas,
22189                                 26614   8/1/2022     Secured: $0.00
        ALISIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTGOMERY,   Barney Davis,
22190                                 3615    8/1/2022     Secured: $0.00
        RUSS          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTGOMERY,
22191                 Laredo, LLC     9365    8/1/2022     Secured: $0.00
        RUSS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTGOMERY,   Nueces Bay,
22192                                 15112   8/1/2022     Secured: $0.00
        RUSS          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTGOMERY,   Talen Texas
22193                                 20859   8/1/2022     Secured: $0.00
        RUSS          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTGOMERY,   Talen Texas,
22194                                 26606   8/1/2022     Secured: $0.00
        RUSS          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOUT,      Barney Davis,
22195                                 5998    8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3213 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOUT,
22196                 Laredo, LLC     11748   8/1/2022     Secured: $0.00
        MANUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOUT,      Nueces Bay,
22197                                 17495   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOUT,      Talen Texas
22198                                 23240   8/1/2022     Secured: $0.00
        MANUEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOUT,      Talen Texas,
22199                                 28989   8/1/2022     Secured: $0.00
        MANUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Barney Davis,
22200                                 6057    8/1/2022     Secured: $0.00
        ALVARO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,
22201                 Laredo, LLC     11807   8/1/2022     Secured: $0.00
        ALVARO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Nueces Bay,
22202                                 17554   8/1/2022     Secured: $0.00
        ALVARO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3214 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Talen Texas
22203                                 23299   8/1/2022     Secured: $0.00
        ALVARO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Talen Texas,
22204                                 29048   8/1/2022     Secured: $0.00
        ALVARO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Barney Davis,
22205                                 6432    8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,
22206                 Laredo, LLC     12182   8/1/2022     Secured: $0.00
        ANTOINETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Nueces Bay,
22207                                 17929   8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Talen Texas
22208                                 23664   8/1/2022     Secured: $0.00
        ANTOINETTE    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MONTOYA,      Talen Texas,
22209                                 29423   8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3215 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MONTOYA,
22210                  Laredo, LLC     32947   8/1/2022     Secured: $0.00
        DEBORAH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MONTOYA,       Barney Davis,
22211                                  33938   8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MONTOYA,       Nueces Bay,
22212                                  34929   8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MONTOYA,       Talen Texas
22213                                  35920   8/1/2022     Secured: $0.00
        DEBORAH        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MONTOYA,       Talen Texas,
22214                                  36910   8/1/2022     Secured: $0.00
        DEBORAH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22215   MOODY, MINDY                   3725    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22216   MOODY, MINDY   Laredo, LLC     9475    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3216 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22217   MOODY, MINDY                    15222   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22218   MOODY, MINDY                    20969   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22219   MOODY, MINDY                    26716   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22220   MOODY, SHERYL                   8834    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22221   MOODY, SHERYL   Laredo, LLC     14584   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22222   MOODY, SHERYL                   20331   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22223   MOODY, SHERYL                   26063   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3217 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22224   MOODY, SHERYL                   31825   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22225   MOONE, JERRON                   5801    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22226   MOONE, JERRON Laredo, LLC       11551   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22227   MOONE, JERRON                   17298   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22228   MOONE, JERRON                   23043   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22229   MOONE, JERRON                   28792   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOONEYHAM,      Barney Davis,
22230                                   4141    8/1/2022     Secured: $0.00
        DONNA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3218 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOONEYHAM,
22231                   Laredo, LLC    9891    8/1/2022     Secured: $0.00
        DONNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOONEYHAM,      Nueces Bay,
22232                                  15638   8/1/2022     Secured: $0.00
        DONNA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOONEYHAM,      Talen Texas
22233                                  21384   8/1/2022     Secured: $0.00
        DONNA           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOONEYHAM,      Talen Texas,
22234                                  27132   8/1/2022     Secured: $0.00
        DONNA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE ‐ MYRES, Barney Davis,
22235                                  8542    8/1/2022     Secured: $0.00
        RENEE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE ‐ MYRES,
22236                  Laredo, LLC     14292   8/1/2022     Secured: $0.00
        RENEE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE ‐ MYRES, Nueces Bay,
22237                                  20039   8/1/2022     Secured: $0.00
        RENEE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3219 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE ‐ MYRES, Talen Texas
22238                                   25771   8/1/2022     Secured: $0.00
        RENEE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE ‐ MYRES, Talen Texas,
22239                                   31533   8/1/2022     Secured: $0.00
        RENEE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22240   MOORE, BETTY                    6510    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22241   MOORE, BETTY    Laredo, LLC     12260   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22242   MOORE, BETTY                    18007   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22243   MOORE, BETTY                    23742   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22244   MOORE, BETTY                    29501   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3220 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22245   MOORE, BLANCA                   3972    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22246   MOORE, BLANCA Laredo, LLC       9722    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22247   MOORE, BLANCA                   15469   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22248   MOORE, BLANCA                   21215   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22249   MOORE, BLANCA                   26963   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Barney Davis,
22250                                   6562    8/1/2022     Secured: $0.00
        BREANNA K       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,
22251                   Laredo, LLC     12312   8/1/2022     Secured: $0.00
        BREANNA K
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3221 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,         Nueces Bay,
22252                                  18059   8/1/2022     Secured: $0.00
        BREANNA K      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,         Talen Texas
22253                                  23794   8/1/2022     Secured: $0.00
        BREANNA K      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,         Talen Texas,
22254                                  29553   8/1/2022     Secured: $0.00
        BREANNA K      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22255   MOORE, CARLA                   3720    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22256   MOORE, CARLA   Laredo, LLC     9470    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22257   MOORE, CARLA                   15217   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22258   MOORE, CARLA                   20964   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3222 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22259   MOORE, CARLA                    26711   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Barney Davis,
22260                                   6771    8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,
22261                   Laredo, LLC     12521   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Nueces Bay,
22262                                   18268   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Talen Texas
22263                                   24002   8/1/2022     Secured: $0.00
        CHRISTOPHER     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Talen Texas,
22264                                   29762   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22265   MOORE, CLAUDE                   6792    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3223 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22266   MOORE, CLAUDE Laredo, LLC       12542   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22267   MOORE, CLAUDE                   18289   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22268   MOORE, CLAUDE                   24023   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22269   MOORE, CLAUDE                   29783   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22270   MOORE, DANIEL                   6891    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22271   MOORE, DANIEL   Laredo, LLC     12641   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22272   MOORE, DANIEL                   18388   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3224 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22273   MOORE, DANIEL                   24122   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22274   MOORE, DANIEL                   29882   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Barney Davis,
22275                                   4083    8/1/2022     Secured: $0.00
        DANIELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,
22276                   Laredo, LLC     9833    8/1/2022     Secured: $0.00
        DANIELLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Nueces Bay,
22277                                   15580   8/1/2022     Secured: $0.00
        DANIELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Talen Texas
22278                                   21326   8/1/2022     Secured: $0.00
        DANIELLE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOORE,          Talen Texas,
22279                                   27074   8/1/2022     Secured: $0.00
        DANIELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3225 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22280   MOORE, DARRYL Laredo, LLC       32948   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22281   MOORE, DARRYL                   33939   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22282   MOORE, DARRYL                   34930   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22283   MOORE, DARRYL                   35921   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22284   MOORE, DARRYL                   36911   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22285   MOORE, DENI                     6993    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22286   MOORE, DENI     Laredo, LLC     12743   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3226 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22287   MOORE, DENI                      18490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22288   MOORE, DENI                      24224   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22289   MOORE, DENI                      29984   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22290   MOORE, DESTINY                   7018    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22291   MOORE, DESTINY Laredo, LLC       12768   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22292   MOORE, DESTINY                   18515   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22293   MOORE, DESTINY                   24249   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3227 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22294   MOORE, DESTINY                   30009   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22295   MOORE, DONNA                     7076    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22296   MOORE, DONNA     Laredo, LLC     12826   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22297   MOORE, DONNA                     18573   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22298   MOORE, DONNA                     24307   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22299   MOORE, DONNA                     30067   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22300   MOORE, HEATHER                   9260    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3228 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22301   MOORE, HEATHER Laredo, LLC       15010   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22302   MOORE, HEATHER                   20757   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22303   MOORE, HEATHER                   26489   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22304   MOORE, HEATHER                   32251   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22305   MOORE, ISABEL    Laredo, LLC     32949   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22306   MOORE, ISABEL                    33940   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22307   MOORE, ISABEL                    34931   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3229 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22308   MOORE, ISABEL                   35922   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22309   MOORE, ISABEL                   36912   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22310   MOORE, JOHN                     7617    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22311   MOORE, JOHN     Laredo, LLC     13367   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22312   MOORE, JOHN                     19114   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22313   MOORE, JOHN                     24848   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22314   MOORE, JOHN                     30608   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3230 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22315   MOORE, JOHN    Laredo, LLC     32950   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22316   MOORE, JOHN                    33941   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22317   MOORE, JOHN                    34932   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22318   MOORE, JOHN                    35923   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22319   MOORE, JOHN                    36913   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22320   MOORE, KELLY                   5075    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22321   MOORE, KELLY   Laredo, LLC     10825   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3231 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22322   MOORE, KELLY                     16572   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22323   MOORE, KELLY                     22317   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22324   MOORE, KELLY                     28066   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22325   MOORE, REBECCA                   8518    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22326   MOORE, REBECCA Laredo, LLC       14268   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22327   MOORE, REBECCA                   20015   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22328   MOORE, REBECCA                   25747   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3232 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22329   MOORE, REBECCA                   31509   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOORE,
22330                    Laredo, LLC     32951   8/1/2022     Secured: $0.00
        SUSANNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOORE,           Barney Davis,
22331                                    33942   8/1/2022     Secured: $0.00
        SUSANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOORE,           Nueces Bay,
22332                                    34933   8/1/2022     Secured: $0.00
        SUSANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOORE,           Talen Texas
22333                                    35924   8/1/2022     Secured: $0.00
        SUSANNE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOORE,           Talen Texas,
22334                                    37288   8/1/2022     Secured: $0.00
        SUSANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOORE,           Barney Davis,
22335                                    9065    8/1/2022     Secured: $0.00
        TRENECIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3233 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,
22336                  Laredo, LLC     14815   8/1/2022     Secured: $0.00
        TRENECIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,         Nueces Bay,
22337                                  20562   8/1/2022     Secured: $0.00
        TRENECIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,         Talen Texas
22338                                  26294   8/1/2022     Secured: $0.00
        TRENECIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOORE,         Talen Texas,
22339                                  32056   8/1/2022     Secured: $0.00
        TRENECIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22340   MOORE, TRENT   Laredo, LLC     32952   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22341   MOORE, TRENT                   33943   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22342   MOORE, TRENT                   34934   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3234 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22343   MOORE, TRENT                   35925   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22344   MOORE, TRENT                   36914   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22345   MOORE, TY                      9081    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22346   MOORE, TY      Laredo, LLC     14831   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22347   MOORE, TY                      20578   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22348   MOORE, TY                      26310   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22349   MOORE, TY                      32072   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3235 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22350   MOORER, RUTH                   8707    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22351   MOORER, RUTH   Laredo, LLC     14457   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22352   MOORER, RUTH                   20204   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22353   MOORER, RUTH                   25936   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22354   MOORER, RUTH                   31698   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOOSAVIAN,     Barney Davis,
22355                                  5045    8/1/2022     Secured: $0.00
        JOSEPH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOOSAVIAN,
22356                  Laredo, LLC     10795   8/1/2022     Secured: $0.00
        JOSEPH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3236 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOOSAVIAN,    Nueces Bay,
22357                                 16542   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOOSAVIAN,    Talen Texas
22358                                 22287   8/1/2022     Secured: $0.00
        JOSEPH        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MOOSAVIAN,    Talen Texas,
22359                                 28036   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORA JR,
22360                 Laredo, LLC     32953   8/1/2022     Secured: $0.00
        ROMALDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORA JR,      Barney Davis,
22361                                 33944   8/1/2022     Secured: $0.00
        ROMALDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORA JR,      Nueces Bay,
22362                                 34935   8/1/2022     Secured: $0.00
        ROMALDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORA JR,      Talen Texas
22363                                 35926   8/1/2022     Secured: $0.00
        ROMALDO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3237 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MORA JR,          Talen Texas,
22364                                     36915   8/1/2022     Secured: $0.00
        ROMALDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22365   MORA, CHRISTIAN                   6745    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22366   MORA, CHRISTIAN Laredo, LLC       12495   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22367   MORA, CHRISTIAN                   18242   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22368   MORA, CHRISTIAN                   23976   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22369   MORA, CHRISTIAN                   29736   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MORALES,          Barney Davis,
22370                                     7291    8/1/2022     Secured: $0.00
        GEORGE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3238 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,
22371                 Laredo, LLC     13041   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Nueces Bay,
22372                                 18788   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Talen Texas
22373                                 24522   8/1/2022     Secured: $0.00
        GEORGE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Talen Texas,
22374                                 30282   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,
22375                 Laredo, LLC     32954   8/1/2022     Secured: $0.00
        HOMER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Barney Davis,
22376                                 33945   8/1/2022     Secured: $0.00
        HOMER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Nueces Bay,
22377                                 34936   8/1/2022     Secured: $0.00
        HOMER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3239 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORALES,         Talen Texas
22378                                    35927   8/1/2022     Secured: $0.00
        HOMER            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORALES,         Talen Texas,
22379                                    36916   8/1/2022     Secured: $0.00
        HOMER            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22380   MORALES, JESUS                   9268    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22381   MORALES, JESUS   Laredo, LLC     15018   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22382   MORALES, JESUS                   20765   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22383   MORALES, JESUS                   26497   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22384   MORALES, JESUS                   32259   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3240 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22385   MORALES, JOE    Laredo, LLC     32955   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22386   MORALES, JOE                    33946   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22387   MORALES, JOE                    34937   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22388   MORALES, JOE                    35928   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22389   MORALES, JOE                    36917   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22390   MORALES, JOHN                   5040    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22391   MORALES, JOHN   Laredo, LLC     10790   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3241 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22392   MORALES, JOHN                    16537   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22393   MORALES, JOHN                    22282   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22394   MORALES, JOHN                    28031   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22395   MORALES, MARIA                   8081    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22396   MORALES, MARIA Laredo, LLC       13831   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22397   MORALES, MARIA                   19578   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22398   MORALES, MARIA                   25312   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3242 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22399   MORALES, MARIA                   31072   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22400   MORALES, OMAR                    3846    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22401   MORALES, OMAR Laredo, LLC        9596    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22402   MORALES, OMAR                    15343   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22403   MORALES, OMAR                    21090   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22404   MORALES, OMAR                    26837   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22405   MORALES, PAUL                    8416    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3243 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22406   MORALES, PAUL   Laredo, LLC     14166   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22407   MORALES, PAUL                   19913   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22408   MORALES, PAUL                   25646   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22409   MORALES, PAUL                   31407   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORALES,        Barney Davis,
22410                                   8486    8/1/2022     Secured: $0.00
        RAMONA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORALES,
22411                   Laredo, LLC     14236   8/1/2022     Secured: $0.00
        RAMONA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORALES,        Nueces Bay,
22412                                   19983   8/1/2022     Secured: $0.00
        RAMONA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3244 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Talen Texas
22413                                 25715   8/1/2022     Secured: $0.00
        RAMONA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Talen Texas,
22414                                 31477   8/1/2022     Secured: $0.00
        RAMONA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,
22415                 Laredo, LLC     32956   8/1/2022     Secured: $0.00
        ROBERTO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Barney Davis,
22416                                 33947   8/1/2022     Secured: $0.00
        ROBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Nueces Bay,
22417                                 34938   8/1/2022     Secured: $0.00
        ROBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Talen Texas
22418                                 35929   8/1/2022     Secured: $0.00
        ROBERTO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORALES,      Talen Texas,
22419                                 36918   8/1/2022     Secured: $0.00
        ROBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3245 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22420   MORALES, RUTH                   4652    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22421   MORALES, RUTH   Laredo, LLC     10402   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22422   MORALES, RUTH                   16149   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22423   MORALES, RUTH                   21895   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22424   MORALES, RUTH                   27643   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORAN,          Barney Davis,
22425                                   6772    8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORAN,
22426                   Laredo, LLC     12522   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3246 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Nueces Bay,
22427                                  18269   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Talen Texas
22428                                  24003   8/1/2022     Secured: $0.00
        CHRISTOPHER    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Talen Texas,
22429                                  29763   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22430   MORAN, LANCE                   4401    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22431   MORAN, LANCE   Laredo, LLC     10151   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22432   MORAN, LANCE                   15898   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22433   MORAN, LANCE                   21644   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3247 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22434   MORAN, LANCE                   27392   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Barney Davis,
22435                                  7926    8/1/2022     Secured: $0.00
        LATRISHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,
22436                  Laredo, LLC     13676   8/1/2022     Secured: $0.00
        LATRISHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Nueces Bay,
22437                                  19423   8/1/2022     Secured: $0.00
        LATRISHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Talen Texas
22438                                  25157   8/1/2022     Secured: $0.00
        LATRISHA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAN,         Talen Texas,
22439                                  30917   8/1/2022     Secured: $0.00
        LATRISHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORAVEK,       Barney Davis,
22440                                  7153    8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3248 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORAVEK,
22441                 Laredo, LLC     12903   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORAVEK,      Nueces Bay,
22442                                 18650   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORAVEK,      Talen Texas
22443                                 24384   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORAVEK,      Talen Texas,
22444                                 30144   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Barney Davis,
22445                                 5910    8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,
22446                 Laredo, LLC     11660   8/1/2022     Secured: $0.00
        CINDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Nueces Bay,
22447                                 17407   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3249 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Talen Texas
22448                                 23152   8/1/2022     Secured: $0.00
        CINDY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Talen Texas,
22449                                 28901   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Barney Davis,
22450                                 4947    8/1/2022     Secured: $0.00
        DOUGLAS       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,
22451                 Laredo, LLC     10697   8/1/2022     Secured: $0.00
        DOUGLAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Nueces Bay,
22452                                 16444   8/1/2022     Secured: $0.00
        DOUGLAS       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Talen Texas
22453                                 22189   8/1/2022     Secured: $0.00
        DOUGLAS       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORELAND,     Talen Texas,
22454                                 27938   8/1/2022     Secured: $0.00
        DOUGLAS       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3250 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO JR.,
22455                  Laredo, LLC     32957   8/1/2022     Secured: $0.00
        ANDREW
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO JR.,    Barney Davis,
22456                                  33948   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO JR.,    Nueces Bay,
22457                                  34939   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO JR.,    Talen Texas
22458                                  35930   8/1/2022     Secured: $0.00
        ANDREW         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO JR.,    Talen Texas,
22459                                  36919   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22460   MORENO, ALMA                   6056    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22461   MORENO, ALMA   Laredo, LLC     11806   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3251 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22462   MORENO, ALMA                   17553   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22463   MORENO, ALMA                   23298   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22464   MORENO, ALMA                   29047   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO,
22465                  Laredo, LLC     32958   8/1/2022     Secured: $0.00
        ANDREW
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO,        Barney Davis,
22466                                  33949   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO,        Nueces Bay,
22467                                  34940   8/1/2022     Secured: $0.00
        ANDREW         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENO,        Talen Texas
22468                                  35931   8/1/2022     Secured: $0.00
        ANDREW         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3252 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO,          Talen Texas,
22469                                    36920   8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO,
22470                    Laredo, LLC     32959   8/1/2022     Secured: $0.00
        BENTURA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO,          Barney Davis,
22471                                    33950   8/1/2022     Secured: $0.00
        BENTURA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO,          Nueces Bay,
22472                                    34941   8/1/2022     Secured: $0.00
        BENTURA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO,          Talen Texas
22473                                    35932   8/1/2022     Secured: $0.00
        BENTURA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO,          Talen Texas,
22474                                    36921   8/1/2022     Secured: $0.00
        BENTURA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22475   MORENO, CARLOS                   6079    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3253 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22476   MORENO, CARLOS Laredo, LLC       11829   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22477   MORENO, CARLOS                   17576   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22478   MORENO, CARLOS                   23321   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22479   MORENO, CARLOS                   29070   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22480   MORENO, CARLOS Laredo, LLC       32960   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22481   MORENO, CARLOS                   33951   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22482   MORENO, CARLOS                   34942   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3254 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22483   MORENO, CARLOS                   35933   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22484   MORENO, CARLOS                   36922   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22485   MORENO, DORA     Laredo, LLC     32961   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22486   MORENO, DORA                     33952   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22487   MORENO, DORA                     34943   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22488   MORENO, DORA                     35934   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22489   MORENO, DORA                     36923   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3255 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,
22490                   Laredo, LLC     32962   8/1/2022     Secured: $0.00
        EDUARDO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,         Barney Davis,
22491                                   33953   8/1/2022     Secured: $0.00
        EDUARDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,         Nueces Bay,
22492                                   34944   8/1/2022     Secured: $0.00
        EDUARDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,         Talen Texas
22493                                   35935   8/1/2022     Secured: $0.00
        EDUARDO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,         Talen Texas,
22494                                   36924   8/1/2022     Secured: $0.00
        EDUARDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO, FELIPE
22495                  Laredo, LLC      32963   8/1/2022     Secured: $0.00
        JR.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO, FELIPE Barney Davis,
22496                                   33954   8/1/2022     Secured: $0.00
        JR.            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3256 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO, FELIPE Nueces Bay,
22497                                    34945   8/1/2022     Secured: $0.00
        JR.            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO, FELIPE Talen Texas
22498                                    35936   8/1/2022     Secured: $0.00
        JR.            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORENO, FELIPE Talen Texas,
22499                                    36925   8/1/2022     Secured: $0.00
        JR.            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22500   MORENO, JOSEPH Laredo, LLC       32964   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22501   MORENO, JOSEPH                   33955   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22502   MORENO, JOSEPH                   34946   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22503   MORENO, JOSEPH                   35937   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3257 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22504   MORENO, JOSEPH                   36926   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22505   MORENO, LUCIA                    8024    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22506   MORENO, LUCIA    Laredo, LLC     13774   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22507   MORENO, LUCIA                    19521   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22508   MORENO, LUCIA                    25255   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22509   MORENO, LUCIA                    31015   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22510   MORENO, MARIO Laredo, LLC        32965   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3258 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22511   MORENO, MARIO                   33956   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22512   MORENO, MARIO                   34947   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22513   MORENO, MARIO                   35938   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22514   MORENO, MARIO                   36927   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,         Barney Davis,
22515                                   8353    8/1/2022     Secured: $0.00
        NORMALINDA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,
22516                   Laredo, LLC     14103   8/1/2022     Secured: $0.00
        NORMALINDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORENO,         Nueces Bay,
22517                                   19850   8/1/2022     Secured: $0.00
        NORMALINDA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3259 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,       Talen Texas
22518                                 25584   8/1/2022     Secured: $0.00
        NORMALINDA    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,       Talen Texas,
22519                                 31344   8/1/2022     Secured: $0.00
        NORMALINDA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,       Barney Davis,
22520                                 8647    8/1/2022     Secured: $0.00
        RODOLFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,
22521                 Laredo, LLC     14397   8/1/2022     Secured: $0.00
        RODOLFO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,       Nueces Bay,
22522                                 20144   8/1/2022     Secured: $0.00
        RODOLFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,       Talen Texas
22523                                 25876   8/1/2022     Secured: $0.00
        RODOLFO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORENO,       Talen Texas,
22524                                 31638   8/1/2022     Secured: $0.00
        RODOLFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3260 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENOJOHNSO Barney Davis,
22525                                  8036    8/1/2022     Secured: $0.00
        N, LYNDA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENOJOHNSO
22526                Laredo, LLC       13786   8/1/2022     Secured: $0.00
        N, LYNDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENOJOHNSO Nueces Bay,
22527                                  19533   8/1/2022     Secured: $0.00
        N, LYNDA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENOJOHNSO Talen Texas
22528                                  25267   8/1/2022     Secured: $0.00
        N, LYNDA     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORENOJOHNSO Talen Texas,
22529                                  31027   8/1/2022     Secured: $0.00
        N, LYNDA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORFIN,        Barney Davis,
22530                                  6332    8/1/2022     Secured: $0.00
        ALFREDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORFIN,
22531                  Laredo, LLC     12082   8/1/2022     Secured: $0.00
        ALFREDO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3261 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORFIN,         Nueces Bay,
22532                                   17829   8/1/2022     Secured: $0.00
        ALFREDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORFIN,         Talen Texas
22533                                   23564   8/1/2022     Secured: $0.00
        ALFREDO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORFIN,         Talen Texas,
22534                                   29323   8/1/2022     Secured: $0.00
        ALFREDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22535   MORGAN, BRETT                   6574    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22536   MORGAN, BRETT Laredo, LLC       12324   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22537   MORGAN, BRETT                   18071   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22538   MORGAN, BRETT                   23806   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3262 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22539   MORGAN, BRETT                   29565   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22540   MORGAN, BRYAN                   6609    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22541   MORGAN, BRYAN Laredo, LLC       12359   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22542   MORGAN, BRYAN                   18106   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22543   MORGAN, BRYAN                   23840   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22544   MORGAN, BRYAN                   29600   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Barney Davis,
22545                                   9247    8/1/2022     Secured: $0.00
        DARLENE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3263 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,
22546                   Laredo, LLC     14997   8/1/2022     Secured: $0.00
        DARLENE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Nueces Bay,
22547                                   20744   8/1/2022     Secured: $0.00
        DARLENE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Talen Texas
22548                                   26476   8/1/2022     Secured: $0.00
        DARLENE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Talen Texas,
22549                                   32238   8/1/2022     Secured: $0.00
        DARLENE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22550   MORGAN, JAMES                   4247    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22551   MORGAN, JAMES Laredo, LLC       9997    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22552   MORGAN, JAMES                   15744   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3264 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22553   MORGAN, JAMES                   21490   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22554   MORGAN, JAMES                   27238   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22555   MORGAN, KAREN                   7748    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22556   MORGAN, KAREN Laredo, LLC       13498   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22557   MORGAN, KAREN                   19245   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22558   MORGAN, KAREN                   24979   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22559   MORGAN, KAREN                   30739   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3265 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22560   MORGAN, KEN                     4375    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22561   MORGAN, KEN     Laredo, LLC     10125   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22562   MORGAN, KEN                     15872   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22563   MORGAN, KEN                     21618   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22564   MORGAN, KEN                     27366   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22565   MORGAN, KIETH   Laredo, LLC     32966   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22566   MORGAN, KIETH                   33957   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3266 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22567   MORGAN, KIETH                   34948   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22568   MORGAN, KIETH                   35939   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22569   MORGAN, KIETH                   36928   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Barney Davis,
22570                                   8519    8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,
22571                   Laredo, LLC     14269   8/1/2022     Secured: $0.00
        REBECCA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Nueces Bay,
22572                                   20016   8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORGAN,         Talen Texas
22573                                   25748   8/1/2022     Secured: $0.00
        REBECCA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3267 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORGAN,       Talen Texas,
22574                                 31510   8/1/2022     Secured: $0.00
        REBECCA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORGAN,       Barney Davis,
22575                                 4729    8/1/2022     Secured: $0.00
        THEODORE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORGAN,
22576                 Laredo, LLC     10479   8/1/2022     Secured: $0.00
        THEODORE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORGAN,       Nueces Bay,
22577                                 16226   8/1/2022     Secured: $0.00
        THEODORE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORGAN,       Talen Texas
22578                                 21972   8/1/2022     Secured: $0.00
        THEODORE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORGAN,       Talen Texas,
22579                                 27720   8/1/2022     Secured: $0.00
        THEODORE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MORNEO JR,    Barney Davis,
22580                                 4136    8/1/2022     Secured: $0.00
        DOMINGO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3268 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORNEO JR,
22581                  Laredo, LLC     9886    8/1/2022     Secured: $0.00
        DOMINGO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORNEO JR,     Nueces Bay,
22582                                  15633   8/1/2022     Secured: $0.00
        DOMINGO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORNEO JR,     Talen Texas
22583                                  21379   8/1/2022     Secured: $0.00
        DOMINGO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORNEO JR,     Talen Texas,
22584                                  27127   8/1/2022     Secured: $0.00
        DOMINGO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORRIS JR,     Barney Davis,
22585                                  5857    8/1/2022     Secured: $0.00
        RICKEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORRIS JR,
22586                  Laredo, LLC     11607   8/1/2022     Secured: $0.00
        RICKEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MORRIS JR,     Nueces Bay,
22587                                  17354   8/1/2022     Secured: $0.00
        RICKEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3269 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORRIS JR,      Talen Texas
22588                                   23099   8/1/2022     Secured: $0.00
        RICKEY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORRIS JR,      Talen Texas,
22589                                   28848   8/1/2022     Secured: $0.00
        RICKEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22590   MORRIS, BOBBY                   6531    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22591   MORRIS, BOBBY   Laredo, LLC     12281   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22592   MORRIS, BOBBY                   18028   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22593   MORRIS, BOBBY                   23763   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22594   MORRIS, BOBBY                   29522   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3270 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22595   MORRIS, BRANDI                   6552    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22596   MORRIS, BRANDI Laredo, LLC       12302   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22597   MORRIS, BRANDI                   18049   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22598   MORRIS, BRANDI                   23784   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22599   MORRIS, BRANDI                   29543   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22600   MORRIS, BRANDY                   4869    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22601   MORRIS, BRANDY Laredo, LLC       10619   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3271 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22602   MORRIS, BRANDY                   16366   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22603   MORRIS, BRANDY                   22112   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22604   MORRIS, BRANDY                   27860   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22605   MORRIS, CONNIE                   9239    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22606   MORRIS, CONNIE Laredo, LLC       14989   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22607   MORRIS, CONNIE                   20736   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22608   MORRIS, CONNIE                   26468   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3272 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22609   MORRIS, CONNIE                    32230   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22610   MORRIS, CYNTHIA                   5592    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22611   MORRIS, CYNTHIA                   6864    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22612   MORRIS, CYNTHIA Laredo, LLC       11342   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22613   MORRIS, CYNTHIA Laredo, LLC       12614   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22614   MORRIS, CYNTHIA                   17089   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22615   MORRIS, CYNTHIA                   18361   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3273 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22616   MORRIS, CYNTHIA                   22834   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22617   MORRIS, CYNTHIA                   24095   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22618   MORRIS, CYNTHIA                   28583   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22619   MORRIS, CYNTHIA                   29855   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22620   MORRIS, DARYL     Laredo, LLC     32967   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22621   MORRIS, DARYL                     33958   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22622   MORRIS, DARYL                     34949   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3274 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22623   MORRIS, DARYL                    35940   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22624   MORRIS, DARYL                    36929   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22625   MORRIS, DEBBIE                   6960    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22626   MORRIS, DEBBIE   Laredo, LLC     12710   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22627   MORRIS, DEBBIE                   18457   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22628   MORRIS, DEBBIE                   24191   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22629   MORRIS, DEBBIE                   29951   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3275 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22630   MORRIS, ELVA                    3599    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22631   MORRIS, ELVA    Laredo, LLC     9349    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22632   MORRIS, ELVA                    15096   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22633   MORRIS, ELVA                    20843   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22634   MORRIS, ELVA                    26590   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22635   MORRIS, LARRY                   3606    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22636   MORRIS, LARRY   Laredo, LLC     9356    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3276 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22637   MORRIS, LARRY                    15103   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22638   MORRIS, LARRY                    20850   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22639   MORRIS, LARRY                    26597   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22640   MORRIS, NIKITA                   4541    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22641   MORRIS, NIKITA   Laredo, LLC     10291   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22642   MORRIS, NIKITA                   16038   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22643   MORRIS, NIKITA                   21784   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3277 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22644   MORRIS, NIKITA                   27532   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22645   MORRIS, SHANTA                   8784    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22646   MORRIS, SHANTA Laredo, LLC       14534   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22647   MORRIS, SHANTA                   20281   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22648   MORRIS, SHANTA                   26013   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22649   MORRIS, SHANTA                   31775   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORRISON,        Barney Davis,
22650                                    4623    8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3278 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORRISON,
22651                   Laredo, LLC     10373   8/1/2022     Secured: $0.00
        ROBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORRISON,       Nueces Bay,
22652                                   16120   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORRISON,       Talen Texas
22653                                   21866   8/1/2022     Secured: $0.00
        ROBERT          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORRISON,       Talen Texas,
22654                                   27614   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22655   MORROW, CAROL                   6659    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22656   MORROW, CAROL Laredo, LLC       12409   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22657   MORROW, CAROL                   18156   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3279 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22658   MORROW, CAROL                   23890   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22659   MORROW, CAROL                   29650   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22660   MORROW, GWEN                    7340    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22661   MORROW, GWEN Laredo, LLC        13090   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22662   MORROW, GWEN                    18837   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22663   MORROW, GWEN                    24571   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22664   MORROW, GWEN                    30331   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3280 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORROW,          Barney Davis,
22665                                    7877    8/1/2022     Secured: $0.00
        KRISTOPHER       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORROW,
22666                    Laredo, LLC     13627   8/1/2022     Secured: $0.00
        KRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORROW,          Nueces Bay,
22667                                    19374   8/1/2022     Secured: $0.00
        KRISTOPHER       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORROW,          Talen Texas
22668                                    25108   8/1/2022     Secured: $0.00
        KRISTOPHER       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MORROW,          Talen Texas,
22669                                    30868   8/1/2022     Secured: $0.00
        KRISTOPHER       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22670   MORSE, CANDICE                   6623    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22671   MORSE, CANDICE Laredo, LLC       12373   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3281 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22672   MORSE, CANDICE                   18120   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22673   MORSE, CANDICE                   23854   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22674   MORSE, CANDICE                   29614   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22675   MORSE, DALANA                    5968    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22676   MORSE, DALANA Laredo, LLC        11718   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22677   MORSE, DALANA                    17465   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22678   MORSE, DALANA                    23210   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3282 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22679   MORSE, DALANA                   28959   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORSE, JANET    Barney Davis,
22680                                   7475    8/1/2022     Secured: $0.00
        SUE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORSE, JANET
22681                   Laredo, LLC     13225   8/1/2022     Secured: $0.00
        SUE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORSE, JANET    Nueces Bay,
22682                                   18972   8/1/2022     Secured: $0.00
        SUE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORSE, JANET    Talen Texas
22683                                   24706   8/1/2022     Secured: $0.00
        SUE             Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORSE, JANET    Talen Texas,
22684                                   30466   8/1/2022     Secured: $0.00
        SUE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORTIMER,       Barney Davis,
22685                                   5336    8/1/2022     Secured: $0.00
        TERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3283 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORTIMER,
22686                   Laredo, LLC     11086   8/1/2022     Secured: $0.00
        TERRY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORTIMER,       Nueces Bay,
22687                                   16833   8/1/2022     Secured: $0.00
        TERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORTIMER,       Talen Texas
22688                                   22578   8/1/2022     Secured: $0.00
        TERRY           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MORTIMER,       Talen Texas,
22689                                   28327   8/1/2022     Secured: $0.00
        TERRY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22690   MORTON, CATHY                   4023    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22691   MORTON, CATHY Laredo, LLC       9773    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22692   MORTON, CATHY                   15520   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3284 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22693   MORTON, CATHY                   21266   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22694   MORTON, CATHY                   27014   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22695   MORTON, SANDY                   8748    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22696   MORTON, SANDY Laredo, LLC       14498   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22697   MORTON, SANDY                   20245   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22698   MORTON, SANDY                   25977   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22699   MORTON, SANDY                   31739   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3285 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22700   MORWILL, JANNA                   4254    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22701   MORWILL, JANNA Laredo, LLC       10004   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22702   MORWILL, JANNA                   15751   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22703   MORWILL, JANNA                   21497   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22704   MORWILL, JANNA                   27245   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOSELEY,         Barney Davis,
22705                                    8535    8/1/2022     Secured: $0.00
        RENATA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOSELEY,
22706                    Laredo, LLC     14285   8/1/2022     Secured: $0.00
        RENATA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3286 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOSELEY,          Nueces Bay,
22707                                     20032   8/1/2022     Secured: $0.00
        RENATA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOSELEY,          Talen Texas
22708                                     25764   8/1/2022     Secured: $0.00
        RENATA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MOSELEY,          Talen Texas,
22709                                     31526   8/1/2022     Secured: $0.00
        RENATA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22710   MOSIER, KRISTEN                   5080    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22711   MOSIER, KRISTEN Laredo, LLC       10830   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22712   MOSIER, KRISTEN                   16577   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22713   MOSIER, KRISTEN                   22322   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3287 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22714   MOSIER, KRISTEN                   28071   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22715   MOSLEY, AARON                     3732    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22716   MOSLEY, AARON     Laredo, LLC     9482    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22717   MOSLEY, AARON                     15229   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22718   MOSLEY, AARON                     20976   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22719   MOSLEY, AARON                     26723   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22720   MOSLEY, BEVERLY                   3818    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3288 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22721   MOSLEY, BEVERLY Laredo, LLC       9568    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22722   MOSLEY, BEVERLY                   15315   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22723   MOSLEY, BEVERLY                   21062   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22724   MOSLEY, BEVERLY                   26809   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22725   MOSLEY, JARRETT                   6250    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22726   MOSLEY, JARRETT Laredo, LLC       12000   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22727   MOSLEY, JARRETT                   17747   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3289 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22728   MOSLEY, JARRETT                   23482   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22729   MOSLEY, JARRETT                   29241   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22730   MOSLEY, JEFFREY                   7508    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22731   MOSLEY, JEFFREY Laredo, LLC       13258   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22732   MOSLEY, JEFFREY                   19005   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22733   MOSLEY, JEFFREY                   24739   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22734   MOSLEY, JEFFREY                   30499   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3290 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MOSLEY,            Barney Davis,
22735                                      5477    8/1/2022     Secured: $0.00
        RANDOLPH           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MOSLEY,
22736                      Laredo, LLC     11227   8/1/2022     Secured: $0.00
        RANDOLPH
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MOSLEY,            Nueces Bay,
22737                                      16974   8/1/2022     Secured: $0.00
        RANDOLPH           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MOSLEY,            Talen Texas
22738                                      22719   8/1/2022     Secured: $0.00
        RANDOLPH           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        MOSLEY,            Talen Texas,
22739                                      28468   8/1/2022     Secured: $0.00
        RANDOLPH           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
22740   MOSS, PATRICK E.                   8401    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
22741   MOSS, PATRICK E. Laredo, LLC       14151   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3291 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
22742   MOSS, PATRICK E.                   19898   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
22743   MOSS, PATRICK E.                   25631   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
22744   MOSS, PATRICK E.                   31392   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
22745   MOSS, RITA                         4617    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
22746   MOSS, RITA         Laredo, LLC     10367   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
22747   MOSS, RITA                         16114   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
22748   MOSS, RITA                         21860   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3292 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22749   MOSS, RITA                      27608   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOSSER,         Barney Davis,
22750                                   3872    8/1/2022     Secured: $0.00
        ANTHONY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOSSER,
22751                   Laredo, LLC     9622    8/1/2022     Secured: $0.00
        ANTHONY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOSSER,         Nueces Bay,
22752                                   15369   8/1/2022     Secured: $0.00
        ANTHONY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOSSER,         Talen Texas
22753                                   21116   8/1/2022     Secured: $0.00
        ANTHONY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOSSER,         Talen Texas,
22754                                   26863   8/1/2022     Secured: $0.00
        ANTHONY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOTEN‐JENKINS, Barney Davis,
22755                                   5066    8/1/2022     Secured: $0.00
        KARLA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3293 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOTEN‐JENKINS,
22756                  Laredo, LLC      10816   8/1/2022     Secured: $0.00
        KARLA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOTEN‐JENKINS, Nueces Bay,
22757                                   16563   8/1/2022     Secured: $0.00
        KARLA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOTEN‐JENKINS, Talen Texas
22758                                   22308   8/1/2022     Secured: $0.00
        KARLA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MOTEN‐JENKINS, Talen Texas,
22759                                   28057   8/1/2022     Secured: $0.00
        KARLA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22760   MOTT, CYNTHIA   Laredo, LLC     32968   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22761   MOTT, CYNTHIA                   33959   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22762   MOTT, CYNTHIA                   34950   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3294 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
22763   MOTT, CYNTHIA                  35941   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
22764   MOTT, CYNTHIA                  36930   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNT VERNON                                        Priority: $0.00
22765   FIRE INSURANCE Laredo, LLC     1007    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $3,796,527.18 + Unliquidated

                                                            Total: $3,796,527.18 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNT VERNON                                        Priority: $0.00
                       Nueces Bay,
22766   FIRE INSURANCE                 1377    7/29/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $3,796,527.18 + Unliquidated

                                                            Total: $3,796,527.18 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNT VERNON                                        Priority: $0.00
22767   FIRE INSURANCE Laredo, LLC     1434    7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $3,796,527.18 + Unliquidated

                                                            Total: $3,796,527.18 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNT VERNON
                                                            Priority: $0.00
        SPECIALTY
22768                Laredo, LLC       1357    7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $5,074,079.98 + Unliquidated
        COMPANY
                                                            Total: $5,074,079.98 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNT VERNON
                                                            Priority: $0.00
        SPECIALTY    Nueces Bay,
22769                                  1453    7/29/2022    Secured: $0.00
        INSURANCE    LLC
                                                            General Unsecured: $5,074,079.98 + Unliquidated
        COMPANY
                                                            Total: $5,074,079.98 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3295 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNT VERNON
                                                            Priority: $0.00
        SPECIALTY    Barney Davis,
22770                                  1483    7/29/2022    Secured: $0.00
        INSURANCE    LLC
                                                            General Unsecured: $5,074,079.98 + Unliquidated
        COMPANY
                                                            Total: $5,074,079.98 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNTAIN
                                                            Priority: $0.00
        STATES         Nueces Bay,
22771                                  2161    7/29/2022    Secured: $0.00
        INDEMNITY      LLC
                                                            General Unsecured: $615,307.90 + Unliquidated
        COMPANY
                                                            Total: $615,307.90 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNTAIN
                                                            Priority: $0.00
        STATES         Barney Davis,
22772                                  37313   6/29/2022    Secured: $0.00
        INDEMNITY      LLC
                                                            General Unsecured: $615,307.90 + Unliquidated
        COMPANY
                                                            Total: $615,307.90 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNTAIN
                                                            Priority: $0.00
        STATES
22773                  Laredo, LLC     37336   6/29/2022    Secured: $0.00
        INDEMNITY
                                                            General Unsecured: $615,307.90 + Unliquidated
        COMPANY
                                                            Total: $615,307.90 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNTAIN
                                                            Priority: $0.00
        VALLEY         Nueces Bay,
22774                                  2749    7/31/2022    Secured: $0.00
        INDEMNITY      LLC
                                                            General Unsecured: $4,014,799.00 + Unliquidated
        COMPANY
                                                            Total: $4,014,799.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNTAIN
                                                            Priority: $0.00
        VALLEY         Barney Davis,
22775                                  2770    7/31/2022    Secured: $0.00
        INDEMNITY      LLC
                                                            General Unsecured: $4,014,799.00 + Unliquidated
        COMPANY
                                                            Total: $4,014,799.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        MOUNTAIN
                                                            Priority: $0.00
        VALLEY
22776                  Laredo, LLC     2950    7/31/2022    Secured: $0.00
        INDEMNITY
                                                            General Unsecured: $4,014,799.00 + Unliquidated
        COMPANY
                                                            Total: $4,014,799.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3296 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOYA,          Barney Davis,
22777                                  6312    8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOYA,
22778                  Laredo, LLC     12062   8/1/2022     Secured: $0.00
        ALEJANDRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOYA,          Nueces Bay,
22779                                  17809   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOYA,          Talen Texas
22780                                  23544   8/1/2022     Secured: $0.00
        ALEJANDRO      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MOYA,          Talen Texas,
22781                                  29303   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22782   MOYA, ARLETA                   5958    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22783   MOYA, ARLETA   Laredo, LLC     11708   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3297 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22784   MOYA, ARLETA                   17455   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22785   MOYA, ARLETA                   23200   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22786   MOYA, ARLETA                   28949   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22787   MOYA, GLORIA                   4208    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22788   MOYA, GLORIA   Laredo, LLC     9958    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22789   MOYA, GLORIA                   15705   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22790   MOYA, GLORIA                   21451   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3298 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22791   MOYA, GLORIA                     27199   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22792   MOYA, RUSSELL    Laredo, LLC     32969   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22793   MOYA, RUSSELL                    33960   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22794   MOYA, RUSSELL                    34951   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22795   MOYA, RUSSELL                    35942   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22796   MOYA, RUSSELL                    36931   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOYERS, DAKOTA‐ Barney Davis,
22797                                    6870    8/1/2022     Secured: $0.00
        LEE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3299 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOYERS, DAKOTA‐
22798                   Laredo, LLC      12620   8/1/2022     Secured: $0.00
        LEE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOYERS, DAKOTA‐ Nueces Bay,
22799                                    18367   8/1/2022     Secured: $0.00
        LEE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOYERS, DAKOTA‐ Talen Texas
22800                                    24101   8/1/2022     Secured: $0.00
        LEE             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MOYERS, DAKOTA‐ Talen Texas,
22801                                    29861   8/1/2022     Secured: $0.00
        LEE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MS AMLIN         Barney Davis,
22802                                    1895    7/30/2022    Secured: $0.00
        LIMITED          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MS AMLIN         Nueces Bay,
22803                                    1989    7/30/2022    Secured: $0.00
        LIMITED          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MS AMLIN
22804                    Laredo, LLC     2077    7/30/2022    Secured: $0.00
        LIMITED
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3300 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MT. HAWLEY                                         Priority: $0.00
22805   INSURANCE     Laredo, LLC     2207    8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $14,413,894.00 + Unliquidated

                                                           Total: $14,413,894.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MT. HAWLEY                                         Priority: $0.00
                      Nueces Bay,
22806   INSURANCE                     3408    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $14,413,894.00 + Unliquidated

                                                           Total: $14,413,894.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        MT. HAWLEY                                         Priority: $0.00
                      Barney Davis,
22807   INSURANCE                     3411    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $14,413,894.00 + Unliquidated

                                                           Total: $14,413,894.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCHA,        Barney Davis,
22808                                 6484    8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCHA,
22809                 Laredo, LLC     12234   8/1/2022     Secured: $0.00
        BARBARA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCHA,        Nueces Bay,
22810                                 17981   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3301 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCHA,        Talen Texas
22811                                 23716   8/1/2022     Secured: $0.00
        BARBARA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCHA,        Talen Texas,
22812                                 29475   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCKELROY,    Barney Davis,
22813                                 9063    8/1/2022     Secured: $0.00
        TRENA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCKELROY,
22814                 Laredo, LLC     14813   8/1/2022     Secured: $0.00
        TRENA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCKELROY,    Nueces Bay,
22815                                 20560   8/1/2022     Secured: $0.00
        TRENA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCKELROY,    Talen Texas
22816                                 26292   8/1/2022     Secured: $0.00
        TRENA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUCKELROY,    Talen Texas,
22817                                 32054   8/1/2022     Secured: $0.00
        TRENA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
          Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3302 of 5163
          Name of
Ref #     Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,    Barney Davis,
22818                                4860    8/1/2022     Secured: $0.00
        BILAL        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,
22819                Laredo, LLC     10610   8/1/2022     Secured: $0.00
        BILAL
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,    Nueces Bay,
22820                                16357   8/1/2022     Secured: $0.00
        BILAL        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,    Talen Texas
22821                                22103   8/1/2022     Secured: $0.00
        BILAL        Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,    Talen Texas,
22822                                27851   8/1/2022     Secured: $0.00
        BILAL        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,    Barney Davis,
22823                                8719    8/1/2022     Secured: $0.00
        SADIQ        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        MUHAMMAD,
22824                Laredo, LLC     14469   8/1/2022     Secured: $0.00
        SADIQ
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3303 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUHAMMAD,     Nueces Bay,
22825                                 20216   8/1/2022     Secured: $0.00
        SADIQ         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUHAMMAD,     Talen Texas
22826                                 25948   8/1/2022     Secured: $0.00
        SADIQ         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUHAMMAD,     Talen Texas,
22827                                 31710   8/1/2022     Secured: $0.00
        SADIQ         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MULLALEY,     Barney Davis,
22828                                 4731    8/1/2022     Secured: $0.00
        THERESA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MULLALEY,
22829                 Laredo, LLC     10481   8/1/2022     Secured: $0.00
        THERESA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MULLALEY,     Nueces Bay,
22830                                 16228   8/1/2022     Secured: $0.00
        THERESA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MULLALEY,     Talen Texas
22831                                 21974   8/1/2022     Secured: $0.00
        THERESA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3304 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MULLALEY,         Talen Texas,
22832                                     27722   8/1/2022     Secured: $0.00
        THERESA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MULLEN,           Barney Davis,
22833                                     8138    8/1/2022     Secured: $0.00
        MARSHALL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MULLEN,
22834                     Laredo, LLC     13888   8/1/2022     Secured: $0.00
        MARSHALL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MULLEN,           Nueces Bay,
22835                                     19635   8/1/2022     Secured: $0.00
        MARSHALL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MULLEN,           Talen Texas
22836                                     25369   8/1/2022     Secured: $0.00
        MARSHALL          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MULLEN,           Talen Texas,
22837                                     31129   8/1/2022     Secured: $0.00
        MARSHALL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22838   MULLINS, JOANNE                   7584    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3305 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22839   MULLINS, JOANNE Laredo, LLC       13334   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22840   MULLINS, JOANNE                   19081   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22841   MULLINS, JOANNE                   24815   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22842   MULLINS, JOANNE                   30575   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22843   MUNDINE, CASEY                    4013    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22844   MUNDINE, CASEY Laredo, LLC        9763    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22845   MUNDINE, CASEY                    15510   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3306 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22846   MUNDINE, CASEY                   21256   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22847   MUNDINE, CASEY                   27004   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22848   MUNDY, MELISSA                   8206    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22849   MUNDY, MELISSA Laredo, LLC       13956   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22850   MUNDY, MELISSA                   19703   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22851   MUNDY, MELISSA                   25437   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22852   MUNDY, MELISSA                   31197   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3307 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MUNGUIA,         Barney Davis,
22853                                    6283    8/1/2022     Secured: $0.00
        ABELARDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MUNGUIA,
22854                    Laredo, LLC     12033   8/1/2022     Secured: $0.00
        ABELARDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MUNGUIA,         Nueces Bay,
22855                                    17780   8/1/2022     Secured: $0.00
        ABELARDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MUNGUIA,         Talen Texas
22856                                    23515   8/1/2022     Secured: $0.00
        ABELARDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MUNGUIA,         Talen Texas,
22857                                    29274   8/1/2022     Secured: $0.00
        ABELARDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22858   MUNGUIA, DAVID Laredo, LLC       32970   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22859   MUNGUIA, DAVID                   33961   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3308 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22860   MUNGUIA, DAVID                   34952   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22861   MUNGUIA, DAVID                   35943   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22862   MUNGUIA, DAVID                   36932   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22863   MUNICH RE        Laredo, LLC     1457    7/29/2022    Secured: $0.00
                                                              General Unsecured: $81,800,000.00 + Unliquidated

                                                              Total: $81,800,000.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22864   MUNICH RE                        1459    7/29/2022    Secured: $0.00
                         LLC
                                                              General Unsecured: $81,800,000.00 + Unliquidated

                                                              Total: $81,800,000.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22865   MUNICH RE        Laredo, LLC     1460    7/29/2022    Secured: $0.00
                                                              General Unsecured: $81,800,000.00 + Unliquidated

                                                              Total: $81,800,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3309 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22866   MUNICH RE                       1485    7/29/2022    Secured: $0.00
                        LLC
                                                             General Unsecured: $81,800,000.00 + Unliquidated

                                                             Total: $81,800,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22867   MUNOZ, BLANCA Laredo, LLC       32971   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22868   MUNOZ, BLANCA                   33962   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22869   MUNOZ, BLANCA                   34953   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22870   MUNOZ, BLANCA                   35944   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22871   MUNOZ, BLANCA                   36933   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3310 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22872   MUNOZ, CESAR   Laredo, LLC     32972   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22873   MUNOZ, CESAR                   33963   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22874   MUNOZ, CESAR                   34954   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22875   MUNOZ, CESAR                   35945   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22876   MUNOZ, CESAR                   36934   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22877   MUNOZ, JOHN                    5948    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22878   MUNOZ, JOHN    Laredo, LLC     11698   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3311 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22879   MUNOZ, JOHN                     17445   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22880   MUNOZ, JOHN                     23190   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22881   MUNOZ, JOHN                     28939   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22882   MUNOZ, JOHNNY                   4311    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22883   MUNOZ, JOHNNY Laredo, LLC       10061   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22884   MUNOZ, JOHNNY                   15808   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22885   MUNOZ, JOHNNY                   21554   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3312 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22886   MUNOZ, JOHNNY                   27302   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22887   MUNOZ, LISA                     5899    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22888   MUNOZ, LISA     Laredo, LLC     11649   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22889   MUNOZ, LISA                     17396   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22890   MUNOZ, LISA                     23141   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22891   MUNOZ, LISA                     28890   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22892   MUNOZ, MARIO                    8107    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3313 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22893   MUNOZ, MARIO    Laredo, LLC     13857   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22894   MUNOZ, MARIO                    19604   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22895   MUNOZ, MARIO                    25338   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22896   MUNOZ, MARIO                    31098   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22897   MUNOZ, TAMERA                   4712    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22898   MUNOZ, TAMERA Laredo, LLC       10462   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22899   MUNOZ, TAMERA                   16209   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3314 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22900   MUNOZ, TAMERA                   21955   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22901   MUNOZ, TAMERA                   27703   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUNOZ,          Barney Davis,
22902                                   9186    8/1/2022     Secured: $0.00
        YOLANDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUNOZ,
22903                   Laredo, LLC     14936   8/1/2022     Secured: $0.00
        YOLANDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUNOZ,          Nueces Bay,
22904                                   20683   8/1/2022     Secured: $0.00
        YOLANDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUNOZ,          Talen Texas
22905                                   26415   8/1/2022     Secured: $0.00
        YOLANDA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUNOZ,          Talen Texas,
22906                                   32177   8/1/2022     Secured: $0.00
        YOLANDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3315 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUNROE,       Barney Davis,
22907                                 4673    8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUNROE,
22908                 Laredo, LLC     10423   8/1/2022     Secured: $0.00
        SHARON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUNROE,       Nueces Bay,
22909                                 16170   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUNROE,       Talen Texas
22910                                 21916   8/1/2022     Secured: $0.00
        SHARON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MUNROE,       Talen Texas,
22911                                 27664   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURAYWED,     Barney Davis,
22912                                 8051    8/1/2022     Secured: $0.00
        MALEK         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURAYWED,
22913                 Laredo, LLC     13801   8/1/2022     Secured: $0.00
        MALEK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3316 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURAYWED,      Nueces Bay,
22914                                 19548   8/1/2022     Secured: $0.00
        MALEK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURAYWED,      Talen Texas
22915                                 25282   8/1/2022     Secured: $0.00
        MALEK          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURAYWED,      Talen Texas,
22916                                 31042   8/1/2022     Secured: $0.00
        MALEK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURILLO,      Barney Davis,
22917                                 3914    8/1/2022     Secured: $0.00
        ALVARO LOZANO LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURILLO,
22918                 Laredo, LLC     9664    8/1/2022     Secured: $0.00
        ALVARO LOZANO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURILLO,      Nueces Bay,
22919                                 15411   8/1/2022     Secured: $0.00
        ALVARO LOZANO LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        MURILLO,      Talen Texas
22920                                 21158   8/1/2022     Secured: $0.00
        ALVARO LOZANO Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3317 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURILLO,      Talen Texas,
22921                                  26905   8/1/2022     Secured: $0.00
        ALVARO LOZANO LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURPHY, ANN    Barney Davis,
22922                                  4822    8/1/2022     Secured: $0.00
        MARIE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURPHY, ANN
22923                  Laredo, LLC     10572   8/1/2022     Secured: $0.00
        MARIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURPHY, ANN    Nueces Bay,
22924                                  16319   8/1/2022     Secured: $0.00
        MARIE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURPHY, ANN    Talen Texas
22925                                  22065   8/1/2022     Secured: $0.00
        MARIE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURPHY, ANN    Talen Texas,
22926                                  27813   8/1/2022     Secured: $0.00
        MARIE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        MURPHY,        Barney Davis,
22927                                  6586    8/1/2022     Secured: $0.00
        BRIANNE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3318 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURPHY,
22928                    Laredo, LLC     12336   8/1/2022     Secured: $0.00
        BRIANNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURPHY,          Nueces Bay,
22929                                    18083   8/1/2022     Secured: $0.00
        BRIANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURPHY,          Talen Texas
22930                                    23817   8/1/2022     Secured: $0.00
        BRIANNE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURPHY,          Talen Texas,
22931                                    29577   8/1/2022     Secured: $0.00
        BRIANNE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22932   MURPHY, MARCIA                   8060    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22933   MURPHY, MARCIA Laredo, LLC       13810   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22934   MURPHY, MARCIA                   19557   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3319 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22935   MURPHY, MARCIA                   25291   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22936   MURPHY, MARCIA                   31051   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURRAY,          Barney Davis,
22937                                    7029    8/1/2022     Secured: $0.00
        DIAMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURRAY,
22938                    Laredo, LLC     12779   8/1/2022     Secured: $0.00
        DIAMOND
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURRAY,          Nueces Bay,
22939                                    18526   8/1/2022     Secured: $0.00
        DIAMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURRAY,          Talen Texas
22940                                    24260   8/1/2022     Secured: $0.00
        DIAMOND          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        MURRAY,          Talen Texas,
22941                                    30020   8/1/2022     Secured: $0.00
        DIAMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3320 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22942   MURRAY, KEVIN                     7833    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22943   MURRAY, KEVIN     Laredo, LLC     13583   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22944   MURRAY, KEVIN                     19330   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22945   MURRAY, KEVIN                     25064   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22946   MURRAY, KEVIN                     30824   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
22947   MURRAY, PHILLIP Laredo, LLC       32973   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
22948   MURRAY, PHILLIP                   33964   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3321 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
22949   MURRAY, PHILLIP                   34955   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
22950   MURRAY, PHILLIP                   35946   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
22951   MURRAY, PHILLIP                   36935   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MURRELL,          Barney Davis,
22952                                     7524    8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MURRELL,
22953                     Laredo, LLC     13274   8/1/2022     Secured: $0.00
        JENNIFER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MURRELL,          Nueces Bay,
22954                                     19021   8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        MURRELL,          Talen Texas
22955                                     24755   8/1/2022     Secured: $0.00
        JENNIFER          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3322 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MURRELL,        Talen Texas,
22956                                   30515   8/1/2022     Secured: $0.00
        JENNIFER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22957   MUSQUIZ, JOSE   Laredo, LLC     32974   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22958   MUSQUIZ, JOSE                   33965   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22959   MUSQUIZ, JOSE                   34956   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22960   MUSQUIZ, JOSE                   35947   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22961   MUSQUIZ, JOSE                   36936   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUSTAIN,        Barney Davis,
22962                                   6759    8/1/2022     Secured: $0.00
        CHRISTINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3323 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUSTAIN,
22963                   Laredo, LLC     12509   8/1/2022     Secured: $0.00
        CHRISTINE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUSTAIN,        Nueces Bay,
22964                                   18256   8/1/2022     Secured: $0.00
        CHRISTINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUSTAIN,        Talen Texas
22965                                   23990   8/1/2022     Secured: $0.00
        CHRISTINE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        MUSTAIN,        Talen Texas,
22966                                   29750   8/1/2022     Secured: $0.00
        CHRISTINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22967   MWELLE, BLAKE                   6525    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22968   MWELLE, BLAKE   Laredo, LLC     12275   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22969   MWELLE, BLAKE                   18022   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3324 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22970   MWELLE, BLAKE                   23757   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22971   MWELLE, BLAKE                   29516   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22972   MYERS, ASHTON                   6467    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22973   MYERS, ASHTON   Laredo, LLC     12217   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22974   MYERS, ASHTON                   17964   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22975   MYERS, ASHTON                   23699   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22976   MYERS, ASHTON                   29458   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3325 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22977   MYERS, KAREN                   4355    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22978   MYERS, KAREN   Laredo, LLC     10105   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
22979   MYERS, KAREN                   15852   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
22980   MYERS, KAREN                   21598   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
22981   MYERS, KAREN                   27346   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
22982   MYERS, MARK                    4471    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
22983   MYERS, MARK    Laredo, LLC     10221   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3326 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22984   MYERS, MARK                     15968   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22985   MYERS, MARK                     21714   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
22986   MYERS, MARK                     27462   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
22987   MYRES, ARTHUR                   3950    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
22988   MYRES, ARTHUR   Laredo, LLC     9700    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
22989   MYRES, ARTHUR                   15447   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
22990   MYRES, ARTHUR                   21193   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3327 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22991   MYRES, ARTHUR                    26941   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22992   NABIYEV, AKRAM                   4801    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22993   NABIYEV, AKRAM Laredo, LLC       10551   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22994   NABIYEV, AKRAM                   16298   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
22995   NABIYEV, AKRAM                   22044   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
22996   NABIYEV, AKRAM                   27792   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
22997   NADER, JOHN                      7618    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3328 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
22998   NADER, JOHN      Laredo, LLC     13368   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
22999   NADER, JOHN                      19115   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23000   NADER, JOHN                      24849   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23001   NADER, JOHN                      30609   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23002   NAJAND, MAZDAK                   9294    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23003   NAJAND, MAZDAK Laredo, LLC       15044   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23004   NAJAND, MAZDAK                   20791   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3329 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23005   NAJAND, MAZDAK                   26523   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23006   NAJAND, MAZDAK                   32285   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NAJAR,
23007                    Laredo, LLC     32975   8/1/2022     Secured: $0.00
        FERNANDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NAJAR,           Barney Davis,
23008                                    33966   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NAJAR,           Nueces Bay,
23009                                    34957   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NAJAR,           Talen Texas
23010                                    35948   8/1/2022     Secured: $0.00
        FERNANDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NAJAR,           Talen Texas,
23011                                    36937   8/1/2022     Secured: $0.00
        FERNANDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3330 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAMOUR,
23012                 Laredo, LLC     32976   8/1/2022     Secured: $0.00
        BARBARA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAMOUR,       Barney Davis,
23013                                 33967   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAMOUR,       Nueces Bay,
23014                                 34958   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAMOUR,       Talen Texas
23015                                 35949   8/1/2022     Secured: $0.00
        BARBARA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAMOUR,       Talen Texas,
23016                                 36938   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NANCE,        Barney Davis,
23017                                 4161    8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NANCE,
23018                 Laredo, LLC     9911    8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3331 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANCE,           Nueces Bay,
23019                                    15658   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANCE,           Talen Texas
23020                                    21404   8/1/2022     Secured: $0.00
        ELIZABETH        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANCE,           Talen Texas,
23021                                    27152   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NANCY HO,                                             Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
23022   AND AS HEIR OF                   3804    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAM THI TRINH
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NANCY HO,                                             Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
23023   AND AS HEIR OF   Laredo, LLC     9554    8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAM THI TRINH
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NANCY HO,                                             Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
23024   AND AS HEIR OF                   15301   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAM THI TRINH
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NANCY HO,                                             Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
23025   AND AS HEIR OF                   21048   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAM THI TRINH
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3332 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        NANCY HO,                                             Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
23026   AND AS HEIR OF                   26795   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAM THI TRINH
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANDIN,          Barney Davis,
23027                                    4637    8/1/2022     Secured: $0.00
        ROMANA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANDIN,
23028                    Laredo, LLC     10387   8/1/2022     Secured: $0.00
        ROMANA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANDIN,          Nueces Bay,
23029                                    16134   8/1/2022     Secured: $0.00
        ROMANA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANDIN,          Talen Texas
23030                                    21880   8/1/2022     Secured: $0.00
        ROMANA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NANDIN,          Talen Texas,
23031                                    27628   8/1/2022     Secured: $0.00
        ROMANA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23032   NANDIN, SYLVIA                   4711    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3333 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23033   NANDIN, SYLVIA   Laredo, LLC     10461   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23034   NANDIN, SYLVIA                   16208   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23035   NANDIN, SYLVIA                   21954   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23036   NANDIN, SYLVIA                   27702   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23037   NANEZ, PETRA     Laredo, LLC     32977   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23038   NANEZ, PETRA                     33968   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23039   NANEZ, PETRA                     34959   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3334 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23040   NANEZ, PETRA                      35950   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23041   NANEZ, PETRA                      36939   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23042   NANNEY, MELISSA                   5150    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23043   NANNEY, MELISSA Laredo, LLC       10900   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23044   NANNEY, MELISSA                   16647   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23045   NANNEY, MELISSA                   22392   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23046   NANNEY, MELISSA                   28141   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3335 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAQUIN,       Barney Davis,
23047                                 3698    8/1/2022     Secured: $0.00
        PRESTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAQUIN,
23048                 Laredo, LLC     9448    8/1/2022     Secured: $0.00
        PRESTON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAQUIN,       Nueces Bay,
23049                                 15195   8/1/2022     Secured: $0.00
        PRESTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAQUIN,       Talen Texas
23050                                 20942   8/1/2022     Secured: $0.00
        PRESTON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAQUIN,       Talen Texas,
23051                                 26689   8/1/2022     Secured: $0.00
        PRESTON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NARAYAN,      Barney Davis,
23052                                 8481    8/1/2022     Secured: $0.00
        RAKESH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NARAYAN,
23053                 Laredo, LLC     14231   8/1/2022     Secured: $0.00
        RAKESH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3336 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NARAYAN,      Nueces Bay,
23054                                 19978   8/1/2022     Secured: $0.00
        RAKESH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NARAYAN,      Talen Texas
23055                                 25710   8/1/2022     Secured: $0.00
        RAKESH        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NARAYAN,      Talen Texas,
23056                                 31472   8/1/2022     Secured: $0.00
        RAKESH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
23057   NASH, AUBIE                   3952    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
23058   NASH, AUBIE   Laredo, LLC     9702    8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
23059   NASH, AUBIE                   15449   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
23060   NASH, AUBIE                   21195   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3337 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23061   NASH, AUBIE                    26943   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23062   NASH, BRENDA                   6570    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23063   NASH, BRENDA   Laredo, LLC     12320   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23064   NASH, BRENDA                   18067   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23065   NASH, BRENDA                   23802   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23066   NASH, BRENDA                   29561   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23067   NASH, ERIC                     3671    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3338 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23068   NASH, ERIC     Laredo, LLC     9421    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23069   NASH, ERIC                     15168   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23070   NASH, ERIC                     20915   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23071   NASH, ERIC                     26662   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23072   NASH, TOMMY                    4749    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23073   NASH, TOMMY    Laredo, LLC     10499   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23074   NASH, TOMMY                    16246   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3339 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
23075   NASH, TOMMY                    21992   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
23076   NASH, TOMMY                    27740   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
        NATHAN                                              503(b)(9): $0.00
        MCADAMS,                                            Other Administrative: $0.00
        INDIVIDUALLY                                        Priority: $0.00
                       Barney Davis,
23077   AND AS HEIR OF                 5399    8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                       General Unsecured: $0.00 + Unliquidated
        BENJAMIN COOKS
        III                                                 Total: $0.00 + Unliquidated
        NATHAN                                              503(b)(9): $0.00
        MCADAMS,                                            Other Administrative: $0.00
        INDIVIDUALLY                                        Priority: $0.00
23078   AND AS HEIR OF Laredo, LLC     11149   8/1/2022     Secured: $0.00
        THE ESTATE OF                                       General Unsecured: $0.00 + Unliquidated
        BENJAMIN COOKS
        III                                                 Total: $0.00 + Unliquidated
        NATHAN                                              503(b)(9): $0.00
        MCADAMS,                                            Other Administrative: $0.00
        INDIVIDUALLY                                        Priority: $0.00
                       Nueces Bay,
23079   AND AS HEIR OF                 16896   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                       General Unsecured: $0.00 + Unliquidated
        BENJAMIN COOKS
        III                                                 Total: $0.00 + Unliquidated
        NATHAN                                              503(b)(9): $0.00
        MCADAMS,                                            Other Administrative: $0.00
        INDIVIDUALLY                                        Priority: $0.00
                       Talen Texas
23080   AND AS HEIR OF                 22641   8/1/2022     Secured: $0.00
                       Group, LLC
        THE ESTATE OF                                       General Unsecured: $0.00 + Unliquidated
        BENJAMIN COOKS
        III                                                 Total: $0.00 + Unliquidated
        NATHAN                                              503(b)(9): $0.00
        MCADAMS,                                            Other Administrative: $0.00
        INDIVIDUALLY                                        Priority: $0.00
                       Talen Texas,
23081   AND AS HEIR OF                 28390   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                       General Unsecured: $0.00 + Unliquidated
        BENJAMIN COOKS
        III                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3340 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        NATIONAL                                            Other Administrative: $0.00
        FARMERS UNION                                       Priority: $0.00
23082   PROPERTY &    Laredo, LLC       2700   7/31/2022    Secured: $0.00
        CASUALTY                                            General Unsecured: $107,192.00 + Unliquidated
        COMPANY
                                                            Total: $107,192.00 + Unliquidated
                                                            503(b)(9): $0.00
        NATIONAL                                            Other Administrative: $0.00
        FARMERS UNION                                       Priority: $0.00
                      Nueces Bay,
23083   PROPERTY &                      2701   7/31/2022    Secured: $0.00
                      LLC
        CASUALTY                                            General Unsecured: $107,192.00 + Unliquidated
        COMPANY
                                                            Total: $107,192.00 + Unliquidated
                                                            503(b)(9): $0.00
        NATIONAL                                            Other Administrative: $0.00
        FARMERS UNION                                       Priority: $0.00
                      Barney Davis,
23084   PROPERTY &                      2891   7/31/2022    Secured: $0.00
                      LLC
        CASUALTY                                            General Unsecured: $107,192.00 + Unliquidated
        COMPANY
                                                            Total: $107,192.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONAL FIRE &
                                                            Priority: $0.00
        MARINE
23085                   Laredo, LLC     1765   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $25,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONAL FIRE &
                                                            Priority: $0.00
        MARINE          Nueces Bay,
23086                                   1767   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $25,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONAL FIRE &
                                                            Priority: $0.00
        MARINE          Barney Davis,
23087                                   2088   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $25,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3341 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NATIONAL FIRE &
                                                             Priority: $0.00
        MARINE          Barney Davis,
23088                                    2341   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $12,462,992.28 + Unliquidated
        COMPANY
                                                             Total: $12,462,992.28 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NATIONAL FIRE &
                                                             Priority: $0.00
        MARINE
23089                   Laredo, LLC      2537   7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $12,462,992.28 + Unliquidated
        COMPANY
                                                             Total: $12,462,992.28 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NATIONAL FIRE &
                                                             Priority: $0.00
        MARINE          Nueces Bay,
23090                                    2551   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $12,462,992.28 + Unliquidated
        COMPANY
                                                             Total: $12,462,992.28 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NATIONAL FIRE
                                                             Priority: $0.00
        INSURANCE        Barney Davis,
23091                                    2211   7/30/2022    Secured: $0.00
        COMPANY OF       LLC
                                                             General Unsecured: $5,352,617.00 + Unliquidated
        HARTFORD
                                                             Total: $5,352,617.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NATIONAL FIRE
                                                             Priority: $0.00
        INSURANCE
23092                    Laredo, LLC     2212   7/30/2022    Secured: $0.00
        COMPANY OF
                                                             General Unsecured: $5,352,617.00 + Unliquidated
        HARTFORD
                                                             Total: $5,352,617.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NATIONAL FIRE
                                                             Priority: $0.00
        INSURANCE        Nueces Bay,
23093                                    2213   7/30/2022    Secured: $0.00
        COMPANY OF       LLC
                                                             General Unsecured: $5,352,617.00 + Unliquidated
        HARTFORD
                                                             Total: $5,352,617.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3342 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL
                                                           Priority: $0.00
        GENERAL        Barney Davis,
23094                                  2561   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $182,868.00 + Unliquidated
        COMPANY
                                                           Total: $182,868.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL
                                                           Priority: $0.00
        GENERAL        Nueces Bay,
23095                                  2781   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $182,868.00 + Unliquidated
        COMPANY
                                                           Total: $182,868.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL
                                                           Priority: $0.00
        GENERAL
23096                  Laredo, LLC     2816   7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $182,868.00 + Unliquidated
        COMPANY
                                                           Total: $182,868.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
                       Barney Davis,
23097   SURETY                         1464   7/29/2022    Secured: $0.00
                       LLC
        CORPORATION                                        General Unsecured: $1,310,209.00 + Unliquidated

                                                           Total: $1,310,209.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
                       Nueces Bay,
23098   SURETY                         1495   7/29/2022    Secured: $0.00
                       LLC
        CORPORATION                                        General Unsecured: $1,310,209.00 + Unliquidated

                                                           Total: $1,310,209.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL                                           Priority: $0.00
23099   SURETY         Laredo, LLC     1544   7/29/2022    Secured: $0.00
        CORPORATION                                        General Unsecured: $1,310,209.00 + Unliquidated

                                                           Total: $1,310,209.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL TRUST                                     Priority: $0.00
                       Nueces Bay,
23100   INSURANCE                      1842   7/31/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $4,060,900.10 + Unliquidated

                                                           Total: $4,060,900.10 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3343 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL TRUST                                     Priority: $0.00
                       Barney Davis,
23101   INSURANCE                      2471   7/31/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $4,060,900.10 + Unliquidated

                                                           Total: $4,060,900.10 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL TRUST                                     Priority: $0.00
23102   INSURANCE      Laredo, LLC     2627   7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $4,060,900.10 + Unliquidated

                                                           Total: $4,060,900.10 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL UNION
                                                           Priority: $0.00
        FIRE INSURANCE Talen Energy
23103                                  715    7/27/2022    Secured: $0.00
        COMPANY OF     Supply, LLC
                                                           General Unsecured: $11,254,303.70 + Unliquidated
        PITTSBURGH, PA
                                                           Total: $11,254,303.70 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL UNION
                                                           Priority: $0.00
        FIRE INSURANCE
23104                  Laredo, LLC     720    7/27/2022    Secured: $0.00
        COMPANY OF
                                                           General Unsecured: $11,254,303.70 + Unliquidated
        PITTSBURGH, PA
                                                           Total: $11,254,303.70 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL UNION
                                                           Priority: $0.00
        FIRE INSURANCE Barney Davis,
23105                                  795    7/27/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $11,254,303.70 + Unliquidated
        PITTSBURGH, PA
                                                           Total: $11,254,303.70 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NATIONAL UNION
                                                           Priority: $0.00
        FIRE INSURANCE Nueces Bay,
23106                                  804    7/27/2022    Secured: $0.00
        COMPANY OF     LLC
                                                           General Unsecured: $11,254,303.70 + Unliquidated
        PITTSBURGH, PA
                                                           Total: $11,254,303.70 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3344 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONAL UNION
                                                            Priority: $0.00
        INSURANCE
23107                  Laredo, LLC      3052   8/1/2022     Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $38,642,153.34 + Unliquidated
        PITTSBURGH, PA
                                                            Total: $38,642,153.34 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONAL UNION
                                                            Priority: $0.00
        INSURANCE      Nueces Bay,
23108                                   3173   8/1/2022     Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $38,642,153.34 + Unliquidated
        PITTSBURGH, PA
                                                            Total: $38,642,153.34 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONAL UNION
                                                            Priority: $0.00
        INSURANCE      Barney Davis,
23109                                   3281   8/1/2022     Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $38,642,153.34 + Unliquidated
        PITTSBURGH, PA
                                                            Total: $38,642,153.34 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONWIDE                                          Priority: $0.00
23110   INSURANCE       Laredo, LLC     2759   7/31/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $109,906.00 + Unliquidated

                                                            Total: $109,906.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONWIDE                                          Priority: $0.00
                        Barney Davis,
23111   INSURANCE                       2842   7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $109,906.00 + Unliquidated

                                                            Total: $109,906.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NATIONWIDE                                          Priority: $0.00
                        Nueces Bay,
23112   INSURANCE                       2845   7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $109,906.00 + Unliquidated

                                                            Total: $109,906.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3345 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAULING,      Barney Davis,
23113                                 4480    8/1/2022     Secured: $0.00
        MARSHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAULING,
23114                 Laredo, LLC     10230   8/1/2022     Secured: $0.00
        MARSHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAULING,      Nueces Bay,
23115                                 15977   8/1/2022     Secured: $0.00
        MARSHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAULING,      Talen Texas
23116                                 21723   8/1/2022     Secured: $0.00
        MARSHA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAULING,      Talen Texas,
23117                                 27471   8/1/2022     Secured: $0.00
        MARSHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NAUTILUS                                           Priority: $0.00
23118   INSURANCE     Laredo, LLC     2593    8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $4,064,586.33 + Unliquidated

                                                           Total: $4,064,586.33 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        NAUTILUS                                           Priority: $0.00
                      Nueces Bay,
23119   INSURANCE                     2745    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $4,064,586.33 + Unliquidated

                                                           Total: $4,064,586.33 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3346 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NAUTILUS                                             Priority: $0.00
                        Barney Davis,
23120   INSURANCE                       2905    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $4,064,586.33 + Unliquidated

                                                             Total: $4,064,586.33 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23121   NAVA, ARMINDA Laredo, LLC       32978   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23122   NAVA, ARMINDA                   33969   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23123   NAVA, ARMINDA                   34960   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23124   NAVA, ARMINDA                   35951   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23125   NAVA, ARMINDA                   36940   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23126   NAVA, RICKY                     8583    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3347 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23127   NAVA, RICKY       Laredo, LLC     14333   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23128   NAVA, RICKY                       20080   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23129   NAVA, RICKY                       25812   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23130   NAVA, RICKY                       31574   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23131   NAVAIRA, SYLVIA                   3852    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23132   NAVAIRA, SYLVIA Laredo, LLC       9602    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23133   NAVAIRA, SYLVIA                   15349   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3348 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23134   NAVAIRA, SYLVIA                   21096   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23135   NAVAIRA, SYLVIA                   26843   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NAVARRO ‐                                              Priority: $0.00
                          Barney Davis,
23136   ROSALES,                          8273    8/1/2022     Secured: $0.00
                          LLC
        MIRASOL                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NAVARRO ‐                                              Priority: $0.00
23137   ROSALES,          Laredo, LLC     14023   8/1/2022     Secured: $0.00
        MIRASOL                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NAVARRO ‐                                              Priority: $0.00
                          Nueces Bay,
23138   ROSALES,                          19770   8/1/2022     Secured: $0.00
                          LLC
        MIRASOL                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NAVARRO ‐                                              Priority: $0.00
                          Talen Texas
23139   ROSALES,                          25504   8/1/2022     Secured: $0.00
                          Group, LLC
        MIRASOL                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NAVARRO ‐                                              Priority: $0.00
                          Talen Texas,
23140   ROSALES,                          31264   8/1/2022     Secured: $0.00
                          LLC
        MIRASOL                                                General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3349 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        NAVIGATORS                                        Priority: $0.00
                      Barney Davis,
23141   INSURANCE                     2123   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $1,115,810.00 + Unliquidated

                                                          Total: $1,115,810.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        NAVIGATORS                                        Priority: $0.00
                      Nueces Bay,
23142   INSURANCE                     2722   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $1,115,810.00 + Unliquidated

                                                          Total: $1,115,810.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        NAVIGATORS                                        Priority: $0.00
23143   INSURANCE     Laredo, LLC     2894   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $1,115,810.00 + Unliquidated

                                                          Total: $1,115,810.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        NAVIGATORS
                                                          Priority: $0.00
        SPECIALTY
23144                 Laredo, LLC     2886   8/1/2022     Secured: $0.00
        INSURANCE
                                                          General Unsecured: $1,115,810.00 + Unliquidated
        COMPANY
                                                          Total: $1,115,810.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        NAVIGATORS
                                                          Priority: $0.00
        SPECIALTY     Barney Davis,
23145                                 2956   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $1,115,810.00 + Unliquidated
        COMPANY
                                                          Total: $1,115,810.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        NAVIGATORS
                                                          Priority: $0.00
        SPECIALTY     Nueces Bay,
23146                                 2973   8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $1,115,810.00 + Unliquidated
        COMPANY
                                                          Total: $1,115,810.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        NAZAIRE,      Barney Davis,
23147                                 8531   8/1/2022     Secured: $0.00
        REGINALD      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3350 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAZAIRE,
23148                 Laredo, LLC     14281   8/1/2022     Secured: $0.00
        REGINALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAZAIRE,      Nueces Bay,
23149                                 20028   8/1/2022     Secured: $0.00
        REGINALD      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAZAIRE,      Talen Texas
23150                                 25760   8/1/2022     Secured: $0.00
        REGINALD      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NAZAIRE,      Talen Texas,
23151                                 31522   8/1/2022     Secured: $0.00
        REGINALD      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NDAWULA,      Barney Davis,
23152                                 6017    8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NDAWULA,
23153                 Laredo, LLC     11767   8/1/2022     Secured: $0.00
        RONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NDAWULA,      Nueces Bay,
23154                                 17514   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3351 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NDAWULA,        Talen Texas
23155                                   23259   8/1/2022     Secured: $0.00
        RONALD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NDAWULA,        Talen Texas,
23156                                   29008   8/1/2022     Secured: $0.00
        RONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23157   NEAL, BEVERLY                   6513    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23158   NEAL, BEVERLY   Laredo, LLC     12263   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23159   NEAL, BEVERLY                   18010   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23160   NEAL, BEVERLY                   23745   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23161   NEAL, BEVERLY                   29504   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3352 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23162   NEAL, EDWARD                   4155    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23163   NEAL, EDWARD   Laredo, LLC     9905    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23164   NEAL, EDWARD                   15652   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23165   NEAL, EDWARD                   21398   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23166   NEAL, EDWARD                   27146   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEAL, JAMES    Barney Davis,
23167                                  4243    8/1/2022     Secured: $0.00
        HENRY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEAL, JAMES
23168                  Laredo, LLC     9993    8/1/2022     Secured: $0.00
        HENRY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3353 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEAL, JAMES    Nueces Bay,
23169                                  15740   8/1/2022     Secured: $0.00
        HENRY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEAL, JAMES    Talen Texas
23170                                  21486   8/1/2022     Secured: $0.00
        HENRY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEAL, JAMES    Talen Texas,
23171                                  27234   8/1/2022     Secured: $0.00
        HENRY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23172   NEAL, TERESA                   8967    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23173   NEAL, TERESA   Laredo, LLC     14717   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23174   NEAL, TERESA                   20464   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23175   NEAL, TERESA                   26196   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3354 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23176   NEAL, TERESA                    31958   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEDD, MICHAEL   Barney Davis,
23177                                   9299    8/1/2022     Secured: $0.00
        HAROLD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEDD, MICHAEL
23178                   Laredo, LLC     15049   8/1/2022     Secured: $0.00
        HAROLD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEDD, MICHAEL   Nueces Bay,
23179                                   20796   8/1/2022     Secured: $0.00
        HAROLD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEDD, MICHAEL   Talen Texas
23180                                   26528   8/1/2022     Secured: $0.00
        HAROLD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEDD, MICHAEL   Talen Texas,
23181                                   32290   8/1/2022     Secured: $0.00
        HAROLD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23182   NEEL, ANGELIA                   6397    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3355 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23183   NEEL, ANGELIA    Laredo, LLC    12147   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
23184   NEEL, ANGELIA                   17894   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
23185   NEEL, ANGELIA                   23629   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
23186   NEEL, ANGELIA                   29388   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NEIGHBORHOOD
                                                             Priority: $0.00
        SPIRIT PROPERTY Nueces Bay,
23187                                   2878    8/1/2022     Secured: $0.00
        AND CASUALTY    LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NEIGHBORHOOD
                                                             Priority: $0.00
        SPIRIT PROPERTY Barney Davis,
23188                                   3076    8/1/2022     Secured: $0.00
        AND CASUALTY    LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NEIGHBORHOOD
                                                             Priority: $0.00
        SPIRIT PROPERTY
23189                   Laredo, LLC     3187    8/1/2022     Secured: $0.00
        AND CASUALTY
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3356 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23190   NELLOMS, DANIEL                   3876    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23191   NELLOMS, DANIEL Laredo, LLC       9626    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23192   NELLOMS, DANIEL                   15373   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23193   NELLOMS, DANIEL                   21120   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23194   NELLOMS, DANIEL                   26867   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NELSON,           Barney Davis,
23195                                     3752    8/1/2022     Secured: $0.00
        CHARLOTTE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NELSON,
23196                     Laredo, LLC     9502    8/1/2022     Secured: $0.00
        CHARLOTTE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3357 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,       Nueces Bay,
23197                                 15249   8/1/2022     Secured: $0.00
        CHARLOTTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,       Talen Texas
23198                                 20996   8/1/2022     Secured: $0.00
        CHARLOTTE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,       Talen Texas,
23199                                 26743   8/1/2022     Secured: $0.00
        CHARLOTTE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,       Barney Davis,
23200                                 7807    8/1/2022     Secured: $0.00
        KENDRICK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,
23201                 Laredo, LLC     13557   8/1/2022     Secured: $0.00
        KENDRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,       Nueces Bay,
23202                                 19304   8/1/2022     Secured: $0.00
        KENDRICK      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NELSON,       Talen Texas
23203                                 25038   8/1/2022     Secured: $0.00
        KENDRICK      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3358 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NELSON,           Talen Texas,
23204                                     30798   8/1/2022     Secured: $0.00
        KENDRICK          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23205   NELSON, LATASHA                   6149    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23206   NELSON, LATASHA Laredo, LLC       11899   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23207   NELSON, LATASHA                   17646   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23208   NELSON, LATASHA                   23391   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23209   NELSON, LATASHA                   29140   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23210   NELSON, LYMAN                     8032    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3359 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23211   NELSON, LYMAN   Laredo, LLC     13782   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23212   NELSON, LYMAN                   19529   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23213   NELSON, LYMAN                   25263   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23214   NELSON, LYMAN                   31023   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23215   NELSON, MARK                    4475    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23216   NELSON, MARK    Laredo, LLC     10225   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23217   NELSON, MARK                    15972   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3360 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23218   NELSON, MARK                   21718   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23219   NELSON, MARK                   27466   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23220   NELSON, RUTH                   8708    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23221   NELSON, RUTH   Laredo, LLC     14458   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23222   NELSON, RUTH                   20205   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23223   NELSON, RUTH                   25937   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23224   NELSON, RUTH                   31699   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3361 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23225   NELSON, SEAN                    8771    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23226   NELSON, SEAN    Laredo, LLC     14521   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23227   NELSON, SEAN                    20268   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23228   NELSON, SEAN                    26000   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23229   NELSON, SEAN                    31762   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON, SHARON Barney Davis,
23230                                   3708    8/1/2022     Secured: $0.00
        L              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON, SHARON
23231                  Laredo, LLC      9458    8/1/2022     Secured: $0.00
        L
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3362 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON, SHARON Nueces Bay,
23232                                   15205   8/1/2022     Secured: $0.00
        L              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON, SHARON Talen Texas
23233                                   20952   8/1/2022     Secured: $0.00
        L              Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON, SHARON Talen Texas,
23234                                   26699   8/1/2022     Secured: $0.00
        L              LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON,         Barney Davis,
23235                                   4770    8/1/2022     Secured: $0.00
        VICTORIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON,
23236                   Laredo, LLC     10520   8/1/2022     Secured: $0.00
        VICTORIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON,         Nueces Bay,
23237                                   16267   8/1/2022     Secured: $0.00
        VICTORIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NELSON,         Talen Texas
23238                                   22013   8/1/2022     Secured: $0.00
        VICTORIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3363 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NELSON,          Talen Texas,
23239                                    27761   8/1/2022     Secured: $0.00
        VICTORIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23240   NESBETT, DAVID                   4096    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23241   NESBETT, DAVID   Laredo, LLC     9846    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23242   NESBETT, DAVID                   15593   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23243   NESBETT, DAVID                   21339   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23244   NESBETT, DAVID                   27087   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NETAMORPHIC,     Barney Davis,
23245                                    5935    8/1/2022     Secured: $0.00
        INC.             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3364 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETAMORPHIC,
23246                  Laredo, LLC     11685   8/1/2022     Secured: $0.00
        INC.
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETAMORPHIC,   Nueces Bay,
23247                                  17432   8/1/2022     Secured: $0.00
        INC.           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETAMORPHIC,   Talen Texas
23248                                  23177   8/1/2022     Secured: $0.00
        INC.           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETAMORPHIC,   Talen Texas,
23249                                  28926   8/1/2022     Secured: $0.00
        INC.           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETTLES,       Barney Davis,
23250                                  4575    8/1/2022     Secured: $0.00
        PHELECIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETTLES,
23251                  Laredo, LLC     10325   8/1/2022     Secured: $0.00
        PHELECIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NETTLES,       Nueces Bay,
23252                                  16072   8/1/2022     Secured: $0.00
        PHELECIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3365 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NETTLES,        Talen Texas
23253                                   21818   8/1/2022     Secured: $0.00
        PHELECIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NETTLES,        Talen Texas,
23254                                   27566   8/1/2022     Secured: $0.00
        PHELECIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23255   NEVAREZ, RAUL   Laredo, LLC     32979   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23256   NEVAREZ, RAUL                   33970   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23257   NEVAREZ, RAUL                   34961   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23258   NEVAREZ, RAUL                   35952   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23259   NEVAREZ, RAUL                   36941   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3366 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        NEVILLE,           Barney Davis,
23260                                      7154    8/1/2022     Secured: $0.00
        ELIZABETH          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        NEVILLE,
23261                      Laredo, LLC     12904   8/1/2022     Secured: $0.00
        ELIZABETH
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        NEVILLE,           Nueces Bay,
23262                                      18651   8/1/2022     Secured: $0.00
        ELIZABETH          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        NEVILLE,           Talen Texas
23263                                      24385   8/1/2022     Secured: $0.00
        ELIZABETH          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        NEVILLE,           Talen Texas,
23264                                      30145   8/1/2022     Secured: $0.00
        ELIZABETH          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23265   NEVILLS, JOLETTA                   7640    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23266   NEVILLS, JOLETTA Laredo, LLC       13390   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3367 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23267   NEVILLS, JOLETTA                   19137   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
23268   NEVILLS, JOLETTA                   24871   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23269   NEVILLS, JOLETTA                   30631   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        NEW CENTURY                                             Priority: $0.00
                           Nueces Bay,
23270   INSURANCE                          1736    8/1/2022     Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        NEW CENTURY                                             Priority: $0.00
                           Barney Davis,
23271   INSURANCE                          2021    8/1/2022     Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        NEW CENTURY                                             Priority: $0.00
23272   INSURANCE          Laredo, LLC     2085    8/1/2022     Secured: $0.00
        COMPANY                                                 General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        NEW HAMPSHIRE                                           Priority: $0.00
23273   INSURANCE     Laredo, LLC          2887    8/1/2022     Secured: $0.00
        COMPANY                                                 General Unsecured: $626,527.25 + Unliquidated

                                                                Total: $626,527.25 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3368 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NEW HAMPSHIRE                                       Priority: $0.00
                      Barney Davis,
23274   INSURANCE                      3096    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $626,527.25 + Unliquidated

                                                            Total: $626,527.25 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        NEW HAMPSHIRE                                       Priority: $0.00
                      Nueces Bay,
23275   INSURANCE                      3151    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                             General Unsecured: $626,527.25 + Unliquidated

                                                            Total: $626,527.25 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23276   NEW, MATTHEW                   5143    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23277   NEW, MATTHEW Laredo, LLC       10893   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23278   NEW, MATTHEW                   16640   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23279   NEW, MATTHEW                   22385   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23280   NEW, MATTHEW                   28134   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3369 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,     Barney Davis,
23281                                 7051    8/1/2022     Secured: $0.00
        DOLORES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,
23282                 Laredo, LLC     12801   8/1/2022     Secured: $0.00
        DOLORES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,     Nueces Bay,
23283                                 18548   8/1/2022     Secured: $0.00
        DOLORES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,     Talen Texas
23284                                 24282   8/1/2022     Secured: $0.00
        DOLORES       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,     Talen Texas,
23285                                 30042   8/1/2022     Secured: $0.00
        DOLORES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,     Barney Davis,
23286                                 8437    8/1/2022     Secured: $0.00
        PERCILLA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWBERRY,
23287                 Laredo, LLC     14187   8/1/2022     Secured: $0.00
        PERCILLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3370 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWBERRY,        Nueces Bay,
23288                                    19934   8/1/2022     Secured: $0.00
        PERCILLA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWBERRY,        Talen Texas
23289                                    25667   8/1/2022     Secured: $0.00
        PERCILLA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWBERRY,        Talen Texas,
23290                                    31428   8/1/2022     Secured: $0.00
        PERCILLA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23291   NEWELL, LAUREN                   7931    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23292   NEWELL, LAUREN Laredo, LLC       13681   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23293   NEWELL, LAUREN                   19428   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23294   NEWELL, LAUREN                   25162   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3371 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23295   NEWELL, LAUREN                   30922   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWMAN,          Barney Davis,
23296                                    7854    8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWMAN,
23297                    Laredo, LLC     13604   8/1/2022     Secured: $0.00
        KIMBERLY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWMAN,          Nueces Bay,
23298                                    19351   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWMAN,          Talen Texas
23299                                    25085   8/1/2022     Secured: $0.00
        KIMBERLY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NEWMAN,          Talen Texas,
23300                                    30845   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23301   NEWMAN, MARY                     4492    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3372 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23302   NEWMAN, MARY Laredo, LLC       10242   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23303   NEWMAN, MARY                   15989   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23304   NEWMAN, MARY                   21735   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23305   NEWMAN, MARY                   27483   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEWSOM,        Barney Davis,
23306                                  9191    8/1/2022     Secured: $0.00
        ZACHARY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEWSOM,
23307                  Laredo, LLC     14941   8/1/2022     Secured: $0.00
        ZACHARY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NEWSOM,        Nueces Bay,
23308                                  20688   8/1/2022     Secured: $0.00
        ZACHARY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3373 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOM,       Talen Texas
23309                                 26420   8/1/2022     Secured: $0.00
        ZACHARY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOM,       Talen Texas,
23310                                 32182   8/1/2022     Secured: $0.00
        ZACHARY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOME,      Barney Davis,
23311                                 7341    8/1/2022     Secured: $0.00
        GWEN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOME,
23312                 Laredo, LLC     13091   8/1/2022     Secured: $0.00
        GWEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOME,      Nueces Bay,
23313                                 18838   8/1/2022     Secured: $0.00
        GWEN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOME,      Talen Texas
23314                                 24572   8/1/2022     Secured: $0.00
        GWEN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NEWSOME,      Talen Texas,
23315                                 30332   8/1/2022     Secured: $0.00
        GWEN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3374 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23316   NEWTON, DUSTY                   4147    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23317   NEWTON, DUSTY Laredo, LLC       9897    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23318   NEWTON, DUSTY                   15644   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23319   NEWTON, DUSTY                   21390   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23320   NEWTON, DUSTY                   27138   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23321   NEWTON, JIM                     5806    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23322   NEWTON, JIM     Laredo, LLC     11556   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3375 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23323   NEWTON, JIM                     17303   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23324   NEWTON, JIM                     23048   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23325   NEWTON, JIM                     28797   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NEXT CENTURY                                         Priority: $0.00
                        Nueces Bay,
23326   INSURANCE                       1778    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEXT INSURANCE
23327                  Laredo, LLC      1729    8/1/2022     Secured: $0.00
        COMPANY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NEXT INSURANCE Barney Davis,
23328                                   1735    8/1/2022     Secured: $0.00
        COMPANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NGAKOUE,        Barney Davis,
23329                                   6358    8/1/2022     Secured: $0.00
        AMANDIE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3376 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NGAKOUE,
23330                    Laredo, LLC     12108   8/1/2022     Secured: $0.00
        AMANDIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NGAKOUE,         Nueces Bay,
23331                                    17855   8/1/2022     Secured: $0.00
        AMANDIE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NGAKOUE,         Talen Texas
23332                                    23590   8/1/2022     Secured: $0.00
        AMANDIE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NGAKOUE,         Talen Texas,
23333                                    29349   8/1/2022     Secured: $0.00
        AMANDIE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23334   NGUYEN, ASHLEY                   6462    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23335   NGUYEN, ASHLEY Laredo, LLC       12212   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23336   NGUYEN, ASHLEY                   17959   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3377 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23337   NGUYEN, ASHLEY                   23694   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23338   NGUYEN, ASHLEY                   29453   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23339   NGUYEN, DANIEL                   6892    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23340   NGUYEN, DANIEL Laredo, LLC       12642   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23341   NGUYEN, DANIEL                   18389   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23342   NGUYEN, DANIEL                   24123   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23343   NGUYEN, DANIEL                   29883   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3378 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23344   NGUYEN, HANNA                   7349    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23345   NGUYEN, HANNA Laredo, LLC       13099   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23346   NGUYEN, HANNA                   18846   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23347   NGUYEN, HANNA                   24580   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23348   NGUYEN, HANNA                   30340   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23349   NGUYEN, HUONG                   4228    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23350   NGUYEN, HUONG Laredo, LLC       9978    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3379 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23351   NGUYEN, HUONG                   15725   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23352   NGUYEN, HUONG                   21471   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23353   NGUYEN, HUONG                   27219   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23354   NGUYEN, KHANG                   7838    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23355   NGUYEN, KHANG Laredo, LLC       13588   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23356   NGUYEN, KHANG                   19335   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23357   NGUYEN, KHANG                   25069   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3380 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23358   NGUYEN, KHANG                    30829   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23359   NGUYEN, NGUYEN                   8325    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23360   NGUYEN, NGUYEN Laredo, LLC       14075   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23361   NGUYEN, NGUYEN                   19822   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23362   NGUYEN, NGUYEN                   25556   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23363   NGUYEN, NGUYEN                   31316   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23364   NGUYEN, PHUOC                    8458    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3381 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23365   NGUYEN, PHUOC Laredo, LLC       14208   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23366   NGUYEN, PHUOC                   19955   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23367   NGUYEN, PHUOC                   25688   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23368   NGUYEN, PHUOC                   31449   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NGUYEN, THU     Barney Davis,
23369                                   9000    8/1/2022     Secured: $0.00
        ANH             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NGUYEN, THU
23370                   Laredo, LLC     14750   8/1/2022     Secured: $0.00
        ANH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NGUYEN, THU     Nueces Bay,
23371                                   20497   8/1/2022     Secured: $0.00
        ANH             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3382 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NGUYEN, THU   Talen Texas
23372                                 26229   8/1/2022     Secured: $0.00
        ANH           Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        NGUYEN, THU   Talen Texas,
23373                                 31991   8/1/2022     Secured: $0.00
        ANH           LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
23374   NGUYEN, XA                    9179    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
23375   NGUYEN, XA    Laredo, LLC     14929   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
23376   NGUYEN, XA                    20676   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
23377   NGUYEN, XA                    26408   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
23378   NGUYEN, XA                    32170   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3383 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23379   NIBLEY, HOPE J                   4227    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23380   NIBLEY, HOPE J   Laredo, LLC     9977    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23381   NIBLEY, HOPE J                   15724   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23382   NIBLEY, HOPE J                   21470   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23383   NIBLEY, HOPE J                   27218   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23384   NICHOLS, AMBER                   4811    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23385   NICHOLS, AMBER Laredo, LLC       10561   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3384 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23386   NICHOLS, AMBER                   16308   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23387   NICHOLS, AMBER                   22054   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23388   NICHOLS, AMBER                   27802   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23389   NICHOLS, ERIC                    7184    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23390   NICHOLS, ERIC    Laredo, LLC     12934   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23391   NICHOLS, ERIC                    18681   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23392   NICHOLS, ERIC                    24415   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3385 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23393   NICHOLS, ERIC                   30175   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23394   NICHOLS, EVA                    7210    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23395   NICHOLS, EVA    Laredo, LLC     12960   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23396   NICHOLS, EVA                    18707   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23397   NICHOLS, EVA                    24441   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23398   NICHOLS, EVA                    30201   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NICHOLS,        Barney Davis,
23399                                   8237    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3386 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,
23400                  Laredo, LLC     13987   8/1/2022     Secured: $0.00
        MICHAEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Nueces Bay,
23401                                  19734   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Talen Texas
23402                                  25468   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Talen Texas,
23403                                  31228   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Barney Davis,
23404                                  3696    8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,
23405                  Laredo, LLC     9446    8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Nueces Bay,
23406                                  15193   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3387 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Talen Texas
23407                                  20940   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Talen Texas,
23408                                  26687   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Barney Davis,
23409                                  4785    8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,
23410                  Laredo, LLC     10535   8/1/2022     Secured: $0.00
        WILLIAM
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Nueces Bay,
23411                                  16282   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Talen Texas
23412                                  22028   8/1/2022     Secured: $0.00
        WILLIAM        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        NICHOLS,       Talen Texas,
23413                                  27776   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3388 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23414   NICKELS, SHERRY                   5876    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23415   NICKELS, SHERRY Laredo, LLC       11626   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23416   NICKELS, SHERRY                   17373   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23417   NICKELS, SHERRY                   23118   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23418   NICKELS, SHERRY                   28867   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23419   NICKS, NATOYRA                    8320    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23420   NICKS, NATOYRA Laredo, LLC        14070   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3389 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23421   NICKS, NATOYRA                    19817   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23422   NICKS, NATOYRA                    25551   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23423   NICKS, NATOYRA                    31311   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23424   NICOUD, CHARLES                   6701    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23425   NICOUD, CHARLES Laredo, LLC       12451   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23426   NICOUD, CHARLES                   18198   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23427   NICOUD, CHARLES                   23932   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3390 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23428   NICOUD, CHARLES                   29692   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23429   NIEHOFF, BRANDY                   3981    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23430   NIEHOFF, BRANDY Laredo, LLC       9731    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23431   NIEHOFF, BRANDY                   15478   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23432   NIEHOFF, BRANDY                   21224   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23433   NIEHOFF, BRANDY                   26972   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23434   NIETO, GLORIA                     5497    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3391 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23435   NIETO, GLORIA   Laredo, LLC     11247   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23436   NIETO, GLORIA                   16994   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23437   NIETO, GLORIA                   22739   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23438   NIETO, GLORIA                   28488   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23439   NIETO, PETE                     8440    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23440   NIETO, PETE     Laredo, LLC     14190   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23441   NIETO, PETE                     19937   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3392 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23442   NIETO, PETE                    25670   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23443   NIETO, PETE                    31431   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23444   NILES, KENNY                   7821    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23445   NILES, KENNY   Laredo, LLC     13571   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23446   NILES, KENNY                   19318   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23447   NILES, KENNY                   25052   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23448   NILES, KENNY                   30812   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3393 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23449   NINO, LUCIA    Laredo, LLC     32980   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23450   NINO, LUCIA                    33971   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23451   NINO, LUCIA                    34962   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23452   NINO, LUCIA                    35953   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23453   NINO, LUCIA                    36942   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23454   NIX, RANDY                     8493    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23455   NIX, RANDY     Laredo, LLC     14243   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3394 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23456   NIX, RANDY                        19990   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23457   NIX, RANDY                        25722   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23458   NIX, RANDY                        31484   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23459   NIXON, DEMERISE                   6985    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23460   NIXON, DEMERISE Laredo, LLC       12735   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23461   NIXON, DEMERISE                   18482   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23462   NIXON, DEMERISE                   24216   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3395 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23463   NIXON, DEMERISE                   29976   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NIXON, JIMMY      Barney Davis,
23464                                     7577    8/1/2022     Secured: $0.00
        GOVAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NIXON, JIMMY
23465                     Laredo, LLC     13327   8/1/2022     Secured: $0.00
        GOVAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NIXON, JIMMY      Nueces Bay,
23466                                     19074   8/1/2022     Secured: $0.00
        GOVAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NIXON, JIMMY      Talen Texas
23467                                     24808   8/1/2022     Secured: $0.00
        GOVAN             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NIXON, JIMMY      Talen Texas,
23468                                     30568   8/1/2022     Secured: $0.00
        GOVAN             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23469   NJAMEN, THIERY                    8993    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3396 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23470   NJAMEN, THIERY Laredo, LLC       14743   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23471   NJAMEN, THIERY                   20490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23472   NJAMEN, THIERY                   26222   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23473   NJAMEN, THIERY                   31984   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23474   NOBLE, LENNARD                   7957    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23475   NOBLE, LENNARD Laredo, LLC       13707   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23476   NOBLE, LENNARD                   19454   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3397 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23477   NOBLE, LENNARD                   25188   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23478   NOBLE, LENNARD                   30948   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23479   NOBLES, THOMAS                   8996    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23480   NOBLES, THOMAS Laredo, LLC       14746   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23481   NOBLES, THOMAS                   20493   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23482   NOBLES, THOMAS                   26225   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23483   NOBLES, THOMAS                   31987   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3398 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        NOELIA SEALS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
23484                                    3805    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        ELFIDA NATALIA
        SILGUERO
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NOELIA SEALS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF
23485                    Laredo, LLC     9555    8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        ELFIDA NATALIA
        SILGUERO
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NOELIA SEALS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
23486                                    15302   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        ELFIDA NATALIA
        SILGUERO
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NOELIA SEALS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
23487                                    21049   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        ELFIDA NATALIA
        SILGUERO
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        NOELIA SEALS,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
23488                                    26796   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        ELFIDA NATALIA
        SILGUERO
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23489   NOONE, REBECCA                   8520    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23490   NOONE, REBECCA Laredo, LLC       14270   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3399 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23491   NOONE, REBECCA                   20017   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23492   NOONE, REBECCA                   25749   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23493   NOONE, REBECCA                   31511   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        NORGUARD                                              Priority: $0.00
23494   INSURANCE        Laredo, LLC     3323    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        NORGUARD                                              Priority: $0.00
                         Barney Davis,
23495   INSURANCE                        3421    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        NORGUARD                                              Priority: $0.00
                         Nueces Bay,
23496   INSURANCE                        3422    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NORIEGA,
23497                    Laredo, LLC     32981   8/1/2022     Secured: $0.00
        ESTEBAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3400 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NORIEGA,         Barney Davis,
23498                                    33972   8/1/2022     Secured: $0.00
        ESTEBAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NORIEGA,         Nueces Bay,
23499                                    34963   8/1/2022     Secured: $0.00
        ESTEBAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NORIEGA,         Talen Texas
23500                                    35954   8/1/2022     Secured: $0.00
        ESTEBAN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NORIEGA,         Talen Texas,
23501                                    36943   8/1/2022     Secured: $0.00
        ESTEBAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23502   NORIEGA, GRACE Laredo, LLC       32982   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23503   NORIEGA, GRACE                   33973   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23504   NORIEGA, GRACE                   34964   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3401 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23505   NORIEGA, GRACE                   35955   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23506   NORIEGA, GRACE                   36944   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23507   NORMAN, CARLA                    6633    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23508   NORMAN, CARLA Laredo, LLC        12383   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23509   NORMAN, CARLA                    18130   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23510   NORMAN, CARLA                    23864   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23511   NORMAN, CARLA                    29624   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3402 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORMAN,         Barney Davis,
23512                                   3739    8/1/2022     Secured: $0.00
        CRYSTAL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORMAN,
23513                   Laredo, LLC     9489    8/1/2022     Secured: $0.00
        CRYSTAL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORMAN,         Nueces Bay,
23514                                   15236   8/1/2022     Secured: $0.00
        CRYSTAL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORMAN,         Talen Texas
23515                                   20983   8/1/2022     Secured: $0.00
        CRYSTAL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORMAN,         Talen Texas,
23516                                   26730   8/1/2022     Secured: $0.00
        CRYSTAL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23517   NORMAN, DAVID                   6929    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23518   NORMAN, DAVID Laredo, LLC       12679   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3403 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23519   NORMAN, DAVID                   18426   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23520   NORMAN, DAVID                   24160   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23521   NORMAN, DAVID                   29920   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23522   NORR, LYNN                      6256    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23523   NORR, LYNN      Laredo, LLC     12006   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23524   NORR, LYNN                      17753   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23525   NORR, LYNN                      23488   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3404 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23526   NORR, LYNN                         29247   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23527   NORRIS, JYRON                      5817    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23528   NORRIS, JYRON      Laredo, LLC     11567   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23529   NORRIS, JYRON                      17314   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
23530   NORRIS, JYRON                      23059   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23531   NORRIS, JYRON                      28808   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23532   NORRIS, PATRICIA                   8395    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3405 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23533   NORRIS, PATRICIA Laredo, LLC       14145   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23534   NORRIS, PATRICIA                   19892   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
23535   NORRIS, PATRICIA                   25625   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23536   NORRIS, PATRICIA                   31386   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23537   NORRIS, THERESA Laredo, LLC        32983   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23538   NORRIS, THERESA                    33974   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23539   NORRIS, THERESA                    34965   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3406 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23540   NORRIS, THERESA                   35956   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23541   NORRIS, THERESA                   36945   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NORTH
                                                               Priority: $0.00
        AMERICAN ELITE    Barney Davis,
23542                                     2119    8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $5,504,612.26 + Unliquidated
        COMPANY
                                                               Total: $5,504,612.26 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NORTH
                                                               Priority: $0.00
        AMERICAN ELITE    Nueces Bay,
23543                                     2598    8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $5,504,612.26 + Unliquidated
        COMPANY
                                                               Total: $5,504,612.26 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NORTH
                                                               Priority: $0.00
        AMERICAN ELITE
23544                     Laredo, LLC     2606    8/1/2022     Secured: $0.00
        INSURANCE
                                                               General Unsecured: $5,504,612.26 + Unliquidated
        COMPANY
                                                               Total: $5,504,612.26 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NORTH LIGHT
                                                               Priority: $0.00
        SPECIALTY
23545                     Laredo, LLC     2612    7/31/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $219,215.14 + Unliquidated
        COMPANY
                                                               Total: $219,215.14 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NORTH LIGHT
                                                               Priority: $0.00
        SPECIALTY         Barney Davis,
23546                                     2623    7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $219,215.14 + Unliquidated
        COMPANY
                                                               Total: $219,215.14 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3407 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NORTH LIGHT
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
23547                                   2630    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $219,215.14 + Unliquidated
        COMPANY
                                                             Total: $219,215.14 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23548   NORTH, LARRY                    7911    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23549   NORTH, LARRY    Laredo, LLC     13661   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23550   NORTH, LARRY                    19408   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23551   NORTH, LARRY                    25142   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23552   NORTH, LARRY                    30902   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23553   NORTH, PAMELA                   5195    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3408 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23554   NORTH, PAMELA Laredo, LLC       10945   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23555   NORTH, PAMELA                   16692   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23556   NORTH, PAMELA                   22437   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23557   NORTH, PAMELA                   28186   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORTHERN,       Barney Davis,
23558                                   8253    8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORTHERN,
23559                   Laredo, LLC     14003   8/1/2022     Secured: $0.00
        MICHELLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORTHERN,       Nueces Bay,
23560                                   19750   8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3409 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORTHERN,       Talen Texas
23561                                   25484   8/1/2022     Secured: $0.00
        MICHELLE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NORTHERN,       Talen Texas,
23562                                   31244   8/1/2022     Secured: $0.00
        MICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NORTHFIELD                                           Priority: $0.00
23563   INSURANCE       Laredo, LLC     1814    7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NORTHFIELD                                           Priority: $0.00
                        Barney Davis,
23564   INSURANCE                       2226    7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NORTHFIELD                                           Priority: $0.00
                        Nueces Bay,
23565   INSURANCE                       2322    7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        NORTHSIDE
                                                             Other Administrative: $0.00
        FAMILY
                                                             Priority: $0.00
        COUNSELING      Barney Davis,
23566                                   5937    8/1/2022     Secured: $0.00
        CENTER, LLC,    LLC
                                                             General Unsecured: $0.00 + Unliquidated
        FRANCHISE TAX
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        NORTHSIDE
                                                             Other Administrative: $0.00
        FAMILY
                                                             Priority: $0.00
        COUNSELING
23567                   Laredo, LLC     11687   8/1/2022     Secured: $0.00
        CENTER, LLC,
                                                             General Unsecured: $0.00 + Unliquidated
        FRANCHISE TAX
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3410 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        NORTHSIDE
                                                             Other Administrative: $0.00
        FAMILY
                                                             Priority: $0.00
        COUNSELING      Nueces Bay,
23568                                   17434   8/1/2022     Secured: $0.00
        CENTER, LLC,    LLC
                                                             General Unsecured: $0.00 + Unliquidated
        FRANCHISE TAX
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        NORTHSIDE
                                                             Other Administrative: $0.00
        FAMILY
                                                             Priority: $0.00
        COUNSELING      Talen Texas
23569                                   23179   8/1/2022     Secured: $0.00
        CENTER, LLC,    Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        FRANCHISE TAX
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        NORTHSIDE
                                                             Other Administrative: $0.00
        FAMILY
                                                             Priority: $0.00
        COUNSELING      Talen Texas,
23570                                   28928   8/1/2022     Secured: $0.00
        CENTER, LLC,    LLC
                                                             General Unsecured: $0.00 + Unliquidated
        FRANCHISE TAX
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23571   NOSKA, MELODY                   6004    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23572   NOSKA, MELODY Laredo, LLC       11754   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23573   NOSKA, MELODY                   17501   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23574   NOSKA, MELODY                   23246   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3411 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
23575   NOSKA, MELODY                   28995   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NOVA CASUALTY Nueces Bay,
23576                                   1624    8/1/2022     Secured: $0.00
        COMPANY       LLC
                                                             General Unsecured: $17,125,127.47 + Unliquidated

                                                             Total: $17,125,127.47 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NOVA CASUALTY Barney Davis,
23577                                   1762    8/1/2022     Secured: $0.00
        COMPANY       LLC
                                                             General Unsecured: $17,125,127.47 + Unliquidated

                                                             Total: $17,125,127.47 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        NOVA CASUALTY
23578                 Laredo, LLC       1794    8/1/2022     Secured: $0.00
        COMPANY
                                                             General Unsecured: $17,125,127.47 + Unliquidated

                                                             Total: $17,125,127.47 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NSCF SERVICES                                        Priority: $0.00
                        Barney Davis,
23579   LLC, FRANCHISE                  5721    8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                      General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        NSCF SERVICES                                        Priority: $0.00
23580   LLC, FRANCHISE Laredo, LLC      11471   8/1/2022     Secured: $0.00
        TAX (PMT PEND.)                                      General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3412 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        NSCF SERVICES                                         Priority: $0.00
                        Nueces Bay,
23581   LLC, FRANCHISE                   17218   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        NSCF SERVICES                                         Priority: $0.00
                        Talen Texas
23582   LLC, FRANCHISE                   22963   8/1/2022     Secured: $0.00
                        Group, LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        NSCF SERVICES                                         Priority: $0.00
                        Talen Texas,
23583   LLC, FRANCHISE                   28712   8/1/2022     Secured: $0.00
                        LLC
        TAX (PMT PEND.)                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23584   NUGENT, ROBERT                   8614    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23585   NUGENT, ROBERT Laredo, LLC       14364   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23586   NUGENT, ROBERT                   20111   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23587   NUGENT, ROBERT                   25843   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3413 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23588   NUGENT, ROBERT                     31605   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23589   NUNCIO, ELISABEL Laredo, LLC       32984   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23590   NUNCIO, ELISABEL                   33975   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23591   NUNCIO, ELISABEL                   34966   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
23592   NUNCIO, ELISABEL                   35957   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23593   NUNCIO, ELISABEL                   36946   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23594   NUNCIO, PRISILA Laredo, LLC        32985   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3414 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23595   NUNCIO, PRISILA                   33976   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23596   NUNCIO, PRISILA                   34967   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23597   NUNCIO, PRISILA                   35958   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23598   NUNCIO, PRISILA                   36947   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NWACHUKWU,        Barney Davis,
23599                                     5761    8/1/2022     Secured: $0.00
        CHIJIOKE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NWACHUKWU,
23600                     Laredo, LLC     11511   8/1/2022     Secured: $0.00
        CHIJIOKE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        NWACHUKWU,        Nueces Bay,
23601                                     17258   8/1/2022     Secured: $0.00
        CHIJIOKE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3415 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NWACHUKWU,       Talen Texas
23602                                    23003   8/1/2022     Secured: $0.00
        CHIJIOKE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        NWACHUKWU,       Talen Texas,
23603                                    28752   8/1/2022     Secured: $0.00
        CHIJIOKE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23604   NYABADZA, LISA                   5105    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23605   NYABADZA, LISA   Laredo, LLC     10855   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23606   NYABADZA, LISA                   16602   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23607   NYABADZA, LISA                   22347   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23608   NYABADZA, LISA                   28096   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3416 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23609   NYE, LESLIE      Laredo, LLC     32986   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23610   NYE, LESLIE                      33977   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23611   NYE, LESLIE                      34968   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23612   NYE, LESLIE                      35959   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23613   NYE, LESLIE                      36948   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        O’DANIEL, CARRIE Barney Davis,
23614                                    6669    8/1/2022     Secured: $0.00
        DELAGARZA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        O’DANIEL, CARRIE
23615                    Laredo, LLC     12419   8/1/2022     Secured: $0.00
        DELAGARZA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3417 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        O’DANIEL, CARRIE Nueces Bay,
23616                                    18166   8/1/2022     Secured: $0.00
        DELAGARZA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        O’DANIEL, CARRIE Talen Texas
23617                                    23900   8/1/2022     Secured: $0.00
        DELAGARZA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        O’DANIEL, CARRIE Talen Texas,
23618                                    29660   8/1/2022     Secured: $0.00
        DELAGARZA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23619   O’DELL, DANIEL                   6893    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23620   O’DELL, DANIEL   Laredo, LLC     12643   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23621   O’DELL, DANIEL                   18390   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23622   O’DELL, DANIEL                   24124   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3418 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23623   O’DELL, DANIEL                   29884   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OBERIEN,         Barney Davis,
23624                                    8463    8/1/2022     Secured: $0.00
        PRICILLA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OBERIEN,
23625                    Laredo, LLC     14213   8/1/2022     Secured: $0.00
        PRICILLA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OBERIEN,         Nueces Bay,
23626                                    19960   8/1/2022     Secured: $0.00
        PRICILLA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OBERIEN,         Talen Texas
23627                                    25693   8/1/2022     Secured: $0.00
        PRICILLA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OBERIEN,         Talen Texas,
23628                                    31454   8/1/2022     Secured: $0.00
        PRICILLA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OBREGON,         Barney Davis,
23629                                    6349    8/1/2022     Secured: $0.00
        ALVARO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3419 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OBREGON,
23630                  Laredo, LLC     12099   8/1/2022     Secured: $0.00
        ALVARO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OBREGON,       Nueces Bay,
23631                                  17846   8/1/2022     Secured: $0.00
        ALVARO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OBREGON,       Talen Texas
23632                                  23581   8/1/2022     Secured: $0.00
        ALVARO         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OBREGON,       Talen Texas,
23633                                  29340   8/1/2022     Secured: $0.00
        ALVARO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        O'BRIEN,       Barney Davis,
23634                                  4582    8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        O'BRIEN,
23635                  Laredo, LLC     10332   8/1/2022     Secured: $0.00
        PRISCILLA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        O'BRIEN,       Nueces Bay,
23636                                  16079   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3420 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        O'BRIEN,       Talen Texas
23637                                 21825   8/1/2022     Secured: $0.00
        PRISCILLA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        O'BRIEN,       Talen Texas,
23638                                 27573   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OCAMPO, MARIA Barney Davis,
23639                                 8087    8/1/2022     Secured: $0.00
        TERESA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OCAMPO, MARIA
23640                 Laredo, LLC     13837   8/1/2022     Secured: $0.00
        TERESA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OCAMPO, MARIA Nueces Bay,
23641                                 19584   8/1/2022     Secured: $0.00
        TERESA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OCAMPO, MARIA Talen Texas
23642                                 25318   8/1/2022     Secured: $0.00
        TERESA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OCAMPO, MARIA Talen Texas,
23643                                 31078   8/1/2022     Secured: $0.00
        TERESA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3421 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        OCCIDENTAL                                           Priority: $0.00
                         Talen Energy
23644   INSURANCE                        1054   7/28/2022    Secured: $0.00
                         Supply, LLC
        COMPANY                                              General Unsecured: $62,008,322.78 + Unliquidated

                                                             Total: $62,008,322.78 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        OCCIDENTAL                                           Priority: $0.00
                         Barney Davis,
23645   INSURANCE                        1105   7/28/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $62,008,322.78 + Unliquidated

                                                             Total: $62,008,322.78 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        OCCIDENTAL                                           Priority: $0.00
                         Nueces Bay,
23646   INSURANCE                        1109   7/28/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $62,008,322.78 + Unliquidated

                                                             Total: $62,008,322.78 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        OCCIDENTAL                                           Priority: $0.00
23647   INSURANCE        Laredo, LLC     1114   7/28/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $62,008,322.78 + Unliquidated

                                                             Total: $62,008,322.78 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Barney Davis,
23648   OCHOA, CYNTHIA                   4068   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23649   OCHOA, CYNTHIA Laredo, LLC       9818   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3422 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23650   OCHOA, CYNTHIA                    15565   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23651   OCHOA, CYNTHIA                    21311   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23652   OCHOA, CYNTHIA                    27059   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23653   OCHOA, PATRICIA Laredo, LLC       32987   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23654   OCHOA, PATRICIA                   33978   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23655   OCHOA, PATRICIA                   34969   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23656   OCHOA, PATRICIA                   35960   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3423 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23657   OCHOA, PATRICIA                   36949   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OCHONDO,          Barney Davis,
23658                                     6481    8/1/2022     Secured: $0.00
        BARACK            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OCHONDO,
23659                     Laredo, LLC     12231   8/1/2022     Secured: $0.00
        BARACK
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OCHONDO,          Nueces Bay,
23660                                     17978   8/1/2022     Secured: $0.00
        BARACK            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OCHONDO,          Talen Texas
23661                                     23713   8/1/2022     Secured: $0.00
        BARACK            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OCHONDO,          Talen Texas,
23662                                     29472   8/1/2022     Secured: $0.00
        BARACK            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23663   OCONNOR, TERRY                    8977    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3424 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23664   OCONNOR, TERRY Laredo, LLC       14727   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23665   OCONNOR, TERRY                   20474   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23666   OCONNOR, TERRY                   26206   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23667   OCONNOR, TERRY                   31968   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23668   ODAY, ERIC                       7185    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23669   ODAY, ERIC       Laredo, LLC     12935   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23670   ODAY, ERIC                       18682   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3425 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23671   ODAY, ERIC                     24416   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23672   ODAY, ERIC                     30176   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23673   ODELL, DALE                    4074    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23674   ODELL, DALE    Laredo, LLC     9824    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23675   ODELL, DALE                    15571   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23676   ODELL, DALE                    21317   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23677   ODELL, DALE                    27065   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3426 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOEMENA,      Barney Davis,
23678                                  8449    8/1/2022     Secured: $0.00
        PHILIP         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOEMENA,
23679                  Laredo, LLC     14199   8/1/2022     Secured: $0.00
        PHILIP
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOEMENA,      Nueces Bay,
23680                                  19946   8/1/2022     Secured: $0.00
        PHILIP         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOEMENA,      Talen Texas
23681                                  25679   8/1/2022     Secured: $0.00
        PHILIP         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOEMENA,      Talen Texas,
23682                                  31440   8/1/2022     Secured: $0.00
        PHILIP         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOM‐RAFUSE,   Barney Davis,
23683                                  3652    8/1/2022     Secured: $0.00
        ANISA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ODOM‐RAFUSE,   Barney Davis,
23684                                  3929    8/1/2022     Secured: $0.00
        ANISA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3427 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,
23685                  Laredo, LLC    9402    8/1/2022     Secured: $0.00
        ANISA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,
23686                  Laredo, LLC    9679    8/1/2022     Secured: $0.00
        ANISA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,   Nueces Bay,
23687                                 15149   8/1/2022     Secured: $0.00
        ANISA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,   Nueces Bay,
23688                                 15426   8/1/2022     Secured: $0.00
        ANISA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,   Talen Texas
23689                                 20896   8/1/2022     Secured: $0.00
        ANISA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,   Talen Texas
23690                                 26572   8/1/2022     Secured: $0.00
        ANISA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ODOM‐RAFUSE,   Talen Texas,
23691                                 26643   8/1/2022     Secured: $0.00
        ANISA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3428 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ODOM‐RAFUSE,     Talen Texas,
23692                                    26920   8/1/2022     Secured: $0.00
        ANISA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23693   OGILVY, ROBERT                   5244    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23694   OGILVY, ROBERT   Laredo, LLC     10994   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23695   OGILVY, ROBERT                   16741   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23696   OGILVY, ROBERT                   22486   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23697   OGILVY, ROBERT                   28235   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23698   OGLETREE, JOHN                   7619    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3429 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23699   OGLETREE, JOHN Laredo, LLC       13369   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23700   OGLETREE, JOHN                   19116   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23701   OGLETREE, JOHN                   24850   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23702   OGLETREE, JOHN                   30610   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23703   OGUNLEYE, RUTH                   8709    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23704   OGUNLEYE, RUTH Laredo, LLC       14459   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23705   OGUNLEYE, RUTH                   20206   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3430 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23706   OGUNLEYE, RUTH                   25938   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23707   OGUNLEYE, RUTH                   31700   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23708   OH, PAUL                         8417    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23709   OH, PAUL         Laredo, LLC     14167   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23710   OH, PAUL                         19914   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23711   OH, PAUL                         25647   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23712   OH, PAUL                         31408   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3431 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        O'HALLORAN,     Barney Davis,
23713                                   8381    8/1/2022     Secured: $0.00
        PAMELA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        O'HALLORAN,
23714                   Laredo, LLC     14131   8/1/2022     Secured: $0.00
        PAMELA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        O'HALLORAN,     Nueces Bay,
23715                                   19878   8/1/2022     Secured: $0.00
        PAMELA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        O'HALLORAN,     Talen Texas
23716                                   25611   8/1/2022     Secured: $0.00
        PAMELA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        O'HALLORAN,     Talen Texas,
23717                                   31372   8/1/2022     Secured: $0.00
        PAMELA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        OHIO CASUALTY                                        Priority: $0.00
23718   INSURANCE       Laredo, LLC     1840    7/31/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $533,000.00 + Unliquidated

                                                             Total: $533,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        OHIO CASUALTY                                        Priority: $0.00
                        Barney Davis,
23719   INSURANCE                       2372    7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $533,000.00 + Unliquidated

                                                             Total: $533,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3432 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        OHIO CASUALTY                                          Priority: $0.00
                          Nueces Bay,
23720   INSURANCE                         2380    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $533,000.00 + Unliquidated

                                                               Total: $533,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        OHIO SECURITY                                          Priority: $0.00
23721   INSURANCE         Laredo, LLC     2303    7/31/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $6,147,634.64 + Unliquidated

                                                               Total: $6,147,634.64 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        OHIO SECURITY                                          Priority: $0.00
                          Barney Davis,
23722   INSURANCE                         2310    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,147,634.64 + Unliquidated

                                                               Total: $6,147,634.64 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        OHIO SECURITY                                          Priority: $0.00
                          Nueces Bay,
23723   INSURANCE                         2746    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,147,634.64 + Unliquidated

                                                               Total: $6,147,634.64 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23724   OJEDA, MARILENA                   8097    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23725   OJEDA, MARILENA Laredo, LLC       13847   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23726   OJEDA, MARILENA                   19594   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3433 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23727   OJEDA, MARILENA                   25328   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23728   OJEDA, MARILENA                   31088   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23729   OJINTA, MICHAEL                   5154    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23730   OJINTA, MICHAEL Laredo, LLC       10904   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23731   OJINTA, MICHAEL                   16651   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23732   OJINTA, MICHAEL                   22396   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23733   OJINTA, MICHAEL                   28145   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3434 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23734   OKEEFE, LINDA                     7984    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23735   OKEEFE, LINDA     Laredo, LLC     13734   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23736   OKEEFE, LINDA                     19481   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23737   OKEEFE, LINDA                     25215   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23738   OKEEFE, LINDA                     30975   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23739   O'KEEFE, SANDRA                   8746    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23740   O'KEEFE, SANDRA Laredo, LLC       14496   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3435 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23741   O'KEEFE, SANDRA                   20243   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23742   O'KEEFE, SANDRA                   25975   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23743   O'KEEFE, SANDRA                   31737   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OKEREKE,          Barney Davis,
23744                                     4040    8/1/2022     Secured: $0.00
        CHINWE‐NGOZI      LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OKEREKE,
23745                     Laredo, LLC     9790    8/1/2022     Secured: $0.00
        CHINWE‐NGOZI
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OKEREKE,          Nueces Bay,
23746                                     15537   8/1/2022     Secured: $0.00
        CHINWE‐NGOZI      LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OKEREKE,          Talen Texas
23747                                     21283   8/1/2022     Secured: $0.00
        CHINWE‐NGOZI      Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3436 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OKEREKE,        Talen Texas,
23748                                   27031   8/1/2022     Secured: $0.00
        CHINWE‐NGOZI    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23749   OKO, CHINYERE                   6734    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23750   OKO, CHINYERE   Laredo, LLC     12484   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23751   OKO, CHINYERE                   18231   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23752   OKO, CHINYERE                   23965   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23753   OKO, CHINYERE                   29725   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OKONIEWSKI,
23754                   Laredo, LLC     32988   8/1/2022     Secured: $0.00
        STEVE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3437 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OKONIEWSKI,    Barney Davis,
23755                                  33979   8/1/2022     Secured: $0.00
        STEVE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OKONIEWSKI,    Nueces Bay,
23756                                  34970   8/1/2022     Secured: $0.00
        STEVE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OKONIEWSKI,    Talen Texas
23757                                  35961   8/1/2022     Secured: $0.00
        STEVE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OKONIEWSKI,    Talen Texas,
23758                                  36950   8/1/2022     Secured: $0.00
        STEVE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23759   OKULY, JOSIE                   4334    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23760   OKULY, JOSIE   Laredo, LLC     10084   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23761   OKULY, JOSIE                   15831   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3438 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23762   OKULY, JOSIE                   21577   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23763   OKULY, JOSIE                   27325   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLAREWAJU,     Barney Davis,
23764                                  6275    8/1/2022     Secured: $0.00
        AANUOLA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLAREWAJU,
23765                  Laredo, LLC     12025   8/1/2022     Secured: $0.00
        AANUOLA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLAREWAJU,     Nueces Bay,
23766                                  17772   8/1/2022     Secured: $0.00
        AANUOLA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLAREWAJU,     Talen Texas
23767                                  23507   8/1/2022     Secured: $0.00
        AANUOLA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLAREWAJU,     Talen Texas,
23768                                  29266   8/1/2022     Secured: $0.00
        AANUOLA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3439 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        OLD REPUBLIC
                                                            Priority: $0.00
        UNION
23769                  Laredo, LLC     2871    8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        OLD REPUBLIC
                                                            Priority: $0.00
        UNION          Nueces Bay,
23770                                  2879    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        OLD REPUBLIC
                                                            Priority: $0.00
        UNION          Barney Davis,
23771                                  3366    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                            Total: $198,152,103.43 + Unliquidated
                                                            503(b)(9): $0.00
        OLD RIVER
                                                            Other Administrative: $0.00
        TERRACE
                                                            Priority: $0.00
        METHODIST      Barney Davis,
23772                                  5691    8/1/2022     Secured: $0.00
        CHURCH,        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        CHANNELVIEW,
        TEXAS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        OLD RIVER
                                                            Other Administrative: $0.00
        TERRACE
                                                            Priority: $0.00
        METHODIST
23773                  Laredo, LLC     11441   8/1/2022     Secured: $0.00
        CHURCH,
                                                            General Unsecured: $0.00 + Unliquidated
        CHANNELVIEW,
        TEXAS
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        OLD RIVER
                                                            Other Administrative: $0.00
        TERRACE
                                                            Priority: $0.00
        METHODIST      Nueces Bay,
23774                                  17188   8/1/2022     Secured: $0.00
        CHURCH,        LLC
                                                            General Unsecured: $0.00 + Unliquidated
        CHANNELVIEW,
        TEXAS
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3440 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        OLD RIVER
                                                               Other Administrative: $0.00
        TERRACE
                                                               Priority: $0.00
        METHODIST         Talen Texas
23775                                     22933   8/1/2022     Secured: $0.00
        CHURCH,           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        CHANNELVIEW,
        TEXAS
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        OLD RIVER
                                                               Other Administrative: $0.00
        TERRACE
                                                               Priority: $0.00
        METHODIST         Talen Texas,
23776                                     28682   8/1/2022     Secured: $0.00
        CHURCH,           LLC
                                                               General Unsecured: $0.00 + Unliquidated
        CHANNELVIEW,
        TEXAS
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23777   OLEZENE, AZANIA                   4842    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23778   OLEZENE, AZANIA Laredo, LLC       10592   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23779   OLEZENE, AZANIA                   16339   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23780   OLEZENE, AZANIA                   22085   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23781   OLEZENE, AZANIA                   27833   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3441 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIPHANT,        Barney Davis,
23782                                    6428    8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIPHANT,
23783                    Laredo, LLC     12178   8/1/2022     Secured: $0.00
        ANTHONY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIPHANT,        Nueces Bay,
23784                                    17925   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIPHANT,        Talen Texas
23785                                    23660   8/1/2022     Secured: $0.00
        ANTHONY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIPHANT,        Talen Texas,
23786                                    29419   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23787   OLIVA, ANTONIO Laredo, LLC       32989   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23788   OLIVA, ANTONIO                   33980   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3442 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23789   OLIVA, ANTONIO                    34971   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23790   OLIVA, ANTONIO                    35962   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23791   OLIVA, ANTONIO                    36951   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23792   OLIVAN, CLAUDIA Laredo, LLC       32990   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23793   OLIVAN, CLAUDIA                   33981   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23794   OLIVAN, CLAUDIA                   34972   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23795   OLIVAN, CLAUDIA                   35963   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3443 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23796   OLIVAN, CLAUDIA                   36952   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
23797   OLIVARES, AMY     Laredo, LLC     32991   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
23798   OLIVARES, AMY                     33982   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
23799   OLIVARES, AMY                     34973   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
23800   OLIVARES, AMY                     35964   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
23801   OLIVARES, AMY                     36953   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        OLIVAREZ, GINA    Barney Davis,
23802                                     4203    8/1/2022     Secured: $0.00
        ALCANTAR          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3444 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ, GINA
23803                    Laredo, LLC    9953    8/1/2022     Secured: $0.00
        ALCANTAR
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ, GINA   Nueces Bay,
23804                                   15700   8/1/2022     Secured: $0.00
        ALCANTAR         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ, GINA   Talen Texas
23805                                   21446   8/1/2022     Secured: $0.00
        ALCANTAR         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ, GINA   Talen Texas,
23806                                   27194   8/1/2022     Secured: $0.00
        ALCANTAR         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ,
23807                   Laredo, LLC     32992   8/1/2022     Secured: $0.00
        VALENTIN SYLVIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ,       Barney Davis,
23808                                   33983   8/1/2022     Secured: $0.00
        VALENTIN SYLVIA LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVAREZ,       Nueces Bay,
23809                                   34974   8/1/2022     Secured: $0.00
        VALENTIN SYLVIA LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3445 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVAREZ,       Talen Texas
23810                                    35965   8/1/2022     Secured: $0.00
        VALENTIN SYLVIA Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVAREZ,       Talen Texas,
23811                                    36954   8/1/2022     Secured: $0.00
        VALENTIN SYLVIA LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVARI, CYNTHIA Barney Davis,
23812                                    4069    8/1/2022     Secured: $0.00
        RENEE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVARI, CYNTHIA
23813                    Laredo, LLC     9819    8/1/2022     Secured: $0.00
        RENEE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVARI, CYNTHIA Nueces Bay,
23814                                    15566   8/1/2022     Secured: $0.00
        RENEE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVARI, CYNTHIA Talen Texas
23815                                    21312   8/1/2022     Secured: $0.00
        RENEE            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLIVARI, CYNTHIA Talen Texas,
23816                                    27060   8/1/2022     Secured: $0.00
        RENEE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3446 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVER,        Barney Davis,
23817                                  6829    8/1/2022     Secured: $0.00
        COURTNEY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVER,
23818                  Laredo, LLC     12579   8/1/2022     Secured: $0.00
        COURTNEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVER,        Nueces Bay,
23819                                  18326   8/1/2022     Secured: $0.00
        COURTNEY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVER,        Talen Texas
23820                                  24060   8/1/2022     Secured: $0.00
        COURTNEY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVER,        Talen Texas,
23821                                  29820   8/1/2022     Secured: $0.00
        COURTNEY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23822   OLIVER, KEN                    4376    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23823   OLIVER, KEN    Laredo, LLC     10126   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3447 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23824   OLIVER, KEN                     15873   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23825   OLIVER, KEN                     21619   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23826   OLIVER, KEN                     27367   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23827   OLIVER, LARAE                   7906    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23828   OLIVER, LARAE   Laredo, LLC     13656   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23829   OLIVER, LARAE                   19403   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23830   OLIVER, LARAE                   25137   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3448 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23831   OLIVER, LARAE                   30897   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVEROS,       Barney Davis,
23832                                   7314    8/1/2022     Secured: $0.00
        GLORIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVEROS,
23833                   Laredo, LLC     13064   8/1/2022     Secured: $0.00
        GLORIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVEROS,       Nueces Bay,
23834                                   18811   8/1/2022     Secured: $0.00
        GLORIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVEROS,       Talen Texas
23835                                   24545   8/1/2022     Secured: $0.00
        GLORIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVEROS,       Talen Texas,
23836                                   30305   8/1/2022     Secured: $0.00
        GLORIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLIVEROS,       Barney Davis,
23837                                   4768    8/1/2022     Secured: $0.00
        VICTOR          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3449 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVEROS,
23838                   Laredo, LLC    10518   8/1/2022     Secured: $0.00
        VICTOR
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVEROS,       Nueces Bay,
23839                                  16265   8/1/2022     Secured: $0.00
        VICTOR          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVEROS,       Talen Texas
23840                                  22011   8/1/2022     Secured: $0.00
        VICTOR          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLIVEROS,       Talen Texas,
23841                                  27759   8/1/2022     Secured: $0.00
        VICTOR          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLLIVER, NORMA Barney Davis,
23842                                  8352    8/1/2022     Secured: $0.00
        SHELLEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLLIVER, NORMA
23843                  Laredo, LLC     14102   8/1/2022     Secured: $0.00
        SHELLEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OLLIVER, NORMA Nueces Bay,
23844                                  19849   8/1/2022     Secured: $0.00
        SHELLEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3450 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLLIVER, NORMA Talen Texas
23845                                   25583   8/1/2022     Secured: $0.00
        SHELLEY        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OLLIVER, NORMA Talen Texas,
23846                                   31343   8/1/2022     Secured: $0.00
        SHELLEY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23847   OLSEN, CHAD                     4026    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23848   OLSEN, CHAD     Laredo, LLC     9776    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23849   OLSEN, CHAD                     15523   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23850   OLSEN, CHAD                     21269   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23851   OLSEN, CHAD                     27017   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3451 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23852   OLSEN, RICHARD                   8572    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23853   OLSEN, RICHARD   Laredo, LLC     14322   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23854   OLSEN, RICHARD                   20069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23855   OLSEN, RICHARD                   25801   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23856   OLSEN, RICHARD                   31563   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23857   OLSEN, RUTH                      8710    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23858   OLSEN, RUTH      Laredo, LLC     14460   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3452 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23859   OLSEN, RUTH                      20207   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23860   OLSEN, RUTH                      25939   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23861   OLSEN, RUTH                      31701   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23862   OLSON, BELINDA                   6496    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23863   OLSON, BELINDA Laredo, LLC       12246   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23864   OLSON, BELINDA                   17993   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23865   OLSON, BELINDA                   23728   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3453 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23866   OLSON, BELINDA                   29487   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLUMUAGUN,       Barney Davis,
23867                                    7320    8/1/2022     Secured: $0.00
        GRACE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLUMUAGUN,
23868                    Laredo, LLC     13070   8/1/2022     Secured: $0.00
        GRACE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLUMUAGUN,       Nueces Bay,
23869                                    18817   8/1/2022     Secured: $0.00
        GRACE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLUMUAGUN,       Talen Texas
23870                                    24551   8/1/2022     Secured: $0.00
        GRACE            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        OLUMUAGUN,       Talen Texas,
23871                                    30311   8/1/2022     Secured: $0.00
        GRACE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23872   OLVEDO, JOSE                     7659    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3454 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23873   OLVEDO, JOSE   Laredo, LLC     13409   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23874   OLVEDO, JOSE                   19156   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23875   OLVEDO, JOSE                   24890   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23876   OLVEDO, JOSE                   30650   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23877   OLVERA, LUCY   Laredo, LLC     32993   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23878   OLVERA, LUCY                   33984   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23879   OLVERA, LUCY                   34975   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3455 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23880   OLVERA, LUCY                   35966   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23881   OLVERA, LUCY                   36955   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23882   OMALLEY, BOB                   6527    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23883   OMALLEY, BOB   Laredo, LLC     12277   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23884   OMALLEY, BOB                   18024   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23885   OMALLEY, BOB                   23759   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23886   OMALLEY, BOB                   29518   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3456 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ONDRICEK,       Barney Davis,
23887                                   8573    8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ONDRICEK,
23888                   Laredo, LLC     14323   8/1/2022     Secured: $0.00
        RICHARD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ONDRICEK,       Nueces Bay,
23889                                   20070   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ONDRICEK,       Talen Texas
23890                                   25802   8/1/2022     Secured: $0.00
        RICHARD         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ONDRICEK,       Talen Texas,
23891                                   31564   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23892   ONEAL, ARONDA                   4830    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23893   ONEAL, ARONDA Laredo, LLC       10580   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3457 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23894   ONEAL, ARONDA                    16327   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23895   ONEAL, ARONDA                    22073   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23896   ONEAL, ARONDA                    27821   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23897   O'NEAL, EDWARD                   7133    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23898   O'NEAL, EDWARD Laredo, LLC       12883   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23899   O'NEAL, EDWARD                   18630   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23900   O'NEAL, EDWARD                   24364   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3458 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23901   O'NEAL, EDWARD                   30124   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23902   O'NEIL, KITTY                    7862    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23903   O'NEIL, KITTY    Laredo, LLC     13612   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23904   O'NEIL, KITTY                    19359   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23905   O'NEIL, KITTY                    25093   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23906   O'NEIL, KITTY                    30853   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ONWUCHEKWA,      Barney Davis,
23907                                    7170    8/1/2022     Secured: $0.00
        EMMANUEL         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3459 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ONWUCHEKWA,
23908                 Laredo, LLC     12920   8/1/2022     Secured: $0.00
        EMMANUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ONWUCHEKWA,   Nueces Bay,
23909                                 18667   8/1/2022     Secured: $0.00
        EMMANUEL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ONWUCHEKWA,   Talen Texas
23910                                 24401   8/1/2022     Secured: $0.00
        EMMANUEL      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ONWUCHEKWA,   Talen Texas,
23911                                 30161   8/1/2022     Secured: $0.00
        EMMANUEL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ONYEKA,                                            Priority: $0.00
                      Barney Davis,
23912   AUGUSTINE                     3956    8/1/2022     Secured: $0.00
                      LLC
        AZUBUIKE                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ONYEKA,                                            Priority: $0.00
23913   AUGUSTINE     Laredo, LLC     9706    8/1/2022     Secured: $0.00
        AZUBUIKE                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ONYEKA,                                            Priority: $0.00
                      Nueces Bay,
23914   AUGUSTINE                     15453   8/1/2022     Secured: $0.00
                      LLC
        AZUBUIKE                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3460 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ONYEKA,                                               Priority: $0.00
                         Talen Texas
23915   AUGUSTINE                        21199   8/1/2022     Secured: $0.00
                         Group, LLC
        AZUBUIKE                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ONYEKA,                                               Priority: $0.00
                         Talen Texas,
23916   AUGUSTINE                        26947   8/1/2022     Secured: $0.00
                         LLC
        AZUBUIKE                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23917   ONYIA, PHILLIS                   4577    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23918   ONYIA, PHILLIS   Laredo, LLC     10327   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23919   ONYIA, PHILLIS                   16074   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23920   ONYIA, PHILLIS                   21820   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23921   ONYIA, PHILLIS                   27568   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3461 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
23922   ORDONEZ, DORA                   7087    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
23923   ORDONEZ, DORA Laredo, LLC       12837   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
23924   ORDONEZ, DORA                   18584   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
23925   ORDONEZ, DORA                   24318   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
23926   ORDONEZ, DORA                   30078   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORELLANA,       Barney Davis,
23927                                   7707    8/1/2022     Secured: $0.00
        JUANITA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORELLANA,
23928                   Laredo, LLC     13457   8/1/2022     Secured: $0.00
        JUANITA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3462 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORELLANA,     Nueces Bay,
23929                                 19204   8/1/2022     Secured: $0.00
        JUANITA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORELLANA,     Talen Texas
23930                                 24938   8/1/2022     Secured: $0.00
        JUANITA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORELLANA,     Talen Texas,
23931                                 30698   8/1/2022     Secured: $0.00
        JUANITA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORNELAS,      Barney Davis,
23932                                 4189    8/1/2022     Secured: $0.00
        FRANCISCO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORNELAS,
23933                 Laredo, LLC     9939    8/1/2022     Secured: $0.00
        FRANCISCO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORNELAS,      Nueces Bay,
23934                                 15686   8/1/2022     Secured: $0.00
        FRANCISCO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORNELAS,      Talen Texas
23935                                 21432   8/1/2022     Secured: $0.00
        FRANCISCO     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3463 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        ORNELAS,           Talen Texas,
23936                                      27180   8/1/2022     Secured: $0.00
        FRANCISCO          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23937   ORNELAS, MARIA                     8082    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23938   ORNELAS, MARIA Laredo, LLC         13832   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23939   ORNELAS, MARIA                     19579   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
23940   ORNELAS, MARIA                     25313   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23941   ORNELAS, MARIA                     31073   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
23942   OROPEZA, JESSICA                   4284    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3464 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
23943   OROPEZA, JESSICA Laredo, LLC       10034   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
23944   OROPEZA, JESSICA                   15781   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
23945   OROPEZA, JESSICA                   21527   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
23946   OROPEZA, JESSICA                   27275   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        OROZCO,
23947                      Laredo, LLC     32994   8/1/2022     Secured: $0.00
        ALFONSO
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        OROZCO,            Barney Davis,
23948                                      33985   8/1/2022     Secured: $0.00
        ALFONSO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        OROZCO,            Nueces Bay,
23949                                      34976   8/1/2022     Secured: $0.00
        ALFONSO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3465 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OROZCO,        Talen Texas
23950                                  35967   8/1/2022     Secured: $0.00
        ALFONSO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OROZCO,        Talen Texas,
23951                                  36956   8/1/2022     Secured: $0.00
        ALFONSO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
23952   OROZCO, MARY                   8164    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
23953   OROZCO, MARY   Laredo, LLC     13914   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
23954   OROZCO, MARY                   19661   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
23955   OROZCO, MARY                   25395   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
23956   OROZCO, MARY                   31155   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3466 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23957   ORR, MICHELLE                    5161    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23958   ORR, MICHELLE    Laredo, LLC     10911   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23959   ORR, MICHELLE                    16658   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23960   ORR, MICHELLE                    22403   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23961   ORR, MICHELLE                    28152   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23962   ORTALIZ, HOLLY                   6118    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23963   ORTALIZ, HOLLY   Laredo, LLC     11868   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3467 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23964   ORTALIZ, HOLLY                   17615   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23965   ORTALIZ, HOLLY                   23360   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23966   ORTALIZ, HOLLY                   29109   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23967   ORTEGA, BERTHA                   4849    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23968   ORTEGA, BERTHA Laredo, LLC       10599   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23969   ORTEGA, BERTHA                   16346   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23970   ORTEGA, BERTHA                   22092   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3468 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23971   ORTEGA, BERTHA                   27840   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23972   ORTEGA, MONICA                   8290    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23973   ORTEGA, MONICA Laredo, LLC       14040   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23974   ORTEGA, MONICA                   19787   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23975   ORTEGA, MONICA                   25521   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23976   ORTEGA, MONICA                   31281   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ORTEGA,
23977                    Laredo, LLC     32995   8/1/2022     Secured: $0.00
        YAZMINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3469 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTEGA,       Barney Davis,
23978                                 33986   8/1/2022     Secured: $0.00
        YAZMINE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTEGA,       Nueces Bay,
23979                                 34977   8/1/2022     Secured: $0.00
        YAZMINE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTEGA,       Talen Texas
23980                                 35968   8/1/2022     Secured: $0.00
        YAZMINE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTEGA,       Talen Texas,
23981                                 36957   8/1/2022     Secured: $0.00
        YAZMINE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTHMAN,      Barney Davis,
23982                                 6476    8/1/2022     Secured: $0.00
        AUSTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTHMAN,
23983                 Laredo, LLC     12226   8/1/2022     Secured: $0.00
        AUSTIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ORTHMAN,      Nueces Bay,
23984                                 17973   8/1/2022     Secured: $0.00
        AUSTIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3470 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ORTHMAN,         Talen Texas
23985                                    23708   8/1/2022     Secured: $0.00
        AUSTIN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ORTHMAN,         Talen Texas,
23986                                    29467   8/1/2022     Secured: $0.00
        AUSTIN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23987   ORTIZ, ABIGAIL   Laredo, LLC     32996   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23988   ORTIZ, ABIGAIL                   33987   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23989   ORTIZ, ABIGAIL                   34978   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23990   ORTIZ, ABIGAIL                   35969   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23991   ORTIZ, ABIGAIL                   36958   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3471 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23992   ORTIZ, ANTONIO                   5729    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23993   ORTIZ, ANTONIO   Laredo, LLC     11479   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23994   ORTIZ, ANTONIO                   17226   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
23995   ORTIZ, ANTONIO                   22971   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
23996   ORTIZ, ANTONIO                   28720   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
23997   ORTIZ, BELINDA                   3655    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
23998   ORTIZ, BELINDA   Laredo, LLC     9405    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3472 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
23999   ORTIZ, BELINDA                   15152   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24000   ORTIZ, BELINDA                   20899   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24001   ORTIZ, BELINDA                   26646   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24002   ORTIZ, CARLOS                    5754    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24003   ORTIZ, CARLOS    Laredo, LLC     11504   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24004   ORTIZ, CARLOS                    17251   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24005   ORTIZ, CARLOS                    22996   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3473 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24006   ORTIZ, CARLOS                   28745   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24007   ORTIZ, DAVID                    6930    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24008   ORTIZ, DAVID                    6931    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24009   ORTIZ, DAVID    Laredo, LLC     12680   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24010   ORTIZ, DAVID    Laredo, LLC     12681   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24011   ORTIZ, DAVID                    18427   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24012   ORTIZ, DAVID                    18428   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3474 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24013   ORTIZ, DAVID                    24161   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24014   ORTIZ, DAVID                    24162   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24015   ORTIZ, DAVID                    29921   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24016   ORTIZ, DAVID                    29922   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24017   ORTIZ, GENARO                   7283    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24018   ORTIZ, GENARO   Laredo, LLC     13033   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24019   ORTIZ, GENARO                   18780   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3475 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24020   ORTIZ, GENARO                   24514   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24021   ORTIZ, GENARO                   30274   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORTIZ,          Barney Davis,
24022                                   7337    8/1/2022     Secured: $0.00
        GUADALUPE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORTIZ,
24023                   Laredo, LLC     13087   8/1/2022     Secured: $0.00
        GUADALUPE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORTIZ,          Nueces Bay,
24024                                   18834   8/1/2022     Secured: $0.00
        GUADALUPE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORTIZ,          Talen Texas
24025                                   24568   8/1/2022     Secured: $0.00
        GUADALUPE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORTIZ,          Talen Texas,
24026                                   30328   8/1/2022     Secured: $0.00
        GUADALUPE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3476 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24027   ORTIZ, JUAN                    5054    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24028   ORTIZ, JUAN    Laredo, LLC     10804   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24029   ORTIZ, JUAN                    16551   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24030   ORTIZ, JUAN                    22296   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24031   ORTIZ, JUAN                    28045   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24032   ORTIZ, MARY                    4493    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24033   ORTIZ, MARY    Laredo, LLC     10243   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3477 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24034   ORTIZ, MARY                    15990   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24035   ORTIZ, MARY                    21736   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24036   ORTIZ, MARY                    27484   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24037   ORTIZ, NANCY   Laredo, LLC     32997   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24038   ORTIZ, NANCY                   33988   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24039   ORTIZ, NANCY                   34979   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24040   ORTIZ, NANCY                   35970   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3478 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24041   ORTIZ, NANCY                     36959   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24042   ORTIZ, YOLANDA Laredo, LLC       32998   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24043   ORTIZ, YOLANDA                   33989   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24044   ORTIZ, YOLANDA                   34980   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24045   ORTIZ, YOLANDA                   35971   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24046   ORTIZ, YOLANDA                   36960   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ORWIG,           Barney Davis,
24047                                    4891    8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3479 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORWIG,
24048                   Laredo, LLC     10641   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORWIG,          Nueces Bay,
24049                                   16388   8/1/2022     Secured: $0.00
        CHARLOTTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORWIG,          Talen Texas
24050                                   22133   8/1/2022     Secured: $0.00
        CHARLOTTE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ORWIG,          Talen Texas,
24051                                   27882   8/1/2022     Secured: $0.00
        CHARLOTTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24052   OSBORNE, BRAD                   5493    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24053   OSBORNE, BRAD   Laredo, LLC     11243   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24054   OSBORNE, BRAD                   16990   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3480 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24055   OSBORNE, BRAD                    22735   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24056   OSBORNE, BRAD                    28484   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24057   OSBORNE, PETER                   8443    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24058   OSBORNE, PETER Laredo, LLC       14193   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24059   OSBORNE, PETER                   19940   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24060   OSBORNE, PETER                   25673   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24061   OSBORNE, PETER                   31434   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3481 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Barney Davis,
24062                                 5235    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,
24063                 Laredo, LLC     10985   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Nueces Bay,
24064                                 16732   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Talen Texas
24065                                 22477   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Talen Texas,
24066                                 28226   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Barney Davis,
24067                                 4683    8/1/2022     Secured: $0.00
        SHERREL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,
24068                 Laredo, LLC     10433   8/1/2022     Secured: $0.00
        SHERREL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3482 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Nueces Bay,
24069                                 16180   8/1/2022     Secured: $0.00
        SHERREL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Talen Texas
24070                                 21926   8/1/2022     Secured: $0.00
        SHERREL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OSBORNE,      Talen Texas,
24071                                 27674   8/1/2022     Secured: $0.00
        SHERREL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OTEMS,        Barney Davis,
24072                                 7808    8/1/2022     Secured: $0.00
        KENNESHIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OTEMS,
24073                 Laredo, LLC     13558   8/1/2022     Secured: $0.00
        KENNESHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OTEMS,        Nueces Bay,
24074                                 19305   8/1/2022     Secured: $0.00
        KENNESHIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        OTEMS,        Talen Texas
24075                                 25039   8/1/2022     Secured: $0.00
        KENNESHIA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3483 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OTEMS,          Talen Texas,
24076                                   30799   8/1/2022     Secured: $0.00
        KENNESHIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        O'TOOLE‐                                             Priority: $0.00
                        Barney Davis,
24077   MENENDEZ,                       3965    8/1/2022     Secured: $0.00
                        LLC
        BENITA                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        O'TOOLE‐                                             Priority: $0.00
24078   MENENDEZ,       Laredo, LLC     9715    8/1/2022     Secured: $0.00
        BENITA                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        O'TOOLE‐                                             Priority: $0.00
                        Nueces Bay,
24079   MENENDEZ,                       15462   8/1/2022     Secured: $0.00
                        LLC
        BENITA                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        O'TOOLE‐                                             Priority: $0.00
                        Talen Texas
24080   MENENDEZ,                       21208   8/1/2022     Secured: $0.00
                        Group, LLC
        BENITA                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        O'TOOLE‐                                             Priority: $0.00
                        Talen Texas,
24081   MENENDEZ,                       26956   8/1/2022     Secured: $0.00
                        LLC
        BENITA                                               General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24082   OTWELL, KARIN                   7752    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3484 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24083   OTWELL, KARIN   Laredo, LLC     13502   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24084   OTWELL, KARIN                   19249   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24085   OTWELL, KARIN                   24983   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24086   OTWELL, KARIN                   30743   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OUTLAW,
24087                   Laredo, LLC     32999   8/1/2022     Secured: $0.00
        KATHRYN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OUTLAW,         Barney Davis,
24088                                   33990   8/1/2022     Secured: $0.00
        KATHRYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OUTLAW,         Nueces Bay,
24089                                   34981   8/1/2022     Secured: $0.00
        KATHRYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3485 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OUTLAW,         Talen Texas
24090                                   35972   8/1/2022     Secured: $0.00
        KATHRYN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        OUTLAW,         Talen Texas,
24091                                   36961   8/1/2022     Secured: $0.00
        KATHRYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24092   OVALLE, DAVID                   6932    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24093   OVALLE, DAVID   Laredo, LLC     12682   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24094   OVALLE, DAVID                   18429   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24095   OVALLE, DAVID                   24163   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24096   OVALLE, DAVID                   29923   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3486 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24097   OVERTON, SARAH                   4659    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24098   OVERTON, SARAH Laredo, LLC       10409   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24099   OVERTON, SARAH                   16156   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24100   OVERTON, SARAH                   21902   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24101   OVERTON, SARAH                   27650   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24102   OWEN, BEVERLY                    5536    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24103   OWEN, BEVERLY    Laredo, LLC     11286   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3487 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24104   OWEN, BEVERLY                   17033   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24105   OWEN, BEVERLY                   22778   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24106   OWEN, BEVERLY                   28527   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24107   OWEN, TONYA                     9050    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24108   OWEN, TONYA     Laredo, LLC     14800   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24109   OWEN, TONYA                     20547   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24110   OWEN, TONYA                     26279   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3488 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24111   OWEN, TONYA                     32041   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24112   OWENS, CHANCE                   6689    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24113   OWENS, CHANCE Laredo, LLC       12439   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24114   OWENS, CHANCE                   18186   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24115   OWENS, CHANCE                   23920   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24116   OWENS, CHANCE                   29680   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24117   OWENS, ERIC                     7186    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3489 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24118   OWENS, ERIC    Laredo, LLC     12936   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24119   OWENS, ERIC                    18683   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24120   OWENS, ERIC                    24417   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24121   OWENS, ERIC                    30177   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24122   OWENS, KATHY                   7773    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24123   OWENS, KATHY   Laredo, LLC     13523   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24124   OWENS, KATHY                   19270   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3490 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24125   OWENS, KATHY                   25004   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24126   OWENS, KATHY                   30764   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OWENS,         Barney Davis,
24127                                  4501    8/1/2022     Secured: $0.00
        MAUREEN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OWENS,
24128                  Laredo, LLC     10251   8/1/2022     Secured: $0.00
        MAUREEN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OWENS,         Nueces Bay,
24129                                  15998   8/1/2022     Secured: $0.00
        MAUREEN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OWENS,         Talen Texas
24130                                  21744   8/1/2022     Secured: $0.00
        MAUREEN        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        OWENS,         Talen Texas,
24131                                  27492   8/1/2022     Secured: $0.00
        MAUREEN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3491 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24132   OZUNA, ANITA                    4820    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24133   OZUNA, ANITA    Laredo, LLC     10570   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24134   OZUNA, ANITA                    16317   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24135   OZUNA, ANITA                    22063   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24136   OZUNA, ANITA                    27811   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24137   OZUNA, ARTURO Laredo, LLC       33000   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24138   OZUNA, ARTURO                   33991   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3492 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24139   OZUNA, ARTURO                   34982   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24140   OZUNA, ARTURO                   35973   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24141   OZUNA, ARTURO                   36962   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24142   OZUNA, EMELDA Laredo, LLC       33001   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24143   OZUNA, EMELDA                   33992   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24144   OZUNA, EMELDA                   34983   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24145   OZUNA, EMELDA                   35974   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3493 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24146   OZUNA, EMELDA                   36963   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PAASCH,         Barney Davis,
24147                                   7960    8/1/2022     Secured: $0.00
        LEONARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PAASCH,
24148                   Laredo, LLC     13710   8/1/2022     Secured: $0.00
        LEONARD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PAASCH,         Nueces Bay,
24149                                   19457   8/1/2022     Secured: $0.00
        LEONARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PAASCH,         Talen Texas
24150                                   25191   8/1/2022     Secured: $0.00
        LEONARD         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PAASCH,         Talen Texas,
24151                                   30951   8/1/2022     Secured: $0.00
        LEONARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24152   PACE, MUZETTE                   5630    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3494 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24153   PACE, MUZETTE     Laredo, LLC     11380   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24154   PACE, MUZETTE                     17127   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24155   PACE, MUZETTE                     22872   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24156   PACE, MUZETTE                     28621   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24157   PACHECO, FABIAN Laredo, LLC       33002   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24158   PACHECO, FABIAN                   33993   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24159   PACHECO, FABIAN                   34984   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3495 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24160   PACHECO, FABIAN                   35975   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24161   PACHECO, FABIAN                   36964   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24162   PACHECO, TERESA Laredo, LLC       33003   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24163   PACHECO, TERESA                   33994   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24164   PACHECO, TERESA                   34985   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24165   PACHECO, TERESA                   35976   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24166   PACHECO, TERESA                   36965   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3496 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PACIFIC
                                                           Priority: $0.00
        EMPLOYERS      Barney Davis,
24167                                  1995   7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $5,449,131.33 + Unliquidated
        COMPANY
                                                           Total: $5,449,131.33 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PACIFIC
                                                           Priority: $0.00
        EMPLOYERS      Nueces Bay,
24168                                  2267   7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $5,449,131.33 + Unliquidated
        COMPANY
                                                           Total: $5,449,131.33 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PACIFIC
                                                           Priority: $0.00
        EMPLOYERS
24169                  Laredo, LLC     2400   7/30/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $5,449,131.33 + Unliquidated
        COMPANY
                                                           Total: $5,449,131.33 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PACIFIC                                            Priority: $0.00
                       Nueces Bay,
24170   INDEMNITY                      2050   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $8,630,811.15 + Unliquidated

                                                           Total: $8,630,811.15 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PACIFIC                                            Priority: $0.00
24171   INDEMNITY      Laredo, LLC     2265   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $8,630,811.15 + Unliquidated

                                                           Total: $8,630,811.15 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PACIFIC                                            Priority: $0.00
                       Barney Davis,
24172   INDEMNITY                      2269   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $8,630,811.15 + Unliquidated

                                                           Total: $8,630,811.15 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Barney Davis,
24173   PAD, WILLIAM                   9164   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3497 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24174   PAD, WILLIAM       Laredo, LLC     14914   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24175   PAD, WILLIAM                       20661   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24176   PAD, WILLIAM                       26393   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24177   PAD, WILLIAM                       32155   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24178   PADGET, PATRICIA Laredo, LLC       33004   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24179   PADGET, PATRICIA                   33995   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24180   PADGET, PATRICIA                   34986   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3498 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24181   PADGET, PATRICIA                   35977   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24182   PADGET, PATRICIA                   36966   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24183   PADILLA, KARA                      7743    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24184   PADILLA, KARA      Laredo, LLC     13493   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24185   PADILLA, KARA                      19240   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24186   PADILLA, KARA                      24974   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24187   PADILLA, KARA                      30734   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3499 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24188   PAGE, TIMOTHY                   9016    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24189   PAGE, TIMOTHY   Laredo, LLC     14766   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24190   PAGE, TIMOTHY                   20513   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24191   PAGE, TIMOTHY                   26245   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24192   PAGE, TIMOTHY                   32007   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24193   PAGEL, BONNY                    6544    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24194   PAGEL, BONNY    Laredo, LLC     12294   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3500 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24195   PAGEL, BONNY                     18041   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24196   PAGEL, BONNY                     23776   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24197   PAGEL, BONNY                     29535   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24198   PAGELER, KATHY                   7774    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24199   PAGELER, KATHY   Laredo, LLC     13524   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24200   PAGELER, KATHY                   19271   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24201   PAGELER, KATHY                   25005   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3501 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24202   PAGELER, KATHY                   30765   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24203   PAIZ, VIRGINIA   Laredo, LLC     33005   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24204   PAIZ, VIRGINIA                   33996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24205   PAIZ, VIRGINIA                   34987   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24206   PAIZ, VIRGINIA                   35978   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24207   PAIZ, VIRGINIA                   36967   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24208   PALACE, CARYN    Laredo, LLC     33006   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3502 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24209   PALACE, CARYN                   33997   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24210   PALACE, CARYN                   34988   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24211   PALACE, CARYN                   35979   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24212   PALACE, CARYN                   36968   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24213   PALACIO, PETE                   5212    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24214   PALACIO, PETE   Laredo, LLC     10962   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24215   PALACIO, PETE                   16709   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3503 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24216   PALACIO, PETE                   22454   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24217   PALACIO, PETE                   28203   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALACIOS,       Barney Davis,
24218                                   4295    8/1/2022     Secured: $0.00
        JOANNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALACIOS,
24219                   Laredo, LLC     10045   8/1/2022     Secured: $0.00
        JOANNA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALACIOS,       Nueces Bay,
24220                                   15792   8/1/2022     Secured: $0.00
        JOANNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALACIOS,       Talen Texas
24221                                   21538   8/1/2022     Secured: $0.00
        JOANNA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALACIOS,       Talen Texas,
24222                                   27286   8/1/2022     Secured: $0.00
        JOANNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3504 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24223   PALACIOS, PATSY                   8405    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24224   PALACIOS, PATSY Laredo, LLC       14155   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24225   PALACIOS, PATSY                   19902   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24226   PALACIOS, PATSY                   25635   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24227   PALACIOS, PATSY                   31396   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PALACIOS,
24228                     Laredo, LLC     33007   8/1/2022     Secured: $0.00
        RACHEL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PALACIOS,         Barney Davis,
24229                                     33998   8/1/2022     Secured: $0.00
        RACHEL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3505 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Nueces Bay,
24230                                  34989   8/1/2022     Secured: $0.00
        RACHEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Talen Texas
24231                                  35980   8/1/2022     Secured: $0.00
        RACHEL         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Talen Texas,
24232                                  36969   8/1/2022     Secured: $0.00
        RACHEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Barney Davis,
24233                                  8689    8/1/2022     Secured: $0.00
        ROXANNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,
24234                  Laredo, LLC     14439   8/1/2022     Secured: $0.00
        ROXANNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Nueces Bay,
24235                                  20186   8/1/2022     Secured: $0.00
        ROXANNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Talen Texas
24236                                  25918   8/1/2022     Secured: $0.00
        ROXANNA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3506 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Talen Texas,
24237                                  31680   8/1/2022     Secured: $0.00
        ROXANNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Barney Davis,
24238                                  8985    8/1/2022     Secured: $0.00
        THELMA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,
24239                  Laredo, LLC     14735   8/1/2022     Secured: $0.00
        THELMA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Nueces Bay,
24240                                  20482   8/1/2022     Secured: $0.00
        THELMA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Talen Texas
24241                                  26214   8/1/2022     Secured: $0.00
        THELMA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALACIOS,      Talen Texas,
24242                                  31976   8/1/2022     Secured: $0.00
        THELMA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALLIS,        Barney Davis,
24243                                  6817    8/1/2022     Secured: $0.00
        CONSTANTINOS   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3507 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALLIS,
24244                  Laredo, LLC     12567   8/1/2022     Secured: $0.00
        CONSTANTINOS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALLIS,        Nueces Bay,
24245                                  18314   8/1/2022     Secured: $0.00
        CONSTANTINOS   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALLIS,        Talen Texas
24246                                  24048   8/1/2022     Secured: $0.00
        CONSTANTINOS   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALLIS,        Talen Texas,
24247                                  29808   8/1/2022     Secured: $0.00
        CONSTANTINOS   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMA‐GOMEZ,   Barney Davis,
24248                                  6060    8/1/2022     Secured: $0.00
        ANDRES         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMA‐GOMEZ,
24249                  Laredo, LLC     11810   8/1/2022     Secured: $0.00
        ANDRES
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMA‐GOMEZ,   Nueces Bay,
24250                                  17557   8/1/2022     Secured: $0.00
        ANDRES         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3508 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PALMA‐GOMEZ,      Talen Texas
24251                                     23302   8/1/2022     Secured: $0.00
        ANDRES            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PALMA‐GOMEZ,      Talen Texas,
24252                                     29051   8/1/2022     Secured: $0.00
        ANDRES            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24253   PALMER, AALIYAH                   6274    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24254   PALMER, AALIYAH Laredo, LLC       12024   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24255   PALMER, AALIYAH                   17771   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24256   PALMER, AALIYAH                   23506   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24257   PALMER, AALIYAH                   29265   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3509 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER,        Barney Davis,
24258                                  6452    8/1/2022     Secured: $0.00
        ARMESHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER,
24259                  Laredo, LLC     12202   8/1/2022     Secured: $0.00
        ARMESHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER,        Nueces Bay,
24260                                  17949   8/1/2022     Secured: $0.00
        ARMESHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER,        Talen Texas
24261                                  23684   8/1/2022     Secured: $0.00
        ARMESHA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER,        Talen Texas,
24262                                  29443   8/1/2022     Secured: $0.00
        ARMESHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24263   PALMER, CARL                   5584    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24264   PALMER, CARL   Laredo, LLC     11334   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3510 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24265   PALMER, CARL                    17081   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24266   PALMER, CARL                    22826   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24267   PALMER, CARL                    28575   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24268   PALMER, EDDIE                   4151    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24269   PALMER, EDDIE   Laredo, LLC     9901    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24270   PALMER, EDDIE                   15648   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24271   PALMER, EDDIE                   21394   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3511 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24272   PALMER, EDDIE                     27142   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24273   PALMER, ELLIOTT                   5788    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24274   PALMER, ELLIOTT Laredo, LLC       11538   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24275   PALMER, ELLIOTT                   17285   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24276   PALMER, ELLIOTT                   23030   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24277   PALMER, ELLIOTT                   28779   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24278   PALMER, JAKE      Laredo, LLC     33008   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3512 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24279   PALMER, JAKE                    33999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24280   PALMER, JAKE                    34990   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24281   PALMER, JAKE                    35981   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24282   PALMER, JAKE                    36970   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24283   PALMER, LINDA                   7985    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24284   PALMER, LINDA   Laredo, LLC     13735   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24285   PALMER, LINDA                   19482   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3513 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24286   PALMER, LINDA                   25216   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24287   PALMER, LINDA                   30976   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALMER,         Barney Davis,
24288                                   8238    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALMER,
24289                   Laredo, LLC     13988   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALMER,         Nueces Bay,
24290                                   19735   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALMER,         Talen Texas
24291                                   25469   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALMER,         Talen Texas,
24292                                   31229   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3514 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER, PAMELA Barney Davis,
24293                                  4551    8/1/2022     Secured: $0.00
        A              LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER, PAMELA
24294                  Laredo, LLC     10301   8/1/2022     Secured: $0.00
        A
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER, PAMELA Nueces Bay,
24295                                  16048   8/1/2022     Secured: $0.00
        A              LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER, PAMELA Talen Texas
24296                                  21794   8/1/2022     Secured: $0.00
        A              Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PALMER, PAMELA Talen Texas,
24297                                  27542   8/1/2022     Secured: $0.00
        A              LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR EXCESS
                                                            Priority: $0.00
        AND SURPLUS
24298                  Laredo, LLC     1608    8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR EXCESS
                                                            Priority: $0.00
        AND SURPLUS    Nueces Bay,
24299                                  1784    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3515 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR EXCESS
                                                            Priority: $0.00
        AND SURPLUS    Barney Davis,
24300                                   1786   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR EXCESS
                                                            Priority: $0.00
        AND SURPLUS    Nueces Bay,
24301                                   2589   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $2,457,408.84 + Unliquidated
        COMPANY
                                                            Total: $2,457,408.84 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR EXCESS
                                                            Priority: $0.00
        AND SURPLUS
24302                  Laredo, LLC      2637   7/31/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $2,457,408.84 + Unliquidated
        COMPANY
                                                            Total: $2,457,408.84 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR EXCESS
                                                            Priority: $0.00
        AND SURPLUS    Barney Davis,
24303                                   2734   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $2,457,408.84 + Unliquidated
        COMPANY
                                                            Total: $2,457,408.84 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR                                             Priority: $0.00
                        Barney Davis,
24304   SPECIALTY                       1508   7/29/2022    Secured: $0.00
                        LLC
        INSURANCE CO.                                       General Unsecured: $7,680,146.01 + Unliquidated

                                                            Total: $7,680,146.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR                                             Priority: $0.00
                        Nueces Bay,
24305   SPECIALTY                       1523   7/29/2022    Secured: $0.00
                        LLC
        INSURANCE CO.                                       General Unsecured: $7,680,146.01 + Unliquidated

                                                            Total: $7,680,146.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PALOMAR                                             Priority: $0.00
24306   SPECIALTY       Laredo, LLC     1644   7/29/2022    Secured: $0.00
        INSURANCE CO.                                       General Unsecured: $7,680,146.01 + Unliquidated

                                                            Total: $7,680,146.01 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3516 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PALOMAR
                                                           Priority: $0.00
        SPECIALTY     Barney Davis,
24307                                 2557    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $41,451,315.66 + Unliquidated
        COMPANY
                                                           Total: $41,451,315.66 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PALOMAR
                                                           Priority: $0.00
        SPECIALTY     Nueces Bay,
24308                                 2579    7/31/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $41,451,315.66 + Unliquidated
        COMPANY
                                                           Total: $41,451,315.66 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PALOMAR
                                                           Priority: $0.00
        SPECIALTY
24309                 Laredo, LLC     2726    7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $41,451,315.66 + Unliquidated
        COMPANY
                                                           Total: $41,451,315.66 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PALOMINO,     Barney Davis,
24310                                 8341    8/1/2022     Secured: $0.00
        NILTON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PALOMINO,
24311                 Laredo, LLC     14091   8/1/2022     Secured: $0.00
        NILTON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PALOMINO,     Nueces Bay,
24312                                 19838   8/1/2022     Secured: $0.00
        NILTON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3517 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALOMINO,       Talen Texas
24313                                   25572   8/1/2022     Secured: $0.00
        NILTON          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PALOMINO,       Talen Texas,
24314                                   31332   8/1/2022     Secured: $0.00
        NILTON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24315   PALOS, CARLOS                   6643    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24316   PALOS, CARLOS   Laredo, LLC     12393   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24317   PALOS, CARLOS                   18140   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24318   PALOS, CARLOS                   23874   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24319   PALOS, CARLOS                   29634   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3518 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        PAMELA JUNE
                                                              Other Administrative: $0.00
        JONES,
                                                              Priority: $0.00
        INDIVIDUALLY,    Barney Davis,
24320                                    3806    8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MALCOM JONES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PAMELA JUNE
                                                              Other Administrative: $0.00
        JONES,
                                                              Priority: $0.00
        INDIVIDUALLY,
24321                    Laredo, LLC     9556    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MALCOM JONES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PAMELA JUNE
                                                              Other Administrative: $0.00
        JONES,
                                                              Priority: $0.00
        INDIVIDUALLY,    Nueces Bay,
24322                                    15303   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MALCOM JONES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PAMELA JUNE
                                                              Other Administrative: $0.00
        JONES,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas
24323                                    21050   8/1/2022     Secured: $0.00
        AND AS HEIR OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MALCOM JONES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PAMELA JUNE
                                                              Other Administrative: $0.00
        JONES,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas,
24324                                    26797   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        MALCOM JONES
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PANTOJA,         Barney Davis,
24325                                    7815    8/1/2022     Secured: $0.00
        KENNETH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PANTOJA,
24326                    Laredo, LLC     13565   8/1/2022     Secured: $0.00
        KENNETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3519 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PANTOJA,       Nueces Bay,
24327                                  19312   8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PANTOJA,       Talen Texas
24328                                  25046   8/1/2022     Secured: $0.00
        KENNETH        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PANTOJA,       Talen Texas,
24329                                  30806   8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24330   PAOLI, LUZ                     6225    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24331   PAOLI, LUZ     Laredo, LLC     11975   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24332   PAOLI, LUZ                     17722   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24333   PAOLI, LUZ                     23467   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3520 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24334   PAOLI, LUZ                     29216   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PAPIST,        Barney Davis,
24335                                  5317    8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PAPIST,
24336                  Laredo, LLC     11067   8/1/2022     Secured: $0.00
        STEPHANIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PAPIST,        Nueces Bay,
24337                                  16814   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PAPIST,        Talen Texas
24338                                  22559   8/1/2022     Secured: $0.00
        STEPHANIE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PAPIST,        Talen Texas,
24339                                  28308   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PARAMESWARA, Barney Davis,
24340                                  3795    8/1/2022     Secured: $0.00
        MANOJ        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3521 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PARAMESWARA,
24341                Laredo, LLC           9545    8/1/2022     Secured: $0.00
        MANOJ
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PARAMESWARA, Nueces Bay,
24342                                      15292   8/1/2022     Secured: $0.00
        MANOJ        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PARAMESWARA, Talen Texas
24343                                      21039   8/1/2022     Secured: $0.00
        MANOJ        Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PARAMESWARA, Talen Texas,
24344                                      26786   8/1/2022     Secured: $0.00
        MANOJ        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24345   PARCELLS, ASHLEY                   4836    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24346   PARCELLS, ASHLEY Laredo, LLC       10586   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24347   PARCELLS, ASHLEY                   16333   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3522 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24348   PARCELLS, ASHLEY                   22079   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24349   PARCELLS, ASHLEY                   27827   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24350   PARDO, MARIA       Laredo, LLC     33009   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24351   PARDO, MARIA                       34000   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24352   PARDO, MARIA                       34991   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24353   PARDO, MARIA                       35982   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24354   PARDO, MARIA                       36971   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3523 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24355   PAREDES, MARY                     8165    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24356   PAREDES, MARY     Laredo, LLC     13915   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24357   PAREDES, MARY                     19662   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24358   PAREDES, MARY                     25396   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24359   PAREDES, MARY                     31156   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24360   PARELLI, JOSEPH                   4328    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24361   PARELLI, JOSEPH   Laredo, LLC     10078   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3524 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24362   PARELLI, JOSEPH                   15825   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24363   PARELLI, JOSEPH                   21571   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24364   PARELLI, JOSEPH                   27319   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24365   PARKER, ALAN                      6053    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24366   PARKER, ALAN      Laredo, LLC     11803   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24367   PARKER, ALAN                      17550   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24368   PARKER, ALAN                      23295   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3525 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24369   PARKER, ALAN                     29044   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24370   PARKER, ANITA                    9205    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24371   PARKER, ANITA    Laredo, LLC     14955   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24372   PARKER, ANITA                    20702   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24373   PARKER, ANITA                    26434   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24374   PARKER, ANITA                    32196   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PARKER, CHARITY Barney Davis,
24375                                    6083    8/1/2022     Secured: $0.00
        J.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3526 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PARKER, CHARITY
24376                   Laredo, LLC      11833   8/1/2022     Secured: $0.00
        J.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PARKER, CHARITY Nueces Bay,
24377                                    17580   8/1/2022     Secured: $0.00
        J.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PARKER, CHARITY Talen Texas
24378                                    23325   8/1/2022     Secured: $0.00
        J.              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PARKER, CHARITY Talen Texas,
24379                                    29074   8/1/2022     Secured: $0.00
        J.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24380   PARKER, JAMIE                    5987    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24381   PARKER, JAMIE    Laredo, LLC     11737   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24382   PARKER, JAMIE                    17484   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3527 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24383   PARKER, JAMIE                   23229   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24384   PARKER, JAMIE                   28978   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKER,         Barney Davis,
24385                                   7891    8/1/2022     Secured: $0.00
        LACHAON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKER,
24386                   Laredo, LLC     13641   8/1/2022     Secured: $0.00
        LACHAON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKER,         Nueces Bay,
24387                                   19388   8/1/2022     Secured: $0.00
        LACHAON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKER,         Talen Texas
24388                                   25122   8/1/2022     Secured: $0.00
        LACHAON         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKER,         Talen Texas,
24389                                   30882   8/1/2022     Secured: $0.00
        LACHAON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3528 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24390   PARKER, LAURA                   7930    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24391   PARKER, LAURA   Laredo, LLC     13680   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24392   PARKER, LAURA                   19427   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24393   PARKER, LAURA                   25161   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24394   PARKER, LAURA                   30921   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24395   PARKER, LYNDA                   8037    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24396   PARKER, LYNDA   Laredo, LLC     13787   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3529 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24397   PARKER, LYNDA                   19534   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24398   PARKER, LYNDA                   25268   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24399   PARKER, LYNDA                   31028   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24400   PARKER, PAIGE   Laredo, LLC     33010   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24401   PARKER, PAIGE                   34001   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24402   PARKER, PAIGE                   34992   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24403   PARKER, PAIGE                   35983   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3530 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24404   PARKER, PAIGE                    36972   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24405   PARKER, ROBERT                   4624    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24406   PARKER, ROBERT Laredo, LLC       10374   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24407   PARKER, ROBERT                   16121   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24408   PARKER, ROBERT                   21867   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24409   PARKER, ROBERT                   27615   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24410   PARKER, ROBERT Laredo, LLC       33011   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3531 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24411   PARKER, ROBERT                   34002   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24412   PARKER, ROBERT                   34993   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24413   PARKER, ROBERT                   35984   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24414   PARKER, ROBERT                   36973   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24415   PARKER, ROSE                     8683    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24416   PARKER, ROSE     Laredo, LLC     14433   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24417   PARKER, ROSE                     20180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3532 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24418   PARKER, ROSE                    25912   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24419   PARKER, ROSE                    31674   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24420   PARKER, TERRY                   8978    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24421   PARKER, TERRY   Laredo, LLC     14728   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24422   PARKER, TERRY                   20475   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24423   PARKER, TERRY                   26207   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24424   PARKER, TERRY                   31969   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3533 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24425   PARKER, WENDI                   6210    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24426   PARKER, WENDI   Laredo, LLC     11960   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24427   PARKER, WENDI                   17707   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24428   PARKER, WENDI                   23452   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24429   PARKER, WENDI                   29201   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKEY, NORMA Barney Davis,
24430                                   8351    8/1/2022     Secured: $0.00
        JEAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARKEY, NORMA
24431                 Laredo, LLC       14101   8/1/2022     Secured: $0.00
        JEAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3534 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PARKEY, NORMA Nueces Bay,
24432                                  19848   8/1/2022     Secured: $0.00
        JEAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PARKEY, NORMA Talen Texas
24433                                  25582   8/1/2022     Secured: $0.00
        JEAN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PARKEY, NORMA Talen Texas,
24434                                  31342   8/1/2022     Secured: $0.00
        JEAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24435   PARKS, DONNA                   7077    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24436   PARKS, DONNA   Laredo, LLC     12827   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24437   PARKS, DONNA                   18574   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24438   PARKS, DONNA                   24308   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3535 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24439   PARKS, DONNA                    30068   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24440   PARKS, ERICAL                   7193    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24441   PARKS, ERICAL   Laredo, LLC     12943   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24442   PARKS, ERICAL                   18690   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24443   PARKS, ERICAL                   24424   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24444   PARKS, ERICAL                   30184   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24445   PARKS, PAMELA                   8382    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3536 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24446   PARKS, PAMELA   Laredo, LLC     14132   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24447   PARKS, PAMELA                   19879   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24448   PARKS, PAMELA                   25612   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24449   PARKS, PAMELA                   31373   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARNES,         Barney Davis,
24450                                   6323    8/1/2022     Secured: $0.00
        ALEXANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARNES,
24451                   Laredo, LLC     12073   8/1/2022     Secured: $0.00
        ALEXANDRA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARNES,         Nueces Bay,
24452                                   17820   8/1/2022     Secured: $0.00
        ALEXANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3537 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARNES,         Talen Texas
24453                                   23555   8/1/2022     Secured: $0.00
        ALEXANDRA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PARNES,         Talen Texas,
24454                                   29314   8/1/2022     Secured: $0.00
        ALEXANDRA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24455   PARRA, AMANDA                   4810    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24456   PARRA, AMANDA Laredo, LLC       10560   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24457   PARRA, AMANDA                   16307   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24458   PARRA, AMANDA                   22053   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24459   PARRA, AMANDA                   27801   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3538 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24460   PARRISH, ADELFA                   9200    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24461   PARRISH, ADELFA Laredo, LLC       14950   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24462   PARRISH, ADELFA                   20697   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24463   PARRISH, ADELFA                   26429   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24464   PARRISH, ADELFA                   32191   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PARSLEY,          Barney Davis,
24465                                     6702    8/1/2022     Secured: $0.00
        CHARLES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PARSLEY,
24466                     Laredo, LLC     12452   8/1/2022     Secured: $0.00
        CHARLES
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3539 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PARSLEY,          Nueces Bay,
24467                                     18199   8/1/2022     Secured: $0.00
        CHARLES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PARSLEY,          Talen Texas
24468                                     23933   8/1/2022     Secured: $0.00
        CHARLES           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PARSLEY,          Talen Texas,
24469                                     29693   8/1/2022     Secured: $0.00
        CHARLES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24470   PARSON, THERESA                   4732    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24471   PARSON, THERESA Laredo, LLC       10482   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24472   PARSON, THERESA                   16229   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24473   PARSON, THERESA                   21975   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3540 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24474   PARSON, THERESA                   27723   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24475   PARSON, VALARIE Laredo, LLC       33012   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24476   PARSON, VALARIE                   34003   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24477   PARSON, VALARIE                   34994   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24478   PARSON, VALARIE                   35985   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24479   PARSON, VALARIE                   36974   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24480   PARSONS, LISA                     8005    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3541 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24481   PARSONS, LISA    Laredo, LLC     13755   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24482   PARSONS, LISA                    19502   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24483   PARSONS, LISA                    25236   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24484   PARSONS, LISA                    30996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24485   PASCHALL, GARY                   7268    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24486   PASCHALL, GARY   Laredo, LLC     13018   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24487   PASCHALL, GARY                   18765   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3542 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24488   PASCHALL, GARY                   24499   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24489   PASCHALL, GARY                   30259   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24490   PASKET, KRISTA                   7866    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24491   PASKET, KRISTA   Laredo, LLC     13616   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24492   PASKET, KRISTA                   19363   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24493   PASKET, KRISTA                   25097   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24494   PASKET, KRISTA                   30857   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3543 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PASTRANO,
24495                  Laredo, LLC     33013   8/1/2022     Secured: $0.00
        PEDRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PASTRANO,      Barney Davis,
24496                                  34004   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PASTRANO,      Nueces Bay,
24497                                  34995   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PASTRANO,      Talen Texas
24498                                  35986   8/1/2022     Secured: $0.00
        PEDRO          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PASTRANO,      Talen Texas,
24499                                  36975   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24500   PATE, JANET                    7474    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24501   PATE, JANET    Laredo, LLC     13224   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3544 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24502   PATE, JANET                     18971   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24503   PATE, JANET                     24705   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24504   PATE, JANET                     30465   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24505   PATEL, MICKEY                   4523    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24506   PATEL, MICKEY   Laredo, LLC     10273   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24507   PATEL, MICKEY                   16020   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24508   PATEL, MICKEY                   21766   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3545 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24509   PATEL, MICKEY                    27514   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24510   PATEL, RISHI                     5929    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24511   PATEL, RISHI     Laredo, LLC     11679   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24512   PATEL, RISHI                     17426   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24513   PATEL, RISHI                     23171   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24514   PATEL, RISHI                     28920   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24515   PATINO, MIREYA                   4524    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3546 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24516   PATINO, MIREYA   Laredo, LLC     10274   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24517   PATINO, MIREYA                   16021   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24518   PATINO, MIREYA                   21767   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24519   PATINO, MIREYA                   27515   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24520   PATINO, VELIA                    9094    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24521   PATINO, VELIA    Laredo, LLC     14844   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24522   PATINO, VELIA                    20591   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3547 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24523   PATINO, VELIA                    26323   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24524   PATINO, VELIA                    32085   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PATRICIA HILL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
24525                                    5400    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOROTHY MAE
        ANDERSON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PATRICIA HILL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF
24526                    Laredo, LLC     11150   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        DOROTHY MAE
        ANDERSON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PATRICIA HILL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
24527                                    16897   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOROTHY MAE
        ANDERSON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PATRICIA HILL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
24528                                    22642   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOROTHY MAE
        ANDERSON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PATRICIA HILL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY,
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
24529                                    28391   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOROTHY MAE
        ANDERSON
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3548 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24530   PATRICK, JERRY   Laredo, LLC     33014   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24531   PATRICK, JERRY                   34005   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24532   PATRICK, JERRY                   34996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24533   PATRICK, JERRY                   35987   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24534   PATRICK, JERRY                   36976   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PATTERSON,
24535                    Laredo, LLC     33015   8/1/2022     Secured: $0.00
        AMBER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PATTERSON,       Barney Davis,
24536                                    34006   8/1/2022     Secured: $0.00
        AMBER            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3549 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,    Nueces Bay,
24537                                 34997   8/1/2022     Secured: $0.00
        AMBER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,    Talen Texas
24538                                 35988   8/1/2022     Secured: $0.00
        AMBER         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,    Talen Texas,
24539                                 36977   8/1/2022     Secured: $0.00
        AMBER         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,    Barney Davis,
24540                                 6703    8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,
24541                 Laredo, LLC     12453   8/1/2022     Secured: $0.00
        CHARLES
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,    Nueces Bay,
24542                                 18200   8/1/2022     Secured: $0.00
        CHARLES       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PATTERSON,    Talen Texas
24543                                 23934   8/1/2022     Secured: $0.00
        CHARLES       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3550 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Talen Texas,
24544                                      29694   8/1/2022     Secured: $0.00
        CHARLES            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Barney Davis,
24545                                      4996    8/1/2022     Secured: $0.00
        HENRY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,
24546                      Laredo, LLC     10746   8/1/2022     Secured: $0.00
        HENRY
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Nueces Bay,
24547                                      16493   8/1/2022     Secured: $0.00
        HENRY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Talen Texas
24548                                      22238   8/1/2022     Secured: $0.00
        HENRY              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Talen Texas,
24549                                      27987   8/1/2022     Secured: $0.00
        HENRY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24550   PATTERSON, JESSE                   5459    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3551 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24551   PATTERSON, JESSE Laredo, LLC       11209   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24552   PATTERSON, JESSE                   16956   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24553   PATTERSON, JESSE                   22701   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24554   PATTERSON, JESSE                   28450   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Barney Davis,
24555                                      5807    8/1/2022     Secured: $0.00
        JOANN              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,
24556                      Laredo, LLC     11557   8/1/2022     Secured: $0.00
        JOANN
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PATTERSON,         Nueces Bay,
24557                                      17304   8/1/2022     Secured: $0.00
        JOANN              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3552 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PATTERSON,       Talen Texas
24558                                    23049   8/1/2022     Secured: $0.00
        JOANN            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PATTERSON,       Talen Texas,
24559                                    28798   8/1/2022     Secured: $0.00
        JOANN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24560   PATTON, CARYON                   6672    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24561   PATTON, CARYON Laredo, LLC       12422   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24562   PATTON, CARYON                   18169   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24563   PATTON, CARYON                   23903   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24564   PATTON, CARYON                   29663   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3553 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24565   PAUL, ALLEN                     6344    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24566   PAUL, ALLEN     Laredo, LLC     12094   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24567   PAUL, ALLEN                     17841   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24568   PAUL, ALLEN                     23576   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24569   PAUL, ALLEN                     29335   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24570   PAUL, CHARLES                   6704    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24571   PAUL, CHARLES   Laredo, LLC     12454   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3554 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24572   PAUL, CHARLES                   18201   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24573   PAUL, CHARLES                   23935   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24574   PAUL, CHARLES                   29695   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24575   PAUL, JOHN                      4306    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24576   PAUL, JOHN      Laredo, LLC     10056   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24577   PAUL, JOHN                      15803   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24578   PAUL, JOHN                      21549   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3555 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
24579   PAUL, JOHN                    27297   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULESCU,     Barney Davis,
24580                                 9113    8/1/2022     Secured: $0.00
        VICTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULESCU,
24581                 Laredo, LLC     14863   8/1/2022     Secured: $0.00
        VICTOR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULESCU,     Nueces Bay,
24582                                 20610   8/1/2022     Secured: $0.00
        VICTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULESCU,     Talen Texas
24583                                 26342   8/1/2022     Secured: $0.00
        VICTOR        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULESCU,     Talen Texas,
24584                                 32104   8/1/2022     Secured: $0.00
        VICTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULETTE,     Barney Davis,
24585                                 5638    8/1/2022     Secured: $0.00
        SHANEKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3556 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULETTE,
24586                 Laredo, LLC     11388   8/1/2022     Secured: $0.00
        SHANEKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULETTE,     Nueces Bay,
24587                                 17135   8/1/2022     Secured: $0.00
        SHANEKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULETTE,     Talen Texas
24588                                 22880   8/1/2022     Secured: $0.00
        SHANEKA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULETTE,     Talen Texas,
24589                                 28629   8/1/2022     Secured: $0.00
        SHANEKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULINO,      Barney Davis,
24590                                 4789    8/1/2022     Secured: $0.00
        YONGER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULINO,
24591                 Laredo, LLC     10539   8/1/2022     Secured: $0.00
        YONGER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULINO,      Nueces Bay,
24592                                 16286   8/1/2022     Secured: $0.00
        YONGER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3557 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULINO,      Talen Texas
24593                                 22032   8/1/2022     Secured: $0.00
        YONGER        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PAULINO,      Talen Texas,
24594                                 27780   8/1/2022     Secured: $0.00
        YONGER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
24595   PAWLAK, KIM                   7843    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
24596   PAWLAK, KIM   Laredo, LLC     13593   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
24597   PAWLAK, KIM                   19340   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
24598   PAWLAK, KIM                   25074   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
24599   PAWLAK, KIM                   30834   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3558 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24600   PAYNE, DARIUS                   4919    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24601   PAYNE, DARIUS   Laredo, LLC     10669   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24602   PAYNE, DARIUS                   16416   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24603   PAYNE, DARIUS                   22161   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24604   PAYNE, DARIUS                   27910   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24605   PAYNE, HOWARD                   4998    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24606   PAYNE, HOWARD Laredo, LLC       10748   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3559 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24607   PAYNE, HOWARD                   16495   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24608   PAYNE, HOWARD                   22240   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24609   PAYNE, HOWARD                   27989   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24610   PAYNE, SONJA                    8854    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24611   PAYNE, SONJA    Laredo, LLC     14604   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24612   PAYNE, SONJA                    20351   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24613   PAYNE, SONJA                    26083   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3560 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24614   PAYNE, SONJA                    31845   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24615   PAYTON, TERRY                   6026    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24616   PAYTON, TERRY   Laredo, LLC     11776   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24617   PAYTON, TERRY                   17523   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24618   PAYTON, TERRY                   23268   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24619   PAYTON, TERRY                   29017   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24620   PAZ, JAVIER                     5017    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3561 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24621   PAZ, JAVIER      Laredo, LLC     10767   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24622   PAZ, JAVIER                      16514   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24623   PAZ, JAVIER                      22259   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24624   PAZ, JAVIER                      28008   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24625   PAZ, VIRIDIANA                   5366    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24626   PAZ, VIRIDIANA   Laredo, LLC     11116   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24627   PAZ, VIRIDIANA                   16863   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3562 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24628   PAZ, VIRIDIANA                   22608   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24629   PAZ, VIRIDIANA                   28357   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24630   PEALE, RAYMOND                   5223    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24631   PEALE, RAYMOND Laredo, LLC       10973   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24632   PEALE, RAYMOND                   16720   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24633   PEALE, RAYMOND                   22465   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24634   PEALE, RAYMOND                   28214   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3563 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,      Barney Davis,
24635                                 4888    8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,
24636                 Laredo, LLC     10638   8/1/2022     Secured: $0.00
        CHARLENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,      Nueces Bay,
24637                                 16385   8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,      Talen Texas
24638                                 22130   8/1/2022     Secured: $0.00
        CHARLENE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,      Talen Texas,
24639                                 27879   8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,      Barney Davis,
24640                                 6970    8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEARSON,
24641                 Laredo, LLC     12720   8/1/2022     Secured: $0.00
        DEBORAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3564 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEARSON,        Nueces Bay,
24642                                   18467   8/1/2022     Secured: $0.00
        DEBORAH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEARSON,        Talen Texas
24643                                   24201   8/1/2022     Secured: $0.00
        DEBORAH         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEARSON,        Talen Texas,
24644                                   29961   8/1/2022     Secured: $0.00
        DEBORAH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24645   PEASE, DEBRAH                   4114    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24646   PEASE, DEBRAH   Laredo, LLC     9864    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24647   PEASE, DEBRAH                   15611   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24648   PEASE, DEBRAH                   21357   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3565 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24649   PEASE, DEBRAH                   27105   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PECHAN,         Barney Davis,
24650                                   8112    8/1/2022     Secured: $0.00
        MARITZA J       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PECHAN,
24651                   Laredo, LLC     13862   8/1/2022     Secured: $0.00
        MARITZA J
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PECHAN,         Nueces Bay,
24652                                   19609   8/1/2022     Secured: $0.00
        MARITZA J       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PECHAN,         Talen Texas
24653                                   25343   8/1/2022     Secured: $0.00
        MARITZA J       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PECHAN,         Talen Texas,
24654                                   31103   8/1/2022     Secured: $0.00
        MARITZA J       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PECK,           Barney Davis,
24655                                   4992    8/1/2022     Secured: $0.00
        GUADALUPE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3566 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PECK,
24656                     Laredo, LLC     10742   8/1/2022     Secured: $0.00
        GUADALUPE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PECK,             Nueces Bay,
24657                                     16489   8/1/2022     Secured: $0.00
        GUADALUPE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PECK,             Talen Texas
24658                                     22234   8/1/2022     Secured: $0.00
        GUADALUPE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PECK,             Talen Texas,
24659                                     27983   8/1/2022     Secured: $0.00
        GUADALUPE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24660   PEDROZA, SYLVIA Laredo, LLC       33016   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24661   PEDROZA, SYLVIA                   34007   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24662   PEDROZA, SYLVIA                   34998   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3567 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
24663   PEDROZA, SYLVIA                  35989   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
24664   PEDROZA, SYLVIA                  36978   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PEGGY ESKEW AS                                        Other Administrative: $0.00
        HEIR OF THE                                           Priority: $0.00
                       Barney Davis,
24665   ESTATE OF                        5423    8/1/2022     Secured: $0.00
                       LLC
        ROBERT DEAN                                           General Unsecured: $0.00 + Unliquidated
        GOODWIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PEGGY ESKEW AS                                        Other Administrative: $0.00
        HEIR OF THE                                           Priority: $0.00
24666   ESTATE OF      Laredo, LLC       11173   8/1/2022     Secured: $0.00
        ROBERT DEAN                                           General Unsecured: $0.00 + Unliquidated
        GOODWIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PEGGY ESKEW AS                                        Other Administrative: $0.00
        HEIR OF THE                                           Priority: $0.00
                       Nueces Bay,
24667   ESTATE OF                        16920   8/1/2022     Secured: $0.00
                       LLC
        ROBERT DEAN                                           General Unsecured: $0.00 + Unliquidated
        GOODWIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PEGGY ESKEW AS                                        Other Administrative: $0.00
        HEIR OF THE                                           Priority: $0.00
                       Talen Texas
24668   ESTATE OF                        22665   8/1/2022     Secured: $0.00
                       Group, LLC
        ROBERT DEAN                                           General Unsecured: $0.00 + Unliquidated
        GOODWIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        PEGGY ESKEW AS                                        Other Administrative: $0.00
        HEIR OF THE                                           Priority: $0.00
                       Talen Texas,
24669   ESTATE OF                        28414   8/1/2022     Secured: $0.00
                       LLC
        ROBERT DEAN                                           General Unsecured: $0.00 + Unliquidated
        GOODWIN
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3568 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEGUERO,        Barney Davis,
24670                                   6156    8/1/2022     Secured: $0.00
        MAIRENI CRUZ    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEGUERO,
24671                   Laredo, LLC     11906   8/1/2022     Secured: $0.00
        MAIRENI CRUZ
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEGUERO,        Nueces Bay,
24672                                   17653   8/1/2022     Secured: $0.00
        MAIRENI CRUZ    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEGUERO,        Talen Texas
24673                                   23398   8/1/2022     Secured: $0.00
        MAIRENI CRUZ    Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEGUERO,        Talen Texas,
24674                                   29147   8/1/2022     Secured: $0.00
        MAIRENI CRUZ    LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24675   PELACHE, PETE                   8441    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24676   PELACHE, PETE   Laredo, LLC     14191   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3569 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24677   PELACHE, PETE                   19938   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24678   PELACHE, PETE                   25671   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24679   PELACHE, PETE                   31432   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24680   PELL, ROY       Laredo, LLC     33017   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24681   PELL, ROY                       34008   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24682   PELL, ROY                       34999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24683   PELL, ROY                       35990   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3570 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24684   PELL, ROY                      36979   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PEMU,          Barney Davis,
24685                                  7171    8/1/2022     Secured: $0.00
        EMMANUEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PEMU,
24686                  Laredo, LLC     12921   8/1/2022     Secured: $0.00
        EMMANUEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PEMU,          Nueces Bay,
24687                                  18668   8/1/2022     Secured: $0.00
        EMMANUEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PEMU,          Talen Texas
24688                                  24402   8/1/2022     Secured: $0.00
        EMMANUEL       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PEMU,          Talen Texas,
24689                                  30162   8/1/2022     Secured: $0.00
        EMMANUEL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24690   PENA, CARLOS   Laredo, LLC     33018   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3571 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24691   PENA, CARLOS   Laredo, LLC     33019   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24692   PENA, CARLOS                   34009   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24693   PENA, CARLOS                   34010   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24694   PENA, CARLOS                   35000   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24695   PENA, CARLOS                   35001   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24696   PENA, CARLOS                   35991   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24697   PENA, CARLOS                   35992   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3572 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24698   PENA, CARLOS                   36980   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24699   PENA, CARLOS                   36981   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24700   PENA, DANIEL   Laredo, LLC     33020   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24701   PENA, DANIEL                   34011   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24702   PENA, DANIEL                   35002   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24703   PENA, DANIEL                   35993   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24704   PENA, DANIEL                   36982   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3573 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24705   PENA, EDOLINA   Laredo, LLC     33021   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24706   PENA, EDOLINA                   34012   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24707   PENA, EDOLINA                   35003   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24708   PENA, EDOLINA                   35994   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24709   PENA, EDOLINA                   36983   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24710   PENA, JEROME                    7539    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24711   PENA, JEROME    Laredo, LLC     13289   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3574 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24712   PENA, JEROME                   19036   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24713   PENA, JEROME                   24770   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24714   PENA, JEROME                   30530   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24715   PENA, JOSE     Laredo, LLC     33022   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24716   PENA, JOSE                     34013   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24717   PENA, JOSE                     35004   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24718   PENA, JOSE                     35995   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3575 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24719   PENA, JOSE                      36984   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24720   PENA, MARTIN                    8143    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24721   PENA, MARTIN    Laredo, LLC     13893   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24722   PENA, MARTIN                    19640   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24723   PENA, MARTIN                    25374   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24724   PENA, MARTIN                    31134   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24725   PENA, NATALIA   Laredo, LLC     33023   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3576 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24726   PENA, NATALIA                    34014   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24727   PENA, NATALIA                    35005   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24728   PENA, NATALIA                    35996   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24729   PENA, NATALIA                    36985   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24730   PENA, SANTIAGO                   3643    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24731   PENA, SANTIAGO                   4795    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24732   PENA, SANTIAGO Laredo, LLC       9393    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3577 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24733   PENA, SANTIAGO Laredo, LLC      10545   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
24734   PENA, SANTIAGO                  15140   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
24735   PENA, SANTIAGO                  16292   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
24736   PENA, SANTIAGO                  20887   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
24737   PENA, SANTIAGO                  22038   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
24738   PENA, SANTIAGO                  26634   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
24739   PENA, SANTIAGO                  27786   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3578 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24740   PENA, TARA     Laredo, LLC     33024   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24741   PENA, TARA                     34015   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24742   PENA, TARA                     35006   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24743   PENA, TARA                     35997   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24744   PENA, TARA                     36986   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24745   PEÑA, ZULEMA   Laredo, LLC     33025   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24746   PEÑA, ZULEMA                   34016   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3579 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24747   PEÑA, ZULEMA                   35007   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24748   PEÑA, ZULEMA                   35998   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24749   PEÑA, ZULEMA                   36987   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENACO
                                                            Priority: $0.00
        INDUSTRIES     Barney Davis,
24750                                  5657    8/1/2022     Secured: $0.00
        CONSTRUCTION   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        GROUP, LLC
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENACO
                                                            Priority: $0.00
        INDUSTRIES
24751                  Laredo, LLC     11407   8/1/2022     Secured: $0.00
        CONSTRUCTION
                                                            General Unsecured: $0.00 + Unliquidated
        GROUP, LLC
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENACO
                                                            Priority: $0.00
        INDUSTRIES     Nueces Bay,
24752                                  17154   8/1/2022     Secured: $0.00
        CONSTRUCTION   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        GROUP, LLC
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENACO
                                                            Priority: $0.00
        INDUSTRIES     Talen Texas
24753                                  22899   8/1/2022     Secured: $0.00
        CONSTRUCTION   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        GROUP, LLC
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3580 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENACO
                                                            Priority: $0.00
        INDUSTRIES     Talen Texas,
24754                                  28648   8/1/2022     Secured: $0.00
        CONSTRUCTION   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        GROUP, LLC
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENN AMERICA                                        Priority: $0.00
                       Nueces Bay,
24755   INSURANCE                      2277    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENN AMERICA                                        Priority: $0.00
                       Barney Davis,
24756   INSURANCE                      2287    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENN AMERICA                                        Priority: $0.00
                       Nueces Bay,
24757   INSURANCE                      2319    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENN AMERICA                                        Priority: $0.00
24758   INSURANCE      Laredo, LLC     2860    7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENN MILLERS                                        Priority: $0.00
                       Barney Davis,
24759   INSURANCE                      2033    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $225,905.00 + Unliquidated

                                                            Total: $225,905.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PENN MILLERS                                        Priority: $0.00
                       Nueces Bay,
24760   INSURANCE                      2274    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $225,905.00 + Unliquidated

                                                            Total: $225,905.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3581 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN MILLERS                                       Priority: $0.00
24761   INSURANCE      Laredo, LLC     2404   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $225,905.00 + Unliquidated

                                                           Total: $225,905.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN STAR                                          Priority: $0.00
                       Nueces Bay,
24762   INSURANCE                      2354   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN STAR                                          Priority: $0.00
24763   INSURANCE      Laredo, LLC     2522   7/30/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN STAR                                          Priority: $0.00
                       Barney Davis,
24764   INSURANCE                      2639   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN‐PATRIOT                                       Priority: $0.00
                       Barney Davis,
24765   INSURANCE                      3179   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN‐PATRIOT                                       Priority: $0.00
24766   INSURANCE      Laredo, LLC     3185   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PENN‐PATRIOT                                       Priority: $0.00
                       Nueces Bay,
24767   INSURANCE                      3278   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3582 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PENNYWELL,    Barney Davis,
24768                                 8544    8/1/2022     Secured: $0.00
        RENICKER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PENNYWELL,
24769                 Laredo, LLC     14294   8/1/2022     Secured: $0.00
        RENICKER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PENNYWELL,    Nueces Bay,
24770                                 20041   8/1/2022     Secured: $0.00
        RENICKER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PENNYWELL,    Talen Texas
24771                                 25773   8/1/2022     Secured: $0.00
        RENICKER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PENNYWELL,    Talen Texas,
24772                                 31535   8/1/2022     Secured: $0.00
        RENICKER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
24773   PENSYL, AMY                   3920    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
24774   PENSYL, AMY   Laredo, LLC     9670    8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3583 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24775   PENSYL, AMY                      15417   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24776   PENSYL, AMY                      21164   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24777   PENSYL, AMY                      26911   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24778   PENUEL, VICTOR                   5523    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24779   PENUEL, VICTOR   Laredo, LLC     11273   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24780   PENUEL, VICTOR                   17020   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24781   PENUEL, VICTOR                   22765   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3584 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24782   PENUEL, VICTOR                   28514   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERALES,
24783                    Laredo, LLC     33026   8/1/2022     Secured: $0.00
        EDWARD L
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERALES,         Barney Davis,
24784                                    34017   8/1/2022     Secured: $0.00
        EDWARD L         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERALES,         Nueces Bay,
24785                                    35008   8/1/2022     Secured: $0.00
        EDWARD L         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERALES,         Talen Texas
24786                                    35999   8/1/2022     Secured: $0.00
        EDWARD L         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERALES,         Talen Texas,
24787                                    36988   8/1/2022     Secured: $0.00
        EDWARD L         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24788   PERALES, MARIA                   8083    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3585 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24789   PERALES, MARIA     Laredo, LLC     13833   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24790   PERALES, MARIA                     19580   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24791   PERALES, MARIA                     25314   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24792   PERALES, MARIA                     31074   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24793   PERALES, VALERIE Laredo, LLC       33027   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24794   PERALES, VALERIE                   34018   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24795   PERALES, VALERIE                   35009   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3586 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24796   PERALES, VALERIE                   36000   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24797   PERALES, VALERIE                   36989   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24798   PERALTA, LOLA                      4441    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24799   PERALTA, LOLA      Laredo, LLC     10191   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24800   PERALTA, LOLA                      15938   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24801   PERALTA, LOLA                      21684   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24802   PERALTA, LOLA                      27432   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3587 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEREIRA,      Barney Davis,
24803                                 4666    8/1/2022     Secured: $0.00
        SHALANDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEREIRA,
24804                 Laredo, LLC     10416   8/1/2022     Secured: $0.00
        SHALANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEREIRA,      Nueces Bay,
24805                                 16163   8/1/2022     Secured: $0.00
        SHALANDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEREIRA,      Talen Texas
24806                                 21909   8/1/2022     Secured: $0.00
        SHALANDA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PEREIRA,      Talen Texas,
24807                                 27657   8/1/2022     Secured: $0.00
        SHALANDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
24808   PEREZ, ALMA                   6346    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
24809   PEREZ, ALMA   Laredo, LLC     12096   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3588 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24810   PEREZ, ALMA                      17843   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24811   PEREZ, ALMA                      23578   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24812   PEREZ, ALMA                      29337   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24813   PEREZ, ANTONIO                   6436    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24814   PEREZ, ANTONIO Laredo, LLC       12186   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24815   PEREZ, ANTONIO                   17933   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24816   PEREZ, ANTONIO                   23668   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3589 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24817   PEREZ, ANTONIO                     29427   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24818   PEREZ, CHRISTINE                   4899    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24819   PEREZ, CHRISTINE Laredo, LLC       10649   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24820   PEREZ, CHRISTINE                   16396   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24821   PEREZ, CHRISTINE                   22141   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24822   PEREZ, CHRISTINE                   27890   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24823   PEREZ, DAISY                       6869    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3590 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24824   PEREZ, DAISY     Laredo, LLC     12619   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24825   PEREZ, DAISY                     18366   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24826   PEREZ, DAISY                     24100   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24827   PEREZ, DAISY                     29860   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ, ELIZABETH Barney Davis,
24828                                    7147    8/1/2022     Secured: $0.00
        DIANN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ, ELIZABETH
24829                    Laredo, LLC     12897   8/1/2022     Secured: $0.00
        DIANN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ, ELIZABETH Nueces Bay,
24830                                    18644   8/1/2022     Secured: $0.00
        DIANN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3591 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ, ELIZABETH Talen Texas
24831                                    24378   8/1/2022     Secured: $0.00
        DIANN            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ, ELIZABETH Talen Texas,
24832                                    30138   8/1/2022     Secured: $0.00
        DIANN            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24833   PEREZ, EMILIO                    7164    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24834   PEREZ, EMILIO    Laredo, LLC     12914   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24835   PEREZ, EMILIO                    18661   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24836   PEREZ, EMILIO                    24395   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24837   PEREZ, EMILIO                    30155   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3592 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEREZ,
24838                   Laredo, LLC     33028   8/1/2022     Secured: $0.00
        GUILLERMO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEREZ,          Barney Davis,
24839                                   34019   8/1/2022     Secured: $0.00
        GUILLERMO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEREZ,          Nueces Bay,
24840                                   35010   8/1/2022     Secured: $0.00
        GUILLERMO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEREZ,          Talen Texas
24841                                   36001   8/1/2022     Secured: $0.00
        GUILLERMO       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PEREZ,          Talen Texas,
24842                                   36990   8/1/2022     Secured: $0.00
        GUILLERMO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24843   PEREZ, IMELDA   Laredo, LLC     33029   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24844   PEREZ, IMELDA                   34020   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3593 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24845   PEREZ, IMELDA                   35011   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24846   PEREZ, IMELDA                   36002   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24847   PEREZ, IMELDA                   36991   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24848   PEREZ, INES                     7389    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24849   PEREZ, INES     Laredo, LLC     13139   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24850   PEREZ, INES                     18886   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24851   PEREZ, INES                     24620   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3594 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24852   PEREZ, INES                    30380   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24853   PEREZ, JESUS                   7566    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
24854   PEREZ, JESUS   Laredo, LLC     13316   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
24855   PEREZ, JESUS                   19063   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
24856   PEREZ, JESUS                   24797   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
24857   PEREZ, JESUS                   30557   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
24858   PEREZ, JOHN                    7621    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3595 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24859   PEREZ, JOHN       Laredo, LLC     13371   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24860   PEREZ, JOHN                       19118   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24861   PEREZ, JOHN                       24852   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24862   PEREZ, JOHN                       30612   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24863   PEREZ, JOSEFINA                   4324    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24864   PEREZ, JOSEFINA   Laredo, LLC     10074   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24865   PEREZ, JOSEFINA                   15821   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3596 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24866   PEREZ, JOSEFINA                   21567   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24867   PEREZ, JOSEFINA                   27315   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24868   PEREZ, LESLIE                     3756    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24869   PEREZ, LESLIE     Laredo, LLC     9506    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24870   PEREZ, LESLIE                     15253   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24871   PEREZ, LESLIE                     21000   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24872   PEREZ, LESLIE                     26747   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3597 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ,           Barney Davis,
24873                                    5471    8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ,
24874                    Laredo, LLC     11221   8/1/2022     Secured: $0.00
        MARGARITA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ,           Nueces Bay,
24875                                    16968   8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ,           Talen Texas
24876                                    22713   8/1/2022     Secured: $0.00
        MARGARITA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PEREZ,           Talen Texas,
24877                                    28462   8/1/2022     Secured: $0.00
        MARGARITA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24878   PEREZ, MARIA H   Laredo, LLC     33030   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24879   PEREZ, MARIA H                   34021   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3598 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24880   PEREZ, MARIA H                   35012   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24881   PEREZ, MARIA H                   36003   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24882   PEREZ, MARIA H                   36992   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24883   PEREZ, MICHAEL                   8239    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24884   PEREZ, MICHAEL                   8240    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24885   PEREZ, MICHAEL   Laredo, LLC     13989   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24886   PEREZ, MICHAEL   Laredo, LLC     13990   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3599 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
24887   PEREZ, MICHAEL                  19736   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
24888   PEREZ, MICHAEL                  19737   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
24889   PEREZ, MICHAEL                  25470   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
24890   PEREZ, MICHAEL                  25471   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
24891   PEREZ, MICHAEL                  31230   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
24892   PEREZ, MICHAEL                  31231   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24893   PEREZ, MIRNA     Laredo, LLC    33031   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3600 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24894   PEREZ, MIRNA                    34022   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24895   PEREZ, MIRNA                    35013   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24896   PEREZ, MIRNA                    36004   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24897   PEREZ, MIRNA                    36993   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
24898   PEREZ, RAFAEL                   5854    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24899   PEREZ, RAFAEL   Laredo, LLC     11604   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24900   PEREZ, RAFAEL                   17351   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3601 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24901   PEREZ, RAFAEL                    23096   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24902   PEREZ, RAFAEL                    28845   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24903   PEREZ, REBECCA                   4596    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24904   PEREZ, REBECCA                   5228    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24905   PEREZ, REBECCA   Laredo, LLC     10346   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24906   PEREZ, REBECCA   Laredo, LLC     10978   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24907   PEREZ, REBECCA                   16093   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3602 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24908   PEREZ, REBECCA                   16725   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24909   PEREZ, REBECCA                   21839   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24910   PEREZ, REBECCA                   22470   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24911   PEREZ, REBECCA                   27587   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24912   PEREZ, REBECCA                   28219   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24913   PEREZ, RICHARD                   4609    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24914   PEREZ, RICHARD   Laredo, LLC     10359   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3603 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24915   PEREZ, RICHARD                   16106   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24916   PEREZ, RICHARD                   21852   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24917   PEREZ, RICHARD                   27600   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24918   PEREZ, ROCIO                     8641    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24919   PEREZ, ROCIO     Laredo, LLC     14391   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24920   PEREZ, ROCIO                     20138   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24921   PEREZ, ROCIO                     25870   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3604 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24922   PEREZ, ROCIO                     31632   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24923   PEREZ, RODOLFO Laredo, LLC       33032   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24924   PEREZ, RODOLFO                   34023   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24925   PEREZ, RODOLFO                   35014   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24926   PEREZ, RODOLFO                   36005   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24927   PEREZ, RODOLFO                   36994   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24928   PEREZ, THOMAS                    8997    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3605 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24929   PEREZ, THOMAS   Laredo, LLC     14747   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
24930   PEREZ, THOMAS                   20494   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
24931   PEREZ, THOMAS                   26226   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
24932   PEREZ, THOMAS                   31988   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PERILLOUX,      Barney Davis,
24933                                   8521    8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PERILLOUX,
24934                   Laredo, LLC     14271   8/1/2022     Secured: $0.00
        REBECCA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PERILLOUX,      Nueces Bay,
24935                                   20018   8/1/2022     Secured: $0.00
        REBECCA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3606 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERILLOUX,       Talen Texas
24936                                    25750   8/1/2022     Secured: $0.00
        REBECCA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERILLOUX,       Talen Texas,
24937                                    31512   8/1/2022     Secured: $0.00
        REBECCA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24938   PERKINS, CECIL                   4885    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24939   PERKINS, CECIL   Laredo, LLC     10635   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24940   PERKINS, CECIL                   16382   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24941   PERKINS, CECIL                   22127   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24942   PERKINS, CECIL                   27876   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3607 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24943   PERKINS, CURTIS                   6854    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24944   PERKINS, CURTIS   Laredo, LLC     12604   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24945   PERKINS, CURTIS                   18351   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24946   PERKINS, CURTIS                   24085   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24947   PERKINS, CURTIS                   29845   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Barney Davis,
24948                                     4195    8/1/2022     Secured: $0.00
        GARFIELD          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,
24949                     Laredo, LLC     9945    8/1/2022     Secured: $0.00
        GARFIELD
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3608 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Nueces Bay,
24950                                     15692   8/1/2022     Secured: $0.00
        GARFIELD          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Talen Texas
24951                                     21438   8/1/2022     Secured: $0.00
        GARFIELD          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Talen Texas,
24952                                     27186   8/1/2022     Secured: $0.00
        GARFIELD          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24953   PERKINS, LAMONT                   3604    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24954   PERKINS, LAMONT Laredo, LLC       9354    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24955   PERKINS, LAMONT                   15101   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24956   PERKINS, LAMONT                   20848   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3609 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24957   PERKINS, LAMONT                   26595   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Barney Davis,
24958                                     8101    8/1/2022     Secured: $0.00
        MARILYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,
24959                     Laredo, LLC     13851   8/1/2022     Secured: $0.00
        MARILYN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Nueces Bay,
24960                                     19598   8/1/2022     Secured: $0.00
        MARILYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Talen Texas
24961                                     25332   8/1/2022     Secured: $0.00
        MARILYN           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERKINS,          Talen Texas,
24962                                     31092   8/1/2022     Secured: $0.00
        MARILYN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERRENOT,
24963                     Laredo, LLC     33033   8/1/2022     Secured: $0.00
        DWAINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3610 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERRENOT,         Barney Davis,
24964                                     34024   8/1/2022     Secured: $0.00
        DWAINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERRENOT,         Nueces Bay,
24965                                     35015   8/1/2022     Secured: $0.00
        DWAINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERRENOT,         Talen Texas
24966                                     36006   8/1/2022     Secured: $0.00
        DWAINE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PERRENOT,         Talen Texas,
24967                                     36995   8/1/2022     Secured: $0.00
        DWAINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24968   PERRENOT, STACI Laredo, LLC       33034   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24969   PERRENOT, STACI                   34025   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24970   PERRENOT, STACI                   35016   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3611 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24971   PERRENOT, STACI                   36007   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24972   PERRENOT, STACI                   36996   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
24973   PERRIN, DOUGLAS                   5595    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
24974   PERRIN, DOUGLAS Laredo, LLC       11345   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
24975   PERRIN, DOUGLAS                   17092   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
24976   PERRIN, DOUGLAS                   22837   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
24977   PERRIN, DOUGLAS                   28586   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3612 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24978   PERRO, BRANDY                      6071    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24979   PERRO, BRANDY      Laredo, LLC     11821   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24980   PERRO, BRANDY                      17568   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24981   PERRO, BRANDY                      23313   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24982   PERRO, BRANDY                      29062   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
24983   PERRY, CHRISTINA                   4043    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
24984   PERRY, CHRISTINA Laredo, LLC       9793    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3613 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
24985   PERRY, CHRISTINA                   15540   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
24986   PERRY, CHRISTINA                   21286   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
24987   PERRY, CHRISTINA                   27034   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PERRY,             Barney Davis,
24988                                      6818    8/1/2022     Secured: $0.00
        CONSTEANCE         LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PERRY,
24989                      Laredo, LLC     12568   8/1/2022     Secured: $0.00
        CONSTEANCE
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PERRY,             Nueces Bay,
24990                                      18315   8/1/2022     Secured: $0.00
        CONSTEANCE         LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PERRY,             Talen Texas
24991                                      24049   8/1/2022     Secured: $0.00
        CONSTEANCE         Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3614 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERRY,           Talen Texas,
24992                                    29809   8/1/2022     Secured: $0.00
        CONSTEANCE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24993   PERRY, DEBORAH                   4930    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
24994   PERRY, DEBORAH Laredo, LLC       10680   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
24995   PERRY, DEBORAH                   16427   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
24996   PERRY, DEBORAH                   22172   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
24997   PERRY, DEBORAH                   27921   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
24998   PERRY, JOE                       7591    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3615 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
24999   PERRY, JOE      Laredo, LLC     13341   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25000   PERRY, JOE                      19088   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25001   PERRY, JOE                      24822   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25002   PERRY, JOE                      30582   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25003   PERRY, JORDYN                   9270    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25004   PERRY, JORDYN   Laredo, LLC     15020   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25005   PERRY, JORDYN                   20767   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3616 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25006   PERRY, JORDYN                    26499   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25007   PERRY, JORDYN                    32261   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERRY, MICHAEL   Barney Davis,
25008                                    8241    8/1/2022     Secured: $0.00
        RAY              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERRY, MICHAEL
25009                    Laredo, LLC     13991   8/1/2022     Secured: $0.00
        RAY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERRY, MICHAEL   Nueces Bay,
25010                                    19738   8/1/2022     Secured: $0.00
        RAY              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERRY, MICHAEL   Talen Texas
25011                                    25472   8/1/2022     Secured: $0.00
        RAY              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PERRY, MICHAEL   Talen Texas,
25012                                    31232   8/1/2022     Secured: $0.00
        RAY              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3617 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25013   PERRY, ROBERT                   4625    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25014   PERRY, ROBERT   Laredo, LLC     10375   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25015   PERRY, ROBERT                   16122   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25016   PERRY, ROBERT                   21868   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25017   PERRY, ROBERT                   27616   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25018   PERRY, SHARON   Laredo, LLC     33035   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25019   PERRY, SHARON                   34026   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3618 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25020   PERRY, SHARON                   35017   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25021   PERRY, SHARON                   36008   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25022   PERRY, SHARON                   36997   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25023   PERRY, SHEILA                   5300    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25024   PERRY, SHEILA   Laredo, LLC     11050   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25025   PERRY, SHEILA                   16797   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25026   PERRY, SHEILA                   22542   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3619 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25027   PERRY, SHEILA                      28291   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25028   PERRY, STELLA                      9326    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25029   PERRY, STELLA      Laredo, LLC     15076   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25030   PERRY, STELLA                      20823   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25031   PERRY, STELLA                      26555   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25032   PERRY, STELLA                      32317   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25033   PERRY, SYLVIA C.   Laredo, LLC     33036   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3620 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25034   PERRY, SYLVIA C.                   34027   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25035   PERRY, SYLVIA C.                   35018   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25036   PERRY, SYLVIA C.                   36009   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25037   PERRY, SYLVIA C.                   36998   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25038   PERRY, TABATHA                     5323    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25039   PERRY, TABATHA Laredo, LLC         11073   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25040   PERRY, TABATHA                     16820   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3621 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25041   PERRY, TABATHA                   22565   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25042   PERRY, TABATHA                   28314   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25043   PESEK, SHELLY                    5303    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25044   PESEK, SHELLY    Laredo, LLC     11053   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25045   PESEK, SHELLY                    16800   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25046   PESEK, SHELLY                    22545   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25047   PESEK, SHELLY                    28294   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3622 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25048   PETERSON, JAMES                   7456    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25049   PETERSON, JAMES Laredo, LLC       13206   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25050   PETERSON, JAMES                   18953   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25051   PETERSON, JAMES                   24687   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25052   PETERSON, JAMES                   30447   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25053   PETERSON, LARRY                   4405    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25054   PETERSON, LARRY Laredo, LLC       10155   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3623 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25055   PETERSON, LARRY                   15902   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25056   PETERSON, LARRY                   21648   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25057   PETERSON, LARRY                   27396   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25058   PETERSON, TIM                     9010    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25059   PETERSON, TIM     Laredo, LLC     14760   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25060   PETERSON, TIM                     20507   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25061   PETERSON, TIM                     26239   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3624 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25062   PETERSON, TIM                   32001   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25063   PETITE, ALDIS                   6311    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25064   PETITE, ALDIS   Laredo, LLC     12061   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25065   PETITE, ALDIS                   17808   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25066   PETITE, ALDIS                   23543   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25067   PETITE, ALDIS                   29302   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25068   PETITT, JOHN                    7622    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3625 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25069   PETITT, JOHN      Laredo, LLC     13372   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25070   PETITT, JOHN                      19119   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25071   PETITT, JOHN                      24853   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25072   PETITT, JOHN                      30613   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25073   PETSCH, MICHAEL                   5512    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25074   PETSCH, MICHAEL Laredo, LLC       11262   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25075   PETSCH, MICHAEL                   17009   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3626 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25076   PETSCH, MICHAEL                    22754   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25077   PETSCH, MICHAEL                    28503   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25078   PETTIETTE, REISA                   8534    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25079   PETTIETTE, REISA Laredo, LLC       14284   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25080   PETTIETTE, REISA                   20031   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25081   PETTIETTE, REISA                   25763   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25082   PETTIETTE, REISA                   31525   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3627 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25083   PETTY, JASON                    4257    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25084   PETTY, JASON    Laredo, LLC     10007   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25085   PETTY, JASON                    15754   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25086   PETTY, JASON                    21500   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25087   PETTY, JASON                    27248   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25088   PETTY, LEATHA                   7950    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25089   PETTY, LEATHA   Laredo, LLC     13700   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3628 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25090   PETTY, LEATHA                   19447   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25091   PETTY, LEATHA                   25181   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25092   PETTY, LEATHA                   30941   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25093   PETTY, RITA                     4618    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25094   PETTY, RITA     Laredo, LLC     10368   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25095   PETTY, RITA                     16115   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25096   PETTY, RITA                     21861   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3629 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25097   PETTY, RITA                    27609   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHAGAN,        Barney Davis,
25098                                  3962    8/1/2022     Secured: $0.00
        BARRETT        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHAGAN,
25099                  Laredo, LLC     9712    8/1/2022     Secured: $0.00
        BARRETT
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHAGAN,        Nueces Bay,
25100                                  15459   8/1/2022     Secured: $0.00
        BARRETT        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHAGAN,        Talen Texas
25101                                  21205   8/1/2022     Secured: $0.00
        BARRETT        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHAGAN,        Talen Texas,
25102                                  26953   8/1/2022     Secured: $0.00
        BARRETT        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25103   PHAM, HANG                     7348    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3630 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
25104   PHAM, HANG    Laredo, LLC     13098   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
25105   PHAM, HANG                    18845   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
25106   PHAM, HANG                    24579   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
25107   PHAM, HANG                    30339   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
25108   PHAM, QUANG                   8470    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
25109   PHAM, QUANG   Laredo, LLC     14220   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
25110   PHAM, QUANG                   19967   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3631 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
25111   PHAM, QUANG                   25699   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
25112   PHAM, QUANG                   31461   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
25113   PHAN, TIM                     9011    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
25114   PHAN, TIM     Laredo, LLC     14761   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
25115   PHAN, TIM                     20508   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
25116   PHAN, TIM                     26240   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
25117   PHAN, TIM                     32002   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3632 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PHARMACISTS
                                                           Priority: $0.00
        MUTUAL         Nueces Bay,
25118                                  1468   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $2,984,356.74 + Unliquidated
        COMPANY
                                                           Total: $2,984,356.74 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PHARMACISTS
                                                           Priority: $0.00
        MUTUAL
25119                  Laredo, LLC     1477   7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $2,984,356.74 + Unliquidated
        COMPANY
                                                           Total: $2,984,356.74 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PHARMACISTS
                                                           Priority: $0.00
        MUTUAL         Barney Davis,
25120                                  1827   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $2,984,356.74 + Unliquidated
        COMPANY
                                                           Total: $2,984,356.74 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PHILADELPHIA
                                                           Priority: $0.00
        INDEMNITY
25121                  Laredo, LLC     1478   7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $14,825,000.00 + Unliquidated
        COMPANY
                                                           Total: $14,825,000.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PHILADELPHIA
                                                           Priority: $0.00
        INDEMNITY      Barney Davis,
25122                                  1620   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $14,825,000.00 + Unliquidated
        COMPANY
                                                           Total: $14,825,000.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        PHILADELPHIA
                                                           Priority: $0.00
        INDEMNITY      Nueces Bay,
25123                                  1828   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $14,825,000.00 + Unliquidated
        COMPANY
                                                           Total: $14,825,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3633 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PHILADELPHIA
                                                            Priority: $0.00
        INDEMNITY      Barney Davis,
25124                                  2118    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $9,640,825.74 + Unliquidated
        COMPANY
                                                            Total: $9,640,825.74 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PHILADELPHIA
                                                            Priority: $0.00
        INDEMNITY
25125                  Laredo, LLC     2124    8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $9,640,825.74 + Unliquidated
        COMPANY
                                                            Total: $9,640,825.74 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PHILADELPHIA
                                                            Priority: $0.00
        INDEMNITY      Nueces Bay,
25126                                  2422    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $37,565,885.64 + Unliquidated
        COMPANY
                                                            Total: $37,565,885.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PHILADELPHIA
                                                            Priority: $0.00
        INDEMNITY      Nueces Bay,
25127                                  3047    8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $9,640,825.74 + Unliquidated
        COMPANY
                                                            Total: $9,640,825.74 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PHILADELPHIA
                                                            Priority: $0.00
        INDEMNITY
25128                  Laredo, LLC     37309   6/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $37,565,885.64 + Unliquidated
        COMPANY
                                                            Total: $37,565,885.64 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PHILADELPHIA
                                                            Priority: $0.00
        INDEMNITY      Barney Davis,
25129                                  37346   6/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $37,565,885.64 + Unliquidated
        COMPANY
                                                            Total: $37,565,885.64 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3634 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
25130   PHILLIPS, ALLISSA                   6345    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
25131   PHILLIPS, ALLISSA Laredo, LLC       12095   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
25132   PHILLIPS, ALLISSA                   17842   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
25133   PHILLIPS, ALLISSA                   23577   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
25134   PHILLIPS, ALLISSA                   29336   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
25135   PHILLIPS, ANGELA                    6393    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
25136   PHILLIPS, ANGELA Laredo, LLC        12143   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3635 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25137   PHILLIPS, ANGELA                   17890   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25138   PHILLIPS, ANGELA                   23625   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25139   PHILLIPS, ANGELA                   29384   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25140   PHILLIPS, DON                      7056    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25141   PHILLIPS, DON      Laredo, LLC     12806   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25142   PHILLIPS, DON                      18553   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25143   PHILLIPS, DON                      24287   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3636 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25144   PHILLIPS, DON                      30047   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25145   PHILLIPS, HUBERT                   7380    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25146   PHILLIPS, HUBERT Laredo, LLC       13130   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25147   PHILLIPS, HUBERT                   18877   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25148   PHILLIPS, HUBERT                   24611   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25149   PHILLIPS, HUBERT                   30371   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25150   PHILLIPS, JAMIE                    7464    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3637 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25151   PHILLIPS, JAMIE   Laredo, LLC     13214   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25152   PHILLIPS, JAMIE                   18961   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25153   PHILLIPS, JAMIE                   24695   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25154   PHILLIPS, JAMIE                   30455   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25155   PHILLIPS, JANIS   Laredo, LLC     33037   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25156   PHILLIPS, JANIS                   34028   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25157   PHILLIPS, JANIS                   35019   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3638 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25158   PHILLIPS, JANIS                   36010   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25159   PHILLIPS, JANIS                   36999   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25160   PHILLIPS, JIM     Laredo, LLC     33038   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25161   PHILLIPS, JIM                     34029   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25162   PHILLIPS, JIM                     35020   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25163   PHILLIPS, JIM                     36011   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25164   PHILLIPS, JIM                     37000   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3639 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,      Barney Davis,
25165                                  6144    8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,
25166                  Laredo, LLC     11894   8/1/2022     Secured: $0.00
        KIMBERLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,      Nueces Bay,
25167                                  17641   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,      Talen Texas
25168                                  23386   8/1/2022     Secured: $0.00
        KIMBERLY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,      Talen Texas,
25169                                  29135   8/1/2022     Secured: $0.00
        KIMBERLY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,      Barney Davis,
25170                                  8330    8/1/2022     Secured: $0.00
        NICHOLAS       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PHILLIPS,
25171                  Laredo, LLC     14080   8/1/2022     Secured: $0.00
        NICHOLAS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3640 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Nueces Bay,
25172                                      19827   8/1/2022     Secured: $0.00
        NICHOLAS           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Talen Texas
25173                                      25561   8/1/2022     Secured: $0.00
        NICHOLAS           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Talen Texas,
25174                                      31321   8/1/2022     Secured: $0.00
        NICHOLAS           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25175   PHILLIPS, RAYVEN                   4592    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25176   PHILLIPS, RAYVEN Laredo, LLC       10342   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25177   PHILLIPS, RAYVEN                   16089   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25178   PHILLIPS, RAYVEN                   21835   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3641 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25179   PHILLIPS, RAYVEN                   27583   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Barney Davis,
25180                                      8679    8/1/2022     Secured: $0.00
        ROSALYN R          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,
25181                      Laredo, LLC     14429   8/1/2022     Secured: $0.00
        ROSALYN R
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Nueces Bay,
25182                                      20176   8/1/2022     Secured: $0.00
        ROSALYN R          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Talen Texas
25183                                      25908   8/1/2022     Secured: $0.00
        ROSALYN R          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Talen Texas,
25184                                      31670   8/1/2022     Secured: $0.00
        ROSALYN R          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PHILLIPS,          Barney Davis,
25185                                      9327    8/1/2022     Secured: $0.00
        STEPHANY           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3642 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PHILLIPS,
25186                   Laredo, LLC     15077   8/1/2022     Secured: $0.00
        STEPHANY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PHILLIPS,       Nueces Bay,
25187                                   20824   8/1/2022     Secured: $0.00
        STEPHANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PHILLIPS,       Talen Texas
25188                                   26556   8/1/2022     Secured: $0.00
        STEPHANY        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PHILLIPS,       Talen Texas,
25189                                   32318   8/1/2022     Secured: $0.00
        STEPHANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25190   PHILYAW, JANA                   7467    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25191   PHILYAW, JANA   Laredo, LLC     13217   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25192   PHILYAW, JANA                   18964   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3643 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25193   PHILYAW, JANA                   24698   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25194   PHILYAW, JANA                   30458   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25195   PIAZZA, DEBRA                   4112    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25196   PIAZZA, DEBRA   Laredo, LLC     9862    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25197   PIAZZA, DEBRA                   15609   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25198   PIAZZA, DEBRA                   21355   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25199   PIAZZA, DEBRA                   27103   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3644 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25200   PICAZO, JOHN                   7623    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25201   PICAZO, JOHN   Laredo, LLC     13373   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25202   PICAZO, JOHN                   19120   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25203   PICAZO, JOHN                   24854   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25204   PICAZO, JOHN                   30614   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25205   PICK, LYNN                     8040    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25206   PICK, LYNN     Laredo, LLC     13790   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3645 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25207   PICK, LYNN                       19537   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25208   PICK, LYNN                       25271   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25209   PICK, LYNN                       31031   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25210   PICKENS, JESSE                   5028    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25211   PICKENS, JESSE   Laredo, LLC     10778   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25212   PICKENS, JESSE                   16525   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25213   PICKENS, JESSE                   22270   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3646 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25214   PICKENS, JESSE                    28019   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25215   PICKENS, TYRONE                   5354    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25216   PICKENS, TYRONE Laredo, LLC       11104   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25217   PICKENS, TYRONE                   16851   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25218   PICKENS, TYRONE                   22596   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25219   PICKENS, TYRONE                   28345   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25220   PICKETT, JOANNA                   9269    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3647 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25221   PICKETT, JOANNA Laredo, LLC       15019   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25222   PICKETT, JOANNA                   20766   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25223   PICKETT, JOANNA                   26498   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25224   PICKETT, JOANNA                   32260   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25225   PIERCE, CASIE                     6673    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25226   PIERCE, CASIE     Laredo, LLC     12423   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25227   PIERCE, CASIE                     18170   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3648 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25228   PIERCE, CASIE                   23904   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25229   PIERCE, CASIE                   29664   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PIERCE,         Barney Davis,
25230                                   4162    8/1/2022     Secured: $0.00
        ELIZABETH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PIERCE,
25231                   Laredo, LLC     9912    8/1/2022     Secured: $0.00
        ELIZABETH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PIERCE,         Nueces Bay,
25232                                   15659   8/1/2022     Secured: $0.00
        ELIZABETH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PIERCE,         Talen Texas
25233                                   21405   8/1/2022     Secured: $0.00
        ELIZABETH       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PIERCE,         Talen Texas,
25234                                   27153   8/1/2022     Secured: $0.00
        ELIZABETH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3649 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERCE, FLORENCE Barney Davis,
25235                                     7232    8/1/2022     Secured: $0.00
        WALLACE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERCE, FLORENCE
25236                    Laredo, LLC      12982   8/1/2022     Secured: $0.00
        WALLACE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERCE, FLORENCE Nueces Bay,
25237                                     18729   8/1/2022     Secured: $0.00
        WALLACE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERCE, FLORENCE Talen Texas
25238                                     24463   8/1/2022     Secured: $0.00
        WALLACE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERCE, FLORENCE Talen Texas,
25239                                     30223   8/1/2022     Secured: $0.00
        WALLACE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25240   PIERCE, SHIRLEY                   8839    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25241   PIERCE, SHIRLEY   Laredo, LLC     14589   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3650 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25242   PIERCE, SHIRLEY                   20336   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25243   PIERCE, SHIRLEY                   26068   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25244   PIERCE, SHIRLEY                   31830   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERSON,          Barney Davis,
25245                                     5433    8/1/2022     Secured: $0.00
        MICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERSON,
25246                     Laredo, LLC     11183   8/1/2022     Secured: $0.00
        MICHELLE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERSON,          Nueces Bay,
25247                                     16930   8/1/2022     Secured: $0.00
        MICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PIERSON,          Talen Texas
25248                                     22675   8/1/2022     Secured: $0.00
        MICHELLE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3651 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIERSON,      Talen Texas,
25249                                 28424   8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIETRE,       Barney Davis,
25250                                 9002    8/1/2022     Secured: $0.00
        TIATIANNA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIETRE,
25251                 Laredo, LLC     14752   8/1/2022     Secured: $0.00
        TIATIANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIETRE,       Nueces Bay,
25252                                 20499   8/1/2022     Secured: $0.00
        TIATIANNA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIETRE,       Talen Texas
25253                                 26231   8/1/2022     Secured: $0.00
        TIATIANNA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIETRE,       Talen Texas,
25254                                 31993   8/1/2022     Secured: $0.00
        TIATIANNA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PIMENTEL,     Barney Davis,
25255                                 6330    8/1/2022     Secured: $0.00
        ALFRED        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3652 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PIMENTEL,
25256                  Laredo, LLC     12080   8/1/2022     Secured: $0.00
        ALFRED
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PIMENTEL,      Nueces Bay,
25257                                  17827   8/1/2022     Secured: $0.00
        ALFRED         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PIMENTEL,      Talen Texas
25258                                  23562   8/1/2022     Secured: $0.00
        ALFRED         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PIMENTEL,      Talen Texas,
25259                                  29321   8/1/2022     Secured: $0.00
        ALFRED         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25260   PINA, ARTHUR   Laredo, LLC     33039   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25261   PINA, ARTHUR                   34030   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25262   PINA, ARTHUR                   35021   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3653 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25263   PINA, ARTHUR                       36012   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25264   PINA, ARTHUR                       37001   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25265   PINEDA, EZEQUIEL                   7220    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25266   PINEDA, EZEQUIEL Laredo, LLC       12970   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25267   PINEDA, EZEQUIEL                   18717   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25268   PINEDA, EZEQUIEL                   24451   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25269   PINEDA, EZEQUIEL                   30211   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3654 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25270   PINEDA, IRENE   Laredo, LLC     33040   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25271   PINEDA, IRENE                   34031   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25272   PINEDA, IRENE                   35022   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25273   PINEDA, IRENE                   36013   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25274   PINEDA, IRENE                   37002   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25275   PINEDA, NORMA   Laredo, LLC     33041   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25276   PINEDA, NORMA                   34032   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3655 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25277   PINEDA, NORMA                   35023   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25278   PINEDA, NORMA                   36014   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25279   PINEDA, NORMA                   37003   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PINKNEY,        Barney Davis,
25280                                   7054    8/1/2022     Secured: $0.00
        DOMINIC         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PINKNEY,
25281                   Laredo, LLC     12804   8/1/2022     Secured: $0.00
        DOMINIC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PINKNEY,        Nueces Bay,
25282                                   18551   8/1/2022     Secured: $0.00
        DOMINIC         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PINKNEY,        Talen Texas
25283                                   24285   8/1/2022     Secured: $0.00
        DOMINIC         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3656 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PINKNEY,         Talen Texas,
25284                                    30045   8/1/2022     Secured: $0.00
        DOMINIC          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25285   PINSON, BRENDA                   9223    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25286   PINSON, BRENDA Laredo, LLC       14973   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25287   PINSON, BRENDA                   20720   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25288   PINSON, BRENDA                   26452   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25289   PINSON, BRENDA                   32214   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25290   PIOMBO, PABLO                    4549    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3657 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25291   PIOMBO, PABLO   Laredo, LLC     10299   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25292   PIOMBO, PABLO                   16046   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25293   PIOMBO, PABLO                   21792   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25294   PIOMBO, PABLO                   27540   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PITSINGER,      Barney Davis,
25295                                   8615    8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PITSINGER,
25296                   Laredo, LLC     14365   8/1/2022     Secured: $0.00
        ROBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PITSINGER,      Nueces Bay,
25297                                   20112   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3658 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITSINGER,     Talen Texas
25298                                  25844   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITSINGER,     Talen Texas,
25299                                  31606   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITTENGER,     Barney Davis,
25300                                  7426    8/1/2022     Secured: $0.00
        JACQUELYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITTENGER,
25301                  Laredo, LLC     13176   8/1/2022     Secured: $0.00
        JACQUELYN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITTENGER,     Nueces Bay,
25302                                  18923   8/1/2022     Secured: $0.00
        JACQUELYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITTENGER,     Talen Texas
25303                                  24657   8/1/2022     Secured: $0.00
        JACQUELYN      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PITTENGER,     Talen Texas,
25304                                  30417   8/1/2022     Secured: $0.00
        JACQUELYN      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3659 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25305   PITTMAN, MARY                   5141    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25306   PITTMAN, MARY   Laredo, LLC     10891   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25307   PITTMAN, MARY                   16638   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25308   PITTMAN, MARY                   22383   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25309   PITTMAN, MARY                   28132   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25310   PITTS, LATOYA                   7924    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25311   PITTS, LATOYA   Laredo, LLC     13674   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3660 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25312   PITTS, LATOYA                   19421   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25313   PITTS, LATOYA                   25155   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25314   PITTS, LATOYA                   30915   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25315   PLACE, DAVID                    6933    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25316   PLACE, DAVID    Laredo, LLC     12683   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25317   PLACE, DAVID                    18430   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25318   PLACE, DAVID                    24164   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3661 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25319   PLACE, DAVID                     29924   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLACENCIO,       Barney Davis,
25320                                    6429    8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLACENCIO,
25321                    Laredo, LLC     12179   8/1/2022     Secured: $0.00
        ANTHONY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLACENCIO,       Nueces Bay,
25322                                    17926   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLACENCIO,       Talen Texas
25323                                    23661   8/1/2022     Secured: $0.00
        ANTHONY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLACENCIO,       Talen Texas,
25324                                    29420   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25325   PLACIER, KELLY   Laredo, LLC     33042   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3662 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25326   PLACIER, KELLY                   34033   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25327   PLACIER, KELLY                   35024   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25328   PLACIER, KELLY                   36015   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25329   PLACIER, KELLY                   37004   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25330   PLANT, WILLIAM                   5646    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25331   PLANT, WILLIAM   Laredo, LLC     11396   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25332   PLANT, WILLIAM                   17143   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3663 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25333   PLANT, WILLIAM                   22888   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25334   PLANT, WILLIAM                   28637   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLASCENCIA,      Barney Davis,
25335                                    4428    8/1/2022     Secured: $0.00
        LILLIAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLASCENCIA,
25336                    Laredo, LLC     10178   8/1/2022     Secured: $0.00
        LILLIAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLASCENCIA,      Nueces Bay,
25337                                    15925   8/1/2022     Secured: $0.00
        LILLIAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLASCENCIA,      Talen Texas
25338                                    21671   8/1/2022     Secured: $0.00
        LILLIAN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLASCENCIA,      Talen Texas,
25339                                    27419   8/1/2022     Secured: $0.00
        LILLIAN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3664 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25340   PLOCK, THOMAS                   6039    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25341   PLOCK, THOMAS   Laredo, LLC     11789   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25342   PLOCK, THOMAS                   17536   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25343   PLOCK, THOMAS                   23281   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25344   PLOCK, THOMAS                   29030   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PLUMBER,        Barney Davis,
25345                                   5617    8/1/2022     Secured: $0.00
        LATOYA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PLUMBER,
25346                   Laredo, LLC     11367   8/1/2022     Secured: $0.00
        LATOYA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3665 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMBER,         Nueces Bay,
25347                                    17114   8/1/2022     Secured: $0.00
        LATOYA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMBER,         Talen Texas
25348                                    22859   8/1/2022     Secured: $0.00
        LATOYA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMBER,         Talen Texas,
25349                                    28608   8/1/2022     Secured: $0.00
        LATOYA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25350   PLUMLEY, MARIE                   8095    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25351   PLUMLEY, MARIE Laredo, LLC       13845   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25352   PLUMLEY, MARIE                   19592   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25353   PLUMLEY, MARIE                   25326   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3666 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25354   PLUMLEY, MARIE                   31086   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMMER JR,      Barney Davis,
25355                                    5260    8/1/2022     Secured: $0.00
        ROY              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMMER JR,
25356                    Laredo, LLC     11010   8/1/2022     Secured: $0.00
        ROY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMMER JR,      Nueces Bay,
25357                                    16757   8/1/2022     Secured: $0.00
        ROY              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMMER JR,      Talen Texas
25358                                    22502   8/1/2022     Secured: $0.00
        ROY              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMMER JR,      Talen Texas,
25359                                    28251   8/1/2022     Secured: $0.00
        ROY              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PLUMMER,         Barney Davis,
25360                                    9304    8/1/2022     Secured: $0.00
        NAKEYA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3667 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PLUMMER,
25361                  Laredo, LLC     15054   8/1/2022     Secured: $0.00
        NAKEYA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PLUMMER,       Nueces Bay,
25362                                  20801   8/1/2022     Secured: $0.00
        NAKEYA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PLUMMER,       Talen Texas
25363                                  26533   8/1/2022     Secured: $0.00
        NAKEYA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PLUMMER,       Talen Texas,
25364                                  32295   8/1/2022     Secured: $0.00
        NAKEYA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25365   POCH, SHERI                    8822    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25366   POCH, SHERI    Laredo, LLC     14572   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25367   POCH, SHERI                    20319   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3668 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25368   POCH, SHERI                    26051   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25369   POCH, SHERI                    31813   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POELINITZ,     Barney Davis,
25370                                  3930    8/1/2022     Secured: $0.00
        ANIYAH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POELINITZ,
25371                  Laredo, LLC     9680    8/1/2022     Secured: $0.00
        ANIYAH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POELINITZ,     Nueces Bay,
25372                                  15427   8/1/2022     Secured: $0.00
        ANIYAH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POELINITZ,     Talen Texas
25373                                  21173   8/1/2022     Secured: $0.00
        ANIYAH         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POELINITZ,     Talen Texas,
25374                                  26921   8/1/2022     Secured: $0.00
        ANIYAH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3669 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25375   POHLMAN, GARY                   7269    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25376   POHLMAN, GARY Laredo, LLC       13019   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25377   POHLMAN, GARY                   18766   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25378   POHLMAN, GARY                   24500   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25379   POHLMAN, GARY                   30260   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25380   POI, JONATHAN                   3834    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25381   POI, JONATHAN   Laredo, LLC     9584    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3670 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25382   POI, JONATHAN                   15331   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25383   POI, JONATHAN                   21078   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25384   POI, JONATHAN                   26825   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POLENDO,
25385                   Laredo, LLC     33043   8/1/2022     Secured: $0.00
        AMPARO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POLENDO,        Barney Davis,
25386                                   34034   8/1/2022     Secured: $0.00
        AMPARO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POLENDO,        Nueces Bay,
25387                                   35025   8/1/2022     Secured: $0.00
        AMPARO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POLENDO,        Talen Texas
25388                                   36016   8/1/2022     Secured: $0.00
        AMPARO          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3671 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POLENDO,        Talen Texas,
25389                                   37005   8/1/2022     Secured: $0.00
        AMPARO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25390   POLES, DEVONA                   7023    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25391   POLES, DEVONA   Laredo, LLC     12773   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25392   POLES, DEVONA                   18520   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25393   POLES, DEVONA                   24254   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25394   POLES, DEVONA                   30014   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25395   POLK, KIM                       4386    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3672 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25396   POLK, KIM         Laredo, LLC     10136   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25397   POLK, KIM                         15883   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25398   POLK, KIM                         21629   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25399   POLK, KIM                         27377   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25400   POLLACK, CHERYL                   6728    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25401   POLLACK, CHERYL Laredo, LLC       12478   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25402   POLLACK, CHERYL                   18225   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3673 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25403   POLLACK, CHERYL                   23959   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25404   POLLACK, CHERYL                   29719   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25405   POLLAK, MICHAEL                   4515    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25406   POLLAK, MICHAEL Laredo, LLC       10265   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25407   POLLAK, MICHAEL                   16012   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25408   POLLAK, MICHAEL                   21758   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25409   POLLAK, MICHAEL                   27506   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3674 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLARD,      Barney Davis,
25410                                 3631    8/1/2022     Secured: $0.00
        NATASHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLARD,
25411                 Laredo, LLC     9381    8/1/2022     Secured: $0.00
        NATASHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLARD,      Nueces Bay,
25412                                 15128   8/1/2022     Secured: $0.00
        NATASHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLARD,      Talen Texas
25413                                 20875   8/1/2022     Secured: $0.00
        NATASHA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLARD,      Talen Texas,
25414                                 26622   8/1/2022     Secured: $0.00
        NATASHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLINS,      Barney Davis,
25415                                 5600    8/1/2022     Secured: $0.00
        GENETTIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        POLLINS,
25416                 Laredo, LLC     11350   8/1/2022     Secured: $0.00
        GENETTIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3675 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POLLINS,       Nueces Bay,
25417                                  17097   8/1/2022     Secured: $0.00
        GENETTIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POLLINS,       Talen Texas
25418                                  22842   8/1/2022     Secured: $0.00
        GENETTIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POLLINS,       Talen Texas,
25419                                  28591   8/1/2022     Secured: $0.00
        GENETTIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25420   POLLY, JOHN                    7624    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25421   POLLY, JOHN    Laredo, LLC     13374   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25422   POLLY, JOHN                    19121   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25423   POLLY, JOHN                    24855   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3676 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25424   POLLY, JOHN                      30615   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25425   POLYDOR, SONYA                   8860    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25426   POLYDOR, SONYA Laredo, LLC       14610   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25427   POLYDOR, SONYA                   20357   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25428   POLYDOR, SONYA                   26089   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25429   POLYDOR, SONYA                   31851   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        POMEROY,         Barney Davis,
25430                                    6644    8/1/2022     Secured: $0.00
        CARLOS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3677 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POMEROY,
25431                   Laredo, LLC    12394   8/1/2022     Secured: $0.00
        CARLOS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POMEROY,        Nueces Bay,
25432                                  18141   8/1/2022     Secured: $0.00
        CARLOS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POMEROY,        Talen Texas
25433                                  23875   8/1/2022     Secured: $0.00
        CARLOS          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        POMEROY,        Talen Texas,
25434                                  29635   8/1/2022     Secured: $0.00
        CARLOS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PONCE DE LEON, Barney Davis,
25435                                  3916    8/1/2022     Secured: $0.00
        ALVIN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PONCE DE LEON,
25436                  Laredo, LLC     9666    8/1/2022     Secured: $0.00
        ALVIN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PONCE DE LEON, Nueces Bay,
25437                                  15413   8/1/2022     Secured: $0.00
        ALVIN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3678 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PONCE DE LEON, Talen Texas
25438                                   21160   8/1/2022     Secured: $0.00
        ALVIN          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PONCE DE LEON, Talen Texas,
25439                                   26907   8/1/2022     Secured: $0.00
        ALVIN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25440   POOL, JOHN                      7625    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25441   POOL, JOHN      Laredo, LLC     13375   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25442   POOL, JOHN                      19122   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25443   POOL, JOHN                      24856   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25444   POOL, JOHN                      30616   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3679 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25445   POOLE, EDWARD                   7134    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25446   POOLE, EDWARD Laredo, LLC       12884   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25447   POOLE, EDWARD                   18631   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25448   POOLE, EDWARD                   24365   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25449   POOLE, EDWARD                   30125   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25450   POOLE, GAYLEN                   7280    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25451   POOLE, GAYLEN   Laredo, LLC     13030   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3680 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25452   POOLE, GAYLEN                   18777   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25453   POOLE, GAYLEN                   24511   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25454   POOLE, GAYLEN                   30271   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25455   POOLE, JOE                      3754    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25456   POOLE, JOE      Laredo, LLC     9504    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25457   POOLE, JOE                      15251   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25458   POOLE, JOE                      20998   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3681 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25459   POOLE, JOE                       26745   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25460   PORCH, MELINDA                   8198    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25461   PORCH, MELINDA Laredo, LLC       13948   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25462   PORCH, MELINDA                   19695   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25463   PORCH, MELINDA                   25429   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25464   PORCH, MELINDA                   31189   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
        PORCHETTE                                             503(b)(9): $0.00
        CARAWAY,                                              Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
25465   AND AS HEIR OF                   5401    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DYNASTY OSHAY
        KIRBY                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3682 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
        PORCHETTE                                             503(b)(9): $0.00
        CARAWAY,                                              Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
25466   AND AS HEIR OF   Laredo, LLC     11151   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DYNASTY OSHAY
        KIRBY                                                 Total: $0.00 + Unliquidated
        PORCHETTE                                             503(b)(9): $0.00
        CARAWAY,                                              Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
25467   AND AS HEIR OF                   16898   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DYNASTY OSHAY
        KIRBY                                                 Total: $0.00 + Unliquidated
        PORCHETTE                                             503(b)(9): $0.00
        CARAWAY,                                              Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
25468   AND AS HEIR OF                   22643   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DYNASTY OSHAY
        KIRBY                                                 Total: $0.00 + Unliquidated
        PORCHETTE                                             503(b)(9): $0.00
        CARAWAY,                                              Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
25469   AND AS HEIR OF                   28392   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DYNASTY OSHAY
        KIRBY                                                 Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25470   PORRAZ, MIGUEL                   8258    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25471   PORRAZ, MIGUEL Laredo, LLC       14008   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25472   PORRAZ, MIGUEL                   19755   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3683 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25473   PORRAZ, MIGUEL                    25489   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25474   PORRAZ, MIGUEL                    31249   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25475   PORTEE, TRAYTON                   6203    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25476   PORTEE, TRAYTON Laredo, LLC       11953   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25477   PORTEE, TRAYTON                   17700   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25478   PORTEE, TRAYTON                   23445   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25479   PORTEE, TRAYTON                   29194   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3684 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,       Barney Davis,
25480                                 6356    8/1/2022     Secured: $0.00
        AMANDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,
25481                 Laredo, LLC     12106   8/1/2022     Secured: $0.00
        AMANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,       Nueces Bay,
25482                                 17853   8/1/2022     Secured: $0.00
        AMANDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,       Talen Texas
25483                                 23588   8/1/2022     Secured: $0.00
        AMANDA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,       Talen Texas,
25484                                 29347   8/1/2022     Secured: $0.00
        AMANDA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,       Barney Davis,
25485                                 6690    8/1/2022     Secured: $0.00
        CHARLENE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        PORTER,
25486                 Laredo, LLC     12440   8/1/2022     Secured: $0.00
        CHARLENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3685 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Nueces Bay,
25487                                     18187   8/1/2022     Secured: $0.00
        CHARLENE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Talen Texas
25488                                     23921   8/1/2022     Secured: $0.00
        CHARLENE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Talen Texas,
25489                                     29681   8/1/2022     Secured: $0.00
        CHARLENE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25490   PORTER, DEZAREE                   5780    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25491   PORTER, DEZAREE Laredo, LLC       11530   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25492   PORTER, DEZAREE                   17277   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25493   PORTER, DEZAREE                   23022   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3686 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25494   PORTER, DEZAREE                   28771   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25495   PORTER, IRENE                     7394    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25496   PORTER, IRENE     Laredo, LLC     13144   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25497   PORTER, IRENE                     18891   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25498   PORTER, IRENE                     24625   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25499   PORTER, IRENE                     30385   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Barney Davis,
25500                                     7816    8/1/2022     Secured: $0.00
        KENNETH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3687 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,
25501                     Laredo, LLC     13566   8/1/2022     Secured: $0.00
        KENNETH
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Nueces Bay,
25502                                     19313   8/1/2022     Secured: $0.00
        KENNETH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Talen Texas
25503                                     25047   8/1/2022     Secured: $0.00
        KENNETH           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PORTER,           Talen Texas,
25504                                     30807   8/1/2022     Secured: $0.00
        KENNETH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25505   PORTER, REBECCA                   9311    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25506   PORTER, REBECCA Laredo, LLC       15061   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25507   PORTER, REBECCA                   20808   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3688 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25508   PORTER, REBECCA                   26540   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25509   PORTER, REBECCA                   32302   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25510   POST, MICHAEL                     3605    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25511   POST, MICHAEL     Laredo, LLC     9355    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25512   POST, MICHAEL                     15102   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25513   POST, MICHAEL                     20849   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25514   POST, MICHAEL                     26596   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3689 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        POTOCKI,           Barney Davis,
25515                                      4516    8/1/2022     Secured: $0.00
        MICHAEL            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        POTOCKI,
25516                      Laredo, LLC     10266   8/1/2022     Secured: $0.00
        MICHAEL
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        POTOCKI,           Nueces Bay,
25517                                      16013   8/1/2022     Secured: $0.00
        MICHAEL            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        POTOCKI,           Talen Texas
25518                                      21759   8/1/2022     Secured: $0.00
        MICHAEL            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        POTOCKI,           Talen Texas,
25519                                      27507   8/1/2022     Secured: $0.00
        MICHAEL            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25520   POTTER, CHRISTIE                   5539    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25521   POTTER, CHRISTIE Laredo, LLC       11289   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3690 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25522   POTTER, CHRISTIE                   17036   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25523   POTTER, CHRISTIE                   22781   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25524   POTTER, CHRISTIE                   28530   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25525   POULAIN, MARC                      8056    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25526   POULAIN, MARC      Laredo, LLC     13806   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25527   POULAIN, MARC                      19553   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25528   POULAIN, MARC                      25287   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3691 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25529   POULAIN, MARC                   31047   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25530   POWELL, IYSHA                   7411    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25531   POWELL, IYSHA   Laredo, LLC     13161   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25532   POWELL, IYSHA                   18908   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25533   POWELL, IYSHA                   24642   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25534   POWELL, IYSHA                   30402   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25535   POWELL, JARED                   5013    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3692 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25536   POWELL, JARED   Laredo, LLC     10763   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25537   POWELL, JARED                   16510   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25538   POWELL, JARED                   22255   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25539   POWELL, JARED                   28004   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25540   POWELL, JOANN                   7582    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25541   POWELL, JOANN   Laredo, LLC     13332   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25542   POWELL, JOANN                   19079   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3693 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25543   POWELL, JOANN                   24813   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25544   POWELL, JOANN                   30573   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25545   POWELL, KAYLA                   5611    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25546   POWELL, KAYLA   Laredo, LLC     11361   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25547   POWELL, KAYLA                   17108   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25548   POWELL, KAYLA                   22853   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25549   POWELL, KAYLA                   28602   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3694 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25550   POWELL, NAOMI                   8313    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25551   POWELL, NAOMI Laredo, LLC       14063   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25552   POWELL, NAOMI                   19810   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25553   POWELL, NAOMI                   25544   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25554   POWELL, NAOMI                   31304   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POWERS,         Barney Davis,
25555                                   3679    8/1/2022     Secured: $0.00
        JERMONT         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        POWERS,
25556                   Laredo, LLC     9429    8/1/2022     Secured: $0.00
        JERMONT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3695 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        POWERS,          Nueces Bay,
25557                                    15176   8/1/2022     Secured: $0.00
        JERMONT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        POWERS,          Talen Texas
25558                                    20923   8/1/2022     Secured: $0.00
        JERMONT          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        POWERS,          Talen Texas,
25559                                    26670   8/1/2022     Secured: $0.00
        JERMONT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25560   PRADO, ROSIE M                   6177    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25561   PRADO, ROSIE M Laredo, LLC       11927   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25562   PRADO, ROSIE M                   17674   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25563   PRADO, ROSIE M                   23419   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3696 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25564   PRADO, ROSIE M                   29168   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25565   PRADO, YOLANDA Laredo, LLC       33044   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25566   PRADO, YOLANDA                   34035   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25567   PRADO, YOLANDA                   35026   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25568   PRADO, YOLANDA                   36017   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25569   PRADO, YOLANDA                   37006   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3697 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        PRAETORIAN                                        Priority: $0.00
                      Nueces Bay,
25570   INSURANCE                     3004   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $13,134,472.18 + Unliquidated

                                                          Total: $13,134,472.18 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        PRAETORIAN                                        Priority: $0.00
                      Barney Davis,
25571   INSURANCE                     3172   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $13,134,472.18 + Unliquidated

                                                          Total: $13,134,472.18 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        PRAETORIAN                                        Priority: $0.00
                      Nueces Bay,
25572   INSURANCE                     3288   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $261,894.32 + Unliquidated

                                                          Total: $261,894.32 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        PRAETORIAN                                        Priority: $0.00
25573   INSURANCE     Laredo, LLC     3360   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $13,134,472.18 + Unliquidated

                                                          Total: $13,134,472.18 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        PRAETORIAN                                        Priority: $0.00
                      Barney Davis,
25574   INSURANCE                     3385   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $261,894.32 + Unliquidated

                                                          Total: $261,894.32 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        PRAETORIAN                                        Priority: $0.00
25575   INSURANCE     Laredo, LLC     3407   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $261,894.32 + Unliquidated

                                                          Total: $261,894.32 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3698 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25576   PRATER, MARK                   5134    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25577   PRATER, MARK   Laredo, LLC     10884   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25578   PRATER, MARK                   16631   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25579   PRATER, MARK                   22376   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25580   PRATER, MARK                   28125   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRATHER,       Barney Davis,
25581                                  5373    8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRATHER,
25582                  Laredo, LLC     11123   8/1/2022     Secured: $0.00
        WILLIAM
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3699 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PRATHER,         Nueces Bay,
25583                                    16870   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PRATHER,         Talen Texas
25584                                    22615   8/1/2022     Secured: $0.00
        WILLIAM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PRATHER,         Talen Texas,
25585                                    28364   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25586   PRATT, ANTHONY                   3937    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25587   PRATT, ANTHONY Laredo, LLC       9687    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25588   PRATT, ANTHONY                   15434   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25589   PRATT, ANTHONY                   21180   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3700 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25590   PRATT, ANTHONY                   26928   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25591   PRATT, BEVERLY                   6514    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25592   PRATT, BEVERLY   Laredo, LLC     12264   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25593   PRATT, BEVERLY                   18011   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25594   PRATT, BEVERLY                   23746   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25595   PRATT, BEVERLY                   29505   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25596   PRATT, CAROLYN Laredo, LLC       33045   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3701 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25597   PRATT, CAROLYN                   34036   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25598   PRATT, CAROLYN                   35027   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25599   PRATT, CAROLYN                   36018   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25600   PRATT, CAROLYN                   37007   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25601   PRATT, CHARLES                   6705    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25602   PRATT, CHARLES   Laredo, LLC     12455   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25603   PRATT, CHARLES                   18202   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3702 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25604   PRATT, CHARLES                   23936   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25605   PRATT, CHARLES                   29696   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25606   PRATT, DAVID                     6934    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25607   PRATT, DAVID     Laredo, LLC     12684   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25608   PRATT, DAVID                     18431   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25609   PRATT, DAVID                     24165   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25610   PRATT, DAVID                     29925   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3703 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25611   PRATT, MICHAEL                   3691    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25612   PRATT, MICHAEL   Laredo, LLC     9441    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25613   PRATT, MICHAEL                   15188   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25614   PRATT, MICHAEL                   20935   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25615   PRATT, MICHAEL                   26682   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        PREFERRED
                                                              Priority: $0.00
        MUTUAL           Barney Davis,
25616                                    2696    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $425.00 + Unliquidated
        COMPANY
                                                              Total: $425.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        PREFERRED
                                                              Priority: $0.00
        MUTUAL           Nueces Bay,
25617                                    2945    7/31/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $425.00 + Unliquidated
        COMPANY
                                                              Total: $425.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3704 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        PREFERRED
                                                               Priority: $0.00
        MUTUAL
25618                     Laredo, LLC     2964    7/31/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $425.00 + Unliquidated
        COMPANY
                                                               Total: $425.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25619   PREK, ALEXANDER                   3906    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25620   PREK, ALEXANDER Laredo, LLC       9656    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25621   PREK, ALEXANDER                   15403   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25622   PREK, ALEXANDER                   21150   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25623   PREK, ALEXANDER                   26897   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25624   PREK, YAZMIN                      4787    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3705 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25625   PREK, YAZMIN   Laredo, LLC     10537   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25626   PREK, YAZMIN                   16284   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25627   PREK, YAZMIN                   22030   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25628   PREK, YAZMIN                   27778   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESSEISEN,    Barney Davis,
25629                                  5046    8/1/2022     Secured: $0.00
        JOSEPH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESSEISEN,
25630                  Laredo, LLC     10796   8/1/2022     Secured: $0.00
        JOSEPH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESSEISEN,    Nueces Bay,
25631                                  16543   8/1/2022     Secured: $0.00
        JOSEPH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3706 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESSEISEN,    Talen Texas
25632                                  22288   8/1/2022     Secured: $0.00
        JOSEPH         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESSEISEN,    Talen Texas,
25633                                  28037   8/1/2022     Secured: $0.00
        JOSEPH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESTON,       Barney Davis,
25634                                  7741    8/1/2022     Secured: $0.00
        KANTRANIESE    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESTON,
25635                  Laredo, LLC     13491   8/1/2022     Secured: $0.00
        KANTRANIESE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESTON,       Nueces Bay,
25636                                  19238   8/1/2022     Secured: $0.00
        KANTRANIESE    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESTON,       Talen Texas
25637                                  24972   8/1/2022     Secured: $0.00
        KANTRANIESE    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRESTON,       Talen Texas,
25638                                  30732   8/1/2022     Secured: $0.00
        KANTRANIESE    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3707 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25639   PRESTON, KAREN                   4356    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25640   PRESTON, KAREN Laredo, LLC       10106   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25641   PRESTON, KAREN                   15853   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25642   PRESTON, KAREN                   21599   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25643   PRESTON, KAREN                   27347   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PRESTON,         Barney Davis,
25644                                    4576    8/1/2022     Secured: $0.00
        PHENEIRA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PRESTON,
25645                    Laredo, LLC     10326   8/1/2022     Secured: $0.00
        PHENEIRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3708 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTON,           Nueces Bay,
25646                                      16073   8/1/2022     Secured: $0.00
        PHENEIRA           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTON,           Talen Texas
25647                                      21819   8/1/2022     Secured: $0.00
        PHENEIRA           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTON,           Talen Texas,
25648                                      27567   8/1/2022     Secured: $0.00
        PHENEIRA           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25649   PRESTON, SHIRLEY                   8840    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
25650   PRESTON, SHIRLEY Laredo, LLC       14590   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
25651   PRESTON, SHIRLEY                   20337   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
25652   PRESTON, SHIRLEY                   26069   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3709 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
25653   PRESTON, SHIRLEY                   31831   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTWOOD,         Barney Davis,
25654                                      5165    8/1/2022     Secured: $0.00
        MONICA             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTWOOD,
25655                      Laredo, LLC     10915   8/1/2022     Secured: $0.00
        MONICA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTWOOD,         Nueces Bay,
25656                                      16662   8/1/2022     Secured: $0.00
        MONICA             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTWOOD,         Talen Texas
25657                                      22407   8/1/2022     Secured: $0.00
        MONICA             Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        PRESTWOOD,         Talen Texas,
25658                                      28156   8/1/2022     Secured: $0.00
        MONICA             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
25659   PRICE, JAMES                       6029    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3710 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25660   PRICE, JAMES   Laredo, LLC     11779   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25661   PRICE, JAMES                   17526   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25662   PRICE, JAMES                   23271   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25663   PRICE, JAMES                   29020   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25664   PRICE, NINA                    5475    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25665   PRICE, NINA    Laredo, LLC     11225   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25666   PRICE, NINA                    16972   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3711 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25667   PRICE, NINA                    22717   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25668   PRICE, NINA                    28466   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRIDEMORE,     Barney Davis,
25669                                  6258    8/1/2022     Secured: $0.00
        MARIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRIDEMORE,
25670                  Laredo, LLC     12008   8/1/2022     Secured: $0.00
        MARIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRIDEMORE,     Nueces Bay,
25671                                  17755   8/1/2022     Secured: $0.00
        MARIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRIDEMORE,     Talen Texas
25672                                  23490   8/1/2022     Secured: $0.00
        MARIA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRIDEMORE,     Talen Texas,
25673                                  29249   8/1/2022     Secured: $0.00
        MARIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3712 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25674   PRIESTER, ABBY                    3900    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25675   PRIESTER, ABBY    Laredo, LLC     9650    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25676   PRIESTER, ABBY                    15397   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25677   PRIESTER, ABBY                    21144   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25678   PRIESTER, ABBY                    26891   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25679   PRIESTLEY, ROSS                   4646    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25680   PRIESTLEY, ROSS   Laredo, LLC     10396   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3713 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25681   PRIESTLEY, ROSS                   16143   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25682   PRIESTLEY, ROSS                   21889   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25683   PRIESTLEY, ROSS                   27637   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PRIMROSE,         Barney Davis,
25684                                     3675    8/1/2022     Secured: $0.00
        JACQUELINE        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PRIMROSE,
25685                     Laredo, LLC     9425    8/1/2022     Secured: $0.00
        JACQUELINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PRIMROSE,         Nueces Bay,
25686                                     15172   8/1/2022     Secured: $0.00
        JACQUELINE        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PRIMROSE,         Talen Texas
25687                                     20919   8/1/2022     Secured: $0.00
        JACQUELINE        Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3714 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        PRIMROSE,         Talen Texas,
25688                                     26666   8/1/2022     Secured: $0.00
        JACQUELINE        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25689   PRINCE, JUSTICE                   4348    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25690   PRINCE, JUSTICE   Laredo, LLC     10098   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25691   PRINCE, JUSTICE                   15845   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25692   PRINCE, JUSTICE                   21591   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25693   PRINCE, JUSTICE                   27339   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25694   PRINCE, KECIA                     7793    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3715 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25695   PRINCE, KECIA    Laredo, LLC     13543   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25696   PRINCE, KECIA                    19290   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25697   PRINCE, KECIA                    25024   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25698   PRINCE, KECIA                    30784   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25699   PRINCE, RACHEL                   8475    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25700   PRINCE, RACHEL   Laredo, LLC     14225   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25701   PRINCE, RACHEL                   19972   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3716 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25702   PRINCE, RACHEL                   25704   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25703   PRINCE, RACHEL                   31466   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        PRINCETON
                                                              Priority: $0.00
        EXCESS AND       Nueces Bay,
25704                                    1081    7/29/2022    Secured: $0.00
        SURPLUS          LLC
                                                              General Unsecured: $27,479,394.70 + Unliquidated
        INSURANCE
                                                              Total: $27,479,394.70 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        PRINCETON
                                                              Priority: $0.00
        EXCESS AND       Barney Davis,
25705                                    1360    7/29/2022    Secured: $0.00
        SURPLUS          LLC
                                                              General Unsecured: $27,479,394.70 + Unliquidated
        INSURANCE
                                                              Total: $27,479,394.70 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        PRINCETON
                                                              Priority: $0.00
        EXCESS AND
25706                    Laredo, LLC     1410    7/28/2022    Secured: $0.00
        SURPLUS
                                                              General Unsecured: $27,479,394.70 + Unliquidated
        INSURANCE
                                                              Total: $27,479,394.70 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        PRIORITY ONE                                          Priority: $0.00
25707   INSURANCE        Laredo, LLC     1625    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3717 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PRIORITY ONE                                        Priority: $0.00
                        Nueces Bay,
25708   INSURANCE                       1728   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PRIORITY ONE                                        Priority: $0.00
                        Barney Davis,
25709   INSURANCE                       1759   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PRIVILEGE
                                                            Priority: $0.00
        UNDERWRITERS
25710                   Laredo, LLC     1542   7/29/2022    Secured: $0.00
        RECIPROCAL
                                                            General Unsecured: $143,980,598.10 + Unliquidated
        EXCHANGE
                                                            Total: $143,980,598.10 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PRIVILEGE
                                                            Priority: $0.00
        UNDERWRITERS    Barney Davis,
25711                                   1932   7/29/2022    Secured: $0.00
        RECIPROCAL      LLC
                                                            General Unsecured: $143,980,598.10 + Unliquidated
        EXCHANGE
                                                            Total: $143,980,598.10 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PRIVILEGE
                                                            Priority: $0.00
        UNDERWRITERS    Nueces Bay,
25712                                   2260   7/29/2022    Secured: $0.00
        RECIPROCAL      LLC
                                                            General Unsecured: $143,980,598.10 + Unliquidated
        EXCHANGE
                                                            Total: $143,980,598.10 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        PRO TOUCH       Barney Davis,
25713                                   5940   8/1/2022     Secured: $0.00
        LOGISTICS LLC   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3718 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PRO TOUCH
25714                   Laredo, LLC     11690   8/1/2022     Secured: $0.00
        LOGISTICS LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PRO TOUCH       Nueces Bay,
25715                                   17437   8/1/2022     Secured: $0.00
        LOGISTICS LLC   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PRO TOUCH       Talen Texas
25716                                   23182   8/1/2022     Secured: $0.00
        LOGISTICS LLC   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        PRO TOUCH       Talen Texas,
25717                                   28931   8/1/2022     Secured: $0.00
        LOGISTICS LLC   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        PROGRESSIVE
                                                             Priority: $0.00
        CASUALTY        Barney Davis,
25718                                   2633    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $454,456.39 + Unliquidated
        COMPANY
                                                             Total: $454,456.39 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        PROGRESSIVE
                                                             Priority: $0.00
        CASUALTY
25719                   Laredo, LLC     2655    7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $454,456.39 + Unliquidated
        COMPANY
                                                             Total: $454,456.39 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        PROGRESSIVE
                                                             Priority: $0.00
        CASUALTY        Nueces Bay,
25720                                   2708    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $454,456.39 + Unliquidated
        COMPANY
                                                             Total: $454,456.39 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3719 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
        PROGRESSIVE                                         503(b)(9): $0.00
        PROPERTY                                            Other Administrative: $0.00
        INSURANCE                                           Priority: $0.00
                        Barney Davis,
25721   COMPANY F/K/A                   2299   8/1/2022     Secured: $0.00
                        LLC
        ARK ROYAL                                           General Unsecured: $218,525.95 + Unliquidated
        INSURANCE
        COMPANY                                             Total: $218,525.95 + Unliquidated
        PROGRESSIVE                                         503(b)(9): $0.00
        PROPERTY                                            Other Administrative: $0.00
        INSURANCE                                           Priority: $0.00
25722   COMPANY F/K/A   Laredo, LLC     2594   8/1/2022     Secured: $0.00
        ARK ROYAL                                           General Unsecured: $218,525.95 + Unliquidated
        INSURANCE
        COMPANY                                             Total: $218,525.95 + Unliquidated
        PROGRESSIVE                                         503(b)(9): $0.00
        PROPERTY                                            Other Administrative: $0.00
        INSURANCE                                           Priority: $0.00
                        Nueces Bay,
25723   COMPANY F/K/A                   2693   8/1/2022     Secured: $0.00
                        LLC
        ARK ROYAL                                           General Unsecured: $218,525.95 + Unliquidated
        INSURANCE
        COMPANY                                             Total: $218,525.95 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PROPERTY AND
                                                            Priority: $0.00
        CASUALTY        Nueces Bay,
25724                                   2917   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $5,309,899.34 + Unliquidated
        HARTFORD
                                                            Total: $5,309,899.34 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PROPERTY AND
                                                            Priority: $0.00
        CASUALTY
25725                   Laredo, LLC     3030   8/1/2022     Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $5,309,899.34 + Unliquidated
        HARTFORD
                                                            Total: $5,309,899.34 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PROPERTY AND
                                                            Priority: $0.00
        CASUALTY        Barney Davis,
25726                                   3289   8/1/2022     Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $5,309,899.34 + Unliquidated
        HARTFORD
                                                            Total: $5,309,899.34 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PROPERTY
                                                            Priority: $0.00
        CASAULTY        Nueces Bay,
25727                                   2554   7/31/2022    Secured: $0.00
        ALLIANCE OF     LLC
                                                            General Unsecured: $18,305.00 + Unliquidated
        TEXAS
                                                            Total: $18,305.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3720 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PROPERTY
                                                            Priority: $0.00
        CASAULTY       Barney Davis,
25728                                  2882    7/31/2022    Secured: $0.00
        ALLIANCE OF    LLC
                                                            General Unsecured: $18,305.00 + Unliquidated
        TEXAS
                                                            Total: $18,305.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        PROPERTY
                                                            Priority: $0.00
        CASAULTY
25729                  Laredo, LLC     2977    7/31/2022    Secured: $0.00
        ALLIANCE OF
                                                            General Unsecured: $18,305.00 + Unliquidated
        TEXAS
                                                            Total: $18,305.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25730   PROUTY, EVE                    7214    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25731   PROUTY, EVE    Laredo, LLC     12964   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25732   PROUTY, EVE                    18711   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25733   PROUTY, EVE                    24445   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25734   PROUTY, EVE                    30205   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3721 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25735   PROVENCE, TONI                   9038    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25736   PROVENCE, TONI Laredo, LLC       14788   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25737   PROVENCE, TONI                   20535   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25738   PROVENCE, TONI                   26267   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25739   PROVENCE, TONI                   32029   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25740   PRYOR, PAULA     Laredo, LLC     33046   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25741   PRYOR, PAULA                     34037   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3722 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25742   PRYOR, PAULA                   35028   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25743   PRYOR, PAULA                   36019   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25744   PRYOR, PAULA                   37008   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
25745   PUCEK, RON                     8662    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25746   PUCEK, RON     Laredo, LLC     14412   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25747   PUCEK, RON                     20159   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25748   PUCEK, RON                     25891   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3723 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25749   PUCEK, RON                       31653   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PUENTE,
25750                    Laredo, LLC     33047   8/1/2022     Secured: $0.00
        MIRANDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PUENTE,          Barney Davis,
25751                                    34038   8/1/2022     Secured: $0.00
        MIRANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PUENTE,          Nueces Bay,
25752                                    35029   8/1/2022     Secured: $0.00
        MIRANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PUENTE,          Talen Texas
25753                                    36020   8/1/2022     Secured: $0.00
        MIRANDA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        PUENTE,          Talen Texas,
25754                                    37009   8/1/2022     Secured: $0.00
        MIRANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25755   PUGA, CRISTINA   Laredo, LLC     33048   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3724 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25756   PUGA, CRISTINA                   34039   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25757   PUGA, CRISTINA                   35030   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25758   PUGA, CRISTINA                   36021   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25759   PUGA, CRISTINA                   37010   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25760   PULLINS, GAVIN                   7274    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25761   PULLINS, GAVIN   Laredo, LLC     13024   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25762   PULLINS, GAVIN                   18771   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3725 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25763   PULLINS, GAVIN                   24505   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25764   PULLINS, GAVIN                   30265   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25765   PULSE, JOYCE                     7691    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25766   PULSE, JOYCE     Laredo, LLC     13441   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25767   PULSE, JOYCE                     19188   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25768   PULSE, JOYCE                     24922   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25769   PULSE, JOYCE                     30682   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3726 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25770   PURDY, DALLAS                   4075    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25771   PURDY, DALLAS   Laredo, LLC     9825    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25772   PURDY, DALLAS                   15572   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25773   PURDY, DALLAS                   21318   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25774   PURDY, DALLAS                   27066   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25775   PURGETT, LORI                   8015    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25776   PURGETT, LORI   Laredo, LLC     13765   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3727 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25777   PURGETT, LORI                   19512   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25778   PURGETT, LORI                   25246   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25779   PURGETT, LORI                   31006   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25780   PURTTY, KISHA                   6146    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25781   PURTTY, KISHA   Laredo, LLC     11896   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25782   PURTTY, KISHA                   17643   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25783   PURTTY, KISHA                   23388   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3728 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25784   PURTTY, KISHA                    29137   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25785   PYTELL, ROBERT                   8616    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25786   PYTELL, ROBERT   Laredo, LLC     14366   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25787   PYTELL, ROBERT                   20113   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25788   PYTELL, ROBERT                   25845   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25789   PYTELL, ROBERT                   31607   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        QBE INSURANCE    Nueces Bay,
25790                                    2283    8/1/2022     Secured: $0.00
        CORPORATION      LLC
                                                              General Unsecured: $1,300,451.23 + Unliquidated

                                                              Total: $1,300,451.23 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3729 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QBE INSURANCE   Barney Davis,
25791                                   2410   8/1/2022     Secured: $0.00
        CORPORATION     LLC
                                                            General Unsecured: $1,300,451.23 + Unliquidated

                                                            Total: $1,300,451.23 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QBE INSURANCE
25792                   Laredo, LLC     2883   8/1/2022     Secured: $0.00
        CORPORATION
                                                            General Unsecured: $503,803.82 + Unliquidated

                                                            Total: $503,803.82 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QBE INSURANCE   Barney Davis,
25793                                   2940   8/1/2022     Secured: $0.00
        CORPORATION     LLC
                                                            General Unsecured: $503,803.82 + Unliquidated

                                                            Total: $503,803.82 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QBE INSURANCE   Nueces Bay,
25794                                   2948   8/1/2022     Secured: $0.00
        CORPORATION     LLC
                                                            General Unsecured: $503,803.82 + Unliquidated

                                                            Total: $503,803.82 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QBE INSURANCE
25795                   Laredo, LLC     3111   8/1/2022     Secured: $0.00
        CORPORATION
                                                            General Unsecured: $1,300,451.23 + Unliquidated

                                                            Total: $1,300,451.23 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
                        Barney Davis,
25796   INSURANCE                       1079   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $61,296.86 + Unliquidated

                                                            Total: $61,296.86 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
                        Nueces Bay,
25797   INSURANCE                       1512   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $61,296.86 + Unliquidated

                                                            Total: $61,296.86 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3730 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
25798   INSURANCE       Laredo, LLC     1727   7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $61,296.86 + Unliquidated

                                                            Total: $61,296.86 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
                        Barney Davis,
25799   INSURANCE                       2412   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $17,190,965.23 + Unliquidated

                                                            Total: $17,190,965.23 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
                        Barney Davis,
25800   INSURANCE                       2783   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
25801   INSURANCE       Laredo, LLC     2784   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
                        Nueces Bay,
25802   INSURANCE                       2862   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $198,152,103.43 + Unliquidated

                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        QBE SPECIALTY                                       Priority: $0.00
25803   INSURANCE       Laredo, LLC     2902   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $37,912,758.22 + Unliquidated

                                                            Total: $37,912,758.22 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3731 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        QBE SPECIALTY                                        Priority: $0.00
                        Barney Davis,
25804   INSURANCE                       2944    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $37,912,758.22 + Unliquidated

                                                             Total: $37,912,758.22 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        QBE SPECIALTY                                        Priority: $0.00
                        Nueces Bay,
25805   INSURANCE                       2991    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $37,912,758.22 + Unliquidated

                                                             Total: $37,912,758.22 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        QBE SPECIALTY                                        Priority: $0.00
25806   INSURANCE       Laredo, LLC     2994    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $17,190,965.23 + Unliquidated

                                                             Total: $17,190,965.23 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        QBE SPECIALTY                                        Priority: $0.00
                        Nueces Bay,
25807   INSURANCE                       3005    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $17,190,965.23 + Unliquidated

                                                             Total: $17,190,965.23 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUALLS,         Barney Davis,
25808                                   6597    8/1/2022     Secured: $0.00
        BRITTANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUALLS,
25809                   Laredo, LLC     12347   8/1/2022     Secured: $0.00
        BRITTANY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3732 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,       Nueces Bay,
25810                                 18094   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,       Talen Texas
25811                                 23828   8/1/2022     Secured: $0.00
        BRITTANY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,       Talen Texas,
25812                                 29588   8/1/2022     Secured: $0.00
        BRITTANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,       Barney Davis,
25813                                 4757    8/1/2022     Secured: $0.00
        TRUESNIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,
25814                 Laredo, LLC     10507   8/1/2022     Secured: $0.00
        TRUESNIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,       Nueces Bay,
25815                                 16254   8/1/2022     Secured: $0.00
        TRUESNIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        QUALLS,       Talen Texas
25816                                 22000   8/1/2022     Secured: $0.00
        TRUESNIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3733 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        QUALLS,          Talen Texas,
25817                                    27748   8/1/2022     Secured: $0.00
        TRUESNIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25818   QUARLES, SCOTT                   3706    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25819   QUARLES, SCOTT Laredo, LLC       9456    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25820   QUARLES, SCOTT                   15203   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25821   QUARLES, SCOTT                   20950   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25822   QUARLES, SCOTT                   26697   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        QUARTEY,         Barney Davis,
25823                                    5820    8/1/2022     Secured: $0.00
        KHALFANI         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3734 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUARTEY,
25824                   Laredo, LLC     11570   8/1/2022     Secured: $0.00
        KHALFANI
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUARTEY,        Nueces Bay,
25825                                   17317   8/1/2022     Secured: $0.00
        KHALFANI        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUARTEY,        Talen Texas
25826                                   23062   8/1/2022     Secured: $0.00
        KHALFANI        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUARTEY,        Talen Texas,
25827                                   28811   8/1/2022     Secured: $0.00
        KHALFANI        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25828   QUICK, BRANDI                   4865    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25829   QUICK, BRANDI   Laredo, LLC     10615   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25830   QUICK, BRANDI                   16362   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3735 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25831   QUICK, BRANDI                   22108   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25832   QUICK, BRANDI                   27856   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25833   QUICK, ROBERT                   5245    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25834   QUICK, ROBERT   Laredo, LLC     10995   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25835   QUICK, ROBERT                   16742   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25836   QUICK, ROBERT                   22487   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25837   QUICK, ROBERT                   28236   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3736 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUICKSALL,        Barney Davis,
25838                                     6571    8/1/2022     Secured: $0.00
        BRENDA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUICKSALL,
25839                     Laredo, LLC     12321   8/1/2022     Secured: $0.00
        BRENDA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUICKSALL,        Nueces Bay,
25840                                     18068   8/1/2022     Secured: $0.00
        BRENDA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUICKSALL,        Talen Texas
25841                                     23803   8/1/2022     Secured: $0.00
        BRENDA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUICKSALL,        Talen Texas,
25842                                     29562   8/1/2022     Secured: $0.00
        BRENDA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25843   QUIJANO, VICTOR                   4769    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25844   QUIJANO, VICTOR Laredo, LLC       10519   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3737 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25845   QUIJANO, VICTOR                   16266   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25846   QUIJANO, VICTOR                   22012   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25847   QUIJANO, VICTOR                   27760   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINAN,           Barney Davis,
25848                                     6161    8/1/2022     Secured: $0.00
        MOQUITA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINAN,
25849                     Laredo, LLC     11911   8/1/2022     Secured: $0.00
        MOQUITA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINAN,           Nueces Bay,
25850                                     17658   8/1/2022     Secured: $0.00
        MOQUITA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINAN,           Talen Texas
25851                                     23403   8/1/2022     Secured: $0.00
        MOQUITA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3738 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINAN,        Talen Texas,
25852                                  29152   8/1/2022     Secured: $0.00
        MOQUITA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINTANA,
25853                  Laredo, LLC     33049   8/1/2022     Secured: $0.00
        PEDRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINTANA,      Barney Davis,
25854                                  34040   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINTANA,      Nueces Bay,
25855                                  35031   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINTANA,      Talen Texas
25856                                  36022   8/1/2022     Secured: $0.00
        PEDRO          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINTANA,      Talen Texas,
25857                                  37011   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        QUINTANILLA,   Barney Davis,
25858                                  7052    8/1/2022     Secured: $0.00
        DOLORES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3739 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTANILLA,
25859                     Laredo, LLC     12802   8/1/2022     Secured: $0.00
        DOLORES
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTANILLA,      Nueces Bay,
25860                                     18549   8/1/2022     Secured: $0.00
        DOLORES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTANILLA,      Talen Texas
25861                                     24283   8/1/2022     Secured: $0.00
        DOLORES           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTANILLA,      Talen Texas,
25862                                     30043   8/1/2022     Secured: $0.00
        DOLORES           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25863   QUINTERO, APRIL Laredo, LLC       33050   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25864   QUINTERO, APRIL                   34041   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25865   QUINTERO, APRIL                   35032   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3740 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25866   QUINTERO, APRIL                   36023   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25867   QUINTERO, APRIL                   37012   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTERO,
25868                     Laredo, LLC     33051   8/1/2022     Secured: $0.00
        ARTURO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTERO,         Barney Davis,
25869                                     34042   8/1/2022     Secured: $0.00
        ARTURO            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTERO,         Nueces Bay,
25870                                     35033   8/1/2022     Secured: $0.00
        ARTURO            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTERO,         Talen Texas
25871                                     36024   8/1/2022     Secured: $0.00
        ARTURO            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        QUINTERO,         Talen Texas,
25872                                     37013   8/1/2022     Secured: $0.00
        ARTURO            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3741 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUINTEROS,      Barney Davis,
25873                                   6184    8/1/2022     Secured: $0.00
        SANTOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUINTEROS,
25874                   Laredo, LLC     11934   8/1/2022     Secured: $0.00
        SANTOS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUINTEROS,      Nueces Bay,
25875                                   17681   8/1/2022     Secured: $0.00
        SANTOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUINTEROS,      Talen Texas
25876                                   23426   8/1/2022     Secured: $0.00
        SANTOS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        QUINTEROS,      Talen Texas,
25877                                   29175   8/1/2022     Secured: $0.00
        SANTOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25878   QUIROZ, FRANK                   7248    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25879   QUIROZ, FRANK   Laredo, LLC     12998   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3742 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25880   QUIROZ, FRANK                   18745   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25881   QUIROZ, FRANK                   24479   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25882   QUIROZ, FRANK                   30239   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25883   QUIROZ, JOSE                    3601    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25884   QUIROZ, JOSE    Laredo, LLC     9351    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25885   QUIROZ, JOSE                    15098   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25886   QUIROZ, JOSE                    20845   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3743 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25887   QUIROZ, JOSE                      26592   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        R&Q MANAGING Barney Davis,
25888                                     2570    7/31/2022    Secured: $0.00
        AGENCY LIMITED LLC
                                                               General Unsecured: $1,193,500.66 + Unliquidated

                                                               Total: $1,193,500.66 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        R&Q MANAGING
25889                  Laredo, LLC        2765    7/31/2022    Secured: $0.00
        AGENCY LIMITED
                                                               General Unsecured: $1,193,500.66 + Unliquidated

                                                               Total: $1,193,500.66 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        R&Q MANAGING Nueces Bay,
25890                                     2853    7/31/2022    Secured: $0.00
        AGENCY LIMITED LLC
                                                               General Unsecured: $1,193,500.66 + Unliquidated

                                                               Total: $1,193,500.66 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        R4SALES, L.L.C.                                        Priority: $0.00
                          Barney Davis,
25891   DBA THE SIGN                      5660    8/1/2022     Secured: $0.00
                          LLC
        DEPOT                                                  General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        R4SALES, L.L.C.                                        Priority: $0.00
25892   DBA THE SIGN      Laredo, LLC     11410   8/1/2022     Secured: $0.00
        DEPOT                                                  General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        R4SALES, L.L.C.                                        Priority: $0.00
                          Nueces Bay,
25893   DBA THE SIGN                      17157   8/1/2022     Secured: $0.00
                          LLC
        DEPOT                                                  General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3744 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        R4SALES, L.L.C.                                        Priority: $0.00
                          Talen Texas
25894   DBA THE SIGN                      22902   8/1/2022     Secured: $0.00
                          Group, LLC
        DEPOT                                                  General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        R4SALES, L.L.C.                                        Priority: $0.00
                          Talen Texas,
25895   DBA THE SIGN                      28651   8/1/2022     Secured: $0.00
                          LLC
        DEPOT                                                  General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25896   RAASCH, WAYNE Laredo, LLC         33052   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25897   RAASCH, WAYNE                     34043   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25898   RAASCH, WAYNE                     35034   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25899   RAASCH, WAYNE                     36025   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25900   RAASCH, WAYNE                     37014   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3745 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25901   RACH, RUSSELL                    8703    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25902   RACH, RUSSELL    Laredo, LLC     14453   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25903   RACH, RUSSELL                    20200   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25904   RACH, RUSSELL                    25932   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25905   RACH, RUSSELL                    31694   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        RADFORD LYNCH                                         Priority: $0.00
                        Barney Davis,
25906   ON BEHALF OF                     8476    8/1/2022     Secured: $0.00
                        LLC
        BILLIE JO LYNCH                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        RADFORD LYNCH                                         Priority: $0.00
25907   ON BEHALF OF    Laredo, LLC      14226   8/1/2022     Secured: $0.00
        BILLIE JO LYNCH                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3746 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        RADFORD LYNCH                                         Priority: $0.00
                        Nueces Bay,
25908   ON BEHALF OF                     19973   8/1/2022     Secured: $0.00
                        LLC
        BILLIE JO LYNCH                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        RADFORD LYNCH                                         Priority: $0.00
                        Talen Texas
25909   ON BEHALF OF                     25705   8/1/2022     Secured: $0.00
                        Group, LLC
        BILLIE JO LYNCH                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        RADFORD LYNCH                                         Priority: $0.00
                        Talen Texas,
25910   ON BEHALF OF                     31467   8/1/2022     Secured: $0.00
                        LLC
        BILLIE JO LYNCH                                       General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RADFORD,         Barney Davis,
25911                                    8884    8/1/2022     Secured: $0.00
        STEPHANIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RADFORD,
25912                    Laredo, LLC     14634   8/1/2022     Secured: $0.00
        STEPHANIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RADFORD,         Nueces Bay,
25913                                    20381   8/1/2022     Secured: $0.00
        STEPHANIE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RADFORD,         Talen Texas
25914                                    26113   8/1/2022     Secured: $0.00
        STEPHANIE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3747 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RADFORD,          Talen Texas,
25915                                     31875   8/1/2022     Secured: $0.00
        STEPHANIE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAGHOONANANSI Barney Davis,
25916                                     6559    8/1/2022     Secured: $0.00
        NGH, BRANDON LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAGHOONANANSI
25917                 Laredo, LLC         12309   8/1/2022     Secured: $0.00
        NGH, BRANDON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAGHOONANANSI Nueces Bay,
25918                                     18056   8/1/2022     Secured: $0.00
        NGH, BRANDON LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAGHOONANANSI Talen Texas
25919                                     23791   8/1/2022     Secured: $0.00
        NGH, BRANDON Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAGHOONANANSI Talen Texas,
25920                                     29550   8/1/2022     Secured: $0.00
        NGH, BRANDON LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25921   RAGLIN, MARILYN                   5130    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3748 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25922   RAGLIN, MARILYN Laredo, LLC       10880   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25923   RAGLIN, MARILYN                   16627   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25924   RAGLIN, MARILYN                   22372   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25925   RAGLIN, MARILYN                   28121   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAHAMAN,          Barney Davis,
25926                                     3597    8/1/2022     Secured: $0.00
        ASHMEAD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAHAMAN,
25927                     Laredo, LLC     9347    8/1/2022     Secured: $0.00
        ASHMEAD
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAHAMAN,          Nueces Bay,
25928                                     15094   8/1/2022     Secured: $0.00
        ASHMEAD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3749 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHAMAN,         Talen Texas
25929                                    20840   8/1/2022     Secured: $0.00
        ASHMEAD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHAMAN,         Talen Texas,
25930                                    26588   8/1/2022     Secured: $0.00
        ASHMEAD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25931   RAHMAN, FATIMA                   5496    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25932   RAHMAN, FATIMA Laredo, LLC       11246   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25933   RAHMAN, FATIMA                   16993   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25934   RAHMAN, FATIMA                   22738   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25935   RAHMAN, FATIMA                   28487   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3750 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHMAN,          Barney Davis,
25936                                    8049    8/1/2022     Secured: $0.00
        MAHFUZUR         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHMAN,
25937                    Laredo, LLC     13799   8/1/2022     Secured: $0.00
        MAHFUZUR
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHMAN,          Nueces Bay,
25938                                    19546   8/1/2022     Secured: $0.00
        MAHFUZUR         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHMAN,          Talen Texas
25939                                    25280   8/1/2022     Secured: $0.00
        MAHFUZUR         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAHMAN,          Talen Texas,
25940                                    31040   8/1/2022     Secured: $0.00
        MAHFUZUR         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25941   RAINEY, KENDRA                   7805    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25942   RAINEY, KENDRA Laredo, LLC       13555   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3751 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25943   RAINEY, KENDRA                   19302   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25944   RAINEY, KENDRA                   25036   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25945   RAINEY, KENDRA                   30796   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25946   RAISON, RANDEL                   8488    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25947   RAISON, RANDEL Laredo, LLC       14238   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25948   RAISON, RANDEL                   19985   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25949   RAISON, RANDEL                   25717   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3752 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25950   RAISON, RANDEL                   31479   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25951   RAJAN, TOM                       9030    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25952   RAJAN, TOM       Laredo, LLC     14780   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25953   RAJAN, TOM                       20527   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25954   RAJAN, TOM                       26259   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25955   RAJAN, TOM                       32021   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25956   RAJI, RAZAAK                     6168    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3753 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
25957   RAJI, RAZAAK   Laredo, LLC     11918   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
25958   RAJI, RAZAAK                   17665   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
25959   RAJI, RAZAAK                   23410   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
25960   RAJI, RAZAAK                   29159   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAMDASS,       Barney Davis,
25961                                  6416    8/1/2022     Secured: $0.00
        ANNAND         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAMDASS,
25962                  Laredo, LLC     12166   8/1/2022     Secured: $0.00
        ANNAND
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAMDASS,       Nueces Bay,
25963                                  17913   8/1/2022     Secured: $0.00
        ANNAND         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3754 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMDASS,        Talen Texas
25964                                   23648   8/1/2022     Secured: $0.00
        ANNAND          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMDASS,        Talen Texas,
25965                                   29407   8/1/2022     Secured: $0.00
        ANNAND          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25966   RAMIREZ, ADAM                   6286    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25967   RAMIREZ, ADAM   Laredo, LLC     12036   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25968   RAMIREZ, ADAM                   17783   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
25969   RAMIREZ, ADAM                   23518   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
25970   RAMIREZ, ADAM                   29277   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3755 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
25971   RAMIREZ, ANABEL Laredo, LLC       33054   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
25972   RAMIREZ, ANABEL                   34045   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
25973   RAMIREZ, ANABEL                   35036   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25974   RAMIREZ, ANABEL                   36027   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
25975   RAMIREZ, ANABEL                   37016   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Barney Davis,
25976                                     5745    8/1/2022     Secured: $0.00
        BARBARA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,
25977                     Laredo, LLC     11495   8/1/2022     Secured: $0.00
        BARBARA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3756 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Nueces Bay,
25978                                 17242   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Talen Texas
25979                                 22987   8/1/2022     Secured: $0.00
        BARBARA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Talen Texas,
25980                                 28736   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Barney Davis,
25981                                 6647    8/1/2022     Secured: $0.00
        CARLOTTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,
25982                 Laredo, LLC     12397   8/1/2022     Secured: $0.00
        CARLOTTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Nueces Bay,
25983                                 18144   8/1/2022     Secured: $0.00
        CARLOTTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Talen Texas
25984                                 23878   8/1/2022     Secured: $0.00
        CARLOTTA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3757 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas,
25985                                    29638   8/1/2022     Secured: $0.00
        CARLOTTA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
25986   RAMIREZ, DELIA   Laredo, LLC     33055   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
25987   RAMIREZ, DELIA                   34046   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
25988   RAMIREZ, DELIA                   35037   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
25989   RAMIREZ, DELIA                   36028   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
25990   RAMIREZ, DELIA                   37017   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,
25991                    Laredo, LLC     33056   8/1/2022     Secured: $0.00
        DOROTHY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3758 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Barney Davis,
25992                                   34047   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Nueces Bay,
25993                                   35038   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Talen Texas
25994                                   36029   8/1/2022     Secured: $0.00
        DOROTHY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Talen Texas,
25995                                   37018   8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
25996   RAMIREZ, EMMA Laredo, LLC       33057   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
25997   RAMIREZ, EMMA                   34048   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
25998   RAMIREZ, EMMA                   35039   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3759 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
25999   RAMIREZ, EMMA                     36030   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26000   RAMIREZ, EMMA                     37019   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26001   RAMIREZ, ESTELA Laredo, LLC       33058   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26002   RAMIREZ, ESTELA                   34049   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26003   RAMIREZ, ESTELA                   35040   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26004   RAMIREZ, ESTELA                   36031   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26005   RAMIREZ, ESTELA                   37020   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3760 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,
26006                 Laredo, LLC     33059   8/1/2022     Secured: $0.00
        FRANCISCA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Barney Davis,
26007                                 34050   8/1/2022     Secured: $0.00
        FRANCISCA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Nueces Bay,
26008                                 35041   8/1/2022     Secured: $0.00
        FRANCISCA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Talen Texas
26009                                 36032   8/1/2022     Secured: $0.00
        FRANCISCA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Talen Texas,
26010                                 37021   8/1/2022     Secured: $0.00
        FRANCISCA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,      Barney Davis,
26011                                 4200    8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMIREZ,
26012                 Laredo, LLC     9950    8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3761 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Nueces Bay,
26013                                   15697   8/1/2022     Secured: $0.00
        GEORGE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Talen Texas
26014                                   21443   8/1/2022     Secured: $0.00
        GEORGE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,        Talen Texas,
26015                                   27191   8/1/2022     Secured: $0.00
        GEORGE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26016   RAMIREZ, IRMA                   7399    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26017   RAMIREZ, IRMA   Laredo, LLC     13149   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26018   RAMIREZ, IRMA                   18896   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26019   RAMIREZ, IRMA                   24630   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3762 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26020   RAMIREZ, IRMA                   30390   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26021   RAMIREZ, JOHN                   7626    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26022   RAMIREZ, JOHN   Laredo, LLC     13376   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26023   RAMIREZ, JOHN                   19123   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26024   RAMIREZ, JOHN                   24857   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26025   RAMIREZ, JOHN                   30617   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMIREZ,
26026                   Laredo, LLC     33060   8/1/2022     Secured: $0.00
        JOSEPHINE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3763 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Barney Davis,
26027                                    34051   8/1/2022     Secured: $0.00
        JOSEPHINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Nueces Bay,
26028                                    35042   8/1/2022     Secured: $0.00
        JOSEPHINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas
26029                                    36033   8/1/2022     Secured: $0.00
        JOSEPHINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas,
26030                                    37022   8/1/2022     Secured: $0.00
        JOSEPHINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26031   RAMIREZ, JULIO                   7721    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26032   RAMIREZ, JULIO   Laredo, LLC     13471   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26033   RAMIREZ, JULIO                   19218   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3764 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26034   RAMIREZ, JULIO                   24952   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26035   RAMIREZ, JULIO                   30712   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Barney Davis,
26036                                    7874    8/1/2022     Secured: $0.00
        KRISTINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,
26037                    Laredo, LLC     13624   8/1/2022     Secured: $0.00
        KRISTINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Nueces Bay,
26038                                    19371   8/1/2022     Secured: $0.00
        KRISTINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas
26039                                    25105   8/1/2022     Secured: $0.00
        KRISTINA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas,
26040                                    30865   8/1/2022     Secured: $0.00
        KRISTINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3765 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,
26041                    Laredo, LLC     33053   8/1/2022     Secured: $0.00
        LAMBERTO L.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Barney Davis,
26042                                    34044   8/1/2022     Secured: $0.00
        LAMBERTO L.      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Nueces Bay,
26043                                    35035   8/1/2022     Secured: $0.00
        LAMBERTO L.      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas
26044                                    36026   8/1/2022     Secured: $0.00
        LAMBERTO L.      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas,
26045                                    37015   8/1/2022     Secured: $0.00
        LAMBERTO L.      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26046   RAMIREZ, LAURA                   4414    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26047   RAMIREZ, LAURA Laredo, LLC       10164   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3766 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26048   RAMIREZ, LAURA                   15911   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26049   RAMIREZ, LAURA                   21657   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26050   RAMIREZ, LAURA                   27405   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26051   RAMIREZ, MARIA Laredo, LLC       33061   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26052   RAMIREZ, MARIA                   34052   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26053   RAMIREZ, MARIA                   35043   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26054   RAMIREZ, MARIA                   36034   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3767 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26055   RAMIREZ, MARIA                    37023   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,
26056                     Laredo, LLC     33062   8/1/2022     Secured: $0.00
        ONSEIMO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Barney Davis,
26057                                     34053   8/1/2022     Secured: $0.00
        ONSEIMO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Nueces Bay,
26058                                     35044   8/1/2022     Secured: $0.00
        ONSEIMO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Talen Texas
26059                                     36035   8/1/2022     Secured: $0.00
        ONSEIMO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Talen Texas,
26060                                     37024   8/1/2022     Secured: $0.00
        ONSEIMO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26061   RAMIREZ, PETE L   Laredo, LLC     33063   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3768 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26062   RAMIREZ, PETE L                   34054   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26063   RAMIREZ, PETE L                   35045   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26064   RAMIREZ, PETE L                   36036   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26065   RAMIREZ, PETE L                   37025   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Barney Davis,
26066                                     8461    8/1/2022     Secured: $0.00
        PORFIRIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,
26067                     Laredo, LLC     14211   8/1/2022     Secured: $0.00
        PORFIRIO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Nueces Bay,
26068                                     19958   8/1/2022     Secured: $0.00
        PORFIRIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3769 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Talen Texas
26069                                     25691   8/1/2022     Secured: $0.00
        PORFIRIO          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Talen Texas,
26070                                     31452   8/1/2022     Secured: $0.00
        PORFIRIO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26071   RAMIREZ, RACHEL                   5476    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26072   RAMIREZ, RACHEL Laredo, LLC       11226   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26073   RAMIREZ, RACHEL                   16973   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26074   RAMIREZ, RACHEL                   22718   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26075   RAMIREZ, RACHEL                   28467   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3770 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Barney Davis,
26076                                    8648    8/1/2022     Secured: $0.00
        RODOLFO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,
26077                    Laredo, LLC     14398   8/1/2022     Secured: $0.00
        RODOLFO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Nueces Bay,
26078                                    20145   8/1/2022     Secured: $0.00
        RODOLFO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas
26079                                    25877   8/1/2022     Secured: $0.00
        RODOLFO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas,
26080                                    31639   8/1/2022     Secured: $0.00
        RODOLFO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26081   RAMIREZ, ROGER                   5573    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26082   RAMIREZ, ROGER                   6230    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3771 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26083   RAMIREZ, ROGER Laredo, LLC      11323   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26084   RAMIREZ, ROGER Laredo, LLC      11980   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
26085   RAMIREZ, ROGER                  17070   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
26086   RAMIREZ, ROGER                  17727   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
26087   RAMIREZ, ROGER                  22815   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
26088   RAMIREZ, ROGER                  23472   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
26089   RAMIREZ, ROGER                  28564   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3772 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26090   RAMIREZ, ROGER                   29221   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,
26091                    Laredo, LLC     33064   8/1/2022     Secured: $0.00
        ROMALDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Barney Davis,
26092                                    34055   8/1/2022     Secured: $0.00
        ROMALDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Nueces Bay,
26093                                    35046   8/1/2022     Secured: $0.00
        ROMALDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas
26094                                    36037   8/1/2022     Secured: $0.00
        ROMALDO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Talen Texas,
26095                                    37026   8/1/2022     Secured: $0.00
        ROMALDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ,         Barney Davis,
26096                                    8907    8/1/2022     Secured: $0.00
        SUSANA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3773 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,
26097                     Laredo, LLC     14657   8/1/2022     Secured: $0.00
        SUSANA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Nueces Bay,
26098                                     20404   8/1/2022     Secured: $0.00
        SUSANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Talen Texas
26099                                     26136   8/1/2022     Secured: $0.00
        SUSANA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAMIREZ,          Talen Texas,
26100                                     31898   8/1/2022     Secured: $0.00
        SUSANA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26101   RAMIREZ, SYLVIA                   8919    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26102   RAMIREZ, SYLVIA Laredo, LLC       14669   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26103   RAMIREZ, SYLVIA                   20416   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3774 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
26104   RAMIREZ, SYLVIA                  26148   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
26105   RAMIREZ, SYLVIA                  31910   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ, SYLVIA Barney Davis,
26106                                    4710    8/1/2022     Secured: $0.00
        G.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ, SYLVIA
26107                   Laredo, LLC      10460   8/1/2022     Secured: $0.00
        G.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ, SYLVIA Nueces Bay,
26108                                    16207   8/1/2022     Secured: $0.00
        G.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ, SYLVIA Talen Texas
26109                                    21953   8/1/2022     Secured: $0.00
        G.              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ, SYLVIA Talen Texas,
26110                                    27701   8/1/2022     Secured: $0.00
        G.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3775 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ‐DE
26111                    Laredo, LLC     33065   8/1/2022     Secured: $0.00
        SOLIS, ELIZABETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ‐DE       Barney Davis,
26112                                    34056   8/1/2022     Secured: $0.00
        SOLIS, ELIZABETH LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ‐DE       Nueces Bay,
26113                                    35047   8/1/2022     Secured: $0.00
        SOLIS, ELIZABETH LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ‐DE       Talen Texas
26114                                    36038   8/1/2022     Secured: $0.00
        SOLIS, ELIZABETH Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RAMIREZ‐DE       Talen Texas,
26115                                    37027   8/1/2022     Secured: $0.00
        SOLIS, ELIZABETH LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26116   RAMON, GLORIA                    7315    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26117   RAMON, GLORIA    Laredo, LLC     13065   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3776 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26118   RAMON, GLORIA                   18812   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26119   RAMON, GLORIA                   24546   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26120   RAMON, GLORIA                   30306   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMON,          Barney Davis,
26121                                   3848    8/1/2022     Secured: $0.00
        PRISCILLA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMON,
26122                   Laredo, LLC     9598    8/1/2022     Secured: $0.00
        PRISCILLA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMON,          Nueces Bay,
26123                                   15345   8/1/2022     Secured: $0.00
        PRISCILLA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMON,          Talen Texas
26124                                   21092   8/1/2022     Secured: $0.00
        PRISCILLA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3777 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAMON,         Talen Texas,
26125                                  26839   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26126   RAMON, RENE    Laredo, LLC     33066   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26127   RAMON, RENE                    34057   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26128   RAMON, RENE                    35048   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26129   RAMON, RENE                    36039   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26130   RAMON, RENE                    37028   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAMON,
26131                  Laredo, LLC     33067   8/1/2022     Secured: $0.00
        STEPHANIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3778 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMON,        Barney Davis,
26132                                 34058   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMON,        Nueces Bay,
26133                                 35049   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMON,        Talen Texas
26134                                 36040   8/1/2022     Secured: $0.00
        STEPHANIE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMON,        Talen Texas,
26135                                 37029   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMOS,        Barney Davis,
26136                                 4806    8/1/2022     Secured: $0.00
        ALEJANDRO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMOS,
26137                 Laredo, LLC     10556   8/1/2022     Secured: $0.00
        ALEJANDRO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMOS,        Nueces Bay,
26138                                 16303   8/1/2022     Secured: $0.00
        ALEJANDRO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3779 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMOS,          Talen Texas
26139                                   22049   8/1/2022     Secured: $0.00
        ALEJANDRO       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMOS,          Talen Texas,
26140                                   27797   8/1/2022     Secured: $0.00
        ALEJANDRO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26141   RAMOS, BRENDA                   6072    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26142   RAMOS, BRENDA Laredo, LLC       11822   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26143   RAMOS, BRENDA                   17569   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26144   RAMOS, BRENDA                   23314   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26145   RAMOS, BRENDA                   29063   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3780 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26146   RAMOS, CARLOS                   6645    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26147   RAMOS, CARLOS   Laredo, LLC     12395   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26148   RAMOS, CARLOS                   18142   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26149   RAMOS, CARLOS                   23876   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26150   RAMOS, CARLOS                   29636   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26151   RAMOS, CARMEN Laredo, LLC       33068   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26152   RAMOS, CARMEN                   34059   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3781 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26153   RAMOS, CARMEN                   35050   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26154   RAMOS, CARMEN                   36041   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26155   RAMOS, CARMEN                   37030   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26156   RAMOS, DAVID                    6935    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26157   RAMOS, DAVID    Laredo, LLC     12685   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26158   RAMOS, DAVID                    18432   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26159   RAMOS, DAVID                    24166   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3782 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26160   RAMOS, DAVID                    29926   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26161   RAMOS, ESTHER   Laredo, LLC     33069   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26162   RAMOS, ESTHER                   34060   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26163   RAMOS, ESTHER                   35051   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26164   RAMOS, ESTHER                   36042   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26165   RAMOS, ESTHER                   37031   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26166   RAMOS, JOSE                     7660    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3783 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
26167   RAMOS, JOSE   Laredo, LLC     13410   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
26168   RAMOS, JOSE                   19157   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
26169   RAMOS, JOSE                   24891   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
26170   RAMOS, JOSE                   30651   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMOS,        Barney Davis,
26171                                 5121    8/1/2022     Secured: $0.00
        MARCELA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMOS,
26172                 Laredo, LLC     10871   8/1/2022     Secured: $0.00
        MARCELA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RAMOS,        Nueces Bay,
26173                                 16618   8/1/2022     Secured: $0.00
        MARCELA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3784 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMOS,          Talen Texas
26174                                   22363   8/1/2022     Secured: $0.00
        MARCELA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RAMOS,          Talen Texas,
26175                                   28112   8/1/2022     Secured: $0.00
        MARCELA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26176   RAMOS, MIGUEL                   8259    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26177   RAMOS, MIGUEL Laredo, LLC       14009   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26178   RAMOS, MIGUEL                   19756   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26179   RAMOS, MIGUEL                   25490   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26180   RAMOS, MIGUEL                   31250   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3785 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26181   RAMOS, VICTOR                   9114    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26182   RAMOS, VICTOR   Laredo, LLC     14864   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26183   RAMOS, VICTOR                   20611   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26184   RAMOS, VICTOR                   26343   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26185   RAMOS, VICTOR                   32105   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RAMSEUR,                                             Priority: $0.00
                        Barney Davis,
26186   MONTRESHA                       5168    8/1/2022     Secured: $0.00
                        LLC
        RUBY ANN                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RAMSEUR,                                             Priority: $0.00
26187   MONTRESHA       Laredo, LLC     10918   8/1/2022     Secured: $0.00
        RUBY ANN                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3786 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        RAMSEUR,                                           Priority: $0.00
                      Nueces Bay,
26188   MONTRESHA                     16665   8/1/2022     Secured: $0.00
                      LLC
        RUBY ANN                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        RAMSEUR,                                           Priority: $0.00
                      Talen Texas
26189   MONTRESHA                     22410   8/1/2022     Secured: $0.00
                      Group, LLC
        RUBY ANN                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        RAMSEUR,                                           Priority: $0.00
                      Talen Texas,
26190   MONTRESHA                     28159   8/1/2022     Secured: $0.00
                      LLC
        RUBY ANN                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        RANCHERS &                                         Other Administrative: $0.00
        FARMERS                                            Priority: $0.00
                      Nueces Bay,
26191   MUTUAL                        2174    7/29/2022    Secured: $0.00
                      LLC
        INSURANCE                                          General Unsecured: $19,484,135.07 + Unliquidated
        COMPANY
                                                           Total: $19,484,135.07 + Unliquidated

                                                           503(b)(9): $0.00
        RANCHERS &                                         Other Administrative: $0.00
        FARMERS                                            Priority: $0.00
26192   MUTUAL        Laredo, LLC     37308   6/29/2022    Secured: $0.00
        INSURANCE                                          General Unsecured: $19,484,135.07 + Unliquidated
        COMPANY
                                                           Total: $19,484,135.07 + Unliquidated

                                                           503(b)(9): $0.00
        RANCHERS &                                         Other Administrative: $0.00
        FARMERS                                            Priority: $0.00
                      Barney Davis,
26193   MUTUAL                        37347   6/29/2022    Secured: $0.00
                      LLC
        INSURANCE                                          General Unsecured: $19,484,135.07 + Unliquidated
        COMPANY
                                                           Total: $19,484,135.07 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3787 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim
        RANCHERS AND
        FARMERS
                                                            503(b)(9): $0.00
        MUTUAL
                                                            Other Administrative: $0.00
        INSURANCE
                                                            Priority: $0.00
        COMPANY, AS    Barney Davis,
26194                                  1926    7/29/2022    Secured: $0.00
        MANAGED BY     LLC
                                                            General Unsecured: $2,317,725.02 + Unliquidated
        AMERICAN
        BANKERS
                                                            Total: $2,317,725.02 + Unliquidated
        GENERAL
        AGENCY, INC.
        RANCHERS AND
        FARMERS
                                                            503(b)(9): $0.00
        MUTUAL
                                                            Other Administrative: $0.00
        INSURANCE
                                                            Priority: $0.00
        COMPANY, AS    Nueces Bay,
26195                                  1988    7/29/2022    Secured: $0.00
        MANAGED BY     LLC
                                                            General Unsecured: $2,317,725.02 + Unliquidated
        AMERICAN
        BANKERS
                                                            Total: $2,317,725.02 + Unliquidated
        GENERAL
        AGENCY, INC.
        RANCHERS AND
        FARMERS
                                                            503(b)(9): $0.00
        MUTUAL
                                                            Other Administrative: $0.00
        INSURANCE
                                                            Priority: $0.00
        COMPANY, AS
26196                  Laredo, LLC     1993    7/29/2022    Secured: $0.00
        MANAGED BY
                                                            General Unsecured: $2,317,725.02 + Unliquidated
        AMERICAN
        BANKERS
                                                            Total: $2,317,725.02 + Unliquidated
        GENERAL
        AGENCY, INC.
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAND,          Barney Davis,
26197                                  4482    8/1/2022     Secured: $0.00
        MARVALISA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAND,
26198                  Laredo, LLC     10232   8/1/2022     Secured: $0.00
        MARVALISA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3788 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAND,             Nueces Bay,
26199                                     15979   8/1/2022     Secured: $0.00
        MARVALISA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAND,             Talen Texas
26200                                     21725   8/1/2022     Secured: $0.00
        MARVALISA         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAND,             Talen Texas,
26201                                     27473   8/1/2022     Secured: $0.00
        MARVALISA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26202   RANDALL, DENNIS                   7000    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26203   RANDALL, DENNIS Laredo, LLC       12750   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26204   RANDALL, DENNIS                   18497   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26205   RANDALL, DENNIS                   24231   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3789 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26206   RANDALL, DENNIS                   29991   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RANDALL,          Barney Davis,
26207                                     8066    8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RANDALL,
26208                     Laredo, LLC     13816   8/1/2022     Secured: $0.00
        MARGARET
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RANDALL,          Nueces Bay,
26209                                     19563   8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RANDALL,          Talen Texas
26210                                     25297   8/1/2022     Secured: $0.00
        MARGARET          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RANDALL,          Talen Texas,
26211                                     31057   8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26212   RANDLE, JOE       Laredo, LLC     33070   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3790 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26213   RANDLE, JOE                    34061   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26214   RANDLE, JOE                    35052   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26215   RANDLE, JOE                    36043   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26216   RANDLE, JOE                    37032   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26217   RANEY, JAMES                   5005    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26218   RANEY, JAMES   Laredo, LLC     10755   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26219   RANEY, JAMES                   16502   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3791 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26220   RANEY, JAMES                   22247   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26221   RANEY, JAMES                   27996   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26222   RANEY, PAM                     5559    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26223   RANEY, PAM     Laredo, LLC     11309   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26224   RANEY, PAM                     17056   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26225   RANEY, PAM                     22801   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26226   RANEY, PAM                     28550   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3792 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANKINE,       Barney Davis,
26227                                  8254    8/1/2022     Secured: $0.00
        MICHELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANKINE,
26228                  Laredo, LLC     14004   8/1/2022     Secured: $0.00
        MICHELLE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANKINE,       Nueces Bay,
26229                                  19751   8/1/2022     Secured: $0.00
        MICHELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANKINE,       Talen Texas
26230                                  25485   8/1/2022     Secured: $0.00
        MICHELLE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANKINE,       Talen Texas,
26231                                  31245   8/1/2022     Secured: $0.00
        MICHELLE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26232   RANSOM, JOYA                   7686    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26233   RANSOM, JOYA   Laredo, LLC     13436   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3793 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26234   RANSOM, JOYA                   19183   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26235   RANSOM, JOYA                   24917   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26236   RANSOM, JOYA                   30677   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANSON,        Barney Davis,
26237                                  6093    8/1/2022     Secured: $0.00
        DANETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANSON,
26238                  Laredo, LLC     11843   8/1/2022     Secured: $0.00
        DANETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANSON,        Nueces Bay,
26239                                  17590   8/1/2022     Secured: $0.00
        DANETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANSON,        Talen Texas
26240                                  23335   8/1/2022     Secured: $0.00
        DANETTE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3794 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RANSON,        Talen Texas,
26241                                  29084   8/1/2022     Secured: $0.00
        DANETTE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26242   RAO, MADHAVA                   3724    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26243   RAO, MADHAVA   Laredo, LLC     9474    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26244   RAO, MADHAVA                   15221   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26245   RAO, MADHAVA                   20968   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26246   RAO, MADHAVA                   26715   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26247   RAPER, DON                     5785    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3795 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26248   RAPER, DON       Laredo, LLC     11535   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26249   RAPER, DON                       17282   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26250   RAPER, DON                       23027   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26251   RAPER, DON                       28776   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26252   RAPHAEL, LEANA                   7947    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26253   RAPHAEL, LEANA Laredo, LLC       13697   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26254   RAPHAEL, LEANA                   19444   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3796 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26255   RAPHAEL, LEANA                   25178   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26256   RAPHAEL, LEANA                   30938   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26257   RASBURY, JENA                    5021    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26258   RASBURY, JENA    Laredo, LLC     10771   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26259   RASBURY, JENA                    16518   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26260   RASBURY, JENA                    22263   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26261   RASBURY, JENA                    28012   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3797 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASHALL,      Barney Davis,
26262                                 3888    8/1/2022     Secured: $0.00
        MARENDRIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASHALL,
26263                 Laredo, LLC     9638    8/1/2022     Secured: $0.00
        MARENDRIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASHALL,      Nueces Bay,
26264                                 15385   8/1/2022     Secured: $0.00
        MARENDRIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASHALL,      Talen Texas
26265                                 21132   8/1/2022     Secured: $0.00
        MARENDRIA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASHALL,      Talen Texas,
26266                                 26879   8/1/2022     Secured: $0.00
        MARENDRIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASMUSSEN,    Barney Davis,
26267                                 5246    8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RASMUSSEN,
26268                 Laredo, LLC     10996   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3798 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RASMUSSEN,     Nueces Bay,
26269                                  16743   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RASMUSSEN,     Talen Texas
26270                                  22488   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RASMUSSEN,     Talen Texas,
26271                                  28237   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RATCLIFF,      Barney Davis,
26272                                  4166    8/1/2022     Secured: $0.00
        ELLENOR        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RATCLIFF,
26273                  Laredo, LLC     9916    8/1/2022     Secured: $0.00
        ELLENOR
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RATCLIFF,      Nueces Bay,
26274                                  15663   8/1/2022     Secured: $0.00
        ELLENOR        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RATCLIFF,      Talen Texas
26275                                  21409   8/1/2022     Secured: $0.00
        ELLENOR        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3799 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RATCLIFF,          Talen Texas,
26276                                      27157   8/1/2022     Secured: $0.00
        ELLENOR            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
26277   RATCLIFF, JAYLON                   4259    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
26278   RATCLIFF, JAYLON Laredo, LLC       10009   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
26279   RATCLIFF, JAYLON                   15756   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
26280   RATCLIFF, JAYLON                   21502   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26281   RATCLIFF, JAYLON                   27250   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
26282   RATCLIFF, JOYCE                    7692    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3800 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26283   RATCLIFF, JOYCE   Laredo, LLC     13442   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26284   RATCLIFF, JOYCE                   19189   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26285   RATCLIFF, JOYCE                   24923   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26286   RATCLIFF, JOYCE                   30683   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAVEN,            Barney Davis,
26287                                     5106    8/1/2022     Secured: $0.00
        LLOYDRIANN        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAVEN,
26288                     Laredo, LLC     10856   8/1/2022     Secured: $0.00
        LLOYDRIANN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RAVEN,            Nueces Bay,
26289                                     16603   8/1/2022     Secured: $0.00
        LLOYDRIANN        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3801 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAVEN,         Talen Texas
26290                                  22348   8/1/2022     Secured: $0.00
        LLOYDRIANN     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAVEN,         Talen Texas,
26291                                  28097   8/1/2022     Secured: $0.00
        LLOYDRIANN     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAWLS, AMAY‐   Barney Davis,
26292                                  3816    8/1/2022     Secured: $0.00
        AIMEE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAWLS, AMAY‐
26293                  Laredo, LLC     9566    8/1/2022     Secured: $0.00
        AIMEE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAWLS, AMAY‐   Nueces Bay,
26294                                  15313   8/1/2022     Secured: $0.00
        AIMEE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAWLS, AMAY‐   Talen Texas
26295                                  21060   8/1/2022     Secured: $0.00
        AIMEE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAWLS, AMAY‐   Talen Texas,
26296                                  26807   8/1/2022     Secured: $0.00
        AIMEE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3802 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26297   RAY, DIANE                     4130    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26298   RAY, DIANE     Laredo, LLC     9880    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26299   RAY, DIANE                     15627   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26300   RAY, DIANE                     21373   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26301   RAY, DIANE                     27121   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26302   RAY, DIXIE                     4132    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26303   RAY, DIXIE     Laredo, LLC     9882    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3803 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26304   RAY, DIXIE                     15629   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26305   RAY, DIXIE                     21375   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26306   RAY, DIXIE                     27123   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26307   RAY, KATRINA                   3627    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26308   RAY, KATRINA   Laredo, LLC     9377    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26309   RAY, KATRINA                   15124   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26310   RAY, KATRINA                   20871   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3804 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26311   RAY, KATRINA                   26618   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26312   RAY, PAULA                     5210    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26313   RAY, PAULA     Laredo, LLC     10960   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26314   RAY, PAULA                     16707   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26315   RAY, PAULA                     22452   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26316   RAY, PAULA                     28201   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26317   RAY, ROBERT                    4626    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3805 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26318   RAY, ROBERT    Laredo, LLC     10376   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26319   RAY, ROBERT                    16123   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26320   RAY, ROBERT                    21869   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26321   RAY, ROBERT                    27617   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26322   RAY, TERRI                     4726    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26323   RAY, TERRI     Laredo, LLC     10476   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26324   RAY, TERRI                     16223   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3806 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26325   RAY, TERRI                     21969   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26326   RAY, TERRI                     27717   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAYNARD &      Barney Davis,
26327                                  8512    8/1/2022     Secured: $0.00
        RENEE ROMEZ    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAYNARD &
26328                  Laredo, LLC     14262   8/1/2022     Secured: $0.00
        RENEE ROMEZ
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAYNARD &      Nueces Bay,
26329                                  20009   8/1/2022     Secured: $0.00
        RENEE ROMEZ    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAYNARD &      Talen Texas
26330                                  25741   8/1/2022     Secured: $0.00
        RENEE ROMEZ    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RAYNARD &      Talen Texas,
26331                                  31503   8/1/2022     Secured: $0.00
        RENEE ROMEZ    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3807 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGAN,          Barney Davis,
26332                                    5023    8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGAN,
26333                    Laredo, LLC     10773   8/1/2022     Secured: $0.00
        JENNIFER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGAN,          Nueces Bay,
26334                                    16520   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGAN,          Talen Texas
26335                                    22265   8/1/2022     Secured: $0.00
        JENNIFER         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGAN,          Talen Texas,
26336                                    28014   8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26337   REAGIE, VICKIE                   9107    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26338   REAGIE, VICKIE   Laredo, LLC     14857   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3808 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26339   REAGIE, VICKIE                   20604   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26340   REAGIE, VICKIE                   26336   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26341   REAGIE, VICKIE                   32098   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGON,          Barney Davis,
26342                                    6485    8/1/2022     Secured: $0.00
        BARBARA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGON,
26343                    Laredo, LLC     12235   8/1/2022     Secured: $0.00
        BARBARA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGON,          Nueces Bay,
26344                                    17982   8/1/2022     Secured: $0.00
        BARBARA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REAGON,          Talen Texas
26345                                    23717   8/1/2022     Secured: $0.00
        BARBARA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3809 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        REAGON,        Talen Texas,
26346                                  29476   8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26347   REAL, AMY      Laredo, LLC     33071   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26348   REAL, AMY                      34062   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26349   REAL, AMY                      35053   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26350   REAL, AMY                      36044   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26351   REAL, AMY                      37033   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26352   REAL, BELIA    Laredo, LLC     33072   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3810 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26353   REAL, BELIA                       34063   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26354   REAL, BELIA                       35054   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26355   REAL, BELIA                       36045   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26356   REAL, BELIA                       37034   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26357   RECTOR, JEFFREY                   5456    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26358   RECTOR, JEFFREY Laredo, LLC       11206   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26359   RECTOR, JEFFREY                   16953   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3811 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26360   RECTOR, JEFFREY                   22698   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26361   RECTOR, JEFFREY                   28447   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26362   RECTOR, TRENCE                    9064    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26363   RECTOR, TRENCE Laredo, LLC        14814   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26364   RECTOR, TRENCE                    20561   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26365   RECTOR, TRENCE                    26293   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26366   RECTOR, TRENCE                    32055   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3812 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REDDELL, JAMES    Barney Davis,
26367                                     7448    8/1/2022     Secured: $0.00
        HARRIS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REDDELL, JAMES
26368                     Laredo, LLC     13198   8/1/2022     Secured: $0.00
        HARRIS
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REDDELL, JAMES    Nueces Bay,
26369                                     18945   8/1/2022     Secured: $0.00
        HARRIS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REDDELL, JAMES    Talen Texas
26370                                     24679   8/1/2022     Secured: $0.00
        HARRIS            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REDDELL, JAMES    Talen Texas,
26371                                     30439   8/1/2022     Secured: $0.00
        HARRIS            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26372   REDDEN, JUANITA Laredo, LLC       33073   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26373   REDDEN, JUANITA                   34064   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3813 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26374   REDDEN, JUANITA                   35055   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26375   REDDEN, JUANITA                   36046   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26376   REDDEN, JUANITA                   37035   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26377   REDDING, ROBERT Laredo, LLC       33074   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26378   REDDING, ROBERT                   34065   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26379   REDDING, ROBERT                   35056   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26380   REDDING, ROBERT                   36047   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3814 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26381   REDDING, ROBERT                   37036   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26382   REDENIUS, ANNA                    4824    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26383   REDENIUS, ANNA Laredo, LLC        10574   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26384   REDENIUS, ANNA                    16321   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26385   REDENIUS, ANNA                    22067   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26386   REDENIUS, ANNA                    27815   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26387   REDIN, KAREN                      7749    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3815 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26388   REDIN, KAREN   Laredo, LLC     13499   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26389   REDIN, KAREN                   19246   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26390   REDIN, KAREN                   24980   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26391   REDIN, KAREN                   30740   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26392   REED, ANNIS                    6424    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26393   REED, ANNIS    Laredo, LLC     12174   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26394   REED, ANNIS                    17921   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3816 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26395   REED, ANNIS                    23656   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26396   REED, ANNIS                    29415   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26397   REED, CARL                     6629    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26398   REED, CARL     Laredo, LLC     12379   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26399   REED, CARL                     18126   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26400   REED, CARL                     23860   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26401   REED, CARL                     29620   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3817 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26402   REED, DONNETRIA                   5974    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26403   REED, DONNETRIA Laredo, LLC       11724   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26404   REED, DONNETRIA                   17471   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26405   REED, DONNETRIA                   23216   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26406   REED, DONNETRIA                   28965   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26407   REED, JOHN        Laredo, LLC     33075   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26408   REED, JOHN                        34066   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3818 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
26409   REED, JOHN                    35057   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
26410   REED, JOHN                    36048   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
26411   REED, JOHN                    37037   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
26412   REED, KATHY                   7775    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
26413   REED, KATHY   Laredo, LLC     13525   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
26414   REED, KATHY                   19272   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
26415   REED, KATHY                   25006   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3819 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26416   REED, KATHY                     30766   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26417   REED, TIMOTHY                   4746    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26418   REED, TIMOTHY   Laredo, LLC     10496   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26419   REED, TIMOTHY                   16243   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26420   REED, TIMOTHY                   21989   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26421   REED, TIMOTHY                   27737   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26422   REED, WENDY                     9143    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3820 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26423   REED, WENDY    Laredo, LLC     14893   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26424   REED, WENDY                    20640   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26425   REED, WENDY                    26372   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26426   REED, WENDY                    32134   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26427   REEDY, JULIE   Laredo, LLC     33076   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26428   REEDY, JULIE                   34067   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26429   REEDY, JULIE                   35058   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3821 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26430   REEDY, JULIE                   36049   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26431   REEDY, JULIE                   37038   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26432   REEVES, LEA    Laredo, LLC     33077   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26433   REEVES, LEA                    34068   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26434   REEVES, LEA                    35059   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26435   REEVES, LEA                    36050   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26436   REEVES, LEA                    37039   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3822 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26437   REEVES, PHILIP                   8450    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26438   REEVES, PHILIP   Laredo, LLC     14200   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26439   REEVES, PHILIP                   19947   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26440   REEVES, PHILIP                   25680   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26441   REEVES, PHILIP                   31441   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26442   REEVES, ZARSY                    9194    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26443   REEVES, ZARSY    Laredo, LLC     14944   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3823 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26444   REEVES, ZARSY                   20691   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26445   REEVES, ZARSY                   26423   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26446   REEVES, ZARSY                   32185   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        REGENT                                               Priority: $0.00
                        Barney Davis,
26447   INSURANCE                       2417    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $913,348.40 + Unliquidated

                                                             Total: $913,348.40 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        REGENT                                               Priority: $0.00
                        Nueces Bay,
26448   INSURANCE                       2652    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $913,348.40 + Unliquidated

                                                             Total: $913,348.40 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        REGENT                                               Priority: $0.00
26449   INSURANCE       Laredo, LLC     2907    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $913,348.40 + Unliquidated

                                                             Total: $913,348.40 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        REGENT                                               Priority: $0.00
                        Barney Davis,
26450   INSURANCE                       2953    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $924,713.13 + Unliquidated

                                                             Total: $924,713.13 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3824 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        REGENT                                             Priority: $0.00
26451   INSURANCE     Laredo, LLC     3018    8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $924,713.13 + Unliquidated

                                                           Total: $924,713.13 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        REGENT                                             Priority: $0.00
                      Nueces Bay,
26452   INSURANCE                     3402    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $924,713.13 + Unliquidated

                                                           Total: $924,713.13 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REGGINS,      Barney Davis,
26453                                 6666    8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REGGINS,
26454                 Laredo, LLC     12416   8/1/2022     Secured: $0.00
        CAROLYN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REGGINS,      Nueces Bay,
26455                                 18163   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REGGINS,      Talen Texas
26456                                 23897   8/1/2022     Secured: $0.00
        CAROLYN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REGGINS,      Talen Texas,
26457                                 29657   8/1/2022     Secured: $0.00
        CAROLYN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3825 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        REGINA PORTER,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
26458   AND AS HEIR OF                   5402    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LINDA HOLT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REGINA PORTER,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
26459   AND AS HEIR OF   Laredo, LLC     11152   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LINDA HOLT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REGINA PORTER,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
26460   AND AS HEIR OF                   16899   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LINDA HOLT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REGINA PORTER,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
26461   AND AS HEIR OF                   22644   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LINDA HOLT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REGINA PORTER,                                        Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
26462   AND AS HEIR OF                   28393   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LINDA HOLT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26463   REGULA, ANDREA                   5739    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26464   REGULA, ANDREA Laredo, LLC       11489   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3826 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26465   REGULA, ANDREA                   17236   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26466   REGULA, ANDREA                   22981   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26467   REGULA, ANDREA                   28730   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26468   REID, AMY                        3648    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26469   REID, AMY        Laredo, LLC     9398    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26470   REID, AMY                        15145   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26471   REID, AMY                        20892   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3827 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26472   REID, AMY                      26639   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26473   REID, TAMI                     8932    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26474   REID, TAMI     Laredo, LLC     14682   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26475   REID, TAMI                     20429   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26476   REID, TAMI                     26161   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26477   REID, TAMI                     31923   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26478   REID, TEWANA                   8982    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3828 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26479   REID, TEWANA     Laredo, LLC     14732   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26480   REID, TEWANA                     20479   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26481   REID, TEWANA                     26211   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26482   REID, TEWANA                     31973   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REMY HORTON,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
26483   AND AS HEIR OF                   5403    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF AL                                      General Unsecured: $0.00 + Unliquidated
        HORTON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REMY HORTON,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
26484   AND AS HEIR OF Laredo, LLC       11153   8/1/2022     Secured: $0.00
        THE ESTATE OF AL                                      General Unsecured: $0.00 + Unliquidated
        HORTON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REMY HORTON,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
26485   AND AS HEIR OF                   16900   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF AL                                      General Unsecured: $0.00 + Unliquidated
        HORTON
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3829 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        REMY HORTON,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
26486   AND AS HEIR OF                   22645   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF AL                                      General Unsecured: $0.00 + Unliquidated
        HORTON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        REMY HORTON,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
26487   AND AS HEIR OF                   28394   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF AL                                      General Unsecured: $0.00 + Unliquidated
        HORTON
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26488   RENDON, ARTURO Laredo, LLC       33078   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26489   RENDON, ARTURO                   34069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26490   RENDON, ARTURO                   35060   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26491   RENDON, ARTURO                   36051   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26492   RENDON, ARTURO                   37040   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3830 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26493   RENDON, JOSE                    7661    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26494   RENDON, JOSE    Laredo, LLC     13411   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26495   RENDON, JOSE                    19158   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26496   RENDON, JOSE                    24892   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26497   RENDON, JOSE                    30652   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26498   RENDU, MIKAEL                   8260    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26499   RENDU, MIKAEL   Laredo, LLC     14010   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3831 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26500   RENDU, MIKAEL                   19757   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26501   RENDU, MIKAEL                   25491   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26502   RENDU, MIKAEL                   31251   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26503   RENEAU, LORI                    6152    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26504   RENEAU, LORI    Laredo, LLC     11902   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26505   RENEAU, LORI                    17649   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26506   RENEAU, LORI                    23394   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3832 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26507   RENEAU, LORI                    29143   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26508   RENER, DUSTIN                   4949    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26509   RENER, DUSTIN   Laredo, LLC     10699   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26510   RENER, DUSTIN                   16446   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26511   RENER, DUSTIN                   22191   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26512   RENER, DUSTIN                   27940   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RENEWABLE                                            Priority: $0.00
                        Barney Davis,
26513   DIESEL MICRO                    5692    8/1/2022     Secured: $0.00
                        LLC
        REFINERY, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3833 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RENEWABLE                                            Priority: $0.00
26514   DIESEL MICRO    Laredo, LLC     11442   8/1/2022     Secured: $0.00
        REFINERY, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RENEWABLE                                            Priority: $0.00
                        Nueces Bay,
26515   DIESEL MICRO                    17189   8/1/2022     Secured: $0.00
                        LLC
        REFINERY, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RENEWABLE                                            Priority: $0.00
                        Talen Texas
26516   DIESEL MICRO                    22934   8/1/2022     Secured: $0.00
                        Group, LLC
        REFINERY, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RENEWABLE                                            Priority: $0.00
                        Talen Texas,
26517   DIESEL MICRO                    28683   8/1/2022     Secured: $0.00
                        LLC
        REFINERY, LLC                                        General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26518   REO, DANIEL                     6894    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26519   REO, DANIEL     Laredo, LLC     12644   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26520   REO, DANIEL                     18391   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3834 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26521   REO, DANIEL                       24125   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26522   REO, DANIEL                       29885   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        REPUBLIC
                                                               Priority: $0.00
        FRANKLIN          Nueces Bay,
26523                                     2432    7/29/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $2,290,073.00 + Unliquidated
        COMPANY
                                                               Total: $2,290,073.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        REPUBLIC
                                                               Priority: $0.00
        FRANKLIN          Barney Davis,
26524                                     37345   6/29/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $2,290,073.00 + Unliquidated
        COMPANY
                                                               Total: $2,290,073.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        REPUBLIC
                                                               Priority: $0.00
        FRANKLIN
26525                     Laredo, LLC     37348   6/29/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $2,290,073.00 + Unliquidated
        COMPANY
                                                               Total: $2,290,073.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26526   REPUBLIC LLOYDS                   3516    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $2,538,814.05 + Unliquidated

                                                               Total: $2,538,814.05 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26527   REPUBLIC LLOYDS Laredo, LLC       3520    8/1/2022     Secured: $0.00
                                                               General Unsecured: $2,538,814.05 + Unliquidated

                                                               Total: $2,538,814.05 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3835 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
26528   REPUBLIC LLOYDS                   3567   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $2,538,814.05 + Unliquidated

                                                              Total: $2,538,814.05 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        REPUBLIC
                                                              Priority: $0.00
        UNDERWRITERS      Barney Davis,
26529                                     3465   8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                              General Unsecured: $415,875.00 + Unliquidated
        COMPANY
                                                              Total: $415,875.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        REPUBLIC
                                                              Priority: $0.00
        UNDERWRITERS      Nueces Bay,
26530                                     3523   8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                              General Unsecured: $415,875.00 + Unliquidated
        COMPANY
                                                              Total: $415,875.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        REPUBLIC
                                                              Priority: $0.00
        UNDERWRITERS
26531                     Laredo, LLC     3563   8/1/2022     Secured: $0.00
        INSURANCE
                                                              General Unsecured: $415,875.00 + Unliquidated
        COMPANY
                                                              Total: $415,875.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        REPUBLIC‐
                                                              Priority: $0.00
        VANGUARD          Nueces Bay,
26532                                     3375   8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                              General Unsecured: $2,328,829.28 + Unliquidated
        COMPANY
                                                              Total: $2,328,829.28 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        REPUBLIC‐
                                                              Priority: $0.00
        VANGUARD          Barney Davis,
26533                                     3543   8/1/2022     Secured: $0.00
        INSURANCE         LLC
                                                              General Unsecured: $2,328,829.28 + Unliquidated
        COMPANY
                                                              Total: $2,328,829.28 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        REPUBLIC‐
                                                              Priority: $0.00
        VANGUARD
26534                     Laredo, LLC     3552   8/1/2022     Secured: $0.00
        INSURANCE
                                                              General Unsecured: $2,328,829.28 + Unliquidated
        COMPANY
                                                              Total: $2,328,829.28 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3836 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REQUEJO,
26535                 Laredo, LLC     33079   8/1/2022     Secured: $0.00
        ROBERTO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REQUEJO,      Barney Davis,
26536                                 34070   8/1/2022     Secured: $0.00
        ROBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REQUEJO,      Nueces Bay,
26537                                 35061   8/1/2022     Secured: $0.00
        ROBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REQUEJO,      Talen Texas
26538                                 36052   8/1/2022     Secured: $0.00
        ROBERTO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REQUEJO,      Talen Texas,
26539                                 37041   8/1/2022     Secured: $0.00
        ROBERTO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RESENDEZ,
26540                 Laredo, LLC     33080   8/1/2022     Secured: $0.00
        HOMERO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RESENDEZ,     Barney Davis,
26541                                 34071   8/1/2022     Secured: $0.00
        HOMERO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3837 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RESENDEZ,        Nueces Bay,
26542                                    35062   8/1/2022     Secured: $0.00
        HOMERO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RESENDEZ,        Talen Texas
26543                                    36053   8/1/2022     Secured: $0.00
        HOMERO           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RESENDEZ,        Talen Texas,
26544                                    37042   8/1/2022     Secured: $0.00
        HOMERO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26545   RESENDEZ, JUAN   Laredo, LLC     33081   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26546   RESENDEZ, JUAN                   34072   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26547   RESENDEZ, JUAN                   35063   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26548   RESENDEZ, JUAN                   36054   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3838 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26549   RESENDEZ, JUAN                   37043   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26550   REVELL, HOLLI                    5441    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26551   REVELL, HOLLI    Laredo, LLC     11191   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26552   REVELL, HOLLI                    16938   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26553   REVELL, HOLLI                    22683   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26554   REVELL, HOLLI                    28432   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26555   REY, DIANA                       7035    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3839 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26556   REY, DIANA        Laredo, LLC     12785   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26557   REY, DIANA                        18532   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26558   REY, DIANA                        24266   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26559   REY, DIANA                        30026   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26560   REYES, ANGELITA                   6401    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26561   REYES, ANGELITA Laredo, LLC       12151   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26562   REYES, ANGELITA                   17898   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3840 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26563   REYES, ANGELITA                   23633   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26564   REYES, ANGELITA                   29392   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26565   REYES, BROOKE                     6600    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26566   REYES, BROOKE     Laredo, LLC     12350   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26567   REYES, BROOKE                     18097   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26568   REYES, BROOKE                     23831   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26569   REYES, BROOKE                     29591   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3841 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26570   REYES, EDWARD                     7135    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26571   REYES, EDWARD     Laredo, LLC     12885   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26572   REYES, EDWARD                     18632   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26573   REYES, EDWARD                     24366   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26574   REYES, EDWARD                     30126   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26575   REYES, ELIZELDA                   7155    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26576   REYES, ELIZELDA   Laredo, LLC     12905   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3842 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26577   REYES, ELIZELDA                   18652   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26578   REYES, ELIZELDA                   24386   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26579   REYES, ELIZELDA                   30146   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26580   REYES, ESTHER                     7204    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26581   REYES, ESTHER     Laredo, LLC     12954   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26582   REYES, ESTHER                     18701   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26583   REYES, ESTHER                     24435   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3843 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26584   REYES, ESTHER                   30195   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26585   REYES, ESTHER   Laredo, LLC     33082   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26586   REYES, ESTHER                   34073   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26587   REYES, ESTHER                   35064   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26588   REYES, ESTHER                   36055   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26589   REYES, ESTHER                   37044   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26590   REYES, JAIME    Laredo, LLC     33083   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3844 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26591   REYES, JAIME                     34074   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26592   REYES, JAIME                     35065   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26593   REYES, JAIME                     36056   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26594   REYES, JAIME                     37045   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26595   REYES, JESSICA   Laredo, LLC     33084   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26596   REYES, JESSICA                   34075   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26597   REYES, JESSICA                   35066   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3845 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26598   REYES, JESSICA                   36057   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26599   REYES, JESSICA                   37046   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26600   REYES, JOHN                      4307    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26601   REYES, JOHN                      4792    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26602   REYES, JOHN      Laredo, LLC     10057   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26603   REYES, JOHN      Laredo, LLC     10542   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26604   REYES, JOHN                      15804   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3846 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26605   REYES, JOHN                    16289   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26606   REYES, JOHN                    21550   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26607   REYES, JOHN                    22035   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26608   REYES, JOHN                    27298   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26609   REYES, JOHN                    27783   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26610   REYES, KEVIN                   7834    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26611   REYES, KEVIN   Laredo, LLC     13584   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3847 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26612   REYES, KEVIN                    19331   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26613   REYES, KEVIN                    25065   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26614   REYES, KEVIN                    30825   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26615   REYES, MANUEL                   5120    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26616   REYES, MANUEL   Laredo, LLC     10870   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26617   REYES, MANUEL                   16617   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26618   REYES, MANUEL                   22362   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3848 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26619   REYES, MANUEL                     28111   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26620   REYES, ORLANDO                    4546    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26621   REYES, ORLANDO Laredo, LLC        10296   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26622   REYES, ORLANDO                    16043   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26623   REYES, ORLANDO                    21789   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26624   REYES, ORLANDO                    27537   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26625   REYES, PATRICIA                   8396    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3849 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26626   REYES, PATRICIA   Laredo, LLC     14146   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26627   REYES, PATRICIA                   19893   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26628   REYES, PATRICIA                   25626   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26629   REYES, PATRICIA                   31387   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26630   REYES, SYLVIA                     8920    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26631   REYES, SYLVIA     Laredo, LLC     14670   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26632   REYES, SYLVIA                     20417   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3850 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26633   REYES, SYLVIA                   26149   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26634   REYES, SYLVIA                   31911   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        REYNA JR,
26635                   Laredo, LLC     33085   8/1/2022     Secured: $0.00
        ROSENDO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        REYNA JR,       Barney Davis,
26636                                   34076   8/1/2022     Secured: $0.00
        ROSENDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        REYNA JR,       Nueces Bay,
26637                                   35067   8/1/2022     Secured: $0.00
        ROSENDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        REYNA JR,       Talen Texas
26638                                   36058   8/1/2022     Secured: $0.00
        ROSENDO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        REYNA JR,       Talen Texas,
26639                                   37047   8/1/2022     Secured: $0.00
        ROSENDO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3851 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26640   REYNA, KAREN   Laredo, LLC     33086   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26641   REYNA, KAREN                   34077   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26642   REYNA, KAREN                   35068   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26643   REYNA, KAREN                   36059   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26644   REYNA, KAREN                   37048   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26645   REYNA, LUCY                    6154    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26646   REYNA, LUCY    Laredo, LLC     11904   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3852 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
26647   REYNA, LUCY                   17651   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
26648   REYNA, LUCY                   23396   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
26649   REYNA, LUCY                   29145   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNA,        Barney Davis,
26650                                 8178    8/1/2022     Secured: $0.00
        MARYANN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNA,
26651                 Laredo, LLC     13928   8/1/2022     Secured: $0.00
        MARYANN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNA,        Nueces Bay,
26652                                 19675   8/1/2022     Secured: $0.00
        MARYANN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNA,        Talen Texas
26653                                 25409   8/1/2022     Secured: $0.00
        MARYANN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3853 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REYNA,            Talen Texas,
26654                                     31169   8/1/2022     Secured: $0.00
        MARYANN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26655   REYNOLDS, APRIL                   3945    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26656   REYNOLDS, APRIL Laredo, LLC       9695    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26657   REYNOLDS, APRIL                   15442   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26658   REYNOLDS, APRIL                   21188   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26659   REYNOLDS, APRIL                   26936   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        REYNOLDS,         Barney Davis,
26660                                     4065    8/1/2022     Secured: $0.00
        CRYSTAL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3854 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,
26661                 Laredo, LLC     9815    8/1/2022     Secured: $0.00
        CRYSTAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,     Nueces Bay,
26662                                 15562   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,     Talen Texas
26663                                 21308   8/1/2022     Secured: $0.00
        CRYSTAL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,     Talen Texas,
26664                                 27056   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,     Barney Davis,
26665                                 9245    8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,
26666                 Laredo, LLC     14995   8/1/2022     Secured: $0.00
        DANIEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        REYNOLDS,     Nueces Bay,
26667                                 20742   8/1/2022     Secured: $0.00
        DANIEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3855 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REYNOLDS,        Talen Texas
26668                                    26474   8/1/2022     Secured: $0.00
        DANIEL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        REYNOLDS,        Talen Texas,
26669                                    32236   8/1/2022     Secured: $0.00
        DANIEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26670   REZAEI, ROBERT                   4627    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26671   REZAEI, ROBERT   Laredo, LLC     10377   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26672   REZAEI, ROBERT                   16124   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26673   REZAEI, ROBERT                   21870   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26674   REZAEI, ROBERT                   27618   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3856 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26675   REZAINIA, ROYA                   8695    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26676   REZAINIA, ROYA   Laredo, LLC     14445   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26677   REZAINIA, ROYA                   20192   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26678   REZAINIA, ROYA                   25924   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26679   REZAINIA, ROYA                   31686   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26680   RHODES, ANGELA                   6271    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26681   RHODES, ANGELA                   6394    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3857 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26682   RHODES, ANGELA Laredo, LLC      12021   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26683   RHODES, ANGELA Laredo, LLC      12144   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
26684   RHODES, ANGELA                  17768   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
26685   RHODES, ANGELA                  17891   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
26686   RHODES, ANGELA                  23503   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
26687   RHODES, ANGELA                  23626   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
26688   RHODES, ANGELA                  29262   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3858 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26689   RHODES, ANGELA                   29385   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26690   RHODES, DONALD Laredo, LLC       33087   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26691   RHODES, DONALD                   34078   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26692   RHODES, DONALD                   35069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26693   RHODES, DONALD                   36060   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26694   RHODES, DONALD                   37049   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26695   RHODES, LINDA                    5100    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3859 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26696   RHODES, LINDA    Laredo, LLC     10850   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26697   RHODES, LINDA                    16597   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26698   RHODES, LINDA                    22342   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26699   RHODES, LINDA                    28091   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26700   RHODES, MELISA Laredo, LLC       33088   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26701   RHODES, MELISA                   34079   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26702   RHODES, MELISA                   35070   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3860 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26703   RHODES, MELISA                   36061   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26704   RHODES, MELISA                   37050   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26705   RHODES, MILLER                   6009    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26706   RHODES, MILLER   Laredo, LLC     11759   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26707   RHODES, MILLER                   17506   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26708   RHODES, MILLER                   23251   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26709   RHODES, MILLER                   29000   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3861 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RHODES,        Barney Davis,
26710                                  4678    8/1/2022     Secured: $0.00
        SHAWNA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RHODES,
26711                  Laredo, LLC     10428   8/1/2022     Secured: $0.00
        SHAWNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RHODES,        Nueces Bay,
26712                                  16175   8/1/2022     Secured: $0.00
        SHAWNA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RHODES,        Talen Texas
26713                                  21921   8/1/2022     Secured: $0.00
        SHAWNA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RHODES,        Talen Texas,
26714                                  27669   8/1/2022     Secured: $0.00
        SHAWNA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26715   RIBO, ANGEL                    5740    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26716   RIBO, ANGEL    Laredo, LLC     11490   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3862 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26717   RIBO, ANGEL                    17237   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26718   RIBO, ANGEL                    22982   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26719   RIBO, ANGEL                    28731   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26720   RICE, ROBIN    Laredo, LLC     33089   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26721   RICE, ROBIN                    34080   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26722   RICE, ROBIN                    35071   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26723   RICE, ROBIN                    36062   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3863 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26724   RICE, ROBIN                     37051   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26725   RICE, SHIRLEY                   5309    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26726   RICE, SHIRLEY   Laredo, LLC     11059   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26727   RICE, SHIRLEY                   16806   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26728   RICE, SHIRLEY                   22551   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26729   RICE, SHIRLEY                   28300   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26730   RICH, ANN                       9207    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3864 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26731   RICH, ANN        Laredo, LLC     14957   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26732   RICH, ANN                        20704   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26733   RICH, ANN                        26436   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26734   RICH, ANN                        32198   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26735   RICHARD, ANGEL                   5741    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26736   RICHARD, ANGEL Laredo, LLC       11491   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26737   RICHARD, ANGEL                   17238   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3865 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26738   RICHARD, ANGEL                   22983   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26739   RICHARD, ANGEL                   28732   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26740   RICHARD, KERI                    9277    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26741   RICHARD, KERI    Laredo, LLC     15027   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26742   RICHARD, KERI                    20774   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26743   RICHARD, KERI                    26506   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26744   RICHARD, KERI                    32268   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3866 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26745   RICHARDS, JON                   7641    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26746   RICHARDS, JON   Laredo, LLC     13391   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26747   RICHARDS, JON                   19138   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26748   RICHARDS, JON                   24872   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26749   RICHARDS, JON                   30632   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RICHARDS,       Barney Davis,
26750                                   8179    8/1/2022     Secured: $0.00
        MASINE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RICHARDS,
26751                   Laredo, LLC     13929   8/1/2022     Secured: $0.00
        MASINE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3867 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Nueces Bay,
26752                                     19676   8/1/2022     Secured: $0.00
        MASINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Talen Texas
26753                                     25410   8/1/2022     Secured: $0.00
        MASINE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Talen Texas,
26754                                     31170   8/1/2022     Secured: $0.00
        MASINE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26755   RICHARDS, PEGGY Laredo, LLC       33090   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26756   RICHARDS, PEGGY                   34081   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26757   RICHARDS, PEGGY                   35072   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26758   RICHARDS, PEGGY                   36063   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3868 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26759   RICHARDS, PEGGY                   37052   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Barney Davis,
26760                                     6180    8/1/2022     Secured: $0.00
        RUSSHELL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,
26761                     Laredo, LLC     11930   8/1/2022     Secured: $0.00
        RUSSHELL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Nueces Bay,
26762                                     17677   8/1/2022     Secured: $0.00
        RUSSHELL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Talen Texas
26763                                     23422   8/1/2022     Secured: $0.00
        RUSSHELL          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDS,         Talen Texas,
26764                                     29171   8/1/2022     Secured: $0.00
        RUSSHELL          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RICHARDSON,       Barney Davis,
26765                                     3919    8/1/2022     Secured: $0.00
        AMOS              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3869 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26766                 Laredo, LLC     9669    8/1/2022     Secured: $0.00
        AMOS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26767                                 15416   8/1/2022     Secured: $0.00
        AMOS          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26768                                 21163   8/1/2022     Secured: $0.00
        AMOS          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26769                                 26910   8/1/2022     Secured: $0.00
        AMOS          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Barney Davis,
26770                                 9267    8/1/2022     Secured: $0.00
        JEROME        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26771                 Laredo, LLC     15017   8/1/2022     Secured: $0.00
        JEROME
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26772                                 20764   8/1/2022     Secured: $0.00
        JEROME        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3870 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26773                                 26496   8/1/2022     Secured: $0.00
        JEROME        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26774                                 32258   8/1/2022     Secured: $0.00
        JEROME        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Barney Davis,
26775                                 8337    8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26776                 Laredo, LLC     14087   8/1/2022     Secured: $0.00
        NICOLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26777                                 19834   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26778                                 25568   8/1/2022     Secured: $0.00
        NICOLE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26779                                 31328   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3871 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Barney Davis,
26780                                 4642    8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26781                 Laredo, LLC     10392   8/1/2022     Secured: $0.00
        RONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26782                                 16139   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26783                                 21885   8/1/2022     Secured: $0.00
        RONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26784                                 27633   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Barney Davis,
26785                                 5880    8/1/2022     Secured: $0.00
        STEPHANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26786                 Laredo, LLC     11630   8/1/2022     Secured: $0.00
        STEPHANY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3872 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26787                                 17377   8/1/2022     Secured: $0.00
        STEPHANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26788                                 23122   8/1/2022     Secured: $0.00
        STEPHANY      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26789                                 28871   8/1/2022     Secured: $0.00
        STEPHANY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Barney Davis,
26790                                 5356    8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26791                 Laredo, LLC     11106   8/1/2022     Secured: $0.00
        VALERIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26792                                 16853   8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26793                                 22598   8/1/2022     Secured: $0.00
        VALERIE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3873 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26794                                 28347   8/1/2022     Secured: $0.00
        VALERIE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Barney Davis,
26795                                 5887    8/1/2022     Secured: $0.00
        VIOLET        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,
26796                 Laredo, LLC     11637   8/1/2022     Secured: $0.00
        VIOLET
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Nueces Bay,
26797                                 17384   8/1/2022     Secured: $0.00
        VIOLET        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas
26798                                 23129   8/1/2022     Secured: $0.00
        VIOLET        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHARDSON,   Talen Texas,
26799                                 28878   8/1/2022     Secured: $0.00
        VIOLET        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RICHBOURG,    Barney Davis,
26800                                 9258    8/1/2022     Secured: $0.00
        EUGENIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3874 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        RICHBOURG,
26801                       Laredo, LLC     15008   8/1/2022     Secured: $0.00
        EUGENIA
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        RICHBOURG,          Nueces Bay,
26802                                       20755   8/1/2022     Secured: $0.00
        EUGENIA             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        RICHBOURG,          Talen Texas
26803                                       26487   8/1/2022     Secured: $0.00
        EUGENIA             Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        RICHBOURG,          Talen Texas,
26804                                       32249   8/1/2022     Secured: $0.00
        EUGENIA             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
26805   RICHINS, CRISTELE                   6841    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
26806   RICHINS, CRISTELE Laredo, LLC       12591   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
26807   RICHINS, CRISTELE                   18338   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3875 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
26808   RICHINS, CRISTELE                   24072   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
26809   RICHINS, CRISTELE                   29832   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
26810   RICHTER, MISTY                      8275    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
26811   RICHTER, MISTY      Laredo, LLC     14025   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
26812   RICHTER, MISTY                      19772   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
26813   RICHTER, MISTY                      25506   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
26814   RICHTER, MISTY                      31266   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3876 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26815   RICKARD, SCOTT                   8762    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26816   RICKARD, SCOTT   Laredo, LLC     14512   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26817   RICKARD, SCOTT                   20259   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26818   RICKARD, SCOTT                   25991   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26819   RICKARD, SCOTT                   31753   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26820   RICO, JESSE                      7550    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26821   RICO, JESSE      Laredo, LLC     13300   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3877 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26822   RICO, JESSE                      19047   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26823   RICO, JESSE                      24781   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26824   RICO, JESSE                      30541   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26825   RIDDLE JR, JOE                   7592    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26826   RIDDLE JR, JOE   Laredo, LLC     13342   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26827   RIDDLE JR, JOE                   19089   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26828   RIDDLE JR, JOE                   24823   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3878 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26829   RIDDLE JR, JOE                   30583   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RIDER,           Barney Davis,
26830                                    6599    8/1/2022     Secured: $0.00
        BRODERICK        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RIDER,
26831                    Laredo, LLC     12349   8/1/2022     Secured: $0.00
        BRODERICK
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RIDER,           Nueces Bay,
26832                                    18096   8/1/2022     Secured: $0.00
        BRODERICK        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RIDER,           Talen Texas
26833                                    23830   8/1/2022     Secured: $0.00
        BRODERICK        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RIDER,           Talen Texas,
26834                                    29590   8/1/2022     Secured: $0.00
        BRODERICK        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26835   RIDGE, NELDA                     8323    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3879 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26836   RIDGE, NELDA   Laredo, LLC     14073   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26837   RIDGE, NELDA                   19820   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26838   RIDGE, NELDA                   25554   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26839   RIDGE, NELDA                   31314   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIDGEDELL,     Barney Davis,
26840                                  6794    8/1/2022     Secured: $0.00
        CLAUDETTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIDGEDELL,
26841                  Laredo, LLC     12544   8/1/2022     Secured: $0.00
        CLAUDETTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIDGEDELL,     Nueces Bay,
26842                                  18291   8/1/2022     Secured: $0.00
        CLAUDETTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3880 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIDGEDELL,      Talen Texas
26843                                   24025   8/1/2022     Secured: $0.00
        CLAUDETTE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIDGEDELL,      Talen Texas,
26844                                   29785   8/1/2022     Secured: $0.00
        CLAUDETTE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26845   RIDGLEY, MIKE                   8266    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26846   RIDGLEY, MIKE   Laredo, LLC     14016   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26847   RIDGLEY, MIKE                   19763   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26848   RIDGLEY, MIKE                   25497   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26849   RIDGLEY, MIKE                   31257   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3881 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26850   RIDLEY, EMMA                   7167    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26851   RIDLEY, EMMA   Laredo, LLC     12917   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26852   RIDLEY, EMMA                   18664   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26853   RIDLEY, EMMA                   24398   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26854   RIDLEY, EMMA                   30158   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIGGINS,       Barney Davis,
26855                                  3873    8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIGGINS,
26856                  Laredo, LLC     9623    8/1/2022     Secured: $0.00
        BARBARA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3882 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIGGINS,        Nueces Bay,
26857                                   15370   8/1/2022     Secured: $0.00
        BARBARA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIGGINS,        Talen Texas
26858                                   21117   8/1/2022     Secured: $0.00
        BARBARA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIGGINS,        Talen Texas,
26859                                   26864   8/1/2022     Secured: $0.00
        BARBARA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26860   RILES, UNIQUE                   5644    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26861   RILES, UNIQUE   Laredo, LLC     11394   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26862   RILES, UNIQUE                   17141   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26863   RILES, UNIQUE                   22886   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3883 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26864   RILES, UNIQUE                     28635   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26865   RILEY, DEMETRIA                   6987    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26866   RILEY, DEMETRIA Laredo, LLC       12737   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26867   RILEY, DEMETRIA                   18484   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26868   RILEY, DEMETRIA                   24218   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26869   RILEY, DEMETRIA                   29978   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26870   RILEY, VICKIE                     9108    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3884 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26871   RILEY, VICKIE   Laredo, LLC     14858   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26872   RILEY, VICKIE                   20605   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26873   RILEY, VICKIE                   26337   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26874   RILEY, VICKIE                   32099   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26875   RIMBEY, JACK                    7414    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26876   RIMBEY, JACK    Laredo, LLC     13164   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26877   RIMBEY, JACK                    18911   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3885 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26878   RIMBEY, JACK                   24645   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26879   RIMBEY, JACK                   30405   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26880   RIOJAS, JOSE                   4322    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26881   RIOJAS, JOSE   Laredo, LLC     10072   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26882   RIOJAS, JOSE                   15819   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26883   RIOJAS, JOSE                   21565   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26884   RIOJAS, JOSE                   27313   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3886 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
26885   RIOJAS, LISA        Laredo, LLC     33091   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
26886   RIOJAS, LISA                        34082   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
26887   RIOJAS, LISA                        35073   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
26888   RIOJAS, LISA                        36064   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
26889   RIOJAS, LISA                        37053   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
26890   RIOS SR, JAVIER A Laredo, LLC       33092   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
26891   RIOS SR, JAVIER A                   34083   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3887 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
26892   RIOS SR, JAVIER A                   35074   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
26893   RIOS SR, JAVIER A                   36065   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
26894   RIOS SR, JAVIER A                   37054   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
26895   RIOS, DIANE         Laredo, LLC     33093   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
26896   RIOS, DIANE                         34084   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
26897   RIOS, DIANE                         35075   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
26898   RIOS, DIANE                         36066   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3888 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26899   RIOS, DIANE                       37055   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
26900   RIOS, GUADALUPE Laredo, LLC       33094   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
26901   RIOS, GUADALUPE                   34085   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
26902   RIOS, GUADALUPE                   35076   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
26903   RIOS, GUADALUPE                   36067   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
26904   RIOS, GUADALUPE                   37056   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RIOS, JESUS       Barney Davis,
26905                                     7568    8/1/2022     Secured: $0.00
        VAZQUEZ           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3889 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIOS, JESUS
26906                  Laredo, LLC     13318   8/1/2022     Secured: $0.00
        VAZQUEZ
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIOS, JESUS    Nueces Bay,
26907                                  19065   8/1/2022     Secured: $0.00
        VAZQUEZ        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIOS, JESUS    Talen Texas
26908                                  24799   8/1/2022     Secured: $0.00
        VAZQUEZ        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RIOS, JESUS    Talen Texas,
26909                                  30559   8/1/2022     Secured: $0.00
        VAZQUEZ        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26910   RIOS, MONICA                   4528    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26911   RIOS, MONICA   Laredo, LLC     10278   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26912   RIOS, MONICA                   16025   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3890 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26913   RIOS, MONICA                   21771   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26914   RIOS, MONICA                   27519   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
26915   RIOS, RAQUEL                   8500    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
26916   RIOS, RAQUEL   Laredo, LLC     14250   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
26917   RIOS, RAQUEL                   19997   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
26918   RIOS, RAQUEL                   25729   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
26919   RIOS, RAQUEL                   31491   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3891 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26920   RIOS, ROSARIO                   8680    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26921   RIOS, ROSARIO   Laredo, LLC     14430   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26922   RIOS, ROSARIO                   20177   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26923   RIOS, ROSARIO                   25909   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26924   RIOS, ROSARIO                   31671   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26925   RIOS, ROSARIO   Laredo, LLC     33095   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26926   RIOS, ROSARIO                   34086   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3892 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26927   RIOS, ROSARIO                   35077   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26928   RIOS, ROSARIO                   36068   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26929   RIOS, ROSARIO                   37057   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26930   RIOS, SIERRA                    5641    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26931   RIOS, SIERRA    Laredo, LLC     11391   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26932   RIOS, SIERRA                    17138   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26933   RIOS, SIERRA                    22883   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3893 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26934   RIOS, SIERRA                       28632   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
26935   RIOS, TONY                         5347    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
26936   RIOS, TONY         Laredo, LLC     11097   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
26937   RIOS, TONY                         16844   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
26938   RIOS, TONY                         22589   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26939   RIOS, TONY                         28338   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
26940   RISCHER, LAKISHA                   4398    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3894 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
26941   RISCHER, LAKISHA Laredo, LLC       10148   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
26942   RISCHER, LAKISHA                   15895   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
26943   RISCHER, LAKISHA                   21641   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26944   RISCHER, LAKISHA                   27389   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RISE OF THE        Barney Davis,
26945                                      5942    8/1/2022     Secured: $0.00
        FALCON, LLC        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RISE OF THE
26946                      Laredo, LLC     11692   8/1/2022     Secured: $0.00
        FALCON, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RISE OF THE        Nueces Bay,
26947                                      17439   8/1/2022     Secured: $0.00
        FALCON, LLC        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3895 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RISE OF THE     Talen Texas
26948                                   23184   8/1/2022     Secured: $0.00
        FALCON, LLC     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RISE OF THE     Talen Texas,
26949                                   28933   8/1/2022     Secured: $0.00
        FALCON, LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RISKSMITH                                            Priority: $0.00
                        Nueces Bay,
26950   INSURANCE                       2931    8/1/2022     Secured: $0.00
                        LLC
        SERVICES                                             General Unsecured: $171,957.00 + Unliquidated

                                                             Total: $171,957.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RISKSMITH                                            Priority: $0.00
                        Barney Davis,
26951   INSURANCE                       3066    8/1/2022     Secured: $0.00
                        LLC
        SERVICES                                             General Unsecured: $171,957.00 + Unliquidated

                                                             Total: $171,957.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RISKSMITH                                            Priority: $0.00
26952   INSURANCE       Laredo, LLC     3137    8/1/2022     Secured: $0.00
        SERVICES                                             General Unsecured: $171,957.00 + Unliquidated

                                                             Total: $171,957.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26953   RISTO, CULLEN                   6850    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26954   RISTO, CULLEN   Laredo, LLC     12600   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3896 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26955   RISTO, CULLEN                   18347   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26956   RISTO, CULLEN                   24081   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26957   RISTO, CULLEN                   29841   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26958   RITTER, KELLI                   5504    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26959   RITTER, KELLI   Laredo, LLC     11254   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
26960   RITTER, KELLI                   17001   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
26961   RITTER, KELLI                   22746   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3897 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26962   RITTER, KELLI                    28495   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26963   RIVAS, MICHAEL                   5155    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26964   RIVAS, MICHAEL   Laredo, LLC     10905   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26965   RIVAS, MICHAEL                   16652   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26966   RIVAS, MICHAEL                   22397   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26967   RIVAS, MICHAEL                   28146   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26968   RIVERA, ANGELA                   6395    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3898 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
26969   RIVERA, ANGELA     Laredo, LLC     12145   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
26970   RIVERA, ANGELA                     17892   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
26971   RIVERA, ANGELA                     23627   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26972   RIVERA, ANGELA                     29386   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
26973   RIVERA, FILBERTO Laredo, LLC       33096   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
26974   RIVERA, FILBERTO                   34087   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
26975   RIVERA, FILBERTO                   35078   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3899 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
26976   RIVERA, FILBERTO                   36069   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26977   RIVERA, FILBERTO                   37058   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
26978   RIVERA, GINA       Laredo, LLC     33097   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
26979   RIVERA, GINA                       34088   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
26980   RIVERA, GINA                       35079   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
26981   RIVERA, GINA                       36070   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
26982   RIVERA, GINA                       37059   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3900 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26983   RIVERA, JUAN     Laredo, LLC     33098   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26984   RIVERA, JUAN                     34089   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26985   RIVERA, JUAN                     35080   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26986   RIVERA, JUAN                     36071   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26987   RIVERA, JUAN                     37060   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26988   RIVERA, MEAGAN Laredo, LLC       33099   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26989   RIVERA, MEAGAN                   34090   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3901 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26990   RIVERA, MEAGAN                   35081   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26991   RIVERA, MEAGAN                   36072   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
26992   RIVERA, MEAGAN                   37061   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
26993   RIVERA, RITA                     8587    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
26994   RIVERA, RITA     Laredo, LLC     14337   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
26995   RIVERA, RITA                     20084   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
26996   RIVERA, RITA                     25816   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3902 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
26997   RIVERA, RITA                    31578   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
26998   RIVERS, DIANA   Laredo, LLC     33100   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
26999   RIVERS, DIANA                   34091   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27000   RIVERS, DIANA                   35082   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27001   RIVERS, DIANA                   36073   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27002   RIVERS, DIANA                   37062   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIVERS,         Barney Davis,
27003                                   8144    8/1/2022     Secured: $0.00
        MARTRENTIA      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3903 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVERS,
27004                 Laredo, LLC     13894   8/1/2022     Secured: $0.00
        MARTRENTIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVERS,       Nueces Bay,
27005                                 19641   8/1/2022     Secured: $0.00
        MARTRENTIA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVERS,       Talen Texas
27006                                 25375   8/1/2022     Secured: $0.00
        MARTRENTIA    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVERS,       Talen Texas,
27007                                 31135   8/1/2022     Secured: $0.00
        MARTRENTIA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVISON,      Barney Davis,
27008                                 4051    8/1/2022     Secured: $0.00
        CHRYSTAL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVISON,
27009                 Laredo, LLC     9801    8/1/2022     Secured: $0.00
        CHRYSTAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RIVISON,      Nueces Bay,
27010                                 15548   8/1/2022     Secured: $0.00
        CHRYSTAL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3904 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIVISON,        Talen Texas
27011                                   21294   8/1/2022     Secured: $0.00
        CHRYSTAL        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RIVISON,        Talen Texas,
27012                                   27042   8/1/2022     Secured: $0.00
        CHRYSTAL        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RLI INSURANCE   Nueces Bay,
27013                                   2204    8/1/2022     Secured: $0.00
        COMPANY         LLC
                                                             General Unsecured: $225,341.00 + Unliquidated

                                                             Total: $225,341.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RLI INSURANCE   Barney Davis,
27014                                   2205    8/1/2022     Secured: $0.00
        COMPANY         LLC
                                                             General Unsecured: $225,341.00 + Unliquidated

                                                             Total: $225,341.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RLI INSURANCE
27015                   Laredo, LLC     2206    8/1/2022     Secured: $0.00
        COMPANY
                                                             General Unsecured: $225,341.00 + Unliquidated

                                                             Total: $225,341.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27016   ROACH, CHRIS                    6740    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27017   ROACH, CHRIS    Laredo, LLC     12490   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3905 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27018   ROACH, CHRIS                   18237   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27019   ROACH, CHRIS                   23971   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27020   ROACH, CHRIS                   29731   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROACH, LANCE   Barney Davis,
27021                                  7901    8/1/2022     Secured: $0.00
        WAYNE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROACH, LANCE
27022                  Laredo, LLC     13651   8/1/2022     Secured: $0.00
        WAYNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROACH, LANCE   Nueces Bay,
27023                                  19398   8/1/2022     Secured: $0.00
        WAYNE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROACH, LANCE   Talen Texas
27024                                  25132   8/1/2022     Secured: $0.00
        WAYNE          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3906 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROACH, LANCE   Talen Texas,
27025                                  30892   8/1/2022     Secured: $0.00
        WAYNE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27026   ROACH, TINA                    9021    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27027   ROACH, TINA    Laredo, LLC     14771   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27028   ROACH, TINA                    20518   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27029   ROACH, TINA                    26250   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27030   ROACH, TINA                    32012   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27031   ROAN, LAUREN                   7932    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3907 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27032   ROAN, LAUREN   Laredo, LLC     13682   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27033   ROAN, LAUREN                   19429   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27034   ROAN, LAUREN                   25163   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27035   ROAN, LAUREN                   30923   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27036   ROANE, COYE                    5591    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27037   ROANE, COYE    Laredo, LLC     11341   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27038   ROANE, COYE                    17088   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3908 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
27039   ROANE, COYE                   22833   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
27040   ROANE, COYE                   28582   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
27041   ROARK, DANA                   5593    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
27042   ROARK, DANA   Laredo, LLC     11343   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
27043   ROARK, DANA                   17090   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
27044   ROARK, DANA                   22835   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
27045   ROARK, DANA                   28584   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3909 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        ROBBIE RUFF,                                          Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
27046   AND AS HEIR OF                   5404    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PATRICIA TAFT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBBIE RUFF,                                          Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
27047   AND AS HEIR OF   Laredo, LLC     11154   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PATRICIA TAFT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBBIE RUFF,                                          Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
27048   AND AS HEIR OF                   16901   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PATRICIA TAFT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBBIE RUFF,                                          Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
27049   AND AS HEIR OF                   22646   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PATRICIA TAFT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBBIE RUFF,                                          Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
27050   AND AS HEIR OF                   28395   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        PATRICIA TAFT
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROBBINS,                                              Priority: $0.00
                         Barney Davis,
27051   CHRISTOPHER                      4903    8/1/2022     Secured: $0.00
                         LLC
        ERIC                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROBBINS,                                              Priority: $0.00
27052   CHRISTOPHER      Laredo, LLC     10653   8/1/2022     Secured: $0.00
        ERIC                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3910 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ROBBINS,                                           Priority: $0.00
                      Nueces Bay,
27053   CHRISTOPHER                   16400   8/1/2022     Secured: $0.00
                      LLC
        ERIC                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ROBBINS,                                           Priority: $0.00
                      Talen Texas
27054   CHRISTOPHER                   22145   8/1/2022     Secured: $0.00
                      Group, LLC
        ERIC                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        ROBBINS,                                           Priority: $0.00
                      Talen Texas,
27055   CHRISTOPHER                   27894   8/1/2022     Secured: $0.00
                      LLC
        ERIC                                               General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Barney Davis,
27056                                 4262    8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,
27057                 Laredo, LLC     10012   8/1/2022     Secured: $0.00
        JEANETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Nueces Bay,
27058                                 15759   8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Talen Texas
27059                                 21505   8/1/2022     Secured: $0.00
        JEANETTE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3911 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Talen Texas,
27060                                 27253   8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Barney Davis,
27061                                 4325    8/1/2022     Secured: $0.00
        JOSEFINA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,
27062                 Laredo, LLC     10075   8/1/2022     Secured: $0.00
        JOSEFINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Nueces Bay,
27063                                 15822   8/1/2022     Secured: $0.00
        JOSEFINA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Talen Texas
27064                                 21568   8/1/2022     Secured: $0.00
        JOSEFINA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Talen Texas,
27065                                 27316   8/1/2022     Secured: $0.00
        JOSEFINA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBBINS,      Barney Davis,
27066                                 7804    8/1/2022     Secured: $0.00
        KENDALL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3912 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBBINS,
27067                    Laredo, LLC     13554   8/1/2022     Secured: $0.00
        KENDALL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBBINS,         Nueces Bay,
27068                                    19301   8/1/2022     Secured: $0.00
        KENDALL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBBINS,         Talen Texas
27069                                    25035   8/1/2022     Secured: $0.00
        KENDALL          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBBINS,         Talen Texas,
27070                                    30795   8/1/2022     Secured: $0.00
        KENDALL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27071   ROBBINS, TERRY                   8979    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27072   ROBBINS, TERRY   Laredo, LLC     14729   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27073   ROBBINS, TERRY                   20476   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3913 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27074   ROBBINS, TERRY                   26208   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27075   ROBBINS, TERRY                   31970   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERDS,         Barney Davis,
27076                                    4389    8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERDS,
27077                    Laredo, LLC     10139   8/1/2022     Secured: $0.00
        KIMBERLY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERDS,         Nueces Bay,
27078                                    15886   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERDS,         Talen Texas
27079                                    21632   8/1/2022     Secured: $0.00
        KIMBERLY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERDS,         Talen Texas,
27080                                    27380   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3914 of 5163
             Name of
Ref #        Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
        ROBERO                                                503(b)(9): $0.00
        CASTILLERO,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Barney Davis,
27081   AND AS HEIR OF                   5424    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELIZABETH
        CASTILLERO                                            Total: $0.00 + Unliquidated
        ROBERO                                                503(b)(9): $0.00
        CASTILLERO,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
27082   AND AS HEIR OF   Laredo, LLC     11174   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELIZABETH
        CASTILLERO                                            Total: $0.00 + Unliquidated
        ROBERO                                                503(b)(9): $0.00
        CASTILLERO,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Nueces Bay,
27083   AND AS HEIR OF                   16921   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELIZABETH
        CASTILLERO                                            Total: $0.00 + Unliquidated
        ROBERO                                                503(b)(9): $0.00
        CASTILLERO,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas
27084   AND AS HEIR OF                   22666   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELIZABETH
        CASTILLERO                                            Total: $0.00 + Unliquidated
        ROBERO                                                503(b)(9): $0.00
        CASTILLERO,                                           Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                         Talen Texas,
27085   AND AS HEIR OF                   28415   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ELIZABETH
        CASTILLERO                                            Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERSON,        Barney Davis,
27086                                    7011    8/1/2022     Secured: $0.00
        DESEREE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERSON,
27087                    Laredo, LLC     12761   8/1/2022     Secured: $0.00
        DESEREE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3915 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,     Nueces Bay,
27088                                 18508   8/1/2022     Secured: $0.00
        DESEREE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,     Talen Texas
27089                                 24242   8/1/2022     Secured: $0.00
        DESEREE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,     Talen Texas,
27090                                 30002   8/1/2022     Secured: $0.00
        DESEREE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,     Barney Davis,
27091                                 7292    8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,
27092                 Laredo, LLC     13042   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,     Nueces Bay,
27093                                 18789   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERSON,     Talen Texas
27094                                 24523   8/1/2022     Secured: $0.00
        GEORGE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3916 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROBERSON,         Talen Texas,
27095                                     30283   8/1/2022     Secured: $0.00
        GEORGE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27096   ROBERSON, TERRY                   8980    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27097   ROBERSON, TERRY Laredo, LLC       14730   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27098   ROBERSON, TERRY                   20477   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27099   ROBERSON, TERRY                   26209   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27100   ROBERSON, TERRY                   31971   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROBERTO,          Barney Davis,
27101                                     6110    8/1/2022     Secured: $0.00
        FRANCIS           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3917 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTO,
27102                  Laredo, LLC     11860   8/1/2022     Secured: $0.00
        FRANCIS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTO,       Nueces Bay,
27103                                  17607   8/1/2022     Secured: $0.00
        FRANCIS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTO,       Talen Texas
27104                                  23352   8/1/2022     Secured: $0.00
        FRANCIS        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTO,       Talen Texas,
27105                                  29101   8/1/2022     Secured: $0.00
        FRANCIS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTS JR,
27106                  Laredo, LLC     33101   8/1/2022     Secured: $0.00
        RAYMOND
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTS JR,    Barney Davis,
27107                                  34092   8/1/2022     Secured: $0.00
        RAYMOND        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBERTS JR,    Nueces Bay,
27108                                  35083   8/1/2022     Secured: $0.00
        RAYMOND        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3918 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERTS JR,      Talen Texas
27109                                    36074   8/1/2022     Secured: $0.00
        RAYMOND          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERTS JR,      Talen Texas,
27110                                    37063   8/1/2022     Secured: $0.00
        RAYMOND          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27111   ROBERTS, DAVID                   6936    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27112   ROBERTS, DAVID   Laredo, LLC     12686   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27113   ROBERTS, DAVID                   18433   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27114   ROBERTS, DAVID                   24167   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27115   ROBERTS, DAVID                   29927   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3919 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27116   ROBERTS, GARY                   7270    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27117   ROBERTS, GARY   Laredo, LLC     13020   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27118   ROBERTS, GARY                   18767   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27119   ROBERTS, GARY                   24501   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27120   ROBERTS, GARY                   30261   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,        Barney Davis,
27121                                   4369    8/1/2022     Secured: $0.00
        KAWANDA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,
27122                   Laredo, LLC     10119   8/1/2022     Secured: $0.00
        KAWANDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3920 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERTS,         Nueces Bay,
27123                                    15866   8/1/2022     Secured: $0.00
        KAWANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERTS,         Talen Texas
27124                                    21612   8/1/2022     Secured: $0.00
        KAWANDA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERTS,         Talen Texas,
27125                                    27360   8/1/2022     Secured: $0.00
        KAWANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27126   ROBERTS, LARRY                   7912    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27127   ROBERTS, LARRY   Laredo, LLC     13662   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27128   ROBERTS, LARRY                   19409   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27129   ROBERTS, LARRY                   25143   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3921 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27130   ROBERTS, LARRY                   30903   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27131   ROBERTS, LEASA                   3723    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27132   ROBERTS, LEASA   Laredo, LLC     9473    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27133   ROBERTS, LEASA                   15220   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27134   ROBERTS, LEASA                   20967   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27135   ROBERTS, LEASA                   26714   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27136   ROBERTS, LEE                     5089    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3922 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27137   ROBERTS, LEE    Laredo, LLC     10839   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27138   ROBERTS, LEE                    16586   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27139   ROBERTS, LEE                    22331   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27140   ROBERTS, LEE                    28080   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27141   ROBERTS, LEON                   7959    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27142   ROBERTS, LEON   Laredo, LLC     13709   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27143   ROBERTS, LEON                   19456   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3923 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27144   ROBERTS, LEON                   25190   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27145   ROBERTS, LEON                   30950   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,
27146                   Laredo, LLC     33102   8/1/2022     Secured: $0.00
        MARGARET
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,        Barney Davis,
27147                                   34093   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,        Nueces Bay,
27148                                   35084   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,        Talen Texas
27149                                   36075   8/1/2022     Secured: $0.00
        MARGARET        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBERTS,        Talen Texas,
27150                                   37064   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3924 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27151   ROBERTS, MARGIE                   8071    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27152   ROBERTS, MARGIE Laredo, LLC       13821   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27153   ROBERTS, MARGIE                   19568   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27154   ROBERTS, MARGIE                   25302   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27155   ROBERTS, MARGIE                   31062   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27156   ROBERTS, STEVEN                   8898    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27157   ROBERTS, STEVEN Laredo, LLC       14648   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3925 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27158   ROBERTS, STEVEN                   20395   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27159   ROBERTS, STEVEN                   26127   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27160   ROBERTS, STEVEN                   31889   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27161   ROBERTS, TIARRA                   9001    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27162   ROBERTS, TIARRA Laredo, LLC       14751   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27163   ROBERTS, TIARRA                   20498   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27164   ROBERTS, TIARRA                   26230   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3926 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27165   ROBERTS, TIARRA                   31992   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27166   ROBERTS, TROY                     9076    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27167   ROBERTS, TROY     Laredo, LLC     14826   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27168   ROBERTS, TROY                     20573   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27169   ROBERTS, TROY                     26305   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27170   ROBERTS, TROY                     32067   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROBERTSON,        Barney Davis,
27171                                     3961    8/1/2022     Secured: $0.00
        BARBARA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3927 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,
27172                 Laredo, LLC     9711    8/1/2022     Secured: $0.00
        BARBARA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Nueces Bay,
27173                                 15458   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas
27174                                 21204   8/1/2022     Secured: $0.00
        BARBARA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas,
27175                                 26952   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Barney Davis,
27176                                 6585    8/1/2022     Secured: $0.00
        BRIANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,
27177                 Laredo, LLC     12335   8/1/2022     Secured: $0.00
        BRIANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Nueces Bay,
27178                                 18082   8/1/2022     Secured: $0.00
        BRIANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3928 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas
27179                                 23816   8/1/2022     Secured: $0.00
        BRIANNA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas,
27180                                 29576   8/1/2022     Secured: $0.00
        BRIANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Barney Davis,
27181                                 4875    8/1/2022     Secured: $0.00
        BRYAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,
27182                 Laredo, LLC     10625   8/1/2022     Secured: $0.00
        BRYAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Nueces Bay,
27183                                 16372   8/1/2022     Secured: $0.00
        BRYAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas
27184                                 22118   8/1/2022     Secured: $0.00
        BRYAN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas,
27185                                 27866   8/1/2022     Secured: $0.00
        BRYAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3929 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Barney Davis,
27186                                 8124    8/1/2022     Secured: $0.00
        MARK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,
27187                 Laredo, LLC     13874   8/1/2022     Secured: $0.00
        MARK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Nueces Bay,
27188                                 19621   8/1/2022     Secured: $0.00
        MARK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas
27189                                 25355   8/1/2022     Secured: $0.00
        MARK          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas,
27190                                 31115   8/1/2022     Secured: $0.00
        MARK          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,
27191                 Laredo, LLC     33103   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Barney Davis,
27192                                 34094   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3930 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Nueces Bay,
27193                                 35085   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas
27194                                 36076   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas,
27195                                 37065   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Barney Davis,
27196                                 9315    8/1/2022     Secured: $0.00
        ROOSEVELT     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,
27197                 Laredo, LLC     15065   8/1/2022     Secured: $0.00
        ROOSEVELT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Nueces Bay,
27198                                 20812   8/1/2022     Secured: $0.00
        ROOSEVELT     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBERTSON,    Talen Texas
27199                                 26544   8/1/2022     Secured: $0.00
        ROOSEVELT     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3931 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBERTSON,       Talen Texas,
27200                                    32306   8/1/2022     Secured: $0.00
        ROOSEVELT        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBIN DOBBS,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
27201   AND AS HEIR OF                   3807    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        JEANE BURDA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBIN DOBBS,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
27202   AND AS HEIR OF   Laredo, LLC     9557    8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        JEANE BURDA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBIN DOBBS,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
27203   AND AS HEIR OF                   15304   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        JEANE BURDA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBIN DOBBS,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
27204   AND AS HEIR OF                   21051   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        JEANE BURDA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBIN DOBBS,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
27205   AND AS HEIR OF                   26798   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        JEANE BURDA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27206   ROBINSON, ALVIN Laredo, LLC      33104   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3932 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27207   ROBINSON, ALVIN                   34095   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27208   ROBINSON, ALVIN                   35086   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27209   ROBINSON, ALVIN                   36077   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27210   ROBINSON, ALVIN                   37066   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROBINSON,         Barney Davis,
27211                                     6561    8/1/2022     Secured: $0.00
        BRANDY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROBINSON,
27212                     Laredo, LLC     12311   8/1/2022     Secured: $0.00
        BRANDY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROBINSON,         Nueces Bay,
27213                                     18058   8/1/2022     Secured: $0.00
        BRANDY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3933 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27214                                 23793   8/1/2022     Secured: $0.00
        BRANDY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27215                                 29552   8/1/2022     Secured: $0.00
        BRANDY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27216                                 7118    8/1/2022     Secured: $0.00
        EARNEST L     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27217                 Laredo, LLC     12868   8/1/2022     Secured: $0.00
        EARNEST L
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27218                                 18615   8/1/2022     Secured: $0.00
        EARNEST L     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27219                                 24349   8/1/2022     Secured: $0.00
        EARNEST L     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27220                                 30109   8/1/2022     Secured: $0.00
        EARNEST L     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3934 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27221                                 7894    8/1/2022     Secured: $0.00
        LADETRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27222                 Laredo, LLC     13644   8/1/2022     Secured: $0.00
        LADETRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27223                                 19391   8/1/2022     Secured: $0.00
        LADETRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27224                                 25125   8/1/2022     Secured: $0.00
        LADETRA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27225                                 30885   8/1/2022     Secured: $0.00
        LADETRA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27226                                 5616    8/1/2022     Secured: $0.00
        LATASHIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27227                 Laredo, LLC     11366   8/1/2022     Secured: $0.00
        LATASHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3935 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27228                                 17113   8/1/2022     Secured: $0.00
        LATASHIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27229                                 22858   8/1/2022     Secured: $0.00
        LATASHIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27230                                 28607   8/1/2022     Secured: $0.00
        LATASHIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27231                                 4419    8/1/2022     Secured: $0.00
        LENDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27232                 Laredo, LLC     10169   8/1/2022     Secured: $0.00
        LENDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27233                                 15916   8/1/2022     Secured: $0.00
        LENDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27234                                 21662   8/1/2022     Secured: $0.00
        LENDA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3936 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Talen Texas,
27235                                   27410   8/1/2022     Secured: $0.00
        LENDA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Barney Davis,
27236                                   5166    8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,
27237                   Laredo, LLC     10916   8/1/2022     Secured: $0.00
        MONICA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Nueces Bay,
27238                                   16663   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Talen Texas
27239                                   22408   8/1/2022     Secured: $0.00
        MONICA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Talen Texas,
27240                                   28157   8/1/2022     Secured: $0.00
        MONICA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27241   ROBINSON, NIA                   8327    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3937 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27242   ROBINSON, NIA   Laredo, LLC     14077   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27243   ROBINSON, NIA                   19824   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27244   ROBINSON, NIA                   25558   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27245   ROBINSON, NIA                   31318   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Barney Davis,
27246                                   8338    8/1/2022     Secured: $0.00
        NICOLE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,
27247                   Laredo, LLC     14088   8/1/2022     Secured: $0.00
        NICOLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROBINSON,       Nueces Bay,
27248                                   19835   8/1/2022     Secured: $0.00
        NICOLE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3938 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27249                                 25569   8/1/2022     Secured: $0.00
        NICOLE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27250                                 31329   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27251                                 8642    8/1/2022     Secured: $0.00
        RODDRICH      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27252                 Laredo, LLC     14392   8/1/2022     Secured: $0.00
        RODDRICH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27253                                 20139   8/1/2022     Secured: $0.00
        RODDRICH      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27254                                 25871   8/1/2022     Secured: $0.00
        RODDRICH      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27255                                 31633   8/1/2022     Secured: $0.00
        RODDRICH      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3939 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27256                                 6267    8/1/2022     Secured: $0.00
        STEPHANYE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27257                 Laredo, LLC     12017   8/1/2022     Secured: $0.00
        STEPHANYE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27258                                 17764   8/1/2022     Secured: $0.00
        STEPHANYE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27259                                 23499   8/1/2022     Secured: $0.00
        STEPHANYE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27260                                 29258   8/1/2022     Secured: $0.00
        STEPHANYE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27261                                 8927    8/1/2022     Secured: $0.00
        TAISHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27262                 Laredo, LLC     14677   8/1/2022     Secured: $0.00
        TAISHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3940 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27263                                 20424   8/1/2022     Secured: $0.00
        TAISHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27264                                 26156   8/1/2022     Secured: $0.00
        TAISHA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas,
27265                                 31918   8/1/2022     Secured: $0.00
        TAISHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Barney Davis,
27266                                 5327    8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,
27267                 Laredo, LLC     11077   8/1/2022     Secured: $0.00
        TAMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Nueces Bay,
27268                                 16824   8/1/2022     Secured: $0.00
        TAMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ROBINSON,     Talen Texas
27269                                 22569   8/1/2022     Secured: $0.00
        TAMMY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3941 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBINSON,        Talen Texas,
27270                                    28318   8/1/2022     Secured: $0.00
        TAMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27271   ROBLES, EDWARD                   7136    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27272   ROBLES, EDWARD Laredo, LLC       12886   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27273   ROBLES, EDWARD                   18633   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27274   ROBLES, EDWARD                   24367   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27275   ROBLES, EDWARD                   30127   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBLES,          Barney Davis,
27276                                    4965    8/1/2022     Secured: $0.00
        ESMERALDA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3942 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBLES,
27277                    Laredo, LLC     10715   8/1/2022     Secured: $0.00
        ESMERALDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBLES,          Nueces Bay,
27278                                    16462   8/1/2022     Secured: $0.00
        ESMERALDA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBLES,          Talen Texas
27279                                    22207   8/1/2022     Secured: $0.00
        ESMERALDA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROBLES,          Talen Texas,
27280                                    27956   8/1/2022     Secured: $0.00
        ESMERALDA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27281   ROBLES, EUNICE                   7209    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27282   ROBLES, EUNICE   Laredo, LLC     12959   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27283   ROBLES, EUNICE                   18706   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3943 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27284   ROBLES, EUNICE                    24440   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27285   ROBLES, EUNICE                    30200   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27286   ROBLES, JUANITA                   4340    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27287   ROBLES, JUANITA Laredo, LLC       10090   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27288   ROBLES, JUANITA                   15837   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27289   ROBLES, JUANITA                   21583   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27290   ROBLES, JUANITA                   27331   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3944 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27291   ROBLES, MARY                   4494    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27292   ROBLES, MARY   Laredo, LLC     10244   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27293   ROBLES, MARY                   15991   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27294   ROBLES, MARY                   21737   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27295   ROBLES, MARY                   27485   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBY,          Barney Davis,
27296                                  6020    8/1/2022     Secured: $0.00
        SHARONICA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBY,
27297                  Laredo, LLC     11770   8/1/2022     Secured: $0.00
        SHARONICA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3945 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBY,          Nueces Bay,
27298                                  17517   8/1/2022     Secured: $0.00
        SHARONICA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBY,          Talen Texas
27299                                  23262   8/1/2022     Secured: $0.00
        SHARONICA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROBY,          Talen Texas,
27300                                  29011   8/1/2022     Secured: $0.00
        SHARONICA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROCA, DARGEL   Barney Davis,
27301                                  6903    8/1/2022     Secured: $0.00
        HERNANDEZ      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROCA, DARGEL
27302                  Laredo, LLC     12653   8/1/2022     Secured: $0.00
        HERNANDEZ
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROCA, DARGEL   Nueces Bay,
27303                                  18400   8/1/2022     Secured: $0.00
        HERNANDEZ      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROCA, DARGEL   Talen Texas
27304                                  24134   8/1/2022     Secured: $0.00
        HERNANDEZ      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3946 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROCA, DARGEL    Talen Texas,
27305                                   29894   8/1/2022     Secured: $0.00
        HERNANDEZ       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27306   ROCHA, ANDREA                   5578    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27307   ROCHA, ANDREA Laredo, LLC       11328   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27308   ROCHA, ANDREA                   17075   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27309   ROCHA, ANDREA                   22820   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27310   ROCHA, ANDREA                   28569   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROCHA,
27311                   Laredo, LLC     33105   8/1/2022     Secured: $0.00
        DOMINGO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3947 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROCHA,          Barney Davis,
27312                                   34096   8/1/2022     Secured: $0.00
        DOMINGO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROCHA,          Nueces Bay,
27313                                   35087   8/1/2022     Secured: $0.00
        DOMINGO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROCHA,          Talen Texas
27314                                   36078   8/1/2022     Secured: $0.00
        DOMINGO         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROCHA,          Talen Texas,
27315                                   37067   8/1/2022     Secured: $0.00
        DOMINGO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27316   ROCHA, OTILLA                   8372    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27317   ROCHA, OTILLA   Laredo, LLC     14122   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27318   ROCHA, OTILLA                   19869   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3948 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27319   ROCHA, OTILLA                   25602   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27320   ROCHA, OTILLA                   31363   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27321   ROCHA, ROBERT   Laredo, LLC     33106   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27322   ROCHA, ROBERT                   34097   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27323   ROCHA, ROBERT                   35088   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27324   ROCHA, ROBERT                   36079   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27325   ROCHA, ROBERT                   37068   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3949 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROCHDALE                                              Priority: $0.00
                         Barney Davis,
27326   INSURANCE                        3462    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $7,143.80 + Unliquidated

                                                              Total: $7,143.80 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROCHDALE                                              Priority: $0.00
27327   INSURANCE        Laredo, LLC     3535    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $7,143.80 + Unliquidated

                                                              Total: $7,143.80 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROCHDALE                                              Priority: $0.00
                         Nueces Bay,
27328   INSURANCE                        3545    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $7,143.80 + Unliquidated

                                                              Total: $7,143.80 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27329   ROCIO, NATOSHA                   3889    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27330   ROCIO, NATOSHA Laredo, LLC       9639    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27331   ROCIO, NATOSHA                   15386   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27332   ROCIO, NATOSHA                   21133   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3950 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27333   ROCIO, NATOSHA                   26880   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROCKVILLE RISK                                        Priority: $0.00
                         Nueces Bay,
27334   MANAGEMENT                       3486    8/1/2022     Secured: $0.00
                         LLC
        ASSOCIATES, INC.                                      General Unsecured: $39,262,938.32 + Unliquidated

                                                              Total: $39,262,938.32 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROCKVILLE RISK                                        Priority: $0.00
                         Barney Davis,
27335   MANAGEMENT                       3539    8/1/2022     Secured: $0.00
                         LLC
        ASSOCIATES, INC.                                      General Unsecured: $39,262,938.32 + Unliquidated

                                                              Total: $39,262,938.32 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ROCKVILLE RISK                                        Priority: $0.00
27336   MANAGEMENT       Laredo, LLC     3549    8/1/2022     Secured: $0.00
        ASSOCIATES, INC.                                      General Unsecured: $39,262,938.32 + Unliquidated

                                                              Total: $39,262,938.32 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27337   RODDEN, LOUIS                    8019    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27338   RODDEN, LOUIS    Laredo, LLC     13769   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3951 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27339   RODDEN, LOUIS                   19516   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27340   RODDEN, LOUIS                   25250   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27341   RODDEN, LOUIS                   31010   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27342   RODED, ITAI                     5793    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27343   RODED, ITAI     Laredo, LLC     11543   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27344   RODED, ITAI                     17290   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27345   RODED, ITAI                     23035   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3952 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27346   RODED, ITAI                     28784   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27347   RODELA, ROBIN                   8635    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27348   RODELA, ROBIN   Laredo, LLC     14385   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27349   RODELA, ROBIN                   20132   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27350   RODELA, ROBIN                   25864   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27351   RODELA, ROBIN                   31626   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODGERS,        Barney Davis,
27352                                   4957    8/1/2022     Secured: $0.00
        ELIZABETH       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3953 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,
27353                 Laredo, LLC     10707   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,      Nueces Bay,
27354                                 16454   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,      Talen Texas
27355                                 22199   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,      Talen Texas,
27356                                 27948   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,      Barney Davis,
27357                                 4530    8/1/2022     Secured: $0.00
        MORRIS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,
27358                 Laredo, LLC     10280   8/1/2022     Secured: $0.00
        MORRIS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODGERS,      Nueces Bay,
27359                                 16027   8/1/2022     Secured: $0.00
        MORRIS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3954 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODGERS,         Talen Texas
27360                                    21773   8/1/2022     Secured: $0.00
        MORRIS           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODGERS,         Talen Texas,
27361                                    27521   8/1/2022     Secured: $0.00
        MORRIS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27362   RODINO, NICOLE                   3890    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27363   RODINO, NICOLE   Laredo, LLC     9640    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27364   RODINO, NICOLE                   15387   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27365   RODINO, NICOLE                   21134   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27366   RODINO, NICOLE                   26881   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3955 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ B.,
27367                   Laredo, LLC     33107   8/1/2022     Secured: $0.00
        ESMERALDA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ B.,   Barney Davis,
27368                                   34098   8/1/2022     Secured: $0.00
        ESMERALDA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ B.,   Nueces Bay,
27369                                   35089   8/1/2022     Secured: $0.00
        ESMERALDA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ B.,   Talen Texas
27370                                   36080   8/1/2022     Secured: $0.00
        ESMERALDA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ B.,   Talen Texas,
27371                                   37069   8/1/2022     Secured: $0.00
        ESMERALDA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ,      Barney Davis,
27372                                   6380    8/1/2022     Secured: $0.00
        ANDREA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RODRIGUEZ,
27373                   Laredo, LLC     12130   8/1/2022     Secured: $0.00
        ANDREA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3956 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27374                                 17877   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27375                                 23612   8/1/2022     Secured: $0.00
        ANDREA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27376                                 29371   8/1/2022     Secured: $0.00
        ANDREA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27377                 Laredo, LLC     33108   8/1/2022     Secured: $0.00
        ARNOLD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27378                                 34099   8/1/2022     Secured: $0.00
        ARNOLD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27379                                 35090   8/1/2022     Secured: $0.00
        ARNOLD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27380                                 36081   8/1/2022     Secured: $0.00
        ARNOLD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3957 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27381                                 37070   8/1/2022     Secured: $0.00
        ARNOLD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27382                 Laredo, LLC     33109   8/1/2022     Secured: $0.00
        ARTURO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27383                                 34100   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27384                                 35091   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27385                                 36082   8/1/2022     Secured: $0.00
        ARTURO        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27386                                 37071   8/1/2022     Secured: $0.00
        ARTURO        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27387                                 6526    8/1/2022     Secured: $0.00
        BLANCA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3958 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27388                 Laredo, LLC     12276   8/1/2022     Secured: $0.00
        BLANCA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27389                                 18023   8/1/2022     Secured: $0.00
        BLANCA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27390                                 23758   8/1/2022     Secured: $0.00
        BLANCA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27391                                 29517   8/1/2022     Secured: $0.00
        BLANCA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27392                 Laredo, LLC     33110   8/1/2022     Secured: $0.00
        DAVID
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27393                                 34101   8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27394                                 35092   8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3959 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27395                                 36083   8/1/2022     Secured: $0.00
        DAVID         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27396                                 37072   8/1/2022     Secured: $0.00
        DAVID         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27397                                 7036    8/1/2022     Secured: $0.00
        DIANA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27398                 Laredo, LLC     12786   8/1/2022     Secured: $0.00
        DIANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27399                                 18533   8/1/2022     Secured: $0.00
        DIANA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27400                                 24267   8/1/2022     Secured: $0.00
        DIANA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27401                                 30027   8/1/2022     Secured: $0.00
        DIANA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3960 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27402   RODRIGUEZ, ELOY Laredo, LLC       33111   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27403   RODRIGUEZ, ELOY                   34102   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27404   RODRIGUEZ, ELOY                   35093   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27405   RODRIGUEZ, ELOY                   36084   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27406   RODRIGUEZ, ELOY                   37073   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27407                     Laredo, LLC     33112   8/1/2022     Secured: $0.00
        ESTEBAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Barney Davis,
27408                                     34103   8/1/2022     Secured: $0.00
        ESTEBAN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3961 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Nueces Bay,
27409                                     35094   8/1/2022     Secured: $0.00
        ESTEBAN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas
27410                                     36085   8/1/2022     Secured: $0.00
        ESTEBAN           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27411                                     37074   8/1/2022     Secured: $0.00
        ESTEBAN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27412   RODRIGUEZ, FRED                   7250    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27413   RODRIGUEZ, FRED Laredo, LLC       13000   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27414   RODRIGUEZ, FRED                   18747   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27415   RODRIGUEZ, FRED                   24481   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3962 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27416   RODRIGUEZ, FRED                   30241   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Barney Davis,
27417                                     7258    8/1/2022     Secured: $0.00
        GABRIELA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27418                     Laredo, LLC     13008   8/1/2022     Secured: $0.00
        GABRIELA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Nueces Bay,
27419                                     18755   8/1/2022     Secured: $0.00
        GABRIELA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas
27420                                     24489   8/1/2022     Secured: $0.00
        GABRIELA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27421                                     30249   8/1/2022     Secured: $0.00
        GABRIELA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27422                     Laredo, LLC     33113   8/1/2022     Secured: $0.00
        GLORIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3963 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27423                                 34104   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27424                                 35095   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27425                                 36086   8/1/2022     Secured: $0.00
        GLORIA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27426                                 37075   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27427                                 4211    8/1/2022     Secured: $0.00
        GRACE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27428                 Laredo, LLC     9961    8/1/2022     Secured: $0.00
        GRACE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27429                                 15708   8/1/2022     Secured: $0.00
        GRACE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3964 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27430                                 21454   8/1/2022     Secured: $0.00
        GRACE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27431                                 27202   8/1/2022     Secured: $0.00
        GRACE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27432                                 4220    8/1/2022     Secured: $0.00
        HECTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27433                 Laredo, LLC     9970    8/1/2022     Secured: $0.00
        HECTOR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27434                                 15717   8/1/2022     Secured: $0.00
        HECTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27435                                 21463   8/1/2022     Secured: $0.00
        HECTOR        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27436                                 27211   8/1/2022     Secured: $0.00
        HECTOR        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3965 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27437   RODRIGUEZ, IRMA Laredo, LLC       33114   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27438   RODRIGUEZ, IRMA                   34105   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27439   RODRIGUEZ, IRMA                   35096   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27440   RODRIGUEZ, IRMA                   36087   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27441   RODRIGUEZ, IRMA                   37076   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Barney Davis,
27442                                     7514    8/1/2022     Secured: $0.00
        JENNI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27443                     Laredo, LLC     13264   8/1/2022     Secured: $0.00
        JENNI
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3966 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27444                                 19011   8/1/2022     Secured: $0.00
        JENNI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27445                                 24745   8/1/2022     Secured: $0.00
        JENNI         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27446                                 30505   8/1/2022     Secured: $0.00
        JENNI         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27447                 Laredo, LLC     33115   8/1/2022     Secured: $0.00
        JERRY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27448                                 34106   8/1/2022     Secured: $0.00
        JERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27449                                 35097   8/1/2022     Secured: $0.00
        JERRY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27450                                 36088   8/1/2022     Secured: $0.00
        JERRY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3967 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas,
27451                                    37077   8/1/2022     Secured: $0.00
        JERRY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Barney Davis,
27452                                    7557    8/1/2022     Secured: $0.00
        JESSICA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,
27453                    Laredo, LLC     13307   8/1/2022     Secured: $0.00
        JESSICA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Nueces Bay,
27454                                    19054   8/1/2022     Secured: $0.00
        JESSICA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas
27455                                    24788   8/1/2022     Secured: $0.00
        JESSICA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas,
27456                                    30548   8/1/2022     Secured: $0.00
        JESSICA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27457   RODRIGUEZ, JOE                   5487    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3968 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27458   RODRIGUEZ, JOE   Laredo, LLC     11237   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27459   RODRIGUEZ, JOE                   16984   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27460   RODRIGUEZ, JOE                   22729   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27461   RODRIGUEZ, JOE                   28478   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Barney Davis,
27462                                    5044    8/1/2022     Secured: $0.00
        JOSEF            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,
27463                    Laredo, LLC     10794   8/1/2022     Secured: $0.00
        JOSEF
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Nueces Bay,
27464                                    16541   8/1/2022     Secured: $0.00
        JOSEF            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3969 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27465                                 22286   8/1/2022     Secured: $0.00
        JOSEF         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27466                                 28035   8/1/2022     Secured: $0.00
        JOSEF         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27467                                 7668    8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27468                 Laredo, LLC     13418   8/1/2022     Secured: $0.00
        JOSEPH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27469                                 19165   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27470                                 24899   8/1/2022     Secured: $0.00
        JOSEPH        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27471                                 30659   8/1/2022     Secured: $0.00
        JOSEPH        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3970 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
27472   RODRIGUEZ, JUAN                    7702    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
27473   RODRIGUEZ, JUAN Laredo, LLC        13452   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
27474   RODRIGUEZ, JUAN                    19199   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
27475   RODRIGUEZ, JUAN                    24933   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
27476   RODRIGUEZ, JUAN                    30693   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
27477   RODRIGUEZ, LILIA                   7977    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
27478   RODRIGUEZ, LILIA Laredo, LLC       13727   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3971 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
27479   RODRIGUEZ, LILIA                   19474   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
27480   RODRIGUEZ, LILIA                   25208   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
27481   RODRIGUEZ, LILIA                   30968   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RODRIGUEZ,         Barney Davis,
27482                                      7986    8/1/2022     Secured: $0.00
        LINDA              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RODRIGUEZ,
27483                      Laredo, LLC     13736   8/1/2022     Secured: $0.00
        LINDA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RODRIGUEZ,         Nueces Bay,
27484                                      19483   8/1/2022     Secured: $0.00
        LINDA              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RODRIGUEZ,         Talen Texas
27485                                      25217   8/1/2022     Secured: $0.00
        LINDA              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3972 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27486                                     30977   8/1/2022     Secured: $0.00
        LINDA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Barney Davis,
27487                                     7983    8/1/2022     Secured: $0.00
        LINDA GARZA       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27488                     Laredo, LLC     13733   8/1/2022     Secured: $0.00
        LINDA GARZA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Nueces Bay,
27489                                     19480   8/1/2022     Secured: $0.00
        LINDA GARZA       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas
27490                                     25214   8/1/2022     Secured: $0.00
        LINDA GARZA       Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27491                                     30974   8/1/2022     Secured: $0.00
        LINDA GARZA       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27492   RODRIGUEZ, LUIS                   5703    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3973 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27493   RODRIGUEZ, LUIS Laredo, LLC       11453   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27494   RODRIGUEZ, LUIS                   17200   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27495   RODRIGUEZ, LUIS                   22945   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27496   RODRIGUEZ, LUIS                   28694   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27497   RODRIGUEZ, LUIS Laredo, LLC       33116   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27498   RODRIGUEZ, LUIS                   34107   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27499   RODRIGUEZ, LUIS                   35098   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3974 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27500   RODRIGUEZ, LUIS                   36089   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27501   RODRIGUEZ, LUIS                   37078   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27502                     Laredo, LLC     33117   8/1/2022     Secured: $0.00
        MARIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Barney Davis,
27503                                     34108   8/1/2022     Secured: $0.00
        MARIA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Nueces Bay,
27504                                     35099   8/1/2022     Secured: $0.00
        MARIA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas
27505                                     36090   8/1/2022     Secured: $0.00
        MARIA             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27506                                     37079   8/1/2022     Secured: $0.00
        MARIA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3975 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27507                 Laredo, LLC     33118   8/1/2022     Secured: $0.00
        MARIA DIANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27508                                 34109   8/1/2022     Secured: $0.00
        MARIA DIANA   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27509                                 35100   8/1/2022     Secured: $0.00
        MARIA DIANA   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27510                                 36091   8/1/2022     Secured: $0.00
        MARIA DIANA   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27511                                 37080   8/1/2022     Secured: $0.00
        MARIA DIANA   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27512                 Laredo, LLC     33119   8/1/2022     Secured: $0.00
        OSCAR
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27513                                 34110   8/1/2022     Secured: $0.00
        OSCAR         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3976 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Nueces Bay,
27514                                     35101   8/1/2022     Secured: $0.00
        OSCAR             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas
27515                                     36092   8/1/2022     Secured: $0.00
        OSCAR             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27516                                     37081   8/1/2022     Secured: $0.00
        OSCAR             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27517   RODRIGUEZ, PAUL                   8418    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27518   RODRIGUEZ, PAUL Laredo, LLC       14168   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27519   RODRIGUEZ, PAUL                   19915   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27520   RODRIGUEZ, PAUL                   25648   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3977 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27521   RODRIGUEZ, PAUL                   31409   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Barney Davis,
27522                                     5222    8/1/2022     Secured: $0.00
        RANDY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27523                     Laredo, LLC     10972   8/1/2022     Secured: $0.00
        RANDY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Nueces Bay,
27524                                     16719   8/1/2022     Secured: $0.00
        RANDY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas
27525                                     22464   8/1/2022     Secured: $0.00
        RANDY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,        Talen Texas,
27526                                     28213   8/1/2022     Secured: $0.00
        RANDY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RODRIGUEZ,
27527                     Laredo, LLC     33120   8/1/2022     Secured: $0.00
        RAYMOND
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3978 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27528                                 34111   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27529                                 35102   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27530                                 36093   8/1/2022     Secured: $0.00
        RAYMOND       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27531                                 37082   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27532                 Laredo, LLC     33121   8/1/2022     Secured: $0.00
        ROGELIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27533                                 34112   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27534                                 35103   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3979 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27535                                 36094   8/1/2022     Secured: $0.00
        ROGELIO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27536                                 37083   8/1/2022     Secured: $0.00
        ROGELIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27537                 Laredo, LLC     33122   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27538                                 34113   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27539                                 35104   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27540                                 36095   8/1/2022     Secured: $0.00
        SANDRA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27541                                 37084   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3980 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Barney Davis,
27542                                    4681    8/1/2022     Secured: $0.00
        SHELBY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,
27543                    Laredo, LLC     10431   8/1/2022     Secured: $0.00
        SHELBY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Nueces Bay,
27544                                    16178   8/1/2022     Secured: $0.00
        SHELBY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas
27545                                    21924   8/1/2022     Secured: $0.00
        SHELBY           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas,
27546                                    27672   8/1/2022     Secured: $0.00
        SHELBY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Barney Davis,
27547                                    4742    8/1/2022     Secured: $0.00
        TIFFANY NICOLE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,
27548                    Laredo, LLC     10492   8/1/2022     Secured: $0.00
        TIFFANY NICOLE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3981 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Nueces Bay,
27549                                    16239   8/1/2022     Secured: $0.00
        TIFFANY NICOLE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas
27550                                    21985   8/1/2022     Secured: $0.00
        TIFFANY NICOLE   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas,
27551                                    27733   8/1/2022     Secured: $0.00
        TIFFANY NICOLE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Barney Davis,
27552                                    9120    8/1/2022     Secured: $0.00
        VICTORIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,
27553                    Laredo, LLC     14870   8/1/2022     Secured: $0.00
        VICTORIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Nueces Bay,
27554                                    20617   8/1/2022     Secured: $0.00
        VICTORIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIGUEZ,       Talen Texas
27555                                    26349   8/1/2022     Secured: $0.00
        VICTORIA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3982 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27556                                 32111   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27557                                 5710    8/1/2022     Secured: $0.00
        VIOLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27558                 Laredo, LLC     11460   8/1/2022     Secured: $0.00
        VIOLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27559                                 17207   8/1/2022     Secured: $0.00
        VIOLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27560                                 22952   8/1/2022     Secured: $0.00
        VIOLA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27561                                 28701   8/1/2022     Secured: $0.00
        VIOLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27562                                 9187    8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3983 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27563                 Laredo, LLC     14937   8/1/2022     Secured: $0.00
        YOLANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27564                                 20684   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27565                                 26416   8/1/2022     Secured: $0.00
        YOLANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27566                                 32178   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,
27567                 Laredo, LLC     33123   8/1/2022     Secured: $0.00
        YOLANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Barney Davis,
27568                                 34114   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Nueces Bay,
27569                                 35105   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3984 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas
27570                                 36096   8/1/2022     Secured: $0.00
        YOLANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIGUEZ,    Talen Texas,
27571                                 37085   8/1/2022     Secured: $0.00
        YOLANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Barney Davis,
27572                                 7534    8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,
27573                 Laredo, LLC     13284   8/1/2022     Secured: $0.00
        JERALDINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Nueces Bay,
27574                                 19031   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas
27575                                 24765   8/1/2022     Secured: $0.00
        JERALDINE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas,
27576                                 30525   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3985 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,
27577                 Laredo, LLC     33124   8/1/2022     Secured: $0.00
        JERALDINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,
27578                 Laredo, LLC     33125   8/1/2022     Secured: $0.00
        JERALDINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Barney Davis,
27579                                 34115   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Barney Davis,
27580                                 34116   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Nueces Bay,
27581                                 35106   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Nueces Bay,
27582                                 35107   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas
27583                                 36097   8/1/2022     Secured: $0.00
        JERALDINE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3986 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas
27584                                 36098   8/1/2022     Secured: $0.00
        JERALDINE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas,
27585                                 37086   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas,
27586                                 37087   8/1/2022     Secured: $0.00
        JERALDINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,
27587                 Laredo, LLC     33126   8/1/2022     Secured: $0.00
        NILDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Barney Davis,
27588                                 34117   8/1/2022     Secured: $0.00
        NILDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Nueces Bay,
27589                                 35108   8/1/2022     Secured: $0.00
        NILDA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        RODRIQUEZ,    Talen Texas
27590                                 36099   8/1/2022     Secured: $0.00
        NILDA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3987 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RODRIQUEZ,       Talen Texas,
27591                                    37088   8/1/2022     Secured: $0.00
        NILDA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27592   ROE, LELAND O.   Laredo, LLC     33127   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27593   ROE, LELAND O.                   34118   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27594   ROE, LELAND O.                   35109   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27595   ROE, LELAND O.                   36100   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27596   ROE, LELAND O.                   37089   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27597   ROGER, ALEX      Laredo, LLC     33128   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3988 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27598   ROGER, ALEX                    34119   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27599   ROGER, ALEX                    35110   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27600   ROGER, ALEX                    36101   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27601   ROGER, ALEX                    37090   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27602   ROGERS, CORA                   4907    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27603   ROGERS, CORA   Laredo, LLC     10657   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27604   ROGERS, CORA                   16404   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3989 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27605   ROGERS, CORA                   22149   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27606   ROGERS, CORA                   27898   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27607   ROGERS, DEAN                   6100    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27608   ROGERS, DEAN   Laredo, LLC     11850   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27609   ROGERS, DEAN                   17597   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27610   ROGERS, DEAN                   23342   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27611   ROGERS, DEAN                   29091   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3990 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27612   ROGERS, RAGUET Laredo, LLC       33129   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27613   ROGERS, RAGUET Laredo, LLC       33130   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27614   ROGERS, RAGUET                   34120   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27615   ROGERS, RAGUET                   34121   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27616   ROGERS, RAGUET                   35111   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27617   ROGERS, RAGUET                   35112   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27618   ROGERS, RAGUET                   36102   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3991 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27619   ROGERS, RAGUET                   36103   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27620   ROGERS, RAGUET                   37091   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27621   ROGERS, RAGUET                   37092   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27622   ROGERS, SCOTT                    5282    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27623   ROGERS, SCOTT    Laredo, LLC     11032   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27624   ROGERS, SCOTT                    16779   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27625   ROGERS, SCOTT                    22524   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3992 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27626   ROGERS, SCOTT                    28273   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27627   ROJAS, CORDERO                   6821    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27628   ROJAS, CORDERO Laredo, LLC       12571   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27629   ROJAS, CORDERO                   18318   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27630   ROJAS, CORDERO                   24052   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27631   ROJAS, CORDERO                   29812   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27632   ROJAS, DOLORES                   5784    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3993 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27633   ROJAS, DOLORES Laredo, LLC       11534   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27634   ROJAS, DOLORES                   17281   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27635   ROJAS, DOLORES                   23026   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27636   ROJAS, DOLORES                   28775   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27637   ROJAS, JESUS                     6133    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27638   ROJAS, JESUS     Laredo, LLC     11883   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27639   ROJAS, JESUS                     17630   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3994 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27640   ROJAS, JESUS                    23375   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27641   ROJAS, JESUS                    29124   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27642   ROJAS, SAMUEL                   8729    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27643   ROJAS, SAMUEL   Laredo, LLC     14479   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27644   ROJAS, SAMUEL                   20226   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27645   ROJAS, SAMUEL                   25958   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27646   ROJAS, SAMUEL                   31720   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3995 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27647   ROLANDO, PAUL    Laredo, LLC     33131   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27648   ROLANDO, PAUL                    34122   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27649   ROLANDO, PAUL                    35113   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27650   ROLANDO, PAUL                    36104   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27651   ROLANDO, PAUL                    37093   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27652   ROLLAND, DONNA                   7078    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27653   ROLLAND, DONNA Laredo, LLC       12828   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3996 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27654   ROLLAND, DONNA                   18575   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27655   ROLLAND, DONNA                   24309   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27656   ROLLAND, DONNA                   30069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROMANOW,         Barney Davis,
27657                                    7627    8/1/2022     Secured: $0.00
        JOHN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROMANOW,
27658                    Laredo, LLC     13377   8/1/2022     Secured: $0.00
        JOHN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROMANOW,         Nueces Bay,
27659                                    19124   8/1/2022     Secured: $0.00
        JOHN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROMANOW,         Talen Texas
27660                                    24858   8/1/2022     Secured: $0.00
        JOHN             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3997 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROMANOW,         Talen Texas,
27661                                    30618   8/1/2022     Secured: $0.00
        JOHN             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27662   ROMANS, ANNA     Laredo, LLC     33132   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27663   ROMANS, ANNA                     34123   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27664   ROMANS, ANNA                     35114   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27665   ROMANS, ANNA                     36105   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27666   ROMANS, ANNA                     37094   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27667   ROMAYOR, ERICA                   7191    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3998 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27668   ROMAYOR, ERICA Laredo, LLC       12941   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27669   ROMAYOR, ERICA                   18688   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27670   ROMAYOR, ERICA                   24422   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27671   ROMAYOR, ERICA                   30182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27672   ROMERO, JUAN                     9274    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27673   ROMERO, JUAN     Laredo, LLC     15024   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27674   ROMERO, JUAN                     20771   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 3999 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27675   ROMERO, JUAN                   26503   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27676   ROMERO, JUAN                   32265   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27677   ROMERO, MARY                   8166    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27678   ROMERO, MARY   Laredo, LLC     13916   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27679   ROMERO, MARY                   19663   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27680   ROMERO, MARY                   25397   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27681   ROMERO, MARY                   31157   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4000 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27682   ROMERO, OSCAR                   8370    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27683   ROMERO, OSCAR Laredo, LLC       14120   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27684   ROMERO, OSCAR                   19867   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27685   ROMERO, OSCAR                   25600   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27686   ROMERO, OSCAR                   31361   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27687   ROMERO, TEANA                   9330    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27688   ROMERO, TEANA Laredo, LLC       15080   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4001 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27689   ROMERO, TEANA                     20827   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27690   ROMERO, TEANA                     26559   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27691   ROMERO, TEANA                     32321   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27692   ROPER, MELIANIE                   3690    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27693   ROPER, MELIANIE Laredo, LLC       9440    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27694   ROPER, MELIANIE                   15187   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27695   ROPER, MELIANIE                   20934   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4002 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27696   ROPER, MELIANIE                   26681   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROQUEMORE,
27697                     Laredo, LLC     33133   8/1/2022     Secured: $0.00
        ALICE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROQUEMORE,        Barney Davis,
27698                                     34124   8/1/2022     Secured: $0.00
        ALICE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROQUEMORE,        Nueces Bay,
27699                                     35115   8/1/2022     Secured: $0.00
        ALICE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROQUEMORE,        Talen Texas
27700                                     36106   8/1/2022     Secured: $0.00
        ALICE             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROQUEMORE,        Talen Texas,
27701                                     37095   8/1/2022     Secured: $0.00
        ALICE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ROSALES,
27702                     Laredo, LLC     33134   8/1/2022     Secured: $0.00
        LEONARDO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4003 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSALES,         Barney Davis,
27703                                    34125   8/1/2022     Secured: $0.00
        LEONARDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSALES,         Nueces Bay,
27704                                    35116   8/1/2022     Secured: $0.00
        LEONARDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSALES,         Talen Texas
27705                                    36107   8/1/2022     Secured: $0.00
        LEONARDO         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSALES,         Talen Texas,
27706                                    37096   8/1/2022     Secured: $0.00
        LEONARDO         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27707   ROSALES, REYNA   Laredo, LLC     33135   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27708   ROSALES, REYNA                   34126   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27709   ROSALES, REYNA                   35117   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4004 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27710   ROSALES, REYNA                   36108   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27711   ROSALES, REYNA                   37097   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSAMOND,        Barney Davis,
27712                                    9166    8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSAMOND,
27713                    Laredo, LLC     14916   8/1/2022     Secured: $0.00
        WILLIAM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSAMOND,        Nueces Bay,
27714                                    20663   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSAMOND,        Talen Texas
27715                                    26395   8/1/2022     Secured: $0.00
        WILLIAM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSAMOND,        Talen Texas,
27716                                    32157   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4005 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        ROSE WALKER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
27717                                    5405    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JOHN ETTA
        WALKER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROSE WALKER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF
27718                    Laredo, LLC     11155   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        JOHN ETTA
        WALKER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROSE WALKER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
27719                                    16902   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JOHN ETTA
        WALKER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROSE WALKER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
27720                                    22647   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JOHN ETTA
        WALKER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROSE WALKER,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
27721                                    28396   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        JOHN ETTA
        WALKER
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27722   ROSE, DERRECK                    7008    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27723   ROSE, DERRECK    Laredo, LLC     12758   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4006 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27724   ROSE, DERRECK                   18505   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27725   ROSE, DERRECK                   24239   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27726   ROSE, DERRECK                   29999   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27727   ROSE, DOROTHY                   7096    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27728   ROSE, DOROTHY   Laredo, LLC     12846   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27729   ROSE, DOROTHY                   18593   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27730   ROSE, DOROTHY                   24327   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4007 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27731   ROSE, DOROTHY                   30087   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROSEBERRY,      Barney Davis,
27732                                   7064    8/1/2022     Secured: $0.00
        DONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROSEBERRY,
27733                   Laredo, LLC     12814   8/1/2022     Secured: $0.00
        DONALD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROSEBERRY,      Nueces Bay,
27734                                   18561   8/1/2022     Secured: $0.00
        DONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROSEBERRY,      Talen Texas
27735                                   24295   8/1/2022     Secured: $0.00
        DONALD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ROSEBERRY,      Talen Texas,
27736                                   30055   8/1/2022     Secured: $0.00
        DONALD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27737   ROSEMAN, LYNDA Laredo, LLC      33136   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4008 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27738   ROSEMAN, LYNDA                   34127   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27739   ROSEMAN, LYNDA                   35118   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27740   ROSEMAN, LYNDA                   36109   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27741   ROSEMAN, LYNDA                   37098   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSENBERGER,     Barney Davis,
27742                                    4628    8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSENBERGER,
27743                    Laredo, LLC     10378   8/1/2022     Secured: $0.00
        ROBERT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROSENBERGER,     Nueces Bay,
27744                                    16125   8/1/2022     Secured: $0.00
        ROBERT           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4009 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSENBERGER,   Talen Texas
27745                                  21871   8/1/2022     Secured: $0.00
        ROBERT         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSENBERGER,   Talen Texas,
27746                                  27619   8/1/2022     Secured: $0.00
        ROBERT         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSKOWSKE,     Barney Davis,
27747                                  7363    8/1/2022     Secured: $0.00
        HEATHER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSKOWSKE,
27748                  Laredo, LLC     13113   8/1/2022     Secured: $0.00
        HEATHER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSKOWSKE,     Nueces Bay,
27749                                  18860   8/1/2022     Secured: $0.00
        HEATHER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSKOWSKE,     Talen Texas
27750                                  24594   8/1/2022     Secured: $0.00
        HEATHER        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROSKOWSKE,     Talen Texas,
27751                                  30354   8/1/2022     Secured: $0.00
        HEATHER        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4010 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27752   ROSS, BEVERLY                   6515    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27753   ROSS, BEVERLY   Laredo, LLC     12265   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27754   ROSS, BEVERLY                   18012   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27755   ROSS, BEVERLY                   23747   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27756   ROSS, BEVERLY                   29506   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27757   ROSS, BRENDA                    6572    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27758   ROSS, BRENDA    Laredo, LLC     12322   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4011 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27759   ROSS, BRENDA                   18069   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27760   ROSS, BRENDA                   23804   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27761   ROSS, BRENDA                   29563   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27762   ROSS, CASSIE                   6678    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27763   ROSS, CASSIE   Laredo, LLC     12428   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27764   ROSS, CASSIE                   18175   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27765   ROSS, CASSIE                   23909   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4012 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27766   ROSS, CASSIE                   29669   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27767   ROSS, JODI                     7585    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27768   ROSS, JODI     Laredo, LLC     13335   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27769   ROSS, JODI                     19082   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27770   ROSS, JODI                     24816   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27771   ROSS, JODI                     30576   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27772   ROSS, SHAWN                    8809    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4013 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27773   ROSS, SHAWN    Laredo, LLC     14559   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27774   ROSS, SHAWN                    20306   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27775   ROSS, SHAWN                    26038   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27776   ROSS, SHAWN                    31800   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27777   ROSS, ZAKEEA                   4790    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27778   ROSS, ZAKEEA   Laredo, LLC     10540   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27779   ROSS, ZAKEEA                   16287   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4014 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27780   ROSS, ZAKEEA                   22033   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27781   ROSS, ZAKEEA                   27781   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROTHMAN,       Barney Davis,
27782                                  6543    8/1/2022     Secured: $0.00
        BONNIE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROTHMAN,
27783                  Laredo, LLC     12293   8/1/2022     Secured: $0.00
        BONNIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROTHMAN,       Nueces Bay,
27784                                  18040   8/1/2022     Secured: $0.00
        BONNIE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROTHMAN,       Talen Texas
27785                                  23775   8/1/2022     Secured: $0.00
        BONNIE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ROTHMAN,       Talen Texas,
27786                                  29534   8/1/2022     Secured: $0.00
        BONNIE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4015 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL AND SUN
                                                            Priority: $0.00
        ALLIANCE        Nueces Bay,
27787                                   2377   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL AND SUN
                                                            Priority: $0.00
        ALLIANCE        Barney Davis,
27788                                   3309   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL AND SUN
                                                            Priority: $0.00
        ALLIANCE        Nueces Bay,
27789                                   3414   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL AND SUN
                                                            Priority: $0.00
        ALLIANCE        Barney Davis,
27790                                   3431   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL AND SUN
                                                            Priority: $0.00
        ALLIANCE
27791                   Laredo, LLC     3453   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL AND SUN
                                                            Priority: $0.00
        ALLIANCE
27792                   Laredo, LLC     3490   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        LIMITED
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4016 of 5163
             Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim
        ROYAL AND SUN
                                                            503(b)(9): $0.00
        ALLIANCE
                                                            Other Administrative: $0.00
        INSURANCE LTD.,
                                                            Priority: $0.00
        FOR AND ON      Barney Davis,
27793                                 1364     7/29/2022    Secured: $0.00
        BEHALF OF THE   LLC
                                                            General Unsecured: $220,240.00 + Unliquidated
        MARINE
        INSURANCE
                                                            Total: $220,240.00 + Unliquidated
        COMPANY LTD.
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL DELICACY                                      Priority: $0.00
                       Barney Davis,
27794   LLC DBA YUMMY                  5665    8/1/2022     Secured: $0.00
                       LLC
        HUT PIZZERIA                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL DELICACY                                      Priority: $0.00
27795   LLC DBA YUMMY Laredo, LLC      11415   8/1/2022     Secured: $0.00
        HUT PIZZERIA                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL DELICACY                                      Priority: $0.00
                       Nueces Bay,
27796   LLC DBA YUMMY                  17162   8/1/2022     Secured: $0.00
                       LLC
        HUT PIZZERIA                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL DELICACY                                      Priority: $0.00
                       Talen Texas
27797   LLC DBA YUMMY                  22907   8/1/2022     Secured: $0.00
                       Group, LLC
        HUT PIZZERIA                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        ROYAL DELICACY                                      Priority: $0.00
                       Talen Texas,
27798   LLC DBA YUMMY                  28656   8/1/2022     Secured: $0.00
                       LLC
        HUT PIZZERIA                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4017 of 5163
             Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim
        ROYAL SUN AND
                                                               503(b)(9): $0.00
        ALLIANCE
                                                               Other Administrative: $0.00
        INSURANCE LTD
                                                               Priority: $0.00
        FOR AND ON
27799                     Laredo, LLC     1363    7/29/2022    Secured: $0.00
        BEHALF OF THE
                                                               General Unsecured: $220,240.00 + Unliquidated
        THE MARINE
        INSURANCE
                                                               Total: $220,240.00 + Unliquidated
        COMPANY LTD
        ROYAL SUN AND
                                                               503(b)(9): $0.00
        ALLIANCE
                                                               Other Administrative: $0.00
        INSURANCE LTD.,
                                                               Priority: $0.00
        FOR AND ON        Nueces Bay,
27800                                     1362    7/29/2022    Secured: $0.00
        BEHALF OF THE     LLC
                                                               General Unsecured: $220,240.00 + Unliquidated
        MARINE
        INSURANCE
                                                               Total: $220,240.00 + Unliquidated
        COMPANY, LTD
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27801   ROYAL, SHARLA                     5292    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27802   ROYAL, SHARLA     Laredo, LLC     11042   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27803   ROYAL, SHARLA                     16789   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27804   ROYAL, SHARLA                     22534   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4018 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27805   ROYAL, SHARLA                    28283   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROZYCKI,         Barney Davis,
27806                                    6971    8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROZYCKI,
27807                    Laredo, LLC     12721   8/1/2022     Secured: $0.00
        DEBORAH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROZYCKI,         Nueces Bay,
27808                                    18468   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROZYCKI,         Talen Texas
27809                                    24202   8/1/2022     Secured: $0.00
        DEBORAH          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ROZYCKI,         Talen Texas,
27810                                    29962   8/1/2022     Secured: $0.00
        DEBORAH          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RSUI INDEMNITY
27811                    Laredo, LLC     1551    7/30/2022    Secured: $0.00
        COMPANY
                                                              General Unsecured: $2,000,000.00 + Unliquidated

                                                              Total: $2,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4019 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RSUI INDEMNITY   Nueces Bay,
27812                                    1562    7/30/2022    Secured: $0.00
        COMPANY          LLC
                                                              General Unsecured: $2,000,000.00 + Unliquidated

                                                              Total: $2,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RSUI INDEMNITY   Barney Davis,
27813                                    1720    7/30/2022    Secured: $0.00
        COMPANY          LLC
                                                              General Unsecured: $2,000,000.00 + Unliquidated

                                                              Total: $2,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
        RUACH BREATH                                          Other Administrative: $0.00
        OF GOD                                                Priority: $0.00
                         Barney Davis,
27814   MINISTRIES,                      6273    8/1/2022     Secured: $0.00
                         LLC
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        RUACH BREATH                                          Other Administrative: $0.00
        OF GOD                                                Priority: $0.00
27815   MINISTRIES,      Laredo, LLC     12023   8/1/2022     Secured: $0.00
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        RUACH BREATH                                          Other Administrative: $0.00
        OF GOD                                                Priority: $0.00
                         Nueces Bay,
27816   MINISTRIES,                      17770   8/1/2022     Secured: $0.00
                         LLC
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        RUACH BREATH                                          Other Administrative: $0.00
        OF GOD                                                Priority: $0.00
                         Talen Texas
27817   MINISTRIES,                      23505   8/1/2022     Secured: $0.00
                         Group, LLC
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        RUACH BREATH                                          Other Administrative: $0.00
        OF GOD                                                Priority: $0.00
                         Talen Texas,
27818   MINISTRIES,                      29264   8/1/2022     Secured: $0.00
                         LLC
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4020 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUBALCABA,
27819                    Laredo, LLC     33137   8/1/2022     Secured: $0.00
        GLORIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUBALCABA,       Barney Davis,
27820                                    34128   8/1/2022     Secured: $0.00
        GLORIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUBALCABA,       Nueces Bay,
27821                                    35119   8/1/2022     Secured: $0.00
        GLORIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUBALCABA,       Talen Texas
27822                                    36110   8/1/2022     Secured: $0.00
        GLORIA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUBALCABA,       Talen Texas,
27823                                    37099   8/1/2022     Secured: $0.00
        GLORIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27824   RUBIO, KENNETH                   4377    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27825   RUBIO, KENNETH Laredo, LLC       10127   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4021 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27826   RUBIO, KENNETH                    15874   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27827   RUBIO, KENNETH                    21620   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27828   RUBIO, KENNETH                    27368   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27829   RUBIO, LOUIS M.                   5109    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27830   RUBIO, LOUIS M. Laredo, LLC       10859   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27831   RUBIO, LOUIS M.                   16606   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27832   RUBIO, LOUIS M.                   22351   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4022 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27833   RUBIO, LOUIS M.                   28100   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27834   RUBIO, SANTOS                     8750    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27835   RUBIO, SANTOS     Laredo, LLC     14500   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27836   RUBIO, SANTOS                     20247   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27837   RUBIO, SANTOS                     25979   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27838   RUBIO, SANTOS                     31741   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RUBRECHT,         Barney Davis,
27839                                     5759    8/1/2022     Secured: $0.00
        CHERYL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4023 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RUBRECHT,
27840                     Laredo, LLC     11509   8/1/2022     Secured: $0.00
        CHERYL
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RUBRECHT,         Nueces Bay,
27841                                     17256   8/1/2022     Secured: $0.00
        CHERYL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RUBRECHT,         Talen Texas
27842                                     23001   8/1/2022     Secured: $0.00
        CHERYL            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        RUBRECHT,         Talen Texas,
27843                                     28750   8/1/2022     Secured: $0.00
        CHERYL            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27844   RUCKER, DESTINY                   7019    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27845   RUCKER, DESTINY Laredo, LLC       12769   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27846   RUCKER, DESTINY                   18516   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4024 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27847   RUCKER, DESTINY                   24250   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27848   RUCKER, DESTINY                   30010   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27849   RUDD, KENNETH E                   7810    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27850   RUDD, KENNETH E Laredo, LLC       13560   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27851   RUDD, KENNETH E                   19307   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27852   RUDD, KENNETH E                   25041   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27853   RUDD, KENNETH E                   30801   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4025 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27854   RUDDER, BEVERLY                   6516    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27855   RUDDER, BEVERLY Laredo, LLC       12266   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27856   RUDDER, BEVERLY                   18013   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27857   RUDDER, BEVERLY                   23748   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27858   RUDDER, BEVERLY                   29507   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27859   RUDDER, KADEEM                    7732    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27860   RUDDER, KADEEM Laredo, LLC        13482   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4026 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27861   RUDDER, KADEEM                   19229   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27862   RUDDER, KADEEM                   24963   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27863   RUDDER, KADEEM                   30723   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDICEL,         Barney Davis,
27864                                    6676    8/1/2022     Secured: $0.00
        CASSANDRA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDICEL,
27865                    Laredo, LLC     12426   8/1/2022     Secured: $0.00
        CASSANDRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDICEL,         Nueces Bay,
27866                                    18173   8/1/2022     Secured: $0.00
        CASSANDRA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDICEL,         Talen Texas
27867                                    23907   8/1/2022     Secured: $0.00
        CASSANDRA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4027 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDICEL,         Talen Texas,
27868                                    29667   8/1/2022     Secured: $0.00
        CASSANDRA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDOLPH,         Barney Davis,
27869                                    3938    8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDOLPH,
27870                    Laredo, LLC     9688    8/1/2022     Secured: $0.00
        ANTHONY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDOLPH,         Nueces Bay,
27871                                    15435   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDOLPH,         Talen Texas
27872                                    21181   8/1/2022     Secured: $0.00
        ANTHONY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUDOLPH,         Talen Texas,
27873                                    26929   8/1/2022     Secured: $0.00
        ANTHONY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27874   RUFF, MARTIN L                   9291    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4028 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27875   RUFF, MARTIN L   Laredo, LLC     15041   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27876   RUFF, MARTIN L                   20788   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27877   RUFF, MARTIN L                   26520   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27878   RUFF, MARTIN L                   32282   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27879   RUIZ, ANA                        6373    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27880   RUIZ, ANA        Laredo, LLC     12123   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27881   RUIZ, ANA                        17870   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4029 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27882   RUIZ, ANA                      23605   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27883   RUIZ, ANA                      29364   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27884   RUIZ, ANGEL                    6061    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27885   RUIZ, ANGEL    Laredo, LLC     11811   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27886   RUIZ, ANGEL                    17558   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27887   RUIZ, ANGEL                    23303   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27888   RUIZ, ANGEL                    29052   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4030 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27889   RUIZ, CARMEN                    4005    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27890   RUIZ, CARMEN    Laredo, LLC     9755    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27891   RUIZ, CARMEN                    15502   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27892   RUIZ, CARMEN                    21248   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27893   RUIZ, CARMEN                    26996   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27894   RUIZ, CYNTHIA                   3822    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27895   RUIZ, CYNTHIA   Laredo, LLC     9572    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4031 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27896   RUIZ, CYNTHIA                   15319   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27897   RUIZ, CYNTHIA                   21066   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27898   RUIZ, CYNTHIA                   26813   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27899   RUIZ, DIANA                     7037    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27900   RUIZ, DIANA     Laredo, LLC     12787   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27901   RUIZ, DIANA                     18534   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27902   RUIZ, DIANA                     24268   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4032 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27903   RUIZ, DIANA                       30028   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27904   RUIZ, FRANCISCO                   4971    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
27905   RUIZ, FRANCISCO Laredo, LLC       10721   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
27906   RUIZ, FRANCISCO                   16468   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
27907   RUIZ, FRANCISCO                   22213   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
27908   RUIZ, FRANCISCO                   27962   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
27909   RUIZ, LYZBETH                     5116    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4033 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27910   RUIZ, LYZBETH   Laredo, LLC     10866   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27911   RUIZ, LYZBETH                   16613   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27912   RUIZ, LYZBETH                   22358   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27913   RUIZ, LYZBETH                   28107   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27914   RUIZ, ROEL      Laredo, LLC     33138   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27915   RUIZ, ROEL                      34129   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27916   RUIZ, ROEL                      35120   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4034 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27917   RUIZ, ROEL                     36111   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27918   RUIZ, ROEL                     37100   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
27919   RUIZ, SHERRY                   4689    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
27920   RUIZ, SHERRY   Laredo, LLC     10439   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
27921   RUIZ, SHERRY                   16186   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
27922   RUIZ, SHERRY                   21932   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
27923   RUIZ, SHERRY                   27680   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4035 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUIZ‐GARCIA,   Barney Davis,
27924                                  7992    8/1/2022     Secured: $0.00
        LINDSEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUIZ‐GARCIA,
27925                  Laredo, LLC     13742   8/1/2022     Secured: $0.00
        LINDSEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUIZ‐GARCIA,   Nueces Bay,
27926                                  19489   8/1/2022     Secured: $0.00
        LINDSEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUIZ‐GARCIA,   Talen Texas
27927                                  25223   8/1/2022     Secured: $0.00
        LINDSEY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUIZ‐GARCIA,   Talen Texas,
27928                                  30983   8/1/2022     Secured: $0.00
        LINDSEY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUMFELT,       Barney Davis,
27929                                  6680    8/1/2022     Secured: $0.00
        CATALINA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUMFELT,
27930                  Laredo, LLC     12430   8/1/2022     Secured: $0.00
        CATALINA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4036 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUMFELT,         Nueces Bay,
27931                                    18177   8/1/2022     Secured: $0.00
        CATALINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUMFELT,         Talen Texas
27932                                    23911   8/1/2022     Secured: $0.00
        CATALINA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUMFELT,         Talen Texas,
27933                                    29671   8/1/2022     Secured: $0.00
        CATALINA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27934   RUNYAN, KAROLA                   7754    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27935   RUNYAN, KAROLA Laredo, LLC       13504   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27936   RUNYAN, KAROLA                   19251   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27937   RUNYAN, KAROLA                   24985   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4037 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27938   RUNYAN, KAROLA                   30745   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27939   RUPP, SARA                       4656    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27940   RUPP, SARA       Laredo, LLC     10406   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27941   RUPP, SARA                       16153   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27942   RUPP, SARA                       21899   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27943   RUPP, SARA                       27647   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27944   RUPP, SCOTT                      8763    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4038 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27945   RUPP, SCOTT     Laredo, LLC     14513   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27946   RUPP, SCOTT                     20260   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27947   RUPP, SCOTT                     25992   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27948   RUPP, SCOTT                     31754   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27949   RUSH, JASMINE   Laredo, LLC     33139   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27950   RUSH, JASMINE                   34130   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27951   RUSH, JASMINE                   35121   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4039 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27952   RUSH, JASMINE                   36112   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27953   RUSH, JASMINE                   37101   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
27954   RUSHING, LYNN                   5469    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
27955   RUSHING, LYNN   Laredo, LLC     11219   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
27956   RUSHING, LYNN                   16966   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
27957   RUSHING, LYNN                   22711   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
27958   RUSHING, LYNN                   28460   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4040 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSHING,         Barney Davis,
27959                                    5297    8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSHING,
27960                    Laredo, LLC     11047   8/1/2022     Secured: $0.00
        SHARON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSHING,         Nueces Bay,
27961                                    16794   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSHING,         Talen Texas
27962                                    22539   8/1/2022     Secured: $0.00
        SHARON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSHING,         Talen Texas,
27963                                    28288   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
        RUSSEL E. JUNOT,                                      503(b)(9): $0.00
        JR.,                                                  Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
27964   AND AS HEIR OF                   3867    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RUSSELL JUNOT,
        SR.                                                   Total: $0.00 + Unliquidated
        RUSSEL E. JUNOT,                                      503(b)(9): $0.00
        JR.,                                                  Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
27965   AND AS HEIR OF Laredo, LLC       9617    8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RUSSELL JUNOT,
        SR.                                                   Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4041 of 5163
             Name of
Ref #        Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
        RUSSEL E. JUNOT,                                     503(b)(9): $0.00
        JR.,                                                 Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                         Nueces Bay,
27966   AND AS HEIR OF                15364     8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        RUSSELL JUNOT,
        SR.                                                  Total: $0.00 + Unliquidated
        RUSSEL E. JUNOT,                                     503(b)(9): $0.00
        JR.,                                                 Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                         Talen Texas
27967   AND AS HEIR OF                21111     8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        RUSSELL JUNOT,
        SR.                                                  Total: $0.00 + Unliquidated
        RUSSEL E. JUNOT,                                     503(b)(9): $0.00
        JR.,                                                 Other Administrative: $0.00
        INDIVIDUALLY,                                        Priority: $0.00
                         Talen Texas,
27968   AND AS HEIR OF                26858     8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                        General Unsecured: $0.00 + Unliquidated
        RUSSELL JUNOT,
        SR.                                                  Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL III,    Barney Davis,
27969                                   6033    8/1/2022     Secured: $0.00
        KENNETH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL III,
27970                   Laredo, LLC     11783   8/1/2022     Secured: $0.00
        KENNETH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL III,    Nueces Bay,
27971                                   17530   8/1/2022     Secured: $0.00
        KENNETH         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL III,    Talen Texas
27972                                   23275   8/1/2022     Secured: $0.00
        KENNETH         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4042 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        RUSSELL III,       Talen Texas,
27973                                      29024   8/1/2022     Secured: $0.00
        KENNETH            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
27974   RUSSELL, BRIAN     Laredo, LLC     33140   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
27975   RUSSELL, BRIAN                     34131   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
27976   RUSSELL, BRIAN                     35122   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
27977   RUSSELL, BRIAN                     36113   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
27978   RUSSELL, BRIAN                     37102   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
27979   RUSSELL, CECILIA                   6685    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4043 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
27980   RUSSELL, CECILIA Laredo, LLC       12435   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
27981   RUSSELL, CECILIA                   18182   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
27982   RUSSELL, CECILIA                   23916   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
27983   RUSSELL, CECILIA                   29676   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
27984   RUSSELL, GARY                      7271    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
27985   RUSSELL, GARY      Laredo, LLC     13021   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
27986   RUSSELL, GARY                      18768   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4044 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27987   RUSSELL, GARY                    24502   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27988   RUSSELL, GARY                    30262   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27989   RUSSELL, GAVIN                   7275    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27990   RUSSELL, GAVIN   Laredo, LLC     13025   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27991   RUSSELL, GAVIN                   18772   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27992   RUSSELL, GAVIN                   24506   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27993   RUSSELL, GAVIN                   30266   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4045 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
27994   RUSSELL, JAMES                   7457    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
27995   RUSSELL, JAMES   Laredo, LLC     13207   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
27996   RUSSELL, JAMES                   18954   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
27997   RUSSELL, JAMES                   24688   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
27998   RUSSELL, JAMES                   30448   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSSELL, ROSE    Barney Davis,
27999                                    8682    8/1/2022     Secured: $0.00
        MARIE            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        RUSSELL, ROSE
28000                    Laredo, LLC     14432   8/1/2022     Secured: $0.00
        MARIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4046 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL, ROSE   Nueces Bay,
28001                                   20179   8/1/2022     Secured: $0.00
        MARIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL, ROSE   Talen Texas
28002                                   25911   8/1/2022     Secured: $0.00
        MARIE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL, ROSE   Talen Texas,
28003                                   31673   8/1/2022     Secured: $0.00
        MARIE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL,        Barney Davis,
28004                                   8885    8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL,
28005                   Laredo, LLC     14635   8/1/2022     Secured: $0.00
        STEPHANIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL,        Nueces Bay,
28006                                   20382   8/1/2022     Secured: $0.00
        STEPHANIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUSSELL,        Talen Texas
28007                                   26114   8/1/2022     Secured: $0.00
        STEPHANIE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4047 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUSSELL,       Talen Texas,
28008                                  31876   8/1/2022     Secured: $0.00
        STEPHANIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUSSOLILLO,    Barney Davis,
28009                                  8877    8/1/2022     Secured: $0.00
        STEFANO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUSSOLILLO,
28010                  Laredo, LLC     14627   8/1/2022     Secured: $0.00
        STEFANO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUSSOLILLO,    Nueces Bay,
28011                                  20374   8/1/2022     Secured: $0.00
        STEFANO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUSSOLILLO,    Talen Texas
28012                                  26106   8/1/2022     Secured: $0.00
        STEFANO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUSSOLILLO,    Talen Texas,
28013                                  31868   8/1/2022     Secured: $0.00
        STEFANO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        RUTHERFORD,    Barney Davis,
28014                                  4219    8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4048 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUTHERFORD,
28015                   Laredo, LLC     9969    8/1/2022     Secured: $0.00
        HARVEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUTHERFORD,     Nueces Bay,
28016                                   15716   8/1/2022     Secured: $0.00
        HARVEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUTHERFORD,     Talen Texas
28017                                   21462   8/1/2022     Secured: $0.00
        HARVEY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        RUTHERFORD,     Talen Texas,
28018                                   27210   8/1/2022     Secured: $0.00
        HARVEY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28019   RUYLE, DUSTIN                   7113    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28020   RUYLE, DUSTIN   Laredo, LLC     12863   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28021   RUYLE, DUSTIN                   18610   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4049 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28022   RUYLE, DUSTIN                   24344   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28023   RUYLE, DUSTIN                   30104   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RVOS FARM
                                                             Priority: $0.00
        MUTUAL
28024                   Laredo, LLC     1658    7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RVOS FARM
                                                             Priority: $0.00
        MUTUAL          Barney Davis,
28025                                   1690    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        RVOS FARM
                                                             Priority: $0.00
        MUTUAL          Nueces Bay,
28026                                   1695    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28027   RYALS, KAY                      7787    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28028   RYALS, KAY      Laredo, LLC     13537   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4050 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28029   RYALS, KAY                     19284   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28030   RYALS, KAY                     25018   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28031   RYALS, KAY                     30778   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28032   RYAN, JERALD                   7533    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28033   RYAN, JERALD   Laredo, LLC     13283   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28034   RYAN, JERALD                   19030   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28035   RYAN, JERALD                   24764   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4051 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28036   RYAN, JERALD                    30524   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28037   RYAN, THOMAS                    8998    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28038   RYAN, THOMAS    Laredo, LLC     14748   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28039   RYAN, THOMAS                    20495   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28040   RYAN, THOMAS                    26227   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28041   RYAN, THOMAS                    31989   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28042   RYAN, WILLIAM   Laredo, LLC     33141   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4052 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28043   RYAN, WILLIAM                   34132   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28044   RYAN, WILLIAM                   35123   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28045   RYAN, WILLIAM                   36114   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28046   RYAN, WILLIAM                   37103   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SABLATURA,      Barney Davis,
28047                                   5956    8/1/2022     Secured: $0.00
        AMBERN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SABLATURA,
28048                   Laredo, LLC     11706   8/1/2022     Secured: $0.00
        AMBERN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SABLATURA,      Nueces Bay,
28049                                   17453   8/1/2022     Secured: $0.00
        AMBERN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4053 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SABLATURA,     Talen Texas
28050                                  23198   8/1/2022     Secured: $0.00
        AMBERN         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SABLATURA,     Talen Texas,
28051                                  28947   8/1/2022     Secured: $0.00
        AMBERN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28052   SAEED, HAMID                   4995    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28053   SAEED, HAMID   Laredo, LLC     10745   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28054   SAEED, HAMID                   16492   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28055   SAEED, HAMID                   22237   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28056   SAEED, HAMID                   27986   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4054 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28057   SAENZ, ANDREA                    4813    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28058   SAENZ, ANDREA    Laredo, LLC     10563   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28059   SAENZ, ANDREA                    16310   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28060   SAENZ, ANDREA                    22056   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28061   SAENZ, ANDREA                    27804   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28062   SAENZ, CYNTHIA   Laredo, LLC     33142   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28063   SAENZ, CYNTHIA                   34133   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4055 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28064   SAENZ, CYNTHIA                   35124   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28065   SAENZ, CYNTHIA                   36115   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28066   SAENZ, CYNTHIA                   37104   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28067   SAENZ, ERIC                      3879    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28068   SAENZ, ERIC      Laredo, LLC     9629    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28069   SAENZ, ERIC                      15376   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28070   SAENZ, ERIC                      21123   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4056 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28071   SAENZ, ERIC                      26870   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28072   SAENZ, ORLANDO Laredo, LLC       33143   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28073   SAENZ, ORLANDO                   34134   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28074   SAENZ, ORLANDO                   35125   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28075   SAENZ, ORLANDO                   36116   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28076   SAENZ, ORLANDO                   37105   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28077   SAENZ, RUDY      Laredo, LLC     33144   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4057 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28078   SAENZ, RUDY                      34135   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28079   SAENZ, RUDY                      35126   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28080   SAENZ, RUDY                      36117   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28081   SAENZ, RUDY                      37106   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28082   SAENZ, SHIRLEY                   8841    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28083   SAENZ, SHIRLEY   Laredo, LLC     14591   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28084   SAENZ, SHIRLEY                   20338   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4058 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28085   SAENZ, SHIRLEY                   26070   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28086   SAENZ, SHIRLEY                   31832   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFECO
                                                              Priority: $0.00
        INSURANCE
28087                    Laredo, LLC     2446    7/31/2022    Secured: $0.00
        COMPANY OF
                                                              General Unsecured: $34,191,384.45 + Unliquidated
        INDIANA
                                                              Total: $34,191,384.45 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFECO
                                                              Priority: $0.00
        INSURANCE        Barney Davis,
28088                                    2650    7/31/2022    Secured: $0.00
        COMPANY OF       LLC
                                                              General Unsecured: $34,191,384.45 + Unliquidated
        INDIANA
                                                              Total: $34,191,384.45 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFECO
                                                              Priority: $0.00
        INSURANCE        Nueces Bay,
28089                                    2821    7/31/2022    Secured: $0.00
        COMPANY OF       LLC
                                                              General Unsecured: $34,191,384.45 + Unliquidated
        INDIANA
                                                              Total: $34,191,384.45 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFECO LLOYDS                                         Priority: $0.00
                         Barney Davis,
28090   INSURANCE                        2827    7/31/2022    Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $596,291.82 + Unliquidated

                                                              Total: $596,291.82 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4059 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SAFECO LLOYDS                                       Priority: $0.00
                        Nueces Bay,
28091   INSURANCE                       2836   7/31/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $596,291.82 + Unliquidated

                                                            Total: $596,291.82 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SAFECO LLOYDS                                       Priority: $0.00
28092   INSURANCE       Laredo, LLC     2918   7/31/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $596,291.82 + Unliquidated

                                                            Total: $596,291.82 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SAFEPORT                                            Priority: $0.00
                        Talen Energy
28093   INSURANCE                       780    7/28/2022    Secured: $0.00
                        Supply, LLC
        COMPANY                                             General Unsecured: $19,385,244.04 + Unliquidated

                                                            Total: $19,385,244.04 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SAFEPORT                                            Priority: $0.00
28094   INSURANCE       Laredo, LLC     1093   7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $19,385,244.04 + Unliquidated

                                                            Total: $19,385,244.04 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SAFEPORT                                            Priority: $0.00
                        Barney Davis,
28095   INSURANCE                       1125   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $19,385,244.04 + Unliquidated

                                                            Total: $19,385,244.04 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SAFEPORT                                            Priority: $0.00
                        Nueces Bay,
28096   INSURANCE                       1236   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $19,385,244.04 + Unliquidated

                                                            Total: $19,385,244.04 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4060 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFETY SPECIALTY                                      Priority: $0.00
28097   INSURANCE        Laredo, LLC     2852    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $198,152,103.43 + Unliquidated

                                                              Total: $198,152,103.43 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFETY SPECIALTY                                      Priority: $0.00
                         Nueces Bay,
28098   INSURANCE                        2884    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $198,152,103.43 + Unliquidated

                                                              Total: $198,152,103.43 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SAFETY SPECIALTY                                      Priority: $0.00
                         Barney Davis,
28099   INSURANCE                        2927    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $198,152,103.43 + Unliquidated

                                                              Total: $198,152,103.43 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28100   SAINI, DINESH                    5782    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28101   SAINI, DINESH    Laredo, LLC     11532   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28102   SAINI, DINESH                    17279   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4061 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28103   SAINI, DINESH                     23024   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28104   SAINI, DINESH                     28773   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28105   SAKALA, PAULETT                   8424    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28106   SAKALA, PAULETT Laredo, LLC       14174   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28107   SAKALA, PAULETT                   19921   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28108   SAKALA, PAULETT                   25654   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28109   SAKALA, PAULETT                   31415   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4062 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28110   SALAIZ, SAUL M                   4660    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28111   SALAIZ, SAUL M   Laredo, LLC     10410   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28112   SALAIZ, SAUL M                   16157   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28113   SALAIZ, SAUL M                   21903   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28114   SALAIZ, SAUL M                   27651   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28115   SALAS, ALVINO                    6352    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28116   SALAS, ALVINO    Laredo, LLC     12102   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4063 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28117   SALAS, ALVINO                    17849   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28118   SALAS, ALVINO                    23584   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28119   SALAS, ALVINO                    29343   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28120   SALAS, ANTONIO                   3941    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28121   SALAS, ANTONIO Laredo, LLC       9691    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28122   SALAS, ANTONIO                   15438   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28123   SALAS, ANTONIO                   21184   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4064 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28124   SALAS, ANTONIO                    26932   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28125   SALAS, GRACIELA                   7322    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28126   SALAS, GRACIELA Laredo, LLC       13072   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28127   SALAS, GRACIELA                   18819   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28128   SALAS, GRACIELA                   24553   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28129   SALAS, GRACIELA                   30313   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,
28130                     Laredo, LLC     33145   8/1/2022     Secured: $0.00
        ARACELLI
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4065 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Barney Davis,
28131                                     34136   8/1/2022     Secured: $0.00
        ARACELLI          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Nueces Bay,
28132                                     35127   8/1/2022     Secured: $0.00
        ARACELLI          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Talen Texas
28133                                     36118   8/1/2022     Secured: $0.00
        ARACELLI          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Talen Texas,
28134                                     37107   8/1/2022     Secured: $0.00
        ARACELLI          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28135   SALAZAR, DANIEL                   4918    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28136   SALAZAR, DANIEL Laredo, LLC       10668   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28137   SALAZAR, DANIEL                   16415   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4066 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28138   SALAZAR, DANIEL                   22160   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28139   SALAZAR, DANIEL                   27909   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,
28140                     Laredo, LLC     33146   8/1/2022     Secured: $0.00
        FRANCISCO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Barney Davis,
28141                                     34137   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Nueces Bay,
28142                                     35128   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Talen Texas
28143                                     36119   8/1/2022     Secured: $0.00
        FRANCISCO         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Talen Texas,
28144                                     37108   8/1/2022     Secured: $0.00
        FRANCISCO         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4067 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Barney Davis,
28145                                   4309    8/1/2022     Secured: $0.00
        JOHNNIEANN      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,
28146                   Laredo, LLC     10059   8/1/2022     Secured: $0.00
        JOHNNIEANN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Nueces Bay,
28147                                   15806   8/1/2022     Secured: $0.00
        JOHNNIEANN      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Talen Texas
28148                                   21552   8/1/2022     Secured: $0.00
        JOHNNIEANN      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Talen Texas,
28149                                   27300   8/1/2022     Secured: $0.00
        JOHNNIEANN      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28150   SALAZAR, OMAR   Laredo, LLC     33147   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28151   SALAZAR, OMAR                   34138   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4068 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28152   SALAZAR, OMAR                   35129   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28153   SALAZAR, OMAR                   36120   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28154   SALAZAR, OMAR                   37109   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Barney Davis,
28155                                   8466    8/1/2022     Secured: $0.00
        PRISCILLA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,
28156                   Laredo, LLC     14216   8/1/2022     Secured: $0.00
        PRISCILLA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Nueces Bay,
28157                                   19963   8/1/2022     Secured: $0.00
        PRISCILLA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALAZAR,        Talen Texas
28158                                   25696   8/1/2022     Secured: $0.00
        PRISCILLA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4069 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALAZAR,          Talen Texas,
28159                                     31457   8/1/2022     Secured: $0.00
        PRISCILLA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28160   SALDANA, AMELIA                   6363    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28161   SALDANA, AMELIA Laredo, LLC       12113   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28162   SALDANA, AMELIA                   17860   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28163   SALDANA, AMELIA                   23595   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28164   SALDANA, AMELIA                   29354   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALDANA,          Barney Davis,
28165                                     4912    8/1/2022     Secured: $0.00
        CRYSTAL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4070 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SALDANA,
28166                  Laredo, LLC     10662   8/1/2022     Secured: $0.00
        CRYSTAL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SALDANA,       Nueces Bay,
28167                                  16409   8/1/2022     Secured: $0.00
        CRYSTAL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SALDANA,       Talen Texas
28168                                  22154   8/1/2022     Secured: $0.00
        CRYSTAL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SALDANA,       Talen Texas,
28169                                  27903   8/1/2022     Secured: $0.00
        CRYSTAL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28170   SALDANA, EVA   Laredo, LLC     33148   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28171   SALDANA, EVA                   34139   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28172   SALDANA, EVA                   35130   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4071 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28173   SALDANA, EVA                       36121   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28174   SALDANA, EVA                       37110   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
28175   SALDIVAR, JOSE L                   4319    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28176   SALDIVAR, JOSE L Laredo, LLC       10069   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28177   SALDIVAR, JOSE L                   15816   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28178   SALDIVAR, JOSE L                   21562   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28179   SALDIVAR, JOSE L                   27310   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4072 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28180   SALEWSKY, RICK                   4613    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28181   SALEWSKY, RICK   Laredo, LLC     10363   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28182   SALEWSKY, RICK                   16110   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28183   SALEWSKY, RICK                   21856   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28184   SALEWSKY, RICK                   27604   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALGADO,         Barney Davis,
28185                                    8551    8/1/2022     Secured: $0.00
        RICARDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALGADO,
28186                    Laredo, LLC     14301   8/1/2022     Secured: $0.00
        RICARDO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4073 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALGADO,          Nueces Bay,
28187                                     20048   8/1/2022     Secured: $0.00
        RICARDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALGADO,          Talen Texas
28188                                     25780   8/1/2022     Secured: $0.00
        RICARDO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALGADO,          Talen Texas,
28189                                     31542   8/1/2022     Secured: $0.00
        RICARDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28190   SALINAS, ANGELA                   6396    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28191   SALINAS, ANGELA Laredo, LLC       12146   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28192   SALINAS, ANGELA                   17893   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28193   SALINAS, ANGELA                   23628   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4074 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28194   SALINAS, ANGELA                   29387   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,          Barney Davis,
28195                                     4848    8/1/2022     Secured: $0.00
        BENJAMIN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,
28196                     Laredo, LLC     10598   8/1/2022     Secured: $0.00
        BENJAMIN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,          Nueces Bay,
28197                                     16345   8/1/2022     Secured: $0.00
        BENJAMIN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,          Talen Texas
28198                                     22091   8/1/2022     Secured: $0.00
        BENJAMIN          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,          Talen Texas,
28199                                     27839   8/1/2022     Secured: $0.00
        BENJAMIN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28200   SALINAS, DANIEL                   6895    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4075 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28201   SALINAS, DANIEL Laredo, LLC       12645   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28202   SALINAS, DANIEL                   18392   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28203   SALINAS, DANIEL                   24126   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28204   SALINAS, DANIEL                   29886   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,          Barney Davis,
28205                                     8110    8/1/2022     Secured: $0.00
        MARITSSA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,
28206                     Laredo, LLC     13860   8/1/2022     Secured: $0.00
        MARITSSA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALINAS,          Nueces Bay,
28207                                     19607   8/1/2022     Secured: $0.00
        MARITSSA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4076 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS,         Talen Texas
28208                                    25341   8/1/2022     Secured: $0.00
        MARITSSA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS,         Talen Texas,
28209                                    31101   8/1/2022     Secured: $0.00
        MARITSSA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS, SANTA
28210                    Laredo, LLC     33149   8/1/2022     Secured: $0.00
        VERONICA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS, SANTA   Barney Davis,
28211                                    34140   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS, SANTA   Nueces Bay,
28212                                    35131   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS, SANTA   Talen Texas
28213                                    36122   8/1/2022     Secured: $0.00
        VERONICA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SALINAS, SANTA   Talen Texas,
28214                                    37111   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4077 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28215   SALINAS, VICTOR                   5524    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28216   SALINAS, VICTOR Laredo, LLC       11274   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28217   SALINAS, VICTOR                   17021   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28218   SALINAS, VICTOR                   22766   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28219   SALINAS, VICTOR                   28515   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALON PICASSO     Barney Davis,
28220                                     5939    8/1/2022     Secured: $0.00
        STUDIOS LLC       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SALON PICASSO
28221                     Laredo, LLC     11689   8/1/2022     Secured: $0.00
        STUDIOS LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4078 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALON PICASSO   Nueces Bay,
28222                                   17436   8/1/2022     Secured: $0.00
        STUDIOS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALON PICASSO   Talen Texas
28223                                   23181   8/1/2022     Secured: $0.00
        STUDIOS LLC     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SALON PICASSO   Talen Texas,
28224                                   28930   8/1/2022     Secured: $0.00
        STUDIOS LLC     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28225   SALVA, MARY                     8167    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28226   SALVA, MARY     Laredo, LLC     13917   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28227   SALVA, MARY                     19664   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28228   SALVA, MARY                     25398   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4079 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28229   SALVA, MARY                       31158   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28230   SALYER, CLYDE                     6803    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28231   SALYER, CLYDE     Laredo, LLC     12553   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28232   SALYER, CLYDE                     18300   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28233   SALYER, CLYDE                     24034   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28234   SALYER, CLYDE                     29794   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28235   SAM, PHOEBE ZEE                   8457    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4080 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28236   SAM, PHOEBE ZEE Laredo, LLC       14207   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28237   SAM, PHOEBE ZEE                   19954   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28238   SAM, PHOEBE ZEE                   25687   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28239   SAM, PHOEBE ZEE                   31448   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAMBRANO,         Barney Davis,
28240                                     6498    8/1/2022     Secured: $0.00
        BENITO            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAMBRANO,
28241                     Laredo, LLC     12248   8/1/2022     Secured: $0.00
        BENITO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAMBRANO,         Nueces Bay,
28242                                     17995   8/1/2022     Secured: $0.00
        BENITO            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4081 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SAMBRANO,        Talen Texas
28243                                   23730   8/1/2022     Secured: $0.00
        BENITO           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SAMBRANO,        Talen Texas,
28244                                   29489   8/1/2022     Secured: $0.00
        BENITO           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SAM'S CLUB, LLC
                                                             Priority: $0.00
        DBA Q BALL‐     Barney Davis,
28245                                   5941    8/1/2022     Secured: $0.00
        SNOOKER POOL & LLC
                                                             General Unsecured: $0.00 + Unliquidated
        HOOKAH BAR
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SAM'S CLUB, LLC
                                                             Priority: $0.00
        DBA Q BALL‐
28246                   Laredo, LLC     11691   8/1/2022     Secured: $0.00
        SNOOKER POOL &
                                                             General Unsecured: $0.00 + Unliquidated
        HOOKAH BAR
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SAM'S CLUB, LLC
                                                             Priority: $0.00
        DBA Q BALL‐     Nueces Bay,
28247                                   17438   8/1/2022     Secured: $0.00
        SNOOKER POOL & LLC
                                                             General Unsecured: $0.00 + Unliquidated
        HOOKAH BAR
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SAM'S CLUB, LLC
                                                             Priority: $0.00
        DBA Q BALL‐     Talen Texas
28248                                   23183   8/1/2022     Secured: $0.00
        SNOOKER POOL & Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        HOOKAH BAR
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SAM'S CLUB, LLC
                                                             Priority: $0.00
        DBA Q BALL‐     Talen Texas,
28249                                   28932   8/1/2022     Secured: $0.00
        SNOOKER POOL & LLC
                                                             General Unsecured: $0.00 + Unliquidated
        HOOKAH BAR
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4082 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAN MIGUEL,       Barney Davis,
28250                                     5249    8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAN MIGUEL,
28251                     Laredo, LLC     10999   8/1/2022     Secured: $0.00
        ROBERTO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAN MIGUEL,       Nueces Bay,
28252                                     16746   8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAN MIGUEL,       Talen Texas
28253                                     22491   8/1/2022     Secured: $0.00
        ROBERTO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAN MIGUEL,       Talen Texas,
28254                                     28240   8/1/2022     Secured: $0.00
        ROBERTO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28255   SANCHEZ, ADRIAN                   6049    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28256   SANCHEZ, ADRIAN Laredo, LLC       11799   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4083 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28257   SANCHEZ, ADRIAN                   17546   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28258   SANCHEZ, ADRIAN                   23291   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28259   SANCHEZ, ADRIAN                   29040   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,
28260                     Laredo, LLC     33150   8/1/2022     Secured: $0.00
        ANGELITA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,          Barney Davis,
28261                                     34141   8/1/2022     Secured: $0.00
        ANGELITA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,          Nueces Bay,
28262                                     35132   8/1/2022     Secured: $0.00
        ANGELITA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,          Talen Texas
28263                                     36123   8/1/2022     Secured: $0.00
        ANGELITA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4084 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas,
28264                                    37112   8/1/2022     Secured: $0.00
        ANGELITA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,
28265                    Laredo, LLC     33151   8/1/2022     Secured: $0.00
        BARBARA BLAIR
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Barney Davis,
28266                                    34142   8/1/2022     Secured: $0.00
        BARBARA BLAIR    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Nueces Bay,
28267                                    35133   8/1/2022     Secured: $0.00
        BARBARA BLAIR    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas
28268                                    36124   8/1/2022     Secured: $0.00
        BARBARA BLAIR    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas,
28269                                    37113   8/1/2022     Secured: $0.00
        BARBARA BLAIR    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28270   SANCHEZ, DEANA                   4100    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4085 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28271   SANCHEZ, DEANA Laredo, LLC       9850    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28272   SANCHEZ, DEANA                   15597   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28273   SANCHEZ, DEANA                   21343   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28274   SANCHEZ, DEANA                   27091   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28275   SANCHEZ, DORIS                   7088    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28276   SANCHEZ, DORIS   Laredo, LLC     12838   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28277   SANCHEZ, DORIS                   18585   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4086 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28278   SANCHEZ, DORIS                   24319   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28279   SANCHEZ, DORIS                   30079   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28280   SANCHEZ, ELIZA                   7145    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28281   SANCHEZ, ELIZA   Laredo, LLC     12895   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28282   SANCHEZ, ELIZA                   18642   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28283   SANCHEZ, ELIZA                   24376   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28284   SANCHEZ, ELIZA                   30136   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4087 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28285   SANCHEZ, FRED                   7251    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28286   SANCHEZ, FRED   Laredo, LLC     13001   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28287   SANCHEZ, FRED                   18748   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28288   SANCHEZ, FRED                   24482   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28289   SANCHEZ, FRED                   30242   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28290   SANCHEZ, FRED   Laredo, LLC     33152   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28291   SANCHEZ, FRED                   34143   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4088 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28292   SANCHEZ, FRED                     35134   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28293   SANCHEZ, FRED                     36125   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28294   SANCHEZ, FRED                     37114   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28295   SANCHEZ, GISELA                   5896    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28296   SANCHEZ, GISELA Laredo, LLC       11646   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28297   SANCHEZ, GISELA                   17393   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28298   SANCHEZ, GISELA                   23138   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4089 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28299   SANCHEZ, GISELA                   28887   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ, GLORIA
28300                   Laredo, LLC       33153   8/1/2022     Secured: $0.00
        L
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ, GLORIA Barney Davis,
28301                                     34144   8/1/2022     Secured: $0.00
        L               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ, GLORIA Nueces Bay,
28302                                     35135   8/1/2022     Secured: $0.00
        L               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ, GLORIA Talen Texas
28303                                     36126   8/1/2022     Secured: $0.00
        L               Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ, GLORIA Talen Texas,
28304                                     37115   8/1/2022     Secured: $0.00
        L               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,          Barney Davis,
28305                                     7321    8/1/2022     Secured: $0.00
        GRACIANO          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4090 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,
28306                 Laredo, LLC     13071   8/1/2022     Secured: $0.00
        GRACIANO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Nueces Bay,
28307                                 18818   8/1/2022     Secured: $0.00
        GRACIANO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Talen Texas
28308                                 24552   8/1/2022     Secured: $0.00
        GRACIANO      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Talen Texas,
28309                                 30312   8/1/2022     Secured: $0.00
        GRACIANO      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Barney Davis,
28310                                 4212    8/1/2022     Secured: $0.00
        GRACIELA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,
28311                 Laredo, LLC     9962    8/1/2022     Secured: $0.00
        GRACIELA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Nueces Bay,
28312                                 15709   8/1/2022     Secured: $0.00
        GRACIELA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4091 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,          Talen Texas
28313                                     21455   8/1/2022     Secured: $0.00
        GRACIELA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANCHEZ,          Talen Texas,
28314                                     27203   8/1/2022     Secured: $0.00
        GRACIELA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28315   SANCHEZ, JESSIE                   7560    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28316   SANCHEZ, JESSIE   Laredo, LLC     13310   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28317   SANCHEZ, JESSIE                   19057   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28318   SANCHEZ, JESSIE                   24791   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28319   SANCHEZ, JESSIE                   30551   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4092 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28320   SANCHEZ, JESUS                   7567    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28321   SANCHEZ, JESUS   Laredo, LLC     13317   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28322   SANCHEZ, JESUS                   19064   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28323   SANCHEZ, JESUS                   24798   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28324   SANCHEZ, JESUS                   30558   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28325   SANCHEZ, JUAN                    4339    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28326   SANCHEZ, JUAN    Laredo, LLC     10089   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4093 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28327   SANCHEZ, JUAN                    15836   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28328   SANCHEZ, JUAN                    21582   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28329   SANCHEZ, JUAN                    27330   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28330   SANCHEZ, LAURA                   4415    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28331   SANCHEZ, LAURA Laredo, LLC       10165   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28332   SANCHEZ, LAURA                   15912   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28333   SANCHEZ, LAURA                   21658   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4094 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28334   SANCHEZ, LAURA                    27406   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28335   SANCHEZ, LORINE Laredo, LLC       33154   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28336   SANCHEZ, LORINE                   34145   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28337   SANCHEZ, LORINE                   35136   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28338   SANCHEZ, LORINE                   36127   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28339   SANCHEZ, LORINE                   37116   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28340   SANCHEZ, LUIGI                    4446    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4095 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28341   SANCHEZ, LUIGI   Laredo, LLC     10196   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28342   SANCHEZ, LUIGI                   15943   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28343   SANCHEZ, LUIGI                   21689   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28344   SANCHEZ, LUIGI                   27437   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Barney Davis,
28345                                    8089    8/1/2022     Secured: $0.00
        MARIAELENA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,
28346                    Laredo, LLC     13839   8/1/2022     Secured: $0.00
        MARIAELENA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Nueces Bay,
28347                                    19586   8/1/2022     Secured: $0.00
        MARIAELENA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4096 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,       Talen Texas
28348                                  25320   8/1/2022     Secured: $0.00
        MARIAELENA     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,       Talen Texas,
28349                                  31080   8/1/2022     Secured: $0.00
        MARIAELENA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,       Barney Davis,
28350                                  8467    8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,
28351                  Laredo, LLC     14217   8/1/2022     Secured: $0.00
        PRISCILLA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,       Nueces Bay,
28352                                  19964   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,       Talen Texas
28353                                  25697   8/1/2022     Secured: $0.00
        PRISCILLA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANCHEZ,       Talen Texas,
28354                                  31458   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4097 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Barney Davis,
28355                                 4591    8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,
28356                 Laredo, LLC     10341   8/1/2022     Secured: $0.00
        RAYMOND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Nueces Bay,
28357                                 16088   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Talen Texas
28358                                 21834   8/1/2022     Secured: $0.00
        RAYMOND       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Talen Texas,
28359                                 27582   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,      Barney Davis,
28360                                 8552    8/1/2022     Secured: $0.00
        RICARDO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANCHEZ,
28361                 Laredo, LLC     14302   8/1/2022     Secured: $0.00
        RICARDO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4098 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Nueces Bay,
28362                                    20049   8/1/2022     Secured: $0.00
        RICARDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas
28363                                    25781   8/1/2022     Secured: $0.00
        RICARDO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas,
28364                                    31543   8/1/2022     Secured: $0.00
        RICARDO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28365   SANCHEZ, TRUDY                   9078    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28366   SANCHEZ, TRUDY Laredo, LLC       14828   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28367   SANCHEZ, TRUDY                   20575   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28368   SANCHEZ, TRUDY                   26307   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4099 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28369   SANCHEZ, TRUDY                   32069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,
28370                    Laredo, LLC     33155   8/1/2022     Secured: $0.00
        VERONICA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Barney Davis,
28371                                    34146   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Nueces Bay,
28372                                    35137   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas
28373                                    36128   8/1/2022     Secured: $0.00
        VERONICA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas,
28374                                    37117   8/1/2022     Secured: $0.00
        VERONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Barney Davis,
28375                                    9167    8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4100 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,
28376                    Laredo, LLC     14917   8/1/2022     Secured: $0.00
        WILLIAM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Nueces Bay,
28377                                    20664   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas
28378                                    26396   8/1/2022     Secured: $0.00
        WILLIAM          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANCHEZ,         Talen Texas,
28379                                    32158   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28380   SANDERS, CHERI                   6718    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28381   SANDERS, CHERI   Laredo, LLC     12468   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28382   SANDERS, CHERI                   18215   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4101 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28383   SANDERS, CHERI                   23949   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28384   SANDERS, CHERI                   29709   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28385   SANDERS, DEREK                   4938    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28386   SANDERS, DEREK Laredo, LLC       10688   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28387   SANDERS, DEREK                   16435   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28388   SANDERS, DEREK                   22180   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28389   SANDERS, DEREK                   27929   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4102 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANDERS,       Barney Davis,
28390                                  7825    8/1/2022     Secured: $0.00
        KESHLIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANDERS,
28391                  Laredo, LLC     13575   8/1/2022     Secured: $0.00
        KESHLIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANDERS,       Nueces Bay,
28392                                  19322   8/1/2022     Secured: $0.00
        KESHLIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANDERS,       Talen Texas
28393                                  25056   8/1/2022     Secured: $0.00
        KESHLIA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SANDERS,       Talen Texas,
28394                                  30816   8/1/2022     Secured: $0.00
        KESHLIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28395   SANDERS, KIP                   7858    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28396   SANDERS, KIP   Laredo, LLC     13608   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4103 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28397   SANDERS, KIP                    19355   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28398   SANDERS, KIP                    25089   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28399   SANDERS, KIP                    30849   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28400   SANDERS, LEAH                   7945    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28401   SANDERS, LEAH   Laredo, LLC     13695   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28402   SANDERS, LEAH                   19442   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28403   SANDERS, LEAH                   25176   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4104 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28404   SANDERS, LEAH                    30936   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28405   SANDERS, LELER                   7956    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28406   SANDERS, LELER   Laredo, LLC     13706   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28407   SANDERS, LELER                   19453   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28408   SANDERS, LELER                   25187   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28409   SANDERS, LELER                   30947   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANDERS,         Barney Davis,
28410                                    8067    8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4105 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SANDERS,
28411                   Laredo, LLC     13817   8/1/2022     Secured: $0.00
        MARGARET
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SANDERS,        Nueces Bay,
28412                                   19564   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SANDERS,        Talen Texas
28413                                   25298   8/1/2022     Secured: $0.00
        MARGARET        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SANDERS,        Talen Texas,
28414                                   31058   8/1/2022     Secured: $0.00
        MARGARET        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28415   SANDERS, MARK                   8125    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28416   SANDERS, MARK   Laredo, LLC     13875   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28417   SANDERS, MARK                   19622   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4106 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28418   SANDERS, MARK                     25356   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28419   SANDERS, MARK                     31116   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28420   SANDERS, SHELLA                   8817    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28421   SANDERS, SHELLA Laredo, LLC       14567   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28422   SANDERS, SHELLA                   20314   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28423   SANDERS, SHELLA                   26046   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28424   SANDERS, SHELLA                   31808   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4107 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Barney Davis,
28425                                 7065    8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,
28426                 Laredo, LLC     12815   8/1/2022     Secured: $0.00
        DONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Nueces Bay,
28427                                 18562   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Talen Texas
28428                                 24296   8/1/2022     Secured: $0.00
        DONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Talen Texas,
28429                                 30056   8/1/2022     Secured: $0.00
        DONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Barney Davis,
28430                                 4521    8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,
28431                 Laredo, LLC     10271   8/1/2022     Secured: $0.00
        MICHELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4108 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Nueces Bay,
28432                                 16018   8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Talen Texas
28433                                 21764   8/1/2022     Secured: $0.00
        MICHELLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDERSON,    Talen Texas,
28434                                 27512   8/1/2022     Secured: $0.00
        MICHELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDLES,      Barney Davis,
28435                                 7335    8/1/2022     Secured: $0.00
        GRISELDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDLES,
28436                 Laredo, LLC     13085   8/1/2022     Secured: $0.00
        GRISELDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDLES,      Nueces Bay,
28437                                 18832   8/1/2022     Secured: $0.00
        GRISELDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDLES,      Talen Texas
28438                                 24566   8/1/2022     Secured: $0.00
        GRISELDA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4109 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDLES,      Talen Texas,
28439                                 30326   8/1/2022     Secured: $0.00
        GRISELDA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,
28440                 Laredo, LLC     33156   8/1/2022     Secured: $0.00
        CLAUDIO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Barney Davis,
28441                                 34147   8/1/2022     Secured: $0.00
        CLAUDIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Nueces Bay,
28442                                 35138   8/1/2022     Secured: $0.00
        CLAUDIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Talen Texas
28443                                 36129   8/1/2022     Secured: $0.00
        CLAUDIO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Talen Texas,
28444                                 37118   8/1/2022     Secured: $0.00
        CLAUDIO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SANDOVAL,                                          Priority: $0.00
                      Barney Davis,
28445   EDUARDO                       4154    8/1/2022     Secured: $0.00
                      LLC
        HERRERA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4110 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SANDOVAL,                                          Priority: $0.00
28446   EDUARDO       Laredo, LLC     9904    8/1/2022     Secured: $0.00
        HERRERA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SANDOVAL,                                          Priority: $0.00
                      Nueces Bay,
28447   EDUARDO                       15651   8/1/2022     Secured: $0.00
                      LLC
        HERRERA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SANDOVAL,                                          Priority: $0.00
                      Talen Texas
28448   EDUARDO                       21397   8/1/2022     Secured: $0.00
                      Group, LLC
        HERRERA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SANDOVAL,                                          Priority: $0.00
                      Talen Texas,
28449   EDUARDO                       27145   8/1/2022     Secured: $0.00
                      LLC
        HERRERA                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Barney Davis,
28450                                 4703    8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,
28451                 Laredo, LLC     10453   8/1/2022     Secured: $0.00
        STEPHANIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Nueces Bay,
28452                                 16200   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4111 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Talen Texas
28453                                 21946   8/1/2022     Secured: $0.00
        STEPHANIE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Talen Texas,
28454                                 27694   8/1/2022     Secured: $0.00
        STEPHANIE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Barney Davis,
28455                                 6193    8/1/2022     Secured: $0.00
        SUSAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,
28456                 Laredo, LLC     11943   8/1/2022     Secured: $0.00
        SUSAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Nueces Bay,
28457                                 17690   8/1/2022     Secured: $0.00
        SUSAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Talen Texas
28458                                 23435   8/1/2022     Secured: $0.00
        SUSAN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANDOVAL,     Talen Texas,
28459                                 29184   8/1/2022     Secured: $0.00
        SUSAN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4112 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        SANDRA
                                                              Other Administrative: $0.00
        MARTINEZ GEARY
                                                              Priority: $0.00
        AS HEIR OF THE Barney Davis,
28460                                    3866    8/1/2022     Secured: $0.00
        ESTATE OF      LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CORNELIUS
        THOMAS GEARY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SANDRA
                                                              Other Administrative: $0.00
        MARTINEZ GEARY
                                                              Priority: $0.00
        AS HEIR OF THE
28461                  Laredo, LLC       9616    8/1/2022     Secured: $0.00
        ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        CORNELIUS
        THOMAS GEARY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SANDRA
                                                              Other Administrative: $0.00
        MARTINEZ GEARY
                                                              Priority: $0.00
        AS HEIR OF THE Nueces Bay,
28462                                    15363   8/1/2022     Secured: $0.00
        ESTATE OF      LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CORNELIUS
        THOMAS GEARY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SANDRA
                                                              Other Administrative: $0.00
        MARTINEZ GEARY
                                                              Priority: $0.00
        AS HEIR OF THE Talen Texas
28463                                    21110   8/1/2022     Secured: $0.00
        ESTATE OF      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CORNELIUS
        THOMAS GEARY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SANDRA
                                                              Other Administrative: $0.00
        MARTINEZ GEARY
                                                              Priority: $0.00
        AS HEIR OF THE Talen Texas,
28464                                    26857   8/1/2022     Secured: $0.00
        ESTATE OF      LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CORNELIUS
        THOMAS GEARY
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SANDRA MATL,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
28465   AND AS HEIR OF                   5406    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RUBY MATL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SANDRA MATL,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
28466   AND AS HEIR OF   Laredo, LLC     11156   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        RUBY MATL
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4113 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        SANDRA MATL,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Nueces Bay,
28467   AND AS HEIR OF                    16903   8/1/2022     Secured: $0.00
                          LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        RUBY MATL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        SANDRA MATL,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Talen Texas
28468   AND AS HEIR OF                    22648   8/1/2022     Secured: $0.00
                          Group, LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        RUBY MATL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        SANDRA MATL,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                          Priority: $0.00
                          Talen Texas,
28469   AND AS HEIR OF                    28397   8/1/2022     Secured: $0.00
                          LLC
        THE ESTATE OF                                          General Unsecured: $0.00 + Unliquidated
        RUBY MATL
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28470   SANFORD, SHEILA                   8813    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28471   SANFORD, SHEILA Laredo, LLC       14563   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28472   SANFORD, SHEILA                   20310   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28473   SANFORD, SHEILA                   26042   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4114 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28474   SANFORD, SHEILA                   31804   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANKU,            Barney Davis,
28475                                     8864    8/1/2022     Secured: $0.00
        SRAVANTHI         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANKU,
28476                     Laredo, LLC     14614   8/1/2022     Secured: $0.00
        SRAVANTHI
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANKU,            Nueces Bay,
28477                                     20361   8/1/2022     Secured: $0.00
        SRAVANTHI         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANKU,            Talen Texas
28478                                     26093   8/1/2022     Secured: $0.00
        SRAVANTHI         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANKU,            Talen Texas,
28479                                     31855   8/1/2022     Secured: $0.00
        SRAVANTHI         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANTA ANA,        Barney Davis,
28480                                     3963    8/1/2022     Secured: $0.00
        BEATRIZ           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4115 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA ANA,
28481                 Laredo, LLC     9713    8/1/2022     Secured: $0.00
        BEATRIZ
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA ANA,    Nueces Bay,
28482                                 15460   8/1/2022     Secured: $0.00
        BEATRIZ       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA ANA,    Talen Texas
28483                                 21206   8/1/2022     Secured: $0.00
        BEATRIZ       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA ANA,    Talen Texas,
28484                                 26954   8/1/2022     Secured: $0.00
        BEATRIZ       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA CRUZ,
28485                 Laredo, LLC     33157   8/1/2022     Secured: $0.00
        GLORIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA CRUZ,   Barney Davis,
28486                                 34148   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA CRUZ,   Nueces Bay,
28487                                 35139   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4116 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA CRUZ,   Talen Texas
28488                                 36130   8/1/2022     Secured: $0.00
        GLORIA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTA CRUZ,   Talen Texas,
28489                                 37119   8/1/2022     Secured: $0.00
        GLORIA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTELLAN,    Barney Davis,
28490                                 8030    8/1/2022     Secured: $0.00
        LYDIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTELLAN,
28491                 Laredo, LLC     13780   8/1/2022     Secured: $0.00
        LYDIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTELLAN,    Nueces Bay,
28492                                 19527   8/1/2022     Secured: $0.00
        LYDIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTELLAN,    Talen Texas
28493                                 25261   8/1/2022     Secured: $0.00
        LYDIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTELLAN,    Talen Texas,
28494                                 31021   8/1/2022     Secured: $0.00
        LYDIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4117 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28495   SANTI, VINCENT                   4773    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28496   SANTI, VINCENT   Laredo, LLC     10523   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28497   SANTI, VINCENT                   16270   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28498   SANTI, VINCENT                   22016   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28499   SANTI, VINCENT                   27764   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANTIAGO,        Barney Davis,
28500                                    8084    8/1/2022     Secured: $0.00
        MARIA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SANTIAGO,
28501                    Laredo, LLC     13834   8/1/2022     Secured: $0.00
        MARIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4118 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTIAGO,     Nueces Bay,
28502                                 19581   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTIAGO,     Talen Texas
28503                                 25315   8/1/2022     Secured: $0.00
        MARIA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTIAGO,     Talen Texas,
28504                                 31075   8/1/2022     Secured: $0.00
        MARIA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTOS,       Barney Davis,
28505                                 3598    8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTOS,
28506                 Laredo, LLC     9348    8/1/2022     Secured: $0.00
        DEBORAH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTOS,       Nueces Bay,
28507                                 15095   8/1/2022     Secured: $0.00
        DEBORAH       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SANTOS,       Talen Texas
28508                                 20842   8/1/2022     Secured: $0.00
        DEBORAH       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4119 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SANTOS,           Talen Texas,
28509                                     26589   8/1/2022     Secured: $0.00
        DEBORAH           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28510   SARAN, NIRMAL                     5697    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28511   SARAN, NIRMAL     Laredo, LLC     11447   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28512   SARAN, NIRMAL                     17194   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28513   SARAN, NIRMAL                     22939   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28514   SARAN, NIRMAL                     28688   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28515   SARGENT, LAURIE                   5898    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4120 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28516   SARGENT, LAURIE Laredo, LLC       11648   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28517   SARGENT, LAURIE                   17395   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28518   SARGENT, LAURIE                   23140   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28519   SARGENT, LAURIE                   28889   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28520   SASSER, PHILLIP                   8454    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28521   SASSER, PHILLIP   Laredo, LLC     14204   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28522   SASSER, PHILLIP                   19951   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4121 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28523   SASSER, PHILLIP                   25684   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28524   SASSER, PHILLIP                   31445   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAUCEDA,
28525                     Laredo, LLC     33158   8/1/2022     Secured: $0.00
        ROSARY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAUCEDA,          Barney Davis,
28526                                     34149   8/1/2022     Secured: $0.00
        ROSARY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAUCEDA,          Nueces Bay,
28527                                     35140   8/1/2022     Secured: $0.00
        ROSARY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAUCEDA,          Talen Texas
28528                                     36131   8/1/2022     Secured: $0.00
        ROSARY            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SAUCEDA,          Talen Texas,
28529                                     37120   8/1/2022     Secured: $0.00
        ROSARY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4122 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SAUCEDO‐                                           Priority: $0.00
                      Barney Davis,
28530   YOUNG,                        4958    8/1/2022     Secured: $0.00
                      LLC
        ELIZABETH                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SAUCEDO‐                                           Priority: $0.00
28531   YOUNG,        Laredo, LLC     10708   8/1/2022     Secured: $0.00
        ELIZABETH                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SAUCEDO‐                                           Priority: $0.00
                      Nueces Bay,
28532   YOUNG,                        16455   8/1/2022     Secured: $0.00
                      LLC
        ELIZABETH                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SAUCEDO‐                                           Priority: $0.00
                      Talen Texas
28533   YOUNG,                        22200   8/1/2022     Secured: $0.00
                      Group, LLC
        ELIZABETH                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SAUCEDO‐                                           Priority: $0.00
                      Talen Texas,
28534   YOUNG,                        27949   8/1/2022     Secured: $0.00
                      LLC
        ELIZABETH                                          General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SAUCIER,      Barney Davis,
28535                                 6433    8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SAUCIER,
28536                 Laredo, LLC     12183   8/1/2022     Secured: $0.00
        ANTOINETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4123 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAUCIER,       Nueces Bay,
28537                                  17930   8/1/2022     Secured: $0.00
        ANTOINETTE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAUCIER,       Talen Texas
28538                                  23665   8/1/2022     Secured: $0.00
        ANTOINETTE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAUCIER,       Talen Texas,
28539                                  29424   8/1/2022     Secured: $0.00
        ANTOINETTE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28540   SAUER, PETER                   4574    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28541   SAUER, PETER   Laredo, LLC     10324   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28542   SAUER, PETER                   16071   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28543   SAUER, PETER                   21817   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4124 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28544   SAUER, PETER                     27565   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28545   SAULNY, CALVIN                   9225    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28546   SAULNY, CALVIN   Laredo, LLC     14975   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28547   SAULNY, CALVIN                   20722   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28548   SAULNY, CALVIN                   26454   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28549   SAULNY, CALVIN                   32216   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28550   SAULS, DENISE                    6996    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4125 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28551   SAULS, DENISE      Laredo, LLC     12746   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28552   SAULS, DENISE                      18493   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28553   SAULS, DENISE                      24227   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28554   SAULS, DENISE                      29987   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28555   SAUNDERS, KRISTI Laredo, LLC       33159   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
28556   SAUNDERS, KRISTI                   34150   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28557   SAUNDERS, KRISTI                   35141   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4126 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28558   SAUNDERS, KRISTI                   36132   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28559   SAUNDERS, KRISTI                   37121   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SAVAGE,            Barney Davis,
28560                                      3726    8/1/2022     Secured: $0.00
        CHRISTINA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SAVAGE,
28561                      Laredo, LLC     9476    8/1/2022     Secured: $0.00
        CHRISTINA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SAVAGE,            Nueces Bay,
28562                                      15223   8/1/2022     Secured: $0.00
        CHRISTINA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SAVAGE,            Talen Texas
28563                                      20970   8/1/2022     Secured: $0.00
        CHRISTINA          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SAVAGE,            Talen Texas,
28564                                      26717   8/1/2022     Secured: $0.00
        CHRISTINA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4127 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAVAGE,        Barney Davis,
28565                                  7525    8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAVAGE,
28566                  Laredo, LLC     13275   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAVAGE,        Nueces Bay,
28567                                  19022   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAVAGE,        Talen Texas
28568                                  24756   8/1/2022     Secured: $0.00
        JENNIFER       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SAVAGE,        Talen Texas,
28569                                  30516   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28570   SAVAGE, JOY                    7685    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28571   SAVAGE, JOY    Laredo, LLC     13435   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4128 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28572   SAVAGE, JOY                      19182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28573   SAVAGE, JOY                      24916   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28574   SAVAGE, JOY                      30676   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28575   SAVOY, DOROTHY                   9254    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28576   SAVOY, DOROTHY Laredo, LLC       15004   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28577   SAVOY, DOROTHY                   20751   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28578   SAVOY, DOROTHY                   26483   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4129 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28579   SAVOY, DOROTHY                   32245   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28580   SAWYER, SANDRA                   5271    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28581   SAWYER, SANDRA Laredo, LLC       11021   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28582   SAWYER, SANDRA                   16768   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28583   SAWYER, SANDRA                   22513   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28584   SAWYER, SANDRA                   28262   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28585   SAWYER, SHEILA                   6189    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4130 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28586   SAWYER, SHEILA   Laredo, LLC     11939   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28587   SAWYER, SHEILA                   17686   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28588   SAWYER, SHEILA                   23431   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28589   SAWYER, SHEILA                   29180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28590   SAYRIE, SHEILA                   8814    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28591   SAYRIE, SHEILA   Laredo, LLC     14564   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28592   SAYRIE, SHEILA                   20311   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4131 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28593   SAYRIE, SHEILA                   26043   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28594   SAYRIE, SHEILA                   31805   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCALISE,         Barney Davis,
28595                                    7336    8/1/2022     Secured: $0.00
        GRISELDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCALISE,
28596                    Laredo, LLC     13086   8/1/2022     Secured: $0.00
        GRISELDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCALISE,         Nueces Bay,
28597                                    18833   8/1/2022     Secured: $0.00
        GRISELDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCALISE,         Talen Texas
28598                                    24567   8/1/2022     Secured: $0.00
        GRISELDA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCALISE,         Talen Texas,
28599                                    30327   8/1/2022     Secured: $0.00
        GRISELDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4132 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28600   SCARBRO, ULNA                    4760    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28601   SCARBRO, ULNA    Laredo, LLC     10510   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28602   SCARBRO, ULNA                    16257   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28603   SCARBRO, ULNA                    22003   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28604   SCARBRO, ULNA                    27751   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28605   SCHAEFER, TODD Laredo, LLC       33160   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28606   SCHAEFER, TODD                   34151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4133 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28607   SCHAEFER, TODD                   35142   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28608   SCHAEFER, TODD                   36133   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28609   SCHAEFER, TODD                   37122   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28610   SCHALIT, TRACI                   9055    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28611   SCHALIT, TRACI   Laredo, LLC     14805   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28612   SCHALIT, TRACI                   20552   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28613   SCHALIT, TRACI                   26284   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4134 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28614   SCHALIT, TRACI                    32046   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHANEN JR,
28615                     Laredo, LLC     33161   8/1/2022     Secured: $0.00
        VERNON J.
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHANEN JR,       Barney Davis,
28616                                     34152   8/1/2022     Secured: $0.00
        VERNON J.         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHANEN JR,       Nueces Bay,
28617                                     35143   8/1/2022     Secured: $0.00
        VERNON J.         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHANEN JR,       Talen Texas
28618                                     36134   8/1/2022     Secured: $0.00
        VERNON J.         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHANEN JR,       Talen Texas,
28619                                     37123   8/1/2022     Secured: $0.00
        VERNON J.         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28620   SCHANNE, LESLIE                   5093    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4135 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28621   SCHANNE, LESLIE Laredo, LLC       10843   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28622   SCHANNE, LESLIE                   16590   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28623   SCHANNE, LESLIE                   22335   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28624   SCHANNE, LESLIE                   28084   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28625   SCHAUB, DANIEL                    6896    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28626   SCHAUB, DANIEL    Laredo, LLC     12646   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28627   SCHAUB, DANIEL                    18393   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4136 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
28628   SCHAUB, DANIEL                  24127   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
28629   SCHAUB, DANIEL                  29887   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHEFFER, LINDA Barney Davis,
28630                                   5096    8/1/2022     Secured: $0.00
        DAGOSTINO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHEFFER, LINDA
28631                   Laredo, LLC     10846   8/1/2022     Secured: $0.00
        DAGOSTINO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHEFFER, LINDA Nueces Bay,
28632                                   16593   8/1/2022     Secured: $0.00
        DAGOSTINO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHEFFER, LINDA Talen Texas
28633                                   22338   8/1/2022     Secured: $0.00
        DAGOSTINO       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHEFFER, LINDA Talen Texas,
28634                                   28087   8/1/2022     Secured: $0.00
        DAGOSTINO       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4137 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHILLING,
28635                  Laredo, LLC     33162   8/1/2022     Secured: $0.00
        HARVEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHILLING,     Barney Davis,
28636                                  34153   8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHILLING,     Nueces Bay,
28637                                  35144   8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHILLING,     Talen Texas
28638                                  36135   8/1/2022     Secured: $0.00
        HARVEY         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHILLING,     Talen Texas,
28639                                  37124   8/1/2022     Secured: $0.00
        HARVEY         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHINSKI,      Barney Davis,
28640                                  8510    8/1/2022     Secured: $0.00
        RAYMOND        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHINSKI,
28641                  Laredo, LLC     14260   8/1/2022     Secured: $0.00
        RAYMOND
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4138 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHINSKI,         Nueces Bay,
28642                                     20007   8/1/2022     Secured: $0.00
        RAYMOND           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHINSKI,         Talen Texas
28643                                     25739   8/1/2022     Secured: $0.00
        RAYMOND           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHINSKI,         Talen Texas,
28644                                     31501   8/1/2022     Secured: $0.00
        RAYMOND           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28645   SCHLAFF, ELOISA Laredo, LLC       33163   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28646   SCHLAFF, ELOISA                   34154   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28647   SCHLAFF, ELOISA                   35145   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28648   SCHLAFF, ELOISA                   36136   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4139 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28649   SCHLAFF, ELOISA                    37125   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
28650   SCHLEIT, MELISSA                   8207    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28651   SCHLEIT, MELISSA Laredo, LLC       13957   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28652   SCHLEIT, MELISSA                   19704   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28653   SCHLEIT, MELISSA                   25438   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28654   SCHLEIT, MELISSA                   31198   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28655   SCHNAATH, JUDY Laredo, LLC         33164   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4140 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28656   SCHNAATH, JUDY                   34155   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28657   SCHNAATH, JUDY                   35146   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28658   SCHNAATH, JUDY                   36137   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28659   SCHNAATH, JUDY                   37126   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHNEIDER,       Barney Davis,
28660                                    3975    8/1/2022     Secured: $0.00
        BONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHNEIDER,
28661                    Laredo, LLC     9725    8/1/2022     Secured: $0.00
        BONNIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHNEIDER,       Nueces Bay,
28662                                    15472   8/1/2022     Secured: $0.00
        BONNIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4141 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,    Talen Texas
28663                                 21218   8/1/2022     Secured: $0.00
        BONNIE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,    Talen Texas,
28664                                 26966   8/1/2022     Secured: $0.00
        BONNIE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,    Barney Davis,
28665                                 4055    8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,
28666                 Laredo, LLC     9805    8/1/2022     Secured: $0.00
        CINDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,    Nueces Bay,
28667                                 15552   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,    Talen Texas
28668                                 21298   8/1/2022     Secured: $0.00
        CINDY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHNEIDER,    Talen Texas,
28669                                 27046   8/1/2022     Secured: $0.00
        CINDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4142 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES,         Barney Davis,
28670                                    4089    8/1/2022     Secured: $0.00
        DARLENE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES,
28671                    Laredo, LLC     9839    8/1/2022     Secured: $0.00
        DARLENE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES,         Nueces Bay,
28672                                    15586   8/1/2022     Secured: $0.00
        DARLENE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES,         Talen Texas
28673                                    21332   8/1/2022     Secured: $0.00
        DARLENE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES,         Talen Texas,
28674                                    27080   8/1/2022     Secured: $0.00
        DARLENE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES, ROBERT Barney Davis,
28675                                    8609    8/1/2022     Secured: $0.00
        J               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES, ROBERT
28676                   Laredo, LLC      14359   8/1/2022     Secured: $0.00
        J
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4143 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES, ROBERT Nueces Bay,
28677                                    20106   8/1/2022     Secured: $0.00
        J               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES, ROBERT Talen Texas
28678                                    25838   8/1/2022     Secured: $0.00
        J               Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHOLES, ROBERT Talen Texas,
28679                                    31600   8/1/2022     Secured: $0.00
        J               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28680   SCHOLZ, BECKY                    6493    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28681   SCHOLZ, BECKY    Laredo, LLC     12243   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28682   SCHOLZ, BECKY                    17990   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28683   SCHOLZ, BECKY                    23725   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4144 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28684   SCHOLZ, BECKY                   29484   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHONHOFF,      Barney Davis,
28685                                   5781    8/1/2022     Secured: $0.00
        DIANA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHONHOFF,
28686                   Laredo, LLC     11531   8/1/2022     Secured: $0.00
        DIANA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHONHOFF,      Nueces Bay,
28687                                   17278   8/1/2022     Secured: $0.00
        DIANA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHONHOFF,      Talen Texas
28688                                   23023   8/1/2022     Secured: $0.00
        DIANA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHONHOFF,      Talen Texas,
28689                                   28772   8/1/2022     Secured: $0.00
        DIANA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SCHOOLCRAFT,    Barney Davis,
28690                                   7526    8/1/2022     Secured: $0.00
        JENNIFER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4145 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHOOLCRAFT,
28691                  Laredo, LLC     13276   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHOOLCRAFT,   Nueces Bay,
28692                                  19023   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHOOLCRAFT,   Talen Texas
28693                                  24757   8/1/2022     Secured: $0.00
        JENNIFER       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHOOLCRAFT,   Talen Texas,
28694                                  30517   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHREIER,      Barney Davis,
28695                                  7527    8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHREIER,
28696                  Laredo, LLC     13277   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHREIER,      Nueces Bay,
28697                                  19024   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4146 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHREIER,      Talen Texas
28698                                  24758   8/1/2022     Secured: $0.00
        JENNIFER       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHREIER,      Talen Texas,
28699                                  30518   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHROTH,       Barney Davis,
28700                                  8208    8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHROTH,
28701                  Laredo, LLC     13958   8/1/2022     Secured: $0.00
        MELISSA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHROTH,       Nueces Bay,
28702                                  19705   8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHROTH,       Talen Texas
28703                                  25439   8/1/2022     Secured: $0.00
        MELISSA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHROTH,       Talen Texas,
28704                                  31199   8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4147 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUBECK,     Barney Davis,
28705                                 3651    8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUBECK,
28706                 Laredo, LLC     9401    8/1/2022     Secured: $0.00
        ANGELA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUBECK,     Nueces Bay,
28707                                 15148   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUBECK,     Talen Texas
28708                                 20895   8/1/2022     Secured: $0.00
        ANGELA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUBECK,     Talen Texas,
28709                                 26642   8/1/2022     Secured: $0.00
        ANGELA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUETT,      Barney Davis,
28710                                 8522    8/1/2022     Secured: $0.00
        REBECCA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SCHUETT,
28711                 Laredo, LLC     14272   8/1/2022     Secured: $0.00
        REBECCA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4148 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHUETT,         Nueces Bay,
28712                                    20019   8/1/2022     Secured: $0.00
        REBECCA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHUETT,         Talen Texas
28713                                    25751   8/1/2022     Secured: $0.00
        REBECCA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHUETT,         Talen Texas,
28714                                    31513   8/1/2022     Secured: $0.00
        REBECCA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28715   SCHULTZ, JAMES                   4248    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28716   SCHULTZ, JAMES   Laredo, LLC     9998    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28717   SCHULTZ, JAMES                   15745   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28718   SCHULTZ, JAMES                   21491   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4149 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28719   SCHULTZ, JAMES                   27239   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHULTZE,        Barney Davis,
28720                                    4462    8/1/2022     Secured: $0.00
        MARIBETH         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHULTZE,
28721                    Laredo, LLC     10212   8/1/2022     Secured: $0.00
        MARIBETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHULTZE,        Nueces Bay,
28722                                    15959   8/1/2022     Secured: $0.00
        MARIBETH         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHULTZE,        Talen Texas
28723                                    21705   8/1/2022     Secured: $0.00
        MARIBETH         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SCHULTZE,        Talen Texas,
28724                                    27453   8/1/2022     Secured: $0.00
        MARIBETH         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28725   SCHWARTZ, HEIDI Laredo, LLC      33165   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4150 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28726   SCHWARTZ, HEIDI                   34156   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28727   SCHWARTZ, HEIDI                   35147   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28728   SCHWARTZ, HEIDI                   36138   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28729   SCHWARTZ, HEIDI                   37127   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHWINN,          Barney Davis,
28730                                     6182    8/1/2022     Secured: $0.00
        SAMANTHA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHWINN,
28731                     Laredo, LLC     11932   8/1/2022     Secured: $0.00
        SAMANTHA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SCHWINN,          Nueces Bay,
28732                                     17679   8/1/2022     Secured: $0.00
        SAMANTHA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4151 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHWINN,       Talen Texas
28733                                  23424   8/1/2022     Secured: $0.00
        SAMANTHA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SCHWINN,       Talen Texas,
28734                                  29173   8/1/2022     Secured: $0.00
        SAMANTHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28735   SCOTT, ALENA                   6315    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28736   SCOTT, ALENA   Laredo, LLC     12065   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28737   SCOTT, ALENA                   17812   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28738   SCOTT, ALENA                   23547   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28739   SCOTT, ALENA                   29306   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4152 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28740   SCOTT, ALVIN                    4808    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28741   SCOTT, ALVIN    Laredo, LLC     10558   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28742   SCOTT, ALVIN                    16305   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28743   SCOTT, ALVIN                    22051   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28744   SCOTT, ALVIN                    27799   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28745   SCOTT, ASHLEY                   6463    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28746   SCOTT, ASHLEY   Laredo, LLC     12213   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4153 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28747   SCOTT, ASHLEY                     17960   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28748   SCOTT, ASHLEY                     23695   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28749   SCOTT, ASHLEY                     29454   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28750   SCOTT, DEMETRIA                   6988    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28751   SCOTT, DEMETRIA Laredo, LLC       12738   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28752   SCOTT, DEMETRIA                   18485   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28753   SCOTT, DEMETRIA                   24219   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4154 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28754   SCOTT, DEMETRIA                   29979   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28755   SCOTT, DOTTIE     Laredo, LLC     33166   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28756   SCOTT, DOTTIE                     34157   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28757   SCOTT, DOTTIE                     35148   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28758   SCOTT, DOTTIE                     36139   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28759   SCOTT, DOTTIE                     37128   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28760   SCOTT, GWENN                      7347    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4155 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28761   SCOTT, GWENN   Laredo, LLC     13097   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28762   SCOTT, GWENN                   18844   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28763   SCOTT, GWENN                   24578   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28764   SCOTT, GWENN                   30338   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28765   SCOTT, KAREN                   7750    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28766   SCOTT, KAREN   Laredo, LLC     13500   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28767   SCOTT, KAREN                   19247   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4156 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28768   SCOTT, KAREN                   24981   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28769   SCOTT, KAREN                   30741   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28770   SCOTT, LORA                    5107    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28771   SCOTT, LORA    Laredo, LLC     10857   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28772   SCOTT, LORA                    16604   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28773   SCOTT, LORA                    22349   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28774   SCOTT, LORA                    28098   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4157 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28775   SCOTT, MELISSA                   8209    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28776   SCOTT, MELISSA   Laredo, LLC     13959   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28777   SCOTT, MELISSA                   19706   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28778   SCOTT, MELISSA                   25440   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28779   SCOTT, MELISSA                   31200   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28780   SCOTT, MISTY                     3843    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28781   SCOTT, MISTY     Laredo, LLC     9593    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4158 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28782   SCOTT, MISTY                      15340   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28783   SCOTT, MISTY                      21087   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28784   SCOTT, MISTY                      26834   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28785   SCOTT, PATRICIA                   5202    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28786   SCOTT, PATRICIA   Laredo, LLC     10952   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28787   SCOTT, PATRICIA                   16699   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28788   SCOTT, PATRICIA                   22444   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4159 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28789   SCOTT, PATRICIA                   28193   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28790   SCOTT, REGINALD                   8532    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28791   SCOTT, REGINALD Laredo, LLC       14282   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28792   SCOTT, REGINALD                   20029   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28793   SCOTT, REGINALD                   25761   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28794   SCOTT, REGINALD                   31523   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28795   SCOTT, ROBERT                     4629    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4160 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28796   SCOTT, ROBERT   Laredo, LLC     10379   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28797   SCOTT, ROBERT                   16126   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28798   SCOTT, ROBERT                   21872   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28799   SCOTT, ROBERT                   27620   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28800   SCOTT, SCOTTY                   8767    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28801   SCOTT, SCOTTY   Laredo, LLC     14517   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28802   SCOTT, SCOTTY                   20264   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4161 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28803   SCOTT, SCOTTY                     25996   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28804   SCOTT, SCOTTY                     31758   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28805   SCOTT, VIRGINIA                   9129    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28806   SCOTT, VIRGINIA   Laredo, LLC     14879   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28807   SCOTT, VIRGINIA                   20626   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28808   SCOTT, VIRGINIA                   26358   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28809   SCOTT, VIRGINIA                   32120   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4162 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28810   SCOTTI, ANN                      3931    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28811   SCOTTI, ANN      Laredo, LLC     9681    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28812   SCOTTI, ANN                      15428   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28813   SCOTTI, ANN                      21174   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28814   SCOTTI, ANN                      26922   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28815   SEALS, CARONDA                   4883    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28816   SEALS, CARONDA Laredo, LLC       10633   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4163 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28817   SEALS, CARONDA                   16380   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28818   SEALS, CARONDA                   22125   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28819   SEALS, CARONDA                   27874   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SEANZ,           Barney Davis,
28820                                    6773    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SEANZ,
28821                    Laredo, LLC     12523   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SEANZ,           Nueces Bay,
28822                                    18270   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SEANZ,           Talen Texas
28823                                    24004   8/1/2022     Secured: $0.00
        CHRISTOPHER      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4164 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEANZ,          Talen Texas,
28824                                   29764   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SECURA, A                                            Priority: $0.00
28825   MUTUAL         Laredo, LLC      2840    7/31/2022    Secured: $0.00
        COMPANY ‐ FARM                                       General Unsecured: $57,563.00 + Unliquidated

                                                             Total: $57,563.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SECURA, A                                            Priority: $0.00
                       Barney Davis,
28826   MUTUAL                          2844    7/31/2022    Secured: $0.00
                       LLC
        COMPANY ‐ FARM                                       General Unsecured: $57,563.00 + Unliquidated

                                                             Total: $57,563.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SECURA, A                                            Priority: $0.00
                       Nueces Bay,
28827   MUTUAL                          2848    7/31/2022    Secured: $0.00
                       LLC
        COMPANY ‐ FARM                                       General Unsecured: $57,563.00 + Unliquidated

                                                             Total: $57,563.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SECURITY
                                                             Priority: $0.00
        NATIONAL
28828                   Laredo, LLC     3466    8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $3,427,476.04 + Unliquidated
        COMPANY
                                                             Total: $3,427,476.04 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SECURITY
                                                             Priority: $0.00
        NATIONAL        Barney Davis,
28829                                   3468    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $3,427,476.04 + Unliquidated
        COMPANY
                                                             Total: $3,427,476.04 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SECURITY
                                                             Priority: $0.00
        NATIONAL        Nueces Bay,
28830                                   3469    8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $3,427,476.04 + Unliquidated
        COMPANY
                                                             Total: $3,427,476.04 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4165 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
        SECURITY                                               503(b)(9): $0.00
        NATIONAL                                               Other Administrative: $0.00
        INSURANCE                                              Priority: $0.00
                          Nueces Bay,
28831   COMPANY D/B/A                     3091    8/1/2022     Secured: $0.00
                          LLC
        BRISTOL WEST                                           General Unsecured: $0.00 + Unliquidated
        SPECIALTY
        INSURANCE                                              Total: $0.00 + Unliquidated
        SECURITY                                               503(b)(9): $0.00
        NATIONAL                                               Other Administrative: $0.00
        INSURANCE                                              Priority: $0.00
28832   COMPANY D/B/A     Laredo, LLC     3211    8/1/2022     Secured: $0.00
        BRISTOL WEST                                           General Unsecured: $0.00 + Unliquidated
        SPECIALTY
        INSURANCE                                              Total: $0.00 + Unliquidated
        SECURITY                                               503(b)(9): $0.00
        NATIONAL                                               Other Administrative: $0.00
        INSURANCE                                              Priority: $0.00
                          Barney Davis,
28833   COMPANY D/B/A                     3218    8/1/2022     Secured: $0.00
                          LLC
        BRISTOL WEST                                           General Unsecured: $0.00 + Unliquidated
        SPECIALTY
        INSURANCE                                              Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28834   SEDGWICK, DAVID                   6937    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28835   SEDGWICK, DAVID Laredo, LLC       12687   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28836   SEDGWICK, DAVID                   18434   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28837   SEDGWICK, DAVID                   24168   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4166 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28838   SEDGWICK, DAVID                   29928   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28839   SEEDERS, DICKIE                   3827    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28840   SEEDERS, DICKIE   Laredo, LLC     9577    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28841   SEEDERS, DICKIE                   15324   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28842   SEEDERS, DICKIE                   21071   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28843   SEEDERS, DICKIE                   26818   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28844   SEETON, ALICE                     6337    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4167 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28845   SEETON, ALICE   Laredo, LLC     12087   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28846   SEETON, ALICE                   17834   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28847   SEETON, ALICE                   23569   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28848   SEETON, ALICE                   29328   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEGREST,        Barney Davis,
28849                                   4213    8/1/2022     Secured: $0.00
        GRAYSON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEGREST,
28850                   Laredo, LLC     9963    8/1/2022     Secured: $0.00
        GRAYSON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEGREST,        Nueces Bay,
28851                                   15710   8/1/2022     Secured: $0.00
        GRAYSON         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4168 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SEGREST,           Talen Texas
28852                                      21456   8/1/2022     Secured: $0.00
        GRAYSON            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SEGREST,           Talen Texas,
28853                                      27204   8/1/2022     Secured: $0.00
        GRAYSON            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
28854   SEIDEL, PATRICIA                   5203    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28855   SEIDEL, PATRICIA Laredo, LLC       10953   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28856   SEIDEL, PATRICIA                   16700   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28857   SEIDEL, PATRICIA                   22445   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28858   SEIDEL, PATRICIA                   28194   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4169 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
28859   SEIF, DAVID                    4924    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
28860   SEIF, DAVID    Laredo, LLC     10674   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
28861   SEIF, DAVID                    16421   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28862   SEIF, DAVID                    22166   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28863   SEIF, DAVID                    27915   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SEILHEIMER,    Barney Davis,
28864                                  4571    8/1/2022     Secured: $0.00
        PAULA R.       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SEILHEIMER,
28865                  Laredo, LLC     10321   8/1/2022     Secured: $0.00
        PAULA R.
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4170 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEILHEIMER,     Nueces Bay,
28866                                   16068   8/1/2022     Secured: $0.00
        PAULA R.        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEILHEIMER,     Talen Texas
28867                                   21814   8/1/2022     Secured: $0.00
        PAULA R.        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SEILHEIMER,     Talen Texas,
28868                                   27562   8/1/2022     Secured: $0.00
        PAULA R.        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28869   SEITER, LARRY                   5085    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28870   SEITER, LARRY   Laredo, LLC     10835   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28871   SEITER, LARRY                   16582   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
28872   SEITER, LARRY                   22327   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4171 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
28873   SEITER, LARRY                   28076   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SELECTIVE                                            Priority: $0.00
                        Barney Davis,
28874   INSURANCE                       2463    7/31/2022    Secured: $0.00
                        LLC
        GROUP ‐ MUSIC                                        General Unsecured: $38,082.00 + Unliquidated

                                                             Total: $38,082.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SELECTIVE                                            Priority: $0.00
28875   INSURANCE       Laredo, LLC     2828    7/31/2022    Secured: $0.00
        GROUP ‐ MUSIC                                        General Unsecured: $38,082.00 + Unliquidated

                                                             Total: $38,082.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SELECTIVE                                            Priority: $0.00
                        Nueces Bay,
28876   INSURANCE                       2916    7/31/2022    Secured: $0.00
                        LLC
        GROUP ‐ MUSIC                                        General Unsecured: $38,082.00 + Unliquidated

                                                             Total: $38,082.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28877   SELF, CODY                      6088    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28878   SELF, CODY      Laredo, LLC     11838   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28879   SELF, CODY                      17585   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4172 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
28880   SELF, CODY                     23330   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
28881   SELF, CODY                     29079   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SELIM,         Barney Davis,
28882                                  8284    8/1/2022     Secured: $0.00
        MOHAMED        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SELIM,
28883                  Laredo, LLC     14034   8/1/2022     Secured: $0.00
        MOHAMED
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SELIM,         Nueces Bay,
28884                                  19781   8/1/2022     Secured: $0.00
        MOHAMED        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SELIM,         Talen Texas
28885                                  25515   8/1/2022     Secured: $0.00
        MOHAMED        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SELIM,         Talen Texas,
28886                                  31275   8/1/2022     Secured: $0.00
        MOHAMED        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4173 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
28887   SELVEY JR, LARRY                   4406    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28888   SELVEY JR, LARRY Laredo, LLC       10156   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28889   SELVEY JR, LARRY                   15903   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28890   SELVEY JR, LARRY                   21649   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28891   SELVEY JR, LARRY                   27397   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SEMMLER,           Barney Davis,
28892                                      8242    8/1/2022     Secured: $0.00
        MICHAEL            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SEMMLER,
28893                      Laredo, LLC     13992   8/1/2022     Secured: $0.00
        MICHAEL
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4174 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SEMMLER,      Nueces Bay,
28894                                 19739   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SEMMLER,      Talen Texas
28895                                 25473   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SEMMLER,      Talen Texas,
28896                                 31233   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SENECA                                             Priority: $0.00
                      Nueces Bay,
28897   INSURANCE                     1847    7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $3,107,760.27 + Unliquidated

                                                           Total: $3,107,760.27 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SENECA                                             Priority: $0.00
28898   INSURANCE     Laredo, LLC     1860    7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $3,107,760.27 + Unliquidated

                                                           Total: $3,107,760.27 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SENECA                                             Priority: $0.00
                      Barney Davis,
28899   INSURANCE                     1861    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $3,107,760.27 + Unliquidated

                                                           Total: $3,107,760.27 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SENECA
                                                           Priority: $0.00
        SPECIALTY
28900                 Laredo, LLC     1854    7/30/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $3,420,906.99 + Unliquidated
        COMPANY
                                                           Total: $3,420,906.99 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4175 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SENECA
                                                              Priority: $0.00
        SPECIALTY        Barney Davis,
28901                                    1857    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $3,420,906.99 + Unliquidated
        COMPANY
                                                              Total: $3,420,906.99 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SENECA
                                                              Priority: $0.00
        SPECIALTY        Nueces Bay,
28902                                    1858    7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $3,420,906.99 + Unliquidated
        COMPANY
                                                              Total: $3,420,906.99 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28903   SENECA, SPIRIT                   8863    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28904   SENECA, SPIRIT   Laredo, LLC     14613   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28905   SENECA, SPIRIT                   20360   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28906   SENECA, SPIRIT                   26092   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28907   SENECA, SPIRIT                   31854   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4176 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28908   SENEGAL, TYESHA                   9082    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28909   SENEGAL, TYESHA Laredo, LLC       14832   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28910   SENEGAL, TYESHA                   20579   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28911   SENEGAL, TYESHA                   26311   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28912   SENEGAL, TYESHA                   32073   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        SENTINEL                                               Priority: $0.00
                          Barney Davis,
28913   INSURANCE                         3159    8/1/2022     Secured: $0.00
                          LLC
        COMPANY, LTD                                           General Unsecured: $36,704,787.61 + Unliquidated

                                                               Total: $36,704,787.61 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4177 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SENTINEL                                             Priority: $0.00
28914   INSURANCE       Laredo, LLC     3162    8/1/2022     Secured: $0.00
        COMPANY, LTD                                         General Unsecured: $36,704,787.61 + Unliquidated

                                                             Total: $36,704,787.61 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SENTINEL                                             Priority: $0.00
                        Nueces Bay,
28915   INSURANCE                       3167    8/1/2022     Secured: $0.00
                        LLC
        COMPANY, LTD                                         General Unsecured: $36,704,787.61 + Unliquidated

                                                             Total: $36,704,787.61 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SENTRY
28916                   Laredo, LLC     37356   6/29/2022    Secured: $0.00
        INSURANCE CO.
                                                             General Unsecured: $7,006,478.58 + Unliquidated

                                                             Total: $7,006,478.58 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SENTRY                                               Priority: $0.00
                        Nueces Bay,
28917   INSURANCE                       2426    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $7,006,478.58 + Unliquidated

                                                             Total: $7,006,478.58 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SENTRY                                               Priority: $0.00
                        Barney Davis,
28918   INSURANCE                       37342   6/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $7,006,478.58 + Unliquidated

                                                             Total: $7,006,478.58 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SENTRY SELECT                                        Priority: $0.00
                        Nueces Bay,
28919   INSURANCE                       2178    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $3,282,157.79 + Unliquidated

                                                             Total: $3,282,157.79 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4178 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        SENTRY SELECT                                           Priority: $0.00
                           Barney Davis,
28920   INSURANCE                          37343   6/29/2022    Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $3,282,157.79 + Unliquidated

                                                                Total: $3,282,157.79 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        SENTRY SELECT                                           Priority: $0.00
28921   INSURANCE          Laredo, LLC     37354   6/29/2022    Secured: $0.00
        COMPANY                                                 General Unsecured: $3,282,157.79 + Unliquidated

                                                                Total: $3,282,157.79 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
28922   SERIEUX, SILVINA                   3782    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
28923   SERIEUX, SILVINA Laredo, LLC       9532    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
28924   SERIEUX, SILVINA                   15279   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
28925   SERIEUX, SILVINA                   21026   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
28926   SERIEUX, SILVINA                   26773   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4179 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28927   SERNA, NORMA     Laredo, LLC     33167   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28928   SERNA, NORMA                     34158   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28929   SERNA, NORMA                     35149   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28930   SERNA, NORMA                     36140   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28931   SERNA, NORMA                     37129   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28932   SERRANO, HILDA                   5983    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28933   SERRANO, HILDA Laredo, LLC       11733   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4180 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28934   SERRANO, HILDA                   17480   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
28935   SERRANO, HILDA                   23225   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28936   SERRANO, HILDA                   28974   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SERRANO,         Barney Davis,
28937                                    9188    8/1/2022     Secured: $0.00
        YONSON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SERRANO,
28938                    Laredo, LLC     14938   8/1/2022     Secured: $0.00
        YONSON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SERRANO,         Nueces Bay,
28939                                    20685   8/1/2022     Secured: $0.00
        YONSON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SERRANO,         Talen Texas
28940                                    26417   8/1/2022     Secured: $0.00
        YONSON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4181 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SERRANO,          Talen Texas,
28941                                     32179   8/1/2022     Secured: $0.00
        YONSON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28942   SERRATOS, ALEX                    6318    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28943   SERRATOS, ALEX    Laredo, LLC     12068   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28944   SERRATOS, ALEX                    17815   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28945   SERRATOS, ALEX                    23550   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28946   SERRATOS, ALEX                    29309   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28947   SERTUCHE, PAULA                   8423    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4182 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28948   SERTUCHE, PAULA Laredo, LLC       14173   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28949   SERTUCHE, PAULA                   19920   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28950   SERTUCHE, PAULA                   25653   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28951   SERTUCHE, PAULA                   31414   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SERVANTES,
28952                     Laredo, LLC     33168   8/1/2022     Secured: $0.00
        MELISSA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SERVANTES,        Barney Davis,
28953                                     34159   8/1/2022     Secured: $0.00
        MELISSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SERVANTES,        Nueces Bay,
28954                                     35150   8/1/2022     Secured: $0.00
        MELISSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4183 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SERVANTES,        Talen Texas
28955                                     36141   8/1/2022     Secured: $0.00
        MELISSA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SERVANTES,        Talen Texas,
28956                                     37130   8/1/2022     Secured: $0.00
        MELISSA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28957   SEVILLE, LEAANN                   7943    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28958   SEVILLE, LEAANN Laredo, LLC       13693   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28959   SEVILLE, LEAANN                   19440   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28960   SEVILLE, LEAANN                   25174   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28961   SEVILLE, LEAANN                   30934   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4184 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28962   SEXTON, MARY                      8168    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28963   SEXTON, MARY      Laredo, LLC     13918   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28964   SEXTON, MARY                      19665   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28965   SEXTON, MARY                      25399   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
28966   SEXTON, MARY                      31159   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHAFEE            Barney Davis,
28967                                     5658    8/1/2022     Secured: $0.00
        PROPERTIES, LLC   LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHAFEE
28968                     Laredo, LLC     11408   8/1/2022     Secured: $0.00
        PROPERTIES, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4185 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHAFEE            Nueces Bay,
28969                                     17155   8/1/2022     Secured: $0.00
        PROPERTIES, LLC   LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHAFEE            Talen Texas
28970                                     22900   8/1/2022     Secured: $0.00
        PROPERTIES, LLC   Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHAFEE            Talen Texas,
28971                                     28649   8/1/2022     Secured: $0.00
        PROPERTIES, LLC   LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
28972   SHAFFNER, MARK                    6000    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
28973   SHAFFNER, MARK Laredo, LLC        11750   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
28974   SHAFFNER, MARK                    17497   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
28975   SHAFFNER, MARK                    23242   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4186 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
28976   SHAFFNER, MARK                   28991   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAHNAWAZ,       Barney Davis,
28977                                    8774    8/1/2022     Secured: $0.00
        SHAHLA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAHNAWAZ,
28978                    Laredo, LLC     14524   8/1/2022     Secured: $0.00
        SHAHLA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAHNAWAZ,       Nueces Bay,
28979                                    20271   8/1/2022     Secured: $0.00
        SHAHLA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAHNAWAZ,       Talen Texas
28980                                    26003   8/1/2022     Secured: $0.00
        SHAHLA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAHNAWAZ,       Talen Texas,
28981                                    31765   8/1/2022     Secured: $0.00
        SHAHLA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAIKH,          Barney Davis,
28982                                    4526    8/1/2022     Secured: $0.00
        MOHAMMAD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4187 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAIKH,
28983                    Laredo, LLC     10276   8/1/2022     Secured: $0.00
        MOHAMMAD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAIKH,          Nueces Bay,
28984                                    16023   8/1/2022     Secured: $0.00
        MOHAMMAD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAIKH,          Talen Texas
28985                                    21769   8/1/2022     Secured: $0.00
        MOHAMMAD         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHAIKH,          Talen Texas,
28986                                    27517   8/1/2022     Secured: $0.00
        MOHAMMAD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
28987   SHAKUR, ISMAIL                   7403    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
28988   SHAKUR, ISMAIL   Laredo, LLC     13153   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
28989   SHAKUR, ISMAIL                   18900   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4188 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
28990   SHAKUR, ISMAIL                  24634   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
28991   SHAKUR, ISMAIL                  30394   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        SHAMARIA
                                                             Other Administrative: $0.00
        CLIFTON LAWLER,
                                                             Priority: $0.00
        INDIVIDUALLY    Barney Davis,
28992                                   5425    8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                             General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        KEVIN CLIFTON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        SHAMARIA
                                                             Other Administrative: $0.00
        CLIFTON LAWLER,
                                                             Priority: $0.00
        INDIVIDUALLY
28993                   Laredo, LLC     11175   8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                             General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        KEVIN CLIFTON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        SHAMARIA
                                                             Other Administrative: $0.00
        CLIFTON LAWLER,
                                                             Priority: $0.00
        INDIVIDUALLY    Nueces Bay,
28994                                   16922   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                             General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        KEVIN CLIFTON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        SHAMARIA
                                                             Other Administrative: $0.00
        CLIFTON LAWLER,
                                                             Priority: $0.00
        INDIVIDUALLY    Talen Texas
28995                                   22667   8/1/2022     Secured: $0.00
        AND AS HEIR OF Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        KEVIN CLIFTON
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        SHAMARIA
                                                             Other Administrative: $0.00
        CLIFTON LAWLER,
                                                             Priority: $0.00
        INDIVIDUALLY    Talen Texas,
28996                                   28416   8/1/2022     Secured: $0.00
        AND AS HEIR OF LLC
                                                             General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        KEVIN CLIFTON
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4189 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
28997   SHAMEKA, MIKE                   3611    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
28998   SHAMEKA, MIKE   Laredo, LLC     9361    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
28999   SHAMEKA, MIKE                   15108   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29000   SHAMEKA, MIKE                   20855   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29001   SHAMEKA, MIKE                   26602   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANARIA,       Barney Davis,
29002                                   4028    8/1/2022     Secured: $0.00
        CHAMBERS        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANARIA,
29003                   Laredo, LLC     9778    8/1/2022     Secured: $0.00
        CHAMBERS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4190 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANARIA,       Nueces Bay,
29004                                   15525   8/1/2022     Secured: $0.00
        CHAMBERS        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANARIA,       Talen Texas
29005                                   21271   8/1/2022     Secured: $0.00
        CHAMBERS        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANARIA,       Talen Texas,
29006                                   27019   8/1/2022     Secured: $0.00
        CHAMBERS        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29007   SHANEKA, ROSS                   8688    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29008   SHANEKA, ROSS   Laredo, LLC     14438   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29009   SHANEKA, ROSS                   20185   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29010   SHANEKA, ROSS                   25917   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4191 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29011   SHANEKA, ROSS                   31679   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANNON,        Barney Davis,
29012                                   8243    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANNON,
29013                   Laredo, LLC     13993   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANNON,        Nueces Bay,
29014                                   19740   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANNON,        Talen Texas
29015                                   25474   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHANNON,        Talen Texas,
29016                                   31234   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29017   SHARIF, HASNA                   7355    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4192 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29018   SHARIF, HASNA   Laredo, LLC     13105   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29019   SHARIF, HASNA                   18852   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29020   SHARIF, HASNA                   24586   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29021   SHARIF, HASNA                   30346   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHARP,          Barney Davis,
29022                                   6322    8/1/2022     Secured: $0.00
        ALEXANDER       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHARP,
29023                   Laredo, LLC     12072   8/1/2022     Secured: $0.00
        ALEXANDER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHARP,          Nueces Bay,
29024                                   17819   8/1/2022     Secured: $0.00
        ALEXANDER       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4193 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,        Talen Texas
29025                                 23554   8/1/2022     Secured: $0.00
        ALEXANDER     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,        Talen Texas,
29026                                 29313   8/1/2022     Secured: $0.00
        ALEXANDER     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,        Barney Davis,
29027                                 6774    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,
29028                 Laredo, LLC     12524   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,        Nueces Bay,
29029                                 18271   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,        Talen Texas
29030                                 24005   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHARP,        Talen Texas,
29031                                 29765   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4194 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29032   SHARP, KEANON                    4372    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29033   SHARP, KEANON    Laredo, LLC     10122   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29034   SHARP, KEANON                    15869   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29035   SHARP, KEANON                    21615   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29036   SHARP, KEANON                    27363   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29037   SHAVER, ANGELA                   5742    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29038   SHAVER, ANGELA Laredo, LLC       11492   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4195 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29039   SHAVER, ANGELA                   17239   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29040   SHAVER, ANGELA                   22984   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29041   SHAVER, ANGELA                   28733   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29042   SHAW, BENJAMIN                   6499    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29043   SHAW, BENJAMIN Laredo, LLC       12249   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29044   SHAW, BENJAMIN                   17996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29045   SHAW, BENJAMIN                   23731   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4196 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29046   SHAW, BENJAMIN                   29490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29047   SHAW, BRENDA     Laredo, LLC     33169   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29048   SHAW, BRENDA                     34160   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29049   SHAW, BRENDA                     35151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29050   SHAW, BRENDA                     36142   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29051   SHAW, BRENDA                     37131   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29052   SHAW, BYRON                      6614    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4197 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29053   SHAW, BYRON    Laredo, LLC     12364   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29054   SHAW, BYRON                    18111   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29055   SHAW, BYRON                    23845   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29056   SHAW, BYRON                    29605   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29057   SHAW, MELISA                   8199    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29058   SHAW, MELISA   Laredo, LLC     13949   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29059   SHAW, MELISA                   19696   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4198 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29060   SHAW, MELISA                     25430   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29061   SHAW, MELISA                     31190   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29062   SHAWEL, GOLDIE                   6116    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29063   SHAWEL, GOLDIE Laredo, LLC       11866   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29064   SHAWEL, GOLDIE                   17613   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29065   SHAWEL, GOLDIE                   23358   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29066   SHAWEL, GOLDIE                   29107   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4199 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29067   SHAWN, SAVAGE                      8756    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29068   SHAWN, SAVAGE Laredo, LLC          14506   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29069   SHAWN, SAVAGE                      20253   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29070   SHAWN, SAVAGE                      25985   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29071   SHAWN, SAVAGE                      31747   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29072   SHEETZ, JENNIFER                   5800    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29073   SHEETZ, JENNIFER Laredo, LLC       11550   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4200 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29074   SHEETZ, JENNIFER                   17297   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29075   SHEETZ, JENNIFER                   23042   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29076   SHEETZ, JENNIFER                   28791   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SHEFFIELD,
29077                      Laredo, LLC     33170   8/1/2022     Secured: $0.00
        DAYSCHETT
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SHEFFIELD,         Barney Davis,
29078                                      34161   8/1/2022     Secured: $0.00
        DAYSCHETT          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SHEFFIELD,         Nueces Bay,
29079                                      35152   8/1/2022     Secured: $0.00
        DAYSCHETT          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SHEFFIELD,         Talen Texas
29080                                      36143   8/1/2022     Secured: $0.00
        DAYSCHETT          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4201 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEFFIELD,       Talen Texas,
29081                                    37132   8/1/2022     Secured: $0.00
        DAYSCHETT        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEFFIELD,       Barney Davis,
29082                                    8925    8/1/2022     Secured: $0.00
        TABITHA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEFFIELD,
29083                    Laredo, LLC     14675   8/1/2022     Secured: $0.00
        TABITHA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEFFIELD,       Nueces Bay,
29084                                    20422   8/1/2022     Secured: $0.00
        TABITHA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEFFIELD,       Talen Texas
29085                                    26154   8/1/2022     Secured: $0.00
        TABITHA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEFFIELD,       Talen Texas,
29086                                    31916   8/1/2022     Secured: $0.00
        TABITHA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29087   SHEKA, WILLIAM   Laredo, LLC     33171   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4202 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29088   SHEKA, WILLIAM                    34162   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29089   SHEKA, WILLIAM                    35153   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29090   SHEKA, WILLIAM                    36144   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29091   SHEKA, WILLIAM                    37133   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29092   SHELBY, OCTAVIA                   8358    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29093   SHELBY, OCTAVIA Laredo, LLC       14108   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29094   SHELBY, OCTAVIA                   19855   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4203 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29095   SHELBY, OCTAVIA                   26585   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29096   SHELBY, OCTAVIA                   31349   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29097   SHELBY, SHEILA    Laredo, LLC     33172   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29098   SHELBY, SHEILA                    34163   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29099   SHELBY, SHEILA                    35154   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29100   SHELBY, SHEILA                    36145   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29101   SHELBY, SHEILA                    37134   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4204 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29102   SHELL, BETH       Laredo, LLC     33173   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29103   SHELL, BETH                       34164   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29104   SHELL, BETH                       35155   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29105   SHELL, BETH                       36146   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29106   SHELL, BETH                       37135   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29107   SHELLEY, JEROME                   5989    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29108   SHELLEY, JEROME Laredo, LLC       11739   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4205 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29109   SHELLEY, JEROME                   17486   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29110   SHELLEY, JEROME                   23231   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29111   SHELLEY, JEROME                   28980   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29112   SHELMIRE, KAREN                   5063    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29113   SHELMIRE, KAREN Laredo, LLC       10813   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29114   SHELMIRE, KAREN                   16560   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29115   SHELMIRE, KAREN                   22305   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4206 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29116   SHELMIRE, KAREN                   28054   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHELTON,          Barney Davis,
29117                                     4044    8/1/2022     Secured: $0.00
        CHRISTINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHELTON,
29118                     Laredo, LLC     9794    8/1/2022     Secured: $0.00
        CHRISTINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHELTON,          Nueces Bay,
29119                                     15541   8/1/2022     Secured: $0.00
        CHRISTINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHELTON,          Talen Texas
29120                                     21287   8/1/2022     Secured: $0.00
        CHRISTINE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHELTON,          Talen Texas,
29121                                     27035   8/1/2022     Secured: $0.00
        CHRISTINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SHELTON,          Barney Davis,
29122                                     7084    8/1/2022     Secured: $0.00
        DONZETTA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4207 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,
29123                 Laredo, LLC     12834   8/1/2022     Secured: $0.00
        DONZETTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Nueces Bay,
29124                                 18581   8/1/2022     Secured: $0.00
        DONZETTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Talen Texas
29125                                 24315   8/1/2022     Secured: $0.00
        DONZETTA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Talen Texas,
29126                                 30075   8/1/2022     Secured: $0.00
        DONZETTA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Barney Davis,
29127                                 5272    8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,
29128                 Laredo, LLC     11022   8/1/2022     Secured: $0.00
        SANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Nueces Bay,
29129                                 16769   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4208 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Talen Texas
29130                                 22514   8/1/2022     Secured: $0.00
        SANDRA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHELTON,      Talen Texas,
29131                                 28263   8/1/2022     Secured: $0.00
        SANDRA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Barney Davis,
29132                                 5442    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,
29133                 Laredo, LLC     11192   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Nueces Bay,
29134                                 16939   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Talen Texas
29135                                 22684   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Talen Texas,
29136                                 28433   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4209 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Barney Davis,
29137                                 5561    8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,
29138                 Laredo, LLC     11311   8/1/2022     Secured: $0.00
        PATRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Nueces Bay,
29139                                 17058   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Talen Texas
29140                                 22803   8/1/2022     Secured: $0.00
        PATRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Talen Texas,
29141                                 28552   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Barney Davis,
29142                                 8726    8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,
29143                 Laredo, LLC     14476   8/1/2022     Secured: $0.00
        SAMANTHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4210 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Nueces Bay,
29144                                 20223   8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Talen Texas
29145                                 25955   8/1/2022     Secured: $0.00
        SAMANTHA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPARD,      Talen Texas,
29146                                 31717   8/1/2022     Secured: $0.00
        SAMANTHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPHERD,     Barney Davis,
29147                                 8022    8/1/2022     Secured: $0.00
        LOUISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPHERD,
29148                 Laredo, LLC     13772   8/1/2022     Secured: $0.00
        LOUISE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPHERD,     Nueces Bay,
29149                                 19519   8/1/2022     Secured: $0.00
        LOUISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SHEPHERD,     Talen Texas
29150                                 25253   8/1/2022     Secured: $0.00
        LOUISE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4211 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEPHERD,        Talen Texas,
29151                                    31013   8/1/2022     Secured: $0.00
        LOUISE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEPHERD,        Barney Davis,
29152                                    8842    8/1/2022     Secured: $0.00
        SHIRLEY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEPHERD,
29153                    Laredo, LLC     14592   8/1/2022     Secured: $0.00
        SHIRLEY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEPHERD,        Nueces Bay,
29154                                    20339   8/1/2022     Secured: $0.00
        SHIRLEY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEPHERD,        Talen Texas
29155                                    26071   8/1/2022     Secured: $0.00
        SHIRLEY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHEPHERD,        Talen Texas,
29156                                    31833   8/1/2022     Secured: $0.00
        SHIRLEY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29157   SHEPPARD, LESA                   5572    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4212 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29158   SHEPPARD, LESA   Laredo, LLC     11322   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29159   SHEPPARD, LESA                   17069   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29160   SHEPPARD, LESA                   22814   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29161   SHEPPARD, LESA                   28563   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29162   SHERMAN, FRANK                   4191    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29163   SHERMAN, FRANK Laredo, LLC       9941    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29164   SHERMAN, FRANK                   15688   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4213 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29165   SHERMAN, FRANK                   21434   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29166   SHERMAN, FRANK                   27182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29167   SHERRY, DUHON    Laredo, LLC     33174   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29168   SHERRY, DUHON                    34165   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29169   SHERRY, DUHON                    35156   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29170   SHERRY, DUHON                    36147   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29171   SHERRY, DUHON                    37136   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4214 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29172   SHERRY, FULLER                    4193    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29173   SHERRY, FULLER    Laredo, LLC     9943    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29174   SHERRY, FULLER                    15690   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29175   SHERRY, FULLER                    21436   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29176   SHERRY, FULLER                    27184   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29177   SHIELDS, MARSHA                   8137    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29178   SHIELDS, MARSHA Laredo, LLC       13887   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4215 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
29179   SHIELDS, MARSHA                     19634   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
29180   SHIELDS, MARSHA                     25368   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
29181   SHIELDS, MARSHA                     31128   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
29182   SHIFFLETT, DEBBIE                   6961    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
29183   SHIFFLETT, DEBBIE Laredo, LLC       12711   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
29184   SHIFFLETT, DEBBIE                   18458   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
29185   SHIFFLETT, DEBBIE                   24192   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4216 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
29186   SHIFFLETT, DEBBIE                   29952   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SHIPLEY,
29187                       Laredo, LLC     33175   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SHIPLEY,            Barney Davis,
29188                                       34166   8/1/2022     Secured: $0.00
        CHRISTOPHER         LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SHIPLEY,            Nueces Bay,
29189                                       35157   8/1/2022     Secured: $0.00
        CHRISTOPHER         LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SHIPLEY,            Talen Texas
29190                                       36148   8/1/2022     Secured: $0.00
        CHRISTOPHER         Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SHIPLEY,            Talen Texas,
29191                                       37137   8/1/2022     Secured: $0.00
        CHRISTOPHER         LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SHITTU,             Barney Davis,
29192                                       4532    8/1/2022     Secured: $0.00
        MOTUNDE             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4217 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHITTU,
29193                    Laredo, LLC     10282   8/1/2022     Secured: $0.00
        MOTUNDE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHITTU,          Nueces Bay,
29194                                    16029   8/1/2022     Secured: $0.00
        MOTUNDE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHITTU,          Talen Texas
29195                                    21775   8/1/2022     Secured: $0.00
        MOTUNDE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHITTU,          Talen Texas,
29196                                    27523   8/1/2022     Secured: $0.00
        MOTUNDE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SHONDA
                                                              Other Administrative: $0.00
        FREDERICKS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Barney Davis,
29197                                    3808    8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LAURA TIDWELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SHONDA
                                                              Other Administrative: $0.00
        FREDERICKS,
                                                              Priority: $0.00
        INDIVIDUALLY,
29198                    Laredo, LLC     9558    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LAURA TIDWELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SHONDA
                                                              Other Administrative: $0.00
        FREDERICKS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Nueces Bay,
29199                                    15305   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LAURA TIDWELL
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4218 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        SHONDA
                                                              Other Administrative: $0.00
        FREDERICKS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas
29200                                    21052   8/1/2022     Secured: $0.00
        AND AS HEIR OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LAURA TIDWELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SHONDA
                                                              Other Administrative: $0.00
        FREDERICKS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas,
29201                                    26799   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LAURA TIDWELL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29202   SHORT, JESSICA                   7558    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29203   SHORT, JESSICA   Laredo, LLC     13308   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29204   SHORT, JESSICA                   19055   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29205   SHORT, JESSICA                   24789   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29206   SHORT, JESSICA                   30549   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4219 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29207   SHOUPE, JOHN                   7628    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29208   SHOUPE, JOHN   Laredo, LLC     13378   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29209   SHOUPE, JOHN                   19125   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29210   SHOUPE, JOHN                   24859   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29211   SHOUPE, JOHN                   30619   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29212   SHOVER, JACK                   7415    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29213   SHOVER, JACK   Laredo, LLC     13165   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4220 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29214   SHOVER, JACK                      18912   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29215   SHOVER, JACK                      24646   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29216   SHOVER, JACK                      30406   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29217   SHRIVER, JEREMY                   7536    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29218   SHRIVER, JEREMY Laredo, LLC       13286   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29219   SHRIVER, JEREMY                   19033   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29220   SHRIVER, JEREMY                   24767   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4221 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29221   SHRIVER, JEREMY                   30527   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29222   SHUCK, MARY                       8169    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29223   SHUCK, MARY       Laredo, LLC     13919   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29224   SHUCK, MARY                       19666   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29225   SHUCK, MARY                       25400   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29226   SHUCK, MARY                       31160   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29227   SHULL, JOHNNIE                    7634    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4222 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29228   SHULL, JOHNNIE   Laredo, LLC     13384   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29229   SHULL, JOHNNIE                   19131   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29230   SHULL, JOHNNIE                   24865   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29231   SHULL, JOHNNIE                   30625   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHUNKWEILER,     Barney Davis,
29232                                    9168    8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHUNKWEILER,
29233                    Laredo, LLC     14918   8/1/2022     Secured: $0.00
        WILLIAM
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SHUNKWEILER,     Nueces Bay,
29234                                    20665   8/1/2022     Secured: $0.00
        WILLIAM          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4223 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHUNKWEILER,    Talen Texas
29235                                   26397   8/1/2022     Secured: $0.00
        WILLIAM         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SHUNKWEILER,    Talen Texas,
29236                                   32159   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29237   SHURSEN, ANNA                   6415    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29238   SHURSEN, ANNA   Laredo, LLC     12165   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29239   SHURSEN, ANNA                   17912   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29240   SHURSEN, ANNA                   23647   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29241   SHURSEN, ANNA                   29406   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4224 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29242   SHVETZ, BELINDA                   3964    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29243   SHVETZ, BELINDA Laredo, LLC       9714    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29244   SHVETZ, BELINDA                   15461   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29245   SHVETZ, BELINDA                   21207   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29246   SHVETZ, BELINDA                   26955   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29247   SIAS, BABARA                      4843    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29248   SIAS, BABARA      Laredo, LLC     10593   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4225 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29249   SIAS, BABARA                     16340   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29250   SIAS, BABARA                     22086   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29251   SIAS, BABARA                     27834   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29252   SIEGEL, AUDRIE                   6473    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29253   SIEGEL, AUDRIE   Laredo, LLC     12223   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29254   SIEGEL, AUDRIE                   17970   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29255   SIEGEL, AUDRIE                   23705   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4226 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29256   SIEGEL, AUDRIE                   29464   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SIERRA FLAND,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                       Barney Davis,
29257   AND AS HEIR OF                   5407    8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LATUNDA FLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SIERRA FLAND,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
29258   AND AS HEIR OF Laredo, LLC       11157   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LATUNDA FLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SIERRA FLAND,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                       Nueces Bay,
29259   AND AS HEIR OF                   16904   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LATUNDA FLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SIERRA FLAND,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                       Talen Texas
29260   AND AS HEIR OF                   22649   8/1/2022     Secured: $0.00
                       Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LATUNDA FLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        SIERRA FLAND,                                         Other Administrative: $0.00
        INDIVIDUALLY                                          Priority: $0.00
                       Talen Texas,
29261   AND AS HEIR OF                   28398   8/1/2022     Secured: $0.00
                       LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LATUNDA FLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29262   SIERRA, ELISEO                   7143    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4227 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29263   SIERRA, ELISEO    Laredo, LLC     12893   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29264   SIERRA, ELISEO                    18640   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29265   SIERRA, ELISEO                    24374   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29266   SIERRA, ELISEO                    30134   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29267   SIFUENTES, RENE                   8539    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29268   SIFUENTES, RENE Laredo, LLC       14289   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29269   SIFUENTES, RENE                   20036   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4228 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29270   SIFUENTES, RENE                   25768   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29271   SIFUENTES, RENE                   31530   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIFUENTES,        Barney Davis,
29272                                     4610    8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIFUENTES,
29273                     Laredo, LLC     10360   8/1/2022     Secured: $0.00
        RICHARD
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIFUENTES,        Nueces Bay,
29274                                     16107   8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIFUENTES,        Talen Texas
29275                                     21853   8/1/2022     Secured: $0.00
        RICHARD           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIFUENTES,        Talen Texas,
29276                                     27601   8/1/2022     Secured: $0.00
        RICHARD           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4229 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29277   SILAS, REYLYN                    8545    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29278   SILAS, REYLYN    Laredo, LLC     14295   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29279   SILAS, REYLYN                    20042   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29280   SILAS, REYLYN                    25774   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29281   SILAS, REYLYN                    31536   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29282   SILAS, SHERYLL                   5306    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29283   SILAS, SHERYLL   Laredo, LLC     11056   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4230 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29284   SILAS, SHERYLL                   16803   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29285   SILAS, SHERYLL                   22548   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29286   SILAS, SHERYLL                   28297   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SILINONTE,       Barney Davis,
29287                                    3851    8/1/2022     Secured: $0.00
        SALVATORE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SILINONTE,
29288                    Laredo, LLC     9601    8/1/2022     Secured: $0.00
        SALVATORE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SILINONTE,       Nueces Bay,
29289                                    15348   8/1/2022     Secured: $0.00
        SALVATORE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SILINONTE,       Talen Texas
29290                                    21095   8/1/2022     Secured: $0.00
        SALVATORE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4231 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILINONTE,        Talen Texas,
29291                                     26842   8/1/2022     Secured: $0.00
        SALVATORE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29292   SILLER, RYAN                      8714    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29293   SILLER, RYAN      Laredo, LLC     14464   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29294   SILLER, RYAN                      20211   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29295   SILLER, RYAN                      25943   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29296   SILLER, RYAN                      31705   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29297   SILVA, BERENICE   Laredo, LLC     33176   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4232 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29298   SILVA, BERENICE                   34167   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29299   SILVA, BERENICE                   35158   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29300   SILVA, BERENICE                   36149   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29301   SILVA, BERENICE                   37138   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29302   SILVA, ESTEBAN                    4171    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29303   SILVA, ESTEBAN    Laredo, LLC     9921    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29304   SILVA, ESTEBAN                    15668   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4233 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29305   SILVA, ESTEBAN                   21414   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29306   SILVA, ESTEBAN                   27162   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29307   SILVA, JORGE                     7650    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29308   SILVA, JORGE                     7651    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29309   SILVA, JORGE     Laredo, LLC     13400   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29310   SILVA, JORGE     Laredo, LLC     13401   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29311   SILVA, JORGE                     19147   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4234 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29312   SILVA, JORGE                    19148   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29313   SILVA, JORGE                    24881   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29314   SILVA, JORGE                    24882   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29315   SILVA, JORGE                    30641   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29316   SILVA, JORGE                    30642   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29317   SILVA, MANUEL                   8054    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29318   SILVA, MANUEL   Laredo, LLC     13804   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4235 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29319   SILVA, MANUEL                     19551   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29320   SILVA, MANUEL                     25285   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29321   SILVA, MANUEL                     31045   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29322   SILVA, PATRICIA                   4559    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29323   SILVA, PATRICIA   Laredo, LLC     10309   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29324   SILVA, PATRICIA                   16056   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29325   SILVA, PATRICIA                   21802   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4236 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29326   SILVA, PATRICIA                   27550   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILVERBERG,       Barney Davis,
29327                                     4476    8/1/2022     Secured: $0.00
        MARK              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILVERBERG,
29328                     Laredo, LLC     10226   8/1/2022     Secured: $0.00
        MARK
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILVERBERG,       Nueces Bay,
29329                                     15973   8/1/2022     Secured: $0.00
        MARK              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILVERBERG,       Talen Texas
29330                                     21719   8/1/2022     Secured: $0.00
        MARK              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILVERBERG,       Talen Texas,
29331                                     27467   8/1/2022     Secured: $0.00
        MARK              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SILVERTOOTH,      Barney Davis,
29332                                     3773    8/1/2022     Secured: $0.00
        KIONA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4237 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SILVERTOOTH,
29333                   Laredo, LLC     9523    8/1/2022     Secured: $0.00
        KIONA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SILVERTOOTH,    Nueces Bay,
29334                                   15270   8/1/2022     Secured: $0.00
        KIONA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SILVERTOOTH,    Talen Texas
29335                                   21017   8/1/2022     Secured: $0.00
        KIONA           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SILVERTOOTH,    Talen Texas,
29336                                   26764   8/1/2022     Secured: $0.00
        KIONA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29337   SILVIA, DIANA   Laredo, LLC     33177   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29338   SILVIA, DIANA                   34168   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29339   SILVIA, DIANA                   35159   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4238 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29340   SILVIA, DIANA                    36150   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29341   SILVIA, DIANA                    37139   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29342   SIMEON, BUKOLA                   3737    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29343   SIMEON, BUKOLA Laredo, LLC       9487    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29344   SIMEON, BUKOLA                   15234   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29345   SIMEON, BUKOLA                   20981   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29346   SIMEON, BUKOLA                   26728   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4239 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Barney Davis,
29347                                   7792    8/1/2022     Secured: $0.00
        KECHIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,
29348                   Laredo, LLC     13542   8/1/2022     Secured: $0.00
        KECHIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Nueces Bay,
29349                                   19289   8/1/2022     Secured: $0.00
        KECHIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Talen Texas
29350                                   25023   8/1/2022     Secured: $0.00
        KECHIA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Talen Texas,
29351                                   30783   8/1/2022     Secured: $0.00
        KECHIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29352   SIMMONS, LACY                   7892    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29353   SIMMONS, LACY   Laredo, LLC     13642   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4240 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29354   SIMMONS, LACY                   19389   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29355   SIMMONS, LACY                   25123   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29356   SIMMONS, LACY                   30883   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Barney Davis,
29357                                   8217    8/1/2022     Secured: $0.00
        MESHON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,
29358                   Laredo, LLC     13967   8/1/2022     Secured: $0.00
        MESHON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Nueces Bay,
29359                                   19714   8/1/2022     Secured: $0.00
        MESHON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Talen Texas
29360                                   25448   8/1/2022     Secured: $0.00
        MESHON          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4241 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,      Talen Texas,
29361                                 31208   8/1/2022     Secured: $0.00
        MESHON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,      Barney Davis,
29362                                 5220    8/1/2022     Secured: $0.00
        RANDALL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,
29363                 Laredo, LLC     10970   8/1/2022     Secured: $0.00
        RANDALL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,      Nueces Bay,
29364                                 16717   8/1/2022     Secured: $0.00
        RANDALL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,      Talen Texas
29365                                 22462   8/1/2022     Secured: $0.00
        RANDALL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,      Talen Texas,
29366                                 28211   8/1/2022     Secured: $0.00
        RANDALL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SIMMONS,      Barney Davis,
29367                                 5889    8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4242 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,
29368                   Laredo, LLC     11639   8/1/2022     Secured: $0.00
        WILLIAM
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Nueces Bay,
29369                                   17386   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Talen Texas
29370                                   23131   8/1/2022     Secured: $0.00
        WILLIAM         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIMMONS,        Talen Texas,
29371                                   28880   8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29372   SIMMS, CONNIE                   4059    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29373   SIMMS, CONNIE   Laredo, LLC     9809    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29374   SIMMS, CONNIE                   15556   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4243 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29375   SIMMS, CONNIE                   21302   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29376   SIMMS, CONNIE                   27050   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29377   SIMON, VICKY                    9110    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29378   SIMON, VICKY    Laredo, LLC     14860   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29379   SIMON, VICKY                    20607   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29380   SIMON, VICKY                    26339   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29381   SIMON, VICKY                    32101   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4244 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMONDS,
29382                    Laredo, LLC     33178   8/1/2022     Secured: $0.00
        TERRENCE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMONDS,         Barney Davis,
29383                                    34169   8/1/2022     Secured: $0.00
        TERRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMONDS,         Nueces Bay,
29384                                    35160   8/1/2022     Secured: $0.00
        TERRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMONDS,         Talen Texas
29385                                    36151   8/1/2022     Secured: $0.00
        TERRENCE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMONDS,         Talen Texas,
29386                                    37140   8/1/2022     Secured: $0.00
        TERRENCE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29387   SIMONS, BRENDA                   6573    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29388   SIMONS, BRENDA Laredo, LLC       12323   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4245 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29389   SIMONS, BRENDA                   18070   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29390   SIMONS, BRENDA                   23805   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29391   SIMONS, BRENDA                   29564   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29392   SIMPSON, JOYCE                   7693    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29393   SIMPSON, JOYCE   Laredo, LLC     13443   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29394   SIMPSON, JOYCE                   19190   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29395   SIMPSON, JOYCE                   24924   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4246 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29396   SIMPSON, JOYCE                   30684   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMPSON,         Barney Davis,
29397                                    6264    8/1/2022     Secured: $0.00
        SAMMIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMPSON,
29398                    Laredo, LLC     12014   8/1/2022     Secured: $0.00
        SAMMIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMPSON,         Nueces Bay,
29399                                    17761   8/1/2022     Secured: $0.00
        SAMMIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMPSON,         Talen Texas
29400                                    23496   8/1/2022     Secured: $0.00
        SAMMIE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIMPSON,         Talen Texas,
29401                                    29255   8/1/2022     Secured: $0.00
        SAMMIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29402   SIMPSON, TROY                    3789    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4247 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29403   SIMPSON, TROY     Laredo, LLC     9539    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29404   SIMPSON, TROY                     15286   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29405   SIMPSON, TROY                     21033   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29406   SIMPSON, TROY                     26780   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29407   SIMS, CARNEISHA                   4006    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29408   SIMS, CARNEISHA Laredo, LLC       9756    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29409   SIMS, CARNEISHA                   15503   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4248 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29410   SIMS, CARNEISHA                   21249   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29411   SIMS, CARNEISHA                   26997   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29412   SIMS, JACKIE                      7417    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29413   SIMS, JACKIE      Laredo, LLC     13167   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29414   SIMS, JACKIE                      18914   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29415   SIMS, JACKIE                      24648   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29416   SIMS, JACKIE                      30408   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4249 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29417   SIMS, KATHRYN                   7769    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29418   SIMS, KATHRYN   Laredo, LLC     13519   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29419   SIMS, KATHRYN                   19266   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29420   SIMS, KATHRYN                   25000   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29421   SIMS, KATHRYN                   30760   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29422   SIMS, NED                       8322    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29423   SIMS, NED       Laredo, LLC     14072   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4250 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29424   SIMS, NED                      19819   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29425   SIMS, NED                      25553   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29426   SIMS, NED                      31313   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29427   SIMS, TAMMY                    8939    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29428   SIMS, TAMMY    Laredo, LLC     14689   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29429   SIMS, TAMMY                    20436   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29430   SIMS, TAMMY                    26168   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4251 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29431   SIMS, TAMMY                     31930   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGH,          Barney Davis,
29432                                   7888    8/1/2022     Secured: $0.00
        KYMBERLEE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGH,
29433                   Laredo, LLC     13638   8/1/2022     Secured: $0.00
        KYMBERLEE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGH,          Nueces Bay,
29434                                   19385   8/1/2022     Secured: $0.00
        KYMBERLEE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGH,          Talen Texas
29435                                   25119   8/1/2022     Secured: $0.00
        KYMBERLEE       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGH,          Talen Texas,
29436                                   30879   8/1/2022     Secured: $0.00
        KYMBERLEE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29437   SINGH, SHEELA                   8811    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4252 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29438   SINGH, SHEELA   Laredo, LLC     14561   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29439   SINGH, SHEELA                   20308   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29440   SINGH, SHEELA                   26040   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29441   SINGH, SHEELA                   31802   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGLETON,      Barney Davis,
29442                                   7333    8/1/2022     Secured: $0.00
        GREGORY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGLETON,
29443                   Laredo, LLC     13083   8/1/2022     Secured: $0.00
        GREGORY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SINGLETON,      Nueces Bay,
29444                                   18830   8/1/2022     Secured: $0.00
        GREGORY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4253 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,    Talen Texas
29445                                 24564   8/1/2022     Secured: $0.00
        GREGORY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,    Talen Texas,
29446                                 30324   8/1/2022     Secured: $0.00
        GREGORY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,    Barney Davis,
29447                                 7990    8/1/2022     Secured: $0.00
        LINDER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,
29448                 Laredo, LLC     13740   8/1/2022     Secured: $0.00
        LINDER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,    Nueces Bay,
29449                                 19487   8/1/2022     Secured: $0.00
        LINDER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,    Talen Texas
29450                                 25221   8/1/2022     Secured: $0.00
        LINDER        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SINGLETON,    Talen Texas,
29451                                 30981   8/1/2022     Secured: $0.00
        LINDER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4254 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SINGLETON,        Barney Davis,
29452                                     4780    8/1/2022     Secured: $0.00
        WESLEY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SINGLETON,
29453                     Laredo, LLC     10530   8/1/2022     Secured: $0.00
        WESLEY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SINGLETON,        Nueces Bay,
29454                                     16277   8/1/2022     Secured: $0.00
        WESLEY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SINGLETON,        Talen Texas
29455                                     22023   8/1/2022     Secured: $0.00
        WESLEY            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SINGLETON,        Talen Texas,
29456                                     27771   8/1/2022     Secured: $0.00
        WESLEY            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29457   SINTJAGO, ELISA                   4956    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29458   SINTJAGO, ELISA   Laredo, LLC     10706   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4255 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29459   SINTJAGO, ELISA                   16453   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29460   SINTJAGO, ELISA                   22198   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29461   SINTJAGO, ELISA                   27947   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIRLS, MELISSA    Barney Davis,
29462                                     8211    8/1/2022     Secured: $0.00
        WADE              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIRLS, MELISSA
29463                     Laredo, LLC     13961   8/1/2022     Secured: $0.00
        WADE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIRLS, MELISSA    Nueces Bay,
29464                                     19708   8/1/2022     Secured: $0.00
        WADE              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SIRLS, MELISSA    Talen Texas
29465                                     25442   8/1/2022     Secured: $0.00
        WADE              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4256 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SIRLS, MELISSA   Talen Texas,
29466                                    31202   8/1/2022     Secured: $0.00
        WADE             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29467   SIRODY, ROSANN                   4644    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29468   SIRODY, ROSANN Laredo, LLC       10394   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29469   SIRODY, ROSANN                   16141   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29470   SIRODY, ROSANN                   21887   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29471   SIRODY, ROSANN                   27635   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29472   SISK, AKILAH                     6301    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4257 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29473   SISK, AKILAH     Laredo, LLC     12051   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29474   SISK, AKILAH                     17798   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29475   SISK, AKILAH                     23533   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29476   SISK, AKILAH                     29292   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29477   SITES, MICHAEL                   3841    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29478   SITES, MICHAEL   Laredo, LLC     9591    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29479   SITES, MICHAEL                   15338   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4258 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29480   SITES, MICHAEL                   21085   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29481   SITES, MICHAEL                   26832   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29482   SITES, RHONDA                    5636    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29483   SITES, RHONDA    Laredo, LLC     11386   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29484   SITES, RHONDA                    17133   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29485   SITES, RHONDA                    22878   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29486   SITES, RHONDA                    28627   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4259 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29487   SIWIERKA, TED                   6198    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29488   SIWIERKA, TED   Laredo, LLC     11948   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29489   SIWIERKA, TED                   17695   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29490   SIWIERKA, TED                   23440   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29491   SIWIERKA, TED                   29189   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIZEMORE,       Barney Davis,
29492                                   6178    8/1/2022     Secured: $0.00
        ROXANNA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SIZEMORE,
29493                   Laredo, LLC     11928   8/1/2022     Secured: $0.00
        ROXANNA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4260 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SIZEMORE,      Nueces Bay,
29494                                  17675   8/1/2022     Secured: $0.00
        ROXANNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SIZEMORE,      Talen Texas
29495                                  23420   8/1/2022     Secured: $0.00
        ROXANNA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SIZEMORE,      Talen Texas,
29496                                  29169   8/1/2022     Secured: $0.00
        ROXANNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29497   SKAGGS, MYLA                   4533    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29498   SKAGGS, MYLA   Laredo, LLC     10283   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29499   SKAGGS, MYLA                   16030   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29500   SKAGGS, MYLA                   21776   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4261 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29501   SKAGGS, MYLA                   27524   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SKELTON,
29502                  Laredo, LLC     33179   8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SKELTON,       Barney Davis,
29503                                  34170   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SKELTON,       Nueces Bay,
29504                                  35161   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SKELTON,       Talen Texas
29505                                  36152   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SKELTON,       Talen Texas,
29506                                  37141   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SKONDIN,       Barney Davis,
29507                                  8798    8/1/2022     Secured: $0.00
        SHARON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4262 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKONDIN,
29508                 Laredo, LLC     14548   8/1/2022     Secured: $0.00
        SHARON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKONDIN,      Nueces Bay,
29509                                 20295   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKONDIN,      Talen Texas
29510                                 26027   8/1/2022     Secured: $0.00
        SHARON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKONDIN,      Talen Texas,
29511                                 31789   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKWERES,      Barney Davis,
29512                                 4898    8/1/2022     Secured: $0.00
        CHRISTIANA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKWERES,
29513                 Laredo, LLC     10648   8/1/2022     Secured: $0.00
        CHRISTIANA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKWERES,      Nueces Bay,
29514                                 16395   8/1/2022     Secured: $0.00
        CHRISTIANA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4263 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKWERES,      Talen Texas
29515                                 22140   8/1/2022     Secured: $0.00
        CHRISTIANA    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SKWERES,      Talen Texas,
29516                                 27889   8/1/2022     Secured: $0.00
        CHRISTIANA    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLATON,       Barney Davis,
29517                                 5224    8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLATON,
29518                 Laredo, LLC     10974   8/1/2022     Secured: $0.00
        RAYMOND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLATON,       Nueces Bay,
29519                                 16721   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLATON,       Talen Texas
29520                                 22466   8/1/2022     Secured: $0.00
        RAYMOND       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLATON,       Talen Texas,
29521                                 28215   8/1/2022     Secured: $0.00
        RAYMOND       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4264 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLATTERY,      Barney Davis,
29522                                  5976    8/1/2022     Secured: $0.00
        DOUGLAS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLATTERY,
29523                  Laredo, LLC     11726   8/1/2022     Secured: $0.00
        DOUGLAS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLATTERY,      Nueces Bay,
29524                                  17473   8/1/2022     Secured: $0.00
        DOUGLAS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLATTERY,      Talen Texas
29525                                  23218   8/1/2022     Secured: $0.00
        DOUGLAS        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLATTERY,      Talen Texas,
29526                                  28967   8/1/2022     Secured: $0.00
        DOUGLAS        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        SLAUGHTER ‐                                         Other Administrative: $0.00
        WALKER,                                             Priority: $0.00
                       Barney Davis,
29527   NOESHIA                        5185    8/1/2022     Secured: $0.00
                       LLC
        DASHANEE                                            General Unsecured: $0.00 + Unliquidated
        JOYCRAN
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        SLAUGHTER ‐                                         Other Administrative: $0.00
        WALKER,                                             Priority: $0.00
29528   NOESHIA        Laredo, LLC     10935   8/1/2022     Secured: $0.00
        DASHANEE                                            General Unsecured: $0.00 + Unliquidated
        JOYCRAN
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4265 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        SLAUGHTER ‐                                        Other Administrative: $0.00
        WALKER,                                            Priority: $0.00
                      Nueces Bay,
29529   NOESHIA                       16682   8/1/2022     Secured: $0.00
                      LLC
        DASHANEE                                           General Unsecured: $0.00 + Unliquidated
        JOYCRAN
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        SLAUGHTER ‐                                        Other Administrative: $0.00
        WALKER,                                            Priority: $0.00
                      Talen Texas
29530   NOESHIA                       22427   8/1/2022     Secured: $0.00
                      Group, LLC
        DASHANEE                                           General Unsecured: $0.00 + Unliquidated
        JOYCRAN
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        SLAUGHTER ‐                                        Other Administrative: $0.00
        WALKER,                                            Priority: $0.00
                      Talen Texas,
29531   NOESHIA                       28176   8/1/2022     Secured: $0.00
                      LLC
        DASHANEE                                           General Unsecured: $0.00 + Unliquidated
        JOYCRAN
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Barney Davis,
29532                                 6686    8/1/2022     Secured: $0.00
        CEDRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,
29533                 Laredo, LLC     12436   8/1/2022     Secured: $0.00
        CEDRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Nueces Bay,
29534                                 18183   8/1/2022     Secured: $0.00
        CEDRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Talen Texas
29535                                 23917   8/1/2022     Secured: $0.00
        CEDRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4266 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Talen Texas,
29536                                 29677   8/1/2022     Secured: $0.00
        CEDRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Barney Davis,
29537                                 4296    8/1/2022     Secured: $0.00
        JOANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,
29538                 Laredo, LLC     10046   8/1/2022     Secured: $0.00
        JOANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Nueces Bay,
29539                                 15793   8/1/2022     Secured: $0.00
        JOANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Talen Texas
29540                                 21539   8/1/2022     Secured: $0.00
        JOANNA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Talen Texas,
29541                                 27287   8/1/2022     Secured: $0.00
        JOANNA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SLAUGHTER,    Barney Davis,
29542                                 3790    8/1/2022     Secured: $0.00
        LAKRESHA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4267 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLAUGHTER,
29543                  Laredo, LLC     9540    8/1/2022     Secured: $0.00
        LAKRESHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLAUGHTER,     Nueces Bay,
29544                                  15287   8/1/2022     Secured: $0.00
        LAKRESHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLAUGHTER,     Talen Texas
29545                                  21034   8/1/2022     Secured: $0.00
        LAKRESHA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLAUGHTER,     Talen Texas,
29546                                  26781   8/1/2022     Secured: $0.00
        LAKRESHA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29547   SLAY, DONALD                   4138    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29548   SLAY, DONALD   Laredo, LLC     9888    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29549   SLAY, DONALD                   15635   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4268 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29550   SLAY, DONALD                   21381   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29551   SLAY, DONALD                   27129   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLOBODKIN,     Barney Davis,
29552                                  6545    8/1/2022     Secured: $0.00
        BORIS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLOBODKIN,
29553                  Laredo, LLC     12295   8/1/2022     Secured: $0.00
        BORIS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLOBODKIN,     Nueces Bay,
29554                                  18042   8/1/2022     Secured: $0.00
        BORIS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLOBODKIN,     Talen Texas
29555                                  23777   8/1/2022     Secured: $0.00
        BORIS          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SLOBODKIN,     Talen Texas,
29556                                  29536   8/1/2022     Secured: $0.00
        BORIS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4269 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SLOUGHI,        Barney Davis,
29557                                   5236    8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SLOUGHI,
29558                   Laredo, LLC     10986   8/1/2022     Secured: $0.00
        RICHARD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SLOUGHI,        Nueces Bay,
29559                                   16733   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SLOUGHI,        Talen Texas
29560                                   22478   8/1/2022     Secured: $0.00
        RICHARD         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SLOUGHI,        Talen Texas,
29561                                   28227   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29562   SLOVAK, JIMMY                   4290    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29563   SLOVAK, JIMMY   Laredo, LLC     10040   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4270 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29564   SLOVAK, JIMMY                     15787   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29565   SLOVAK, JIMMY                     21533   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29566   SLOVAK, JIMMY                     27281   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29567   SMALL, MICHELLE                   5712    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29568   SMALL, MICHELLE Laredo, LLC       11462   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29569   SMALL, MICHELLE                   17209   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29570   SMALL, MICHELLE                   22954   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4271 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29571   SMALL, MICHELLE                   28703   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29572   SMALLEY, DELLA    Laredo, LLC     33180   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29573   SMALLEY, DELLA                    34171   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29574   SMALLEY, DELLA                    35162   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29575   SMALLEY, DELLA                    36153   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29576   SMALLEY, DELLA                    37142   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SMARIO,           Barney Davis,
29577                                     9121    8/1/2022     Secured: $0.00
        VICTORIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4272 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SMARIO,
29578                     Laredo, LLC     14871   8/1/2022     Secured: $0.00
        VICTORIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SMARIO,           Nueces Bay,
29579                                     20618   8/1/2022     Secured: $0.00
        VICTORIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SMARIO,           Talen Texas
29580                                     26350   8/1/2022     Secured: $0.00
        VICTORIA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SMARIO,           Talen Texas,
29581                                     32112   8/1/2022     Secured: $0.00
        VICTORIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29582   SMILEY, MICHAEL                   4517    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29583   SMILEY, MICHAEL Laredo, LLC       10267   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29584   SMILEY, MICHAEL                   16014   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4273 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29585   SMILEY, MICHAEL                   21760   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29586   SMILEY, MICHAEL                   27508   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29587   SMILEY, MICHAEL Laredo, LLC       33181   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29588   SMILEY, MICHAEL                   34172   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29589   SMILEY, MICHAEL                   35163   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29590   SMILEY, MICHAEL                   36154   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29591   SMILEY, MICHAEL                   37143   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4274 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29592   SMITH, AMY                      6368    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29593   SMITH, AMY      Laredo, LLC     12118   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29594   SMITH, AMY                      17865   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29595   SMITH, AMY                      23600   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29596   SMITH, AMY                      29359   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29597   SMITH, ANDREW                   6389    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29598   SMITH, ANDREW Laredo, LLC       12139   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4275 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29599   SMITH, ANDREW                   17886   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29600   SMITH, ANDREW                   23621   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29601   SMITH, ANDREW                   29380   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29602   SMITH, ASHLEY                   6464    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29603   SMITH, ASHLEY                   6465    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29604   SMITH, ASHLEY   Laredo, LLC     12214   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29605   SMITH, ASHLEY   Laredo, LLC     12215   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4276 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29606   SMITH, ASHLEY                   17961   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29607   SMITH, ASHLEY                   17962   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29608   SMITH, ASHLEY                   23696   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29609   SMITH, ASHLEY                   23697   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29610   SMITH, ASHLEY                   29455   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29611   SMITH, ASHLEY                   29456   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29612   SMITH, BOB                      6528    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4277 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29613   SMITH, BOB        Laredo, LLC     12278   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29614   SMITH, BOB                        18025   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29615   SMITH, BOB                        23760   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29616   SMITH, BOB                        29519   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29617   SMITH, BRITTANY                   5752    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29618   SMITH, BRITTANY                   6226    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29619   SMITH, BRITTANY Laredo, LLC       11502   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4278 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29620   SMITH, BRITTANY Laredo, LLC      11976   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
29621   SMITH, BRITTANY                  17249   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
29622   SMITH, BRITTANY                  17723   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
29623   SMITH, BRITTANY                  22994   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
29624   SMITH, BRITTANY                  23468   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
29625   SMITH, BRITTANY                  28743   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
29626   SMITH, BRITTANY                  29217   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4279 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29627   SMITH, BRITTNEY                   6598    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29628   SMITH, BRITTNEY Laredo, LLC       12348   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29629   SMITH, BRITTNEY                   18095   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29630   SMITH, BRITTNEY                   23829   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29631   SMITH, BRITTNEY                   29589   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29632   SMITH, CHERYL                     6729    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29633   SMITH, CHERYL     Laredo, LLC     12479   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4280 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29634   SMITH, CHERYL                   18226   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29635   SMITH, CHERYL                   23960   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29636   SMITH, CHERYL                   29720   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29637   SMITH, CHRIS                    4041    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29638   SMITH, CHRIS    Laredo, LLC     9791    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29639   SMITH, CHRIS                    15538   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29640   SMITH, CHRIS                    21284   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4281 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29641   SMITH, CHRIS                       27032   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29642   SMITH, CHRISTINA                   5965    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29643   SMITH, CHRISTINA Laredo, LLC       11715   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29644   SMITH, CHRISTINA                   17462   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29645   SMITH, CHRISTINA                   23207   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29646   SMITH, CHRISTINA                   28956   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        SMITH,             Barney Davis,
29647                                      6090    8/1/2022     Secured: $0.00
        COURTNAE           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4282 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,
29648                 Laredo, LLC     11840   8/1/2022     Secured: $0.00
        COURTNAE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,        Nueces Bay,
29649                                 17587   8/1/2022     Secured: $0.00
        COURTNAE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,        Talen Texas
29650                                 23332   8/1/2022     Secured: $0.00
        COURTNAE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,        Talen Texas,
29651                                 29081   8/1/2022     Secured: $0.00
        COURTNAE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,        Barney Davis,
29652                                 6830    8/1/2022     Secured: $0.00
        COURTNEY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,
29653                 Laredo, LLC     12580   8/1/2022     Secured: $0.00
        COURTNEY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SMITH,        Nueces Bay,
29654                                 18327   8/1/2022     Secured: $0.00
        COURTNEY      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4283 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH,         Talen Texas
29655                                  24061   8/1/2022     Secured: $0.00
        COURTNEY       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH,         Talen Texas,
29656                                  29821   8/1/2022     Secured: $0.00
        COURTNEY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29657   SMITH, DALIA   Laredo, LLC     33182   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29658   SMITH, DALIA                   34173   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29659   SMITH, DALIA                   35164   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29660   SMITH, DALIA                   36155   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29661   SMITH, DALIA                   37144   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4284 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29662   SMITH, DANIEL      Laredo, LLC     33183   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29663   SMITH, DANIEL                      34174   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29664   SMITH, DANIEL                      35165   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29665   SMITH, DANIEL                      36156   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29666   SMITH, DANIEL                      37145   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29667   SMITH, DARLENE J                   6907    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29668   SMITH, DARLENE J Laredo, LLC       12657   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4285 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29669   SMITH, DARLENE J                   18404   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29670   SMITH, DARLENE J                   24138   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29671   SMITH, DARLENE J                   29898   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29672   SMITH, DAVID                       6938    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29673   SMITH, DAVID       Laredo, LLC     12688   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29674   SMITH, DAVID                       18435   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29675   SMITH, DAVID                       24169   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4286 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29676   SMITH, DAVID                   29929   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29677   SMITH, DAWN                    4099    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29678   SMITH, DAWN    Laredo, LLC     9849    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29679   SMITH, DAWN                    15596   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29680   SMITH, DAWN                    21342   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29681   SMITH, DAWN                    27090   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29682   SMITH, DEBRA                   6978    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4287 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29683   SMITH, DEBRA    Laredo, LLC     12728   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29684   SMITH, DEBRA                    18475   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29685   SMITH, DEBRA                    24209   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29686   SMITH, DEBRA                    29969   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29687   SMITH, DEIDRE                   5777    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29688   SMITH, DEIDRE   Laredo, LLC     11527   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29689   SMITH, DEIDRE                   17274   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4288 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29690   SMITH, DEIDRE                   23019   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29691   SMITH, DEIDRE                   28768   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29692   SMITH, DIANE                    4943    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29693   SMITH, DIANE    Laredo, LLC     10693   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29694   SMITH, DIANE                    16440   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29695   SMITH, DIANE                    22185   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29696   SMITH, DIANE                    27934   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4289 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29697   SMITH, DOUGLAS                   5449    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29698   SMITH, DOUGLAS                   7105    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29699   SMITH, DOUGLAS Laredo, LLC       11199   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29700   SMITH, DOUGLAS Laredo, LLC       12855   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29701   SMITH, DOUGLAS                   16946   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29702   SMITH, DOUGLAS                   18602   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29703   SMITH, DOUGLAS                   22691   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4290 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29704   SMITH, DOUGLAS                   24336   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29705   SMITH, DOUGLAS                   28440   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29706   SMITH, DOUGLAS                   30096   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29707   SMITH, ETHEL                     7207    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29708   SMITH, ETHEL     Laredo, LLC     12957   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29709   SMITH, ETHEL                     18704   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29710   SMITH, ETHEL                     24438   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4291 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29711   SMITH, ETHEL                     30198   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29712   SMITH, EWANDA                    3727    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29713   SMITH, EWANDA Laredo, LLC        9477    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29714   SMITH, EWANDA                    15224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29715   SMITH, EWANDA                    20971   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29716   SMITH, EWANDA                    26718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29717   SMITH, FRANCES                   5598    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4292 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29718   SMITH, FRANCES                   7237    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29719   SMITH, FRANCES Laredo, LLC       11348   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29720   SMITH, FRANCES Laredo, LLC       12987   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29721   SMITH, FRANCES                   17095   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29722   SMITH, FRANCES                   18734   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29723   SMITH, FRANCES                   22840   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29724   SMITH, FRANCES                   24468   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4293 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29725   SMITH, FRANCES                    28589   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29726   SMITH, FRANCES                    30228   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29727   SMITH, FREDRICK                   5547    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29728   SMITH, FREDRICK                   7256    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29729   SMITH, FREDRICK Laredo, LLC       11297   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29730   SMITH, FREDRICK Laredo, LLC       13006   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29731   SMITH, FREDRICK                   17044   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4294 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29732   SMITH, FREDRICK                   18753   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29733   SMITH, FREDRICK                   22789   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29734   SMITH, FREDRICK                   24487   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29735   SMITH, FREDRICK                   28538   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29736   SMITH, FREDRICK                   30247   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29737   SMITH, GARY       Laredo, LLC     33184   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29738   SMITH, GARY                       34175   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4295 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29739   SMITH, GARY                     35166   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29740   SMITH, GARY                     36157   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29741   SMITH, GARY                     37146   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29742   SMITH, GERALD                   3645    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29743   SMITH, GERALD   Laredo, LLC     9395    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29744   SMITH, GERALD                   15142   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29745   SMITH, GERALD                   20889   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4296 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29746   SMITH, GERALD                   26636   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29747   SMITH, IRA      Laredo, LLC     33185   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29748   SMITH, IRA                      34176   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29749   SMITH, IRA                      35167   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29750   SMITH, IRA                      36158   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29751   SMITH, IRA                      37147   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SMITH,          Barney Davis,
29752                                   7423    8/1/2022     Secured: $0.00
        JACQUELINE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4297 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH,
29753                  Laredo, LLC     13173   8/1/2022     Secured: $0.00
        JACQUELINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH,         Nueces Bay,
29754                                  18920   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH,         Talen Texas
29755                                  24654   8/1/2022     Secured: $0.00
        JACQUELINE     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH,         Talen Texas,
29756                                  30414   8/1/2022     Secured: $0.00
        JACQUELINE     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29757   SMITH, JAMES   Laredo, LLC     33186   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29758   SMITH, JAMES                   34177   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29759   SMITH, JAMES                   35168   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4298 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29760   SMITH, JAMES                   36159   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29761   SMITH, JAMES                   37148   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29762   SMITH, JAMIE   Laredo, LLC     33187   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29763   SMITH, JAMIE                   34178   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29764   SMITH, JAMIE                   35169   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29765   SMITH, JAMIE                   36160   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29766   SMITH, JAMIE                   37149   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4299 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29767   SMITH, JARVIS                   5014    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29768   SMITH, JARVIS   Laredo, LLC     10764   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29769   SMITH, JARVIS                   16511   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29770   SMITH, JARVIS                   22256   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29771   SMITH, JARVIS                   28005   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29772   SMITH, JAVONA                   5988    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29773   SMITH, JAVONA   Laredo, LLC     11738   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4300 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29774   SMITH, JAVONA                   17485   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29775   SMITH, JAVONA                   23230   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29776   SMITH, JAVONA                   28979   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29777   SMITH, JOTORY                   7683    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29778   SMITH, JOTORY   Laredo, LLC     13433   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29779   SMITH, JOTORY                   19180   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29780   SMITH, JOTORY                   24914   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4301 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29781   SMITH, JOTORY                     30674   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29782   SMITH, KATHLEEN                   5610    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29783   SMITH, KATHLEEN Laredo, LLC       11360   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29784   SMITH, KATHLEEN                   17107   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29785   SMITH, KATHLEEN                   22852   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29786   SMITH, KATHLEEN                   28601   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29787   SMITH, KIMESHA                    6034    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4302 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29788   SMITH, KIMESHA Laredo, LLC         11784   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29789   SMITH, KIMESHA                     17531   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29790   SMITH, KIMESHA                     23276   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29791   SMITH, KIMESHA                     29025   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29792   SMITH, KRISTIN L                   7871    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29793   SMITH, KRISTIN L Laredo, LLC       13621   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29794   SMITH, KRISTIN L                   19368   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4303 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
29795   SMITH, KRISTIN L                   25102   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
29796   SMITH, KRISTIN L                   30862   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29797   SMITH, LACY        Laredo, LLC     33188   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
29798   SMITH, LACY        Laredo, LLC     33189   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29799   SMITH, LACY                        34179   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
29800   SMITH, LACY                        34180   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
29801   SMITH, LACY                        35170   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4304 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29802   SMITH, LACY                    35171   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29803   SMITH, LACY                    36161   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29804   SMITH, LACY                    36162   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29805   SMITH, LACY                    37150   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29806   SMITH, LACY                    37151   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29807   SMITH, MARK                    5135    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29808   SMITH, MARK    Laredo, LLC     10885   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4305 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
29809   SMITH, MARK                   16632   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
29810   SMITH, MARK                   22377   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
29811   SMITH, MARK                   28126   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
29812   SMITH, MARY                   6160    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
29813   SMITH, MARY   Laredo, LLC     11910   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
29814   SMITH, MARY                   17657   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
29815   SMITH, MARY                   23402   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4306 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29816   SMITH, MARY                      29151   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29817   SMITH, MICHAEL                   8244    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29818   SMITH, MICHAEL Laredo, LLC       13994   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29819   SMITH, MICHAEL                   19741   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29820   SMITH, MICHAEL                   25475   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29821   SMITH, MICHAEL                   31235   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29822   SMITH, RHONDA                    5232    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4307 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29823   SMITH, RHONDA    Laredo, LLC     10982   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29824   SMITH, RHONDA                    16729   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29825   SMITH, RHONDA                    22474   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29826   SMITH, RHONDA                    28223   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29827   SMITH, RICHARD                   5237    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29828   SMITH, RICHARD   Laredo, LLC     10987   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29829   SMITH, RICHARD                   16734   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4308 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29830   SMITH, RICHARD                   22479   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29831   SMITH, RICHARD                   28228   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29832   SMITH, ROBERT    Laredo, LLC     33190   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29833   SMITH, ROBERT                    34181   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29834   SMITH, ROBERT                    35172   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29835   SMITH, ROBERT                    36163   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29836   SMITH, ROBERT                    37152   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4309 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29837   SMITH, ROBIN                      8636    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29838   SMITH, ROBIN      Laredo, LLC     14386   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29839   SMITH, ROBIN                      20133   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29840   SMITH, ROBIN                      25865   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29841   SMITH, ROBIN                      31627   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29842   SMITH, RODERICK                   4635    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29843   SMITH, RODERICK Laredo, LLC       10385   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4310 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29844   SMITH, RODERICK                   16132   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29845   SMITH, RODERICK                   21878   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29846   SMITH, RODERICK                   27626   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29847   SMITH, ROSS                       5517    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29848   SMITH, ROSS       Laredo, LLC     11267   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29849   SMITH, ROSS                       17014   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29850   SMITH, ROSS                       22759   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4311 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29851   SMITH, ROSS                       28508   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29852   SMITH, SHANTE                     8785    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29853   SMITH, SHANTE     Laredo, LLC     14535   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29854   SMITH, SHANTE                     20282   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29855   SMITH, SHANTE                     26014   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29856   SMITH, SHANTE                     31776   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29857   SMITH, SHAQUITA                   8786    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4312 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29858   SMITH, SHAQUITA Laredo, LLC       14536   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29859   SMITH, SHAQUITA                   20283   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29860   SMITH, SHAQUITA                   26015   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29861   SMITH, SHAQUITA                   31777   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29862   SMITH, SHARON                     8799    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29863   SMITH, SHARON     Laredo, LLC     14549   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29864   SMITH, SHARON                     20296   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4313 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29865   SMITH, SHARON                   26028   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29866   SMITH, SHARON                   31790   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29867   SMITH, SOFIA                    8852    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29868   SMITH, SOFIA    Laredo, LLC     14602   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29869   SMITH, SOFIA                    20349   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29870   SMITH, SOFIA                    26081   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29871   SMITH, SOFIA                    31843   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4314 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29872   SMITH, STEPHEN                   8890    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29873   SMITH, STEPHEN Laredo, LLC       14640   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29874   SMITH, STEPHEN                   20387   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29875   SMITH, STEPHEN                   26119   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29876   SMITH, STEPHEN                   31881   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29877   SMITH, TRINA                     9336    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29878   SMITH, TRINA     Laredo, LLC     15086   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4315 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29879   SMITH, TRINA                   20833   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29880   SMITH, TRINA                   26565   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29881   SMITH, TRINA                   32327   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29882   SMITH, TROY                    9077    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29883   SMITH, TROY    Laredo, LLC     14827   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29884   SMITH, TROY                    20574   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29885   SMITH, TROY                    26306   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4316 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29886   SMITH, TROY                      32068   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29887   SMITH, VERADEE                   5358    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29888   SMITH, VERADEE Laredo, LLC       11108   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29889   SMITH, VERADEE                   16855   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29890   SMITH, VERADEE                   22600   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29891   SMITH, VERADEE                   28349   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29892   SMITH, ZELINDA                   9195    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4317 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29893   SMITH, ZELINDA   Laredo, LLC     14945   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29894   SMITH, ZELINDA                   20692   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29895   SMITH, ZELINDA                   26424   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29896   SMITH, ZELINDA                   32186   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29897   SMITH, ZENA                      6213    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29898   SMITH, ZENA      Laredo, LLC     11963   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29899   SMITH, ZENA                      17710   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4318 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29900   SMITH, ZENA                    23455   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29901   SMITH, ZENA                    29204   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH‐JONES,   Barney Davis,
29902                                  6091    8/1/2022     Secured: $0.00
        CRYSTAL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH‐JONES,
29903                  Laredo, LLC     11841   8/1/2022     Secured: $0.00
        CRYSTAL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH‐JONES,   Nueces Bay,
29904                                  17588   8/1/2022     Secured: $0.00
        CRYSTAL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH‐JONES,   Talen Texas
29905                                  23333   8/1/2022     Secured: $0.00
        CRYSTAL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SMITH‐JONES,   Talen Texas,
29906                                  29082   8/1/2022     Secured: $0.00
        CRYSTAL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4319 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
29907   SMOOT, STEVE                   8891    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
29908   SMOOT, STEVE   Laredo, LLC     14641   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
29909   SMOOT, STEVE                   20388   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
29910   SMOOT, STEVE                   26120   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
29911   SMOOT, STEVE                   31882   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SMOTHERS,                                           Priority: $0.00
                       Barney Davis,
29912   CONSUELLA                      4906    8/1/2022     Secured: $0.00
                       LLC
        JUANITA                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SMOTHERS,                                           Priority: $0.00
29913   CONSUELLA      Laredo, LLC     10656   8/1/2022     Secured: $0.00
        JUANITA                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4320 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SMOTHERS,                                             Priority: $0.00
                         Nueces Bay,
29914   CONSUELLA                        16403   8/1/2022     Secured: $0.00
                         LLC
        JUANITA                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SMOTHERS,                                             Priority: $0.00
                         Talen Texas
29915   CONSUELLA                        22148   8/1/2022     Secured: $0.00
                         Group, LLC
        JUANITA                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SMOTHERS,                                             Priority: $0.00
                         Talen Texas,
29916   CONSUELLA                        27897   8/1/2022     Secured: $0.00
                         LLC
        JUANITA                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29917   SMYLES, EVELYN                   7216    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29918   SMYLES, EVELYN   Laredo, LLC     12966   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29919   SMYLES, EVELYN                   18713   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29920   SMYLES, EVELYN                   24447   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4321 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29921   SMYLES, EVELYN                   30207   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29922   SNEED, REENEA                    4597    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29923   SNEED, REENEA    Laredo, LLC     10347   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29924   SNEED, REENEA                    16094   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29925   SNEED, REENEA                    21840   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29926   SNEED, REENEA                    27588   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29927   SNIDER, BOBBY                    6532    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4322 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29928   SNIDER, BOBBY     Laredo, LLC     12282   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29929   SNIDER, BOBBY                     18029   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29930   SNIDER, BOBBY                     23764   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29931   SNIDER, BOBBY                     29523   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29932   SNIVELY, THOMAS                   5569    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29933   SNIVELY, THOMAS Laredo, LLC       11319   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29934   SNIVELY, THOMAS                   17066   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4323 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29935   SNIVELY, THOMAS                   22811   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29936   SNIVELY, THOMAS                   28560   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29937   SNORTON, ADRIA                    6288    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29938   SNORTON, ADRIA Laredo, LLC        12038   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29939   SNORTON, ADRIA                    17785   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29940   SNORTON, ADRIA                    23520   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29941   SNORTON, ADRIA                    29279   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4324 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29942   SNOW, CLAUDIA   Laredo, LLC     33191   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29943   SNOW, CLAUDIA                   34182   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29944   SNOW, CLAUDIA                   35173   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29945   SNOW, CLAUDIA                   36164   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29946   SNOW, CLAUDIA                   37153   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SOBREVEGA,      Barney Davis,
29947                                   3946    8/1/2022     Secured: $0.00
        ARIEL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SOBREVEGA,
29948                   Laredo, LLC     9696    8/1/2022     Secured: $0.00
        ARIEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4325 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SOBREVEGA,          Nueces Bay,
29949                                       15443   8/1/2022     Secured: $0.00
        ARIEL               LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SOBREVEGA,          Talen Texas
29950                                       21189   8/1/2022     Secured: $0.00
        ARIEL               Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        SOBREVEGA,          Talen Texas,
29951                                       26937   8/1/2022     Secured: $0.00
        ARIEL               LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
29952   SOELISTIJO, BOEDI                   6536    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
29953   SOELISTIJO, BOEDI Laredo, LLC       12286   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
29954   SOELISTIJO, BOEDI                   18033   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
29955   SOELISTIJO, BOEDI                   23768   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4326 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
29956   SOELISTIJO, BOEDI                   29527   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
29957   SOLANO, SERGIO Laredo, LLC          33192   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
29958   SOLANO, SERGIO                      34183   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
29959   SOLANO, SERGIO                      35174   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
29960   SOLANO, SERGIO                      36165   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
29961   SOLANO, SERGIO                      37154   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
29962   SOLARES, CORINA                     6826    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4327 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29963   SOLARES, CORINA Laredo, LLC       12576   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29964   SOLARES, CORINA                   18323   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29965   SOLARES, CORINA                   24057   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29966   SOLARES, CORINA                   29817   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29967   SOLIS, BERNARDO Laredo, LLC       33193   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29968   SOLIS, BERNARDO                   34184   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29969   SOLIS, BERNARDO                   35175   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4328 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29970   SOLIS, BERNARDO                   36166   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29971   SOLIS, BERNARDO                   37155   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
29972   SOLIS, RENE       Laredo, LLC     33194   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
29973   SOLIS, RENE                       34185   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
29974   SOLIS, RENE                       35176   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
29975   SOLIS, RENE                       36167   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
29976   SOLIS, RENE                       37156   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4329 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
29977   SOLIZ, CYNTHIA   Laredo, LLC     33195   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
29978   SOLIZ, CYNTHIA                   34186   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
29979   SOLIZ, CYNTHIA                   35177   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
29980   SOLIZ, CYNTHIA                   36168   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
29981   SOLIZ, CYNTHIA                   37157   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SOLOMON,         Barney Davis,
29982                                    3885    8/1/2022     Secured: $0.00
        JESSICA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SOLOMON,
29983                    Laredo, LLC     9635    8/1/2022     Secured: $0.00
        JESSICA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4330 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLOMON,      Nueces Bay,
29984                                 15382   8/1/2022     Secured: $0.00
        JESSICA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLOMON,      Talen Texas
29985                                 21129   8/1/2022     Secured: $0.00
        JESSICA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLOMON,      Talen Texas,
29986                                 26876   8/1/2022     Secured: $0.00
        JESSICA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLSONA,
29987                 Laredo, LLC     33196   8/1/2022     Secured: $0.00
        EUGENIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLSONA,      Barney Davis,
29988                                 34187   8/1/2022     Secured: $0.00
        EUGENIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLSONA,      Nueces Bay,
29989                                 35178   8/1/2022     Secured: $0.00
        EUGENIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOLSONA,      Talen Texas
29990                                 36169   8/1/2022     Secured: $0.00
        EUGENIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4331 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SOLSONA,        Talen Texas,
29991                                   37158   8/1/2022     Secured: $0.00
        EUGENIA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
29992   SOMOZA, JESUS   Laredo, LLC     33197   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
29993   SOMOZA, JESUS                   34188   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
29994   SOMOZA, JESUS                   35179   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
29995   SOMOZA, JESUS                   36170   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
29996   SOMOZA, JESUS                   37159   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4332 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SOMPO AMERICA                                        Priority: $0.00
                      Nueces Bay,
29997   INSURANCE                       1273    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                              General Unsecured: $345,116,079.00 + Unliquidated

                                                             Total: $345,116,079.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SOMPO
                                                             Priority: $0.00
        AMERICAN        Barney Davis,
29998                                   1319    7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $345,116,079.00 + Unliquidated
        COMPANY
                                                             Total: $345,116,079.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SOMPO
                                                             Priority: $0.00
        AMERICAN
29999                   Laredo, LLC     1398    7/28/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $345,116,079.00 + Unliquidated
        COMPANY
                                                             Total: $345,116,079.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SONS                                                 Priority: $0.00
                        Barney Davis,
30000   INTERNATIONAL                   5659    8/1/2022     Secured: $0.00
                        LLC
        INC.                                                 General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SONS                                                 Priority: $0.00
30001   INTERNATIONAL   Laredo, LLC     11409   8/1/2022     Secured: $0.00
        INC.                                                 General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SONS                                                 Priority: $0.00
                        Nueces Bay,
30002   INTERNATIONAL                   17156   8/1/2022     Secured: $0.00
                        LLC
        INC.                                                 General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4333 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SONS                                                  Priority: $0.00
                         Talen Texas
30003   INTERNATIONAL                    22901   8/1/2022     Secured: $0.00
                         Group, LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SONS                                                  Priority: $0.00
                         Talen Texas,
30004   INTERNATIONAL                    28650   8/1/2022     Secured: $0.00
                         LLC
        INC.                                                  General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30005   SORRELL, RANDY Laredo, LLC       33198   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30006   SORRELL, RANDY                   34189   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30007   SORRELL, RANDY                   35180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30008   SORRELL, RANDY                   36171   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30009   SORRELL, RANDY                   37160   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4334 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SORRELLS,     Barney Davis,
30010                                 3714    8/1/2022     Secured: $0.00
        TAWANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SORRELLS,
30011                 Laredo, LLC     9464    8/1/2022     Secured: $0.00
        TAWANNA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SORRELLS,     Nueces Bay,
30012                                 15211   8/1/2022     Secured: $0.00
        TAWANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SORRELLS,     Talen Texas
30013                                 20958   8/1/2022     Secured: $0.00
        TAWANNA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SORRELLS,     Talen Texas,
30014                                 26705   8/1/2022     Secured: $0.00
        TAWANNA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOSA,         Barney Davis,
30015                                 7424    8/1/2022     Secured: $0.00
        JACQUELINE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SOSA,
30016                 Laredo, LLC     13174   8/1/2022     Secured: $0.00
        JACQUELINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4335 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SOSA,           Nueces Bay,
30017                                   18921   8/1/2022     Secured: $0.00
        JACQUELINE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SOSA,           Talen Texas
30018                                   24655   8/1/2022     Secured: $0.00
        JACQUELINE      Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SOSA,           Talen Texas,
30019                                   30415   8/1/2022     Secured: $0.00
        JACQUELINE      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30020   SOTO, CAMELIA   Laredo, LLC     33199   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30021   SOTO, CAMELIA                   34190   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30022   SOTO, CAMELIA                   35181   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30023   SOTO, CAMELIA                   36172   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4336 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30024   SOTO, CAMELIA                    37161   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30025   SOTO, ISAAC                      5499    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30026   SOTO, ISAAC      Laredo, LLC     11249   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30027   SOTO, ISAAC                      16996   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30028   SOTO, ISAAC                      22741   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30029   SOTO, ISAAC                      28490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30030   SOTO, MARIA D.   Laredo, LLC     33200   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4337 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30031   SOTO, MARIA D.                   34191   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30032   SOTO, MARIA D.                   35182   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30033   SOTO, MARIA D.                   36173   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30034   SOTO, MARIA D.                   37162   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30035   SOTO, MARTA A.   Laredo, LLC     33201   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30036   SOTO, MARTA A.                   34192   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30037   SOTO, MARTA A.                   35183   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4338 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30038   SOTO, MARTA A.                   36174   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30039   SOTO, MARTA A.                   37163   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30040   SOTO, PERLA                      8438    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30041   SOTO, PERLA      Laredo, LLC     14188   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30042   SOTO, PERLA                      19935   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30043   SOTO, PERLA                      25668   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30044   SOTO, PERLA                      31429   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4339 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SOUTHERN
                                                           Priority: $0.00
        COUNTY MUTUAL
30045                 Laredo, LLC     2929    8/1/2022     Secured: $0.00
        INSURANCE
                                                           General Unsecured: $239,479.62 + Unliquidated
        COMPANY
                                                           Total: $239,479.62 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SOUTHERN
                                                           Priority: $0.00
        COUNTY MUTUAL Nueces Bay,
30046                                 3140    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $239,479.62 + Unliquidated
        COMPANY
                                                           Total: $239,479.62 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        SOUTHERN
                                                           Priority: $0.00
        COUNTY MUTUAL Barney Davis,
30047                                 3171    8/1/2022     Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $239,479.62 + Unliquidated
        COMPANY
                                                           Total: $239,479.62 + Unliquidated

        SOUTHERN
                                                           503(b)(9): $0.00
        COUNTY MUTUAL
                                                           Other Administrative: $0.00
        INSURANCE
                                                           Priority: $0.00
        COMPANY NOW Nueces Bay,
30048                                 1269    7/28/2022    Secured: $0.00
        KNOWN AS GEICO LLC
                                                           General Unsecured: $1,569,678.78
        TAXES COUNTY
        MUTUAL
                                                           Total: $1,569,678.78
        INSURANCE


        SOUTHERN
                                                           503(b)(9): $0.00
        COUNTY MUTUAL
                                                           Other Administrative: $0.00
        INSURANCE
                                                           Priority: $0.00
        COMPANY NOW
30049                  Laredo, LLC    1298    7/28/2022    Secured: $0.00
        KNOWN AS GEICO
                                                           General Unsecured: $1,569,678.78 + Unliquidated
        TEXAS COUNTY
        MUTUAL
                                                           Total: $1,569,678.78 + Unliquidated
        INSURANCE
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4340 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

        SOUTHERN
                                                          503(b)(9): $0.00
        COUNTY MUTUAL
                                                          Other Administrative: $0.00
        INSURANCE
                                                          Priority: $0.00
        COMPANY NOW Barney Davis,
30050                                 1351   7/28/2022    Secured: $0.00
        KNOWN AS GEICO LLC
                                                          General Unsecured: $1,569,678.78 + Unliquidated
        TEXAS COUNTY
        MUTUAL
                                                          Total: $1,569,678.78 + Unliquidated
        INSURANCE


        SOUTHERN
                                                          503(b)(9): $0.00
        COUNTY MUTUAL
                                                          Other Administrative: $0.00
        INSURANCE
                                                          Priority: $0.00
        COMPANY NOW Nueces Bay,
30051                                 1356   7/28/2022    Secured: $0.00
        KNOWN AS GEICO LLC
                                                          General Unsecured: $1,569,678.78 + Unliquidated
        TEXAS COUNTY
        MUTUAL
                                                          Total: $1,569,678.78 + Unliquidated
        INSURANCE

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        SOUTHERN                                          Priority: $0.00
                      Barney Davis,
30052   INSURANCE                     3472   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $314,101.63 + Unliquidated

                                                          Total: $314,101.63 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        SOUTHERN                                          Priority: $0.00
                      Nueces Bay,
30053   INSURANCE                     3547   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $314,101.63 + Unliquidated

                                                          Total: $314,101.63 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        SOUTHERN                                          Priority: $0.00
30054   INSURANCE     Laredo, LLC     3559   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $314,101.63 + Unliquidated

                                                          Total: $314,101.63 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        SOUTHERN
                                                          Priority: $0.00
        VANGUARD
30055                 Laredo, LLC     683    7/27/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $5,118,161.74 + Unliquidated
        COMPANY
                                                          Total: $5,118,161.74 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4341 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SOUTHERN
                                                            Priority: $0.00
        VANGUARD       Talen Energy
30056                                  718     7/27/2022    Secured: $0.00
        INSURANCE      Supply, LLC
                                                            General Unsecured: $5,118,161.74 + Unliquidated
        COMPANY
                                                            Total: $5,118,161.74 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SOUTHERN
                                                            Priority: $0.00
        VANGUARD       Nueces Bay,
30057                                  731     7/27/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $5,118,161.74 + Unliquidated
        COMPANY
                                                            Total: $5,118,161.74 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        SOUTHERN
                                                            Priority: $0.00
        VANGUARD       Barney Davis,
30058                                  760     7/27/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $5,118,161.74 + Unliquidated
        COMPANY
                                                            Total: $5,118,161.74 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30059   SOZA, ROEL     Laredo, LLC     33202   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30060   SOZA, ROEL                     34193   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30061   SOZA, ROEL                     35184   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30062   SOZA, ROEL                     36175   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4342 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30063   SOZA, ROEL                       37164   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30064   SPAIN, MICHAEL                   5938    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30065   SPAIN, MICHAEL   Laredo, LLC     11688   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30066   SPAIN, MICHAEL                   17435   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30067   SPAIN, MICHAEL                   23180   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30068   SPAIN, MICHAEL                   28929   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30069   SPARKMAN, CB                     6684    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4343 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30070   SPARKMAN, CB    Laredo, LLC     12434   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30071   SPARKMAN, CB                    18181   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30072   SPARKMAN, CB                    23915   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30073   SPARKMAN, CB                    29675   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30074   SPARKS, JASON                   7489    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30075   SPARKS, JASON   Laredo, LLC     13239   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30076   SPARKS, JASON                   18986   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4344 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30077   SPARKS, JASON                   24720   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30078   SPARKS, JASON                   30480   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30079   SPARKS, LEAH                    7946    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30080   SPARKS, LEAH    Laredo, LLC     13696   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30081   SPARKS, LEAH                    19443   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30082   SPARKS, LEAH                    25177   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30083   SPARKS, LEAH                    30937   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4345 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30084   SPARKS, TOMMY                   9035    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30085   SPARKS, TOMMY Laredo, LLC       14785   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30086   SPARKS, TOMMY                   20532   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30087   SPARKS, TOMMY                   26264   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30088   SPARKS, TOMMY                   32026   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPAULDING,      Barney Davis,
30089                                   9316    8/1/2022     Secured: $0.00
        SAMANTHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPAULDING,
30090                   Laredo, LLC     15066   8/1/2022     Secured: $0.00
        SAMANTHA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4346 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPAULDING,      Nueces Bay,
30091                                   20813   8/1/2022     Secured: $0.00
        SAMANTHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPAULDING,      Talen Texas
30092                                   26545   8/1/2022     Secured: $0.00
        SAMANTHA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPAULDING,      Talen Texas,
30093                                   32307   8/1/2022     Secured: $0.00
        SAMANTHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30094   SPEARS, KAREN                   7751    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30095   SPEARS, KAREN   Laredo, LLC     13501   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30096   SPEARS, KAREN                   19248   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30097   SPEARS, KAREN                   24982   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4347 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30098   SPEARS, KAREN                     30742   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30099   SPEARS, LATISSA                   7920    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30100   SPEARS, LATISSA   Laredo, LLC     13670   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30101   SPEARS, LATISSA                   19417   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30102   SPEARS, LATISSA                   25151   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30103   SPEARS, LATISSA                   30911   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SPEER,            Barney Davis,
30104                                     8068    8/1/2022     Secured: $0.00
        MARGARET          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4348 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEER,
30105                  Laredo, LLC     13818   8/1/2022     Secured: $0.00
        MARGARET
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEER,         Nueces Bay,
30106                                  19565   8/1/2022     Secured: $0.00
        MARGARET       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEER,         Talen Texas
30107                                  25299   8/1/2022     Secured: $0.00
        MARGARET       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEER,         Talen Texas,
30108                                  31059   8/1/2022     Secured: $0.00
        MARGARET       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEIGHTS,      Barney Davis,
30109                                  9329    8/1/2022     Secured: $0.00
        TABITHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEIGHTS,
30110                  Laredo, LLC     15079   8/1/2022     Secured: $0.00
        TABITHA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SPEIGHTS,      Nueces Bay,
30111                                  20826   8/1/2022     Secured: $0.00
        TABITHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4349 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPEIGHTS,       Talen Texas
30112                                   26558   8/1/2022     Secured: $0.00
        TABITHA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPEIGHTS,       Talen Texas,
30113                                   32320   8/1/2022     Secured: $0.00
        TABITHA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30114   SPENCE, ERICA                   3744    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30115   SPENCE, ERICA   Laredo, LLC     9494    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30116   SPENCE, ERICA                   15241   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30117   SPENCE, ERICA                   20988   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30118   SPENCE, ERICA                   26735   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4350 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30119   SPENCER, MARY                   8170    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30120   SPENCER, MARY   Laredo, LLC     13920   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30121   SPENCER, MARY                   19667   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30122   SPENCER, MARY                   25401   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30123   SPENCER, MARY                   31161   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30124   SPENCER, TINA                   9022    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30125   SPENCER, TINA   Laredo, LLC     14772   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4351 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30126   SPENCER, TINA                     20519   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30127   SPENCER, TINA                     26251   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30128   SPENCER, TINA                     32013   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30129   SPICER, TALISHA                   8928    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30130   SPICER, TALISHA   Laredo, LLC     14678   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30131   SPICER, TALISHA                   20425   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30132   SPICER, TALISHA                   26157   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4352 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30133   SPICER, TALISHA                   31919   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        SPINNAKER                                              Priority: $0.00
30134   INSURANCE         Laredo, LLC     2599    7/31/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $1,083,570.03 + Unliquidated

                                                               Total: $1,083,570.03 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        SPINNAKER                                              Priority: $0.00
                          Nueces Bay,
30135   INSURANCE                         2775    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $1,083,570.03 + Unliquidated

                                                               Total: $1,083,570.03 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        SPINNAKER                                              Priority: $0.00
                          Barney Davis,
30136   INSURANCE                         2817    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,703,225.71 + Unliquidated

                                                               Total: $6,703,225.71 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        SPINNAKER                                              Priority: $0.00
                          Nueces Bay,
30137   INSURANCE                         2820    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,703,225.71 + Unliquidated

                                                               Total: $6,703,225.71 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        SPINNAKER                                              Priority: $0.00
30138   INSURANCE         Laredo, LLC     2823    7/31/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $6,703,225.71 + Unliquidated

                                                               Total: $6,703,225.71 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4353 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SPINNAKER                                             Priority: $0.00
                         Nueces Bay,
30139   INSURANCE                        3329    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $78,682,674.00 + Unliquidated

                                                              Total: $78,682,674.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SPINNAKER                                             Priority: $0.00
                         Barney Davis,
30140   INSURANCE                        3352    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $78,682,674.00 + Unliquidated

                                                              Total: $78,682,674.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SPINNAKER                                             Priority: $0.00
30141   INSURANCE        Laredo, LLC     3354    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $78,682,674.00 + Unliquidated

                                                              Total: $78,682,674.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30142   SPIVEY, CLAUDE                   6793    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30143   SPIVEY, CLAUDE   Laredo, LLC     12543   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30144   SPIVEY, CLAUDE                   18290   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4354 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30145   SPIVEY, CLAUDE                   24024   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30146   SPIVEY, CLAUDE                   29784   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Barney Davis,
30147                                    7425    8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,
30148                    Laredo, LLC     13175   8/1/2022     Secured: $0.00
        JACQUELINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Nueces Bay,
30149                                    18922   8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Talen Texas
30150                                    24656   8/1/2022     Secured: $0.00
        JACQUELINE       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Talen Texas,
30151                                    30416   8/1/2022     Secured: $0.00
        JACQUELINE       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4355 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Barney Davis,
30152                                    4455    8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,
30153                    Laredo, LLC     10205   8/1/2022     Secured: $0.00
        MARGARET
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Nueces Bay,
30154                                    15952   8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Talen Texas
30155                                    21698   8/1/2022     Secured: $0.00
        MARGARET         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY,          Talen Texas,
30156                                    27446   8/1/2022     Secured: $0.00
        MARGARET         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY, NASHAY   Barney Davis,
30157                                    8315    8/1/2022     Secured: $0.00
        LATRICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY, NASHAY
30158                    Laredo, LLC     14065   8/1/2022     Secured: $0.00
        LATRICE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4356 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY, NASHAY   Nueces Bay,
30159                                    19812   8/1/2022     Secured: $0.00
        LATRICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY, NASHAY   Talen Texas
30160                                    25546   8/1/2022     Secured: $0.00
        LATRICE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPIVEY, NASHAY   Talen Texas,
30161                                    31306   8/1/2022     Secured: $0.00
        LATRICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPOON,           Barney Davis,
30162                                    4021    8/1/2022     Secured: $0.00
        CATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPOON,
30163                    Laredo, LLC     9771    8/1/2022     Secured: $0.00
        CATHERINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPOON,           Nueces Bay,
30164                                    15518   8/1/2022     Secured: $0.00
        CATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SPOON,           Talen Texas
30165                                    21264   8/1/2022     Secured: $0.00
        CATHERINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4357 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPOON,          Talen Texas,
30166                                   27012   8/1/2022     Secured: $0.00
        CATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30167   SPRAY, SHARON                   8800    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30168   SPRAY, SHARON   Laredo, LLC     14550   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30169   SPRAY, SHARON                   20297   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30170   SPRAY, SHARON                   26029   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30171   SPRAY, SHARON                   31791   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30172   SPRINGS, RUBY                   8698    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4358 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30173   SPRINGS, RUBY   Laredo, LLC     14448   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30174   SPRINGS, RUBY                   20195   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30175   SPRINGS, RUBY                   25927   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30176   SPRINGS, RUBY                   31689   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPRINGSTEAD,    Barney Davis,
30177                                   8041    8/1/2022     Secured: $0.00
        LYNN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPRINGSTEAD,
30178                   Laredo, LLC     13791   8/1/2022     Secured: $0.00
        LYNN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SPRINGSTEAD,    Nueces Bay,
30179                                   19538   8/1/2022     Secured: $0.00
        LYNN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4359 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SPRINGSTEAD,      Talen Texas
30180                                     25272   8/1/2022     Secured: $0.00
        LYNN              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SPRINGSTEAD,      Talen Texas,
30181                                     31032   8/1/2022     Secured: $0.00
        LYNN              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30182   SPRUILL, ROBINA                   8638    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30183   SPRUILL, ROBINA Laredo, LLC       14388   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30184   SPRUILL, ROBINA                   20135   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30185   SPRUILL, ROBINA                   25867   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30186   SPRUILL, ROBINA                   31629   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4360 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SQUIRES,         Barney Davis,
30187                                    8255    8/1/2022     Secured: $0.00
        MICHELLE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SQUIRES,
30188                    Laredo, LLC     14005   8/1/2022     Secured: $0.00
        MICHELLE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SQUIRES,         Nueces Bay,
30189                                    19752   8/1/2022     Secured: $0.00
        MICHELLE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SQUIRES,         Talen Texas
30190                                    25486   8/1/2022     Secured: $0.00
        MICHELLE         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        SQUIRES,         Talen Texas,
30191                                    31246   8/1/2022     Secured: $0.00
        MICHELLE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ST PAUL FIRE AND                                      Priority: $0.00
30192   MARINE           Laredo, LLC     1480    7/29/2022    Secured: $0.00
        INSURANCE CO.                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ST PAUL
                                                              Priority: $0.00
        GUARDIAN
30193                    Laredo, LLC     1481    7/29/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4361 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. CLAIRE,
30194                     Laredo, LLC     33203   8/1/2022     Secured: $0.00
        ALBERT
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. CLAIRE,       Barney Davis,
30195                                     34194   8/1/2022     Secured: $0.00
        ALBERT            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. CLAIRE,       Nueces Bay,
30196                                     35185   8/1/2022     Secured: $0.00
        ALBERT            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. CLAIRE,       Talen Texas
30197                                     36176   8/1/2022     Secured: $0.00
        ALBERT            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. CLAIRE,       Talen Texas,
30198                                     37165   8/1/2022     Secured: $0.00
        ALBERT            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. GEORGE, ELISA Barney Davis,
30199                                     7142    8/1/2022     Secured: $0.00
        RENEE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ST. GEORGE, ELISA
30200                     Laredo, LLC     12892   8/1/2022     Secured: $0.00
        RENEE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4362 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        ST. GEORGE, ELISA Nueces Bay,
30201                                       18639   8/1/2022     Secured: $0.00
        RENEE             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        ST. GEORGE, ELISA Talen Texas
30202                                       24373   8/1/2022     Secured: $0.00
        RENEE             Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        ST. GEORGE, ELISA Talen Texas,
30203                                       30133   8/1/2022     Secured: $0.00
        RENEE             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
30204   ST. JULES, SIDNEY                   4696    8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
30205   ST. JULES, SIDNEY Laredo, LLC       10446   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
30206   ST. JULES, SIDNEY                   16193   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
30207   ST. JULES, SIDNEY                   21939   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4363 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
30208   ST. JULES, SIDNEY                   27687   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        ST. PAUL FIRE
                                                                 Priority: $0.00
        AND MARINE          Nueces Bay,
30209                                       2292    7/30/2022    Secured: $0.00
        INSURANCE           LLC
                                                                 General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        ST. PAUL FIRE
                                                                 Priority: $0.00
        AND MARINE          Barney Davis,
30210                                       2478    7/30/2022    Secured: $0.00
        INSURANCE           LLC
                                                                 General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        ST. PAUL
                                                                 Priority: $0.00
        GUARDIAN            Nueces Bay,
30211                                       2340    7/30/2022    Secured: $0.00
        INSURANCE           LLC
                                                                 General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        ST. PAUL
                                                                 Priority: $0.00
        GUARDIAN            Barney Davis,
30212                                       2496    7/30/2022    Secured: $0.00
        INSURANCE           LLC
                                                                 General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        STACY
                                                                 Priority: $0.00
        STRICKLAND ON Barney Davis,
30213                                       5312    8/1/2022     Secured: $0.00
        BEHALF OF OMAR LLC
                                                                 General Unsecured: $0.00 + Unliquidated
        STRICKLAND
                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        STACY
                                                                 Priority: $0.00
        STRICKLAND ON
30214                  Laredo, LLC          11062   8/1/2022     Secured: $0.00
        BEHALF OF OMAR
                                                                 General Unsecured: $0.00 + Unliquidated
        STRICKLAND
                                                                 Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4364 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STACY
                                                              Priority: $0.00
        STRICKLAND ON Nueces Bay,
30215                                    16809   8/1/2022     Secured: $0.00
        BEHALF OF OMAR LLC
                                                              General Unsecured: $0.00 + Unliquidated
        STRICKLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STACY
                                                              Priority: $0.00
        STRICKLAND ON Talen Texas
30216                                    22554   8/1/2022     Secured: $0.00
        BEHALF OF OMAR Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        STRICKLAND
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STACY
                                                              Priority: $0.00
        STRICKLAND ON Talen Texas,
30217                                    28303   8/1/2022     Secured: $0.00
        BEHALF OF OMAR LLC
                                                              General Unsecured: $0.00 + Unliquidated
        STRICKLAND
                                                              Total: $0.00 + Unliquidated
        STACY                                                 503(b)(9): $0.00
        STRICKLAND,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
30218   AND AS HEIR OF                   5408    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAVID
        STRICKLAND                                            Total: $0.00 + Unliquidated
        STACY                                                 503(b)(9): $0.00
        STRICKLAND,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
30219   AND AS HEIR OF   Laredo, LLC     11158   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAVID
        STRICKLAND                                            Total: $0.00 + Unliquidated
        STACY                                                 503(b)(9): $0.00
        STRICKLAND,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
30220   AND AS HEIR OF                   16905   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAVID
        STRICKLAND                                            Total: $0.00 + Unliquidated
        STACY                                                 503(b)(9): $0.00
        STRICKLAND,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
30221   AND AS HEIR OF                   22650   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAVID
        STRICKLAND                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4365 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
        STACY                                                 503(b)(9): $0.00
        STRICKLAND,                                           Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
30222   AND AS HEIR OF                   28399   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        DAVID
        STRICKLAND                                            Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STAFFORD,                                             Priority: $0.00
                         Barney Davis,
30223   THOMAS                           4736    8/1/2022     Secured: $0.00
                         LLC
        FRANKLIN                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STAFFORD,                                             Priority: $0.00
30224   THOMAS           Laredo, LLC     10486   8/1/2022     Secured: $0.00
        FRANKLIN                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STAFFORD,                                             Priority: $0.00
                         Nueces Bay,
30225   THOMAS                           16233   8/1/2022     Secured: $0.00
                         LLC
        FRANKLIN                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STAFFORD,                                             Priority: $0.00
                         Talen Texas
30226   THOMAS                           21979   8/1/2022     Secured: $0.00
                         Group, LLC
        FRANKLIN                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STAFFORD,                                             Priority: $0.00
                         Talen Texas,
30227   THOMAS                           27727   8/1/2022     Secured: $0.00
                         LLC
        FRANKLIN                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAFFORD,        Barney Davis,
30228                                    9066    8/1/2022     Secured: $0.00
        TRESHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4366 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAFFORD,
30229                    Laredo, LLC     14816   8/1/2022     Secured: $0.00
        TRESHIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAFFORD,        Nueces Bay,
30230                                    20563   8/1/2022     Secured: $0.00
        TRESHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAFFORD,        Talen Texas
30231                                    26295   8/1/2022     Secured: $0.00
        TRESHIA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAFFORD,        Talen Texas,
30232                                    32057   8/1/2022     Secured: $0.00
        TRESHIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30233   STAGGS, NATHAN                   8317    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30234   STAGGS, NATHAN Laredo, LLC       14067   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30235   STAGGS, NATHAN                   19814   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4367 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30236   STAGGS, NATHAN                   25548   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30237   STAGGS, NATHAN                   31308   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAHLHUT,        Barney Davis,
30238                                    4774    8/1/2022     Secured: $0.00
        VIVIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAHLHUT,
30239                    Laredo, LLC     10524   8/1/2022     Secured: $0.00
        VIVIAN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAHLHUT,        Nueces Bay,
30240                                    16271   8/1/2022     Secured: $0.00
        VIVIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAHLHUT,        Talen Texas
30241                                    22017   8/1/2022     Secured: $0.00
        VIVIAN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STAHLHUT,        Talen Texas,
30242                                    27765   8/1/2022     Secured: $0.00
        VIVIAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4368 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
30243   STALEY, ASHLEY                     6466    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
30244   STALEY, ASHLEY     Laredo, LLC     12216   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
30245   STALEY, ASHLEY                     17963   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30246   STALEY, ASHLEY                     23698   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
30247   STALEY, ASHLEY                     29457   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
30248   STALTER, KRISTEN                   7868    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
30249   STALTER, KRISTEN Laredo, LLC       13618   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4369 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
30250   STALTER, KRISTEN                   19365   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30251   STALTER, KRISTEN                   25099   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
30252   STALTER, KRISTEN                   30859   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
30253   STAMPER, CRISTI                    6842    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
30254   STAMPER, CRISTI Laredo, LLC        12592   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
30255   STAMPER, CRISTI                    18339   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30256   STAMPER, CRISTI                    24073   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4370 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30257   STAMPER, CRISTI                   29833   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30258   STANBRIDGE, ANA Laredo, LLC       33204   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30259   STANBRIDGE, ANA                   34195   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30260   STANBRIDGE, ANA                   35186   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30261   STANBRIDGE, ANA                   36177   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30262   STANBRIDGE, ANA                   37166   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        STANDARD                                               Priority: $0.00
                          Barney Davis,
30263   CASUALTY                          974     7/28/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $2,125,762.08 + Unliquidated

                                                               Total: $2,125,762.08 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4371 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STANDARD                                           Priority: $0.00
                       Nueces Bay,
30264   CASUALTY                       1349   7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $2,125,762.08 + Unliquidated

                                                           Total: $2,125,762.08 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STANDARD                                           Priority: $0.00
30265   CASUALTY       Laredo, LLC     1400   7/28/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $2,125,762.08 + Unliquidated

                                                           Total: $2,125,762.08 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STANDARD
                                                           Priority: $0.00
        GUARANTY
30266                  Laredo, LLC     1886   7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STANDARD
                                                           Priority: $0.00
        GUARANTY       Barney Davis,
30267                                  2231   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STANDARD
                                                           Priority: $0.00
        GUARANTY       Nueces Bay,
30268                                  2262   7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        STANDARD                                           Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Barney Davis,
30269   CASUALTY                       2760   7/31/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $86,189.00 + Unliquidated
        COMPANY
                                                           Total: $86,189.00 + Unliquidated
                                                           503(b)(9): $0.00
        STANDARD                                           Other Administrative: $0.00
        PROPERTY AND                                       Priority: $0.00
                       Nueces Bay,
30270   CASUALTY                       2761   7/31/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $86,189.00 + Unliquidated
        COMPANY
                                                           Total: $86,189.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4372 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        STANDARD                                              Other Administrative: $0.00
        PROPERTY AND                                          Priority: $0.00
30271   CASULTY          Laredo, LLC     2525    7/31/2022    Secured: $0.00
        INSURANCE                                             General Unsecured: $86,189.00 + Unliquidated
        COMPANY
                                                              Total: $86,189.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30272   STANGL, GORDON Laredo, LLC       33205   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30273   STANGL, GORDON                   34196   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30274   STANGL, GORDON                   35187   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30275   STANGL, GORDON                   36178   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30276   STANGL, GORDON                   37167   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STANLAKE,        Barney Davis,
30277                                    5024    8/1/2022     Secured: $0.00
        JENNIFER         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4373 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLAKE,
30278                  Laredo, LLC     10774   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLAKE,      Nueces Bay,
30279                                  16521   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLAKE,      Talen Texas
30280                                  22266   8/1/2022     Secured: $0.00
        JENNIFER       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLAKE,      Talen Texas,
30281                                  28015   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Barney Davis,
30282                                  5538    8/1/2022     Secured: $0.00
        CHARLES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,
30283                  Laredo, LLC     11288   8/1/2022     Secured: $0.00
        CHARLES
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Nueces Bay,
30284                                  17035   8/1/2022     Secured: $0.00
        CHARLES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4374 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Talen Texas
30285                                  22780   8/1/2022     Secured: $0.00
        CHARLES        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Talen Texas,
30286                                  28529   8/1/2022     Secured: $0.00
        CHARLES        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Barney Davis,
30287                                  6779    8/1/2022     Secured: $0.00
        CHRYSTAL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,
30288                  Laredo, LLC     12529   8/1/2022     Secured: $0.00
        CHRYSTAL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Nueces Bay,
30289                                  18276   8/1/2022     Secured: $0.00
        CHRYSTAL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Talen Texas
30290                                  24010   8/1/2022     Secured: $0.00
        CHRYSTAL       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STANLEY,       Talen Texas,
30291                                  29770   8/1/2022     Secured: $0.00
        CHRYSTAL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4375 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30292   STANLEY, DARRYL                   4921    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30293   STANLEY, DARRYL Laredo, LLC       10671   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30294   STANLEY, DARRYL                   16418   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30295   STANLEY, DARRYL                   22163   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30296   STANLEY, DARRYL                   27912   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30297   STANSBURY, LORI                   6153    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30298   STANSBURY, LORI Laredo, LLC       11903   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4376 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
30299   STANSBURY, LORI                    17650   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30300   STANSBURY, LORI                    23395   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
30301   STANSBURY, LORI                    29144   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
30302   STANSELL, ERNEST Laredo, LLC       33206   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
30303   STANSELL, ERNEST                   34197   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
30304   STANSELL, ERNEST                   35188   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30305   STANSELL, ERNEST                   36179   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4377 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
30306   STANSELL, ERNEST                   37168   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        STAR INSURANCE Barney Davis,
30307                                      1697    7/31/2022    Secured: $0.00
        COMPANY        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        STAR INSURANCE
30308                  Laredo, LLC         1713    7/31/2022    Secured: $0.00
        COMPANY
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        STAR INSURANCE Nueces Bay,
30309                                      2090    7/31/2022    Secured: $0.00
        COMPANY        LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        STARNET                                                 Priority: $0.00
                           Barney Davis,
30310   INSURANCE                          2930    8/1/2022     Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $633,060.39 + Unliquidated

                                                                Total: $633,060.39 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        STARNET                                                 Priority: $0.00
30311   INSURANCE          Laredo, LLC     2934    8/1/2022     Secured: $0.00
        COMPANY                                                 General Unsecured: $633,060.39 + Unliquidated

                                                                Total: $633,060.39 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        STARNET                                                 Priority: $0.00
                           Nueces Bay,
30312   INSURANCE                          2935    8/1/2022     Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $633,060.39 + Unliquidated

                                                                Total: $633,060.39 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4378 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR
                                                             Priority: $0.00
        INDEMNITY &      Barney Davis,
30313                                    2774   7/31/2022    Secured: $0.00
        LIABILITY        LLC
                                                             General Unsecured: $1,434,606.05 + Unliquidated
        COMPANY
                                                             Total: $1,434,606.05 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR
                                                             Priority: $0.00
        INDEMNITY &
30314                    Laredo, LLC     2778   7/31/2022    Secured: $0.00
        LIABILITY
                                                             General Unsecured: $1,434,606.05 + Unliquidated
        COMPANY
                                                             Total: $1,434,606.05 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR
                                                             Priority: $0.00
        INDEMNITY &      Nueces Bay,
30315                                    2792   7/31/2022    Secured: $0.00
        LIABILITY        LLC
                                                             General Unsecured: $1,434,606.05 + Unliquidated
        COMPANY
                                                             Total: $1,434,606.05 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR
                                                             Priority: $0.00
        INDEMNITY AND    Barney Davis,
30316                                    1355   7/28/2022    Secured: $0.00
        LIABILITY        LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR
                                                             Priority: $0.00
        INDEMNITY AND
30317                    Laredo, LLC     1390   7/28/2022    Secured: $0.00
        LIABILITY
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR
                                                             Priority: $0.00
        INDEMNITY AND    Nueces Bay,
30318                                    1402   7/28/2022    Secured: $0.00
        LIABILITY        LLC
                                                             General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR SPECIALTY                                      Priority: $0.00
                        Barney Davis,
30319   INSURANCE                        2677   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $378.57 + Unliquidated

                                                             Total: $378.57 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4379 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SPECIALTY                                     Priority: $0.00
30320   INSURANCE       Laredo, LLC     2691   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $378.57 + Unliquidated

                                                            Total: $378.57 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SPECIALTY                                     Priority: $0.00
                        Nueces Bay,
30321   INSURANCE                       2970   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $378.57 + Unliquidated

                                                            Total: $378.57 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SPECIALTY                                     Priority: $0.00
30322   LINES INSURANCE Laredo, LLC     968    7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SPECIALTY                                     Priority: $0.00
                        Nueces Bay,
30323   LINES INSURANCE                 970    7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SPECIALTY                                     Priority: $0.00
                        Barney Davis,
30324   LINES INSURANCE                 1181   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SURPLUS                                       Priority: $0.00
                        Nueces Bay,
30325   LINES INSURANCE                 986    7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STARR SURPLUS                                       Priority: $0.00
30326   LINES INSURANCE Laredo, LLC     1334   7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $1,000,000.00 + Unliquidated

                                                            Total: $1,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4380 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR SURPLUS                                        Priority: $0.00
                        Barney Davis,
30327   LINES INSURANCE                  1358   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $1,000,000.00 + Unliquidated

                                                             Total: $1,000,000.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR SURPLUS                                        Priority: $0.00
                        Barney Davis,
30328   LINES INSURANCE                  1595   7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $133,000,000.00 + Unliquidated

                                                             Total: $133,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR SURPLUS                                        Priority: $0.00
30329   LINES INSURANCE Laredo, LLC      1630   7/30/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $133,000,000.00 + Unliquidated

                                                             Total: $133,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARR SURPLUS                                        Priority: $0.00
                        Nueces Bay,
30330   LINES INSURANCE                  1937   7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $133,000,000.00 + Unliquidated

                                                             Total: $133,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARSTONE
                                                             Priority: $0.00
        SPECIALTY        Barney Davis,
30331                                    1341   7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $11,600,059.94 + Unliquidated
        COMPANY
                                                             Total: $11,600,059.94 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STARSTONE
                                                             Priority: $0.00
        SPECIALTY        Nueces Bay,
30332                                    1779   7/29/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $11,600,059.94 + Unliquidated
        COMPANY
                                                             Total: $11,600,059.94 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4381 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STARSTONE
                                                          Priority: $0.00
        SPECIALTY
30333                 Laredo, LLC     1874   7/29/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $11,600,059.94 + Unliquidated
        COMPANY
                                                          Total: $11,600,059.94 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STATE AUTO
                                                          Priority: $0.00
        PROPERTY &
30334                 Laredo, LLC     2702   7/31/2022    Secured: $0.00
        CASUALTY
                                                          General Unsecured: $3,660,978.04 + Unliquidated
        COMPANY
                                                          Total: $3,660,978.04 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STATE AUTO
                                                          Priority: $0.00
        PROPERTY &    Nueces Bay,
30335                                 2834   7/31/2022    Secured: $0.00
        CASUALTY      LLC
                                                          General Unsecured: $3,660,978.04 + Unliquidated
        COMPANY
                                                          Total: $3,660,978.04 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STATE AUTO
                                                          Priority: $0.00
        PROPERTY &    Barney Davis,
30336                                 2843   7/31/2022    Secured: $0.00
        CASUALTY      LLC
                                                          General Unsecured: $3,660,978.04 + Unliquidated
        COMPANY
                                                          Total: $3,660,978.04 + Unliquidated
                                                          503(b)(9): $0.00
        STATE                                             Other Administrative: $0.00
        AUTOMOBILE                                        Priority: $0.00
30337   MUTUAL        Laredo, LLC     2744   8/1/2022     Secured: $0.00
        INSURANCE                                         General Unsecured: $17,532,490.87 + Unliquidated
        COMPANY
                                                          Total: $17,532,490.87 + Unliquidated

                                                          503(b)(9): $0.00
        STATE                                             Other Administrative: $0.00
        AUTOMOBILE                                        Priority: $0.00
                      Nueces Bay,
30338   MUTUAL                        2776   7/31/2022    Secured: $0.00
                      LLC
        INSURANCE                                         General Unsecured: $17,532,490.87 + Unliquidated
        COMPANY
                                                          Total: $17,532,490.87 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4382 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
        STATE                                                Other Administrative: $0.00
        AUTOMOBILE                                           Priority: $0.00
                         Barney Davis,
30339   MUTUAL                           2785   7/31/2022    Secured: $0.00
                         LLC
        INSURANCE                                            General Unsecured: $17,532,490.87 + Unliquidated
        COMPANY
                                                             Total: $17,532,490.87 + Unliquidated
                                                             503(b)(9): $0.00
        STATE FARM                                           Other Administrative: $0.00
        COUNTY MUTUAL                                        Priority: $0.00
30340   INSURANCE     Laredo, LLC        3164   8/1/2022     Secured: $0.00
        COMPANY OF                                           General Unsecured: $231,961.25 + Unliquidated
        TEXAS
                                                             Total: $231,961.25 + Unliquidated
                                                             503(b)(9): $0.00
        STATE FARM                                           Other Administrative: $0.00
        COUNTY MUTUAL                                        Priority: $0.00
                      Barney Davis,
30341   INSURANCE                        3178   8/1/2022     Secured: $0.00
                      LLC
        COMPANY OF                                           General Unsecured: $231,961.25 + Unliquidated
        TEXAS
                                                             Total: $231,961.25 + Unliquidated
                                                             503(b)(9): $0.00
        STATE FARM                                           Other Administrative: $0.00
        COUNTY MUTUAL                                        Priority: $0.00
                      Nueces Bay,
30342   INSURANCE                        3320   8/1/2022     Secured: $0.00
                      LLC
        COMPANY OF                                           General Unsecured: $231,961.25 + Unliquidated
        TEXAS
                                                             Total: $231,961.25 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STATE FARM FIRE                                      Priority: $0.00
30343   AND CASUALTY    Laredo, LLC      3029   8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $223,308.41 + Unliquidated

                                                             Total: $223,308.41 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        STATE FARM FIRE                                      Priority: $0.00
                        Barney Davis,
30344   AND CASUALTY                     3212   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $223,308.41 + Unliquidated

                                                             Total: $223,308.41 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4383 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STATE FARM FIRE                                     Priority: $0.00
                        Nueces Bay,
30345   AND CASUALTY                    3294   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $223,308.41 + Unliquidated

                                                            Total: $223,308.41 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STATE FARM      Barney Davis,
30346                                   3325   8/1/2022     Secured: $0.00
        LLOYDS          LLC
                                                            General Unsecured: $667,799,682.13 + Unliquidated

                                                            Total: $667,799,682.13 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STATE FARM      Nueces Bay,
30347                                   3330   8/1/2022     Secured: $0.00
        LLOYDS          LLC
                                                            General Unsecured: $667,799,682.13 + Unliquidated

                                                            Total: $667,799,682.13 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STATE FARM
30348                   Laredo, LLC     3391   8/1/2022     Secured: $0.00
        LLOYDS
                                                            General Unsecured: $667,799,682.13 + Unliquidated

                                                            Total: $667,799,682.13 + Unliquidated
                                                            503(b)(9): $0.00
        STATE FARM                                          Other Administrative: $0.00
        MUTUAL                                              Priority: $0.00
                        Nueces Bay,
30349   AUTOMOBILE                      3122   8/1/2022     Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $6,073,730.34 + Unliquidated
        COMPANY
                                                            Total: $6,073,730.34 + Unliquidated
                                                            503(b)(9): $0.00
        STATE FARM                                          Other Administrative: $0.00
        MUTUAL                                              Priority: $0.00
                        Barney Davis,
30350   AUTOMOBILE                      3236   8/1/2022     Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $6,073,730.34 + Unliquidated
        COMPANY
                                                            Total: $6,073,730.34 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4384 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        STATE FARM                                         Other Administrative: $0.00
        MUTUAL                                             Priority: $0.00
30351   AUTOMOBILE      Laredo, LLC    3409   8/1/2022     Secured: $0.00
        INSURANCE                                          General Unsecured: $6,073,730.34 + Unliquidated
        COMPANY
                                                           Total: $6,073,730.34 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STATE NATIONAL                                     Priority: $0.00
30352   INSURANCE      Laredo, LLC     1346   7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $8,767,493.97 + Unliquidated

                                                           Total: $8,767,493.97 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STATE NATIONAL                                     Priority: $0.00
30353   INSURANCE      Laredo, LLC     1361   7/28/2022    Secured: $0.00
        COMPANY, INC.                                      General Unsecured: $4,400,000.00 + Unliquidated

                                                           Total: $4,400,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STATE NATIONAL                                     Priority: $0.00
                       Barney Davis,
30354   INSURANCE                      1403   7/28/2022    Secured: $0.00
                       LLC
        COMPANY, INC.                                      General Unsecured: $4,400,000.00 + Unliquidated

                                                           Total: $4,400,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STATE NATIONAL                                     Priority: $0.00
                       Nueces Bay,
30355   INSURANCE                      1406   7/28/2022    Secured: $0.00
                       LLC
        COMPANY, INC.                                      General Unsecured: $4,400,000.00 + Unliquidated

                                                           Total: $4,400,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STATE NATIONAL                                     Priority: $0.00
                       Nueces Bay,
30356   INSURANCE                      1467   7/29/2022    Secured: $0.00
                       LLC
        COMPANY, INC.                                      General Unsecured: $8,767,493.97 + Unliquidated

                                                           Total: $8,767,493.97 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STATE NATIONAL                                     Priority: $0.00
                       Barney Davis,
30357   INSURANCE                      1811   7/29/2022    Secured: $0.00
                       LLC
        COMPANY, INC.                                      General Unsecured: $8,767,493.97 + Unliquidated

                                                           Total: $8,767,493.97 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4385 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30358   STATON, LISA                   4436    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30359   STATON, LISA   Laredo, LLC     10186   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30360   STATON, LISA                   15933   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30361   STATON, LISA                   21679   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
30362   STATON, LISA                   27427   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        STEADFAST                                           Priority: $0.00
                       Barney Davis,
30363   INSURANCE                      1348    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $53,817,213.31 + Unliquidated

                                                            Total: $53,817,213.31 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4386 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STEADFAST                                         Priority: $0.00
                      Nueces Bay,
30364   INSURANCE                     1393   7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $53,817,213.31 + Unliquidated

                                                          Total: $53,817,213.31 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STEADFAST                                         Priority: $0.00
30365   INSURANCE     Laredo, LLC     1578   7/28/2022    Secured: $0.00
        COMPANY                                           General Unsecured: $53,817,213.31 + Unliquidated

                                                          Total: $53,817,213.31 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STEADFAST                                         Priority: $0.00
30366   INSURANCE     Laredo, LLC     2750   8/1/2022     Secured: $0.00
        COMPANY                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                          Total: $198,152,103.43 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STEADFAST                                         Priority: $0.00
                      Barney Davis,
30367   INSURANCE                     2824   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                          Total: $198,152,103.43 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        STEADFAST                                         Priority: $0.00
                      Nueces Bay,
30368   INSURANCE                     2933   8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $198,152,103.43 + Unliquidated

                                                          Total: $198,152,103.43 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        STEBENSON,    Barney Davis,
30369                                 7540   8/1/2022     Secured: $0.00
        JEROME        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4387 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEBENSON,
30370                    Laredo, LLC     13290   8/1/2022     Secured: $0.00
        JEROME
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEBENSON,       Nueces Bay,
30371                                    19037   8/1/2022     Secured: $0.00
        JEROME           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEBENSON,       Talen Texas
30372                                    24771   8/1/2022     Secured: $0.00
        JEROME           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEBENSON,       Talen Texas,
30373                                    30531   8/1/2022     Secured: $0.00
        JEROME           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30374   STEEVES, KAREN                   5064    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30375   STEEVES, KAREN   Laredo, LLC     10814   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30376   STEEVES, KAREN                   16561   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4388 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30377   STEEVES, KAREN                     22306   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
30378   STEEVES, KAREN                     28055   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
30379   STEFANESCU, CRIS                   6838    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
30380   STEFANESCU, CRIS Laredo, LLC       12588   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
30381   STEFANESCU, CRIS                   18335   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
30382   STEFANESCU, CRIS                   24069   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
30383   STEFANESCU, CRIS                   29829   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4389 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEFFY,           Barney Davis,
30384                                     7940    8/1/2022     Secured: $0.00
        LAWRENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEFFY,
30385                     Laredo, LLC     13690   8/1/2022     Secured: $0.00
        LAWRENCE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEFFY,           Nueces Bay,
30386                                     19437   8/1/2022     Secured: $0.00
        LAWRENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEFFY,           Talen Texas
30387                                     25171   8/1/2022     Secured: $0.00
        LAWRENCE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEFFY,           Talen Texas,
30388                                     30931   8/1/2022     Secured: $0.00
        LAWRENCE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30389   STEIGER, BONITA                   6537    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30390   STEIGER, BONITA Laredo, LLC       12287   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4390 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30391   STEIGER, BONITA                   18034   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30392   STEIGER, BONITA                   23769   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30393   STEIGER, BONITA                   29528   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30394   STEPHENS, GARY                    4197    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30395   STEPHENS, GARY Laredo, LLC        9947    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30396   STEPHENS, GARY                    15694   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30397   STEPHENS, GARY                    21440   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4391 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30398   STEPHENS, GARY                    27188   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30399   STEPHENS, KASIE                   4360    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30400   STEPHENS, KASIE Laredo, LLC       10110   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30401   STEPHENS, KASIE                   15857   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30402   STEPHENS, KASIE                   21603   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30403   STEPHENS, KASIE                   27351   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEPHENS,         Barney Davis,
30404                                     8473    8/1/2022     Secured: $0.00
        RACHEAL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4392 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,
30405                 Laredo, LLC     14223   8/1/2022     Secured: $0.00
        RACHEAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,     Nueces Bay,
30406                                 19970   8/1/2022     Secured: $0.00
        RACHEAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,     Talen Texas
30407                                 25702   8/1/2022     Secured: $0.00
        RACHEAL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,     Talen Texas,
30408                                 31464   8/1/2022     Secured: $0.00
        RACHEAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,     Barney Davis,
30409                                 5705    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,
30410                 Laredo, LLC     11455   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEPHENS,     Nueces Bay,
30411                                 17202   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4393 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS,        Talen Texas
30412                                   22947   8/1/2022     Secured: $0.00
        RICHARD          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS,        Talen Texas,
30413                                   28696   8/1/2022     Secured: $0.00
        RICHARD          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS‐STEEL, Barney Davis,
30414                                   5298    8/1/2022     Secured: $0.00
        SHAUNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS‐STEEL,
30415                   Laredo, LLC     11048   8/1/2022     Secured: $0.00
        SHAUNA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS‐STEEL, Nueces Bay,
30416                                   16795   8/1/2022     Secured: $0.00
        SHAUNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS‐STEEL, Talen Texas
30417                                   22540   8/1/2022     Secured: $0.00
        SHAUNA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEPHENS‐STEEL, Talen Texas,
30418                                   28289   8/1/2022     Secured: $0.00
        SHAUNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4394 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30419   STEPP, MARY                       8171    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30420   STEPP, MARY       Laredo, LLC     13921   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30421   STEPP, MARY                       19668   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30422   STEPP, MARY                       25402   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30423   STEPP, MARY                       31162   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30424   STERLING, COREY                   6825    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30425   STERLING, COREY Laredo, LLC       12575   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4395 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30426   STERLING, COREY                   18322   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30427   STERLING, COREY                   24056   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30428   STERLING, COREY                   29816   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STERLING,         Barney Davis,
30429                                     7708    8/1/2022     Secured: $0.00
        JUANITA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STERLING,
30430                     Laredo, LLC     13458   8/1/2022     Secured: $0.00
        JUANITA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STERLING,         Nueces Bay,
30431                                     19205   8/1/2022     Secured: $0.00
        JUANITA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STERLING,         Talen Texas
30432                                     24939   8/1/2022     Secured: $0.00
        JUANITA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4396 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STERLING,       Talen Texas,
30433                                   30699   8/1/2022     Secured: $0.00
        JUANITA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STERNADEL,      Barney Davis,
30434                                   7490    8/1/2022     Secured: $0.00
        JASON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STERNADEL,
30435                   Laredo, LLC     13240   8/1/2022     Secured: $0.00
        JASON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STERNADEL,      Nueces Bay,
30436                                   18987   8/1/2022     Secured: $0.00
        JASON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STERNADEL,      Talen Texas
30437                                   24721   8/1/2022     Secured: $0.00
        JASON           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STERNADEL,      Talen Texas,
30438                                   30481   8/1/2022     Secured: $0.00
        JASON           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        STEVEN RADCLIFF,
                                                             Other Administrative: $0.00
        INDIVIDUALLY,
                                                             Priority: $0.00
        AND AS HEIR OF Barney Davis,
30439                                   5409    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                             General Unsecured: $0.00 + Unliquidated
        LEEDA GAIL
        RADCLIFF
                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4397 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
        STEVEN RADCLIFF,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF
30440                    Laredo, LLC      11159   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                               General Unsecured: $0.00 + Unliquidated
        LEEDA GAIL
        RADCLIFF
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        STEVEN RADCLIFF,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF Nueces Bay,
30441                                     16906   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                               General Unsecured: $0.00 + Unliquidated
        LEEDA GAIL
        RADCLIFF
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        STEVEN RADCLIFF,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF Talen Texas
30442                                     22651   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated
        LEEDA GAIL
        RADCLIFF
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
        STEVEN RADCLIFF,
                                                               Other Administrative: $0.00
        INDIVIDUALLY,
                                                               Priority: $0.00
        AND AS HEIR OF Talen Texas,
30443                                     28400   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                               General Unsecured: $0.00 + Unliquidated
        LEEDA GAIL
        RADCLIFF
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30444   STEVEN, CRYSTAL                   6848    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30445   STEVEN, CRYSTAL Laredo, LLC       12598   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30446   STEVEN, CRYSTAL                   18345   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4398 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30447   STEVEN, CRYSTAL                   24079   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30448   STEVEN, CRYSTAL                   29839   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENS,          Barney Davis,
30449                                     4270    8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENS,
30450                     Laredo, LLC     10020   8/1/2022     Secured: $0.00
        JENNIFER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENS,          Nueces Bay,
30451                                     15767   8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENS,          Talen Texas
30452                                     21513   8/1/2022     Secured: $0.00
        JENNIFER          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENS,          Talen Texas,
30453                                     27261   8/1/2022     Secured: $0.00
        JENNIFER          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4399 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30454   STEVENS, KATHY                   4366    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30455   STEVENS, KATHY   Laredo, LLC     10116   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30456   STEVENS, KATHY                   15863   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30457   STEVENS, KATHY                   21609   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30458   STEVENS, KATHY                   27357   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEVENS,         Barney Davis,
30459                                    7780    8/1/2022     Secured: $0.00
        KATISHA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEVENS,
30460                    Laredo, LLC     13530   8/1/2022     Secured: $0.00
        KATISHA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4400 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENS,       Nueces Bay,
30461                                  19277   8/1/2022     Secured: $0.00
        KATISHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENS,       Talen Texas
30462                                  25011   8/1/2022     Secured: $0.00
        KATISHA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENS,       Talen Texas,
30463                                  30771   8/1/2022     Secured: $0.00
        KATISHA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30464   STEVENS, LES                   5702    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30465   STEVENS, LES   Laredo, LLC     11452   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30466   STEVENS, LES                   17199   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30467   STEVENS, LES                   22944   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4401 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
30468   STEVENS, LES                   28693   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENSON,     Barney Davis,
30469                                  3684    8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENSON,
30470                  Laredo, LLC     9434    8/1/2022     Secured: $0.00
        KENNETH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENSON,     Nueces Bay,
30471                                  15181   8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENSON,     Talen Texas
30472                                  20928   8/1/2022     Secured: $0.00
        KENNETH        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENSON,     Talen Texas,
30473                                  26675   8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STEVENSON,     Barney Davis,
30474                                  8191    8/1/2022     Secured: $0.00
        MEGHAN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4402 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENSON,
30475                     Laredo, LLC     13941   8/1/2022     Secured: $0.00
        MEGHAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENSON,        Nueces Bay,
30476                                     19688   8/1/2022     Secured: $0.00
        MEGHAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENSON,        Talen Texas
30477                                     25422   8/1/2022     Secured: $0.00
        MEGHAN            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEVENSON,        Talen Texas,
30478                                     31182   8/1/2022     Secured: $0.00
        MEGHAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30479   STEWARD, CEDRIC                   6081    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30480   STEWARD, CEDRIC Laredo, LLC       11831   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30481   STEWARD, CEDRIC                   17578   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4403 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30482   STEWARD, CEDRIC                   23323   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30483   STEWARD, CEDRIC                   29072   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30484   STEWART, ALISHA                   6342    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30485   STEWART, ALISHA Laredo, LLC       12092   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30486   STEWART, ALISHA                   17839   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30487   STEWART, ALISHA                   23574   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30488   STEWART, ALISHA                   29333   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4404 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,      Barney Davis,
30489                                 6434    8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,
30490                 Laredo, LLC     12184   8/1/2022     Secured: $0.00
        ANTOINETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,      Nueces Bay,
30491                                 17931   8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,      Talen Texas
30492                                 23666   8/1/2022     Secured: $0.00
        ANTOINETTE    Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,      Talen Texas,
30493                                 29425   8/1/2022     Secured: $0.00
        ANTOINETTE    LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,      Barney Davis,
30494                                 4857    8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STEWART,
30495                 Laredo, LLC     10607   8/1/2022     Secured: $0.00
        BEVERLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4405 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Nueces Bay,
30496                                    16354   8/1/2022     Secured: $0.00
        BEVERLY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Talen Texas
30497                                    22100   8/1/2022     Secured: $0.00
        BEVERLY          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Talen Texas,
30498                                    27848   8/1/2022     Secured: $0.00
        BEVERLY          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30499   STEWART, DEBRA                   4934    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30500   STEWART, DEBRA Laredo, LLC       10684   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30501   STEWART, DEBRA                   16431   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30502   STEWART, DEBRA                   22176   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4406 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30503   STEWART, DEBRA                    27925   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Barney Davis,
30504                                     6991    8/1/2022     Secured: $0.00
        DEMOND            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,
30505                     Laredo, LLC     12741   8/1/2022     Secured: $0.00
        DEMOND
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Nueces Bay,
30506                                     18488   8/1/2022     Secured: $0.00
        DEMOND            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Talen Texas
30507                                     24222   8/1/2022     Secured: $0.00
        DEMOND            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Talen Texas,
30508                                     29982   8/1/2022     Secured: $0.00
        DEMOND            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30509   STEWART, DUSTIN                   7114    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4407 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30510   STEWART, DUSTIN Laredo, LLC       12864   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30511   STEWART, DUSTIN                   18611   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30512   STEWART, DUSTIN                   24345   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30513   STEWART, DUSTIN                   30105   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30514   STEWART, JAMES Laredo, LLC        33207   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30515   STEWART, JAMES                    34198   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30516   STEWART, JAMES                    35189   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4408 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30517   STEWART, JAMES                   36180   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30518   STEWART, JAMES                   37169   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Barney Davis,
30519                                    4263    8/1/2022     Secured: $0.00
        JEANNE H         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,
30520                    Laredo, LLC     10013   8/1/2022     Secured: $0.00
        JEANNE H
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Nueces Bay,
30521                                    15760   8/1/2022     Secured: $0.00
        JEANNE H         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Talen Texas
30522                                    21506   8/1/2022     Secured: $0.00
        JEANNE H         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Talen Texas,
30523                                    27254   8/1/2022     Secured: $0.00
        JEANNE H         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4409 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Barney Davis,
30524                                   7513    8/1/2022     Secured: $0.00
        JENIFER         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,
30525                   Laredo, LLC     13263   8/1/2022     Secured: $0.00
        JENIFER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Nueces Bay,
30526                                   19010   8/1/2022     Secured: $0.00
        JENIFER         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Talen Texas
30527                                   24744   8/1/2022     Secured: $0.00
        JENIFER         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Talen Texas,
30528                                   30504   8/1/2022     Secured: $0.00
        JENIFER         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30529   STEWART, MARY                   8172    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30530   STEWART, MARY Laredo, LLC       13922   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4410 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30531   STEWART, MARY                   19669   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30532   STEWART, MARY                   25403   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30533   STEWART, MARY                   31163   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Barney Davis,
30534                                   6003    8/1/2022     Secured: $0.00
        MELISSA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,
30535                   Laredo, LLC     11753   8/1/2022     Secured: $0.00
        MELISSA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Nueces Bay,
30536                                   17500   8/1/2022     Secured: $0.00
        MELISSA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STEWART,        Talen Texas
30537                                   23245   8/1/2022     Secured: $0.00
        MELISSA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4411 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Talen Texas,
30538                                    28994   8/1/2022     Secured: $0.00
        MELISSA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30539   STEWART, SARAH                   5480    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30540   STEWART, SARAH Laredo, LLC       11230   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30541   STEWART, SARAH                   16977   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30542   STEWART, SARAH                   22722   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30543   STEWART, SARAH                   28471   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STEWART,         Barney Davis,
30544                                    4750    8/1/2022     Secured: $0.00
        TOMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4412 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,
30545                     Laredo, LLC     10500   8/1/2022     Secured: $0.00
        TOMMY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Nueces Bay,
30546                                     16247   8/1/2022     Secured: $0.00
        TOMMY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Talen Texas
30547                                     21993   8/1/2022     Secured: $0.00
        TOMMY             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        STEWART,          Talen Texas,
30548                                     27741   8/1/2022     Secured: $0.00
        TOMMY             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30549   STILES, JEFFERY                   4264    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30550   STILES, JEFFERY   Laredo, LLC     10014   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30551   STILES, JEFFERY                   15761   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4413 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30552   STILES, JEFFERY                   21507   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30553   STILES, JEFFERY                   27255   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30554   STILL, AMANDA                     6357    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30555   STILL, AMANDA     Laredo, LLC     12107   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30556   STILL, AMANDA                     17854   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30557   STILL, AMANDA                     23589   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30558   STILL, AMANDA                     29348   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4414 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STILLMAN,
30559                 Laredo, LLC     33208   8/1/2022     Secured: $0.00
        ROBERT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STILLMAN,     Barney Davis,
30560                                 34199   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STILLMAN,     Nueces Bay,
30561                                 35190   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STILLMAN,     Talen Texas
30562                                 36181   8/1/2022     Secured: $0.00
        ROBERT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STILLMAN,     Talen Texas,
30563                                 37170   8/1/2022     Secured: $0.00
        ROBERT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STILLWATER                                         Priority: $0.00
                      Nueces Bay,
30564   INSURANCE                     2738    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $4,368,589.49 + Unliquidated

                                                           Total: $4,368,589.49 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        STILLWATER                                         Priority: $0.00
                      Barney Davis,
30565   INSURANCE                     2779    7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $4,368,589.49 + Unliquidated

                                                           Total: $4,368,589.49 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4415 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        STILLWATER                                            Priority: $0.00
30566   INSURANCE        Laredo, LLC     2826    7/31/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $4,368,589.49 + Unliquidated

                                                              Total: $4,368,589.49 + Unliquidated
                                                              503(b)(9): $0.00
        STILLWATER                                            Other Administrative: $0.00
        PROPERTY AND                                          Priority: $0.00
30567   CASUALTY         Laredo, LLC     2740    8/1/2022     Secured: $0.00
        INSURANCE                                             General Unsecured: $83,546.96 + Unliquidated
        COMPANY
                                                              Total: $83,546.96 + Unliquidated
                                                              503(b)(9): $0.00
        STILLWATER                                            Other Administrative: $0.00
        PROPERTY AND                                          Priority: $0.00
                         Nueces Bay,
30568   CASUALTY                         2741    8/1/2022     Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $83,546.96 + Unliquidated
        COMPANY
                                                              Total: $83,546.96 + Unliquidated
                                                              503(b)(9): $0.00
        STILLWATER                                            Other Administrative: $0.00
        PROPERTY AND                                          Priority: $0.00
                         Barney Davis,
30569   CASUALTY                         2787    7/31/2022    Secured: $0.00
                         LLC
        INSURANCE                                             General Unsecured: $83,546.96 + Unliquidated
        COMPANY
                                                              Total: $83,546.96 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30570   STIVER, VICTOR                   9115    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30571   STIVER, VICTOR   Laredo, LLC     14865   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30572   STIVER, VICTOR                   20612   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4416 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30573   STIVER, VICTOR                   26344   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30574   STIVER, VICTOR                   32106   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30575   STOCK, AMY                       6369    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30576   STOCK, AMY       Laredo, LLC     12119   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30577   STOCK, AMY                       17866   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30578   STOCK, AMY                       23601   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30579   STOCK, AMY                       29360   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4417 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30580   STOKES, JANET   Laredo, LLC     33209   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30581   STOKES, JANET                   34200   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30582   STOKES, JANET                   35191   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30583   STOKES, JANET                   36182   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30584   STOKES, JANET                   37171   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STOKES,         Barney Davis,
30585                                   5470    8/1/2022     Secured: $0.00
        MADALYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STOKES,
30586                   Laredo, LLC     11220   8/1/2022     Secured: $0.00
        MADALYN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4418 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STOKES,         Nueces Bay,
30587                                   16967   8/1/2022     Secured: $0.00
        MADALYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STOKES,         Talen Texas
30588                                   22712   8/1/2022     Secured: $0.00
        MADALYN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STOKES,         Talen Texas,
30589                                   28461   8/1/2022     Secured: $0.00
        MADALYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30590   STOKES, SANDY   Laredo, LLC     33210   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30591   STOKES, SANDY                   34201   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30592   STOKES, SANDY                   35192   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30593   STOKES, SANDY                   36183   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4419 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30594   STOKES, SANDY                   37172   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30595   STONE, JAMES                    4249    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30596   STONE, JAMES    Laredo, LLC     9999    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30597   STONE, JAMES                    15746   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30598   STONE, JAMES                    21492   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30599   STONE, JAMES                    27240   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30600   STONE, JANIE    Laredo, LLC     33211   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4420 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30601   STONE, JANIE                    34202   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30602   STONE, JANIE                    35193   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30603   STONE, JANIE                    36184   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30604   STONE, JANIE                    37173   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30605   STONE, ROBBIE                   5858    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30606   STONE, ROBBIE   Laredo, LLC     11608   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30607   STONE, ROBBIE                   17355   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4421 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30608   STONE, ROBBIE                   23100   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30609   STONE, ROBBIE                   28849   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STONEBRAKER,    Barney Davis,
30610                                   8715    8/1/2022     Secured: $0.00
        RYAN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STONEBRAKER,
30611                   Laredo, LLC     14465   8/1/2022     Secured: $0.00
        RYAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STONEBRAKER,    Nueces Bay,
30612                                   20212   8/1/2022     Secured: $0.00
        RYAN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STONEBRAKER,    Talen Texas
30613                                   25944   8/1/2022     Secured: $0.00
        RYAN            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STONEBRAKER,    Talen Texas,
30614                                   31706   8/1/2022     Secured: $0.00
        RYAN            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4422 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30615   STONER, RICKY                    4615    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30616   STONER, RICKY    Laredo, LLC     10365   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30617   STONER, RICKY                    16112   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30618   STONER, RICKY                    21858   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30619   STONER, RICKY                    27606   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30620   STOOPS, ROBERT                   8617    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30621   STOOPS, ROBERT Laredo, LLC       14367   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4423 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30622   STOOPS, ROBERT                   20114   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30623   STOOPS, ROBERT                   25846   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30624   STOOPS, ROBERT                   31608   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30625   STORY, KENNETH                   7817    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30626   STORY, KENNETH Laredo, LLC       13567   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30627   STORY, KENNETH                   19314   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30628   STORY, KENNETH                   25048   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4424 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30629   STORY, KENNETH                   30808   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30630   STOTT, KENYON                    5429    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30631   STOTT, KENYON    Laredo, LLC     11179   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30632   STOTT, KENYON                    16926   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30633   STOTT, KENYON                    22671   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30634   STOTT, KENYON                    28420   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30635   STOUT, ROBERT                    4630    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4425 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30636   STOUT, ROBERT     Laredo, LLC     10380   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30637   STOUT, ROBERT                     16127   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30638   STOUT, ROBERT                     21873   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30639   STOUT, ROBERT                     27621   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30640   STOVALL, SHAYLA Laredo, LLC       33212   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30641   STOVALL, SHAYLA                   34203   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30642   STOVALL, SHAYLA                   35194   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4426 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30643   STOVALL, SHAYLA                   36185   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30644   STOVALL, SHAYLA                   37174   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30645   STOVALL, ZACK                     9192    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30646   STOVALL, ZACK     Laredo, LLC     14942   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30647   STOVALL, ZACK                     20689   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30648   STOVALL, ZACK                     26421   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30649   STOVALL, ZACK                     32183   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4427 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30650   STOWERS, ANDRE                   6377    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30651   STOWERS, ANDRE Laredo, LLC       12127   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30652   STOWERS, ANDRE                   17874   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30653   STOWERS, ANDRE                   23609   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30654   STOWERS, ANDRE                   29368   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAIN,          Barney Davis,
30655                                    5219    8/1/2022     Secured: $0.00
        RAMANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAIN,
30656                    Laredo, LLC     10969   8/1/2022     Secured: $0.00
        RAMANDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4428 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRAIN,       Nueces Bay,
30657                                 16716   8/1/2022     Secured: $0.00
        RAMANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRAIN,       Talen Texas
30658                                 22461   8/1/2022     Secured: $0.00
        RAMANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRAIN,       Talen Texas,
30659                                 28210   8/1/2022     Secured: $0.00
        RAMANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRANGE,      Barney Davis,
30660                                 8045    8/1/2022     Secured: $0.00
        MADELINE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRANGE,
30661                 Laredo, LLC     13795   8/1/2022     Secured: $0.00
        MADELINE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRANGE,      Nueces Bay,
30662                                 19542   8/1/2022     Secured: $0.00
        MADELINE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRANGE,      Talen Texas
30663                                 25276   8/1/2022     Secured: $0.00
        MADELINE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4429 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRANGE,         Talen Texas,
30664                                    31036   8/1/2022     Secured: $0.00
        MADELINE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAUGHTER,      Barney Davis,
30665                                    6319    8/1/2022     Secured: $0.00
        ALEX             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAUGHTER,
30666                    Laredo, LLC     12069   8/1/2022     Secured: $0.00
        ALEX
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAUGHTER,      Nueces Bay,
30667                                    17816   8/1/2022     Secured: $0.00
        ALEX             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAUGHTER,      Talen Texas
30668                                    23551   8/1/2022     Secured: $0.00
        ALEX             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRAUGHTER,      Talen Texas,
30669                                    29310   8/1/2022     Secured: $0.00
        ALEX             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30670   STRAUSS, DEANE                   6951    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4430 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30671   STRAUSS, DEANE Laredo, LLC       12701   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30672   STRAUSS, DEANE                   18448   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30673   STRAUSS, DEANE                   24182   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30674   STRAUSS, DEANE                   29942   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30675   STRELOW, LINDA                   7987    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30676   STRELOW, LINDA Laredo, LLC       13737   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30677   STRELOW, LINDA                   19484   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4431 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30678   STRELOW, LINDA                    25218   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30679   STRELOW, LINDA                    30978   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30680   STRETZ, CHARLES                   6706    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30681   STRETZ, CHARLES Laredo, LLC       12456   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30682   STRETZ, CHARLES                   18203   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30683   STRETZ, CHARLES                   23937   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30684   STRETZ, CHARLES                   29697   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4432 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRIBLING,     Barney Davis,
30685                                  7767    8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRIBLING,
30686                  Laredo, LLC     13517   8/1/2022     Secured: $0.00
        KATHLEEN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRIBLING,     Nueces Bay,
30687                                  19264   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRIBLING,     Talen Texas
30688                                  24998   8/1/2022     Secured: $0.00
        KATHLEEN       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRIBLING,     Talen Texas,
30689                                  30758   8/1/2022     Secured: $0.00
        KATHLEEN       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRICKLAND,    Barney Davis,
30690                                  7694    8/1/2022     Secured: $0.00
        JOYCE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STRICKLAND,
30691                  Laredo, LLC     13444   8/1/2022     Secured: $0.00
        JOYCE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4433 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,   Nueces Bay,
30692                                 19191   8/1/2022     Secured: $0.00
        JOYCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,   Talen Texas
30693                                 24925   8/1/2022     Secured: $0.00
        JOYCE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,   Talen Texas,
30694                                 30685   8/1/2022     Secured: $0.00
        JOYCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,   Barney Davis,
30695                                 5629    8/1/2022     Secured: $0.00
        MIRANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,
30696                 Laredo, LLC     11379   8/1/2022     Secured: $0.00
        MIRANDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,   Nueces Bay,
30697                                 17126   8/1/2022     Secured: $0.00
        MIRANDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRICKLAND,   Talen Texas
30698                                 22871   8/1/2022     Secured: $0.00
        MIRANDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4434 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRICKLAND,      Talen Texas,
30699                                    28620   8/1/2022     Secured: $0.00
        MIRANDA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30700   STROM, BEVERLY                   6517    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30701   STROM, BEVERLY Laredo, LLC       12267   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30702   STROM, BEVERLY                   18014   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30703   STROM, BEVERLY                   23749   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30704   STROM, BEVERLY                   29508   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRONG,          Barney Davis,
30705                                    4816    8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4435 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,
30706                 Laredo, LLC     10566   8/1/2022     Secured: $0.00
        ANDREW
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,       Nueces Bay,
30707                                 16313   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,       Talen Texas
30708                                 22059   8/1/2022     Secured: $0.00
        ANDREW        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,       Talen Texas,
30709                                 27807   8/1/2022     Secured: $0.00
        ANDREW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,       Barney Davis,
30710                                 3781    8/1/2022     Secured: $0.00
        SHIROLYN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,
30711                 Laredo, LLC     9531    8/1/2022     Secured: $0.00
        SHIROLYN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        STRONG,       Nueces Bay,
30712                                 15278   8/1/2022     Secured: $0.00
        SHIROLYN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4436 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRONG,          Talen Texas
30713                                    21025   8/1/2022     Secured: $0.00
        SHIROLYN         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        STRONG,          Talen Texas,
30714                                    26772   8/1/2022     Secured: $0.00
        SHIROLYN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30715   STROUTH, MARIE                   5129    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30716   STROUTH, MARIE Laredo, LLC       10879   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30717   STROUTH, MARIE                   16626   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30718   STROUTH, MARIE                   22371   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30719   STROUTH, MARIE                   28120   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4437 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30720   STUART, PAUL                    8419    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30721   STUART, PAUL    Laredo, LLC     14169   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30722   STUART, PAUL                    19916   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30723   STUART, PAUL                    25649   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30724   STUART, PAUL                    31410   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Barney Davis,
30725                                   4886    8/1/2022     Secured: $0.00
        CECIL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,
30726                   Laredo, LLC     10636   8/1/2022     Secured: $0.00
        CECIL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4438 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Nueces Bay,
30727                                   16383   8/1/2022     Secured: $0.00
        CECIL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Talen Texas
30728                                   22128   8/1/2022     Secured: $0.00
        CECIL           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Talen Texas,
30729                                   27877   8/1/2022     Secured: $0.00
        CECIL           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Barney Davis,
30730                                   8102    8/1/2022     Secured: $0.00
        MARILYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,
30731                   Laredo, LLC     13852   8/1/2022     Secured: $0.00
        MARILYN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Nueces Bay,
30732                                   19599   8/1/2022     Secured: $0.00
        MARILYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Talen Texas
30733                                   25333   8/1/2022     Secured: $0.00
        MARILYN         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4439 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STUBBLEFIELD,   Talen Texas,
30734                                   31093   8/1/2022     Secured: $0.00
        MARILYN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30735   STUBBS, KYLE                    7887    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30736   STUBBS, KYLE    Laredo, LLC     13637   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30737   STUBBS, KYLE                    19384   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30738   STUBBS, KYLE                    25118   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30739   STUBBS, KYLE                    30878   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        STURGEON,       Barney Davis,
30740                                   7213    8/1/2022     Secured: $0.00
        EVANGELIE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4440 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STURGEON,
30741                  Laredo, LLC     12963   8/1/2022     Secured: $0.00
        EVANGELIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STURGEON,      Nueces Bay,
30742                                  18710   8/1/2022     Secured: $0.00
        EVANGELIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STURGEON,      Talen Texas
30743                                  24444   8/1/2022     Secured: $0.00
        EVANGELIE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        STURGEON,      Talen Texas,
30744                                  30204   8/1/2022     Secured: $0.00
        EVANGELIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUBLETTE,      Barney Davis,
30745                                  3760    8/1/2022     Secured: $0.00
        BRITTNEY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUBLETTE,
30746                  Laredo, LLC     9510    8/1/2022     Secured: $0.00
        BRITTNEY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUBLETTE,      Nueces Bay,
30747                                  15257   8/1/2022     Secured: $0.00
        BRITTNEY       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4441 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUBLETTE,       Talen Texas
30748                                   21004   8/1/2022     Secured: $0.00
        BRITTNEY        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUBLETTE,       Talen Texas,
30749                                   26751   8/1/2022     Secured: $0.00
        BRITTNEY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30750   SUGGS, ULANDA                   9087    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30751   SUGGS, ULANDA   Laredo, LLC     14837   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30752   SUGGS, ULANDA                   20584   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30753   SUGGS, ULANDA                   26316   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30754   SUGGS, ULANDA                   32078   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4442 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Barney Davis,
30755                                  9264    8/1/2022     Secured: $0.00
        JEANNE L       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,
30756                  Laredo, LLC     15014   8/1/2022     Secured: $0.00
        JEANNE L
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Nueces Bay,
30757                                  20761   8/1/2022     Secured: $0.00
        JEANNE L       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Talen Texas
30758                                  26493   8/1/2022     Secured: $0.00
        JEANNE L       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Talen Texas,
30759                                  32255   8/1/2022     Secured: $0.00
        JEANNE L       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Barney Davis,
30760                                  5289    8/1/2022     Secured: $0.00
        SHAMICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,
30761                  Laredo, LLC     11039   8/1/2022     Secured: $0.00
        SHAMICA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4443 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Nueces Bay,
30762                                  16786   8/1/2022     Secured: $0.00
        SHAMICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Talen Texas
30763                                  22531   8/1/2022     Secured: $0.00
        SHAMICA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SULLIVAN,      Talen Texas,
30764                                  28280   8/1/2022     Secured: $0.00
        SHAMICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUMMERS,       Barney Davis,
30765                                  8801    8/1/2022     Secured: $0.00
        SHARON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUMMERS,
30766                  Laredo, LLC     14551   8/1/2022     Secured: $0.00
        SHARON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUMMERS,       Nueces Bay,
30767                                  20298   8/1/2022     Secured: $0.00
        SHARON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SUMMERS,       Talen Texas
30768                                  26030   8/1/2022     Secured: $0.00
        SHARON         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4444 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SUMMERS,          Talen Texas,
30769                                     31792   8/1/2022     Secured: $0.00
        SHARON            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30770   SUNIGA, BELINDA Laredo, LLC       33213   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30771   SUNIGA, BELINDA                   34204   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30772   SUNIGA, BELINDA                   35195   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30773   SUNIGA, BELINDA                   36186   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30774   SUNIGA, BELINDA                   37175   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30775   SUNSTRUM, AMY                     6370    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4445 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30776   SUNSTRUM, AMY Laredo, LLC       12120   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30777   SUNSTRUM, AMY                   17867   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30778   SUNSTRUM, AMY                   23602   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30779   SUNSTRUM, AMY                   29361   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUTTERFIELD,    Barney Davis,
30780                                   8942    8/1/2022     Secured: $0.00
        TAMZINNA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUTTERFIELD,
30781                   Laredo, LLC     14692   8/1/2022     Secured: $0.00
        TAMZINNA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUTTERFIELD,    Nueces Bay,
30782                                   20439   8/1/2022     Secured: $0.00
        TAMZINNA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4446 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SUTTERFIELD,      Talen Texas
30783                                     26171   8/1/2022     Secured: $0.00
        TAMZINNA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SUTTERFIELD,      Talen Texas,
30784                                     31933   8/1/2022     Secured: $0.00
        TAMZINNA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30785   SUTTON, CYNTHIA                   4914    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30786   SUTTON, CYNTHIA Laredo, LLC       10664   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30787   SUTTON, CYNTHIA                   16411   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30788   SUTTON, CYNTHIA                   22156   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30789   SUTTON, CYNTHIA                   27905   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4447 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30790   SUTTON, KAITLYN                   7733    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30791   SUTTON, KAITLYN Laredo, LLC       13483   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30792   SUTTON, KAITLYN                   19230   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30793   SUTTON, KAITLYN                   24964   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30794   SUTTON, KAITLYN                   30724   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SUTTON,           Barney Davis,
30795                                     8810    8/1/2022     Secured: $0.00
        SHAWNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        SUTTON,
30796                     Laredo, LLC     14560   8/1/2022     Secured: $0.00
        SHAWNA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4448 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUTTON,         Nueces Bay,
30797                                   20307   8/1/2022     Secured: $0.00
        SHAWNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUTTON,         Talen Texas
30798                                   26039   8/1/2022     Secured: $0.00
        SHAWNA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SUTTON,         Talen Texas,
30799                                   31801   8/1/2022     Secured: $0.00
        SHAWNA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30800   SWAIN, GORDON                   4210    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30801   SWAIN, GORDON Laredo, LLC       9960    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30802   SWAIN, GORDON                   15707   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30803   SWAIN, GORDON                   21453   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4449 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30804   SWAIN, GORDON                   27201   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWANN,          Barney Davis,
30805                                   7646    8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWANN,
30806                   Laredo, LLC     13396   8/1/2022     Secured: $0.00
        JONATHAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWANN,          Nueces Bay,
30807                                   19143   8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWANN,          Talen Texas
30808                                   24877   8/1/2022     Secured: $0.00
        JONATHAN        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWANN,          Talen Texas,
30809                                   30637   8/1/2022     Secured: $0.00
        JONATHAN        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
30810   SWANSON, MARK                   8126    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4450 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
30811   SWANSON, MARK Laredo, LLC       13876   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
30812   SWANSON, MARK                   19623   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30813   SWANSON, MARK                   25357   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30814   SWANSON, MARK                   31117   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWARTZ,         Barney Davis,
30815                                   9280    8/1/2022     Secured: $0.00
        LAUREEN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWARTZ,
30816                   Laredo, LLC     15030   8/1/2022     Secured: $0.00
        LAUREEN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWARTZ,         Nueces Bay,
30817                                   20777   8/1/2022     Secured: $0.00
        LAUREEN         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4451 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWARTZ,       Talen Texas
30818                                 26509   8/1/2022     Secured: $0.00
        LAUREEN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWARTZ,       Talen Texas,
30819                                 32271   8/1/2022     Secured: $0.00
        LAUREEN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWEARINGIN,   Barney Davis,
30820                                 7629    8/1/2022     Secured: $0.00
        JOHN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWEARINGIN,
30821                 Laredo, LLC     13379   8/1/2022     Secured: $0.00
        JOHN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWEARINGIN,   Nueces Bay,
30822                                 19126   8/1/2022     Secured: $0.00
        JOHN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWEARINGIN,   Talen Texas
30823                                 24860   8/1/2022     Secured: $0.00
        JOHN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWEARINGIN,   Talen Texas,
30824                                 30620   8/1/2022     Secured: $0.00
        JOHN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4452 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30825   SWEET, LISA                    8006    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30826   SWEET, LISA    Laredo, LLC     13756   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30827   SWEET, LISA                    19503   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30828   SWEET, LISA                    25237   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
30829   SWEET, LISA                    30997   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWICEGOOD,     Barney Davis,
30830                                  6268    8/1/2022     Secured: $0.00
        TODD           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWICEGOOD,
30831                  Laredo, LLC     12018   8/1/2022     Secured: $0.00
        TODD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4453 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWICEGOOD,    Nueces Bay,
30832                                 17765   8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWICEGOOD,    Talen Texas
30833                                 23500   8/1/2022     Secured: $0.00
        TODD          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWICEGOOD,    Talen Texas,
30834                                 29259   8/1/2022     Secured: $0.00
        TODD          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWIENTEK,
30835                 Laredo, LLC     33214   8/1/2022     Secured: $0.00
        EUGENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWIENTEK,     Barney Davis,
30836                                 34205   8/1/2022     Secured: $0.00
        EUGENE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWIENTEK,     Nueces Bay,
30837                                 35196   8/1/2022     Secured: $0.00
        EUGENE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWIENTEK,     Talen Texas
30838                                 36187   8/1/2022     Secured: $0.00
        EUGENE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4454 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWIENTEK,     Talen Texas,
30839                                 37176   8/1/2022     Secured: $0.00
        EUGENE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWINDLE,      Barney Davis,
30840                                 6023    8/1/2022     Secured: $0.00
        STANLEY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWINDLE,
30841                 Laredo, LLC     11773   8/1/2022     Secured: $0.00
        STANLEY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWINDLE,      Nueces Bay,
30842                                 17520   8/1/2022     Secured: $0.00
        STANLEY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWINDLE,      Talen Texas
30843                                 23265   8/1/2022     Secured: $0.00
        STANLEY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWINDLE,      Talen Texas,
30844                                 29014   8/1/2022     Secured: $0.00
        STANLEY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        SWISHER,      Barney Davis,
30845                                 8184    8/1/2022     Secured: $0.00
        MATTHEW       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4455 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWISHER,
30846                   Laredo, LLC     13934   8/1/2022     Secured: $0.00
        MATTHEW
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWISHER,        Nueces Bay,
30847                                   19681   8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWISHER,        Talen Texas
30848                                   25415   8/1/2022     Secured: $0.00
        MATTHEW         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        SWISHER,        Talen Texas,
30849                                   31175   8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SWISS RE                                             Priority: $0.00
30850   INTERNATIONAL   Laredo, LLC     2906    8/1/2022     Secured: $0.00
        SE                                                   General Unsecured: $2,060,119.02 + Unliquidated

                                                             Total: $2,060,119.02 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SWISS RE                                             Priority: $0.00
                        Barney Davis,
30851   INTERNATIONAL                   3120    8/1/2022     Secured: $0.00
                        LLC
        SE                                                   General Unsecured: $2,060,119.02 + Unliquidated

                                                             Total: $2,060,119.02 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        SWISS RE                                             Priority: $0.00
                        Nueces Bay,
30852   INTERNATIONAL                   3142    8/1/2022     Secured: $0.00
                        LLC
        SE                                                   General Unsecured: $2,060,119.00 + Unliquidated

                                                             Total: $2,060,119.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4456 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWONKE,        Barney Davis,
30853                                  8210    8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWONKE,
30854                  Laredo, LLC     13960   8/1/2022     Secured: $0.00
        MELISSA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWONKE,        Nueces Bay,
30855                                  19707   8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWONKE,        Talen Texas
30856                                  25441   8/1/2022     Secured: $0.00
        MELISSA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        SWONKE,        Talen Texas,
30857                                  31201   8/1/2022     Secured: $0.00
        MELISSA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30858   SYERS, LINDA                   7988    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30859   SYERS, LINDA   Laredo, LLC     13738   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4457 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30860   SYERS, LINDA                     19485   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30861   SYERS, LINDA                     25219   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30862   SYERS, LINDA                     30979   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30863   SYKES, KIMBLEE                   7856    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30864   SYKES, KIMBLEE   Laredo, LLC     13606   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30865   SYKES, KIMBLEE                   19353   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30866   SYKES, KIMBLEE                   25087   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4458 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30867   SYKES, KIMBLEE                   30847   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30868   SYKES, MARY                      8173    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30869   SYKES, MARY      Laredo, LLC     13923   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30870   SYKES, MARY                      19670   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30871   SYKES, MARY                      25404   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30872   SYKES, MARY                      31164   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SYLVIA PEREZ AS
                                                              Priority: $0.00
        HEIR OF THE     Barney Davis,
30873                                    5416    8/1/2022     Secured: $0.00
        ESTATE OF ANNA LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARIA DAVILA
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4459 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SYLVIA PEREZ AS
                                                              Priority: $0.00
        HEIR OF THE
30874                   Laredo, LLC      11166   8/1/2022     Secured: $0.00
        ESTATE OF ANNA
                                                              General Unsecured: $0.00 + Unliquidated
        MARIA DAVILA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SYLVIA PEREZ AS
                                                              Priority: $0.00
        HEIR OF THE     Nueces Bay,
30875                                    16913   8/1/2022     Secured: $0.00
        ESTATE OF ANNA LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARIA DAVILA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SYLVIA PEREZ AS
                                                              Priority: $0.00
        HEIR OF THE     Talen Texas
30876                                    22658   8/1/2022     Secured: $0.00
        ESTATE OF ANNA Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARIA DAVILA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        SYLVIA PEREZ AS
                                                              Priority: $0.00
        HEIR OF THE     Talen Texas,
30877                                    28407   8/1/2022     Secured: $0.00
        ESTATE OF ANNA LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARIA DAVILA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30878   SYMCHYCH, PAT                    5849    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30879   SYMCHYCH, PAT    Laredo, LLC     11599   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30880   SYMCHYCH, PAT                    17346   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4460 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
30881   SYMCHYCH, PAT                   23091   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
30882   SYMCHYCH, PAT                   28840   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TABALON,        Barney Davis,
30883                                   6646    8/1/2022     Secured: $0.00
        CARLOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TABALON,
30884                   Laredo, LLC     12396   8/1/2022     Secured: $0.00
        CARLOS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TABALON,        Nueces Bay,
30885                                   18143   8/1/2022     Secured: $0.00
        CARLOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TABALON,        Talen Texas
30886                                   23877   8/1/2022     Secured: $0.00
        CARLOS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TABALON,        Talen Texas,
30887                                   29637   8/1/2022     Secured: $0.00
        CARLOS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4461 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30888   TABER, DANNY                   4084    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30889   TABER, DANNY   Laredo, LLC     9834    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30890   TABER, DANNY                   15581   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30891   TABER, DANNY                   21327   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
30892   TABER, DANNY                   27075   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TACHAIS,       Barney Davis,
30893                                  3702    8/1/2022     Secured: $0.00
        ROWENA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TACHAIS,
30894                  Laredo, LLC     9452    8/1/2022     Secured: $0.00
        ROWENA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4462 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TACHAIS,       Nueces Bay,
30895                                  15199   8/1/2022     Secured: $0.00
        ROWENA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TACHAIS,       Talen Texas
30896                                  20946   8/1/2022     Secured: $0.00
        ROWENA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TACHAIS,       Talen Texas,
30897                                  26693   8/1/2022     Secured: $0.00
        ROWENA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TADEFA JR,     Barney Davis,
30898                                  9116    8/1/2022     Secured: $0.00
        VICTOR         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TADEFA JR,
30899                  Laredo, LLC     14866   8/1/2022     Secured: $0.00
        VICTOR
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TADEFA JR,     Nueces Bay,
30900                                  20613   8/1/2022     Secured: $0.00
        VICTOR         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TADEFA JR,     Talen Texas
30901                                  26345   8/1/2022     Secured: $0.00
        VICTOR         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4463 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TADEFA JR,     Talen Texas,
30902                                  32107   8/1/2022     Secured: $0.00
        VICTOR         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAGGART,       Barney Davis,
30903                                  6713    8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAGGART,
30904                  Laredo, LLC     12463   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAGGART,       Nueces Bay,
30905                                  18210   8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAGGART,       Talen Texas
30906                                  23944   8/1/2022     Secured: $0.00
        CHARLOTTE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAGGART,       Talen Texas,
30907                                  29704   8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30908   TAHER, ADRI                    3647    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4464 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30909   TAHER, ADRI    Laredo, LLC     9397    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30910   TAHER, ADRI                    15144   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30911   TAHER, ADRI                    20891   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
30912   TAHER, ADRI                    26638   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAHIR,         Barney Davis,
30913                                  8285    8/1/2022     Secured: $0.00
        MOHAMMAD       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAHIR,
30914                  Laredo, LLC     14035   8/1/2022     Secured: $0.00
        MOHAMMAD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAHIR,         Nueces Bay,
30915                                  19782   8/1/2022     Secured: $0.00
        MOHAMMAD       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4465 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAHIR,           Talen Texas
30916                                    25516   8/1/2022     Secured: $0.00
        MOHAMMAD         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAHIR,           Talen Texas,
30917                                    31276   8/1/2022     Secured: $0.00
        MOHAMMAD         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30918   TAIT, BENJAMIN                   6500    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30919   TAIT, BENJAMIN   Laredo, LLC     12250   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30920   TAIT, BENJAMIN                   17997   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30921   TAIT, BENJAMIN                   23732   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30922   TAIT, BENJAMIN                   29491   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4466 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        TAJUANA
                                                              Other Administrative: $0.00
        SAVAGE,
                                                              Priority: $0.00
        INDIVIDUALLY,    Barney Davis,
30923                                    3868    8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LINDA SAVAGE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TAJUANA
                                                              Other Administrative: $0.00
        SAVAGE,
                                                              Priority: $0.00
        INDIVIDUALLY,
30924                    Laredo, LLC     9618    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LINDA SAVAGE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TAJUANA
                                                              Other Administrative: $0.00
        SAVAGE,
                                                              Priority: $0.00
        INDIVIDUALLY,    Nueces Bay,
30925                                    15365   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LINDA SAVAGE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TAJUANA
                                                              Other Administrative: $0.00
        SAVAGE,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas
30926                                    21112   8/1/2022     Secured: $0.00
        AND AS HEIR OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LINDA SAVAGE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TAJUANA
                                                              Other Administrative: $0.00
        SAVAGE,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas,
30927                                    26859   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        LINDA SAVAGE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALAMANTEZ,
30928                    Laredo, LLC     33215   8/1/2022     Secured: $0.00
        MARIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALAMANTEZ,      Barney Davis,
30929                                    34206   8/1/2022     Secured: $0.00
        MARIA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4467 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALAMANTEZ,      Nueces Bay,
30930                                    35197   8/1/2022     Secured: $0.00
        MARIA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALAMANTEZ,      Talen Texas
30931                                    36188   8/1/2022     Secured: $0.00
        MARIA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALAMANTEZ,      Talen Texas,
30932                                    37177   8/1/2022     Secured: $0.00
        MARIA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30933   TALAVERA, CRUZ                   6843    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30934   TALAVERA, CRUZ Laredo, LLC       12593   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30935   TALAVERA, CRUZ                   18340   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30936   TALAVERA, CRUZ                   24074   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4468 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30937   TALAVERA, CRUZ                   29834   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALIAFERRO,
30938                    Laredo, LLC     33216   8/1/2022     Secured: $0.00
        MARC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALIAFERRO,      Barney Davis,
30939                                    34207   8/1/2022     Secured: $0.00
        MARC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALIAFERRO,      Nueces Bay,
30940                                    35198   8/1/2022     Secured: $0.00
        MARC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALIAFERRO,      Talen Texas
30941                                    36189   8/1/2022     Secured: $0.00
        MARC             Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALIAFERRO,      Talen Texas,
30942                                    37178   8/1/2022     Secured: $0.00
        MARC             LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALLEY, TAMMI    Barney Davis,
30943                                    5325    8/1/2022     Secured: $0.00
        JO               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4469 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALLEY, TAMMI
30944                    Laredo, LLC     11075   8/1/2022     Secured: $0.00
        JO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALLEY, TAMMI    Nueces Bay,
30945                                    16822   8/1/2022     Secured: $0.00
        JO               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALLEY, TAMMI    Talen Texas
30946                                    22567   8/1/2022     Secured: $0.00
        JO               Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TALLEY, TAMMI    Talen Texas,
30947                                    28316   8/1/2022     Secured: $0.00
        JO               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30948   TAMEZ, GILBERT   Laredo, LLC     33217   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30949   TAMEZ, GILBERT                   34208   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30950   TAMEZ, GILBERT                   35199   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4470 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30951   TAMEZ, GILBERT                   36190   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30952   TAMEZ, GILBERT                   37179   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30953   TAMEZ, JOSE      Laredo, LLC     33218   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30954   TAMEZ, JOSE                      34209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
30955   TAMEZ, JOSE                      35200   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
30956   TAMEZ, JOSE                      36191   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
30957   TAMEZ, JOSE                      37180   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4471 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAMRAKAR,      Barney Davis,
30958                                  6279    8/1/2022     Secured: $0.00
        AAYUSH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAMRAKAR,
30959                  Laredo, LLC     12029   8/1/2022     Secured: $0.00
        AAYUSH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAMRAKAR,      Nueces Bay,
30960                                  17776   8/1/2022     Secured: $0.00
        AAYUSH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAMRAKAR,      Talen Texas
30961                                  23511   8/1/2022     Secured: $0.00
        AAYUSH         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TAMRAKAR,      Talen Texas,
30962                                  29270   8/1/2022     Secured: $0.00
        AAYUSH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
30963   TANDY, JOANN                   7583    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
30964   TANDY, JOANN   Laredo, LLC     13333   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4472 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
30965   TANDY, JOANN                   19080   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
30966   TANDY, JOANN                   24814   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
30967   TANDY, JOANN                   30574   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TANGUMA,       Barney Davis,
30968                                  4997    8/1/2022     Secured: $0.00
        HERMELINDA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TANGUMA,
30969                  Laredo, LLC     10747   8/1/2022     Secured: $0.00
        HERMELINDA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TANGUMA,       Nueces Bay,
30970                                  16494   8/1/2022     Secured: $0.00
        HERMELINDA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TANGUMA,       Talen Texas
30971                                  22239   8/1/2022     Secured: $0.00
        HERMELINDA     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4473 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TANGUMA,         Talen Texas,
30972                                    27988   8/1/2022     Secured: $0.00
        HERMELINDA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TANKERSLEY,      Barney Davis,
30973                                    7681    8/1/2022     Secured: $0.00
        JOSHUA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TANKERSLEY,
30974                    Laredo, LLC     13431   8/1/2022     Secured: $0.00
        JOSHUA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TANKERSLEY,      Nueces Bay,
30975                                    19178   8/1/2022     Secured: $0.00
        JOSHUA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TANKERSLEY,      Talen Texas
30976                                    24912   8/1/2022     Secured: $0.00
        JOSHUA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TANKERSLEY,      Talen Texas,
30977                                    30672   8/1/2022     Secured: $0.00
        JOSHUA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30978   TANNER, MARGIE                   5126    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4474 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30979   TANNER, MARGIE Laredo, LLC        10876   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30980   TANNER, MARGIE                    16623   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30981   TANNER, MARGIE                    22368   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30982   TANNER, MARGIE                    28117   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30983   TANNER, NEREIDA Laredo, LLC       33219   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30984   TANNER, NEREIDA                   34210   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30985   TANNER, NEREIDA                   35201   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4475 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30986   TANNER, NEREIDA                   36192   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30987   TANNER, NEREIDA                   37181   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
30988   TAPIA, JOSEPH                     5047    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
30989   TAPIA, JOSEPH     Laredo, LLC     10797   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
30990   TAPIA, JOSEPH                     16544   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
30991   TAPIA, JOSEPH                     22289   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
30992   TAPIA, JOSEPH                     28038   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4476 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARAMONA,        Barney Davis,
30993                                    5753    8/1/2022     Secured: $0.00
        CARLA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARAMONA,
30994                    Laredo, LLC     11503   8/1/2022     Secured: $0.00
        CARLA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARAMONA,        Nueces Bay,
30995                                    17250   8/1/2022     Secured: $0.00
        CARLA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARAMONA,        Talen Texas
30996                                    22995   8/1/2022     Secured: $0.00
        CARLA            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARAMONA,        Talen Texas,
30997                                    28744   8/1/2022     Secured: $0.00
        CARLA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
30998   TARAZON, SUSAN                   4707    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
30999   TARAZON, SUSAN Laredo, LLC       10457   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4477 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31000   TARAZON, SUSAN                   16204   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31001   TARAZON, SUSAN                   21950   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31002   TARAZON, SUSAN                   27698   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARKINGTON,      Barney Davis,
31003                                    8459    8/1/2022     Secured: $0.00
        POLLY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARKINGTON,
31004                    Laredo, LLC     14209   8/1/2022     Secured: $0.00
        POLLY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARKINGTON,      Nueces Bay,
31005                                    19956   8/1/2022     Secured: $0.00
        POLLY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TARKINGTON,      Talen Texas
31006                                    25689   8/1/2022     Secured: $0.00
        POLLY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4478 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TARKINGTON,     Talen Texas,
31007                                   31450   8/1/2022     Secured: $0.00
        POLLY           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31008   TARVER, JACOB                   5604    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31009   TARVER, JACOB   Laredo, LLC     11354   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31010   TARVER, JACOB                   17101   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31011   TARVER, JACOB                   22846   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31012   TARVER, JACOB                   28595   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31013   TATE, LARUE                     4407    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4479 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
31014   TATE, LARUE    Laredo, LLC     10157   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
31015   TATE, LARUE                    15904   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
31016   TATE, LARUE                    21650   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
31017   TATE, LARUE                    27398   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
31018   TATE, MORECA                   4529    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
31019   TATE, MORECA   Laredo, LLC     10279   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
31020   TATE, MORECA                   16026   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4480 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31021   TATE, MORECA                     21772   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31022   TATE, MORECA                     27520   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31023   TATE, TERRANCE                   6025    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31024   TATE, TERRANCE   Laredo, LLC     11775   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31025   TATE, TERRANCE                   17522   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31026   TATE, TERRANCE                   23267   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31027   TATE, TERRANCE                   29016   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4481 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31028   TATUM, CLARISSA                   6791    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31029   TATUM, CLARISSA Laredo, LLC       12541   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31030   TATUM, CLARISSA                   18288   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31031   TATUM, CLARISSA                   24022   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31032   TATUM, CLARISSA                   29782   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Barney Davis,
31033                                     3988    8/1/2022     Secured: $0.00
        BRENTNEE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,
31034                     Laredo, LLC     9738    8/1/2022     Secured: $0.00
        BRENTNEE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4482 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Nueces Bay,
31035                                     15485   8/1/2022     Secured: $0.00
        BRENTNEE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Talen Texas
31036                                     21231   8/1/2022     Secured: $0.00
        BRENTNEE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Talen Texas,
31037                                     26979   8/1/2022     Secured: $0.00
        BRENTNEE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31038   TAYLOR, CAROLYN                   6667    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31039   TAYLOR, CAROLYN Laredo, LLC       12417   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31040   TAYLOR, CAROLYN                   18164   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31041   TAYLOR, CAROLYN                   23898   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4483 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31042   TAYLOR, CAROLYN                   29658   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Barney Davis,
31043                                     6714    8/1/2022     Secured: $0.00
        CHARLOTTE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,
31044                     Laredo, LLC     12464   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Nueces Bay,
31045                                     18211   8/1/2022     Secured: $0.00
        CHARLOTTE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Talen Texas
31046                                     23945   8/1/2022     Secured: $0.00
        CHARLOTTE         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Talen Texas,
31047                                     29705   8/1/2022     Secured: $0.00
        CHARLOTTE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Barney Davis,
31048                                     6760    8/1/2022     Secured: $0.00
        CHRISTOLYNN       LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4484 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,
31049                    Laredo, LLC     12510   8/1/2022     Secured: $0.00
        CHRISTOLYNN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Nueces Bay,
31050                                    18257   8/1/2022     Secured: $0.00
        CHRISTOLYNN      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Talen Texas
31051                                    23991   8/1/2022     Secured: $0.00
        CHRISTOLYNN      Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Talen Texas,
31052                                    29751   8/1/2022     Secured: $0.00
        CHRISTOLYNN      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31053   TAYLOR, CURTIS                   5771    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31054   TAYLOR, CURTIS   Laredo, LLC     11521   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31055   TAYLOR, CURTIS                   17268   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4485 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31056   TAYLOR, CURTIS                   23013   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31057   TAYLOR, CURTIS                   28762   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Barney Davis,
31058                                    4164    8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,
31059                    Laredo, LLC     9914    8/1/2022     Secured: $0.00
        ELIZABETH
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Nueces Bay,
31060                                    15661   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Talen Texas
31061                                    21407   8/1/2022     Secured: $0.00
        ELIZABETH        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Talen Texas,
31062                                    27155   8/1/2022     Secured: $0.00
        ELIZABETH        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4486 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31063   TAYLOR, ELVINO                    7163    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31064   TAYLOR, ELVINO    Laredo, LLC     12913   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31065   TAYLOR, ELVINO                    18660   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31066   TAYLOR, ELVINO                    24394   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31067   TAYLOR, ELVINO                    30154   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31068   TAYLOR, KENNETH                   4378    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31069   TAYLOR, KENNETH Laredo, LLC       10128   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4487 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31070   TAYLOR, KENNETH                   15875   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31071   TAYLOR, KENNETH                   21621   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31072   TAYLOR, KENNETH                   27369   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Barney Davis,
31073                                     7936    8/1/2022     Secured: $0.00
        LAVARIEN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,
31074                     Laredo, LLC     13686   8/1/2022     Secured: $0.00
        LAVARIEN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Nueces Bay,
31075                                     19433   8/1/2022     Secured: $0.00
        LAVARIEN          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR,           Talen Texas
31076                                     25167   8/1/2022     Secured: $0.00
        LAVARIEN          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4488 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TAYLOR,          Talen Texas,
31077                                    30927   8/1/2022     Secured: $0.00
        LAVARIEN         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31078   TAYLOR, LINSEY                   7993    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31079   TAYLOR, LINSEY   Laredo, LLC     13743   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31080   TAYLOR, LINSEY                   19490   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31081   TAYLOR, LINSEY                   25224   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31082   TAYLOR, LINSEY                   30984   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31083   TAYLOR, LISA                     4437    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4489 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31084   TAYLOR, LISA    Laredo, LLC     10187   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31085   TAYLOR, LISA                    15934   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31086   TAYLOR, LISA                    21680   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31087   TAYLOR, LISA                    27428   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31088   TAYLOR, MISTY                   8276    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31089   TAYLOR, MISTY   Laredo, LLC     14026   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31090   TAYLOR, MISTY                   19773   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4490 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31091   TAYLOR, MISTY                   25507   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31092   TAYLOR, MISTY                   31267   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31093   TAYLOR, NANCY                   8309    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31094   TAYLOR, NANCY   Laredo, LLC     14059   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31095   TAYLOR, NANCY                   19806   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31096   TAYLOR, NANCY                   25540   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31097   TAYLOR, NANCY                   31300   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4491 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31098   TAYLOR, ROBERT                   5247    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31099   TAYLOR, ROBERT Laredo, LLC       10997   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31100   TAYLOR, ROBERT                   16744   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31101   TAYLOR, ROBERT                   22489   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31102   TAYLOR, ROBERT                   28238   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31103   TAYLOR, SAMUEL                   8730    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31104   TAYLOR, SAMUEL Laredo, LLC       14480   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4492 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
31105   TAYLOR, SAMUEL                  20227   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
31106   TAYLOR, SAMUEL                  25959   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
31107   TAYLOR, SAMUEL                  31721   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TAYLOR, SANDRA Barney Davis,
31108                                   5264    8/1/2022     Secured: $0.00
        CLARK          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TAYLOR, SANDRA
31109                  Laredo, LLC      11014   8/1/2022     Secured: $0.00
        CLARK
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TAYLOR, SANDRA Nueces Bay,
31110                                   16761   8/1/2022     Secured: $0.00
        CLARK          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TAYLOR, SANDRA Talen Texas
31111                                   22506   8/1/2022     Secured: $0.00
        CLARK          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4493 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TAYLOR, SANDRA Talen Texas,
31112                                     28255   8/1/2022     Secured: $0.00
        CLARK          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31113   TAYLOR, SHAROYE                   8804    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31114   TAYLOR, SHAROYE Laredo, LLC       14554   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31115   TAYLOR, SHAROYE                   20301   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31116   TAYLOR, SHAROYE                   26033   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31117   TAYLOR, SHAROYE                   31795   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31118   TAYLOR, SHIRLEY                   8843    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4494 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31119   TAYLOR, SHIRLEY Laredo, LLC      14593   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
31120   TAYLOR, SHIRLEY                  20340   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
31121   TAYLOR, SHIRLEY                  26072   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
31122   TAYLOR, SHIRLEY                  31834   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEACHERS                                              Priority: $0.00
                          Nueces Bay,
31123   INSURANCE                        1565    7/29/2022    Secured: $0.00
                          LLC
        COMPANY                                               General Unsecured: $2,469,756.00 + Unliquidated

                                                              Total: $2,469,756.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEACHERS                                              Priority: $0.00
31124   INSURANCE         Laredo, LLC    1574    7/29/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $2,469,756.00 + Unliquidated

                                                              Total: $2,469,756.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEACHERS                                              Priority: $0.00
                          Talen Energy
31125   INSURANCE                        1678    7/29/2022    Secured: $0.00
                          Supply, LLC
        COMPANY                                               General Unsecured: $2,469,756.00 + Unliquidated

                                                              Total: $2,469,756.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4495 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        TEACHERS                                                Priority: $0.00
                           Barney Davis,
31126   INSURANCE                          1800    7/29/2022    Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $2,469,756.00 + Unliquidated

                                                                Total: $2,469,756.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31127   TEAGUE, CHRISTIE                   6085    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31128   TEAGUE, CHRISTIE Laredo, LLC       11835   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31129   TEAGUE, CHRISTIE                   17582   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31130   TEAGUE, CHRISTIE                   23327   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31131   TEAGUE, CHRISTIE                   29076   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31132   TEALER, BARRY                      4845    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4496 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31133   TEALER, BARRY   Laredo, LLC     10595   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31134   TEALER, BARRY                   16342   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31135   TEALER, BARRY                   22088   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31136   TEALER, BARRY                   27836   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TECHNOLOGY                                           Priority: $0.00
                        Barney Davis,
31137   INSURANCE                       3474    8/1/2022     Secured: $0.00
                        LLC
        COMPANY INC.                                         General Unsecured: $4,665,321.76 + Unliquidated

                                                             Total: $4,665,321.76 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TECHNOLOGY                                           Priority: $0.00
31138   INSURANCE       Laredo, LLC     3477    8/1/2022     Secured: $0.00
        COMPANY INC.                                         General Unsecured: $4,665,321.76 + Unliquidated

                                                             Total: $4,665,321.76 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TECHNOLOGY                                           Priority: $0.00
                        Nueces Bay,
31139   INSURANCE                       3565    8/1/2022     Secured: $0.00
                        LLC
        COMPANY INC.                                         General Unsecured: $4,665,321.76 + Unliquidated

                                                             Total: $4,665,321.76 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4497 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELL, MELVIN   Barney Davis,
31140                                  8215    8/1/2022     Secured: $0.00
        TREMON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELL, MELVIN
31141                  Laredo, LLC     13965   8/1/2022     Secured: $0.00
        TREMON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELL, MELVIN   Nueces Bay,
31142                                  19712   8/1/2022     Secured: $0.00
        TREMON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELL, MELVIN   Talen Texas
31143                                  25446   8/1/2022     Secured: $0.00
        TREMON         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELL, MELVIN   Talen Texas,
31144                                  31206   8/1/2022     Secured: $0.00
        TREMON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELLO,
31145                  Laredo, LLC     33220   8/1/2022     Secured: $0.00
        HORTENCIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TELLO,         Barney Davis,
31146                                  34211   8/1/2022     Secured: $0.00
        HORTENCIA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4498 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TELLO,          Nueces Bay,
31147                                   35202   8/1/2022     Secured: $0.00
        HORTENCIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TELLO,          Talen Texas
31148                                   36193   8/1/2022     Secured: $0.00
        HORTENCIA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TELLO,          Talen Texas,
31149                                   37182   8/1/2022     Secured: $0.00
        HORTENCIA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31150   TEMPLE, WANDA                   9340    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31151   TEMPLE, WANDA Laredo, LLC       15090   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31152   TEMPLE, WANDA                   20837   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31153   TEMPLE, WANDA                   26569   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4499 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31154   TEMPLE, WANDA                     32331   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31155   TEMRES, WILLIAM                   9169    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31156   TEMRES, WILLIAM Laredo, LLC       14919   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31157   TEMRES, WILLIAM                   20666   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31158   TEMRES, WILLIAM                   26398   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31159   TEMRES, WILLIAM                   32160   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TENNYSON,         Barney Davis,
31160                                     9127    8/1/2022     Secured: $0.00
        VINCENT           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4500 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TENNYSON,
31161                     Laredo, LLC     14877   8/1/2022     Secured: $0.00
        VINCENT
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TENNYSON,         Nueces Bay,
31162                                     20624   8/1/2022     Secured: $0.00
        VINCENT           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TENNYSON,         Talen Texas
31163                                     26356   8/1/2022     Secured: $0.00
        VINCENT           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TENNYSON,         Talen Texas,
31164                                     32118   8/1/2022     Secured: $0.00
        VINCENT           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31165   TENSLEY, DEXTER                   7025    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31166   TENSLEY, DEXTER Laredo, LLC       12775   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31167   TENSLEY, DEXTER                   18522   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4501 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
31168   TENSLEY, DEXTER                  24256   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
31169   TENSLEY, DEXTER                  30016   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERESA & JAMES Barney Davis,
31170                                    8960    8/1/2022     Secured: $0.00
        BURKHOLDER     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERESA & JAMES
31171                  Laredo, LLC       14710   8/1/2022     Secured: $0.00
        BURKHOLDER
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERESA & JAMES Nueces Bay,
31172                                    20457   8/1/2022     Secured: $0.00
        BURKHOLDER     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERESA & JAMES Talen Texas
31173                                    26189   8/1/2022     Secured: $0.00
        BURKHOLDER     Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERESA & JAMES Talen Texas,
31174                                    31951   8/1/2022     Secured: $0.00
        BURKHOLDER     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4502 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        TERESA
                                                              Other Administrative: $0.00
        WILLIAMS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Barney Davis,
31175                                    3809    8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CATHY GOLD
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TERESA
                                                              Other Administrative: $0.00
        WILLIAMS,
                                                              Priority: $0.00
        INDIVIDUALLY,
31176                    Laredo, LLC     9559    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CATHY GOLD
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TERESA
                                                              Other Administrative: $0.00
        WILLIAMS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Nueces Bay,
31177                                    15306   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CATHY GOLD
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TERESA
                                                              Other Administrative: $0.00
        WILLIAMS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas
31178                                    21053   8/1/2022     Secured: $0.00
        AND AS HEIR OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CATHY GOLD
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TERESA
                                                              Other Administrative: $0.00
        WILLIAMS,
                                                              Priority: $0.00
        INDIVIDUALLY,    Talen Texas,
31179                                    26800   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CATHY GOLD
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TERRY NEIL
                                                              Other Administrative: $0.00
        CALDWELL AS
                                                              Priority: $0.00
        REPRESENTATIVE Barney Davis,
31180                                    5415    8/1/2022     Secured: $0.00
        OF THE ESTATE OF LLC
                                                              General Unsecured: $0.00 + Unliquidated
        SALLY SUE
        GRIFFITH
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TERRY NEIL
                                                              Other Administrative: $0.00
        CALDWELL AS
                                                              Priority: $0.00
        REPRESENTATIVE
31181                    Laredo, LLC     11165   8/1/2022     Secured: $0.00
        OF THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        SALLY SUE
        GRIFFITH
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4503 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
        TERRY NEIL
                                                                Other Administrative: $0.00
        CALDWELL AS
                                                                Priority: $0.00
        REPRESENTATIVE Nueces Bay,
31182                                      16912   8/1/2022     Secured: $0.00
        OF THE ESTATE OF LLC
                                                                General Unsecured: $0.00 + Unliquidated
        SALLY SUE
        GRIFFITH
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
        TERRY NEIL
                                                                Other Administrative: $0.00
        CALDWELL AS
                                                                Priority: $0.00
        REPRESENTATIVE Talen Texas
31183                                      22657   8/1/2022     Secured: $0.00
        OF THE ESTATE OF Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated
        SALLY SUE
        GRIFFITH
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
        TERRY NEIL
                                                                Other Administrative: $0.00
        CALDWELL AS
                                                                Priority: $0.00
        REPRESENTATIVE Talen Texas,
31184                                      28406   8/1/2022     Secured: $0.00
        OF THE ESTATE OF LLC
                                                                General Unsecured: $0.00 + Unliquidated
        SALLY SUE
        GRIFFITH
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31185   TERRY, ELIZABETH                   4165    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31186   TERRY, ELIZABETH Laredo, LLC       9915    8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31187   TERRY, ELIZABETH                   15662   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31188   TERRY, ELIZABETH                   21408   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4504 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31189   TERRY, ELIZABETH                   27156   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31190   TERRY, ESTHER                      7205    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31191   TERRY, ESTHER      Laredo, LLC     12955   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31192   TERRY, ESTHER                      18702   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31193   TERRY, ESTHER                      24436   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31194   TERRY, ESTHER                      30196   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31195   TERRY, JUSTIN                      5815    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4505 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31196   TERRY, JUSTIN   Laredo, LLC     11565   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31197   TERRY, JUSTIN                   17312   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31198   TERRY, JUSTIN                   23057   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31199   TERRY, JUSTIN                   28806   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31200   TERRY, MARK                     8127    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31201   TERRY, MARK     Laredo, LLC     13877   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31202   TERRY, MARK                     19624   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4506 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31203   TERRY, MARK                      25358   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31204   TERRY, MARK                      31118   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERRY, TIFFANI   Barney Davis,
31205                                    5342    8/1/2022     Secured: $0.00
        CANDICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERRY, TIFFANI
31206                    Laredo, LLC     11092   8/1/2022     Secured: $0.00
        CANDICE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERRY, TIFFANI   Nueces Bay,
31207                                    16839   8/1/2022     Secured: $0.00
        CANDICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERRY, TIFFANI   Talen Texas
31208                                    22584   8/1/2022     Secured: $0.00
        CANDICE          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TERRY, TIFFANI   Talen Texas,
31209                                    28333   8/1/2022     Secured: $0.00
        CANDICE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4507 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31210   TERRY, VINTON                    5365    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31211   TERRY, VINTON    Laredo, LLC     11115   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31212   TERRY, VINTON                    16862   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31213   TERRY, VINTON                    22607   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31214   TERRY, VINTON                    28356   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEXA FARM                                             Priority: $0.00
                         Barney Davis,
31215   BUREAU                           1797    7/29/2022    Secured: $0.00
                         LLC
        UNDERWRITERS                                          General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TEXAS FAIR PLAN Barney Davis,
31216                                    1632    7/31/2022    Secured: $0.00
        ASSOCIATION     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4508 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIR PLAN Nueces Bay,
31217                                   1770    7/31/2022    Secured: $0.00
        ASSOCIATION     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIR PLAN
31218                   Laredo, LLC     2096    7/31/2022    Secured: $0.00
        ASSOCIATION
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIRFAX   Barney Davis,
31219                                   5696    8/1/2022     Secured: $0.00
        COMPANY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIRFAX
31220                   Laredo, LLC     11446   8/1/2022     Secured: $0.00
        COMPANY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIRFAX   Nueces Bay,
31221                                   17193   8/1/2022     Secured: $0.00
        COMPANY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIRFAX   Talen Texas
31222                                   22938   8/1/2022     Secured: $0.00
        COMPANY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TEXAS FAIRFAX   Talen Texas,
31223                                   28687   8/1/2022     Secured: $0.00
        COMPANY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4509 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        TEXAS FARM                                         Other Administrative: $0.00
        BUREAU                                             Priority: $0.00
                       Nueces Bay,
31224   CASUALTY                       1790   7/29/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        TEXAS FARM                                         Other Administrative: $0.00
        BUREAU                                             Priority: $0.00
                       Barney Davis,
31225   CASUALTY                       1824   7/29/2022    Secured: $0.00
                       LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        TEXAS FARM                                         Other Administrative: $0.00
        BUREAU                                             Priority: $0.00
31226   CASUALTY       Laredo, LLC     1825   7/29/2022    Secured: $0.00
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TEXAS FARM
                                                           Priority: $0.00
        BUREAU MUTUAL
31227                 Laredo, LLC      1466   7/29/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TEXAS FARM
                                                           Priority: $0.00
        BUREAU MUTUAL Nueces Bay,
31228                                  1805   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TEXAS FARM
                                                           Priority: $0.00
        BUREAU MUTUAL Barney Davis,
31229                                  1822   7/29/2022    Secured: $0.00
        INSURANCE     LLC
                                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TEXAS FARM                                         Priority: $0.00
                       Nueces Bay,
31230   BUREAU                         1640   7/29/2022    Secured: $0.00
                       LLC
        UNDERWRITERS                                       General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4510 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS FARM                                             Priority: $0.00
31231   BUREAU            Laredo, LLC     1809    7/29/2022    Secured: $0.00
        UNDERWRITERS                                           General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS FARMERS                                          Priority: $0.00
                          Nueces Bay,
31232   INSURANCE                         2533    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $343,445,488.79 + Unliquidated

                                                               Total: $343,445,488.79 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS FARMERS                                          Priority: $0.00
31233   INSURANCE         Laredo, LLC     2574    7/31/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $343,445,488.79 + Unliquidated

                                                               Total: $343,445,488.79 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS FARMERS                                          Priority: $0.00
                          Barney Davis,
31234   INSURANCE                         2577    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $343,445,488.79 + Unliquidated

                                                               Total: $343,445,488.79 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS MIDWEST
                                                               Priority: $0.00
        EYE CENTER,       Barney Davis,
31235                                     5943    8/1/2022     Secured: $0.00
        L.L.P., TROY L.   LLC
                                                               General Unsecured: $0.00 + Unliquidated
        CARTER, M.D.
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS MIDWEST
                                                               Priority: $0.00
        EYE CENTER,
31236                     Laredo, LLC     11693   8/1/2022     Secured: $0.00
        L.L.P., TROY L.
                                                               General Unsecured: $0.00 + Unliquidated
        CARTER, M.D.
                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4511 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEXAS MIDWEST
                                                              Priority: $0.00
        EYE CENTER,       Nueces Bay,
31237                                    17440   8/1/2022     Secured: $0.00
        L.L.P., TROY L.   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CARTER, M.D.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEXAS MIDWEST
                                                              Priority: $0.00
        EYE CENTER,       Talen Texas
31238                                    23185   8/1/2022     Secured: $0.00
        L.L.P., TROY L.   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CARTER, M.D.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TEXAS MIDWEST
                                                              Priority: $0.00
        EYE CENTER,       Talen Texas,
31239                                    28934   8/1/2022     Secured: $0.00
        L.L.P., TROY L.   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        CARTER, M.D.
                                                              Total: $0.00 + Unliquidated
        TEXAS MUNICIPAL                                       503(b)(9): $0.00
        LEAGUE                                                Other Administrative: $0.00
        INTERGOVERNME                                         Priority: $0.00
                        Nueces Bay,
31240   NTAL RISK POOL                   3273    8/1/2022     Secured: $0.00
                        LLC
        (AS SUBROGEE OF                                       General Unsecured: $76,870,752.54 + Unliquidated
        CERTAIN
        MEMBERS)                                              Total: $76,870,752.54 + Unliquidated

        TEXAS MUNICIPAL                                       503(b)(9): $0.00
        LEAGUE                                                Other Administrative: $0.00
        INTERGOVERNME                                         Priority: $0.00
                        Barney Davis,
31241   NTAL RISK POOL                   3432    8/1/2022     Secured: $0.00
                        LLC
        (AS SUBROGEE OF                                       General Unsecured: $76,870,752.54 + Unliquidated
        CERTAIN
        MEMBERS)                                              Total: $76,870,752.54 + Unliquidated

        TEXAS MUNICIPAL                                       503(b)(9): $0.00
        LEAGUE                                                Other Administrative: $0.00
        INTERGOVERNME                                         Priority: $0.00
31242   NTAL RISK POOL Laredo, LLC       3532    8/1/2022     Secured: $0.00
        (AS SUBROGEE OF                                       General Unsecured: $76,870,752.54 + Unliquidated
        CERTAIN
        MEMBERS)                                              Total: $76,870,752.54 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4512 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        TEXAS PIONEER                                        Other Administrative: $0.00
        FARM MUTUAL                                          Priority: $0.00
                         Nueces Bay,
31243   INSURANCE                        475    7/21/2022    Secured: $0.00
                         LLC
        ASSOCIATION,                                         General Unsecured: $1,396,581.38 + Unliquidated
        INC.
                                                             Total: $1,396,581.38 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS PIONEER                                        Other Administrative: $0.00
        FARM MUTUAL                                          Priority: $0.00
                         Barney Davis,
31244   INSURANCE                        478    7/21/2022    Secured: $0.00
                         LLC
        ASSOCIATION,                                         General Unsecured: $1,396,581.38
        INC.
                                                             Total: $1,396,581.38
                                                             503(b)(9): $0.00
        TEXAS PIONEER                                        Other Administrative: $0.00
        FARM MUTUAL                                          Priority: $0.00
31245   INSURANCE        Laredo, LLC     479    7/21/2022    Secured: $0.00
        ASSOCIATION,                                         General Unsecured: $1,396,581.38
        INC.
                                                             Total: $1,396,581.38
                                                             503(b)(9): $0.00
        TEXAS PIONEER                                        Other Administrative: $0.00
        FARM MUTUAL                                          Priority: $0.00
31246   INSURANCE        Laredo, LLC     2752   8/1/2022     Secured: $0.00
        ASSOCIATION,                                         General Unsecured: $1,396,581.38 + Unliquidated
        INC.
                                                             Total: $1,396,581.38 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS PIONEER                                        Other Administrative: $0.00
        FARM MUTUAL                                          Priority: $0.00
                         Barney Davis,
31247   INSURANCE                        2901   8/1/2022     Secured: $0.00
                         LLC
        ASSOCIATION,                                         General Unsecured: $1,396,581.38 + Unliquidated
        INC.
                                                             Total: $1,396,581.38 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS PIONEER                                        Other Administrative: $0.00
        FARM MUTUAL                                          Priority: $0.00
                         Nueces Bay,
31248   INSURANCE                        3207   8/1/2022     Secured: $0.00
                         LLC
        ASSOCIATION,                                         General Unsecured: $1,396,581.38 + Unliquidated
        INC.
                                                             Total: $1,396,581.38 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TEXAS PIONEER
                                                             Priority: $0.00
        FARM MUTUAL     Barney Davis,
31249                                    2965   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $1,396,581.38 + Unliquidated
        ASSOCIATION,INC
                                                             Total: $1,396,581.38 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4513 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        TEXAS REBELS                                         Other Administrative: $0.00
        CHARITY                                              Priority: $0.00
                        Barney Davis,
31250   ORGANIZATION,                   5670    8/1/2022     Secured: $0.00
                        LLC
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS REBELS                                         Other Administrative: $0.00
        CHARITY                                              Priority: $0.00
31251   ORGANIZATION,   Laredo, LLC     11420   8/1/2022     Secured: $0.00
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS REBELS                                         Other Administrative: $0.00
        CHARITY                                              Priority: $0.00
                        Nueces Bay,
31252   ORGANIZATION,                   17167   8/1/2022     Secured: $0.00
                        LLC
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS REBELS                                         Other Administrative: $0.00
        CHARITY                                              Priority: $0.00
                        Talen Texas
31253   ORGANIZATION,                   22912   8/1/2022     Secured: $0.00
                        Group, LLC
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        TEXAS REBELS                                         Other Administrative: $0.00
        CHARITY                                              Priority: $0.00
                        Talen Texas,
31254   ORGANIZATION,                   28661   8/1/2022     Secured: $0.00
                        LLC
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TEXAS
                                                             Priority: $0.00
        WINDSTORM       Nueces Bay,
31255                                   1607    7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        ASSOCIATION
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TEXAS
                                                             Priority: $0.00
        WINDSTORM
31256                   Laredo, LLC     2087    7/31/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $0.00 + Unliquidated
        ASSOCIATION
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4514 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TEXAS
                                                               Priority: $0.00
        WINDSTORM         Barney Davis,
31257                                     2092    7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $0.00 + Unliquidated
        ASSOCIATION
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31258   THACH, RANDY      Laredo, LLC     33221   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31259   THACH, RANDY                      34212   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31260   THACH, RANDY                      35203   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31261   THACH, RANDY                      36194   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31262   THACH, RANDY                      37183   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31263   THACKER, BRACEY                   5909    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4515 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31264   THACKER, BRACEY Laredo, LLC       11659   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31265   THACKER, BRACEY                   17406   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31266   THACKER, BRACEY                   23151   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31267   THACKER, BRACEY                   28900   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31268   THALKEN, TONI                     5882    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31269   THALKEN, TONI     Laredo, LLC     11632   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31270   THALKEN, TONI                     17379   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4516 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31271   THALKEN, TONI                   23124   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31272   THALKEN, TONI                   28873   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THAMES,
31273                   Laredo, LLC     33222   8/1/2022     Secured: $0.00
        THOMAS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THAMES,         Barney Davis,
31274                                   34213   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THAMES,         Nueces Bay,
31275                                   35204   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THAMES,         Talen Texas
31276                                   36195   8/1/2022     Secured: $0.00
        THOMAS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THAMES,         Talen Texas,
31277                                   37184   8/1/2022     Secured: $0.00
        THOMAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4517 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31278   THAMES, TROY E. Laredo, LLC       33223   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31279   THAMES, TROY E.                   34214   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31280   THAMES, TROY E.                   35205   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31281   THAMES, TROY E.                   36196   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31282   THAMES, TROY E.                   37185   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31283   THANE, TRACI                      9056    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31284   THANE, TRACI      Laredo, LLC     14806   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4518 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31285   THANE, TRACI                      20553   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31286   THANE, TRACI                      26285   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31287   THANE, TRACI                      32047   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31288   THAXTER, SHELIA                   8816    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31289   THAXTER, SHELIA Laredo, LLC       14566   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31290   THAXTER, SHELIA                   20313   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31291   THAXTER, SHELIA                   26045   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4519 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31292   THAXTER, SHELIA                   31807   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE CHANNEL                                            Priority: $0.00
31293   MANAGING          Laredo, LLC     2001    7/30/2022    Secured: $0.00
        AGENCY LTD.                                            General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE CHANNEL                                            Priority: $0.00
                          Nueces Bay,
31294   MANAGING                          2073    7/30/2022    Secured: $0.00
                          LLC
        AGENCY LTD.                                            General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE CHANNEL                                            Priority: $0.00
                          Barney Davis,
31295   MANAGING                          2075    7/30/2022    Secured: $0.00
                          LLC
        AGENCY LTD.                                            General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE CHARTER
                                                               Priority: $0.00
        OAK FIRE          Barney Davis,
31296                                     1547    7/28/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE CHARTER
                                                               Priority: $0.00
        OAK FIRE
31297                     Laredo, LLC     1622    7/29/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        THE CHARTER
                                                               Priority: $0.00
        OAK FIRE          Nueces Bay,
31298                                     2336    7/30/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4520 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE CHURCH
                                                          Priority: $0.00
        INSURANCE
31299                 Laredo, LLC     1196   7/28/2022    Secured: $0.00
        COMPANY OF
                                                          General Unsecured: $5,300,000.00 + Unliquidated
        VERMONT
                                                          Total: $5,300,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE CHURCH
                                                          Priority: $0.00
        INSURANCE     Barney Davis,
31300                                 1198   7/28/2022    Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $5,300,000.00 + Unliquidated
        VERMONT
                                                          Total: $5,300,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE CHURCH
                                                          Priority: $0.00
        INSURANCE     Nueces Bay,
31301                                 1404   7/28/2022    Secured: $0.00
        COMPANY OF    LLC
                                                          General Unsecured: $5,300,000.00 + Unliquidated
        VERMONT
                                                          Total: $5,300,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE
                                                          Priority: $0.00
        CONTINENTAL   Nueces Bay,
31302                                 2182   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $5,459,120.00 + Unliquidated
        COMPANY
                                                          Total: $5,459,120.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE
                                                          Priority: $0.00
        CONTINENTAL   Barney Davis,
31303                                 2312   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $5,459,120.00 + Unliquidated
        COMPANY
                                                          Total: $5,459,120.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE
                                                          Priority: $0.00
        CONTINENTAL
31304                 Laredo, LLC     2338   7/30/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $5,459,120.00 + Unliquidated
        COMPANY
                                                          Total: $5,459,120.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER                                       Priority: $0.00
                      Barney Davis,
31305   AMERICAN                      1555   7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $3,500,000.00 + Unliquidated

                                                          Total: $3,500,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4521 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER
                                                          Priority: $0.00
        AMERICAN
31306                 Laredo, LLC     1566   7/30/2022    Secured: $0.00
        INSURANCE
                                                          General Unsecured: $3,500,000.00 + Unliquidated
        COMPANY
                                                          Total: $3,500,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER
                                                          Priority: $0.00
        AMERICAN      Nueces Bay,
31307                                 1571   7/30/2022    Secured: $0.00
        INSURANCE     LLC
                                                          General Unsecured: $3,500,000.00 + Unliquidated
        COMPANY
                                                          Total: $3,500,000.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER                                       Priority: $0.00
31308   CASUALTY      Laredo, LLC     1538   7/30/2022    Secured: $0.00
        COMPANY                                           General Unsecured: $47,000,000.00 + Unliquidated

                                                          Total: $47,000,000.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER                                       Priority: $0.00
                      Nueces Bay,
31309   CASUALTY                      1572   7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $47,000,000.00 + Unliquidated

                                                          Total: $47,000,000.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER                                       Priority: $0.00
                      Barney Davis,
31310   CASUALTY                      1593   7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $47,000,000.00 + Unliquidated

                                                          Total: $47,000,000.00 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE HANOVER                                       Priority: $0.00
                      Barney Davis,
31311   INSURANCE                     1569   7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $13,000,000.00 + Unliquidated

                                                          Total: $13,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4522 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE HANOVER                                         Priority: $0.00
31312   INSURANCE       Laredo, LLC     1587   7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $13,000,000.00 + Unliquidated

                                                            Total: $13,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE HANOVER                                         Priority: $0.00
                        Nueces Bay,
31313   INSURANCE                       1621   7/30/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $13,000,000.00 + Unliquidated

                                                            Total: $13,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE INSURANCE
                                                            Priority: $0.00
        COMPANY OF THE
31314                  Laredo, LLC      2971   8/1/2022     Secured: $0.00
        STATE OF
                                                            General Unsecured: $3,567,872.17 + Unliquidated
        PENNSYLVANIA
                                                            Total: $3,567,872.17 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE INSURANCE
                                                            Priority: $0.00
        COMPANY OF THE Nueces Bay,
31315                                   3048   8/1/2022     Secured: $0.00
        STATE OF       LLC
                                                            General Unsecured: $3,567,872.17 + Unliquidated
        PENNSYLVANIA
                                                            Total: $3,567,872.17 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE INSURANCE
                                                            Priority: $0.00
        COMPANY OF THE Barney Davis,
31316                                   3333   8/1/2022     Secured: $0.00
        STATE OF       LLC
                                                            General Unsecured: $3,567,872.17 + Unliquidated
        PENNSYLVANIA
                                                            Total: $3,567,872.17 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE MILLICAN                                        Priority: $0.00
                        Barney Davis,
31317   INSURANCE                       5944   8/1/2022     Secured: $0.00
                        LLC
        AGENCY, INC.                                        General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4523 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE MILLICAN                                         Priority: $0.00
31318   INSURANCE        Laredo, LLC    11694   8/1/2022     Secured: $0.00
        AGENCY, INC.                                         General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE MILLICAN                                         Priority: $0.00
                         Nueces Bay,
31319   INSURANCE                       17441   8/1/2022     Secured: $0.00
                         LLC
        AGENCY, INC.                                         General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE MILLICAN                                         Priority: $0.00
                         Talen Texas
31320   INSURANCE                       23186   8/1/2022     Secured: $0.00
                         Group, LLC
        AGENCY, INC.                                         General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE MILLICAN                                         Priority: $0.00
                         Talen Texas,
31321   INSURANCE                       28935   8/1/2022     Secured: $0.00
                         LLC
        AGENCY, INC.                                         General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE NORTH RIVER                                      Priority: $0.00
31322   INSURANCE       Laredo, LLC     1682    7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE NORTH RIVER                                      Priority: $0.00
                        Nueces Bay,
31323   INSURANCE                       1939    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE NORTH RIVER                                      Priority: $0.00
                        Barney Davis,
31324   INSURANCE                       1978    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4524 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE PHOENIX                                          Priority: $0.00
31325   INSURANCE        Laredo, LLC     1425   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE PHOENIX                                          Priority: $0.00
                         Nueces Bay,
31326   INSURANCE                        2351   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE PHOENIX                                          Priority: $0.00
                         Barney Davis,
31327   INSURANCE                        2562   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE STANDARD                                         Priority: $0.00
31328   FIRE INSURANCE   Laredo, LLC     1479   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE STANDARD                                         Priority: $0.00
                         Barney Davis,
31329   FIRE INSURANCE                   1845   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        THE STANDARD                                         Priority: $0.00
                         Nueces Bay,
31330   FIRE INSURANCE                   2304   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        THE TRAVELERS                                        Other Administrative: $0.00
        HOME AND                                             Priority: $0.00
31331   MARINE           Laredo, LLC     2127   7/29/2022    Secured: $0.00
        INSURANCE                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4525 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        THE TRAVELERS                                       Other Administrative: $0.00
        HOME AND                                            Priority: $0.00
                        Nueces Bay,
31332   MARINE                          2324   7/30/2022    Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        THE TRAVELERS                                       Other Administrative: $0.00
        HOME AND                                            Priority: $0.00
                        Barney Davis,
31333   MARINE                          2468   7/30/2022    Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE TRAVELERS
                                                            Priority: $0.00
        INDEMNITY
31334                   Laredo, LLC     1850   7/29/2022    Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE TRAVELERS
                                                            Priority: $0.00
        INDEMNITY       Barney Davis,
31335                                   2581   7/30/2022    Secured: $0.00
        COMPANY OF      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE TRAVELERS
                                                            Priority: $0.00
        LLOYDS
31336                   Laredo, LLC     1856   7/30/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE TRAVELERS
                                                            Priority: $0.00
        LLOYDS          Nueces Bay,
31337                                   2524   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE TRAVELERS
                                                            Priority: $0.00
        LLOYDS          Barney Davis,
31338                                   2602   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4526 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        THE TRAVLERS
                                                            Priority: $0.00
        INDEMNITY      Nueces Bay,
31339                                  2645    7/30/2022    Secured: $0.00
        COMPANY OF     LLC
                                                            General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THEARD,
31340                  Laredo, LLC     33224   8/1/2022     Secured: $0.00
        RONTRANEICE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THEARD,        Barney Davis,
31341                                  34215   8/1/2022     Secured: $0.00
        RONTRANEICE    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THEARD,        Nueces Bay,
31342                                  35206   8/1/2022     Secured: $0.00
        RONTRANEICE    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THEARD,        Talen Texas
31343                                  36197   8/1/2022     Secured: $0.00
        RONTRANEICE    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THEARD,        Talen Texas,
31344                                  37186   8/1/2022     Secured: $0.00
        RONTRANEICE    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THERRELL,      Barney Davis,
31345                                  6518    8/1/2022     Secured: $0.00
        BEVERLY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4527 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THERRELL,
31346                  Laredo, LLC     12268   8/1/2022     Secured: $0.00
        BEVERLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THERRELL,      Nueces Bay,
31347                                  18015   8/1/2022     Secured: $0.00
        BEVERLY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THERRELL,      Talen Texas
31348                                  23750   8/1/2022     Secured: $0.00
        BEVERLY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THERRELL,      Talen Texas,
31349                                  29509   8/1/2022     Secured: $0.00
        BEVERLY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,    Barney Davis,
31350                                  4120    8/1/2022     Secured: $0.00
        DENISE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,
31351                  Laredo, LLC     9870    8/1/2022     Secured: $0.00
        DENISE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,    Nueces Bay,
31352                                  15617   8/1/2022     Secured: $0.00
        DENISE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4528 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,   Talen Texas
31353                                 21363   8/1/2022     Secured: $0.00
        DENISE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,   Talen Texas,
31354                                 27111   8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,   Barney Davis,
31355                                 4222    8/1/2022     Secured: $0.00
        HENRIETTA M   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,
31356                 Laredo, LLC     9972    8/1/2022     Secured: $0.00
        HENRIETTA M
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,   Nueces Bay,
31357                                 15719   8/1/2022     Secured: $0.00
        HENRIETTA M   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,   Talen Texas
31358                                 21465   8/1/2022     Secured: $0.00
        HENRIETTA M   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THIBODEAUX,   Talen Texas,
31359                                 27213   8/1/2022     Secured: $0.00
        HENRIETTA M   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4529 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,    Barney Davis,
31360                                  7905    8/1/2022     Secured: $0.00
        LAQUETTA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,
31361                  Laredo, LLC     13655   8/1/2022     Secured: $0.00
        LAQUETTA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,    Nueces Bay,
31362                                  19402   8/1/2022     Secured: $0.00
        LAQUETTA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,    Talen Texas
31363                                  25136   8/1/2022     Secured: $0.00
        LAQUETTA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        THIBODEAUX,    Talen Texas,
31364                                  30896   8/1/2022     Secured: $0.00
        LAQUETTA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
31365   THIES, TAMMY                   6197    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
31366   THIES, TAMMY   Laredo, LLC     11947   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4530 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31367   THIES, TAMMY                     17694   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31368   THIES, TAMMY                     23439   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31369   THIES, TAMMY                     29188   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31370   THOMAS, ADRIAN                   6293    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31371   THOMAS, ADRIAN Laredo, LLC       12043   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31372   THOMAS, ADRIAN                   17790   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31373   THOMAS, ADRIAN                   23525   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4531 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31374   THOMAS, ADRIAN                   29284   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Barney Davis,
31375                                    3925    8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,
31376                    Laredo, LLC     9675    8/1/2022     Secured: $0.00
        ANDREW
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Nueces Bay,
31377                                    15422   8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas
31378                                    21169   8/1/2022     Secured: $0.00
        ANDREW           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas,
31379                                    26916   8/1/2022     Secured: $0.00
        ANDREW           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Barney Davis,
31380                                    6398    8/1/2022     Secured: $0.00
        ANGELICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4532 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31381                   Laredo, LLC     12148   8/1/2022     Secured: $0.00
        ANGELICA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31382                                   17895   8/1/2022     Secured: $0.00
        ANGELICA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31383                                   23630   8/1/2022     Secured: $0.00
        ANGELICA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31384                                   29389   8/1/2022     Secured: $0.00
        ANGELICA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31385   THOMAS, ANITA                   4821    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31386   THOMAS, ANITA   Laredo, LLC     10571   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31387   THOMAS, ANITA                   16318   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4533 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31388   THOMAS, ANITA                    22064   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31389   THOMAS, ANITA                    27812   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31390   THOMAS, ASHISH                   6456    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31391   THOMAS, ASHISH Laredo, LLC       12206   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31392   THOMAS, ASHISH                   17953   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31393   THOMAS, ASHISH                   23688   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31394   THOMAS, ASHISH                   29447   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4534 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Barney Davis,
31395                                 6486    8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,
31396                 Laredo, LLC     12236   8/1/2022     Secured: $0.00
        BARBARA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Nueces Bay,
31397                                 17983   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas
31398                                 23718   8/1/2022     Secured: $0.00
        BARBARA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas,
31399                                 29477   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Barney Davis,
31400                                 4858    8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,
31401                 Laredo, LLC     10608   8/1/2022     Secured: $0.00
        BEVERLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4535 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Nueces Bay,
31402                                 16355   8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas
31403                                 22101   8/1/2022     Secured: $0.00
        BEVERLY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas,
31404                                 27849   8/1/2022     Secured: $0.00
        BEVERLY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Barney Davis,
31405                                 6677    8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,
31406                 Laredo, LLC     12427   8/1/2022     Secured: $0.00
        CASSANDRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Nueces Bay,
31407                                 18174   8/1/2022     Secured: $0.00
        CASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas
31408                                 23908   8/1/2022     Secured: $0.00
        CASSANDRA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4536 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas,
31409                                    29668   8/1/2022     Secured: $0.00
        CASSANDRA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31410   THOMAS, CASSIE                   5439    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31411   THOMAS, CASSIE Laredo, LLC       11189   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31412   THOMAS, CASSIE                   16936   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31413   THOMAS, CASSIE                   22681   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31414   THOMAS, CASSIE                   28430   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Barney Davis,
31415                                    6782    8/1/2022     Secured: $0.00
        CHYBYRON         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4537 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31416                   Laredo, LLC     12532   8/1/2022     Secured: $0.00
        CHYBYRON
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31417                                   18279   8/1/2022     Secured: $0.00
        CHYBYRON        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31418                                   24013   8/1/2022     Secured: $0.00
        CHYBYRON        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31419                                   29773   8/1/2022     Secured: $0.00
        CHYBYRON        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31420   THOMAS, DEBRA Laredo, LLC       33225   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31421   THOMAS, DEBRA                   34216   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31422   THOMAS, DEBRA                   35207   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4538 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31423   THOMAS, DEBRA                   36198   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31424   THOMAS, DEBRA                   37187   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31425   THOMAS, DEENA                   6981    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31426   THOMAS, DEENA Laredo, LLC       12731   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31427   THOMAS, DEENA                   18478   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31428   THOMAS, DEENA                   24212   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31429   THOMAS, DEENA                   29972   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4539 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31430                                   4123    8/1/2022     Secured: $0.00
        DERRICK         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31431                   Laredo, LLC     9873    8/1/2022     Secured: $0.00
        DERRICK
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31432                                   15620   8/1/2022     Secured: $0.00
        DERRICK         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31433                                   21366   8/1/2022     Secured: $0.00
        DERRICK         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31434                                   27114   8/1/2022     Secured: $0.00
        DERRICK         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31435   THOMAS, ELANA                   6234    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31436   THOMAS, ELANA   Laredo, LLC     11984   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4540 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31437   THOMAS, ELANA                    17731   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31438   THOMAS, ELANA                    26576   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31439   THOMAS, ELANA                    29225   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31440   THOMAS, EUGENE                   4174    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31441   THOMAS, EUGENE Laredo, LLC       9924    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31442   THOMAS, EUGENE                   15671   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31443   THOMAS, EUGENE                   21417   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4541 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31444   THOMAS, EUGENE                   27165   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31445   THOMAS, IRENA    Laredo, LLC     33226   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31446   THOMAS, IRENA                    34217   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31447   THOMAS, IRENA                    35208   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31448   THOMAS, IRENA                    36199   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31449   THOMAS, IRENA                    37188   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31450   THOMAS, JOSEFA Laredo, LLC       33227   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4542 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31451   THOMAS, JOSEFA                   34218   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31452   THOMAS, JOSEFA                   35209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31453   THOMAS, JOSEFA                   36200   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31454   THOMAS, JOSEFA                   37189   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31455   THOMAS, KARYN                    7756    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31456   THOMAS, KARYN Laredo, LLC        13506   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31457   THOMAS, KARYN                    19253   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4543 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31458   THOMAS, KARYN                   24987   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31459   THOMAS, KARYN                   30747   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31460                                   5892    8/1/2022     Secured: $0.00
        KIMBERLEY       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31461                   Laredo, LLC     11642   8/1/2022     Secured: $0.00
        KIMBERLEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31462                                   17389   8/1/2022     Secured: $0.00
        KIMBERLEY       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31463                                   23134   8/1/2022     Secured: $0.00
        KIMBERLEY       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31464                                   28883   8/1/2022     Secured: $0.00
        KIMBERLEY       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4544 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31465                                   6148    8/1/2022     Secured: $0.00
        LAKEISHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31466                   Laredo, LLC     11898   8/1/2022     Secured: $0.00
        LAKEISHA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31467                                   17645   8/1/2022     Secured: $0.00
        LAKEISHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31468                                   23390   8/1/2022     Secured: $0.00
        LAKEISHA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31469                                   29139   8/1/2022     Secured: $0.00
        LAKEISHA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31470   THOMAS, LEE E                   7953    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31471   THOMAS, LEE E   Laredo, LLC     13703   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4545 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31472   THOMAS, LEE E                   19450   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31473   THOMAS, LEE E                   25184   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31474   THOMAS, LEE E                   30944   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31475                                   8245    8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31476                   Laredo, LLC     13995   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31477                                   19742   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31478                                   25476   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4546 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31479                                   31236   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31480                                   3632    8/1/2022     Secured: $0.00
        NATHAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31481                   Laredo, LLC     9382    8/1/2022     Secured: $0.00
        NATHAN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31482                                   15129   8/1/2022     Secured: $0.00
        NATHAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31483                                   20876   8/1/2022     Secured: $0.00
        NATHAN          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31484                                   26623   8/1/2022     Secured: $0.00
        NATHAN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31485   THOMAS, OKEMA                   8362    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4547 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31486   THOMAS, OKEMA Laredo, LLC       14112   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31487   THOMAS, OKEMA                   19859   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31488   THOMAS, OKEMA                   25592   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31489   THOMAS, OKEMA                   31353   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31490                   Laredo, LLC     33228   8/1/2022     Secured: $0.00
        PATRICIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31491                                   34219   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31492                                   35210   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4548 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        THOMAS,           Talen Texas
31493                                     36201   8/1/2022     Secured: $0.00
        PATRICIA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        THOMAS,           Talen Texas,
31494                                     37190   8/1/2022     Secured: $0.00
        PATRICIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31495   THOMAS, PHILLIP                   8455    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31496   THOMAS, PHILLIP Laredo, LLC       14205   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31497   THOMAS, PHILLIP                   19952   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31498   THOMAS, PHILLIP                   25685   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31499   THOMAS, PHILLIP                   31446   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4549 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,
31500                 Laredo, LLC     33229   8/1/2022     Secured: $0.00
        RHONDA G.
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Barney Davis,
31501                                 34220   8/1/2022     Secured: $0.00
        RHONDA G.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Nueces Bay,
31502                                 35211   8/1/2022     Secured: $0.00
        RHONDA G.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas
31503                                 36202   8/1/2022     Secured: $0.00
        RHONDA G.     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Talen Texas,
31504                                 37191   8/1/2022     Secured: $0.00
        RHONDA G.     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,       Barney Davis,
31505                                 8659    8/1/2022     Secured: $0.00
        ROLAND        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMAS,
31506                 Laredo, LLC     14409   8/1/2022     Secured: $0.00
        ROLAND
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4550 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Nueces Bay,
31507                                    20156   8/1/2022     Secured: $0.00
        ROLAND           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas
31508                                    25888   8/1/2022     Secured: $0.00
        ROLAND           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas,
31509                                    31650   8/1/2022     Secured: $0.00
        ROLAND           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31510   THOMAS, SAMIRA                   8727    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31511   THOMAS, SAMIRA Laredo, LLC       14477   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31512   THOMAS, SAMIRA                   20224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31513   THOMAS, SAMIRA                   25956   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4551 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31514   THOMAS, SAMIRA                   31718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Barney Davis,
31515                                    8792    8/1/2022     Secured: $0.00
        SHARON DIANE     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,
31516                    Laredo, LLC     14542   8/1/2022     Secured: $0.00
        SHARON DIANE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Nueces Bay,
31517                                    20289   8/1/2022     Secured: $0.00
        SHARON DIANE     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas
31518                                    26021   8/1/2022     Secured: $0.00
        SHARON DIANE     Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Talen Texas,
31519                                    31783   8/1/2022     Secured: $0.00
        SHARON DIANE     LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        THOMAS,          Barney Davis,
31520                                    4716    8/1/2022     Secured: $0.00
        TAMMIE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4552 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31521                   Laredo, LLC     10466   8/1/2022     Secured: $0.00
        TAMMIE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31522                                   16213   8/1/2022     Secured: $0.00
        TAMMIE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31523                                   21959   8/1/2022     Secured: $0.00
        TAMMIE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31524                                   27707   8/1/2022     Secured: $0.00
        TAMMIE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31525   THOMAS, TEDDY                   8954    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31526   THOMAS, TEDDY   Laredo, LLC     14704   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31527   THOMAS, TEDDY                   20451   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4553 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31528   THOMAS, TEDDY                   26183   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31529   THOMAS, TEDDY                   31945   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Barney Davis,
31530                                   3787    8/1/2022     Secured: $0.00
        TIMOTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,
31531                   Laredo, LLC     9537    8/1/2022     Secured: $0.00
        TIMOTHY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Nueces Bay,
31532                                   15284   8/1/2022     Secured: $0.00
        TIMOTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas
31533                                   21031   8/1/2022     Secured: $0.00
        TIMOTHY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS,         Talen Texas,
31534                                   26778   8/1/2022     Secured: $0.00
        TIMOTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4554 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31535   THOMAS, TRAVIS                   4755    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31536   THOMAS, TRAVIS Laredo, LLC       10505   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31537   THOMAS, TRAVIS                   16252   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31538   THOMAS, TRAVIS                   21998   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31539   THOMAS, TRAVIS                   27746   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31540   THOMAS, TYRELL                   5353    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31541   THOMAS, TYRELL Laredo, LLC       11103   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4555 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31542   THOMAS, TYRELL                   16850   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31543   THOMAS, TYRELL                   22595   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31544   THOMAS, TYRELL                   28344   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31545   THOMAS, WANDA                    5368    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31546   THOMAS, WANDA Laredo, LLC        11118   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31547   THOMAS, WANDA                    16865   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31548   THOMAS, WANDA                    22610   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4556 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31549   THOMAS, WANDA                   28359   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS‐        Barney Davis,
31550                                   6634    8/1/2022     Secured: $0.00
        DEGRATE, CARLA LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS‐
31551                  Laredo, LLC      12384   8/1/2022     Secured: $0.00
        DEGRATE, CARLA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS‐        Nueces Bay,
31552                                   18131   8/1/2022     Secured: $0.00
        DEGRATE, CARLA LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS‐        Talen Texas
31553                                   23865   8/1/2022     Secured: $0.00
        DEGRATE, CARLA Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMAS‐        Talen Texas,
31554                                   29625   8/1/2022     Secured: $0.00
        DEGRATE, CARLA LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        THOMPSON,       Barney Davis,
31555                                   4840    8/1/2022     Secured: $0.00
        AUDREY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4557 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31556                 Laredo, LLC     10590   8/1/2022     Secured: $0.00
        AUDREY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31557                                 16337   8/1/2022     Secured: $0.00
        AUDREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31558                                 22083   8/1/2022     Secured: $0.00
        AUDREY        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31559                                 27831   8/1/2022     Secured: $0.00
        AUDREY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31560                                 3993    8/1/2022     Secured: $0.00
        BRITTANI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31561                 Laredo, LLC     9743    8/1/2022     Secured: $0.00
        BRITTANI
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31562                                 15490   8/1/2022     Secured: $0.00
        BRITTANI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4558 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31563                                 21236   8/1/2022     Secured: $0.00
        BRITTANI      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31564                                 26984   8/1/2022     Secured: $0.00
        BRITTANI      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31565                                 4003    8/1/2022     Secured: $0.00
        CARLETT       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31566                 Laredo, LLC     9753    8/1/2022     Secured: $0.00
        CARLETT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31567                                 15500   8/1/2022     Secured: $0.00
        CARLETT       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31568                                 21246   8/1/2022     Secured: $0.00
        CARLETT       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31569                                 26994   8/1/2022     Secured: $0.00
        CARLETT       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4559 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31570                                 9240    8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31571                 Laredo, LLC     14990   8/1/2022     Secured: $0.00
        CRYSTAL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31572                                 20737   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31573                                 26469   8/1/2022     Secured: $0.00
        CRYSTAL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31574                                 32231   8/1/2022     Secured: $0.00
        CRYSTAL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31575                                 6865    8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31576                 Laredo, LLC     12615   8/1/2022     Secured: $0.00
        CYNTHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4560 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31577                                 18362   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31578                                 24096   8/1/2022     Secured: $0.00
        CYNTHIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31579                                 29856   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31580                                 7293    8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31581                 Laredo, LLC     13043   8/1/2022     Secured: $0.00
        GEORGE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31582                                 18790   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31583                                 24524   8/1/2022     Secured: $0.00
        GEORGE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4561 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31584                                 30284   8/1/2022     Secured: $0.00
        GEORGE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31585                                 6131    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31586                 Laredo, LLC     11881   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31587                                 17628   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31588                                 23373   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31589                                 29122   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31590                                 4357    8/1/2022     Secured: $0.00
        KAREN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4562 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31591                 Laredo, LLC     10107   8/1/2022     Secured: $0.00
        KAREN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31592                                 15854   8/1/2022     Secured: $0.00
        KAREN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31593                                 21600   8/1/2022     Secured: $0.00
        KAREN         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31594                                 27348   8/1/2022     Secured: $0.00
        KAREN         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31595                                 8181    8/1/2022     Secured: $0.00
        MATHEW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31596                 Laredo, LLC     13931   8/1/2022     Secured: $0.00
        MATHEW
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31597                                 19678   8/1/2022     Secured: $0.00
        MATHEW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4563 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31598                                 25412   8/1/2022     Secured: $0.00
        MATHEW        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31599                                 31172   8/1/2022     Secured: $0.00
        MATHEW        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31600                                 4498    8/1/2022     Secured: $0.00
        MATILDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31601                 Laredo, LLC     10248   8/1/2022     Secured: $0.00
        MATILDA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31602                                 15995   8/1/2022     Secured: $0.00
        MATILDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31603                                 21741   8/1/2022     Secured: $0.00
        MATILDA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31604                                 27489   8/1/2022     Secured: $0.00
        MATILDA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4564 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31605                                 8321    8/1/2022     Secured: $0.00
        NAURSHIE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31606                 Laredo, LLC     14071   8/1/2022     Secured: $0.00
        NAURSHIE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31607                                 19818   8/1/2022     Secured: $0.00
        NAURSHIE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31608                                 25552   8/1/2022     Secured: $0.00
        NAURSHIE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31609                                 31312   8/1/2022     Secured: $0.00
        NAURSHIE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31610                 Laredo, LLC     33230   8/1/2022     Secured: $0.00
        PATRICIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31611                                 34221   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4565 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31612                                 35212   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31613                                 36203   8/1/2022     Secured: $0.00
        PATRICIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31614                                 37192   8/1/2022     Secured: $0.00
        PATRICIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31615                                 8494    8/1/2022     Secured: $0.00
        RANDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31616                 Laredo, LLC     14244   8/1/2022     Secured: $0.00
        RANDY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31617                                 19991   8/1/2022     Secured: $0.00
        RANDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31618                                 25723   8/1/2022     Secured: $0.00
        RANDY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4566 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31619                                 31485   8/1/2022     Secured: $0.00
        RANDY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31620                                 9317    8/1/2022     Secured: $0.00
        SAMULE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31621                 Laredo, LLC     15067   8/1/2022     Secured: $0.00
        SAMULE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31622                                 20814   8/1/2022     Secured: $0.00
        SAMULE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31623                                 26546   8/1/2022     Secured: $0.00
        SAMULE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31624                                 32308   8/1/2022     Secured: $0.00
        SAMULE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Barney Davis,
31625                                 3783    8/1/2022     Secured: $0.00
        STEPHEN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4567 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,
31626                 Laredo, LLC     9533    8/1/2022     Secured: $0.00
        STEPHEN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Nueces Bay,
31627                                 15280   8/1/2022     Secured: $0.00
        STEPHEN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas
31628                                 21027   8/1/2022     Secured: $0.00
        STEPHEN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THOMPSON,     Talen Texas,
31629                                 26774   8/1/2022     Secured: $0.00
        STEPHEN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THORNTON,     Barney Davis,
31630                                 8670    8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THORNTON,
31631                 Laredo, LLC     14420   8/1/2022     Secured: $0.00
        RONALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THORNTON,     Nueces Bay,
31632                                 20167   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4568 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THORNTON,     Talen Texas
31633                                 25899   8/1/2022     Secured: $0.00
        RONALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THORNTON,     Talen Texas,
31634                                 31661   8/1/2022     Secured: $0.00
        RONALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THRASHER,     Barney Davis,
31635                                 7301    8/1/2022     Secured: $0.00
        GERALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THRASHER,
31636                 Laredo, LLC     13051   8/1/2022     Secured: $0.00
        GERALD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THRASHER,     Nueces Bay,
31637                                 18798   8/1/2022     Secured: $0.00
        GERALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THRASHER,     Talen Texas
31638                                 24532   8/1/2022     Secured: $0.00
        GERALD        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THRASHER,     Talen Texas,
31639                                 30292   8/1/2022     Secured: $0.00
        GERALD        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4569 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THURMAN,
31640                 Laredo, LLC     33231   8/1/2022     Secured: $0.00
        TREVIN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THURMAN,      Barney Davis,
31641                                 34222   8/1/2022     Secured: $0.00
        TREVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THURMAN,      Nueces Bay,
31642                                 35213   8/1/2022     Secured: $0.00
        TREVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THURMAN,      Talen Texas
31643                                 36204   8/1/2022     Secured: $0.00
        TREVIN        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        THURMAN,      Talen Texas,
31644                                 37193   8/1/2022     Secured: $0.00
        TREVIN        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TIDWELL‐                                           Priority: $0.00
                      Barney Davis,
31645   GREMILLION,                   5639    8/1/2022     Secured: $0.00
                      LLC
        SHELLEY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TIDWELL‐                                           Priority: $0.00
31646   GREMILLION,   Laredo, LLC     11389   8/1/2022     Secured: $0.00
        SHELLEY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4570 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIDWELL‐                                              Priority: $0.00
                         Nueces Bay,
31647   GREMILLION,                      17136   8/1/2022     Secured: $0.00
                         LLC
        SHELLEY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIDWELL‐                                              Priority: $0.00
                         Talen Texas
31648   GREMILLION,                      22881   8/1/2022     Secured: $0.00
                         Group, LLC
        SHELLEY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIDWELL‐                                              Priority: $0.00
                         Talen Texas,
31649   GREMILLION,                      28630   8/1/2022     Secured: $0.00
                         LLC
        SHELLEY                                               General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31650   TIENDA, DANIEL                   6897    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31651   TIENDA, DANIEL   Laredo, LLC     12647   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31652   TIENDA, DANIEL                   18394   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31653   TIENDA, DANIEL                   24128   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4571 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31654   TIENDA, DANIEL                   29888   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31655   TIGGS, SHELLEY                   8818    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31656   TIGGS, SHELLEY   Laredo, LLC     14568   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31657   TIGGS, SHELLEY                   20315   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31658   TIGGS, SHELLEY                   26047   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31659   TIGGS, SHELLEY                   31809   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TIJERINA,        Barney Davis,
31660                                    8653    8/1/2022     Secured: $0.00
        ROGELIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4572 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TIJERINA,
31661                      Laredo, LLC     14403   8/1/2022     Secured: $0.00
        ROGELIO
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TIJERINA,          Nueces Bay,
31662                                      20150   8/1/2022     Secured: $0.00
        ROGELIO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TIJERINA,          Talen Texas
31663                                      25882   8/1/2022     Secured: $0.00
        ROGELIO            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TIJERINA,          Talen Texas,
31664                                      31644   8/1/2022     Secured: $0.00
        ROGELIO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31665   TILLEY, JENNIFER                   7528    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31666   TILLEY, JENNIFER Laredo, LLC       13278   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31667   TILLEY, JENNIFER                   19025   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4573 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31668   TILLEY, JENNIFER                   24759   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31669   TILLEY, JENNIFER                   30519   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31670   TILLMAN, KEVIN                     4382    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31671   TILLMAN, KEVIN     Laredo, LLC     10132   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31672   TILLMAN, KEVIN                     15879   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31673   TILLMAN, KEVIN                     21625   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31674   TILLMAN, KEVIN                     27373   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4574 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TIMMS,           Barney Davis,
31675                                    5257    8/1/2022     Secured: $0.00
        ROSHONDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TIMMS,
31676                    Laredo, LLC     11007   8/1/2022     Secured: $0.00
        ROSHONDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TIMMS,           Nueces Bay,
31677                                    16754   8/1/2022     Secured: $0.00
        ROSHONDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TIMMS,           Talen Texas
31678                                    22499   8/1/2022     Secured: $0.00
        ROSHONDA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TIMMS,           Talen Texas,
31679                                    28248   8/1/2022     Secured: $0.00
        ROSHONDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIMOTHY MARTIN
                                                              Priority: $0.00
        AS HEIR OF THE  Barney Davis,
31680                                    5426    8/1/2022     Secured: $0.00
        ESTATE OF BRIAN LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARTIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIMOTHY MARTIN
                                                              Priority: $0.00
        AS HEIR OF THE
31681                   Laredo, LLC      11176   8/1/2022     Secured: $0.00
        ESTATE OF BRIAN
                                                              General Unsecured: $0.00 + Unliquidated
        MARTIN
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4575 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIMOTHY MARTIN
                                                              Priority: $0.00
        AS HEIR OF THE  Nueces Bay,
31682                                    16923   8/1/2022     Secured: $0.00
        ESTATE OF BRIAN LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARTIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIMOTHY MARTIN
                                                              Priority: $0.00
        AS HEIR OF THE  Talen Texas
31683                                    22668   8/1/2022     Secured: $0.00
        ESTATE OF BRIAN Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARTIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TIMOTHY MARTIN
                                                              Priority: $0.00
        AS HEIR OF THE  Talen Texas,
31684                                    28417   8/1/2022     Secured: $0.00
        ESTATE OF BRIAN LLC
                                                              General Unsecured: $0.00 + Unliquidated
        MARTIN
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TINA LUCORE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
31685   AND AS HEIR OF                   5410    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ROY LUCORE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TINA LUCORE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
31686   AND AS HEIR OF   Laredo, LLC     11160   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ROY LUCORE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TINA LUCORE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
31687   AND AS HEIR OF                   16907   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ROY LUCORE
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TINA LUCORE,                                          Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
31688   AND AS HEIR OF                   22652   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        ROY LUCORE
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4576 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
        TINA LUCORE,                                            Other Administrative: $0.00
        INDIVIDUALLY,                                           Priority: $0.00
                           Talen Texas,
31689   AND AS HEIR OF                     28401   8/1/2022     Secured: $0.00
                           LLC
        THE ESTATE OF                                           General Unsecured: $0.00 + Unliquidated
        ROY LUCORE
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31690   TIPPINS, CINDY                     4905    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31691   TIPPINS, CINDY     Laredo, LLC     10655   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31692   TIPPINS, CINDY                     16402   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31693   TIPPINS, CINDY                     22147   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31694   TIPPINS, CINDY                     27896   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31695   TIPPINS, TIFFANY                   5344    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4577 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31696   TIPPINS, TIFFANY Laredo, LLC       11094   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31697   TIPPINS, TIFFANY                   16841   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31698   TIPPINS, TIFFANY                   22586   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31699   TIPPINS, TIFFANY                   28335   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31700   TIPPS, JAMES                       7458    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31701   TIPPS, JAMES       Laredo, LLC     13208   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31702   TIPPS, JAMES                       18955   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4578 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31703   TIPPS, JAMES                    24689   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31704   TIPPS, JAMES                    30449   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31705   TITTLE, BOBBY                   6533    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31706   TITTLE, BOBBY   Laredo, LLC     12283   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31707   TITTLE, BOBBY                   18030   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31708   TITTLE, BOBBY                   23765   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31709   TITTLE, BOBBY                   29524   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4579 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31710   TITUS, PAMELA                   5196    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31711   TITUS, PAMELA   Laredo, LLC     10946   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31712   TITUS, PAMELA                   16693   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31713   TITUS, PAMELA                   22438   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31714   TITUS, PAMELA                   28187   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TNUS INSURANCE Nueces Bay,
31715                                   1610    7/31/2022    Secured: $0.00
        COMPANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TNUS INSURANCE Barney Davis,
31716                                   1619    7/31/2022    Secured: $0.00
        COMPANY        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4580 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TNUS INSURANCE
31717                  Laredo, LLC        2083    7/31/2022    Secured: $0.00
        COMPANY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31718   TOBAR, PRICILLA                   4580    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31719   TOBAR, PRICILLA   Laredo, LLC     10330   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31720   TOBAR, PRICILLA                   16077   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31721   TOBAR, PRICILLA                   21823   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31722   TOBAR, PRICILLA                   27571   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TOGGLE                                                 Priority: $0.00
                          Nueces Bay,
31723   INSURANCE                         2733    8/1/2022     Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,317.49 + Unliquidated

                                                               Total: $6,317.49 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4581 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TOGGLE                                             Priority: $0.00
                       Barney Davis,
31724   INSURANCE                      2858   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $6,317.49 + Unliquidated

                                                           Total: $6,317.49 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TOGGLE                                             Priority: $0.00
31725   INSURANCE      Laredo, LLC     2859   8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $6,317.49 + Unliquidated

                                                           Total: $6,317.49 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOKIO MARINE   Nueces Bay,
31726                                  1222   7/28/2022    Secured: $0.00
        AMERICA        LLC
                                                           General Unsecured: $25,000,000.00 + Unliquidated

                                                           Total: $25,000,000.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TOKIO MARINE
                                                           Priority: $0.00
        AMERICA
31727                  Laredo, LLC     1325   7/28/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $25,000,000.00 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TOKIO MARINE
                                                           Priority: $0.00
        AMERICA        Barney Davis,
31728                                  1409   7/28/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $25,000,000.00 + Unliquidated
        COMPANY
                                                           Total: $25,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        TOKIO MARINE
                                                           Priority: $0.00
        AMERICA        Nueces Bay,
31729                                  2764   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $4,162,500.00 + Unliquidated
        COMPANY
                                                           Total: $4,162,500.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4582 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TOKIO MARINE
                                                               Priority: $0.00
        AMERICA           Barney Davis,
31730                                     2786    7/31/2022    Secured: $0.00
        INSURANCE         LLC
                                                               General Unsecured: $4,162,500.00 + Unliquidated
        COMPANY
                                                               Total: $4,162,500.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TOKIO MARINE
                                                               Priority: $0.00
        AMERICA
31731                     Laredo, LLC     2855    7/31/2022    Secured: $0.00
        INSURANCE
                                                               General Unsecured: $4,162,500.00 + Unliquidated
        COMPANY
                                                               Total: $4,162,500.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TOKIO MARINE                                           Priority: $0.00
31732   HCC INSURANCE     Laredo, LLC     2968    8/1/2022     Secured: $0.00
        COMPANY                                                General Unsecured: $431,407.08 + Unliquidated

                                                               Total: $431,407.08 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TOKIO MARINE                                           Priority: $0.00
                          Barney Davis,
31733   HCC INSURANCE                     3050    8/1/2022     Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $431,407.08 + Unliquidated

                                                               Total: $431,407.08 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TOKIO MARINE                                           Priority: $0.00
                          Nueces Bay,
31734   HCC INSURANCE                     3153    8/1/2022     Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $431,407.08 + Unliquidated

                                                               Total: $431,407.08 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31735   TOLAND, JUSTINE                   7731    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31736   TOLAND, JUSTINE Laredo, LLC       13481   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4583 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31737   TOLAND, JUSTINE                   19228   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31738   TOLAND, JUSTINE                   24962   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31739   TOLAND, JUSTINE                   30722   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TOLBERT,          Barney Davis,
31740                                     4146    8/1/2022     Secured: $0.00
        DOROTHY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TOLBERT,
31741                     Laredo, LLC     9896    8/1/2022     Secured: $0.00
        DOROTHY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TOLBERT,          Nueces Bay,
31742                                     15643   8/1/2022     Secured: $0.00
        DOROTHY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TOLBERT,          Talen Texas
31743                                     21389   8/1/2022     Secured: $0.00
        DOROTHY           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4584 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        TOLBERT,           Talen Texas,
31744                                      27137   8/1/2022     Secured: $0.00
        DOROTHY            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31745   TOLBERT, KRISTIN                   7872    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
31746   TOLBERT, KRISTIN Laredo, LLC       13622   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
31747   TOLBERT, KRISTIN                   19369   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
31748   TOLBERT, KRISTIN                   25103   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
31749   TOLBERT, KRISTIN                   30863   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
31750   TOLER, EVA                         7211    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4585 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31751   TOLER, EVA        Laredo, LLC     12961   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31752   TOLER, EVA                        18708   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31753   TOLER, EVA                        24442   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31754   TOLER, EVA                        30202   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31755   TOLES, VERONICA                   5904    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31756   TOLES, VERONICA Laredo, LLC       11654   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31757   TOLES, VERONICA                   17401   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4586 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31758   TOLES, VERONICA                   23146   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31759   TOLES, VERONICA                   28895   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31760   TOLIVER, DIANE                    7041    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31761   TOLIVER, DIANE    Laredo, LLC     12791   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31762   TOLIVER, DIANE                    18538   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31763   TOLIVER, DIANE                    24272   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31764   TOLIVER, DIANE                    30032   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4587 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLIVER,      Barney Davis,
31765                                 5256    8/1/2022     Secured: $0.00
        ROSEANN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLIVER,
31766                 Laredo, LLC     11006   8/1/2022     Secured: $0.00
        ROSEANN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLIVER,      Nueces Bay,
31767                                 16753   8/1/2022     Secured: $0.00
        ROSEANN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLIVER,      Talen Texas
31768                                 22498   8/1/2022     Secured: $0.00
        ROSEANN       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLIVER,      Talen Texas,
31769                                 28247   8/1/2022     Secured: $0.00
        ROSEANN       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLLEFSON,    Barney Davis,
31770                                 5301    8/1/2022     Secured: $0.00
        SHELBY        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOLLEFSON,
31771                 Laredo, LLC     11051   8/1/2022     Secured: $0.00
        SHELBY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4588 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOLLEFSON,      Nueces Bay,
31772                                   16798   8/1/2022     Secured: $0.00
        SHELBY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOLLEFSON,      Talen Texas
31773                                   22543   8/1/2022     Secured: $0.00
        SHELBY          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOLLEFSON,      Talen Texas,
31774                                   28292   8/1/2022     Secured: $0.00
        SHELBY          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31775   TOMBES, TERRY                   6038    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31776   TOMBES, TERRY   Laredo, LLC     11788   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31777   TOMBES, TERRY                   17535   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31778   TOMBES, TERRY                   23280   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4589 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31779   TOMBES, TERRY                   29029   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31780   TOMKO, THOMAS Laredo, LLC       33232   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31781   TOMKO, THOMAS                   34223   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31782   TOMKO, THOMAS                   35214   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31783   TOMKO, THOMAS                   36205   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31784   TOMKO, THOMAS                   37194   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOMPKINS,       Barney Davis,
31785                                   5576    8/1/2022     Secured: $0.00
        AMANDA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4590 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOMPKINS,
31786                    Laredo, LLC     11326   8/1/2022     Secured: $0.00
        AMANDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOMPKINS,        Nueces Bay,
31787                                    17073   8/1/2022     Secured: $0.00
        AMANDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOMPKINS,        Talen Texas
31788                                    22818   8/1/2022     Secured: $0.00
        AMANDA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOMPKINS,        Talen Texas,
31789                                    28567   8/1/2022     Secured: $0.00
        AMANDA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31790   TOMS, VICTORIA                   9122    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31791   TOMS, VICTORIA   Laredo, LLC     14872   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31792   TOMS, VICTORIA                   20619   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4591 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31793   TOMS, VICTORIA                   26351   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31794   TOMS, VICTORIA                   32113   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TONEY,           Barney Davis,
31795                                    5450    8/1/2022     Secured: $0.00
        ENGLEBURG        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TONEY,
31796                    Laredo, LLC     11200   8/1/2022     Secured: $0.00
        ENGLEBURG
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TONEY,           Nueces Bay,
31797                                    16947   8/1/2022     Secured: $0.00
        ENGLEBURG        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TONEY,           Talen Texas
31798                                    22692   8/1/2022     Secured: $0.00
        ENGLEBURG        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TONEY,           Talen Texas,
31799                                    28441   8/1/2022     Secured: $0.00
        ENGLEBURG        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4592 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOPA INSURANCE
31800                  Laredo, LLC      3272    8/1/2022     Secured: $0.00
        COMPANY
                                                             General Unsecured: $229,292.00 + Unliquidated

                                                             Total: $229,292.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOPA INSURANCE Barney Davis,
31801                                   3313    8/1/2022     Secured: $0.00
        COMPANY        LLC
                                                             General Unsecured: $229,292.00 + Unliquidated

                                                             Total: $229,292.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOPA INSURANCE Nueces Bay,
31802                                   3448    8/1/2022     Secured: $0.00
        COMPANY        LLC
                                                             General Unsecured: $229,292.00 + Unliquidated

                                                             Total: $229,292.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31803   TORAN, NICILE                   4539    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31804   TORAN, NICILE   Laredo, LLC     10289   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31805   TORAN, NICILE                   16036   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31806   TORAN, NICILE                   21782   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4593 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31807   TORAN, NICILE                   27530   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31808   TORRE, MARIA    Laredo, LLC     33233   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31809   TORRE, MARIA                    34224   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31810   TORRE, MARIA                    35215   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31811   TORRE, MARIA                    36206   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31812   TORRE, MARIA                    37195   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31813   TORRES, AIMEE                   6052    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4594 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31814   TORRES, AIMEE    Laredo, LLC     11802   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31815   TORRES, AIMEE                    17549   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31816   TORRES, AIMEE                    23294   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31817   TORRES, AIMEE                    29043   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31818   TORRES, ANDRES                   6383    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31819   TORRES, ANDRES Laredo, LLC       12133   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31820   TORRES, ANDRES                   17880   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4595 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31821   TORRES, ANDRES                   23615   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31822   TORRES, ANDRES                   29374   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TORRES,          Barney Davis,
31823                                    5744    8/1/2022     Secured: $0.00
        ANTONIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TORRES,
31824                    Laredo, LLC     11494   8/1/2022     Secured: $0.00
        ANTONIO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TORRES,          Nueces Bay,
31825                                    17241   8/1/2022     Secured: $0.00
        ANTONIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TORRES,          Talen Texas
31826                                    22986   8/1/2022     Secured: $0.00
        ANTONIO          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TORRES,          Talen Texas,
31827                                    28735   8/1/2022     Secured: $0.00
        ANTONIO          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4596 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31828   TORRES, DAVID                    4097    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31829   TORRES, DAVID    Laredo, LLC     9847    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31830   TORRES, DAVID                    15594   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31831   TORRES, DAVID                    21340   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31832   TORRES, DAVID                    27088   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31833   TORRES, ERNEST                   7197    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31834   TORRES, ERNEST   Laredo, LLC     12947   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4597 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31835   TORRES, ERNEST                   18694   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31836   TORRES, ERNEST                   24428   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31837   TORRES, ERNEST                   30188   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31838   TORRES, IRVIN                    7400    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31839   TORRES, IRVIN    Laredo, LLC     13150   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31840   TORRES, IRVIN                    18897   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31841   TORRES, IRVIN                    24631   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4598 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31842   TORRES, IRVIN                   30391   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31843   TORRES, JOSE                    5812    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31844   TORRES, JOSE    Laredo, LLC     11562   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31845   TORRES, JOSE                    17309   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31846   TORRES, JOSE                    23054   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31847   TORRES, JOSE                    28803   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31848   TORRES, JULIE                   7718    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4599 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31849   TORRES, JULIE   Laredo, LLC     13468   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31850   TORRES, JULIE                   19215   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31851   TORRES, JULIE                   24949   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31852   TORRES, JULIE                   30709   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31853   TORRES, MARIA   Laredo, LLC     33234   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31854   TORRES, MARIA                   34225   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31855   TORRES, MARIA                   35216   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4600 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31856   TORRES, MARIA                   36207   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31857   TORRES, MARIA                   37196   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Barney Davis,
31858                                   8444    8/1/2022     Secured: $0.00
        PETRONILA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,
31859                   Laredo, LLC     14194   8/1/2022     Secured: $0.00
        PETRONILA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Nueces Bay,
31860                                   19941   8/1/2022     Secured: $0.00
        PETRONILA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Talen Texas
31861                                   25674   8/1/2022     Secured: $0.00
        PETRONILA       Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Talen Texas,
31862                                   31435   8/1/2022     Secured: $0.00
        PETRONILA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4601 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31863   TORRES, RAYNE   Laredo, LLC     33235   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31864   TORRES, RAYNE                   34226   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31865   TORRES, RAYNE                   35217   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31866   TORRES, RAYNE                   36208   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31867   TORRES, RAYNE                   37197   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,
31868                   Laredo, LLC     33236   8/1/2022     Secured: $0.00
        REYNALDO
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Barney Davis,
31869                                   34227   8/1/2022     Secured: $0.00
        REYNALDO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4602 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Nueces Bay,
31870                                   35218   8/1/2022     Secured: $0.00
        REYNALDO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Talen Texas
31871                                   36209   8/1/2022     Secured: $0.00
        REYNALDO        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRES,         Talen Texas,
31872                                   37198   8/1/2022     Secured: $0.00
        REYNALDO        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31873   TORRES, RUBEN   Laredo, LLC     33237   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31874   TORRES, RUBEN                   34228   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31875   TORRES, RUBEN                   35219   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31876   TORRES, RUBEN                   36210   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4603 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31877   TORRES, RUBEN                   37199   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRETTA,       Barney Davis,
31878                                   6305    8/1/2022     Secured: $0.00
        ALAYNE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRETTA,
31879                   Laredo, LLC     12055   8/1/2022     Secured: $0.00
        ALAYNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRETTA,       Nueces Bay,
31880                                   17802   8/1/2022     Secured: $0.00
        ALAYNE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRETTA,       Talen Texas
31881                                   23537   8/1/2022     Secured: $0.00
        ALAYNE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TORRETTA,       Talen Texas,
31882                                   29296   8/1/2022     Secured: $0.00
        ALAYNE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOSHA,          Barney Davis,
31883                                   5863    8/1/2022     Secured: $0.00
        RODRIGUEZ       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4604 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOSHA,
31884                    Laredo, LLC    11613   8/1/2022     Secured: $0.00
        RODRIGUEZ
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOSHA,           Nueces Bay,
31885                                   17360   8/1/2022     Secured: $0.00
        RODRIGUEZ        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOSHA,           Talen Texas
31886                                   23105   8/1/2022     Secured: $0.00
        RODRIGUEZ        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOSHA,           Talen Texas,
31887                                   28854   8/1/2022     Secured: $0.00
        RODRIGUEZ        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOTTEN, DESTINY Barney Davis,
31888                                   7017    8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOTTEN, DESTINY
31889                   Laredo, LLC     12767   8/1/2022     Secured: $0.00
        M
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOTTEN, DESTINY Nueces Bay,
31890                                   18514   8/1/2022     Secured: $0.00
        M               LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4605 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOTTEN, DESTINY Talen Texas
31891                                    24248   8/1/2022     Secured: $0.00
        M               Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOTTEN, DESTINY Talen Texas,
31892                                    30008   8/1/2022     Secured: $0.00
        M               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOUDOUZE,        Barney Davis,
31893                                    5614    8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOUDOUZE,
31894                    Laredo, LLC     11364   8/1/2022     Secured: $0.00
        KIMBERLY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOUDOUZE,        Nueces Bay,
31895                                    17111   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOUDOUZE,        Talen Texas
31896                                    22856   8/1/2022     Secured: $0.00
        KIMBERLY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TOUDOUZE,        Talen Texas,
31897                                    28605   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4606 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
31898   TOVAR, KORA                    7864    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
31899   TOVAR, KORA    Laredo, LLC     13614   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
31900   TOVAR, KORA                    19361   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
31901   TOVAR, KORA                    25095   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
31902   TOVAR, KORA                    30855   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
31903   TOVAR, SUSAN                   8904    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
31904   TOVAR, SUSAN   Laredo, LLC     14654   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4607 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31905   TOVAR, SUSAN                    20401   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31906   TOVAR, SUSAN                    26133   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31907   TOVAR, SUSAN                    31895   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31908   TOVAR, SYLVIA   Laredo, LLC     33238   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31909   TOVAR, SYLVIA                   34229   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31910   TOVAR, SYLVIA                   35220   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31911   TOVAR, SYLVIA                   36211   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4608 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31912   TOVAR, SYLVIA                   37200   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
31913   TOVEY, DAVID                    6939    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
31914   TOVEY, DAVID    Laredo, LLC     12689   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
31915   TOVEY, DAVID                    18436   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
31916   TOVEY, DAVID                    24170   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
31917   TOVEY, DAVID                    29930   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TOWNSEND,       Barney Davis,
31918                                   4144    8/1/2022     Secured: $0.00
        DORIS           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4609 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,
31919                 Laredo, LLC     9894    8/1/2022     Secured: $0.00
        DORIS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,     Nueces Bay,
31920                                 15641   8/1/2022     Secured: $0.00
        DORIS         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,     Talen Texas
31921                                 21387   8/1/2022     Secured: $0.00
        DORIS         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,     Talen Texas,
31922                                 27135   8/1/2022     Secured: $0.00
        DORIS         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,
31923                 Laredo, LLC     33239   8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,     Barney Davis,
31924                                 34230   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TOWNSEND,     Nueces Bay,
31925                                 35221   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4610 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TOWNSEND,      Talen Texas
31926                                  36212   8/1/2022     Secured: $0.00
        ELIZABETH      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TOWNSEND,      Talen Texas,
31927                                  37201   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
31928   TRAN, KEVIN                    5994    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
31929   TRAN, KEVIN    Laredo, LLC     11744   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
31930   TRAN, KEVIN                    17491   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
31931   TRAN, KEVIN                    23236   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
31932   TRAN, KEVIN                    28985   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4611 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSGUARD                                          Priority: $0.00
31933   INSURANCE       Laredo, LLC     960    7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $956,277.64 + Unliquidated

                                                            Total: $956,277.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSGUARD                                          Priority: $0.00
                        Talen Energy
31934   INSURANCE                       1048   7/28/2022    Secured: $0.00
                        Supply, LLC
        COMPANY                                             General Unsecured: $956,277.64 + Unliquidated

                                                            Total: $956,277.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSGUARD                                          Priority: $0.00
                        Nueces Bay,
31935   INSURANCE                       1055   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $956,277.64 + Unliquidated

                                                            Total: $956,277.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSGUARD                                          Priority: $0.00
                        Barney Davis,
31936   INSURANCE                       1059   7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $956,277.64 + Unliquidated

                                                            Total: $956,277.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSPORTATION                                      Priority: $0.00
31937   INSURANCE      Laredo, LLC      1929   7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $7,756,291.00 + Unliquidated

                                                            Total: $7,756,291.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSPORTATION                                      Priority: $0.00
                       Barney Davis,
31938   INSURANCE                       2215   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $7,756,291.00 + Unliquidated

                                                            Total: $7,756,291.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSPORTATION                                      Priority: $0.00
                       Nueces Bay,
31939   INSURANCE                       2216   7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $7,756,291.00 + Unliquidated

                                                            Total: $7,756,291.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4612 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRANSVERSE      Barney Davis,
31940                                   1023   7/29/2022    Secured: $0.00
        INSURANCE CO.   LLC
                                                            General Unsecured: $7,057,370.63 + Unliquidated

                                                            Total: $7,057,370.63 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRANSVERSE
31941                   Laredo, LLC     1567   7/29/2022    Secured: $0.00
        INSURANCE CO.
                                                            General Unsecured: $7,057,370.63 + Unliquidated

                                                            Total: $7,057,370.63 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRANSVERSE      Nueces Bay,
31942                                   1712   7/29/2022    Secured: $0.00
        INSURANCE CO.   LLC
                                                            General Unsecured: $7,057,370.63 + Unliquidated

                                                            Total: $7,057,370.63 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSVERSE
                                                            Priority: $0.00
        SPECIALTY
31943                   Laredo, LLC     2585   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSVERSE
                                                            Priority: $0.00
        SPECIALTY       Nueces Bay,
31944                                   2890   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                            Total: $198,152,103.43 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRANSVERSE
                                                            Priority: $0.00
        SPECIALTY       Barney Davis,
31945                                   2926   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                            Total: $198,152,103.43 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4613 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31946   TRASK, WILLIAM                   9170    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31947   TRASK, WILLIAM   Laredo, LLC     14920   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31948   TRASK, WILLIAM                   20667   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31949   TRASK, WILLIAM                   26399   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31950   TRASK, WILLIAM                   32161   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TRAVELERS                                             Other Administrative: $0.00
        CASUALTY                                              Priority: $0.00
31951   INSURANCE        Laredo, LLC     2244    7/29/2022    Secured: $0.00
        COMPANY OF                                            General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        TRAVELERS                                             Other Administrative: $0.00
        CASUALTY                                              Priority: $0.00
                         Barney Davis,
31952   INSURANCE                        2276    7/30/2022    Secured: $0.00
                         LLC
        COMPANY OF                                            General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4614 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
        TRAVELERS                                           Other Administrative: $0.00
        CASUALTY                                            Priority: $0.00
                        Nueces Bay,
31953   INSURANCE                       2329   7/30/2022    Secured: $0.00
                        LLC
        COMPANY OF                                          General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        COMMERCIAL
31954                   Laredo, LLC     2233   7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        COMMERCIAL      Nueces Bay,
31955                                   2282   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        COMMERCIAL      Barney Davis,
31956                                   2635   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        EXCESS AND
31957                   Laredo, LLC     2154   7/29/2022    Secured: $0.00
        SURPLUS LINES
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        EXCESS AND      Nueces Bay,
31958                                   2330   7/30/2022    Secured: $0.00
        SURPLUS LINES   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        EXCESS AND      Barney Davis,
31959                                   2640   7/30/2022    Secured: $0.00
        SURPLUS LINES   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4615 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS                                            Priority: $0.00
31960   INDEMNITY        Laredo, LLC     1898   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS                                            Priority: $0.00
                         Nueces Bay,
31961   INDEMNITY                        2528   7/31/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS                                            Priority: $0.00
                         Barney Davis,
31962   INDEMNITY                        2747   7/30/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS
                                                             Priority: $0.00
        INDEMNITY
31963                    Laredo, LLC     2054   7/29/2022    Secured: $0.00
        COMPANY OF
                                                             General Unsecured: $0.00 + Unliquidated
        CONNECTICUT
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS
                                                             Priority: $0.00
        INDEMNITY        Barney Davis,
31964                                    2576   7/30/2022    Secured: $0.00
        COMPANY OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CONNECTICUT
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS
                                                             Priority: $0.00
        INDEMNITY        Nueces Bay,
31965                                    2664   7/31/2022    Secured: $0.00
        COMPANY OF       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        CONNECTICUT
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRAVELERS
                                                             Priority: $0.00
        LLOYDS OF TEXAS Barney Davis,
31966                                    2172   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4616 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        LLOYDS OF TEXAS
31967                   Laredo, LLC     2252   7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        LLOYDS OF TEXAS Nueces Bay,
31968                                   2295   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        PERSONAL
31969                   Laredo, LLC     2059   7/30/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        PERSONAL        Nueces Bay,
31970                                   2286   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRAVELERS
                                                            Priority: $0.00
        PERSONAL        Barney Davis,
31971                                   2492   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TRAVELERS                                           Other Administrative: $0.00
        PERSONAL                                            Priority: $0.00
31972   SECURITY        Laredo, LLC     1911   7/29/2022    Secured: $0.00
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TRAVELERS                                           Other Administrative: $0.00
        PERSONAL                                            Priority: $0.00
                        Nueces Bay,
31973   SECURITY                        2530   7/31/2022    Secured: $0.00
                        LLC
        INSURANCE                                           General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4617 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
        TRAVELERS                                          Other Administrative: $0.00
        PERSONAL                                           Priority: $0.00
                      Barney Davis,
31974   SECURITY                      2690    7/31/2022    Secured: $0.00
                      LLC
        INSURANCE                                          General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        TRAVELERS                                          Other Administrative: $0.00
        PROPERTY                                           Priority: $0.00
31975   CASUALTY      Laredo, LLC     2047    7/29/2022    Secured: $0.00
        COMPANY OF                                         General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        TRAVELERS                                          Other Administrative: $0.00
        PROPERTY                                           Priority: $0.00
                      Barney Davis,
31976   CASUALTY                      2531    7/31/2022    Secured: $0.00
                      LLC
        COMPANY OF                                         General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
        TRAVELERS                                          Other Administrative: $0.00
        PROPERTY                                           Priority: $0.00
                      Nueces Bay,
31977   CASUALTY                      2656    7/31/2022    Secured: $0.00
                      LLC
        COMPANY OF                                         General Unsecured: $0.00 + Unliquidated
        AMERICA
                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TRAVERS,
31978                 Laredo, LLC     33240   8/1/2022     Secured: $0.00
        DECIDERIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TRAVERS,      Barney Davis,
31979                                 34231   8/1/2022     Secured: $0.00
        DECIDERIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TRAVERS,      Nueces Bay,
31980                                 35222   8/1/2022     Secured: $0.00
        DECIDERIA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4618 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRAVERS,         Talen Texas
31981                                    36213   8/1/2022     Secured: $0.00
        DECIDERIA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRAVERS,         Talen Texas,
31982                                    37202   8/1/2022     Secured: $0.00
        DECIDERIA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
31983   TRAVIS, JOSHUA                   4331    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
31984   TRAVIS, JOSHUA   Laredo, LLC     10081   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
31985   TRAVIS, JOSHUA                   15828   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
31986   TRAVIS, JOSHUA                   21574   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
31987   TRAVIS, JOSHUA                   27322   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4619 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31988   TREJO, ELMA       Laredo, LLC     33241   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31989   TREJO, ELMA                       34232   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31990   TREJO, ELMA                       35223   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31991   TREJO, ELMA                       36214   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31992   TREJO, ELMA                       37203   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31993   TREJO, GRACIELA Laredo, LLC       33242   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31994   TREJO, GRACIELA                   34233   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4620 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
31995   TREJO, GRACIELA                   35224   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
31996   TREJO, GRACIELA                   36215   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
31997   TREJO, GRACIELA                   37204   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
31998   TREJO, JAMES                      6122    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
31999   TREJO, JAMES      Laredo, LLC     11872   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32000   TREJO, JAMES                      17619   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32001   TREJO, JAMES                      23364   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4621 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32002   TREJO, JAMES                     29113   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32003   TREJO, JESSICA                   3886    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32004   TREJO, JESSICA   Laredo, LLC     9636    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32005   TREJO, JESSICA                   15383   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32006   TREJO, JESSICA                   21130   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32007   TREJO, JESSICA                   26877   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREMBLAY, KELLY Barney Davis,
32008                                    4374    8/1/2022     Secured: $0.00
        J               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4622 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREMBLAY, KELLY
32009                   Laredo, LLC      10124   8/1/2022     Secured: $0.00
        J
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREMBLAY, KELLY Nueces Bay,
32010                                    15871   8/1/2022     Secured: $0.00
        J               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREMBLAY, KELLY Talen Texas
32011                                    21617   8/1/2022     Secured: $0.00
        J               Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREMBLAY, KELLY Talen Texas,
32012                                    27365   8/1/2022     Secured: $0.00
        J               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREVINO,
32013                    Laredo, LLC     33243   8/1/2022     Secured: $0.00
        ADELINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREVINO,         Barney Davis,
32014                                    34234   8/1/2022     Secured: $0.00
        ADELINA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREVINO,         Nueces Bay,
32015                                    35225   8/1/2022     Secured: $0.00
        ADELINA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4623 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas
32016                                 36216   8/1/2022     Secured: $0.00
        ADELINA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas,
32017                                 37205   8/1/2022     Secured: $0.00
        ADELINA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Barney Davis,
32018                                 3813    8/1/2022     Secured: $0.00
        ALEJANDRO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,
32019                 Laredo, LLC     9563    8/1/2022     Secured: $0.00
        ALEJANDRO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Nueces Bay,
32020                                 15310   8/1/2022     Secured: $0.00
        ALEJANDRO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas
32021                                 21057   8/1/2022     Secured: $0.00
        ALEJANDRO     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas,
32022                                 26804   8/1/2022     Secured: $0.00
        ALEJANDRO     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4624 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32023   TREVINO, ALICE    Laredo, LLC     33244   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32024   TREVINO, ALICE                    34235   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32025   TREVINO, ALICE                    35226   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32026   TREVINO, ALICE                    36217   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32027   TREVINO, ALICE                    37206   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32028   TREVINO, JAVIER                   7493    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32029   TREVINO, JAVIER Laredo, LLC       13243   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4625 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32030   TREVINO, JAVIER                   18990   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32031   TREVINO, JAVIER                   24724   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32032   TREVINO, JAVIER                   30484   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32033   TREVINO, JESSE                    7551    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32034   TREVINO, JESSE    Laredo, LLC     13301   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32035   TREVINO, JESSE                    19048   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32036   TREVINO, JESSE                    24782   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4626 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32037   TREVINO, JESSE                   30542   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32038   TREVINO, JESUS   Laredo, LLC     33245   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32039   TREVINO, JESUS                   34236   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32040   TREVINO, JESUS                   35227   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32041   TREVINO, JESUS                   36218   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32042   TREVINO, JESUS                   37207   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TREVINO,         Barney Davis,
32043                                    5118    8/1/2022     Secured: $0.00
        MAGDALENA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4627 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,
32044                 Laredo, LLC     10868   8/1/2022     Secured: $0.00
        MAGDALENA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Nueces Bay,
32045                                 16615   8/1/2022     Secured: $0.00
        MAGDALENA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas
32046                                 22360   8/1/2022     Secured: $0.00
        MAGDALENA     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas,
32047                                 28109   8/1/2022     Secured: $0.00
        MAGDALENA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Barney Davis,
32048                                 3839    8/1/2022     Secured: $0.00
        MARINA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,
32049                 Laredo, LLC     9589    8/1/2022     Secured: $0.00
        MARINA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Nueces Bay,
32050                                 15336   8/1/2022     Secured: $0.00
        MARINA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4628 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas
32051                                 21083   8/1/2022     Secured: $0.00
        MARINA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas,
32052                                 26830   8/1/2022     Secured: $0.00
        MARINA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Barney Davis,
32053                                 5360    8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,
32054                 Laredo, LLC     11110   8/1/2022     Secured: $0.00
        VERONICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Nueces Bay,
32055                                 16857   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas
32056                                 22602   8/1/2022     Secured: $0.00
        VERONICA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TREVINO,      Talen Texas,
32057                                 28351   8/1/2022     Secured: $0.00
        VERONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4629 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRICOMI,         Barney Davis,
32058                                    6200    8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRICOMI,
32059                    Laredo, LLC     11950   8/1/2022     Secured: $0.00
        THERESA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRICOMI,         Nueces Bay,
32060                                    17697   8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRICOMI,         Talen Texas
32061                                    23442   8/1/2022     Secured: $0.00
        THERESA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRICOMI,         Talen Texas,
32062                                    29191   8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32063   TRIGG, SHAKOYA                   9320    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32064   TRIGG, SHAKOYA Laredo, LLC       15070   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4630 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32065   TRIGG, SHAKOYA                   20817   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32066   TRIGG, SHAKOYA                   26549   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32067   TRIGG, SHAKOYA                   32311   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32068   TRIM, JOSEPH                     4329    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32069   TRIM, JOSEPH     Laredo, LLC     10079   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32070   TRIM, JOSEPH                     15826   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32071   TRIM, JOSEPH                     21572   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4631 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32072   TRIM, JOSEPH                     27320   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32073   TRIMM, STANLEY                   8873    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32074   TRIMM, STANLEY Laredo, LLC       14623   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32075   TRIMM, STANLEY                   20370   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32076   TRIMM, STANLEY                   26102   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32077   TRIMM, STANLEY                   31864   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32078   TRIMM, STANN                     8874    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4632 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32079   TRIMM, STANN   Laredo, LLC     14624   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32080   TRIMM, STANN                   20371   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32081   TRIMM, STANN                   26103   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32082   TRIMM, STANN                   31865   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32083   TRINH, KATHY                   5993    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32084   TRINH, KATHY   Laredo, LLC     11743   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32085   TRINH, KATHY                   17490   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4633 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32086   TRINH, KATHY                   23235   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32087   TRINH, KATHY                   28984   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Barney Davis,
32088                                  6241    8/1/2022     Secured: $0.00
        CLAUDIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,
32089                  Laredo, LLC     11991   8/1/2022     Secured: $0.00
        CLAUDIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Nueces Bay,
32090                                  17738   8/1/2022     Secured: $0.00
        CLAUDIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Talen Texas
32091                                  26583   8/1/2022     Secured: $0.00
        CLAUDIA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Talen Texas,
32092                                  29232   8/1/2022     Secured: $0.00
        CLAUDIA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4634 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,
32093                  Laredo, LLC     33246   8/1/2022     Secured: $0.00
        ERASMO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Barney Davis,
32094                                  34237   8/1/2022     Secured: $0.00
        ERASMO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Nueces Bay,
32095                                  35228   8/1/2022     Secured: $0.00
        ERASMO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Talen Texas
32096                                  36219   8/1/2022     Secured: $0.00
        ERASMO         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TRINIDAD,      Talen Texas,
32097                                  37208   8/1/2022     Secured: $0.00
        ERASMO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRINITY
                                                            Priority: $0.00
        UNIVERSAL
32098                  Laredo, LLC     1904    7/30/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $2,413,680.81 + Unliquidated
        COMPANY
                                                            Total: $2,413,680.81 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        TRINITY
                                                            Priority: $0.00
        UNIVERSAL      Nueces Bay,
32099                                  1906    7/30/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $2,413,680.81 + Unliquidated
        COMPANY
                                                            Total: $2,413,680.81 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4635 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TRINITY
                                                              Priority: $0.00
        UNIVERSAL        Barney Davis,
32100                                    1924    7/30/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $2,413,680.81 + Unliquidated
        COMPANY
                                                              Total: $2,413,680.81 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRIPLETTE ‐      Barney Davis,
32101                                    9109    8/1/2022     Secured: $0.00
        BAILEY, VICKIE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRIPLETTE ‐
32102                    Laredo, LLC     14859   8/1/2022     Secured: $0.00
        BAILEY, VICKIE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRIPLETTE ‐      Nueces Bay,
32103                                    20606   8/1/2022     Secured: $0.00
        BAILEY, VICKIE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRIPLETTE ‐      Talen Texas
32104                                    26338   8/1/2022     Secured: $0.00
        BAILEY, VICKIE   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TRIPLETTE ‐      Talen Texas,
32105                                    32100   8/1/2022     Secured: $0.00
        BAILEY, VICKIE   LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32106   TRIPP, AMY                       6059    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4636 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32107   TRIPP, AMY         Laredo, LLC     11809   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32108   TRIPP, AMY                         17556   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32109   TRIPP, AMY                         23301   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32110   TRIPP, AMY                         29050   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32111   TRISTAN, PATRICK                   8404    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32112   TRISTAN, PATRICK Laredo, LLC       14154   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32113   TRISTAN, PATRICK                   19901   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4637 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32114   TRISTAN, PATRICK                   25634   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32115   TRISTAN, PATRICK                   31395   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        TRI‐STATE
                                                                Priority: $0.00
        INSURANCE
32116                      Laredo, LLC     2877    8/1/2022     Secured: $0.00
        COMPANY OF
                                                                General Unsecured: $2,619,208.33 + Unliquidated
        MINNESOTA
                                                                Total: $2,619,208.33 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        TRI‐STATE
                                                                Priority: $0.00
        INSURANCE          Nueces Bay,
32117                                      2980    8/1/2022     Secured: $0.00
        COMPANY OF         LLC
                                                                General Unsecured: $2,619,208.33 + Unliquidated
        MINNESOTA
                                                                Total: $2,619,208.33 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        TRI‐STATE
                                                                Priority: $0.00
        INSURANCE          Barney Davis,
32118                                      3119    8/1/2022     Secured: $0.00
        COMPANY OF         LLC
                                                                General Unsecured: $2,619,208.33 + Unliquidated
        MINNESOTA
                                                                Total: $2,619,208.33 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        TRISURA                                                 Priority: $0.00
                           Barney Davis,
32119   INSURANCE                          1645    7/29/2022    Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $914,078.12 + Unliquidated

                                                                Total: $914,078.12 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
        TRISURA                                                 Priority: $0.00
                           Nueces Bay,
32120   INSURANCE                          1745    7/29/2022    Secured: $0.00
                           LLC
        COMPANY                                                 General Unsecured: $914,078.12 + Unliquidated

                                                                Total: $914,078.12 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4638 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRISURA                                              Priority: $0.00
32121   INSURANCE       Laredo, LLC     1852    8/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $914,078.12 + Unliquidated

                                                             Total: $914,078.12 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRISURA
                                                             Priority: $0.00
        SPECIALTY       Barney Davis,
32122                                   1862    7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $3,125,015.64 + Unliquidated
        COMPANY
                                                             Total: $3,125,015.64 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRISURA
                                                             Priority: $0.00
        SPECIALTY
32123                   Laredo, LLC     1864    7/29/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $3,125,015.64 + Unliquidated
        COMPANY
                                                             Total: $3,125,015.64 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TRISURA
                                                             Priority: $0.00
        SPECIALTY       Nueces Bay,
32124                                   2246    7/29/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $3,125,015.64 + Unliquidated
        COMPANY
                                                             Total: $3,125,015.64 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32125   TROST, MIRIAM                   4525    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32126   TROST, MIRIAM   Laredo, LLC     10275   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32127   TROST, MIRIAM                   16022   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4639 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
32128   TROST, MIRIAM                  21768   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
32129   TROST, MIRIAM                  27516   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TROY JEFFERSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Barney Davis,
32130                                  3810    8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        SERISE
        KULYUSUSOGLU
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TROY JEFFERSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF
32131                   Laredo, LLC    9560    8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                            General Unsecured: $0.00 + Unliquidated
        SERISE
        KULYUSUSOGLU
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TROY JEFFERSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Nueces Bay,
32132                                  15307   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        SERISE
        KULYUSUSOGLU
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TROY JEFFERSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Talen Texas
32133                                  21054   8/1/2022     Secured: $0.00
        THE ESTATE OF   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        SERISE
        KULYUSUSOGLU
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
        TROY JEFFERSON,
                                                            Other Administrative: $0.00
        INDIVIDUALLY
                                                            Priority: $0.00
        AND AS HEIR OF Talen Texas,
32134                                  26801   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                            General Unsecured: $0.00 + Unliquidated
        SERISE
        KULYUSUSOGLU
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4640 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TRUCK                                                  Priority: $0.00
32135   INSURANCE         Laredo, LLC     2791    8/1/2022     Secured: $0.00
        EXCHANGE                                               General Unsecured: $27,182,606.30 + Unliquidated

                                                               Total: $27,182,606.30 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TRUCK                                                  Priority: $0.00
                          Barney Davis,
32136   INSURANCE                         2835    8/1/2022     Secured: $0.00
                          LLC
        EXCHANGE                                               General Unsecured: $27,182,606.30 + Unliquidated

                                                               Total: $27,182,606.30 + Unliquidated

                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        TRUCK                                                  Priority: $0.00
                          Nueces Bay,
32137   INSURANCE                         2893    8/1/2022     Secured: $0.00
                          LLC
        EXCHANGE                                               General Unsecured: $27,182,606.30 + Unliquidated

                                                               Total: $27,182,606.30 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32138   TRUDELL, JOSEPH                   7669    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32139   TRUDELL, JOSEPH Laredo, LLC       13419   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32140   TRUDELL, JOSEPH                   19166   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4641 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32141   TRUDELL, JOSEPH                   24900   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32142   TRUDELL, JOSEPH                   30660   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32143   TRUE, MICHAEL                     8246    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32144   TRUE, MICHAEL     Laredo, LLC     13996   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32145   TRUE, MICHAEL                     19743   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32146   TRUE, MICHAEL                     25477   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32147   TRUE, MICHAEL                     31237   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4642 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32148   TRUEBA, JOSE                     4323    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32149   TRUEBA, JOSE     Laredo, LLC     10073   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32150   TRUEBA, JOSE                     15820   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32151   TRUEBA, JOSE                     21566   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32152   TRUEBA, JOSE                     27314   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32153   TRUJILLO, ALEX                   6320    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32154   TRUJILLO, ALEX   Laredo, LLC     12070   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4643 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32155   TRUJILLO, ALEX                   17817   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32156   TRUJILLO, ALEX                   23552   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32157   TRUJILLO, ALEX                   29311   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TRUMBULL                                              Priority: $0.00
                         Barney Davis,
32158   INSURANCE                        3006    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $5,738,933.14 + Unliquidated

                                                              Total: $5,738,933.14 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TRUMBULL                                              Priority: $0.00
32159   INSURANCE        Laredo, LLC     3118    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $5,738,933.14 + Unliquidated

                                                              Total: $5,738,933.14 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TRUMBULL                                              Priority: $0.00
                         Nueces Bay,
32160   INSURANCE                        3146    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $5,738,933.14 + Unliquidated

                                                              Total: $5,738,933.14 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32161   TRUTNA, MARK                     8128    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4644 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32162   TRUTNA, MARK   Laredo, LLC     13878   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32163   TRUTNA, MARK                   19625   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32164   TRUTNA, MARK                   25359   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32165   TRUTNA, MARK                   31119   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32166   TSAI, SHOOU                    8844    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32167   TSAI, SHOOU    Laredo, LLC     14594   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32168   TSAI, SHOOU                    20341   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4645 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
32169   TSAI, SHOOU                     26073   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
32170   TSAI, SHOOU                     31835   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TSB CONSULTING, Barney Davis,
32171                                   5945    8/1/2022     Secured: $0.00
        LLC             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TSB CONSULTING,
32172                   Laredo, LLC     11695   8/1/2022     Secured: $0.00
        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TSB CONSULTING, Nueces Bay,
32173                                   17442   8/1/2022     Secured: $0.00
        LLC             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TSB CONSULTING, Talen Texas
32174                                   23187   8/1/2022     Secured: $0.00
        LLC             Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TSB CONSULTING, Talen Texas,
32175                                   28936   8/1/2022     Secured: $0.00
        LLC             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4646 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32176   TUCKER, FELICIA                    7227    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32177   TUCKER, FELICIA    Laredo, LLC     12977   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32178   TUCKER, FELICIA                    18724   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32179   TUCKER, FELICIA                    24458   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32180   TUCKER, FELICIA                    30218   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32181   TUCKER, JENNIFER                   4271    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32182   TUCKER, JENNIFER Laredo, LLC       10021   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4647 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32183   TUCKER, JENNIFER                   15768   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32184   TUCKER, JENNIFER                   21514   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32185   TUCKER, JENNIFER                   27262   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32186   TUCKER, PAUL                       5852    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32187   TUCKER, PAUL       Laredo, LLC     11602   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32188   TUCKER, PAUL                       17349   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32189   TUCKER, PAUL                       23094   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4648 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32190   TUCKER, PAUL                    28843   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TUDOR                                                Priority: $0.00
                        Barney Davis,
32191   INSURANCE                       1834    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $77,756.16 + Unliquidated

                                                             Total: $77,756.16 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TUDOR                                                Priority: $0.00
32192   INSURANCE       Laredo, LLC     1843    7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $77,756.16 + Unliquidated

                                                             Total: $77,756.16 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        TUDOR                                                Priority: $0.00
                        Nueces Bay,
32193   INSURANCE                       1848    7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $77,756.16 + Unliquidated

                                                             Total: $77,756.16 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32194   TULLOS, JESUS   Laredo, LLC     33247   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32195   TULLOS, JESUS                   34238   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32196   TULLOS, JESUS                   35229   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4649 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32197   TULLOS, JESUS                   36220   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32198   TULLOS, JESUS                   37209   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNAGE,        Barney Davis,
32199                                   8058    8/1/2022     Secured: $0.00
        MARCEE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNAGE,
32200                   Laredo, LLC     13808   8/1/2022     Secured: $0.00
        MARCEE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNAGE,        Nueces Bay,
32201                                   19555   8/1/2022     Secured: $0.00
        MARCEE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNAGE,        Talen Texas
32202                                   25289   8/1/2022     Secured: $0.00
        MARCEE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNAGE,        Talen Texas,
32203                                   31049   8/1/2022     Secured: $0.00
        MARCEE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4650 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32204   TURNBO, DONALD                   4139    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32205   TURNBO, DONALD Laredo, LLC       9889    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32206   TURNBO, DONALD                   15636   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32207   TURNBO, DONALD                   21382   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32208   TURNBO, DONALD                   27130   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TURNER                                                Priority: $0.00
                         Barney Davis,
32209   INSURANCE                        5946    8/1/2022     Secured: $0.00
                         LLC
        SOLUTIONS LLC                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TURNER                                                Priority: $0.00
32210   INSURANCE        Laredo, LLC     11696   8/1/2022     Secured: $0.00
        SOLUTIONS LLC                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4651 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TURNER                                                Priority: $0.00
                         Nueces Bay,
32211   INSURANCE                        17443   8/1/2022     Secured: $0.00
                         LLC
        SOLUTIONS LLC                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TURNER                                                Priority: $0.00
                         Talen Texas
32212   INSURANCE                        23188   8/1/2022     Secured: $0.00
                         Group, LLC
        SOLUTIONS LLC                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TURNER                                                Priority: $0.00
                         Talen Texas,
32213   INSURANCE                        28937   8/1/2022     Secured: $0.00
                         LLC
        SOLUTIONS LLC                                         General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32214   TURNER, ASHLEY                   4837    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32215   TURNER, ASHLEY Laredo, LLC       10587   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32216   TURNER, ASHLEY                   16334   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32217   TURNER, ASHLEY                   22080   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4652 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32218   TURNER, ASHLEY                   27828   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32219   TURNER, DAVID                    6940    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32220   TURNER, DAVID    Laredo, LLC     12690   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32221   TURNER, DAVID                    18437   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32222   TURNER, DAVID                    24171   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32223   TURNER, DAVID                    29931   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32224   TURNER, FAYE                     7225    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4653 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32225   TURNER, FAYE    Laredo, LLC     12975   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32226   TURNER, FAYE                    18722   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32227   TURNER, FAYE                    24456   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32228   TURNER, FAYE                    30216   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32229   TURNER, JASON                   6127    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32230   TURNER, JASON   Laredo, LLC     11877   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32231   TURNER, JASON                   17624   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4654 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32232   TURNER, JASON                   23369   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32233   TURNER, JASON                   29118   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER,         Barney Davis,
32234                                   7497    8/1/2022     Secured: $0.00
        JEANETTE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER,
32235                   Laredo, LLC     13247   8/1/2022     Secured: $0.00
        JEANETTE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER,         Nueces Bay,
32236                                   18994   8/1/2022     Secured: $0.00
        JEANETTE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER,         Talen Texas
32237                                   24728   8/1/2022     Secured: $0.00
        JEANETTE        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER,         Talen Texas,
32238                                   30488   8/1/2022     Secured: $0.00
        JEANETTE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4655 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32239   TURNER, JERRY                   7548    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32240   TURNER, JERRY   Laredo, LLC     13298   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32241   TURNER, JERRY                   19045   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32242   TURNER, JERRY                   24779   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32243   TURNER, JERRY                   30539   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32244   TURNER, JOHN                    7630    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32245   TURNER, JOHN    Laredo, LLC     13380   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4656 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32246   TURNER, JOHN                   19127   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32247   TURNER, JOHN                   24861   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32248   TURNER, JOHN                   30621   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURNER,        Barney Davis,
32249                                  4362    8/1/2022     Secured: $0.00
        KATHERINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURNER,
32250                  Laredo, LLC     10112   8/1/2022     Secured: $0.00
        KATHERINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURNER,        Nueces Bay,
32251                                  15859   8/1/2022     Secured: $0.00
        KATHERINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURNER,        Talen Texas
32252                                  21605   8/1/2022     Secured: $0.00
        KATHERINE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4657 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER,         Talen Texas,
32253                                   27353   8/1/2022     Secured: $0.00
        KATHERINE       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32254   TURNER, KATHY                   5070    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32255   TURNER, KATHY   Laredo, LLC     10820   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32256   TURNER, KATHY                   16567   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32257   TURNER, KATHY                   22312   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32258   TURNER, KATHY                   28061   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNER, LARRY   Barney Davis,
32259                                   5086    8/1/2022     Secured: $0.00
        WAYNE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4658 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER, LARRY
32260                     Laredo, LLC     10836   8/1/2022     Secured: $0.00
        WAYNE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER, LARRY     Nueces Bay,
32261                                     16583   8/1/2022     Secured: $0.00
        WAYNE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER, LARRY     Talen Texas
32262                                     22328   8/1/2022     Secured: $0.00
        WAYNE             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER, LARRY     Talen Texas,
32263                                     28077   8/1/2022     Secured: $0.00
        WAYNE             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32264   TURNER, LERENZO                   7962    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32265   TURNER, LERENZO Laredo, LLC       13712   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32266   TURNER, LERENZO                   19459   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4659 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32267   TURNER, LERENZO                   25193   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32268   TURNER, LERENZO                   30953   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32269   TURNER, LILLIAN                   7978    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32270   TURNER, LILLIAN   Laredo, LLC     13728   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32271   TURNER, LILLIAN                   19475   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32272   TURNER, LILLIAN                   25209   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32273   TURNER, LILLIAN                   30969   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4660 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32274   TURNER, MARSHA                   5138    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32275   TURNER, MARSHA Laredo, LLC       10888   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32276   TURNER, MARSHA                   16635   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32277   TURNER, MARSHA                   22380   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32278   TURNER, MARSHA                   28129   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TURNER,          Barney Davis,
32279                                    4522    8/1/2022     Secured: $0.00
        MICHELLE         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TURNER,
32280                    Laredo, LLC     10272   8/1/2022     Secured: $0.00
        MICHELLE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4661 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER,           Nueces Bay,
32281                                     16019   8/1/2022     Secured: $0.00
        MICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER,           Talen Texas
32282                                     21765   8/1/2022     Secured: $0.00
        MICHELLE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNER,           Talen Texas,
32283                                     27513   8/1/2022     Secured: $0.00
        MICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32284   TURNER, OCTAVIA                   8359    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32285   TURNER, OCTAVIA Laredo, LLC       14109   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32286   TURNER, OCTAVIA                   19856   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32287   TURNER, OCTAVIA                   25589   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4662 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32288   TURNER, OCTAVIA                   31350   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32289   TURNER, SERENA                    5285    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32290   TURNER, SERENA Laredo, LLC        11035   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32291   TURNER, SERENA                    16782   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32292   TURNER, SERENA                    22527   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32293   TURNER, SERENA                    28276   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32294   TURNER, TERESA                    5333    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4663 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32295   TURNER, TERESA Laredo, LLC       11083   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32296   TURNER, TERESA                   16830   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32297   TURNER, TERESA                   22575   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32298   TURNER, TERESA                   28324   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32299   TURNER, TERRY                    8981    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32300   TURNER, TERRY    Laredo, LLC     14731   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32301   TURNER, TERRY                    20478   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4664 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32302   TURNER, TERRY                     26210   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32303   TURNER, TERRY                     31972   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32304   TURNER, TIFFANY                   4743    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32305   TURNER, TIFFANY Laredo, LLC       10493   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32306   TURNER, TIFFANY                   16240   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32307   TURNER, TIFFANY                   21986   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32308   TURNER, TIFFANY                   27734   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4665 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32309   TURNER, TRESA                     5522    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32310   TURNER, TRESA     Laredo, LLC     11272   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32311   TURNER, TRESA                     17019   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32312   TURNER, TRESA                     22764   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32313   TURNER, TRESA                     28513   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32314   TURNER, TUNISIA                   9080    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32315   TURNER, TUNISIA Laredo, LLC       14830   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4666 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32316   TURNER, TUNISIA                   20577   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32317   TURNER, TUNISIA                   26309   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32318   TURNER, TUNISIA                   32071   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNEY,           Barney Davis,
32319                                     8328    8/1/2022     Secured: $0.00
        NICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNEY,
32320                     Laredo, LLC     14078   8/1/2022     Secured: $0.00
        NICHELLE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNEY,           Nueces Bay,
32321                                     19825   8/1/2022     Secured: $0.00
        NICHELLE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        TURNEY,           Talen Texas
32322                                     25559   8/1/2022     Secured: $0.00
        NICHELLE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4667 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURNEY,         Talen Texas,
32323                                   31319   8/1/2022     Secured: $0.00
        NICHELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32324   TURPIN, JESSE                   7552    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32325   TURPIN, JESSE   Laredo, LLC     13302   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32326   TURPIN, JESSE                   19049   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32327   TURPIN, JESSE                   24783   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32328   TURPIN, JESSE                   30543   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TURRUBIATES,    Barney Davis,
32329                                   6107    8/1/2022     Secured: $0.00
        EMMA            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4668 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURRUBIATES,
32330                  Laredo, LLC     11857   8/1/2022     Secured: $0.00
        EMMA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURRUBIATES,   Nueces Bay,
32331                                  17604   8/1/2022     Secured: $0.00
        EMMA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURRUBIATES,   Talen Texas
32332                                  23349   8/1/2022     Secured: $0.00
        EMMA           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TURRUBIATES,   Talen Texas,
32333                                  29098   8/1/2022     Secured: $0.00
        EMMA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TWARDZIK,      Barney Davis,
32334                                  5238    8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TWARDZIK,
32335                  Laredo, LLC     10988   8/1/2022     Secured: $0.00
        RICHARD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        TWARDZIK,      Nueces Bay,
32336                                  16735   8/1/2022     Secured: $0.00
        RICHARD        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4669 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,     Talen Texas
32337                                 22480   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,     Talen Texas,
32338                                 28229   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,
32339                 Laredo, LLC     33248   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,     Barney Davis,
32340                                 34239   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,     Nueces Bay,
32341                                 35230   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,     Talen Texas
32342                                 36221   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        TWARDZIK,     Talen Texas,
32343                                 37210   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4670 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TWIN CITY FIRE                                        Priority: $0.00
                         Barney Davis,
32344   INSURANCE                        3022    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $39,236,034.52 + Unliquidated

                                                              Total: $39,236,034.52 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TWIN CITY FIRE                                        Priority: $0.00
32345   INSURANCE        Laredo, LLC     3104    8/1/2022     Secured: $0.00
        COMPANY                                               General Unsecured: $39,236,034.52 + Unliquidated

                                                              Total: $39,236,034.52 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        TWIN CITY FIRE                                        Priority: $0.00
                         Nueces Bay,
32346   INSURANCE                        3149    8/1/2022     Secured: $0.00
                         LLC
        COMPANY                                               General Unsecured: $39,236,034.52 + Unliquidated

                                                              Total: $39,236,034.52 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TYE'S NOTARY & Barney Davis,
32347                                    5947    8/1/2022     Secured: $0.00
        CONSULTING LLC LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TYE'S NOTARY &
32348                  Laredo, LLC       11697   8/1/2022     Secured: $0.00
        CONSULTING LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        TYE'S NOTARY & Nueces Bay,
32349                                    17444   8/1/2022     Secured: $0.00
        CONSULTING LLC LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4671 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYE'S NOTARY & Talen Texas
32350                                   23189   8/1/2022     Secured: $0.00
        CONSULTING LLC Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYE'S NOTARY & Talen Texas,
32351                                   28938   8/1/2022     Secured: $0.00
        CONSULTING LLC LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32352   TYLER, ALENE                    6316    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32353   TYLER, ALENE    Laredo, LLC     12066   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32354   TYLER, ALENE                    17813   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32355   TYLER, ALENE                    23548   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32356   TYLER, ALENE                    29307   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4672 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32357   TYLER, BARBARA                   5746    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32358   TYLER, BARBARA   Laredo, LLC     11496   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32359   TYLER, BARBARA                   17243   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32360   TYLER, BARBARA                   22988   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32361   TYLER, BARBARA                   28737   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32362   TYLER, ERICA                     4962    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32363   TYLER, ERICA     Laredo, LLC     10712   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4673 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32364   TYLER, ERICA                   16459   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32365   TYLER, ERICA                   22204   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32366   TYLER, ERICA                   27953   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32367   TYLER, MARY                    4495    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32368   TYLER, MARY    Laredo, LLC     10245   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32369   TYLER, MARY                    15992   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32370   TYLER, MARY                    21738   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4674 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32371   TYLER, MARY                      27486   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32372   TYSON, BREAUNA                   6563    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32373   TYSON, BREAUNA Laredo, LLC       12313   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32374   TYSON, BREAUNA                   18060   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32375   TYSON, BREAUNA                   23795   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32376   TYSON, BREAUNA                   29554   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32377   TYSON, JAPAAL                    5012    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4675 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32378   TYSON, JAPAAL   Laredo, LLC     10762   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32379   TYSON, JAPAAL                   16509   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32380   TYSON, JAPAAL                   22254   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32381   TYSON, JAPAAL                   28003   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYSON,          Barney Davis,
32382                                   8185    8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYSON,
32383                   Laredo, LLC     13935   8/1/2022     Secured: $0.00
        MATTHEW
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYSON,          Nueces Bay,
32384                                   19682   8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4676 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYSON,          Talen Texas
32385                                   25416   8/1/2022     Secured: $0.00
        MATTHEW         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        TYSON,          Talen Texas,
32386                                   31176   8/1/2022     Secured: $0.00
        MATTHEW         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32387   TYYKILA, MATT                   8182    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32388   TYYKILA, MATT   Laredo, LLC     13932   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32389   TYYKILA, MATT                   19679   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32390   TYYKILA, MATT                   25413   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32391   TYYKILA, MATT                   31173   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4677 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32392   UGALDE, BRYAN                   3998    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32393   UGALDE, BRYAN   Laredo, LLC     9748    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32394   UGALDE, BRYAN                   15495   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32395   UGALDE, BRYAN                   21241   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32396   UGALDE, BRYAN                   26989   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32397   UGWUH, AMY                      6371    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32398   UGWUH, AMY      Laredo, LLC     12121   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4678 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
32399   UGWUH, AMY                    17868   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
32400   UGWUH, AMY                    23603   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
32401   UGWUH, AMY                    29362   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        UHLENBROCK,                                        Priority: $0.00
                      Barney Davis,
32402   JESSICA                       4285    8/1/2022     Secured: $0.00
                      LLC
        SCHIEFERLE                                         General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        UHLENBROCK,                                        Priority: $0.00
32403   JESSICA       Laredo, LLC     10035   8/1/2022     Secured: $0.00
        SCHIEFERLE                                         General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        UHLENBROCK,                                        Priority: $0.00
                      Nueces Bay,
32404   JESSICA                       15782   8/1/2022     Secured: $0.00
                      LLC
        SCHIEFERLE                                         General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        UHLENBROCK,                                        Priority: $0.00
                      Talen Texas
32405   JESSICA                       21528   8/1/2022     Secured: $0.00
                      Group, LLC
        SCHIEFERLE                                         General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4679 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        UHLENBROCK,                                            Priority: $0.00
                          Talen Texas,
32406   JESSICA                           27276   8/1/2022     Secured: $0.00
                          LLC
        SCHIEFERLE                                             General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32407   UHLER, JANET                      5010    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32408   UHLER, JANET      Laredo, LLC     10760   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32409   UHLER, JANET                      16507   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32410   UHLER, JANET                      22252   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32411   UHLER, JANET                      28001   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32412   ULLOA, ANGELICA                   6399    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4680 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32413   ULLOA, ANGELICA Laredo, LLC       12149   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32414   ULLOA, ANGELICA                   17896   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32415   ULLOA, ANGELICA                   23631   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32416   ULLOA, ANGELICA                   29390   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32417   ULMER, HERMAN                     7374    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32418   ULMER, HERMAN Laredo, LLC         13124   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32419   ULMER, HERMAN                     18871   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4681 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32420   ULMER, HERMAN                   24605   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32421   ULMER, HERMAN                   30365   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNDERWOOD,      Barney Davis,
32422                                   7481    8/1/2022     Secured: $0.00
        JARED           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNDERWOOD,
32423                   Laredo, LLC     13231   8/1/2022     Secured: $0.00
        JARED
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNDERWOOD,      Nueces Bay,
32424                                   18978   8/1/2022     Secured: $0.00
        JARED           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNDERWOOD,      Talen Texas
32425                                   24712   8/1/2022     Secured: $0.00
        JARED           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNDERWOOD,      Talen Texas,
32426                                   30472   8/1/2022     Secured: $0.00
        JARED           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4682 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNDERWOOD,       Barney Davis,
32427                                    6224    8/1/2022     Secured: $0.00
        TWILIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNDERWOOD,
32428                    Laredo, LLC     11974   8/1/2022     Secured: $0.00
        TWILIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNDERWOOD,       Nueces Bay,
32429                                    17721   8/1/2022     Secured: $0.00
        TWILIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNDERWOOD,       Talen Texas
32430                                    23466   8/1/2022     Secured: $0.00
        TWILIA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNDERWOOD,       Talen Texas,
32431                                    29215   8/1/2022     Secured: $0.00
        TWILIA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        UNDERWRITERS                                          Priority: $0.00
                         Barney Davis,
32432   AT LLOYD'S, BRIT                 2990    8/1/2022     Secured: $0.00
                         LLC
        SYNDICATE‐2987                                        General Unsecured: $645,254.65 + Unliquidated

                                                              Total: $645,254.65 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNGER, VIVIAN    Barney Davis,
32433                                    5888    8/1/2022     Secured: $0.00
        PAPPAS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4683 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNGER, VIVIAN
32434                   Laredo, LLC     11638   8/1/2022     Secured: $0.00
        PAPPAS
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNGER, VIVIAN   Nueces Bay,
32435                                   17385   8/1/2022     Secured: $0.00
        PAPPAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNGER, VIVIAN   Talen Texas
32436                                   23130   8/1/2022     Secured: $0.00
        PAPPAS          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UNGER, VIVIAN   Talen Texas,
32437                                   28879   8/1/2022     Secured: $0.00
        PAPPAS          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNION                                                Priority: $0.00
                        Nueces Bay,
32438   INSURANCE                       2985    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $5,594,530.93 + Unliquidated

                                                             Total: $5,594,530.93 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNION                                                Priority: $0.00
32439   INSURANCE       Laredo, LLC     3117    8/1/2022     Secured: $0.00
        COMPANY                                              General Unsecured: $5,594,530.93 + Unliquidated

                                                             Total: $5,594,530.93 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNION                                                Priority: $0.00
                        Barney Davis,
32440   INSURANCE                       3200    8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $5,594,530.93 + Unliquidated

                                                             Total: $5,594,530.93 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4684 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNION                                               Priority: $0.00
32441   STANDARD        Laredo, LLC     3001   8/1/2022     Secured: $0.00
        LLOYDS                                              General Unsecured: $2,767,140.64 + Unliquidated

                                                            Total: $2,767,140.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNION                                               Priority: $0.00
                        Barney Davis,
32442   STANDARD                        3014   8/1/2022     Secured: $0.00
                        LLC
        LLOYDS                                              General Unsecured: $2,767,140.64 + Unliquidated

                                                            Total: $2,767,140.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNION                                               Priority: $0.00
                        Nueces Bay,
32443   STANDARD                        3382   8/1/2022     Secured: $0.00
                        LLC
        LLOYDS                                              General Unsecured: $2,767,140.64 + Unliquidated

                                                            Total: $2,767,140.64 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED FIRE &                                       Priority: $0.00
32444   CASUALTY        Laredo, LLC     1432   7/29/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED FIRE &                                       Priority: $0.00
                        Barney Davis,
32445   CASUALTY                        1743   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED FIRE &                                       Priority: $0.00
                        Nueces Bay,
32446   CASUALTY                        1785   7/29/2022    Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED
                                                            Priority: $0.00
        NATIONAL        Barney Davis,
32447                                   995    7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $159,668.87 + Unliquidated
        COMPANY
                                                            Total: $159,668.87 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4685 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        NATIONAL         Nueces Bay,
32448                                    1528   7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $159,668.87 + Unliquidated
        COMPANY
                                                             Total: $159,668.87 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        NATIONAL
32449                    Laredo, LLC     1583   7/28/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $159,668.87 + Unliquidated
        COMPANY
                                                             Total: $159,668.87 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED                                               Priority: $0.00
                         Barney Davis,
32450   PROPERTY AND                     2430   7/31/2022    Secured: $0.00
                         LLC
        CASUALTY ‐ HSP                                       General Unsecured: $694.00 + Unliquidated

                                                             Total: $694.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED                                               Priority: $0.00
32451   PROPERTY AND     Laredo, LLC     2436   7/31/2022    Secured: $0.00
        CASUALTY ‐ HSP                                       General Unsecured: $694.00 + Unliquidated

                                                             Total: $694.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED                                               Priority: $0.00
                         Nueces Bay,
32452   PROPERTY AND                     2421   7/31/2022    Secured: $0.00
                         LLC
        CASUALTY‐HSP                                         General Unsecured: $694.00 + Unliquidated

                                                             Total: $694.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED SERVICES                                      Priority: $0.00
32453   AUTOMOBILE      Laredo, LLC      2061   7/29/2022    Secured: $0.00
        ASSOCIATION                                          General Unsecured: $175,147,133.00 + Unliquidated

                                                             Total: $175,147,133.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4686 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED SERVICES
                                                             Priority: $0.00
        AUTOMOBILE      Nueces Bay,
32454                                    1169   7/28/2022    Secured: $0.00
        ASSOCIATION     LLC
                                                             General Unsecured: $175,147,133.00 + Unliquidated
        (USAA)
                                                             Total: $175,147,133.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED SERVICES
                                                             Priority: $0.00
        AUTOMOBILE
32455                   Laredo, LLC      1253   7/28/2022    Secured: $0.00
        ASSOCIATION
                                                             General Unsecured: $175,147,133.00 + Unliquidated
        (USAA)
                                                             Total: $175,147,133.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED SERVICES
                                                             Priority: $0.00
        AUTOMOBILE      Barney Davis,
32456                                    1266   7/28/2022    Secured: $0.00
        ASSOCIATION     LLC
                                                             General Unsecured: $175,147,133.00 + Unliquidated
        (USAA)
                                                             Total: $175,147,133.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        SPECIALTY        Barney Davis,
32457                                    2399   8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                             Total: $198,152,103.43 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        SPECIALTY
32458                    Laredo, LLC     2470   8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $82,352.51 + Unliquidated
        COMPANY
                                                             Total: $82,352.51 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        SPECIALTY
32459                    Laredo, LLC     2647   8/1/2022     Secured: $0.00
        INSURANCE
                                                             General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                             Total: $198,152,103.43 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4687 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        SPECIALTY        Barney Davis,
32460                                    2675   8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $82,352.51 + Unliquidated
        COMPANY
                                                             Total: $82,352.51 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        SPECIALTY        Nueces Bay,
32461                                    3012   8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $198,152,103.43 + Unliquidated
        COMPANY
                                                             Total: $198,152,103.43 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED
                                                             Priority: $0.00
        SPECIALTY        Nueces Bay,
32462                                    3331   8/1/2022     Secured: $0.00
        INSURANCE        LLC
                                                             General Unsecured: $82,352.51 + Unliquidated
        COMPANY
                                                             Total: $82,352.51 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED STATES                                        Priority: $0.00
                         Barney Davis,
32463   FIRE INSURANCE                   1826   7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED STATES                                        Priority: $0.00
                         Nueces Bay,
32464   FIRE INSURANCE                   1873   7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UNITED STATES                                        Priority: $0.00
32465   FIRE INSURANCE   Laredo, LLC     1941   7/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4688 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED STATES
                                                            Priority: $0.00
        LIABILITY       Nueces Bay,
32466                                   1589   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED STATES
                                                            Priority: $0.00
        LIABILITY       Barney Davis,
32467                                   1603   7/31/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITED STATES
                                                            Priority: $0.00
        LIABILITY
32468                   Laredo, LLC     1613   7/31/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $1,000,000.00 + Unliquidated
        COMPANY
                                                            Total: $1,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITRIN
                                                            Priority: $0.00
        SAFEGUARD       Barney Davis,
32469                                   1950   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $6,199,979.71 + Unliquidated
        COMPANY
                                                            Total: $6,199,979.71 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITRIN
                                                            Priority: $0.00
        SAFEGUARD
32470                   Laredo, LLC     2103   7/30/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $6,199,979.71 + Unliquidated
        COMPANY
                                                            Total: $6,199,979.71 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNITRIN
                                                            Priority: $0.00
        SAFEGUARD       Nueces Bay,
32471                                   2264   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $6,199,979.71 + Unliquidated
        COMPANY
                                                            Total: $6,199,979.71 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4689 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNIVERSAL
                                                            Priority: $0.00
        INSURANCE     Nueces Bay,
32472                                  2371    7/29/2022    Secured: $0.00
        COMPANY OF    LLC
                                                            General Unsecured: $10,471,019.65 + Unliquidated
        NORTH AMERICA
                                                            Total: $10,471,019.65 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNIVERSAL
                                                            Priority: $0.00
        INSURANCE     Barney Davis,
32473                                  37335   6/29/2022    Secured: $0.00
        COMPANY OF    LLC
                                                            General Unsecured: $10,471,019.65 + Unliquidated
        NORTH AMERICA
                                                            Total: $10,471,019.65 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        UNIVERSAL
                                                            Priority: $0.00
        INSURANCE
32474                 Laredo, LLC      37352   6/29/2022    Secured: $0.00
        COMPANY OF
                                                            General Unsecured: $10,471,019.65 + Unliquidated
        NORTH AMERICA
                                                            Total: $10,471,019.65 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        UNKNOWN,
32475                  Laredo, LLC     33249   8/1/2022     Secured: $0.00
        UNKNOWN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        UNKNOWN,       Barney Davis,
32476                                  34240   8/1/2022     Secured: $0.00
        UNKNOWN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        UNKNOWN,       Nueces Bay,
32477                                  35231   8/1/2022     Secured: $0.00
        UNKNOWN        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4690 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNKNOWN,         Talen Texas
32478                                    36222   8/1/2022     Secured: $0.00
        UNKNOWN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        UNKNOWN,         Talen Texas,
32479                                    37211   8/1/2022     Secured: $0.00
        UNKNOWN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32480   URABE, HIROSHI                   5498    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32481   URABE, HIROSHI   Laredo, LLC     11248   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32482   URABE, HIROSHI                   16995   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32483   URABE, HIROSHI                   22740   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32484   URABE, HIROSHI                   28489   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4691 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32485   URANTIA, ROBERT                   5862    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32486   URANTIA, ROBERT Laredo, LLC       11612   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32487   URANTIA, ROBERT                   17359   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32488   URANTIA, ROBERT                   23104   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32489   URANTIA, ROBERT                   28853   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32490   URBAN, ROBERT                     6171    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32491   URBAN, ROBERT     Laredo, LLC     11921   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4692 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32492   URBAN, ROBERT                   17668   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32493   URBAN, ROBERT                   23413   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32494   URBAN, ROBERT                   29162   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        URBINA,         Barney Davis,
32495                                   6181    8/1/2022     Secured: $0.00
        RUTHELISABETH   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        URBINA,
32496                   Laredo, LLC     11931   8/1/2022     Secured: $0.00
        RUTHELISABETH
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        URBINA,         Nueces Bay,
32497                                   17678   8/1/2022     Secured: $0.00
        RUTHELISABETH   LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        URBINA,         Talen Texas
32498                                   23423   8/1/2022     Secured: $0.00
        RUTHELISABETH   Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4693 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        URBINA,          Talen Texas,
32499                                    29172   8/1/2022     Secured: $0.00
        RUTHELISABETH    LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32500   URBIS, CONNIE                    6815    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32501   URBIS, CONNIE    Laredo, LLC     12565   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32502   URBIS, CONNIE                    18312   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32503   URBIS, CONNIE                    24046   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32504   URBIS, CONNIE                    29806   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32505   URESTI, SANDRA   Laredo, LLC     33250   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4694 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32506   URESTI, SANDRA                   34241   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32507   URESTI, SANDRA                   35232   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32508   URESTI, SANDRA                   36223   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32509   URESTI, SANDRA                   37212   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32510   URIAS, JOE                       7593    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32511   URIAS, JOE       Laredo, LLC     13343   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32512   URIAS, JOE                       19090   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4695 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32513   URIAS, JOE                     24824   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32514   URIAS, JOE                     30584   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32515   URIBE, SALMA                   8722    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32516   URIBE, SALMA   Laredo, LLC     14472   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32517   URIBE, SALMA                   20219   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32518   URIBE, SALMA                   25951   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32519   URIBE, SALMA                   31713   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4696 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32520   URQUIOLA, ART                   3948    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32521   URQUIOLA, ART   Laredo, LLC     9698    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32522   URQUIOLA, ART                   15445   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32523   URQUIOLA, ART                   21191   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32524   URQUIOLA, ART                   26939   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32525   URREA, SYLVIA   Laredo, LLC     33251   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32526   URREA, SYLVIA                   34242   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4697 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32527   URREA, SYLVIA                   35233   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32528   URREA, SYLVIA                   36224   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32529   URREA, SYLVIA                   37213   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        USAA CASUALTY                                        Priority: $0.00
32530   INSURANCE       Laredo, LLC     1139    7/28/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $148,278,986.30 + Unliquidated

                                                             Total: $148,278,986.30 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        USAA CASUALTY                                        Priority: $0.00
                        Barney Davis,
32531   INSURANCE                       1190    7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $148,278,986.30 + Unliquidated

                                                             Total: $148,278,986.30 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        USAA CASUALTY                                        Priority: $0.00
                        Nueces Bay,
32532   INSURANCE                       1258    7/28/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $148,278,986.30 + Unliquidated

                                                             Total: $148,278,986.30 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4698 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        USAA GENERAL                                        Priority: $0.00
                       Nueces Bay,
32533   IDEMNITY                       1130    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $88,168,613.01 + Unliquidated

                                                            Total: $88,168,613.01 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        USAA GENERAL                                        Priority: $0.00
32534   IDEMNITY       Laredo, LLC     1197    7/28/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $88,168,613.01 + Unliquidated

                                                            Total: $88,168,613.01 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        USAA GENERAL                                        Priority: $0.00
                       Barney Davis,
32535   INDEMNITY                      1265    7/28/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $88,168,613.01 + Unliquidated

                                                            Total: $88,168,613.01 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        USKALI,        Barney Davis,
32536                                  6296    8/1/2022     Secured: $0.00
        ADRIENNE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        USKALI,
32537                  Laredo, LLC     12046   8/1/2022     Secured: $0.00
        ADRIENNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        USKALI,        Nueces Bay,
32538                                  17793   8/1/2022     Secured: $0.00
        ADRIENNE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4699 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        USKALI,          Talen Texas
32539                                   23528   8/1/2022     Secured: $0.00
        ADRIENNE         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        USKALI,          Talen Texas,
32540                                   29287   8/1/2022     Secured: $0.00
        ADRIENNE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UTICA LLOYDS OF Nueces Bay,
32541                                   2423    7/29/2022    Secured: $0.00
        TEXAS           LLC
                                                             General Unsecured: $16,836,355.00 + Unliquidated

                                                             Total: $16,836,355.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UTICA LLOYDS OF Barney Davis,
32542                                   37332   6/29/2022    Secured: $0.00
        TEXAS           LLC
                                                             General Unsecured: $16,836,355.00 + Unliquidated

                                                             Total: $16,836,355.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UTICA LLOYDS OF
32543                   Laredo, LLC     37360   6/29/2022    Secured: $0.00
        TEXAS
                                                             General Unsecured: $16,836,355.00 + Unliquidated

                                                             Total: $16,836,355.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UTICA MUTUAL                                         Priority: $0.00
                         Nueces Bay,
32544   INSURANCE                       2164    7/29/2022    Secured: $0.00
                         LLC
        COMPANY                                              General Unsecured: $1,242,449.00 + Unliquidated

                                                             Total: $1,242,449.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4700 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UTICA MUTUAL                                         Priority: $0.00
                        Barney Davis,
32545   INSURANCE                       37314   6/29/2022    Secured: $0.00
                        LLC
        COMPANY                                              General Unsecured: $1,242,449.00 + Unliquidated

                                                             Total: $1,242,449.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UTICA MUTUAL                                         Priority: $0.00
32546   INSURANCE       Laredo, LLC     37333   6/29/2022    Secured: $0.00
        COMPANY                                              General Unsecured: $1,242,449.00 + Unliquidated

                                                             Total: $1,242,449.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UTICA NATIONAL
                                                             Priority: $0.00
        INSURANCE      Nueces Bay,
32547                                   2285    7/29/2022    Secured: $0.00
        COMPANY OF     LLC
                                                             General Unsecured: $6,018,979.00 + Unliquidated
        TEXAS
                                                             Total: $6,018,979.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UTICA NATIONAL
                                                             Priority: $0.00
        INSURANCE      Barney Davis,
32548                                   37315   6/29/2022    Secured: $0.00
        COMPANY OF     LLC
                                                             General Unsecured: $6,018,979.00 + Unliquidated
        TEXAS
                                                             Total: $6,018,979.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        UTICA NATIONAL
                                                             Priority: $0.00
        INSURANCE
32549                  Laredo, LLC      37317   6/29/2022    Secured: $0.00
        COMPANY OF
                                                             General Unsecured: $6,018,979.00 + Unliquidated
        TEXAS
                                                             Total: $6,018,979.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UWECHUE,        Barney Davis,
32550                                   4381    8/1/2022     Secured: $0.00
        KESHIA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        UWECHUE,
32551                   Laredo, LLC     10131   8/1/2022     Secured: $0.00
        KESHIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4701 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        UWECHUE,          Nueces Bay,
32552                                     15878   8/1/2022     Secured: $0.00
        KESHIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        UWECHUE,          Talen Texas
32553                                     21624   8/1/2022     Secured: $0.00
        KESHIA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        UWECHUE,          Talen Texas,
32554                                     27372   8/1/2022     Secured: $0.00
        KESHIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32555   VAILLANT, FELIX                   7228    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32556   VAILLANT, FELIX   Laredo, LLC     12978   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32557   VAILLANT, FELIX                   18725   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32558   VAILLANT, FELIX                   24459   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4702 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32559   VAILLANT, FELIX                   30219   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Barney Davis,
32560                                     7200    8/1/2022     Secured: $0.00
        ESTEBAN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,
32561                     Laredo, LLC     12950   8/1/2022     Secured: $0.00
        ESTEBAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Nueces Bay,
32562                                     18697   8/1/2022     Secured: $0.00
        ESTEBAN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Talen Texas
32563                                     24431   8/1/2022     Secured: $0.00
        ESTEBAN           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Talen Texas,
32564                                     30191   8/1/2022     Secured: $0.00
        ESTEBAN           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,
32565                     Laredo, LLC     33252   8/1/2022     Secured: $0.00
        SANDRA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4703 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Barney Davis,
32566                                     34243   8/1/2022     Secured: $0.00
        SANDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Nueces Bay,
32567                                     35234   8/1/2022     Secured: $0.00
        SANDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Talen Texas
32568                                     36225   8/1/2022     Secured: $0.00
        SANDRA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VALADEZ,          Talen Texas,
32569                                     37214   8/1/2022     Secured: $0.00
        SANDRA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32570   VALCHAR, ANNELL                   6418    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32571   VALCHAR, ANNELL Laredo, LLC       12168   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32572   VALCHAR, ANNELL                   17915   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4704 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32573   VALCHAR, ANNELL                   23650   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32574   VALCHAR, ANNELL                   29409   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32575   VALDES, JUANA                     7704    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32576   VALDES, JUANA     Laredo, LLC     13454   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32577   VALDES, JUANA                     19201   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32578   VALDES, JUANA                     24935   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32579   VALDES, JUANA                     30695   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4705 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VALDEZ JR.,
32580                      Laredo, LLC     33253   8/1/2022     Secured: $0.00
        OSCAR
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VALDEZ JR.,        Barney Davis,
32581                                      34244   8/1/2022     Secured: $0.00
        OSCAR              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VALDEZ JR.,        Nueces Bay,
32582                                      35235   8/1/2022     Secured: $0.00
        OSCAR              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VALDEZ JR.,        Talen Texas
32583                                      36226   8/1/2022     Secured: $0.00
        OSCAR              Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VALDEZ JR.,        Talen Texas,
32584                                      37215   8/1/2022     Secured: $0.00
        OSCAR              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32585   VALDEZ, JENNIFER                   7529    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32586   VALDEZ, JENNIFER Laredo, LLC       13279   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4706 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32587   VALDEZ, JENNIFER                   19026   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32588   VALDEZ, JENNIFER                   24760   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32589   VALDEZ, JENNIFER                   30520   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32590   VALDEZ, JUANITA                    5055    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32591   VALDEZ, JUANITA Laredo, LLC        10805   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32592   VALDEZ, JUANITA                    16552   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32593   VALDEZ, JUANITA                    22297   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4707 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32594   VALDEZ, JUANITA                   28046   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32595   VALDEZ, NOE       Laredo, LLC     33254   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32596   VALDEZ, NOE                       34245   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32597   VALDEZ, NOE                       35236   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32598   VALDEZ, NOE                       36227   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32599   VALDEZ, NOE                       37216   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32600   VALDEZ, SARAH                     5277    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4708 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32601   VALDEZ, SARAH   Laredo, LLC     11027   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32602   VALDEZ, SARAH                   16774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32603   VALDEZ, SARAH                   22519   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32604   VALDEZ, SARAH                   28268   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32605   VALDEZ, SIMON                   8849    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32606   VALDEZ, SIMON   Laredo, LLC     14599   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32607   VALDEZ, SIMON                   20346   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4709 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32608   VALDEZ, SIMON                   26078   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32609   VALDEZ, SIMON                   31840   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VALDOVINOS,     Barney Davis,
32610                                   7662    8/1/2022     Secured: $0.00
        JOSE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VALDOVINOS,
32611                   Laredo, LLC     13412   8/1/2022     Secured: $0.00
        JOSE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VALDOVINOS,     Nueces Bay,
32612                                   19159   8/1/2022     Secured: $0.00
        JOSE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VALDOVINOS,     Talen Texas
32613                                   24893   8/1/2022     Secured: $0.00
        JOSE            Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VALDOVINOS,     Talen Texas,
32614                                   30653   8/1/2022     Secured: $0.00
        JOSE            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4710 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32615   VALENCIA, ERICKA                   4964    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32616   VALENCIA, ERICKA Laredo, LLC       10714   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32617   VALENCIA, ERICKA                   16461   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32618   VALENCIA, ERICKA                   22206   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32619   VALENCIA, ERICKA                   27955   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32620   VALERA, MIGUEL                     5628    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32621   VALERA, MIGUEL Laredo, LLC         11378   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4711 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32622   VALERA, MIGUEL                   17125   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32623   VALERA, MIGUEL                   22870   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32624   VALERA, MIGUEL                   28619   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VALERIE HOFF,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Barney Davis,
32625   AND AS HEIR OF                   5411    8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LAUREN HOFF
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VALERIE HOFF,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
32626   AND AS HEIR OF   Laredo, LLC     11161   8/1/2022     Secured: $0.00
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LAUREN HOFF
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VALERIE HOFF,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Nueces Bay,
32627   AND AS HEIR OF                   16908   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LAUREN HOFF
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VALERIE HOFF,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas
32628   AND AS HEIR OF                   22653   8/1/2022     Secured: $0.00
                         Group, LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LAUREN HOFF
                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4712 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
        VALERIE HOFF,                                         Other Administrative: $0.00
        INDIVIDUALLY,                                         Priority: $0.00
                         Talen Texas,
32629   AND AS HEIR OF                   28402   8/1/2022     Secured: $0.00
                         LLC
        THE ESTATE OF                                         General Unsecured: $0.00 + Unliquidated
        LAUREN HOFF
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32630   VALERO, SARAH                    5902    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32631   VALERO, SARAH    Laredo, LLC     11652   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32632   VALERO, SARAH                    17399   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32633   VALERO, SARAH                    23144   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32634   VALERO, SARAH                    28893   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        VALIDUS
                                                              Priority: $0.00
        SPECIALTY
32635                    Laredo, LLC     1570    7/31/2022    Secured: $0.00
        UNDERWRITING
                                                              General Unsecured: $5,000,000.00 + Unliquidated
        SERVICES
                                                              Total: $5,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4713 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        VALIDUS
                                                              Priority: $0.00
        SPECIALTY        Nueces Bay,
32636                                    1591    7/31/2022    Secured: $0.00
        UNDERWRITING     LLC
                                                              General Unsecured: $5,000,000.00 + Unliquidated
        SERVICES
                                                              Total: $5,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        VALIDUS
                                                              Priority: $0.00
        SPECIALTY        Barney Davis,
32637                                    1628    7/31/2022    Secured: $0.00
        UNDERWRITING     LLC
                                                              General Unsecured: $5,000,000.00 + Unliquidated
        SERVICES
                                                              Total: $5,000,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32638   VALLEJO, CINDY                   5765    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32639   VALLEJO, CINDY   Laredo, LLC     11515   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32640   VALLEJO, CINDY                   17262   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32641   VALLEJO, CINDY                   23007   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32642   VALLEJO, CINDY                   28756   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4714 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VALLEY FORGE                                        Priority: $0.00
                       Barney Davis,
32643   INSURANCE                      2217    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $16,338,545.00 + Unliquidated

                                                            Total: $16,338,545.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VALLEY FORGE                                        Priority: $0.00
32644   INSURANCE      Laredo, LLC     2218    7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $16,338,545.00 + Unliquidated

                                                            Total: $16,338,545.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VALLEY FORGE                                        Priority: $0.00
                       Nueces Bay,
32645   INSURANCE                      2219    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $16,338,545.00 + Unliquidated

                                                            Total: $16,338,545.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Barney Davis,
32646                                  5966    8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,
32647                  Laredo, LLC     11716   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Nueces Bay,
32648                                  17463   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4715 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Talen Texas
32649                                  23208   8/1/2022     Secured: $0.00
        CHRISTOPHER    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Talen Texas,
32650                                  28957   8/1/2022     Secured: $0.00
        CHRISTOPHER    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Barney Davis,
32651                                  6019    8/1/2022     Secured: $0.00
        SAVAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,
32652                  Laredo, LLC     11769   8/1/2022     Secured: $0.00
        SAVAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Nueces Bay,
32653                                  17516   8/1/2022     Secured: $0.00
        SAVAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Talen Texas
32654                                  23261   8/1/2022     Secured: $0.00
        SAVAN          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN BESIEN,    Talen Texas,
32655                                  29010   8/1/2022     Secured: $0.00
        SAVAN          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4716 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN VOAST,     Barney Davis,
32656                                  7509    8/1/2022     Secured: $0.00
        JEFFREY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN VOAST,
32657                  Laredo, LLC     13259   8/1/2022     Secured: $0.00
        JEFFREY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN VOAST,     Nueces Bay,
32658                                  19006   8/1/2022     Secured: $0.00
        JEFFREY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN VOAST,     Talen Texas
32659                                  24740   8/1/2022     Secured: $0.00
        JEFFREY        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAN VOAST,     Talen Texas,
32660                                  30500   8/1/2022     Secured: $0.00
        JEFFREY        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANCAUWENBER Barney Davis,
32661                                  6582    8/1/2022     Secured: $0.00
        GH, BRIAN    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANCAUWENBER
32662                Laredo, LLC       12332   8/1/2022     Secured: $0.00
        GH, BRIAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4717 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANCAUWENBER Nueces Bay,
32663                                  18079   8/1/2022     Secured: $0.00
        GH, BRIAN    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANCAUWENBER Talen Texas
32664                                  26584   8/1/2022     Secured: $0.00
        GH, BRIAN    Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANCAUWENBER Talen Texas,
32665                                  29573   8/1/2022     Secured: $0.00
        GH, BRIAN    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANDERMARK,    Barney Davis,
32666                                  3957    8/1/2022     Secured: $0.00
        AUTUMN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANDERMARK,
32667                  Laredo, LLC     9707    8/1/2022     Secured: $0.00
        AUTUMN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANDERMARK,    Nueces Bay,
32668                                  15454   8/1/2022     Secured: $0.00
        AUTUMN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VANDERMARK,    Talen Texas
32669                                  21200   8/1/2022     Secured: $0.00
        AUTUMN         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4718 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VANDERMARK,     Talen Texas,
32670                                   26948   8/1/2022     Secured: $0.00
        AUTUMN          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32671   VANDORN, JOHN                   7631    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32672   VANDORN, JOHN Laredo, LLC       13381   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32673   VANDORN, JOHN                   19128   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32674   VANDORN, JOHN                   24862   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32675   VANDORN, JOHN                   30622   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VANGORDON,      Barney Davis,
32676                                   9123    8/1/2022     Secured: $0.00
        VICTORIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4719 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANGORDON,
32677                 Laredo, LLC     14873   8/1/2022     Secured: $0.00
        VICTORIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANGORDON,    Nueces Bay,
32678                                 20620   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANGORDON,    Talen Texas
32679                                 26352   8/1/2022     Secured: $0.00
        VICTORIA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANGORDON,    Talen Texas,
32680                                 32114   8/1/2022     Secured: $0.00
        VICTORIA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANOVER,      Barney Davis,
32681                                 8704    8/1/2022     Secured: $0.00
        RUSSELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANOVER,
32682                 Laredo, LLC     14454   8/1/2022     Secured: $0.00
        RUSSELL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANOVER,      Nueces Bay,
32683                                 20201   8/1/2022     Secured: $0.00
        RUSSELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4720 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANOVER,      Talen Texas
32684                                 25933   8/1/2022     Secured: $0.00
        RUSSELL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VANOVER,      Talen Texas,
32685                                 31695   8/1/2022     Secured: $0.00
        RUSSELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        VANTAPRO                                           Priority: $0.00
                      Nueces Bay,
32686   INSURANCE                     3500    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $1,444,291.22 + Unliquidated

                                                           Total: $1,444,291.22 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        VANTAPRO                                           Priority: $0.00
32687   INSURANCE     Laredo, LLC     3531    8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $1,444,291.22 + Unliquidated

                                                           Total: $1,444,291.22 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        VANTAPRO                                           Priority: $0.00
                      Barney Davis,
32688   INSURANCE                     3572    8/1/2022     Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $1,444,291.22 + Unliquidated

                                                           Total: $1,444,291.22 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VAQUERA,      Barney Davis,
32689                                 9032    8/1/2022     Secured: $0.00
        TOMAS         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VAQUERA,
32690                 Laredo, LLC     14782   8/1/2022     Secured: $0.00
        TOMAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4721 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAQUERA,       Nueces Bay,
32691                                  20529   8/1/2022     Secured: $0.00
        TOMAS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAQUERA,       Talen Texas
32692                                  26261   8/1/2022     Secured: $0.00
        TOMAS          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VAQUERA,       Talen Texas,
32693                                  32023   8/1/2022     Secured: $0.00
        TOMAS          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32694   VARA, ALEX                     5661    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32695   VARA, ALEX     Laredo, LLC     11411   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32696   VARA, ALEX                     17158   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32697   VARA, ALEX                     22903   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4722 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32698   VARA, ALEX                        28652   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32699   VARA, ANTHONY                     3939    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32700   VARA, ANTHONY Laredo, LLC         9689    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32701   VARA, ANTHONY                     15436   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32702   VARA, ANTHONY                     21182   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32703   VARA, ANTHONY                     26930   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32704   VARELA, CAMELIA                   6076    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4723 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32705   VARELA, CAMELIA Laredo, LLC      11826   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
32706   VARELA, CAMELIA                  17573   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
32707   VARELA, CAMELIA                  23318   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
32708   VARELA, CAMELIA                  29067   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VARGAS, MIGUEL Barney Davis,
32709                                    8256    8/1/2022     Secured: $0.00
        ANGEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VARGAS, MIGUEL
32710                  Laredo, LLC       14006   8/1/2022     Secured: $0.00
        ANGEL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VARGAS, MIGUEL Nueces Bay,
32711                                    19753   8/1/2022     Secured: $0.00
        ANGEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4724 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VARGAS, MIGUEL Talen Texas
32712                                    25487   8/1/2022     Secured: $0.00
        ANGEL          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VARGAS, MIGUEL Talen Texas,
32713                                    31247   8/1/2022     Secured: $0.00
        ANGEL          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32714   VARGAS, NATHAN                   8318    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32715   VARGAS, NATHAN Laredo, LLC       14068   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32716   VARGAS, NATHAN                   19815   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32717   VARGAS, NATHAN                   25549   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32718   VARGAS, NATHAN                   31309   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4725 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32719   VARGAS, THOMAS Laredo, LLC       33255   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32720   VARGAS, THOMAS                   34246   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32721   VARGAS, THOMAS                   35237   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32722   VARGAS, THOMAS                   36228   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32723   VARGAS, THOMAS                   37217   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32724   VASHER, OTHELA                   4548    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32725   VASHER, OTHELA Laredo, LLC       10298   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4726 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32726   VASHER, OTHELA                     16045   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32727   VASHER, OTHELA                     21791   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32728   VASHER, OTHELA                     27539   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32729   VASQUEZ, ERIKA A                   6109    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32730   VASQUEZ, ERIKA A Laredo, LLC       11859   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32731   VASQUEZ, ERIKA A                   17606   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32732   VASQUEZ, ERIKA A                   23351   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4727 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32733   VASQUEZ, ERIKA A                   29100   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VASQUEZ,
32734                      Laredo, LLC     33256   8/1/2022     Secured: $0.00
        HECTOR
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VASQUEZ,           Barney Davis,
32735                                      34247   8/1/2022     Secured: $0.00
        HECTOR             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VASQUEZ,           Nueces Bay,
32736                                      35238   8/1/2022     Secured: $0.00
        HECTOR             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VASQUEZ,           Talen Texas
32737                                      36229   8/1/2022     Secured: $0.00
        HECTOR             Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VASQUEZ,           Talen Texas,
32738                                      37218   8/1/2022     Secured: $0.00
        HECTOR             LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32739   VASQUEZ, MARIA                     6259    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4728 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32740   VASQUEZ, MARIA Laredo, LLC      12009   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
32741   VASQUEZ, MARIA                  17756   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
32742   VASQUEZ, MARIA                  23491   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
32743   VASQUEZ, MARIA                  29250   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ, MARIA
32744                  Laredo, LLC      33257   8/1/2022     Secured: $0.00
        ELENA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ, MARIA Barney Davis,
32745                                   34248   8/1/2022     Secured: $0.00
        ELENA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ, MARIA Nueces Bay,
32746                                   35239   8/1/2022     Secured: $0.00
        ELENA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4729 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ, MARIA Talen Texas
32747                                   36230   8/1/2022     Secured: $0.00
        ELENA          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ, MARIA Talen Texas,
32748                                   37219   8/1/2022     Secured: $0.00
        ELENA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ,        Barney Davis,
32749                                   9313    8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ,
32750                   Laredo, LLC     15063   8/1/2022     Secured: $0.00
        ROBERT
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ,        Nueces Bay,
32751                                   20810   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ,        Talen Texas
32752                                   26542   8/1/2022     Secured: $0.00
        ROBERT          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VASQUEZ,        Talen Texas,
32753                                   32304   8/1/2022     Secured: $0.00
        ROBERT          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4730 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32754   VASQUEZ, ROSA                    8676    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32755   VASQUEZ, ROSA    Laredo, LLC     14426   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32756   VASQUEZ, ROSA                    20173   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32757   VASQUEZ, ROSA                    25905   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32758   VASQUEZ, ROSA                    31667   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VASQUEZ, TERRI
32759                    Laredo, LLC     33258   8/1/2022     Secured: $0.00
        A.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VASQUEZ, TERRI   Barney Davis,
32760                                    34249   8/1/2022     Secured: $0.00
        A.               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4731 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VASQUEZ, TERRI   Nueces Bay,
32761                                    35240   8/1/2022     Secured: $0.00
        A.               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VASQUEZ, TERRI   Talen Texas
32762                                    36231   8/1/2022     Secured: $0.00
        A.               Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VASQUEZ, TERRI   Talen Texas,
32763                                    37220   8/1/2022     Secured: $0.00
        A.               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VAUGHN,          Barney Davis,
32764                                    4496    8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VAUGHN,
32765                    Laredo, LLC     10246   8/1/2022     Secured: $0.00
        MARYANN
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VAUGHN,          Nueces Bay,
32766                                    15993   8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VAUGHN,          Talen Texas
32767                                    21739   8/1/2022     Secured: $0.00
        MARYANN          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4732 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VAUGHN,          Talen Texas,
32768                                    27487   8/1/2022     Secured: $0.00
        MARYANN          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32769   VAUGHT, ROBERT                   8618    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32770   VAUGHT, ROBERT Laredo, LLC       14368   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32771   VAUGHT, ROBERT                   20115   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32772   VAUGHT, ROBERT                   25847   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32773   VAUGHT, ROBERT                   31609   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        VAULT E & S                                           Priority: $0.00
32774   INSURANCE        Laredo, LLC     1746    7/29/2022    Secured: $0.00
        COMPANY                                               General Unsecured: $97,970.55 + Unliquidated

                                                              Total: $97,970.55 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4733 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        VAULT E&S                                         Priority: $0.00
                      Barney Davis,
32775   INSURANCE                     1876   7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $97,970.55 + Unliquidated

                                                          Total: $97,970.55 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        VAULT E&S                                         Priority: $0.00
                      Nueces Bay,
32776   INSURANCE                     2112   7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                           General Unsecured: $97,970.55 + Unliquidated

                                                          Total: $97,970.55 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        VAULT                                             Priority: $0.00
                      Nueces Bay,
32777   RECIPROCAL                    1733   7/29/2022    Secured: $0.00
                      LLC
        EXCHANGE                                          General Unsecured: $21,204,163.16 + Unliquidated

                                                          Total: $21,204,163.16 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        VAULT                                             Priority: $0.00
32778   RECIPROCAL    Laredo, LLC     1878   7/29/2022    Secured: $0.00
        EXCHANGE                                          General Unsecured: $21,204,163.16 + Unliquidated

                                                          Total: $21,204,163.16 + Unliquidated

                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        VAULT                                             Priority: $0.00
                      Barney Davis,
32779   RECIPROCAL                    1881   7/29/2022    Secured: $0.00
                      LLC
        EXCHANGE                                          General Unsecured: $21,204,163.16 + Unliquidated

                                                          Total: $21,204,163.16 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
                      Barney Davis,
32780   VEAL, DANO                    3741   8/1/2022     Secured: $0.00
                      LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4734 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32781   VEAL, DANO     Laredo, LLC     9491    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32782   VEAL, DANO                     15238   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32783   VEAL, DANO                     20985   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32784   VEAL, DANO                     26732   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32785   VEDIA, LUIS                    5113    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32786   VEDIA, LUIS    Laredo, LLC     10863   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32787   VEDIA, LUIS                    16610   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4735 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32788   VEDIA, LUIS                    22355   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32789   VEDIA, LUIS                    28104   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32790   VEGA, DIEGO                    7046    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32791   VEGA, DIEGO    Laredo, LLC     12796   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32792   VEGA, DIEGO                    18543   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32793   VEGA, DIEGO                    24277   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32794   VEGA, DIEGO                    30037   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4736 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32795   VEGA, IVANA    Laredo, LLC     33259   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32796   VEGA, IVANA                    34250   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32797   VEGA, IVANA                    35241   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32798   VEGA, IVANA                    36232   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32799   VEGA, IVANA                    37221   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32800   VEGA, JESUS                    7569    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32801   VEGA, JESUS    Laredo, LLC     13319   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4737 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32802   VEGA, JESUS                    19066   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32803   VEGA, JESUS                    24800   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32804   VEGA, JESUS                    30560   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32805   VEGA, MARIE                    5551    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32806   VEGA, MARIE    Laredo, LLC     11301   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32807   VEGA, MARIE                    17048   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32808   VEGA, MARIE                    22793   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4738 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32809   VEGA, MARIE                     28542   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VELA SANCHEZ,
32810                   Laredo, LLC     33260   8/1/2022     Secured: $0.00
        RACHEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VELA SANCHEZ,   Barney Davis,
32811                                   34251   8/1/2022     Secured: $0.00
        RACHEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VELA SANCHEZ,   Nueces Bay,
32812                                   35242   8/1/2022     Secured: $0.00
        RACHEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VELA SANCHEZ,   Talen Texas
32813                                   36233   8/1/2022     Secured: $0.00
        RACHEL          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VELA SANCHEZ,   Talen Texas,
32814                                   37222   8/1/2022     Secured: $0.00
        RACHEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32815   VELA, DIANNE                    7044    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4739 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32816   VELA, DIANNE   Laredo, LLC     12794   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32817   VELA, DIANNE                   18541   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32818   VELA, DIANNE                   24275   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32819   VELA, DIANNE                   30035   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32820   VELA, JERRY                    4278    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32821   VELA, JERRY    Laredo, LLC     10028   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32822   VELA, JERRY                    15775   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4740 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32823   VELA, JERRY                     21521   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32824   VELA, JERRY                     27269   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32825   VELA, MINERVA   Laredo, LLC     33261   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32826   VELA, MINERVA                   34252   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32827   VELA, MINERVA                   35243   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32828   VELA, MINERVA                   36234   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32829   VELA, MINERVA                   37223   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4741 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32830   VELA, PABLO    Laredo, LLC     33262   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32831   VELA, PABLO                    34253   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32832   VELA, PABLO                    35244   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32833   VELA, PABLO                    36235   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32834   VELA, PABLO                    37224   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32835   VELA, RONNIE                   8674    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32836   VELA, RONNIE   Laredo, LLC     14424   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4742 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32837   VELA, RONNIE                   20171   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32838   VELA, RONNIE                   25903   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32839   VELA, RONNIE                   31665   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32840   VELA, YANA                     9183    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32841   VELA, YANA     Laredo, LLC     14933   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32842   VELA, YANA                     20680   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32843   VELA, YANA                     26412   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4743 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32844   VELA, YANA                      32174   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32845   VELARDE, LYNN                   8042    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32846   VELARDE, LYNN   Laredo, LLC     13792   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32847   VELARDE, LYNN                   19539   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32848   VELARDE, LYNN                   25273   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32849   VELARDE, LYNN                   31033   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32850   VELASCO, LISA                   4438    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4744 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32851   VELASCO, LISA      Laredo, LLC     10188   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32852   VELASCO, LISA                      15935   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32853   VELASCO, LISA                      21681   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32854   VELASCO, LISA                      27429   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32855   VELASQUEZ, ALICE                   6338    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32856   VELASQUEZ, ALICE Laredo, LLC       12088   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32857   VELASQUEZ, ALICE                   17835   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4745 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32858   VELASQUEZ, ALICE                   23570   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32859   VELASQUEZ, ALICE                   29329   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VELASQUEZ,         Barney Davis,
32860                                      6437    8/1/2022     Secured: $0.00
        ANTONIO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VELASQUEZ,
32861                      Laredo, LLC     12187   8/1/2022     Secured: $0.00
        ANTONIO
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VELASQUEZ,         Nueces Bay,
32862                                      17934   8/1/2022     Secured: $0.00
        ANTONIO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VELASQUEZ,         Talen Texas
32863                                      23669   8/1/2022     Secured: $0.00
        ANTONIO            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VELASQUEZ,         Talen Texas,
32864                                      29428   8/1/2022     Secured: $0.00
        ANTONIO            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4746 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VELASQUEZ,        Barney Davis,
32865                                     7284    8/1/2022     Secured: $0.00
        GENEVA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VELASQUEZ,
32866                     Laredo, LLC     13034   8/1/2022     Secured: $0.00
        GENEVA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VELASQUEZ,        Nueces Bay,
32867                                     18781   8/1/2022     Secured: $0.00
        GENEVA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VELASQUEZ,        Talen Texas
32868                                     24515   8/1/2022     Secured: $0.00
        GENEVA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VELASQUEZ,        Talen Texas,
32869                                     30275   8/1/2022     Secured: $0.00
        GENEVA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32870   VELASQUEZ, JOSE                   7663    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32871   VELASQUEZ, JOSE Laredo, LLC       13413   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4747 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32872   VELASQUEZ, JOSE                   19160   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32873   VELASQUEZ, JOSE                   24894   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32874   VELASQUEZ, JOSE                   30654   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32875   VELEZ, ROSARIO    Laredo, LLC     33263   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32876   VELEZ, ROSARIO                    34254   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32877   VELEZ, ROSARIO                    35245   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32878   VELEZ, ROSARIO                    36236   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4748 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32879   VELEZ, ROSARIO                    37225   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32880   VELEZ, TONI                       9039    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32881   VELEZ, TONI       Laredo, LLC     14789   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32882   VELEZ, TONI                       20536   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32883   VELEZ, TONI                       26268   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32884   VELEZ, TONI                       32030   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32885   VELLINGA, SCOTT                   8764    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4749 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32886   VELLINGA, SCOTT Laredo, LLC      14514   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Nueces Bay,
32887   VELLINGA, SCOTT                  20261   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas
32888   VELLINGA, SCOTT                  25993   8/1/2022     Secured: $0.00
                          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                          Talen Texas,
32889   VELLINGA, SCOTT                  31755   8/1/2022     Secured: $0.00
                          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VELOCITY RISK     Nueces Bay,
32890                                    2941    8/1/2022     Secured: $0.00
        UNDERWRITERS      LLC
                                                              General Unsecured: $20,741,990.00 + Unliquidated

                                                              Total: $20,741,990.00 + Unliquidated

                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        VELOCITY RISK
32891                     Laredo, LLC    2982    8/1/2022     Secured: $0.00
        UNDERWRITERS
                                                              General Unsecured: $20,741,990.00 + Unliquidated

                                                              Total: $20,741,990.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4750 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VELOCITY RISK   Barney Davis,
32892                                   3090   8/1/2022     Secured: $0.00
        UNDERWRITERS    LLC
                                                            General Unsecured: $20,741,990.00 + Unliquidated

                                                            Total: $20,741,990.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VELOCITY RISK   Barney Davis,
32893                                   3129   8/1/2022     Secured: $0.00
        UNDERWRITERS    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VELOCITY RISK   Nueces Bay,
32894                                   3315   8/1/2022     Secured: $0.00
        UNDERWRITERS    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VELOCITY RISK
32895                   Laredo, LLC     3327   8/1/2022     Secured: $0.00
        UNDERWRITERS
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VELOCITY RISK   Barney Davis,
32896                                   3378   8/1/2022     Secured: $0.00
        UNDERWRITERS    LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Barney Davis,
32897   VELOZ, ANDRES                   6384   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4751 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32898   VELOZ, ANDRES   Laredo, LLC     12134   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32899   VELOZ, ANDRES                   17881   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32900   VELOZ, ANDRES                   23616   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32901   VELOZ, ANDRES                   29375   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32902   VENIS, EUGENE                   7208    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32903   VENIS, EUGENE   Laredo, LLC     12958   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32904   VENIS, EUGENE                   18705   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4752 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32905   VENIS, EUGENE                     24439   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32906   VENIS, EUGENE                     30199   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32907   VERA JR., ROMAN Laredo, LLC       33264   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32908   VERA JR., ROMAN                   34255   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32909   VERA JR., ROMAN                   35246   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32910   VERA JR., ROMAN                   36237   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32911   VERA JR., ROMAN                   37226   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4753 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32912   VERA, CRISTAL                     6840    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32913   VERA, CRISTAL     Laredo, LLC     12590   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32914   VERA, CRISTAL                     18337   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32915   VERA, CRISTAL                     24071   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32916   VERA, CRISTAL                     29831   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32917   VERGIN, CRYSTAL                   4066    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32918   VERGIN, CRYSTAL Laredo, LLC       9816    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4754 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32919   VERGIN, CRYSTAL                   15563   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32920   VERGIN, CRYSTAL                   21309   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32921   VERGIN, CRYSTAL                   27057   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        VERLAN FIRE                                            Priority: $0.00
                          Barney Davis,
32922   INSURANCE                         1614    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,000,000.00 + Unliquidated

                                                               Total: $6,000,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        VERLAN FIRE                                            Priority: $0.00
32923   INSURANCE         Laredo, LLC     1617    7/31/2022    Secured: $0.00
        COMPANY                                                General Unsecured: $6,000,000.00 + Unliquidated

                                                               Total: $6,000,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        VERLAN FIRE                                            Priority: $0.00
                          Nueces Bay,
32924   INSURANCE                         1718    7/31/2022    Secured: $0.00
                          LLC
        COMPANY                                                General Unsecured: $6,000,000.00 + Unliquidated

                                                               Total: $6,000,000.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32925   VERO RANCH LLC                    5949    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4755 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32926   VERO RANCH LLC Laredo, LLC       11699   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32927   VERO RANCH LLC                   17446   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
32928   VERO RANCH LLC                   23191   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
32929   VERO RANCH LLC                   28940   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
32930   VICK, CHERYL                     6730    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
32931   VICK, CHERYL     Laredo, LLC     12480   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
32932   VICK, CHERYL                     18227   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4756 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32933   VICK, CHERYL                    23961   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32934   VICK, CHERYL                    29721   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32935   VICKERS, GARY                   4198    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32936   VICKERS, GARY   Laredo, LLC     9948    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32937   VICKERS, GARY                   15695   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32938   VICKERS, GARY                   21441   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32939   VICKERS, GARY                   27189   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4757 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32940   VICKERS, JOSEPH                   4330    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32941   VICKERS, JOSEPH Laredo, LLC       10080   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32942   VICKERS, JOSEPH                   15827   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32943   VICKERS, JOSEPH                   21573   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32944   VICKERS, JOSEPH                   27321   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32945   VIDAL, MARIA      Laredo, LLC     33265   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32946   VIDAL, MARIA                      34256   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4758 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32947   VIDAL, MARIA                    35247   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32948   VIDAL, MARIA                    36238   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
32949   VIDAL, MARIA                    37227   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
32950   VIERA, FELIPE   Laredo, LLC     33266   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
32951   VIERA, FELIPE                   34257   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
32952   VIERA, FELIPE                   35248   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
32953   VIERA, FELIPE                   36239   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4759 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32954   VIERA, FELIPE                      37228   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
32955   VIEYRA, BEATRICE Laredo, LLC       33267   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32956   VIEYRA, BEATRICE                   34258   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
32957   VIEYRA, BEATRICE                   35249   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
32958   VIEYRA, BEATRICE                   36240   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
32959   VIEYRA, BEATRICE                   37229   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
32960   VIEYRA, ROBERTO                    8626    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4760 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32961   VIEYRA, ROBERTO Laredo, LLC       14376   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32962   VIEYRA, ROBERTO                   20123   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
32963   VIEYRA, ROBERTO                   25855   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
32964   VIEYRA, ROBERTO                   31617   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
32965   VIGIER, ANN                       6409    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
32966   VIGIER, ANN       Laredo, LLC     12159   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
32967   VIGIER, ANN                       17906   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4761 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32968   VIGIER, ANN                    23641   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32969   VIGIER, ANN                    29400   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
32970   VIGIL, PAUL                    5209    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
32971   VIGIL, PAUL    Laredo, LLC     10959   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
32972   VIGIL, PAUL                    16706   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
32973   VIGIL, PAUL                    22451   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
32974   VIGIL, PAUL                    28200   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4762 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VIGILANT                                            Priority: $0.00
                       Nueces Bay,
32975   INSURANCE                      2039    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $124,759.95 + Unliquidated

                                                            Total: $124,759.95 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VIGILANT                                            Priority: $0.00
                       Barney Davis,
32976   INSURANCE                      2235    7/30/2022    Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $124,759.95 + Unliquidated

                                                            Total: $124,759.95 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VIGILENT                                            Priority: $0.00
32977   INSURANCE      Laredo, LLC     2238    7/30/2022    Secured: $0.00
        COMPANY                                             General Unsecured: $124,759.95 + Unliquidated

                                                            Total: $124,759.95 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAFRANCO,
32978                  Laredo, LLC     33268   8/1/2022     Secured: $0.00
        JUAN J
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAFRANCO,   Barney Davis,
32979                                  34259   8/1/2022     Secured: $0.00
        JUAN J         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAFRANCO,   Nueces Bay,
32980                                  35250   8/1/2022     Secured: $0.00
        JUAN J         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAFRANCO,   Talen Texas
32981                                  36241   8/1/2022     Secured: $0.00
        JUAN J         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4763 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAFRANCO,   Talen Texas,
32982                                  37230   8/1/2022     Secured: $0.00
        JUAN J         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,
32983                  Laredo, LLC     33269   8/1/2022     Secured: $0.00
        ELIZABETH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Barney Davis,
32984                                  34260   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Nueces Bay,
32985                                  35251   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Talen Texas
32986                                  36242   8/1/2022     Secured: $0.00
        ELIZABETH      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Talen Texas,
32987                                  37231   8/1/2022     Secured: $0.00
        ELIZABETH      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Barney Davis,
32988                                  5866    8/1/2022     Secured: $0.00
        RUTH           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4764 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,
32989                  Laredo, LLC     11616   8/1/2022     Secured: $0.00
        RUTH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Nueces Bay,
32990                                  17363   8/1/2022     Secured: $0.00
        RUTH           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Talen Texas
32991                                  23108   8/1/2022     Secured: $0.00
        RUTH           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLALOBOS,    Talen Texas,
32992                                  28857   8/1/2022     Secured: $0.00
        RUTH           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLANUEVA,
32993                  Laredo, LLC     33270   8/1/2022     Secured: $0.00
        ALFRED
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLANUEVA,    Barney Davis,
32994                                  34261   8/1/2022     Secured: $0.00
        ALFRED         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLANUEVA,    Nueces Bay,
32995                                  35252   8/1/2022     Secured: $0.00
        ALFRED         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4765 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Talen Texas
32996                                 36243   8/1/2022     Secured: $0.00
        ALFRED        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Talen Texas,
32997                                 37232   8/1/2022     Secured: $0.00
        ALFRED        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,
32998                 Laredo, LLC     33271   8/1/2022     Secured: $0.00
        LORENA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Barney Davis,
32999                                 34262   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Nueces Bay,
33000                                 35253   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Talen Texas
33001                                 36244   8/1/2022     Secured: $0.00
        LORENA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Talen Texas,
33002                                 37233   8/1/2022     Secured: $0.00
        LORENA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4766 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,
33003                 Laredo, LLC     33272   8/1/2022     Secured: $0.00
        MELISSA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Barney Davis,
33004                                 34263   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Nueces Bay,
33005                                 35254   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Talen Texas
33006                                 36245   8/1/2022     Secured: $0.00
        MELISSA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Talen Texas,
33007                                 37234   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,
33008                 Laredo, LLC     33273   8/1/2022     Secured: $0.00
        RAQUEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VILLANUEVA,   Barney Davis,
33009                                 34264   8/1/2022     Secured: $0.00
        RAQUEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4767 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VILLANUEVA,     Nueces Bay,
33010                                   35255   8/1/2022     Secured: $0.00
        RAQUEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VILLANUEVA,     Talen Texas
33011                                   36246   8/1/2022     Secured: $0.00
        RAQUEL          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VILLANUEVA,     Talen Texas,
33012                                   37235   8/1/2022     Secured: $0.00
        RAQUEL          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33013   VILLAR, JESUS   Laredo, LLC     33274   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33014   VILLAR, JESUS                   34265   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33015   VILLAR, JESUS                   35256   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33016   VILLAR, JESUS                   36247   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4768 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33017   VILLAR, JESUS                      37236   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33018   VILLAR, SERGIO     Laredo, LLC     33275   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33019   VILLAR, SERGIO                     34266   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33020   VILLAR, SERGIO                     35257   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33021   VILLAR, SERGIO                     36248   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33022   VILLAR, SERGIO                     37237   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33023   VILLAREAL, IRENE                   7395    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4769 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33024   VILLAREAL, IRENE Laredo, LLC       13145   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33025   VILLAREAL, IRENE                   18892   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33026   VILLAREAL, IRENE                   24626   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33027   VILLAREAL, IRENE                   30386   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLAREAL,         Barney Davis,
33028                                      8310    8/1/2022     Secured: $0.00
        NANCY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLAREAL,
33029                      Laredo, LLC     14060   8/1/2022     Secured: $0.00
        NANCY
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLAREAL,         Nueces Bay,
33030                                      19807   8/1/2022     Secured: $0.00
        NANCY              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4770 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAREAL,     Talen Texas
33031                                  25541   8/1/2022     Secured: $0.00
        NANCY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLAREAL,     Talen Texas,
33032                                  31301   8/1/2022     Secured: $0.00
        NANCY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33033                                  6347    8/1/2022     Secured: $0.00
        ALMA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33034                  Laredo, LLC     12097   8/1/2022     Secured: $0.00
        ALMA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33035                                  17844   8/1/2022     Secured: $0.00
        ALMA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33036                                  23579   8/1/2022     Secured: $0.00
        ALMA           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33037                                  29338   8/1/2022     Secured: $0.00
        ALMA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4771 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33038   VILLARREAL, ANN                   6410    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33039   VILLARREAL, ANN Laredo, LLC       12160   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33040   VILLARREAL, ANN                   17907   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33041   VILLARREAL, ANN                   23642   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33042   VILLARREAL, ANN                   29401   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL,       Barney Davis,
33043                                     7079    8/1/2022     Secured: $0.00
        DONNA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL,
33044                     Laredo, LLC     12829   8/1/2022     Secured: $0.00
        DONNA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4772 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33045                                  18576   8/1/2022     Secured: $0.00
        DONNA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33046                                  24310   8/1/2022     Secured: $0.00
        DONNA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33047                                  30070   8/1/2022     Secured: $0.00
        DONNA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33048                                  7222    8/1/2022     Secured: $0.00
        FAVIOLA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33049                  Laredo, LLC     12972   8/1/2022     Secured: $0.00
        FAVIOLA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33050                                  18719   8/1/2022     Secured: $0.00
        FAVIOLA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33051                                  24453   8/1/2022     Secured: $0.00
        FAVIOLA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4773 of 5163
            Name of
Ref #       Claimant        Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        VILLARREAL,         Talen Texas,
33052                                       30213   8/1/2022     Secured: $0.00
        FAVIOLA             LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
33053   VILLARREAL, FIDEL Laredo, LLC       33276   8/1/2022     Secured: $0.00
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Barney Davis,
33054   VILLARREAL, FIDEL                   34267   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Nueces Bay,
33055   VILLARREAL, FIDEL                   35258   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas
33056   VILLARREAL, FIDEL                   36249   8/1/2022     Secured: $0.00
                            Group, LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
                            Talen Texas,
33057   VILLARREAL, FIDEL                   37238   8/1/2022     Secured: $0.00
                            LLC
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                 Priority: $0.00
        VILLARREAL,
33058                       Laredo, LLC     33277   8/1/2022     Secured: $0.00
        FRANCISCO
                                                                 General Unsecured: $0.00 + Unliquidated

                                                                 Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4774 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLARREAL,        Barney Davis,
33059                                      34268   8/1/2022     Secured: $0.00
        FRANCISCO          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLARREAL,        Nueces Bay,
33060                                      35259   8/1/2022     Secured: $0.00
        FRANCISCO          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLARREAL,        Talen Texas
33061                                      36250   8/1/2022     Secured: $0.00
        FRANCISCO          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VILLARREAL,        Talen Texas,
33062                                      37239   8/1/2022     Secured: $0.00
        FRANCISCO          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33063   VILLARREAL, JOSE                   7664    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33064   VILLARREAL, JOSE Laredo, LLC       13414   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33065   VILLARREAL, JOSE                   19161   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4775 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas
33066   VILLARREAL, JOSE                  24895   8/1/2022     Secured: $0.00
                           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                           Talen Texas,
33067   VILLARREAL, JOSE                  30655   8/1/2022     Secured: $0.00
                           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL, JUAN Barney Davis,
33068                                     5813    8/1/2022     Secured: $0.00
        M.               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL, JUAN
33069                    Laredo, LLC      11563   8/1/2022     Secured: $0.00
        M.
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL, JUAN Nueces Bay,
33070                                     17310   8/1/2022     Secured: $0.00
        M.               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL, JUAN Talen Texas
33071                                     23055   8/1/2022     Secured: $0.00
        M.               Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLARREAL, JUAN Talen Texas,
33072                                     28804   8/1/2022     Secured: $0.00
        M.               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4776 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33073                  Laredo, LLC     33278   8/1/2022     Secured: $0.00
        MARIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33074                                  34269   8/1/2022     Secured: $0.00
        MARIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33075                                  35260   8/1/2022     Secured: $0.00
        MARIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33076                                  36251   8/1/2022     Secured: $0.00
        MARIA          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33077                                  37240   8/1/2022     Secured: $0.00
        MARIA          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33078                                  5838    8/1/2022     Secured: $0.00
        MARTIN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33079                  Laredo, LLC     11588   8/1/2022     Secured: $0.00
        MARTIN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4777 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33080                                  17335   8/1/2022     Secured: $0.00
        MARTIN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33081                                  23080   8/1/2022     Secured: $0.00
        MARTIN         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33082                                  28829   8/1/2022     Secured: $0.00
        MARTIN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33083                                  4560    8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33084                  Laredo, LLC     10310   8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33085                                  16057   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33086                                  21803   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4778 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33087                                  27551   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33088                                  8430    8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33089                  Laredo, LLC     14180   8/1/2022     Secured: $0.00
        PEDRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33090                                  19927   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33091                                  25660   8/1/2022     Secured: $0.00
        PEDRO          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33092                                  31421   8/1/2022     Secured: $0.00
        PEDRO          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33093                  Laredo, LLC     33279   8/1/2022     Secured: $0.00
        RAMIRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4779 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33094                                  34270   8/1/2022     Secured: $0.00
        RAMIRO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33095                                  35261   8/1/2022     Secured: $0.00
        RAMIRO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33096                                  36252   8/1/2022     Secured: $0.00
        RAMIRO         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33097                                  37241   8/1/2022     Secured: $0.00
        RAMIRO         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33098                                  8501    8/1/2022     Secured: $0.00
        RAQUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33099                  Laredo, LLC     14251   8/1/2022     Secured: $0.00
        RAQUEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33100                                  19998   8/1/2022     Secured: $0.00
        RAQUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4780 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33101                                  25730   8/1/2022     Secured: $0.00
        RAQUEL         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33102                                  31492   8/1/2022     Secured: $0.00
        RAQUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,
33103                  Laredo, LLC     33280   8/1/2022     Secured: $0.00
        ROGELIO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Barney Davis,
33104                                  34271   8/1/2022     Secured: $0.00
        ROGELIO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Nueces Bay,
33105                                  35262   8/1/2022     Secured: $0.00
        ROGELIO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas
33106                                  36253   8/1/2022     Secured: $0.00
        ROGELIO        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLARREAL,    Talen Texas,
33107                                  37242   8/1/2022     Secured: $0.00
        ROGELIO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4781 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33108   VILLEGAS, OLGA                    4545    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33109   VILLEGAS, OLGA    Laredo, LLC     10295   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33110   VILLEGAS, OLGA                    16042   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33111   VILLEGAS, OLGA                    21788   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33112   VILLEGAS, OLGA                    27536   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33113   VILLEGAS, PEDRO                   4572    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33114   VILLEGAS, PEDRO Laredo, LLC       10322   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4782 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33115   VILLEGAS, PEDRO                   16069   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33116   VILLEGAS, PEDRO                   21815   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33117   VILLEGAS, PEDRO                   27563   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLEGAS,
33118                     Laredo, LLC     33281   8/1/2022     Secured: $0.00
        ROSENDO
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLEGAS,         Barney Davis,
33119                                     34272   8/1/2022     Secured: $0.00
        ROSENDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLEGAS,         Nueces Bay,
33120                                     35263   8/1/2022     Secured: $0.00
        ROSENDO           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VILLEGAS,         Talen Texas
33121                                     36254   8/1/2022     Secured: $0.00
        ROSENDO           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4783 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLEGAS,      Talen Texas,
33122                                  37243   8/1/2022     Secured: $0.00
        ROSENDO        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLORIA,      Barney Davis,
33123                                  3905    8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLORIA,
33124                  Laredo, LLC     9655    8/1/2022     Secured: $0.00
        ALEJANDRO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLORIA,      Nueces Bay,
33125                                  15402   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLORIA,      Talen Texas
33126                                  21149   8/1/2022     Secured: $0.00
        ALEJANDRO      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VILLORIA,      Talen Texas,
33127                                  26896   8/1/2022     Secured: $0.00
        ALEJANDRO      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIMAWALA,      Barney Davis,
33128                                  5526    8/1/2022     Secured: $0.00
        YUVARAJ        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4784 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VIMAWALA,
33129                     Laredo, LLC     11276   8/1/2022     Secured: $0.00
        YUVARAJ
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VIMAWALA,         Nueces Bay,
33130                                     17023   8/1/2022     Secured: $0.00
        YUVARAJ           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VIMAWALA,         Talen Texas
33131                                     22768   8/1/2022     Secured: $0.00
        YUVARAJ           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        VIMAWALA,         Talen Texas,
33132                                     28517   8/1/2022     Secured: $0.00
        YUVARAJ           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33133   VINCENT, DJUANA                   3667    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33134   VINCENT, DJUANA Laredo, LLC       9417    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33135   VINCENT, DJUANA                   15164   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4785 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33136   VINCENT, DJUANA                   20911   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33137   VINCENT, DJUANA                   26658   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33138   VINE, KEVIN                       5078    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33139   VINE, KEVIN       Laredo, LLC     10828   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33140   VINE, KEVIN                       16575   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33141   VINE, KEVIN                       22320   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33142   VINE, KEVIN                       28069   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4786 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33143   VINES, BETTY                    5535    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33144   VINES, BETTY    Laredo, LLC     11285   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33145   VINES, BETTY                    17032   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33146   VINES, BETTY                    22777   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33147   VINES, BETTY                    28526   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33148   VINES, LAMARR                   7899    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33149   VINES, LAMARR   Laredo, LLC     13649   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4787 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33150   VINES, LAMARR                    19396   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33151   VINES, LAMARR                    25130   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33152   VINES, LAMARR                    30890   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33153   VINSON, JOSHUA                   3682    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33154   VINSON, JOSHUA Laredo, LLC       9432    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33155   VINSON, JOSHUA                   15179   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33156   VINSON, JOSHUA                   20926   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4788 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33157   VINSON, JOSHUA                   26673   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VIRGINIA RABEL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF Barney Davis,
33158                                    5412    8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOUGLAS JOSEPH
        RABEL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VIRGINIA RABEL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF
33159                   Laredo, LLC      11162   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        DOUGLAS JOSEPH
        RABEL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VIRGINIA RABEL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF Nueces Bay,
33160                                    16909   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOUGLAS JOSEPH
        RABEL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VIRGINIA RABEL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF Talen Texas
33161                                    22654   8/1/2022     Secured: $0.00
        THE ESTATE OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOUGLAS JOSEPH
        RABEL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        VIRGINIA RABEL,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF Talen Texas,
33162                                    28403   8/1/2022     Secured: $0.00
        THE ESTATE OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        DOUGLAS JOSEPH
        RABEL
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33163   VITAL, DEBRA                     6979    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4789 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33164   VITAL, DEBRA      Laredo, LLC     12729   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33165   VITAL, DEBRA                      18476   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33166   VITAL, DEBRA                      24210   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33167   VITAL, DEBRA                      29970   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33168   VITALE, ANTHONY                   6430    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33169   VITALE, ANTHONY Laredo, LLC       12180   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33170   VITALE, ANTHONY                   17927   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4790 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33171   VITALE, ANTHONY                    23662   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33172   VITALE, ANTHONY                    29421   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33173   VITELLO, VALERIE                   9090    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33174   VITELLO, VALERIE Laredo, LLC       14840   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33175   VITELLO, VALERIE                   20587   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33176   VITELLO, VALERIE                   26319   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33177   VITELLO, VALERIE                   32081   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4791 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVENS, DEBRA   Barney Davis,
33178                                   6976    8/1/2022     Secured: $0.00
        LEE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVENS, DEBRA
33179                   Laredo, LLC     12726   8/1/2022     Secured: $0.00
        LEE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVENS, DEBRA   Nueces Bay,
33180                                   18473   8/1/2022     Secured: $0.00
        LEE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVENS, DEBRA   Talen Texas
33181                                   24207   8/1/2022     Secured: $0.00
        LEE             Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVENS, DEBRA   Talen Texas,
33182                                   29967   8/1/2022     Secured: $0.00
        LEE             LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVERITO,       Barney Davis,
33183                                   4786    8/1/2022     Secured: $0.00
        WILLIAM         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        VIVERITO,
33184                   Laredo, LLC     10536   8/1/2022     Secured: $0.00
        WILLIAM
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4792 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVERITO,      Nueces Bay,
33185                                  16283   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVERITO,      Talen Texas
33186                                  22029   8/1/2022     Secured: $0.00
        WILLIAM        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVERITO,      Talen Texas,
33187                                  27777   8/1/2022     Secured: $0.00
        WILLIAM        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVIAN,
33188                  Laredo, LLC     33282   8/1/2022     Secured: $0.00
        BERNADINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVIAN,        Barney Davis,
33189                                  34273   8/1/2022     Secured: $0.00
        BERNADINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVIAN,        Nueces Bay,
33190                                  35264   8/1/2022     Secured: $0.00
        BERNADINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VIVIAN,        Talen Texas
33191                                  36255   8/1/2022     Secured: $0.00
        BERNADINE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4793 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VIVIAN,       Talen Texas,
33192                                 37244   8/1/2022     Secured: $0.00
        BERNADINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
33193   VO, TUAN                      9079    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
33194   VO, TUAN      Laredo, LLC     14829   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
33195   VO, TUAN                      20576   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
33196   VO, TUAN                      26308   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
33197   VO, TUAN                      32070   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOELKEL,      Barney Davis,
33198                                 6560    8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4794 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOELKEL,
33199                 Laredo, LLC     12310   8/1/2022     Secured: $0.00
        BRANDON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOELKEL,      Nueces Bay,
33200                                 18057   8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOELKEL,      Talen Texas
33201                                 23792   8/1/2022     Secured: $0.00
        BRANDON       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOELKEL,      Talen Texas,
33202                                 29551   8/1/2022     Secured: $0.00
        BRANDON       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
33203   VOHRA, MOHD                   9301    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
33204   VOHRA, MOHD   Laredo, LLC     15051   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
33205   VOHRA, MOHD                   20798   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4795 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
33206   VOHRA, MOHD                   26530   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
33207   VOHRA, MOHD                   32292   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOHWINKLE,    Barney Davis,
33208                                 9061    8/1/2022     Secured: $0.00
        TRACY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOHWINKLE,
33209                 Laredo, LLC     14811   8/1/2022     Secured: $0.00
        TRACY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOHWINKLE,    Nueces Bay,
33210                                 20558   8/1/2022     Secured: $0.00
        TRACY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOHWINKLE,    Talen Texas
33211                                 26290   8/1/2022     Secured: $0.00
        TRACY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        VOHWINKLE,    Talen Texas,
33212                                 32052   8/1/2022     Secured: $0.00
        TRACY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4796 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33213   VOIGT, SHAUNA                      8808    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33214   VOIGT, SHAUNA      Laredo, LLC     14558   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33215   VOIGT, SHAUNA                      20305   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33216   VOIGT, SHAUNA                      26037   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33217   VOIGT, SHAUNA                      31799   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33218   VOLAIR, KRYSTIAN                   7880    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33219   VOLAIR, KRYSTIAN Laredo, LLC       13630   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4797 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33220   VOLAIR, KRYSTIAN                   19377   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33221   VOLAIR, KRYSTIAN                   25111   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33222   VOLAIR, KRYSTIAN                   30871   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VOLMAR,            Barney Davis,
33223                                      8468    8/1/2022     Secured: $0.00
        PRISCILLA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VOLMAR,
33224                      Laredo, LLC     14218   8/1/2022     Secured: $0.00
        PRISCILLA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VOLMAR,            Nueces Bay,
33225                                      19965   8/1/2022     Secured: $0.00
        PRISCILLA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        VOLMAR,            Talen Texas
33226                                      26586   8/1/2022     Secured: $0.00
        PRISCILLA          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4798 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VOLMAR,        Talen Texas,
33227                                  31459   8/1/2022     Secured: $0.00
        PRISCILLA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33228   VOLPE, NIDIA   Laredo, LLC     33283   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33229   VOLPE, NIDIA                   34274   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33230   VOLPE, NIDIA                   35265   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33231   VOLPE, NIDIA                   36256   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33232   VOLPE, NIDIA                   37245   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VONMAZO,       Barney Davis,
33233                                  4889    8/1/2022     Secured: $0.00
        CHARLES CARL   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4799 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VONMAZO,
33234                  Laredo, LLC     10639   8/1/2022     Secured: $0.00
        CHARLES CARL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VONMAZO,       Nueces Bay,
33235                                  16386   8/1/2022     Secured: $0.00
        CHARLES CARL   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VONMAZO,       Talen Texas
33236                                  22131   8/1/2022     Secured: $0.00
        CHARLES CARL   Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        VONMAZO,       Talen Texas,
33237                                  27880   8/1/2022     Secured: $0.00
        CHARLES CARL   LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VOYAGER
                                                            Priority: $0.00
        INDEMNITY
33238                  Laredo, LLC     2029    7/29/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $222,209.10 + Unliquidated
        COMPANY
                                                            Total: $222,209.10 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VOYAGER
                                                            Priority: $0.00
        INDEMNITY      Nueces Bay,
33239                                  2221    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $222,209.10 + Unliquidated
        COMPANY
                                                            Total: $222,209.10 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        VOYAGER
                                                            Priority: $0.00
        INDEMNITY      Barney Davis,
33240                                  2257    7/29/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $222,209.10 + Unliquidated
        COMPANY
                                                            Total: $222,209.10 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4800 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        W.R BERKLEY
                                                              Priority: $0.00
        SYNDICATE        Barney Davis,
33241                                    2079    7/30/2022    Secured: $0.00
        MANAGEMENT       LLC
                                                              General Unsecured: $0.00 + Unliquidated
        LTD.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        W.R. BERKLEY
                                                              Priority: $0.00
        SYNDICATE        Nueces Bay,
33242                                    2025    7/30/2022    Secured: $0.00
        MANAGEMENT       LLC
                                                              General Unsecured: $0.00 + Unliquidated
        LTD.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        W.R. BERKLEY
                                                              Priority: $0.00
        SYNDICATE
33243                    Laredo, LLC     2081    7/30/2022    Secured: $0.00
        MANAGEMENT
                                                              General Unsecured: $0.00 + Unliquidated
        LTD.
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33244   WACASEY, CAROL                   4010    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33245   WACASEY, CAROL Laredo, LLC       9760    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33246   WACASEY, CAROL                   15507   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33247   WACASEY, CAROL                   21253   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4801 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33248   WACASEY, CAROL                   27001   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33249   WADE, DWYAN                      4148    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33250   WADE, DWYAN      Laredo, LLC     9898    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33251   WADE, DWYAN                      15645   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33252   WADE, DWYAN                      21391   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33253   WADE, DWYAN                      27139   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33254   WADE, MARK                       3610    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4802 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33255   WADE, MARK     Laredo, LLC     9360    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33256   WADE, MARK                     15107   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33257   WADE, MARK                     20854   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33258   WADE, MARK                     26601   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WADLEY,
33259                  Laredo, LLC     33284   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WADLEY,        Barney Davis,
33260                                  34275   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WADLEY,        Nueces Bay,
33261                                  35266   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4803 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WADLEY,        Talen Texas
33262                                  36257   8/1/2022     Secured: $0.00
        JENNIFER       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WADLEY,        Talen Texas,
33263                                  37246   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAGNER,
33264                  Laredo, LLC     33285   8/1/2022     Secured: $0.00
        BARBARA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAGNER,        Barney Davis,
33265                                  34276   8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAGNER,        Nueces Bay,
33266                                  35267   8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAGNER,        Talen Texas
33267                                  36258   8/1/2022     Secured: $0.00
        BARBARA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAGNER,        Talen Texas,
33268                                  37247   8/1/2022     Secured: $0.00
        BARBARA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4804 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Barney Davis,
33269                                 8247    8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,
33270                 Laredo, LLC     13997   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Nueces Bay,
33271                                 19744   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Talen Texas
33272                                 25478   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Talen Texas,
33273                                 31238   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Barney Davis,
33274                                 4564    8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,
33275                 Laredo, LLC     10314   8/1/2022     Secured: $0.00
        PATRICK
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4805 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Nueces Bay,
33276                                 16061   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Talen Texas
33277                                 21807   8/1/2022     Secured: $0.00
        PATRICK       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Talen Texas,
33278                                 27555   8/1/2022     Secured: $0.00
        PATRICK       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Barney Davis,
33279                                 8802    8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,
33280                 Laredo, LLC     14552   8/1/2022     Secured: $0.00
        SHARON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Nueces Bay,
33281                                 20299   8/1/2022     Secured: $0.00
        SHARON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WAGNER,       Talen Texas
33282                                 26031   8/1/2022     Secured: $0.00
        SHARON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4806 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WAGNER,          Talen Texas,
33283                                    31793   8/1/2022     Secured: $0.00
        SHARON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33284   WAHTHIEIT, ED                    7121    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33285   WAHTHIEIT, ED    Laredo, LLC     12871   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33286   WAHTHIEIT, ED                    18618   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33287   WAHTHIEIT, ED                    24352   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33288   WAHTHIEIT, ED                    30112   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33289   WAITE, SCHANEL                   5279    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4807 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33290   WAITE, SCHANEL Laredo, LLC       11029   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33291   WAITE, SCHANEL                   16776   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33292   WAITE, SCHANEL                   22521   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33293   WAITE, SCHANEL                   28270   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33294   WAJERSKI, KEN                    7803    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33295   WAJERSKI, KEN    Laredo, LLC     13553   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33296   WAJERSKI, KEN                    19300   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4808 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33297   WAJERSKI, KEN                   25034   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33298   WAJERSKI, KEN                   30794   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33299   WALDEN, AARON                   6277    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33300   WALDEN, AARON Laredo, LLC       12027   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33301   WALDEN, AARON                   17774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33302   WALDEN, AARON                   23509   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33303   WALDEN, AARON                   29268   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4809 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33304   WALDRIP, STAN                     8871    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33305   WALDRIP, STAN     Laredo, LLC     14621   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33306   WALDRIP, STAN                     20368   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33307   WALDRIP, STAN                     26100   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33308   WALDRIP, STAN                     31862   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33309   WALKER, ALBERTA                   4803    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33310   WALKER, ALBERTA Laredo, LLC       10553   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4810 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33311   WALKER, ALBERTA                   16300   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33312   WALKER, ALBERTA                   22046   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33313   WALKER, ALBERTA                   27794   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33314   WALKER, AMELIA                    6364    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33315   WALKER, AMELIA Laredo, LLC        12114   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33316   WALKER, AMELIA                    17861   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33317   WALKER, AMELIA                    23596   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4811 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33318   WALKER, AMELIA                    29355   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33319   WALKER, BRAD      Laredo, LLC     33286   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33320   WALKER, BRAD                      34277   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33321   WALKER, BRAD                      35268   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33322   WALKER, BRAD                      36259   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33323   WALKER, BRAD                      37248   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33324   WALKER, CLAUDIA                   4058    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4812 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33325   WALKER, CLAUDIA Laredo, LLC       9808    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33326   WALKER, CLAUDIA                   15555   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33327   WALKER, CLAUDIA                   21301   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33328   WALKER, CLAUDIA                   27049   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33329   WALKER, CLOVER                    5443    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33330   WALKER, CLOVER Laredo, LLC        11193   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33331   WALKER, CLOVER                    16940   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4813 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33332   WALKER, CLOVER                   22685   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33333   WALKER, CLOVER                   28434   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Barney Davis,
33334                                    6986    8/1/2022     Secured: $0.00
        DEMETRA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,
33335                    Laredo, LLC     12736   8/1/2022     Secured: $0.00
        DEMETRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Nueces Bay,
33336                                    18483   8/1/2022     Secured: $0.00
        DEMETRA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Talen Texas
33337                                    24217   8/1/2022     Secured: $0.00
        DEMETRA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Talen Texas,
33338                                    29977   8/1/2022     Secured: $0.00
        DEMETRA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4814 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33339   WALKER, DENISE                     4936    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33340   WALKER, DENISE Laredo, LLC         10686   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33341   WALKER, DENISE                     16433   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33342   WALKER, DENISE                     22178   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33343   WALKER, DENISE                     27927   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33344   WALKER, DRICILLA                   7110    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33345   WALKER, DRICILLA Laredo, LLC       12860   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4815 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33346   WALKER, DRICILLA                   18607   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33347   WALKER, DRICILLA                   24341   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
33348   WALKER, DRICILLA                   30101   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
33349   WALKER, JADE                       6119    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
33350   WALKER, JADE       Laredo, LLC     11869   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
33351   WALKER, JADE                       17616   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
33352   WALKER, JADE                       23361   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4816 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33353   WALKER, JADE                   29110   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Barney Davis,
33354                                  5077    8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,
33355                  Laredo, LLC     10827   8/1/2022     Secured: $0.00
        KENNETH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Nueces Bay,
33356                                  16574   8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Talen Texas
33357                                  22319   8/1/2022     Secured: $0.00
        KENNETH        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Talen Texas,
33358                                  28068   8/1/2022     Secured: $0.00
        KENNETH        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Barney Davis,
33359                                  4410    8/1/2022     Secured: $0.00
        LATREACE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4817 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,
33360                  Laredo, LLC     10160   8/1/2022     Secured: $0.00
        LATREACE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Nueces Bay,
33361                                  15907   8/1/2022     Secured: $0.00
        LATREACE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Talen Texas
33362                                  21653   8/1/2022     Secured: $0.00
        LATREACE       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Talen Texas,
33363                                  27401   8/1/2022     Secured: $0.00
        LATREACE       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Barney Davis,
33364                                  4561    8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,
33365                  Laredo, LLC     10311   8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WALKER,        Nueces Bay,
33366                                  16058   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4818 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Talen Texas
33367                                    21804   8/1/2022     Secured: $0.00
        PATRICIA         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Talen Texas,
33368                                    27552   8/1/2022     Secured: $0.00
        PATRICIA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33369   WALKER, RANITA                   8497    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33370   WALKER, RANITA Laredo, LLC       14247   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33371   WALKER, RANITA                   19994   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33372   WALKER, RANITA                   25726   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33373   WALKER, RANITA                   31488   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4819 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33374   WALKER, SANDRA                   8747    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33375   WALKER, SANDRA Laredo, LLC       14497   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33376   WALKER, SANDRA                   20244   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33377   WALKER, SANDRA                   25976   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33378   WALKER, SANDRA                   31738   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Barney Davis,
33379                                    8788    8/1/2022     Secured: $0.00
        SHARMAINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,
33380                    Laredo, LLC     14538   8/1/2022     Secured: $0.00
        SHARMAINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4820 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,       Nueces Bay,
33381                                 20285   8/1/2022     Secured: $0.00
        SHARMAINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,       Talen Texas
33382                                 26017   8/1/2022     Secured: $0.00
        SHARMAINE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,       Talen Texas,
33383                                 31779   8/1/2022     Secured: $0.00
        SHARMAINE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,       Barney Davis,
33384                                 4733    8/1/2022     Secured: $0.00
        THERESA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,
33385                 Laredo, LLC     10483   8/1/2022     Secured: $0.00
        THERESA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,       Nueces Bay,
33386                                 16230   8/1/2022     Secured: $0.00
        THERESA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALKER,       Talen Texas
33387                                 21976   8/1/2022     Secured: $0.00
        THERESA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4821 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER,          Talen Texas,
33388                                    27724   8/1/2022     Secured: $0.00
        THERESA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33389   WALKER, URSULA                   4761    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33390   WALKER, URSULA Laredo, LLC       10511   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33391   WALKER, URSULA                   16258   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33392   WALKER, URSULA                   22004   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33393   WALKER, URSULA                   27752   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WALKER, WILDA    Barney Davis,
33394                                    4781    8/1/2022     Secured: $0.00
        DENISE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4822 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALKER, WILDA
33395                   Laredo, LLC     10531   8/1/2022     Secured: $0.00
        DENISE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALKER, WILDA   Nueces Bay,
33396                                   16278   8/1/2022     Secured: $0.00
        DENISE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALKER, WILDA   Talen Texas
33397                                   22024   8/1/2022     Secured: $0.00
        DENISE          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALKER, WILDA   Talen Texas,
33398                                   27772   8/1/2022     Secured: $0.00
        DENISE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33399   WALL, JODI                      7586    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33400   WALL, JODI      Laredo, LLC     13336   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33401   WALL, JODI                      19083   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4823 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33402   WALL, JODI                       24817   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33403   WALL, JODI                       30577   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
        WALLACE
                                                              503(b)(9): $0.00
        BROWN,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Barney Davis,
33404                                    5413    8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RYAN
        CHRISTOPHER
                                                              Total: $0.00 + Unliquidated
        BROWN
        WALLACE
                                                              503(b)(9): $0.00
        BROWN,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF
33405                    Laredo, LLC     11163   8/1/2022     Secured: $0.00
        THE ESTATE OF
                                                              General Unsecured: $0.00 + Unliquidated
        RYAN
        CHRISTOPHER
                                                              Total: $0.00 + Unliquidated
        BROWN
        WALLACE
                                                              503(b)(9): $0.00
        BROWN,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Nueces Bay,
33406                                    16910   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RYAN
        CHRISTOPHER
                                                              Total: $0.00 + Unliquidated
        BROWN
        WALLACE
                                                              503(b)(9): $0.00
        BROWN,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas
33407                                    22655   8/1/2022     Secured: $0.00
        THE ESTATE OF    Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RYAN
        CHRISTOPHER
                                                              Total: $0.00 + Unliquidated
        BROWN
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4824 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim
        WALLACE
                                                              503(b)(9): $0.00
        BROWN,
                                                              Other Administrative: $0.00
        INDIVIDUALLY
                                                              Priority: $0.00
        AND AS HEIR OF   Talen Texas,
33408                                    28404   8/1/2022     Secured: $0.00
        THE ESTATE OF    LLC
                                                              General Unsecured: $0.00 + Unliquidated
        RYAN
        CHRISTOPHER
                                                              Total: $0.00 + Unliquidated
        BROWN
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33409   WALLACE, DONNA                   7080    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33410   WALLACE, DONNA Laredo, LLC       12830   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33411   WALLACE, DONNA                   18577   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33412   WALLACE, DONNA                   24311   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33413   WALLACE, DONNA                   30071   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4825 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33414   WALLACE, LISA                   4439    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33415   WALLACE, LISA   Laredo, LLC     10189   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33416   WALLACE, LISA                   15936   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33417   WALLACE, LISA                   21682   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33418   WALLACE, LISA                   27430   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,        Barney Davis,
33419                                   5178    8/1/2022     Secured: $0.00
        NICHOLE         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,
33420                   Laredo, LLC     10928   8/1/2022     Secured: $0.00
        NICHOLE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4826 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,      Nueces Bay,
33421                                 16675   8/1/2022     Secured: $0.00
        NICHOLE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,      Talen Texas
33422                                 22420   8/1/2022     Secured: $0.00
        NICHOLE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,      Talen Texas,
33423                                 28169   8/1/2022     Secured: $0.00
        NICHOLE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,      Barney Davis,
33424                                 8944    8/1/2022     Secured: $0.00
        TANISHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,
33425                 Laredo, LLC     14694   8/1/2022     Secured: $0.00
        TANISHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,      Nueces Bay,
33426                                 20441   8/1/2022     Secured: $0.00
        TANISHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALLACE,      Talen Texas
33427                                 26173   8/1/2022     Secured: $0.00
        TANISHA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4827 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,        Talen Texas,
33428                                   31935   8/1/2022     Secured: $0.00
        TANISHA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,        Barney Davis,
33429                                   9337    8/1/2022     Secured: $0.00
        UCHECHI         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,
33430                   Laredo, LLC     15087   8/1/2022     Secured: $0.00
        UCHECHI
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,        Nueces Bay,
33431                                   20834   8/1/2022     Secured: $0.00
        UCHECHI         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,        Talen Texas
33432                                   26566   8/1/2022     Secured: $0.00
        UCHECHI         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALLACE,        Talen Texas,
33433                                   32328   8/1/2022     Secured: $0.00
        UCHECHI         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33434   WALLER, DAVID                   6941    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4828 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33435   WALLER, DAVID   Laredo, LLC     12691   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33436   WALLER, DAVID                   18438   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33437   WALLER, DAVID                   24172   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33438   WALLER, DAVID                   29932   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33439   WALLIS, JAMES                   7459    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33440   WALLIS, JAMES   Laredo, LLC     13209   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33441   WALLIS, JAMES                   18956   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4829 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33442   WALLIS, JAMES                   24690   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33443   WALLIS, JAMES                   30450   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33444   WALLS, LINDA                    7989    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33445   WALLS, LINDA    Laredo, LLC     13739   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33446   WALLS, LINDA                    19486   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33447   WALLS, LINDA                    25220   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33448   WALLS, LINDA                    30980   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4830 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33449   WALLS, MICKEY   Laredo, LLC     33287   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33450   WALLS, MICKEY                   34278   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33451   WALLS, MICKEY                   35269   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33452   WALLS, MICKEY                   36260   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33453   WALLS, MICKEY                   37249   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALTON,         Barney Davis,
33454                                   7346    8/1/2022     Secured: $0.00
        GWENDOLYN       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALTON,
33455                   Laredo, LLC     13096   8/1/2022     Secured: $0.00
        GWENDOLYN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4831 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,       Nueces Bay,
33456                                 18843   8/1/2022     Secured: $0.00
        GWENDOLYN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,       Talen Texas
33457                                 24577   8/1/2022     Secured: $0.00
        GWENDOLYN     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,       Talen Texas,
33458                                 30337   8/1/2022     Secured: $0.00
        GWENDOLYN     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,       Barney Davis,
33459                                 7482    8/1/2022     Secured: $0.00
        JA'RELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,
33460                 Laredo, LLC     13232   8/1/2022     Secured: $0.00
        JA'RELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,       Nueces Bay,
33461                                 18979   8/1/2022     Secured: $0.00
        JA'RELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WALTON,       Talen Texas
33462                                 24713   8/1/2022     Secured: $0.00
        JA'RELLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4832 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WALTON,         Talen Texas,
33463                                   30473   8/1/2022     Secured: $0.00
        JA'RELLE        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WAMPLER,        Barney Davis,
33464                                   8778    8/1/2022     Secured: $0.00
        SHANE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WAMPLER,
33465                   Laredo, LLC     14528   8/1/2022     Secured: $0.00
        SHANE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WAMPLER,        Nueces Bay,
33466                                   20275   8/1/2022     Secured: $0.00
        SHANE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WAMPLER,        Talen Texas
33467                                   26007   8/1/2022     Secured: $0.00
        SHANE           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WAMPLER,        Talen Texas,
33468                                   31769   8/1/2022     Secured: $0.00
        SHANE           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33469   WANZER, DESTINY Laredo, LLC     33288   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4833 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33470   WANZER, DESTINY                   34279   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33471   WANZER, DESTINY                   35270   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33472   WANZER, DESTINY                   36261   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33473   WANZER, DESTINY                   37250   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33474   WARD, ANGELA                      4818    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33475   WARD, ANGELA      Laredo, LLC     10568   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33476   WARD, ANGELA                      16315   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4834 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33477   WARD, ANGELA                    22061   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33478   WARD, ANGELA                    27809   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33479   WARD, CHARLES                   6707    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33480   WARD, CHARLES   Laredo, LLC     12457   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33481   WARD, CHARLES                   18204   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33482   WARD, CHARLES                   23938   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33483   WARD, CHARLES                   29698   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4835 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33484   WARD, DAYAN                     6950    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33485   WARD, DAYAN     Laredo, LLC     12700   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33486   WARD, DAYAN                     18447   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33487   WARD, DAYAN                     24181   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33488   WARD, DAYAN                     29941   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33489   WARD, FRANCES                   7238    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33490   WARD, FRANCES   Laredo, LLC     12988   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4836 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33491   WARD, FRANCES                   18735   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33492   WARD, FRANCES                   24469   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33493   WARD, FRANCES                   30229   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33494   WARD, GLORIA                    4209    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33495   WARD, GLORIA    Laredo, LLC     9959    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33496   WARD, GLORIA                    15706   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33497   WARD, GLORIA                    21452   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4837 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33498   WARD, GLORIA                     27200   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33499   WARD, JUDY                       7711    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33500   WARD, JUDY       Laredo, LLC     13461   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33501   WARD, JUDY                       19208   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33502   WARD, JUDY                       24942   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33503   WARD, JUDY                       30702   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33504   WARD, REGINALD                   8533    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4838 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33505   WARD, REGINALD Laredo, LLC       14283   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33506   WARD, REGINALD                   20030   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33507   WARD, REGINALD                   25762   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33508   WARD, REGINALD                   31524   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33509   WARD, SANDY                      5274    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33510   WARD, SANDY      Laredo, LLC     11024   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33511   WARD, SANDY                      16771   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4839 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33512   WARD, SANDY                     22516   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33513   WARD, SANDY                     28265   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33514   WARDEN, JAMES Laredo, LLC       33289   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33515   WARDEN, JAMES                   34280   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33516   WARDEN, JAMES                   35271   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33517   WARDEN, JAMES                   36262   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33518   WARDEN, JAMES                   37251   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4840 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33519   WARE, CHARLES                   6708    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33520   WARE, CHARLES   Laredo, LLC     12458   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33521   WARE, CHARLES                   18205   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33522   WARE, CHARLES                   23939   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33523   WARE, CHARLES                   29699   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33524   WARNER, HOLLY                   4226    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33525   WARNER, HOLLY   Laredo, LLC     9976    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4841 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33526   WARNER, HOLLY                   15723   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33527   WARNER, HOLLY                   21469   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33528   WARNER, HOLLY                   27217   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33529   WARNKE, BARRY                   6489    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33530   WARNKE, BARRY   Laredo, LLC     12239   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33531   WARNKE, BARRY                   17986   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33532   WARNKE, BARRY                   23721   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4842 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33533   WARNKE, BARRY                    29480   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33534   WARREN, KASI                     7757    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33535   WARREN, KASI     Laredo, LLC     13507   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33536   WARREN, KASI                     19254   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33537   WARREN, KASI                     24988   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33538   WARREN, KASI                     30748   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33539   WARREN, YVETTE                   9190    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4843 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33540   WARREN, YVETTE Laredo, LLC      14940   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
33541   WARREN, YVETTE                  20687   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
33542   WARREN, YVETTE                  26419   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
33543   WARREN, YVETTE                  32181   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WARREN‐WHITE, Barney Davis,
33544                                   3778    8/1/2022     Secured: $0.00
        SABRINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WARREN‐WHITE,
33545                 Laredo, LLC       9528    8/1/2022     Secured: $0.00
        SABRINA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WARREN‐WHITE, Nueces Bay,
33546                                   15275   8/1/2022     Secured: $0.00
        SABRINA       LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4844 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WARREN‐WHITE, Talen Texas
33547                                  21022   8/1/2022     Secured: $0.00
        SABRINA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WARREN‐WHITE, Talen Texas,
33548                                  26769   8/1/2022     Secured: $0.00
        SABRINA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WASHBURN,      Barney Davis,
33549                                  3877    8/1/2022     Secured: $0.00
        DAPHNE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WASHBURN,
33550                  Laredo, LLC     9627    8/1/2022     Secured: $0.00
        DAPHNE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WASHBURN,      Nueces Bay,
33551                                  15374   8/1/2022     Secured: $0.00
        DAPHNE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WASHBURN,      Talen Texas
33552                                  21121   8/1/2022     Secured: $0.00
        DAPHNE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WASHBURN,      Talen Texas,
33553                                  26868   8/1/2022     Secured: $0.00
        DAPHNE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4845 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33554                                 5580    8/1/2022     Secured: $0.00
        ATREVIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33555                 Laredo, LLC     11330   8/1/2022     Secured: $0.00
        ATREVIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33556                                 17077   8/1/2022     Secured: $0.00
        ATREVIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33557                                 22822   8/1/2022     Secured: $0.00
        ATREVIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33558                                 28571   8/1/2022     Secured: $0.00
        ATREVIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33559                                 5582    8/1/2022     Secured: $0.00
        BILLY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33560                 Laredo, LLC     11332   8/1/2022     Secured: $0.00
        BILLY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4846 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33561                                 17079   8/1/2022     Secured: $0.00
        BILLY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33562                                 22824   8/1/2022     Secured: $0.00
        BILLY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33563                                 28573   8/1/2022     Secured: $0.00
        BILLY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33564                                 7001    8/1/2022     Secured: $0.00
        DENVER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33565                 Laredo, LLC     12751   8/1/2022     Secured: $0.00
        DENVER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33566                                 18498   8/1/2022     Secured: $0.00
        DENVER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33567                                 24232   8/1/2022     Secured: $0.00
        DENVER        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4847 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33568                                 29992   8/1/2022     Secured: $0.00
        DENVER        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33569                                 3602    8/1/2022     Secured: $0.00
        KENTRELL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33570                 Laredo, LLC     9352    8/1/2022     Secured: $0.00
        KENTRELL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33571                                 15099   8/1/2022     Secured: $0.00
        KENTRELL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33572                                 20846   8/1/2022     Secured: $0.00
        KENTRELL      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33573                                 26593   8/1/2022     Secured: $0.00
        KENTRELL      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33574                 Laredo, LLC     33290   8/1/2022     Secured: $0.00
        MELBA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4848 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33575                                 34281   8/1/2022     Secured: $0.00
        MELBA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33576                                 35272   8/1/2022     Secured: $0.00
        MELBA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33577                                 36263   8/1/2022     Secured: $0.00
        MELBA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33578                                 37252   8/1/2022     Secured: $0.00
        MELBA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33579                                 5631    8/1/2022     Secured: $0.00
        MYA           LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33580                 Laredo, LLC     11381   8/1/2022     Secured: $0.00
        MYA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33581                                 17128   8/1/2022     Secured: $0.00
        MYA           LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4849 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33582                                 22873   8/1/2022     Secured: $0.00
        MYA           Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33583                                 28622   8/1/2022     Secured: $0.00
        MYA           LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33584                                 5847    8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33585                 Laredo, LLC     11597   8/1/2022     Secured: $0.00
        NICOLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33586                                 17344   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33587                                 23089   8/1/2022     Secured: $0.00
        NICOLE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33588                                 28838   8/1/2022     Secured: $0.00
        NICOLE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4850 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33589                                 8672    8/1/2022     Secured: $0.00
        RONN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33590                 Laredo, LLC     14422   8/1/2022     Secured: $0.00
        RONN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33591                                 20169   8/1/2022     Secured: $0.00
        RONN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33592                                 25901   8/1/2022     Secured: $0.00
        RONN          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33593                                 31663   8/1/2022     Secured: $0.00
        RONN          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33594                                 5288    8/1/2022     Secured: $0.00
        SHAMEIKA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33595                 Laredo, LLC     11038   8/1/2022     Secured: $0.00
        SHAMEIKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4851 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33596                                 16785   8/1/2022     Secured: $0.00
        SHAMEIKA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33597                                 22530   8/1/2022     Secured: $0.00
        SHAMEIKA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33598                                 28279   8/1/2022     Secured: $0.00
        SHAMEIKA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33599                                 8806    8/1/2022     Secured: $0.00
        SHASHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33600                 Laredo, LLC     14556   8/1/2022     Secured: $0.00
        SHASHA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33601                                 20303   8/1/2022     Secured: $0.00
        SHASHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33602                                 26035   8/1/2022     Secured: $0.00
        SHASHA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4852 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33603                                 31797   8/1/2022     Secured: $0.00
        SHASHA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33604                                 8835    8/1/2022     Secured: $0.00
        SHIRELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33605                 Laredo, LLC     14585   8/1/2022     Secured: $0.00
        SHIRELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33606                                 20332   8/1/2022     Secured: $0.00
        SHIRELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33607                                 26064   8/1/2022     Secured: $0.00
        SHIRELLE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33608                                 31826   8/1/2022     Secured: $0.00
        SHIRELLE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33609                 Laredo, LLC     33291   8/1/2022     Secured: $0.00
        THOMAS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4853 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33610                                 34282   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33611                                 35273   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33612                                 36264   8/1/2022     Secured: $0.00
        THOMAS        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33613                                 37253   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33614                                 6204    8/1/2022     Secured: $0.00
        TRICHELLE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33615                 Laredo, LLC     11954   8/1/2022     Secured: $0.00
        TRICHELLE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33616                                 17701   8/1/2022     Secured: $0.00
        TRICHELLE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4854 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33617                                 23446   8/1/2022     Secured: $0.00
        TRICHELLE     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33618                                 29195   8/1/2022     Secured: $0.00
        TRICHELLE     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33619                 Laredo, LLC     33292   8/1/2022     Secured: $0.00
        WILFORD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33620                                 34283   8/1/2022     Secured: $0.00
        WILFORD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33621                                 35274   8/1/2022     Secured: $0.00
        WILFORD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33622                                 36265   8/1/2022     Secured: $0.00
        WILFORD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33623                                 37254   8/1/2022     Secured: $0.00
        WILFORD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4855 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Barney Davis,
33624                                 5374    8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,
33625                 Laredo, LLC     11124   8/1/2022     Secured: $0.00
        WILLIAM
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Nueces Bay,
33626                                 16871   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas
33627                                 22616   8/1/2022     Secured: $0.00
        WILLIAM       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WASHINGTON,   Talen Texas,
33628                                 28365   8/1/2022     Secured: $0.00
        WILLIAM       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATERS,       Barney Davis,
33629                                 3766    8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATERS,
33630                 Laredo, LLC     9516    8/1/2022     Secured: $0.00
        ELIZABETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4856 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATERS,       Nueces Bay,
33631                                 15263   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATERS,       Talen Texas
33632                                 21010   8/1/2022     Secured: $0.00
        ELIZABETH     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATERS,       Talen Texas,
33633                                 26757   8/1/2022     Secured: $0.00
        ELIZABETH     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATKINS,      Barney Davis,
33634                                 6775    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATKINS,
33635                 Laredo, LLC     12525   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATKINS,      Nueces Bay,
33636                                 18272   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATKINS,      Talen Texas
33637                                 24006   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4857 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WATKINS,         Talen Texas,
33638                                    29766   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33639   WATKINS, DAVID                   4098    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33640   WATKINS, DAVID Laredo, LLC       9848    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33641   WATKINS, DAVID                   15595   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33642   WATKINS, DAVID                   21341   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33643   WATKINS, DAVID                   27089   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WATLEY,          Barney Davis,
33644                                    6715    8/1/2022     Secured: $0.00
        CHARLOTTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4858 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATLEY,
33645                  Laredo, LLC     12465   8/1/2022     Secured: $0.00
        CHARLOTTE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATLEY,        Nueces Bay,
33646                                  18212   8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATLEY,        Talen Texas
33647                                  23946   8/1/2022     Secured: $0.00
        CHARLOTTE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATLEY,        Talen Texas,
33648                                  29706   8/1/2022     Secured: $0.00
        CHARLOTTE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33649   WATLEY, EDNA                   7131    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33650   WATLEY, EDNA   Laredo, LLC     12881   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33651   WATLEY, EDNA                   18628   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4859 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33652   WATLEY, EDNA                   24362   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33653   WATLEY, EDNA                   30122   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33654   WATSON, DAWN                   4926    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33655   WATSON, DAWN Laredo, LLC       10676   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33656   WATSON, DAWN                   16423   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33657   WATSON, DAWN                   22168   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33658   WATSON, DAWN                   27917   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4860 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33659   WATSON, DONNA                   4142    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33660   WATSON, DONNA Laredo, LLC       9892    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33661   WATSON, DONNA                   15639   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33662   WATSON, DONNA                   21385   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33663   WATSON, DONNA                   27133   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WATSON,         Barney Davis,
33664                                   7097    8/1/2022     Secured: $0.00
        DOROTHY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WATSON,
33665                   Laredo, LLC     12847   8/1/2022     Secured: $0.00
        DOROTHY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4861 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Nueces Bay,
33666                                 18594   8/1/2022     Secured: $0.00
        DOROTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Talen Texas
33667                                 24328   8/1/2022     Secured: $0.00
        DOROTHY       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Talen Texas,
33668                                 30088   8/1/2022     Secured: $0.00
        DOROTHY       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Barney Davis,
33669                                 8014    8/1/2022     Secured: $0.00
        LORETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,
33670                 Laredo, LLC     13764   8/1/2022     Secured: $0.00
        LORETTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Nueces Bay,
33671                                 19511   8/1/2022     Secured: $0.00
        LORETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Talen Texas
33672                                 25245   8/1/2022     Secured: $0.00
        LORETTA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4862 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Talen Texas,
33673                                 31005   8/1/2022     Secured: $0.00
        LORETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Barney Davis,
33674                                 8214    8/1/2022     Secured: $0.00
        MELTON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,
33675                 Laredo, LLC     13964   8/1/2022     Secured: $0.00
        MELTON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Nueces Bay,
33676                                 19711   8/1/2022     Secured: $0.00
        MELTON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Talen Texas
33677                                 25445   8/1/2022     Secured: $0.00
        MELTON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Talen Texas,
33678                                 31205   8/1/2022     Secured: $0.00
        MELTON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WATSON,       Barney Davis,
33679                                 6260    8/1/2022     Secured: $0.00
        MORGON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4863 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATSON,
33680                  Laredo, LLC     12010   8/1/2022     Secured: $0.00
        MORGON
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATSON,        Nueces Bay,
33681                                  17757   8/1/2022     Secured: $0.00
        MORGON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATSON,        Talen Texas
33682                                  23492   8/1/2022     Secured: $0.00
        MORGON         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WATSON,        Talen Texas,
33683                                  29251   8/1/2022     Secured: $0.00
        MORGON         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33684   WATSON, SARA                   4657    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33685   WATSON, SARA   Laredo, LLC     10407   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33686   WATSON, SARA                   16154   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4864 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33687   WATSON, SARA                    21900   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33688   WATSON, SARA                    27648   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33689   WATSON, SCOTT                   8765    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33690   WATSON, SCOTT   Laredo, LLC     14515   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33691   WATSON, SCOTT                   20262   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33692   WATSON, SCOTT                   25994   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33693   WATSON, SCOTT                   31756   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4865 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33694   WATSON, TAMMY                   8940    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33695   WATSON, TAMMY Laredo, LLC       14690   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33696   WATSON, TAMMY                   20437   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33697   WATSON, TAMMY                   26169   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33698   WATSON, TAMMY                   31931   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33699   WATSON, WENDY Laredo, LLC       33293   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33700   WATSON, WENDY                   34284   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4866 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33701   WATSON, WENDY                    35275   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33702   WATSON, WENDY                    36266   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33703   WATSON, WENDY                    37255   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33704   WATTERS, CHRIS                   3761    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33705   WATTERS, CHRIS   Laredo, LLC     9511    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33706   WATTERS, CHRIS                   15258   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33707   WATTERS, CHRIS                   21005   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4867 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33708   WATTERS, CHRIS                   26752   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33709   WATTS, ADRIEL                    6295    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33710   WATTS, ADRIEL    Laredo, LLC     12045   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33711   WATTS, ADRIEL                    17792   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33712   WATTS, ADRIEL                    23527   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33713   WATTS, ADRIEL                    29286   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33714   WATTS, CHERYL                    6731    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4868 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33715   WATTS, CHERYL     Laredo, LLC     12481   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33716   WATTS, CHERYL                     18228   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33717   WATTS, CHERYL                     23962   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33718   WATTS, CHERYL                     29722   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33719   WATTS, CHRISULA                   6778    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33720   WATTS, CHRISULA Laredo, LLC       12528   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33721   WATTS, CHRISULA                   18275   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4869 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33722   WATTS, CHRISULA                   24009   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33723   WATTS, CHRISULA                   29769   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33724   WATTS, WESLEY     Laredo, LLC     33294   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33725   WATTS, WESLEY                     34285   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33726   WATTS, WESLEY                     35276   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33727   WATTS, WESLEY                     36267   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33728   WATTS, WESLEY                     37256   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4870 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAWRZYNIAK,
33729                  Laredo, LLC     33295   8/1/2022     Secured: $0.00
        MARLENE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAWRZYNIAK,    Barney Davis,
33730                                  34286   8/1/2022     Secured: $0.00
        MARLENE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAWRZYNIAK,    Nueces Bay,
33731                                  35277   8/1/2022     Secured: $0.00
        MARLENE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAWRZYNIAK,    Talen Texas
33732                                  36268   8/1/2022     Secured: $0.00
        MARLENE        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WAWRZYNIAK,    Talen Texas,
33733                                  37257   8/1/2022     Secured: $0.00
        MARLENE        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33734   WAZIR, EID                     6245    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33735   WAZIR, EID     Laredo, LLC     11995   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4871 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33736   WAZIR, EID                       17742   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33737   WAZIR, EID                       23477   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33738   WAZIR, EID                       29236   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33739   WAZIR, SHAFIQA                   3894    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33740   WAZIR, SHAFIQA   Laredo, LLC     9644    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33741   WAZIR, SHAFIQA                   15391   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33742   WAZIR, SHAFIQA                   21138   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4872 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33743   WAZIR, SHAFIQA                    26885   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33744   WEARY, COLLETTE                   6811    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33745   WEARY, COLLETTE Laredo, LLC       12561   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33746   WEARY, COLLETTE                   18308   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33747   WEARY, COLLETTE                   24042   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33748   WEARY, COLLETTE                   29802   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WEATHERFORD,      Barney Davis,
33749                                     6688    8/1/2022     Secured: $0.00
        CEMI              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4873 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERFORD,
33750                  Laredo, LLC     12438   8/1/2022     Secured: $0.00
        CEMI
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERFORD,   Nueces Bay,
33751                                  18185   8/1/2022     Secured: $0.00
        CEMI           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERFORD,   Talen Texas
33752                                  23919   8/1/2022     Secured: $0.00
        CEMI           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERFORD,   Talen Texas,
33753                                  29679   8/1/2022     Secured: $0.00
        CEMI           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERS,      Barney Davis,
33754                                  5156    8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERS,
33755                  Laredo, LLC     10906   8/1/2022     Secured: $0.00
        MICHAEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERS,      Nueces Bay,
33756                                  16653   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4874 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERS,      Talen Texas
33757                                 22398   8/1/2022     Secured: $0.00
        MICHAEL        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERS,      Talen Texas,
33758                                 28147   8/1/2022     Secured: $0.00
        MICHAEL        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Barney Davis,
33759                                 4118    8/1/2022     Secured: $0.00
        DELLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON,
33760                 Laredo, LLC     9868    8/1/2022     Secured: $0.00
        DELLA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Nueces Bay,
33761                                 15615   8/1/2022     Secured: $0.00
        DELLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Talen Texas
33762                                 21361   8/1/2022     Secured: $0.00
        DELLA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Talen Texas,
33763                                 27109   8/1/2022     Secured: $0.00
        DELLA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4875 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Barney Davis,
33764                                 8921    8/1/2022     Secured: $0.00
        SYMONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON,
33765                 Laredo, LLC     14671   8/1/2022     Secured: $0.00
        SYMONE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Nueces Bay,
33766                                 20418   8/1/2022     Secured: $0.00
        SYMONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Talen Texas
33767                                 26150   8/1/2022     Secured: $0.00
        SYMONE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Talen Texas,
33768                                 31912   8/1/2022     Secured: $0.00
        SYMONE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON, Barney Davis,
33769                                 5329    8/1/2022     Secured: $0.00
        TEMETRIUS     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WEATHERSPOON,
33770                 Laredo, LLC     11079   8/1/2022     Secured: $0.00
        TEMETRIUS
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4876 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERSPOON, Nueces Bay,
33771                                  16826   8/1/2022     Secured: $0.00
        TEMETRIUS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERSPOON, Talen Texas
33772                                  22571   8/1/2022     Secured: $0.00
        TEMETRIUS     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEATHERSPOON, Talen Texas,
33773                                  28320   8/1/2022     Secured: $0.00
        TEMETRIUS     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,        Barney Davis,
33774                                  6780    8/1/2022     Secured: $0.00
        CHRYSTAL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,
33775                  Laredo, LLC     12530   8/1/2022     Secured: $0.00
        CHRYSTAL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,        Nueces Bay,
33776                                  18277   8/1/2022     Secured: $0.00
        CHRYSTAL       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,        Talen Texas
33777                                  24011   8/1/2022     Secured: $0.00
        CHRYSTAL       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4877 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WEAVER,         Talen Texas,
33778                                   29771   8/1/2022     Secured: $0.00
        CHRYSTAL        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33779   WEAVER, JAMES                   7460    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33780   WEAVER, JAMES   Laredo, LLC     13210   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33781   WEAVER, JAMES                   18957   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33782   WEAVER, JAMES                   24691   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33783   WEAVER, JAMES                   30451   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WEAVER,         Barney Davis,
33784                                   7530    8/1/2022     Secured: $0.00
        JENNIFER        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4878 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,
33785                  Laredo, LLC     13280   8/1/2022     Secured: $0.00
        JENNIFER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,        Nueces Bay,
33786                                  19027   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,        Talen Texas
33787                                  24761   8/1/2022     Secured: $0.00
        JENNIFER       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WEAVER,        Talen Texas,
33788                                  30521   8/1/2022     Secured: $0.00
        JENNIFER       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33789   WEAVER, JOHN   Laredo, LLC     33296   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33790   WEAVER, JOHN                   34287   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33791   WEAVER, JOHN                   35278   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4879 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33792   WEAVER, JOHN                      36269   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33793   WEAVER, JOHN                      37258   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
33794   WEAVER, MELISSA                   9298    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
33795   WEAVER, MELISSA Laredo, LLC       15048   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
33796   WEAVER, MELISSA                   20795   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
33797   WEAVER, MELISSA                   26527   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
33798   WEAVER, MELISSA                   32289   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4880 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33799   WEAVER, SHARON                   8803    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33800   WEAVER, SHARON Laredo, LLC       14553   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33801   WEAVER, SHARON                   20300   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33802   WEAVER, SHARON                   26032   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33803   WEAVER, SHARON                   31794   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33804   WEAVER, STEVE                    8892    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33805   WEAVER, STEVE    Laredo, LLC     14642   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4881 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33806   WEAVER, STEVE                   20389   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33807   WEAVER, STEVE                   26121   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33808   WEAVER, STEVE                   31883   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33809   WEBB, BETTIE                    4853    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33810   WEBB, BETTIE    Laredo, LLC     10603   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33811   WEBB, BETTIE                    16350   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33812   WEBB, BETTIE                    22096   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4882 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33813   WEBB, BETTIE                   27844   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33814   WEBB, IYANA                    7410    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33815   WEBB, IYANA    Laredo, LLC     13160   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33816   WEBB, IYANA                    18907   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33817   WEBB, IYANA                    24641   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33818   WEBB, IYANA                    30401   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33819   WEBB, JEREMY                   3884    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4883 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33820   WEBB, JEREMY   Laredo, LLC     9634    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33821   WEBB, JEREMY                   15381   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33822   WEBB, JEREMY                   21128   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33823   WEBB, JEREMY                   26875   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33824   WEBB, LACY     Laredo, LLC     33297   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33825   WEBB, LACY                     34288   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33826   WEBB, LACY                     35279   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4884 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33827   WEBB, LACY                     36270   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33828   WEBB, LACY                     37259   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33829   WEBB, RHONDA                   4603    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33830   WEBB, RHONDA   Laredo, LLC     10353   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33831   WEBB, RHONDA                   16100   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33832   WEBB, RHONDA                   21846   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33833   WEBB, RHONDA                   27594   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4885 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33834   WEBB, VANICIA                   5485    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33835   WEBB, VANICIA   Laredo, LLC     11235   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33836   WEBB, VANICIA                   16982   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33837   WEBB, VANICIA                   22727   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33838   WEBB, VANICIA                   28476   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WEBSTER,        Barney Davis,
33839                                   4086    8/1/2022     Secured: $0.00
        DAPHNE          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WEBSTER,
33840                   Laredo, LLC     9836    8/1/2022     Secured: $0.00
        DAPHNE
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4886 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Nueces Bay,
33841                                    15583   8/1/2022     Secured: $0.00
        DAPHNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Talen Texas
33842                                    21329   8/1/2022     Secured: $0.00
        DAPHNE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Talen Texas,
33843                                    27077   8/1/2022     Secured: $0.00
        DAPHNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33844   WEBSTER, ERICA                   7192    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33845   WEBSTER, ERICA   Laredo, LLC     12942   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33846   WEBSTER, ERICA                   18689   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33847   WEBSTER, ERICA                   24423   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4887 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33848   WEBSTER, ERICA                   30183   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Barney Davis,
33849                                    5808    8/1/2022     Secured: $0.00
        JOANNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,
33850                    Laredo, LLC     11558   8/1/2022     Secured: $0.00
        JOANNE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Nueces Bay,
33851                                    17305   8/1/2022     Secured: $0.00
        JOANNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Talen Texas
33852                                    23050   8/1/2022     Secured: $0.00
        JOANNE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEBSTER,         Talen Texas,
33853                                    28799   8/1/2022     Secured: $0.00
        JOANNE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33854   WEILER, PAMELA                   8383    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4888 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33855   WEILER, PAMELA Laredo, LLC       14133   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33856   WEILER, PAMELA                   19880   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33857   WEILER, PAMELA                   25613   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33858   WEILER, PAMELA                   31374   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEISSFISCH,      Barney Davis,
33859                                    7294    8/1/2022     Secured: $0.00
        GEORGE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEISSFISCH,
33860                    Laredo, LLC     13044   8/1/2022     Secured: $0.00
        GEORGE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEISSFISCH,      Nueces Bay,
33861                                    18791   8/1/2022     Secured: $0.00
        GEORGE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4889 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEISSFISCH,      Talen Texas
33862                                    24525   8/1/2022     Secured: $0.00
        GEORGE           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WEISSFISCH,      Talen Texas,
33863                                    30285   8/1/2022     Secured: $0.00
        GEORGE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33864   WELLER, LENORA                   7958    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33865   WELLER, LENORA Laredo, LLC       13708   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33866   WELLER, LENORA                   19455   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33867   WELLER, LENORA                   25189   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33868   WELLER, LENORA                   30949   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4890 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33869   WELLS, AMOS                    6366    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33870   WELLS, AMOS    Laredo, LLC     12116   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33871   WELLS, AMOS                    17863   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33872   WELLS, AMOS                    23598   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33873   WELLS, AMOS                    29357   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33874   WELLS, DARYL                   6912    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33875   WELLS, DARYL   Laredo, LLC     12662   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4891 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33876   WELLS, DARYL                   18409   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33877   WELLS, DARYL                   24143   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33878   WELLS, DARYL                   29903   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WELLS,         Barney Davis,
33879                                  5048    8/1/2022     Secured: $0.00
        JOSEPHINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WELLS,
33880                  Laredo, LLC     10798   8/1/2022     Secured: $0.00
        JOSEPHINE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WELLS,         Nueces Bay,
33881                                  16545   8/1/2022     Secured: $0.00
        JOSEPHINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WELLS,         Talen Texas
33882                                  22290   8/1/2022     Secured: $0.00
        JOSEPHINE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4892 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WELLS,         Talen Texas,
33883                                  28039   8/1/2022     Secured: $0.00
        JOSEPHINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33884   WELLS, PAIGE                   8374    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33885   WELLS, PAIGE   Laredo, LLC     14124   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33886   WELLS, PAIGE                   19871   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33887   WELLS, PAIGE                   25604   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33888   WELLS, PAIGE                   31365   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WELLS,         Barney Davis,
33889                                  8845    8/1/2022     Secured: $0.00
        SHOWNEISHA     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4893 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WELLS,
33890                    Laredo, LLC     14595   8/1/2022     Secured: $0.00
        SHOWNEISHA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WELLS,           Nueces Bay,
33891                                    20342   8/1/2022     Secured: $0.00
        SHOWNEISHA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WELLS,           Talen Texas
33892                                    26074   8/1/2022     Secured: $0.00
        SHOWNEISHA       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WELLS,           Talen Texas,
33893                                    31836   8/1/2022     Secured: $0.00
        SHOWNEISHA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33894   WENDT, JILL A.                   4288    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33895   WENDT, JILL A.   Laredo, LLC     10038   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33896   WENDT, JILL A.                   15785   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4894 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33897   WENDT, JILL A.                   21531   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33898   WENDT, JILL A.                   27279   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33899   WENYI, PAPY                      8384    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33900   WENYI, PAPY      Laredo, LLC     14134   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33901   WENYI, PAPY                      19881   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33902   WENYI, PAPY                      25614   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33903   WENYI, PAPY                      31375   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4895 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33904   WERMUND, TIM                   9012    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33905   WERMUND, TIM   Laredo, LLC     14762   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33906   WERMUND, TIM                   20509   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33907   WERMUND, TIM                   26241   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33908   WERMUND, TIM                   32003   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33909   WERNE, DAVID                   5488    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33910   WERNE, DAVID   Laredo, LLC     11238   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4896 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33911   WERNE, DAVID                   16985   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33912   WERNE, DAVID                   22730   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33913   WERNE, DAVID                   28479   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESCO                                               Priority: $0.00
33914   INSURANCE      Laredo, LLC     3534    8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $13,616,354.09 + Unliquidated

                                                            Total: $13,616,354.09 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESCO                                               Priority: $0.00
                       Barney Davis,
33915   INSURANCE                      3553    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $13,616,354.09 + Unliquidated

                                                            Total: $13,616,354.09 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESCO                                               Priority: $0.00
                       Nueces Bay,
33916   INSURANCE                      3555    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                             General Unsecured: $13,616,354.09 + Unliquidated

                                                            Total: $13,616,354.09 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4897 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WEST AMERICAN                                      Priority: $0.00
                      Nueces Bay,
33917   INSURANCE                      2186   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $116,515.00 + Unliquidated

                                                           Total: $116,515.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WEST AMERICAN                                      Priority: $0.00
                      Barney Davis,
33918   INSURANCE                      2486   7/31/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $116,515.81 + Unliquidated

                                                           Total: $116,515.81 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WEST AMERICAN                                      Priority: $0.00
33919   INSURANCE     Laredo, LLC      2591   7/31/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $116,515.81 + Unliquidated

                                                           Total: $116,515.81 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WEST BEND
                                                           Priority: $0.00
        MUTUAL         Barney Davis,
33920                                  2614   8/1/2022     Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $33,935.00 + Unliquidated
        COMPANY
                                                           Total: $33,935.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WEST BEND
                                                           Priority: $0.00
        MUTUAL         Nueces Bay,
33921                                  2773   7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                           General Unsecured: $33,935.00 + Unliquidated
        COMPANY
                                                           Total: $33,935.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WEST BEND
                                                           Priority: $0.00
        MUTUAL
33922                  Laredo, LLC     2952   7/31/2022    Secured: $0.00
        INSURANCE
                                                           General Unsecured: $33,935.00 + Unliquidated
        COMPANY
                                                           Total: $33,935.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                       Barney Davis,
33923   WEST, CALLIE                   6618   8/1/2022     Secured: $0.00
                       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4898 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33924   WEST, CALLIE   Laredo, LLC     12368   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33925   WEST, CALLIE                   18115   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33926   WEST, CALLIE                   23849   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33927   WEST, CALLIE                   29609   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33928   WEST, JUDY                     7712    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33929   WEST, JUDY     Laredo, LLC     13462   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33930   WEST, JUDY                     19209   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4899 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33931   WEST, JUDY                     24943   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33932   WEST, JUDY                     30703   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
33933   WEST, MARCUS   Laredo, LLC     33298   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
33934   WEST, MARCUS                   34289   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
33935   WEST, MARCUS                   35280   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
33936   WEST, MARCUS                   36271   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
33937   WEST, MARCUS                   37260   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4900 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33938   WEST, ROBERT                     4631    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33939   WEST, ROBERT     Laredo, LLC     10381   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
33940   WEST, ROBERT                     16128   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
33941   WEST, ROBERT                     21874   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
33942   WEST, ROBERT                     27622   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
33943   WEST, VICTORIA                   5364    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
33944   WEST, VICTORIA   Laredo, LLC     11114   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4901 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Nueces Bay,
33945   WEST, VICTORIA                  16861   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas
33946   WEST, VICTORIA                  22606   8/1/2022     Secured: $0.00
                         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                         Talen Texas,
33947   WEST, VICTORIA                  28355   8/1/2022     Secured: $0.00
                         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        WESTCHESTER                                          Priority: $0.00
                         Nueces Bay,
33948   FIRE INSURANCE                  2104    7/30/2022    Secured: $0.00
                         LLC
        COMPANY (APA)                                        General Unsecured: $12,919,867.81 + Unliquidated

                                                             Total: $12,919,867.81 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        WESTCHESTER                                          Priority: $0.00
33949   FIRE INSURANCE   Laredo, LLC    2162    7/30/2022    Secured: $0.00
        COMPANY (APA)                                        General Unsecured: $12,919,867.81 + Unliquidated

                                                             Total: $12,919,867.81 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        WESTCHESTER                                          Priority: $0.00
                        Barney Davis,
33950   FIRE, INSURANCE                 2266    7/30/2022    Secured: $0.00
                        LLC
        COMPANY (APA)                                        General Unsecured: $12,919,867.81 + Unliquidated

                                                             Total: $12,919,867.81 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4902 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTCHESTER
                                                            Priority: $0.00
        SURPLUS LINES   Nueces Bay,
33951                                   2350   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $181,860,237.82 + Unliquidated
        COMPANY
                                                            Total: $181,860,237.82 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTCHESTER
                                                            Priority: $0.00
        SURPLUS LINES   Barney Davis,
33952                                   2390   7/30/2022    Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $181,860,237.82 + Unliquidated
        COMPANY
                                                            Total: $181,860,237.82 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTCHESTER
                                                            Priority: $0.00
        SURPLUS LINES
33953                   Laredo, LLC     2460   7/30/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $181,860,237.82 + Unliquidated
        COMPANY
                                                            Total: $181,860,237.82 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTERN
                                                            Priority: $0.00
        MUTUAL          Barney Davis,
33954                                   3038   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $3,700,956.26 + Unliquidated
        COMPANY
                                                            Total: $3,700,956.26 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTERN
                                                            Priority: $0.00
        MUTUAL
33955                   Laredo, LLC     3136   8/1/2022     Secured: $0.00
        INSURANCE
                                                            General Unsecured: $3,700,956.26 + Unliquidated
        COMPANY
                                                            Total: $3,700,956.26 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WESTERN
                                                            Priority: $0.00
        MUTUAL          Nueces Bay,
33956                                   3152   8/1/2022     Secured: $0.00
        INSURANCE       LLC
                                                            General Unsecured: $3,700,956.26 + Unliquidated
        COMPANY
                                                            Total: $3,700,956.26 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4903 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #   Date Filed                  Non‐GUC Trust Claim

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTERN WORLD                                      Priority: $0.00
                      Nueces Bay,
33957   INSURANCE                     1731    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $24,283,754.75 + Unliquidated

                                                           Total: $24,283,754.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTERN WORLD                                      Priority: $0.00
                      Barney Davis,
33958   INSURANCE                     1752    7/29/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $4,283,754.75 + Unliquidated

                                                           Total: $4,283,754.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTERN WORLD                                      Priority: $0.00
33959   INSURANCE     Laredo, LLC     1853    7/29/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $24,283,754.75 + Unliquidated

                                                           Total: $24,283,754.75 + Unliquidated

                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTERN WORLD                                      Priority: $0.00
                      Barney Davis,
33960   INSURANCE                     1863    7/30/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $24,283,754.75 + Unliquidated

                                                           Total: $24,283,754.75 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTGUARD                                          Priority: $0.00
                       Nueces Bay,
33961   INSURANCE                     3265    8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTGUARD                                          Priority: $0.00
33962   INSURANCE      Laredo, LLC    3275    8/1/2022     Secured: $0.00
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4904 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTGUARD                                          Priority: $0.00
                       Barney Davis,
33963   INSURANCE                      3348   8/1/2022     Secured: $0.00
                       LLC
        COMPANY                                            General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
        WESTON
        PROPERTY &
                                                           503(b)(9): $0.00
        CASUALTY
                                                           Other Administrative: $0.00
        INSURANCE
                                                           Priority: $0.00
        COMPANY        Nueces Bay,
33964                                  983    7/28/2022    Secured: $0.00
        FORMERLY DBA   LLC
                                                           General Unsecured: $24,370,749.55 + Unliquidated
        WESTON
        SPECIALTY
                                                           Total: $24,370,749.55 + Unliquidated
        INSURANCE
        COMPANY
        WESTON
        PROPERTY &
                                                           503(b)(9): $0.00
        CASUALTY
                                                           Other Administrative: $0.00
        INSURANCE
                                                           Priority: $0.00
        COMPANY        Barney Davis,
33965                                  1422   7/28/2022    Secured: $0.00
        FORMERLY DBA   LLC
                                                           General Unsecured: $24,370,749.55 + Unliquidated
        WESTON
        SPECIALTY
                                                           Total: $24,370,749.55 + Unliquidated
        INSURANCE
        COMPANY
        WESTON
        PROPERTY &
                                                           503(b)(9): $0.00
        CASUALTY
                                                           Other Administrative: $0.00
        INSURANCE
                                                           Priority: $0.00
        COMPANY
33966                  Laredo, LLC     1441   7/28/2022    Secured: $0.00
        FORMERLY DBA
                                                           General Unsecured: $24,370,749.55 + Unliquidated
        WESTON
        SPECIALTY
                                                           Total: $24,370,749.55 + Unliquidated
        INSURANCE
        COMPANY
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTON,        Barney Davis,
33967                                  7903   8/1/2022     Secured: $0.00
        LANETTA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4905 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTON,
33968                 Laredo, LLC     13653   8/1/2022     Secured: $0.00
        LANETTA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTON,       Nueces Bay,
33969                                 19400   8/1/2022     Secured: $0.00
        LANETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTON,       Talen Texas
33970                                 25134   8/1/2022     Secured: $0.00
        LANETTA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTON,       Talen Texas,
33971                                 30894   8/1/2022     Secured: $0.00
        LANETTA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTOVER,     Barney Davis,
33972                                 4981    8/1/2022     Secured: $0.00
        GERRIT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTOVER,
33973                 Laredo, LLC     10731   8/1/2022     Secured: $0.00
        GERRIT
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTOVER,     Nueces Bay,
33974                                 16478   8/1/2022     Secured: $0.00
        GERRIT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4906 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTOVER,     Talen Texas
33975                                 22223   8/1/2022     Secured: $0.00
        GERRIT        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WESTOVER,     Talen Texas,
33976                                 27972   8/1/2022     Secured: $0.00
        GERRIT        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTPORT                                           Priority: $0.00
                      Barney Davis,
33977   INSURANCE                     1629    7/31/2022    Secured: $0.00
                      LLC
        CORPORATION                                        General Unsecured: $1,000,000.00 + Unliquidated

                                                           Total: $1,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTPORT                                           Priority: $0.00
                      Nueces Bay,
33978   INSURANCE                     1715    7/31/2022    Secured: $0.00
                      LLC
        CORPORATION                                        General Unsecured: $1,000,000.00 + Unliquidated

                                                           Total: $1,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTPORT                                           Priority: $0.00
33979   INSURANCE     Laredo, LLC     1726    7/31/2022    Secured: $0.00
        CORPORATION                                        General Unsecured: $1,000,000.00 + Unliquidated

                                                           Total: $1,000,000.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WESTPORT                                           Priority: $0.00
33980   INSURANCE     Laredo, LLC     2937    8/1/2022     Secured: $0.00
        CORPORATION                                        General Unsecured: $34,586,669.62 + Unliquidated

                                                           Total: $34,586,669.62 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4907 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        WESTPORT                                             Priority: $0.00
                        Barney Davis,
33981   INSURANCE                       3070    8/1/2022     Secured: $0.00
                        LLC
        CORPORATION                                          General Unsecured: $34,586,669.62 + Unliquidated

                                                             Total: $34,586,669.62 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        WESTPORT                                             Priority: $0.00
                        Nueces Bay,
33982   INSURANCE                       3126    8/1/2022     Secured: $0.00
                        LLC
        CORPORATION                                          General Unsecured: $34,586,669.62 + Unliquidated

                                                             Total: $34,586,669.62 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33983   WESTRY, WENDY                   9144    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33984   WESTRY, WENDY Laredo, LLC       14894   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33985   WESTRY, WENDY                   20641   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33986   WESTRY, WENDY                   26373   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4908 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33987   WESTRY, WENDY                   32135   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
33988   WHALEY, JERI                    7537    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
33989   WHALEY, JERI    Laredo, LLC     13287   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
33990   WHALEY, JERI                    19034   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
33991   WHALEY, JERI                    24768   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
33992   WHALEY, JERI                    30528   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WHEATFALL,      Barney Davis,
33993                                   5763    8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4909 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEATFALL,
33994                 Laredo, LLC     11513   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEATFALL,    Nueces Bay,
33995                                 17260   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEATFALL,    Talen Texas
33996                                 23005   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEATFALL,    Talen Texas,
33997                                 28754   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEELER,      Barney Davis,
33998                                 4611    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEELER,
33999                 Laredo, LLC     10361   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEELER,      Nueces Bay,
34000                                 16108   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4910 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEELER,      Talen Texas
34001                                 21854   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHEELER,      Talen Texas,
34002                                 27602   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHICKER,      Barney Davis,
34003                                 3794    8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHICKER,
34004                 Laredo, LLC     9544    8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHICKER,      Nueces Bay,
34005                                 15291   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHICKER,      Talen Texas
34006                                 21038   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHICKER,      Talen Texas,
34007                                 26785   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4911 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34008   WHIPPLE, TERRI   Laredo, LLC     33299   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34009   WHIPPLE, TERRI                   34290   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34010   WHIPPLE, TERRI                   35281   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34011   WHIPPLE, TERRI                   36272   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34012   WHIPPLE, TERRI                   37261   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34013   WHITAKER, SARI   Laredo, LLC     33300   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34014   WHITAKER, SARI                   34291   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4912 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34015   WHITAKER, SARI                   35282   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34016   WHITAKER, SARI                   36273   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34017   WHITAKER, SARI                   37262   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITAKER,
34018                    Laredo, LLC     33301   8/1/2022     Secured: $0.00
        URSULA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITAKER,        Barney Davis,
34019                                    34292   8/1/2022     Secured: $0.00
        URSULA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITAKER,        Nueces Bay,
34020                                    35283   8/1/2022     Secured: $0.00
        URSULA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITAKER,        Talen Texas
34021                                    36274   8/1/2022     Secured: $0.00
        URSULA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4913 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITAKER,        Talen Texas,
34022                                    37263   8/1/2022     Secured: $0.00
        URSULA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34023   WHITCOMB, GINA Laredo, LLC       33302   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34024   WHITCOMB, GINA                   34293   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34025   WHITCOMB, GINA                   35284   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34026   WHITCOMB, GINA                   36275   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34027   WHITCOMB, GINA                   37264   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34028   WHITE, ALFAY                     4807    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4914 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34029   WHITE, ALFAY    Laredo, LLC     10557   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34030   WHITE, ALFAY                    16304   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34031   WHITE, ALFAY                    22050   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34032   WHITE, ALFAY                    27798   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34033   WHITE, BAILEY                   5492    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34034   WHITE, BAILEY   Laredo, LLC     11242   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34035   WHITE, BAILEY                   16989   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4915 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34036   WHITE, BAILEY                   22734   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34037   WHITE, BAILEY                   28483   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34038   WHITE, BRENDA                   3987    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34039   WHITE, BRENDA   Laredo, LLC     9737    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34040   WHITE, BRENDA                   15484   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34041   WHITE, BRENDA                   21230   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34042   WHITE, BRENDA                   26978   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4916 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34043   WHITE, BRYAN                     6075    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34044   WHITE, BRYAN     Laredo, LLC     11825   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34045   WHITE, BRYAN                     17572   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34046   WHITE, BRYAN                     23317   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34047   WHITE, BRYAN                     29066   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34048   WHITE, CHANTEL                   6240    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34049   WHITE, CHANTEL Laredo, LLC       11990   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4917 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34050   WHITE, CHANTEL                   17737   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34051   WHITE, CHANTEL                   26582   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34052   WHITE, CHANTEL                   29231   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITE,           Barney Davis,
34053                                    6800    8/1/2022     Secured: $0.00
        CLEMENTINA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITE,
34054                    Laredo, LLC     12550   8/1/2022     Secured: $0.00
        CLEMENTINA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITE,           Nueces Bay,
34055                                    18297   8/1/2022     Secured: $0.00
        CLEMENTINA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITE,           Talen Texas
34056                                    24031   8/1/2022     Secured: $0.00
        CLEMENTINA       Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4918 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITE,           Talen Texas,
34057                                    29791   8/1/2022     Secured: $0.00
        CLEMENTINA       LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34058   WHITE, DARRIUS                   4920    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34059   WHITE, DARRIUS   Laredo, LLC     10670   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34060   WHITE, DARRIUS                   16417   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34061   WHITE, DARRIUS                   22162   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34062   WHITE, DARRIUS                   27911   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34063   WHITE, EDWARD                    7137    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4919 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34064   WHITE, EDWARD Laredo, LLC       12887   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34065   WHITE, EDWARD                   18634   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34066   WHITE, EDWARD                   24368   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34067   WHITE, EDWARD                   30128   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34068   WHITE, ELEXIS                   4955    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34069   WHITE, ELEXIS   Laredo, LLC     10705   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34070   WHITE, ELEXIS                   16452   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4920 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34071   WHITE, ELEXIS                   22197   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34072   WHITE, ELEXIS                   27946   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34073   WHITE, JOHNNY                   4312    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34074   WHITE, JOHNNY   Laredo, LLC     10062   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34075   WHITE, JOHNNY                   15809   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34076   WHITE, JOHNNY                   21555   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34077   WHITE, JOHNNY                   27303   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4921 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34078   WHITE, MELISSA                    4509    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34079   WHITE, MELISSA    Laredo, LLC     10259   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34080   WHITE, MELISSA                    16006   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34081   WHITE, MELISSA                    21752   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34082   WHITE, MELISSA                    27500   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34083   WHITE, PATRICIA                   8397    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34084   WHITE, PATRICIA Laredo, LLC       14147   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4922 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34085   WHITE, PATRICIA                   19894   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34086   WHITE, PATRICIA                   25627   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34087   WHITE, PATRICIA                   31388   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34088   WHITE, ROBERT                     8619    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34089   WHITE, ROBERT     Laredo, LLC     14369   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34090   WHITE, ROBERT                     20116   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34091   WHITE, ROBERT                     25848   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4923 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
34092   WHITE, ROBERT                      31610   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
34093   WHITE, ROBERT E.                   8588    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
34094   WHITE, ROBERT E. Laredo, LLC       14338   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
34095   WHITE, ROBERT E.                   20085   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
34096   WHITE, ROBERT E.                   25817   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
34097   WHITE, ROBERT E.                   31579   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
34098   WHITE, TAMARA                      3853    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4924 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34099   WHITE, TAMARA   Laredo, LLC     9603    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34100   WHITE, TAMARA                   15350   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34101   WHITE, TAMARA                   21097   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34102   WHITE, TAMARA                   26844   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34103   WHITE, TODD                     9334    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34104   WHITE, TODD     Laredo, LLC     15084   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34105   WHITE, TODD                     20831   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4925 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
34106   WHITE, TODD                   26563   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
34107   WHITE, TODD                   32325   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
34108   WHITE, WADE                   9130    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
34109   WHITE, WADE   Laredo, LLC     14880   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
34110   WHITE, WADE                   20627   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
34111   WHITE, WADE                   26359   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
34112   WHITE, WADE                   32121   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4926 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34113   WHITE, WALTER                   6209    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34114   WHITE, WALTER   Laredo, LLC     11959   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34115   WHITE, WALTER                   17706   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34116   WHITE, WALTER                   23451   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34117   WHITE, WALTER                   29200   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34118   WHITE, YVONDA   Laredo, LLC     33303   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34119   WHITE, YVONDA                   34294   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4927 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Nueces Bay,
34120   WHITE, YVONDA                  35285   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas
34121   WHITE, YVONDA                  36276   8/1/2022     Secured: $0.00
                        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                        Talen Texas,
34122   WHITE, YVONDA                  37265   8/1/2022     Secured: $0.00
                        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WHITEHEAD FUN
                                                            Priority: $0.00
        AND GAMETRUCK Barney Davis,
34123                                  5950    8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                            General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WHITEHEAD FUN
                                                            Priority: $0.00
        AND GAMETRUCK
34124                   Laredo, LLC    11700   8/1/2022     Secured: $0.00
        LLC, FRANCHISE
                                                            General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WHITEHEAD FUN
                                                            Priority: $0.00
        AND GAMETRUCK Nueces Bay,
34125                                  17447   8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                            General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WHITEHEAD FUN
                                                            Priority: $0.00
        AND GAMETRUCK Talen Texas
34126                                  23192   8/1/2022     Secured: $0.00
        LLC, FRANCHISE Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4928 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WHITEHEAD FUN
                                                            Priority: $0.00
        AND GAMETRUCK Talen Texas,
34127                                  28941   8/1/2022     Secured: $0.00
        LLC, FRANCHISE LLC
                                                            General Unsecured: $0.00 + Unliquidated
        TAX (PMT PEND.)
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WHITEHEAD,     Barney Davis,
34128                                  6547    8/1/2022     Secured: $0.00
        BRAD           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WHITEHEAD,
34129                  Laredo, LLC     12297   8/1/2022     Secured: $0.00
        BRAD
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WHITEHEAD,     Nueces Bay,
34130                                  18044   8/1/2022     Secured: $0.00
        BRAD           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WHITEHEAD,     Talen Texas
34131                                  23779   8/1/2022     Secured: $0.00
        BRAD           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WHITEHEAD,     Talen Texas,
34132                                  29538   8/1/2022     Secured: $0.00
        BRAD           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WHITIFIELD,    Barney Davis,
34133                                  6913    8/1/2022     Secured: $0.00
        DARYL          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4929 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITIFIELD,
34134                    Laredo, LLC     12663   8/1/2022     Secured: $0.00
        DARYL
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITIFIELD,      Nueces Bay,
34135                                    18410   8/1/2022     Secured: $0.00
        DARYL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITIFIELD,      Talen Texas
34136                                    24144   8/1/2022     Secured: $0.00
        DARYL            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITIFIELD,      Talen Texas,
34137                                    29904   8/1/2022     Secured: $0.00
        DARYL            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34138   WHITING, JERID                   7538    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34139   WHITING, JERID   Laredo, LLC     13288   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34140   WHITING, JERID                   19035   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4930 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34141   WHITING, JERID                   24769   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34142   WHITING, JERID                   30529   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITLOCK,        Barney Davis,
34143                                    6063    8/1/2022     Secured: $0.00
        ANGELA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITLOCK,
34144                    Laredo, LLC     11813   8/1/2022     Secured: $0.00
        ANGELA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITLOCK,        Nueces Bay,
34145                                    17560   8/1/2022     Secured: $0.00
        ANGELA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITLOCK,        Talen Texas
34146                                    23305   8/1/2022     Secured: $0.00
        ANGELA           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITLOCK,        Talen Texas,
34147                                    29054   8/1/2022     Secured: $0.00
        ANGELA           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4931 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITLOCK,     Barney Davis,
34148                                 8023    8/1/2022     Secured: $0.00
        LUANNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITLOCK,
34149                 Laredo, LLC     13773   8/1/2022     Secured: $0.00
        LUANNE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITLOCK,     Nueces Bay,
34150                                 19520   8/1/2022     Secured: $0.00
        LUANNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITLOCK,     Talen Texas
34151                                 25254   8/1/2022     Secured: $0.00
        LUANNE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITLOCK,     Talen Texas,
34152                                 31014   8/1/2022     Secured: $0.00
        LUANNE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITSON,      Barney Davis,
34153                                 9036    8/1/2022     Secured: $0.00
        TOMMY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WHITSON,
34154                 Laredo, LLC     14786   8/1/2022     Secured: $0.00
        TOMMY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4932 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITSON,         Nueces Bay,
34155                                    20533   8/1/2022     Secured: $0.00
        TOMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITSON,         Talen Texas
34156                                    26265   8/1/2022     Secured: $0.00
        TOMMY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITSON,         Talen Texas,
34157                                    32027   8/1/2022     Secured: $0.00
        TOMMY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34158   WHITTEN, KATHY                   4367    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34159   WHITTEN, KATHY Laredo, LLC       10117   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34160   WHITTEN, KATHY                   15864   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34161   WHITTEN, KATHY                   21610   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4933 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34162   WHITTEN, KATHY                   27358   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITWORTH,       Barney Davis,
34163                                    4510    8/1/2022     Secured: $0.00
        MELODY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITWORTH,
34164                    Laredo, LLC     10260   8/1/2022     Secured: $0.00
        MELODY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITWORTH,       Nueces Bay,
34165                                    16007   8/1/2022     Secured: $0.00
        MELODY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITWORTH,       Talen Texas
34166                                    21753   8/1/2022     Secured: $0.00
        MELODY           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WHITWORTH,       Talen Texas,
34167                                    27501   8/1/2022     Secured: $0.00
        MELODY           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WICK,            Barney Davis,
34168                                    6776    8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4934 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICK,
34169                   Laredo, LLC     12526   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICK,           Nueces Bay,
34170                                   18273   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICK,           Talen Texas
34171                                   24007   8/1/2022     Secured: $0.00
        CHRISTOPHER     Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICK,           Talen Texas,
34172                                   29767   8/1/2022     Secured: $0.00
        CHRISTOPHER     LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34173   WICKER, TRACY                   6202    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34174   WICKER, TRACY   Laredo, LLC     11952   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34175   WICKER, TRACY                   17699   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4935 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34176   WICKER, TRACY                   23444   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34177   WICKER, TRACY                   29193   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICKERS,        Barney Davis,
34178                                   4562    8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICKERS,
34179                   Laredo, LLC     10312   8/1/2022     Secured: $0.00
        PATRICIA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICKERS,        Nueces Bay,
34180                                   16059   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICKERS,        Talen Texas
34181                                   21805   8/1/2022     Secured: $0.00
        PATRICIA        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WICKERS,        Talen Texas,
34182                                   27553   8/1/2022     Secured: $0.00
        PATRICIA        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4936 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Barney Davis,
34183                                 6471    8/1/2022     Secured: $0.00
        AUDRELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,
34184                 Laredo, LLC     12221   8/1/2022     Secured: $0.00
        AUDRELL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Nueces Bay,
34185                                 17968   8/1/2022     Secured: $0.00
        AUDRELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Talen Texas
34186                                 23703   8/1/2022     Secured: $0.00
        AUDRELL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Talen Texas,
34187                                 29462   8/1/2022     Secured: $0.00
        AUDRELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Barney Davis,
34188                                 8212    8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,
34189                 Laredo, LLC     13962   8/1/2022     Secured: $0.00
        MELISSA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4937 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Nueces Bay,
34190                                 19709   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Talen Texas
34191                                 25443   8/1/2022     Secured: $0.00
        MELISSA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINS,      Talen Texas,
34192                                 31203   8/1/2022     Secured: $0.00
        MELISSA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINTON,    Barney Davis,
34193                                 4179    8/1/2022     Secured: $0.00
        EVETTE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINTON,
34194                 Laredo, LLC     9929    8/1/2022     Secured: $0.00
        EVETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINTON,    Nueces Bay,
34195                                 15676   8/1/2022     Secured: $0.00
        EVETTE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIGGINTON,    Talen Texas
34196                                 21422   8/1/2022     Secured: $0.00
        EVETTE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4938 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WIGGINTON,       Talen Texas,
34197                                    27170   8/1/2022     Secured: $0.00
        EVETTE           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34198   WIKE, JENNIFER                   7531    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34199   WIKE, JENNIFER   Laredo, LLC     13281   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34200   WIKE, JENNIFER                   19028   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34201   WIKE, JENNIFER                   24762   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34202   WIKE, JENNIFER                   30522   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34203   WILCOX, KEVIN                    7835    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4939 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34204   WILCOX, KEVIN     Laredo, LLC     13585   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34205   WILCOX, KEVIN                     19332   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34206   WILCOX, KEVIN                     25066   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34207   WILCOX, KEVIN                     30826   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34208   WILCOX, MICHELE                   8250    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34209   WILCOX, MICHELE Laredo, LLC       14000   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34210   WILCOX, MICHELE                   19747   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4940 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34211   WILCOX, MICHELE                   25481   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34212   WILCOX, MICHELE                   31241   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34213   WILDER, JUSTIN                    5816    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34214   WILDER, JUSTIN    Laredo, LLC     11566   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34215   WILDER, JUSTIN                    17313   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34216   WILDER, JUSTIN                    23058   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34217   WILDER, JUSTIN                    28807   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4941 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34218   WILDER, MARK                    8129    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34219   WILDER, MARK    Laredo, LLC     13879   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34220   WILDER, MARK                    19626   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34221   WILDER, MARK                    25360   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34222   WILDER, MARK                    31120   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34223   WILEY, ALICIA                   5531    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34224   WILEY, ALICIA   Laredo, LLC     11281   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4942 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34225   WILEY, ALICIA                     17028   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34226   WILEY, ALICIA                     22773   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34227   WILEY, ALICIA                     28522   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34228   WILEY, CHRISTIE                   6747    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34229   WILEY, CHRISTIE   Laredo, LLC     12497   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34230   WILEY, CHRISTIE                   18244   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34231   WILEY, CHRISTIE                   23978   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4943 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34232   WILEY, CHRISTIE                   29738   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34233   WILEY, ROSANNA                    6175    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34234   WILEY, ROSANNA Laredo, LLC        11925   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34235   WILEY, ROSANNA                    17672   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34236   WILEY, ROSANNA                    23417   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34237   WILEY, ROSANNA                    29166   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34238   WILHITE, CHERYL                   4039    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4944 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34239   WILHITE, CHERYL Laredo, LLC       9789    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34240   WILHITE, CHERYL                   15536   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34241   WILHITE, CHERYL                   21282   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34242   WILHITE, CHERYL                   27030   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILKERSON,        Barney Davis,
34243                                     4980    8/1/2022     Secured: $0.00
        GARY              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILKERSON,
34244                     Laredo, LLC     10730   8/1/2022     Secured: $0.00
        GARY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILKERSON,        Nueces Bay,
34245                                     16477   8/1/2022     Secured: $0.00
        GARY              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4945 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,    Talen Texas
34246                                 22222   8/1/2022     Secured: $0.00
        GARY          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,    Talen Texas,
34247                                 27971   8/1/2022     Secured: $0.00
        GARY          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,    Barney Davis,
34248                                 7902    8/1/2022     Secured: $0.00
        LANDON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,
34249                 Laredo, LLC     13652   8/1/2022     Secured: $0.00
        LANDON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,    Nueces Bay,
34250                                 19399   8/1/2022     Secured: $0.00
        LANDON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,    Talen Texas
34251                                 25133   8/1/2022     Secured: $0.00
        LANDON        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILKERSON,    Talen Texas,
34252                                 30893   8/1/2022     Secured: $0.00
        LANDON        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4946 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON,       Barney Davis,
34253                                    5515    8/1/2022     Secured: $0.00
        OCTAVIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON,
34254                    Laredo, LLC     11265   8/1/2022     Secured: $0.00
        OCTAVIA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON,       Nueces Bay,
34255                                    17012   8/1/2022     Secured: $0.00
        OCTAVIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON,       Talen Texas
34256                                    22757   8/1/2022     Secured: $0.00
        OCTAVIA          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON,       Talen Texas,
34257                                    28506   8/1/2022     Secured: $0.00
        OCTAVIA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON, PAUL Barney Davis,
34258                                    4566    8/1/2022     Secured: $0.00
        A               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON, PAUL
34259                   Laredo, LLC      10316   8/1/2022     Secured: $0.00
        A
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4947 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON, PAUL Nueces Bay,
34260                                    16063   8/1/2022     Secured: $0.00
        A               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON, PAUL Talen Texas
34261                                    21809   8/1/2022     Secured: $0.00
        A               Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKERSON, PAUL Talen Texas,
34262                                    27557   8/1/2022     Secured: $0.00
        A               LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKINS,         Barney Davis,
34263                                    6687    8/1/2022     Secured: $0.00
        CELESTINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKINS,
34264                    Laredo, LLC     12437   8/1/2022     Secured: $0.00
        CELESTINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKINS,         Nueces Bay,
34265                                    18184   8/1/2022     Secured: $0.00
        CELESTINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKINS,         Talen Texas
34266                                    23918   8/1/2022     Secured: $0.00
        CELESTINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4948 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINS,       Talen Texas,
34267                                  29678   8/1/2022     Secured: $0.00
        CELESTINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINS,       Barney Davis,
34268                                  4643    8/1/2022     Secured: $0.00
        ROSALIND       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINS,
34269                  Laredo, LLC     10393   8/1/2022     Secured: $0.00
        ROSALIND
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINS,       Nueces Bay,
34270                                  16140   8/1/2022     Secured: $0.00
        ROSALIND       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINS,       Talen Texas
34271                                  21886   8/1/2022     Secured: $0.00
        ROSALIND       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINS,       Talen Texas,
34272                                  27634   8/1/2022     Secured: $0.00
        ROSALIND       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON,     Barney Davis,
34273                                  6299    8/1/2022     Secured: $0.00
        AIMEE          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4949 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON,
34274                   Laredo, LLC    12049   8/1/2022     Secured: $0.00
        AIMEE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON,      Nueces Bay,
34275                                  17796   8/1/2022     Secured: $0.00
        AIMEE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON,      Talen Texas
34276                                  23531   8/1/2022     Secured: $0.00
        AIMEE           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON,      Talen Texas,
34277                                  29290   8/1/2022     Secured: $0.00
        AIMEE           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON, DAN Barney Davis,
34278                                  6878    8/1/2022     Secured: $0.00
        RAY            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON, DAN
34279                  Laredo, LLC     12628   8/1/2022     Secured: $0.00
        RAY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILKINSON, DAN Nueces Bay,
34280                                  18375   8/1/2022     Secured: $0.00
        RAY            LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4950 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKINSON, DAN Talen Texas
34281                                    24109   8/1/2022     Secured: $0.00
        RAY            Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILKINSON, DAN Talen Texas,
34282                                    29869   8/1/2022     Secured: $0.00
        RAY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        WILLIAM
                                                              Other Administrative: $0.00
        DERRICK,
                                                              Priority: $0.00
        INDIVIDUALLY     Barney Davis,
34283                                    3811    8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CLARA DERRICK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        WILLIAM
                                                              Other Administrative: $0.00
        DERRICK,
                                                              Priority: $0.00
        INDIVIDUALLY
34284                    Laredo, LLC     9561    8/1/2022     Secured: $0.00
        AND AS HEIR OF
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CLARA DERRICK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        WILLIAM
                                                              Other Administrative: $0.00
        DERRICK,
                                                              Priority: $0.00
        INDIVIDUALLY     Nueces Bay,
34285                                    15308   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CLARA DERRICK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        WILLIAM
                                                              Other Administrative: $0.00
        DERRICK,
                                                              Priority: $0.00
        INDIVIDUALLY     Talen Texas
34286                                    21055   8/1/2022     Secured: $0.00
        AND AS HEIR OF   Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CLARA DERRICK
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        WILLIAM
                                                              Other Administrative: $0.00
        DERRICK,
                                                              Priority: $0.00
        INDIVIDUALLY     Talen Texas,
34287                                    26802   8/1/2022     Secured: $0.00
        AND AS HEIR OF   LLC
                                                              General Unsecured: $0.00 + Unliquidated
        THE ESTATE OF
        CLARA DERRICK
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4951 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS JR,   Barney Davis,
34288                                  3971    8/1/2022     Secured: $0.00
        BILLY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS JR,
34289                  Laredo, LLC     9721    8/1/2022     Secured: $0.00
        BILLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS JR,   Nueces Bay,
34290                                  15468   8/1/2022     Secured: $0.00
        BILLY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS JR,   Talen Texas
34291                                  21214   8/1/2022     Secured: $0.00
        BILLY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS JR,   Talen Texas,
34292                                  26962   8/1/2022     Secured: $0.00
        BILLY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS,
34293                  Laredo, LLC     33304   8/1/2022     Secured: $0.00
        ADRIAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS,      Barney Davis,
34294                                  34295   8/1/2022     Secured: $0.00
        ADRIAN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4952 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34295                                     35286   8/1/2022     Secured: $0.00
        ADRIAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34296                                     36277   8/1/2022     Secured: $0.00
        ADRIAN            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34297                                     37266   8/1/2022     Secured: $0.00
        ADRIAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34298   WILLIAMS, ALTON                   3734    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34299   WILLIAMS, ALTON Laredo, LLC       9484    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34300   WILLIAMS, ALTON                   15231   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34301   WILLIAMS, ALTON                   20978   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4953 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34302   WILLIAMS, ALTON                   26725   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34303                                     6402    8/1/2022     Secured: $0.00
        ANISSA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34304                     Laredo, LLC     12152   8/1/2022     Secured: $0.00
        ANISSA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34305                                     17899   8/1/2022     Secured: $0.00
        ANISSA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34306                                     23634   8/1/2022     Secured: $0.00
        ANISSA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34307                                     29393   8/1/2022     Secured: $0.00
        ANISSA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34308                                     6420    8/1/2022     Secured: $0.00
        ANNETTE           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4954 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34309                                 9209    8/1/2022     Secured: $0.00
        ANNETTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34310                 Laredo, LLC     12170   8/1/2022     Secured: $0.00
        ANNETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34311                 Laredo, LLC     14959   8/1/2022     Secured: $0.00
        ANNETTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34312                                 17917   8/1/2022     Secured: $0.00
        ANNETTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34313                                 20706   8/1/2022     Secured: $0.00
        ANNETTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34314                                 23652   8/1/2022     Secured: $0.00
        ANNETTE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34315                                 26438   8/1/2022     Secured: $0.00
        ANNETTE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4955 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34316                                 29411   8/1/2022     Secured: $0.00
        ANNETTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34317                                 32200   8/1/2022     Secured: $0.00
        ANNETTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34318                                 3959    8/1/2022     Secured: $0.00
        BARAKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34319                 Laredo, LLC     9709    8/1/2022     Secured: $0.00
        BARAKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34320                                 15456   8/1/2022     Secured: $0.00
        BARAKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34321                                 21202   8/1/2022     Secured: $0.00
        BARAKA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34322                                 26950   8/1/2022     Secured: $0.00
        BARAKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4956 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34323                                 4844    8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34324                 Laredo, LLC     10594   8/1/2022     Secured: $0.00
        BARBARA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34325                                 16341   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34326                                 22087   8/1/2022     Secured: $0.00
        BARBARA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34327                                 27835   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34328                 Laredo, LLC     33305   8/1/2022     Secured: $0.00
        BARBARA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34329                                 34296   8/1/2022     Secured: $0.00
        BARBARA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4957 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34330                                     35287   8/1/2022     Secured: $0.00
        BARBARA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34331                                     36278   8/1/2022     Secured: $0.00
        BARBARA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34332                                     37267   8/1/2022     Secured: $0.00
        BARBARA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34333   WILLIAMS, BETTY                   3968    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34334   WILLIAMS, BETTY Laredo, LLC       9718    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34335   WILLIAMS, BETTY                   15465   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34336   WILLIAMS, BETTY                   21211   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4958 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34337   WILLIAMS, BETTY                   26959   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34338                                     4859    8/1/2022     Secured: $0.00
        BEVERLY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34339                     Laredo, LLC     10609   8/1/2022     Secured: $0.00
        BEVERLY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34340                                     16356   8/1/2022     Secured: $0.00
        BEVERLY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34341                                     22102   8/1/2022     Secured: $0.00
        BEVERLY           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34342                                     27850   8/1/2022     Secured: $0.00
        BEVERLY           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34343   WILLIAMS, BILLY                   3796    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4959 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34344   WILLIAMS, BILLY   Laredo, LLC     9546    8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34345   WILLIAMS, BILLY                   15293   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34346   WILLIAMS, BILLY                   21040   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34347   WILLIAMS, BILLY                   26787   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34348                                     6636    8/1/2022     Secured: $0.00
        CARLETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34349                     Laredo, LLC     12386   8/1/2022     Secured: $0.00
        CARLETTE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34350                                     18133   8/1/2022     Secured: $0.00
        CARLETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4960 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34351                                 23867   8/1/2022     Secured: $0.00
        CARLETTE      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34352                                 29627   8/1/2022     Secured: $0.00
        CARLETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34353                                 5585    8/1/2022     Secured: $0.00
        CHABLIS R     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34354                 Laredo, LLC     11335   8/1/2022     Secured: $0.00
        CHABLIS R
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34355                                 17082   8/1/2022     Secured: $0.00
        CHABLIS R     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34356                                 22827   8/1/2022     Secured: $0.00
        CHABLIS R     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34357                                 28576   8/1/2022     Secured: $0.00
        CHABLIS R     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4961 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34358                                 9234    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34359                 Laredo, LLC     14984   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34360                                 20731   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34361                                 26463   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34362                                 32225   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34363                                 6866    8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34364                 Laredo, LLC     12616   8/1/2022     Secured: $0.00
        CYNTHIA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4962 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34365                                 18363   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34366                                 24097   8/1/2022     Secured: $0.00
        CYNTHIA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34367                                 29857   8/1/2022     Secured: $0.00
        CYNTHIA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34368                                 6992    8/1/2022     Secured: $0.00
        DEMORIAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34369                 Laredo, LLC     12742   8/1/2022     Secured: $0.00
        DEMORIAN
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34370                                 18489   8/1/2022     Secured: $0.00
        DEMORIAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34371                                 24223   8/1/2022     Secured: $0.00
        DEMORIAN      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4963 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34372                                 29983   8/1/2022     Secured: $0.00
        DEMORIAN      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34373                 Laredo, LLC     33306   8/1/2022     Secured: $0.00
        DENISE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34374                                 34297   8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34375                                 35288   8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34376                                 36279   8/1/2022     Secured: $0.00
        DENISE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34377                                 37268   8/1/2022     Secured: $0.00
        DENISE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34378                                 7081    8/1/2022     Secured: $0.00
        DONNA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4964 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34379                     Laredo, LLC     12831   8/1/2022     Secured: $0.00
        DONNA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34380                                     18578   8/1/2022     Secured: $0.00
        DONNA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34381                                     24312   8/1/2022     Secured: $0.00
        DONNA             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34382                                     30072   8/1/2022     Secured: $0.00
        DONNA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34383   WILLIAMS, DOVIE                   7107    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34384   WILLIAMS, DOVIE Laredo, LLC       12857   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34385   WILLIAMS, DOVIE                   18604   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4965 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34386   WILLIAMS, DOVIE                   24338   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34387   WILLIAMS, DOVIE                   30098   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34388                                     5716    8/1/2022     Secured: $0.00
        DRUSCILLA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34389                     Laredo, LLC     11466   8/1/2022     Secured: $0.00
        DRUSCILLA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34390                                     17213   8/1/2022     Secured: $0.00
        DRUSCILLA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34391                                     22958   8/1/2022     Secured: $0.00
        DRUSCILLA         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34392                                     28707   8/1/2022     Secured: $0.00
        DRUSCILLA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4966 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34393                                    7128    8/1/2022     Secured: $0.00
        EDIDIONG         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34394                    Laredo, LLC     12878   8/1/2022     Secured: $0.00
        EDIDIONG
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34395                                    18625   8/1/2022     Secured: $0.00
        EDIDIONG         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34396                                    24359   8/1/2022     Secured: $0.00
        EDIDIONG         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas,
34397                                    30119   8/1/2022     Secured: $0.00
        EDIDIONG         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS, ELGIN
34398                   Laredo, LLC      33307   8/1/2022     Secured: $0.00
        W.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS, ELGIN Barney Davis,
34399                                    34298   8/1/2022     Secured: $0.00
        W.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4967 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS, ELGIN Nueces Bay,
34400                                    35289   8/1/2022     Secured: $0.00
        W.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS, ELGIN Talen Texas
34401                                    36280   8/1/2022     Secured: $0.00
        W.              Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS, ELGIN Talen Texas,
34402                                    37269   8/1/2022     Secured: $0.00
        W.              LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34403                                    7215    8/1/2022     Secured: $0.00
        EVELYN R.        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34404                    Laredo, LLC     12965   8/1/2022     Secured: $0.00
        EVELYN R.
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34405                                    18712   8/1/2022     Secured: $0.00
        EVELYN R.        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34406                                    24446   8/1/2022     Secured: $0.00
        EVELYN R.        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4968 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas,
34407                                    30206   8/1/2022     Secured: $0.00
        EVELYN R.        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34408                                    7245    8/1/2022     Secured: $0.00
        FRANCOISE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34409                    Laredo, LLC     12995   8/1/2022     Secured: $0.00
        FRANCOISE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34410                                    18742   8/1/2022     Secured: $0.00
        FRANCOISE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34411                                    24476   8/1/2022     Secured: $0.00
        FRANCOISE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas,
34412                                    30236   8/1/2022     Secured: $0.00
        FRANCOISE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34413   WILLIAMS, GAIL                   7260    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4969 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34414   WILLIAMS, GAIL   Laredo, LLC     13010   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34415   WILLIAMS, GAIL                   18757   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34416   WILLIAMS, GAIL                   24491   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34417   WILLIAMS, GAIL                   30251   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34418                                    5790    8/1/2022     Secured: $0.00
        GARRETT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34419                    Laredo, LLC     11540   8/1/2022     Secured: $0.00
        GARRETT
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34420                                    17287   8/1/2022     Secured: $0.00
        GARRETT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4970 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34421                                    23032   8/1/2022     Secured: $0.00
        GARRETT          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas,
34422                                    28781   8/1/2022     Secured: $0.00
        GARRETT          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34423   WILLIAMS, GARY                   7272    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34424   WILLIAMS, GARY   Laredo, LLC     13022   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34425   WILLIAMS, GARY                   18769   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34426   WILLIAMS, GARY                   24503   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34427   WILLIAMS, GARY                   30263   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4971 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34428                                     7316    8/1/2022     Secured: $0.00
        GLORIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34429                     Laredo, LLC     13066   8/1/2022     Secured: $0.00
        GLORIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34430                                     18813   8/1/2022     Secured: $0.00
        GLORIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34431                                     24547   8/1/2022     Secured: $0.00
        GLORIA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34432                                     30307   8/1/2022     Secured: $0.00
        GLORIA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34433   WILLIAMS, JASON                   7491    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34434   WILLIAMS, JASON Laredo, LLC       13241   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4972 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34435   WILLIAMS, JASON                   18988   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34436   WILLIAMS, JASON                   24722   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34437   WILLIAMS, JASON                   30482   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34438                                     5019    8/1/2022     Secured: $0.00
        JEANETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34439                     Laredo, LLC     10769   8/1/2022     Secured: $0.00
        JEANETTE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34440                                     16516   8/1/2022     Secured: $0.00
        JEANETTE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34441                                     22261   8/1/2022     Secured: $0.00
        JEANETTE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4973 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34442                                 28010   8/1/2022     Secured: $0.00
        JEANETTE      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34443                                 5798    8/1/2022     Secured: $0.00
        JENENE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34444                 Laredo, LLC     11548   8/1/2022     Secured: $0.00
        JENENE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34445                                 17295   8/1/2022     Secured: $0.00
        JENENE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34446                                 23040   8/1/2022     Secured: $0.00
        JENENE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34447                                 28789   8/1/2022     Secured: $0.00
        JENENE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34448                 Laredo, LLC     33308   8/1/2022     Secured: $0.00
        JENNIFER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4974 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34449                                 34299   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34450                                 35290   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34451                                 36281   8/1/2022     Secured: $0.00
        JENNIFER      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34452                                 37270   8/1/2022     Secured: $0.00
        JENNIFER      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34453                                 7723    8/1/2022     Secured: $0.00
        JUNDELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34454                 Laredo, LLC     13473   8/1/2022     Secured: $0.00
        JUNDELL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34455                                 19220   8/1/2022     Secured: $0.00
        JUNDELL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4975 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34456                                     24954   8/1/2022     Secured: $0.00
        JUNDELL           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34457                                     30714   8/1/2022     Secured: $0.00
        JUNDELL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34458   WILLIAMS, KATHY                   4368    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34459   WILLIAMS, KATHY Laredo, LLC       10118   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34460   WILLIAMS, KATHY                   15865   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34461   WILLIAMS, KATHY                   21611   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34462   WILLIAMS, KATHY                   27359   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4976 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34463                                     7855    8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34464                     Laredo, LLC     13605   8/1/2022     Secured: $0.00
        KIMBERLY
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34465                                     19352   8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34466                                     25086   8/1/2022     Secured: $0.00
        KIMBERLY          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34467                                     30846   8/1/2022     Secured: $0.00
        KIMBERLY          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34468   WILLIAMS, LARRY                   7913    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34469   WILLIAMS, LARRY Laredo, LLC       13663   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4977 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34470   WILLIAMS, LARRY                   19410   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34471   WILLIAMS, LARRY                   25144   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34472   WILLIAMS, LARRY                   30904   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34473                                     7917    8/1/2022     Secured: $0.00
        LATARSHA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34474                     Laredo, LLC     13667   8/1/2022     Secured: $0.00
        LATARSHA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34475                                     19414   8/1/2022     Secured: $0.00
        LATARSHA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34476                                     25148   8/1/2022     Secured: $0.00
        LATARSHA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4978 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34477                                     30908   8/1/2022     Secured: $0.00
        LATARSHA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34478                                     7921    8/1/2022     Secured: $0.00
        LATORIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34479                     Laredo, LLC     13671   8/1/2022     Secured: $0.00
        LATORIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34480                                     19418   8/1/2022     Secured: $0.00
        LATORIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34481                                     25152   8/1/2022     Secured: $0.00
        LATORIA           Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34482                                     30912   8/1/2022     Secured: $0.00
        LATORIA           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34483   WILLIAMS, LINDA                   5101    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4979 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34484   WILLIAMS, LINDA Laredo, LLC       10851   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34485   WILLIAMS, LINDA                   16598   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34486   WILLIAMS, LINDA                   22343   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34487   WILLIAMS, LINDA                   28092   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34488   WILLIAMS, LISA                    8007    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34489   WILLIAMS, LISA    Laredo, LLC     13757   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34490   WILLIAMS, LISA                    19504   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4980 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34491   WILLIAMS, LISA                    25238   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34492   WILLIAMS, LISA                    30998   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34493   WILLIAMS, LUISA Laredo, LLC       33309   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34494   WILLIAMS, LUISA                   34300   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34495   WILLIAMS, LUISA                   35291   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34496   WILLIAMS, LUISA                   36282   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34497   WILLIAMS, LUISA                   37271   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4981 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34498                                    8130    8/1/2022     Secured: $0.00
        MARKEISHA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34499                    Laredo, LLC     13880   8/1/2022     Secured: $0.00
        MARKEISHA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34500                                    19627   8/1/2022     Secured: $0.00
        MARKEISHA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34501                                    25361   8/1/2022     Secured: $0.00
        MARKEISHA        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas,
34502                                    31121   8/1/2022     Secured: $0.00
        MARKEISHA        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34503   WILLIAMS, MARY                   8174    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34504   WILLIAMS, MARY Laredo, LLC       13924   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4982 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34505   WILLIAMS, MARY                   19671   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34506   WILLIAMS, MARY                   25405   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34507   WILLIAMS, MARY                   31165   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34508                                    8186    8/1/2022     Secured: $0.00
        MATTHEW          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34509                    Laredo, LLC     13936   8/1/2022     Secured: $0.00
        MATTHEW
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34510                                    19683   8/1/2022     Secured: $0.00
        MATTHEW          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34511                                    25417   8/1/2022     Secured: $0.00
        MATTHEW          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4983 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34512                                     31177   8/1/2022     Secured: $0.00
        MATTHEW           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34513                                     8314    8/1/2022     Secured: $0.00
        NAOMI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34514                     Laredo, LLC     14064   8/1/2022     Secured: $0.00
        NAOMI
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34515                                     19811   8/1/2022     Secured: $0.00
        NAOMI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34516                                     25545   8/1/2022     Secured: $0.00
        NAOMI             Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34517                                     31305   8/1/2022     Secured: $0.00
        NAOMI             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34518   WILLIAMS, NITHA                   8346    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4984 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34519   WILLIAMS, NITHA Laredo, LLC       14096   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34520   WILLIAMS, NITHA                   19843   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34521   WILLIAMS, NITHA                   25577   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34522   WILLIAMS, NITHA                   31337   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34523                                     8356    8/1/2022     Secured: $0.00
        NORMAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34524                     Laredo, LLC     14106   8/1/2022     Secured: $0.00
        NORMAN
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34525                                     19853   8/1/2022     Secured: $0.00
        NORMAN            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4985 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34526                                    25587   8/1/2022     Secured: $0.00
        NORMAN           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas,
34527                                    31347   8/1/2022     Secured: $0.00
        NORMAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34528   WILLIAMS, OTIS                   8373    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34529   WILLIAMS, OTIS   Laredo, LLC     14123   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34530   WILLIAMS, OTIS                   19870   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34531   WILLIAMS, OTIS                   25603   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34532   WILLIAMS, OTIS                   31364   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4986 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34533                                     4636    8/1/2022     Secured: $0.00
        RODGER            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34534                     Laredo, LLC     10386   8/1/2022     Secured: $0.00
        RODGER
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34535                                     16133   8/1/2022     Secured: $0.00
        RODGER            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34536                                     21879   8/1/2022     Secured: $0.00
        RODGER            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34537                                     27627   8/1/2022     Secured: $0.00
        RODGER            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34538   WILLIAMS, ROSIE                   5258    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34539   WILLIAMS, ROSIE Laredo, LLC       11008   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4987 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34540   WILLIAMS, ROSIE                   16755   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34541   WILLIAMS, ROSIE                   22500   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34542   WILLIAMS, ROSIE                   28249   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34543   WILLIAMS, RUTH Laredo, LLC        33310   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34544   WILLIAMS, RUTH                    34301   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34545   WILLIAMS, RUTH                    35292   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34546   WILLIAMS, RUTH                    36283   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4988 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34547   WILLIAMS, RUTH                    37272   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34548                                     8739    8/1/2022     Secured: $0.00
        SANDRA J          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34549                     Laredo, LLC     14489   8/1/2022     Secured: $0.00
        SANDRA J
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34550                                     20236   8/1/2022     Secured: $0.00
        SANDRA J          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas
34551                                     25968   8/1/2022     Secured: $0.00
        SANDRA J          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Talen Texas,
34552                                     31730   8/1/2022     Secured: $0.00
        SANDRA J          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34553   WILLIAMS, SONNY                   8856    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4989 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34554   WILLIAMS, SONNY Laredo, LLC       14606   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34555   WILLIAMS, SONNY                   20353   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34556   WILLIAMS, SONNY                   26085   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34557   WILLIAMS, SONNY                   31847   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Barney Davis,
34558                                     5878    8/1/2022     Secured: $0.00
        STACEE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,
34559                     Laredo, LLC     11628   8/1/2022     Secured: $0.00
        STACEE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIAMS,         Nueces Bay,
34560                                     17375   8/1/2022     Secured: $0.00
        STACEE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4990 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34561                                 23120   8/1/2022     Secured: $0.00
        STACEE        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34562                                 28869   8/1/2022     Secured: $0.00
        STACEE        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Barney Davis,
34563                                 8933    8/1/2022     Secured: $0.00
        TAMIKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,
34564                 Laredo, LLC     14683   8/1/2022     Secured: $0.00
        TAMIKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Nueces Bay,
34565                                 20430   8/1/2022     Secured: $0.00
        TAMIKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas
34566                                 26162   8/1/2022     Secured: $0.00
        TAMIKA        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMS,     Talen Texas,
34567                                 31924   8/1/2022     Secured: $0.00
        TAMIKA        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4991 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34568   WILLIAMS, TASHA                   8950    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34569   WILLIAMS, TASHA Laredo, LLC       14700   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34570   WILLIAMS, TASHA                   20447   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34571   WILLIAMS, TASHA                   26179   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34572   WILLIAMS, TASHA                   31941   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34573   WILLIAMS, TONY                    9045    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34574   WILLIAMS, TONY Laredo, LLC        14795   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4992 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34575   WILLIAMS, TONY                   20542   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34576   WILLIAMS, TONY                   26274   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34577   WILLIAMS, TONY                   32036   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Barney Davis,
34578                                    6205    8/1/2022     Secured: $0.00
        TRIVON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,
34579                    Laredo, LLC     11955   8/1/2022     Secured: $0.00
        TRIVON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Nueces Bay,
34580                                    17702   8/1/2022     Secured: $0.00
        TRIVON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILLIAMS,        Talen Texas
34581                                    23447   8/1/2022     Secured: $0.00
        TRIVON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4993 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS,       Talen Texas,
34582                                   29196   8/1/2022     Secured: $0.00
        TRIVON          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS, VAN   Barney Davis,
34583                                   9091    8/1/2022     Secured: $0.00
        BEASLEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS, VAN
34584                   Laredo, LLC     14841   8/1/2022     Secured: $0.00
        BEASLEY
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS, VAN   Nueces Bay,
34585                                   20588   8/1/2022     Secured: $0.00
        BEASLEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS, VAN   Talen Texas
34586                                   26320   8/1/2022     Secured: $0.00
        BEASLEY         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS, VAN   Talen Texas,
34587                                   32082   8/1/2022     Secured: $0.00
        BEASLEY         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WILLIAMS,       Barney Davis,
34588                                   9149    8/1/2022     Secured: $0.00
        WHITNEY C.      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4994 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS,
34589                  Laredo, LLC     14899   8/1/2022     Secured: $0.00
        WHITNEY C.
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS,      Nueces Bay,
34590                                  20646   8/1/2022     Secured: $0.00
        WHITNEY C.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS,      Talen Texas
34591                                  26378   8/1/2022     Secured: $0.00
        WHITNEY C.     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILLIAMS,      Talen Texas,
34592                                  32140   8/1/2022     Secured: $0.00
        WHITNEY C.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WILLIAMSBURG
                                                            Priority: $0.00
        NATIONAL       Barney Davis,
34593                                  1635    7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WILLIAMSBURG
                                                            Priority: $0.00
        NATIONAL
34594                  Laredo, LLC     1639    7/31/2022    Secured: $0.00
        INSURANCE
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WILLIAMSBURG
                                                            Priority: $0.00
        NATIONAL       Nueces Bay,
34595                                  2027    7/31/2022    Secured: $0.00
        INSURANCE      LLC
                                                            General Unsecured: $0.00 + Unliquidated
        COMPANY
                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4995 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILLIAMS‐                                          Priority: $0.00
                      Barney Davis,
34596   CALDWELL,                     4106    8/1/2022     Secured: $0.00
                      LLC
        DEBBIE                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILLIAMS‐                                          Priority: $0.00
34597   CALDWELL,     Laredo, LLC     9856    8/1/2022     Secured: $0.00
        DEBBIE                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILLIAMS‐                                          Priority: $0.00
                      Nueces Bay,
34598   CALDWELL,                     15603   8/1/2022     Secured: $0.00
                      LLC
        DEBBIE                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILLIAMS‐                                          Priority: $0.00
                      Talen Texas
34599   CALDWELL,                     21349   8/1/2022     Secured: $0.00
                      Group, LLC
        DEBBIE                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILLIAMS‐                                          Priority: $0.00
                      Talen Texas,
34600   CALDWELL,                     27097   8/1/2022     Secured: $0.00
                      LLC
        DEBBIE                                             General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMSON,   Barney Davis,
34601                                 5239    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILLIAMSON,
34602                 Laredo, LLC     10989   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4996 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIAMSON,        Nueces Bay,
34603                                      16736   8/1/2022     Secured: $0.00
        RICHARD            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIAMSON,        Talen Texas
34604                                      22481   8/1/2022     Secured: $0.00
        RICHARD            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIAMSON,        Talen Texas,
34605                                      28230   8/1/2022     Secured: $0.00
        RICHARD            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
34606   WILLIANS, JACLYN                   7418    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
34607   WILLIANS, JACLYN Laredo, LLC       13168   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
34608   WILLIANS, JACLYN                   18915   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
34609   WILLIANS, JACLYN                   24649   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4997 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
34610   WILLIANS, JACLYN                   30409   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIS,            Barney Davis,
34611                                      4060    8/1/2022     Secured: $0.00
        CONSUELLA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIS,
34612                      Laredo, LLC     9810    8/1/2022     Secured: $0.00
        CONSUELLA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIS,            Nueces Bay,
34613                                      15557   8/1/2022     Secured: $0.00
        CONSUELLA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIS,            Talen Texas
34614                                      21303   8/1/2022     Secured: $0.00
        CONSUELLA          Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILLIS,            Talen Texas,
34615                                      27051   8/1/2022     Secured: $0.00
        CONSUELLA          LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
34616   WILLIS, PEGGY                      8436    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4998 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34617   WILLIS, PEGGY     Laredo, LLC     14186   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34618   WILLIS, PEGGY                     19933   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34619   WILLIS, PEGGY                     25666   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34620   WILLIS, PEGGY                     31427   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIZ, JAMESIA   Barney Davis,
34621                                     7462    8/1/2022     Secured: $0.00
        DEANNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIZ, JAMESIA
34622                     Laredo, LLC     13212   8/1/2022     Secured: $0.00
        DEANNA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIZ, JAMESIA   Nueces Bay,
34623                                     18959   8/1/2022     Secured: $0.00
        DEANNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 4999 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIZ, JAMESIA   Talen Texas
34624                                     24693   8/1/2022     Secured: $0.00
        DEANNA            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLIZ, JAMESIA   Talen Texas,
34625                                     30453   8/1/2022     Secured: $0.00
        DEANNA            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLOUGHBY,       Barney Davis,
34626                                     5645    8/1/2022     Secured: $0.00
        VICKIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLOUGHBY,
34627                     Laredo, LLC     11395   8/1/2022     Secured: $0.00
        VICKIE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLOUGHBY,       Nueces Bay,
34628                                     17142   8/1/2022     Secured: $0.00
        VICKIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLOUGHBY,       Talen Texas
34629                                     22887   8/1/2022     Secured: $0.00
        VICKIE            Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WILLOUGHBY,       Talen Texas,
34630                                     28636   8/1/2022     Secured: $0.00
        VICKIE            LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5000 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34631   WILLS, NAKEYIA                   5554    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34632   WILLS, NAKEYIA   Laredo, LLC     11304   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34633   WILLS, NAKEYIA                   17051   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34634   WILLS, NAKEYIA                   22796   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34635   WILLS, NAKEYIA                   28545   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILNER,          Barney Davis,
34636                                    7244    8/1/2022     Secured: $0.00
        FRANCOIS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WILNER,
34637                    Laredo, LLC     12994   8/1/2022     Secured: $0.00
        FRANCOIS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5001 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILNER,       Nueces Bay,
34638                                 18741   8/1/2022     Secured: $0.00
        FRANCOIS      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILNER,       Talen Texas
34639                                 24475   8/1/2022     Secured: $0.00
        FRANCOIS      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WILNER,       Talen Texas,
34640                                 30235   8/1/2022     Secured: $0.00
        FRANCOIS      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILSHIRE                                           Priority: $0.00
34641   INSURANCE     Laredo, LLC     754     7/28/2022    Secured: $0.00
        COMPANY                                            General Unsecured: $604,444.21 + Unliquidated

                                                           Total: $604,444.21 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILSHIRE                                           Priority: $0.00
                      Talen Energy
34642   INSURANCE                     1052    7/28/2022    Secured: $0.00
                      Supply, LLC
        COMPANY                                            General Unsecured: $604,444.21 + Unliquidated

                                                           Total: $604,444.21 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILSHIRE                                           Priority: $0.00
                      Barney Davis,
34643   INSURANCE                     1058    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $604,444.21 + Unliquidated

                                                           Total: $604,444.21 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        WILSHIRE                                           Priority: $0.00
                      Nueces Bay,
34644   INSURANCE                     1217    7/28/2022    Secured: $0.00
                      LLC
        COMPANY                                            General Unsecured: $604,444.21 + Unliquidated

                                                           Total: $604,444.21 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5002 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34645   WILSON, AMY                      3921    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34646   WILSON, AMY      Laredo, LLC     9671    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34647   WILSON, AMY                      15418   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34648   WILSON, AMY                      21165   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34649   WILSON, AMY                      26912   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34650   WILSON, ARETHA                   6444    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34651   WILSON, ARETHA Laredo, LLC       12194   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5003 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34652   WILSON, ARETHA                   17941   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34653   WILSON, ARETHA                   23676   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34654   WILSON, ARETHA                   29435   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34655   WILSON, BRYAN                    6610    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34656   WILSON, BRYAN    Laredo, LLC     12360   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34657   WILSON, BRYAN                    18107   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34658   WILSON, BRYAN                    23841   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5004 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34659   WILSON, BRYAN                    29601   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34660   WILSON, CHRIS    Laredo, LLC     33311   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34661   WILSON, CHRIS                    34302   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34662   WILSON, CHRIS                    35293   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34663   WILSON, CHRIS                    36284   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34664   WILSON, CHRIS                    37273   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34665   WILSON, DANIEL                   6898    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5005 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34666   WILSON, DANIEL   Laredo, LLC     12648   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34667   WILSON, DANIEL                   18395   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34668   WILSON, DANIEL                   24129   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34669   WILSON, DANIEL                   29889   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34670   WILSON, EBONEE                   6218    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34671   WILSON, EBONEE Laredo, LLC       11968   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34672   WILSON, EBONEE                   17715   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5006 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34673   WILSON, EBONEE                   23460   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34674   WILSON, EBONEE                   29209   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34675   WILSON, GARY                     7273    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34676   WILSON, GARY     Laredo, LLC     13023   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34677   WILSON, GARY                     18770   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34678   WILSON, GARY                     24504   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34679   WILSON, GARY                     30264   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5007 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34680   WILSON, JEFFERY                   7503    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34681   WILSON, JEFFERY Laredo, LLC       13253   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34682   WILSON, JEFFERY                   19000   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34683   WILSON, JEFFERY                   24734   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34684   WILSON, JEFFERY                   30494   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34685   WILSON, JULIE                     5057    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34686   WILSON, JULIE     Laredo, LLC     10807   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5008 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34687   WILSON, JULIE                   16554   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34688   WILSON, JULIE                   22299   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34689   WILSON, JULIE                   28048   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34690   WILSON, MONA                    9302    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34691   WILSON, MONA    Laredo, LLC     15052   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34692   WILSON, MONA                    20799   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34693   WILSON, MONA                    26531   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5009 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34694   WILSON, MONA                   32293   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,
34695                  Laredo, LLC     33312   8/1/2022     Secured: $0.00
        RANDOLPH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Barney Davis,
34696                                  34303   8/1/2022     Secured: $0.00
        RANDOLPH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Nueces Bay,
34697                                  35294   8/1/2022     Secured: $0.00
        RANDOLPH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Talen Texas
34698                                  36285   8/1/2022     Secured: $0.00
        RANDOLPH       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Talen Texas,
34699                                  37274   8/1/2022     Secured: $0.00
        RANDOLPH       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Barney Davis,
34700                                  8524    8/1/2022     Secured: $0.00
        REDONNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5010 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,
34701                  Laredo, LLC     14274   8/1/2022     Secured: $0.00
        REDONNA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Nueces Bay,
34702                                  20021   8/1/2022     Secured: $0.00
        REDONNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Talen Texas
34703                                  25753   8/1/2022     Secured: $0.00
        REDONNA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WILSON,        Talen Texas,
34704                                  31515   8/1/2022     Secured: $0.00
        REDONNA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34705   WILSON, RICO                   3700    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34706   WILSON, RICO   Laredo, LLC     9450    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34707   WILSON, RICO                   15197   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5011 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34708   WILSON, RICO                     20944   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34709   WILSON, RICO                     26691   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34710   WILSON, ROBERT                   8620    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34711   WILSON, ROBERT Laredo, LLC       14370   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34712   WILSON, ROBERT                   20117   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34713   WILSON, ROBERT                   25849   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34714   WILSON, ROBERT                   31611   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5012 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34715   WILSON, ROBIN                   8637    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34716   WILSON, ROBIN   Laredo, LLC     14387   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34717   WILSON, ROBIN                   20134   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34718   WILSON, ROBIN                   25866   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34719   WILSON, ROBIN                   31628   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34720   WILSON, TAMMY                   8941    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34721   WILSON, TAMMY Laredo, LLC       14691   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5013 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
34722   WILSON, TAMMY                      20438   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
34723   WILSON, TAMMY                      26170   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
34724   WILSON, TAMMY                      31932   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
34725   WILSON, TERRI K. Laredo, LLC       33313   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
34726   WILSON, TERRI K.                   34304   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
34727   WILSON, TERRI K.                   35295   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
34728   WILSON, TERRI K.                   36286   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5014 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
34729   WILSON, TERRI K.                   37275   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILSON,            Barney Davis,
34730                                      9177    8/1/2022     Secured: $0.00
        WYCONDA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILSON,
34731                      Laredo, LLC     14927   8/1/2022     Secured: $0.00
        WYCONDA
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILSON,            Nueces Bay,
34732                                      20674   8/1/2022     Secured: $0.00
        WYCONDA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILSON,            Talen Texas
34733                                      26406   8/1/2022     Secured: $0.00
        WYCONDA            Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WILSON,            Talen Texas,
34734                                      32168   8/1/2022     Secured: $0.00
        WYCONDA            LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
        WIMBERLY,          Barney Davis,
34735                                      7492    8/1/2022     Secured: $0.00
        JASON              LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5015 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIMBERLY,
34736                 Laredo, LLC     13242   8/1/2022     Secured: $0.00
        JASON
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIMBERLY,     Nueces Bay,
34737                                 18989   8/1/2022     Secured: $0.00
        JASON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIMBERLY,     Talen Texas
34738                                 24723   8/1/2022     Secured: $0.00
        JASON         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WIMBERLY,     Talen Texas,
34739                                 30483   8/1/2022     Secured: $0.00
        JASON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINCHELL,     Barney Davis,
34740                                 8574    8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINCHELL,
34741                 Laredo, LLC     14324   8/1/2022     Secured: $0.00
        RICHARD
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINCHELL,     Nueces Bay,
34742                                 20071   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5016 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINCHELL,     Talen Texas
34743                                 25803   8/1/2022     Secured: $0.00
        RICHARD       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINCHELL,     Talen Texas,
34744                                 31565   8/1/2022     Secured: $0.00
        RICHARD       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINDHAM,
34745                 Laredo, LLC     33314   8/1/2022     Secured: $0.00
        TREVA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINDHAM,      Barney Davis,
34746                                 34305   8/1/2022     Secured: $0.00
        TREVA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINDHAM,      Nueces Bay,
34747                                 35296   8/1/2022     Secured: $0.00
        TREVA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINDHAM,      Talen Texas
34748                                 36287   8/1/2022     Secured: $0.00
        TREVA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINDHAM,      Talen Texas,
34749                                 37276   8/1/2022     Secured: $0.00
        TREVA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5017 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINFIELD,        Barney Davis,
34750                                    4432    8/1/2022     Secured: $0.00
        LINTON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINFIELD,
34751                    Laredo, LLC     10182   8/1/2022     Secured: $0.00
        LINTON
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINFIELD,        Nueces Bay,
34752                                    15929   8/1/2022     Secured: $0.00
        LINTON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINFIELD,        Talen Texas
34753                                    21675   8/1/2022     Secured: $0.00
        LINTON           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINFIELD,        Talen Texas,
34754                                    27423   8/1/2022     Secured: $0.00
        LINTON           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34755   WINGATE, JESSE                   7553    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34756   WINGATE, JESSE   Laredo, LLC     13303   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5018 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34757   WINGATE, JESSE                   19050   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34758   WINGATE, JESSE                   24784   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34759   WINGATE, JESSE                   30544   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINKLE,          Barney Davis,
34760                                    7010    8/1/2022     Secured: $0.00
        DERWOOD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINKLE,
34761                    Laredo, LLC     12760   8/1/2022     Secured: $0.00
        DERWOOD
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINKLE,          Nueces Bay,
34762                                    18507   8/1/2022     Secured: $0.00
        DERWOOD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINKLE,          Talen Texas
34763                                    24241   8/1/2022     Secured: $0.00
        DERWOOD          Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5019 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINKLE,          Talen Texas,
34764                                    30001   8/1/2022     Secured: $0.00
        DERWOOD          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34765   WINKLER, SHERI                   8823    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34766   WINKLER, SHERI   Laredo, LLC     14573   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34767   WINKLER, SHERI                   20320   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34768   WINKLER, SHERI                   26052   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34769   WINKLER, SHERI                   31814   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WINNINGHAM,      Barney Davis,
34770                                    6980    8/1/2022     Secured: $0.00
        DEBRA            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5020 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINNINGHAM,
34771                 Laredo, LLC     12730   8/1/2022     Secured: $0.00
        DEBRA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINNINGHAM,   Nueces Bay,
34772                                 18477   8/1/2022     Secured: $0.00
        DEBRA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINNINGHAM,   Talen Texas
34773                                 24211   8/1/2022     Secured: $0.00
        DEBRA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINNINGHAM,   Talen Texas,
34774                                 29971   8/1/2022     Secured: $0.00
        DEBRA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
34775   WINSTON, LC                   7942    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
34776   WINSTON, LC   Laredo, LLC     13692   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
34777   WINSTON, LC                   19439   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5021 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34778   WINSTON, LC                     25173   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34779   WINSTON, LC                     30933   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34780   WINTER, JULIE                   7719    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34781   WINTER, JULIE   Laredo, LLC     13469   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34782   WINTER, JULIE                   19216   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34783   WINTER, JULIE                   24950   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34784   WINTER, JULIE                   30710   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5022 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34785   WINTERS, CALVIN                   4878    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34786   WINTERS, CALVIN Laredo, LLC       10628   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34787   WINTERS, CALVIN                   16375   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34788   WINTERS, CALVIN                   22121   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34789   WINTERS, CALVIN                   27869   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WINTERS,          Barney Davis,
34790                                     4045    8/1/2022     Secured: $0.00
        CHRISTINE         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WINTERS,
34791                     Laredo, LLC     9795    8/1/2022     Secured: $0.00
        CHRISTINE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5023 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,       Nueces Bay,
34792                                  15542   8/1/2022     Secured: $0.00
        CHRISTINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,       Talen Texas
34793                                  21288   8/1/2022     Secured: $0.00
        CHRISTINE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,       Talen Texas,
34794                                  27036   8/1/2022     Secured: $0.00
        CHRISTINE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,       Barney Davis,
34795                                  7758    8/1/2022     Secured: $0.00
        KASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,
34796                  Laredo, LLC     13508   8/1/2022     Secured: $0.00
        KASSANDRA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,       Nueces Bay,
34797                                  19255   8/1/2022     Secured: $0.00
        KASSANDRA      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WINTERS,       Talen Texas
34798                                  24989   8/1/2022     Secured: $0.00
        KASSANDRA      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5024 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,      Talen Texas,
34799                                 30749   8/1/2022     Secured: $0.00
        KASSANDRA     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,
34800                 Laredo, LLC     33315   8/1/2022     Secured: $0.00
        MICHAEL
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,      Barney Davis,
34801                                 34306   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,      Nueces Bay,
34802                                 35297   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,      Talen Texas
34803                                 36288   8/1/2022     Secured: $0.00
        MICHAEL       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,      Talen Texas,
34804                                 37277   8/1/2022     Secured: $0.00
        MICHAEL       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WINTERS,      Barney Davis,
34805                                 4600    8/1/2022     Secured: $0.00
        RENETHA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5025 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WINTERS,
34806                   Laredo, LLC     10350   8/1/2022     Secured: $0.00
        RENETHA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WINTERS,        Nueces Bay,
34807                                   16097   8/1/2022     Secured: $0.00
        RENETHA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WINTERS,        Talen Texas
34808                                   21843   8/1/2022     Secured: $0.00
        RENETHA         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WINTERS,        Talen Texas,
34809                                   27591   8/1/2022     Secured: $0.00
        RENETHA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34810   WISDOM, MISTY                   8277    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34811   WISDOM, MISTY   Laredo, LLC     14027   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34812   WISDOM, MISTY                   19774   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5026 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34813   WISDOM, MISTY                   25508   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34814   WISDOM, MISTY                   31268   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISE, MARIANN   Barney Davis,
34815                                   8091    8/1/2022     Secured: $0.00
        ZAUGG           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISE, MARIANN
34816                   Laredo, LLC     13841   8/1/2022     Secured: $0.00
        ZAUGG
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISE, MARIANN   Nueces Bay,
34817                                   19588   8/1/2022     Secured: $0.00
        ZAUGG           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISE, MARIANN   Talen Texas
34818                                   25322   8/1/2022     Secured: $0.00
        ZAUGG           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISE, MARIANN   Talen Texas,
34819                                   31082   8/1/2022     Secured: $0.00
        ZAUGG           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5027 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISHART, GARY   Barney Davis,
34820                                   4979    8/1/2022     Secured: $0.00
        HAYES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISHART, GARY
34821                   Laredo, LLC     10729   8/1/2022     Secured: $0.00
        HAYES
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISHART, GARY   Nueces Bay,
34822                                   16476   8/1/2022     Secured: $0.00
        HAYES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISHART, GARY   Talen Texas
34823                                   22221   8/1/2022     Secured: $0.00
        HAYES           Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WISHART, GARY   Talen Texas,
34824                                   27970   8/1/2022     Secured: $0.00
        HAYES           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITCRAFT,       Barney Davis,
34825                                   5501    8/1/2022     Secured: $0.00
        JESSICA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITCRAFT,
34826                   Laredo, LLC     11251   8/1/2022     Secured: $0.00
        JESSICA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5028 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITCRAFT,      Nueces Bay,
34827                                  16998   8/1/2022     Secured: $0.00
        JESSICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITCRAFT,      Talen Texas
34828                                  22743   8/1/2022     Secured: $0.00
        JESSICA        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITCRAFT,      Talen Texas,
34829                                  28492   8/1/2022     Secured: $0.00
        JESSICA        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITHERSPOON,   Barney Davis,
34830                                  4332    8/1/2022     Secured: $0.00
        JOSHUA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITHERSPOON,
34831                  Laredo, LLC     10082   8/1/2022     Secured: $0.00
        JOSHUA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITHERSPOON,   Nueces Bay,
34832                                  15829   8/1/2022     Secured: $0.00
        JOSHUA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WITHERSPOON,   Talen Texas
34833                                  21575   8/1/2022     Secured: $0.00
        JOSHUA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5029 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITHERSPOON,    Talen Texas,
34834                                   27323   8/1/2022     Secured: $0.00
        JOSHUA          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITMER,         Barney Davis,
34835                                   4612    8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITMER,
34836                   Laredo, LLC     10362   8/1/2022     Secured: $0.00
        RICHARD
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITMER,         Nueces Bay,
34837                                   16109   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITMER,         Talen Texas
34838                                   21855   8/1/2022     Secured: $0.00
        RICHARD         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WITMER,         Talen Texas,
34839                                   27603   8/1/2022     Secured: $0.00
        RICHARD         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34840   WITT, KENNETH                   6143    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5030 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34841   WITT, KENNETH     Laredo, LLC     11893   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34842   WITT, KENNETH                     17640   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34843   WITT, KENNETH                     23385   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34844   WITT, KENNETH                     29134   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
34845   WITTLIF, SIDNEY                   5310    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
34846   WITTLIF, SIDNEY   Laredo, LLC     11060   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
34847   WITTLIF, SIDNEY                   16807   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5031 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
34848   WITTLIF, SIDNEY                   22552   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
34849   WITTLIF, SIDNEY                   28301   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WOFFORD,          Barney Davis,
34850                                     8988    8/1/2022     Secured: $0.00
        THEODORE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WOFFORD,
34851                     Laredo, LLC     14738   8/1/2022     Secured: $0.00
        THEODORE
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WOFFORD,          Nueces Bay,
34852                                     20485   8/1/2022     Secured: $0.00
        THEODORE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WOFFORD,          Talen Texas
34853                                     26217   8/1/2022     Secured: $0.00
        THEODORE          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WOFFORD,          Talen Texas,
34854                                     31979   8/1/2022     Secured: $0.00
        THEODORE          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5032 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34855   WOLF, WYNETTE Laredo, LLC       33316   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34856   WOLF, WYNETTE                   34307   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34857   WOLF, WYNETTE                   35298   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34858   WOLF, WYNETTE                   36289   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34859   WOLF, WYNETTE                   37278   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34860   WOLFE, ANDREA                   5532    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34861   WOLFE, ANDREA   Laredo, LLC     11282   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5033 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34862   WOLFE, ANDREA                   17029   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34863   WOLFE, ANDREA                   22774   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34864   WOLFE, ANDREA                   28523   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34865   WOLFE, LISA                     8008    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34866   WOLFE, LISA     Laredo, LLC     13758   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34867   WOLFE, LISA                     19505   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34868   WOLFE, LISA                     25239   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5034 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34869   WOLFE, LISA                    30999   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WONDIMU,       Barney Davis,
34870                                  5462    8/1/2022     Secured: $0.00
        KIRUBEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WONDIMU,
34871                  Laredo, LLC     11212   8/1/2022     Secured: $0.00
        KIRUBEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WONDIMU,       Nueces Bay,
34872                                  16959   8/1/2022     Secured: $0.00
        KIRUBEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WONDIMU,       Talen Texas
34873                                  22704   8/1/2022     Secured: $0.00
        KIRUBEL        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WONDIMU,       Talen Texas,
34874                                  28453   8/1/2022     Secured: $0.00
        KIRUBEL        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34875   WOOD, JOEY                     5034    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5035 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
34876   WOOD, JOEY    Laredo, LLC     10784   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
34877   WOOD, JOEY                    16531   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
34878   WOOD, JOEY                    22276   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
34879   WOOD, JOEY                    28025   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOD, MARY    Barney Davis,
34880                                 8147    8/1/2022     Secured: $0.00
        BETH          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOD, MARY
34881                 Laredo, LLC     13897   8/1/2022     Secured: $0.00
        BETH
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOD, MARY    Nueces Bay,
34882                                 19644   8/1/2022     Secured: $0.00
        BETH          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5036 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOD, MARY    Talen Texas
34883                                 25378   8/1/2022     Secured: $0.00
        BETH          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOD, MARY    Talen Texas,
34884                                 31138   8/1/2022     Secured: $0.00
        BETH          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Barney Davis,
34885   WOOD, MISTY                   8278    8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
34886   WOOD, MISTY   Laredo, LLC     14028   8/1/2022     Secured: $0.00
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
34887   WOOD, MISTY                   19775   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
34888   WOOD, MISTY                   25509   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
34889   WOOD, MISTY                   31269   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5037 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOOD,          Barney Davis,
34890                                  8915    8/1/2022     Secured: $0.00
        SYLVESTER      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOOD,
34891                  Laredo, LLC     14665   8/1/2022     Secured: $0.00
        SYLVESTER
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOOD,          Nueces Bay,
34892                                  20412   8/1/2022     Secured: $0.00
        SYLVESTER      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOOD,          Talen Texas
34893                                  26144   8/1/2022     Secured: $0.00
        SYLVESTER      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOOD,          Talen Texas,
34894                                  31906   8/1/2022     Secured: $0.00
        SYLVESTER      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34895   WOOD, TRACEY                   9052    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34896   WOOD, TRACEY   Laredo, LLC     14802   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5038 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34897   WOOD, TRACEY                   20549   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34898   WOOD, TRACEY                   26281   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34899   WOOD, TRACEY                   32043   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODARD,       Barney Davis,
34900                                  3991    8/1/2022     Secured: $0.00
        BRIDGET        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODARD,
34901                  Laredo, LLC     9741    8/1/2022     Secured: $0.00
        BRIDGET
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODARD,       Nueces Bay,
34902                                  15488   8/1/2022     Secured: $0.00
        BRIDGET        LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODARD,       Talen Texas
34903                                  21234   8/1/2022     Secured: $0.00
        BRIDGET        Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5039 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WOODARD,        Talen Texas,
34904                                   26982   8/1/2022     Secured: $0.00
        BRIDGET         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34905   WOODARD, JEFF                   5020    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34906   WOODARD, JEFF   Laredo, LLC     10770   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34907   WOODARD, JEFF                   16517   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34908   WOODARD, JEFF                   22262   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34909   WOODARD, JEFF                   28011   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WOODARD,        Barney Davis,
34910                                   4402    8/1/2022     Secured: $0.00
        LANEAKA         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5040 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,
34911                 Laredo, LLC     10152   8/1/2022     Secured: $0.00
        LANEAKA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Nueces Bay,
34912                                 15899   8/1/2022     Secured: $0.00
        LANEAKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Talen Texas
34913                                 21645   8/1/2022     Secured: $0.00
        LANEAKA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Talen Texas,
34914                                 27393   8/1/2022     Secured: $0.00
        LANEAKA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Barney Davis,
34915                                 4423    8/1/2022     Secured: $0.00
        LEROY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,
34916                 Laredo, LLC     10173   8/1/2022     Secured: $0.00
        LEROY
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Nueces Bay,
34917                                 15920   8/1/2022     Secured: $0.00
        LEROY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5041 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Talen Texas
34918                                 21666   8/1/2022     Secured: $0.00
        LEROY         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODARD,      Talen Texas,
34919                                 27414   8/1/2022     Secured: $0.00
        LEROY         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODBERRY,    Barney Davis,
34920                                 4175    8/1/2022     Secured: $0.00
        EULA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODBERRY,
34921                 Laredo, LLC     9925    8/1/2022     Secured: $0.00
        EULA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODBERRY,    Nueces Bay,
34922                                 15672   8/1/2022     Secured: $0.00
        EULA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODBERRY,    Talen Texas
34923                                 21418   8/1/2022     Secured: $0.00
        EULA          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODBERRY,    Talen Texas,
34924                                 27166   8/1/2022     Secured: $0.00
        EULA          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5042 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODBURN,      Barney Davis,
34925                                  3688    8/1/2022     Secured: $0.00
        LISAMARIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODBURN,
34926                  Laredo, LLC     9438    8/1/2022     Secured: $0.00
        LISAMARIE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODBURN,      Nueces Bay,
34927                                  15185   8/1/2022     Secured: $0.00
        LISAMARIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODBURN,      Talen Texas
34928                                  20932   8/1/2022     Secured: $0.00
        LISAMARIE      Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODBURN,      Talen Texas,
34929                                  26679   8/1/2022     Secured: $0.00
        LISAMARIE      LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34930   WOODS, CRAIG                   6836    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34931   WOODS, CRAIG   Laredo, LLC     12586   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5043 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34932   WOODS, CRAIG                   18333   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34933   WOODS, CRAIG                   24067   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34934   WOODS, CRAIG                   29827   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODS, JAMI    Barney Davis,
34935                                  4251    8/1/2022     Secured: $0.00
        ALISSA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODS, JAMI
34936                  Laredo, LLC     10001   8/1/2022     Secured: $0.00
        ALISSA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODS, JAMI    Nueces Bay,
34937                                  15748   8/1/2022     Secured: $0.00
        ALISSA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODS, JAMI    Talen Texas
34938                                  21494   8/1/2022     Secured: $0.00
        ALISSA         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5044 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WOODS, JAMI    Talen Texas,
34939                                  27242   8/1/2022     Secured: $0.00
        ALISSA         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34940   WOODS, JOHN                    7632    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34941   WOODS, JOHN    Laredo, LLC     13382   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34942   WOODS, JOHN                    19129   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34943   WOODS, JOHN                    24863   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34944   WOODS, JOHN                    30623   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34945   WOODS, KEITH                   5074    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5045 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34946   WOODS, KEITH   Laredo, LLC     10824   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34947   WOODS, KEITH                   16571   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34948   WOODS, KEITH                   22316   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34949   WOODS, KEITH                   28065   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34950   WOODS, KISSI                   7861    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34951   WOODS, KISSI   Laredo, LLC     13611   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34952   WOODS, KISSI                   19358   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5046 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34953   WOODS, KISSI                   25092   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34954   WOODS, KISSI                   30852   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
34955   WOODS, LINDA                   6221    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34956   WOODS, LINDA   Laredo, LLC     11971   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34957   WOODS, LINDA                   17718   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34958   WOODS, LINDA                   23463   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34959   WOODS, LINDA                   29212   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5047 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34960   WOODS, NIKKIA                   8340    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34961   WOODS, NIKKIA   Laredo, LLC     14090   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34962   WOODS, NIKKIA                   19837   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34963   WOODS, NIKKIA                   25571   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34964   WOODS, NIKKIA                   31331   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WOODSON,        Barney Davis,
34965                                   4113    8/1/2022     Secured: $0.00
        DEBRA           LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WOODSON,
34966                   Laredo, LLC     9863    8/1/2022     Secured: $0.00
        DEBRA
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5048 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODSON,      Nueces Bay,
34967                                 15610   8/1/2022     Secured: $0.00
        DEBRA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODSON,      Talen Texas
34968                                 21356   8/1/2022     Secured: $0.00
        DEBRA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOODSON,      Talen Texas,
34969                                 27104   8/1/2022     Secured: $0.00
        DEBRA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOLDRIDGE,   Barney Davis,
34970                                 7327    8/1/2022     Secured: $0.00
        GREG          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOLDRIDGE,
34971                 Laredo, LLC     13077   8/1/2022     Secured: $0.00
        GREG
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOLDRIDGE,   Nueces Bay,
34972                                 18824   8/1/2022     Secured: $0.00
        GREG          LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WOOLDRIDGE,   Talen Texas
34973                                 24558   8/1/2022     Secured: $0.00
        GREG          Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5049 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WOOLDRIDGE,     Talen Texas,
34974                                   30318   8/1/2022     Secured: $0.00
        GREG            LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34975   WOOLEY, ALICE                   6339    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
34976   WOOLEY, ALICE   Laredo, LLC     12089   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
34977   WOOLEY, ALICE                   17836   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
34978   WOOLEY, ALICE                   23571   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
34979   WOOLEY, ALICE                   29330   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
34980   WORKMAN, JAY                    7495    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5050 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
34981   WORKMAN, JAY   Laredo, LLC     13245   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
34982   WORKMAN, JAY                   18992   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
34983   WORKMAN, JAY                   24726   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
34984   WORKMAN, JAY                   30486   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORLEY,        Barney Davis,
34985                                  5205    8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORLEY,
34986                  Laredo, LLC     10955   8/1/2022     Secured: $0.00
        PATRICIA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORLEY,        Nueces Bay,
34987                                  16702   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5051 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORLEY,        Talen Texas
34988                                  22447   8/1/2022     Secured: $0.00
        PATRICIA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORLEY,        Talen Texas,
34989                                  28196   8/1/2022     Secured: $0.00
        PATRICIA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORTHAM,       Barney Davis,
34990                                  6942    8/1/2022     Secured: $0.00
        DAVID          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORTHAM,
34991                  Laredo, LLC     12692   8/1/2022     Secured: $0.00
        DAVID
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORTHAM,       Nueces Bay,
34992                                  18439   8/1/2022     Secured: $0.00
        DAVID          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORTHAM,       Talen Texas
34993                                  24173   8/1/2022     Secured: $0.00
        DAVID          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WORTHAM,       Talen Texas,
34994                                  29933   8/1/2022     Secured: $0.00
        DAVID          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5052 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
34995   WORTHEY, JAMES                   7461    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
34996   WORTHEY, JAMES Laredo, LLC       13211   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
34997   WORTHEY, JAMES                   18958   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
34998   WORTHEY, JAMES                   24692   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
34999   WORTHEY, JAMES                   30452   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Barney Davis,
35000                                    6326    8/1/2022     Secured: $0.00
        ALFONZA          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,
35001                    Laredo, LLC     12076   8/1/2022     Secured: $0.00
        ALFONZA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5053 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,       Nueces Bay,
35002                                 17823   8/1/2022     Secured: $0.00
        ALFONZA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,       Talen Texas
35003                                 23558   8/1/2022     Secured: $0.00
        ALFONZA       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,       Talen Texas,
35004                                 29317   8/1/2022     Secured: $0.00
        ALFONZA       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,       Barney Davis,
35005                                 6777    8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,
35006                 Laredo, LLC     12527   8/1/2022     Secured: $0.00
        CHRISTOPHER
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,       Nueces Bay,
35007                                 18274   8/1/2022     Secured: $0.00
        CHRISTOPHER   LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        WRIGHT,       Talen Texas
35008                                 24008   8/1/2022     Secured: $0.00
        CHRISTOPHER   Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5054 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Talen Texas,
35009                                    29768   8/1/2022     Secured: $0.00
        CHRISTOPHER      LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Barney Davis,
35010                                    9278    8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,
35011                    Laredo, LLC     15028   8/1/2022     Secured: $0.00
        KIMBERLY
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Nueces Bay,
35012                                    20775   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Talen Texas
35013                                    26507   8/1/2022     Secured: $0.00
        KIMBERLY         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Talen Texas,
35014                                    32269   8/1/2022     Secured: $0.00
        KIMBERLY         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35015   WRIGHT, KYISHA                   7884    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5055 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35016   WRIGHT, KYISHA   Laredo, LLC     13634   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35017   WRIGHT, KYISHA                   19381   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35018   WRIGHT, KYISHA                   25115   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35019   WRIGHT, KYISHA                   30875   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,
35020                    Laredo, LLC     33317   8/1/2022     Secured: $0.00
        LASHUNDA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Barney Davis,
35021                                    34308   8/1/2022     Secured: $0.00
        LASHUNDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        WRIGHT,          Nueces Bay,
35022                                    35299   8/1/2022     Secured: $0.00
        LASHUNDA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5056 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT,        Talen Texas
35023                                  36290   8/1/2022     Secured: $0.00
        LASHUNDA       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT,        Talen Texas,
35024                                  37279   8/1/2022     Secured: $0.00
        LASHUNDA       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT, MARY   Barney Davis,
35025                                  9293    8/1/2022     Secured: $0.00
        LOUISE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT, MARY
35026                  Laredo, LLC     15043   8/1/2022     Secured: $0.00
        LOUISE
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT, MARY   Nueces Bay,
35027                                  20790   8/1/2022     Secured: $0.00
        LOUISE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT, MARY   Talen Texas
35028                                  26522   8/1/2022     Secured: $0.00
        LOUISE         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WRIGHT, MARY   Talen Texas,
35029                                  32284   8/1/2022     Secured: $0.00
        LOUISE         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5057 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35030   WRIGHT, RANDY                   8495    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35031   WRIGHT, RANDY   Laredo, LLC     14245   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35032   WRIGHT, RANDY                   19992   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35033   WRIGHT, RANDY                   25724   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35034   WRIGHT, RANDY                   31486   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35035   WRIGHT, SUSAN                   8905    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35036   WRIGHT, SUSAN   Laredo, LLC     14655   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5058 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35037   WRIGHT, SUSAN                     20402   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35038   WRIGHT, SUSAN                     26134   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35039   WRIGHT, SUSAN                     31896   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35040   WRIGHT, ULYSSES                   9088    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35041   WRIGHT, ULYSSES Laredo, LLC       14838   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35042   WRIGHT, ULYSSES                   20585   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35043   WRIGHT, ULYSSES                   26317   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5059 of 5163
           Name of
Ref #      Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35044   WRIGHT, ULYSSES                   32079   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WU, WEIFANG       Barney Davis,
35045                                     9138    8/1/2022     Secured: $0.00
        LEDA              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WU, WEIFANG
35046                     Laredo, LLC     14888   8/1/2022     Secured: $0.00
        LEDA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WU, WEIFANG       Nueces Bay,
35047                                     20635   8/1/2022     Secured: $0.00
        LEDA              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WU, WEIFANG       Talen Texas
35048                                     26367   8/1/2022     Secured: $0.00
        LEDA              Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        WU, WEIFANG       Talen Texas,
35049                                     32129   8/1/2022     Secured: $0.00
        LEDA              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35050   WYATT, DAVID                      3665    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5060 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35051   WYATT, DAVID    Laredo, LLC     9415    8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35052   WYATT, DAVID                    15162   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35053   WYATT, DAVID                    20909   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35054   WYATT, DAVID                    26656   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35055   WYATT, STACEY                   8867    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35056   WYATT, STACEY   Laredo, LLC     14617   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35057   WYATT, STACEY                   20364   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5061 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35058   WYATT, STACEY                    26096   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35059   WYATT, STACEY                    31858   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35060   WYCHE, KATRICE                   7781    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35061   WYCHE, KATRICE Laredo, LLC       13531   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35062   WYCHE, KATRICE                   19278   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35063   WYCHE, KATRICE                   25012   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35064   WYCHE, KATRICE                   30772   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5062 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35065   WYCHE, ROBERT                   5516    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35066   WYCHE, ROBERT   Laredo, LLC     11266   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35067   WYCHE, ROBERT                   17013   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35068   WYCHE, ROBERT                   22758   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35069   WYCHE, ROBERT                   28507   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35070   WYLE, LOUISA                    5111    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35071   WYLE, LOUISA    Laredo, LLC     10861   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5063 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35072   WYLE, LOUISA                   16608   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35073   WYLE, LOUISA                   22353   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35074   WYLE, LOUISA                   28102   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WYNDGLOBAL                                          Priority: $0.00
                       Barney Davis,
35075   MANAGEMENT                     5698    8/1/2022     Secured: $0.00
                       LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WYNDGLOBAL                                          Priority: $0.00
35076   MANAGEMENT     Laredo, LLC     11448   8/1/2022     Secured: $0.00
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WYNDGLOBAL                                          Priority: $0.00
                       Nueces Bay,
35077   MANAGEMENT                     17195   8/1/2022     Secured: $0.00
                       LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WYNDGLOBAL                                          Priority: $0.00
                       Talen Texas
35078   MANAGEMENT                     22940   8/1/2022     Secured: $0.00
                       Group, LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5064 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        WYNDGLOBAL                                          Priority: $0.00
                       Talen Texas,
35079   MANAGEMENT                     28689   8/1/2022     Secured: $0.00
                       LLC
        LLC                                                 General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35080   WYNN, GORDON                   7318    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35081   WYNN, GORDON Laredo, LLC       13068   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35082   WYNN, GORDON                   18815   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35083   WYNN, GORDON                   24549   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35084   WYNN, GORDON                   30309   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35085   WYNN, LAUREN                   6042    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5065 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35086   WYNN, LAUREN   Laredo, LLC     11792   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35087   WYNN, LAUREN                   17539   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35088   WYNN, LAUREN                   23284   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35089   WYNN, LAUREN                   29033   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WYTOVAK,       Barney Davis,
35090                                  7670    8/1/2022     Secured: $0.00
        JOSEPH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WYTOVAK,
35091                  Laredo, LLC     13420   8/1/2022     Secured: $0.00
        JOSEPH
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        WYTOVAK,       Nueces Bay,
35092                                  19167   8/1/2022     Secured: $0.00
        JOSEPH         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5066 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WYTOVAK,        Talen Texas
35093                                   24901   8/1/2022     Secured: $0.00
        JOSEPH          Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        WYTOVAK,        Talen Texas,
35094                                   30661   8/1/2022     Secured: $0.00
        JOSEPH          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        XL CATLIN                                            Priority: $0.00
35095   INSURANCE      Laredo, LLC      1424    7/28/2022    Secured: $0.00
        COMPANY UK LTD                                       General Unsecured: $35,000,000.00 + Unliquidated

                                                             Total: $35,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        XL CATLIN                                            Priority: $0.00
35096   INSURANCE      Laredo, LLC      1761    8/1/2022     Secured: $0.00
        COMPANY UK LTD                                       General Unsecured: $35,000,000.00 + Unliquidated

                                                             Total: $35,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        XL CATLIN                                            Priority: $0.00
                       Nueces Bay,
35097   INSURANCE                       1776    8/1/2022     Secured: $0.00
                       LLC
        COMPANY UK LTD                                       General Unsecured: $35,000,000.00 + Unliquidated

                                                             Total: $35,000,000.00 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        XL CATLIN
                                                             Priority: $0.00
        INSURANCE       Barney Davis,
35098                                   1420    7/28/2022    Secured: $0.00
        COMPANY UK      LLC
                                                             General Unsecured: $35,000,000.00 + Unliquidated
        LTD.
                                                             Total: $35,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5067 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL CATLIN                                           Priority: $0.00
                        Nueces Bay,
35099   INSURANCE UK                    1498   7/28/2022    Secured: $0.00
                        LLC
        LTD                                                 General Unsecured: $35,000,000.00 + Unliquidated

                                                            Total: $35,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL CATLIN                                           Priority: $0.00
                        Barney Davis,
35100   INSURANCE UK                    1674   8/1/2022     Secured: $0.00
                        LLC
        LTD                                                 General Unsecured: $35,000,000.00 + Unliquidated

                                                            Total: $35,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL INSURANCE    Barney Davis,
35101                                   3011   8/1/2022     Secured: $0.00
        AMERICA, INC    LLC
                                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL INSURANCE
35102                   Laredo, LLC     3016   8/1/2022     Secured: $0.00
        AMERICA, INC
                                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL INSURANCE    Nueces Bay,
35103                                   3043   8/1/2022     Secured: $0.00
        AMERICA, INC    LLC
                                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL INSURANCE
35104                   Laredo, LLC     1212   7/28/2022    Secured: $0.00
        AMERICA, INC.
                                                            General Unsecured: $132,000,000.00 + Unliquidated

                                                            Total: $132,000,000.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5068 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                  Non‐GUC Trust Claim

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL INSURANCE    Nueces Bay,
35105                                   1411   7/28/2022    Secured: $0.00
        AMERICA, INC.   LLC
                                                            General Unsecured: $132,000,000.00 + Unliquidated

                                                            Total: $132,000,000.00 + Unliquidated

                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL INSURANCE    Barney Davis,
35106                                   1444   7/28/2022    Secured: $0.00
        AMERICA, INC.   LLC
                                                            General Unsecured: $132,000,000.00 + Unliquidated

                                                            Total: $132,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL INSURANCE                                        Priority: $0.00
35107   COMPANY OF      Laredo, LLC     3053   8/1/2022     Secured: $0.00
        NEW YORK                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL INSURANCE                                        Priority: $0.00
                        Nueces Bay,
35108   COMPANY OF                      3058   8/1/2022     Secured: $0.00
                        LLC
        NEW YORK                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL INSURANCE                                        Priority: $0.00
                        Barney Davis,
35109   COMPANY OF                      3086   8/1/2022     Secured: $0.00
                        LLC
        NEW YORK                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL REINSURANCE Barney Davis,
35110                                   2638   8/1/2022     Secured: $0.00
        AMERICA, INC   LLC
                                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5069 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL REINSURANCE
35111                  Laredo, LLC      2648   8/1/2022     Secured: $0.00
        AMERICA, INC
                                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        XL REINSURANCE Nueces Bay,
35112                                   3067   8/1/2022     Secured: $0.00
        AMERICA, INC   LLC
                                                            General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL SELECT                                           Priority: $0.00
                        Nueces Bay,
35113   INSURANCE                       2171   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL SELECT                                           Priority: $0.00
35114   INSURANCE       Laredo, LLC     2176   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL SPECIALTY                                        Priority: $0.00
35115   INSURANCE       Laredo, LLC     2167   8/1/2022     Secured: $0.00
        COMPANY                                             General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL SPECIALTY                                        Priority: $0.00
                        Barney Davis,
35116   INSURANCE                       2173   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
        XL SPECIALTY                                        Priority: $0.00
                        Nueces Bay,
35117   INSURANCE                       3027   8/1/2022     Secured: $0.00
                        LLC
        COMPANY                                             General Unsecured: $3,845,168.20 + Unliquidated

                                                            Total: $3,845,168.20 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5070 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        X‐RAY LOCATING Barney Davis,
35118                                   5664    8/1/2022     Secured: $0.00
        SERVICES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        X‐RAY LOCATING
35119                  Laredo, LLC      11414   8/1/2022     Secured: $0.00
        SERVICES, INC.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        X‐RAY LOCATING Nueces Bay,
35120                                   17161   8/1/2022     Secured: $0.00
        SERVICES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        X‐RAY LOCATING Talen Texas
35121                                   22906   8/1/2022     Secured: $0.00
        SERVICES, INC. Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        X‐RAY LOCATING Talen Texas,
35122                                   28655   8/1/2022     Secured: $0.00
        SERVICES, INC. LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35123   XU, LINDA                       5102    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35124   XU, LINDA       Laredo, LLC     10852   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5071 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35125   XU, LINDA                      16599   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35126   XU, LINDA                      22344   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35127   XU, LINDA                      28093   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YAGHMAIE,      Barney Davis,
35128                                  3629    8/1/2022     Secured: $0.00
        MEHRAN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YAGHMAIE,
35129                  Laredo, LLC     9379    8/1/2022     Secured: $0.00
        MEHRAN
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YAGHMAIE,      Nueces Bay,
35130                                  15126   8/1/2022     Secured: $0.00
        MEHRAN         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YAGHMAIE,      Talen Texas
35131                                  20873   8/1/2022     Secured: $0.00
        MEHRAN         Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5072 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YAGHMAIE,        Talen Texas,
35132                                    26620   8/1/2022     Secured: $0.00
        MEHRAN           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35133   YANCEY, ALEXIS                   5727    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35134   YANCEY, ALEXIS   Laredo, LLC     11477   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35135   YANCEY, ALEXIS                   17224   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35136   YANCEY, ALEXIS                   22969   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35137   YANCEY, ALEXIS                   28718   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35138   YANCY, CYNTHIA                   4070    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5073 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35139   YANCY, CYNTHIA   Laredo, LLC     9820    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35140   YANCY, CYNTHIA                   15567   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35141   YANCY, CYNTHIA                   21313   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35142   YANCY, CYNTHIA                   27061   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35143   YANCY, ROBERT                    8621    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35144   YANCY, ROBERT    Laredo, LLC     14371   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35145   YANCY, ROBERT                    20118   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5074 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35146   YANCY, ROBERT                   25850   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35147   YANCY, ROBERT                   31612   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35148   YARBOR, SARAH                   5869    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35149   YARBOR, SARAH   Laredo, LLC     11619   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35150   YARBOR, SARAH                   17366   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35151   YARBOR, SARAH                   23111   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35152   YARBOR, SARAH                   28860   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5075 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YARBOUGH‐      Barney Davis,
35153                                   5252    8/1/2022     Secured: $0.00
        BENNETT, ROBIN LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YARBOUGH‐
35154                  Laredo, LLC      11002   8/1/2022     Secured: $0.00
        BENNETT, ROBIN
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YARBOUGH‐      Nueces Bay,
35155                                   16749   8/1/2022     Secured: $0.00
        BENNETT, ROBIN LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YARBOUGH‐      Talen Texas
35156                                   22494   8/1/2022     Secured: $0.00
        BENNETT, ROBIN Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YARBOUGH‐      Talen Texas,
35157                                   28243   8/1/2022     Secured: $0.00
        BENNETT, ROBIN LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YBARGUEN,       Barney Davis,
35158                                   8805    8/1/2022     Secured: $0.00
        SHARRI          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YBARGUEN,
35159                   Laredo, LLC     14555   8/1/2022     Secured: $0.00
        SHARRI
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5076 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARGUEN,     Nueces Bay,
35160                                 20302   8/1/2022     Secured: $0.00
        SHARRI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARGUEN,     Talen Texas
35161                                 26034   8/1/2022     Secured: $0.00
        SHARRI        Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARGUEN,     Talen Texas,
35162                                 31796   8/1/2022     Secured: $0.00
        SHARRI        LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARRA,       Barney Davis,
35163                                 6453    8/1/2022     Secured: $0.00
        ARNULFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARRA,
35164                 Laredo, LLC     12203   8/1/2022     Secured: $0.00
        ARNULFO
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARRA,       Nueces Bay,
35165                                 17950   8/1/2022     Secured: $0.00
        ARNULFO       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YBARRA,       Talen Texas
35166                                 23685   8/1/2022     Secured: $0.00
        ARNULFO       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5077 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        YBARRA,         Talen Texas,
35167                                   29444   8/1/2022     Secured: $0.00
        ARNULFO         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35168   YBARRA, MARIA                   8088    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35169   YBARRA, MARIA   Laredo, LLC     13838   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35170   YBARRA, MARIA                   19585   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35171   YBARRA, MARIA                   25319   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35172   YBARRA, MARIA                   31079   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35173   YBARRA, MONICA Laredo, LLC      33318   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5078 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35174   YBARRA, MONICA                   34309   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35175   YBARRA, MONICA                   35300   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35176   YBARRA, MONICA                   36291   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35177   YBARRA, MONICA                   37280   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        YELLABONEZ                                            Other Administrative: $0.00
        SOUL FOOD                                             Priority: $0.00
                         Barney Davis,
35178   KITCHEN LLC,                     5724    8/1/2022     Secured: $0.00
                         LLC
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        YELLABONEZ                                            Other Administrative: $0.00
        SOUL FOOD                                             Priority: $0.00
35179   KITCHEN LLC,     Laredo, LLC     11474   8/1/2022     Secured: $0.00
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
        YELLABONEZ                                            Other Administrative: $0.00
        SOUL FOOD                                             Priority: $0.00
                         Nueces Bay,
35180   KITCHEN LLC,                     17221   8/1/2022     Secured: $0.00
                         LLC
        FRANCHISE TAX                                         General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5079 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
        YELLABONEZ                                           Other Administrative: $0.00
        SOUL FOOD                                            Priority: $0.00
                        Talen Texas
35181   KITCHEN LLC,                    22966   8/1/2022     Secured: $0.00
                        Group, LLC
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
        YELLABONEZ                                           Other Administrative: $0.00
        SOUL FOOD                                            Priority: $0.00
                        Talen Texas,
35182   KITCHEN LLC,                    28715   8/1/2022     Secured: $0.00
                        LLC
        FRANCHISE TAX                                        General Unsecured: $0.00 + Unliquidated
        (PMT PEND.)
                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35183   YES, JOY                        4335    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35184   YES, JOY        Laredo, LLC     10085   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35185   YES, JOY                        15832   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35186   YES, JOY                        21578   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35187   YES, JOY                        27326   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5080 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
35188   YETTMAN, BOBBY                     6534    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
35189   YETTMAN, BOBBY Laredo, LLC         12284   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
35190   YETTMAN, BOBBY                     18031   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
35191   YETTMAN, BOBBY                     23766   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
35192   YETTMAN, BOBBY                     29525   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
35193   YGLESIAS, ALYSSA Laredo, LLC       33319   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
35194   YGLESIAS, ALYSSA                   34310   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5081 of 5163
            Name of
Ref #       Claimant       Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
35195   YGLESIAS, ALYSSA                   35301   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
35196   YGLESIAS, ALYSSA                   36292   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas,
35197   YGLESIAS, ALYSSA                   37281   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Barney Davis,
35198   YONGO, TINA                        9023    8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
35199   YONGO, TINA        Laredo, LLC     14773   8/1/2022     Secured: $0.00
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Nueces Bay,
35200   YONGO, TINA                        20520   8/1/2022     Secured: $0.00
                           LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00
                           Talen Texas
35201   YONGO, TINA                        26252   8/1/2022     Secured: $0.00
                           Group, LLC
                                                                General Unsecured: $0.00 + Unliquidated

                                                                Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5082 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35202   YONGO, TINA                    32014   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35203   YORK, JAMES                    4250    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35204   YORK, JAMES    Laredo, LLC     10000   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35205   YORK, JAMES                    15747   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35206   YORK, JAMES                    21493   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35207   YORK, JAMES                    27241   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35208   YOST, THOMAS                   4739    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5083 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35209   YOST, THOMAS   Laredo, LLC     10489   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35210   YOST, THOMAS                   16236   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35211   YOST, THOMAS                   21982   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35212   YOST, THOMAS                   27730   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35213   YOUNG, GENNA                   7285    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35214   YOUNG, GENNA   Laredo, LLC     13035   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35215   YOUNG, GENNA                   18782   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5084 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35216   YOUNG, GENNA                   24516   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35217   YOUNG, GENNA                   30276   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35218   YOUNG, GIL                     4982    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35219   YOUNG, GIL     Laredo, LLC     10732   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35220   YOUNG, GIL                     16479   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35221   YOUNG, GIL                     22224   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35222   YOUNG, GIL                     27973   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5085 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35223   YOUNG, JANESHIA                   7471    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35224   YOUNG, JANESHIA Laredo, LLC       13221   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35225   YOUNG, JANESHIA                   18968   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35226   YOUNG, JANESHIA                   24702   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35227   YOUNG, JANESHIA                   30462   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35228   YOUNG, JOE                        7594    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35229   YOUNG, JOE        Laredo, LLC     13344   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5086 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Nueces Bay,
35230   YOUNG, JOE                    19091   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas
35231   YOUNG, JOE                    24825   8/1/2022     Secured: $0.00
                      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
                      Talen Texas,
35232   YOUNG, JOE                    30585   8/1/2022     Secured: $0.00
                      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Barney Davis,
35233                                 4399    8/1/2022     Secured: $0.00
        LAMONTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,
35234                 Laredo, LLC     10149   8/1/2022     Secured: $0.00
        LAMONTE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Nueces Bay,
35235                                 15896   8/1/2022     Secured: $0.00
        LAMONTE       LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Talen Texas
35236                                 21642   8/1/2022     Secured: $0.00
        LAMONTE       Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5087 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Talen Texas,
35237                                    27390   8/1/2022     Secured: $0.00
        LAMONTE          LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Barney Davis,
35238                                    3775    8/1/2022     Secured: $0.00
        QUENZETTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,
35239                    Laredo, LLC     9525    8/1/2022     Secured: $0.00
        QUENZETTE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Nueces Bay,
35240                                    15272   8/1/2022     Secured: $0.00
        QUENZETTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Talen Texas
35241                                    21019   8/1/2022     Secured: $0.00
        QUENZETTE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Talen Texas,
35242                                    26766   8/1/2022     Secured: $0.00
        QUENZETTE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35243   YOUNG, QUINTON                   8472    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5088 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35244   YOUNG, QUINTON Laredo, LLC       14222   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35245   YOUNG, QUINTON                   19969   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35246   YOUNG, QUINTON                   25701   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35247   YOUNG, QUINTON                   31463   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35248   YOUNG, RANDY                     8496    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35249   YOUNG, RANDY     Laredo, LLC     14246   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35250   YOUNG, RANDY                     19993   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5089 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35251   YOUNG, RANDY                   25725   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35252   YOUNG, RANDY                   31487   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35253   YOUNG, RIKI                    3850    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35254   YOUNG, RIKI    Laredo, LLC     9600    8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35255   YOUNG, RIKI                    15347   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35256   YOUNG, RIKI                    21094   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35257   YOUNG, RIKI                    26841   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5090 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35258   YOUNG, SABRINA                   8718    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35259   YOUNG, SABRINA Laredo, LLC       14468   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35260   YOUNG, SABRINA                   20215   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35261   YOUNG, SABRINA                   25947   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35262   YOUNG, SABRINA                   31709   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Barney Davis,
35263                                    8922    8/1/2022     Secured: $0.00
        SYNETHRA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,
35264                    Laredo, LLC     14672   8/1/2022     Secured: $0.00
        SYNETHRA
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5091 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Nueces Bay,
35265                                 20419   8/1/2022     Secured: $0.00
        SYNETHRA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Talen Texas
35266                                 26151   8/1/2022     Secured: $0.00
        SYNETHRA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Talen Texas,
35267                                 31913   8/1/2022     Secured: $0.00
        SYNETHRA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Barney Davis,
35268                                 9092    8/1/2022     Secured: $0.00
        VARONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,
35269                 Laredo, LLC     14842   8/1/2022     Secured: $0.00
        VARONICA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Nueces Bay,
35270                                 20589   8/1/2022     Secured: $0.00
        VARONICA      LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        YOUNG,        Talen Texas
35271                                 26321   8/1/2022     Secured: $0.00
        VARONICA      Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5092 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNG,           Talen Texas,
35272                                    32083   8/1/2022     Secured: $0.00
        VARONICA         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35273   YOUNG, VELTA J                   9095    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35274   YOUNG, VELTA J   Laredo, LLC     14845   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35275   YOUNG, VELTA J                   20592   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35276   YOUNG, VELTA J                   26324   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35277   YOUNG, VELTA J                   32086   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        YOUNGBLOOD,      Barney Davis,
35278                                    7799    8/1/2022     Secured: $0.00
        KELLY            LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5093 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YOUNGBLOOD,
35279                  Laredo, LLC     13549   8/1/2022     Secured: $0.00
        KELLY
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YOUNGBLOOD,    Nueces Bay,
35280                                  19296   8/1/2022     Secured: $0.00
        KELLY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YOUNGBLOOD,    Talen Texas
35281                                  25030   8/1/2022     Secured: $0.00
        KELLY          Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YOUNGBLOOD,    Talen Texas,
35282                                  30790   8/1/2022     Secured: $0.00
        KELLY          LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35283   YOUNT, NANCY                   4535    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35284   YOUNT, NANCY   Laredo, LLC     10285   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35285   YOUNT, NANCY                   16032   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5094 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35286   YOUNT, NANCY                   21778   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35287   YOUNT, NANCY                   27526   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Barney Davis,
35288   YOW, HEATHER                   7364    8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
35289   YOW, HEATHER   Laredo, LLC     13114   8/1/2022     Secured: $0.00
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35290   YOW, HEATHER                   18861   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35291   YOW, HEATHER                   24595   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35292   YOW, HEATHER                   30355   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5095 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35293   YTUARTE, ROBERT                   4632    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35294   YTUARTE, ROBERT Laredo, LLC       10382   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35295   YTUARTE, ROBERT                   16129   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35296   YTUARTE, ROBERT                   21875   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35297   YTUARTE, ROBERT                   27623   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35298   YUEN, LORIE                       8016    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35299   YUEN, LORIE       Laredo, LLC     13766   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5096 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Nueces Bay,
35300   YUEN, LORIE                    19513   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas
35301   YUEN, LORIE                    25247   8/1/2022     Secured: $0.00
                       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
                       Talen Texas,
35302   YUEN, LORIE                    31007   8/1/2022     Secured: $0.00
                       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YUNK, MARIA    Barney Davis,
35303                                  8085    8/1/2022     Secured: $0.00
        SARA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YUNK, MARIA
35304                  Laredo, LLC     13835   8/1/2022     Secured: $0.00
        SARA
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YUNK, MARIA    Nueces Bay,
35305                                  19582   8/1/2022     Secured: $0.00
        SARA           LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        YUNK, MARIA    Talen Texas
35306                                  25316   8/1/2022     Secured: $0.00
        SARA           Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5097 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        YUNK, MARIA       Talen Texas,
35307                                     31076   8/1/2022     Secured: $0.00
        SARA              LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35308   YUSOOF, SAKIRAT                   8720    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35309   YUSOOF, SAKIRAT Laredo, LLC       14470   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35310   YUSOOF, SAKIRAT                   20217   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35311   YUSOOF, SAKIRAT                   25949   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35312   YUSOOF, SAKIRAT                   31711   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZABARAS,          Barney Davis,
35313                                     9124    8/1/2022     Secured: $0.00
        VICTORIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5098 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZABARAS,
35314                     Laredo, LLC     14874   8/1/2022     Secured: $0.00
        VICTORIA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZABARAS,          Nueces Bay,
35315                                     20621   8/1/2022     Secured: $0.00
        VICTORIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZABARAS,          Talen Texas
35316                                     26353   8/1/2022     Secured: $0.00
        VICTORIA          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZABARAS,          Talen Texas,
35317                                     32115   8/1/2022     Secured: $0.00
        VICTORIA          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35318   ZACHARY, FANNIE                   7221    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35319   ZACHARY, FANNIE Laredo, LLC       12971   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35320   ZACHARY, FANNIE                   18718   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5099 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35321   ZACHARY, FANNIE                   24452   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35322   ZACHARY, FANNIE                   30212   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35323   ZACK, ERICA                       4963    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35324   ZACK, ERICA       Laredo, LLC     10713   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35325   ZACK, ERICA                       16460   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35326   ZACK, ERICA                       22205   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35327   ZACK, ERICA                       27954   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5100 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAIENTZ III,
35328                  Laredo, LLC     33320   8/1/2022     Secured: $0.00
        MILTON A
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAIENTZ III,   Barney Davis,
35329                                  34311   8/1/2022     Secured: $0.00
        MILTON A       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAIENTZ III,   Nueces Bay,
35330                                  35302   8/1/2022     Secured: $0.00
        MILTON A       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAIENTZ III,   Talen Texas
35331                                  36293   8/1/2022     Secured: $0.00
        MILTON A       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAIENTZ III,   Talen Texas,
35332                                  37282   8/1/2022     Secured: $0.00
        MILTON A       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZALDANA,       Barney Davis,
35333                                  8055    8/1/2022     Secured: $0.00
        MANUEL         LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZALDANA,
35334                  Laredo, LLC     13805   8/1/2022     Secured: $0.00
        MANUEL
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5101 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZALDANA,         Nueces Bay,
35335                                    19552   8/1/2022     Secured: $0.00
        MANUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZALDANA,         Talen Texas
35336                                    25286   8/1/2022     Secured: $0.00
        MANUEL           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZALDANA,         Talen Texas,
35337                                    31046   8/1/2022     Secured: $0.00
        MANUEL           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35338   ZALMAN, JOSEPH                   7671    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35339   ZALMAN, JOSEPH Laredo, LLC       13421   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35340   ZALMAN, JOSEPH                   19168   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35341   ZALMAN, JOSEPH                   24902   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5102 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35342   ZALMAN, JOSEPH                    30662   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35343   ZAMARRIPA, SAUL                   5278    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35344   ZAMARRIPA, SAUL Laredo, LLC       11028   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35345   ZAMARRIPA, SAUL                   16775   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35346   ZAMARRIPA, SAUL                   22520   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35347   ZAMARRIPA, SAUL                   28269   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35348   ZAMORA, BRIAN                     4874    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5103 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35349   ZAMORA, BRIAN   Laredo, LLC     10624   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35350   ZAMORA, BRIAN                   16371   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35351   ZAMORA, BRIAN                   22117   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35352   ZAMORA, BRIAN                   27865   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZAMORA,
35353                   Laredo, LLC     33321   8/1/2022     Secured: $0.00
        ERNESTO S.
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZAMORA,         Barney Davis,
35354                                   34312   8/1/2022     Secured: $0.00
        ERNESTO S.      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZAMORA,         Nueces Bay,
35355                                   35303   8/1/2022     Secured: $0.00
        ERNESTO S.      LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5104 of 5163
            Name of
Ref #       Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,        Talen Texas
35356                                  36294   8/1/2022     Secured: $0.00
        ERNESTO S.     Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,        Talen Texas,
35357                                  37283   8/1/2022     Secured: $0.00
        ERNESTO S.     LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,
35358                  Laredo, LLC     33322   8/1/2022     Secured: $0.00
        GILBERTO
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,        Barney Davis,
35359                                  34313   8/1/2022     Secured: $0.00
        GILBERTO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,        Nueces Bay,
35360                                  35304   8/1/2022     Secured: $0.00
        GILBERTO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,        Talen Texas
35361                                  36295   8/1/2022     Secured: $0.00
        GILBERTO       Group, LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00
        ZAMORA,        Talen Texas,
35362                                  37284   8/1/2022     Secured: $0.00
        GILBERTO       LLC
                                                            General Unsecured: $0.00 + Unliquidated

                                                            Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5105 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZAMUDIO,         Barney Davis,
35363                                    6313    8/1/2022     Secured: $0.00
        ALEJANDRO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZAMUDIO,
35364                    Laredo, LLC     12063   8/1/2022     Secured: $0.00
        ALEJANDRO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZAMUDIO,         Nueces Bay,
35365                                    17810   8/1/2022     Secured: $0.00
        ALEJANDRO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZAMUDIO,         Talen Texas
35366                                    23545   8/1/2022     Secured: $0.00
        ALEJANDRO        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZAMUDIO,         Talen Texas,
35367                                    29304   8/1/2022     Secured: $0.00
        ALEJANDRO        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35368   ZAPATA, ROXANN                   4647    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35369   ZAPATA, ROXANN Laredo, LLC       10397   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5106 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35370   ZAPATA, ROXANN                   16144   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35371   ZAPATA, ROXANN                   21890   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35372   ZAPATA, ROXANN                   27638   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARAGOZA,        Barney Davis,
35373                                    7144    8/1/2022     Secured: $0.00
        ELISEO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARAGOZA,
35374                    Laredo, LLC     12894   8/1/2022     Secured: $0.00
        ELISEO
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARAGOZA,        Nueces Bay,
35375                                    18641   8/1/2022     Secured: $0.00
        ELISEO           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARAGOZA,        Talen Texas
35376                                    24375   8/1/2022     Secured: $0.00
        ELISEO           Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5107 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZARAGOZA,       Talen Texas,
35377                                   30135   8/1/2022     Secured: $0.00
        ELISEO          LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35378   ZARATE, ERIKA   Laredo, LLC     33323   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35379   ZARATE, ERIKA                   34314   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35380   ZARATE, ERIKA                   35305   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas
35381   ZARATE, ERIKA                   36296   8/1/2022     Secured: $0.00
                        Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Talen Texas,
35382   ZARATE, ERIKA                   37285   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35383   ZARATE, JUAN                    7703    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5108 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35384   ZARATE, JUAN     Laredo, LLC     13453   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35385   ZARATE, JUAN                     19200   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35386   ZARATE, JUAN                     24934   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35387   ZARATE, JUAN                     30694   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35388   ZARSKY, CHERIE                   3660    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35389   ZARSKY, CHERIE   Laredo, LLC     9410    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35390   ZARSKY, CHERIE                   15157   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5109 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35391   ZARSKY, CHERIE                   20904   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35392   ZARSKY, CHERIE                   26651   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARUBA,          Barney Davis,
35393                                    7763    8/1/2022     Secured: $0.00
        KATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARUBA,
35394                    Laredo, LLC     13513   8/1/2022     Secured: $0.00
        KATHERINE
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARUBA,          Nueces Bay,
35395                                    19260   8/1/2022     Secured: $0.00
        KATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARUBA,          Talen Texas
35396                                    24994   8/1/2022     Secured: $0.00
        KATHERINE        Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZARUBA,          Talen Texas,
35397                                    30754   8/1/2022     Secured: $0.00
        KATHERINE        LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5110 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35398   ZAVALA, FELIPE                   4186    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35399   ZAVALA, FELIPE   Laredo, LLC     9936    8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35400   ZAVALA, FELIPE                   15683   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35401   ZAVALA, FELIPE                   21429   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35402   ZAVALA, FELIPE                   27177   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35403   ZAVALA, ROBERT                   5248    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35404   ZAVALA, ROBERT Laredo, LLC       10998   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5111 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35405   ZAVALA, ROBERT                    16745   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35406   ZAVALA, ROBERT                    22490   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35407   ZAVALA, ROBERT                    28239   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35408   ZAVALA, SHIRLEY                   4691    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35409   ZAVALA, SHIRLEY Laredo, LLC       10441   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35410   ZAVALA, SHIRLEY                   16188   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35411   ZAVALA, SHIRLEY                   21934   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5112 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35412   ZAVALA, SHIRLEY                   27682   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZAZZA CONROE      Barney Davis,
35413                                     5666    8/1/2022     Secured: $0.00
        LLC               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZAZZA CONROE
35414                     Laredo, LLC     11416   8/1/2022     Secured: $0.00
        LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZAZZA CONROE      Nueces Bay,
35415                                     17163   8/1/2022     Secured: $0.00
        LLC               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZAZZA CONROE      Talen Texas
35416                                     22908   8/1/2022     Secured: $0.00
        LLC               Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZAZZA CONROE      Talen Texas,
35417                                     28657   8/1/2022     Secured: $0.00
        LLC               LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZENIECKI,         Barney Davis,
35418                                     8248    8/1/2022     Secured: $0.00
        MICHAEL           LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
            Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5113 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZENIECKI,
35419                   Laredo, LLC     13998   8/1/2022     Secured: $0.00
        MICHAEL
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZENIECKI,       Nueces Bay,
35420                                   19745   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZENIECKI,       Talen Texas
35421                                   25479   8/1/2022     Secured: $0.00
        MICHAEL         Group, LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
        ZENIECKI,       Talen Texas,
35422                                   31239   8/1/2022     Secured: $0.00
        MICHAEL         LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Barney Davis,
35423   ZENN, NICHOLE                   8331    8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35424   ZENN, NICHOLE   Laredo, LLC     14081   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
                        Nueces Bay,
35425   ZENN, NICHOLE                   19828   8/1/2022     Secured: $0.00
                        LLC
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5114 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35426   ZENN, NICHOLE                    25562   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35427   ZENN, NICHOLE                    31322   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35428   ZENO, ROSALIND                   8678    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35429   ZENO, ROSALIND Laredo, LLC       14428   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35430   ZENO, ROSALIND                   20175   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35431   ZENO, ROSALIND                   25907   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35432   ZENO, ROSALIND                   31669   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5115 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35433   ZERM, CHRISTINE                   4900    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35434   ZERM, CHRISTINE Laredo, LLC       10650   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35435   ZERM, CHRISTINE                   16397   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35436   ZERM, CHRISTINE                   22142   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35437   ZERM, CHRISTINE                   27891   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZERTUCHE,         Barney Davis,
35438                                     6278    8/1/2022     Secured: $0.00
        AARON             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZERTUCHE,
35439                     Laredo, LLC     12028   8/1/2022     Secured: $0.00
        AARON
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5116 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,     Nueces Bay,
35440                                 17775   8/1/2022     Secured: $0.00
        AARON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,     Talen Texas
35441                                 23510   8/1/2022     Secured: $0.00
        AARON         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,     Talen Texas,
35442                                 29269   8/1/2022     Secured: $0.00
        AARON         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,     Barney Davis,
35443                                 5357    8/1/2022     Secured: $0.00
        VELMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,
35444                 Laredo, LLC     11107   8/1/2022     Secured: $0.00
        VELMA
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,     Nueces Bay,
35445                                 16854   8/1/2022     Secured: $0.00
        VELMA         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZERTUCHE,     Talen Texas
35446                                 22599   8/1/2022     Secured: $0.00
        VELMA         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5117 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZERTUCHE,         Talen Texas,
35447                                     28348   8/1/2022     Secured: $0.00
        VELMA             LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEGLER,          Barney Davis,
35448                                     3762    8/1/2022     Secured: $0.00
        CHRISTINA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEGLER,
35449                     Laredo, LLC     9512    8/1/2022     Secured: $0.00
        CHRISTINA
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEGLER,          Nueces Bay,
35450                                     15259   8/1/2022     Secured: $0.00
        CHRISTINA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEGLER,          Talen Texas
35451                                     21006   8/1/2022     Secured: $0.00
        CHRISTINA         Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEGLER,          Talen Texas,
35452                                     26753   8/1/2022     Secured: $0.00
        CHRISTINA         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Barney Davis,
35453   ZIEGLER, ROBERT                   8622    8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5118 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
35454   ZIEGLER, ROBERT Laredo, LLC       14372   8/1/2022     Secured: $0.00
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Nueces Bay,
35455   ZIEGLER, ROBERT                   20119   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas
35456   ZIEGLER, ROBERT                   25851   8/1/2022     Secured: $0.00
                          Group, LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
                          Talen Texas,
35457   ZIEGLER, ROBERT                   31613   8/1/2022     Secured: $0.00
                          LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEMANN,          Barney Davis,
35458                                     5650    8/1/2022     Secured: $0.00
        FREDERICK         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEMANN,
35459                     Laredo, LLC     11400   8/1/2022     Secured: $0.00
        FREDERICK
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00
        ZIEMANN,          Nueces Bay,
35460                                     17147   8/1/2022     Secured: $0.00
        FREDERICK         LLC
                                                               General Unsecured: $0.00 + Unliquidated

                                                               Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5119 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIEMANN,      Talen Texas
35461                                 22892   8/1/2022     Secured: $0.00
        FREDERICK     Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIEMANN,      Talen Texas,
35462                                 28641   8/1/2022     Secured: $0.00
        FREDERICK     LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIMMERMAN,    Barney Davis,
35463                                 3997    8/1/2022     Secured: $0.00
        BRUCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIMMERMAN,
35464                 Laredo, LLC     9747    8/1/2022     Secured: $0.00
        BRUCE
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIMMERMAN,    Nueces Bay,
35465                                 15494   8/1/2022     Secured: $0.00
        BRUCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIMMERMAN,    Talen Texas
35466                                 21240   8/1/2022     Secured: $0.00
        BRUCE         Group, LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                           Priority: $0.00
        ZIMMERMAN,    Talen Texas,
35467                                 26988   8/1/2022     Secured: $0.00
        BRUCE         LLC
                                                           General Unsecured: $0.00 + Unliquidated

                                                           Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5120 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35468   ZIPPER, DAWN                     9250    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35469   ZIPPER, DAWN     Laredo, LLC     15000   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35470   ZIPPER, DAWN                     20747   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35471   ZIPPER, DAWN                     26479   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35472   ZIPPER, DAWN                     32241   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35473   ZISSA, MICHAEL                   5157    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35474   ZISSA, MICHAEL   Laredo, LLC     10907   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5121 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35475   ZISSA, MICHAEL                   16654   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35476   ZISSA, MICHAEL                   22399   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35477   ZISSA, MICHAEL                   28148   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUCKERMAN,       Barney Davis,
35478                                    4538    8/1/2022     Secured: $0.00
        NICHOLAS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUCKERMAN,
35479                    Laredo, LLC     10288   8/1/2022     Secured: $0.00
        NICHOLAS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUCKERMAN,       Nueces Bay,
35480                                    16035   8/1/2022     Secured: $0.00
        NICHOLAS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUCKERMAN,       Talen Texas
35481                                    21781   8/1/2022     Secured: $0.00
        NICHOLAS         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5122 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUCKERMAN,       Talen Texas,
35482                                    27529   8/1/2022     Secured: $0.00
        NICHOLAS         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35483   ZUNIGA, DANIEL                   5969    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35484   ZUNIGA, DANIEL   Laredo, LLC     11719   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35485   ZUNIGA, DANIEL                   17466   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35486   ZUNIGA, DANIEL                   23211   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35487   ZUNIGA, DANIEL                   28960   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35488   ZUNIGA, DIANA                    7038    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5123 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35489   ZUNIGA, DIANA    Laredo, LLC     12788   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35490   ZUNIGA, DIANA                    18535   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35491   ZUNIGA, DIANA                    24269   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35492   ZUNIGA, DIANA                    30029   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35493   ZUNIGA, SERGIO                   4665    8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
35494   ZUNIGA, SERGIO   Laredo, LLC     10415   8/1/2022     Secured: $0.00
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35495   ZUNIGA, SERGIO                   16162   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5124 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35496   ZUNIGA, SERGIO                   21908   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35497   ZUNIGA, SERGIO                   27656   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ZURICH
                                                              Priority: $0.00
        AMERICAN         Nueces Bay,
35498                                    1207    7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $1,400,000.00 + Unliquidated
        COMPANY
                                                              Total: $1,400,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ZURICH
                                                              Priority: $0.00
        AMERICAN
35499                    Laredo, LLC     1209    7/28/2022    Secured: $0.00
        INSURANCE
                                                              General Unsecured: $1,400,000.00 + Unliquidated
        COMPANY
                                                              Total: $1,400,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ZURICH
                                                              Priority: $0.00
        AMERICAN         Barney Davis,
35500                                    1407    7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $1,400,000.00 + Unliquidated
        COMPANY
                                                              Total: $1,400,000.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
        ZURICH
                                                              Priority: $0.00
        AMERICAN         Nueces Bay,
35501                                    1415    7/28/2022    Secured: $0.00
        INSURANCE        LLC
                                                              General Unsecured: $226,712,780.78 + Unliquidated
        COMPANY
                                                              Total: $226,712,780.78 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5125 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                  Non‐GUC Trust Claim

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ZURICH
                                                             Priority: $0.00
        AMERICAN        Barney Davis,
35502                                   1437    7/28/2022    Secured: $0.00
        INSURANCE       LLC
                                                             General Unsecured: $226,712,780.78 + Unliquidated
        COMPANY
                                                             Total: $226,712,780.78 + Unliquidated

                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        ZURICH
                                                             Priority: $0.00
        AMERICAN
35503                   Laredo, LLC     1581    7/28/2022    Secured: $0.00
        INSURANCE
                                                             General Unsecured: $226,712,780.78 + Unliquidated
        COMPANY
                                                             Total: $226,712,780.78 + Unliquidated
                                                             503(b)(9): $0.00
        ZURICH                                               Other Administrative: $0.00
        AMERICAN                                             Priority: $0.00
                        Barney Davis,
35504   INSURANCE                       1416    7/28/2022    Secured: $0.00
                        LLC
        COMPANY OF                                           General Unsecured: $33,044.31 + Unliquidated
        ILLINOIS
                                                             Total: $33,044.31 + Unliquidated
                                                             503(b)(9): $0.00
        ZURICH                                               Other Administrative: $0.00
        AMERICAN                                             Priority: $0.00
35505   INSURANCE       Laredo, LLC     1418    7/28/2022    Secured: $0.00
        COMPANY OF                                           General Unsecured: $33,044.31 + Unliquidated
        ILLINOIS
                                                             Total: $33,044.31 + Unliquidated
                                                             503(b)(9): $0.00
        ZURICH                                               Other Administrative: $0.00
        AMERICAN                                             Priority: $0.00
                        Nueces Bay,
35506   INSURANCE                       1448    7/28/2022    Secured: $0.00
                        LLC
        COMPANY OF                                           General Unsecured: $33,044.31 + Unliquidated
        ILLINOIS
                                                             Total: $33,044.31 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00
35507   ZUROVEC, CINDY Laredo, LLC      33324   8/1/2022     Secured: $0.00
                                                             General Unsecured: $0.00 + Unliquidated

                                                             Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5126 of 5163
           Name of
Ref #      Claimant      Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Barney Davis,
35508   ZUROVEC, CINDY                   34315   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Nueces Bay,
35509   ZUROVEC, CINDY                   35306   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas
35510   ZUROVEC, CINDY                   36297   8/1/2022     Secured: $0.00
                         Group, LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
                         Talen Texas,
35511   ZUROVEC, CINDY                   37286   8/1/2022     Secured: $0.00
                         LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUROVEC,         Barney Davis,
35512                                    4740    8/1/2022     Secured: $0.00
        THOMAS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUROVEC,
35513                    Laredo, LLC     10490   8/1/2022     Secured: $0.00
        THOMAS
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00
        ZUROVEC,         Nueces Bay,
35514                                    16237   8/1/2022     Secured: $0.00
        THOMAS           LLC
                                                              General Unsecured: $0.00 + Unliquidated

                                                              Total: $0.00 + Unliquidated
           Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5127 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        ZUROVEC,      Talen Texas
35515                                21983   8/1/2022     Secured: $0.00
        THOMAS        Group, LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
                                                          Priority: $0.00
        ZUROVEC,      Talen Texas,
35516                                27731   8/1/2022     Secured: $0.00
        THOMAS        LLC
                                                          General Unsecured: $0.00 + Unliquidated

                                                          Total: $0.00 + Unliquidated
Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5128 of 5163




                            EXHIBIT 3
                    (Non-Trust Beneficiary Claims)
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5129 of 5163
                                                     Exhibit 3 – Non Trust Beneficiary Claims
           Name of
Ref #      Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                     Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                              Priority: $0.00
        BARNEY DAVIS,   Nueces Bay,                                                                  treated as Class 8 (Prepetition
 1                                     5233528   6/25/2022    Secured: $0.00
        LLC             LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $417,217.00
                                                                                                     III.B (10) of the Plan.
                                                              Total: $417,217.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        BAUMGARTNER, Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 2                                     37511     4/13/2023    Secured: $0.00
        MICHEL S.    Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $35,150.00
                                                                                                     Plan.
                                                              Total: $35,150.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                              Priority: $0.00
                        Talen Energy                                                                 treated as Class 8 (Prepetition
 3      BDW CORP.                      5231911   6/25/2022    Secured: $0.00
                        Supply, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $401,249.00
                                                                                                     III.B (10) of the Plan.
                                                              Total: $401,249.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        BENEFIT TRUST   Talen Energy                                                                 treated as Class 4 (Unsecured Notes
 4                                      482      7/21/2022    Secured: $15,000.00
        2017            Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $0.00
                                                                                                     Plan.
                                                              Total: $15,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Talen Energy                          Priority: $0.00
        BRANDON                                                                                      treated as Class 8 (Prepetition
 5                      Marketing,     5233210   6/25/2022    Secured: $0.00
        SHORES LLC                                                                                   Intercompany Claims) pursuant to Article
                        LLC                                   General Unsecured: $1,055,415,002.00
                                                                                                     III.B (10) of the Plan.
                                                              Total: $1,055,415,002.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                        Raven Power                                                                  Intercompany Claims – classified and
                                                              Priority: $0.00
        BRANDON         Fort                                                                         treated as Class 8 (Prepetition
 6                                     5233379   6/25/2022    Secured: $0.00
        SHORES LLC      Smallwood                                                                    Intercompany Claims) pursuant to Article
                                                              General Unsecured: $143,378.00
                        LLC                                                                          III.B (10) of the Plan.
                                                              Total: $143,378.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Raven FS                              Priority: $0.00
        BRANDON                                                                                      treated as Class 8 (Prepetition
 7                      Property       5234140   6/25/2022    Secured: $0.00
        SHORES LLC                                                                                   Intercompany Claims) pursuant to Article
                        Holdings LLC                          General Unsecured: $1,653,044.00
                                                                                                     III.B (10) of the Plan.
                                                              Total: $1,653,044.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                              Priority: $0.00
        BRANDON         Brunner                                                                      treated as Class 8 (Prepetition
 8                                     5234158   6/25/2022    Secured: $0.00
        SHORES LLC      Island, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $15,101.00
                                                                                                     III.B (10) of the Plan.
                                                              Total: $15,101.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                              Priority: $0.00
        BRANDON         H.A. Wagner                                                                  treated as Class 8 (Prepetition
 9                                     5234457   6/25/2022    Secured: $0.00
        SHORES LLC      LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $3,369,942.00
                                                                                                     III.B (10) of the Plan.
                                                              Total: $3,369,942.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5130 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                  Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                        Pedricktown                           Priority: $0.00
        BRANDON                                                                                     treated as Class 8 (Prepetition
 10                     Cogeneration 5234561     6/25/2022    Secured: $0.00
        SHORES LLC                                                                                  Intercompany Claims) pursuant to Article
                        Company LP                            General Unsecured: $1,395.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $1,395.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        BRANDON         Martins                                                                     treated as Class 8 (Prepetition
 11                                    5235381   6/25/2022    Secured: $0.00
        SHORES LLC      Creek, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $352,127.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $352,127.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        BRUNNER ISLAND Holtwood,                                                                    treated as Class 8 (Prepetition
 12                                    5233413   6/25/2022    Secured: $0.00
        SERVICES, LLC  LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $11,155.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $11,155.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        BRUNNER ISLAND Brunner                                                                      treated as Class 8 (Prepetition
 13                                    5234159   6/25/2022    Secured: $0.00
        SERVICES, LLC  Island, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $272,123.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $272,123.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        BRUNNER         RMGL                                                                        treated as Class 8 (Prepetition
 14                                    5231829   6/25/2022    Secured: $0.00
        ISLAND, LLC     Holdings LLC                                                                Intercompany Claims) pursuant to Article
                                                              General Unsecured: $2,435.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $2,435.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                        Talen Energy                          Priority: $0.00
        BRUNNER                                                                                     treated as Class 8 (Prepetition
 15                     Marketing,     5233211   6/25/2022    Secured: $0.00
        ISLAND, LLC                                                                                 Intercompany Claims) pursuant to Article
                        LLC                                   General Unsecured: $194,723,561.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $194,723,561.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                        Lower Mount                           Priority: $0.00
        BRUNNER                                                                                     treated as Class 8 (Prepetition
 16                     Bethel      5233449      6/25/2022    Secured: $0.00
        ISLAND, LLC                                                                                 Intercompany Claims) pursuant to Article
                        Energy, LLC                           General Unsecured: $234,055.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $234,055.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        BRUNNER         H.A. Wagner                                                                 treated as Class 8 (Prepetition
 17                                    5234458   6/25/2022    Secured: $0.00
        ISLAND, LLC     LLC                                                                         Intercompany Claims) pursuant to Article
                                                              General Unsecured: $04.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $04.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        BRUNNER         Martins                                                                     treated as Class 8 (Prepetition
 18                                    5235382   6/25/2022    Secured: $0.00
        ISLAND, LLC     Creek, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $466,444.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $466,444.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5131 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                    Category
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                                Priority: $0.00
                          Talen Energy                                                                treated as Class 4 (Unsecured Notes
 19     BRUNO, ALICE                      631      7/26/2022    Secured: $0.00
                          Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                                General Unsecured: $15,000.00
                                                                                                      Plan.
                                                                Total: $15,000.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                                Priority: $0.00
        BUYAK, WILLIAM Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 20                                       404      7/18/2022    Secured: $0.00
        P.             Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                                General Unsecured: $24,276.00
                                                                                                      Plan.
                                                                Total: $24,276.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                          Talen Energy                          Priority: $0.00
        CAMDEN PLANT                                                                                  treated as Class 8 (Prepetition
 21                       Marketing,     5233212   6/25/2022    Secured: $0.00
        HOLDING, L.L.C.                                                                               Intercompany Claims) pursuant to Article
                          LLC                                   General Unsecured: $56,861,356.00
                                                                                                      III.B (10) of the Plan.
                                                                Total: $56,861,356.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                          Sapphire                              Priority: $0.00
        CAMDEN PLANT                                                                                  treated as Class 8 (Prepetition
 22                       Power          5233403   6/25/2022    Secured: $0.00
        HOLDING, L.L.C.                                                                               Intercompany Claims) pursuant to Article
                          Finance LLC                           General Unsecured: $10,253,461.00
                                                                                                      III.B (10) of the Plan.
                                                                Total: $10,253,461.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                          Pedricktown                           Priority: $0.00
        CAMDEN PLANT                                                                                  treated as Class 8 (Prepetition
 23                       Cogeneration 5234562     6/25/2022    Secured: $0.00
        HOLDING, L.L.C.                                                                               Intercompany Claims) pursuant to Article
                          Company LP                            General Unsecured: $93,834.00
                                                                                                      III.B (10) of the Plan.
                                                                Total: $93,834.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                          Talen                                 Priority: $0.00
        CAMDEN PLANT                                                                                  treated as Class 8 (Prepetition
 24                       Generation,    5234669   6/25/2022    Secured: $0.00
        HOLDING, L.L.C.                                                                               Intercompany Claims) pursuant to Article
                          LLC                                   General Unsecured: $5,811.00
                                                                                                      III.B (10) of the Plan.
                                                                Total: $5,811.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                                Priority: $0.00
        CAMDEN PLANT      Raven Power                                                                 treated as Class 8 (Prepetition
 25                                      5234853   6/25/2022    Secured: $0.00
        HOLDING, L.L.C.   Group LLC                                                                   Intercompany Claims) pursuant to Article
                                                                General Unsecured: $07.00
                                                                                                      III.B (10) of the Plan.
                                                                Total: $07.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                                Priority: $0.00
                       Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 26     CHATHAM, CAROL                    2397     8/1/2022     Secured: $0.00
                       Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                                General Unsecured: $100,000.00
                                                                                                      Plan.
                                                                Total: $100,000.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                                Priority: $0.00
                       Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 27     CHATHAM, CAROL                    2811     8/1/2022     Secured: $0.00
                       Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                                General Unsecured: $25,000.00
                                                                                                      Plan.
                                                                Total: $25,000.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5132 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                        Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00                           Claims for Indemnification Obligations –
                        Talen
 28     CHESSER, JOHN                   2184     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
                        Montana, LLC
                                                              General Unsecured: $0.00 + Unliquidated   the Plan.

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00                           Claims for Indemnification Obligations –
                        Talen Energy
 29     CHESSER, JOHN                   2600     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
                        Supply, LLC
                                                              General Unsecured: $0.00 + Unliquidated   the Plan.

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
                        Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 30     COHEN, SYDNEY                   629      7/26/2022    Secured: $0.00
                        Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $19,599.64
                                                                                                        Plan.
                                                              Total: $19,599.64
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00               Cumulus Intercompany Claims –
                        Talen II                              Priority: $0.00                           classified and treated as Class 7
        CUMULUS DATA
 31                     Growth         5233410   6/25/2022    Secured: $0.00                            (Prepetition Cumulus Intercompany
        HOLDINGS LLC
                        Holdings LLC                          General Unsecured: $53,215.00             Claims) pursuant to Article III.B (9) of the
                                                                                                        Plan.
                                                              Total: $53,215.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00               Cumulus Intercompany Claims –
                                                              Priority: $0.00                           classified and treated as Class 7
        CUMULUS DATA    Talen Energy
 32                                    5231912   6/25/2022    Secured: $0.00                            (Prepetition Cumulus Intercompany
        LLC             Supply, LLC
                                                              General Unsecured: $4,065.00              Claims) pursuant to Article III.B (9) of the
                                                                                                        Plan.
                                                              Total: $4,065.00
                                                              503(b)(9): $0.00
        DARTMOUTH                                             Other Administrative: $0.00
                                                                                                        Intercompany Claims – classified and
        POWER           Talen Energy                          Priority: $0.00
                                                                                                        treated as Class 8 (Prepetition
 33     ASSOCIATES      Marketing,     5233213   6/25/2022    Secured: $0.00
                                                                                                        Intercompany Claims) pursuant to Article
        LIMITED         LLC                                   General Unsecured: $44,309,102.00
                                                                                                        III.B (10) of the Plan.
        PARTNERSHIP
                                                              Total: $44,309,102.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        DAVID & LINDA   Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 34                                     1877     7/29/2022    Secured: $0.00
        FROCK REV TRUST Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $34,072.50
                                                                                                        Plan.
                                                              Total: $34,072.50
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        DAVID & LINDA   Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 35                                     3332     8/1/2022     Secured: $0.00
        FROCK REV TRUST Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $34,072.50
                                                                                                        Plan.
                                                              Total: $34,072.50
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
        DAVID B AND                                           Priority: $0.00
                        Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 36     LINDA A FROCK                   916      7/28/2022    Secured: $0.00
                        Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
        REV TRUST                                             General Unsecured: $341,027.00
                                                                                                        Plan.
                                                              Total: $341,027.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5133 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim                        Category
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        DAVID D                                                                                        Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        FARIELLO, IRA    Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 37                                     1245    7/29/2022    Secured: $0.00
        [NFS LLC         Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $15,000.00
        CUSTODIAN]                                                                                     Plan.
                                                             Total: $15,000.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
                         Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 38     DAVIS, JOHN V                   2493     8/1/2022    Secured: $0.00
                         Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $20,000.00
                                                                                                       Plan.
                                                             Total: $20,000.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        DENIS & MAXINE, Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 39                                     2243    7/29/2022    Secured: $0.00
        ZUZIK           Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $5,900.00
                                                                                                       Plan.
                                                             Total: $5,900.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
        DONNA L                                              Priority: $0.00
                        Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 40     SCHULZE / BRYAN                 37473   12/31/2022   Secured: $0.00
                        Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
        D SCHULZE                                            General Unsecured: $10,000.00
                                                                                                       Plan.
                                                             Total: $10,000.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
        DONNA L                                              Priority: $0.00
                        Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 41     SCHULZE / BRYAN                 37474   12/31/2022   Secured: $0.00
                        Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
        D SCHULZE                                            General Unsecured: $10,000.00
                                                                                                       Plan.
                                                             Total: $10,000.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00                           Claims for Indemnification Obligations –
        DOUGLASS, JR.,   Talen Energy
 42                                     2153     8/1/2022    Secured: $0.00                            entitled to treatment under article V.E of
        THOMAS G.        Supply, LLC
                                                             General Unsecured: $0.00 + Unliquidated   the Plan.

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
                         Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 43     FIORE, JOANNE                   322     7/12/2022    Secured: $0.00
                         Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $13,850.00
                                                                                                       Plan.
                                                             Total: $13,850.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00                           Claims for Indemnification Obligations –
                         Talen Energy
 44     FLATON, CAROL                   3280     8/1/2022    Secured: $0.00                            entitled to treatment under article V.E of
                         Supply, LLC
                                                             General Unsecured: $0.00 + Unliquidated   the Plan.

                                                             Total: $0.00 + Unliquidated
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        GALBRAITH,       Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 45                                     335     7/12/2022    Secured: $0.00
        MARK             Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $10,000.00
                                                                                                       Plan.
                                                             Total: $10,000.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5134 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                        Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
                        Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 46     GOLLIHER, LARRY                 624      7/26/2022    Secured: $0.00
                        Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $2,060.00
                                                                                                        Plan.
                                                              Total: $2,060.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Intercompany Claims – classified and
                        Talen Energy                          Priority: $0.00
                                                                                                        treated as Class 8 (Prepetition
 47     H.A. WAGNER LLC Marketing,     5233214   6/25/2022    Secured: $0.00
                                                                                                        Intercompany Claims) pursuant to Article
                        LLC                                   General Unsecured: $213,384,340.00
                                                                                                        III.B (10) of the Plan.
                                                              Total: $213,384,340.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Intercompany Claims – classified and
                                                              Priority: $0.00
                                                                                                        treated as Class 8 (Prepetition
 48     H.A. WAGNER LLC Montour, LLC 5233915     6/25/2022    Secured: $0.00
                                                                                                        Intercompany Claims) pursuant to Article
                                                              General Unsecured: $76,956.00
                                                                                                        III.B (10) of the Plan.
                                                              Total: $76,956.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Intercompany Claims – classified and
                        Raven FS                              Priority: $0.00
                                                                                                        treated as Class 8 (Prepetition
 49     H.A. WAGNER LLC Property       5234141   6/25/2022    Secured: $0.00
                                                                                                        Intercompany Claims) pursuant to Article
                        Holdings LLC                          General Unsecured: $522,014.00
                                                                                                        III.B (10) of the Plan.
                                                              Total: $522,014.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Intercompany Claims – classified and
                                                              Priority: $0.00
                        Martins                                                                         treated as Class 8 (Prepetition
 50     H.A. WAGNER LLC                5235383   6/25/2022    Secured: $0.00
                        Creek, LLC                                                                      Intercompany Claims) pursuant to Article
                                                              General Unsecured: $62,120.00
                                                                                                        III.B (10) of the Plan.
                                                              Total: $62,120.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
                        Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 51     HAAS, JAMES                     399      7/18/2022    Secured: $0.00
                        Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $47,000.00
                                                                                                        Plan.
                                                              Total: $47,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                              Priority: $0.00                           Claims for Indemnification Obligations –
        HAMLIN          Talen Energy
 52                                     2179      8/1/2022    Secured: $0.00                            entitled to treatment under article V.E of
        PARTNERS LLC    Supply, LLC
                                                              General Unsecured: $0.00 + Unliquidated   the Plan.

                                                              Total: $0.00 + Unliquidated
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        HANTULA,        Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 53                                    37462     12/13/2022   Secured: $30,000.00
        DONALD A.       Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $217.61
                                                                                                        Plan.
                                                              Total: $30,217.61
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        HARROLD,        Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 54                                    37489     2/24/2023    Secured: $0.00
        CAROLYN LO      Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $7,000.00
                                                                                                        Plan.
                                                              Total: $7,000.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5135 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim                        Category
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                            Priority: $0.00
        HARROLD, MAX    Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 55                                    37488   2/23/2023    Secured: $0.00
        D.              Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $7,000.00
                                                                                                      Plan.
                                                            Total: $7,000.00
                                                            503(b)(9): $0.00
        HELEN
                                                            Other Administrative: $0.00
        BROOKNER TTEE                                                                                 Unsecured Notes Claims – classified and
                                                            Priority: $0.00
        NATHAN SLOANE Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 56                                    491     7/21/2022    Secured: $0.00
        FAMILY TRUST  Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $45,000.00
        FBO GARY                                                                                      Plan.
        BROOKNER
                                                            Total: $45,000.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                            Priority: $0.00                           Claims for Indemnification Obligations –
        HERNANDEZ,      Talen Energy
 57                                    2405    8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
        ALEJANDRO       Supply, LLC
                                                            General Unsecured: $0.00 + Unliquidated   the Plan.

                                                            Total: $0.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                            Priority: $0.00
        HERVE, ERWANN Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 58                                    531     7/24/2022    Secured: $0.00
        BENOIT        Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $10,000.00
                                                                                                      Plan.
                                                            Total: $10,000.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                            Priority: $0.00
                       Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 59     HOLT, HOWARD F                 37513   4/17/2023    Secured: $0.00
                       Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $54,000.00
                                                                                                      Plan.
                                                            Total: $54,000.00
                                                            503(b)(9): $0.00
        HUDSON                                              Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
        HERITAGE        Talen Energy                        Priority: $0.00
                                                                                                      treated as Class 4 (Unsecured Notes
 60     CAPITAL         Services       518     7/22/2022    Secured: $0.00
                                                                                                      Claims) pursuant to Article III.B (5) of the
        MANAGEMENT,     Group, LLC                          General Unsecured: $70,000.00
                                                                                                      Plan.
        INC
                                                            Total: $70,000.00
        INVESCO
                                                            503(b)(9): $0.00
        BULLETSHARES
                                                            Other Administrative: $0.00
        2028 HIGH YIELD                                                                               Unsecured Notes Claims – classified and
                                                            Priority: $0.00
        CORPORATE       Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 61                                    3412    8/1/2022     Secured: $0.00
        BOND ETF OF     Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $68,167.10
        INVESCO CAPITAL                                                                               Plan.
        MANAGEMENT
                                                            Total: $68,167.10
        LLC
        INVESCO
                                                            503(b)(9): $0.00
        BULLETSHARES
                                                            Other Administrative: $0.00
        2028 HIGH YIELD                                                                               Unsecured Notes Claims – classified and
                                                            Priority: $0.00
        CORPORATE       Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 62                                    3510    8/1/2022     Secured: $0.00
        BOND ETF OF     Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $75,800.00
        INVESCO CAPITAL                                                                               Plan.
        MANAGEMENT
                                                            Total: $75,800.00
        LLC
                                                            503(b)(9): $0.00
        INVESCO HIGH
                                                            Other Administrative: $0.00
        YIELD BOND                                                                                    Unsecured Notes Claims – classified and
                                                            Priority: $0.00
        FACTOR ETF OF   Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 63                                    3427    8/1/2022     Secured: $0.00
        INVESCO CAPITAL Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                            General Unsecured: $145,540.00
        MANAGEMENT                                                                                    Plan.
        LLC
                                                            Total: $145,540.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5136 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim                        Category
                                                             503(b)(9): $0.00
        INVESCO HIGH                                         Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
        YIELD BOND                                           Priority: $0.00
                       Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 64     FACTOR FUND OF                   3519   8/1/2022     Secured: $0.00
                       Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
        INVESCO                                              General Unsecured: $121,798.72
                                                                                                       Plan.
        ADVISERS INC.
                                                             Total: $121,798.72
                                                             503(b)(9): $0.00
        INVESCO HIGH                                         Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
        YIELD MUNICIPAL                                      Priority: $0.00
                        Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 65     FUND OF                          3430   8/1/2022     Secured: $0.00
                        Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
        INVESCO                                              General Unsecured: $5,206,687.50
                                                                                                       Plan.
        ADVISORS INC.
                                                             Total: $5,206,687.50
                                                             503(b)(9): $0.00
        INVESCO SHORT
                                                             Other Administrative: $0.00
        DURATION HIGH                                                                                  Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        YIELD MUNICIPAL Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 66                                      3419   8/1/2022     Secured: $0.00
        FUND OF         Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $1,249,605.00
        INVESCO                                                                                        Plan.
        ADVISERS INC.
                                                             Total: $1,249,605.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        JACYSZYN, DEBRA Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 67                                      841    7/27/2022    Secured: $0.00
        A.              Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $25,750.00
                                                                                                       Plan.
                                                             Total: $25,750.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
        JOHN DI MARCO                                                                                  Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        CHARLES SCHWAB Talen Energy                                                                    treated as Class 4 (Unsecured Notes
 68                                      336    7/13/2022    Secured: $0.00
        & CO INC CUST  Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $4,000.00
        IRA ROLLOVER                                                                                   Plan.
                                                             Total: $4,000.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        KANE JR, THOMAS Talen Energy                                                                   treated as Class 4 (Unsecured Notes
 69                                      535    7/23/2022    Secured: $0.00
        J               Supply, LLC                                                                    Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $10,325.00
                                                                                                       Plan.
                                                             Total: $10,325.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        KELLEY, DIANE    Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 70                                      2514   8/1/2022     Secured: $0.00
        DEBRA            Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $25,596.83
                                                                                                       Plan.
                                                             Total: $25,596.83
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                       Unsecured Notes Claims – classified and
                                                             Priority: $0.00
        LANDWEHR,        Talen Energy                                                                  treated as Class 4 (Unsecured Notes
 71                                      523    7/22/2022    Secured: $0.00
        MATTHIAS         Supply, LLC                                                                   Claims) pursuant to Article III.B (5) of the
                                                             General Unsecured: $2,000.00
                                                                                                       Plan.
                                                             Total: $2,000.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                             Priority: $0.00                           Claims for Indemnification Obligations –
        LEBSACK JR., DALE Talen Energy
 72                                      3193   8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
        E.                Supply, LLC
                                                             General Unsecured: $0.00 + Unliquidated   the Plan.

                                                             Total: $0.00 + Unliquidated
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5137 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim                        Category
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                Priority: $0.00                           Claims for Indemnification Obligations –
        LEBSACK JR., DALE Talen
 73                                       3339     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
        E.                Montana, LLC
                                                                General Unsecured: $0.00 + Unliquidated   the Plan.

                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Unsecured Notes Claims – classified and
                                                                Priority: $0.00
        LEEVER, MARY     Talen Energy                                                                     treated as Class 4 (Unsecured Notes
 74                                       852      7/27/2022    Secured: $0.00
        ANNE             Supply, LLC                                                                      Claims) pursuant to Article III.B (5) of the
                                                                General Unsecured: $9,752.46
                                                                                                          Plan.
                                                                Total: $9,752.46
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Intercompany Claims – classified and
                                                                Priority: $0.00
        LMBE‐MC          Brunner                                                                          treated as Class 8 (Prepetition
 75                                      5234160   6/25/2022    Secured: $0.00
        HOLDCO II LLC    Island, LLC                                                                      Intercompany Claims) pursuant to Article
                                                                General Unsecured: $1,248.00
                                                                                                          III.B (10) of the Plan.
                                                                Total: $1,248.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Intercompany Claims – classified and
        LOWER MOUNT                                             Priority: $0.00
                       Talen Energy                                                                       treated as Class 8 (Prepetition
 76     BETHEL ENERGY,                   5231913   6/25/2022    Secured: $0.00
                       Supply, LLC                                                                        Intercompany Claims) pursuant to Article
        LLC                                                     General Unsecured: $23,640,056.00
                                                                                                          III.B (10) of the Plan.
                                                                Total: $23,640,056.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Intercompany Claims – classified and
        LOWER MOUNT Talen Energy                                Priority: $0.00
                                                                                                          treated as Class 8 (Prepetition
 77     BETHEL ENERGY, Marketing,        5233215   6/25/2022    Secured: $0.00
                                                                                                          Intercompany Claims) pursuant to Article
        LLC            LLC                                      General Unsecured: $110,771,561.00
                                                                                                          III.B (10) of the Plan.
                                                                Total: $110,771,561.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Intercompany Claims – classified and
        LOWER MOUNT                                             Priority: $0.00
                                                                                                          treated as Class 8 (Prepetition
 78     BETHEL ENERGY, Montour, LLC 5233916        6/25/2022    Secured: $0.00
                                                                                                          Intercompany Claims) pursuant to Article
        LLC                                                     General Unsecured: $44,511.00
                                                                                                          III.B (10) of the Plan.
                                                                Total: $44,511.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Intercompany Claims – classified and
        LOWER MOUNT                                             Priority: $0.00
                       H.A. Wagner                                                                        treated as Class 8 (Prepetition
 79     BETHEL ENERGY,                   5234459   6/25/2022    Secured: $0.00
                       LLC                                                                                Intercompany Claims) pursuant to Article
        LLC                                                     General Unsecured: $10,162.00
                                                                                                          III.B (10) of the Plan.
                                                                Total: $10,162.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                       Newark Bay                                                                         Intercompany Claims – classified and
        LOWER MOUNT                                             Priority: $0.00
                       Cogeneration                                                                       treated as Class 8 (Prepetition
 80     BETHEL ENERGY,              5234806        6/25/2022    Secured: $0.00
                       Partnership,                                                                       Intercompany Claims) pursuant to Article
        LLC                                                     General Unsecured: $1,295.00
                       L.P.                                                                               III.B (10) of the Plan.
                                                                Total: $1,295.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                          Intercompany Claims – classified and
        LOWER MOUNT                                             Priority: $0.00
                       Raven Power                                                                        treated as Class 8 (Prepetition
 81     BETHEL ENERGY,                   5234854   6/25/2022    Secured: $0.00
                       Group LLC                                                                          Intercompany Claims) pursuant to Article
        LLC                                                     General Unsecured: $4,078.00
                                                                                                          III.B (10) of the Plan.
                                                                Total: $4,078.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5138 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                    Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
        LOWER MOUNT                                           Priority: $0.00
                       Martins                                                                      treated as Class 8 (Prepetition
 82     BETHEL ENERGY,                 5235384   6/25/2022    Secured: $0.00
                       Creek, LLC                                                                   Intercompany Claims) pursuant to Article
        LLC                                                   General Unsecured: $219,005.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $219,005.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Unsecured Notes Claims – classified and
                                                              Priority: $0.00
                        Talen Energy                                                                treated as Class 4 (Unsecured Notes
 83     LU, MINGHUA                     197      6/13/2022    Secured: $0.00
                        Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $2,600.00
                                                                                                    Plan.
                                                              Total: $2,600.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        MACKES, CAROL   Talen Energy                                                                treated as Class 4 (Unsecured Notes
 84                                     390      7/17/2022    Secured: $0.00
        N               Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $1,000.00
                                                                                                    Plan.
                                                              Total: $1,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        MARIA L. CONTE, Talen Energy                                                                treated as Class 4 (Unsecured Notes
 85                                     468      7/20/2022    Secured: $0.00
        IRA             Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $30,000.00
                                                                                                    Plan.
                                                              Total: $30,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        MARTINS CREEK, Talen Energy                                                                 treated as Class 8 (Prepetition
 86                                    5231914   6/25/2022    Secured: $0.00
        LLC            Supply, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $46,426,740.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $46,426,740.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Talen Energy                           Priority: $0.00
        MARTINS CREEK,                                                                              treated as Class 8 (Prepetition
 87                    Marketing,      5233216   6/25/2022    Secured: $0.00
        LLC                                                                                         Intercompany Claims) pursuant to Article
                       LLC                                    General Unsecured: $297,880,538.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $297,880,538.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        MARTINS CREEK, Holtwood,                                                                    treated as Class 8 (Prepetition
 88                                    5233414   6/25/2022    Secured: $0.00
        LLC            LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $440.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $440.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Realty                                 Priority: $0.00
        MARTINS CREEK,                                                                              treated as Class 8 (Prepetition
 89                    Company of      5234705   6/25/2022    Secured: $0.00
        LLC                                                                                         Intercompany Claims) pursuant to Article
                       Pennsylvania                           General Unsecured: $1,219,795.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $1,219,795.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Brunner                                Priority: $0.00
        MARTINS CREEK,                                                                              treated as Class 8 (Prepetition
 90                    Island          5234726   6/25/2022    Secured: $0.00
        LLC                                                                                         Intercompany Claims) pursuant to Article
                       Services, LLC                          General Unsecured: $9,798.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $9,798.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5139 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                    Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
                         Martins                                                                     treated as Class 8 (Prepetition
 91     MC OPCO LLC                     5235385   6/25/2022    Secured: $0.00
                         Creek, LLC                                                                  Intercompany Claims) pursuant to Article
                                                               General Unsecured: $6,772,515.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $6,772,515.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        MEINHARDT,       Talen Energy                                                                treated as Class 4 (Unsecured Notes
 92                                      398      7/18/2022    Secured: $0.00
        ROSEMARIE        Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $5,850.00
                                                                                                     Plan.
                                                               Total: $5,850.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        MELLIDES,        Talen Energy                                                                treated as Class 4 (Unsecured Notes
 93                                       62      5/24/2022    Secured: $0.00
        GEORGE           Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $40,000.00
                                                                                                     Plan.
                                                               Total: $40,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        MICHALS, JEFFREY Talen Energy                                                                treated as Class 4 (Unsecured Notes
 94                                      246      6/22/2022    Secured: $0.00
        J.               Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $13,000.00
                                                                                                     Plan.
                                                               Total: $13,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        MILHOLLIN,       Talen Energy                                                                treated as Class 4 (Unsecured Notes
 95                                     37519     4/20/2023    Secured: $0.00
        KILBERT L.       Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $14,823.60
                                                                                                     Plan.
                                                               Total: $14,823.60
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                         Talen Energy                                                                treated as Class 4 (Unsecured Notes
 96     MONROE, RYAN                     418      7/19/2022    Secured: $0.00
                         Supply, LLC                                                                 Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $100,000.00
                                                                                                     Plan.
                                                               Total: $100,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
        MONTANA                                                Priority: $0.00
                         Talen                                                                       treated as Class 8 (Prepetition
 97     GROWTH                        5233769     6/25/2022    Secured: $0.00
                         Montana, LLC                                                                Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                           General Unsecured: $163,625.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $163,625.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        MONTOUR                                                                                      treated as Class 8 (Prepetition
 98                      Montour, LLC 5233917     6/25/2022    Secured: $0.00
        SERVICES, LLC                                                                                Intercompany Claims) pursuant to Article
                                                               General Unsecured: $4,167,999.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $4,167,999.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        MONTOUR          Brunner                                                                     treated as Class 8 (Prepetition
 99                                     5234162   6/25/2022    Secured: $0.00
        SERVICES, LLC    Island, LLC                                                                 Intercompany Claims) pursuant to Article
                                                               General Unsecured: $2,498,306.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $2,498,306.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5140 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim                    Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Brunner                                Priority: $0.00
        MONTOUR                                                                                      treated as Class 8 (Prepetition
100                     Island          5234728   6/25/2022    Secured: $0.00
        SERVICES, LLC                                                                                Intercompany Claims) pursuant to Article
                        Services, LLC                          General Unsecured: $456,310.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $456,310.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Talen Energy                           Priority: $0.00
                                                                                                     treated as Class 8 (Prepetition
101     MONTOUR, LLC    Marketing,      5233217   6/25/2022    Secured: $0.00
                                                                                                     Intercompany Claims) pursuant to Article
                        LLC                                    General Unsecured: $825,417,397.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $825,417,397.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
                        Brunner                                                                      treated as Class 8 (Prepetition
102     MONTOUR, LLC                    5234161   6/25/2022    Secured: $0.00
                        Island, LLC                                                                  Intercompany Claims) pursuant to Article
                                                               General Unsecured: $644,634.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $644,634.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Brunner                                Priority: $0.00
                                                                                                     treated as Class 8 (Prepetition
103     MONTOUR, LLC    Island          5234727   6/25/2022    Secured: $0.00
                                                                                                     Intercompany Claims) pursuant to Article
                        Services, LLC                          General Unsecured: $467,643.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $467,643.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
                        Brandon                                                                      treated as Class 8 (Prepetition
104     MONTOUR, LLC                    5235245   6/25/2022    Secured: $0.00
                        Shores LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $307,115.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $307,115.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
                        Martins                                                                      treated as Class 8 (Prepetition
105     MONTOUR, LLC                    5235386   6/25/2022    Secured: $0.00
                        Creek, LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $6,118.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $6,118.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        MORRELL,        Talen Energy                                                                 treated as Class 4 (Unsecured Notes
106                                      557      7/25/2022    Secured: $0.00
        MICHAEL P.      Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $18,000.00
                                                                                                     Plan.
                                                               Total: $18,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
        MORRIS ENERGY                                          Priority: $0.00
                      Talen Energy                                                                   treated as Class 8 (Prepetition
107     MANAGEMENT                      5231915   6/25/2022    Secured: $0.00
                      Supply, LLC                                                                    Intercompany Claims) pursuant to Article
        COMPANY, LLC                                           General Unsecured: $1,134.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $1,134.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
        MORRIS ENERGY Talen Energy                             Priority: $0.00
                                                                                                     treated as Class 8 (Prepetition
108     OPERATIONS    Marketing,        5233218   6/25/2022    Secured: $0.00
                                                                                                     Intercompany Claims) pursuant to Article
        COMPANY, LLC  LLC                                      General Unsecured: $2,276,630.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $2,276,630.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5141 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                  Category
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY Lower Mount                            Priority: $0.00
                                                                                                   treated as Class 8 (Prepetition
109     OPERATIONS    Bethel      5233450       6/25/2022    Secured: $0.00
                                                                                                   Intercompany Claims) pursuant to Article
        COMPANY, LLC  Energy, LLC                            General Unsecured: $99,834.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $99,834.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY                                        Priority: $0.00
                      Brunner                                                                      treated as Class 8 (Prepetition
110     OPERATIONS                   5234163    6/25/2022    Secured: $0.00
                      Island, LLC                                                                  Intercompany Claims) pursuant to Article
        COMPANY, LLC                                         General Unsecured: $5,840.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $5,840.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY Pedricktown                            Priority: $0.00
                                                                                                   treated as Class 8 (Prepetition
111     OPERATIONS    Cogeneration 5234563      6/25/2022    Secured: $0.00
                                                                                                   Intercompany Claims) pursuant to Article
        COMPANY, LLC  Company LP                             General Unsecured: $971,793.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $971,793.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY                                        Priority: $0.00
                      Camden Plant                                                                 treated as Class 8 (Prepetition
112     OPERATIONS                    5234597   6/25/2022    Secured: $0.00
                      Holding, L.L.C.                                                              Intercompany Claims) pursuant to Article
        COMPANY, LLC                                         General Unsecured: $13,566,622.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $13,566,622.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                      Newark Bay                                                                   Intercompany Claims – classified and
        MORRIS ENERGY                                        Priority: $0.00
                      Cogeneration                                                                 treated as Class 8 (Prepetition
113     OPERATIONS                 5234807      6/25/2022    Secured: $0.00
                      Partnership,                                                                 Intercompany Claims) pursuant to Article
        COMPANY, LLC                                         General Unsecured: $1,006,690.00
                      L.P.                                                                         III.B (10) of the Plan.
                                                             Total: $1,006,690.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY                                        Priority: $0.00
                      Raven Power                                                                  treated as Class 8 (Prepetition
114     OPERATIONS                   5234855    6/25/2022    Secured: $0.00
                      Group LLC                                                                    Intercompany Claims) pursuant to Article
        COMPANY, LLC                                         General Unsecured: $2,111,696.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $2,111,696.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY                                        Priority: $0.00
                      Martins                                                                      treated as Class 8 (Prepetition
115     OPERATIONS                   5235387    6/25/2022    Secured: $0.00
                      Creek, LLC                                                                   Intercompany Claims) pursuant to Article
        COMPANY, LLC                                         General Unsecured: $341.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $341.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY York                                   Priority: $0.00
                                                                                                   treated as Class 8 (Prepetition
116     OPERATIONS    Generation     5235436    6/25/2022    Secured: $0.00
                                                                                                   Intercompany Claims) pursuant to Article
        COMPANY, LLC  Company LLC                            General Unsecured: $4,050,245.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $4,050,245.00
                                                             503(b)(9): $0.00
                      Dartmouth                              Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        MORRIS ENERGY Power                                  Priority: $0.00
                                                                                                   treated as Class 8 (Prepetition
117     OPERATIONS    Associates     5235457    6/25/2022    Secured: $0.00
                                                                                                   Intercompany Claims) pursuant to Article
        COMPANY, LLC  Limited                                General Unsecured: $1,201.00
                                                                                                   III.B (10) of the Plan.
                      Partnership
                                                             Total: $1,201.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5142 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                        Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NEWARK BAY                                                                                       Intercompany Claims – classified and
                         Talen Energy                          Priority: $0.00
        COGENERATION                                                                                     treated as Class 8 (Prepetition
118                      Marketing,     5233219   6/25/2022    Secured: $0.00
        PARTNERSHIP,                                                                                     Intercompany Claims) pursuant to Article
                         LLC                                   General Unsecured: $43,852,931.00
        L.P.                                                                                             III.B (10) of the Plan.
                                                               Total: $43,852,931.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
        NEWARK BAY                                                                                       Intercompany Claims – classified and
                         Pedricktown                           Priority: $0.00
        COGENERATION                                                                                     treated as Class 8 (Prepetition
119                      Cogeneration 5234564     6/25/2022    Secured: $0.00
        PARTNERSHIP,                                                                                     Intercompany Claims) pursuant to Article
                         Company LP                            General Unsecured: $7,993.00
        L.P.                                                                                             III.B (10) of the Plan.
                                                               Total: $7,993.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                        Newark Bay                                                                       Intercompany Claims – classified and
        NEWARK BAY                                             Priority: $0.00
                        Cogeneration                                                                     treated as Class 8 (Prepetition
120     HOLDING                      5234808      6/25/2022    Secured: $0.00
                        Partnership,                                                                     Intercompany Claims) pursuant to Article
        COMPANY, L.L.C.                                        General Unsecured: $2,732,466.00
                        L.P.                                                                             III.B (10) of the Plan.
                                                               Total: $2,732,466.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        NORTHEAST GAS                                          Priority: $0.00
                      Talen Energy                                                                       treated as Class 8 (Prepetition
121     GENERATION                      5231916   6/25/2022    Secured: $0.00
                      Supply, LLC                                                                        Intercompany Claims) pursuant to Article
        HOLDINGS, LLC                                          General Unsecured: $3,441,314.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $3,441,314.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        NORTHEAST GAS Talen Energy                             Priority: $0.00
                                                                                                         treated as Class 8 (Prepetition
122     GENERATION    Marketing,        5233220   6/25/2022    Secured: $0.00
                                                                                                         Intercompany Claims) pursuant to Article
        HOLDINGS, LLC LLC                                      General Unsecured: $21,962,813.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $21,962,813.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00                           Claims for Indemnification Obligations –
                         Talen
123     OBIE, DAMON                      2169     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
                         Montana, LLC
                                                               General Unsecured: $0.00 + Unliquidated   the Plan.

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                         Talen Energy                                                                    treated as Class 4 (Unsecured Notes
124     OLSEN, KRISTIN B                 278      6/29/2022    Secured: $0.00
                         Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $4,650.00
                                                                                                         Plan.
                                                               Total: $4,650.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                         Talen Energy                                                                    treated as Class 4 (Unsecured Notes
125     OLSEN, KRISTIN B                 290      7/1/2022     Secured: $0.00
                         Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $6,000.00
                                                                                                         Plan.
                                                               Total: $6,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                         Talen Energy                                                                    treated as Class 4 (Unsecured Notes
126     OLSEN, SIRI A                    280      6/30/2022    Secured: $0.00
                         Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $6,000.00
                                                                                                         Plan.
                                                               Total: $6,000.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5143 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                        Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        PEDRICKTOWN      Talen Energy                          Priority: $0.00
                                                                                                         treated as Class 8 (Prepetition
127     COGENERATION     Marketing,     5233221   6/25/2022    Secured: $0.00
                                                                                                         Intercompany Claims) pursuant to Article
        COMPANY LP       LLC                                   General Unsecured: $27,102,723.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $27,102,723.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        PEDRICKTOWN                                            Priority: $0.00
                         York Plant                                                                      treated as Class 8 (Prepetition
128     COGENERATION                    5233365   6/25/2022    Secured: $0.00
                         Holding, LLC                                                                    Intercompany Claims) pursuant to Article
        COMPANY LP                                             General Unsecured: $22.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $22.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        PEDRICKTOWN      Sapphire                              Priority: $0.00
                                                                                                         treated as Class 8 (Prepetition
129     COGENERATION     Power          5233404   6/25/2022    Secured: $0.00
                                                                                                         Intercompany Claims) pursuant to Article
        COMPANY LP       Finance LLC                           General Unsecured: $9,444,031.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $9,444,031.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        PEDRICKTOWN      York                                  Priority: $0.00
                                                                                                         treated as Class 8 (Prepetition
130     COGENERATION     Generation     5235437   6/25/2022    Secured: $0.00
                                                                                                         Intercompany Claims) pursuant to Article
        COMPANY LP       Company LLC                           General Unsecured: $83,361.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $83,361.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $4,910.00
        PERLMUTTER,      Talen Energy                                                                    treated as Class 4 (Unsecured Notes
131                                      309      7/9/2022     Secured: $0.00
        ADAM             Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $0.00
                                                                                                         Plan.
                                                               Total: $4,910.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00                           Claims for Indemnification Obligations –
        PLAGENS,         Talen
132                                      1799     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
        ANTHONY J        Montana, LLC
                                                               General Unsecured: $0.00 + Unliquidated   the Plan.

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
                                                               Priority: $0.00
                         H.A. Wagner                                                                     treated as Class 8 (Prepetition
133     RAVEN LOT 15 LLC                5234460   6/25/2022    Secured: $0.00
                         LLC                                                                             Intercompany Claims) pursuant to Article
                                                               General Unsecured: $546,663.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $546,663.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
                                                               Priority: $0.00
                         Brandon                                                                         treated as Class 8 (Prepetition
134     RAVEN LOT 15 LLC                5235246   6/25/2022    Secured: $0.00
                         Shores LLC                                                                      Intercompany Claims) pursuant to Article
                                                               General Unsecured: $26,342.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $26,342.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
                                                               Priority: $0.00
        RAVEN POWER      Talen Energy                                                                    treated as Class 8 (Prepetition
135                                     5231917   6/25/2022    Secured: $0.00
        FINANCE LLC      Supply, LLC                                                                     Intercompany Claims) pursuant to Article
                                                               General Unsecured: $35,663,264.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $35,663,264.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5144 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                  Category
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                       Raven Power                                                                 Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Fort                                                                        treated as Class 8 (Prepetition
136                                   5233380   6/25/2022    Secured: $0.00
        FINANCE LLC    Smallwood                                                                   Intercompany Claims) pursuant to Article
                                                             General Unsecured: $1,521,261.00
                       LLC                                                                         III.B (10) of the Plan.
                                                             Total: $1,521,261.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Raven Power                                                                 treated as Class 8 (Prepetition
137                                   5233455   6/25/2022    Secured: $0.00
        FINANCE LLC    Property LLC                                                                Intercompany Claims) pursuant to Article
                                                             General Unsecured: $8,177,746.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $8,177,746.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Raven Power                                                                 treated as Class 8 (Prepetition
138                                   5234856   6/25/2022    Secured: $0.00
        FINANCE LLC    Group LLC                                                                   Intercompany Claims) pursuant to Article
                                                             General Unsecured: $69,283,525.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $69,283,525.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Raven Lot 15                                                                treated as Class 8 (Prepetition
139                                   5235414   6/25/2022    Secured: $0.00
        FINANCE LLC    LLC                                                                         Intercompany Claims) pursuant to Article
                                                             General Unsecured: $4,291,194.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $4,291,194.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        RAVEN POWER                                          Priority: $0.00
                      H.A. Wagner                                                                  treated as Class 8 (Prepetition
140     FORT                          5234461   6/25/2022    Secured: $0.00
                      LLC                                                                          Intercompany Claims) pursuant to Article
        SMALLWOOD LLC                                        General Unsecured: $651,185.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $651,185.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        RAVEN POWER   Talen                                  Priority: $0.00
                                                                                                   treated as Class 8 (Prepetition
141     FORT          Generation,     5234670   6/25/2022    Secured: $0.00
                                                                                                   Intercompany Claims) pursuant to Article
        SMALLWOOD LLC LLC                                    General Unsecured: $11,055.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $11,055.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        RAVEN POWER                                          Priority: $0.00
                      Raven Lot 15                                                                 treated as Class 8 (Prepetition
142     FORT                          5235415   6/25/2022    Secured: $0.00
                      LLC                                                                          Intercompany Claims) pursuant to Article
        SMALLWOOD LLC                                        General Unsecured: $47,280.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $47,280.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        RAVEN POWER                                          Priority: $0.00
                       Talen Energy                                                                treated as Class 8 (Prepetition
143     GENERATION                    5231918   6/25/2022    Secured: $0.00
                       Supply, LLC                                                                 Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                         General Unsecured: $2,566,688.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $2,566,688.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
        RAVEN POWER    Talen Energy                          Priority: $0.00
                                                                                                   treated as Class 8 (Prepetition
144     GENERATION     Marketing,     5233222   6/25/2022    Secured: $0.00
                                                                                                   Intercompany Claims) pursuant to Article
        HOLDINGS LLC   LLC                                   General Unsecured: $6,071,983.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $6,071,983.00
               Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5145 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                  Category
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                       Raven Power                                                                Intercompany Claims – classified and
        RAVEN POWER                                         Priority: $0.00
                       Fort                                                                       treated as Class 8 (Prepetition
145     GENERATION                   5233381   6/25/2022    Secured: $0.00
                       Smallwood                                                                  Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                        General Unsecured: $31,413.00
                       LLC                                                                        III.B (10) of the Plan.
                                                            Total: $31,413.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                  Intercompany Claims – classified and
        RAVEN POWER                                         Priority: $0.00
                       H.A. Wagner                                                                treated as Class 8 (Prepetition
146     GENERATION                   5234462   6/25/2022    Secured: $0.00
                       LLC                                                                        Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                        General Unsecured: $8,237,009.00
                                                                                                  III.B (10) of the Plan.
                                                            Total: $8,237,009.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                  Intercompany Claims – classified and
        RAVEN POWER                                         Priority: $0.00
                       Brandon                                                                    treated as Class 8 (Prepetition
147     GENERATION                   5235247   6/25/2022    Secured: $0.00
                       Shores LLC                                                                 Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                        General Unsecured: $19,536,653.00
                                                                                                  III.B (10) of the Plan.
                                                            Total: $19,536,653.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                       Raven Power                                                                Intercompany Claims – classified and
                                                            Priority: $0.00
        RAVEN POWER    Fort                                                                       treated as Class 8 (Prepetition
148                                  5233382   6/25/2022    Secured: $0.00
        GROUP LLC      Smallwood                                                                  Intercompany Claims) pursuant to Article
                                                            General Unsecured: $75,878.00
                       LLC                                                                        III.B (10) of the Plan.
                                                            Total: $75,878.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                  Intercompany Claims – classified and
                                                            Priority: $0.00
        RAVEN POWER                                                                               treated as Class 8 (Prepetition
149                    Montour, LLC 5233918    6/25/2022    Secured: $0.00
        GROUP LLC                                                                                 Intercompany Claims) pursuant to Article
                                                            General Unsecured: $4,367.00
                                                                                                  III.B (10) of the Plan.
                                                            Total: $4,367.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                  Intercompany Claims – classified and
                                                            Priority: $0.00
        RAVEN POWER    Brunner                                                                    treated as Class 8 (Prepetition
150                                  5234164   6/25/2022    Secured: $0.00
        GROUP LLC      Island, LLC                                                                Intercompany Claims) pursuant to Article
                                                            General Unsecured: $41,822.00
                                                                                                  III.B (10) of the Plan.
                                                            Total: $41,822.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                  Intercompany Claims – classified and
                                                            Priority: $0.00
        RAVEN POWER    H.A. Wagner                                                                treated as Class 8 (Prepetition
151                                  5234463   6/25/2022    Secured: $0.00
        GROUP LLC      LLC                                                                        Intercompany Claims) pursuant to Article
                                                            General Unsecured: $75,863,288.00
                                                                                                  III.B (10) of the Plan.
                                                            Total: $75,863,288.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                  Intercompany Claims – classified and
                       Talen                                Priority: $0.00
        RAVEN POWER                                                                               treated as Class 8 (Prepetition
152                    Generation,   5234671   6/25/2022    Secured: $0.00
        GROUP LLC                                                                                 Intercompany Claims) pursuant to Article
                       LLC                                  General Unsecured: $18,488,226.00
                                                                                                  III.B (10) of the Plan.
                                                            Total: $18,488,226.00
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                       Newark Bay                                                                 Intercompany Claims – classified and
                                                            Priority: $0.00
        RAVEN POWER    Cogeneration                                                               treated as Class 8 (Prepetition
153                                 5234809    6/25/2022    Secured: $0.00
        GROUP LLC      Partnership,                                                               Intercompany Claims) pursuant to Article
                                                            General Unsecured: $8,115.00
                       L.P.                                                                       III.B (10) of the Plan.
                                                            Total: $8,115.00
               Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5146 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                  Category
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Brandon                                                                     treated as Class 8 (Prepetition
154                                   5235248   6/25/2022    Secured: $0.00
        GROUP LLC      Shores LLC                                                                  Intercompany Claims) pursuant to Article
                                                             General Unsecured: $153,774,302.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $153,774,302.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Martins                                                                     treated as Class 8 (Prepetition
155                                   5235388   6/25/2022    Secured: $0.00
        GROUP LLC      Creek, LLC                                                                  Intercompany Claims) pursuant to Article
                                                             General Unsecured: $9,305.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $9,305.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Raven Lot 15                                                                treated as Class 8 (Prepetition
156                                   5235416   6/25/2022    Secured: $0.00
        GROUP LLC      LLC                                                                         Intercompany Claims) pursuant to Article
                                                             General Unsecured: $3,359,461.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $3,359,461.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                       Raven Power                                                                 Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Fort                                                                        treated as Class 8 (Prepetition
157                                   5233383   6/25/2022    Secured: $0.00
        PROPERTY LLC   Smallwood                                                                   Intercompany Claims) pursuant to Article
                                                             General Unsecured: $35,178.00
                       LLC                                                                         III.B (10) of the Plan.
                                                             Total: $35,178.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER                                                                                treated as Class 8 (Prepetition
158                    Montour, LLC 5233919     6/25/2022    Secured: $0.00
        PROPERTY LLC                                                                               Intercompany Claims) pursuant to Article
                                                             General Unsecured: $2,321.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $2,321.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Brunner                                                                     treated as Class 8 (Prepetition
159                                   5234165   6/25/2022    Secured: $0.00
        PROPERTY LLC   Island, LLC                                                                 Intercompany Claims) pursuant to Article
                                                             General Unsecured: $29,665.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $29,665.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    H.A. Wagner                                                                 treated as Class 8 (Prepetition
160                                   5234464   6/25/2022    Secured: $0.00
        PROPERTY LLC   LLC                                                                         Intercompany Claims) pursuant to Article
                                                             General Unsecured: $5,941,330.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $5,941,330.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Raven Power                                                                 treated as Class 8 (Prepetition
161                                   5234857   6/25/2022    Secured: $0.00
        PROPERTY LLC   Group LLC                                                                   Intercompany Claims) pursuant to Article
                                                             General Unsecured: $767,456.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $767,456.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                   Intercompany Claims – classified and
                                                             Priority: $0.00
        RAVEN POWER    Brandon                                                                     treated as Class 8 (Prepetition
162                                   5235249   6/25/2022    Secured: $0.00
        PROPERTY LLC   Shores LLC                                                                  Intercompany Claims) pursuant to Article
                                                             General Unsecured: $19,769,761.00
                                                                                                   III.B (10) of the Plan.
                                                             Total: $19,769,761.00
                  Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5147 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                            Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Intercompany Claims – classified and
        REALTY                                                Priority: $0.00
                        Talen Energy                                                                        treated as Class 8 (Prepetition
163     COMPANY OF                     5231919   6/25/2022    Secured: $0.00
                        Supply, LLC                                                                         Intercompany Claims) pursuant to Article
        PENNSYLVANIA                                          General Unsecured: $14,874,760.00
                                                                                                            III.B (10) of the Plan.
                                                              Total: $14,874,760.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Unsecured Notes Claims – classified and
        Rios Felce,                                           Priority: $0.00
                        Talen Energy                                                                        treated as Class 4 (Unsecured Notes
164     Morelba                         2044     7/30/2022    Secured: $0.00
                        Supply, LLC                                                                         Claims) pursuant to Article III.B (5) of the
        Coromoto                                              General Unsecured: $4,200.00 + Unliquidated
                                                                                                            Plan.
                                                              Total: $4,200.00 + Unliquidated
                                                              503(b)(9): $0.00
        ROBINSON LIVING
                                                              Other Administrative: $0.00
        TRUST, DATED                                                                                        Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        3/3/1995, AS    Talen Energy                                                                        treated as Class 4 (Unsecured Notes
165                                     1817     7/29/2022    Secured: $0.00
        AMENDED AND Supply, LLC                                                                             Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $206,000.00
        RESTATED                                                                                            Plan.
        4/25/2016
                                                              Total: $206,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Unsecured Notes Claims – classified and
                                                              Priority: $0.00
        ROTH IRA FBO    Talen Energy                                                                        treated as Class 4 (Unsecured Notes
166                                     639      7/26/2022    Secured: $0.00
        ALICE BRUNO     Supply, LLC                                                                         Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $10,000.00
                                                                                                            Plan.
                                                              Total: $10,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Unsecured Notes Claims – classified and
                                                              Priority: $0.00
                        Talen Energy                                                                        treated as Class 4 (Unsecured Notes
167     RUSSO, ROBERT                   3586     8/8/2022     Secured: $0.00
                        Supply, LLC                                                                         Claims) pursuant to Article III.B (5) of the
                                                              General Unsecured: $25,000.00
                                                                                                            Plan.
                                                              Total: $25,000.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Intercompany Claims – classified and
                                                              Priority: $0.00
        SAPPHIRE POWER Talen Energy                                                                         treated as Class 8 (Prepetition
168                                    5231920   6/25/2022    Secured: $0.00
        FINANCE LLC    Supply, LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $4,704,152.00
                                                                                                            III.B (10) of the Plan.
                                                              Total: $4,704,152.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Intercompany Claims – classified and
                       Talen Energy                           Priority: $0.00
        SAPPHIRE POWER                                                                                      treated as Class 8 (Prepetition
169                    Marketing,      5233223   6/25/2022    Secured: $0.00
        FINANCE LLC                                                                                         Intercompany Claims) pursuant to Article
                       LLC                                    General Unsecured: $22,370,153.00
                                                                                                            III.B (10) of the Plan.
                                                              Total: $22,370,153.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                       Newark Bay                                                                           Intercompany Claims – classified and
                                                              Priority: $0.00
        SAPPHIRE POWER Cogeneration                                                                         treated as Class 8 (Prepetition
170                                 5234810      6/25/2022    Secured: $0.00
        FINANCE LLC    Partnership,                                                                         Intercompany Claims) pursuant to Article
                                                              General Unsecured: $14,961,336.00
                       L.P.                                                                                 III.B (10) of the Plan.
                                                              Total: $14,961,336.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                            Intercompany Claims – classified and
        SAPPHIRE POWER                                        Priority: $0.00
                       Talen Energy                                                                         treated as Class 8 (Prepetition
171     GENERATION                     5231921   6/25/2022    Secured: $0.00
                       Supply, LLC                                                                          Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                          General Unsecured: $9,675,547.00
                                                                                                            III.B (10) of the Plan.
                                                              Total: $9,675,547.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5148 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                  Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
        SAPPHIRE POWER Sapphire                               Priority: $0.00
                                                                                                    treated as Class 8 (Prepetition
172     GENERATION     Power          5233405    6/25/2022    Secured: $0.00
                                                                                                    Intercompany Claims) pursuant to Article
        HOLDINGS LLC   Finance LLC                            General Unsecured: $6,123,058.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $6,123,058.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
        SAPPHIRE POWER Pedricktown                            Priority: $0.00
                                                                                                    treated as Class 8 (Prepetition
173     GENERATION     Cogeneration 5234565      6/25/2022    Secured: $0.00
                                                                                                    Intercompany Claims) pursuant to Article
        HOLDINGS LLC   Company LP                             General Unsecured: $3,672,160.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $3,672,160.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
        SAPPHIRE POWER                                        Priority: $0.00
                       Camden Plant                                                                 treated as Class 8 (Prepetition
174     GENERATION                     5234598   6/25/2022    Secured: $0.00
                       Holding, L.L.C.                                                              Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                          General Unsecured: $14,762,570.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $14,762,570.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                       Newark Bay                                                                   Intercompany Claims – classified and
        SAPPHIRE POWER                                        Priority: $0.00
                       Cogeneration                                                                 treated as Class 8 (Prepetition
175     GENERATION                  5234811      6/25/2022    Secured: $0.00
                       Partnership,                                                                 Intercompany Claims) pursuant to Article
        HOLDINGS LLC                                          General Unsecured: $1,865,308.00
                       L.P.                                                                         III.B (10) of the Plan.
                                                              Total: $1,865,308.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
        SAPPHIRE POWER York                                   Priority: $0.00
                                                                                                    treated as Class 8 (Prepetition
176     GENERATION     Generation     5235438    6/25/2022    Secured: $0.00
                                                                                                    Intercompany Claims) pursuant to Article
        HOLDINGS LLC   Company LLC                            General Unsecured: $84,385.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $84,385.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Talen Energy                           Priority: $0.00
        SAPPHIRE POWER                                                                              treated as Class 8 (Prepetition
177                    Marketing,     5233224    6/25/2022    Secured: $0.00
        MARKETING LLC                                                                               Intercompany Claims) pursuant to Article
                       LLC                                    General Unsecured: $25,774,784.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $25,774,784.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Sapphire                               Priority: $0.00
        SAPPHIRE POWER                                                                              treated as Class 8 (Prepetition
178                    Power          5233406    6/25/2022    Secured: $0.00
        MARKETING LLC                                                                               Intercompany Claims) pursuant to Article
                       Finance LLC                            General Unsecured: $9,981,891.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $9,981,891.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Pedricktown                            Priority: $0.00
        SAPPHIRE POWER                                                                              treated as Class 8 (Prepetition
179                    Cogeneration 5234566      6/25/2022    Secured: $0.00
        MARKETING LLC                                                                               Intercompany Claims) pursuant to Article
                       Company LP                             General Unsecured: $148,617.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $148,617.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        SAPPHIRE POWER Camden Plant                                                                 treated as Class 8 (Prepetition
180                                   5234599    6/25/2022    Secured: $0.00
        MARKETING LLC Holding, L.L.C.                                                               Intercompany Claims) pursuant to Article
                                                              General Unsecured: $304.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $304.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5149 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                     Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                       Newark Bay                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        SAPPHIRE POWER Cogeneration                                                                   treated as Class 8 (Prepetition
181                                 5234812       6/25/2022    Secured: $0.00
        MARKETING LLC Partnership,                                                                    Intercompany Claims) pursuant to Article
                                                               General Unsecured: $122,829.00
                       L.P.                                                                           III.B (10) of the Plan.
                                                               Total: $122,829.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        SCHWARZ,         Talen Energy                                                                 treated as Class 4 (Unsecured Notes
182                                      530      7/24/2022    Secured: $0.00
        THOMAS W         Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $10,000.00
                                                                                                      Plan.
                                                               Total: $10,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        SLOCKBOWER,      Talen Energy                                                                 treated as Class 4 (Unsecured Notes
183                                      616      7/26/2022    Secured: $0.00
        BARBARA A.       Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $5,000.00
                                                                                                      Plan.
                                                               Total: $5,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        SNEED JR, ALBERT Talen Energy                                                                 treated as Class 4 (Unsecured Notes
184                                      545      7/25/2022    Secured: $0.00
        L                Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $10,000.00
                                                                                                      Plan.
                                                               Total: $10,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        SNEED, JR.,      Talen Energy                                                                 treated as Class 4 (Unsecured Notes
185                                      512      7/22/2022    Secured: $0.00
        ALBERT L.        Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $10,000.00
                                                                                                      Plan.
                                                               Total: $10,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        STEVENSON,       Talen Energy                                                                 treated as Class 4 (Unsecured Notes
186                                     37512     4/17/2023    Secured: $0.00
        KEITH A          Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $20,000.00
                                                                                                      Plan.
                                                               Total: $20,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        STURDIVANT,      Talen Energy                                                                 treated as Class 4 (Unsecured Notes
187                                      2586     8/1/2022     Secured: $0.00
        JOHN             Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $10,000.00
                                                                                                      Plan.
                                                               Total: $10,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                         Talen Energy                          Priority: $0.00
        SUSQUEHANNA                                                                                   treated as Class 8 (Prepetition
188                      Marketing,     5233225   6/25/2022    Secured: $0.00
        NUCLEAR, LLC                                                                                  Intercompany Claims) pursuant to Article
                         LLC                                   General Unsecured: $1,763,611,692.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $1,763,611,692.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN ENERGY   RMGL                                                                           treated as Class 8 (Prepetition
189                                     5231830   6/25/2022    Secured: $0.00
        MARKETING, LLC Holdings LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $55,153.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $55,153.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5150 of 5163
           Name of
Ref #      Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                   Category
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Talen Energy                                                                 treated as Class 8 (Prepetition
190                                   5231922   6/25/2022    Secured: $0.00
        MARKETING, LLC Supply, LLC                                                                  Intercompany Claims) pursuant to Article
                                                             General Unsecured: $5,966,846,718.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $5,966,846,718.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Holtwood,                                                                    treated as Class 8 (Prepetition
191                                   5233415   6/25/2022    Secured: $0.00
        MARKETING, LLC LLC                                                                          Intercompany Claims) pursuant to Article
                                                             General Unsecured: $33,354.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $33,354.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Nueces Bay,                                                                  treated as Class 8 (Prepetition
192                                   5233529   6/25/2022    Secured: $0.00
        MARKETING, LLC LLC                                                                          Intercompany Claims) pursuant to Article
                                                             General Unsecured: $195,156,096.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $195,156,096.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Realty                                Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
193                    Company of     5234706   6/25/2022    Secured: $0.00
        MARKETING, LLC                                                                              Intercompany Claims) pursuant to Article
                       Pennsylvania                          General Unsecured: $7,542.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $7,542.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Talen Texas                                                                  treated as Class 8 (Prepetition
194                                   5234735   6/25/2022    Secured: $0.00
        MARKETING, LLC Group, LLC                                                                   Intercompany Claims) pursuant to Article
                                                             General Unsecured: $48,637.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $48,637.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Pennsylvania                                                                 treated as Class 8 (Prepetition
195                                   5234758   6/25/2022    Secured: $0.00
        MARKETING, LLC Mines, LLC                                                                   Intercompany Claims) pursuant to Article
                                                             General Unsecured: $319,082.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $319,082.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Raven Power                                                                  treated as Class 8 (Prepetition
196                                   5234858   6/25/2022    Secured: $0.00
        MARKETING, LLC Group LLC                                                                    Intercompany Claims) pursuant to Article
                                                             General Unsecured: $118,446.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $118,446.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
197                    Laredo, LLC    5235525   6/25/2022    Secured: $0.00
        MARKETING, LLC                                                                              Intercompany Claims) pursuant to Article
                                                             General Unsecured: $60,015,394.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $60,015,394.00
                                                             503(b)(9): $0.00
                                                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                             Priority: $0.00
        TALEN ENERGY   Barney Davis,                                                                treated as Class 8 (Prepetition
198                                  5235610    6/25/2022    Secured: $0.00
        MARKETING, LLC LLC                                                                          Intercompany Claims) pursuant to Article
                                                             General Unsecured: $132,609,269.00
                                                                                                    III.B (10) of the Plan.
                                                             Total: $132,609,269.00
               Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5151 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim                  Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   RMGL                                                                         treated as Class 8 (Prepetition
199                                    5231831   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Holdings LLC                                                                 Intercompany Claims) pursuant to Article
                                                              General Unsecured: $2,362,487.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $2,362,487.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   York Plant                                                                   treated as Class 8 (Prepetition
200                                    5233366   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Holding, LLC                                                                 Intercompany Claims) pursuant to Article
                                                              General Unsecured: $807,883.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $807,883.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                       Raven Power                                                                  Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Fort                                                                         treated as Class 8 (Prepetition
201                                    5233384   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Smallwood                                                                    Intercompany Claims) pursuant to Article
                                                              General Unsecured: $1,244,782.00
                       LLC                                                                          III.B (10) of the Plan.
                                                              Total: $1,244,782.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Holtwood,                                                                    treated as Class 8 (Prepetition
202                                    5233416   6/25/2022    Secured: $0.00
        SUPPLY, LLC    LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $144,113,488.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $144,113,488.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Talen Energy                           Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
203                    Services        5233429   6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                       Holdings, LLC                          General Unsecured: $609,396.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $609,396.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Montour                                                                      treated as Class 8 (Prepetition
204                                    5233433   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Services, LLC                                                                Intercompany Claims) pursuant to Article
                                                              General Unsecured: $26,972,683.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $26,972,683.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Raven Power                                                                  treated as Class 8 (Prepetition
205                                    5233456   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Property LLC                                                                 Intercompany Claims) pursuant to Article
                                                              General Unsecured: $22,273,886.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $22,273,886.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Nueces Bay,                                                                  treated as Class 8 (Prepetition
206                                    5233530   6/25/2022    Secured: $0.00
        SUPPLY, LLC    LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $127,934,494.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $127,934,494.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
207                    Montour, LLC 5233920      6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                                                              General Unsecured: $609,735,566.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $609,735,566.00
               Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5152 of 5163
           Name of
Ref #      Claimant    Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim                  Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Raven FS                               Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
208                    Property        5234142   6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                       Holdings LLC                           General Unsecured: $1,880,904.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $1,880,904.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Brunner                                                                      treated as Class 8 (Prepetition
209                                    5234166   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Island, LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $241,279,267.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $241,279,267.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   H.A. Wagner                                                                  treated as Class 8 (Prepetition
210                                    5234465   6/25/2022    Secured: $0.00
        SUPPLY, LLC    LLC                                                                          Intercompany Claims) pursuant to Article
                                                              General Unsecured: $176,604,619.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $176,604,619.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Pedricktown                            Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
211                    Cogeneration 5234567      6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                       Company LP                             General Unsecured: $39,383,253.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $39,383,253.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Camden Plant                                                                 treated as Class 8 (Prepetition
212                                    5234600   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Holding, L.L.C.                                                              Intercompany Claims) pursuant to Article
                                                              General Unsecured: $21,996,387.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $21,996,387.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                       Brunner                                Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
213                    Island          5234729   6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                       Services, LLC                          General Unsecured: $4,262,802.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $4,262,802.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Talen Texas                                                                  treated as Class 8 (Prepetition
214                                    5234736   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Group, LLC                                                                   Intercompany Claims) pursuant to Article
                                                              General Unsecured: $39,379,317.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $39,379,317.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Pennsylvania                                                                 treated as Class 8 (Prepetition
215                                    5234759   6/25/2022    Secured: $0.00
        SUPPLY, LLC    Mines, LLC                                                                   Intercompany Claims) pursuant to Article
                                                              General Unsecured: $2,888,712.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $2,888,712.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                       Newark Bay                                                                   Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY   Cogeneration                                                                 treated as Class 8 (Prepetition
216                                 5234813      6/25/2022    Secured: $0.00
        SUPPLY, LLC    Partnership,                                                                 Intercompany Claims) pursuant to Article
                                                              General Unsecured: $36,784,378.00
                       L.P.                                                                         III.B (10) of the Plan.
                                                              Total: $36,784,378.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5153 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #     Date Filed                   Non‐GUC Trust Claim                  Category
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY    Raven Power                                                                 treated as Class 8 (Prepetition
217                                    5234859   6/25/2022    Secured: $0.00
        SUPPLY, LLC     Group LLC                                                                   Intercompany Claims) pursuant to Article
                                                              General Unsecured: $210,194,104.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $210,194,104.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY    Susquehanna                                                                 treated as Class 8 (Prepetition
218                                  5234880     6/25/2022    Secured: $0.00
        SUPPLY, LLC     Nuclear, LLC                                                                Intercompany Claims) pursuant to Article
                                                              General Unsecured: $894,896,329.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $894,896,329.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY    Brandon                                                                     treated as Class 8 (Prepetition
219                                    5235250   6/25/2022    Secured: $0.00
        SUPPLY, LLC     Shores LLC                                                                  Intercompany Claims) pursuant to Article
                                                              General Unsecured: $753,243,621.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $753,243,621.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY    Raven Lot 15                                                                treated as Class 8 (Prepetition
220                                    5235417   6/25/2022    Secured: $0.00
        SUPPLY, LLC     LLC                                                                         Intercompany Claims) pursuant to Article
                                                              General Unsecured: $19,102,378.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $19,102,378.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                        York                                  Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
221                     Generation     5235439   6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                        Company LLC                           General Unsecured: $1,309,098.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $1,309,098.00
                                                              503(b)(9): $0.00
                        Dartmouth                             Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                        Power                                 Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
222                     Associates     5235458   6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                        Limited                               General Unsecured: $47,290,812.00
                                                                                                    III.B (10) of the Plan.
                        Partnership
                                                              Total: $47,290,812.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY                                                                                treated as Class 8 (Prepetition
223                     Laredo, LLC    5235526   6/25/2022    Secured: $0.00
        SUPPLY, LLC                                                                                 Intercompany Claims) pursuant to Article
                                                              General Unsecured: $30,304,757.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $30,304,757.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN ENERGY    Barney Davis,                                                               treated as Class 8 (Prepetition
224                                   5235611    6/25/2022    Secured: $0.00
        SUPPLY, LLC     LLC                                                                         Intercompany Claims) pursuant to Article
                                                              General Unsecured: $169,606,756.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $169,606,756.00
                                                              503(b)(9): $0.00
                                                              Other Administrative: $0.00
                                                                                                    Intercompany Claims – classified and
                                                              Priority: $0.00
        TALEN           RMGL                                                                        treated as Class 8 (Prepetition
225                                    5231832   6/25/2022    Secured: $0.00
        GENERATION, LLC Holdings LLC                                                                Intercompany Claims) pursuant to Article
                                                              General Unsecured: $8,900.00
                                                                                                    III.B (10) of the Plan.
                                                              Total: $8,900.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5154 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                   Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Talen Energy                                                                  treated as Class 8 (Prepetition
226                                     5231923   6/25/2022    Secured: $0.00
        GENERATION, LLC Supply, LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $1,536,575,615.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $1,536,575,615.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                        Talen Energy                           Priority: $0.00
        TALEN                                                                                         treated as Class 8 (Prepetition
227                     Marketing,      5233226   6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                               Intercompany Claims) pursuant to Article
                        LLC                                    General Unsecured: $25,165,783.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $25,165,783.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Holtwood,                                                                     treated as Class 8 (Prepetition
228                                     5233417   6/25/2022    Secured: $0.00
        GENERATION, LLC LLC                                                                           Intercompany Claims) pursuant to Article
                                                               General Unsecured: $2,494,123.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $2,494,123.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                        Talen Energy                           Priority: $0.00
        TALEN                                                                                         treated as Class 8 (Prepetition
229                     Services        5233430   6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                               Intercompany Claims) pursuant to Article
                        Holdings, LLC                          General Unsecured: $161.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $161.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Montour                                                                       treated as Class 8 (Prepetition
230                                     5233434   6/25/2022    Secured: $0.00
        GENERATION, LLC Services, LLC                                                                 Intercompany Claims) pursuant to Article
                                                               General Unsecured: $22,456.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $22,456.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                        Lower Mount                            Priority: $0.00
        TALEN                                                                                         treated as Class 8 (Prepetition
231                     Bethel      5233451       6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                               Intercompany Claims) pursuant to Article
                        Energy, LLC                            General Unsecured: $7,454,905.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $7,454,905.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN                                                                                         treated as Class 8 (Prepetition
232                     Montour, LLC 5233921      6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                               Intercompany Claims) pursuant to Article
                                                               General Unsecured: $20,788,633.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $20,788,633.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Brunner                                                                       treated as Class 8 (Prepetition
233                                     5234167   6/25/2022    Secured: $0.00
        GENERATION, LLC Island, LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $2,722,248.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $2,722,248.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           H.A. Wagner                                                                   treated as Class 8 (Prepetition
234                                     5234466   6/25/2022    Secured: $0.00
        GENERATION, LLC LLC                                                                           Intercompany Claims) pursuant to Article
                                                               General Unsecured: $752,789.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $752,789.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5155 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                  Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Pedricktown                            Priority: $0.00
        TALEN                                                                                        treated as Class 8 (Prepetition
235                     Cogeneration 5234568      6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                              Intercompany Claims) pursuant to Article
                        Company LP                             General Unsecured: $96,509.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $96,509.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Brunner                                Priority: $0.00
        TALEN                                                                                        treated as Class 8 (Prepetition
236                     Island          5234730   6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                              Intercompany Claims) pursuant to Article
                        Services, LLC                          General Unsecured: $511,004.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $511,004.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Pennsylvania                                                                 treated as Class 8 (Prepetition
237                                     5234760   6/25/2022    Secured: $0.00
        GENERATION, LLC Mines, LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $2,841,850.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $2,841,850.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                        Newark Bay                                                                   Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Cogeneration                                                                 treated as Class 8 (Prepetition
238                                  5234814      6/25/2022    Secured: $0.00
        GENERATION, LLC Partnership,                                                                 Intercompany Claims) pursuant to Article
                                                               General Unsecured: $77,317.00
                        L.P.                                                                         III.B (10) of the Plan.
                                                               Total: $77,317.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Brandon                                                                      treated as Class 8 (Prepetition
239                                     5235251   6/25/2022    Secured: $0.00
        GENERATION, LLC Shores LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $199,676.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $199,676.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Martins                                                                      treated as Class 8 (Prepetition
240                                     5235389   6/25/2022    Secured: $0.00
        GENERATION, LLC Creek, LLC                                                                   Intercompany Claims) pursuant to Article
                                                               General Unsecured: $20,487,538.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $20,487,538.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN           Raven Lot 15                                                                 treated as Class 8 (Prepetition
241                                     5235418   6/25/2022    Secured: $0.00
        GENERATION, LLC LLC                                                                          Intercompany Claims) pursuant to Article
                                                               General Unsecured: $183,443.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $183,443.00
                                                               503(b)(9): $0.00
                        Dartmouth                              Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                        Power                                  Priority: $0.00
        TALEN                                                                                        treated as Class 8 (Prepetition
242                     Associates      5235459   6/25/2022    Secured: $0.00
        GENERATION, LLC                                                                              Intercompany Claims) pursuant to Article
                        Limited                                General Unsecured: $35,947.00
                                                                                                     III.B (10) of the Plan.
                        Partnership
                                                               Total: $35,947.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                     Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN LAND       Talen Energy                                                                treated as Class 8 (Prepetition
243                                     5231924   6/25/2022    Secured: $0.00
        HOLDINGS, LLC    Supply, LLC                                                                 Intercompany Claims) pursuant to Article
                                                               General Unsecured: $1,489,745.00
                                                                                                     III.B (10) of the Plan.
                                                               Total: $1,489,745.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5156 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                   Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN MONTANA Talen Energy                                                                    treated as Class 8 (Prepetition
244                                     5231925   6/25/2022    Secured: $0.00
        LLC           Supply, LLC                                                                     Intercompany Claims) pursuant to Article
                                                               General Unsecured: $24,213.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $24,213.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                      Talen Energy                             Priority: $0.00
        TALEN MONTANA                                                                                 treated as Class 8 (Prepetition
245                   Marketing,        5233227   6/25/2022    Secured: $0.00
        LLC                                                                                           Intercompany Claims) pursuant to Article
                      LLC                                      General Unsecured: $2,326,542.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $2,326,542.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
        TALEN NUCLEAR                                          Priority: $0.00
                         Talen Energy                                                                 treated as Class 8 (Prepetition
246     DEVELOPMENT                     5231926   6/25/2022    Secured: $0.00
                         Supply, LLC                                                                  Intercompany Claims) pursuant to Article
        LLC                                                    General Unsecured: $37,969,605.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $37,969,605.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
        TALEN NUCLEAR    Talen Energy                          Priority: $0.00
                                                                                                      treated as Class 8 (Prepetition
247     DEVELOPMENT      Marketing,     5233228   6/25/2022    Secured: $0.00
                                                                                                      Intercompany Claims) pursuant to Article
        LLC              LLC                                   General Unsecured: $1,467.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $1,467.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
        TALEN NUCLEAR                                          Priority: $0.00
                         Susquehanna                                                                  treated as Class 8 (Prepetition
248     DEVELOPMENT                   5234881     6/25/2022    Secured: $0.00
                         Nuclear, LLC                                                                 Intercompany Claims) pursuant to Article
        LLC                                                    General Unsecured: $1,960.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $1,960.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN TEXAS      Nueces Bay,                                                                  treated as Class 8 (Prepetition
249                                     5233531   6/25/2022    Secured: $0.00
        GROUP, LLC       LLC                                                                          Intercompany Claims) pursuant to Article
                                                               General Unsecured: $9,211.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $9,211.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN TEXAS                                                                                   treated as Class 8 (Prepetition
250                      Laredo, LLC    5235527   6/25/2022    Secured: $0.00
        GROUP, LLC                                                                                    Intercompany Claims) pursuant to Article
                                                               General Unsecured: $2,103.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $2,103.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                                                               Priority: $0.00
        TALEN TEXAS      Barney Davis,                                                                treated as Class 8 (Prepetition
251                                    5235612    6/25/2022    Secured: $0.00
        GROUP, LLC       LLC                                                                          Intercompany Claims) pursuant to Article
                                                               General Unsecured: $2,593.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $2,593.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                      Intercompany Claims – classified and
                         Talen Energy                          Priority: $0.00
                                                                                                      treated as Class 8 (Prepetition
252     TALEN TEXAS, LLC Marketing,     5233229   6/25/2022    Secured: $0.00
                                                                                                      Intercompany Claims) pursuant to Article
                         LLC                                   General Unsecured: $1,601,167,921.00
                                                                                                      III.B (10) of the Plan.
                                                               Total: $1,601,167,921.00
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5157 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #       Date Filed                   Non‐GUC Trust Claim                        Category
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
                                                                                                           Intercompany Claims – classified and
                       Talen Energy                              Priority: $0.00
        TALEN TREASURE                                                                                     treated as Class 8 (Prepetition
253                    Marketing,         5233230   6/25/2022    Secured: $0.00
        STATE, LLC                                                                                         Intercompany Claims) pursuant to Article
                       LLC                                       General Unsecured: $582,639.00
                                                                                                           III.B (10) of the Plan.
                                                                 Total: $582,639.00
        THE ASTRID                                               503(b)(9): $0.00
        LINLEY                                                   Other Administrative: $0.00
                                                                                                           Unsecured Notes Claims – classified and
        IRREVOCABLE                                              Priority: $0.00
                           Talen Energy                                                                    treated as Class 4 (Unsecured Notes
254     TRUST (WILLIAM                     2210     8/1/2022     Secured: $0.00
                           Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
        H PEET III / ANITA                                       General Unsecured: $19,454.45
                                                                                                           Plan.
        S PEET ‐
        TRUSTEES)                                                Total: $19,454.45
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        THE BANK OF                                              Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK          Raven Lot 15                           Secured: $0.00                            treated as Class 4 (Unsecured Notes
255                                        1218     7/28/2022
        MELLON, AS        LLC                                    General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                                  Unliquidated                              Plan.

                                                                 Total: $1,368,781,767.62 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        THE BANK OF                                              Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK          Talen Energy                           Secured: $0.00                            treated as Class 4 (Unsecured Notes
256                                        1226     7/28/2022
        MELLON, AS        Supply, LLC                            General Unsecured: $101,226,666.71 +      Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                                  Unliquidated                              Plan.

                                                                 Total: $101,226,666.71 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        THE BANK OF                                              Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK          H.A. Wagner                            Secured: $0.00                            treated as Class 4 (Unsecured Notes
257                                        1396     7/28/2022
        MELLON, AS        LLC                                    General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                                  Unliquidated                              Plan.

                                                                 Total: $1,368,781,767.62 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        THE BANK OF                                              Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK          Martins                                Secured: $0.00                            treated as Class 4 (Unsecured Notes
258                                        1405     7/28/2022
        MELLON, AS        Creek, LLC                             General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                                  Unliquidated                              Plan.

                                                                 Total: $1,368,781,767.62 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        THE BANK OF                                              Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK          Talen Energy                           Secured: $0.00                            treated as Class 4 (Unsecured Notes
259                                        1408     7/28/2022
        MELLON, AS        Supply, LLC                            General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                                  Unliquidated                              Plan.

                                                                 Total: $1,368,781,767.62 + Unliquidated
                                                                 503(b)(9): $0.00
                                                                 Other Administrative: $0.00
        THE BANK OF                                              Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK          Brandon                                Secured: $0.00                            treated as Class 4 (Unsecured Notes
260                                        1414     7/28/2022
        MELLON, AS        Shores LLC                             General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                                  Unliquidated                              Plan.

                                                                 Total: $1,368,781,767.62 + Unliquidated
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5158 of 5163
           Name of
Ref #      Claimant   Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim                        Category
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
                      Raven FS
        NEW YORK                                          Secured: $0.00                            treated as Class 4 (Unsecured Notes
261                   Property        1419   7/28/2022
        MELLON, AS                                        General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
                      Holdings LLC
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
                      Lower Mount
        NEW YORK                                          Secured: $0.00                            treated as Class 4 (Unsecured Notes
262                   Bethel          1433   7/28/2022
        MELLON, AS                                        General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
                      Energy, LLC
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF   Raven Power                         Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK      Fort                                Secured: $0.00                            treated as Class 4 (Unsecured Notes
263                                   1435   7/28/2022
        MELLON, AS    Smallwood                           General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE       LLC                                 Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK      Brunner                             Secured: $0.00                            treated as Class 4 (Unsecured Notes
264                                   1456   7/28/2022
        MELLON, AS    Island, LLC                         General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK      Susquehanna                         Secured: $0.00                            treated as Class 4 (Unsecured Notes
265                                   1458   7/28/2022
        MELLON, AS    Nuclear, LLC                        General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
                      Talen Energy
        NEW YORK                                          Secured: $0.00                            treated as Class 4 (Unsecured Notes
266                   Marketing,      1488   7/28/2022
        MELLON, AS                                        General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
                      LLC
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK                                          Secured: $0.00                            treated as Class 4 (Unsecured Notes
267                   Laredo, LLC     1509   7/28/2022
        MELLON, AS                                        General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                                                          503(b)(9): $0.00
                                                          Other Administrative: $0.00
        THE BANK OF                                       Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK      Barney Davis,                       Secured: $0.00                            treated as Class 4 (Unsecured Notes
268                                   1532   7/28/2022
        MELLON, AS    LLC                                 General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                           Unliquidated                              Plan.

                                                          Total: $1,368,781,767.62 + Unliquidated
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5159 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #   Date Filed                   Non‐GUC Trust Claim                        Category
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        THE BANK OF                                        Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK                                           Secured: $0.00                            treated as Class 4 (Unsecured Notes
269                     Montour, LLC   1537   7/28/2022
        MELLON, AS                                         General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                            Unliquidated                              Plan.

                                                           Total: $1,368,781,767.62 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        THE BANK OF                                        Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK        Nueces Bay,                        Secured: $0.00                            treated as Class 4 (Unsecured Notes
270                                    1563   7/28/2022
        MELLON, AS      LLC                                General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                            Unliquidated                              Plan.

                                                           Total: $1,368,781,767.62 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        THE BANK OF                                        Priority: $0.00                           Unsecured Notes Claims – classified and
        NEW YORK        Pennsylvania                       Secured: $0.00                            treated as Class 4 (Unsecured Notes
271                                    1573   7/28/2022
        MELLON, AS      Mines, LLC                         General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
        TRUSTEE                                            Unliquidated                              Plan.

                                                           Total: $1,368,781,767.62 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        THE BANK OF                                        Priority: $0.00                           Unsecured Notes Claims – classified and
                        Talen
        NEW YORK                                           Secured: $0.00                            treated as Class 4 (Unsecured Notes
272                     Generation,    1755   7/28/2022
        MELLON, AS                                         General Unsecured: $1,368,781,767.62 +    Claims) pursuant to Article III.B (5) of the
                        LLC
        TRUSTEE                                            Unliquidated                              Plan.

                                                           Total: $1,368,781,767.62 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
                                                           Priority: $0.00
        TIMMONS,        Talen Energy                                                                 treated as Class 4 (Unsecured Notes
273                                    627    7/26/2022    Secured: $20,000.00
        WILLIAM D.      Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
                                                           General Unsecured: $0.00
                                                                                                     Plan.
                                                           Total: $20,000.00
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
        UNIPER GLOBAL
                      Talen Energy                         Priority: $0.00
        COMMODITIES                                                                                  Postpetition Hedge Claims – entitled to
274                   Marketing,       2305   7/30/2022    Secured: $20,225,797.00
        NORTH AMERICA                                                                                treatment under Article II.C of the Plan.
                      LLC                                  General Unsecured: $0.00 + Unliquidated
        LLC
                                                           Total: $20,225,797.00 + Unliquidated
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
        UNITED EQUITIES                                    Priority: $0.00
                        Talen Energy                                                                 treated as Class 4 (Unsecured Notes
275     COMMODITIES                    569    7/26/2022    Secured: $0.00
                        Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
        COMPANY                                            General Unsecured: $8,500,000.00
                                                                                                     Plan.
                                                           Total: $8,500,000.00
                                                           503(b)(9): $0.00
                                                           Other Administrative: $0.00
                                                                                                     Unsecured Notes Claims – classified and
        UNITED EQUITIES                                    Priority: $0.00
                        Talen Energy                                                                 treated as Class 4 (Unsecured Notes
276     COMMODITIES                    577    7/26/2022    Secured: $0.00
                        Supply, LLC                                                                  Claims) pursuant to Article III.B (5) of the
        COMPANY                                            General Unsecured: $6,790,000.00
                                                                                                     Plan.
                                                           Total: $6,790,000.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5160 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                        Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00                           Claims for Indemnification Obligations –
                         Talen
277     WALKER, JOHNNY                   2416     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
                         Montana, LLC
                                                               General Unsecured: $0.00 + Unliquidated   the Plan.

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                        Talen Energy                                                                     treated as Class 4 (Unsecured Notes
278     WEINBERG, LINDA                  282      7/1/2022     Secured: $0.00
                        Supply, LLC                                                                      Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $4,000.00
                                                                                                         Plan.
                                                               Total: $4,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                         Talen Energy                                                                    treated as Class 4 (Unsecured Notes
279     WENTHE, PHILIP J                 615      7/26/2022    Secured: $0.00
                         Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $6,000.00
                                                                                                         Plan.
                                                               Total: $6,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
                         Talen Energy                                                                    treated as Class 4 (Unsecured Notes
280     WHITE, STEVEN                    978      7/28/2022    Secured: $0.00
                         Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $5,000.00
                                                                                                         Plan.
                                                               Total: $5,000.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Unsecured Notes Claims – classified and
                                                               Priority: $0.00
        WILLIAM J.       Talen Energy                                                                    treated as Class 4 (Unsecured Notes
281                                      271      6/28/2022    Secured: $9,855.00
        SCHMIDT TRUST    Supply, LLC                                                                     Claims) pursuant to Article III.B (5) of the
                                                               General Unsecured: $0.00
                                                                                                         Plan.
                                                               Total: $9,855.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00                           Claims for Indemnification Obligations –
        WOJTASZEK,       Talen Energy
282                                      2166     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
        GARY             Supply, LLC
                                                               General Unsecured: $0.00 + Unliquidated   the Plan.

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                               Priority: $0.00                           Claims for Indemnification Obligations –
        WRIGHT,          Talen Energy
283                                      3301     8/1/2022     Secured: $0.00                            entitled to treatment under article V.E of
        ANDREW M.        Supply, LLC
                                                               General Unsecured: $0.00 + Unliquidated   the Plan.

                                                               Total: $0.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        YORK             Talen Energy                          Priority: $0.00
                                                                                                         treated as Class 8 (Prepetition
284     GENERATION       Marketing,     5233231   6/25/2022    Secured: $0.00
                                                                                                         Intercompany Claims) pursuant to Article
        COMPANY LLC      LLC                                   General Unsecured: $4,421,289.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $4,421,289.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                         Intercompany Claims – classified and
        YORK             Sapphire                              Priority: $0.00
                                                                                                         treated as Class 8 (Prepetition
285     GENERATION       Power          5233407   6/25/2022    Secured: $0.00
                                                                                                         Intercompany Claims) pursuant to Article
        COMPANY LLC      Finance LLC                           General Unsecured: $2,926,366.00
                                                                                                         III.B (10) of the Plan.
                                                               Total: $2,926,366.00
                Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5161 of 5163
            Name of
Ref #       Claimant     Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                               Category
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                                 Intercompany Claims – classified and
        YORK                                                   Priority: $0.00
                         Brunner                                                                                 treated as Class 8 (Prepetition
286     GENERATION                      5234168   6/25/2022    Secured: $0.00
                         Island, LLC                                                                             Intercompany Claims) pursuant to Article
        COMPANY LLC                                            General Unsecured: $2,897.00
                                                                                                                 III.B (10) of the Plan.
                                                               Total: $2,897.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                                 Intercompany Claims – classified and
        YORK             Talen                                 Priority: $0.00
                                                                                                                 treated as Class 8 (Prepetition
287     GENERATION       Generation,    5234672   6/25/2022    Secured: $0.00
                                                                                                                 Intercompany Claims) pursuant to Article
        COMPANY LLC      LLC                                   General Unsecured: $1,846.00
                                                                                                                 III.B (10) of the Plan.
                                                               Total: $1,846.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                         Newark Bay                                                                              Intercompany Claims – classified and
        YORK                                                   Priority: $0.00
                         Cogeneration                                                                            treated as Class 8 (Prepetition
288     GENERATION                    5234815     6/25/2022    Secured: $0.00
                         Partnership,                                                                            Intercompany Claims) pursuant to Article
        COMPANY LLC                                            General Unsecured: $267,099.00
                         L.P.                                                                                    III.B (10) of the Plan.
                                                               Total: $267,099.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00
                                                                                                                 Intercompany Claims – classified and
                         York                                  Priority: $0.00
        YORK PLANT                                                                                               treated as Class 8 (Prepetition
289                      Generation     5235440   6/25/2022    Secured: $0.00
        HOLDING, LLC                                                                                             Intercompany Claims) pursuant to Article
                         Company LLC                           General Unsecured: $805,777.00
                                                                                                                 III.B (10) of the Plan.
                                                               Total: $805,777.00
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00                       TEC Creditor Claim treated under Article
        ACE AMERICAN                                           Priority: $0.00                                   III.B (14) of the Plan; not entitled to
                         Talen Energy
290     INSURANCE                       37491     2/28/2023    Secured: $334,306.00                              distribution as Class 5A General
                         Corporation
        COMPANY                                                General Unsecured: $3,164,303.00 + Unliquidated   Unsecured Claim or Class 6 General
                                                                                                                 Unsecured Convenience Claims.
                                                               Total: $3,498,609.00 + Unliquidated
        ANNETTE M.
        DURNACK, ET AL.,
        AS LISTED ON                                           503(b)(9): $0.00
        ATTACHMENT A,                                          Other Administrative: $0.00                       TEC Creditor Claim treated under Article
        AS CLASS                                               Priority: $0.00                                   III.B (14) of the Plan; not entitled to
                         Talen Energy
291     REPRESENTATIVES                 37502      3/2/2023    Secured: $0.00                                    distribution as Class 5A General
                         Corporation
        ON BEHALF OF A                                         General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
        CLASS OF                                                                                                 Unsecured Convenience Claims.
        PENSION                                                Total: $0.00 + Unliquidated
        BENEFITS
        CLAIMANTS
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00                      TEC Creditor Claim treated under Article
                                                               Priority: $0.00                                  III.B (14) of the Plan; not entitled to
        ARCH INSURANCE Talen Energy
292                                     37468     12/27/2022   Secured: $113,089,720.00                         distribution as Class 5A General
        COMPANY        Corporation
                                                               General Unsecured: $27,841,064.00 + Unliquidated Unsecured Claim or Class 6 General
                                                                                                                Unsecured Convenience Claims.
                                                               Total: $140,930,784.00 + Unliquidated
                                                               503(b)(9): $0.00
                                                               Other Administrative: $0.00                       TEC Creditor Claim treated under Article
        ARGONAUT                                               Priority: $0.00                                   III.B (14) of the Plan; not entitled to
                         Talen Energy
293     INSURANCE                       37469     12/27/2022   Secured: $31,644,508.57                           distribution as Class 5A General
                         Corporation
        COMPANY                                                General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
                                                                                                                 Unsecured Convenience Claims.
                                                               Total: $31,644,508.57 + Unliquidated
                     Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5162 of 5163
            Name of
Ref #       Claimant      Debtor Name Claim #      Date Filed                   Non‐GUC Trust Claim                               Category
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
        BERNTHAL,         Talen Energy
294                                      5607061   12/12/2022   Secured: $0.00                                    distribution as Class 5A General
        FREDERICK         Corporation
                                                                General Unsecured: $176,285.94                    Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $176,285.94
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
                          Talen Energy
295     CHESSER, JOHN                    37503      3/2/2023    Secured: $0.00                                    distribution as Class 5A General
                          Corporation
                                                                General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
                          Talen Energy
296     COLEMAN, WILLIE                  37496      3/2/2023    Secured: $0.00                                    distribution as Class 5A General
                          Corporation
                                                                General Unsecured: $5,000,000.00 + Unliquidated   Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $5,000,000.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
                          Talen Energy
297     ESIS, INC.                       37490     2/28/2023    Secured: $59,124.00                               distribution as Class 5A General
                          Corporation
                                                                General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $59,124.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
        HERNANDEZ,        Talen Energy
298                                      37504      3/2/2023    Secured: $0.00                                    distribution as Class 5A General
        ALEJANDRO         Corporation
                                                                General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $0.00 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
        LIBERTY MUTUAL
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
        INSURANCE      Talen Energy
299                                      37484     1/26/2023    Secured: $0.00                                    distribution as Class 5A General
        COMPANY AND Corporation
                                                                General Unsecured: $38,949,156.00                 Unsecured Claim or Class 6 General
        ITS AFFILIATES
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $38,949,156.00
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
        MATAGORDA         Talen Energy
300                                      37467     12/20/2022   Secured: $6,878.06                                distribution as Class 5A General
        COUNTY            Corporation
                                                                General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $6,878.06 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00                       TEC Creditor Claim treated under Article
                                                                Priority: $0.00                                   III.B (14) of the Plan; not entitled to
        MONTGOMERY        Talen Energy
301                                      37464     12/16/2022   Secured: $10,937.37                               distribution as Class 5A General
        COUNTY            Corporation
                                                                General Unsecured: $0.00 + Unliquidated           Unsecured Claim or Class 6 General
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $10,937.37 + Unliquidated
                                                                503(b)(9): $0.00
                                                                Other Administrative: $0.00
                                                                                                                  TEC Creditor Claim treated under Article
                                                                Priority: $0.00
                                                                                                                  III.B (14) of the Plan; not entitled to
        PPL CAPITAL       Talen Energy                          Secured: $0.00
302                                      37500      3/2/2023                                                      distribution as Class 5A General
        FUNDING, INC.     Corporation                           General Unsecured: $950,000,000.00 +
                                                                                                                  Unsecured Claim or Class 6 General
                                                                Unliquidated
                                                                                                                  Unsecured Convenience Claims.
                                                                Total: $950,000,000.00 + Unliquidated
                 Case 22-90339 Document 65-1 Filed in TXSB on 09/13/23 Page 5163 of 5163
            Name of
Ref #       Claimant    Debtor Name Claim #    Date Filed                   Non‐GUC Trust Claim                            Category
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                           TEC Creditor Claim treated under Article
                                                            Priority: $0.00
                                                                                                           III.B (14) of the Plan; not entitled to
        PPL             Talen Energy                        Secured: $0.00
303                                    37498    3/2/2023                                                   distribution as Class 5A General
        CORPORATION     Corporation                         General Unsecured: $950,000,000.00 +
                                                                                                           Unsecured Claim or Class 6 General
                                                            Unliquidated
                                                                                                           Unsecured Convenience Claims.
                                                            Total: $950,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                           TEC Creditor Claim treated under Article
                                                            Priority: $0.00
        PPL ELECTRIC                                                                                       III.B (14) of the Plan; not entitled to
                        Talen Energy                        Secured: $0.00
304     UTILITIES                      37499    3/2/2023                                                   distribution as Class 5A General
                        Corporation                         General Unsecured: $950,000,000.00 +
        CORPORATION                                                                                        Unsecured Claim or Class 6 General
                                                            Unliquidated
                                                                                                           Unsecured Convenience Claims.
                                                            Total: $950,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00
                                                                                                           TEC Creditor Claim treated under Article
                                                            Priority: $0.00
        PPL ENERGY                                                                                         III.B (14) of the Plan; not entitled to
                        Talen Energy                        Secured: $0.00
305     FUNDING                        37497    3/2/2023                                                   distribution as Class 5A General
                        Corporation                         General Unsecured: $950,000,000.00 +
        CORPORATION                                                                                        Unsecured Claim or Class 6 General
                                                            Unliquidated
                                                                                                           Unsecured Convenience Claims.
                                                            Total: $950,000,000.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00                    TEC Creditor Claim treated under Article
                                                            Priority: $0.00                                III.B (14) of the Plan; not entitled to
                        Talen Energy
306     STAPLES, INC.                  37472   12/23/2022   Secured: $0.00                                 distribution as Class 5A General
                        Corporation
                                                            General Unsecured: $3,458.22                   Unsecured Claim or Class 6 General
                                                                                                           Unsecured Convenience Claims.
                                                            Total: $3,458.22
                                                            503(b)(9): $0.00
        TRAVELERS                                           Other Administrative: $0.00                    TEC Creditor Claim treated under Article
        CASUALTY AND                                        Priority: $0.00                                III.B (14) of the Plan; not entitled to
                        Talen Energy
307     SURETY                         37483   1/23/2023    Secured: $6,414,819.00                         distribution as Class 5A General
                        Corporation
        COMPANY OF                                          General Unsecured: $18,625.00 + Unliquidated   Unsecured Claim or Class 6 General
        AMERICA                                                                                            Unsecured Convenience Claims.
                                                            Total: $6,433,444.00 + Unliquidated
                                                            503(b)(9): $0.00
                                                            Other Administrative: $0.00                    TEC Creditor Claim treated under Article
                                                            Priority: $0.00                                III.B (14) of the Plan; not entitled to
        WRIGHT,         Talen Energy
308                                    37505    3/2/2023    Secured: $0.00                                 distribution as Class 5A General
        ANDREW M.       Corporation
                                                            General Unsecured: $0.00 + Unliquidated        Unsecured Claim or Class 6 General
                                                                                                           Unsecured Convenience Claims.
                                                            Total: $0.00 + Unliquidated
